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                ORAL ARGUMENT NOT YET SCHEDULED


                        No. 24-1120 (and consolidated cases)
                                ______________________________________


          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                            _______________________________________

                          STATE OF WEST VIRGINIA, et al.,
                                                       Petitioners,
                                                 V.

                   ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                                          Respondents.
                    ______________________________________
           On Petitions for Review of Final Agency Action of the
             United States Environmental Protection Agency
                     89 Fed. Reg. 39,798 (May 9, 2024)
                   ______________________________________

             ADDENDUM TO PETITIONERS’ OPENING BRIEF
                 ______________________________________

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                     CERTIFICATE OF SERVICE

      I hereby certify that on September 6, 2024, I electronically filed this

 document with the Clerk of the Court for the United States Court of

 Appeals for the D.C. Circuit by using the CM/ECF System. All

 participants in this case registered with CM/ECF will be served by the

 CM/ECF system.



 Dated: September 6, 2024                /s/ Michael R Williams
                                         Michael R. Williams




                                     2
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                                                 39798               Federal Register / Vol. 89, No. 91 / Thursday, May 9, 2024 / Rules and Regulations

                                                 ENVIRONMENTAL PROTECTION                                ADDRESSES: The EPA has established a          IRC Internal Revenue Code
                                                 AGENCY                                                  docket for these actions under Docket ID      kg kilogram
                                                                                                         No. EPA–HQ–OAR–2023–0072. All                 kWh kilowatt-hour
                                                 40 CFR Part 60                                          documents in the docket are listed on         LCOE levelized cost of electricity
                                                                                                                                                       LNG liquefied natural gas
                                                                                                         the https://www.regulations.gov
                                                                                                                                                       MATS Mercury and Air Toxics Standards
                                                 [EPA–HQ–OAR–2023–0072; FRL–8536–01–                     website. Although listed, some                MMBtu/h million British thermal units per
                                                 OAR]                                                    information is not publicly available,          hour
                                                                                                         e.g., Confidential Business Information       MMT CO2e million metric tons of carbon
                                                 RIN 2060–AV09                                           (CBI) or other information whose                dioxide equivalent
                                                                                                         disclosure is restricted by statute.          MW megawatt
                                                 New Source Performance Standards                        Certain other material, such as               MWh megawatt-hour
                                                 for Greenhouse Gas Emissions From                       copyrighted material, is not placed on        NAAQS National Ambient Air Quality
                                                 New, Modified, and Reconstructed                        the internet and will be publicly               Standards
                                                 Fossil Fuel-Fired Electric Generating                   available only in hard copy form.             NESHAP National Emission Standards for
                                                 Units; Emission Guidelines for                          Publicly available docket materials are         Hazardous Air Pollutants
                                                 Greenhouse Gas Emissions From                                                                         NGCC natural gas combined cycle
                                                                                                         available electronically through https://     NOX nitrogen oxides
                                                 Existing Fossil Fuel-Fired Electric                     www.regulations.gov.
                                                 Generating Units; and Repeal of the                                                                   NSPS new source performance standards
                                                                                                         FOR FURTHER INFORMATION CONTACT: Lisa         NSR New Source Review
                                                 Affordable Clean Energy Rule
                                                                                                         Thompson (she/her), Sector Policies and       PM particulate matter
                                                 AGENCY: Environmental Protection                        Programs Division (D243–02), Office of        PM2.5 fine particulate matter
                                                 Agency (EPA).                                           Air Quality Planning and Standards,           RIA regulatory impact analysis
                                                                                                         U.S. Environmental Protection Agency,         TSD technical support document
                                                 ACTION: Final rule.
                                                                                                         109 T.W. Alexander Drive, P.O. Box            U.S. United States
                                                 SUMMARY: The Environmental Protection                   12055, Research Triangle Park, North            Organization of this document. The
                                                 Agency (EPA) is finalizing multiple                     Carolina 27711; telephone number:             information in this preamble is
                                                 actions under section 111 of the Clean                  (919) 541–5158; and email address:            organized as follows:
                                                 Air Act (CAA) addressing greenhouse                     thompson.lisa@epa.gov.
                                                 gas (GHG) emissions from fossil fuel-                                                                 I. Executive Summary
                                                                                                         SUPPLEMENTARY INFORMATION:
                                                 fired electric generating units (EGUs).                                                                  A. Climate Change and Fossil Fuel-Fired
                                                                                                            Preamble acronyms and
                                                                                                                                                             EGUs
                                                 First, the EPA is finalizing the repeal of              abbreviations. Throughout this                   B. Recent Developments in Emissions
                                                 the Affordable Clean Energy (ACE) Rule.                 document the use of ‘‘we,’’ ‘‘us,’’ or              Controls and the Electric Power Sector
                                                 Second, the EPA is finalizing emission                  ‘‘our’’ is intended to refer to the EPA.         C. Summary of the Principal Provisions of
                                                 guidelines for GHG emissions from                       The EPA uses multiple acronyms and                  These Regulatory Actions
                                                 existing fossil fuel-fired steam                        terms in this preamble. While this list          D. Grid Reliability Considerations
                                                 generating EGUs, which include both                     may not be exhaustive, to ease the               E. Environmental Justice Considerations
                                                 coal-fired and oil/gas-fired steam                      reading of this preamble and for                 F. Energy Workers and Communities
                                                 generating EGUs. Third, the EPA is                      reference purposes, the EPA defines the          G. Key Changes From Proposal
                                                 finalizing revisions to the New Source                  following terms and acronyms here:            II. General Information
                                                 Performance Standards (NSPS) for GHG                                                                     A. Action Applicability
                                                                                                         ACE Affordable Clean Energy rule                 B. Where To Get a Copy of This Document
                                                 emissions from new and reconstructed                    BSER best system of emissions reduction             and Other Related Information
                                                 fossil fuel-fired stationary combustion                 Btu British thermal unit                      III. Climate Change Impacts
                                                 turbine EGUs. Fourth, the EPA is                        CAA Clean Air Act                             IV. Recent Developments in Emissions
                                                 finalizing revisions to the NSPS for GHG                CBI Confidential Business Information               Controls and the Electric Power Sector
                                                 emissions from fossil fuel-fired steam                  CCS carbon capture and sequestration/            A. Background
                                                 generating units that undertake a large                    storage                                       B. GHG Emissions From Fossil Fuel-Fired
                                                                                                         CCUS carbon capture, utilization, and
                                                 modification, based upon the 8-year                                                                         EGUs
                                                                                                            sequestration/storage
                                                 review required by the CAA. The EPA                                                                      C. Recent Developments in Emissions
                                                                                                         CO2 carbon dioxide
                                                 is not finalizing emission guidelines for                                                                   Control
                                                                                                         DER distributed energy resources
                                                 GHG emissions from existing fossil fuel-                DOE Department of Energy                         D. The Electric Power Sector: Trends and
                                                                                                         EEA energy emergency alert                          Current Structure
                                                 fired stationary combustion turbines at                                                                  E. The Legislative, Market, and State Law
                                                 this time; instead, the EPA intends to                  EGU electric generating unit
                                                                                                         EIA Energy Information Administration               Context
                                                 take further action on the proposed                                                                      F. Future Projections of Power Sector
                                                                                                         EJ environmental justice
                                                 emission guidelines at a later date.                    E.O. Executive Order                                Trends
                                                 DATES: This final rule is effective on July             EPA Environmental Protection Agency           V. Statutory Background and Regulatory
                                                 8, 2024. The incorporation by reference                 FEED front-end engineering and design               History for CAA Section 111
                                                 of certain publications listed in the rules             FGD flue gas desulfurization                     A. Statutory Authority To Regulate GHGs
                                                                                                         FR Federal Register                                 From EGUs Under CAA Section 111
                                                 is approved by the Director of the
                                                                                                         GHG greenhouse gas                               B. History of EPA Regulation of
                                                 Federal Register as of July 8, 2024. The                                                                    Greenhouse Gases From Electricity
                                                                                                         GW gigawatt
                                                 incorporation by reference of certain                   GWh gigawatt-hour                                   Generating Units Under CAA Section
                                                 other materials listed in the rule was                  HAP hazardous air pollutant                         111 and Caselaw
ddrumheller on DSK120RN23PROD with RULES3




                                                 approved by the Director of the Federal                 HRSG heat recovery steam generator               C. Detailed Discussion of CAA Section 111
                                                 Register as of October 23, 2015.                        IIJA Infrastructure Investment and Jobs Act         Requirements




                                            VerDate Sep<11>2014   20:13 May 08, 2024   Jkt 262001   PO 00000   Frm 00002                  E:\FR\FM\09MYR3.SGM   09MYR3        Add.001
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                                                 VI. ACE Rule Repeal                                       A. Air Quality Impacts                            and more efficient generation. Congress
                                                   A. Summary of Selected Features of the                  B. Compliance Cost Impacts                        has also acted to provide funding and
                                                      ACE Rule                                             C. Economic and Energy Impacts                    other incentives to encourage the
                                                   B. Developments Undermining ACE Rule’s                  D. Benefits
                                                                                                                                                             deployment of various technologies,
                                                      Projected Emission Reductions                        E. Net Benefits
                                                   C. Developments Showing That Other                      F. Environmental Justice Analytical               including CCS, to achieve reductions in
                                                      Technologies Are the BSER for This                      Considerations and Stakeholder                 GHG emissions from the power sector.
                                                      Source Category                                         Outreach and Engagement                           In this notice, the EPA is finalizing
                                                   D. Insufficiently Precise Degree of                     G. Grid Reliability Considerations and            several actions under section 111 of the
                                                      Emission Limitation Achievable From                     Reliability-Related Mechanisms                 Clean Air Act (CAA) to reduce the
                                                      Application of the BSER                            XIII. Statutory and Executive Order Reviews         significant quantity of GHG emissions
                                                   E. Withdrawal of Proposed NSR Revisions                 A. Executive Order 12866: Regulatory              from fossil fuel-fired EGUs by
                                                 VII. Regulatory Approach for Existing Fossil                 Planning and Review and Executive              establishing emission guidelines and
                                                      Fuel-Fired Steam Generating Units                       Order 14094: Modernizing Regulatory            new source performance standards
                                                   A. Overview                                                Review
                                                   B. Applicability Requirements and Fossil                B. Paperwork Reduction Act (PRA)
                                                                                                                                                             (NSPS) that are based on available and
                                                      Fuel-Type Definitions for Subcategories              C. Regulatory Flexibility Act (RFA)               cost-effective technologies that directly
                                                      of Steam Generating Units                            D. Unfunded Mandates Reform Act of 1995           reduce GHG emissions from these
                                                   C. Rationale for the BSER for Coal-Fired                   (UMRA)                                         sources. Consistent with the statutory
                                                      Steam Generating Units                               E. Executive Order 13132: Federalism              command of CAA section 111, the final
                                                   D. Rationale for the BSER for Natural Gas-              F. Executive Order 13175: Consultation            NSPS and emission guidelines reflect
                                                      Fired and Oil-Fired Steam Generating                    and Coordination With Indian Tribal            the application of the best system of
                                                      Units                                                   Governments                                    emission reduction (BSER) that, taking
                                                   E. Additional Comments Received on the                  G. Executive Order 13045: Protection of           into account costs, energy requirements,
                                                      Emission Guidelines for Existing Steam                  Children From Environmental Health
                                                                                                              Risks and Safety Risks Populations and
                                                                                                                                                             and other statutory factors, is adequately
                                                      Generating Units and Responses
                                                   F. Regulatory Requirement To Review                        Low-Income Populations                         demonstrated.
                                                      Emission Guidelines for Coal-Fired Units             H. Executive Order 13211: Actions                    Specifically, the EPA is first finalizing
                                                 VIII. Requirements for New and                               Concerning Regulations That                    the repeal of the Affordable Clean
                                                      Reconstructed Stationary Combustion                     Significantly Affect Energy Supply,            Energy (ACE) Rule. Second, the EPA is
                                                      Turbine EGUs and Rationale for                          Distribution, or Use                           finalizing emission guidelines for GHG
                                                      Requirements                                         I. National Technology Transfer and               emissions from existing fossil fuel-fired
                                                   A. Overview                                                Advancement Act (NTTAA) and 1 CFR              steam generating EGUs, which include
                                                   B. Combustion Turbine Technology                           Part 51                                        both coal-fired and oil/gas-fired steam
                                                   C. Overview of Regulation of Stationary                 J. Executive Order 12898: Federal Actions
                                                                                                                                                             generating EGUs. Third, the EPA is
                                                      Combustion Turbines for GHGs                            To Address Environmental Justice in
                                                                                                              Minority Populations and Low-Income            finalizing revisions to the NSPS for GHG
                                                   D. Eight-Year Review of NSPS
                                                                                                              Populations and Executive Order 14096:         emissions from new and reconstructed
                                                   E. Applicability Requirements and
                                                      Subcategorization                                       Revitalizing Our Nation’s Commitment           fossil fuel-fired stationary combustion
                                                   F. Determination of the Best System of                     to Environmental Justice for All               turbine EGUs. Fourth, the EPA is
                                                      Emission Reduction (BSER) for New and                K. Congressional Review Act (CRA)                 finalizing revisions to the NSPS for GHG
                                                      Reconstructed Stationary Combustion                XIV. Statutory Authority                            emissions from fossil fuel-fired steam
                                                      Turbines                                                                                               generating units that undertake a large
                                                                                                         I. Executive Summary
                                                   G. Standards of Performance                                                                               modification, based upon the 8-year
                                                   H. Reconstructed Stationary Combustion                   In 2009, the EPA concluded that GHG              review required by the CAA. The EPA
                                                      Turbines                                           emissions endanger our nation’s public              is not finalizing emission guidelines for
                                                   I. Modified Stationary Combustion                     health and welfare.1 Since that time, the           GHG emissions from existing fossil fuel-
                                                      Turbines                                           evidence of the harms posed by GHG                  fired combustion turbines at this time
                                                   J. Startup, Shutdown, and Malfunction                 emissions has only grown, and
                                                   K. Testing and Monitoring Requirements                                                                    and plans to expeditiously issue an
                                                   L. Recordkeeping and Reporting
                                                                                                         Americans experience the destructive                additional proposal that more
                                                      Requirements                                       and worsening effects of climate change             comprehensively addresses GHG
                                                   M. Compliance Dates                                   every day.2 Fossil fuel-fired EGUs are              emissions from this portion of the fleet.
                                                   N. Compliance Date Extension                          the nation’s largest stationary source of           The EPA acknowledges that the share of
                                                 IX. Requirements for New, Modified, and                 GHG emissions, representing 25 percent              GHG emissions from existing fossil fuel-
                                                      Reconstructed Fossil Fuel-Fired Steam              of the United States’ total GHG                     fired combustion turbines has been
                                                      Generating Units                                   emissions in 2021.3 At the same time, a             growing and is projected to continue to
                                                   A. 2018 NSPS Proposal Withdrawal                      range of cost-effective technologies and            do so, particularly as emissions from
                                                   B. Additional Amendments                              approaches to reduce GHG emissions                  other portions of the fleet decline, and
                                                   C. Eight-Year Review of NSPS for Fossil
                                                      Fuel-Fired Steam Generating Units
                                                                                                         from these sources is available to the              that it is vital to regulate the GHG
                                                   D. Projects Under Development                         power sector—including carbon capture               emissions from these sources consistent
                                                 X. State Plans for Emission Guidelines for              and sequestration/storage (CCS), co-                with CAA section 111.
                                                      Existing Fossil Fuel-Fired EGUs                    firing with less GHG-intensive fuels,                  These final actions ensure that the
                                                   A. Overview                                                                                               new and existing fossil fuel-fired EGUs
                                                   B. Requirement for State Plans To Maintain              1 74 FR 66496 (December 15, 2009).                that are subject to these rules reduce
                                                      Stringency of the EPA’s BSER                          2 The 5th National Climate Assessment (NCA5)
                                                                                                                                                             their GHG emissions in a manner that is
                                                      Determination                                      states that the effects of human-caused climate     cost-effective and improves the
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                                                   C. Establishing Standards of Performance              change are already far-reaching and worsening
                                                                                                         across every region of the United States and that   emissions performance of the sources,
                                                   D. Compliance Flexibilities
                                                                                                         climate change affects all aspects of the energy    consistent with the applicable CAA
                                                   E. State Plan Components and Submission
                                                 XI. Implications for Other CAA Programs
                                                                                                         system-supply, delivery, and demand-through the     requirements and caselaw. These
                                                                                                         increased frequency, intensity, and duration of     standards and emission guidelines will
                                                   A. New Source Review Program                          extreme events and through changing climate
                                                   B. Title V Program                                    trends.                                             significantly decrease GHG emissions
                                                 XII. Summary of Cost, Environmental, and                   3 https://www.epa.gov/ghgemissions/sources-      from fossil fuel-fired EGUs and the
                                                      Economic Impacts                                   greenhouse-gas-emissions.                           associated harms to human health and


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                                                 welfare. Further, the EPA has designed                  reducing GHG emissions from these            fossil fuel-fired generating fleet are
                                                 these standards and emission guidelines                 affected sources can also help reduce        collectively leading to, in most cases,
                                                 in a way that is compatible with the                    power sector pollution that might            decreased use of the fossil fuel-fired
                                                 nation’s overall need for a reliable                    otherwise result from the electrification    units that are the subjects of these final
                                                 supply of affordable electricity.                       of other sectors of the economy.             actions. From 2010 through 2022, fossil
                                                 A. Climate Change and Fossil Fuel-Fired                 B. Recent Developments in Emissions          fuel-fired generation declined from
                                                 EGUs                                                    Controls and the Electric Power Sector       approximately 72 percent of total net
                                                                                                                                                      generation to approximately 60 percent,
                                                    These final actions reduce the                          Several recent developments               with generation from coal-fired sources
                                                 emissions of GHGs from new and                          concerning emissions controls are            dropping from 49 percent to 20 percent
                                                 existing fossil fuel-fired EGUs. The                    relevant for the EPA’s determination of      of net generation during this period.5
                                                 increasing concentrations of GHGs in                    the BSER for existing coal-fired steam       These trends are expected to continue
                                                 the atmosphere are, and have been,                      generating EGUs and new natural gas-         and are relevant to determining where
                                                 warming the planet, resulting in serious                fired stationary combustion turbines.        capital-intensive technologies, like CCS,
                                                 and life-threatening environmental and                  These include lower costs and                may be feasibly and cost-reasonably
                                                 human health impacts. The increased                     continued improvements in CCS                deployed to reduce emissions.
                                                 concentrations of GHGs in the                           technology, alongside Federal tax
                                                                                                                                                         Congress has taken other recent
                                                 atmosphere and the resulting warming                    incentives that allow companies to
                                                                                                         largely offset the cost of CCS. Well-        actions to drive the reduction of GHG
                                                 have led to more frequent and more
                                                                                                         established trends in the sector further     emissions from the power sector. As
                                                 intense heat waves and extreme weather
                                                                                                         inform where using such technologies is      noted earlier, Congress enacted IRC
                                                 events, rising sea levels, and retreating
                                                                                                         cost effective and feasible, and form part   section 45Q in section 115 of the Energy
                                                 snow and ice, all of which are occurring
                                                                                                         of the basis for the EPA’s determination     Improvement and Extension Act of 2008
                                                 at a pace and scale that threaten human
                                                                                                         of the BSER.                                 to provide a tax credit for the
                                                 health and welfare.
                                                    Fossil fuel-fired EGUs that are                         In recent years, the cost of CCS has      sequestration of CO2. Congress
                                                 uncontrolled for GHGs are one of the                    declined in part because of process          significantly amended IRC section 45Q
                                                 biggest domestic sources of GHG                         improvements learned from earlier            in the Bipartisan Budget Act of 2018,
                                                 emissions. At the same time, there are                  deployments and other advances in the        and more recently in the IRA, to make
                                                 technologies available (including                       technology. In addition, the Inflation       this tax incentive more generous and
                                                 technologies that can be applied to                     Reduction Act (IRA), enacted in 2022,        effective in spurring long-term
                                                 fossil fuel-fired power plants) to                      extended and significantly increased the     deployment of CCS. In addition, the IIJA
                                                 significantly reduce emissions of GHGs                  tax credit for carbon dioxide (CO2)          provided more than $65 billion for
                                                 from the power sector. Low- and zero-                   sequestration under Internal Revenue         infrastructure investments and upgrades
                                                 GHG electricity are also key enabling                   Code (IRC) section 45Q. The provision        for transmission capacity, pipelines, and
                                                 technologies to significantly reduce                    of tax credits in the IRA, combined with     low-carbon fuels.6 Further, the Creating
                                                 GHG emissions in almost every other                     the funding included in the                  Helpful Incentives to Produce
                                                 sector of the economy.                                  Infrastructure Investment and Jobs Act       Semiconductors and Science Act
                                                    In 2021, the power sector was the                    (IIJA), enacted in 2021, incentivize and     (CHIPS Act) authorized billions more in
                                                 largest stationary source of GHGs in the                facilitate the deployment of CCS and         funding for development of low- and
                                                 United States, emitting 25 percent of                   other GHG emission control                   non-GHG emitting energy technologies
                                                 overall domestic emissions.4 In 2021,                   technologies. As explained later in this     that could provide additional low-cost
                                                 existing fossil fuel-fired steam                        preamble, these developments support         options for power companies to reduce
                                                 generating units accounted for 65                       the EPA’s conclusion that CCS is the         overall GHG emissions.7 As discussed
                                                 percent of the GHG emissions from the                   BSER for certain subcategories of new        in greater detail in section IV.E.1 of this
                                                 sector, but only accounted for 23                       and existing EGUs because it is an           preamble, the IRA, the IIJA, and CHIPS
                                                 percent of the total electricity                        adequately demonstrated and available        contain numerous other provisions
                                                 generation.                                             control technology that significantly        encouraging companies to reduce their
                                                    Because of its outsized contributions                reduces emissions of dangerous               GHGs.
                                                 to overall emissions, reducing emissions                pollution and because the costs of its       C. Summary of the Principal Provisions
                                                 from the power sector is essential to                   installation and operation are               of These Regulatory Actions
                                                 addressing the challenge of climate                     reasonable. Some companies have
                                                 change—and sources in the power                         already made plans to install CCS on           These final actions include the repeal
                                                 sector also have many available options                 their units independent of the EPA’s         of the ACE Rule, BSER determinations
                                                 for reducing their climate-destabilizing                regulations.                                 and emission guidelines for existing
                                                 emissions. Particularly relevant to these                  Well documented trends in the power       fossil fuel-fired steam generating units,
                                                 actions are several key technologies                    sector also influence the EPA’s              and BSER determinations and
                                                 (CCS and co-firing of lower-GHG fuels)                  determination of the BSER. In                accompanying standards of performance
                                                 that allow fossil fuel-fired steam                      particular, CCS entails significant          for GHG emissions from new and
                                                 generating EGUs and stationary                          capital expenditures and is only cost-       reconstructed fossil fuel-fired stationary
                                                 combustion turbines to provide power                    reasonable for units that will operate       combustion turbines and modified fossil
                                                 while emitting significantly lower GHG                  enough to defray those capital costs. At     fuel-fired steam generating units.
                                                                                                         the same time, many utilities and power
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                                                 emissions. Moreover, with the increased
                                                 electrification of other GHG-emitting                   generating companies have recently             5 U.S. Energy Information Administration (EIA).

                                                 sectors of the economy, such as personal                announced plans to accelerate changing       Electric Power Annual. 2010 and 2022. https://
                                                                                                         the mix of their generating assets. The      www.eia.gov/electricity/annual/html/epa_03_01_
                                                 vehicles, heavy-duty trucks, and the                                                                 a.html.
                                                 heating and cooling of buildings,                       IIJA and IRA, state legislation,               6 https://www.congress.gov/bill/117th-congress/
                                                                                                         technology advancements, market              house-bill/3684.
                                                   4 https://www.epa.gov/ghgemissions/sources-           forces, consumer demand, and the               7 https://www.congress.gov/bill/117th-congress/

                                                 greenhouse-gas-emissions.                               advanced age of much of the existing         house-bill/4346.



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                                                    The EPA is taking these actions                      commercial use, and, further, that the                fired steam generating units that
                                                 consistent with its authority under CAA                 EPA may reasonably project the                        demonstrate that they plan to
                                                 section 111. Under CAA section 111,                     development of a control system at a                  permanently cease operation before
                                                 once the EPA has identified a source                    future time and establish requirements                January 1, 2039. The BSER for this
                                                 category that contributes significantly to              that take effect at that time. Further, the           subcategory is co-firing with natural gas,
                                                 dangerous air pollution, it proceeds to                 most relevant costs under CAA section                 at a level of 40 percent of the unit’s
                                                 regulate new sources and, for GHGs and                  111 are the costs to the regulated                    annual heat input. These units have a
                                                 certain other air pollutants, existing                  facility. The actions that the EPA is                 presumptive standard of 16 percent
                                                 sources. The central requirement is that                finalizing are consistent with the                    reduction in annual emission rate
                                                 the EPA must determine the ‘‘best                       requirements of CAA section 111 and its               corresponding to this BSER, with a
                                                 system of emission reduction . . .                      regulatory history and caselaw, which is              compliance deadline of January 1, 2030.
                                                 adequately demonstrated,’’ taking into                  discussed in further detail in section V                 The EPA is finalizing an applicability
                                                 account the cost of the reductions, non-                of this preamble.                                     exemption for existing coal-fired steam
                                                 air quality health and environmental                                                                          EGUs demonstrating that they plan to
                                                                                                         1. Repeal of ACE Rule                                 permanently cease operation prior to
                                                 impacts, and energy requirements.8 The
                                                 EPA may determine that different sets of                   The EPA is finalizing its proposed                 January 1, 2032, based on the Agency’s
                                                 sources have different characteristics                  repeal of the existing ACE Rule                       determination that units retiring before
                                                 relevant for determining the BSER and                   emission guidelines. First, as a policy               this date generally do not have cost-
                                                 may subcategorize sources accordingly.                  matter, the EPA concludes that the suite              reasonable options for improving their
                                                    Once it identifies the BSER, the EPA                 of heat rate improvements (HRI) that                  GHG emissions performance. Sources
                                                 must determine the ‘‘degree of emission                 was identified in the ACE Rule as the                 that demonstrate they will permanently
                                                 limitation’’ achievable by application of               BSER is not an appropriate BSER for                   cease operation before this applicability
                                                 the BSER. For new sources, the EPA                      existing coal-fired EGUs. Second, the                 deadline will not be subject to these
                                                 establishes the standard of performance                 ACE Rule rejected CCS and natural gas                 emission guidelines. Further, the EPA is
                                                 with which the sources must comply,                     co-firing as the BSER for reasons that no             not finalizing the proposed imminent-
                                                 which is a standard for emissions that                  longer apply. Third, the EPA concludes                term or near-term subcategories.
                                                 reflects the degree of emission                         that the ACE Rule conflicted with CAA                    The EPA is finalizing the proposed
                                                 limitation. For existing sources, the EPA               section 111 and the EPA’s implementing                structure of the subcategory definitions
                                                 includes the information it has                         regulations because it did not provide                for natural gas- and oil-fired steam
                                                 developed concerning the BSER and                       sufficient specificity as to the BSER the             generating units. The EPA is also
                                                 associated degree of emission limitation                EPA had identified or the ‘‘degree of                 finalizing routine methods of operation
                                                 in emission guidelines and directs the                  emission limitation achievable though                 and maintenance as the BSER for
                                                 states to adopt state plans that contain                application of the [BSER].’’                          intermediate load and base load natural
                                                 standards of performance that are                          Also, the EPA is withdrawing the                   gas- and oil-fired steam generating units.
                                                 consistent with the emission guidelines.                proposed revisions to the New Source                  Furthermore, the EPA is finalizing
                                                    Since the early 1970s, the EPA has                   Review (NSR) regulations that were                    presumptive standards for natural gas-
                                                 promulgated regulations under CAA                       included the ACE Rule proposal (83 FR                 and oil-fired steam generating units that
                                                 section 111 for more than 60 source                     44773–83; August 31, 2018).                           are slightly higher than at proposal: base
                                                 categories, which has established a                                                                           load sources (those with annual
                                                 robust set of regulatory precedents that                2. Emission Guidelines for Existing                   capacity factors greater than 45 percent)
                                                 has informed the development of these                   Fossil Fuel-Fired Steam Generating                    have a presumptive standard of 1,400 lb
                                                 final actions. During this period, the                  Units                                                 CO2/MWh-gross, and intermediate load
                                                 courts, primarily the U.S. Court of                        The EPA is finalizing CCS with 90                  sources (those with annual capacity
                                                 Appeals for the D.C. Circuit and the                    percent capture as BSER for existing                  factors greater than 8 percent and less
                                                 Supreme Court, have developed a body                    coal-fired steam generating units. These              than or equal to 45 percent) have a
                                                 of caselaw interpreting CAA section                     units have a presumptive standard 9 of                presumptive standard of 1,600 lb CO2/
                                                 111. As the Supreme Court has                           an 88.4 percent reduction in annual                   MWh-gross. For low load (those with
                                                 recognized, the EPA has typically (and                  emission rate, with a compliance                      annual capacity factors less than 8
                                                 does so in these actions) determined the                deadline of January 1, 2032. As                       percent), the EPA is finalizing a uniform
                                                 BSER to be ‘‘measures that improve the                  explained in detail below, CCS is an                  fuels BSER and a presumptive input-
                                                 pollution performance of individual                     adequately demonstrated technology                    based standard of 170 lb CO2/MMBtu
                                                 sources,’’ such as add-on controls and                  that achieves significant emissions                   for oil-fired sources and a presumptive
                                                 clean fuels. West Virginia v. EPA, 597                  reduction and is cost-reasonable, taking              standard of 130 lb CO2/MMBtu for
                                                 U.S. 697, 734 (2022). For present                       into account the declining costs of the               natural gas-fired sources.
                                                 purposes, several of a BSER’s key                       technology and a substantial tax credit
                                                 features include that it must reduce                                                                          3. Standards of Performance for New
                                                                                                         available to sources. In recognition of               and Reconstructed Fossil Fuel-Fired
                                                 emissions, be based on ‘‘adequately                     the significant capital expenditures
                                                 demonstrated’’ technology, and have a                                                                         Combustion Turbines
                                                                                                         involved in deploying CCS technology
                                                 reasonable cost of control. The case law                and the fact that 45 percent of regulated                The EPA is finalizing emission
                                                 interpreting section 111 has also                       units already have announced                          standards for three subcategories of
                                                 recognized that the BSER can be                         retirement dates, the EPA is finalizing a             combustion turbines—base load,
                                                                                                                                                               intermediate load, and low load. The
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                                                 forward-looking in nature and take into                 separate subcategory for existing coal-
                                                 account anticipated improvements in                                                                           BSER for base load combustion turbines
                                                 control technologies. For example, the                    9 Presumptive standards of performance are          includes two components to be
                                                 EPA may determine a control to be                       discussed in detail in section X of the preamble.     implemented initially in two phases.
                                                 ‘‘adequately demonstrated’’ even if it is               While states establish standards of performance for   The first component of the BSER for
                                                                                                         sources, the EPA provides presumptively
                                                 new and not yet in widespread                           approvable standards of performance based on the
                                                                                                                                                               base load combustion turbines is highly
                                                                                                         degree of emission limitation achievable through      efficient generation (based on the
                                                   8 CAA section 111(a)(1).                              application of the BSER for each subcategory.         emission rates that the best performing


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     units are achieving) and the second                     coal-fired power plant is under               that were available for these units. That
     component for base load combustion                      consideration in Alaska. Accordingly,         analysis can stand alone and apart from
     turbines is utilization of CCS with 90                  the EPA is not, at this time, finalizing      the EPA’s separate analysis for existing
     percent capture. Recognizing the lead                   its proposal not to review the 2015           fossil fuel-fired steam generating units.
     time that is necessary for new base load                NSPS, and, instead, will continue to          Though the record evidence (including,
     combustion turbines to plan for and                     consider whether to review the 2015           for example, modeling results) often
     install the second component of the                     NSPS. As developments warrant, the            addresses the availability, performance,
     BSER (i.e., 90 percent CCS), including                  EPA will determine either to conduct a        and expected implementation of the
     the time that is needed to deploy the                   review, and propose revised standards         technologies at both existing fossil fuel-
     associated infrastructure (CO2 pipelines,               of performance, or not conduct a review.      fired steam generating units and new
     storage sites, etc.), the EPA is finalizing                Also, in this final action, the EPA is     fossil fuel-fired combustion turbines in
     a second phase compliance deadline of                   withdrawing the 2018 proposed                 the same record documents, the
     January 1, 2032, for this second                        amendments 10 to the NSPS for GHG             evidence for each evaluation stands on
     component of the standard.                              emissions from coal-fired EGUs.               its own, and is independently sufficient
        The EPA has identified highly                                                                      to support each of the final BSERs.
                                                             5. Severability
     efficient simple cycle generation as the                                                                 In addition, within section I.C.1, the
     BSER for intermediate load combustion                      This final action is composed of four
                                                             independent rules: the repeal of the          final action to repeal the ACE Rule is
     turbines. For low load combustion                                                                     severable from the withdrawal of the
     turbines, the EPA is finalizing its                     ACE rule; GHG emission guidelines for
                                                             existing fossil fuel-fired steam              NSR revisions that were proposed in
     proposed determination that the BSER
                                                             generating units; NSPS for GHG                parallel with the ACE Rule proposal.
     is the use of lower-emitting fuels.
                                                             emissions from new and reconstructed          Within the group of actions for existing
     4. New, Modified, and Reconstructed                     fossil fuel-fired combustion turbines;        fossil fuel-fired steam generating units
     Fossil Fuel-Fired Steam Generating                      and revisions to the standards of             in section I.C.2, the requirements for
     Units                                                   performance for new, modified, and            each subcategory of existing sources are
        The EPA is finalizing revisions of the               reconstructed fossil fuel-fired steam         severable from the requirements for
     standards of performance for coal-fired                 generating units. The EPA could have          each other subcategory of existing
     steam generating units that undertake a                 finalized each of these rules in separate     sources. For example, if a court were to
     large modification (i.e., a modification                Federal Register notices as separate          invalidate the BSER and associated
     that increases its hourly emission rate                 final actions. The Agency decided to          emission standard for units in the
     by more than 10 percent) to mirror the                  include these four independent rules in       medium-term subcategory, the BSER
     emission guidelines for existing coal-                  a single Federal Register notice for          and associated emission standard for
     fired steam generators. This reflects the               administrative ease because they all          units in the long-term subcategory could
     EPA’s determination that such modified                  relate to climate pollution from the          function sensibly because the
     sources are capable of meeting the same                 fossil fuel-fired electric generating units   effectiveness of the BSER for each
     presumptive standards that the EPA is                   source category. Accordingly, despite         subcategory is not dependent on the
     finalizing for existing steam EGUs.                     grouping these rules into one single          effectiveness of the BSER for other
     Further, this revised standard for                      Federal Register notice, the EPA              subcategories. Within the group of
     modified coal-fired steam EGUs will                     intends that each of these rules              actions for new and reconstructed fossil
     avoid creating an unjustified disparity                 described in sections I.C.1 through I.C.4     fuel-fired combustion turbines in
     between emission control obligations for                is severable from the other.                  section I.C.3, the following actions are
     modified and existing coal-fired steam                     In addition, each rule is severable as     severable: the requirements for each
     EGUs.                                                   a practical matter. For example, the EPA      subcategory of new and reconstructed
        The EPA did not propose, and we are                  would repeal the ACE Rule separate and        turbines are severable from the
     not finalizing, any review or revision of               apart from finalizing new standards for       requirements for each other subcategory;
     the 2015 standard for large                             these sources as explained herein.            and within the subcategory for base load
     modifications of oil- or gas-fired steam                Moreover, the BSER and associated             turbines, the requirements for each of
     generating units because we are not                     emission guidelines for existing fossil       the two components are severable from
     aware of any existing oil- or gas-fired                 fuel-fired steam generating units are         the requirements for the other
     steam generating EGUs that have                         independent of and would have been            component. Each of these standards can
     undertaken such modifications or have                   the same regardless of whether the EPA        function sensibly without the others.
     plans to do so, and, unlike an existing                 finalized the other parts of this rule. In    For example, the BSER for low load,
     coal-fired steam generating EGUs,                       determining the BSER for existing fossil      intermediate load, and base load
     existing oil- or gas-fired steam units                  fuel-fired steam generating units, the        subcategories is based on the
     have no incentive to undertake such a                   EPA considered only the technologies          technologies the EPA determined met
     modification to avoid the requirements                  available to reduce GHG emissions at          the statutory standards for those
     we are including in this final rule for                 those sources and did not take into           subcategories and are independent from
     existing oil- or gas-fired steam                        consideration the technologies or             each other. And in the base load
     generating units.                                       standards of performance for new fossil       subcategory units may practically be
        As discussed in the proposal                         fuel-fired combustion turbines. The           constructed using the most efficient
     preamble, the EPA is not revising the                   same is true for the Agency’s evaluation      technology without then installing CCS
     NSPS for newly constructed or                           and determination of the BSER and             and likewise may install CCS on a
     reconstructed fossil fuel-fired steam                   associated standards of performance for       turbine system that was not constructed
     electric generating units (EGU) at this                 new fossil fuel-fired combustion              with the most efficient technology.
     time because the EPA anticipates that                   turbines. The EPA identified the BSER         Within the group of actions for new,
     few, if any, such units will be                         and established the standards of              modified, and reconstructed fossil fuel-
     constructed or reconstructed in the                     performance by examining the controls         fired steam generating units in section
     foreseeable future. However, the EPA                                                                  I.C.4, the revisions of the standards of
     has recently become aware that a new                     10 See 83 FR 65424, December 20, 2018.       performance for coal-fired steam


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                                                 generators that undertake a large                          These final actions respond to this       of other sensitivity analyses looking at
                                                 modification are severable from the                     input and feedback in multiple ways,         higher electricity demand (load growth)
                                                 withdrawal of the 2018 proposal to                      including through changes to the             and impact of the EPA’s additional
                                                 revise the NSPS for emissions of GHG                    universe of affected sources, longer         regulatory actions affecting the power
                                                 from EGUs. Each of the actions in these                 compliance timeframes for CCS                sector. These sensitivity analyses
                                                 final rules that the EPA has identified as              implementation, and other compliance         indicate that, in the context of higher
                                                 severable is functionally independent—                  flexibilities, as well as articulation of    demand and other pending power sector
                                                 i.e., may operate in practice                           the appropriate use of RULOF to              rules, the industry has available
                                                 independently of the other actions.                     address reliability issues during state      pathways to comply with this rule that
                                                    In addition, while the EPA is                        plan development and in subsequent           respect NERC reliability considerations
                                                 finalizing this rule at the same time as                state plan revisions. In addition to these   and constraints.
                                                 other final rules regulating different                  adjustments, the EPA is finalizing              In addition, the EPA notes that
                                                 types of pollution from EGUs—                           several programmatic mechanisms              significant planning and regulatory
                                                 specifically the Supplemental Effluent                  specifically designed to address             mechanisms exist to ensure that
                                                 Limitations Guidelines and Standards                    reliability concerns raised by               sufficient generation resources are
                                                 for the Steam Electric Power Generating                 commenters. For existing fossil fuel-        available to maintain reliability. The
                                                 Point Source Category (FR 2024–09815,                   fired EGUs, a short-term reliability         EPA’s consideration of reliability in this
                                                 EPA–HQ–OW–2009–0819; FRL–8794–                          emergency mechanism is available for         rulemaking has also been informed by
                                                 02–OW); National Emission Standards                     states to provide more flexibility by        consultation with the DOE under the
                                                 for Hazardous Air Pollutants: Coal and                  using an alternative emission limitation     auspices of the March 9, 2023,
                                                 Oil-Fired Electric Utility Steam                        during acute operational emergencies         memorandum of understanding
                                                 Generating Units Review of the Residual                 when the grid might be temporarily           (MOU) 11 signed by the EPA
                                                 Risk and Technology Review (FR 2024–                    under heavy strain. A similar short-term     Administrator and the Secretary of
                                                 09148, EPA–HQ–OAR–2018–0794;                            reliability emergency mechanism is also      Energy, as well as by consultation with
                                                 FRL–6716.3–02–OAR); Hazardous and                       available to new sources. In addition,       FERC expert staff. In these final actions,
                                                 Solid Waste Management System:                          the EPA is creating an option for states     the EPA has included various
                                                 Disposal of Coal Combustion Residuals                   to provide for a compliance date             flexibilities that allow power companies
                                                 From Electric Utilities; Legacy CCR                     extension for existing sources of up to      and grid operators to plan for achieving
                                                 Surface Impoundments (FR 2024–                          1 year under certain circumstances for       feasible and necessary reductions of
                                                 09157, EPA–HQ–OLEM–2020–0107;                           sources that are installing control          GHGs from affected sources consistent
                                                 FRL–7814–04–OLEM)—and has                               technologies to comply with their            with the EPA’s statutory charge while
                                                 considered the interactions between and                 standards of performance. Lastly, states     ensuring that the rule will not interfere
                                                 cumulative effects of these rules, each                 may also provide, by inclusion in their      with systems operators’ ability to ensure
                                                 rule is based on different statutory                    state plans, a reliability assurance         grid reliability.
                                                 authority, a different record, and is                   mechanism of up to 1 year that under            A thorough description of how
                                                 completely independent of the other                     limited circumstances would allow            adjustments in the final rules address
                                                 rules.                                                  existing units that had planned to cease     reliability issues, the EPA’s outreach to
                                                                                                         operating by a certain date to               balancing authorities, EPA’s
                                                 D. Grid Reliability Considerations                      temporarily remain available to support      supplemental notice, as well as the
                                                    The EPA is finalizing multiple                       reliability. Any extensions exceeding 1      introduction of mechanisms to address
                                                 adjustments to the proposed rules that                  year must be addressed through a state       short- and long-term reliability needs is
                                                 ensure the requirements in these final                  plan revision. In order to utilize this      presented in section XII.F of this
                                                 actions can be implemented without                      reliability pathway, there must be an        preamble.
                                                 compromising the ability of power                       adequate demonstration of need and
                                                                                                                                                      E. Environmental Justice Considerations
                                                 companies, grid operators, and state and                certification by a reliability authority,
                                                 Federal energy regulators to maintain                   and approval by the appropriate EPA            Consistent with Executive Order
                                                 resource adequacy and grid reliability.                 Regional Administrator. The EPA plans        (E.O.) 14096, and the EPA’s
                                                 In response to the May 2023 proposed                    to seek the advice of FERC for extension     commitment to upholding
                                                 rule, the EPA received extensive                        requests exceeding 6 months. Similarly,      environmental justice (EJ) across its
                                                 comments from balancing authorities,                    for new fossil fuel-fired combustion         policies and programs, the EPA
                                                 independent system operators and                        turbines, the EPA is creating a              carefully considered the impacts of
                                                 regional transmission organizations,                    mechanism whereby baseload units may         these actions on communities with
                                                 state regulators, power companies, and                  request a 1-year extension of their CCS      environmental justice concerns. As part
                                                 other stakeholders on the need for the                  compliance deadline under certain            of the regulatory development process
                                                 final rule to accommodate resource                      circumstances.                               for these rulemakings, and consistent
                                                 adequacy and grid reliability needs. The                   The EPA has evaluated the resource        with directives set forth in multiple
                                                 EPA also engaged with the balancing                     adequacy implications of these actions       Executive Orders, the EPA conducted
                                                 authorities that submitted comments to                  in the final technical support document      extensive outreach with interested
                                                 the docket, the staff and Commissioners                 (TSD), Resource Adequacy Analysis,           parties including Tribal nations and
                                                 of the Federal Energy Regulatory                        and conducted capacity expansion             communities with environmental justice
                                                 Commission (FERC), the Department of                    modeling of the final rules in a manner      concerns. These opportunities gave the
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                                                 Energy (DOE), the North American                        that takes into account resource             EPA a chance to hear directly from the
                                                 Electric Reliability Corporation (NERC),                adequacy needs. The EPA finds that           public, including from communities
                                                 and other expert entities during the                    resource adequacy can be maintained          potentially impacted by these final
                                                 course of this rulemaking. Finally, at the              with the final rules. The EPA modeled          11 Joint Memorandum of Understanding on
                                                 invitation of FERC, the EPA participated                a scenario that complies with the final      Interagency Communication and Consultation on
                                                 in FERC’s Annual Reliability Technical                  rules and that meets resource adequacy       Electric Reliability (March 9, 2023). https://
                                                 Conference on November 9, 2023.                         needs. The EPA also performed a variety      www.epa.gov/power-sector/electric-reliability-mou.



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                                                 actions. The EPA took this feedback into                Furthermore, the EPA plans to review                country may experience slower or faster
                                                 account in its development of these                     and update as needed its guidance on                rates of decline in ozone and PM2.5
                                                 final actions.12 The EPA’s analysis of                  NSR permitting, specifically with                   pollution over time due to the changes
                                                 environmental justice in these final                    respect to BACT determinations for                  in generation and utilization resulting
                                                 actions is briefly summarized here and                  GHG emissions and consideration of co-              from these rules. Additionally, our
                                                 discussed in further detail in sections                 pollutant increases from sources                    comparison of future air quality
                                                 XII.E and XIII.J of the preamble and                    installing CCS. For the reasons                     conditions with and without these rules
                                                 section 6 of the regulatory impact                      explained in section VII.C, the EPA is              suggests that while these actions are
                                                 analysis (RIA).                                         finalizing the determination that CCS is            anticipated to lead to modest but
                                                    Several environmental justice                        the BSER for certain subcategories of               widespread reductions in ambient levels
                                                 organizations and community                             new and existing EGUs based on its                  of PM2.5 and ozone for a large majority
                                                 representatives raised significant                      consideration of all of the statutory               of the nation’s population, there is
                                                 concerns about the potential health,                    criteria for BSER, including emission               potential for some geographic areas and
                                                 environmental, and safety impacts of                    reductions, cost, energy requirements,              demographic groups to experience small
                                                 CCS. The EPA takes these concerns                       and non-air health and environmental                increases in ozone concentrations
                                                 seriously, agrees that any impacts to                   considerations. At the same time, the               relative to the baseline levels which are
                                                 historically disadvantaged and                          EPA recognizes the critical importance              projected to be substantially lower than
                                                 overburdened communities are                            of ensuring that the regulatory                     today’s levels.
                                                 important to consider, and has carefully                framework performs as intended to                      It is important to recognize that while
                                                 considered these concerns as it finalized               protect communities.                                these projections of emissions changes
                                                 its determinations of the BSERs for                        These actions are focused on                     and resulting air quality changes under
                                                 these rules. The Agency acknowledges                    establishing NSPS and emission                      various illustrative compliance
                                                 that while these final actions will result              guidelines for GHGs that states will                scenarios are based upon the best
                                                 in large reductions of both GHGs and                    implement to significantly reduce GHGs              information available to the EPA at this
                                                 other emissions that will have                          and move us a step closer to avoiding               time, with regard to existing sources,
                                                 significant positive benefits, there is the             the worst impacts of climate change,                each state will ultimately be responsible
                                                 potential for localized increases in                    which is already having a                           for determining the future operation of
                                                 emissions, particularly if units installing             disproportionate impact on                          fossil fuel-fired steam generating units
                                                 CCS operate for more hours during the                   communities with environmental justice              located within its jurisdiction. The EPA
                                                 year and/or for more years than they                    concerns. The EPA analyzed several                  expects that, in making these
                                                 would have otherwise. However, as                       illustrative scenarios representing                 determinations, states will consider a
                                                 discussed in section VII.C.1.a.iii(B), a                potential compliance outcomes and                   number of factors and weigh input from
                                                 robust regulatory framework exists to                   evaluated the potential impacts that                the wide range of potentially affected
                                                 reduce the risks of localized emissions                 these actions may have on emissions of              stakeholders. The meaningful
                                                 increases in a manner that is protective                GHG and other health-harming air                    engagement requirements discussed in
                                                 of public health, safety, and the                       pollutants from fossil fuel-fired EGUs,             section X.E.1.b.i of this preamble will
                                                 environment. The Council on                             as well as how these changes in                     ensure that all interested stakeholders—
                                                 Environmental Quality’s (CEQ) February                  emissions might affect air quality and              including community members
                                                 2022 Carbon Capture, Utilization, and                   public health, particularly for                     adversely impacted by pollution, energy
                                                 Sequestration Guidance and the EPA’s                    communities with EJ concerns.                       workers affected by construction and/or
                                                 evaluation of BSER recognize that                          The EPA’s national-level analysis of             other changes in operation at fossil-fuel-
                                                 multiple Federal agencies have                          emission reduction and public health                fired power plants, consumers and other
                                                 responsibility for regulating and                       impacts, which is documented in                     interested parties—will have an
                                                 permitting CCS projects, along with                     section 6 of the RIA and summarized in              opportunity to have their concerns
                                                 state and tribal governments. As the                    greater detail in section XII.A and XII.D           heard as states make decisions
                                                 CEQ has noted, Federal agencies have                    of this preamble, finds that these actions          balancing a multitude of factors
                                                 ‘‘taken actions in the past decade to                   achieve nationwide reductions in EGU                including appropriate standards of
                                                 develop a robust carbon capture,                        emissions of multiple health-harming                performance, compliance strategies, and
                                                 utilization, and sequestration/storage                  air pollutants including nitrogen oxides            compliance flexibilities for existing
                                                 (CCUS) regulatory framework to protect                  (NOX), sulfur dioxide (SO2), and fine               EGUs, as well as public health and
                                                 the environment and public health                       particulate matter (PM2.5), resulting in            environmental considerations. The EPA
                                                 across multiple statutes.’’ 13 14                       public health benefits. The EPA also                believes that these provisions, together
                                                                                                         evaluated how the air quality impacts               with the protections referenced above,
                                                    12 Specifically, the EPA has relied on, and is
                                                                                                         associated with these final actions are             can reduce the risks of localized
                                                 incorporating as a basis for this rulemaking,
                                                                                                         distributed, with particular focus on               emissions increases in a manner that is
                                                 analyses regarding possible adverse environmental                                                           protective of public health, safety, and
                                                 effects from CCS, including those highlighted by        communities with EJ concerns. As
                                                 commenters. Consideration of these effects is           discussed in the RIA, our analysis                  the environment.
                                                 permissible under CAA section 111(a)(1). Although       indicates that baseline ozone and PM2.5             F. Energy Workers and Communities
                                                 the EPA also conducted analyses of
                                                 disproportionate impacts pursuant to E.O. 14096,        concentration will decline substantially               These final actions include
                                                 see section XII.E, the EPA did not consider or rely     relative to today’s levels. Relative to             requirements for meaningful
                                                 on these analyses as a basis for these rules.           these low baseline levels, ozone and                engagement in development of state
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                                                    13 87 FR 8808, 8809 (February 16, 2022).
                                                                                                         PM2.5 concentrations will decrease                  plans, including with energy workers
                                                    14 This framework includes, among other things,
                                                                                                         further in virtually all areas of the               and communities. These communities,
                                                 the EPA regulation of geologic sequestration wells
                                                 under the Underground Injection Control (UIC)           country, although some areas of the                 including energy workers employed at
                                                 program of the Safe Drinking Water Act; required                                                            affected EGUs, workers who may
                                                 reporting and public disclosure of geologic             Gas Reporting Program (GHGRP); and safety
                                                 sequestration activity, as well as implementation of    regulations for CO2 pipelines administered by the
                                                                                                                                                             construct and install pollution control
                                                 rigorous monitoring, reporting, and verification of     Pipeline and Hazardous Materials and Safety         technology, workers employed by fuel
                                                 geologic sequestration under the EPA’s Greenhouse       Administration (PHMSA).                             extraction and delivery, organizations


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                                                 representing these workers, and                         section VII.B of this preamble for further                  The addition of two reliability-related
                                                 communities living near affected EGUs,                  discussion.                                              instruments: Commenters expressed
                                                 are impacted by power sector trends on                     The extension of the compliance date                  concerns that these rules, in
                                                 an ongoing basis and by these final                     for existing coal-fired steam generating                 combination with other factors, may
                                                 actions, and the EPA expects that states                units to meet a standard of performance                  affect the reliability of the bulk power
                                                 will include these stakeholders as part                 based on implementation of CCS. The                      system. In response to these comments
                                                 of their constructive engagement under                  EPA proposed a compliance date for                       the EPA engaged extensively with
                                                 the requirements in this rule.                          implementation of CCS for long-term                      balancing authorities, power companies,
                                                   The EPA consulted with the Federal                    coal-fired steam generating units of                     reliability experts, and regulatory
                                                 Interagency Working Group on Coal and                   January 1, 2030. The EPA received                        authorities responsible for reliability to
                                                 Power Plant Communities and                             comments asserting that this deadline                    inform its decisions in these final rules.
                                                 Economic Revitalization (Energy                         did not provide adequate lead time. In                   As described later in this preamble, the
                                                 Communities IWG) in development of                      consideration of those comments, and                     EPA has made adjustments in these
                                                 these rules and the meaningful                          the record as a whole, the EPA is                        final rules that will support power
                                                 engagement requirements. The EPA                        finalizing a CCS compliance date of                      companies, grid operators, and states in
                                                 notes that the Energy Communities IWG                   January 1, 2032 for these sources.                       maintaining the reliability of the electric
                                                 has provided resources to help energy                      The removal of low-GHG hydrogen co-                   grid during the implementation of these
                                                 communities access the expanded                         firing as a BSER pathway and only use                    final rules. In addition, the EPA has
                                                 federal resources made available by the                 of low-GHG hydrogen as a compliance                      undertaken an analysis of the reliability
                                                 Bipartisan Infrastructure Law, CHIPS                    option: The EPA is not finalizing its                    and resource adequacy implications of
                                                 and Science Act, and Inflation                          proposed BSER pathway of low-GHG                         these final rules that supports the
                                                 Reduction Act, many of which are                        hydrogen co-firing for new and                           Agency’s conclusion that these final
                                                 relevant to the development of state                    reconstructed base load and                              rules can be implemented without
                                                 plans.                                                  intermediate load combustion turbines                    adverse consequences for grid
                                                 G. Key Changes From Proposal                            in accordance with CAA section                           reliability. Further, the EPA is finalizing
                                                                                                         111(a)(1). The EPA is also not finalizing                two reliability-related instruments as an
                                                    The key changes from proposal in                                                                              additional layer of safeguards for
                                                 these final actions are: (1) the reduction              its proposed requirement that only low-
                                                                                                         GHG hydrogen may be co-fired in a                        reliability. These instruments include a
                                                 in number of subcategories for existing                                                                          reliability mechanism for short-term
                                                 coal-fired steam generating units, (2) the              combustion turbine for the purpose of
                                                                                                         compliance with the standards of                         emergency issues, and a reliability
                                                 extension of the compliance date for                                                                             assurance mechanism, or compliance
                                                 existing coal-fired steam generating                    performance. These decisions are based
                                                                                                         on uncertainties identified for specific                 flexibility, for units that have chosen
                                                 units to meet a standard of performance                                                                          compliance pathways with enforceable
                                                 based on implementation of CCS, (3) the                 criteria used to evaluate low-GHG
                                                                                                         hydrogen co-firing as a potential BSER,                  retirement dates, provided there is a
                                                 removal of low-GHG hydrogen co-firing                                                                            documented and verified reliability
                                                 as a BSER pathway, and (4) the addition                 and after further analysis in response to
                                                                                                         public comments, the EPA has                             concern. In addition, the EPA is
                                                 of two reliability-related instruments. In                                                                       finalizing compliance extensions for
                                                 addition, (5), the EPA is not finalizing                determined that these uncertainties
                                                                                                         prevent the EPA from concluding that                     unanticipated delays with control
                                                 proposed requirements for existing                                                                               technology implementation.
                                                 fossil fuel-fired stationary combustion                 low-GHG hydrogen co-firing is a
                                                                                                         component of the ‘‘best’’ system of                      Specifically, as described in greater
                                                 turbines at this time.                                                                                           detail in section XII.F of this preamble,
                                                    The reduction in number of                           emission reduction at this time. Under
                                                                                                         CAA section 111, the EPA establishes                     the EPA is finalizing the following
                                                 subcategories for existing coal-fired
                                                                                                         standards of performance but does not                    features and changes from the proposal
                                                 steam generating units: The EPA
                                                                                                         mandate use of any particular                            that will provide even greater certainty
                                                 proposed four subcategories for existing
                                                                                                         technology to meet those standards.                      that these final rules are sensitive to
                                                 coal-fired steam generating units, which
                                                                                                         Therefore, certain sources may elect to                  reliability-related issues and
                                                 would have distinguished these units by
                                                                                                         co-fire hydrogen for compliance with                     constructed in a manner that does not
                                                 operating horizon and by load level.
                                                 These included subcategories for                        the final standards of performance, even                 interfere with grid operators’
                                                 existing coal-fired EGUs planning to                    absent the technology being a BSER                       responsibility to deliver reliable power:
                                                                                                         pathway.15 See section VIII.F.5 of this                     (1) longer compliance timelines for
                                                 cease operations in the imminent-term
                                                                                                         preamble for further discussion.                         existing coal-fired steam generating
                                                 (i.e., prior to January 1, 2032) and those
                                                                                                                                                                  units;
                                                 planning to cease operations in the near-                                                                           (2) a mechanism to extend
                                                                                                           15 The EPA is not placing qualifications on the
                                                 term (i.e., prior to January 1, 2035).                                                                           compliance timelines by up to 1 year in
                                                                                                         type of hydrogen a source may elect to co-fire at this
                                                 While commenters were generally                         time (see section VIII.F.6.a of this preamble for        the case of unforeseen circumstances,
                                                 supportive of the proposed                              further discussion). The Agency continues to             outside of an owner/operator’s control,
                                                 subcategorization approach, some                        recognize that even though the combustion of
                                                                                                                                                                  that delay the ability to apply controls
                                                 requested that the cease-operation-by                   hydrogen is zero-GHG emitting, its production can
                                                                                                         entail a range of GHG emissions, from low to high,       (e.g., supply chain challenges or
                                                 date for the imminent-term subcategory                  depending on the production method. Thus, even           permitting delays);
                                                 be extended and the utilization limit for               though the EPA is not finalizing the low-GHG                (3) transparent unit-specific
                                                 the near-term subcategory be relaxed.                   hydrogen co-firing as a BSER, as proposed, it            compliance information for EGUs that
                                                 The EPA is not finalizing the imminent-                 maintains that the overall GHG profile of a
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                                                                                                         particular method of hydrogen production should          will allow grid operators to plan for
                                                 term and near-term subcategories of                     be a primary consideration for any source that           system changes with greater certainty
                                                 coal-fired steam generating units.                      decides to co-fire hydrogen to ensure that overall       and precision;
                                                 Rather, the EPA is finalizing an                        GHG reductions and important climate benefits are           (4) a short-term reliability mechanism
                                                 applicability exemption for coal-fired                  achieved. The EPA also notes the anticipated final
                                                                                                         rule from the U.S. Department of the Treasury            to allow affected EGUs to operate at
                                                 steam generating units demonstrating                    pertaining to clean hydrogen production tax and
                                                 that they plan to permanently cease                     energy credits, which in its proposed form contains      administered by the U.S. Department of Energy,
                                                 operation before January 1, 2032. See                   certain eligibility parameters, as well as programs      such as the recent H2Hubs selections.



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                                                 baseline emission rates during                          incentives in the Inflation Reduction        existing sources. Section 111(a)(6) of the
                                                 documented reliability emergencies;                     Act (IRA) (i.e., a 75 percent reduction in   CAA defines an ‘‘existing source’’ as
                                                 and                                                     emissions from the power sector from         ‘‘any stationary source other than a new
                                                    (5) a reliability assurance mechanism                2022 levels), the average capacity factor    source.’’ Therefore, the emission
                                                 to allow states to delay cease operation                for existing natural gas-fired stationary    guidelines would not apply to any EGUs
                                                 dates by up to 1 year in cases where the                combustion turbines decreases.               that are new after January 8, 2014, or
                                                 planned cease operation date is forecast                Therefore, the EPA’s proposal to focus       reconstructed after June 18, 2014, the
                                                 to disrupt system reliability.                          only on the largest units with the           applicability dates of 40 CFR part 60,
                                                    Not finalizing proposed requirements                 highest capacity factors may not be the      subpart TTTT. Under the Tribal
                                                 for existing fossil fuel-fired stationary               most effective policy design for             Authority Rule (TAR), eligible tribes
                                                 combustion turbines at this time: The                   reducing GHG emissions from these            may seek approval to implement a plan
                                                 EPA proposed emission guidelines for                    sources.                                     under CAA section 111(d) in a manner
                                                 large (i.e., greater than 300 MW),                         Recognizing the importance of             similar to a state. See 40 CFR part 49,
                                                 frequently operated (i.e., with an annual               reducing emissions from all fossil fuel-     subpart A. Tribes may, but are not
                                                 capacity factor of greater than 50                      fired EGUs, the EPA is not finalizing the    required to, seek approval for treatment
                                                 percent), existing fossil fuel-fired                    proposed emission guidelines for             in a manner similar to a state for
                                                 stationary combustion turbines. The                     certain existing fossil fuel-fired           purposes of developing a tribal
                                                 EPA received a wide range of comments                   stationary combustion turbines at this       implementation plan (TIP)
                                                 on the proposed guidelines. Multiple                    time. Instead, the EPA intends to issue      implementing the emission guidelines
                                                 commenters suggested that the proposed                  a new, more comprehensive proposal to        codified in 40 CFR part 60, subpart
                                                 provisions would largely result in                      regulate GHGs from existing sources.         UUUUb. The TAR authorizes tribes to
                                                 shifting of generation away from the                    The new proposal will focus on               develop and implement their own air
                                                 most efficient natural gas-fired turbines               achieving greater emission reductions        quality programs, or portions thereof,
                                                 to less efficient natural gas-fired                     from existing stationary combustion          under the CAA. However, it does not
                                                 turbines. Commenters stated that, as                    turbines—which will soon be the largest      require tribes to develop a CAA
                                                 emissions from coal-fired steam                         stationary sources of GHG emissions—         program. Tribes may implement
                                                 generating units decreased, existing                    while taking into account other factors      programs that are most relevant to their
                                                 natural gas-fired EGUs were poised to                   including the local non-GHG impacts of       air quality needs. If a tribe does not seek
                                                 become the largest source of GHG                        gas turbine generation and the need for      and obtain the authority from the EPA
                                                 emissions in the power sector.                          reliable, affordable electricity.            to establish a TIP, the EPA has the
                                                 Commenters noted that these units play                                                               authority to establish a Federal CAA
                                                 an important role in grid reliability,                  II. General Information                      section 111(d) plan for designated
                                                 particularly as aging coal-fired EGUs                   A. Action Applicability                      facilities that are located in areas of
                                                 retire. Commenters further noted that                                                                Indian country.16 A Federal plan would
                                                 the existing fossil fuel-fired stationary                  The source category that is the subject   apply to all designated facilities located
                                                 combustion turbines that were not                       of these actions is composed of fossil       in the areas of Indian country covered
                                                 covered by the proposal (i.e., the smaller              fuel-fired electric utility generating       by the Federal plan unless and until the
                                                 and less frequently operating units) are                units. The North American Industry           EPA approves a TIP applicable to those
                                                 often less efficient, less well controlled              Classification System (NAICS) codes for      facilities.
                                                 for other pollutants such as NOX, and                   the source category are 221112 and
                                                 are more likely to be located near                      921150. The list of categories and           B. Where To Get a Copy of This
                                                 population centers and communities                      NAICS codes is not intended to be            Document and Other Related
                                                 with environmental justice concerns.                    exhaustive, but rather provides a guide      Information
                                                    The EPA agrees with commenters                       for readers regarding the entities that         In addition to being available in the
                                                 who observed that GHG emissions from                    these final actions are likely to affect.    docket, an electronic copy of these final
                                                 existing natural gas-fired stationary                      Final amendments to 40 CFR part 60,       rulemakings is available on the internet
                                                 combustion turbines are a growing                       subpart TTTT, are directly applicable to     at https://www.epa.gov/stationary-
                                                 portion of the emissions from the power                 affected facilities that began               sources-air-pollution/greenhouse-gas-
                                                 sector. This is consistent with EPA                     construction after January 8, 2014, but      standards-and-guidelines-fossil-fuel-
                                                 modeling that shows that by 2030 these                  before May 23, 2023, and affected            fired-power. Following signature by the
                                                 units will represent the largest portion                facilities that began reconstruction or      EPA Administrator, the EPA will post a
                                                 of GHG emissions from the power                         modification after June 18, 2014, but        copy of these final rulemakings at this
                                                 sector. The EPA agrees that it is vital to              before May 23, 2023. The NSPS codified       same website. Following publication in
                                                 promulgate emission guidelines to                       in 40 CFR part 60, subpart TTTTa, is         the Federal Register, the EPA will post
                                                 address GHG emissions from these                        directly applicable to affected facilities   the Federal Register version of the final
                                                 sources, and that the EPA has a                         that begin construction, reconstruction,     rules and key technical documents at
                                                 responsibility to do so under section                   or modification on or after May 23,          this same website.
                                                 111(d) of the Clean Air Act. The EPA                    2023. Federal, state, local, and tribal
                                                 also agrees with commenters who noted                   government entities that own and/or          C. Judicial Review and Administrative
                                                 that focusing only on the largest and                   operate EGUs subject to 40 CFR part 60,      Review
                                                 most frequently operating units, without                subpart TTTT or TTTTa, are affected by         Under CAA section 307(b)(1), judicial
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                                                 also addressing emissions from other                    these amendments and standards.              review of these final actions is available
                                                 units, as the May 2023 proposed rule                       The emission guidelines codified in       only by filing a petition for review in
                                                 provided, may not be the most effective                 40 CFR part 60, subpart UUUUb, are for
                                                 way to address emissions from this                      states to follow in developing,                 16 See the EPA’s website, https://www.epa.gov/

                                                 sector. The EPA’s modeling shows that                   submitting, and implementing state           tribal/tribes-approved-treatment-state-tas, for
                                                                                                                                                      information on those tribes that have treatment as
                                                 over time as the power sector comes                     plans to establish performance               a state for specific environmental regulatory
                                                 closer to reaching the phase-out                        standards to reduce emissions of GHGs        programs, administrative functions, and grant
                                                 threshold of the clean electricity                      from designated facilities that are          programs.



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                                                 the United States Court of Appeals for                  assessments and the EPA documents             climate change touches nearly every
                                                 the District of Columbia Circuit by July                that are briefly described in this section,   aspect of public welfare 17 in the U.S.,
                                                 8, 2024. These final actions are                        as well as in the technical and scientific    including the following: changes in
                                                 ‘‘standard[s] of performance or                         information supporting them. One of           water supply and quality due to changes
                                                 requirement[s] under section 111,’’ and,                those documents is the EPA’s 2009             in drought and extreme rainfall events;
                                                 in addition, are ‘‘nationally applicable                ‘‘Endangerment and Cause or Contribute        increased risk of storm surge and
                                                 regulations promulgated, or final action                Findings for Greenhouse Gases Under           flooding in coastal areas and land loss
                                                 taken, by the Administrator under [the                  Section 202(a) of the CAA’’ (74 FR            due to inundation; increases in peak
                                                 CAA],’’ CAA section 307(b)(1). Under                    66496, December 15, 2009) (‘‘2009             electricity demand and risks to
                                                 CAA section 307(b)(2), the requirements                 Endangerment Finding’’). In the 2009          electricity infrastructure; and the
                                                 established by this final rule may not be               Endangerment Finding, the                     potential for significant agricultural
                                                 challenged separately in any civil or                   Administrator found under section             disruptions and crop failures (though
                                                 criminal proceedings brought by the                     202(a) of the CAA that elevated               offset to some extent by carbon
                                                 EPA to enforce the requirements.                        atmospheric concentrations of six key
                                                    Section 307(d)(7)(B) of the CAA                                                                    fertilization). These impacts are also
                                                                                                         well-mixed GHGs—CO2, methane (CH4),           global and may exacerbate problems
                                                 further provides that ‘‘[o]nly an                       nitrous oxide (N2O), HFCs,
                                                 objection to a rule or procedure which                                                                outside the U.S. that raise humanitarian,
                                                                                                         perfluorocarbons (PFCs), and sulfur
                                                 was raised with reasonable specificity                                                                trade, and national security issues for
                                                                                                         hexafluoride (SF6)—‘‘may reasonably be
                                                 during the period for public comment                                                                  the U.S. (74 FR 66530, December 15,
                                                                                                         anticipated to endanger the public
                                                 (including any public hearing) may be                                                                 2009).
                                                                                                         health and welfare of current and future
                                                 raised during judicial review.’’ This                   generations’’ (74 FR 66523, December             In 2016, the Administrator issued a
                                                 section also provides a mechanism for                   15, 2009). The 2009 Endangerment              similar finding for GHG emissions from
                                                 the EPA to convene a proceeding for                     Finding, together with the extensive          aircraft under section 231(a)(2)(A) of the
                                                 reconsideration, ‘‘[i]f the person raising              scientific and technical evidence in the      CAA.18 In the 2016 Endangerment
                                                 an objection can demonstrate to the EPA                 supporting record, documented that            Finding, the Administrator found that
                                                 that it was impracticable to raise such                 climate change caused by human                the body of scientific evidence amassed
                                                 objection within [the period for public                 emissions of GHGs threatens the public        in the record for the 2009 Endangerment
                                                 comment] or if the grounds for such                     health of the U.S. population. It             Finding compellingly supported a
                                                 objection arose after the period for                    explained that by raising average             similar endangerment finding under
                                                 public comment, (but within the time                    temperatures, climate change increases        CAA section 231(a)(2)(A) and also found
                                                 specified for judicial review) and if such              the likelihood of heat waves, which are       that the science assessments released
                                                 objection is of central relevance to the                associated with increased deaths and
                                                 outcome of the rule.’’ Any person                                                                     between the 2009 and 2016 Findings
                                                                                                         illnesses (74 FR 66497, December 15,          ‘‘strengthen and further support the
                                                 seeking to make such a demonstration to                 2009). While climate change also
                                                 us should submit a Petition for                                                                       judgment that GHGs in the atmosphere
                                                                                                         increases the likelihood of reductions in     may reasonably be anticipated to
                                                 Reconsideration to the Office of the                    cold-related mortality, evidence
                                                 Administrator, U.S. Environmental                                                                     endanger the public health and welfare
                                                                                                         indicates that the increases in heat          of current and future generations’’ (81
                                                 Protection Agency, Room 3000, WJC                       mortality will be larger than the
                                                 West Building, 1200 Pennsylvania Ave.                                                                 FR 54424, August 15, 2016).
                                                                                                         decreases in cold mortality in the U.S.
                                                 NW, Washington, DC 20460, with a                                                                         Since the 2016 Endangerment
                                                                                                         (74 FR 66525, December 15, 2009). The
                                                 copy to both the person(s) listed in the                                                              Finding, the climate has continued to
                                                                                                         2009 Endangerment Finding further
                                                 preceding FOR FURTHER INFORMATION                                                                     change, with new observational records
                                                                                                         explained that compared with a future
                                                 CONTACT section, and the Associate                                                                    being set for several climate indicators
                                                                                                         without climate change, climate change
                                                 General Counsel for the Air and                                                                       such as global average surface
                                                                                                         is expected to increase tropospheric
                                                 Radiation Law Office, Office of General                                                               temperatures, GHG concentrations, and
                                                                                                         ozone pollution over broad areas of the
                                                 Counsel (Mail Code 2344A), U.S.                                                                       sea level rise. Additionally, major
                                                                                                         U.S., including in the largest
                                                 Environmental Protection Agency, 1200                                                                 scientific assessments continue to be
                                                                                                         metropolitan areas with the worst
                                                 Pennsylvania Ave. NW, Washington, DC                                                                  released that further advance our
                                                                                                         tropospheric ozone problems, and
                                                 20460.                                                                                                understanding of the climate system and
                                                                                                         thereby increase the risk of adverse
                                                 III. Climate Change Impacts                             effects on public health (74 FR 66525,        the impacts that GHGs have on public
                                                    Elevated concentrations of GHGs have                 December 15, 2009). Climate change is         health and welfare for both current and
                                                 been warming the planet, leading to                     also expected to cause more intense           future generations. These updated
                                                 changes in the Earth’s climate that are                 hurricanes and more frequent and              observations and projections document
                                                 occurring at a pace and in a way that                   intense storms of other types and heavy       the rapid rate of current and future
                                                 threatens human health, society, and the                precipitation, with impacts on other
                                                 natural environment. While the EPA is                   areas of public health, such as the              17 The CAA states in section 302(h) that ‘‘[a]ll


                                                 not making any new scientific or factual                potential for increased deaths, injuries,     language referring to effects on welfare includes,
                                                                                                         infectious and waterborne diseases, and       but is not limited to, effects on soils, water, crops,
                                                 findings with regard to the well-                                                                     vegetation, manmade materials, animals, wildlife,
                                                 documented impact of GHG emissions                      stress-related disorders (74 FR 66525         weather, visibility, and climate, damage to and
                                                 on public health and welfare in support                 December 15, 2009). Children, the             deterioration of property, and hazards to
                                                                                                         elderly, and the poor are among the           transportation, as well as effects on economic
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                                                 of these rules, the EPA is providing in                                                               values and on personal comfort and well-being,
                                                 this section a brief scientific background              most vulnerable to these climate-related
                                                                                                                                                       whether caused by transformation, conversion, or
                                                 on climate change to offer additional                   health effects (74 FR 66498, December         combination with other air pollutants.’’ 42 U.S.C.
                                                 context for these rulemakings and to                    15, 2009).                                    7602(h).
                                                                                                                                                          18 Finding That Greenhouse Gas Emissions From
                                                 help the public understand the                             The 2009 Endangerment Finding also
                                                                                                                                                       Aircraft Cause or Contribute to Air Pollution That
                                                 environmental impacts of GHGs.                          documented, together with the                 May Reasonably Be Anticipated To Endanger Public
                                                    Extensive information on climate                     extensive scientific and technical            Health and Welfare. 81 FR 54422, August 15, 2016
                                                 change is available in the scientific                   evidence in the supporting record, that       (‘‘2016 Endangerment Finding’’).



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                                                 climate change both globally and in the                     The most recent information                            of the 1901 to 2018 period.37 The rate
                                                 U.S.19 20 21 22 23 24 25 26 27 28 29 30 31                demonstrates that the climate is                         of sea level rise over the 20th century
                                                                                                           continuing to change in response to the                  was higher than in any other century in
                                                    19 USGCRP, 2017: Climate Science Special
                                                                                                           human-induced buildup of GHGs in the                     at least the last 2,800 years.38 Higher
                                                 Report: Fourth National Climate Assessment,               atmosphere. These recent assessments                     CO2 concentrations have led to
                                                 Volume I [Wuebbles, D.J., D.W. Fahey, K.A.
                                                 Hibbard, D.J. Dokken, B.C. Stewart, and T.K.              show that atmospheric concentrations of                  acidification of the surface ocean in
                                                 Maycock (eds.)]. U.S. Global Change Research              GHGs have risen to a level that has no                   recent decades to an extent unusual in
                                                 Program, Washington, DC, USA, 470 pp, doi:                precedent in human history and that                      the past 65 million years, with negative
                                                 10.7930/J0J964J6.                                         they continue to climb, primarily
                                                    20 USGCRP, 2016: The Impacts of Climate Change
                                                                                                                                                                    impacts on marine organisms that use
                                                                                                           because of both historical and current                   calcium carbonate to build shells or
                                                 on Human Health in the United States: A Scientific
                                                 Assessment. Crimmins, A., J. Balbus, J.L. Gamble,         anthropogenic emissions, and that these                  skeletons.39 Arctic sea ice extent
                                                 C.B. Beard, J.E. Bell, D. Dodgen, R.J. Eisen, N. Fann,    elevated concentrations endanger our                     continues to decline in all months of the
                                                 M.D. Hawkins, S.C. Herring, L. Jantarasami, D.M.          health by affecting our food and water                   year; the most rapid reductions occur in
                                                 Mills, S. Saha, M.C.                                      sources, the air we breathe, the weather
                                                    21 USGCRP, 2018: Impacts, Risks, and Adaptation                                                                 September (very likely almost a 13
                                                 in the United States: Fourth National Climate
                                                                                                           we experience, and our interactions                      percent decrease per decade between
                                                 Assessment, Volume II [Reidmiller, D.R., C.W.             with the natural and built                               1979 and 2018) and are unprecedented
                                                 Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis,        environments. For example,                               in at least 1,000 years.40 Human-
                                                 T.K. Maycock, and B.C. Stewart (eds.)]. U.S. Global       atmospheric concentrations of one of                     induced climate change has led to
                                                 Change Research Program, Washington, DC, USA,             these GHGs, CO2, measured at Mauna
                                                 1515 pp. doi:10.7930/NCA4.2018.                                                                                    heatwaves and heavy precipitation
                                                    22 IPCC, 2018: Global Warming of 1.5 °C. An IPCC       Loa in Hawaii and at other sites around                  becoming more frequent and more
                                                 Special Report on the impacts of global warming of        the world reached 419 parts per million                  intense, along with increases in
                                                 1.5 °C above pre-industrial levels and related global     (ppm) in 2022 (nearly 50 percent higher
                                                 greenhouse gas emission pathways, in the context
                                                                                                                                                                    agricultural and ecological droughts 41
                                                                                                           than preindustrial levels) 32 and have                   in many regions.42
                                                 of strengthening the global response to the threat of
                                                 climate change, sustainable development, and
                                                                                                           continued to rise at a rapid rate. Global
                                                                                                           average temperature has increased by                        The assessment literature
                                                 efforts to eradicate poverty [Masson-Delmotte, V., P.
                                                 Zhai, H.-O. Pörtner, D. Roberts, J. Skea, P.R. Shukla,   about 1.1 °C (2.0 °F) in the 2011–2020                   demonstrates that modest additional
                                                 A. Pirani, W. Moufouma-Okia, C. Péan, R. Pidcock,        decade relative to 1850–1900.33 The                      amounts of warming may lead to a
                                                 S. Connors, J.B.R. Matthews, Y. Chen, X. Zhou, M.I.       years 2015–2021 were the warmest 7                       climate different from anything humans
                                                 Gomis, E. Lonnoy, T. Maycock, M. Tignor, and T.
                                                 Waterfield (eds.)].                                       years in the 1880–2021 record,                           have ever experienced. The 2022 CO2
                                                    23 IPCC, 2019: Climate Change and Land: an IPCC        contributing to the warmest decade on                    concentration of 419 ppm is already
                                                 special report on climate change, desertification,        record with a decadal temperature of                     higher than at any time in the last 2
                                                 land degradation, sustainable land management,            0.82 °C (1.48 °F) above the 20th                         million years.43 If concentrations exceed
                                                 food security, and greenhouse gas fluxes in                                                                        450 ppm, they would likely be higher
                                                 terrestrial ecosystems [P.R. Shukla, J. Skea, E. Calvo
                                                                                                           century.34 35 The Intergovernmental
                                                 Buendia, V. Masson-Delmotte, H.-O. Pörtner, D.C.         Panel on Climate Change (IPCC)                           than any time in the past 23 million
                                                 Roberts, P. Zhai, R. Slade, S. Connors, R. van            determined (with medium confidence)                      years: 44 at the current rate of increase of
                                                 Diemen, M. Ferrat, E. Haughey, S. Luz, S. Neogi, M.       that this past decade was warmer than                    more than 2 ppm per year, this would
                                                 Pathak, J. Petzold, J. Portugal Pereira, P. Vyas, E.      any multi-century period in at least the
                                                 Huntley, K. Kissick, M. Belkacemi, J. Malley, (eds.)].
                                                                                                                                                                    occur in about 15 years. While GHGs are
                                                    24 IPCC, 2019: IPCC Special Report on the Ocean        past 100,000 years.36 Global average sea                 not the only factor that controls climate,
                                                 and Cryosphere in a Changing Climate [H.-O.               level has risen by about 8 inches (about                 it is illustrative that 3 million years ago
                                                 Pörtner, D.C. Roberts, V. Masson-Delmotte, P. Zhai,      21 centimeters (cm)) from 1901 to 2018,                  (the last time CO2 concentrations were
                                                 M. Tignor, E. Poloczanska, K. Mintenbeck, A.              with the rate from 2006 to 2018 (0.15                    above 400 ppm) Greenland was not yet
                                                 Alegriı́a, M. Nicolai, A. Okem, J. Petzold, B. Rama,
                                                 N.M. Weyer (eds.)].
                                                                                                           inches/year or 3.7 millimeters (mm)/                     completely covered by ice and still
                                                    25 National Academies of Sciences, Engineering,        year) almost twice the rate over the 1971                supported forests, while 23 million
                                                 and Medicine. 2016. Attribution of Extreme                to 2006 period, and three times the rate                 years ago (the last time concentrations
                                                 Weather Events in the Context of Climate Change.                                                                   were above 450 ppm) the West Antarctic
                                                 Washington, DC: The National Academies Press.               31 IPCC, 2023: Summary for Policymakers. In:
                                                 https://dio.org/10.17226/21852.                                                                                    ice sheet was not yet developed,
                                                                                                           Climate Change 2023: Synthesis Report.
                                                    26 National Academies of Sciences, Engineering,
                                                                                                           Contribution of Working Groups I, II and III to the      indicating the possibility that high GHG
                                                 and Medicine. 2017. Valuing Climate Damages:              Sixth Assessment Report of the Intergovernmental         concentrations could lead to a world
                                                 Updating Estimation of the Social Cost of Carbon          Panel on Climate Change [Core Writing Team, H.           that looks very different from today and
                                                 Dioxide. Washington, DC: The National Academies           Lee and J. Romero (eds.)].
                                                 Press. https://doi.org/10.17226/24651.                      32 https://gml.noaa.gov/webdata/ccgg/trends/co2/
                                                                                                                                                                    from the conditions in which human
                                                    27 National Academies of Sciences, Engineering,
                                                                                                           co2_annmean_mlo.txt.                                     civilization has developed. If the
                                                 and Medicine. 2019. Climate Change and                      33 IPCC, 2021: Summary for Policymakers. In:           Greenland and Antarctic ice sheets were
                                                 Ecosystems. Washington, DC: The National                  Climate Change 2021: The Physical Science Basis.
                                                 Academies Press. https://doi.org/10.17226/25504.          Contribution of Working Group I to the Sixth               37 IPCC, 2021.
                                                    28 Blunden, J. and T. Boyer, Eds., 2022: ‘‘State of    Assessment Report of the Intergovernmental Panel            38 USGCRP, 2018: Impacts, Risks, and Adaptation
                                                 the Climate in 2021.’’ Bull. Amer. Meteor. Soc., 103      on Climate Change [Masson-Delmotte, V., P. Zhai,
                                                                                                                                                                    in the United States: Fourth National Climate
                                                 (8), Si–S465, https://doi.org/10.1175/                    A. Pirani, S.L. Connors, C. Péan, S. Berger, N. Caud,
                                                                                                                                                                    Assessment, Volume II [Reidmiller, D.R., C.W.
                                                 2022BAMSStateoftheClimate.1.                              Y. Chen, L. Goldfarb, M.I. Gomis, M. Huang, K.
                                                                                                                                                                    Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis,
                                                    29 U.S. Environmental Protection Agency. 2021.         Leitzell, E. Lonnoy, J.B.R. Matthews, T.K. Maycock,
                                                                                                                                                                    T.K. Maycock, and B.C. Stewart (eds.)]. U.S. Global
                                                 Climate Change and Social Vulnerability in the            T. Waterfield, O. Yelekçi, R. Yu, and B. Zhou
                                                                                                                                                                    Change Research Program, Washington, DC, USA,
                                                 United States: A Focus on Six Impacts. EPA 430–           (eds.)]. Cambridge University Press, Cambridge,
                                                                                                           United Kingdom and New York, NY, USA, pp. 3–             1515 pp. doi:10.7930/NCA4.2018.
                                                 R–21–003.                                                                                                             39 IPCC, 2018.
                                                    30 Jay, A.K., A.R. Crimmins, C.W. Avery, T.A.          32, doi:10.1017/9781009157896.001.
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                                                                                                             34 NOAA National Centers for Environmental                40 IPCC, 2021.
                                                 Dahl, R.S. Dodder, B.D. Hamlington, A. Lustig, K.                                                                     41 These are drought measures based on soil
                                                 Marvel, P.A. Méndez-Lazaro, M.S. Osler, A.               Information, State of the Climate 2021 retrieved on
                                                 Terando, E.S. Weeks, and A. Zycherman, 2023: Ch.          August 3, 2023, from https://www.ncei.noaa.gov/          moisture.
                                                 1. Overview: Understanding risks, impacts, and            bams-state-of-climate.                                      42 IPCC, 2021.
                                                                                                             35 Blunden, J. and T. Boyer, Eds., 2022: ‘‘State of       43 Annual Mauna Loa CO concentration data
                                                 responses. In: Fifth National Climate Assessment.                                                                                              2
                                                 Crimmins, A.R., C.W. Avery, D.R. Easterling, K.E.         the Climate in 2021.’’ Bull. Amer. Meteor. Soc., 103     from https://gml.noaa.gov/webdata/ccgg/trends/
                                                 Kunkel, B.C. Stewart, and T.K. Maycock, Eds. U.S.         (8), Si–S465, https://doi.org/10.1175/                   co2/co2_annmean_mlo.txt, accessed September 9,
                                                 Global Change Research Program, Washington, DC,           2022BAMSStateoftheClimate1.                              2023.
                                                 USA. https://doi.org/10.7930/NCA5.2023.CH1.                 36 IPCC, 2021.                                            44 IPCC, 2013.




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                                                 to melt substantially, sea levels would                   vector-borne diseases (for example,                    security, both through direct impacts on
                                                 rise dramatically.                                        expanding the range of the mosquitoes                  military infrastructure and by affecting
                                                    The NCA4 found that it is very likely                  which carry dengue fever, chikungunya,                 factors such as food and water
                                                 (greater than 90 percent likelihood) that                 yellow fever, and the Zika virus or the                availability that can exacerbate conflict
                                                 by mid-century, the Arctic Ocean will                     ticks which carry Lyme, babesiosis, or                 outside U.S. borders. Droughts, floods,
                                                 be almost entirely free of sea ice by late                Rocky Mountain Spotted Fever).47                       storm surges, wildfires, and other
                                                 summer for the first time in about 2                      Moreover, every additional increment in                extreme events stress nations and
                                                 million years.45 Coral reefs will be at                   warming leads to larger changes in                     people through loss of life,
                                                 risk for almost complete (99 percent)                     extremes, including the potential for                  displacement of populations, and
                                                 losses with 1 °C (1.8 °F) of additional                   events unprecedented in the                            impacts on livelihoods.51 The NCA5
                                                 warming from today (2 °C or 3.6 °F since                  observational record. Every additional                 further reinforces the science showing
                                                 preindustrial). At this temperature,                      degree will intensify extreme                          that climate change will have many
                                                 between 8 and 18 percent of animal,                       precipitation events by about 7 percent.               impacts on the U.S., as described above
                                                 plant, and insect species could lose over                 The peak winds of the most intense                     in the preamble. Particularly relevant
                                                 half of the geographic area with suitable                 tropical cyclones (hurricanes) are                     for these rules, the NCA5 states that
                                                 climate for their survival, and 7 to 10                   projected to increase with warming. In                 climate change affects all aspects of the
                                                 percent of rangeland livestock would be                   addition to a higher intensity, the IPCC               energy system-supply, delivery, and
                                                 projected to be lost.46 The IPCC                          found that precipitation and frequency                 demand-through the increased
                                                 similarly found that climate change has                   of rapid intensification of these storms               frequency, intensity, and duration of
                                                 caused substantial damages and                            has already increased, the movement                    extreme events and through changing
                                                 increasingly irreversible losses in                       speed has decreased, and elevated sea                  climate trends.’’ 52
                                                 terrestrial, freshwater, and coastal and                  levels have increased coastal flooding,                   EPA modeling efforts can further
                                                 open ocean marine ecosystems.                             all of which make these tropical                       illustrate how these impacts from
                                                    Every additional increment of                          cyclones more damaging.48                              climate change may be experienced
                                                 temperature comes with consequences.                         The NCA4 also evaluated a number of                 across the U.S. EPA’s Framework for
                                                 For example, the half degree of warming                   impacts specific to the U.S. Severe                    Evaluating Damages and Impacts
                                                 from 1.5 to 2 °C (0.9 °F of warming from                  drought and outbreaks of insects like the              (FrEDI) 53 uses information from over 30
                                                 2.7 °F to 3.6 °F) above preindustrial                     mountain pine beetle have killed                       peer-reviewed climate change impact
                                                 temperatures is projected on a global                     hundreds of millions of trees in the                   studies to project the physical and
                                                 scale to expose 420 million more people                   western U.S. Wildfires have burned                     economic impacts of climate change to
                                                 to frequent extreme heatwaves at least                    more than 3.7 million acres in 14 of the               the U.S. resulting from future
                                                 every five years, and 62 million more                     17 years between 2000 and 2016, and                    temperature changes. These impacts are
                                                 people to frequent exceptional                            Federal wildfire suppression costs were                projected for specific regions within the
                                                 heatwaves at least every five years                       about a billion dollars annually.49 The                U.S. and for more than 20 impact
                                                 (where heatwaves are defined based on                     National Interagency Fire Center has                   categories, which span a large number
                                                 a heat wave magnitude index which                         documented U.S. wildfires since 1983,                  of sectors of the U.S. economy.54 Using
                                                 takes into account duration and                           and the 10 years with the largest acreage
                                                 intensity—using this index, the 2003                      burned have all occurred since 2004.50                   51 USGCRP, 2018.

                                                 French heat wave that led to almost                       Wildfire smoke degrades air quality,                      52 Jay, A.K., A.R. Crimmins, C.W. Avery, T.A.

                                                 15,000 deaths would be classified as an                   increasing health risks, and more                      Dahl, R.S. Dodder, B.D. Hamlington, A. Lustig, K.
                                                                                                                                                                  Marvel, P.A. Méndez-Lazaro, M.S. Osler, A.
                                                 ‘‘extreme heatwave’’ and the 2010                         frequent and severe wildfires due to                   Terando, E.S. Weeks, and A. Zycherman, 2023: Ch.
                                                 Russian heatwave which led to                             climate change would further diminish                  1. Overview: Understanding risks, impacts, and
                                                 thousands of deaths and extensive                         air quality, increase incidences of                    responses. In: Fifth National Climate Assessment.
                                                 wildfires would be classified as                          respiratory illness, impair visibility, and            Crimmins, A.R., C.W. Avery, D.R. Easterling, K.E.
                                                                                                                                                                  Kunkel, B.C. Stewart, and T.K. Maycock, Eds. U.S.
                                                 ‘‘exceptional’’). It would increase the                   disrupt outdoor activities, sometimes                  Global Change Research Program, Washington, DC,
                                                 frequency of sea-ice-free Arctic                          thousands of miles from the location of                USA. https://doi.org/10.7930/NCA5.2023.CH1.
                                                 summers from once in 100 years to once                    the fire. Meanwhile, sea level rise has                   53 (1) Hartin, C., et al. (2023). Advancing the

                                                 in a decade. It could lead to 4 inches of                 amplified coastal flooding and erosion                 estimation of future climate impacts within the
                                                 additional sea level rise by the end of                                                                          United States. Earth Syst. Dynam., 14, 1015–1037,
                                                                                                           impacts, requiring the installation of                 https://doi.org/10.5194/esd-14-1015-2023. (2)
                                                 the century, exposing an additional 10                    costly pump stations, flooding streets,                Supplementary Material for the Regulatory Impact
                                                 million people to risks of inundation as                  and increasing storm surge damages.                    Analysis for the Final Rulemaking, Standards of
                                                 well as increasing the probability of                     Tens of billions of dollars of U.S. real               Performance for New, Reconstructed, and Modified
                                                 triggering instabilities in either the                    estate could be below sea level by 2050                Sources and Emissions Guidelines for Existing
                                                                                                                                                                  Sources: Oil and Natural Gas Sector Climate
                                                 Greenland or Antarctic ice sheets.                        under some scenarios. Increased                        Review, ‘‘Report on the Social Cost of Greenhouse
                                                 Between half a million and a million                      frequency and duration of drought will                 Gases: Estimates Incorporating Recent Scientific
                                                 additional square miles of permafrost                     reduce agricultural productivity in some               Advances,’’ Docket ID No. EPA–HQ–OAR–2021–
                                                 would thaw over several centuries.                        regions, accelerate depletion of water                 0317, November 2023, (3) The Long-Term Strategy
                                                                                                                                                                  of the United States: Pathways to Net-Zero
                                                 Risks to food security would increase                     supplies for irrigation, and expand the                Greenhouse Gas Emissions by 2050. Published by
                                                 from medium to high for several lower-                    distribution and incidence of pests and                the U.S. Department of State and the U.S. Executive
                                                 income regions in the Sahel, southern                     diseases for crops and livestock. The                  Office of the President, Washington DC. November
                                                 Africa, the Mediterranean, central                        NCA4 also recognized that climate                      2021, (4) Climate Risk Exposure: An Assessment of
                                                                                                                                                                  the Federal Government’s Financial Risks to
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                                                 Europe, and the Amazon. In addition to                    change can increase risks to national                  Climate Change, White Paper, Office of
                                                 food security issues, this temperature                                                                           Management and Budget, April 2022.
                                                 increase would have implications for                        47 IPCC, 2018.                                          54 EPA (2021). Technical Documentation on the
                                                                                                             48 IPCC, 2021.
                                                 human health in terms of increasing                                                                              Framework for Evaluating Damages and Impacts
                                                                                                             49 USGCRP, 2018.                                     (FrEDI). U.S. Environmental Protection Agency,
                                                 ozone concentrations, heatwaves, and                         50 NIFC (National Interagency Fire Center). 2021.   EPA 430–R–21–004, https://www.epa.gov/cira/
                                                                                                           Total wildland fires and acres (1983–2020).            fredi. Documentation has been subject to both a
                                                   45 USGCRP, 2018.
                                                                                                           Accessed August 2021. https://www.nifc.gov/            public review comment period and an independent
                                                   46 IPCC, 2018.                                          fireInfo/fireInfo_stats_totalFires.html.                                                         Continued




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                                                 this framework, the EPA estimates that                   ozone.57 Methane reacts to form                      feasibly and cost-effectively deploy
                                                 global emission projections, with no                     tropospheric ozone.                                  these technologies.
                                                 additional mitigation, will result in                      Section XII.E of this preamble                     A. Background
                                                 significant climate-related damages to                   discusses the impacts of GHG emissions
                                                 the U.S.55 These damages to the U.S.                     on individuals living in socially and                1. Electric Power Sector
                                                 would mainly be from increases in lives                  economically vulnerable communities.                    Electricity in the U.S. is generated by
                                                 lost due to increases in temperatures, as                While the EPA did not conduct                        a range of technologies, and different
                                                 well as impacts to human health from                     modeling to specifically quantify                    EGUs play different roles in providing
                                                 increases in climate-driven changes in                   changes in climate impacts resulting                 reliable and affordable electricity. For
                                                 air quality, dust and wildfire smoke                     from these rules in terms of avoided                 example, certain EGUs generate base
                                                 exposure, and incidence of suicide.                      temperature change or sea-level rise, the            load power, which is the portion of
                                                 Additional major climate-related                         Agency did quantify climate benefits by              electricity loads that are continually
                                                 damages would occur to U.S.                              monetizing the emission reductions                   present and typically operate
                                                 infrastructure such as roads and rail, as                through the application of the social                throughout all hours of the year.
                                                 well as transportation impacts and                       cost of greenhouse gases (SC–GHGs), as               Intermediate EGUs often provide
                                                 coastal flooding from sea level rise,                    described in section XII.D of this                   complementary generation to balance
                                                 increases in property damage from                        preamble.                                            variable supply and demand resources.
                                                 tropical cyclones, and reductions in                       These scientific assessments, the EPA              Low load ‘‘peaking units’’ provide
                                                 labor hours worked in outdoor settings                   analyses, and documented observed                    capacity during hours of the highest
                                                 and buildings without air conditioning.                  changes in the climate of the planet and             daily, weekly, or seasonal net demand,
                                                 These impacts are also projected to vary                 of the U.S. present clear support                    and while these resources have low
                                                 from region to region with the                           regarding the current and future dangers             levels of utilization on an annual basis,
                                                 Southeast, for example, projected to see                 of climate change and the importance of              they play important roles in providing
                                                 some of the largest damages from sea                     GHG emissions mitigation.                            generation to meet short-term demand
                                                 level rise, the West Coast projected to                                                                       and often must be available to quickly
                                                                                                          IV. Recent Developments in Emissions                 increase or decrease their output.
                                                 experience damages from wildfire
                                                                                                          Controls and the Electric Power Sector               Furthermore, many of these EGUs also
                                                 smoke more than other parts of the
                                                 country, and the Northern Plains states                                                                       play important roles ensuring the
                                                                                                             In this section, we discuss                       reliability of the electric grid, including
                                                 projected to see a higher proportion of                  background information about the                     facilitating the regulation of frequency
                                                 damages to rail and road infrastructure.                 electric power sector and controls                   and voltage, providing ‘‘black start’’
                                                 While information on the distribution of                 available to limit GHG pollution from                capability in the event the grid must be
                                                 climate impacts helps to better                          the fossil fuel-fired power plants                   repowered after a widespread outage,
                                                 understand the ways in which climate                     regulated by these final rules, and then             and providing reserve generating
                                                 change may impact the U.S., recent                       discuss several recent developments                  capacity 58 in the event of unexpected
                                                 analyses are still only a partial                        that are relevant for determining the                changes in the availability of other
                                                 assessment of climate impacts relevant                   BSER for these sources. After giving                 generators.
                                                 to U.S. interests and in addition do not                 some general background, we first                       In general, the EGUs with the lowest
                                                 reflect increased damages that occur due                 discuss CCS and explain that its costs               operating costs are dispatched first, and,
                                                 to interactions between different sectors                have fallen significantly. Lower costs               as a result, an inefficient EGU with high
                                                 impacted by climate change or all the                    are central for the EPA’s determination              fuel costs will typically only operate if
                                                 ways in which physical impacts of                        that CCS is the BSER for certain existing            other lower-cost plants are unavailable
                                                 climate change occurring abroad have                     coal-fired steam generating units and                or are insufficient to meet demand.
                                                 spillover effects in different regions of                certain new natural gas-fired                        Units are also unavailable during both
                                                 the U.S.                                                 combustion turbines. Second, we                      routine and unanticipated outages,
                                                                                                          discuss natural gas co-firing for coal-              which typically become more frequent
                                                    Some GHGs also have impacts beyond
                                                                                                          fired steam generating units and explain             as power plants age. These factors result
                                                 those mediated through climate change.
                                                                                                          recent reductions in cost for this                   in the mix of available generating
                                                 For example, elevated concentrations of
                                                                                                          approach as well as its widespread                   capacity types (e.g., the share of
                                                 CO2 stimulate plant growth (which can
                                                                                                          availability and current and potential               capacity of each type of generating
                                                 be positive in the case of beneficial
                                                                                                          deployment within this subcategory.                  source) being substantially different
                                                 species, but negative in terms of weeds                  Third, we discuss highly efficient
                                                 and invasive species, and can also lead                                                                       than the mix of the share of total
                                                                                                          generation as a BSER technology for                  electricity produced by each type of
                                                 to a reduction in plant                                  new and reconstructed simple cycle and
                                                 micronutrients 56) and cause ocean                                                                            generating source in a given season or
                                                                                                          combined cycle combustion turbine                    year.
                                                 acidification. Nitrous oxide depletes the                EGUs. The emission reductions
                                                 levels of protective stratospheric                       achieved by highly efficient turbines are               58 Generation and capacity are commonly
                                                                                                          well demonstrated in the power sector,               reported statistics with key distinctions. Generation
                                                 expert peer review, following EPA peer-review            and along with operational and                       is the production of electricity and is a measure of
                                                 guidelines.                                                                                                   an EGU’s actual output while capacity is a measure
                                                    55 Compared to a world with no additional             maintenance best practices, represent a
                                                                                                                                                               of the maximum potential production of an EGU
                                                 warming after the model baseline (1986–2005).            cost-effective technology that reduces               under certain conditions. There are several methods
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                                                    56 Ziska, L., A. Crimmins, A. Auclair, S. DeGrasse,   fuel consumption. Finally, we discuss                to calculate an EGU’s capacity, which are suited for
                                                 J.F. Garofalo, A.S. Khan, I. Loladze, A.A. Pérez de     key developments in the electric power               different applications of the statistic. Capacity is
                                                 León, A. Showler, J. Thurston, and I. Walls, 2016:      sector that influence which units can                typically measured in megawatts (MW) for
                                                 Ch. 7: Food Safety, Nutrition, and Distribution. The                                                          individual units or gigawatts (1 GW = 1,000 MW)
                                                 Impacts of Climate Change on Human Health in the                                                              for multiple EGUs. Generation is often measured in
                                                 United States: A Scientific Assessment. U.S. Global        57 WMO (World Meteorological Organization),        kilowatt-hours (1 kWh = 1,000 watt-hours),
                                                 Change Research Program, Washington, DC, 189–            Scientific Assessment of Ozone Depletion: 2018,      megawatt-hours (1 MWh = 1,000 kWh), gigawatt-
                                                 216. https://health2016.globalchange.gov/low/            Global Ozone Research and Monitoring Project—        hours (1 GWh = 1 million kWh), or terawatt-hours
                                                 ClimateHealth2016_07_Food_small.pdf.                     Report No. 58, 588 pp., Geneva, Switzerland, 2018.   (1 TWh = 1 billion kWh).



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                                                    Generated electricity must be                           Stationary combustion turbine EGUs                    net electricity supply in 2022. Many
                                                 transmitted over networks 59 of high                    (most commonly natural gas-fired) use                    projections show this share growing
                                                 voltage lines to substations where power                one of two configurations: combined                      over time. For example, the EPA’s
                                                 is stepped down to a lower voltage for                  cycle or simple cycle turbines.                          Power Sector Platform 2023 using IPM
                                                 local distribution. Within each of these                Combined cycle units have two                            (i.e., the EPA’s baseline projections of
                                                 transmission networks, there are                        generating components (i.e., two cycles)                 the power sector) projects zero-emitting
                                                 multiple areas where the operation of                   operating from a single source of heat.                  sources reaching 76 percent of
                                                 power plants is monitored and                           Combined cycle units first generate                      electricity generation by 2040. This shift
                                                 controlled by regional organizations to                 power from a combustion turbine (i.e.,                   is driven by multiple factors. These
                                                 ensure that electricity generation and                  the combustion cycle) directly from the                  factors include changes in the relative
                                                 load are kept in balance. In some areas,                heat of burning natural gas or other fuel.
                                                                                                                                                                  economics of generating technologies,
                                                 the operation of the transmission system                The second cycle reuses the waste heat
                                                                                                                                                                  the efforts by states to reduce GHG
                                                 is under the control of a single regional               from the combustion turbine engine,
                                                                                                         which is routed to a heat recovery steam                 emissions, utility and other corporate
                                                 operator; 60 in others, individual                                                                               commitments, and customer preference.
                                                 utilities 61 coordinate the operations of               generator (HRSG) that generates steam,
                                                                                                         which is then used to produce                            The shift is further promoted by
                                                 their generation and transmission to
                                                                                                         additional power using a steam turbine                   provisions of Federal legislation, most
                                                 balance the system across their
                                                                                                         (i.e., the steam cycle). Combining these                 notably the Clean Electricity Investment
                                                 respective service territories.
                                                                                                         generation cycles increases the overall                  and Production tax credits included in
                                                 2. Types of EGUs                                        efficiency of the system. Combined                       IRC sections 48E and 45Y of the IRA,
                                                                                                         cycle units that fire mostly natural gas                 which do not begin to phase out until
                                                    There are many types of EGUs                                                                                  the later of 2032 or when power sector
                                                                                                         are commonly referred to as natural gas
                                                 including fossil fuel-fired power plants                combined cycle (NGCC) units, and, with                   GHG emissions are 75 percent less than
                                                 (i.e., those using coal, oil, and natural               greater efficiency, are utilized at higher               2022 levels. (See section IV.F of this
                                                 gas), nuclear power plants, renewable                   capacity factors to provide base load or                 preamble and the accompanying RIA for
                                                 generating sources (such as wind and                    intermediate load power. An EGU’s                        additional discussion of projections for
                                                 solar) and others. This rule focuses on                 capacity factor indicates a power plant’s                the power sector.) These projections are
                                                 the fossil fuel-fired portion of the                    electricity output as a percentage of its
                                                 generating fleet that is responsible for                                                                         consistent with power company
                                                                                                         total generation capacity. Simple cycle                  announcements. For example, as the
                                                 the vast majority of GHG emissions from                 turbines only use a combustion turbine
                                                 the power sector. The definition of fossil                                                                       Edison Electric Institute (EEI) stated in
                                                                                                         to produce electricity (i.e., there is no                pre-proposal public comments
                                                 fuel-fired electric utility steam                       heat recovery or steam cycle). These
                                                 generating units includes utility boilers                                                                        submitted to the regulatory docket:
                                                                                                         less-efficient combustion turbines are                   ‘‘Fifty EEI members have announced
                                                 as well as those that use gasification                  generally utilized at non-base load
                                                 technology (i.e., integrated gasification                                                                        forward-looking carbon reduction goals,
                                                                                                         capacity factors and contribute to                       two-thirds of which include a net-zero
                                                 combined cycle (IGCC) units). While                     reliable operations of the grid during
                                                 coal is the most common fuel for fossil                                                                          by 2050 or earlier equivalent goal, and
                                                                                                         periods of peak demand or provide
                                                 fuel-fired utility boilers, natural gas can                                                                      members are routinely increasing the
                                                                                                         flexibility to support increased
                                                 also be used as a fuel in these EGUs and                                                                         ambition or speed of their goals or
                                                                                                         generation from variable energy
                                                 many existing coal- and oil-fired utility               sources.62                                               altogether transforming them into net-
                                                 boilers have refueled as natural gas-fired                 Other generating sources produce                      zero goals . . . . EEI’s member
                                                 utility boilers. An IGCC unit gasifies                  electricity by harnessing kinetic energy                 companies see a clear path to continued
                                                 fuel—typically coal or petroleum coke—                  from flowing water, wind, or tides,                      emissions reductions over the next
                                                 to form a synthetic gas (or syngas)                     thermal energy from geothermal wells,                    decade using current technologies,
                                                 composed of carbon monoxide (CO) and                    or solar energy primarily through                        including nuclear power, natural gas-
                                                 hydrogen (H2), which can be combusted                   photovoltaic solar arrays. Spurred by a                  based generation, energy demand
                                                 in a combined cycle system to generate                  combination of declining costs,                          efficiency, energy storage, and
                                                 power. The heat created by these                        consumer preferences, and government                     deployment of new renewable energy—
                                                 technologies produces high-pressure                     policies, the capacity of these renewable                especially wind and solar—as older
                                                 steam that is released to rotate turbines,              technologies is growing, and when                        coal-based and less-efficient natural gas-
                                                 which, in turn, spin an electric                        considered with existing nuclear energy,                 based generating units retire.’’ 63 The
                                                 generator.                                              accounted for 40 percent of the overall                  Energy Strategy Coalition similarly said
                                                   59 The three network interconnections are the
                                                                                                                                                                  in public comments that ‘‘[a]s major
                                                                                                            62 Non-dispatchable renewable energy (electrical
                                                 Western Interconnection, comprising the western                                                                  electrical utilities and power producers,
                                                                                                         output cannot be used at any given time to meet
                                                 parts of the U.S. and Canada, the Eastern               fluctuating demand) is both variable and                 our top priority is providing clean,
                                                 Interconnection, comprising the eastern parts of the    intermittent and is often referred to as intermittent    affordable, and reliable energy to our
                                                 U.S. and Canada except parts of Eastern Canada in       renewable energy. The variability aspect results
                                                 the Quebec Interconnection, and the Texas
                                                                                                                                                                  customers’’ and are ‘‘seeking to
                                                                                                         from predictable changes in electric generation (e.g.,
                                                 Interconnection, encompassing the portion of the        solar not generating electricity at night) that often
                                                                                                                                                                  advance’’ technologies ‘‘such as a
                                                 Texas electricity system commonly known as the          occur on longer time periods. The intermittent           carbon capture and storage, which can
                                                 Electric Reliability Council of Texas (ERCOT). See      aspect of renewable energy results from                  significantly reduce carbon dioxide
                                                 map of all NERC interconnections at https://            inconsistent generation due to unpredictable
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                                                 www.nerc.com/AboutNERC/keyplayers/Publishing            external factors outside the control of the owner/
                                                 Images/NERC%20Interconnections.pdf.                     operator (e.g., imperfect local weather forecasts)         63 Edison Electric Institute (EEI). (November 18,
                                                   60 For example, PJM Interconnection, LLC, New
                                                                                                         that often occur on shorter time periods. Since
                                                 York Independent System Operator (NYISO),                                                                        2022). Clean Air Act Section 111 Standards and the
                                                                                                         renewable energy fluctuates over multiple time
                                                 Midwest Independent System Operator (MISO),             periods, grid operators are required to adjust           Power Sector: Considerations and Options for
                                                 California Independent System Operator (CAISO),         forecast and real time operating procedures. As          Setting Standards and Providing Compliance
                                                 etc.                                                    more renewable energy is added to the electric grid      Flexibility to Units and States. Public comments
                                                   61 For example, Los Angeles Department of Power       and generation forecasts improve, the intermittency      submitted to the EPA’s pre-proposal rulemaking,
                                                 and Water, Florida Power and Light, etc.                of renewable energy is reduced.                          Document ID No. EPA–HQ–OAR–2022–0723–0024.



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                                                 emissions from fossil fuel-fired                        and Sinks 69 (the U.S. GHG Inventory) to                fired, including the top 41 emitters of
                                                 EGUs.’’ 64                                              comply with commitments under the                       CO2. In addition, of the 81 coal-fired
                                                                                                         United Nations Framework Convention                     plants, 43 have no retirement planned
                                                 B. GHG Emissions From Fossil Fuel-
                                                                                                         on Climate Change (UNFCCC). This                        prior to 2039. The top 10 of these plants
                                                 Fired EGUs
                                                                                                         inventory, which includes recent trends,                combined to emit more than 135 MMT
                                                    The principal GHGs that accumulate                   is organized by industrial sectors. It                  of CO2e, with the top emitter (James H.
                                                 in the Earth’s atmosphere above pre-                    presents total U.S. anthropogenic                       Miller power plant in Alabama)
                                                 industrial levels because of human                      emissions and sinks 70 of GHGs,                         reporting approximately 22 MMT of
                                                 activity are CO2, CH4, N2O, HFCs, PFCs,                 including CO2 emissions since 1990.                     CO2e with each of its four EGUs
                                                 and SF6. Of these, CO2 is the most                      According to the latest inventory of all                emitting between 5 MMT and 6 MMT
                                                 abundant, accounting for 80 percent of                  sectors, in 2021, total U.S. GHG                        CO2e that year. The combined capacity
                                                 all GHGs present in the atmosphere.                     emissions were 6,340 million metric                     of these 10 plants is more than 23
                                                 This abundance of CO2 is largely due to                 tons of CO2 equivalent (MMT CO2e).71                    gigawatts (GW), and all except for the
                                                 the combustion of fossil fuels by the                   The transportation sector (28.5 percent),               Monroe (Michigan) plant operated at
                                                 transportation, electricity, and                        which includes approximately 300                        annual capacity factors of 50 percent or
                                                 industrial sectors.65                                   million vehicles, was the largest                       higher.74 For comparison, the largest
                                                                                                         contributor to total U.S. GHG emissions                 GHG emitter in the U.S. that is not a
                                                    The amount of CO2 produced when a                    with 1,804 MMT CO2e followed by the
                                                 fossil fuel is burned in an EGU is a                                                                            fossil fuel-fired power plant is the
                                                                                                         power sector (25.0 percent) with 1,584                  ExxonMobil refinery and chemical plant
                                                 function of the carbon content of the                   MMT CO2e. In fact, GHG emissions from
                                                 fuel relative to the size and efficiency of                                                                     in Baytown, Texas, which reported 12.6
                                                                                                         the power sector were higher than the                   MMT CO2e (No. 6 overall in the nation)
                                                 the EGU. Different fuels emit different                 GHG emissions from all other industrial
                                                 amounts of CO2 in relation to the energy                                                                        to the GHGRP in 2022. The largest
                                                                                                         sectors combined (1,487 MMT CO2e).                      metals facility in terms of GHG
                                                 they produce when combusted. The                        Specifically, the power sector’s
                                                 heat content, or the amount of energy                                                                           emissions was the U.S. Steel facility in
                                                                                                         emissions were far more than petroleum                  Gary, Indiana, with 10.4 MMT CO2e
                                                 produced when a fuel is burned, is                      and natural gas systems 72 at 301 MMT
                                                 mainly determined by the carbon and                                                                             (No. 16 overall in the nation).
                                                                                                         CO2e; chemicals (71 MMT CO2e);
                                                 hydrogen content of the fuel. For                       minerals (64 MMT CO2e); coal mining                        Overall, CO2 emissions from the
                                                 example, in terms of pounds of CO2                      (53 MMT CO2e); and metals (48 MMT                       power sector have declined by 36
                                                 emitted per million British thermal                     CO2e). The agriculture (636 MMT CO2e),                  percent since 2005 (when the power
                                                 units of energy produced when                           commercial (439 MMT CO2e), and                          sector reached annual emissions of
                                                 combusted, natural gas is the lowest                    residential (366 MMT CO2e) sectors                      2,400 MMT CO2, its historical peak to
                                                 compared to other fossil fuels at 117 lb                combined to emit 1,441 MMT CO2e.                        date).75 The reduction in CO2 emissions
                                                 CO2/MMBtu.66 67 The average for coal is                    Fossil fuel-fired EGUs are by far the                can be attributed to the power sector’s
                                                 216 lb CO2/MMBtu, but varies between                    largest stationary source emitters of                   ongoing trend away from carbon-
                                                 206 to 229 lb CO2/MMBtu by type (e.g.,                  GHGs in the nation. For example,                        intensive coal-fired generation and
                                                 anthracite, lignite, subbituminous, and                 according to the EPA’s Greenhouse Gas                   toward more natural gas-fired and
                                                 bituminous).68 The value for petroleum                  Reporting Program (GHGRP), of the top                   renewable sources. In 2005, CO2
                                                 products such as diesel fuel and heating                100 large facilities that reported facility-            emissions from coal-fired EGUs alone
                                                 oil is 161 lb CO2/MMBtu.                                level GHGs in 2022, 85 were fossil fuel-                measured 1,983 MMT.76 This total
                                                    The EPA prepares the official U.S.                   fired power plants while 10 were                        dropped to 1,351 MMT in 2015 and
                                                 Inventory of Greenhouse Gas Emissions                   refineries and/or chemical plants, four                 reached 974 MMT in 2019, the first time
                                                                                                         were metals facilities, and one was a                   since 1978 that CO2 emissions from
                                                   64 Energy Strategy Coalition Comments on EPA’s        petroleum and natural gas systems                       coal-fired EGUs were below 1,000 MMT.
                                                 proposed New Source Performance Standards for           facility.73 Of the 85 fossil fuel-fired                 In 2020, emissions of CO2 from coal-
                                                 Greenhouse Gas Emissions From New, Modified,            power plants, 81 were primarily coal-                   fired EGUs measured 788 MMT as the
                                                 and Reconstructed Fossil Fuel-Fired Electric                                                                    result of pandemic-related closures and
                                                 Generating Units; Emission Guidelines for                 69 U.S. Environmental Protection Agency (EPA).        reduced utilization before rebounding in
                                                 Greenhouse Gas Emissions From Existing Fossil
                                                 Fuel-Fired Electric Generating Units; and Repeal of
                                                                                                         Inventory of U.S. Greenhouse Gas Emissions and          2021 to 909 MMT. By contrast, CO2
                                                                                                         Sinks: 1990–2021. https://www.epa.gov/                  emissions from natural gas-fired
                                                 the Affordable Clean Energy Rule, Document ID No.
                                                                                                         ghgemissions/inventory-us-greenhouse-gas-
                                                 EPA–HQ–OAR–2023–0072–0672, August 14, 2023.             emissions-and-sinks-1990-2021.                          generation have almost doubled since
                                                   65 U.S. Environmental Protection Agency (EPA).
                                                                                                           70 Sinks are a physical unit or process that stores   2005, increasing from 319 MMT to 613
                                                 Overview of greenhouse gas emissions. July 2021.
                                                 https://www.epa.gov/ghgemissions/overview-
                                                                                                         GHGs, such as forests or underground or deep-sea        MMT in 2021, and CO2 emissions from
                                                                                                         reservoirs of carbon dioxide.                           petroleum products (i.e., distillate fuel
                                                 greenhouse-gases#carbon-dioxide.                          71 U.S. Environmental Protection Agency (EPA).
                                                   66 Natural gas is primarily CH , which has a
                                                                                  4                      Inventory of U.S. Greenhouse Gas Emissions and          oil, petroleum coke, and residual fuel
                                                 higher hydrogen to carbon atomic ratio, relative to     Sinks: 1990–2021. https://www.epa.gov/                  oil) declined from 98 MMT in 2005 to
                                                 other fuels, and thus, produces the least CO2 per       ghgemissions/inventory-us-greenhouse-gas-               18 MMT in 2021.
                                                 unit of heat released. In addition to a lower CO2       emissions-and-sinks.
                                                 emission rate on a lb/MMBtu basis, natural gas is         72 Petroleum and natural gas systems include:
                                                 generally converted to electricity more efficiently     offshore and onshore petroleum and natural gas
                                                                                                                                                                   74 U.S. Energy Information Administration (EIA).

                                                 than coal. According to EIA, the 2020 emissions         production; onshore petroleum and natural gas           Preliminary Monthly Electric Generator Inventory,
                                                 rate for coal and natural gas were 2.23 lb CO2/kWh      gathering and boosting; natural gas processing;         Form EIA–860M, November 2023. https://
                                                 and 0.91 lb CO2/kWh, respectively. www.eia.gov/         natural gas transmission/compression; onshore           www.eia.gov/electricity/data/eia860m/.
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                                                 tools/faqs/faq.php?id=74&t=11.                          natural gas transmission pipelines; natural gas local     75 U.S. Environmental Protection Agency (EPA).
                                                   67 Values reflect the carbon content on a per unit                                                            Inventory of U.S. Greenhouse Gas Emissions and
                                                                                                         distribution companies; underground natural gas
                                                 of energy produced on a higher heating value (HHV)      storage; liquified natural gas storage; liquified       Sinks: 1990–2020. https://cfpub.epa.gov/ghgdata/
                                                 combustion basis and are not reflective of recovered    natural gas import/export equipment; and other          inventoryexplorer/#electricitygeneration/
                                                 useful energy from any particular technology.           petroleum and natural gas systems.                      entiresector/allgas/category/all.
                                                   68 Energy Information Administration (EIA).             73 U.S. Environmental Protection Agency (EPA).          76 U.S. Energy Information Administration (EIA).

                                                 Carbon Dioxide Emissions Coefficients. https://         Greenhouse Gas Reporting Program. Facility Level        Monthly Energy Review, table 11.6. September
                                                 www.eia.gov/environment/emissions/co2_vol_              Information on Greenhouse Gases Tool (FLIGHT).          2022. https://www.eia.gov/totalenergy/data/
                                                 mass.php.                                               https://ghgdata.epa.gov/ghgp/main.do#.                  monthly/pdf/sec11.pdf.



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                                                    When the EPA finalized the Clean                      three major components: CO2 capture,                    based his conclusions, reiterated the
                                                 Power Plan (CPP) in October 2015, the                    transportation, and sequestration/                      claim that CCS would be commercially
                                                 Agency projected that, as a result of the                storage. Solvent-based CO2 capture was                  available in 2015. A press release from
                                                 CPP, the power sector would reduce its                   patented nearly 100 years ago in the                    Alstom Power stated that, based on the
                                                 annual CO2 emissions to 1,632 MMT by                     1930s 78 and has been used in a variety                 results of Alstom’s ‘‘13 pilot and
                                                 2030, or 32 percent below 2005 levels                    of industrial applications for decades.                 demonstration projects and validated by
                                                 (2,400 MMT).77 Instead, even in the                      Thousands of miles of CO2 pipelines                     independent experts . . . we can now
                                                 absence of Federal regulations for                       have been constructed and securely                      be confident that CCS works and is cost
                                                 existing EGUs, annual CO2 emissions                      operated in the U.S. for decades.79 And                 effective . . . and will be available at a
                                                 from sources covered by the CPP had                      tens of millions of tons of CO2 have
                                                                                                                                                                  commercial scale in 2015 and will allow
                                                 fallen to 1,540 MMT by the end of 2021,                  been permanently stored deep
                                                                                                                                                                  [plants] to capture 90% of the emitted
                                                 a nearly 36 percent reduction below                      underground either for geologic
                                                 2005 levels. The power sector achieved                   sequestration or in association with                    CO2.’’ The press release went on to note
                                                 a deeper level of reductions than                        enhanced oil recovery (EOR).80 The                      that ‘‘the same conclusion applies for a
                                                 forecast under the CPP and                               American Petroleum Institute (API)                      gas plant using CCS.’’ 84
                                                 approximately a decade ahead of time.                    explains that ‘‘CCS is a proven                            In 2011, however, AEP determined
                                                 By the end of 2015, several months after                 technology’’ and that ‘‘[t]he methods                   that the economic and regulatory
                                                 the CPP was finalized, those sources                     that apply to [the] carbon sequestration                environment at the time did not support
                                                 already had achieved CO2 emission                        process are not novel. The U.S. has                     further development of the technology.
                                                 levels of 1,900 MMT, or approximately                    more than 40 years of CO2 gas injection                 After canceling a large-scale commercial
                                                 21 percent below 2005 levels. However,                   and storage experience. During the last                 project, Morris explained, ‘‘as a
                                                 progress in emission reductions is not                   40 years the U.S. gas and oil industry’s                regulated utility, it is impossible to gain
                                                 uniform across all states and is not                     (EOR) enhanced oil recovery operations)                 regulatory approval to cover our share of
                                                 guaranteed to continue, therefore                        have injected more than 1 billion tonnes                the costs for validating and deploying
                                                 Federal policies play an essential role.                 of CO2.’’ 81 82                                         the technology without federal
                                                 As discussed earlier in this section, the                   In 2009, Mike Morris, then-CEO of
                                                                                                          American Electric Power (AEP), was                      requirements to reduce greenhouse gas
                                                 power sector remains a leading emitter
                                                 of CO2 in the U.S., and, despite the                     interviewed by Reuters and the article                  emissions already in place.’’ 85
                                                 emission reductions since 2005, current                  noted that Morris’s ‘‘companies’ work in                   Thirteen years later, the situation is
                                                 CO2 levels continue to endanger human                    West Virginia on [CCS] gave [Morris]                    fundamentally different. Since 2011, the
                                                 health and welfare. Further, as sources                  more insight than skeptics who doubt                    technological advances from full-scale
                                                 in other sectors of the economy turn to                  the technology.’’ In that interview,                    deployments (e.g., the Petra Nova and
                                                 electrification to decarbonize, future                   Morris explained, ‘‘I’m convinced it will               Boundary Dam projects discussed later
                                                 CO2 reductions from fossil fuel-fired                    be primetime ready by 2015 and                          in this preamble) combined with
                                                 EGUs have the potential to take on                       deployable.’’ 83 In 2011, Alstom Power,                 supportive policies in multiple states
                                                 added significance and increased                         the company that developed the 30 MW                    and the financial incentives included in
                                                 benefits.                                                pilot project upon which Morris had                     the IRA, mean that CCS can be deployed
                                                 C. Recent Developments in Emissions                         78 Bottoms, R.R. Process for Separating Acidic
                                                                                                                                                                  at scale today. In addition to
                                                 Control                                                  Gases (1930) United States patent application.          applications at fossil fuel-fired EGUs,
                                                    This section of the preamble describes                United States Patent US1783901A; Allen, A.S. and        installation of CCS is poised to
                                                                                                          Arthur, M. Method of Separating Carbon Dioxide          dramatically increase across a range of
                                                 recent developments in GHG emissions                     from a Gas Mixture (1933) United States Patent
                                                 control in general. Details of those                     Application. United States Patent US1934472A.           industries in the coming years,
                                                 controls in the context of BSER                             79 U.S. Department of Transportation, Pipeline       including ethanol production, natural
                                                 determination are provided in section                    and Hazardous Material Safety Administration,           gas processing, and steam methane
                                                                                                          ‘‘Hazardous Annual Liquid Data.’’ 2022. https://
                                                 VII.C.1.a for CCS on coal-fired steam                    www.phmsa.dot.gov/data-and-statistics/pipeline/
                                                                                                                                                                  reformers.86 Many of the CCS projects
                                                 generating units, section VII.C.2.a for                  gas-distribution-gas-gathering-gas-transmission-        across these industries, including
                                                 natural gas co-firing on coal-fired steam                hazardous-liquids.                                      capture systems, pipelines, and
                                                                                                             80 GHGRP US EPA. https://www.epa.gov/
                                                 generating units, section VIII.F.2.b for                                                                         sequestration, are already in operation
                                                                                                          ghgreporting/supply-underground-injection-and-
                                                 efficient generation on natural gas-fired                geologic-sequestration-carbon-dioxide.                  or are in advanced stages of
                                                 combustion turbines, and section                            81 American Petroleum Institute (API). (2024).       deployment. There are currently at least
                                                 VIII.F.4.c.iv for CCS on natural gas-fired               Carbon Capture and Storage: A Low-Carbon                15 operating CCS projects in the U.S.,
                                                 combustion turbines. Further details of                  Solution to Economy-Wide Greenhouse Gas                 and another 121 that are under
                                                                                                          Emissions Reductions. https://www.api.org/news-
                                                 the control technologies are available in                policy-and-issues/carbon-capture-storage.
                                                 the final TSDs, GHG Mitigation                              82 Major energy company presidents have made           84 Alstom Power. (June 14, 2011). Alstom Power
                                                 Measures for Steam Generating Units                      similar statements. For example, in 2021, Shell Oil     study demonstrates carbon capture and storage
                                                 and GHG Mitigation Measures—CCS for                      Company president Gretchen H. Watkins testified to      (CCS) is efficient and cost competitive. https://
                                                                                                          Congress that ‘‘Carbon capture and storage is a
                                                 Combustion Turbines, available in the                    proven technology,’’ and in 2022, Joe Blommaert,
                                                                                                                                                                  www.alstom.com/press-releases-news/2011/6/press-
                                                 docket for these actions.                                the president of ExxonMobil Low Carbon Solutions,       releases-3-26.
                                                                                                                                                                    85 Indiana Michigan Power. (July 14, 2011). AEP
                                                                                                          stated that ‘‘Carbon capture and storage is a readily
                                                 1. CCS                                                   available technology that can play a critical role in   Places Carbon Capture Commercialization on Hold,
                                                                                                          helping society reduce greenhouse gas emissions.’’      Citing Uncertain Status of Climate Policy, Weak
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                                                    One of the key GHG reduction
                                                                                                          See https://www.congress.gov/117/meeting/house/         Economy. Press release. https://
                                                 technologies upon which the BSER                         114185/witnesses/HHRG-117-GO00-Wstate-                  www.indianamichiganpower.com/company/news/
                                                 determinations are founded in these                      WatkinsG-20211028.pdf and https://                      view?releaseID=1206.
                                                 final rules is CCS—a technology that                     corporate.exxonmobil.com/news/news-releases/              86 U.S. Department of Energy (DOE). (2023).
                                                 can capture and permanently store CO2                    2022/0225_exxonmobil-to-expand-carbon-capture-
                                                                                                          and-storage-at-labarge-wyoming-facility.                Pathways to Commercial Liftoff: Carbon
                                                 from fossil fuel-fired EGUs. CCS has                        83 Woodall, B. (June 25, 2009). AEP sees carbon      Management. https://liftoff.energy.gov/wp-content/
                                                                                                          capture from coal ready by 2015. Reuters. https://      uploads/2024/02/20230424-Liftoff-Carbon-
                                                   77 80 FR 63662 (October 23, 2015).                     www.reuters.com/article/idUSTRE55O6TS/.                 Management-vPUB_update4.pdf.



                                            VerDate Sep<11>2014   20:13 May 08, 2024    Jkt 262001   PO 00000   Frm 00017                            R\FM\09MYR3.SGM      09MYR3            Add.016
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                                                 construction or in advanced stages of                   developing the project at the Coal Creek              technology.95 A second is an Omnis
                                                 development.87                                          Station, located in McLean, North                     Fuel Technologies project to convert the
                                                    Process improvements learned from                    Dakota. Notably, Rainbow Energy                       coal-fired Pleasants Power Station to
                                                 earlier deployments of CCS, the                         purchased the 1,150 MW Coal Creek                     run on hydrogen.96 Omnis intends to
                                                 availability of better solvents, and other              Station with a business model of                      use a pyrolysis-based process to convert
                                                 advances have decreased the costs of                    installing CCS based on the IRC section               coal into hydrogen and graphite.
                                                 CCS in recent years. As a result, the cost              45Q tax credit of $50/ton that existed at             Because the graphite is a usable, solid
                                                 of CO2 capture, excluding any tax                       the time (the IRA has since increased                 form of carbon, no CO2 sequestration
                                                 credits, from coal-fired power                          the amount to $85/ton).91 Rainbow                     will be required. Therefore, unlike more
                                                 generation is projected to fall by 50                   Energy explains, ‘‘CCUS technology has                traditional amine-based approaches,
                                                 percent by 2025 compared to 2010.88                     been proven and is an economical                      instead of the captured CO2 being a cost,
                                                 The IRA makes additional and                            option for a facility like Coal Creek                 the graphite product will provide a
                                                 significant reductions in the cost of                   Station. We see CCUS as the best way                  revenue stream.97 Omnis states that the
                                                 implementing CCS by extending and                       to manage emissions at our facility.’’ 92             Pleasants Power Project broke ground in
                                                 increasing the tax credit for CO2                         While North Dakota has encouraged                   August 2023 and will be online by 2025.
                                                 sequestration under IRC section 45Q.                    CCS on coal-fired power plants without
                                                    With this combination of polices, and                                                                         It should be noted that Wyoming,
                                                                                                         specific mandates, Wyoming is taking a                West Virginia, and North Dakota
                                                 the advances related to CO2 capture,                    different approach. Senate Bill 42,
                                                 multiple projects consistent with the                                                                         represented the first-, second-, and
                                                                                                         enacted in 2024, requires utilities to                seventh-largest coal producers,
                                                 emission reduction requirements of a 90                 generate a specified percentage of their
                                                 percent capture amine based BSER are                                                                          respectively, in the U.S. in 2022.98
                                                                                                         electricity using coal-fired power plants
                                                 in advanced stages of development.                      with CCS. SB 42 updates HB 200,                          In addition to the coal-based CCS
                                                 These projects use a wider range of                     enacted in 2020, which required the                   projects mentioned above, multiple
                                                 technologies, and some of them are                      CCS to be installed by 2030, which SB                 other projects are in advanced stages of
                                                 being developed as first-of-a-kind                      42 extends to 2033. To comply with                    development and/or have completed
                                                 projects and offer significant advantages               those requirements, PacificCorp has                   FEED studies. For instance, Linde/BASF
                                                 over the amine-based CCS technology                     stated in its 2023 IRP that it intends to             is installing a 10 MW pilot project on
                                                 that the EPA is finalizing as BSER.                     install CCS on two coal-fired units by                the Dallman Power Plant in Illinois.
                                                    For instance, in North Dakota,                       2028.93 Rocky Mountain Power has also                 Based on results from small scale pilot
                                                 Governor Doug Burgum announced a                        announced that it will explore a new                  studies, techno economic analysis
                                                 goal of becoming carbon neutral by 2030                 carbon capture technology at either its               indicates that the Linde/BASF process
                                                 while retaining the core position of its                David Johnston plant or its Wyodak                    can provide a significant reduction in
                                                 fossil fuel industries, and to do so by                 plant.94 Another CCS project is also                  capital costs compared to the NETL base
                                                 significant CCS implementation. Gov.                                                                          case for a supercritical pulverized coal
                                                                                                         under development at the Dry Fork
                                                 Burgum explained, ‘‘This may seem like                                                                        plant with carbon capture.’’ 99 Multiple
                                                                                                         Power Plant in Wyoming. Currently, a
                                                 a moonshot goal, but it’s actually not.                                                                       other FEED studies are either completed
                                                                                                         pilot project that will capture 150 tons
                                                 It’s actually completely doable, even                                                                         or under development, putting those
                                                                                                         of CO2 per day is under construction
                                                 with the technologies that we have                                                                            projects on a path to being able to be
                                                                                                         and is scheduled to be completed in late
                                                 today.’’ 89 Companies in the state are                                                                        built and to commence operation well
                                                                                                         2024. Work has also begun on a full-
                                                 backing up this claim with projects in                                                                        before January 1, 2032.
                                                                                                         scale front end engineering design
                                                 multiple industries in various stages of
                                                                                                         (FEED) study.                                            In addition to the Competitive Power
                                                 operation and development. In the                         Like North Dakota, West Virginia does               Partners project, there are multiple post-
                                                 power sector, two of the biggest projects               not have a carbon capture mandate, but                combustion CCS retrofit projects in
                                                 under development are Project Tundra                    there are several carbon capture projects             various stages of development. In
                                                 and Coal Creek. Project Tundra is a                     under development in the state. One is                particular, NET Power is in advanced
                                                 carbon capture project on Minnkota                      a new, 2,000 MW natural gas combined                  stages of development on a 300 MW
                                                 Power’s 705 MW Milton R Young Power                     cycle plant being developed by                        project in west Texas using the Allam-
                                                 Plant in Oliver County, North Dakota.                   Competitive Power Ventures that will                  Fetvedt cycle, which is being designed
                                                 Mitsubishi Heavy Industries will be                     capture 90–95 percent of the CO2 using                to achieve greater than 97 percent CO2
                                                 providing an advanced version of its
                                                                                                         GE turbine and carbon capture                         capture. In addition to working on this
                                                 carbon capture equipment that builds
                                                                                                                                                               first project, NET Power has indicated
                                                 upon the lessons learned from the Petra                 2019/03/GHGT14_manuscript_20180913Clean-              that it has an additional project under
                                                 Nova project.90 Rainbow Energy is                       version.pdf.
                                                                                                           91 Minot Daily News. (April 8, 2024). Hoeven: ND
                                                                                                                                                               development and is working with
                                                   87 Congressional Budget Office (CBO). (December       to lead country with carbon capture project at Coal
                                                                                                                                                                 95 Competitive Power Ventures (CPV). Shay Clean
                                                 13, 2023). Carbon Capture and Storage in the United     Creek Station. https://minotdailynews.com/news/
                                                 States. https://www.cbo.gov/publication/59345.          local-news/2021/07/hoeven-nd-to-lead-country-         Energy Center. https://www.cpv.com/our-projects/
                                                   88 Global CCS Institute. (March 2021). Technology     with-carbon-capture-project-at-coal-creek-station/.   cpv-shay-energy-center/.
                                                                                                                                                                 96 The Associated Press (AP). (August 30, 2023).
                                                 Readiness and Costs of CCS. https://                      92 Rainbow Energy Center. (ND). Carbon Capture.

                                                 www.globalccsinstitute.com/wp-content/uploads/          https://rainbowenergycenter.com/what-we-do/           New owner restarts West Virginia coal-fired power
                                                 2021/03/Technology-Readiness-and-Costs-for-CCS-         carbon-capture/.                                      plant and intends to convert it to hydrogen use.
                                                 2021-1.pdf.                                               93 PacifiCorp. (April 1, 2024). 2023 Integrated     https://apnews.com/article/west-virginia-power-
                                                   89 Willis, A. (May 12, 2021). Gov. Doug Burgum        Resource Plan Update. https://www.pacificorp.com/     plant-coal-hydrogen-7b46798c8e3b093
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                                                 calls for North Dakota to be carbon neutral by 2030.    content/dam/pcorp/documents/en/pacificorp/            a8591f25f66340e8f.
                                                                                                                                                                 97 omnigenglobal.com.
                                                 The Dickinson Press. https://                           energy/integrated-resource-plan/2023_IRP_
                                                 www.thedickinsonpress.com/business/gov-doug-            Update.pdf.                                             98 U.S. Energy Information Administration (EIA).

                                                 burgum-calls-for-north-dakota-to-be-carbon-               94 Rocky Mountain Power. (April 1, 2024). Rocky     (October 2023). Annual Coal Report 2022. https://
                                                 neutral-by-2030.                                        Mountain Power and 8 Rivers to collaborate on         www.eia.gov/coal/annual/pdf/acr.pdf.
                                                   90 Tanaka, H. et al. Advanced KM CDR Process          proposed Wyoming carbon capture project. Press          99 National Energy Technology Laboratory

                                                 using New Solvent. 14th International Conference        release. https://www.rockymountainpower.net/          (NETL). Large Pilot Carbon Capture Project
                                                 on Greenhouse Gas Control Technologies, GHGT–           about/newsroom/news-releases/rmp-proposed-            Supported by NETL Breaks Ground in Illinois.
                                                 14. https://www.cfaenm.org/wp-content/uploads/          wyoming-carbon-capture-project.html.                  https://netl.doe.gov/node/12284.



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                                                 suppliers to support additional future                  pipelines to those units, and it implies               infiltration, and cleaning and
                                                 projects.100                                            that those units are technically capable               maintaining heat transfer surfaces.
                                                   In developing these final rules, the                  of co-firing at least 60 percent natural                  As discussed in section VIII.F.2.b of
                                                 EPA reviewed the current state and cost                 gas on a heat input basis on average over              this preamble, efficient generation
                                                 of CCS technology for use with both                     the course of an extended period (e.g.,
                                                 steam generating units and stationary                                                                          technologies have been in use at
                                                                                                         a year). Additionally, many coal-fired
                                                 combustion turbines. This review is                                                                            facilities in the power sector for decades
                                                                                                         steam generating EGUs have also opted
                                                 reflected in the respective BSER                                                                               and the levels of efficiency that the EPA
                                                                                                         to switch entirely to providing
                                                 discussions later in this preamble and is               generation from the firing of natural gas.             is finalizing in this rule have been
                                                 further detailed in the accompanying                    Since 2011, more than 80 coal-fired                    achieved by many recently constructed
                                                 RIA and final TSDs, GHG Mitigation                      utility boilers have been converted to                 turbines. The efficiency improvements
                                                 Measures for Steam Generating Units                     natural gas-fired utility boilers.103                  are incremental in nature and do not
                                                 and GHG Mitigation Measures—Carbon                        In developing these final actions, the               change how the combustion turbine is
                                                 Capture and Storage for Combustion                      EPA reviewed in detail the current state               operated or maintained and present
                                                 Turbines. These documents are                           of natural gas co-firing technology and                little incremental capital or compliance
                                                 included in the rulemaking docket.                      costs. This review is reflected in the                 costs compared to other types of
                                                 2. Natural Gas Co-Firing                                BSER discussions later in this preamble                technologies that may be considered for
                                                                                                         and is further detailed in the                         new and reconstructed sources. In
                                                    For a coal-fired steam generating unit,              accompanying RIA and final TSD, GHG                    addition, more efficient designs have
                                                 the substitution of natural gas for some                Mitigation Measures for Steam                          lower fuel costs, which offset at least a
                                                 of the coal so that the unit fires a                    Generating Units. Both documents are                   portion of the increase in capital costs.
                                                 combination of coal and natural gas is                  included in the rulemaking docket.                     For additional discussion of this BSER
                                                 known as ‘‘natural gas co-firing.’’
                                                 Existing coal-fired steam generating                    3. Efficient Generation                                technology, see the final TSD, Efficient
                                                 units can be modified to co-fire natural                                                                       Generation in Combustion Turbines in
                                                                                                            Highly efficient generation is the                  the docket for this rulemaking.
                                                 gas in any desired proportion with coal.                BSER technology upon which the first
                                                 Generally, the modification of existing                 phase standards of performance are                        Efficiency improvements are also
                                                 boilers to enable or increase natural gas               based for certain new and reconstructed                available for fossil fuel-fired steam
                                                 firing involves the installation of new                 stationary combustion turbine EGUs.                    generating units, and as discussed
                                                 gas burners and related boiler                          This technology is available for both                  further in section VII.D.4.a, the more
                                                 modifications and may involve the                       simple cycle and combined cycle                        efficiently an EGU operates the less fuel
                                                 construction of a natural gas supply                    combustion turbines and has been                       it consumes, thereby emitting lower
                                                 pipeline if one does not already exist. In              demonstrated—along with best                           amounts of CO2 and other air pollutants
                                                 recent years, the cost of natural gas co-               operating and maintenance practices—                   per MWh generated. Efficiency
                                                 firing has declined because the expected                to reduce emissions. Generally, as the                 improvements for steam generating
                                                 difference between coal and gas prices                  thermal efficiency of a combustion                     EGUs include a variety of technology
                                                 has decreased and analysis supports                     turbine increases, less fuel is burned per             upgrades and operating practices that
                                                 lower capital costs for modifying                       gross MWh of electricity produced and                  may achieve CO2 emission rate
                                                 existing boilers to co-fire with natural                there is a corresponding decrease in CO2               reductions of 0.1 to 5 percent for
                                                 gas, as discussed in section VII.C.2.a of               and other air emissions.                               individual EGUs. These reductions are
                                                 this preamble.                                             For simple cycle turbines,
                                                    It is common practice for steam                                                                             small relative to the reductions that are
                                                                                                         manufacturers continue to improve the                  achievable from natural gas co-firing
                                                 generating units to have the capability
                                                                                                         efficiency by increasing firing                        and from CCS. Also, as efficiency
                                                 to burn multiple fuels onsite, and of the
                                                                                                         temperature, increasing pressure ratios,               increases, some facilities could increase
                                                 565 coal-fired steam generating units
                                                                                                         using intercooling on the air                          their utilization and therefore increase
                                                 operating at the end of 2021, 249 of
                                                                                                         compressor, and adopting other                         their CO2 emissions (as well as
                                                 them reported use of natural gas as a
                                                                                                         measures. Best operating practices for                 emissions of other air pollutants). This
                                                 primary fuel or for startup.101 Based on
                                                                                                         simple cycle turbines include proper
                                                 hourly reported CO2 emission rates from                                                                        phenomenon is known as the ‘‘rebound
                                                                                                         maintenance of the combustion turbine
                                                 the start of 2015 through the end of                                                                           effect.’’ Because of this potential for
                                                                                                         flow path components and the use of
                                                 2020, 29 coal-fired steam generating                                                                           perverse GHG emission outcomes
                                                                                                         inlet air cooling to reduce efficiency
                                                 units co-fired with natural gas at rates                losses during periods of high ambient                  resulting from deployment of efficiency
                                                 at or above 60 percent of capacity on an                temperatures. For combined cycle                       measures at certain steam generating
                                                 hourly basis.102 The capability of those                turbines, a highly efficient combustion                units, coupled with the relatively minor
                                                 units on an hourly basis is indicative of               turbine engine is matched with a high-                 overall GHG emission reductions that
                                                 the extent of boiler burner modifications               efficiency HRSG. High efficiency also                  would be expected, the EPA is not
                                                 and sizing and capacity of natural gas                  includes, but is not limited to, the use               finalizing efficiency improvements as
                                                                                                         of the most efficient steam turbine and                the BSER for any subcategory of existing
                                                    100 Net Power. (March 11, 2024). Q4 2023

                                                 Business Update and Results. https://                   minimizing energy losses using                         coal-fired steam generating units.
                                                 d1io3yog0oux5.cloudfront.net/_                          insulation and blowdown heat recovery.                 Specific details of efficiency measures
                                                 cde4aad258e20f5aec49abd8654499f8/netpower/db/           Best operating and maintenance                         are described in the final TSD, GHG
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                                                 3583/33195/pdf/Q4_2023+Earnings+Presentation_           practices include, but are not limited to,             Mitigation Measures for Steam
                                                 3.11.24.pdf.
                                                    101 U.S. Energy Information Administration (EIA).    minimizing steam leaks, minimizing air                 Generating Units, and an updated 2023
                                                 Form 923. https://www.eia.gov/electricity/data/                                                                Sargent and Lundy HRI report (Heat
                                                 eia923/.                                                  103 U.S. Energy Information Administration (EIA).    Rate Improvement Method Costs and
                                                    102 U.S. Environmental Protection Agency (EPA).      (5 August 2020). Today in Energy. More than 100        Limitations Memo), available in the
                                                 ‘‘Power Sector Emissions Data.’’ Washington, DC:        coal-fired plants have been replaced or converted to
                                                 Office of Atmospheric Protection, Clean Air             natural gas since 2011. https://www.eia.gov/           docket.
                                                 Markets Division. https://campd.epa.gov.                todayinenergy/detail.php?id=44636.



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                                                 D. The Electric Power Sector: Trends                    2. Broad Trends Within the Power                      resources. The IRA provides numerous
                                                 and Current Structure                                   Sector                                                tax and other incentives to directly spur
                                                                                                            For more than a decade, the power                  deployment of clean energy
                                                 1. Overview                                                                                                   technologies. Particularly relevant to
                                                                                                         sector has been experiencing substantial
                                                    The electric power sector is                         transition and structural change, both in             these final actions, the incentives in the
                                                 experiencing a prolonged period of                      terms of the mix of generating capacity               IRA,107 108 which are discussed in detail
                                                 transition and structural change. Since                 and in the share of electricity generation            later in this section of the preamble,
                                                                                                         supplied by different types of EGUs.                  support the expansion of technologies,
                                                 the generation of electricity from coal-
                                                                                                         These changes are the result of multiple              such as CCS, that reduce GHG emissions
                                                 fired power plants peaked nearly two
                                                                                                         factors, including normal replacements                from fossil-fired EGUs.
                                                 decades ago, the power sector has                                                                                The ongoing transition of the power
                                                 changed at a rapid pace. Today, natural                 of older EGUs; technological
                                                                                                         improvements in electricity generation                sector is illustrated by a comparison of
                                                 gas-fired power plants provide the                                                                            data between 2007 and 2022. In 2007,
                                                 largest share of net generation, coal-fired             from both existing and new EGUs;
                                                                                                         changes in the prices and availability of             the year of peak coal generation,
                                                 power plants provide a significantly                                                                          approximately 72 percent of the
                                                 smaller share than in the recent past,                  different fuels; state and Federal policy;
                                                                                                         the preferences and purchasing                        electricity provided to the U.S. grid was
                                                 renewable energy provides a steadily                                                                          produced through the combustion of
                                                                                                         behaviors of end-use electricity
                                                 increasing share, and as new                                                                                  fossil fuels, primarily coal and natural
                                                                                                         consumers; and substantial growth in
                                                 technologies enter the marketplace,                     electricity generation from renewable                 gas, with coal accounting for the largest
                                                 power producers continue to replace                     sources.                                              single share. By 2022, fossil fuel net
                                                 aging assets—especially coal-fired                         One of the most important                          generation was approximately 60
                                                 power plants—with more efficient and                    developments of this transition has been              percent, less than the share in 2007
                                                 lower-cost alternatives.                                the evolving economics of the power                   despite electricity demand remaining
                                                    These developments have significant                  sector. Specifically, as discussed in                 relatively flat over this same period.
                                                 implications for the types of controls                  section IV.D.3.b of this preamble and in              Moreover, the share of generation
                                                 that the EPA determined to qualify as                   the final TSD, Power Sector Trends, the               supplied by coal-fired EGUs fell from 49
                                                                                                         existing fleet of coal-fired EGUs                     percent in 2007 to 19 percent in 2022
                                                 the BSER for different types of fossil
                                                                                                         continues to age and become more                      while the share supplied by natural gas-
                                                 fuel-fired EGUs. For example, power
                                                                                                         costly to maintain and operate. At the                fired EGUs rose from 22 to 39 percent
                                                 plant owners and operators retired an
                                                                                                         same time, natural gas prices have held               during the same period. In absolute
                                                 average annual coal-fired EGU capacity
                                                                                                         relatively low due to increased supply,               terms, coal-fired generation declined by
                                                 of 10 GW from 2015 to 2023, and coal-
                                                                                                         and renewable costs have fallen rapidly               59 percent while natural gas-fired
                                                 fired EGUs comprised 58 percent of all                                                                        generation increased by 88 percent. This
                                                 retired capacity in 2023.104 While use of               with technological improvement and
                                                                                                         growing scale. Natural gas surpassed                  reflects both the increase in natural gas
                                                 CCS promises significant emissions                                                                            capacity as well as an increase in the
                                                 reduction from fossil fuel-fired sources,               coal in monthly net electricity
                                                                                                         generation for the first time in April                utilization of new and existing natural
                                                 it requires substantial up-front capital                                                                      gas-fired EGUs. The combination of
                                                                                                         2015, and since that time natural gas has
                                                 expenditure. Therefore, it is not a                                                                           wind and solar generation also grew
                                                                                                         maintained its position as the primary
                                                 feasible or cost-reasonable emission                                                                          from 1 percent of the electric power
                                                                                                         fuel for base load electricity generation,
                                                 reduction technology for units that                     for peaking applications, and for                     sector mix in 2007 to 15 percent in
                                                 intend to cease operation before they                   balancing renewable generation.105 In                 2022.109
                                                 would be able to amortize its costs.                    2023, generation from natural gas was                    Additional analysis of the utility
                                                 Industry stakeholders requested that the                more than 2.5 times as much as                        power sector, including projections of
                                                 EPA structure these rules to avoid                      generation from coal.106 Additionally,                future power sector behavior and the
                                                 imposing costly control obligations on                  there has been increased generation                   impacts of these final rules, is discussed
                                                 coal-fired power plants that have                       from investments in zero- and low-GHG                 in more detail in section XII of this
                                                 announced plans to voluntarily cease                    emission energy technologies spurred                  preamble, in the accompanying RIA,
                                                 operations, and the EPA has determined                  by technological advancements,                        and in the final TSD, Power Sector
                                                 the BSER in accordance with its                         declining costs, state and Federal                    Trends. The latter two documents are
                                                 understanding of which coal-fired units                 policies, and most recently, the IIJA and             available in the rulemaking docket.
                                                 will be able to feasibly and cost-                      the IRA. For example, the IIJA provides               Consistent with analyses done by other
                                                 effectively deploy the BSER                             investments and other policies to help                energy modelers, the information
                                                 technologies. In addition, the EPA                      commercialize, demonstrate, and deploy
                                                 recognizes that utilities and power plant               technologies such as small modular                      107 U.S. Department of Energy (DOE). August

                                                 operators are building new natural gas-                 nuclear reactors, long-duration energy                2022. The Inflation Reduction Act Drives
                                                                                                                                                               Significant Emissions Reductions and Positions
                                                 fired combustion turbines with plans to                 storage, regional clean hydrogen hubs,                America to Reach Our Climate Goals. https://
                                                 operate them at varying levels of                       CCS and associated infrastructure,                    www.energy.gov/sites/default/files/2022-08/
                                                 utilization, in coordination with other                 advanced geothermal systems, and                      8.18%20InflationReductionAct_Factsheet_
                                                                                                         advanced distributed energy resources                 Final.pdf.
                                                 existing and expected new energy                                                                                108 U.S. Department of Energy (DOE). August
                                                 sources. These patterns of operation are                (DER) as well as more traditional wind,               2023. Investing in American Energy. Significant
                                                 important for the type of controls that                 solar, and battery energy storage                     Impacts of the Inflation Reduction Act and
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                                                 the EPA is finalizing as the BSER for                                                                         Bipartisan Infrastructure Law on the U.S. Energy
                                                                                                           105 U.S. Energy Information Administration (EIA).   Economy and Emissions Reductions. https://
                                                 these turbines.                                                                                               www.energy.gov/sites/default/files/2023-08/
                                                                                                         Monthly Energy Review and Short-Term Energy
                                                                                                         Outlook, March 2016. https://www.eia.gov/             DOE%20OP%20Economy%20Wide%20Report_
                                                   104 U.S. Energy Information Administration (EIA).     todayinenergy/detail.php?id=25392.                    0.pdf.
                                                 (7 February 2023). Today in Energy. Coal and              106 U.S. Energy Information Administration (EIA).     109 U.S. Energy Information Administration (EIA).

                                                 natural gas plants will account for 98 percent of       Electric Power Monthly, March 2024. https://          Annual Energy Review, table 8.2b Electricity net
                                                 U.S. capacity retirements in 2023. https://             www.eia.gov/electricity/monthly/current_month/        generation: electric power sector. https://
                                                 www.eia.gov/todayinenergy/detail.php?id=55439.          march2024.pdf.                                        www.eia.gov/totalenergy/data/annual/.



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                                                 provided in the RIA and TSD                             during that 20-year period.114 The peak                 of utility-scale solar capacity.
                                                 demonstrates that the sector trend of                   annual capacity addition was 14 GW,                     Additionally, a net summer capacity of
                                                 moving away from coal-fired generation                  which was added in 1980. These coal-                    30 GW of DER solar were added from
                                                 is likely to continue, the share from                   fired steam generating units operated as                2015 to 2022.
                                                 natural gas-fired generation is projected               base load units for decades. However,
                                                 to decline eventually, and the share of                 beginning in 2005, the U.S. power                       b. Current Structure of Coal-Fired
                                                 generation from non-emitting                            sector—and especially the coal-fired                    Generation
                                                 technologies is likely to continue                      fleet—began experiencing a period of
                                                                                                                                                                    Although much of the fleet of coal-
                                                 increasing. For instance, according to                  transition that continues today. Many of
                                                 the Energy Information Administration                   the older coal-fired steam generating                   fired steam generating units has
                                                 (EIA), the net change in solar capacity                 units built in the 1960s, 1970s, and                    historically operated as base load, there
                                                 has been larger than the net change in                  1980s have retired or have experienced                  can be notable differences in design and
                                                 capacity for any other source of                        significant reductions in net generation                operation across various facilities. For
                                                 electricity for every year since 2020. In               due to cost pressures and other factors.                example, coal-fired steam generating
                                                 2024, EIA projects that the actual                      Some of these coal-fired steam                          units smaller than 100 MW comprise 18
                                                 increase in generation from solar will                  generating units repowered with                         percent of the total number of coal-fired
                                                 exceed every other source of generating                 combustion turbines and natural gas.115                 units, but only 2 percent of total coal-
                                                 capacity. This is in part because of the                With no new coal-fired steam generating                 fired capacity.118 Moreover, average
                                                 large amounts of new solar coming                       units larger than 25 MW commencing                      annual capacity factors for coal-fired
                                                 online in 2024 but is also due to the                   construction in the past decade—and                     steam generating units have declined
                                                 large amount of energy storage coming                   with the EPA unaware of any plans                       from 74 to 50 percent since 2007.119
                                                 online, which will help reduce                          being approved to construct a new coal-                 These declining capacity factors
                                                 renewable curtailments.110 EIA also                     fired EGU—much of the fleet that                        indicate that a larger share of units are
                                                 projects that in 2024, the U.S. will see                remains is aging, expensive to operate                  operating in non-base load fashion
                                                 its largest year for installation of both               and maintain, and increasingly                          largely because they are no longer cost-
                                                 solar and battery storage. Specifically,                uncompetitive relative to other sources                 competitive in many hours of the year.
                                                 EIA projects that 36.4 GW of solar will                 of generation in many parts of the
                                                                                                                                                                    Older power plants also tend to
                                                 be added, nearly doubling last year’s                   country.
                                                                                                            Since 2007, the power sector’s total                 become uneconomic over time as they
                                                 record of 18.4 GW. Similarly, EIA
                                                 projects 14.3 GW of new energy storage.                 installed net summer capacity 116 has                   become more costly to maintain and
                                                 This would more than double last year’s                 increased by 167 GW (17 percent) while                  operate,120 especially when competing
                                                 record installation of 6.4 GW and nearly                coal-fired steam generating unit capacity               for dispatch against newer and more
                                                 double the existing total capacity of 15.5              has declined by 123 GW.117 This                         efficient generating technologies that
                                                 GW. This compares to only 2.5 GW of                     reduction in coal-fired steam generating                have lower operating costs. The average
                                                 new natural gas turbine capacity.111 The                unit capacity was offset by a net                       coal-fired power plant that retired
                                                 only year since 2013 when renewable                     increase in total installed wind capacity               between 2015 and 2022 was more than
                                                 generation did not make up the majority                 of 125 GW, net natural gas capacity of                  50 years old, and 65 percent of the
                                                 of new generation capacity in the U.S.                  110 GW, and a net increase in utility-                  remaining fleet of coal-fired steam
                                                 was 2018.112                                            scale solar capacity of 71 GW during the                generating units will be 50 years old or
                                                                                                         same period. Additionally, significant                  more within a decade.121 To further
                                                 3. Coal-Fired Generation: Historical                    amounts (40 GW) of DER solar were also                  illustrate this trend, the existing coal-
                                                 Trends and Current Structure                            added. At least half of these changes                   fired steam generating units older than
                                                 a. Historical Trends in Coal-Fired                      were in the most recent 7 years of this                 40 years represent 71 percent (129
                                                 Generation                                              period. From 2015 to 2022, coal                         GW) 122 of the total remaining capacity.
                                                    Coal-fired steam generating units have               capacity was reduced by 90 GW and this                  In fact, more than half (100 GW) of the
                                                 historically been the nation’s foremost                 reduction in capacity was offset by a net               coal-fired steam generating units still
                                                 source of electricity, but coal-fired                   increase of 69 GW of wind capacity, 63                  operating have already announced
                                                 generation has declined steadily since                  GW of natural gas capacity, and 59 GW                   retirement dates prior to 2039 or
                                                 its peak approximately 20 years ago.113                    114 U.S. Energy Information Administration (EIA).
                                                                                                                                                                 conversion to gas-fired units by the
                                                 Construction of new coal-fired steam                    Electric Generators Inventory, Form EIA–860M,
                                                 generating units was at its highest                     Inventory of Operating Generators and Inventory of         118 U.S. Environmental Protection Agency.

                                                 between 1967 and 1986, with                             Retired Generators, March 2022. https://                National Electric Energy Data System (NEEDS) v7.
                                                                                                         www.eia.gov/electricity/data/eia860m/.                  December 2023. https://www.epa.gov/power-sector-
                                                 approximately 188 GW (or 9.4 GW per                                                                             modeling/national-electric-energy-data-system-
                                                                                                            115 U.S. Energy Information Administration (EIA).
                                                 year) of capacity added to the grid                     Today in Energy. More than 100 coal-fired plants        needs.
                                                                                                                                                                    119 U.S. Energy Information Administration (EIA).
                                                                                                         have been replaced or converted to natural gas
                                                   110 U.S. Energy Information Administration (EIA).                                                             Electric Power Annual 2021, table 1.2.
                                                                                                         since 2011. August 2020. https://www.eia.gov/
                                                 Short Term Energy Outlook, December 2023.               todayinenergy/detail.php?id=44636.                         120 U.S. Energy Information Administration (EIA).
                                                   111 U.S. Energy Information Administration (EIA).        116 This includes generating capacity at EGUs        U.S. coal plant retirements linked to plants with
                                                 (February 15, 2024). Today in Energy. Solar and         primarily operated to supply electricity to the grid    higher operating costs. December 2019. https://
                                                 Battery Storage to make up 81% of new U.S.              and combined heat and power (CHP) facilities            www.eia.gov/todayinenergy/detail.php?id=42155.
                                                 Electric-generating capacity in 2024. https://          classified as Independent Power Producers and              121 eGRID 2020 (January 2022 release from EPA
                                                 www.eia.gov/todayinenergy/detail.php?id=61424.          excludes generating capacity at commercial and          eGRID website). Represents data from generators
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                                                   112 U.S. Energy Information Administration (EIA).     industrial facilities that does not operate primarily   that came online between 1950 and 2020
                                                 Today in Energy. Natural gas and renewables make        as an EGU. Natural gas information reflects data for    (inclusive); a 71-year period. Full eGRID data
                                                 up most of 2018 electric capacity additions. https://   all generating units using natural gas as the primary   includes generators that came online as far back as
                                                 www.eia.gov/todayinenergy/detail.php?id=36092.          fossil heat source unless otherwise stated. This        1915.
                                                   113 U.S. Energy Information Administration (EIA).     includes combined cycle, simple cycle, steam, and          122 U.S. Energy Information Administration (EIA).

                                                 Today in Energy. Natural gas expected to surpass        miscellaneous (<1 percent).                             Electric Generators Inventory, Form–860M,
                                                 coal in mix of fuel used for U.S. power generation         117 U.S. Energy Information Administration (EIA).    Inventory of Operating Generators and Inventory of
                                                 in 2016. March 2016. https://www.eia.gov/               Electric Power Annuals 2010 (Tables 1.1.A and           Retired Generators. August 2022. https://
                                                 todayinenergy/detail.php?id=25392.                      1.1.B) and 2022 (Tables 4.2.A and 4.2.B).               www.eia.gov/electricity/data/eia860m/.



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                                                 same year.123 As discussed later in this                represents an average of almost 8.8 GW                Power Sector Trends included in the
                                                 section, projections anticipate that this               of new combustion turbine generation                  docket for this rulemaking.
                                                 trend will continue.                                    capacity per year. In 2022, the net
                                                    The reduction in coal-fired generation                                                                     E. The Legislative, Market, and State
                                                                                                         summer capacity of combustion turbine
                                                 by electric utilities is also evident in                                                                      Law Context
                                                                                                         EGUs totaled 419 GW, with 289 GW
                                                 data for annual U.S. coal production,                   being combined cycle generation and                   1. Recent Legislation Impacting the
                                                 which reflects reductions in                            130 GW being simple cycle generation.                 Power Sector
                                                 international demand as well. In 2008,
                                                                                                            This trend away from electricity                      On November 15, 2021, President
                                                 annual coal production peaked at nearly
                                                                                                         generation using coal-fired EGUs to                   Biden signed the IIJA 129 (also known as
                                                 1,172 million short tons (MMst)
                                                                                                         natural gas-fired turbine EGUs is also                the Bipartisan Infrastructure Law),
                                                 followed by sharp declines in 2015 and
                                                                                                         reflected in comparisons of annual                    which allocated more than $65 billion
                                                 2020.124 In 2015, less than 900 MMst
                                                                                                         capacity factors, sizes, and ages of                  in funding via grant programs, contracts,
                                                 were produced, and in 2020, the total
                                                                                                         affected EGUs. For example, the average               cooperative agreements, credit
                                                 dropped to 535 MMst, the lowest output
                                                                                                         annual capacity factors for natural gas-              allocations, and other mechanisms to
                                                 since 1965. Following the pandemic, in
                                                                                                         fired units increased from 28 to 38                   develop and upgrade infrastructure and
                                                 2022, annual coal production had
                                                                                                         percent between 2010 and 2022. And                    expand access to clean energy
                                                 increased to 594 MMst. For additional
                                                 analysis of the coal-fired steam                        compared with the fleet of coal-fired                 technologies. Specific objectives of the
                                                 generation fleet, see the final TSD,                    steam generating units, the natural gas               legislation are to improve the nation’s
                                                 Power Sector Trends included in the                     fleet is generally smaller and newer.                 electricity transmission capacity,
                                                 docket for this rulemaking.                             While 67 percent of the coal-fired steam              pipeline infrastructure, and increase the
                                                    Notwithstanding these trends, in                     generating unit fleet capacity is over 500            availability of low-GHG fuels. Some of
                                                 2022, coal-fired energy sources were                    MW per unit, 75 percent of the gas fleet              the IIJA programs 130 that will impact
                                                 still responsible for 50 percent of CO2                 is between 50 and 500 MW per unit. In                 the utility power sector include more
                                                 emissions from the electric power                       terms of the age of the generating units,             than $20 billion to build and upgrade
                                                 sector.125                                              nearly 50 percent of the natural gas                  the nation’s electric grid, up to $6
                                                                                                         capacity has been in service less than 15             billion in financial support for existing
                                                 4. Natural Gas-Fired Generation:                        years.127                                             nuclear reactors that are at risk of
                                                 Historical Trends and Current Structure                                                                       closing, and more than $700 million for
                                                                                                         b. Current Structure of Natural Gas-                  upgrades to the existing hydroelectric
                                                 a. Historical Trends in Natural Gas-
                                                                                                         Fired Generation                                      fleet. The IIJA established the Carbon
                                                 Fired Generation
                                                                                                            In the lower 48 states, most                       Dioxide Transportation Infrastructure
                                                    There has been significant expansion
                                                 of the natural gas-fired EGU fleet since                combustion turbine EGUs burn natural                  Finance and Innovation Program to
                                                 2000, coinciding with efficiency                        gas, and some have the capability to fire             provide flexible Federal loans and
                                                 improvements of combustion turbine                      distillate oil as backup for periods when             grants for building CO2 pipelines
                                                 technologies, increased availability of                 natural gas is not available, such as                 designed with excess capacity, enabling
                                                 natural gas, increased demand for                       when residential demand for natural gas               integrated carbon capture and geologic
                                                 flexible generation to support the                      is high during the winter. Areas of the               storage. The IIJA also allocated $21.5
                                                 expanding capacity of variable energy                   country without access to natural gas                 billion to fund new programs to support
                                                 resources, and declining costs for all                  often use distillate oil or some other                the development, demonstration, and
                                                 three elements. According to data from                  locally available fuel. Combustion                    deployment of clean energy
                                                 EIA, annual capacity additions for                      turbines have the capability to burn                  technologies, such as $8 billion for the
                                                 natural gas-fired EGUs peaked between                   either gaseous or liquid fossil fuels,                development of regional clean hydrogen
                                                 2000 and 2006, with more than 212 GW                    including but not limited to kerosene,                hubs and $7 billion for the development
                                                 added to the grid during this period                    naphtha, synthetic gas, biogases,                     of carbon management technologies,
                                                 (about 35 GW per year). Of this total,                  liquified natural gas (LNG), and                      including regional direct air capture
                                                 approximately 147 GW (70 percent)                       hydrogen.                                             hubs, carbon capture large-scale pilot
                                                 were combined cycle capacity and 65                                                                           projects for development of
                                                                                                            Over the past 20 years, advances in                transformational technologies, and
                                                 GW were simple cycle capacity.126 From                  hydraulic fracturing (i.e., fracking) and
                                                 2007 to 2022, more than 132 GW of                                                                             carbon capture commercial-scale
                                                                                                         horizontal drilling techniques have                   demonstration projects to improve
                                                 capacity were constructed and                           opened new regions of the U.S. to gas
                                                 approximately 77 percent of that total                                                                        efficiency and effectiveness. Other clean
                                                                                                         exploration. As the production of                     energy technologies with IIJA and IRA
                                                 were combined cycle EGUs. This figure                   natural gas has increased, the annual                 funding include industrial
                                                   123 U.S. Environmental Protection Agency.
                                                                                                         average price has declined during the                 demonstrations, geologic sequestration,
                                                 National Electric Energy Data System (NEEDS) v6.        same period, leading to more natural                  grid-scale energy storage, and advanced
                                                 October 2022. https://www.epa.gov/power-sector-         gas-fired combustion turbines.128                     nuclear reactors.
                                                 modeling/national-electric-energy-data-system-          Natural gas net generation increased 181
                                                 needs.
                                                                                                                                                                  The IRA, which President Biden
                                                   124 U.S. Energy Information Administration (EIA).
                                                                                                         percent in the past two decades, from                 signed on August 16, 2022,131 has the
                                                 (October 2023). Annual Coal Report 2022. https://       601 thousand gigawatt-hours (GWh) in                  potential for even greater impacts on the
                                                 www.eia.gov/coal/annual/pdf/acr.pdf.                    2000 to 1,687 thousand GWh in 2022.                   electric power sector. Energy Security
                                                   125 U.S. Energy Information Administration (EIA).     For additional analysis of natural gas-
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                                                                                                                                                               and Climate Change programs in the
                                                 U.S. CO2 emissions from energy consumption by           fired generation, see the final TSD,
                                                 source and sector, 2022. https://www.eia.gov/
                                                                                                                                                                 129 https://www.congress.gov/bill/117th-congress/
                                                 totalenergy/data/monthly/pdf/flow/CO2_emissions_
                                                 2022.pdf.                                                 127 National Electric Energy Data System (NEEDS)    house-bill/3684/text.
                                                   126 U.S. Energy Information Administration (EIA).     v.6.                                                    130 https://www.whitehouse.gov/wp-content/

                                                 Electric Generators Inventory, Form EIA–860M,             128 U.S. Energy Information Administration (EIA).   uploads/2022/05/BUILDING-A-BETTER-AMERICA-
                                                 Inventory of Operating Generators and Inventory of      Natural Gas Annual, September 2021. https://          V2.pdf.
                                                 Retired Generators, July 2022. https://www.eia.gov/     www.eia.gov/energyexplained/natural-gas/                131 https://www.congress.gov/bill/117th-congress/

                                                 electricity/data/eia860m/.                              prices.php.                                           house-bill/5376/text.



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     IRA covering grant funding and tax                       at the higher credit value beginning in              consecutive years. Tax-paying entities
     incentives provide significant                           2023 for qualifying projects. These                  may also elect to transfer credits to
     investments in low and non GHG-                          incentives will significantly cut costs              unrelated taxpayers, enabling direct
     emitting generation. For example, one of                 and are expected to accelerate the                   monetization of the credits again
     the conditions set by Congress for the                   adoption of CCS in the utility power                 without relying on tax equity
     expiration of the Clean Electricity                      and other industrial sectors. Specifically           transactions.
     Production Tax Credits of the IRA,                       for the power sector, the IRA requires                  In addition to provisions such as 45Q
     found in section 13701, is a 75 percent                  that a qualifying carbon capture facility            that allow for the use of fossil-
     reduction in GHG emissions from the                      have a CO2 capture design capacity of                generating assets in a low-GHG future,
     power sector below 2022 levels. The                      not less than 75 percent of the baseline             the IRA also includes significant
     IRA also contains the Low Emission                       CO2 production of the unit and that                  incentives to deploy clean energy
     Electricity Program (LEEP) with funding                  construction must begin before January               generation. For instance, the IRA
     provided to the EPA with the objective                   1, 2033. Tax credits under IRC section               provides an additional 10 percent in
     to reduce GHG emissions from domestic                    45Q can be combined with some other                  production tax credit (PTC) and
     electricity generation and use through                   tax credits, in some circumstances, and              investment tax credit (ITC) bonuses for
     promotion of incentives, tools to                        with state-level incentives, including               clean energy projects located in energy
     facilitate action, and use of CAA                        California’s low carbon fuel standard,               communities with historic employment
     regulatory authority. In particular, CAA                 which is a market-based program with                 and tax bases related to fossil fuels.135
     section 135, added by IRA section                        fuel-specific carbon intensity                       The IRA’s Energy Infrastructure
     60107, requires the EPA to conduct an                    benchmarks.133 The magnitude of this                 Reinvestment Program also provides
     assessment of the GHG emission                           incentive is driving investment and                  $250 billion for the DOE to finance loan
     reductions expected to occur from                        announcements, evidenced by the                      guarantees that can be used to reduce
     changes in domestic electricity                          increased number of permit applications              both the cost of retiring existing fossil
     generation and use through fiscal year                   for geologic sequestration.134                       assets and of replacement generation for
     2031 and, further, provides the EPA $18                     The new provisions in section 13204               those assets, including updating
     million ‘‘to ensure that reductions in                   (IRC section 45V) codify production tax              operating energy infrastructure with
     [GHG] emissions are achieved through                     credits for ‘clean hydrogen’ as defined              emissions control technologies.136 As a
     use of the existing authorities of [the                  in the provision. The value of the                   further example, the Empowering Rural
     Clean Air Act], incorporating the                        credits earned by a project is tiered (four          America (New ERA) Program provides
     assessment. . . .’’ CAA section                          different tiers) and depends on the                  rural electric cooperatives with funds
     135(a)(6).                                               estimated GHG emissions of the                       that can be used for a variety of
       The IRA’s provisions also                              hydrogen production process as defined               purposes, including ‘‘funding for
     demonstrate an intent to support                         in the statute. The credits range from               renewable and zero emissions energy
     development and deployment of low-                       $3/kg H2 for less than 0.45 kilograms of             systems that eliminate aging, obsolete or
     GHG emitting technologies in the power                   CO2-equivalent emitted per kilogram of               expensive infrastructure’’ or that allow
     sector through a broad array of                          low-GHG hydrogen produced (kg CO2e/                  rural cooperatives to ‘‘change [their]
     additional tax credits, loan guarantees,                 kg H2) down to $0.6/kg H2 for 2.5 to 4.0             purchased-power mixes to support
     and public investment programs.                          kg CO2e/kg H2 (assuming wage and                     cleaner portfolios, manage stranded
     Particularly relevant for these final                    apprenticeship requirements are met).                assets and boost [the] transition to clean
     actions, these provisions are aimed at                   Projects with production related GHG                 energy.’’ 137 The $9.7 billion New ERA
     reducing emissions of GHGs from new                      emissions greater than 4.0 kg CO2e/kg                program represents the single largest
     and existing generating assets, with tax                 H2 are not eligible. Future costs for                investment in rural energy systems
     credits for CCUS and clean hydrogen                      clean hydrogen produced using                        since the Rural Electrification Act of
     production, providing a pathway for the                  renewable energy are anticipated to                  1936.138
                                                              through 2030 due to these tax incentives                On September 12, 2023, the EPA
     use of coal and natural gas as part of a
                                                              and concurrent scaling up of                         released a report assessing the impact of
     low-GHG electricity grid.
       To assist states and utilities in their                manufacturing and deployment of clean                the IRA on the power sector. Modeling
                                                              hydrogen production facilities.                      results showed that economy-wide CO2
     decarbonizing efforts, and most germane
                                                                 Both IRC section 45Q and IRC section              emissions are lower under the IRA. The
     to these final actions, the IRA increased
     the tax credit incentives for capturing                  45V are eligible for additional                        135 U.S. Department of the Treasury. (April 4,
     and storing CO2, including from                          provisions that increase the value and               2023). Treasury Releases Guidance to Drive
     industrial sources, coal-fired steam                     usability of the credits. Certain tax-               Investment to Coal Communities. Press release.
     generating units, and natural gas-fired                  exempt entities, such as electric co-                https://home.treasury.gov/news/press-releases/
                                                              operatives, may elect direct payment for             jy1383.
     stationary combustion turbines. The                                                                             136 Fong, C., Posner, D., Varadarajan, U. (February
     increase in credit values, found in                      the full 12- or 10-year lifetime of the              16, 2024). The Energy Infrastructure Reinvestment
     section 13104 (which revises IRC                         credits to monetize the credits directly             Program: Federal financing for an equitable, clean
     section 45Q), is 70 percent, equaling                    as cash refunds rather than through tax              economy. Case studies from Missouri and Iowa.
     $85/metric ton for CO2 captured and                      equity transactions. Tax-paying entities             Rocky Mountain Institute (RMI). https://rmi.org/
                                                                                                                   the-energy-infrastructure-reinvestment-program-
     securely stored in geologic formations                   may elect to have direct payment of IRC              federal-financing-for-an-equitable-clean-economy/.
     and $60/metric ton for CO2 captured                      section 45Q or 45V credits for 5                       137 U.S. Department of Agriculture (USDA).

     and utilized or securely stored                                                                               Empowering Rural America New ERA Program.
                                                                133 Global CCS Institute. (2019). The LCFS and     https://www.rd.usda.gov/programs-services/
     incidentally in conjunction with
                                                              CCS Protocol: An Overview for Policymakers and       electric-programs/empowering-rural-america-new-
     EOR.132 The CCUS incentives include                      Project Developers. Policy report. https://          era-program.
     12 years of credits that can be claimed                  www.globalccsinstitute.com/wp-content/uploads/         138 Rocky Mountain Institute (RMI). (October 4,
                                                              2019/05/LCFS-and-CCS-Protocol_digital_version-       2023). USDA $9.7B Rural Community Clean Energy
       132 26 U.S.C. 45Q. Note, qualified facilities must     2.pdf.                                               Program Receives 150+ Letters of Interest. Press
     meet prevailing wage and apprenticeship                    134 EPA. (2024). Current Class VI Projects under   release. https://rmi.org/press-release/usda-9-7b-
     requirements to be eligible for the full value of the    Review at EPA. https://www.epa.gov/uic/current-      rural-community-clean-energy-program-receives-
     tax credit.                                              class-vi-projects-under-review-epa.                  150-letters-of-interest/.



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                                                 results from the EPA’s analysis of an                   50 power producers that are members of                  percent by 2030.144 145 146 These actions
                                                 array of multi-sector and electric sector               the Edison Electric Institute (EEI) have                include legislation to decarbonize state
                                                 modeling efforts show that a wide range                 announced CO2 reduction goals, two-                     power systems as well as commitments
                                                 of emissions reductions are possible.                   thirds of which include net-zero carbon                 that require utilities to expand
                                                 The IRA spurs CO2 emissions                             emissions by 2050.141 The members of                    renewable and clean energy production
                                                 reductions from the electric power                      the Energy Strategies Coalition, a group                through the adoption of renewable
                                                 sector of 49 to 83 percent below 2005                   of companies that operate and manage                    portfolio standards (RPS) and clean
                                                 levels in 2030. This finding reflects                   electricity generation facilities, as well              energy standards (CES).
                                                 diversity in how the models represent                   as electricity and natural gas                            Several states have enacted binding
                                                 the IRA, the assumptions the models                     transmission and distribution systems,                  economy-wide emission reduction
                                                 use, and fundamental differences in                     likewise are focused on investments to                  targets that will require significant
                                                 model structures.139                                    reduce carbon dioxide emissions from                    decarbonization from state power
                                                    In determining the CAA section 111                   the electricity sector.142 This trend is                sectors, including California, Colorado,
                                                 emission limitations that are included                  not unique. Smaller utilities, rural                    Maine, Maryland, Massachusetts, New
                                                 in these final actions, the EPA did not                 electric cooperatives, and municipal                    Jersey, New York, Rhode Island,
                                                 consider many of the technologies that                  entities are also contributing to these                 Vermont, and Washington.147 These
                                                 receive investment under recent Federal                 changes.                                                commitments are statutory emission
                                                 legislation. The EPA’s determination of                    Many electric utilities have publicly                reduction targets accompanied by
                                                 the BSER focused on ‘‘measures that                     announced near- and long-term                           mandatory agency directives to develop
                                                 improve the pollution performance of                    emission reduction commitments                          comprehensive implementing
                                                 individual sources,’’ 140 not generation                independent of these final actions. The                 regulations to achieve the necessary
                                                 technologies that entities could employ                 Smart Electric Power Alliance                           reductions. Some of these states, along
                                                 as alternatives to fossil fuel-fired EGUs.              demonstrates that the geographic                        with other neighboring states, also
                                                 However, these overarching incentives                   footprint of commitments for 100                        participate in the Regional Greenhouse
                                                 and policies are important context for                  percent renewable, net-zero, or other                   Gas Initiative (RGGI), a carbon market
                                                 this rulemaking and influence where                     carbon emission reductions by 2050                      limiting pollution from power plants
                                                 control technologies can be feasibly and                made by utilities, their parent                         throughout New England.148 The
                                                 cost-reasonably deployed, as well as                    companies, or in response to a state                    pollution limit combined with carbon
                                                 how owners and operators of EGUs may                    clean energy requirement, covers                        price and allowance market has led
                                                 respond to the requirements of these                    portions of 47 states and includes 80                   member states to reduce power sector
                                                 final actions.                                          percent of U.S. customer accounts.143                   CO2 emissions by nearly 50 percent
                                                                                                         According to this same source, 341                      since the start of the program in 2009.
                                                 2. Commitments by Utilities To Reduce
                                                 GHG Emissions                                           utilities in 26 states have similar                     This is 10 percent more than all non-
                                                                                                         commitments by 2040. Additional detail                  RGGI states.149
                                                    Integrated resource plans (IRPs) are                 about emission reduction commitments
                                                 filed by public utilities and demonstrate                                                                         Other states dependent on coal-fired
                                                                                                         from major utilities is provided in                     power generation or coal production
                                                 how utilities plan to meet future                       section 2.2 of the RIA and in the final
                                                 forecasted energy demand while                                                                                  also have significant, albeit non-
                                                                                                         TSD, Power Sector Trends.
                                                 ensuring reliable and cost-effective                                                                              144 Cao, L., Brindle., T., Schneer, K., and DeGolia,
                                                 service. In developing these rules, the                 3. State Actions To Reduce Power
                                                                                                                                                                 A. (December 2023). Turning Climate Commitments
                                                 EPA reviewed filed IRPs of companies                    Sector GHG Emissions                                    into Results: Evaluating Updated 2023 Projections
                                                 that have publicly committed to                            States across the country have taken                 vs. State Climate Targets. Environmental Defense
                                                 reducing their GHGs. These IRPs                                                                                 Fund (EDF). https://www.edf.org/sites/default/files/
                                                                                                         the lead in efforts to reduce GHG                       2023–11/EDF-State-Emissions-Gap-December-
                                                 demonstrate a range of strategies that                  emissions from the power sector. As of                  2023.pdf.
                                                 public utilities are planning to adopt to               mid-2023, 25 states had made                              145 United Nations Framework Convention on

                                                 reduce their GHGs, independent of                       commitments to reduce economy-wide                      Climate Change. What is the Paris Agreement?
                                                 these final actions. These strategies                   GHG emissions consistent with the                       https://unfccc.int/process-and-meetings/the-paris-
                                                                                                                                                                 agreement.
                                                 include retiring aging coal-fired steam                 goals of the Paris Agreement, including                   146 U.S. Department of State and U.S. Executive
                                                 generating EGUs and replacing them                      reducing GHG emissions by 50 to 52                      Office of the President. November 2021. The Long-
                                                 with a combination of renewable                                                                                 Term Strategy of the United States: Pathways to
                                                 resources, energy storage, other non-                      141 See Comments of Edison Electric Institute to     Net-Zero Greenhouse Gas Emissions by 2050.
                                                 emitting technologies, and natural gas-                 EPA’s Pre-Proposal Docket on Greenhouse Gas             https://www.whitehouse.gov/wp-content/uploads/
                                                                                                         Regulations for Fossil Fuel-fired Power Plants,         2021/10/us-long-term-strategy.pdf.
                                                 fired combustion turbines, and reducing                 Document ID No. EPA–HQ–OAR–2022–0723–0024,                147 Cao, L., Brindle., T., Schneer, K., and DeGolia,
                                                 GHGs from their natural gas-fired assets                November 18, 2022 (‘‘Fifty EEI members have             A., December 2023. Turning Climate Commitments
                                                 through a combination of CCS and                        announced forward-looking carbon reduction goals,       into Results: Evaluating Updated 2023 Projections
                                                 reduced utilization. To affirm these                    two-third of which include a net-zero by 2050 or        vs. State Climate Targets. Environmental Defense
                                                                                                         earlier equivalent goal, and members are routinely      Fund (EDF). https://www.edf.org/sites/default/files/
                                                 findings, according to EIA, as of 2022                  increasing the ambition or speed of their goals or      2023-11/EDF-State-Emissions-Gap-December-
                                                 there are no new coal-fired EGUs in                     altogether transforming them into net-zero goals.’’).   2023.pdf.
                                                 development. This section highlights                       142 Energy Strategy Coalition Comments on EPA’s        148 A full list of states currently participating in

                                                 recent actions and announced plans of                   proposed New Source Performance Standards for           RGGI include Connecticut, Delaware, Maine,
                                                 many utilities across the industry to                   Greenhouse Gas Emissions From New, Modified,            Maryland, Massachusetts, New Hampshire, New
                                                                                                         and Reconstructed Fossil Fuel-Fired Electric            Jersey, New York, Pennsylvania, Rhode Island, and
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                                                 reduce GHGs from their fleets. Indeed,                  Generating Units; Emission Guidelines for               Vermont.
                                                                                                         Greenhouse Gas Emissions From Existing Fossil             149 Note that these figures do not include Virginia
                                                   139 U.S. Environmental Protection Agency (EPA).       Fuel-Fired Electric Generating Units; and Repeal of     and Pennsylvania, which were not members of
                                                 (September 2023). Electricity Sector Emissions          the Affordable Clean Energy Rule, Document ID No.       RGGI for the full duration of 2009–2023. Acadia
                                                 Impacts of the Inflation Reduction Act. https://        EPA–HQ–OAR–2023–0072–0672, August 14, 2023.             Center: Regional Greenhouse Gas Initiative;
                                                 www.epa.gov/system/files/documents/2023-09/                143 Smart Electric Power Alliance Utility Carbon     Findings and Recommendations for the Third
                                                 Electricity_Emissions_Impacts_Inflation_                Tracker. https://sepapower.org/utility-                 Program Review. https://acadiacenter.wpengine
                                                 Reduction_Act_Report_EPA–FINAL.pdf.                     transformation-challenge/utility-carbon-reduction-      powered.com/wp-content/uploads/2023/04/AC_
                                                   140 West Virginia v. EPA, 597 U.S. at 734.            tracker/.                                               RGGI_2023_Layout_R6.pdf.



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                                                 binding, commitments that signal broad                  other states, including Montana and                    emitted in the state from electric
                                                 public support for policy with                          North Dakota, also have tax incentives                 generating facilities owned or operated
                                                 emissions-based metrics and public                      and regulations for CCS.156 In the case                by electric public utilities from 2005
                                                 affirmation that climate change is                      of Montana, the acquisition of an equity               levels by the year 2030 and carbon
                                                 fundamentally linked to fossil-intensive                interest or lease of coal-fired EGUs is                neutrality by the year 2050.’’ 161
                                                 energy sources. These states include                    prohibited unless it captures and stores                  The ambition and scope of these state
                                                 Illinois, Michigan, Minnesota, New                      at least 50 percent of its CO2                         power sector polices will impact the
                                                 Mexico, North Carolina, Pennsylvania,                   emissions.157 These state policies have                electric generation fleet for decades.
                                                 and Virginia. States like Wyoming, the                  coincided with the planning and                        Seven states with 100-percent power
                                                 top coal producing state in the U.S.,                   development of large CCS projects.                     sector decarbonization polices include a
                                                 have promulgated sector-specific                           Other states have broad                             total of 20 coal-fired EGUs with slightly
                                                 regulations requiring their public                      decarbonization laws that will drive                   less than 10 GW total capacity and
                                                 service commissions to implement low-                   significant decrease in power sector                   without announced retirement dates
                                                 carbon energy standards for public                      GHG emissions. In New York, The                        before 2039.162 Virginia, which has
                                                 utilities.150 151 Specific standards are                Climate Leadership and Community                       three coal-steam units with no
                                                 further detailed in the sections that                   Protection Act, passed in 2019, sets                   announced retirement dates and one
                                                 follow and in the final TSD, Power                      several climate targets. The most                      with a 2045 retirement date, enacted the
                                                 Sector Trends.                                          important goals include an 85 percent                  Clean Economy Act in 2020 to impose
                                                    Technologies like CCS provide a                      reduction in GHG emissions by 2050,                    a 100 percent RPS requirement by 2050.
                                                 means to achieve significant emission                   100 percent zero-emission electricity by               The combined capacity of all four of
                                                 reduction targets. For example, to                      2040, and 70 percent renewable energy                  these units in Virginia totals nearly 1.5
                                                 achieve GHG emission reduction goals                    by 2030. Other targets include 9,000                   GW. North Carolina, which has one
                                                 legislatively enacted in 2016, California               MW of offshore wind by 2035, 3,000                     coal-fired unit without an announced
                                                 Senate Bill 100, passed in 2018, requires               MW of energy storage by 2030, and                      retirement date and one with a planned
                                                 the state to procure 60 percent of all                  6,000 MW of solar by 2025.158                          2048 retirement, as previously
                                                 electricity from renewable sources by                   Washington State’s Climate                             mentioned, enacted a state law in 2021
                                                 2030 and plan for 100 percent from                      Commitment Act sets a target of                        requiring the state’s utilities
                                                 carbon-free sources by 2045.152                         reducing GHG emissions by 95 percent                   commission to achieve carbon neutrality
                                                 Achieving California’s established goal                 by 2050. The state is required to reduce               by 2050. The combined capacity of both
                                                 of carbon-free electricity by 2045                      emissions to 1990 levels by 2020, 45                   units totals approximately 1.4 GW of
                                                 requires emissions to be balanced by                    percent below 1990 levels by 2030, 70                  capacity. Nebraska, where three public
                                                 carbon sequestration, capture, or other                 percent below 1990 levels by 2040, and                 utility boards serving a large portion of
                                                 technologies. Therefore, California                     95 percent below 1990 levels by 2050.                  the state have adopted net-zero
                                                 Senate Bill 905, passed in 2022, requires               This also includes achieving net-zero                  electricity emission goals by 2040 or
                                                 the California Air Resources Board                      emissions by 2050.159 Illinois’ Climate                2050, includes six coal-fired units with
                                                 (CARB) to establish programs for                        and Equitable Jobs Act, enacted in                     a combined capacity of 2.9 GW. The
                                                 permitting CCS projects while                           September 2021, requires all private                   remaining eight units are in states with
                                                 preventing the use of captured CO2 for                  coal-fired or oil-fired power plants to                long-term decarbonization goals
                                                 EOR within the state.153 As mentioned                   reach zero carbon emissions by 2030,                   (Illinois, Louisiana, Maryland, and
                                                 previously, as the top coal producing                                                                          Wisconsin). All four of these states have
                                                                                                         municipal coal-fired plants to reach zero
                                                 state, Wyoming has been exceptionally                                                                          set 100 percent clean energy goals by
                                                                                                         carbon emissions by 2045, and natural
                                                 persistent on the implementation of CCS                                                                        2050.
                                                                                                         gas-fired plants to reach zero carbon                     Twenty-nine states and the District of
                                                 by incentivizing the national testing of                emissions by 2045.160 In October 2021,
                                                 CCS at Basin Electric’s coal-fired Dry                                                                         Columbia have enforceable RPS 163 that
                                                                                                         North Carolina passed House Bill 951                   require a percentage of electricity that
                                                 Fork Station154 and by requiring the                    that required the North Carolina
                                                 consideration of CCS as an alternative to                                                                      utilities sell to come from eligible
                                                                                                         Utilities Commission to ‘‘take all                     renewable sources like wind and solar
                                                 coal plant retirement.155 At least five                 reasonable steps to achieve a seventy                  rather than from fossil fuel-based
                                                   150 State of Wyoming. (Adopted March 24, 2020).
                                                                                                         percent (70 percent) reduction in                      sources like coal and natural gas.
                                                 House Bill 200 Reliable and dispatchable low-           emissions of carbon dioxide (CO2)                      Furthermore, 20 states have adopted a
                                                 carbon energy standards. https://www.wyoleg.gov/                                                               CES that includes some form of clean
                                                 Legislation/2020/HB0200.                                standards-amendments. https://www.wyoleg.gov/
                                                   151 State of Wyoming. (Adopted March 15, 2024).       Legislation/2024/SF0042.
                                                                                                                                                                   161 General Assembly of North Carolina, House
                                                 Senate Bill 42 Low-carbon reliable energy                 156 Sabin Center for Climate Change Law. 2019.

                                                 standards-amendments. https://www.wyoleg.gov/           Legal Pathways to Deep Decarbonization.                Bill 951 (2021). https://www.ncleg.gov/Sessions/
                                                 Legislation/2024/SF0042.                                Interactive Tracker for State Action on Carbon         2021/Bills/House/PDF/H951v5.pdf.
                                                                                                                                                                   162 These estimates are based on an analysis of the
                                                   152 Berkeley Law. California Climate Policy           Capture. https://cdrlaw.org/ccus-tracker/.
                                                                                                                                                                EPA’s NEEDS database, which contains information
                                                 Dashboard. https://www.law.berkeley.edu/research/         157 Sabin Center for Climate Change Law. 2019.
                                                                                                                                                                about EGUs across the country. The analysis
                                                 clee/research/climate/climate-policy-dashboard.         Legal Pathways to Deep Decarbonization. Model
                                                                                                                                                                includes a basic screen for units within the NEEDS
                                                   153 Berkeley Law. California Climate Policy           Laws. Montana prohibition on acquiring coal plants
                                                                                                                                                                database that are likely subject to the final 111(d)
                                                 Dashboard. https://www.law.berkeley.edu/research/       without CCS. https://lpdd.org/resources/montana-       EGU rule, namely coal-steam units with capacity
                                                 clee/research/climate/climate-policy-dashboard.         prohibition-on-acquiring-coal-plants-without-ccs/.     greater than 25 MW, and then removes units with
                                                   154 Basin Electric Power Cooperative. (May 2023).       158 New York State. Climate Act: Progress to our
                                                                                                                                                                an announced retirement dates prior to 2039, units
                                                 Press Release: Carbon Capture Technology                Goals. https://climate.ny.gov/Our-Impact/Our-          with announced plans to convert from coal- to gas-
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                                                 Developers Break Ground at Wyoming Integrated           Progress.                                              fired units, and units likely to fall outside of the
                                                 Test Center Located at Basin Electric’s Dry Fork          159 Department of Ecology Washington State.
                                                                                                                                                                rule’s applicability via the cogeneration exemption.
                                                 Station. https://www.basinelectric.com/News-            Greenhouse Gases. https://ecology.wa.gov/Air-             163 DSIRE, Renewable Portfolio Standards and
                                                 Center/news-briefs/Carbon-capture-technology-           Climate/Climate-change/Tracking-greenhouse-            Clean Energy Standards (2023). https://ncsolarcen-
                                                 developers-break-ground-at-Wyoming-Integrated-          gases.                                                 prod.s3.amazonaws.com/wp-content/uploads/2023/
                                                 Test-Center-located-at-Basin-Electrics-Dry-Fork-          160 State of Illinois General Assembly. Public Act   12/RPS-CES-Dec2023-1.pdf; LBNL, U.S. State
                                                 Station.                                                102–0662: Climate and Equitable Jobs Act. 2021.        Renewables Portfolio & Clean Electricity Standards:
                                                   155 State of Wyoming. (Adopted March 15, 2024).       https://www.ilga.gov/legislation/publicacts/102/       2023 Status Update. https://emp.lbl.gov/
                                                 Senate Bill 42 Low-carbon reliable energy               PDF/102-0662.pdf.                                      publications/us-state-renewables-portfolio-clean.



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     energy requirement or goal with a 100                   governmental entities, academia, non-                    remain online, with capacity factors
     percent or net-zero target.164 A CES                    governmental organizations (NGOs), and                   falling from approximately 48 percent in
     shifts generating fleets away from fossil               industry, to understand the impacts that                 2022 to 45 percent in 2035 at facilities
     fuel resources by requiring a percentage                the IRA will have on power sector GHG                    that do not install CCS. By 2050, coal-
     of retail electricity to come from sources              emissions. In addition to engaging in                    fired steam generating unit capacity is
     that are defined as clean. Unlike an RPS,               several workgroups, the EPA has                          projected to diminish further, with only
     which defines eligible generation in                    contributed to two separate journal                      28 GW, or less than 16 percent of 2023
     terms of the renewable attributes of its                articles that include multi-model                        capacity (and approximately 9 percent
     energy source, CES eligibility is based                 comparisons of IRA impacts across                        of the 2010 capacity), still in operation
     on the GHG emission attributes of the                   several state-of-the-art models of the                   across the continental U.S.
     generation itself, typically with a zero or             U.S. energy system and electricity
     net-zero carbon emissions requirement.                  sector 166 167 and participated in public                   These projections are driven by the
     Additional discussion of state actions                  events exploring modeling assumptions                    eroding economic opportunities for
     and legislation to reduce GHG emissions                 for the IRA.168 The EPA plans to                         coal-fired steam generating units to
     from the power sector is provided in the                continue collaborating with                              operate, the continued aging of the fleet
     final TSD, Power Sector Trends.                         stakeholders, conducting external                        of coal-fired steam generating units, and
                                                             engagements, and using information                       the continued availability and
     F. Future Projections of Power Sector                                                                            expansion of low-cost alternatives, like
                                                             gathered to refine modeling of the IRA.
     Trends                                                     While much of the discussion below                    natural gas, renewable technologies, and
        Projections for the U.S. power                       focuses on the EPA’s Power Sector                        energy storage. The projected
     sector—based on the landscape of                        Platform 2023 using IPM reference case,                  retirements continue the trend of coal
     market forces in addition to the known                  many other analyses show similar                         plant retirements in recent decades that
     actions of Congress, utilities, and                     trends,169 and these trends are                          is described in section IV.D.3. of this
     states—have indicated that the ongoing                  consistent with utility IRPs and public                  preamble (and further in the Power
     transition will continue for specific fuel              GHG reduction commitments, as well as                    Sector Trends technical support
     types and EGUs. The EPA’s Power                         state actions, both of which were                        document). The decline in coal
     Sector Platform 2023 using IPM                          described in the previous sections.                      generation capacity has generally
     reference case (i.e., the EPA’s                                                                                  resulted from a more competitive
     projections of the power sector, which                  1. Future Projections for Coal-Fired
                                                             Generation                                               economic environment and increasing
     includes representation of the IRA                                                                               coal plant age. Most notably, declines in
     absent further regulation), provides                       As described in the EPA’s baseline                    natural gas prices associated with the
     projections out to 2050 on future                       modeling, coal-fired steam generating                    rise of hydraulic fracturing and
     outcomes of the electric power sector.                  unit capacity is projected to fall from                  horizontal drilling lowered the cost of
     For more information on the details of                  181 GW in 2023 170 to 52 GW in 2035,                     natural gas-fired generation.172 Lower
     this modeling, see the model                            of which 11 GW includes retrofit CCS.                    gas generation costs reduced coal plant
     documentation.165                                       Generation from coal-fired steam                         capacity factors and revenues. Rapid
        Since the passage of the IRA in                      generating units is projected to also fall               declines in the costs of renewables and
     August 2022, the EPA has engaged with                   from 898 thousand GWh in 2021 171 to                     battery storage have put further price
     many external partners, including other                 236 thousand GWh by 2035. This
                                                                                                                      pressure on coal plants, given the zero
                                                             change in generation reflects the
                                                                                                                      marginal cost operation of solar and
       164 This count is adapted from Lawrence Berkeley      anticipated continued decline in
     National Laboratory’s (LBNL) U.S. State Renewables                                                               wind.173 174 175 In addition, most
                                                             projected coal-fired steam generating
     Portfolio & Clean Electricity Standards: 2023 Status                                                             operational coal plants today were built
     Update, which identifies 15 states with 100 percent     unit capacity as well as a steady decline
                                                                                                                      before 2000, and many are reaching or
     CES. The LBNL count includes Virginia, which the        in annual operation of those EGUs that
     EPA omits because it considers Virginia a 100
                                                                                                                      have surpassed their expected useful
     percent RPS. Further, the LBNL count excludes             166 Bistline, et al. (2023). ‘‘Emissions and Energy    lives.176 Retiring coal plants tend to be
     Louisiana, Michigan, New Jersey, and Wisconsin          System Impacts of the Inflation Reduction Act of
     because their clean energy goals are set by executive   2022.’’ https://www.science.org/stoken/author-              172 International Energy Agency (IEA). Energy
     order. The EPA instead includes Louisiana, New          tokens/ST-1277/full.                                     Policies of IEA Countries: United States 2019
     Jersey, and Wisconsin but characterizes them as           167 Bistline, et al. (2023). ‘‘Power Sector Impacts    Review. https://iea.blob.core.windows.net/assets/
     goals rather than requirements. Michigan, which
                                                             of the Inflation Reduction Act of 2022.’’https://        7c65c270-ba15-466a-b50d-1c5cd19e359c/United_
     enacted a CES by statute after the LBNL report’s
                                                             iopscience.iop.org/article/10.1088/1748-9326/            States_2019_Review.pdf.
     publication, is also included in the EPA count.
                                                             ad0d3b.                                                     173 U.S. Energy Information Administration (EIA).
     Finally, the EPA count includes Maryland, whose           168 Resource for the Future (2023). ‘‘Future
     December 2023 Climate Pollution Reduction Plan                                                                   (April 13, 2023). U.S. Electric Capacity Mix shifts
     sets a goal of 100 percent clean energy by 2035, and    Generation: Exploring the New Baseline for               from Fossil Fuels to Renewables in AEO2023.
     Delaware, which enacted a statutory goal to reach       Electricity in the Presence of the Inflation             https://www.eia.gov/todayinenergy/
     net-zero GHG emissions by 2050. See LBNL, U.S.          Reduction Act.’’ https://www.rff.org/events/rff-live/    detail.php?id=56160.
     State Renewables Portfolio & Clean Electricity          future-generation-exploring-the-new-baseline-for-           174 Solomon, M., et al. (January 2023). Coal Cost

     Standards: 2023 Status Update, https://emp.lbl.gov/     electricity-in-the-presence-of-the-inflation-            Crossover 3.0: Local Renewables Plus Storage
     publications/us-state-renewables-portfolio-clean;       reduction-act/.                                          Create New Opportunities for Customer Savings
                                                               169 A wide variety of modeling teams have              and Community Reinvestment. Energy Innovation.
     Maryland’s Climate Pollution Reduction Plan,
     https://mde.maryland.gov/programs/air/                  assessed baselines with IRA. The baseline estimated      https://energyinnovation.org/wp-content/uploads/
     ClimateChange/Maryland%20Climate                        here is generally in line with these other estimates.    2023/01/Coal-Cost-Crossover-3.0.pdf.
     %20Reduction%20Plan/Maryland%27s                        Bistline, et al. (2023). ‘‘Power Sector Impacts of the      175 Barbose, G., et al. (September 2023). Tracking

     %20Climate%20Pollution%20Reduction                      Inflation Reduction Act of 2022.’’ https://              the Sun: Pricing and Design Trends for Distributed
     %20Plan%20-%20Final%20-%20Dec                           iopscience.iop.org/article/10.1088/1748-9326/            Photovoltaic Systems in the United States, 2023
     %2028%202023.pdf; and HB 99, An Act to Amend            ad0d3b.                                                  Edition. Lawrence Berkeley National Laboratory.
     Titles 7 and 29 of the Delaware Code Relating to          170 U.S. Energy Information Administration (EIA),      https://emp.lbl.gov/sites/default/files/5_tracking_
     Climate Change, https://legis.delaware.gov/json/        Preliminary Monthly Electric Generator Inventory,        the_sun_2023_report.pdf.
     BillDetail/GenerateHtmlDocumentEngrossment              December 2023. https://www.eia.gov/electricity/             176 U.S. Energy Information Administration (EIA).
     ?engrossmentId=25785&docTypeId=6.                       data/eia860m/                                            (August 2022). Electric Generators Inventory, Form–
       165 U.S. Environmental Protection Agency.Power          171 U.S. Energy Information Administration (EIA),      860M, Inventory of Operating Generators and
     Sector Platform 2023 using IPM. April 2024. https://    Electric Power Annual, table 3.1.A. November 2022.       Inventory of Retired Generators. https://
     www.epa.gov/power-sector-modeling.                      https://www.eia.gov/electricity/annual/.                 www.eia.gov/electricity/data/eia860m/.



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     old.177 As plants age, their efficiency                 thousand GWh in 2021179 to 1,344                      natural gas-fired combustion turbines
     tends to decline and operations and                     thousand GWh by 2035. Power sector                    differ from those highlighted in recent
     maintenance costs increase. Older coal                  related CO2 emissions from natural gas-               historical trends. The largest source of
     plant operational parameters are less                   fired EGUs were 615 million metric tons               new generation is from renewable
     aligned with current electric grid needs.               in 2021.180 By 2035, emission levels are              energy, and projections show that total
     Coal plants historically were used as                   projected to reach 521 million metric                 natural gas-fired combined cycle
     base load power sources and can be                      tons, 96 percent of which comes from                  capacity is likely to decline after 2030
     slow (or expensive) to increase or                      NGCC sources.                                         in response to increased generation from
     decrease generation output throughout a                    The decline in generation and
                                                                                                                   renewables, deployment of energy
     typical day. That has put greater                       emissions is driven by a projected
                                                                                                                   storage, and other technologies.
     economic pressure on older coal plants,                 decline in NGCC capacity factors. In
                                                             model projections, NGCC units have a                  Approximately 95 percent of capacity
     which are forced to either incur the                                                                          additions in 2024 are expected to be
     costs of adjusting their generation or                  capacity factor early in the projection
                                                             period of 59 percent, but by 2035,                    from non-emitting generation resources
     operate during less profitable hours
                                                             capacity factor projections fall to 48                including solar, battery storage, wind,
     when loads are lower or renewable
     generation is more plentiful.178 All of                 percent as many of these units switch                 and nuclear.181 The IRA is likely to
     these factors have contributed to                       from base load operation to more                      influence this trend, which is also
     retirements over the past 15 years, and                 intermediate load operation to support                expected to impact the operation of
     similar underlying factors are projected                the integration of variable renewable                 certain combustion turbines. For
     to continue the trend of coal retirements               energy resources. Natural gas-fired                   example, as the electric output from
     in the coming years.                                    simple cycle turbine capacity factors                 additional variable renewable
        In 2020, there was a total of 1,439                  also fall, although since they are used               generating sources fluctuates daily and
     million metric tons of CO2 emissions                    primarily as a peaking resource and                   seasonally, flexible low and
     from the power sector with coal-fired                   their capacity factors are already below              intermediate load combustion turbines
     sources contributing to more than half                  10 percent annually, their impact on                  will be needed to support these variable
     of those emissions. In the EPA’s Power                  generation and emissions changes are                  sources and provide reliability to the
     Sector Platform 2023 using IPM                          less notable.                                         grid. This requires the ability to start
     reference case, power sector related CO2                   Some of the reasons for this                       and stop quickly and change load more
     emission are projected to fall to 724                   anticipated continued growth in natural
                                                                                                                   frequently. Today’s system includes 212
     million metric tons by 2035, of which                   gas-fired capacity, coupled with a
                                                                                                                   GW of intermediate and low load
     23 percent is projected to come from                    decline in generation and emissions,
                                                                                                                   combustion turbines. These operational
     coal-fired sources in 2035.                             include the anticipated growth in peak
                                                             load, retirement of older fossil                      changes, alongside other tools like
     2. Future Projections for Natural Gas-                  generators, and growth in renewable                   demand response, energy storage, and
     Fired Generation                                        energy coupled with the greater                       expanded transmission, will maintain
                                                             flexibility offered by combustion                     reliability of the grid.
        As described in the EPA’s Power
     Sector Platform 2023 using IPM                          turbines. Simple cycle turbines operate               V. Statutory Background and
     reference case, natural gas-fired capacity              at lower efficiencies than NGCC units                 Regulatory History for CAA Section 111
     is expected to continue to build out                    but offer fast startup times to meet
     during the next decade with 34 GW of                    peaking load demands. In addition,                    A. Statutory Authority To Regulate
     new capacity projected to come online                   combustion turbines, along with energy                GHGs From EGUs Under CAA Section
     by 2035 and 261 GW of new capacity by                   storage technologies and demand                       111
     2050. By 2035, the new natural gas                      response strategies, support the
                                                             expansion of renewable electricity by                    The EPA’s authority for and
     capacity is comprised of 14 GW of
                                                             meeting demand during peak periods                    obligation to issue these final rules is
     simple cycle turbines and 20 GW of
                                                             and providing flexibility around the                  CAA section 111, which establishes
     combined cycle turbines. By 2050, most
                                                             variability of renewable generation and               mechanisms for controlling emissions of
     of the incremental new capacity is
     projected to come just from simple cycle                electricity demand. In the longer term,               air pollutants from new and existing
     turbines. This also represents a higher                 as renewables and battery storage grow,               stationary sources. CAA section
     rate of new simple cycle turbine builds                 they are anticipated to outcompete the                111(b)(1)(A) requires the EPA
     compared to the reference periods (i.e.,                need for some natural gas-fired                       Administrator to promulgate a list of
     2000–2006 and 2007–2021) discussed                      generation and the overall utilization of             categories of stationary sources that the
     previously in this section.                             natural gas-fired capacity is expected to             Administrator, in his or her judgment,
        It should be noted that despite this                 decline. For additional discussion and                finds ‘‘causes, or contributes
     increase in capacity, both overall                      analysis of projections of future coal-               significantly to, air pollution which may
     generation and emissions from the                       and natural gas-fired generation, see the             reasonably be anticipated to endanger
     natural gas-fired capacity are projected                final TSD, Power Sector Trends in the                 public health or welfare.’’ The EPA has
     to decline. Generation from natural gas                 docket for this rulemaking.                           the authority to define the scope of the
     units is projected to fall from 1,579                      As explained in greater detail later in            source categories, determine the
                                                             this preamble and in the accompanying                 pollutants for which standards should
       177 Mills, A., et al. (November 2017). Power Plant    RIA, future generation projections for                be developed, and distinguish among
     Retirements: Trends and Possible Drivers. Lawrence                                                            classes, types, and sizes within
     Berkeley National Laboratory. https://live-               179 U.S. Energy Information Administration (EIA),

     etabiblio.pantheonsite.io/sites/default/files/lbnl_     Electric Power Annual, table 3.1.A. November 2022.
                                                                                                                   categories in establishing the standards.
     retirements_data_synthesis_final.pdf.                   https://www.eia.gov/electricity/annual/.
       178 National Association of Regulatory Utility          180 U.S. Environmental Protection Agency,             181 U.S. Energy Information Administration (EIA).

     Commissioners. (January 2020). Recent Changes to        Inventory of U.S. Greenhouse Gas Emission Sources     Today in Energy. Solar and battery storage to make
     U.S. Coal Plant Operations and Current                  and Sinks. February 2023. https://www.epa.gov/        up 81 percent of new U.S. electric-generating
     Compensation Practices. https://pubs.naruc.org/         system/files/documents/2023-02/US-GHG-                capacity in 2024. February 2024. https://
     pub/7B762FE1-A71B-E947-04FB-D2154DE77D45.               Inventory-2023-Main-Text.pdf.                         www.eia.gov/todayinenergy/detail.php?id=61424.



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                                                 1. Regulation of Emissions From New                     performance’’ in CAA 111(a)(1) makes        components of the BSER itself. The
                                                 Sources                                                 clear that the EPA is to determine both     EPA’s emission guidelines must also
                                                    Once the EPA lists a source category,                the ‘‘best system of emission reduction     permit a state, ‘‘in applying a standard
                                                 the EPA must, under CAA section                         . . . adequately demonstrated’’ (BSER)      of performance to any particular
                                                 111(b)(1)(B), establish ‘‘standards of                  for the regulated sources in the source     source,’’ to ‘‘take into consideration,
                                                 performance’’ for ‘‘new sources’’ in the                category and the ‘‘degree of emission       among other factors, the remaining
                                                 source category. These standards are                    limitation achievable through the           useful life of the existing source to
                                                 referred to as new source performance                   application of the [BSER].’’ West           which such standard applies.’’ 42 U.S.C.
                                                 standards, or NSPS. The NSPS are                        Virginia v. EPA, 597 U.S. 697, 709          7411(d)(1). Once a state receives the
                                                 national requirements that apply                        (2022). To determine the BSER, the EPA      EPA’s approval of its plan, the
                                                                                                         first identifies the ‘‘system[s] of         provisions in the plan become federally
                                                 directly to the sources subject to them.
                                                    Under CAA section 111(a)(1), a                       emission reduction’’ that are               enforceable against the source, in the
                                                 ‘‘standard of performance’’ is defined, in              ‘‘adequately demonstrated,’’ and then       same manner as the provisions of an
                                                 the singular, as ‘‘a standard for                       determines the ‘‘best’’ of those systems,   approved State Implementation Plan
                                                 emissions of air pollutants’’ that is                   ‘‘taking into account’’ factors including   (SIP) under the Act. CAA section
                                                                                                         ‘‘cost,’’ ‘‘nonair quality health and       111(d)(2)(B). If a state elects not to
                                                 determined in a specified manner, as
                                                                                                         environmental impact,’’ and ‘‘energy        submit a plan or submits a plan that the
                                                 noted in this section, below.
                                                    Under CAA section 111(a)(2), a ‘‘new                 requirements.’’ The EPA then derives        EPA does not find ‘‘satisfactory,’’ the
                                                 source’’ is defined, in the singular, as                from that system an ‘‘achievable’’          EPA must promulgate a plan that
                                                 ‘‘any stationary source, the construction               ‘‘degree of emission limitation.’’ The      establishes Federal standards of
                                                                                                         EPA must then, under CAA section            performance for the state’s existing
                                                 or modification of which is commenced
                                                                                                         111(b)(1)(B), promulgate ‘‘standard[s]      sources. CAA section 111(d)(2)(A).
                                                 after the publication of regulations (or,
                                                                                                         for emissions’’—the NSPS—that reflect
                                                 if earlier, proposed regulations)                                                                   3. EPA Review of Requirements
                                                                                                         that level of stringency.
                                                 prescribing a standard of performance                                                                  CAA section 111(b)(1)(B) requires the
                                                 under this section, which will be                       2. Regulation of Emissions From             EPA to ‘‘at least every 8 years, review
                                                 applicable to such source.’’ Under CAA                  Existing Sources                            and, if appropriate, revise’’ new source
                                                 section 111(a)(3), a ‘‘stationary source’’                 When the EPA establishes a standard      performance standards. However, the
                                                 is defined as ‘‘any building, structure,                for emissions of an air pollutant from      Administrator need not review any such
                                                 facility, or installation which emits or                new sources within a category, it must      standard if the ‘‘Administrator
                                                 may emit any air pollutant.’’ Under                     also, under CAA section 111(d), regulate    determines that such review is not
                                                 CAA section 111(a)(4), ‘‘modification’’                 emissions of that pollutant from existing   appropriate in light of readily available
                                                 means any physical change in, or                        sources within the same category,           information on the efficacy’’ of the
                                                 change in the method of operation of, a                 unless the pollutant is regulated under     standard. Id. When conducting a review
                                                 stationary source which increases the                   the National Ambient Air Quality            of an NSPS, the EPA has the discretion
                                                 amount of any air pollutant emitted by                  Standards (NAAQS) program, under            and authority to add emission limits for
                                                 such source or which results in the                     CAA sections 108–110, or the National       pollutants or emission sources not
                                                 emission of any air pollutant not                       Emission Standards for Hazardous Air        currently regulated for that source
                                                 previously emitted. While this provision                Pollutants (NESHAP) program, under          category. CAA section 111 does not by
                                                 treats modified sources as new sources,                 CAA section 112. See CAA section            its terms require the EPA to review
                                                 EPA regulations also treat a source that                111(d)(1)(A)(i) and (ii); West Virginia,    emission guidelines for existing sources,
                                                 undergoes ‘‘reconstruction’’ as a new                   597 U.S. at 710.                            but the EPA retains the authority to do
                                                 source. Under the provisions in 40 CFR                     CAA section 111(d) establishes a         so. See 81 FR 59277 (August 29, 2016)
                                                 60.15, ‘‘reconstruction’’ means the                     framework of ‘‘cooperative federalism       (explaining legal authority to review
                                                 replacement of components of an                         for the regulation of existing sources.’’   emission guidelines for municipal solid
                                                 existing facility such that: (1) The fixed              American Lung Ass’n, 985 F.3d at 931.       waste landfills).
                                                 capital cost of the new components                      CAA sections 111(d)(1)(A)–(B) require
                                                 exceeds 50 percent of the fixed capital                 ‘‘[t]he Administrator . . . to prescribe    B. History of EPA Regulation of
                                                 cost that would be required to construct                regulations’’ that require ‘‘[e]ach state   Greenhouse Gases From Electricity
                                                 a comparable entirely new facility; and                 . . . to submit to [EPA] a plan . . .       Generating Units Under CAA Section
                                                 (2) it is technologically and                           which establishes standards of              111 and Caselaw
                                                 economically feasible to meet the                       performance for any existing stationary        The EPA has listed more than 60
                                                 applicable standards. Pursuant to CAA                   source for’’ the air pollutant at issue,    stationary source categories under CAA
                                                 section 111(b)(1)(B), the standards of                  and which ‘‘provides for the                section 111(b)(1)(A). See 40 CFR part 60,
                                                 performance or revisions thereof shall                  implementation and enforcement of           subparts Cb–OOOO. In 1971, the EPA
                                                 become effective upon promulgation.                     such standards of performance.’’ CAA        listed fossil fuel-fired EGUs (which
                                                    In setting or revising a performance                 section 111(a)(6) defines an ‘‘existing     includes natural gas, petroleum, and
                                                 standard, CAA section 111(a)(1)                         source’’ as ‘‘any stationary source other   coal) that use steam-generating boilers
                                                 provides that performance standards are                 than a new source.’’                        in a category under CAA section
                                                 to reflect ‘‘the degree of emission                        To meet these requirements, the EPA      111(b)(1)(A). See 36 FR 5931 (March 31,
                                                 limitation achievable through the                       promulgates ‘‘emission guidelines’’ that    1971) (listing ‘‘fossil fuel-fired steam
                                                 application of the best system of                       identify the BSER and the degree of         generators of more than 250 million Btu
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                                                 emission reduction which (taking into                   emission limitation achievable through      per hour heat input’’). In 1977, the EPA
                                                 account the cost of achieving such                      the application of the BSER. Each state     listed fossil fuel-fired combustion
                                                 reduction and any non-air quality health                must then establish standards of            turbines, which can be used in EGUs, in
                                                 and environmental impact and energy                     performance for its sources that reflect    a category under CAA section
                                                 requirements) the Administrator                         that level of stringency. However, the      111(b)(1)(A). See 42 FR 53657 (October
                                                 determines has been adequately                          states need not compel regulated            3, 1977) (listing ‘‘stationary gas
                                                 demonstrated.’’ The term ‘‘standard of                  sources to adopt the particular             turbines’’).


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                                                    Beginning in 2007, several decisions                 reconstructed fossil fuel-fired electric      CAA section 307(d)(7)(B) and deferred
                                                 by the U.S. Supreme Court and the D.C.                  utility steam generating units, i.e.,         action on one petition that raised the
                                                 Circuit have made clear that under CAA                  utility boilers and IGCC EGUs, and            issue of the treatment of biomass. Apart
                                                 section 111, the EPA has authority to                   newly constructed and reconstructed           from these petitions, the EPA proposed
                                                 regulate GHG emissions from listed                      stationary combustion turbine EGUs.           to revise the 2015 NSPS in 2018, as
                                                 source categories. The U.S. Supreme                     These final standards are codified in 40      discussed in section V.B.2.
                                                 Court ruled in Massachusetts v. EPA                     CFR part 60, subpart TTTT. In                    Multiple parties also filed petitions
                                                 that GHGs 182 meet the definition of ‘‘air              promulgating the NSPS for newly               for judicial review of the 2015 NSPS in
                                                 pollutant’’ in the CAA,183 and                          constructed fossil fuel-fired steam           the D.C. Circuit. These cases have been
                                                 subsequently premised its decision in                   generating units, the EPA determined          briefed and, on the EPA’s motion, are
                                                 AEP v. Connecticut 184—that the CAA                     the BSER to be a new, highly efficient,       being held in abeyance pending EPA
                                                 displaced any Federal common law                        supercritical pulverized coal (SCPC)          action concerning the 2018 proposal to
                                                 right to compel reductions in CO2                       EGU that implements post-combustion           revise the 2015 NSPS.
                                                 emissions from fossil fuel-fired power                  partial CCS technology. The EPA                  In the 2015 NSPS, the EPA noted that
                                                 plants—on its view that CAA section                     concluded that CCS was adequately             it was authorized to regulate GHGs from
                                                 111 applies to GHG emissions. The D.C.                  demonstrated (including being                 the fossil fuel-fired EGU source
                                                 Circuit confirmed in American Lung                      technically feasible) and widely              categories because it had listed those
                                                 Ass’n v. EPA, 985 F.3d 914, 977 (D.C.                   available and could be implemented at         source categories under CAA section
                                                 Cir. 2021), discussed in section V.B.5,                 reasonable cost. The EPA identified           111(b)(1)(A). The EPA added that CAA
                                                 that the EPA is authorized to                           natural gas co-firing and IGCC                section 111 did not require it to make
                                                 promulgate requirements under CAA                       technology (either with natural gas co-       a determination that GHGs from EGUs
                                                 section 111 for GHG from the fossil fuel-               firing or implementing partial CCS) as        contribute significantly to dangerous air
                                                 fired EGU source category                               alternative methods of compliance.            pollution (a pollutant-specific
                                                 notwithstanding that the source                            The 2015 NSPS included standards of        significant contribution finding), but in
                                                 category is regulated under CAA section                 performance for steam generating units        the alternative, the EPA did make that
                                                 112. As discussed in section V.B.6, the                 that undergo a ‘‘reconstruction’’ as well     finding. It explained that ‘‘[greenhouse
                                                 U.S. Supreme Court did not accept                       as units that implement ‘‘large               gas] air pollution may reasonably be
                                                 certiorari on the question whether the                  modifications,’’ (i.e., modifications         anticipated to endanger public health or
                                                 EPA could regulate GHGs from fossil-                    resulting in an increase in hourly CO2        welfare,’’ 80 FR 64530 (October 23,
                                                 fuel fired EGUs under CAA section                       emissions of more than 10 percent). The       2015) and emphasized that power plants
                                                 111(d) when other pollutants from                       2015 NSPS did not establish standards         are ‘‘by far the largest emitters’’ of
                                                 fossil-fuel fired EGUs are regulated                    of performance for steam generating           greenhouse gases among stationary
                                                 under CAA section 112 in West Virginia                  units that undertake ‘‘small                  sources in the U.S. Id. at 64522. In
                                                 v. EPA, 597 U.S. 697 (2022), and so the                 modifications’’ (i.e., modifications          American Lung Ass’n v. EPA, 985 F.3d
                                                 D.C. Circuit’s holding on this issue                    resulting in an increase in hourly CO2        977 (D.C. Cir. 2021), the court held that
                                                 remains good law.                                       emissions of less than or equal to 10         even if the EPA were required to
                                                    In 2015, the EPA promulgated two                     percent), due to the limited information      determine that CO2 from fossil fuel-fired
                                                 rules that addressed CO2 emissions from                 available to inform the analysis of a         EGUs contributes significantly to
                                                 fossil fuel-fired EGUs. The first                       BSER and corresponding standard of            dangerous air pollution—and the court
                                                 promulgated standards of performance                    performance.                                  emphasized that it was not deciding that
                                                 for new fossil fuel-fired EGUs.                            The 2015 NSPS also finalized               the EPA was required to make such a
                                                 ‘‘Standards of Performance for                          standards of performance for newly            pollutant-specific determination—the
                                                 Greenhouse Gas Emissions From New,                      constructed and reconstructed                 determination in the alternative that the
                                                 Modified, and Reconstructed Stationary                  stationary combustion turbine EGUs.           EPA made in the 2015 NSPS was not
                                                 Sources: Electric Utility Generating                    For newly constructed and                     arbitrary and capricious and,
                                                 Units; Final Rule,’’ (80 FR 64510;                      reconstructed base load natural gas-fired     accordingly, the EPA had a sufficient
                                                 October 23, 2015) (2015 NSPS). The                      stationary combustion turbines, the EPA       basis to regulate greenhouse gases from
                                                                                                         finalized a standard based on efficient       EGUs under CAA section 111(d) in the
                                                 second promulgated emission
                                                                                                         NGCC technology as the BSER. For              ACE Rule. This aspect of the decision
                                                 guidelines for existing sources. ‘‘Carbon
                                                                                                         newly constructed and reconstructed           remains good law. The EPA is not
                                                 Pollution Emission Guidelines for
                                                                                                         non-base load natural gas-fired               reopening and did not solicit comment
                                                 Existing Stationary Sources: Electric
                                                                                                         stationary combustion turbines and for        on any of those determinations in the
                                                 Utility Generating Units; Final Rule,’’
                                                                                                         both base load and non-base load multi-       2015 NSPS concerning its rational basis
                                                 (80 FR 64662; October 23, 2015) (Clean
                                                                                                         fuel-fired stationary combustion              to regulate GHG emissions from EGUs or
                                                 Power Plan, or CPP).
                                                                                                         turbines, the EPA finalized a heat input-     its alternative finding that GHG
                                                 1. 2015 NSPS                                            based standard based on the use of            emissions from EGUs contribute
                                                    In 2015, the EPA promulgated an                      lower-emitting fuels (referred to as clean    significantly to dangerous air pollution.
                                                 NSPS to limit emissions of GHGs,                        fuels in the 2015 NSPS). The EPA did
                                                                                                         not promulgate final standards of             2. 2018 NSPS Proposal To Revise the
                                                 manifested as CO2, from newly                                                                         2015 NSPS
                                                 constructed, modified, and                              performance for modified stationary
                                                                                                         combustion turbines due to lack of               In 2018, the EPA proposed to revise
                                                                                                                                                       the NSPS for new, modified, and
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                                                   182 The EPA’s 2009 endangerment finding defines       information. The 2015 NSPS remains in
                                                 the air pollution which may endanger public health      effect today.                                 reconstructed fossil fuel-fired steam
                                                 and welfare as the well-mixed aggregate group of           The EPA received six petitions for         generating units and IGCC units, in the
                                                 the following gases: CO2, methane (CH4), nitrous        reconsideration of the 2015 NSPS. On          Review of Standards of Performance for
                                                 oxide (N2O), sulfur hexafluoride (SF6),
                                                 hydrofluorocarbons (HFCs), and perfluorocarbons
                                                                                                         May 6, 2016 (81 FR 27442), the EPA            Greenhouse Gas Emissions From New,
                                                 (PFCs).                                                 denied five of the petitions on the basis     Modified, and Reconstructed Stationary
                                                   183 549 U.S. 497, 520 (2007).                         that they did not satisfy the statutory       Sources: Electric Utility Generating
                                                   184 131 S. Ct. 2527, 2537–38 (2011).                  conditions for reconsideration under          Units; Proposed Rule (83 FR 65424;


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                                                 December 20, 2018) (2018 NSPS                           determined the ‘‘degree of emission            ‘‘generation-shifting measures.’’ See 84
                                                 Proposal). The EPA proposed to revise                   limitation achievable through the              FR 32529 (July 8, 2019). The EPA
                                                 the NSPS for newly constructed units,                   application of the [BSER],’’ CAA section       acknowledged, however, that ‘‘[m]arket-
                                                 based on a revised BSER of a highly                     111(a)(1), expressed as emission               based forces ha[d] already led to
                                                 efficient SCPC, without partial CCS. The                performance rates. See 80 FR 64667             significant generation shifting in the
                                                 EPA also proposed to revise the NSPS                    (October 23, 2015). The EPA explained          power sector,’’ (84 FR 32532; July 8,
                                                 for modified and reconstructed units. As                that a state would ‘‘have to ensure,           2019), and that there was ‘‘likely to be
                                                 discussed in IX.A, in the present action,               through its plan, that the emission            no difference between a world where
                                                 the EPA is withdrawing this proposed                    standards it establishes for its sources       the CPP is implemented and one where
                                                 rule.185                                                individually, in the aggregate, or in          it is not.’’ See 84 FR 32561 (July 8,
                                                                                                         combination with other measures                2019); the Regulatory Impact Analysis
                                                 3. Clean Power Plan
                                                                                                         undertaken by the state, represent the         for the Repeal of the Clean Power Plan,
                                                    With the promulgation of the 2015                    equivalent of’’ those performance rates        and the Emission Guidelines for
                                                 NSPS, the EPA also incurred a statutory                 (80 FR 64667; October 23, 2015).               Greenhouse Gas Emissions from
                                                 obligation under CAA section 111(d) to                  Neither states nor sources were required       Existing Electric Utility Generating
                                                 issue emission guidelines for GHG                       to apply the specific measures identified      Units, 2–1 to 2–5.186
                                                 emissions from existing fossil fuel-fired               in the BSER (80 FR 64667; October 23,             In addition, the EPA promulgated in
                                                 steam generating EGUs and stationary                    2015), and states could include trading        the ACE Rule a new set of emission
                                                 combustion turbine EGUs, which the                      or averaging programs in their state           guidelines for existing coal-fired steam-
                                                 EPA initially fulfilled with the                        plans for compliance. See 80 FR 64840          generating EGUs. See 84 FR 32532 (July
                                                 promulgation of the CPP. See 80 FR                      (October 23, 2015).                            8, 2019). In light of ‘‘the legal
                                                 64662 (October 23, 2015). The EPA first                   Numerous states and private parties          interpretation adopted in the repeal of
                                                 determined that the BSER included                       petitioned for review of the CPP before        the CPP,’’ (84 FR 32532; July 8, 2019)—
                                                 three types of measures: (1) improving                  the D.C. Circuit. On February 9, 2016,         which ‘‘limit[ed] ‘standards of
                                                 heat rate (i.e., the amount of fuel that                the U.S. Supreme Court stayed the rule         performance’ to systems that can be
                                                 must be burned to generate a unit of                    pending review, West Virginia v. EPA,          applied at and to a stationary source,’’
                                                 electricity) at coal-fired steam plants; (2)            577 U.S. 1126 (2016). The D.C. Circuit         (84 FR 32534; July 8, 2019)—the EPA
                                                 substituting increased generation from                  held the litigation in abeyance, and           found the BSER to be heat rate
                                                 lower-emitting NGCC plants for                          ultimately dismissed it at the                 improvements alone. See 84 FR 32535
                                                 generation from higher-emitting steam                   petitioners’ request. American Lung            (July 8, 2019). The EPA listed various
                                                 plants (which are primarily coal-fired);                Ass’n, 985 F.3d at 937.                        technologies that could improve heat
                                                 and (3) substituting increased                          4. The CPP Repeal and ACE Rule                 rate (84 FR 32536; July 8, 2019), and
                                                 generation from new renewable energy                                                                   identified the ‘‘degree of emission
                                                 sources for generation from fossil fuel-                    In 2019, the EPA repealed the CPP          limitation achievable’’ by ‘‘providing
                                                 fired steam plants and combustion                       and replaced it with the ACE Rule. In          ranges of expected [emission]
                                                 turbines. See 80 FR 64667 (October 23,                  contrast to its interpretation of CAA          reductions associated with each of the
                                                 2015). The latter two measures are                      section 111 in the CPP, in the ACE Rule
                                                                                                                                                        technologies.’’ See 84 FR 32537–38 (July
                                                 known as ‘‘generation shifting’’ because                the EPA determined that the statutory
                                                                                                                                                        8, 2019).
                                                 they involve shifting electricity                       ‘‘text and reasonable inferences from it’’
                                                 generation from higher-emitting sources                 make ‘‘clear’’ that a ‘‘system’’ of            5. D.C. Circuit Decision in American
                                                 to lower-emitting ones. See 80 FR                       emission reduction under CAA section           Lung Association v. EPA Concerning the
                                                 64728–29 (October 23, 2015).                            111(a)(1) ‘‘is limited to measures that        CPP Repeal and ACE Rule
                                                    The EPA based this BSER                              can be applied to and at the level of the         Numerous states and private parties
                                                 determination on a technical record that                individual source,’’ (84 FR 32529; July        petitioned for review of the CPP Repeal
                                                 evaluated generation shifting, including                8, 2019); that is, the system must be          and ACE Rule. In 2021, the D.C. Circuit
                                                 its cost-effectiveness, against the                     limited to control measures that could         vacated the ACE Rule, including the
                                                 relevant statutory criteria for BSER and                be applied at and to each source to            CPP Repeal. American Lung Ass’n v.
                                                 on a legal interpretation that the term                 reduce emissions at each source. See 84        EPA, 985 F.3d 914 (D.C. Cir. 2021). The
                                                 ‘‘system’’ in CAA section 111(a)(1) is                  FR 32523–24 (July 8, 2019). Specifically,      court held, among other things, that
                                                 sufficiently broad to encompass shifting                the ACE Rule argued that the                   CAA section 111(d) does not limit the
                                                 of generation from higher-emitting to                   requirements in CAA sections 111(d)(1),        EPA, in determining the BSER, to
                                                 lower-emitting sources. See 80 FR 64720                 (a)(3), and (a)(6), that each state            measures applied at and to an
                                                 (October 23, 2015). The EPA then                        establish a standard of performance            individual source. The court noted that
                                                                                                         ‘‘for’’ ‘‘any existing source,’’ defined, in   ‘‘the sole ground on which the EPA
                                                    185 In the 2018 NSPS Proposal, the EPA solicited     general, as any ‘‘building . . . [or]          defends its abandonment of the [CPP] in
                                                 comment on whether it is required to make a             facility,’’ and the requirement in CAA         favor of the ACE Rule is that the text of
                                                 determination that GHGs from a source category          section 111(a)(1) that the degree of
                                                 contribute significantly to dangerous air pollution                                                    [CAA section 111] is clear and
                                                                                                         emission limitation must be
                                                 as a predicate to promulgating a NSPS for GHG                                                          unambiguous in constraining the EPA to
                                                                                                         ‘‘achievable’’ through the ‘‘application’’
                                                 emissions from that source category for the first                                                      use only improvements at and to
                                                 time. 83 FR 65432 (December 20, 2018). The EPA          of the BSER, by their terms, impose this
                                                                                                                                                        existing sources in its [BSER].’’ 985 F.3d
                                                 subsequently issued a final rule that provided that     limitation. The EPA concluded that
                                                 it would not regulate GHGs under CAA section 111                                                       at 944. The court found ‘‘nothing in the
                                                                                                         generation shifting is not such a control
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                                                 from a source category unless the GHGs from the                                                        text, structure, history, or purpose of
                                                                                                         measure. See 84 FR 32546 (July 8, 2019).
                                                 category exceed 3 percent of total U.S. GHG                                                            [CAA section 111] that compels the
                                                 emissions, on grounds that GHGs emitted in a lesser     Based on its view that the CPP was a
                                                                                                                                                        reading the EPA adopted.’’ 985 F.3d at
                                                 amount do not contribute significantly to dangerous     ‘‘major rule,’’ the EPA further
                                                 air pollution. 86 FR 2652 (January 13, 2021).                                                          957. The court likewise rejected the
                                                                                                         determined that, absent ‘‘a clear
                                                 Shortly afterwards, the D.C. Circuit granted an
                                                 unopposed motion by the EPA for voluntary vacatur
                                                                                                         statement from Congress,’’ the term              186 https://www.epa.gov/sites/default/files/2019-

                                                 and remand of the final rule. California v. EPA, No.    ‘‘ ‘system of emission reduction’ ’’           06/documents/utilities_ria_final_cpp_repeal_and_
                                                 21–1035, doc. 1893155 (D.C. Cir. April 5, 2021).        should not be read to encompass                ace_2019-06.pdf.



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                                                 view that the CPP’s use of generation-                  from fossil-fuel fired power plants           ‘‘the magnitude and consequence’’ of
                                                 shifting implicated a ‘‘major question’’                under CAA section 111, when fossil-fuel       the CPP. Id. at 2616. It noted ‘‘the
                                                 requiring unambiguous authorization by                  fired power plants are regulated for          magnitude of this unprecedented power
                                                 Congress. 985 F.3d at 958–68.                           other pollutants under CAA section 112.       over American industry,’’ id. at 2612
                                                    The D.C. Circuit concluded that,                     In 2022, the U.S. Supreme Court               (internal quotation marks and citation
                                                 because the EPA had relied on an                        reversed the D.C. Circuit’s vacatur of the    omitted), and added that the EPA’s
                                                 ‘‘erroneous legal premise,’’ both the CPP               ACE Rule’s embedded repeal of the CPP.        adoption of generation shifting
                                                 Repeal Rule and the ACE Rule should                     West Virginia v. EPA, 597 U.S. 697            ‘‘represent[ed] a transformative
                                                 be vacated. 985 F.3d at 995. The court                  (2022). The Supreme Court stated that         expansion in its regulatory authority.’’
                                                 did not decide, however, ‘‘whether the                  CAA section 111 authorizes the EPA to         Id. at 2610 (internal quotation marks
                                                 approach of the ACE Rule is a                           determine the BSER and the degree of          and citation omitted). The Court also
                                                 permissible reading of the statute as a                 emission limitation that state plans          viewed the CPP as promulgating ‘‘a
                                                 matter of agency discretion,’’ 985 F.3d at              must achieve. Id. at 2601–02. The             program that . . . Congress had
                                                 944, and instead ‘‘remanded to the EPA                  Supreme Court concluded, however,             considered and rejected multiple
                                                 so that the Agency may ‘consider the                    that the CPP’s BSER of ‘‘generation-          times.’’ Id. at 2614 (internal quotation
                                                 question afresh,’ ’’ 985 F.3d at 995                    shifting’’ raised a ‘‘major question,’’ and   marks and citation omitted). For these
                                                 (citations omitted).                                    was not clearly authorized by section         and related reasons, the Court viewed
                                                    The court also rejected the arguments                111. The Court characterized the              the CPP as raising a major question, and
                                                 that the EPA cannot regulate CO2                        generation-shifting BSER as                   therefore, requiring ‘‘clear congressional
                                                 emissions from coal-fired power plants                  ‘‘restructuring the Nation’s overall mix      authorization’’ as a basis. Id. (internal
                                                 under CAA section 111(d) at all because                 of electricity generation,’’ and stated       quotation marks and citation omitted).
                                                 it had already regulated mercury                        that the EPA’s claim that CAA section            The Court declined to address the
                                                 emissions from coal-fired power plants                  111 authorized it to promulgate               D.C. Circuit’s conclusion that the text of
                                                 under CAA section 112. 985 F.3d at 988.                 generation shifting as the BSER was           CAA section 111 did not limit the type
                                                 In addition, the court held that that the               ‘‘not only unprecedented; it also             of ‘‘system’’ the EPA could consider as
                                                 2015 NSPS included a valid                              effected a fundamental revision of the        the BSER to measures applied at and to
                                                 determination that greenhouse gases                     statute, changing it from one sort of         an individual source. See id. at 2615.
                                                 from the EGU source category                            scheme of regulation into an entirely         Nor did the Court address the scope of
                                                 contributed significantly to dangerous                  different kind.’’ Id. at 2612 (internal       the states’ compliance flexibilities.
                                                 air pollution, which provided a                         quotation marks, brackets, and citation
                                                 sufficient basis for a CAA section 111(d)                                                             7. D.C. Circuit Order Reinstating the
                                                                                                         omitted). The Court explained that the        ACE Rule
                                                 rule regulating greenhouse gases from                   EPA, in prior rules under CAA section
                                                 existing fossil fuel-fired EGUs. Id. at                                                                  On October 27, 2022, the D.C. Circuit
                                                                                                         111, had set emissions limits based on        responded to the U.S. Supreme Court’s
                                                 977.                                                    ‘‘measures that would reduce pollution
                                                    Because the D.C. Circuit vacated the                                                               reversal by recalling its mandate for the
                                                                                                         by causing the regulated source to            vacatur of the ACE Rule. American Lung
                                                 ACE Rule on the grounds noted above,
                                                                                                         operate more cleanly.’’ Id. at 2610. The      Ass’n v. EPA, No. 19–1140, Order
                                                 it did not address the other challenges
                                                                                                         Court noted with approval those ‘‘more        (October 27, 2022). Accordingly, at that
                                                 to the ACE Rule, including the
                                                                                                         traditional air pollution control             time, the ACE Rule came back into
                                                 arguments by Petitioners that the heat
                                                                                                         measures,’’ and gave as examples ‘‘fuel-      effect. The court also revised its
                                                 rate improvement BSER was inadequate
                                                                                                         switching’’ and ‘‘add-on controls,’’          judgment to deny petitions for review
                                                 because of the limited number of
                                                                                                         which, the Court observed, the EPA had        challenging the CPP Repeal Rule,
                                                 reductions it achieved and because the
                                                                                                         considered in the CPP. Id. at 2611            consistent with the judgment in West
                                                 ACE Rule failed to include an
                                                                                                         (internal quotations marks and citation       Virginia, so that the CPP remains
                                                 appropriately specific degree of
                                                                                                         omitted). In contrast, the Court              repealed. The court took further action
                                                 emission limitation.
                                                    Upon a motion from the EPA, the D.C.                 continued, generation shifting was            denying several of the petitions for
                                                 Circuit agreed to stay its mandate with                 ‘‘unprecedented’’ because ‘‘[r]ather than     review unaffected by the Supreme
                                                 respect to vacatur of the CPP Repeal,                   focus on improving the performance of         Court’s decision in West Virginia, which
                                                 American Lung Assn v. EPA, No. 19–                      individual sources, it would improve          means that certain parts of its 2021
                                                 1140, Order (February 22, 2021), so that                the overall power system by lowering          decision in American Lung Association
                                                 the CPP remained repealed. Therefore,                   the carbon intensity of power                 remain in effect. These parts include the
                                                 following the D.C. Circuit’s decision, no               generation. And it would do that by           holding that the EPA’s prior regulation
                                                 EPA rule under CAA section 111 to                       forcing a shift throughout the power          of mercury emissions from coal-fired
                                                 reduce GHGs from existing fossil fuel-                  grid from one type of energy source to        electric power plants under CAA
                                                 fired EGUs remained in place.                           another.’’ Id. at 2611–12 (internal           section 112 does not preclude the
                                                                                                         quotation marks, emphasis, and citation       Agency from regulating CO2 from coal-
                                                 6. U.S. Supreme Court Decision in West                  omitted).                                     fired electric power plants under CAA
                                                 Virginia v. EPA Concerning the CPP                         The Court recognized that a rule           section 111, and the holding, discussed
                                                    The Supreme Court granted petitions                  based on traditional measures ‘‘may end       above, that the 2015 NSPS included a
                                                 for certiorari from the D.C. Circuit’s                  up causing an incidental loss of coal’s       valid significant contribution
                                                 American Lung Association decision,                     market share,’’ but emphasized that the       determination and therefore provided a
                                                 limited to the question of whether CAA                  CPP was ‘‘obvious[ly] differen[t]’’
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                                                                                                                                                       sufficient basis for a CAA section 111(d)
                                                 section 111 authorized the EPA to                       because, with its generation-shifting         rule regulating greenhouse gases from
                                                 determine that ‘‘generation shifting’’                  BSER, it ‘‘simply announc[ed] what the        existing fossil fuel-fired EGUs. The
                                                 was the best system of emission                         market share of coal, natural gas, wind,      court’s holding to invalidate
                                                 reduction for fossil-fuel fired EGUs. The               and solar must be, and then require[ed]       amendments to the implementing
                                                 Supreme Court did not grant certiorari                  plants to reduce operations or subsidize      regulations applicable to emission
                                                 on the question of whether the EPA was                  their competitors to get there.’’ Id. at      guidelines under CAA section 111(d)
                                                 authorized to regulate GHG emissions                    2613 n.4. The Court also emphasized           that extended the preexisting schedules


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                                                 for state and Federal actions and                          The EPA’s authority to determine the               kind, class, or group,’’ or ‘‘qualities
                                                 sources’ compliance, also remains in                    BSER includes the authority to create                 common to a number of individuals that
                                                 force. Based on the EPA’s stated                        subcategories that tailor the BSER for                distinguish them as an identifiable
                                                 intention to replace the ACE Rule, the                  differently situated sets of sources.                 class.’’ See https://www.merriam-
                                                 court stayed further proceedings with                   Again, for new sources, CAA section                   webster.com/dictionary/type.
                                                 respect to the ACE Rule, including the                  111(b)(2) confers authority for the EPA                 The EPA has developed subcategories
                                                 various challenges that its BSER was                    to ‘‘distinguish among classes, types,                in many rulemakings under CAA
                                                 flawed because it did not achieve                       and sizes within categories.’’ Though                 section 111 since the 1970s. These
                                                 sufficient emission reductions and                      CAA section 111(d) does not speak                     rulemakings have included
                                                 failed to specify an appropriately                      specifically to the creation of                       subcategories on the basis of the size of
                                                 specific degree of emission limitation.                 subcategories for a category of existing              the sources, see 40 CFR 60.40b(b)(1)–(2)
                                                                                                         sources, the authority to identify the                (subcategorizing certain coal-fired steam
                                                 C. Detailed Discussion of CAA Section                   ‘‘best’’ system of emission reduction for             generating units on the basis of heat
                                                 111 Requirements                                        existing sources includes the discretion              input capacity); the types of fuel
                                                   This section discusses in more detail                 to differentiate between differently                  combusted, see Sierra Club, v. EPA, 657
                                                 the key requirements of CAA section                     situated sources in the category, and                 F.2d 298, 318–19 (D.C. Cir. 1981)
                                                 111 for both new and existing sources                   group those sources into subcategories                (upholding a rulemaking that
                                                 that are relevant for these rulemakings.                in appropriate circumstances. The size,               established different NSPS ‘‘for utility
                                                                                                         type, class, and other characteristics can            plants that burn coal of varying sulfur
                                                 1. Approach to the Source Category and                  make different emission controls more                 content’’), 2015 NSPS, 80 FR 64510,
                                                 Subcategorizing                                         appropriate for different sources. A                  64602 (table 15) (October 23, 2015)
                                                    CAA section 111 requires the EPA                     system of emission reduction that is                  (subdividing new combustion turbines
                                                 first to list stationary source categories              ‘‘best’’ for some sources may not be                  on the basis of type of fuel combusted);
                                                 that cause or contribute to air pollution               ‘‘best’’ for others with different                    the types of equipment used to produce
                                                 which may reasonably be anticipated to                  characteristics. For more than four                   products, see 81 FR 35824 (June 3, 2016)
                                                 endanger public health or welfare and                   decades, the EPA has interpreted CAA                  (promulgating separate NSPS for many
                                                 then to regulate new sources within                     section 111(d) to confer authority on the             types of oil and gas sources, such as
                                                 each such source category. CAA section                  Agency to create subcategories. The                   centrifugal compressors, pneumatic
                                                 111(b)(2) grants the EPA discretion                     EPA’s implementing regulations under                  controllers, and well sites); types of
                                                 whether to ‘‘distinguish among classes,                 CAA section 111(d), promulgated in                    manufacturing processes used to
                                                 types, and sizes within categories of                   1975, 40 FR 53340 (November 17, 1975),                produce product, see 42 FR 12022
                                                 new sources for the purpose of                          provide that the Administrator will                   (March 1, 1977) (announcing
                                                                                                         specify different emission guidelines or              availability of final guideline document
                                                 establishing [new source] standards,’’
                                                                                                         compliance times or both ‘‘for different              for control of atmospheric fluoride
                                                 which we refer to as ‘‘subcategorizing.’’
                                                                                                         sizes, types, and classes of designated               emissions from existing phosphate
                                                 Whether and how to subcategorize is a
                                                                                                         facilities when [based on] costs of                   fertilizer plants) and ‘‘Final Guideline
                                                 decision for which the EPA is entitled
                                                                                                         control, physical limitations,                        Document: Control of Fluoride
                                                 to a ‘‘high degree of deference’’ because
                                                                                                         geographical location, or [based on]                  Emissions From Existing Phosphate
                                                 it entails ‘‘scientific judgment.’’ Lignite
                                                                                                         similar factors.’’ 187 This regulation                Fertilizer Plants,’’ EPA–450/2–77–005
                                                 Energy Council v. EPA, 198 F.3d 930,
                                                                                                         governs the EPA’s general authority to                1–7 to 1–9, including table 1–2
                                                 933 (D.C. Cir. 1999).
                                                                                                         subcategorize under CAA section                       (applying different control requirements
                                                    Although CAA section 111(d)(1) does                  111(d), and the EPA is not reopening                  for different manufacturing operations
                                                 not explicitly address subcategorization,               that issue here. At the time of                       for phosphate fertilizer); levels of
                                                 since its first regulations implementing                promulgation, the EPA explained that                  utilization of the sources, see 2015
                                                 the CAA, the EPA has interpreted it to                  subcategorization allows the EPA to take              NSPS, 80 FR 64510, 64602 (table 15)
                                                 authorize the Agency to exercise                        into account ‘‘differences in sizes and               (October 23, 2015) (dividing new
                                                 discretion as to whether and, if so, how                types of facilities and similar                       natural gas-fired combustion turbines
                                                 to subcategorize, for the following                     considerations, including differences in              into the subcategories of base load and
                                                 reasons. CAA section 111(d)(1) grants                   control costs that may be involved for                non-base load); the activity level of the
                                                 the EPA authority to ‘‘prescribe                        sources located in different parts of the             sources, see 81 FR 59276, 59278–79
                                                 regulations which shall establish a                     country’’ so that the ‘‘EPA’s emission                (August 29, 2016) (dividing municipal
                                                 procedure . . . under which each State                  guidelines will in effect be tailored to              solid waste landfills into the
                                                 shall submit to the Administrator a plan                what is reasonably achievable by                      subcategories of active and closed
                                                 [with standards of performance for                      particular classes of existing                        landfills); and geographic location of the
                                                 existing sources.]’’ The EPA                            sources. . . .’’ Id. at 53343. The EPA’s              sources, see 71 FR 38482 (July 6, 2006)
                                                 promulgates emission guidelines under                   authority to ‘‘distinguish among classes,             (SO2 NSPS for stationary combustion
                                                 this provision directing the states to                  types, and sizes within categories,’’ as              turbines subcategorizing turbines on the
                                                 regulate existing sources. The Supreme                  provided under CAA section 111(b)(2),                 basis of whether they are located in, for
                                                 Court has recognized that, under CAA                    generally allows the Agency to place                  example, a continental area, a non-
                                                 section 111(d), the ‘‘Agency, not the                   types of sources into subcategories. This             continental area, the part of Alaska
                                                 States, decides the amount of pollution                 is consistent with the commonly                       north of the Arctic Circle, and the rest
                                                 reduction that must ultimately be
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                                                                                                         understood meaning of the term ‘‘type’’               of Alaska). Thus, the EPA has
                                                 achieved. It does so by again                           in CAA section 111(b)(2): ‘‘a particular              subcategorized many times in
                                                 determining, as when setting the new                                                                          rulemaking under CAA sections 111(b)
                                                 source rules, ‘the best system of                         187 40 CFR 60.22(b)(5), 60.22a(b)(5). Because the   and 111(d) and based on a wide variety
                                                 emission reduction . . . that has been                  definition of subcategories depends on                of physical, locational, and operational
                                                 adequately demonstrated for [existing                   characteristics relevant to the BSER, and because
                                                                                                         those characteristics can differ as between new and   characteristics.
                                                 covered] facilities.’ West Virginia, 597                existing sources, the EPA may establish different       Regardless of whether the EPA
                                                 U.S. at 710 (citations omitted).                        subcategories as between new and existing sources.    subcategorizes within a source category


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                                                 for purposes of determining the BSER                     amount of air pollution’’ 189 reduced                    a. System of Emission Reduction
                                                 and the degree of emission limitation                    and the role of ‘‘technological                              The CAA does not define the phrase
                                                 achievable, a state retains certain                      innovation.’’ 190 The D.C. Circuit has                   ‘‘system of emission reduction.’’ In West
                                                 flexibility in assigning standards of                    also stated that to determine the ‘‘best’’               Virginia v. EPA, the Supreme Court
                                                 performance to its affected EGUs. The                    system, the EPA may weigh the various                    recognized that historically, the EPA
                                                 statutory framework for CAA section                      factors identified in the statute and                    had looked to ‘‘measures that improve
                                                 111(d) emission guidelines, and the                      caselaw against each other, and has                      the pollution performance of individual
                                                 flexibilities available to states within                 emphasized that the EPA has discretion                   sources and followed a ‘‘technology-
                                                 that framework, are discussed below.                     in weighing the factors.191 192                          based approach’’ in identifying systems
                                                 2. Key Elements of Determining a                            The EPA’s overall approach to                         of emission reduction. In particular, the
                                                 Standard of Performance                                  determining the BSER and degree of                       Court identified ‘‘the sort of ‘systems of
                                                                                                          emission limitation achievable, which                    emission reduction’ [the EPA] had
                                                    Congress first included the definition                incorporates the various elements, is as                 always before selected,’’ which included
                                                 of ‘‘standard of performance’’ when                      follows: The EPA identifies ‘‘system[s]                  ‘‘ ‘efficiency improvements, fuel-
                                                 enacting CAA section 111 in the 1970                     of emission reduction’’ that have been                   switching,’ and ‘add-on controls’.’’ 597
                                                 Clean Air Act Amendments (CAAA),                         ‘‘adequately demonstrated’’ for a                        U.S. at 727 (quoting the Clean Power
                                                 amended it in the 1977 CAAA, and then                    particular source category and                           Plan).194 Section 111 itself recognizes
                                                 amended it again in the 1990 CAAA to                     determines the ‘‘best’’ of these systems                 that such systems may include off-site
                                                 largely restore the definition as it read                after evaluating the amount of emission                  activities that may reduce a source’s
                                                 in the 1970 CAAA. The current text of                    reductions, costs, any non-air health                    pollution contribution, identifying
                                                 CAA section 111(a)(1) reads: ‘‘The term                  and environmental impacts, and energy                    ‘‘precombustion cleaning or treatment of
                                                 ‘standard of performance’ means a                        requirements. As discussed below, for                    fuels’’ as a ‘‘system’’ of ‘‘emission
                                                 standard for emission of air pollutants                  each of numerous subcategories, the                      reduction.’’ 42 U.S.C. 7411(a)(7)(B). A
                                                 which reflects the degree of emission                    EPA followed this approach to                            ‘‘system of emission reduction’’ thus, at
                                                 limitation achievable through the                        determine the BSER on the basis that                     a minimum, includes measures that an
                                                 application of the best system of                        the identified costs are reasonable and                  individual source applies that improve
                                                                                                          that the BSER is rational in light of the                the emissions performance of that
                                                 emission reduction which (taking into
                                                                                                          statutory factors, including the amount                  source. Measures are fairly
                                                 account the cost of achieving such
                                                                                                          of emission reductions, that the EPA                     characterized as improving the
                                                 reduction and any non-air quality health
                                                                                                          examined in its BSER analysis,                           pollution performance of a source where
                                                 and environmental impact and energy
                                                                                                          consistent with governing precedent.                     they reduce the individual source’s
                                                 requirements) the Administrator
                                                                                                             After determining the BSER, the EPA                   overall contribution to pollution.
                                                 determines has been adequately                                                                                        In West Virginia, the Supreme Court
                                                 demonstrated.’’ The D.C. Circuit has                     determines an achievable emission limit
                                                                                                                                                                   did not define the term ‘‘system of
                                                 reviewed CAA section 111 rulemakings                     based on application of the BSER.193 For
                                                                                                                                                                   emissions reduction,’’ and so did not
                                                 on numerous occasions since 1973,188                     a CAA section 111(b) rule, the EPA                       rule on whether ‘‘system of emission
                                                 and has developed a body of caselaw                      determines the standard of performance                   reduction’’ is limited to those measures
                                                 that interprets the term ‘‘standard of                   that reflects the achievable emission                    that the EPA has historically relied
                                                 performance,’’ as discussed throughout                   limit. For a CAA section 111(d) rule, the                upon. It did go on to apply the major
                                                 this preamble.                                           states have the obligation of establishing               questions doctrine to hold that the term
                                                                                                          standards of performance for the                         ‘‘system’’ does not provide the requisite
                                                    The basis for standards of
                                                                                                          affected sources that reflect the degree                 clear authorization to support the Clean
                                                 performance, whether promulgated by
                                                                                                          of emission limitation that the EPA has                  Power Plan’s BSER, which the Court
                                                 the EPA under CAA section 111(b) or
                                                                                                          determined. As discussed below, the                      described as ‘‘carbon emissions caps
                                                 established by the states under CAA
                                                                                                          EPA is finalizing these determinations                   based on a generation shifting
                                                 section 111(d), is that the EPA
                                                                                                          in association with each of the BSER                     approach.’’ Id. at 2614. While the Court
                                                 determines the ‘‘degree of emission
                                                                                                          determinations.                                          did not define the outer bounds of the
                                                 limitation’’ that is ‘‘achievable’’ by the
                                                 sources by application of a ‘‘system of                     The remainder of this subsection                      meaning of ‘‘system,’’ systems of
                                                 emission reduction’’ that the EPA                        discusses each element in our general                    emissions reduction like fuel switching,
                                                 determines is ‘‘adequately                               analytical approach.                                     add-on controls, and efficiency
                                                 demonstrated,’’ ‘‘taking into account’’                                                                           improvements fall comfortably within
                                                 the factors of ‘‘cost . . . and any nonair
                                                                                                             189 See Sierra Club v. Costle, 657 F.2d 298, 326      the scope of prior practice as recognized
                                                                                                          (D.C. Cir. 1981).                                        by the Supreme Court.
                                                 quality health and environmental                            190 See Sierra Club v. Costle, 657 F.2d at 347.
                                                 impact and energy requirements,’’ and                       191 See Lignite Energy Council, 198 F.3d at 933.      b. ‘‘Adequately Demonstrated’’
                                                 that the EPA determines to be the                           192 CAA section 111(a)(1), by its terms states that
                                                                                                                                                                      Under CAA section 111(a)(1), an
                                                 ‘‘best.’’ The D.C. Circuit has stated that               the factors enumerated in the parenthetical are part
                                                                                                                                                                   essential, although not sufficient,
                                                 in determining the ‘‘best’’ system, the                  of the ‘‘adequately demonstrated’’ determination. In
                                                                                                          addition, the D.C. Circuit’s caselaw makes clear that    condition for a ‘‘system of emission
                                                 EPA must also take into account ‘‘the                    the EPA may consider these same factors when it
                                                                                                          determines which adequately demonstrated system             194 As noted in section V.B.4 of this preamble, the
                                                   188 Portland Cement Ass’n v. Ruckelshaus, 486          of emission reduction is the ‘‘best.’’ See Sierra Club   ACE Rule adopted the interpretation that CAA
                                                 F.2d 375 (D.C. Cir. 1973); Essex Chemical Corp. v.       v. Costle, 657 F.2d at 330 (recognizing that CAA         section 111(a)(1), by its plain language, limits
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                                                 Ruckelshaus, 486 F.2d 427 (D.C. Cir. 1973); Sierra       section 111 gives the EPA authority ‘‘when               ‘‘system of emission reduction’’ to those control
                                                 Club v. Costle, 657 F.2d 298 (D.C. Cir. 1981); Lignite   determining the best technological system to weigh       measures that could be applied at and to each
                                                 Energy Council v. EPA, 198 F.3d 930 (D.C. Cir.           cost, energy, and environmental impacts’’).              source to reduce emissions at each source. 84 FR
                                                 1999); Portland Cement Ass’n v. EPA, 665 F.3d 177           193 See, e.g., Oil and Natural Gas Sector: New        32523–24 (July 8, 2019). The EPA has subsequently
                                                 (D.C. Cir. 2011); American Lung Ass’n v. EPA, 985        Source Performance Standards and National                rejected that interpretation as too narrow. See
                                                 F.3d 914 (D.C. Cir. 2021), rev’d in part, West           Emission Standards for Hazardous Air pollutants          Adoption and Submittal of State Plans for
                                                 Virginia v. EPA, 597 U.S. 697 (2022). See also           Reviews (77 FR 49494; August 16, 2012) (describing       Designated Facilities: Implementing Regulations
                                                 Delaware v. EPA, No. 13–1093 (D.C. Cir. May 1,           the three-step analysis in setting a standard of         Under Clean Air Act Section 111(d), 88 FR 80535
                                                 2015).                                                   performance).                                            (November 17, 2023).



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                                                 reduction’’ to serve as the basis for an                i. Plain Text, Statutory Context, and                    determine, according to ‘‘the judgment
                                                 ‘‘achievable’’ emission standard is that                Legislative History of the ‘‘Adequately                  of the Administrator,’’ an ‘‘adequate
                                                 the Administrator must determine that                   Demonstrated’’ Provision in CAA                          margin of safety.’’ 199 The D.C. Circuit
                                                 the system is ‘‘adequately                              Section 111(a)(1)                                        has held that the use of the term
                                                 demonstrated.’’ The concepts of                            Analysis of the plain text, statutory                 ‘‘adequate’’ confers significant deference
                                                 adequate demonstration and                              context, and legislative history of CAA                  to the Administrator’s scientific and
                                                 achievability are closely related: as the               section 111(a)(1) establishes two                        technological judgment. In Mississippi
                                                 D.C. Circuit has stated, ‘‘[i]t is the                  primary themes. First, Congress                          v. EPA,200 for example, the D.C. Circuit
                                                 system which must be adequately                         assigned the task of determining the                     in 2013 upheld the EPA’s choice to set
                                                 demonstrated and the standard which                     appropriate BSER to the Administrator,                   the NAAQS for ozone below 0.08 ppm,
                                                 must be achievable,’’ 195 through                       based on a reasonable review of                          and noted that any disagreements with
                                                 application of the system. An achievable                available evidence. Second, Congress                     the EPA’s interpretations of the
                                                 standard means a standard based on the                  authorized the EPA to set a standard,                    scientific evidence that underlay this
                                                 EPA’s record-based finding that                         based on the evidence, that encourages                   decision ‘‘must come from those who
                                                 sufficient evidence exists to reasonably                broader adoption of an emissions-                        are qualified to evaluate the science, not
                                                 determine that the affected sources in                                                                           [the court].’’ 201 This Mississippi v. EPA
                                                                                                         reducing technological approach that
                                                 the source category can adopt a specific
                                                                                                         may not yet be in widespread use.                        precedent aligns with the general
                                                 system of emission reduction to achieve                    The plain text of CAA section                         standard for judicial review of the EPA’s
                                                 the specified degree of emission                        111(a)(1), and in particular the phrase                  understanding of the evidence under
                                                 limitation. As discussed below,                         ‘‘the Administrator determines’’ and the                 CAA section 307(d)(9)(A) (‘‘arbitrary,
                                                 consistent with Congress’s use of the                   term ‘‘adequately,’’ confer discretion to
                                                 word ‘‘demonstrated,’’ the caselaw has                                                                           capricious, an abuse of discretion, or
                                                                                                         the EPA in identifying the appropriate                   otherwise not in accordance with law’’).
                                                 approved the EPA’s ‘‘adequately                         system. Rather than providing specific
                                                 demonstrated’’ determinations                                                                                       The plain language of the phrase ‘‘has
                                                                                                         criteria for determining what constitutes
                                                 concerning systems utilized at test                                                                              been adequately demonstrated,’’ in
                                                                                                         appropriate evidence, Congress directed
                                                 sources or other individual sources                                                                              context, and in light of the legislative
                                                                                                         the Administrator to ‘‘determine[ ]’’ that
                                                 operating at commercial scale. The case                                                                          history, further strongly indicates that
                                                                                                         the demonstration is ‘‘adequate[ ].’’
                                                 law also authorizes the EPA to set an                                                                            the system in question need not be in
                                                                                                         Courts have typically deferred to the
                                                 emissions standard at levels more                                                                                widespread use at the time the EPA’s
                                                                                                         EPA’s scientific and technological
                                                 stringent than has regularly been                                                                                rule is published. To the contrary, CAA
                                                                                                         judgments in making such
                                                 achieved, based on the understanding                                                                             section 111(a)(1) authorizes technology
                                                                                                         determinations.198 Further, use of the
                                                 that sources will be able to adopt                                                                               forcing, in the sense that the EPA is
                                                                                                         term ‘‘adequate’’ in provisions
                                                 specific technological improvements to                                                                           authorized to promote a system which
                                                 the system in question that will enable                 throughout the CAA highlights EPA
                                                                                                                                                                  is not yet in widespread use; provided
                                                 them to achieve the lower standard.                     flexibility and discretion in setting
                                                                                                         standards and in analyzing data that                     the technology is in existence and the
                                                 Importantly, and contrary to some                                                                                EPA has adequate evidence to
                                                 comments received on the proposed                       forms the basis for standard setting.
                                                                                                            In setting NAAQS under CAA section                    extrapolate.202
                                                 rule, CAA section 111(a)(1) does not
                                                                                                         109, for example, the EPA is directed to                    Some commenters argued that use of
                                                 require that a system of emission
                                                                                                                                                                  the phrase ‘‘has been’’ in ‘‘has been
                                                 reduction exist in widespread
                                                                                                         and in particular its technology-forcing nature. The     adequately demonstrated’’ means that
                                                 commercial use in order to satisfy the                  first page of the House report declared that ‘‘[t]he
                                                 ‘‘adequately demonstrated’’                                                                                      the system must be in widespread
                                                                                                         purpose of the legislation reported unanimously by
                                                 requirement.196 Instead, CAA section                    [Committee was] to speed up, expand, and intensify       commercial use at the time of rule
                                                 111(a)(1) authorizes the EPA to establish               the war against air pollution in the United States       promulgation. We disagree. Considering
                                                 standards which encourage the
                                                                                                         . . .’’ H.R. Rep. No. 17255 at 1 (1970). It was clear,   the plain text, the use of the past tense,
                                                                                                         stated the House report, that until that point ‘‘the     ‘‘has been adequately demonstrated’’
                                                 deployment of more effective systems of                 strategies which [the United States had] pursued in
                                                 emission reduction that have been                       the war against air pollution [had] been inadequate      indicates a requirement that the
                                                 adequately demonstrated but that are                    in several important respects, and the methods           technology currently be demonstrated.
                                                 not yet in widespread use. This aligns                  employed in implementing those strategies often          However, ‘‘demonstrated’’ in common
                                                                                                         [had] been slow and less effective than they might       usage at the time of enactment meant to
                                                 with Congress’s purpose in enacting the                 have been.’’ Id. The Senate report agreed, stating
                                                 CAA, in particular its recognition that                 that their bill would ‘‘provide a much more              ‘‘explain or make clear by using
                                                 polluting sources were not widely                       intensive and comprehensive attack on air                examples, experiments, etc.’’ 203 As a
                                                                                                         pollution,’’ 1 S. 4358 at 4 (1970), including,           general matter, and as this definition
                                                 adopting emission control technology                    crucially, by increased federal involvement. See id.
                                                 on a voluntary basis and that Federal                      198 The D.C. Circuit stated in Nat’l Asphalt
                                                                                                                                                                  indicates, the term ‘‘to demonstrate’’
                                                 regulation was necessary to spur the                    Pavement Ass’n v. Train, 539 F.2d 775, 786 (D.C.         suggests the need for a test or study—
                                                 development and deployment of those                     Cir. 1976) ‘‘The standard of review of actions of the    as in, for example, a ‘‘demonstration
                                                 technologies.197                                        Administrator in setting standards of performance
                                                                                                         is an appropriately deferential one, and we are to         199 42 U.S.C. 7409(b)(1).
                                                                                                         affirm the action of the Administrator unless it is        200 744 F.3d 1334 (D.C. Cir. 2013).
                                                   195 Essex Chem. Corp. v. Ruckelshaus, 486 F.2d
                                                                                                         ‘‘arbitrary, capricious, an abuse of discretion, or
                                                 427, 433 (1973) (emphasis omitted).                     otherwise not in accordance with law,’’ 5 U.S.C.
                                                                                                                                                                    201 Id.
                                                   196 See, e.g., Essex Chem. Corp. v. Ruckelshaus,                                                                  202 While not relevant here, because CCS is
                                                                                                         706(2)(A) (1970). Since this is one of those ‘‘highly
                                                 486 F.2d 427 (D.C. Cir. 1973) (in which the D.C.        technical areas, where our understanding of the          already in existence, the text, case law, and
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                                                 Circuit upheld a CAA section 111 standard based         import of the evidence is attenuated, our readiness      legislative history make a compelling case that EPA
                                                 on a system which had been extensively used in          to review evidentiary support for decisions must be      is authorized to go farther than this, and may make
                                                 Europe but at the time of promulgation was only in      correspondingly restrained.’’ Ethyl Corporation v.       a projection regarding the way in which a particular
                                                 use in the United States at one plant).                 EPA, 96 S. Ct. 2663 (1976). ‘‘Our ‘expertise’ is not     system will develop to allow for greater emissions
                                                   197 In introducing the respective bills which         in setting standards for emission control, but in        reductions in the future. See 80 FR 64556–58
                                                 ultimately became the 1970 Clean Air Act upon           determining if the standards as set are the result of    (discussion of ‘‘adequately demonstrated’’ in 2015
                                                 Conference Committee review, both the House and         reasoned decision-making.’’ Essex Chem. Corp. v.         NSPS).
                                                 Senate emphasized the urgency of the matter at          Ruckelshaus, 486 F.2d 427, 434 (D.C. Cir. 1973))            203 Webster’s New World Dictionary: Second

                                                 hand, the intended power of the new legislation,        (cleaned up).’’                                          College Edition (David B. Guralnik, ed., 1972).



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                                                 project’’ or ‘‘demonstration plant’’—that               widespread use at the time of rule                   demonstrated standard of performance
                                                 is, examples of technological feasibility.              enactment. The final language of CAA                 may reflect the EPA’s reasonable
                                                    The statutory context is also useful in              section 111(a)(1), requiring that systems            projection of what that particular system
                                                 establishing that where Congress                        of emission reduction be ‘‘adequately                may be expected to achieve going
                                                 wanted to specify the availability of the               demonstrated,’’ was the result of                    forward, extrapolating from available
                                                 control system, it did so. The only other               compromise in the Conference                         data from pilot projects or individual
                                                 use of the exact term ‘‘adequately                      Committee between the House and                      commercial-scale sources. A standard
                                                 demonstrated’’ occurs in CAA section                    Senate bill language. The House bill                 may be considered achievable even if
                                                 119, which establishes that, in order for               would have required that the EPA give                the system upon which the standard is
                                                 the EPA to require a particular ‘‘means                 ‘‘appropriate consideration to                       based has not regularly achieved the
                                                 of emission limitation’’ for smelters, the              technological and economic feasibility’’             standard in testing. See, e.g., Essex
                                                 Agency must establish that such means                   when establishing standards.208 The                  Chem. Corp. v. Ruckelshaus 212
                                                 ‘‘has been adequately demonstrated to                   Senate bill would have required that                 (upholding a standard of 4.0 lbs per ton
                                                 be reasonably available. . . .’’ 204 The                standards ‘‘reflect the greatest degree of           based on a system whose average
                                                 lack of the phrase ‘‘reasonably                         emission control which the Secretary                 control rate was 4.6 lbs per ton, and
                                                 available’’ in CAA section 111(a)(1) is                 determines to be achievable through                  which had achieved 4.0 lbs per ton on
                                                 notable, and suggests that a system may                 application of the latest available                  only three occasions and ‘‘‘nearly
                                                 be ‘‘adequately demonstrated’’ under                    control technology, processes, operating             equaled’ [the standard] on the average of
                                                 CAA section 111 even if it is not                       methods, or other alternatives.’’ 209                nineteen different readings.’’) 213 The
                                                 ‘‘reasonably available’’ for every single               Although the exact language of neither               Ruckelshaus court concluded that the
                                                 source.205                                              the House nor Senate bill was adopted                EPA’s extrapolation from available data
                                                    The term ‘‘demonstration’’ also                      in the final bill, both reports made clear           was ‘‘the result of the exercise of
                                                 appears in CAA section 103 in an                        their intent that CAA section 111 would              reasoned discretion by the
                                                 instructive context. CAA section 103,                   be significantly technology-forcing. In              Administrator’’ and therefore ‘‘[could
                                                 which establishes a ‘‘national research                 particular, the Senate Report referred to            not] be upset by [the] court.’’ 214 The
                                                 and development program for the                         ‘‘available control technology’’—a                   court also emphasized that in order to
                                                 prevention and control of air pollution’’               phrase that, as just noted, the Senate bill          be considered achievable, the standard
                                                 directs that as part of this program, the               included—but clarified that the                      set by the EPA need not be regularly or
                                                 EPA shall ‘‘conduct, and promote the                    technology need not ‘‘be in actual,                  even specifically achieved at the time of
                                                 coordination and acceleration of,                       routine use somewhere.’’ 210 The House               rule promulgation. Instead, according to
                                                 research, investigations, experiments,                  Report explained that EPA regulations                the court, ‘‘[a]n achievable standard is
                                                 demonstrations, surveys, and studies                    would ‘‘prevent and control such                     one which is within the realm of the
                                                 relating to’’ the issue of air pollution.206            emissions to the fullest extent                      adequately demonstrated system’s
                                                 According to the canon of noscitur a                    compatible with the available                        efficiency and which, while not at a
                                                 sociis, associated words in a list bear on              technology and economic feasibility as               level that is purely theoretical or
                                                 one another’s meaning.207 In CAA                        determined by [the EPA],’’ and ‘‘[i]n                experimental, need not necessarily be
                                                 section 103, the word ‘‘demonstrations’’                order to be considered ‘available’ the               routinely achieved within the industry
                                                 appears alongside ‘‘research,’’                         technology may not be one which                      prior to its adoption.’’ 215
                                                 ‘‘investigations,’’ ‘‘experiments,’’ and                constitutes a purely theoretical or                     Case law also establishes that the EPA
                                                 ‘‘studies’’—all words suggesting the                    experimental means of preventing or                  may set a standard more stringent than
                                                 development of new and emerging                         controlling air pollution.’’ 211 This last           has regularly been achieved based on its
                                                 technology. This supports interpreting                  statement implies that the House Report              identification of specific available
                                                 CAA section 111(a)(1) to authorize the                  anticipated that the EPA’s                           technological improvements to the
                                                 EPA to determine a system of emission                   determination may be technology                      system. See Sierra Club v. Costle 216
                                                 reduction to be ‘‘adequately                            forcing. Nothing in the legislative                  (upholding a 90 percent standard for
                                                 demonstrated’’ based on demonstration                   history suggests that Congress intended              SO2 emissions from coal-fired steam
                                                 projects, testing, examples, or                         that the technology already be in                    generators despite the fact that not all
                                                 comparable evidence.                                    widespread commercial use.                           plants had previously achieved this
                                                    Finally, the legislative history of the                                                                   standard, based on the EPA’s
                                                                                                         ii. Caselaw                                          expectations for improved performance
                                                 CAA in general, and section 111 in
                                                 particular, strongly supports the point                    In a series of cases reviewing                    with specific technological fixes and the
                                                 that BSER technology need not be in                     standards for new sources, the D.C.                  use of ‘‘coal washing’’ going forward).217
                                                                                                         Circuit has held that an adequately                  Further, the EPA may extrapolate based
                                                   204 The statutory text at CAA section 119                                                                  on testing at a particular kind of source
                                                 continues, ‘‘as determined by the Administrator,           208 H.R. Rep. No. 17255 at 921 (1970) (quoting
                                                                                                                                                              to conclude that the technology at issue
                                                 taking into account the cost of compliance, nonair      CAA Sec. 112(a), as proposed).                       will also be effective at a different,
                                                 quality health and environmental impact, and               209 S. Rept. 4358 at 91 (quoting CAA Sec.
                                                 energy consideration.’’ 42 U.S.C. 7419(b)(3).           113(b)(2), as proposed).                               212 486 F.2d 427 (D.C. Cir. 1973).
                                                   205 It should also be noted that the section 119         210 S. Rep. 4358 at 15–16 (1970). The Senate
                                                                                                                                                                213 Id. at 437.
                                                 language was added as part of the 1977 Clean Air        Report went on to say that the EPA should
                                                                                                                                                                214 Id. at 437.
                                                 Act amendments, while the section 111 language          ‘‘examine the degree of emission control that has
                                                 was established in 1970. Thus, Congress was aware       been or can be achieved through the application of     215 Id. at 433–34 (D.C. Cir. 1973). See also Sierra

                                                 of section 111’s more permissive language when it       technology which is available or normally can be     Club v. Costle, 657 F.2d 298 (D.C. Cir. 1981), which
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                                                 added the ‘‘reasonably available’’ language to          made available . . . at a cost and at a time which   supports the point that EPA may extrapolate from
                                                 section 119.                                            [the Agency] determines to be reasonable.’’ Id.      testing results, rather than relying on consistent
                                                   206 42 U.S.C. 7403(a)(1).                             Again, this language rebuts any suggestion that a    performance, to identify an appropriate system and
                                                   207 As the Supreme Court recently explained in        BSER technology must be in widespread use at the     standard based on that system. In that case, EPA
                                                 Dubin v. United States, even words that might be        time of rule enactment—Congress assumed only         analyzed scrubber performance by considering
                                                 indeterminate alone may be more easily interpreted      that the technology would be ‘‘available’’ or even   performance during short-term testing periods. See
                                                 in ‘‘company,’’ because per noscitur a sociis ‘‘a       that it ‘‘[could] be made available,’’ not that it   id. at 377.
                                                                                                         would be already broadly used.                         216 657 F.2d 298 (D.C. Cir. 1981).
                                                 word is known by the company it keeps.’’ 599 U.S.
                                                 110, 244 (2023).                                           211 H.R. Rep. No. 17255 at 900.                     217 Id. at 365, 370–73; 365.




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                                                 related, source. See Lignite Energy                      Circuit has stated that the EPA may                     commencement of a requirement to end
                                                 Council v. EPA 218 (holding it                           determine a ‘‘system of emission                        routine flaring and route associated gas
                                                 permissible to base a standard for                       reduction’’ to be ‘‘adequately                          to a sales line.228
                                                 industrial boilers on application of SCR                 demonstrated’’ if the EPA reasonably                      Finally, the EPA’s longstanding
                                                 based on extrapolated information about                  projects that it may be more broadly                    regulations for new source performance
                                                 the application of SCR on utility                        deployed with adequate lead time. This                  standards under CAA section 111
                                                 boilers).219 The Lignite court clarified                 view is well-grounded in the purposes                   specifically authorize a minimum
                                                 that ‘‘where data are unavailable, EPA                   of CAA section 111(a)(1), discussed                     period for lead time. Pursuant to 40 CFR
                                                 may not base its determination that a                    above, which aim to control dangerous                   60.11, compliance with CAA section
                                                 technology is adequately demonstrated                    air pollution by allowing for standards                 111 standards is generally determined
                                                 or that a standard is achievable on mere                 which encourage more widespread                         in accordance with performance tests
                                                 speculation or conjecture,’’ but the                     adoption of a technology demonstrated                   conducted under 40 CFR 60.8. Both of
                                                 ‘‘EPA may compensate for a shortage of                   at individual plants.                                   these regulatory provisions were
                                                 data through the use of other qualitative                   As a practical matter, CAA section                   adopted in 1971. Under 40 CFR 60.8,
                                                 methods, including the reasonable                        111’s allowance for lead time recognizes                source performance is generally
                                                 extrapolation of a technology’s                          that existing pollution control systems                 measured via performance tests, which
                                                 performance in other industries.’’ 220                   may be complex and may require a                        must typically be carried out ‘‘within 60
                                                    As a general matter, the case law is                  predictable amount of time for sources                  days after achieving the maximum
                                                 clear that at the time of Rule                           across the source category to be able to                production rate at which the affected
                                                 promulgation, the system which the                       design, acquire, install, test, and begin               facility will be operated, but not later
                                                 EPA establishes as BSER need not be in                   to operate them.223 Time may also be                    than 180 days after initial startup of
                                                 widespread use. See, e.g.,                               required to allow for the development of                such facility, or at such other times
                                                 Ruckelshaus 221 (upholding a standard                    skilled labor, and materials like steel,                specified by this part, and at such other
                                                 based on a relatively new system which                   concrete, and speciality parts.                         times as may be required by the
                                                 was in use at only one United States                     Accordingly, in setting 111 standards                   Administrator under section 114 of the
                                                 plant at the time of rule promulgation.                  for both new and existing sources, the                  Act. . . .’’ 229 The fact that this
                                                 Although the system was in use more                      EPA has typically allowed for some                      provision has been in place for over 50
                                                 extensively in Europe at the time of rule                amount of time before sources must                      years indicates that the EPA has long
                                                 promulgation, the EPA based its                          demonstrate compliance with the                         recognized the need for lead time for at
                                                 analysis on test results from the lone                   standards. For instance, in the 2015                    least one component of control
                                                 U.S. plant only.) 222 This makes good                    NSPS for residential wood heaters, the                  development.230
                                                 sense, because, as discussed above, CAA                  EPA established a ‘‘stepped compliance
                                                                                                                                                                  c. Costs
                                                 section 111(a)(1) authorizes a                           approach’’ which phased in
                                                 technology-forcing standard that                         requirements over 5 years to ‘‘allow                       Under CAA section 111(a)(1), in
                                                 encourages broader adoption of an                        manufacturers lead time to develop,                     determining whether a particular
                                                 emissions-reducing technological                         test, field evaluate and certify current                emission control is the ‘‘best system of
                                                 approach that is not yet broadly used. It                technologies’’ across their model                       emission reduction . . . adequately
                                                 follows that at the time of promulgation,                lines.224 The EPA also allowed for a                    demonstrated,’’ the EPA is required to
                                                 not every source will be prepared to                     series of phase-ins of various                          take into account ‘‘the cost of achieving
                                                 adopt the BSER at once. Instead, as                      requirements in the 2023 oil and gas                    [the emission] reduction.’’ Although the
                                                 discussed next, the EPA’s responsibility                 NSPS.225 For example: the EPA                           CAA does not describe how the EPA is
                                                 is to determine that the technology can                  finalized a compliance deadline for                     to account for costs to affected sources,
                                                 be adopted in a reasonable period of                     process controllers allowing for 1 year                 the D.C. Circuit has formulated the cost
                                                 time, and to base its requirements on                    from the effective date of the final rule,              standard in various ways, including
                                                 this understanding.                                      to allow for delays in equipment                        stating that the EPA may not adopt a
                                                                                                          availability; 226 the EPA established a 1-              standard the cost of which would be
                                                 iii. Compliance Timeframe                                                                                        ‘‘excessive’’ or ‘‘unreasonable.’’ 231 232
                                                                                                          year lead time period for pumps, also in
                                                    The preceding subsections have                        response to possible equipment and
                                                 shown various circumstances under                        labor shortages; 227 and the EPA built in
                                                                                                                                                                    228 See id. at 16886.

                                                 which the EPA may determine that a                       24 months between publication in the
                                                                                                                                                                    229 40 CFR 60.8.
                                                                                                                                                                    230 For further discussion of lead time in the
                                                 system of emission reduction is                          Federal Register and the                                context of this rulemaking, see section VIII.F.
                                                 ‘‘adequately demonstrated.’’ In order to                                                                           231 Sierra Club v. Costle, 657 F.2d 298, 343 (D.C.
                                                 establish that a system is appropriate for                 223 As discussed above, although the EPA is not       Cir. 1981). See 79 FR 1430, 1464 (January 8, 2014);
                                                 the source category as a whole, the EPA                  relying on this point for purposes of these rules, it   Lignite Energy Council, 198 F.3d at 933 (costs may
                                                 must also demonstrate that the industry                  should be noted that the EPA may determine a            not be ‘‘exorbitant’’); Portland Cement Ass’n v. EPA,
                                                 can deploy the technology at scale in                    system of emission reduction to be adequately           513 F.2d 506, 508 (D.C. Cir. 1975) (costs may not
                                                                                                          demonstrated based on some amount of projection,        be ‘‘greater than the industry could bear and
                                                 the compliance timeframe. The D.C.                       even if some aspects of the system are still in         survive’’).
                                                                                                          development. Thus, the authorization for lead time        232 These cost formulations are consistent with
                                                   218 198 F.3d 930 (D.C. Cir. 1999).                     accommodates the development of projected               the legislative history of CAA section 111. The 1977
                                                   219 See id. at 933–34.                                 technology.                                             House Committee Report noted:
                                                   220 Id. at 934 (emphasis added).                         224 See Standards of Performance for New
                                                                                                                                                                    In the [1970] Congress [sic: Congress’s] view, it
                                                   221 486 F.2d 375 (D.C. Cir. 1973). See also Sierra     Residential Wood Heaters, New Residential               was only right that the costs of applying best
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                                                 Club v. Costle, 657 F.2d 298 (D.C. Cir. 1981), which     Hydronic Heaters and Forced-Air Furnaces, 80 FR         practicable control technology be considered by the
                                                 supports the point that EPA may extrapolate from         13672, 13676 (March 16, 2015).                          owner of a large new source of pollution as a
                                                                                                            225 See Standards of Performance for New,             normal and proper expense of doing business.
                                                 testing results, rather than relying on consistent
                                                 performance, to identify an appropriate system and       Reconstructed, and Modified Sources and                   1977 House Committee Report at 184. Similarly,
                                                 standard based on that system. In that case, EPA         Emissions Guidelines for Existing Sources: Oil and      the 1970 Senate Committee Report stated:
                                                 analyzed scrubber performance by considering             Natural Gas Sector Climate Review. 89 FR 16943            The implicit consideration of economic factors in
                                                 performance during short-term testing periods. See       (March 8, 2024).                                        determining whether technology is ‘‘available’’
                                                 id. at 377.                                                226 See id. at 16929.
                                                                                                                                                                  should not affect the usefulness of this section. The
                                                   222 486 F.2d at 435–36.                                  227 See id. at 16937.                                 overriding purpose of this section would be to



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                                                    The EPA has discretion in its                        plants). This metric allows the EPA to                 plants—on a review of the legislative
                                                 consideration of cost under section                     compare the amount a regulation would                  history, stating,
                                                 111(a), both in determining the                         require sources to pay to reduce a                       [T]he Reports from both Houses on the
                                                 appropriate level of costs and in                       particular pollutant across regulations                Senate and House bills illustrate very clearly
                                                 balancing costs with other BSER                         and industries. In rules for the electric              that Congress itself was using a long-term
                                                 factors.233 To determine the BSER, the                  power sector, the EPA has also looked                  lens with a broad focus on future costs,
                                                 EPA must weigh the relevant factors,                    at a metric that determines the dollar                 environmental and energy effects of different
                                                 including the cost of controls and the                  increase in the cost of a MWh of                       technological systems when it discussed
                                                 amount of emission reductions, as well                  electricity generated by the affected                  section 111.238
                                                 as other factors.234                                    sources due to the emission controls,                    The court has upheld EPA rules that
                                                    The D.C. Circuit has repeatedly                      which shows the cost of controls                       the EPA ‘‘justified . . . in terms of the
                                                 upheld the EPA’s consideration of cost                  relative to the output of electricity. See             policies of the Act,’’ including balancing
                                                 in reviewing standards of performance.                  section VII.C.1.a.ii of this preamble,                 long-term national and regional impacts.
                                                 In several cases, the court upheld                      which discusses $/MWh costs of the                     For example, the court upheld a
                                                 standards that entailed significant costs,              Good Neighbor Plan for the 2015 Ozone                  standard of performance for SO2
                                                 consistent with Congress’s view that                    NAAQS (88 FR 36654; June 5, 2023) and                  emissions from new coal-fired power
                                                 ‘‘the costs of applying best practicable                the Cross-State Air Pollution Rule                     plants on grounds that it—
                                                 control technology be considered by the                 (CSAPR) (76 FR 48208; August 8, 2011).                 reflects a balance in environmental,
                                                 owner of a large new source of pollution                This metric facilitates comparing costs                economic, and energy consideration by being
                                                 as a normal and proper expense of doing                 across regulations and pollutants. In                  sufficiently stringent to bring about
                                                 business.’’ 235 See Essex Chemical Corp.                these final actions, as explained herein,              substantial reductions in SO2 emissions (3
                                                 v. Ruckelshaus, 486 F.2d 427, 440 (D.C.                 the EPA looks at both of these metrics,                million tons in 1995) yet does so at
                                                 Cir. 1973); 236 Portland Cement Ass’n v.                in addition to other cost evaluations, to              reasonable costs without significant energy
                                                 Ruckelshaus, 486 F.2d 375, 387–88                       assess the cost reasonableness of the                  penalties. . . .239
                                                 (D.C. Cir. 1973); Sierra Club v. Costle,                final requirements. The EPA’s                            The EPA interprets this caselaw to
                                                 657 F.2d 298, 313 (D.C. Cir. 1981)                      consideration of cost reasonableness in                authorize it to assess the impacts of the
                                                 (upholding NSPS imposing controls on                    this way meets the statutory                           controls it is considering as the BSER,
                                                 SO2 emissions from coal-fired power                     requirement that the EPA take into                     including their costs and implications
                                                 plants when the ‘‘cost of the new                       account ‘‘the cost of achieving [the                   for the energy system, on a sector-wide,
                                                 controls . . . is substantial. The EPA                  emission] reduction’’ under section                    regional, or national basis, as
                                                 estimates that utilities will have to                   111(a)(1).                                             appropriate. For example, the EPA may
                                                 spend tens of billions of dollars by 1995                                                                      assess whether controls it is considering
                                                 on pollution control under the new                      d. Non-Air Quality Health and                          would create risks to the reliability of
                                                 NSPS.’’).                                               Environmental Impact and Energy                        the electricity system in a particular
                                                    In its CAA section 111 rulemakings,                  Requirements                                           area or nationwide and, if they would,
                                                 the EPA has frequently used a cost-                                                                            to reject those controls as the BSER.
                                                 effectiveness metric, which determines                     Under CAA section 111(a)(1), the EPA
                                                 the cost in dollars for each ton or other               is required to take into account ‘‘any                 f. ‘‘Best’’
                                                 quantity of the regulated air pollutant                 nonair quality health and environmental
                                                                                                         impact and energy requirements’’ in                       In determining which adequately
                                                 removed through the system of emission                                                                         demonstrated system of emission
                                                 reduction. See, e.g., 81 FR 35824 (June                 determining the BSER. Non-air quality
                                                                                                         health and environmental impacts may                   reduction is the ‘‘best,’’ the EPA has
                                                 3, 2016) (NSPS for GHG and VOC                                                                                 broad discretion. In AEP v. Connecticut,
                                                 emissions for the oil and natural gas                   include the impacts of the disposal of
                                                                                                         byproducts of the air pollution controls,              564 U.S. 410, 427 (2011), the Supreme
                                                 source category); 71 FR 9866, 9870                                                                             Court explained that under CAA section
                                                 (February 27, 2006) (NSPS for NOX, SO2,                 or requirements of the air pollution
                                                                                                         control equipment for water. Portland                  111, ‘‘[t]he appropriate amount of
                                                 and PM emissions from fossil fuel-fired                                                                        regulation in any particular greenhouse
                                                 electric utility steam generating units);               Cement Ass’n v. Ruckelshaus, 465 F.2d
                                                                                                         375, 387–88 (D.C. Cir. 1973), cert.                    gas-producing sector cannot be
                                                 61 FR 9905, 9910 (March 12, 1996)                                                                              prescribed in a vacuum: . . . informed
                                                 (NSPS and emission guidelines for                       denied, 417 U.S. 921 (1974). Energy
                                                                                                         requirements may include the impact, if                assessment of competing interests is
                                                 nonmethane organic compounds and                                                                               required. Along with the environmental
                                                 landfill gas from new and existing                      any, of the air pollution controls on the
                                                                                                         source’s own energy needs.                             benefit potentially achievable, our
                                                 municipal solid waste landfills); 50 FR                                                                        Nation’s energy needs and the
                                                 40158 (October 1, 1985) (NSPS for SO2                   e. Sector or Nationwide Component of                   possibility of economic disruption must
                                                 emissions from sweetening and sulfur                    Factors in Determining the BSER                        weigh in the balance. The Clean Air Act
                                                 recovery units in natural gas processing                                                                       entrusts such complex balancing to the
                                                                                                           Another component of the D.C.
                                                                                                                                                                EPA in the first instance, in
                                                 prevent new air pollution problems, and toward          Circuit’s interpretations of CAA section
                                                                                                                                                                combination with state regulators. Each
                                                 that end, maximum feasible control of new sources       111 is that the EPA may consider the
                                                 at the time of their construction is seen by the                                                               ‘‘standard of performance’’ the EPA sets
                                                                                                         various factors it is required to consider
                                                 committee as the most effective and, in the long                                                               must ‘‘tak[e] into account the cost of
                                                                                                         on a national or regional level and over
                                                 run, the least expensive approach.                                                                             achieving [emissions] reduction and any
                                                    S. Comm. Rep. No. 91–1196 at 16.                     time, and not only on a plant-specific
                                                                                                                                                                nonair quality health and environmental
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                                                    233 Sierra Club v. Costle, 657 F.2d 298, 343 (D.C.   level at the time of the rulemaking.237
                                                                                                                                                                impact and energy requirements.’’
                                                 Cir. 1981).                                             The D.C. Circuit based this                            (paragraphing revised; citations
                                                    234 Id. (EPA’s conclusion that the high cost of
                                                                                                         interpretation—which it made in the                    omitted)).
                                                 control was acceptable was ‘‘a judgment call with       1981 Sierra Club v. Costle case
                                                 which we are not inclined to quarrel’’).
                                                    235 1977 House Committee Report at 184.              regarding the NSPS for new power                         238 Sierra Club v. Costle, 657 F.2d at 331 (citations
                                                    236 The costs for these standards were described                                                            omitted) (citing legislative history).
                                                 in the rulemakings. See 36 FR 24876 (December 23,         237 See 79 FR 1430, 1465 (January 8, 2014) (citing     239 Sierra Club v. Costle, 657 F.2d at 327–28

                                                 1971), 37 FR 5769 (March 21, 1972).                     Sierra Club v. Costle, 657 F.2d at 351).               (quoting 44 FR 33583–84; June 11, 1979).



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                                                   Likewise, in Sierra Club v. Costle, 657                 Ruckelshaus, 486 F.2d 375 (D.C. Cir.                 below other factors that the D.C. Circuit
                                                 F.2d 298 (D.C. Cir. 1981), the court                      1973), the D.C. Circuit held that under              has held the EPA should account for in
                                                 explained that ‘‘section 111(a) explicitly                CAA section 111(a)(1) as it read prior to            determining what system is the ‘‘best.’’
                                                 instructs the EPA to balance multiple                     the enactment of the 1977 CAA
                                                                                                                                                                g. Amount of Emissions Reductions
                                                 concerns when promulgating a                              Amendments that added a requirement
                                                 NSPS,’’ 240 and emphasized that ‘‘[t]he                   that the EPA take account of non-air                    Consideration of the amount of
                                                 text gives the EPA broad discretion to                    quality environmental impacts, the EPA               emissions from the category of sources
                                                 weigh different factors in setting the                    must consider ‘‘counter-productive                   or the amount of emission reductions
                                                 standard,’’ including the amount of                       environmental effects’’ in Determining               achieved as factors the EPA must
                                                 emission reductions, the cost of the                      the BSER. Id. at 385. The court                      consider in determining the ‘‘best
                                                 controls, and the non-air quality                         elaborated: ‘‘The standard of the ‘best              system of emission reduction’’ is
                                                 environmental impacts and energy                          system’ is comprehensive, and we                     implicit in the plain language of CAA
                                                 requirements.241 And in Lignite Energy                    cannot imagine that Congress intended                section 111(a)(1)—the EPA must choose
                                                 Council v. EPA, 198 F.3d 930 (D.C. Cir.                   that ‘best’ could apply to a system                  the best system of emission reduction.
                                                 1999), the court reiterated:                              which did more damage to water than                  Indeed, consistent with this plain
                                                    Because section 111 does not set forth the             it prevented to air.’’ Id., n.42. In Sierra          language and the purpose of CAA
                                                 weight that should be assigned to each of                 Club v. Costle, 657 F.2d at 326, 346–47,             section 111, the EPA must consider the
                                                 these factors, we have granted the agency a               the court added that the EPA must                    quantity of emissions at issue. See
                                                 great degree of discretion in balancing them              consider the amount of emission                      Sierra Club v. Costle, 657 F.2d 298, 326
                                                 . . . . EPA’s choice [of the ‘best system’] will          reductions and technology advancement                (D.C. Cir. 1981) (‘‘we can think of no
                                                 be sustained unless the environmental or                  in determining BSER, as discussed in                 sensible interpretation of the statutory
                                                 economic costs of using the technology are                section V.C.2.g of this preamble.                    words ‘‘best . . . system’’ which would
                                                 exorbitant . . . . EPA [has] considerable
                                                                                                              The court’s view that ‘‘best’’ includes           not incorporate the amount of air
                                                 discretion under section 111.242
                                                                                                           additional factors that further the                  pollution as a relevant factor to be
                                                    Importantly, the courts recognize that                 purpose of CAA section 111 is a                      weighed when determining the optimal
                                                 the EPA must consider several factors                     reasonable interpretation of that term in            standard for controlling . . .
                                                 and that determining what is ‘‘best’’                     its statutory context. The purpose of                emissions’’).244 The fact that the
                                                 depends on how much weight to give                        CAA section 111 is to reduce emissions               purpose of a ‘‘system of emission
                                                 the factors. In promulgating certain                      of air pollutants that endanger public               reduction’’ is to reduce emissions, and
                                                 standards of performance, the EPA may                     health or welfare. CAA section                       that the term itself explicitly
                                                 give greater weight to particular factors                 111(b)(1)(A). The court reasonably                   incorporates the concept of reducing
                                                 than it does in promulgating other                        surmised that the EPA’s determination                emissions, supports the court’s view
                                                 standards of performance. Thus, the                       of whether a system of emission                      that in determining whether a ‘‘system
                                                 determination of what is ‘‘best’’ is                      reduction that reduced certain air                   of emission reduction’’ is the ‘‘best,’’ the
                                                 complex and necessarily requires an                       pollutants is ‘‘best’’ should be informed            EPA must consider the amount of
                                                 exercise of judgment. By analogy, the                     by impacts that the system may have on               emission reductions that the system
                                                 question of who is the ‘‘best’’ sprinter in               other pollutants that affect public or               would yield. Even if the EPA were not
                                                 the 100-meter dash primarily depends                      welfare. Portland Cement Ass’n, 486                  required to consider the amount of
                                                 on only one criterion—speed—and                           F.2d at 385. The Supreme Court                       emission reductions, the EPA has the
                                                 therefore is relatively straightforward,                  confirmed the D.C. Circuit’s approach in             discretion to do so, on grounds that
                                                 whereas the question of who is the                        Michigan v. EPA, 576 U.S. 743 (2015),                either the term ‘‘system of emission
                                                 ‘‘best’’ baseball player depends on a                     explaining that administrative agencies              reduction’’ or the term ‘‘best’’ may
                                                 more complex weighing of multiple                         must engage in ‘‘reasoned                            reasonably be read to allow that
                                                 criteria and therefore requires a greater                 decisionmaking’’ that, in the case of                discretion.
                                                 exercise of judgment.                                     pollution control, cannot be based on
                                                    The term ‘‘best’’ also authorizes the                  technologies that ‘‘do even more damage              h. Expanded Use and Development of
                                                 EPA to consider factors in addition to                    to human health’’ than the emissions                 Technology
                                                 the ones enumerated in CAA section                        they eliminate. Id. at 751–52. After                   The D.C. Circuit has long held that
                                                 111(a)(1), that further the purpose of the                Portland Cement Ass’n, Congress                      Congress intended for CAA section 111
                                                 statute. In Portland Cement Ass’n v.                      revised CAA section 111(a)(1) to make
                                                                                                           explicit that in determining whether a               gas-driven controllers in the oil and natural gas
                                                   240 Sierra Club v. Costle, 657 F.2d at 319.
                                                                                                           system of emission reduction is the                  sector on the basis of, among other things, impacts
                                                    241 Sierra Club v. Costle, 657 F.2d at 321; see also                                                        on emissions of criteria pollutants). In this
                                                 New York v. Reilly, 969 F.2d at 1150 (because
                                                                                                           ‘‘best,’’ the EPA should account for non-            preamble, for convenience, the EPA generally
                                                 Congress did not assign the specific weight the           air quality health and environmental                 discusses the effects of controls on non-GHG air
                                                 Administrator should assign to the statutory              impacts. By the same token, the EPA                  pollutants along with the effects of controls on non-
                                                 elements, ‘‘the Administrator is free to exercise         takes the position that in determining               air quality health and environmental impacts.
                                                 [her] discretion’’ in promulgating an NSPS).                                                                      244 Sierra Club v. Costle, 657 F.2d 298 (D.C. Cir.
                                                    242 Lignite Energy Council, 198 F.3d at 933
                                                                                                           whether a system of emission reduction
                                                                                                                                                                1981) was governed by the 1977 CAAA version of
                                                 (paragraphing revised for convenience). See New           is the ‘‘best,’’ the EPA may account for             the definition of ‘‘standard of performance,’’ which
                                                 York v. Reilly, 969 F.2d 1147, 1150 (D.C. Cir. 1992)      the impacts of the system on air                     revised the phrase ‘‘best system of emission
                                                 (‘‘Because Congress did not assign the specific           pollutants other than the ones that are              reduction’’ to read, ‘‘best technological system of
                                                 weight the Administrator should accord each of            the subject of the CAA section 111                   continuous emission reduction.’’ As noted above,
                                                 these factors, the Administrator is free to exercise                                                           the 1990 CAAA deleted ‘‘technological’’ and
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                                                 his discretion in this area.’’); see also NRDC v. EPA,    regulation.243 We discuss immediately                ‘‘continuous’’ and thereby returned the phrase to
                                                 25 F.3d 1063, 1071 (D.C. Cir. 1994) (The EPA did                                                               how it read under the 1970 CAAA. The court’s
                                                 not err in its final balancing because ‘‘neither RCRA       243 See generally Standards of Performance for     interpretation of the 1977 CAAA phrase in Sierra
                                                 nor EPA’s regulations purports to assign any              New, Reconstructed, and Modified Sources and         Club v. Costle to require consideration of the
                                                 particular weight to the factors listed in subsection     Emissions Guidelines for Existing Sources: Oil and   amount of air emissions focused on the term ‘‘best,’’
                                                 (a)(3). That being the case, the Administrator was        Natural Gas Sector Climate Review—Supplemental       and the terms ‘‘technological’’ and ‘‘continuous’’
                                                 free to emphasize or deemphasize particular factors,      Notice of Proposed Rulemaking, 87 FR 74765           were irrelevant to its analysis. It thus remains valid
                                                 constrained only by the requirements of reasoned          (December 6, 2022) (proposing the BSER for           for the 1990 CAAA phrase ‘‘best system of emission
                                                 agency decisionmaking.’’).                                reducing methane and VOC emissions from natural      reduction.’’



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                                                 to create incentives for new technology                 standard of performance is ‘‘achievable’’                application of the BSER. See West
                                                 and therefore that the EPA is required                  if a technology can reasonably be                        Virginia v. EPA, 597 U.S. at 710.254
                                                 to consider technological innovation as                 projected to be available to an                            The EPA has promulgated emission
                                                 one of the factors in determining the                   individual source at the time it is                      guidelines on the basis that the existing
                                                 ‘‘best system of emission reduction.’’                  constructed that will allow it to meet                   sources can achieve the degree of
                                                 See Sierra Club v. Costle, 657 F.2d at                  the standard.250 Moreover, according to                  emission limitation described therein,
                                                 346–47. The court has grounded its                      the court, ‘‘[a]n achievable standard is                 even though under the RULOF
                                                 reading in the statutory text of CAA                    one which is within the realm of the                     provision of CAA section 111(d)(1), the
                                                 111(a)(1), defining the term ‘‘standard of              adequately demonstrated system’s                         state retains discretion to apply
                                                 performance.’’ 245 In addition, the                     efficiency and which, while not at a                     standards of performance to individual
                                                 court’s interpretation finds support in                 level that is purely theoretical or                      sources that are less stringent, which
                                                 the legislative history.246 The legislative             experimental, need not necessarily be                    indicates that Congress recognized that
                                                 history identifies three different ways                 routinely achieved within the industry                   the EPA may promulgate emission
                                                 that Congress designed CAA section 111                  prior to its adoption.’’ 251 To be                       guidelines that are consistent with CAA
                                                 to authorize standards of performance                   achievable, a standard ‘‘must be capable                 section 111(d) even though certain
                                                 that promote technological                              of being met under most adverse                          individual sources may not be able to
                                                 improvement: (1) The development of                     conditions which can reasonably be                       achieve the degree of emission
                                                 technology that may be treated as the                   expected to recur and which are not or                   limitation identified therein by applying
                                                 ‘‘best system of emission reduction . . .               cannot be taken into account in                          the controls that the EPA determined to
                                                 adequately demonstrated;’’ under CAA                    determining the ‘costs’ of                               be the BSER. Note further that this
                                                 section 111(a)(1); 247 (2) the expanded                 compliance.’’ 252 To show a standard is                  requirement that the emission limitation
                                                 use of the best demonstrated                            achievable, the EPA must ‘‘(1) identify                  be ‘‘achievable’’ based on the ‘‘best
                                                 technology; 248 and (3) the development                 variable conditions that might                           system of emission reduction . . .
                                                 of emerging technology.249 Even if the                  contribute to the amount of expected                     adequately demonstrated’’ indicates that
                                                 EPA were not required to consider                       emissions, and (2) establish that the test               the technology or other measures that
                                                 technological innovation as part of its                 data relied on by the agency are                         the EPA identifies as the BSER must be
                                                 determination of the BSER, it would be                  representative of potential industry-                    technically feasible.
                                                 reasonable for the EPA to consider it                   wide performance, given the range of                     3. EPA Promulgation of Emission
                                                 because technological innovation may                    variables that affect the achievability of               Guidelines for States To Establish
                                                 be considered an element of the term                    the standard.’’ 253                                      Standards of Performance
                                                 ‘‘best,’’ particularly in light of                         Although the courts have established
                                                 Congress’s emphasis on technological                    these standards for achievability in                        CAA section 111(d)(1) directs the EPA
                                                 innovation.                                             cases concerning CAA section 111(b)                      to promulgate regulations establishing a
                                                                                                         new source standards of performance,                     procedure similar to that provided by
                                                 i. Achievability of the Degree of                       generally comparable standards for                       CAA section 110 under which states
                                                 Emission Limitation                                     achievability should apply under CAA                     submit state plans that establish
                                                    For new sources, CAA section                         section 111(d), although the BSER may                    ‘‘standards of performance’’ for
                                                 111(b)(1)(B) and (a)(1) provides that the               differ in some cases as between new and                  emissions of certain air pollutants from
                                                 EPA must establish ‘‘standards of                       existing sources due to, for example,                    sources which, if they were new
                                                 performance,’’ which are standards for                  higher costs of retrofit. 40 FR 53340                    sources, would be regulated under CAA
                                                 emissions that reflect the degree of                    (November 17, 1975). For existing                        section 111(b), and that provide for the
                                                 emission limitation that is ‘‘achievable’’              sources, CAA section 111(d)(1) requires                  implementation and enforcement of
                                                 through the application of the BSER. A                  the EPA to establish requirements for                    such standards of performance. The
                                                                                                         state plans that, in turn, must include                  term ‘‘standard of performance’’ is
                                                    245 Sierra Club v. Costle, 657 F.2d at 346 (‘‘Our
                                                                                                         ‘‘standards of performance.’’ As the                     defined under CAA section 111(a)(1),
                                                 interpretation of section 111(a) is that the mandated
                                                                                                         Supreme Court has recognized, this                       quoted above. Thus, CAA sections
                                                 balancing of cost, energy, and non-air quality health                                                            111(a)(1) and (d)(1) collectively require
                                                 and environmental factors embraces consideration        provision requires the EPA to
                                                 of technological innovation as part of that balance.    promulgate emission guidelines that                      the EPA to determine the degree of
                                                 The statutory factors which EPA must weigh are          determine the BSER for a source                          emission limitation achievable through
                                                 broadly defined and include within their ambit
                                                                                                         category and then identify the degree of                 application of the BSER to existing
                                                 subfactors such as technological innovation.’’).                                                                 sources and to establish regulations
                                                    246 See S. Rep. No. 91–1196 at 16 (1970)             emission limitation achievable by
                                                 (‘‘Standards of performance should provide an
                                                                                                                                                                  under which states establish standards
                                                 incentive for industries to work toward constant           250 Sierra Club v. Costle, 657 F.2d 298, 364, n.276   of performance reflecting that degree of
                                                 improvement in techniques for preventing and            (D.C. Cir. 1981).                                        emission limitation. The EPA addresses
                                                 controlling emissions from stationary sources’’); S.       251 Essex Chem. Corp. v. Ruckelshaus, 486 F.2d
                                                                                                                                                                  both responsibilities through its
                                                 Rep. No. 95–127 at 17 (1977) (cited in Sierra Club      427, 433–34 (D.C. Cir. 1973), cert. denied, 416 U.S.
                                                 v. Costle, 657 F.2d at 346 n.174) (‘‘The section 111
                                                                                                                                                                  emission guidelines, as well as through
                                                                                                         969 (1974).
                                                 Standards of Performance . . . sought to assure the        252 Nat’l Lime Ass’n v. EPA, 627 F.2d 416, 433,
                                                                                                                                                                  its general implementing regulations for
                                                 use of available technology and to stimulate the        n.46 (D.C. Cir. 1980).                                   CAA section 111(d). Consistent with the
                                                 development of new technology’’).                          253 Sierra Club v. Costle, 657 F.2d 298, 377 (D.C.    statutory requirements, the general
                                                    247 Portland Cement Ass’n v. Ruckelshaus, 486
                                                                                                         Cir. 1981) (citing Nat’l Lime Ass’n v. EPA, 627 F.2d     implementing regulations require that
                                                 F.2d 375, 391 (D.C. Cir. 1973) (the best system of      416 (D.C. Cir. 1980). In considering the
                                                 emission reduction must ‘‘look[ ] toward what may                                                                the EPA’s emission guidelines reflect—
                                                                                                         representativeness of the source tested, the EPA
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                                                 fairly be projected for the regulated future, rather    may consider such variables as the ‘‘ ‘feedstock,        the degree of emission limitation achievable
                                                 than the state of the art at present’’).                operation, size and age’ of the source.’’ Nat’l Lime     through the application of the best system of
                                                    248 1970 Senate Committee Report No. 91–1196 at
                                                                                                         Ass’n v. EPA, 627 F.2d 416, 433 (D.C. Cir. 1980).        emission reduction which (taking into
                                                 15 (‘‘The maximum use of available means of             Moreover, it may be sufficient to ‘‘generalize from      account the cost of such reduction and any
                                                 preventing and controlling air pollution is essential   a sample of one when one is the only available           non-air quality health and environmental
                                                 to the elimination of new pollution problems’’).        sample, or when that one is shown to be
                                                    249 Sierra Club v. Costle, 657 F.2d at 351           representative of the regulated industry along
                                                 (upholding a standard of performance designed to        relevant parameters.’’ Nat’l Lime Ass’n v. EPA, 627
                                                 promote the use of an emerging technology).             F.2d 416, 434, n.52 (D.C. Cir. 1980).                     254 40 CFR 60.21(e), 60.21a(e).




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                                                 impact and energy requirements) the                     To apply a less stringent standard of             the suite of HRI set forth in the ACE
                                                 Administrator has determined has been                   performance or longer compliance                  Rule provide negligible CO2 reductions
                                                 adequately demonstrated from designated                 schedule, the state must demonstrate              at best and, in many cases, may increase
                                                 facilities.255
                                                                                                         with respect to each facility (or class of        CO2 emissions because of the ‘‘rebound
                                                    Following the EPA’s promulgation of                  such facilities), that the facility cannot        effect,’’ as explained in section
                                                 emission guidelines, each state must                    reasonably achieve the degree of                  VII.D.4.a.iii of this preamble. These
                                                 establish standards of performance for                  emission limitation determined by the             concerns, along with the EPA’s
                                                 its existing sources, which the EPA’s                   EPA based on unreasonable cost of                 experience in implementing the ACE
                                                 regulations call ‘‘designated                           control resulting from plant age,                 Rule, cast doubt that the ACE Rule
                                                 facilities.’’ 256 Such standards of                     location, or basic process design;                would achieve emission reductions and
                                                 performance must reflect the degree of                  physical impossibility or technical               increase the likelihood that the ACE
                                                 emission limitation achievable through                  infeasibility of installing necessary             Rule could make CO2 pollution worse.
                                                 application of the best system of                       control equipment; or other                       As a result, the EPA has determined it
                                                 emission reduction as determined by                     circumstances specific to the facility. In        is appropriate to repeal the rule, and to
                                                 the EPA, which the Agency may express                   doing so, the state must demonstrate              reevaluate whether other technologies
                                                 as a presumptive standard of                            that there are fundamental differences            constitute the BSER.
                                                 performance in the applicable emission                  between the information specific to a                Second, even assuming the ACE
                                                 guidelines.                                             facility (or class of such facilities) and        Rule’s rejection of CCS and natural gas
                                                    While the standards of performance                   the information the EPA considered in             co-firing was supported at the time, the
                                                 that states establish in their plans must               determining the degree of emission                ACE Rule’s rationale for rejecting CCS
                                                 generally be no less stringent than the                 limitation achievable through                     and natural gas co-firing as the BSER no
                                                 degree of emission limitation                           application of the BSER or the                    longer applies because of new factual
                                                 determined by the EPA,257 CAA section                   compliance schedule that make                     developments. Since the ACE Rule was
                                                 111(d)(1) also requires that the EPA’s                  achieving such degree of emission                 promulgated, changes in the power
                                                 regulations ‘‘permit the State in                       reduction or meeting such compliance              industry, developments in the costs of
                                                 applying a standard of performance to                   schedule unreasonable for that facility.          controls, and new federal subsidies have
                                                 any particular source . . . to take into                   In addition, under CAA section 116,            made other controls more broadly
                                                 consideration, among other factors, the                 states may establish standard of                  available and less expensive.
                                                 remaining useful life of the existing                   performances that are more stringent              Considering these developments, the
                                                 source to which such standard applies.’’                than the presumptive standards of                 EPA has determined that co-firing with
                                                 Consistent with this statutory direction,               performance contained in the EPA’s                natural gas and CCS are the BSER for
                                                 the EPA’s general implementing                          emission guidelines.258 The state must            certain subcategories of sources as
                                                 regulations for CAA section 111(d)                      include the standards of performance in           described in section VII.C of this
                                                 provide a framework for states’                         their state plans and submit the plans to         preamble, and that the HRI technologies
                                                 consideration of remaining useful life                  the EPA for review according to the               adopted by the ACE Rule are not the
                                                 and other factors (referred to as                       procedures established in the Agency’s            BSER. Thus, repeal of the ACE Rule is
                                                 ‘‘RULOF’’) when applying a standard of                  general implementing regulations for              proper on this ground as well.
                                                 performance to a particular source. In                  CAA section 111(d).259 Under CAA                     Third, the EPA concludes that the
                                                 November 2023, the EPA finalized                        section 111(d)(2)(A), the EPA approves            ACE Rule conflicted with CAA section
                                                 clarifications to its regulations                       state plans that are determined to be             111 and the EPA’s implementing
                                                 governing states’ consideration of                      ‘‘satisfactory.’’ CAA section 111(d)(2)(A)        regulations because it did not
                                                 RULOF to apply less stringent standards                 also gives the Agency ‘‘the same                  specifically identify the BSER or the
                                                 of performance to particular existing                   authority’’ as under CAA section 110(c)           ‘‘degree of emission limitation
                                                 sources. As amended, these regulations                  to promulgate a Federal plan in cases             achievable though application of the
                                                 provide that states may apply a standard                where a state fails to submit a                   [BSER].’’ Instead, the ACE Rule
                                                 of performance to a particular                          satisfactory state plan.                          described only a broad range of values
                                                 designated facility that is less stringent                                                                as the ‘‘degree of emission limitation
                                                                                                         VI. ACE Rule Repeal                               achievable.’’ In doing so, the rule did
                                                 than, or has a longer compliance
                                                 schedule than, otherwise required by                      The EPA is finalizing repeal of the             not provide the states with adequate
                                                 the applicable emission guideline taking                ACE Rule. The EPA proposed to repeal              guidance on the degree of emission
                                                 into consideration that facility’s                      the ACE Rule and did not receive                  limitation that must be reflected in the
                                                 remaining useful life and other factors.                significant comments objecting to the             standards of performance so that a state
                                                                                                         proposal. The EPA is finalizing the               plan would be approvable by the EPA.
                                                   255 40 CFR 60.21a(e).                                 proposal largely as proposed. A general           The ACE Rule is repealed for this reason
                                                   256 40 CFR 60.21a(b), 60.24a(b).                      summary of the ACE Rule, including its            also.
                                                    257 As the Supreme Court explained in West           regulatory and judicial history, is
                                                 Virginia v. EPA, ‘‘Although the States set the actual                                                     A. Summary of Selected Features of the
                                                                                                         included in section V.B.4 of this
                                                 rules governing existing power plants, EPA itself                                                         ACE Rule
                                                 still retains the primary regulatory role in Section
                                                                                                         preamble. The EPA repeals the ACE
                                                 111(d).’’ 597 U.S. at 710. The Court elaborated that    Rule on three grounds that each                     The ACE Rule determined that the
                                                 ‘‘[t]he Agency, not the States, decides the amount      independently justify the rule’s repeal.          BSER for coal-fired EGUs was a ‘‘list of
                                                 of pollution reduction that must ultimately be            First, as a policy matter, the EPA              ‘candidate technologies,’ ’’ consisting of
                                                 achieved. It does so by again determining, as when                                                        seven types of the ‘‘most impactful HRI
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                                                 setting the new source rules, ‘the best system of
                                                                                                         concludes that the suite of heat rate
                                                 emission reduction . . . that has been adequately       improvements (HRI) the ACE Rule                   technologies, equipment upgrades, and
                                                 demonstrated for [existing covered] facilities.’ 40     selected as the BSER is not an                    best operating and maintenance
                                                 CFR 60.22(b)(5) (2021); see also 80 FR 64664, and       appropriate BSER for existing coal-fired          practices,’’ (84 FR 32536; July 8, 2019),
                                                 n.1. The States then submit plans containing the                                                          including, among others, ‘‘Boiler Feed
                                                 emissions restrictions that they intend to adopt and
                                                                                                         EGUs. In the EPA’s technical judgment,
                                                 enforce in order not to exceed the permissible level
                                                                                                                                                           Pumps’’ and ‘‘Redesign/Replace
                                                 of pollution established by EPA. See §§ 60.23,           258 40 CFR 60.24a(i).                            Economizer.’’ Id. at 32537 (table 1). The
                                                 60.24; 42 U.S.C. 7411(d)(1).’’ Id.                       259 See generally 40 CFR 60.23a–60.28a.          rule provided a range of improvements


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                                                 in heat rate that each of the seven                     determine whether it is satisfactory.’’ Id.           technologies to their sources, the rule
                                                 ‘‘candidate technologies’’ could achieve                at 32558.                                             would achieve a less-than-1-percent
                                                 if applied to coal-fired EGUs of different                 The ACE Rule projected a very low                  reduction in power-sector CO2
                                                 capacities. For six of the technologies,                level of overall emission reduction if                emissions by 2030.262 The EPA now
                                                 the expected level of improvement in                    states generally applied the set of                   doubts that even these minimal
                                                 heat rate ranged from 0.1–0.4 percent to                candidate technologies to their sources.              reductions would be achieved. The ACE
                                                 1.0–2.9 percent, and for the seventh                    The rule was projected to achieve a less-             Rule’s projected benefits were premised
                                                 technology, ‘‘Improved Operating and                    than-1-percent reduction in power-                    in part on a 2009 technical report by
                                                 Maintenance (O&M) Practices,’’ the                      sector CO2 emissions by 2030.260                      Sargent & Lundy that evaluated the
                                                 range was ‘‘0 to >2%.’’ Id. The ACE Rule                Further, the EPA also projected that it               effects of HRI technologies. In 2023,
                                                 explained that states must review each                  would increase CO2 emissions from                     Sargent & Lundy issued an updated
                                                 of their designated facilities, on either a             power plants in 15 states and the                     report which details that the HRI
                                                 source-by-source or group-of-sources                    District of Columbia because of the                   selected as the BSER in the ACE Rule
                                                 basis, and ‘‘evaluate the applicability of              ‘‘rebound effect’’ as coal-fired sources              would bring fewer emissions reductions
                                                 each of the candidate technologies.’’ Id.               implemented HRI measures and became                   than estimated in 2009. The 2023 report
                                                 at 32550. States were to use the list of                more efficient. This phenomenon is                    concludes that, with few exceptions,
                                                 HRI technologies ‘‘as guidance but will                 explained in more detail in section                   HRI technologies are less effective at
                                                 be expected to conduct unit-specific                    VII.D.4.a.iii of this document.261                    reducing CO2 emissions than assumed
                                                 evaluations of HRI potential, technical                    The ACE Rule considered several                    in 2009. Further reinforcing the
                                                 feasibility, and applicability for each of              other control measures as the BSER,                   conclusion that HRIs would bring few
                                                 the BSER candidate technologies.’’ Id. at               including co-firing with natural gas and              reductions, the 2023 report also
                                                 32538.                                                  CCS, but rejected them. The ACE Rule                  concluded that most sources had
                                                    The ACE Rule emphasized that states                  rejected co-firing with natural gas                   already optimized application of HRIs,
                                                 had ‘‘inherent flexibility’’ in evaluating              primarily on grounds that it was too                  and so there are fewer opportunities to
                                                 candidate technologies with ‘‘a wide                    costly in general. 84 FR 32545 (July 8,               reduce emissions than previously
                                                 range of potential outcomes.’’ Id. at                   2019). The rule also concluded that                   anticipated.263
                                                 32542. The ACE Rule provided that                       generating electricity by co-firing                      Second, for a subset of sources, HRI
                                                 states could conclude that it was not                   natural gas in a utility boiler would be              are likely to cause a ‘‘rebound effect’’
                                                 appropriate to apply some technologies.                 an inefficient use of the gas when                    leading to an increase in GHG emissions
                                                 Id. at 32550. Moreover, if a state decided              compared to combusting it in a                        for those sources. The rebound effect is
                                                 to apply a particular technology to a                   combustion turbine. Id. The ACE Rule                  explained in detail in section
                                                 particular source, the state could                      rejected CCS on grounds that it was too               VII.D.4.a.iii of this preamble. The ACE
                                                 determine the level of heat rate                        costly. Id. at 32548. The rule identified             Rule’s analysis projected that the rule
                                                 improvement from the technology could                   the high capital and operating costs of               would increase CO2 emissions from
                                                 be anywhere within the range that the                   CCS and noted the fact that the IRC                   power plants in 15 states and the
                                                 EPA had identified for that technology,                 section 45Q tax credit, as it then                    District of Columbia. The EPA’s
                                                 or even outside that range. Id. at 32551.               applied, would provide only limited                   modeling projections assumed that,
                                                 The ACE Rule stated that after the state                benefit to sources. Id. at 32548–49.                  consistent with the rule, some sources
                                                 evaluated the technologies and                          B. Developments Undermining ACE                       would impose a small degree of
                                                 calculated the amount of HRI in this                    Rule’s Projected Emission Reductions                  efficiency improvements. The modeling
                                                 way, it should determine the standard of                                                                      showed that, as a consequence of these
                                                 performance 0that the source could                        The EPA’s first basis for repealing the             improvements, the rule would increase
                                                 achieve, Id. at 32550, and then adjust                  ACE Rule is that it is unlikely that—if               absolute emissions at some coal-fired
                                                 that standard further based on the                      implemented—the rule would reduce                     sources as these sources became more
                                                 application of source-specific factors                  emissions, and implementation could                   efficient and displaced lower emitting
                                                 such as remaining useful life. Id. at                   increase CO2 emissions instead. Thus,                 sources like natural gas-fired EGUs.264
                                                 32551.                                                  the EPA concludes that as a matter of                    Even though the ACE Rule was
                                                    The ACE Rule then identified the                     policy it is appropriate to repeal the rule           projected to increase emissions in many
                                                 process by which states had to take                     and evaluate anew whether other                       states, these states were nevertheless
                                                 these actions. States must ‘‘evaluat[e]                 technologies qualify as the BSER.                     obligated under the rule to assemble
                                                 each’’ of the seven candidate                             Two factors, taken together,                        detailed state plans that evaluated
                                                 technologies and provide a summary,                     undermine the ACE Rule’s projected                    available technologies and the
                                                 which ‘‘include[s] an evaluation of the                 emission reductions and create the risk               performance of each existing coal-fired
                                                 . . . degree of emission limitation                     that implementation of the ACE Rule                   power plant, as described in section
                                                 achievable through application of the                   could increase—rather than reduce—                    IX.A of this preamble. For example, the
                                                 technologies.’’ Id. at 32580. Then, the                 CO2 emissions from coal-fired EGUs.                   state was required to analyze the plant’s
                                                 state must provide a variety of                         First, HRI technologies achieve only                  ‘‘annual generation,’’ ‘‘CO2 emissions,’’
                                                 information about each power plant,                     limited GHG emission reductions. The                  ‘‘[f]uel use, fuel price, and carbon
                                                 including, the plant’s ‘‘annual                         ACE Rule projected that if states                     content,’’ ‘‘operation and maintenance
                                                 generation,’’ ‘‘CO2 emissions,’’ ‘‘[f]uel               generally applied the set of candidate
                                                 use, fuel price, and carbon content,’’                                                                          262 ACE Rule RIA 3–11, table 3–3.
                                                                                                           260 ACE Rule RIA 3–11, table 3–3.
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                                                                                                                                                                  263 Sargent and Lundy. Heat Rate Improvement
                                                 ‘‘operation and maintenance costs,’’                      261 The rebound effect becomes evident by           Method Costs and Limitations Memo. Available in
                                                 ‘‘[h]eat rates,’’ ‘‘[e]lectric generating               comparing the results of the ACE Rule IPM runs for    Docket ID No. EPA–HQ–OAR–2023–0072.
                                                 capacity,’’ and the ‘‘timeline for                      the 2018 reference case, EPA, IPM State-Level            264 See EPA, IPM State-Level Emissions: EPAv6
                                                 implementation,’’ among other                           Emissions: EPAv6 November 2018 Reference Case,        November 2018 Reference Case, Document ID No.
                                                 information. Id. at 32581. The EPA                      Document ID No. EPA–HQ–OAR–2017–0355–                 EPA–HQ–OAR–2017–0355–26720 (providing ACE
                                                                                                         26720, and for the ‘‘Illustrative ACE Scenario. IPM   reference case); IPM State-Level Emissions:
                                                 explained that the purpose of this data                 State-Level Emissions: Illustrative ACE Scenario,     Illustrative ACE Scenario, Document ID No. EPA–
                                                 was to allow the Agency to ‘‘adequately                 Document ID No. EPA–HQ–OAR–2017–0355–                 HQ–OAR–2017–0355–26724 (providing illustrative
                                                 and appropriately review the plan to                    26724.                                                scenario).



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                                                 costs,’’ ‘‘[h]eat rates,’’ ‘‘[e]lectric                 with FCC v. Fox Television Stations,          preamble. For medium term units, the
                                                 generating capacity,’’ and the ‘‘timeline               Inc., 556 U.S. 502 (2009). There, the         BSER of 40 percent natural gas co-firing
                                                 for implementation,’’ among other                       Supreme Court explained that an agency        achieves CO2 stack emissions reductions
                                                 information. 84 FR 32581 (July 8, 2019).                issuing a new policy ‘‘need not               of 16 percent, as described in section
                                                 The risk of an increase in emissions                    demonstrate to a court’s satisfaction that    VII.C.2.b.iv of this preamble. Given the
                                                 raises doubts that the HRI for coal-fired               the reasons for the new policy are better     availability of more effective, cost-
                                                 sources satisfies the statutory criteria to             than the reasons for the old one.’’           reasonable technology, the EPA
                                                 constitute the BSER for this category of                Instead, ‘‘it suffices that the new policy    concludes that HRIs are not the BSER
                                                 sources. The core element of the BSER                   is permissible under the statute, that        for all coal-fired EGUs.
                                                 analysis is whether the emission                        there are good reasons for it, and that          The EPA is thus finalizing a new
                                                 reduction technology selected reduces                   the agency believes it to be better, which    policy for coal-fired power plants. This
                                                 emissions. See Essex Chem. Corp. v.                     the conscious change of course                rule applies to those sources that intend
                                                 Ruckelshaus, 486 F.2d 427, 441 (D.C.                    adequately indicates.’’ Id. at 514–16         to operate past January 1, 2032. For
                                                 Cir. 1973) (noting ‘‘counter productive                 (emphasis in original; citation omitted).     sources that intend to cease operations
                                                 environmental effects’’ raises questions                   Along with changes in the anticipated      after January 1, 2032, but before January
                                                 as to whether the BSER selected was in                  reductions from HRI, it makes sense for       1, 2039, the EPA concludes that the
                                                 fact the ‘‘best’’). Moreover, this                      the EPA to reexamine the BSER because         BSER is co-firing 40 percent by volume
                                                 evaluation and the imposition of                        the costs of two control measures, co-        natural gas. The EPA concludes this
                                                 standards of performance was mandated                   firing with natural gas and CCS, have         control measure is appropriate because
                                                 even though the state plan would lead                   fallen for sources with longer-term           it achieves substantial reductions at
                                                 to an increase rather than decrease CO2                 operating horizons. As noted, the ACE         reasonable cost. In addition, the EPA
                                                 emissions. Imposing such an obligation                  Rule rejected natural gas co-firing as the    believes that because a large supply of
                                                 on states under these circumstances was                 BSER on grounds that it was too costly        natural gas is available, devoting part of
                                                 arbitrary.                                              and would lead to inefficient use of          this supply for fuel for a coal-fired
                                                    The EPA’s experience in                              natural gas. But as discussed in section      steam generating unit in place of a
                                                 implementing the ACE Rule reinforces                    VII.C.2.b of this preamble, the costs of      percentage of the coal burned at the unit
                                                 these concerns. After the ACE Rule was                  natural gas co-firing are presently           is an appropriate use of natural gas and
                                                 promulgated, one state drafted a state                  reasonable, and the EPA concludes that        will not adversely impact the energy
                                                 plan that set forth a standard of                       the costs of co-firing 40 percent by          system, as described in section
                                                 performance that allowed the affected                   volume natural gas are cost-effective for     VII.C.2.b.iii(B) of this preamble. For
                                                 source to increase its emission rate. The               existing coal-fired EGUs that intend to       sources that intend to operate past
                                                 draft partial plan would have applied to                operate after January 1, 2032, and cease      January 1, 2039, the EPA concludes that
                                                 one source, the Longview Power, LLC                     operation before January 1, 2039. In          the BSER is CCS with 90 percent
                                                 facility, and would have established a                  addition, changed circumstances—              capture of CO2. The EPA believes that
                                                 standard of performance, based on the                   including that natural gas is available in    this control measure is appropriate
                                                 state’s consideration of the ‘‘candidate                greater amounts, that many coal-fired         because it achieves substantial
                                                 technologies,’’ that was higher (i.e., less             EGUs have begun co-firing with natural        reductions at reasonable cost, as
                                                 stringent) than the source’s historical                 gas or converted wholly to natural-gas,       described in section VII.C.1 of this
                                                 emission rate. Thus, the draft plan                     and that there are fewer coal-fired EGUs      preamble.
                                                 would not have achieved any emission                    in operation—mitigate the concerns the           The EPA is not concluding that HRI
                                                 reductions from the source, and instead                 ACE Rule identified about inefficient         is the BSER for any coal-fired EGUs. As
                                                 would have allowed the source to                        use of natural gas.                           discussed in section VII.D.4.a, the EPA
                                                 increase its emissions, if it had been                     Similarly, the ACE Rule rejected CCS       does not consider HRIs an appropriate
                                                 finalized.265                                           as the BSER on grounds that it was too        BSER for coal-fired EGUs because these
                                                    Because there is doubt that the                      costly. But the costs of CCS have             technologies would achieve few, if any,
                                                 minimal reductions projected by the                     substantially declined, as discussed in       emissions reductions and may increase
                                                 ACE Rule would be achieved, and                         section VII.C.1.a.ii of the preamble,         emissions due to the rebound effect.
                                                 because the rebound effect could lead to                partly because of developments in the         Most importantly, changed
                                                 an increase in emissions for many                       technology that have lowered capital          circumstances show that co-firing
                                                 sources in many states, the EPA                         costs, and partly because the IRA             natural gas and CCS are available at
                                                 concludes that it is appropriate to repeal              extended and increased the IRS section        reasonable cost, and will achieve more
                                                 the ACE Rule and reevaluate the BSER                    45Q tax credit so that it defrays a higher    GHG emissions reductions.
                                                 for this category of sources.                           portion of the costs of CCS.                  Accordingly, the EPA believes that HRI
                                                                                                         Accordingly, for coal-fired EGUs that         do not qualify as the BSER for any coal-
                                                 C. Developments Showing That Other                      will continue to operate past 2039, the       fired EGUs, and that other approaches
                                                 Technologies Are the BSER for This                      EPA concludes that the costs of CCS are       meet the statutory standard. On this
                                                 Source Category                                         reasonable, as described in section           basis, the EPA repeals the ACE Rule.
                                                   Since the promulgation of the ACE                     VII.C.1.a.ii of the preamble.
                                                 Rule in 2019, the factual underpinnings                    The emission reductions from these         D. Insufficiently Precise Degree of
                                                 of the rule have changed in several ways                two technologies are substantial. For         Emission Limitation Achievable From
                                                 and lead the EPA to determine that HRI                  long-term coal-fired steam generating         Application of the BSER
                                                                                                         units, the BSER of 90 percent capture           The third independent reason why
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                                                 are not the BSER for coal-fired power
                                                 plants. This reevaluation is consistent                 CCS results in substantial CO2                the EPA is repealing the ACE Rule is
                                                                                                         emissions reductions amounting to             that the rule did not identify with
                                                   265 West Virginia CAA § 111(d) Partial Plan for       emission rates that are 88.4 percent          sufficient specificity the BSER or the
                                                 Greenhouse Gas Emissions from Existing Electric         lower on a lb/MWh-gross basis and 87.1        degree of emission limitation achievable
                                                 Utility Generating Units (EGUs), https://dep.wv.gov/
                                                 daq/publicnoticeandcomment/Documents/
                                                                                                         percent lower on a lb/MWh-net basis           through the application of the BSER.
                                                 Proposed%20WV%20ACE%20State%20Partial                   compared to units without capture, as         Thus, states lacked adequate guidance
                                                 %20Plan.pdf.                                            described in section VII.C.2.b.iv of this     on the BSER they should consider and


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     level of emission reduction that the                    determining whether the plan is                  The only constraints that the ACE
     standards of performance must achieve.                  ‘‘satisfactory’’ includes that the plan       Rule imposed on the states were
     The ACE Rule determined the BSER to                     must contain ‘‘emission standards . . .       procedural ones, and those did not give
     be a suite of HRI ‘‘candidate                           no less stringent than the corresponding      the EPA any benchmark to determine
     technologies,’’ but did not identify with               emission guideline(s).’’ 40 CFR 60.24(c),     whether a plan could be approved or
     specificity the degree of emission                      40 CFR 60.24a(c). In addition, under          give the states any certainty on whether
     limitation states should apply in                       CAA section 111(d)(1), in ‘‘applying a        their plan would be approved. As noted
     developing standards of performance for                 standard of performance to any                above, when a state submitted its plan,
     their sources. As a result, the ACE Rule                particular source’’ a state may consider,     it needed to show that it evaluated each
     conflicted with CAA section 111 and                     ‘‘among other factors, the remaining          candidate technology for each source or
     the implementing regulations, and thus                  useful life of the existing source to         group of sources, explain how it
     failed to provide states adequate                       which such standard applies.’’ This is        determined the degree of emission
     guidance so that they could ensure that                 also known as the RULOF provision and         limitation achievable, and include data
     their state plans were satisfactory and                 is discussed in section X.C.2 of this         about the sources. But because the ACE
     approvable by the EPA.                                  preamble.                                     Rule did not identify a BSER or include
        CAA section 111 and the EPA’s                           In the ACE Rule, the EPA recognized        a degree of emission limitation that the
     longstanding implementing regulations                   that the CAA required it to determine         standards must reflect, the states lacked
     establish a clear process for the EPA and               the BSER and identify the degree of           specific guidance on how to craft
     states to regulate emissions of certain air             emission limitation achievable through        adequate standards of performance, and
     pollutants from existing sources. ‘‘The                 application of the BSER. 84 FR 32537          the EPA had no benchmark against
     statute directs the EPA to (1)                          (July 8, 2019). But the rule did not make     which to evaluate whether a state’s
     ‘determine[ ],’ taking into account                     those determinations. Rather, the ACE         submission was ‘‘satisfactory’’ under
     various factors, the ‘best system of                    Rule described the BSER as a list of          CAA section 111(d)(2)(A). Thus, the
     emission reduction which . . . has been                 ‘‘candidate technologies.’’ And the rule      EPA’s review of state plans would be
     adequately demonstrated,’ (2) ascertain                 described the degree of emission              essentially a standardless exercise,
     the ‘degree of emission limitation                      limitation achievable by application of       notwithstanding the Agency’s
     achievable through the application’ of                  the BSER as ranges of reductions from         longstanding view that it was
     that system, and (3) impose an                          the HRI technologies. The rule thus           ‘‘essential’’ that ‘‘EPA review . . . [state]
     emissions limit on new stationary                       shifted the responsibility for                plans for their substantive adequacy.’’
     sources that ‘reflects’ that amount.’’                  determining the BSER and degree of            40 FR 53342–43 (November 17, 1975).
     West Virginia v. EPA, 597 U.S. at 709                   emission limitation achievable from the       In 1975, the EPA explained that it was
     (quoting 42 U.S.C. 7411(d)). Further,                   EPA to the states. Accordingly, the ACE       not appropriate to limit its review based
     ‘‘[a]lthough the States set the actual                  Rule did not meet the CAA section 111         ‘‘solely on procedural criteria’’ because
     rules governing existing power plants,                  requirement that the EPA determine the        otherwise ‘‘states could set extremely
     EPA itself still retains the primary                    BSER or the degree of emission                lenient standards . . . so long as EPA’s
     regulatory role in Section 111(d) . . .                 limitation from application of the BSER.      procedural requirements were met.’’ Id.
     [and] decides the amount of pollution                      As described above, the ACE Rule           at 53343.
     reduction that must ultimately be                       identified the HRI in the form of a list         Finally, the ACE Rule’s approach to
     achieved.’’ Id. at 2602.                                of seven ‘‘candidate technologies,’’          determining the BSER and degree of
        Once the EPA makes these                             accompanied by a wide range of                emission limitation departed from prior
     determinations, the state must establish                percentage improvements to heat rate          emission guidelines under CAA section
     ‘‘standards of performance’’ for its                    that these technologies could provide.        111(d), in which the EPA included a
     sources that are based on the degree of                 Indeed, for one of them, improved             numeric degree of emission limitation.
     emission limitation that the EPA                        ‘‘O&M’’ practices (that is, operation and     See, e.g., 42 FR 55796, 55797 (October
     determines in the emission guidelines.                  management practices), the range was          18, 1977) (limiting emission rate of acid
     CAA section 111(a)(1) makes this clear                  ‘‘0 to >2%,’’ which is effectively            mist from sulfuric acid plants to 0.25
     through its definition of ‘‘standard of                 unbounded. 84 FR 32537 (table 1) (July        grams per kilogram of acid); 44 FR
     performance’’ as ‘‘a standard for                       8, 2019). The ACE Rule was clear that         29829 (May 22, 1979) (limiting
     emissions of air pollutants which                       this list was simply the starting point for   concentrations of total reduced sulfur
     reflects the degree of emission                         a state to calculate the standards of         from most of the subcategories of kraft
     limitation achievable through the                       performance for its sources. That is, the     pulp mills, such as digester systems and
     application of the [BSER].’’ After the                  seven sets of technologies were               lime kilns, to 5, 20, or 25 ppm over 12-
     EPA determines the BSER, 40 CFR                         ‘‘candidate[s]’’ that the state could apply   hour averages); 61 FR 9919 (March 12,
     60.22(b)(5), and the degree of emission                 to determine the standard of                  1996) (limiting concentration of non-
     limitation achievable from application                  performance for a source, and if the          methane organic compounds from solid
     of the BSER, ‘‘the States then submit                   state did choose to apply one or more         waste landfills to 20 parts per million by
     plans containing the emissions                          of them, the state could do so in a           volume or a 98 percent reduction). The
     restrictions that they intend to adopt                  manner that yielded any percentage of         ACE Rule did not grapple with this
     and enforce in order not to exceed the                  heat rate improvement within the range        change in position as required by FCC
     permissible level of pollution                          that the EPA identified, or even outside      v. Fox Television Stations, Inc., 556 U.S.
     established by EPA.’’ 597 U.S. at 710                   that range. Thus, as a practical matter,      502 (2009), or explain why it was
     (citing 40 CFR 60.23, 60.24; 42 U.S.C.                  the ACE Rule did not determine the            appropriate to provide a boundless
     7411(d)(1)).                                            BSER or any degree of emission                degree of emission limitation achievable
        The EPA then reviews the plan and                    limitation from application of the BSER,      in this context.
     approves it if the standards of                         and so states had no guidance on how             The EPA is finalizing the repeal the
     performance are ‘‘satisfactory,’’ under                 to craft approvable state plans. In this      ACE Rule on this ground as well. The
     CAA section 111(d)(2)(A). The EPA’s                     way, the ACE Rule did not adhere to the       ACE Rule’s failure to determine the
     longstanding implementing regulations                   applicable statutory obligations. See 84      BSER and the associated degree of
     make clear that the EPA’s basis for                     FR 32537–38 (July 8, 2019).                   emission limitation achievable from


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                                                 application of the BSER deviated from                   EPA expressed in that proposal                 relevant for the suitability of the
                                                 CAA section 111 and the implementing                    preamble.                                      emission controls, the EPA may create
                                                 regulations. Without these                                 Furthermore, in the event that any          separate subcategories and make
                                                 determinations, the ACE Rule lacked                     sources are increasing their absolute          separate BSER determinations for those
                                                 any benchmark that would guide the                      emissions after modifying an EGU,              subcategories.
                                                 states in developing their state plans,                 applicability of the NSR program is               The EPA considered the
                                                 and by which the EPA could determine                    beneficial as a backstop that provides         characteristics of fossil fuel-fired steam
                                                 whether those state plans were                          review of those situations to determine        generating units that may impact the
                                                 satisfactory.                                           if additional controls or other emission       suitability of different control measures.
                                                   For each of these three, independent                  limitations are necessary on a case-by-        First, the EPA observed that the type
                                                 reasons, repeal of the ACE Rule is                      case basis to protect air quality. In          and amounts of fossil fuels—coal, oil,
                                                 proper.                                                 addition, given that considerable time         and natural gas—fired in the steam
                                                                                                         has passed since these EGU-specific            generating unit affect the performance
                                                 E. Withdrawal of Proposed NSR
                                                                                                         NSR applicability revisions were               and emissions reductions achievable by
                                                 Revisions
                                                                                                         proposed in 2018, should the EPA               different control technologies, in part
                                                    In addition to repealing the ACE Rule,               decide to pursue them at a later time, it      due to the differences in the carbon
                                                 the Agency is withdrawing the proposed                  is prudent for the Agency to propose           content of those fuels. The EPA
                                                 revisions to the NSR applicability                      them again at that time, accompanied           recognized that many sources fire
                                                 provisions that were included the ACE                   with the EPA’s updated context and             multiple types of fossil fuel. Therefore,
                                                 Rule proposal (83 FR 44756, 44773–83;                   justification to support re-proposing the      the EPA is finalizing subcategories of
                                                 August 31, 2018). These proposed                        NSR revisions, rather than relying on          coal-fired, oil-fired, and natural gas-
                                                 revisions would have included an                        the proposal from 2018. Therefore, the         fired steam generating units. The EPA is
                                                 hourly emissions rate test to determine                 EPA is withdrawing these proposed              basing these subcategories, in part, on
                                                 NSR applicability for a modified EGU,                   NSR revisions.                                 the amount of fuel combusted by the
                                                 with the expressed purpose of                                                                          steam generating unit.
                                                 alleviating permitting burdens for                      VII. Regulatory Approach for Existing
                                                                                                         Fossil Fuel-Fired Steam Generating                The EPA then considered the BSER
                                                 sources undertaking HRI projects                                                                       that may be suitable for each of those
                                                 pursuant to the ACE Rule emission                       Units
                                                                                                                                                        subcategories of fuel type. For coal-fired
                                                 guidelines. The ACE Rule final action                     Existing fossil fuel-fired steam             steam generating units, of the available
                                                 did not include the NSR revisions, and                  generation units are the largest               control technologies, the EPA is
                                                 the EPA indicated in that preamble that                 stationary source of CO2 emissions,            determining that CCS with 90 percent
                                                 it intended to take final action on the                 emitting 909 MMT CO2e in 2021. Recent          capture of CO2 meets the requirements
                                                 NSR proposal in a separate action at a                  developments in control technologies           for BSER, including being adequately
                                                 later date. However, the EPA did not                    offer opportunities to reduce CO2              demonstrated and achieving significant
                                                 take a final action on the NSR revisions,               emissions from these sources. The              emission reductions at reasonable cost
                                                 and the EPA has decided to no longer                    EPA’s regulatory approach for these            for units operating in the long-term, as
                                                 pursue them and to withdraw the                         units is to require emissions reduction        detailed in section VII.C.1.a of this
                                                 proposed revisions.                                     consistent with these technologies,            preamble. Application of this BSER
                                                    Withdrawal of the proposal to                        where their use is cost-reasonable.            results in a degree of emission
                                                 establish an hourly emissions test for                                                                 limitation equivalent to an 88.4 percent
                                                 NSR applicability for EGUs is                           A. Overview
                                                                                                                                                        reduction in emission rate (lb CO2/
                                                 appropriate because of the repeal of the                  In this section of the preamble, the
                                                                                                                                                        MWh-gross). The compliance date for
                                                 ACE rule and the EPA’s conclusion that                  EPA identifies the BSER and degree of
                                                                                                                                                        these sources is January 1, 2032.
                                                 HRI is not the BSER for coal-fired EGUs.                emission limitation achievable for the
                                                                                                                                                           Typically, the EPA assumes that
                                                 The EPA’s basis for proposing the NSR                   regulation of GHG emissions from
                                                                                                                                                        sources subject to controls operate in
                                                 revisions was to ease permitting                        existing fossil fuel-fired steam
                                                                                                                                                        the long-term.266 See, for example, the
                                                 burdens for state agencies and sources                  generating units. As detailed in section
                                                                                                                                                        2015 NSPS (80 FR 64509; October 23,
                                                 that may result from implementing the                   V of this preamble, to meet the
                                                                                                                                                        2015) or the 2011 CSAPR (76 FR 48208;
                                                 ACE Rule. There was concern that, for                   requirements of CAA section 111(d), the
                                                                                                                                                        August 8, 2011). Under that assumption,
                                                 sources that modified their EGU to                      EPA promulgates ‘‘emission guidelines’’
                                                                                                                                                        fleet average costs for CCS are
                                                 improve the heat rate, if a source were                 that identify the BSER and the degree of
                                                                                                                                                        comparable to the cost metrics the EPA
                                                 to be dispatched more frequently                        emission limitation achievable through
                                                                                                                                                        has previously considered to be
                                                 because of improved efficiency (the                     the application of the BSER, and states
                                                                                                                                                        reasonable. However, the EPA observes
                                                 ‘‘rebound effect’’), the source could                   then establish standards of performance
                                                                                                                                                        that about half of the capacity (87 GW
                                                 experience an increase in absolute                      for affected sources that reflect that level
                                                                                                                                                        out of 181 GW) of existing coal-fired
                                                 emissions for one or more pollutants                    of stringency. To determine the BSER
                                                                                                                                                        steam generating units have announced
                                                 and potentially trigger major NSR                       for a source category, the EPA identifies
                                                                                                                                                        plans to permanently cease operation
                                                 requirements. The hourly emissions rate                 systems of emission reduction (e.g.,
                                                                                                                                                        prior to 2039, as detailed in section
                                                 test was proposed to relieve such                       control technologies) that have been
                                                                                                                                                        IV.D.3.b of this preamble, affecting the
                                                 sources that were undertaking HRI                       adequately demonstrated and evaluates
                                                                                                                                                        period available for those sources to
                                                 projects to comply with their state plans               the potential emissions reduction, costs,
                                                                                                                                                        amortize the capital costs of CCS.
                                                 from the burdens of NSR permitting,                     any non-air health and environmental
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                                                 particularly in cases in which a source                 impacts, and energy requirements. As             266 Typically, the EPA assumes that the capital
                                                 has an increase in annual emissions of                  described in section V.C.1 of this             costs can be amortized over a period of 15 years.
                                                 a pollutant. However, given that this                   preamble, the EPA has broad authority          As discussed in section VII.C.1.a.ii of this preamble,
                                                 final rule BSER is not based on HRIs for                to create subcategories under CAA              in the case of CCS, the IRC section 45Q tax credit,
                                                                                                                                                        which defrays a significant portion of the costs of
                                                 coal-fired EGUs, the NSR revisions                      section 111(d). Therefore, where the           CCS, is available for the first 12 years of operation.
                                                 proposed as part of the ACE Rule would                  sources in a category differ from each         Accordingly, EPA generally assumed a 12-year
                                                 no longer serve the purpose that the                    other by some characteristic that is           amortization period in determining CCS costs.



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                                                 Accordingly, the EPA evaluated the                       an amortization period that is                                   subcategories based on capacity factor.
                                                 costs of CCS for different amortization                  significantly shorter than the period for                        Because natural gas- and oil-fired steam
                                                 periods. For an amortization period of                   CCS. The EPA has determined that the                             generating units with similar annual
                                                 more than 7 years—such that sources                      costs of co-firing meet the metrics for                          capacity factors perform similarly to one
                                                 operate after January 1, 2039—                           cost reasonableness for the majority of                          another, the EPA is finalizing a BSER of
                                                 annualized fleet average costs are                       the capacity that permanently cease                              routine methods of operation and
                                                 comparable to or less than the metrics                   operation more than 2 years after the                            maintenance and a degree of emission
                                                 of costs for controls that the EPA has                   January 1, 2030, implementation date,                            limitation of no increase in emission
                                                 previously found to be reasonable.                       or after January 1, 2032 (and up to                              rate for intermediate and base load
                                                 However, the group of sources ceasing                    December 31, 2038), and that therefore                           subcategories. For low load natural gas-
                                                 operation prior to January 1, 2039, have                 have an amortization period of more                              and oil-fired steam generating units, the
                                                 less time available to amortize the                      than 2 years (and up to 9 years).                                EPA is finalizing a BSER of uniform
                                                 capital costs of CCS, resulting in higher                   The EPA is also determining that                              fuels and respective degrees of emission
                                                 annualized costs.                                        sources demonstrating that they plan to                          limitation defined on a heat input basis
                                                    Because the costs of CCS depend on                    permanently cease operation before                               (130 lb CO2/MMBtu and 170 lb CO2/
                                                 the available amortization period, the                   January 1, 2032, are not subject to the                          MMBtu). Furthermore, the EPA is
                                                 EPA is creating a subcategory for                        40 percent co-firing requirement. This is                        finalizing presumptive standards for
                                                 sources demonstrating that they plan to                  because their amortization period would                          natural gas- and oil-fired steam
                                                 permanently cease operation prior to                     be so short—2 years or less—that the                             generating units as follows: base load
                                                 January 1, 2039. Instead, for this                       costs of co-firing would, in general, be                         sources (those with annual capacity
                                                 subcategory of sources, the EPA is                       less comparable to the cost metrics for                          factors greater than 45 percent) have a
                                                 determining that natural gas co-firing at                reasonableness for that group of sources.                        presumptive standard of 1,400 lb CO2/
                                                 40 percent of annual heat input meets                    Accordingly, the EPA is defining the                             MWh-gross, intermediate load sources
                                                 the requirements of BSER. Application                    medium-term subcategory to include                               (those with annual capacity factors
                                                 of the natural gas co-firing BSER results                those sources demonstrating that they
                                                 in a degree of emission limitation                                                                                        greater than 8 percent and or less than
                                                                                                          plan to permanently cease operating                              or equal to 45 percent) have a
                                                 equivalent to a 16 percent reduction in                  after December 31, 2031, and before
                                                 emission rate (lb CO2/MWh-gross). Co-                                                                                     presumptive standard of 1,600 lb CO2/
                                                                                                          January 1, 2039.                                                 MWh-gross. For low load oil-fired
                                                 firing at 40 percent entails significantly                  Considering the limited emission
                                                 less control equipment and                                                                                                sources, the EPA is finalizing a
                                                                                                          reductions available in light of the cost
                                                 infrastructure than CCS, and as a result,                                                                                 presumptive standard of 170 lb CO2/
                                                                                                          reasonableness of controls with short
                                                 the EPA has determined that affected                                                                                      MMBtu, while for low load natural gas-
                                                                                                          amortization periods, the EPA is
                                                 sources are able to implement it more                    finalizing an applicability exemption for                        fired sources the EPA is finalizing a
                                                 quickly than CCS, by January 1, 2030.                    coal-fired steam generating units                                presumptive standard of 130 lb CO2/
                                                 Importantly, co-firing at 40 percent also                demonstrating that they plan to                                  MMBtu. A compliance date of January
                                                 entails significantly less capital cost                  permanently cease operation before                               1, 2030, applies for all natural gas- and
                                                 than CCS, and as a result, the costs of                  January 1, 2032.                                                 oil-fired steam generating units.
                                                 co-firing are comparable to or less than                    For natural gas- and oil-fired steam                             The final subcategories and BSER are
                                                 the metrics for cost reasonableness with                 generating units, the EPA is finalizing                          summarized in table 1 of this document.
                                                   TABLE 1—SUMMARY OF FINAL BSER, SUBCATEGORIES, AND DEGREES OF EMISSION LIMITATION FOR AFFECTED EGUS
                                                                                                                                                                                                           Presumptively
                                                                                                                                                                          Degree of
                                                            Affected                                                                                                                                        approvable
                                                                                         Subcategory definition                        BSER                               emission
                                                             EGUs                                                                                                                                           standard of
                                                                                                                                                                          limitation                       performance *

                                                 Long-term existing coal-fired    Coal-fired steam generating units       CCS with 90 percent cap-              88.4 percent reduction in         88.4 percent reduction in annual
                                                   steam generating units.          that are not medium-term units.        ture of CO2.                           emission rate (lb CO2/            emission rate (lb CO2/MWh-
                                                                                                                                                                  MWh-gross).                       gross) from the unit-specific
                                                                                                                                                                                                    baseline.
                                                 Medium-term existing coal-       Coal-fired steam generating units       Natural gas co-firing at 40           A 16 percent reduction in         A 16 percent reduction in an-
                                                    fired steam generating units.   that have demonstrated that they        percent of the heat input             emission rate (lb CO2/            nual emission rate (lb CO2/
                                                                                    plan to permanently cease oper-         to the unit.                          MWh-gross).                       MWh-gross) from the unit-
                                                                                    ations after December 31, 2031,                                                                                 specific baseline.
                                                                                    and before January 1, 2039.
                                                 Base load existing oil-fired     Oil-fired steam generating units with   Routine methods of oper-              No increase in emission rate      An annual emission rate limit of
                                                    steam generating units.         an annual capacity factor greater       ation and maintenance.                (lb CO2/MWh-gross).               1,400 lb CO2/MWh-gross.
                                                                                    than or equal to 45 percent.
                                                 Intermediate load existing oil- Oil-fired steam generating units with    Routine methods of oper-              No increase in emission rate      An annual emission rate limit of
                                                    fired steam generating units.   an annual capacity factor greater       ation and maintenance.                (lb CO2/MWh-gross).               1,600 lb CO2/MWh-gross.
                                                                                    than or equal to 8 percent and
                                                                                    less than 45 percent.
                                                 Low load existing oil-fired      Oil-fired steam generating units with   lower-emitting fuels ..............   170 lb CO2/MMBtu ..............   170 lb CO2/MMBtu.
                                                    steam generating units.         an annual capacity factor less
                                                                                    than 8 percent.
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                                                 Base load existing natural       Natural gas-fired steam generating      Routine methods of oper-              No increase in emission rate      An annual emission rate limit of
                                                    gas-fired steam generating      units with an annual capacity fac-      ation and maintenance.                (lb CO2/MWh-gross).               1,400 lb CO2/MWh-gross.
                                                    units.                          tor greater than or equal to 45
                                                                                    percent.
                                                 Intermediate load existing nat- Natural gas-fired steam generating       Routine methods of oper-              No increase in emission rate      An annual emission rate limit of
                                                    ural gas-fired steam gener-     units with an annual capacity fac-      ation and maintenance.                (lb CO2/MWh-gross).               1,600 lb CO2/MWh-gross.
                                                    ating units.                    tor greater than or equal to 8 per-
                                                                                    cent and less than 45 percent.




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                                                  TABLE 1—SUMMARY OF FINAL BSER, SUBCATEGORIES, AND DEGREES OF EMISSION LIMITATION FOR AFFECTED EGUS—
                                                                                              Continued
                                                                                                                                                                                                          Presumptively
                                                                                                                                                                          Degree of
                                                            Affected                                                                                                                                       approvable
                                                                                         Subcategory definition                        BSER                               emission
                                                             EGUs                                                                                                                                          standard of
                                                                                                                                                                          limitation                      performance *

                                                 Low load existing natural gas- Oil-fired steam generating units with     lower-emitting fuels ..............   130 lb CO2/MMBtu ..............   130 lb CO2/MMBtu.
                                                   fired steam generating units.  an annual capacity factor less
                                                                                  than 8 percent.
                                                   * Presumptive standards of performance are discussed in detail in section X of the preamble. While states establish standards of performance for sources, the EPA
                                                 provides presumptively approvable standards of performance based on the degree of emission limitation achievable through application of the BSER for each sub-
                                                 category. Inclusion in this table is for completeness.


                                                 B. Applicability Requirements and                        includes that discussion by reference                            either 219,000 MWh or the product of
                                                 Fossil Fuel-Type Definitions for                         here.                                                            the design efficiency and the potential
                                                 Subcategories of Steam Generating                           Section 111(a)(6) of the CAA defines                          electric output, whichever is greater; (5)
                                                 Units                                                    an ‘‘existing source’’ as ‘‘any stationary                       units that serve a generator along with
                                                   In this section of the preamble, the                   source other than a new source.’’                                other affected EGU(s), where the
                                                 EPA describes the rationale for the final                Therefore, the emission guidelines do                            effective generation capacity
                                                 applicability requirements for existing                  not apply to any steam generating units                          (determined based on a prorated output
                                                 fossil fuel-fired steam generating units.                that are new after January 8, 2014, or                           of the base load rating of EGU) is 25 MW
                                                 The EPA also describes the rationale for                 reconstructed after June 18, 2014, the                           or less; (6) municipal waste combustor
                                                 the fuel type definitions and associated                 applicability dates of 40 CFR part 60,                           units subject to 40 CFR part 60, subpart
                                                 subcategories.                                           subpart TTTT. Moreover, because the                              Eb; (7) commercial or industrial solid
                                                                                                          EPA is now finalizing revised standards                          waste incineration units that are subject
                                                 1. Applicability Requirements                            of performance for coal-fired steam                              to 40 CFR part 60, subpart CCCC; (8)
                                                    For the emission guidelines, the EPA                  generating units that undertake a                                EGUs that derive greater than 50 percent
                                                 is finalizing that a designated facility 267             modification, a modified coal-fired                              of the heat input from an industrial
                                                 is any fossil fuel-fired electric utility                steam generating unit would be                                   process that does not produce any
                                                 steam generating unit (i.e., utility boiler              considered ‘‘new,’’ and therefore not                            electrical or mechanical output or useful
                                                 or IGCC unit) that: (1) was in operation                 subject to these emission guidelines, if                         thermal output that is used outside the
                                                 or had commenced construction on or                      the modification occurs after the date                           affected EGU; or (9) coal-fired steam
                                                 before January 8, 2014; 268 (2) serves a                 the proposal was published in the                                generating units that have elected to
                                                 generator capable of selling greater than                Federal Register (May 23, 2023). Any                             permanently cease operation prior to
                                                 25 MW to a utility power distribution                    coal-fired steam generating unit that has                        January 1, 2032.
                                                 system; and (3) has a base load rating                   modified prior to that date would be                                The exemptions listed above at (4),
                                                 greater than 260 GJ/h (250 million                       considered an existing source that is                            (5), (6), and (7) are among the current
                                                 British thermal units per hour (MMBtu/                   subject to these emission guidelines.                            exemptions at 40 CFR 60.5509(b), as
                                                 h)) heat input of fossil fuel (either alone                 In addition, the EPA is finalizing in                         discussed in section VIII.E.1 of this
                                                 or in combination with any other fuel).                  the applicability requirements of the                            preamble. The exemptions listed above
                                                 Consistent with the implementing                         emission guidelines many of the same                             at (2), (3), and (8) are exemptions the
                                                 regulations, the term ‘‘designated                       exemptions as discussed for 40 CFR part                          EPA is finalizing revisions for 40 CFR
                                                 facility’’ is used throughout this                       60, subpart TTTT, in section VIII.E.1 of                         part 60, subpart TTTT, and the rationale
                                                 preamble to refer to the sources affected                this preamble. EGUs that may be                                  for the exemptions is in section VIII.E.1
                                                 by these emission guidelines.269 For the                 excluded from the requirement to                                 of this preamble. For consistency with
                                                 emission guidelines, consistent with                     establish standards under a state plan                           the applicability requirements in 40
                                                 prior CAA section 111 rulemakings                        are: (1) units that are subject to 40 CFR                        CFR part 60, subpart TTTT, and 40 CFR
                                                 concerning EGUs, the term ‘‘designated                   part 60, subpart TTTT, as a result of                            part 60, subpart TTTTa, the Agency is
                                                 facility’’ refers to a single EGU that is                commencing a qualifying modification                             finalizing these same exemptions for the
                                                 affected by these emission guidelines.                   or reconstruction; (2) steam generating                          applicability of the emission guidelines.
                                                 The rationale for the final applicability                units subject to a federally enforceable
                                                 requirements is the same as that for 40                  permit limiting net-electric sales to one-                       2. Coal-Fired Units Permanently Ceasing
                                                 CFR part 60, subpart TTTT (80 FR                         third or less of their potential electric                        Operation Before January 1, 2032
                                                 64543–44; October 23, 2015). The EPA                     output or 219,000 MWh or less on an                                 The EPA is not addressing existing
                                                                                                          annual basis and annual net-electric                             coal-fired steam generating units
                                                    267 The term ‘‘designated facility’’ means ‘‘any      sales have never exceeded one-third or                           demonstrating that they plan to
                                                 existing facility . . . which emits a designated         less of their potential electric output or                       permanently cease operating before
                                                 pollutant and which would be subject to a standard
                                                 of performance for that pollutant if the existing
                                                                                                          219,000 MWh; (3) non-fossil fuel units                           January 1, 2032, in these emission
                                                 facility were an affected facility.’’ See 40 CFR         (i.e., units that are capable of deriving at                     guidelines. Sources ceasing operation
                                                 60.21a(b).                                               least 50 percent of heat input from non-                         before that date have far less emission
                                                    268 Under CAA section 111, the determination of
                                                                                                          fossil fuel at the base load rating) that                        reduction potential than sources that
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                                                 whether a source is a new source or an existing
                                                 source (and thus potentially a designated facility)
                                                                                                          are subject to a federally enforceable                           will be operating longer, because there
                                                 is based on the date that the EPA proposes to            permit limiting fossil fuel use to 10                            are unlikely to be appreciable, cost-
                                                 establish standards of performance for new sources.      percent or less of the annual capacity                           reasonable emission reductions
                                                    269 The EPA recognizes, however, that the word
                                                                                                          factor; (4) combined heat and power                              available on average for the group of
                                                 ‘‘facility’’ is often understood colloquially to refer
                                                 to a single power plant, which may have one or
                                                                                                          (CHP) units that are subject to a                                sources operating in that timeframe.
                                                 more EGUs co-located within the plant’s                  federally enforceable permit limiting                            This is because controls that entail
                                                 boundaries.                                              annual net-electric sales to no more than                        capital expenditures are unlikely to be


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                                                 of reasonable cost for these sources due                system of emission reduction                             EPA determined that a technology-based
                                                 to the relatively short period over which               corresponding to a substantial level of                  BSER was available for coal-fired units
                                                 they could amortize the capital costs of                natural gas co-firing would broadly                      operating past January 1, 2032.
                                                 controls.                                               entail costs of control that are above                      Sources that retire before that date,
                                                   In particular, in developing the                      those that the EPA is generally                          however, are differently situated as
                                                 emission guidelines, the EPA evaluated                  considering reasonable. Sources                          described above. In light of the small
                                                 two systems of emission reduction that                  permanently ceasing operation before                     number of sources that are planning to
                                                 achieve substantial emission reductions                 January 1, 2032 would have less than 2                   retire before January 1, 2032 that could
                                                 for coal-fired steam generating units:                  years to amortize the capital costs, as                  cost-effectively co-fire with natural gas,
                                                 CCS with 90 percent capture; and                        detailed in section VII.C.2.a of this                    coupled with the small amount of
                                                 natural gas co-firing at 40 percent of                  preamble. Compared to the metrics for                    emissions reductions that can be
                                                 heat input. For CCS, the EPA has                        cost reasonableness that EPA has                         achieved from co-firing in such a short
                                                 determined that controls can be                         previously deemed reasonable ($18.50/                    time span, the EPA is choosing not to
                                                 installed and fully operational by the                  MWh of generation and $98/ton of CO2                     establish a BSER for these sources.271
                                                 compliance date of January 1, 2032, as                  reduced), very few sources can co-fire                      Because, at this time, the EPA has
                                                 detailed in section VII.C.1.a.i(E) of this              40 percent natural gas at costs                          determined that CCS and natural gas co-
                                                 preamble. CCS would therefore, in most                  comparable to these metrics with an                      firing are not available at reasonable
                                                 cases, be unavailable to coal-fired steam               amortization period of only one year;                    cost for sources ceasing operation before
                                                 generating units planning to cease                      only 1 percent of units have costs that                  January 1, 2032, the EPA is not
                                                 operation prior to that date.                           are below both $18.50/MWh of                             finalizing a BSER for such sources. Not
                                                 Furthermore, the EPA evaluated the                      generation and $98/ton of CO2 reduced.                   finalizing a BSER for these sources is
                                                 costs of CCS for different amortization                 The number of sources that can co-fire                   consistent with the Agency’s discretion
                                                 periods. For an amortization period of                  lower amounts of natural gas at costs                    to take incremental steps to address CO2
                                                 more than 7 years—such that sources                     comparable to these metrics is likewise                  from sources in the category, and to
                                                 operate after January 1, 2039—                          limited—only approximately 34 percent                    direct the EPA’s limited resources at
                                                 annualized fleet average costs are                      of units can co-fire with 20 percent                     regulation of those sources that can
                                                 comparable to or less than the costs of                 natural gas at costs lower than both cost                achieve the most emission reductions.
                                                 controls the EPA has previously                         metrics. Furthermore, the period that                    The EPA is therefore providing that
                                                 determined to be reasonable ($18.50/                    these sources would operate with co-                     existing coal-fired steam generating
                                                 MWh of generation and $98/ton of CO2                    firing for would be short, so that the                   EGUs that have elected to cease
                                                 reduced), as detailed in section                        emission reductions from that group of                   operating before January 1, 2032, are not
                                                 VII.C.1.a.ii of this preamble. However,                 sources would be limited.                                regulated by these emission guidelines.
                                                 the costs for shorter amortization                         By contrast, assuming a two-year                      This exemption applies to a source until
                                                 periods are higher. For sources ceasing                 amortization period, many more units                     the earlier of December 31, 2031, or the
                                                 operation by January 1, 2032, it would                  can co-fire with meaningful amounts of                   date it demonstrates in the state plan
                                                 be unlikely that the annualized costs of                natural gas at a cost that is consistent                 that it plans to cease operation. If a
                                                 CCS would be reasonable even were                       with the metrics EPA has previously                      source continues to operate past this
                                                 CCS installed at an earlier date (e.g., by              used: 18 percent of units can co-fire                    date, it is no longer exempt from these
                                                 January 1, 2030) due to the shorter                     with 40 percent natural gas at costs less                emission guidelines. See section X.E.1
                                                 amortization period available.                          than $98/ton and $18.50/MWh, and 50                      of this preamble for discussion of how
                                                    Because the costs of CCS would be                    percent of units can co-fire with 20                     state plans should address sources
                                                 higher for shorter amortization periods,                percent natural gas at costs lower than                  subject to exemption (9).272
                                                 the EPA is finalizing a separate                        both metrics. Because a substantial                      3. Sources Outside of the Contiguous
                                                 subcategory for sources demonstrating                   number of sources can implement 40-                      U.S.
                                                 that they plan to permanently cease                     percent co-firing with natural gas with
                                                 operating by January 1, 2039, with a                    an amortization period of two years or                      The EPA proposed the same emission
                                                 BSER of 40 percent natural gas co-firing,               longer with reasonable costs, and even                   guidelines for fossil fuel-fired steam
                                                 as detailed in section VII.C.2.b.ii of this             more can co-fire with lesser amounts
                                                 preamble. For natural gas co-firing, the                with reasonable costs with amortization                  amount of natural gas be subject to these emission
                                                                                                                                                                  guidelines.
                                                 EPA is finalizing a compliance date of                  periods longer than two years,270 the                      271 For the reasons described at length in section
                                                 January 1, 2030, as detailed in section                                                                          VI.B, the EPA does not believe that heat rate
                                                 VII.C.2.b.i(C) of this preamble.                           270 As described in detail in section X.C.2 of this   improvement measures or HRI are appropriate for
                                                 Therefore, the EPA assumes sources                      preamble, the EPA recognizes that particular             sources retiring before January 1, 2032 because HRI
                                                 subject to a natural gas co-firing BSER                 affected EGUs may have characteristics that make         applied to coal-fired sources achieve few emission
                                                                                                         it unreasonable to achieve the degree of emission        reductions, and can lead to the ‘‘rebound effect’’
                                                 can amortize costs for a period of up to                limitation corresponding to 40 percent co-firing         where CO2 emissions from the source increase
                                                 9 years. The EPA has determined that                    with natural gas. For example, a state may be able       rather than decrease as a consequence of imposing
                                                 the costs of natural gas co-firing at 40                to demonstrate a fundamental difference between          the technologies.
                                                 percent meet the metrics for cost                       the costs the EPA considered in these emission             272 The EPA notes that this applicability

                                                                                                         guidelines and the costs to an affected EGU that         exemption does not conflict with states’ ability to
                                                 reasonableness for the majority of the                  plans to cease operation in late 2032. If such costs     consider the remaining useful lives of ‘‘particular’’
                                                 capacity that operate more than 2 years                 make it unreasonable for a particular unit to meet       sources that are subject to these emission
                                                 after the January 1, 2030,                              the degree of emission limitation corresponding to       guidelines. 42 U.S.C. 7411(d)(1). As the EPA’s
                                                                                                         40 percent co-firing with natural gas, the state may     implementing regulations specify, the provision for
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                                                 implementation date, i.e., that operate
                                                                                                         apply a less stringent standard of performance to        states’ consideration of RULOF is intended address
                                                 after January 1, 2032 (and up to                        that unit. Consistent with the requirements for          the specific conditions of particular sources,
                                                 December 31, 2038), and that therefore                  calculating a less stringent standard of performance     whereas the EPA is responsible for determining
                                                 have an amortization period of more                     at 40 CFR 60.24a(f), under these emission                generally how to regulate a source category under
                                                 than 2 years (and up to 9 years).                       guidelines states would consider whether it is           an emission guideline. Moreover, RULOF applies
                                                                                                         reasonable for units that cannot cost-reasonably co-     only to when a state is applying a standard of
                                                    However, for sources ceasing                         fire natural gas at 40 percent to co-fire at levels      performance to an affected source—and the state
                                                 operation prior to January 1, 2032, the                 lower than 40 percent. It is thus appropriate that       would not apply a standard of performance to
                                                 EPA believes that establishing a best                   coal-fired EGUs that can reasonably co-fire any          exempted sources.



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                                                 generating units in non-continental                     from DOE for a front-end engineering                   after December 31, 2029, or for more
                                                 areas (i.e., Hawaii, the U.S. Virgin                    design (FEED) study for CCS targeting a                than 15.0 percent of the annual heat
                                                 Islands, Guam, American Samoa, the                      capture efficiency of more than 95                     input during any one calendar year after
                                                 Commonwealth of Puerto Rico, and the                    percent.273 For these reasons, the EPA is              December 31, 2029, or that retains the
                                                 Northern Mariana Islands) and non-                      not distinguishing IGCC units from                     capability to fire coal after December 31,
                                                 contiguous areas (non-continental areas                 other coal-fired steam generating EGUs,                2029.
                                                 and Alaska) as the EPA proposed for                     so that the BSER of co-firing for                         • An oil-fired steam generating unit is
                                                 comparable units in the contiguous 48                   medium-term coal-fired units and CCS                   an electric utility steam generating unit
                                                 states. The EPA notes that the modeling                 for long-term coal-fired units apply to                meeting the definition of ‘‘fossil fuel-
                                                 that supports the final emission                        IGCC units.274                                         fired’’ that is not a coal-fired steam
                                                 guidelines focus on sources in the                                                                             generating unit, that no longer retains
                                                                                                         5. Fossil Fuel-Type Definitions for
                                                 contiguous U.S. Further, the EPA notes                                                                         the capability to fire coal after December
                                                                                                         Subcategories of Steam Generating Units
                                                 that few, if any, coal-fired steam                                                                             31, 2029, and that burns oil for more
                                                 generating units operate outside of the                    In this action, the EPA is finalizing               than 10.0 percent of the average annual
                                                 contiguous 48 states and meet the                       definitions for subcategories of existing              heat input during any continuous 3-
                                                 applicability criteria. Finally, the EPA                fossil fuel-fired steam generating units               calendar-year period after December 31,
                                                 notes that the proposed BSER and                        based on the type and amount of fossil                 2029, or for more than 15.0 percent of
                                                 degree of emissions limitation for non-                 fuel used in the unit. The EPA is                      the annual heat input during any one
                                                 continental oil-fired steam generating                  finalizing separate subcategories based                calendar year after December 31, 2029.
                                                 units would have achieved few                           on fuel type because the carbon content                   • A natural gas-fired steam
                                                 emission reductions. Therefore, the EPA                 of the fuel combusted affects the output               generating unit is an electric utility
                                                 is not finalizing emission guidelines for               emission rate (i.e., lb CO2/MWh). Fuels
                                                                                                                                                                steam generating unit meeting the
                                                 existing steam generating units in states               with a higher carbon content produce a
                                                                                                                                                                definition of ‘‘fossil fuel-fired,’’ that is
                                                 and territories (including Alaska,                      greater amount of CO2 emissions per
                                                                                                                                                                not a coal-fired or oil-fired steam
                                                 Hawaii, Guam, Puerto Rico, and the U.S.                 unit of fuel combusted (on a heat input
                                                                                                                                                                generating unit, that no longer retains
                                                 Virgin Islands) that are outside of the                 basis, MMBtu) and per unit of electricity
                                                                                                                                                                the capability to fire coal after December
                                                 contiguous U.S. at this time.                           generated (i.e., MWh).
                                                                                                            The EPA proposed fossil fuel type                   31, 2029, and that burns natural gas for
                                                 4. IGCC Units                                           subcategory definitions based on the                   more than 10.0 percent of the average
                                                                                                         definitions in 40 CFR part 63, subpart                 annual heat input during any
                                                    The EPA notes that existing IGCC
                                                                                                         UUUUU, and the fossil fuel definitions                 continuous 3-calendar-year period after
                                                 units were included in the proposed
                                                 applicability requirements and that, in                 in 40 CFR part 60, subpart TTTT. Those                 December 31, 2029, or for more than
                                                 section VII.B of this preamble, the EPA                 proposed definitions were determined                   15.0 percent of the annual heat input
                                                 is finalizing inclusion of those units in               by the relative heat input contribution                during any one calendar year after
                                                 the subcategory of coal-fired steam                     of the different fuels combusted in a                  December 31, 2029.
                                                 generating units. IGCC units gasify coal                unit during the 3 years prior to the                      The EPA received some comments on
                                                 or solid fossil fuel (e.g., pet coke) to                proposed compliance date of January 1,                 the fuel type definitions. Those
                                                 produce syngas (a mixture of carbon                     2030. Further, to be considered an oil-                comments and responses are as follows.
                                                 monoxide and hydrogen), and either                      fired or natural gas-fired unit for                       Comment: Some industry
                                                 burn the syngas directly in a combined                  purposes of this emission guideline, a                 stakeholders suggested changes to the
                                                 cycle unit or use a catalyst for water-gas              source would no longer retain the                      proposed definitions for fossil fuel type.
                                                 shift (WGS) to produce a pre-                           capability to fire coal after December 31,             Specifically, some commenters
                                                 combustion gas stream with a higher                     2029.                                                  requested that the reference to the initial
                                                 concentration of CO2 and hydrogen,                         The EPA proposed a 3-year lookback                  compliance date be removed and that
                                                 which can be burned in a hydrogen                       period, so that the proposed fuel-type                 the fuel type determination should
                                                 turbine combined cycle unit. As                         subcategorization would have been                      instead be rolling and continually
                                                 described in section VII.C of this                      based, in part, on the fuel type fired                 update after the initial compliance date.
                                                 preamble, the final BSER for coal-fired                 between January 1, 2027, and January 1,                Those commenters suggested this
                                                 steam generating units includes co-                     2030. However, the intent of the                       would, for example, allow sources in
                                                 firing natural gas and CCS. The few                     proposed fuel type subcategorization                   the coal-fired subcategory that begin
                                                 IGCC units that now operate in the U.S.                 was to base the fuel type definition on                natural gas co-firing in 2030 to convert
                                                 either burn natural gas exclusively—and                 the state of the source on January 1,                  to the natural-gas fired subcategory prior
                                                 as such operate as natural gas combined                 2030. Therefore, the EPA is finalizing                 to the proposed date of January 1, 2040,
                                                 cycle units—or in amounts near to the                   the following fuel type subcategory                    instead of ceasing operation.
                                                 40 percent level of the natural gas co-                 definitions:                                              Other industry commenters suggested
                                                 firing BSER. Additionally, IGCC units                      • A coal-fired steam generating unit                that to be a natural gas-fired steam
                                                 may be suitable for pre-combustion CO2                  is an electric utility steam generating                generating unit, a source could either
                                                 capture. Because the CO2 concentration                  unit or IGCC unit that meets the                       meet the heat input requirements during
                                                 in the pre-combustion gas, after WGS, is                definition of ‘‘fossil fuel-fired’’ and that           the 3 years prior to the compliance date
                                                 high relative to coal-combustion flue                   burns coal for more than 10.0 percent of               or (emphasis added) no longer retain the
                                                 gas, pre-combustion CO2 capture for                     the average annual heat input during                   capability to fire coal after December 31,
                                                                                                                                                                2029. Those commenters noted that, as
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                                                 IGCC units can be performed using                       any continuous 3-calendar-year period
                                                 either an amine-based (or other solvent-                                                                       proposed, a source that had planned to
                                                 based) capture process or a physical                      273 Duke Edwardsport DOE FEED Study Fact             convert to 100 percent natural gas-firing
                                                 absorption capture process.                             Sheet. https://www.energy.gov/sites/default/files/     would essentially have to do so prior to
                                                 Alternatively, post-combustion CO2                      2024-01/OCED_CCFEEDs_AwardeeFactSheet_                 January 1, 2027, to meet the proposed
                                                                                                         Duke_1.5.2024.pdf.
                                                 capture can be applied to the source.                     274 For additional details on pre-combustion CO      heat input-based definition, in addition
                                                                                                                                                            2
                                                 The one existing IGCC unit that still                   capture, please see the final TSD, GHG Mitigation      to removing the capability to fire coal by
                                                 uses coal was recently awarded funding                  Measures for Steam Generating Units.                   the compliance date.


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                                                    Response: Although full natural gas                  sources operating in the long-term, the      CCS as the BSER; and a medium-term
                                                 conversions are not a measure that the                  EPA proposed CCS with 90 percent             subcategory for sources that
                                                 EPA considered as a potential BSER, the                 capture as BSER. For sources operating       permanently cease operations by that
                                                 emission guidelines do not prohibit                     in the medium-term (i.e., those              date and were not in any of the other
                                                 such conversions should a state elect to                demonstrating that they plan to              proposed subcategories, discussed next,
                                                 require or accommodate them. As noted                   permanently cease operation by January       with 40 percent co-firing as the BSER.
                                                 above, the EPA recognizes that many                     1, 2040), the EPA proposed 40 percent        For both subcategories, the compliance
                                                 steam EGUs that formerly utilized coal                  natural gas co-firing as BSER. For           date was January 1, 2030. The EPA also
                                                 as a primary fuel have fully or partially               imminent-term and near-term sources          proposed an imminent-term
                                                 converted to natural gas, and that                      ceasing operation earlier, the EPA           subcategory, for sources that planned to
                                                 additional steam EGUs may elect to do                   proposed BSERs of routine methods of         permanently cease operations by
                                                 so during the implementation period for                 operation and maintenance.                   January 1, 2032; and a near-term
                                                 these emission guidelines. However,                        The EPA is finalizing CCS with 90         subcategory, for sources that planned to
                                                 these emission guidelines place                         percent capture as BSER for coal-fired       permanently case operations by January
                                                 reasonable constraints on the timing of                 steam generating units because CCS can       1, 2035, and that limited their annual
                                                 such a conversion in situations where a                 achieve a substantial amount of              capacity utilization to 20 percent. The
                                                 source seeks to be regulated as a natural               emission reductions and satisfies the        EPA proposed a BSER of routine
                                                 gas-fired steam EGU rather than as a                    other BSER criteria. CCS has been            methods of operation and maintenance
                                                 coal-fired steam EGU. The EPA believes                  adequately demonstrated and results in       for these two subcategories.
                                                 that such constraints are necessary in                  by far the largest emissions reductions         The EPA is not finalizing these
                                                 order to avoid creating a perverse                      of the available control technologies. As    imminent-term and near-term
                                                 incentive for EGUs to defer conversions                 noted below, the EPA has also                subcategories. In addition, after
                                                 in a way that could undermine the                       determined that the compliance date for      considering the comments, the EPA
                                                 emission reduction purpose of the rule.                 CCS is January 1, 2032. CCS, however,        acknowledges that some additional time
                                                 Therefore, the EPA disagrees with those                 entails significant up-front capital         from what was proposed may be
                                                 commenters that suggest the EPA                         expenditures that are amortized over a       beneficial for the planning and
                                                 should, in general, allow EGUs to be                    period of years. The EPA evaluated the       installation of CCS. Therefore, the EPA
                                                 regulated as natural gas-fired steam                    cost for different amortization periods,     is finalizing a January 1, 2032,
                                                 EGUs when they undertake such                           and the EPA has concluded that CCS is        compliance date for long-term existing
                                                 conversions past January 1, 2030.                       cost-reasonable for units that operate       coal-fired steam generating units. As
                                                    However, the EPA acknowledges that                   past January 1, 2039. As noted in            noted above, the EPA’s analysis of the
                                                 the proposed subcategorization would                    section IV.D.3.b of this preamble, about     costs of CCS also indicates that CCS is
                                                 have essentially required a unit to                     half (87 GW out of 181 GW) of all coal-      cost-reasonable with a minimum
                                                 convert to natural gas by January 1, 2027               fired capacity currently in existence has    amortization period of seven years; as a
                                                 in order to be regulated as a natural gas-              announced plans to permanently cease         result, the final emission guidelines
                                                 fired steam EGU. The EPA is finalizing                  operations by January 1, 2039, and           would apply a CCS-based standard only
                                                 fuel type subcategorization based on the                additional sources are likely to do so       to those units that plan to operate for at
                                                 state of the source on the compliance                   because they will be older than the age      least seven years after the compliance
                                                 date of January 1, 2030, and during any                 at which sources generally have              deadline (i.e., units that plan to remain
                                                 period thereafter, as detailed in section               permanently ceased operations since          in operation after January 1, 2039). For
                                                 VII.B of this preamble. Should a source                 2000. The EPA has determined that the        medium-term sources subject to a
                                                 not be able to fully convert to natural                 remaining sources that may operate after     natural gas co-firing BSER, the EPA is
                                                 gas by this date, it would be treated as                January 1, 2039, can, on average, install    finalizing a January 1, 2030, compliance
                                                 a coal-fired steam generating EGU;                      CCS at a cost that is consistent with the    date because the EPA has concluded
                                                 however, the state may be able to use                   EPA’s metrics for cost reasonableness,       that this provides a reasonable amount
                                                 the RULOF provisions, as discussed in                   accounting for an amortization period        of time to begin co-firing, a technology
                                                 section X.C.2 of this preamble, to                      for the capital costs of more than 7         that entails substantially less up-front
                                                 particularize a standard of performance                 years, as detailed in section VII.C.1.a.ii   infrastructure and, relatedly, capital
                                                 for the unit. Note that if a state relies on            of this preamble. If a particular source     expenditure than CCS.
                                                 operating conditions within the control                 has costs of CCS that are fundamentally
                                                                                                                                                      1. Long-Term Coal-Fired Steam
                                                 of the source as the basis of providing                 different from those amounts, the state
                                                                                                                                                      Generating Units
                                                 a less stringent standard of performance                may consider it to be a candidate for a
                                                 or longer compliance schedule, it must                  different control requirement under the         The EPA is finalizing CCS with 90
                                                 include those operating conditions as an                RULOF provision, as detailed in section      percent capture of CO2 at the stack as
                                                 enforceable requirement in the state                    X.C.2 of this preamble. For the group of     BSER for long-term coal-fired steam
                                                 plan. 40 CFR 60.24a(g).                                 sources that permanently cease               generating units. Coal-fired steam
                                                                                                         operation before January 1, 2039, the        generating units are the largest
                                                 C. Rationale for the BSER for Coal-Fired                EPA has concluded that CCS would in          stationary source of CO2 in the United
                                                 Steam Generating Units                                  general be of higher cost, and therefore     States. Coal-fired steam generating units
                                                   This section of the preamble describes                is finalizing a subcategory for these        have higher emission rates than other
                                                 the rationale for the final BSERs for                   units, termed medium-term units, and         generating technologies, about twice the
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                                                 existing coal-fired steam generating                    finalizing 40 percent natural gas co-        emission rate of a natural gas combined
                                                 units based on the criteria described in                firing on a heat input basis as the BSER.    cycle unit. Typically, even newer, more
                                                 section V.C of this preamble.                              These final subcategories and BSERs       efficient coal-fired steam generating
                                                   At proposal, the EPA evaluated two                    are largely consistent with the proposal,    units emit over 1,800 lb CO2/MWh-
                                                 primary control technologies as                         which included a long-term subcategory       gross, while many existing coal-fired
                                                 potentially representing the BSER for                   for sources that did not plan to             steam generating units have emission
                                                 existing coal-fired steam generating                    permanently cease operations by              rates of 2,200 lb CO2/MWh-gross or
                                                 units: CCS and natural gas co-firing. For               January 1, 2040, with 90 percent capture     higher. As noted in section IV.B of this


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                                                 preamble, coal-fired sources emitted 909                available to defray the costs of partial              sequestration sites are widely available
                                                 MMT CO2e in 2021, 59 percent of the                     CCS and the emission reductions would                 across the nation, and the EPA has
                                                 GHG emissions from the power sector                     be limited. And the EPA is not                        developed a comprehensive regulatory
                                                 and 14 percent of the total U.S. GHG                    finalizing HRI as the BSER for these                  structure to oversee geologic
                                                 emissions—contributing more to U.S.                     units because of the limited reductions               sequestration projects and assure their
                                                 GHG emissions than any other sector,                    and potential rebound effect.                         safety and effectiveness.277
                                                 aside from transportation road
                                                                                                         a. Rationale for CCS as the BSER for                  i. Adequately Demonstrated
                                                 sources.275 Furthermore, considering
                                                                                                         Long-Term Coal-Fired Steam Generating                    In this section of the preamble, the
                                                 the sources in the long-term subcategory
                                                                                                         Units                                                 EPA explains the rationale for finalizing
                                                 will operate longer than sources with
                                                 shorter operating horizons, long-term                      In this section of the preamble, the               its determination that 90 percent
                                                 coal-fired units have the potential to                  EPA explains the rationale for CCS as                 capture applied to long-term coal-fired
                                                 emit more total CO2.                                    the BSER for existing long-term coal-                 steam generating units is adequately
                                                    CCS is a control technology that can                 fired steam generating units. This                    demonstrated. In this section, the EPA
                                                 be applied at the stack of a steam                      section discusses the aspects of CCS that             first describes how simultaneous
                                                 generating unit, achieves substantial                   are relevant for existing coal-fired steam            operation of all components of CCS
                                                 reductions in emissions and can capture                 generating units and, in particular, long-            functioning in concert with one another
                                                 and permanently sequester more than                     term units. As noted in section                       has been demonstrated, including a
                                                 90 percent of CO2 emitted by coal-fired                 VIII.F.4.c.iv of this preamble, much of               commercial scale application on a coal-
                                                 steam generating units. The technology                  this discussion is also relevant for the              fired steam generating unit. The
                                                 is adequately demonstrated, given that it               EPA’s determination that CCS is the                   demonstration of the individual
                                                 has been operated at scale and is widely                BSER for new base load combustion                     components of CO2 capture, transport,
                                                 applicable to these sources, and there                  turbines.                                             and sequestration further support that
                                                 are vast sequestration opportunities                       In general, CCS has three major                    CCS is adequately demonstrated. The
                                                 across the continental U.S.                             components: CO2 capture,                              EPA describes how demonstrations of
                                                 Additionally, the costs for CCS are                     transportation, and sequestration/                    CO2 capture support that 90 percent
                                                 reasonable, in light of recent technology               storage. Detailed descriptions of these               capture rates are adequately
                                                 cost declines and policies including the                components are provided in section                    demonstrated. The EPA further
                                                 tax credit under IRC section 45Q.                       VII.C.1.a.i of this preamble. As an                   describes how transport and geologic
                                                 Moreover, the non-air quality health and                overview, post-combustion capture                     sequestration are adequately
                                                 environmental impacts of CCS can be                     processes remove CO2 from the exhaust                 demonstrated, including the feasibility
                                                 mitigated and the energy requirements                   gas of a combustion system, such as a                 of transport infrastructure and the broad
                                                 of CCS are not unreasonably adverse.                    utility boiler or combustion turbine.                 availability of geologic sequestration
                                                 The EPA’s weighing of these factors                     This technology is referred to as ‘‘post-             reservoirs in the U.S.
                                                 together provides the basis for finalizing              combustion capture’’ because CO2 is a
                                                 CCS as BSER for these sources. In                       product of the combustion of the                      (A) Simultaneous Demonstration of CO2
                                                 addition, this BSER determination                       primary fuel and the capture takes place              Capture, Transport, and Sequestration
                                                 aligns with the caselaw, discussed in                   after the combustion of that fuel. The                  The EPA proposed that CCS was
                                                 section V.C.2.h of the preamble, stating                exhaust gases from most combustion                    adequately demonstrated for
                                                 that CAA section 111 encourages                         processes are at atmospheric pressure,                applications on combustion turbines
                                                 continued advancement in pollution                      contain somewhat dilute concentrations                and existing coal-fired steam generating
                                                 control technology.                                     of CO2, and are moved through the flue                units.
                                                    At proposal, the EPA also evaluated                  gas duct system by fans. To separate the                On reviewing the available
                                                 natural gas co-firing at 40 percent of                  CO2 contained in the flue gas, most                   information, all components of CCS—
                                                 heat input as a potential BSER for long-                current post-combustion capture                       CO2 capture, CO2 transport, and CO2
                                                 term coal-fired steam generating units.                 systems utilize liquid solvents—                      sequestration—have been demonstrated
                                                 While the unit level emission rate                      commonly amine-based solvents—in                      concurrently, with each component
                                                 reductions of 16 percent achieved by 40                 CO2 scrubber systems using chemical                   operating simultaneously and in concert
                                                 percent natural gas co-firing are                       absorption (or chemisorption).276 In a                with the other components.
                                                 appreciable, those reductions are                       chemisorption-based separation process,
                                                 substantially less than CCS with 90                     the flue gas is processed through the                 (1) Industrial Applications of CCS
                                                 percent capture of CO2. Therefore,                      CO2 scrubber and the CO2 is absorbed                    Solvent-based CO2 capture was
                                                 because CCS achieves more reductions                    by the liquid solvent. The CO2-rich                   patented nearly 100 years ago in the
                                                 at the unit level and is cost-reasonable,               solvent is then regenerated by heating                1930s 278 and has been used in a variety
                                                 the EPA is not finalizing natural gas co-               the solvent to release the captured CO2.              of industrial applications for decades.
                                                 firing as the BSER for these units.                        The high purity CO2 is then                        For example, since 1978, an amine-
                                                 Further, the EPA is not finalizing                      compressed and transported, generally                 based system has been used to capture
                                                 partial-CCS at lower capture rates (e.g.,               through pipelines, to a site for geologic             approximately 270,000 metric tons of
                                                 30 percent) because it achieves                         sequestration (i.e., the long-term                    CO2 per year from the flue gas of the
                                                 substantially fewer unit-level reductions               containment of CO2 in subsurface                      bituminous coal-fired steam generating
                                                 at greater cost, and because CCS at 90                  geologic formations). Pipelines are                   units at the 63 MW Argus Cogeneration
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                                                 percent is achievable. Notably, the IRC                 subject to Federal safety regulations                 Plant at Searles Valley Minerals (Trona,
                                                 section 45Q tax credit may not be                       administered by PHMSA. Furthermore,
                                                                                                                                                                 277 80 FR 64549 (October 23, 2015).
                                                   275 U.S. Environmental Protection Agency (EPA).         276 Other technologies may be used to capture          278 Bottoms, R.R. Process for Separating Acidic

                                                 Inventory of U.S. Greenhouse Gas Emissions and          CO2, as described in the final TSDs, GHG Mitigation   Gases (1930) United States patent application.
                                                 Sinks: 1990–2021. U.S. Greenhouse Gas Emissions         Measures for Steam Generating Units and the GHG       United States Patent US1783901A; Allen, A.S. and
                                                 by Inventory Sector, 2021. https://cfpub.epa.gov/       Mitigation Measures—Carbon Capture and Storage        Arthur, M. Method of Separating Carbon Dioxide
                                                 ghgdata/inventoryexplorer/index.html#iallsectors/       for Combustion Turbines, available in the             from a Gas Mixture (1933) United States Patent
                                                 allsectors/allgas/inventsect/current.                   rulemaking docket.                                    Application. United States Patent US1934472A.



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                                                 California).279 Furthermore, thousands                   steam methane reformers at the Scotford               individual components is based on
                                                 of miles of CO2 pipelines have been                      Upgrader facility (operated by Shell                  decades of direct data and experience.
                                                 constructed and securely operated in                     Canada Energy) to capture and sequester
                                                                                                                                                                (B) CO2 Capture Technology at Coal-
                                                 the U.S. for decades.280 And tens of                     approximately 80 percent of the CO2 in
                                                                                                                                                                Fired Steam Generating Units
                                                 millions of tons of CO2 have been                        the produced syngas.286 Amine-solvents
                                                 permanently stored deep underground                      are also applied for post-combustion                     The EPA is finalizing the
                                                 either for geologic sequestration or in                  capture from fossil fuel fired EGUs. The              determination that the CO2 capture
                                                 association with EOR.281 There are                       Quest facility has been operating since               component of CCS has been adequately
                                                 currently at least 15 operating CCS                      2015 and captures approximately 1                     demonstrated at a capture efficiency of
                                                 projects in the U.S., and another 121                    million metric tons of CO2 per year.                  90 percent, is technically feasible, and
                                                 that are under construction or in                                                                              is achievable over long periods (e.g., a
                                                                                                          Applications of CCS at Coal-Fired Steam               year) for the reasons summarized here
                                                 advanced stages of development.282
                                                                                                          Generating Units                                      and detailed in the following
                                                 This broad application of CCS
                                                 demonstrates that the components of                         For electricity generation                         subsections of this preamble. This
                                                 CCS have been successfully operated                      applications, this includes operation of              determination is based, in part, on the
                                                 simultaneously. The Shute Creek                          CCS at Boundary Dam Unit 3 in                         demonstration of the technology at
                                                 Facility has a capture capacity of 7                     Saskatchewan, Canada. CCS at                          existing coal-fired steam generating
                                                 million metric tons per year and has                     Boundary Dam Unit 3 includes capture                  units, including the commercial-scale
                                                 been in operation since 1986.283 The                     of the CO2 from the flue-gas of the fossil            installation at Boundary Dam Unit 3.
                                                 facility uses a solvent-based process to                 fuel-fired EGU, compression of the CO2                The application of CCS at Boundary
                                                 remove CO2 from natural gas, and the                     onsite and transport via pipeline offsite,            Dam follows decades of development of
                                                 captured CO2 is stored in association                    and storage of the captured CO2                       CO2 capture for coal-fired steam
                                                 with EOR. Another example of CCS in                      underground. Storage of the CO2                       generating units, as well as numerous
                                                 industrial applications is the Great                     captured at Boundary Dam primarily                    smaller-scale demonstrations that have
                                                 Plains Synfuels Plant has a capture                      occurs via EOR. Moreover, CO2 captured                successfully implemented this
                                                 capacity of 3 million metric tons per                    from Boundary Dam Unit 3 is also                      technology. Review of the available
                                                 year and has been in operation since                     stored in a deep saline aquifer at the                information has also identified specific,
                                                 2000.284 285 The Great Plains Synfuels                   Aquistore Deep Saline CO2 Storage                     currently available, minor technological
                                                 Plant (Beulah, North Dakota) uses a                      Project, which has permanently stored                 improvements that can be applied today
                                                 solvent-based process to remove CO2                      over 550,000 tons of CO2 to date.287                  to better the performance of new capture
                                                 from lignite-derived syngas, the CO2 is                  Other demonstrations of CCS include                   plant retrofits, and which can assure
                                                 transported by the Souris Valley                         the 240 MWe Petra Nova CCS project at                 that the capture plants achieve 90
                                                 pipeline, and stored underground in                      the subbituminous coal-fired W.A.                     percent capture. The EPA’s
                                                 association with EOR in the Weyburn                      Parish plant in Texas, which, because it              determination that 90 percent capture of
                                                 and Midale Oil Units in Saskatchewan,                    was EPAct05-assisted, we cite as useful               CO2 is adequately demonstrated is
                                                 Canada. Over 39 million metric tons of                   in section VII.C.1.a.i(B)(2) of this                  further corroborated by EPAct05-
                                                 CO2 has been captured since 2000.                        preamble, but not essential,                          assisted projects, including the Petra
                                                    (2) Various CO2 capture methods are                   corroboration. See section                            Nova project.
                                                 used in industrial applications and are                  VII.C.1.a.i(H)(1) for a detailed                         Moreover, several CCS retrofit
                                                 tailored to the flue gas conditions of a                 description of how the EPA considers                  projects on coal-fired steam generating
                                                 particular industry (see the TSD GHG                     information from EPAct05-assisted                     units are in progress that apply the
                                                 Mitigation Measures for Steam                            projects.                                             lessons from the prior projects and use
                                                 Generating Units for details). Of those                     Commenters stated that that all                    solvents that achieve higher capture
                                                 capture technologies, amine solvent-                     constituent components of CCS—carbon                  rates. Technology providers that supply
                                                 based capture has been demonstrated                      capture, transportation, and                          those solvents and the associated
                                                 for removal of CO2 from the post-                        sequestration—have not been                           process technologies have made
                                                 combustion flue gas of fossil fuel-fired                 adequately demonstrated in integrated,                statements concluding that the
                                                 EGUs. The Quest CO2 capture facility in                  simultaneous operation. We disagree                   technology is commercially proven and
                                                 Alberta, Canada, uses amine-based CO2                    with this comment. The record                         available today and have further stated
                                                 capture retrofitted to three existing                    described in the preceding shows that                 that those solvents achieve capture rates
                                                                                                          all components have been demonstrated                 of 95 percent or greater. Technology
                                                    279 Dooley, J.J., et al. (2009). ‘‘An Assessment of   simultaneously. Even if the record only               providers have decades of experience
                                                 the Commercial Availability of Carbon Dioxide            included demonstration of the                         and have done the work to responsibly
                                                 Capture and Storage Technologies as of June 2009.’’
                                                                                                          individual components of CCS, the EPA                 scale up the technology over that time
                                                 U.S. DOE, Pacific Northwest National Laboratory,                                                               across a range of flue gas compositions.
                                                 under Contract DE–AC05–76RL01830.                        would still determine that CCS is
                                                    280 U.S. Department of Transportation, Pipeline       adequately demonstrated as it would be                Taking all of those factors into
                                                 and Hazardous Material Safety Administration,            reasonable on a technical basis that the              consideration, and accounting for the
                                                 ‘‘Hazardous Annual Liquid Data.’’ 2022. https://         individual components are capable of                  operation and flue gas conditions of the
                                                 www.phmsa.dot.gov/data-and-statistics/pipeline/                                                                affected sources, solvent-based capture
                                                 gas-distribution-gas-gathering-gas-transmission-         functioning together—they have been
                                                 hazardous-liquids.                                       engineered and designed to do so, and                 will consistently achieve capture rates
                                                    281 GHGRP US EPA. https://www.epa.gov/                the record for the demonstration of the               of 90 percent or greater for the fleet of
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                                                 ghgreporting/supply-underground-injection-and-                                                                 long-term coal-fired steam generating
                                                 geologic-sequestration-carbon-dioxide.                     286 Quest Carbon Capture and Storage Project        units.
                                                    282 Carbon Capture and Storage in the United
                                                                                                          Annual Summary Report, Alberta Department of             Various technologies may be used to
                                                 States. CBO. December 13, 2023. https://                 Energy: 2021. https://open.alberta.ca/publications/   capture CO2, the details of which are
                                                 www.cbo.gov/publication/59345.                           quest-carbon-capture-and-storage-project-annual-
                                                    283 Id.                                                                                                     described generally in section IV.C.1 of
                                                                                                          report-2021.
                                                    284 https://netl.doe.gov/research/Coal/energy-          287 Aquistore Project. https://ptrc.ca/media/       this preamble and in more detail in the
                                                 systems/gasification/gasifipedia/great-plains.           whats-new/aquistore-co2-storage-project-reached-      final TSD, GHG Mitigation Measures for
                                                    285 https://co2re.co/FacilityData.                    +500000-tonnes-stored.                                Steam Generating Units, which is


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                                                 available in the rulemaking docket.288                  usually by pipeline. The amine solution                challenges. The EPA has reviewed the
                                                 For post-combustion capture, these                      from the regenerating column is then                   record of CO2 capture at Boundary Dam
                                                 technologies include solvent-based                      cooled, a portion of the lean solvent is               Unit 3. While Boundary Dam is in
                                                 methods (e.g., amines, chilled                          treated in a solvent reclaiming process                Canada and therefore not subject to this
                                                 ammonia), solid sorbent-based methods,                  to mitigate degradation of the solvent,                action, these technical challenges have
                                                 membrane filtration, pressure-swing                     and the lean solvent streams are                       been sufficiently overcome or are
                                                 adsorption, and cryogenic methods.289                   recombined and sent back to the                        actively mitigated so that Boundary
                                                 Lastly, oxy-combustion uses a purified                  absorption column.                                     Dam has more recently been capable of
                                                 oxygen stream from an air separation                                                                           achieving capture rates of 83 percent
                                                 unit (often diluted with recycled CO2 to                (1) Capture Demonstrations at Coal-
                                                                                                                                                                when the capture plant is online.292
                                                 control the flame temperature) to                       Fired Steam Generating Units
                                                                                                                                                                Furthermore, the improvements already
                                                 combust the fuel and produce a higher                   (a) SaskPower’s Boundary Dam Unit 3                    employed and identified at Boundary
                                                 concentration of CO2 in the flue gas, as                   SaskPower’s Boundary Dam Unit 3, a                  Dam can be readily applied during the
                                                 opposed to combustion with oxygen in                    110 MW lignite-fired unit in                           initial construction of a new CO2
                                                 air which contains 80 percent nitrogen.                 Saskatchewan, Canada, was designed to                  capture plant today.
                                                 The CO2 can then be separated by the                    achieve CO2 capture rates of 90 percent                   The CO2 captured at Boundary Dam is
                                                 aforementioned CO2 capture methods.                     using an amine-based post-combustion                   mostly used for EOR and CO2 is also
                                                 Of the available capture technologies,                  capture system retrofitted to the existing             stored geologically in a deep saline
                                                 solvent-based processes have been the                   steam generating unit. The capture                     reservoir at the Aquistore site.293 The
                                                 most widely demonstrated at                             plant, which began operation in 2014, is               amount of flue gas captured is based in
                                                 commercial scale for post-combustion                    the first full-scale CO2 capture system                part on economic reasons (i.e., to meet
                                                 capture and are applicable to use with                  retrofit on an existing coal-fired power               related contract requirements). The
                                                 either combustion turbines or steam                     plant. It uses the amine-based Shell                   incentives for CO2 capture at Boundary
                                                 generating units.                                       CANSOLV® process, which includes an                    Dam beyond revenue from EOR have
                                                    The EPA’s identification of CCS with                                                                        been limited to date, and there have
                                                                                                         amine-based SO2 scrubbing process and
                                                 90 percent capture as the BSER is                                                                              been limited regulatory requirements for
                                                                                                         a separate amine-based CO2 capture
                                                 premised, in part, on an amine solvent-                                                                        CO2 capture at the facility. As a result,
                                                                                                         process, with integrated heat and power
                                                 based CO2 system. Amine solvents used                                                                          a portion (about 25 percent on average)
                                                                                                         from the steam generating unit.290
                                                 for carbon capture are typically                           After undergoing maintenance and                    of the flue gas bypasses the capture
                                                 proprietary, although non-proprietary                   design improvements in September and                   plant and is emitted untreated.
                                                 solvents (e.g., monoethanolamine, MEA)                  October of 2015 to address technical                   However, because of increasing
                                                 may be used. Carbon capture occurs by                   and mechanical challenges faced in its                 requirements to capture CO2 in Canada,
                                                 reactive absorption of the CO2 from the                 first year of operation, Boundary Dam                  Boundary Dam Unit 3 has more recently
                                                 flue gas into the amine solution in an                  Unit 3 completed a 72-hour test of its                 pursued further process optimization.
                                                 absorption column. The amine reacts                     design capture rate (3,240 metric tons/                   Total capture efficiencies at the plant
                                                 with the CO2 but will also react with                   day), and captured 9,695 metric tons of                have also been affected by technical
                                                 impurities in the flue gas, including                   CO2 or 99.7 percent of the design                      issues, particularly with the SO2
                                                 SO2. PM will also affect the capture                    capacity (approximately 89.7 percent                   removal system that is upstream of the
                                                 system. Adequate removal of SO2 and                     capture) with a peak rate of 3,341 metric              CO2 capture system. Operation of the
                                                 PM prior to the CO2 capture system is                   tons/day.291 However, the capture plant                SO2 removal system affects downstream
                                                 therefore necessary. After pretreatment                 has not consistently operated at this                  CO2 capture and the amount of flue gas
                                                 of the flue gas with conventional SO2                   total capture efficiency. In general, the              that can be processed. Specifically, fly
                                                 and PM controls, the flue gas goes                      capture plant ran less than 100 percent                ash (PM) in the flue gas at Boundary
                                                 through a quencher to cool the flue gas                 of the flue gas through the capture                    Dam Unit 3 contributed to fouling of
                                                 and remove further impurities before                    equipment and the coal-fired steam                     SO2 system components, particularly in
                                                 the CO2 absorption column. After                        generating unit also operates when the                 the SO2 reboiler and the demisters of the
                                                 absorption, the CO2-rich amine solution                 capture plant is offline for maintenance.              SO2 absorber column. Buildup of scale
                                                 passes to the solvent regeneration                      As a result, although the capture plant                in the SO2 reboiler limited heat transfer
                                                 column, while the treated gas passes                    has consistently achieved 90 percent                   and regeneration of the SO2 scrubbing
                                                 through a water and/or acid wash                        capture rates of the CO2 in the processed              amine, and high pressure drop affected
                                                 column to limit emission of amines or                   slipstream, the amount of CO2 captured                 the flowrate of the SO2 lean-solvent
                                                 other byproducts. In the solvent                        was less than 90 percent of the total                  back to the SO2 absorber. Likewise,
                                                 regeneration column, the solution is                    amount of CO2 in the flue gas of the                   fouling of the demisters in the SO2
                                                 heated (using steam) to release the                     steam generating unit. Some of the                     absorber column caused high pressure
                                                 absorbed CO2. The released CO2 is then                  reasons for this operation were due to                 drop and restricted the flow of flue gas
                                                 compressed and transported offsite,                     the economic incentives and regulatory                 through the system, limiting the amount
                                                   288 Technologies to capture CO are also
                                                                                                         requirements of the project, while other               of flue gas that could be processed by
                                                                                   2
                                                 discussed in the final TSD, GHG Mitigation              reasons were due to technical                          the downstream CO2 capture system. To
                                                 Measures—Carbon Capture and Storage for                                                                        address these technical issues,
                                                 Combustion Turbines.                                       290 Giannaris, S., et al. Proceedings of the 15th
                                                                                                                                                                additional wash systems were added,
                                                   289 For pre-combustion capture (as is applicable      International Conference on Greenhouse Gas
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                                                                                                                                                                including ‘‘demister wash systems, a
                                                 to an IGCC unit), syngas produced by gasification       Control Technologies (March 15–18, 2021).
                                                 passes through a water-gas shift catalyst to produce    SaskPower’s Boundary Dam Unit 3 Carbon Capture         pre-scrubber flue gas inlet curtain spray
                                                 a gas stream with a higher concentration of             Facility—The Journey to Achieving Reliability.         wash system, flue gas cooler throat
                                                 hydrogen and CO2. The higher CO2 concentration          https://papers.ssrn.com/sol3/papers.cfm?abstract_      sprays, and a booster fan wash
                                                 relative to conventional combustion flue gas            id=3820191.                                            system.’’ 294
                                                 reduces the demands (power, heating, and cooling)          291 SaskPower Annual Report (2015–16). https://

                                                 of the subsequent CO2 capture process (e.g., solid      www.saskpower.com/about-us/Our-Company/∼/
                                                                                                                                                                 293 Aquistore. https://ptrc.ca/aquistore.
                                                 sorbent-based or solvent-based capture); the treated    link.aspx?_id=29E795C8C20D48398EAB
                                                 hydrogen can then be combusted in the unit.             5E3273C256AD&_z=z.                                      294 Id.




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                                                    Such issues will definitively not                    G) ratio in the absorber and other                    tons of CO2 per year from the flue gas
                                                 occur in a different type of SO2 removal                process parameters,’’ as well as other                of the bituminous coal-fired steam
                                                 system (e.g., wet lime scrubber flue gas                optimization procedures.297 While                     generating units at the 63 MW Argus
                                                 desulfurization, wet-FGD). SO2                          foaming is mitigated by an antifoam                   Cogeneration Plant (Trona,
                                                 scrubbers have been successfully                        injection regimen, the EPA further notes              California).301 Amine-based carbon
                                                 operated for decades across a large                     that the extent of foaming that could                 capture has further been demonstrated
                                                 number of U.S. coal-fired sources. Of                   occur may be specific to the chemistry                at AES’s Warrior Run (Cumberland,
                                                 the coal-fired sources with planned                     of the solvent and the source’s flue gas              Maryland) and Shady Point (Panama,
                                                 operation after 2039, 60 percent have                   conditions—foaming was not reported                   Oklahoma) coal-fired power plants, with
                                                 wet FGD and 23 percent have a dry                       for MHI’s KS–1 solvent when treating                  the captured CO2 being sold for use in
                                                 FGD. In section VII.C.1.a.ii of this                    bituminous coal post-combustion flue                  the food processing industry.302 At the
                                                 preamble, the EPA accounts for the cost                 gas at Petra Nova. Lastly, while                      180 MW bituminous coal-fired Warrior
                                                 of adding a wet-FGD for those sources                   biological fouling in the CO2 absorber                Run plant, approximately 10 percent of
                                                 that do not have an FGD.                                wash water and the SO2 absorber caustic               the plant’s CO2 emissions (about
                                                    To further mitigate fouling due to fly               polisher has been observed, ‘‘the current             110,000 metric tons of CO2 per year) has
                                                 ash, the PM controls (electrostatic                     mitigation plan is to perform chemical                been captured since 2000 and sold to
                                                 precipitators) at Boundary Dam Unit 3                   shocking to remove this particular                    the food and beverage industry. AES’s
                                                 were upgraded in 2015/2016 by adding                    buildup.’’ 298                                        320 MW Shady Point plant fires
                                                 switch integrated rectifiers. Of the coal-                 Based on the experiences of Boundary               subbituminous and bituminous coal,
                                                 fired sources with planned operation                    Dam Unit 3, key improvements can be                   and captured CO2 from an approximate
                                                 after 2039, 31 percent have baghouses                   implemented in future CCS                             5 percent slipstream (about 66,000
                                                 and 67 percent have electrostatic                       deployments during initial design and                 metric tons of CO2 per year) from 2001
                                                 precipitators. Sources with baghouses                   construction. Improvements to PM and                  through around 2019.303 These
                                                 have greater or more consistent degrees                 SO2 controls can be made prior to                     facilities, which have operated for
                                                 of emission control, and wet FGD also                   operation of the CO2 capture system.                  multiple years, clearly show the
                                                 provides additional PM control.                         Where fly ash is present in the flue gas,             technical feasibility of post-combustion
                                                    Fouling at Boundary Dam Unit 3 also                  wash systems can be installed to limit                carbon capture.
                                                 affected the heat exchangers in both the                associated fouling. Additional
                                                 SO2 removal system and the CO2                                                                                (2) EPAct05-Assisted CO2 Capture
                                                                                                         redundancies and isolations of key heat-
                                                 capture system. Additional                                                                                    Projects at Coal-Fired Steam Generating
                                                                                                         exchangers can be made to allow for in-
                                                 redundancies and isolations to those                                                                          Units 304
                                                                                                         line cleaning during operation.
                                                 key components were added in 2017 to                    Redundancy of key equipment (e.g.,                    (a) Petra Nova
                                                 allow for online maintenance. Damage                    utilizing two CO2 compressor trains
                                                 to the capture plant’s CO2 compressor                                                                            Petra Nova is a 240 MW-equivalent
                                                                                                         instead of one) will further improve                  capture facility that is the first at-scale
                                                 resulted in an unplanned outage in                      operational availability. A feasibility
                                                 2021, and the issue was corrected.295                                                                         application of carbon capture at a coal-
                                                                                                         study for the Shand power plant, which                fired power plant in the U.S. The system
                                                 The facility reported 98.3 percent                      is also operated by SaskPower, includes
                                                 capture system availability in the third                                                                      is located at the subbituminous coal-
                                                                                                         many such design improvements, at an
                                                 quarter of 2023.296                                     overall cost that was less than the cost                 301 Dooley, J.J., et al. (2009). ‘‘An Assessment of
                                                    Regular maintenance further mitigates
                                                                                                         for Boundary Dam.299                                  the Commercial Availability of Carbon Dioxide
                                                 fouling in the SO2 and CO2 absorbers,                                                                         Capture and Storage Technologies as of June 2009.’’
                                                 and other challenges (e.g., foaming,                    (b) Other Coal-Fired Demonstrations                   U.S. DOE, Pacific Northwest National Laboratory,
                                                 biological fouling) typical of gas-liquid                 Several other projects have
                                                                                                                                                               under Contract DE–AC05–76RL01830.
                                                                                                                                                                  302 Dooley, J.J., et al. (2009). ‘‘An Assessment of
                                                 absorbers can be mitigated by standard                  successfully demonstrated the capture                 the Commercial Availability of Carbon Dioxide
                                                 procedures. According to the 2022                       component of CCS at electricity                       Capture and Storage Technologies as of June 2009.’’
                                                 paper co-authored by the International                  generating plants and other industrial                U.S. DOE, Pacific Northwest National Laboratory,
                                                 CCS Knowledge Centre and SaskPower,                     facilities, some of which were                        under Contract DE–AC05–76RL01830.
                                                 ‘‘[a] number of initiatives are ongoing or              previously noted in the discussion in
                                                                                                                                                                  303 Shady Point Plant (River Valley) was sold to

                                                 planned with the goal of eliminating                                                                          Oklahoma Gas and Electric in 2019. https://
                                                                                                         the 2015 NSPS.300 Since 1978, an                      www.oklahoman.com/story/business/columns/
                                                 flue gas bypass as follows: Since 2016,                 amine-based system has been used to                   2019/05/23/oklahoma-gas-and-electric-acquires-
                                                 online cleaning of demisters has been                                                                         aes-shady-point-after-federal-approval/
                                                                                                         capture approximately 270,000 metric
                                                 effective at controlling demister                                                                             60454346007/.
                                                 pressure; Chemical cleans and                             297 Jacobs, B., et al. Proceedings of the 16th
                                                                                                                                                                  304 In the 2015 NSPS, the EPA provided a legal

                                                 replacement of fouled packing in the                                                                          interpretation of the constraints on how the EPA
                                                                                                         International Conference on Greenhouse Gas            could rely on EPAct05-assisted projects in
                                                 absorber towers to reduce pressure                      Control Technologies (October 2022). Reducing the     determining whether technology is adequately
                                                 losses; Optimization of antifoam                        CO2 Emission Intensity of Boundary Dam Unit 3         demonstrated for the purposes of CAA section 111.
                                                 injection and other aspects of amine                    Through Optimization of Operating Parameters of       Under that legal interpretation, ‘‘these provisions
                                                                                                         the Power Plant and Carbon Capture Facilities.        [in the EPAct05] . . . preclude the EPA from
                                                 health, to minimize foaming potential;                  https://papers.ssrn.com/sol3/papers.cfm?abstract_     relying solely on the experience of facilities that
                                                 [and] Optimization of Liquid-to-Gas (L/                 id=4286430.                                           received [EPAct05] assistance, but [do] not . . .
                                                                                                           298 Pradoo, P., et al. Proceedings of the 16th
                                                                                                                                                               preclude the EPA from relying on the experience of
                                                   295 S&P Global Market Intelligence (January 6,        International Conference on Greenhouse Gas            such facilities in conjunction with other
                                                 2022). Only still-operating carbon capture project      Control Technologies (October 2022). Improving the    information.’’ As part of the rulemaking action here,
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                                                 battled technical issues in 2021. https://              Operating Availability of the Boundary Dam Unit 3     the EPA incorporates the legal interpretation and
                                                 www.spglobal.com/marketintelligence/en/news-            Carbon Capture Facility. https://papers.ssrn.com/     discussion of these EPAct05 provisions with respect
                                                 insights/latest-news-headlines/only-still-operating-    sol3/papers.cfm?abstract_id=4286503.                  the appropriateness of considering facilities that
                                                 carbon-capture-project-battled-technical-issues-in-       299 International CCS Knowledge Centre. The
                                                                                                                                                               received EPAct05 assistance in determining
                                                 2021-68302671.                                          Shand CCS Feasibility Study Public Report. https://   whether CCS is adequately demonstrated, as found
                                                   296 SaskPower (October 18, 2022). BD3 Status          ccsknowledge.com/pub/Publications/Shand_CCS_          in the 2015 NSPS, 80 FR 64509, 64541–43 (October
                                                 Update: Q3 2023. https://www.saskpower.com/             Feasibility_Study_Public_Report_Nov2018_(2021-        23, 2015), and the supporting response to
                                                 about-us/Our-Company/Blog/2023/BD3-Status-              05-12).pdf.                                           comments, EPA–HQ–OAR–2013–0495–11861 at
                                                 Update-Q3-2023.                                           300 80 FR 64548–54 (October 23, 2015).              pgs.113–134.



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                                                 fired W.A. Parish Generating Station in                 determination, because the final BSER is    presence of cooling tower fill (a solid
                                                 Thompsons, Texas, and began operation                   not premised on the CO2 capture plant       medium used to increase surface area in
                                                 in 2017, successfully capturing and                     using an auxiliary combined cycle plant     cooling towers) in the cooling water
                                                 sequestering CO2 for several years. The                 for steam and power. Rather, the final      system exchangers may have impacted
                                                 system was put into reserve shutdown                    BSER assumes the steam and power            performance. It is also possible that
                                                 (i.e., idled) in May 2020, citing the poor              come directly from the associated steam     there could have been some fouling in
                                                 economics of utilizing captured CO2 for                 generating unit. Extreme weather events     heat exchangers. Fill was planned to be
                                                 EOR at that time. On September 13,                      can affect the operation of any facility.   removed and fouling checked for during
                                                 2023, JX Nippon announced that the                      Furthermore, the BSER is not premised       regular maintenance. Petra Nova did not
                                                 carbon capture facility at Petra Nova                   on EOR, and it is not dependent on          observe fouling of the CO2 absorber
                                                 had been restarted.305 A final report                   downstream oil recovery or processing.      packing or high pressure drops across
                                                 from the National Energy Technology                     Outages attributable to the CO2 capture     the CO2 absorber bed, and Petra Nova
                                                 Laboratory (NETL) details the success of                facility were 41 days in 2017, 34 days      also did not report any foaming of the
                                                 the project and what was learned from                   in 2018, and 29 days in 2019—outages        solvent. Even with the challenges that
                                                 this first-of-a-kind demonstration at                   decreased year-on-year and were on          were faced, Petra Nova was never
                                                 scale.306 The project used Mitsubishi                   average less than 10 percent of the year.   restricted in reaching its maximum
                                                 Heavy Industry’s proprietary KM–CDR                     Planned and unplanned outages are           capture rate of 5,200 tons of CO2 per
                                                 Process®, a process that is similar to an               normal for industrial processes,            day, a scale that was substantially
                                                 amine-based solvent process but that                    including steam generating units.           greater than Boundary Dam Unit 3
                                                 uses a proprietary solvent. During its                    Petra Nova experienced some               (approximately 3,600 tons of CO2 per
                                                 operation, the project successfully                     technical challenges that were              day).
                                                 captured 92.4 percent of the CO2 from                   addressed during its first 3 years of
                                                                                                         operation.308 One of these issues was       (b) Plant Barry
                                                 the slip stream of flue gas processed
                                                 with 99.08 percent of the captured CO2                  leaks from heat exchangers due to the
                                                                                                         properties of the gasket materials—           Plant Barry, a bituminous coal-fired
                                                 sequestered by EOR.                                                                                 steam generating unit in Mobile,
                                                    The amount of flue gas treated at Petra              replacement of the gaskets addressed
                                                                                                         the issue. Another issue was vibration of   Alabama, began using the KM–CDR
                                                 Nova was consistent with a 240 MW                                                                   Process® in 2011 for a fully integrated
                                                 size coal-fired steam EGU. The                          the flue gas blower due to build-up of
                                                                                                         slurry and solids carryover. W.A. Parish    25 MWe CCS project with a capture rate
                                                 properties of the flue gas—composition,                                                             of 90 percent.309 The CCS project at
                                                 temperature, pressure, density, flowrate,               Unit 8 uses a wet limestone FGD
                                                                                                         scrubber to remove SO2, and the flue gas    Plant Barry captured approximately
                                                 etc.—are the same as would occur for a                                                              165,000 tons of CO2 annually, which
                                                 similarly sized coal-firing unit.                       connection to the capture plant is
                                                                                                         located at the bottom of the duct           was then transported via pipeline and
                                                 Therefore, Petra Nova corroborates that                                                             sequestered underground in geologic
                                                 the capture equipment—including the                     running from the wet-FGD to the
                                                                                                         original stack. A diversion wall and        formations.310
                                                 CO2 absorption column, solvent
                                                 regeneration column, balance of plant                   collection drains were installed to         (c) Project Tundra
                                                 equipment, and the solvent itself—work                  mitigate solids and slurry carryover.
                                                 at commercial scale and can achieve                     Regular maintenance is required to             Project Tundra is a carbon capture
                                                 capture rates of 90 percent.                            clean affected components and reduce        project in North Dakota at the Milton R.
                                                    The Petra Nova project did experience                the amount of slurry carryover to the       Young Station lignite coal-fired power
                                                 periodic outages that were unrelated to                 quencher. Solids and slurry carryover       plant. Project Tundra will capture up to
                                                 the CO2 capture facility and do not                     also resulted in calcium scale buildup      4 million metric tons of CO2 per year for
                                                 implicate the basis for the EPA’s BSER                  on the flue gas blower. Although            permanent geologic storage. One
                                                 determination.307 These include outages                 calcium concentrations were observed        planned storage site is collocated with
                                                 at either the coal-fired steam generating               to increase in the solvent, impacts of      the power plant and is already fully
                                                 unit (W.A. Parish Unit 8) or the                        calcium on the quencher and capture         permitted, while permitting for a second
                                                 auxiliary combined cycle facility,                      plant chemistry were not observed.          nearby storage site is in progress.311 An
                                                 extreme weather events (Hurricane                       Some scaling may have been occurring        air permit for the capture facility has
                                                 Harvey), and the operation of the EOR                   in the cooling section of the quencher      also been issued by North Dakota
                                                 site and downstream oil recovery and                    and would have been addressed during        Department of Environmental Quality.
                                                 processing. Outages at the coal-fired                   a planned outage in 2020. Another issue     The project is designed to capture CO2
                                                 steam generating unit itself do not                     encountered was scaling related to the      at a rate of about 95 percent of the
                                                 compromise the reliability of the CO2                   CO2 compressor intercoolers,                treated flue gas.312 The capture plant
                                                 capture plant or the plant’s ability to                 compressor dehydration system, and an       will treat the flue gas from the 455 MW
                                                                                                         associated heat exchanger. The issue        Unit 2 and additional flue gas from the
                                                 achieve a standard of performance based
                                                                                                         was determined to be due to a material      250 MW Unit 1, and will treat an
                                                 on CCS, as there would be no CO2 to
                                                                                                         incompatibility of the CO2 compressor       equivalent capacity of 530 MW.313 The
                                                 capture. Outages at the auxiliary
                                                                                                         intercooler, and the components were        project began a final FEED study in
                                                 combined cycle facility are also not
                                                                                                         replaced during a 2018 planned outage.      February 2023 with planned completion
                                                 relevant to the EPA’s BSER
                                                                                                         To mitigate the scaling prior to the
                                                   305 JX Nippon Oil & Gas Exploration Corporation.
                                                                                                         replacement of those components, the          309 U.S. Department of Energy (DOE). National
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                                                 Restart of the large-scale Petra Nova Carbon            compressor drain was also rerouted to       Energy Technology Laboratory (NETL). https://
                                                 Capture Facility in the U.S. (September 2023).          the reclaimer and a backup filtering        www.netl.doe.gov/node/1741.
                                                                                                                                                       310 80 FR 64552 (October 23, 2015).
                                                 https://www.nex.jx-group.co.jp/english/                 system was also installed and used, both
                                                 newsrelease/upload_files/20230913EN.pdf.                of which proved to be effective. Some
                                                                                                                                                       311 Project Tundra—Progress, Minnkota Power
                                                   306 W.A. Parish Post-Combustion CO Capture                                                        Cooperative, 2023. https://
                                                                                        2
                                                 and Sequestration Demonstration Project, Final
                                                                                                         decrease in performance was also            www.projecttundrand.com.
                                                 Scientific/Technical Report (March 2020). https://      observed in heat exchangers. The              312 See Document ID No. EPA–HQ–OAR–2023–

                                                 www.osti.gov/servlets/purl/1608572.                                                                 0072–0632.
                                                   307 Id.                                                308 Id.                                      313 Id.




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                                                 in April 2024,314 and, prior to selection               demonstrated. The FOA further notes                   and offer guarantees that 90 percent
                                                 by DOE for funding award negotiation,                   that the technologies used by the                     capture rates are achievable. Generally,
                                                 the project was scheduled to begin                      projects receiving funding should be                  while there are many CO2 capture
                                                 construction in 2024.315 The project will               proven such that, ‘‘the technologies                  methods available, solvent-based CO2
                                                 use MHI’s KS–21 solvent and the                         funded can be readily replicated and                  capture from post-combustion flue gas is
                                                 Advanced KM–CDR process. The MHI                        deployed into commercial practice.’’ 321              particularly applicable to fossil fuel-
                                                 solvent KS–1 and an advanced MHI                        The EPA also notes that this and other                fired EGUs. Solvent-based CO2 capture
                                                 solvent (likely KS–21) were previously                  on-going projects were announced well                 systems are commercially available from
                                                 tested on the lignite post-combustion                   in advance of the FOA. Considering                    technology providers including Shell,
                                                 flue gas from the Milton R. Young                       these factors, Project Tundra and other               Mitsubishi Heavy Industries (MHI),
                                                 Station.316 To provide additional                       similarly funded projects are supportive              Linde/BASF, Fluor and ION Clean
                                                 conditioning of the flue gas, the project               of the determination that CCS is                      Energy.
                                                 is utilizing a wet electrostatic                        adequately demonstrated.                                 Technology providers have made
                                                 precipitator (WESP). A draft                                                                                  statements asserting extensive
                                                 Environmental Assessment                                (d) Project Diamond Vault                             experience in CO2 capture and the
                                                 summarizing the project and potential                      Project Diamond Vault will capture                 commercial availability of CO2 capture
                                                 environmental impacts was released by                   up to 95 percent of CO2 emissions from                technologies. Solvent-based CO2 capture
                                                 DOE.317 Finally, Project Tundra was                     the 600 MW Madison Unit 3 at Brame                    was first patented in the 1930s.326 Since
                                                 selected for award negotiation for                      Energy Center in Lena, Louisiana.                     then, commercial solvent-based capture
                                                 funding from DOE.318                                    Madison Unit 3 fires approximately 70                 systems have been developed that are
                                                    That this project has funding through                percent petroleum coke and 30 percent                 focused on applications to post-
                                                 the Bipartisan Infrastructure Law, and                  bituminous (Illinois Basin) coal in a                 combustion flue gas. Several technology
                                                 that this funding is facilitated through                circulating fluidized bed. The FEED                   providers have over 30 years of
                                                 DOE’s Office of Clean Energy                            study for the project is targeted for                 experience applying solvent-based CO2
                                                 Demonstration’s (OCED) Carbon Capture                   completion on September 9, 2024.322 323               capture to the post-combustion flue gas
                                                 Demonstration Projects Program, does                    Construction is planned to begin by the               of fossil fuel-fired EGUs. In general,
                                                 not detract from the adequate                           end of 2025 with commercial operation                 technology providers describe the
                                                 demonstration of CCS. Rather, the goal                  starting in 2028.324 From the utility:                technologies for CO2 capture from post-
                                                 of that program is, ‘‘to accelerate the                 ‘‘Government Inflation Reduction Act                  combustion flue gas as ‘‘proven’’ or
                                                 implementation of integrated carbon                     (IRA) funding through 45Q tax credits                 ‘‘commercially available’’ or
                                                 capture and storage technologies and                    makes the project financially viable.                 ‘‘commercially proven’’ or ‘‘available
                                                 catalyze significant follow-on                          With these government tax credits, the                now’’ and describe their experience
                                                 investments from the private sector to                  company does not expect a rate increase               with CO2 capture from post-combustion
                                                 mitigate carbon emissions sources in                    as a result of this project.’’ 325                    flue gas as ‘‘extensive.’’ CO2 capture
                                                 industries across America.’’ 319 For the                                                                      rates of 90 percent or higher from post-
                                                 commercial scale projects, the stated                   (e) Other Projects                                    combustion flue gas have been proven
                                                 requirement of the funding opportunity                    Other projects have completed or are                by CO2 capture technology providers
                                                 announcement (FOA) is not that                          in the process of completing feasibility              using several commercially available
                                                 projects demonstrate CCS in general, but                work or FEED studies, or are taking                   solvents. Many of the available solvent
                                                 that they ‘‘demonstrate significant                     other steps towards installing CCS on                 technologies have over 50,000 hours of
                                                 improvements in the efficiency,                         coal-fired steam generating units. These              operation, equivalent to over 5 years of
                                                 effectiveness, cost, operational and                    projects are summarized in the final                  operation.
                                                 environmental performance of existing                   TSD, GHG Mitigation Measures for                         Shell has decades of experience in
                                                 carbon capture technologies.’’ 320 This                 Steam Generating Units, available in the              CO2 capture systems. Shell notes that
                                                 implies that the basic technology                       docket. In general, these projects target             ‘‘[c]apturing and safely storing carbon is
                                                 already exists and is already                           capture rates of 90 percent or above and              an option that’s available now.’’ 327
                                                                                                         provide evidence that sources are                     Shell has developed the CANSOLV®
                                                   314 ‘‘An Overview of Minnkota’s Carbon Capture
                                                                                                         actively pursuing the installation of                 CO2 capture system for CO2 capture
                                                 Initiative—Project Tundra,’’ 2023 LEC Annual                                                                  from post-combustion flue gas, a
                                                 Meeting, October 5, 2023.
                                                                                                         CCS.
                                                   315 Project Tundra—Progress, Minnkota Power
                                                                                                                                                               regenerable amine that the company
                                                                                                         (3) CO2 Capture Technology Vendor                     claims has multiple advantages
                                                 Cooperative, 2023. https://
                                                 www.projecttundrand.com.
                                                                                                         Statements                                            including ‘‘low parasitic energy
                                                   316 Laum, Jason. Subtask 2.4—Overcoming
                                                                                                           CO2 capture technology providers                    consumption, fast kinetics and
                                                 Barriers to the Implementation of Postcombustion        have issued statements supportive of the              extremely low volatility.’’ 328 Shell
                                                 Carbon Capture. https://www.osti.gov/biblio/
                                                 1580659.                                                application of systems and solvents for               further notes, ‘‘Moreover, the
                                                   317 DOE–EA–2197 Draft Environmental                   CO2 capture at fossil fuel-fired EGUs.                technology has been designed for
                                                 Assessment, August 17, 2023. https://                   These statements speak to the decades
                                                 www.energy.gov/nepa/listings/doeea-2197-                of experience that technology providers                  326 Bottoms, R.R. Process for Separating Acidic
                                                 documents-available-download.                                                                                 Gases (1930) United States patent application.
                                                   318 Carbon Capture Demonstration Projects
                                                                                                         have and as noted below, vendors attest,
                                                                                                                                                               United States Patent US1783901A; Allen, A.S. and
                                                 Selections for Award Negotiations. https://                                                                   Arthur, M. Method of Separating Carbon Dioxide
                                                                                                           321 Id.
                                                 www.energy.gov/oced/carbon-capture-                                                                           from a Gas Mixture (1933) United States Patent
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                                                                                                           322 Diamond Vault Carbon Capture FEED Study.
                                                 demonstration-projects-selections-award-                                                                      Application. United States Patent US1934472A.
                                                 negotiations.                                           https://netl.doe.gov/sites/default/files/netl-file/      327 Shell Global—Carbon Capture and Storage.
                                                   319 DOE. https://www.energy.gov/oced/carbon-          23CM_PSCC31_Bordelon.pdf.                             https://www.shell.com/energy-and-innovation/
                                                                                                           323 Note that while the FEED study is EPAct05-
                                                 capture-demonstration-projects-program-front-end-                                                             carbon-capture-and-storage.html.
                                                 engineering-design-feed-studies.                        assisted, the capture plant is not.                      328 Shell Global—CANSOLV® CO Capture
                                                                                                                                                                                                    2
                                                   320 DE–FOA–0002962. https://oced-                       324 Project Diamond Vault Overview. https://
                                                                                                                                                               System. https://www.shell.com/business-customers/
                                                 exchange.energy.gov/                                    www.cleco.com/docs/default-source/diamond-            catalysts-technologies/licensed-technologies/
                                                 FileContent.aspx?FileID=86c47d5d-835c-4343-86e8-        vault/project_diamond_vault_overview.pdf.             emissions-standards/tail-gas-treatment-unit/
                                                 2ba27d9dc119.                                             325 Id.                                             cansolv-co2.html.



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                                                 reliability through its highly flexible                 concentration than the CO2 contained in                Econamine FG Plus, Fluor notes that the
                                                 turn-up and turndown capacity.’’ 329                    the atmosphere.’’ 337                                  ‘‘[the] Technology [is] commercially
                                                 The company has stated that ‘‘Over 90%                     Linde engineering in partnership with               proven on natural gas, coal, and fuel oil
                                                 of the CO2 in exhaust gases can be                      BASF has made available BASF’s                         flue gases,’’ and further note that
                                                 effectively and economically removed                    OASE® blue amine solvent technology                    ‘‘[o]perating experience includes using
                                                 through the implementation of Shell’s                   for post-combustion CO2 capture. Linde                 steam reformers, gas turbines, gas
                                                 carbon capture technology.’’ 330 Shell                  notes their experience: ‘‘We have                      engines, and coal/natural gas boilers.’’
                                                 also notes, ‘‘Systems can be guaranteed                 longstanding experience in the design                     ION Clean Energy is a company
                                                 for bulk CO2 removal of over 90%.’’ 331                 and construction of chemical wash                      focused on post-combustion carbon
                                                    MHI in collaboration with Kansai                     processes, providing the necessary                     capture founded in 2008. ION’s ICE–21
                                                 Electric Power Co., Inc. began                          amine-based solvent systems and the                    solvent has been used at NCCC and
                                                 developing a solvent-based capture                      CO2 compression, drying and                            TCM Norway.344 ION has achieved
                                                 process (the KM CDR ProcessTM) using                    purification system.’’ 338 Linde also                  capture rates of 98 percent using the
                                                 the KS–1TM solvent in 1990.332 MHI                      notes that ‘‘[t]he BASF OASE® process                  ICE–31 solvent.
                                                 describes the extensive experience of                   is used successfully in more than 400
                                                                                                                                                                (4) CCS User Statements on CCS
                                                 commercial application of the solvent,                  plants worldwide to scrub natural,
                                                                                                         synthesis and other industrial gases.’’ 339               A number of the companies who have
                                                 ‘‘KS–1TM—a solvent whose high                                                                                  either completed large scale pilot
                                                 reliability has been confirmed by a track               The OASE® blue technology has been
                                                                                                         successfully piloted at RWE Power,                     projects or who are currently developing
                                                 record of deliveries to 15 commercial                                                                          full scale projects have also indicated
                                                                                                         Niederaussem, Germany (from 2009
                                                 plants worldwide.’’ 333 Notable                                                                                that CCS technology is currently a
                                                                                                         through 2017; 55,000 operating hours)
                                                 applications of KS–1TM and the KM–                                                                             viable technology for large coal-fired
                                                                                                         and the National Center for Carbon
                                                 CDR ProcessTM include applications at                                                                          power plants. In 2011, announcing a
                                                                                                         Capture in Wilsonville, Alabama
                                                 Plant Barry and Petra Nova. Previously,                                                                        decision not to move forward with the
                                                                                                         (January 2015 through January 2016;
                                                 MHI has achieved capture rates of                                                                              first full scale commercial CCS
                                                                                                         3,200 operating hours). Based on the
                                                 greater than 90 percent over long                                                                              installation of a carbon capture system
                                                                                                         demonstrated performance, Linde
                                                 periods and at full scale at the Petra                                                                         on a coal plant, AEP did not cite any
                                                                                                         concludes that ‘‘PCC plants combining
                                                 Nova project where the KS–1TM solvent                                                                          technology concerns, but rather
                                                                                                         Linde’s engineering skills and BASF’s
                                                 was used.334 MHI has further improved                                                                          indicated that ‘‘it is impossible to gain
                                                                                                         OASE® blue solvent technology are now
                                                 on the original process and solvent by                  commercially available for a wide range                regulatory approval to recover our share
                                                 making available the Advanced KM                        of applications.’’ 340 Linde and BASF                  of the costs for validating and deploying
                                                 CDR ProcessTM using the KS–21TM                         have demonstrated capture rates over 90                the technology without federal
                                                 solvent. From MHI, ‘‘Commercialization                  percent and operating availability 341                 requirements to reduce greenhouse gas
                                                 of KS–21TM solvent was completed                        rates of more than 97 percent during                   emissions already in place.’’ 345 Enchant
                                                 following demonstration testing in 2021                 55,000 hours of operation.                             Energy, a company developing CCS for
                                                 at the Technology Centre Mongstad in                       Fluor provides a solvent technology                 coal-fired power plants explained that
                                                 Norway, one of the world’s largest                      (Econamine FG Plus) and EPC services                   its FEED study for the San Juan
                                                 carbon capture demonstration                            for CO2 capture. Fluor describes their                 Generating Station, ‘‘shows that the
                                                 facilities.’’ 335 MHI has achieved CO2                  technology as ‘‘proven,’’ noting that,                 technical and business case for adding
                                                 capture rates of 95 to 98 percent using                 ‘‘Proven technology. Fluor Econamine                   carbon capture to existing coal-fired
                                                 both the KS–1TM and KS–21TM solvent                     FG Plus technology is a propriety                      power plants is strong.’’ 346 Rainbow
                                                 at the Technology Centre Mongstad                       carbon capture solution with more than                 Energy, who is developing a carbon
                                                 (TCM).336 Higher capture rates under                    30 licensed plants and more than 30                    capture project at the Coal Creek Power
                                                 modified conditions were also                           years of operation.’’ 342 Fluor further                Station in North Dakota explains,
                                                 measured, ‘‘In addition, in testing                     notes, ‘‘The technology builds on                      ‘‘CCUS technology has been proven and
                                                 conducted under modified operating                      Fluor’s more than 400 CO2 removal                      is an economical option for a facility
                                                 conditions, the KS–21TM solvent                         units in natural gas and synthesis gas                 like Coal Creek Station. We see CCUS as
                                                 delivered an industry-leading carbon                    processing.’’ 343 Fluor further states,                the best option to manage CO2
                                                 capture rate was 99.8% and                              ‘‘Fluor is a global leader in CO2 capture              emissions at our facility.’’ 347
                                                 demonstrated the successful recovery of                 [. . .] with long-term commercial
                                                 CO2 from flue gas of lower                                                                                     (5) State CCS Requirements
                                                                                                         operating experience in CO2 recovery
                                                                                                         from flue gas.’’ On the status of                        Several states encourage or even
                                                   329 Shell Catalysts & Technologies—Shell                                                                     require sources to install CCS. These
                                                 CANSOLV® CO2 Capture System. https://                     337 Id.                                              state requirements further indicate that
                                                 catalysts.shell.com/en/Cansolv-co2-fact-sheet.            338 Linde Engineering—Post Combustion Capture.       CCS is well-established and effective.
                                                   330 Id.
                                                                                                         https://www.linde-engineering.com/en/process-          These state laws include the Illinois
                                                   331 Id.
                                                                                                         plants/co2-plants/carbon-capture/post-combustion-
                                                   332 Mitsubishi Heavy Industries—CO Capture            capture/index.html.
                                                                                                                                                                2021 Climate and Equitable Jobs Act,
                                                                                        2
                                                 Technology—CO2 Capture Process. https://                  339 Linde and BASF—Carbon capture storage and        which requires privately owned coal-
                                                 www.mhi.com/products/engineering/co2plants_             utilisation. https://www.linde-engineering.com/en/
                                                 process.html.                                           images/Carbon-capture-storage-utilisation-Linde-         344 ION Clean Energy—Company. https://
                                                   333 Id.                                               BASF_tcm19-462558.pdf.                                 www.ioncleanenergy.com/company.
                                                   334 Note: Petra Nova is an EPAct05-assisted             340 Id.                                                345 https://www.aep.com/news/releases/read/
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                                                 project. W.A. Parish Post-Combustion CO2 Capture          341 Operating availability is the percent of time    1206/AEP-Places-Carbon-Capture-
                                                 and Sequestration Demonstration Project, Final          that the CO2 capture equipment is available relative   Commercialization-On-Hold-Citing-Uncertain-
                                                 Scientific/Technical Report (March 2020). https://      to its planned operation.                              Status-Of-Climate-Policy-Weak-Economy.
                                                 www.osti.gov/servlets/purl/1608572.                       342 Fluor—Comprehensive Solutions for Carbon           346 Enchant Energy. What is Carbon Capture and
                                                   335 Id.                                               Capture. https://www.fluor.com/client-markets/         Sequestration (CCS)? https://enchantenergy.com/
                                                   336 Mitsubishi Heavy Industries, ‘‘Mitsubishi         energy/production/carbon-capture.                      carbon-capture-technology/.
                                                 Heavy Industries Engineering Successfully                 343 Fluor—Econamine FG PlusSM. https://                347 Rainbow Energy Center. Carbon Capture.

                                                 Completes Testing of New KS–21TM Solvent for CO2        www.fluor.com/sitecollectiondocuments/qr/              https://rainbowenergycenter.com/what-we-do/
                                                 Capture,’’ https://www.mhi.com/news/211019.html.        econamine-fg-plus-brochure.pdf.                        carbon-capture/.



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                                                 fired units to reduce emissions to zero                   Pennsylvania’s 2021 Climate Action                        cycles greater than 60 percent.360 Prior
                                                 by 2030 and requires publicly owned                     Plan notes that the state is well                           demonstrations of CO2 capture plants on
                                                 coal-fired units to reduce emissions to                 positioned to install CCS to transition                     coal-fired steam generating units have
                                                 zero by 2045.348 Illinois has also                      the state’s electric fleet to a zero-carbon                 had turndown limits of approximately
                                                 imposed CCS-based CO2 emission                          economy.354 The state also established                      60 percent of throughput for Boundary
                                                 standards on new coal-fired power                       an interagency workgroup in 2019 to                         Dam Unit 3 361 and about 70 percent
                                                 plants since 2009 when the state                        identify ways to speed the deployment                       throughput for Petra Nova.362 Based on
                                                 adopted its Clean Coal Portfolio                        of CCS.                                                     the technology currently available,
                                                 Standard law.349 The statute required an                  The Governor of North Dakota                              turndown to throughputs of 50
                                                 initial capture rate of 50 percent when                 announced in 2021 an economy-wide                           percent 363 are achievable for a single
                                                 enacted but steadily increased the                      carbon neutral goal by 2030.355 The                         capture train.364 Considering that coal
                                                 capture rate requirement to 90 percent                  announcement singled out the Project                        units can typically only turndown to 40
                                                 in 2017, where it remains.                              Tundra Initiative, which is working to                      percent, a 50 percent turndown ratio for
                                                    Michigan in 2023 established a 100                   apply CCS technology to the state’s                         the CO2 capture plant is likely sufficient
                                                 percent clean energy requirement by                     Milton R. Young Power Station.                              for most sources, although utilizing two
                                                 2040 with a nearer term 80 percent                        The Governor of Wyoming has                               CO2 capture trains would allow for
                                                 clean energy by 2035 requirement.350                    broadly promoted a Decarbonizing the                        turndown to as low as 25 percent of
                                                 The statute encourages the application                  West initiative that includes the study                     throughput. When operating at less than
                                                 of CCS by defining ‘‘clean energy’’ to                  of CCS technologies to reduce carbon                        maximum throughputs, the CO2 capture
                                                 include generation resources that                       emissions from the region.356 A 2024                        facility actually achieves higher capture
                                                 achieve 90 percent carbon capture.                      Wyoming law also requires utilities in                      efficiencies, as evidenced by the data
                                                    California identifies carbon capture                 the state to install CCS technologies on                    collected at Boundary Dam Unit 3.365
                                                 and sequestration as a necessary tool to                a portion of their existing coal-fired                      Data from the Shand Feasibility Report
                                                 reduce GHG emissions within its 2022                    power plants by 2033.357                                    suggests that, for a solvent and design
                                                 scoping plan update 351 and, that same                                                                              achieving 90 percent capture at 100
                                                                                                         (6) Variable Load and Startups and                          percent of net load, 97.5 percent capture
                                                 year, enacted a statutory requirement                   Shutdowns
                                                 through Assembly Bill 1279 352                                                                                      is achievable at 62.5 percent of net
                                                                                                           In this section of the preamble, the                      load.366 Considering these factors, CO2
                                                 requiring the state to plan and
                                                                                                         EPA considers the effects of variable                       capture is, in general, able to meet the
                                                 implement policies that enable carbon
                                                                                                         load and startups and shutdowns on the                      variable load of coal-fired steam
                                                 capture and storage technologies.
                                                                                                         achievability of 90 percent capture.                        generating units without any adverse
                                                    Several states in different parts of the             First, the coal-fired steam generating                      impact on the CO2 capture rate. In fact,
                                                 country have adopted strategic and                      unit can itself turndown 358 to only                        operation at lower loads may lead to
                                                 planning frameworks that also                           about 40 percent of its maximum design
                                                 encourage CCS. Louisiana, which in                      capacity. Due to this, coal-fired EGUs                         360 U.S. Environmental Protection Agency (EPA).
                                                 2020 set an economy-wide net-zero goal                  have relatively high duty cycles 359—                       ‘‘Power Sector Emissions Data.’’ Washington, DC:
                                                 by 2050, has explored policies that                     that is, they do not cycle as frequently                    Office of Atmospheric Protection, Clean Air
                                                 encourage CCS deployment in the                                                                                     Markets Division. Available from EPA’s Air Markets
                                                                                                         as other sources and typically have high                    Program Data website: https://campd.epa.gov.
                                                 power sector. The state’s 2022 Climate                  average loads when operating. In 2021,                         361 Jacobs, B., et al. Proceedings of the 16th
                                                 Action Plan proposes a Renewable and                    coal-fired steam generating units had an                    International Conference on Greenhouse Gas
                                                 Clean Portfolio Standard requiring 100                  average duty cycle of 70 percent, and                       Control Technologies (March 15–18, 2021).
                                                 percent renewable or clean energy by                    more than 75 percent of units had duty
                                                                                                                                                                     Reducing the CO2 Emission Intensity of Boundary
                                                 2035.353 That proposal defines power                                                                                Dam Unit 3 Through Optimization of Operating
                                                                                                                                                                     Parameters of the Power Plant and Carbon Capture
                                                 plants achieving 90 percent carbon                         354 Pennsylvania Dept. of Environmental                  Facilities. https://papers.ssrn.com/sol3/
                                                 capture as a qualifying clean energy                    Protection. Pennsylvania Climate Action Plan                papers.cfm?abstract_id=4286430.
                                                 resource that can be used to meet the                   (2021). https://www.dep.pa.gov/Citizens/climate/               362 W.A. Parish Post-Combustion CO Capture
                                                                                                                                                                                                                  2

                                                 standard.                                               Pages/PA-Climate-Action-Plan.aspx.                          and Sequestration Demonstration Project, Final
                                                                                                            355 https://www.governor.nd.gov/news/updated-            Scientific/Technical Report (March 2020). https://
                                                                                                         waudio-burgum-addresses-williston-basin-                    www.osti.gov/servlets/purl/1608572.
                                                   348 State of Illinois General Assembly. Public Act
                                                                                                         petroleum-conference-issues-carbon-neutral.                    363 International CCS Knowledge Centre. The
                                                 102–0662: Climate and Equitable Jobs Act. 2021.            356 https://westgov.org/initiatives/overview/            Shand CCS Feasibility Study Public Report. https://
                                                 https://www.ilga.gov/legislation/publicacts/102/        decarbonizing-the-west.                                     ccsknowledge.com/pub/Publications/Shand_CCS_
                                                 PDF/102-0662.pdf.                                          357 State of Wyoming Legislature. SF0042. Low-           Feasibility_Study_Public_Report_Nov2018_(2021-
                                                   349 State of Illinois General Assembly. Public Act
                                                                                                         carbon Reliable Energy Standards-amendments.                05-12).pdf.
                                                 095–1027: Clean Coal Portfolio Standard Law.            https://www.wyoleg.gov/Legislation/2024/SF0042.                364 Here, a ‘‘train’’ in this context is a series of
                                                 https://www.ilga.gov/legislation/publicacts/95/PDF/        358 Here, ‘‘turndown’’ is the ability of a facility to   connected sequential process equipment. For
                                                 095-1027.pdf.                                           turn down some process value, such as flowrate,             carbon capture, a process train can include the
                                                   350 State of Michigan Legislature. Public Act 235
                                                                                                         throughput or capacity. Typically, this is expressed        quencher, absorber, stripper, and compressor.
                                                 of 2023. Clean and Renewable Energy and Energy          as a ratio relative to operation at its maximum             Rather than doubling the size of a single train of
                                                 Waste Reduction Act. https://legislature.mi.gov/        instantaneous capability. Because processes are             process equipment, a source could use two
                                                 documents/2023-2024/publicact/pdf/2023-PA-              designed to operate within specific ranges,                 equivalent sized trains.
                                                 0235.pdf.                                               turndown is typically limited by some lower                    365 Jacobs, B., et al. Proceedings of the 16th
                                                   351 California Air Resources Board, 2022 Scoping
                                                                                                         threshold.                                                  International Conference on Greenhouse Gas
                                                 Plan for Achieving Carbon Neutrality. https://             359 Here, ‘‘duty cycle’’ is the ratio of the gross       Control Technologies (March 15–18, 2021).
                                                 ww2.arb.ca.gov/sites/default/files/2023-04/2022-        amount of electricity generated relative to the             Reducing the CO2 Emission Intensity of Boundary
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                                                 sp.pdf.                                                 amount that could be potentially generated if the           Dam Unit 3 Through Optimization of Operating
                                                   352 State of California Legislature. Assembly Bill                                                                Parameters of the Power Plant and Carbon Capture
                                                                                                         unit operated at its nameplate capacity during every
                                                 1279 (2022). The California Climate Crisis Act.         hour of operation. Duty cycle is thereby an                 Facilities. https://papers.ssrn.com/sol3/
                                                 https://leginfo.legislature.ca.gov/faces/               indication of the amount of cycling or load                 papers.cfm?abstract_id=4286430.
                                                 billTextClient.xhtml?bill_id=202120220AB1279.           following a unit experiences (higher duty cycles               366 International CCS Knowledge Centre. The
                                                   353 Louisiana Climate Initiatives Task Force.         indicate less cycling, i.e., more time at nameplate         Shand CCS Feasibility Study Public Report. https://
                                                 Louisiana Climate Action Plan (February 1, 2022).       capacity when operating). Duty cycle is different           ccsknowledge.com/pub/Publications/Shand_CCS_
                                                 https://gov.louisiana.gov/assets/docs/CCI-Task-         from capacity factor, as the latter also quantifies the     Feasibility_Study_Public_Report_Nov2018_(2021-
                                                 force/CAP/ClimateActionPlanFinal.pdf.                   amount that the unit spends offline.                        05-12).pdf.



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                                                 higher achievable capture rates over                    compositions including a broad range of                 Young station (North Dakota),374 Project
                                                 long periods of time.                                   different coal ranks, differences in CO2                Diamond Vault at the petroleum coke-
                                                    Coal-fired steam generating units also               concentration are slight and the capture                and subbituminous-fired Brame Energy
                                                 typically have few startups and                         process can be designed to the                          Center Madison Unit 3 (Louisiana) 375
                                                 shutdowns per year, and CO2 emissions                   appropriate scale, amine solvents have                  and two units at the Jim Bridger Plant
                                                 during those periods are low. Although                  been used to capture CO2 from flue gas                  (Wyoming).376
                                                 capacity factor has declined in recent                  with much lower CO2 concentrations,                        Different coal ranks have different
                                                 years, as noted in section IV.D.3 of the                and differences in flue gas impurities                  carbon contents, affecting the
                                                 preamble, the number of startups per                    due to different coal compositions can                  concentration of CO2 in flue gas. In
                                                 year has been relatively stable. In 2011,               be managed or mitigated by controls.                    general, however, CO2 concentration of
                                                 coal-fired sources had about 10 startups                   As detailed in the preceding sections,               coal combustion flue gas varies only
                                                 on average. In 2021, coal-fired steam                   CO2 capture has been operated on flue                   between 13 and 15 percent. Differences
                                                 generating units had only 12 startups on                gas from the combustion of a broad                      in CO2 concentration can be accounted
                                                 average, see the final TSD, GHG                         range of coal ranks including lignite,                  for by appropriately designing the
                                                 Mitigation Measures for Steam                           bituminous, subbituminous, and                          capture equipment, including sizing the
                                                 Generating Units, available in the                      anthracite coals. Post-combustion CO2                   absorber columns. As detailed in section
                                                 docket. Prior to generation of electricity,             capture from the flue gas of an EGU                     VIII.F.4.c.iv of the preamble, CO2 has
                                                 coal-fired steam generating units use                   firing lignite has been demonstrated at                 been captured from the post-combustion
                                                 natural gas or distillate oil—which have                the Boundary Dam Unit 3 EGU                             flue gas of NGCCs, which typically have
                                                 a lower carbon content than coal—                       (Saskatchewan, Canada). Most lignites                   a CO2 concentration of 4 percent.
                                                 because of their ignition stability and                 have a higher ash and moisture content                     Prior to emission controls and pre-
                                                 low ignition temperature. Heat input                    than other coal types and, in that                      conditioning, characteristics of different
                                                 rates during startup are relatively low,                respect, the flue gas can be more                       coal ranks and boiler design result in
                                                 to slowly raise the temperature of the                  challenging to manage for CO2 capture.                  other differences in the flue gas
                                                 boiler. Existing natural gas- or oil-fired              Amine CO2 capture has also been used                    composition, including in the
                                                 ignitors designed for startup purposes                  to treat lignite post-combustion flue gas               concentration of SO2, NOX, PM, and
                                                 are generally sized for up to 15 percent                in pilot studies at the Milton R. Young                 trace impurities. Such impurities in the
                                                 of the maximum heat-input.                              station (North Dakota).367 CO2 capture                  flue gas can react with the solvent or
                                                 Considering the low heat input rate, use                solvents have been used to treat                        cause fouling of downstream processes.
                                                 of fuel with a lower carbon content, and                subbituminous post-combustion flue gas                  However, in general, most existing coal-
                                                 the relatively few startups per year, the               from W.A. Parish Generating Station                     fired steam generating units in the U.S.
                                                 contribution of startup to total GHG                    (Texas),368 and the bituminous post-                    have controls that are necessary for the
                                                 emissions is relatively low. Shutdowns                  combustion flue gas from Plant Barry                    pre-conditioning of flue gas prior to the
                                                 are relatively short events, so that the                (Mobile, Alabama),369 Warrior Run                       CO2 capture plant, including PM and
                                                 contribution to total emissions are also                (Maryland),370 and Argus Cogeneration                   SO2 controls. For those sources without
                                                 low. The emissions during startup and                   Plant (California).371 Amine solvents                   an FGD for SO2 control, the EPA
                                                 shutdown are therefore small relative to                have also been used to remove CO2 from                  included the costs of adding an FGD in
                                                 emissions during normal operation, so                   the flue gas of the bituminous- and                     its cost analysis. Other marginal
                                                 that any impact is averaged out over the                subbituminous-fired Shady Point                         differences in flue gas impurities can be
                                                 course of a year.                                       plant.372 CO2 capture solvents have
                                                                                                                                                                 managed by appropriately designing the
                                                    Furthermore, the IRC section 45Q tax                 been used to treat anthracite post-
                                                                                                                                                                 polishing column (direct contact cooler)
                                                 credit provides incentive for units to                  combustion flue gas at the
                                                 operate more. Sources operating at                                                                              for the individual source’s flue gas.
                                                                                                         Wilhelmshaven power plant
                                                 higher capacity factors are likely to have                                                                      Trace impurities can be mitigated using
                                                                                                         (Germany).373 There are also ongoing
                                                 fewer startups and shutdowns and                                                                                conventional controls in the solvent
                                                                                                         projects that will apply CCS to the flue
                                                 spend less time at low loads, so that                                                                           reclaiming process (e.g., an activated
                                                                                                         gas of coal-fired steam generating units.
                                                 their average load would be higher. This                                                                        carbon bed).
                                                                                                         The EPA considers these ongoing
                                                 would further minimize the                                                                                         Considering the broad range of coal
                                                                                                         projects to be indicative of the
                                                 insubstantial contribution of startups                                                                          post-combustion flue gases amine
                                                                                                         confidence that industry stakeholders
                                                 and shutdowns to total emissions.                                                                               solvents have been operated with, that
                                                                                                         have in CCS. These include Project
                                                 Additionally, as noted in the preceding                                                                         solvents capture CO2 from flue gases
                                                                                                         Tundra at the lignite-fired Milton R.
                                                 sections of the preamble, new solvents                                                                          with lower CO2 concentrations, that the
                                                 achieve capture rates of 95 percent at                    367 Laum, Jason. Subtask 2.4—Overcoming               capture process can be designed for
                                                 full load, and ongoing projects are                     Barriers to the Implementation of Postcombustion        different CO2 concentrations, and that
                                                 targeting capture rates of 95 percent.                  Carbon Capture. https://www.osti.gov/biblio/            flue gas impurities that may differ by
                                                                                                         1580659.                                                coal rank can be managed by controls,
                                                 Considering all of these factors, startup                 368 W.A. Parish Post-Combustion CO Capture
                                                 and shutdown, in general, do not affect
                                                                                                                                                    2
                                                                                                                                                                 the EPA therefore concludes that 90
                                                                                                         and Sequestration Demonstration Project, Final
                                                 the achievability of 90 percent capture                 Scientific/Technical Report (March 2020). https://      percent capture is achievable across all
                                                 over long periods (i.e., a year).                       www.osti.gov/servlets/purl/1608572.                     coal ranks, including waste coal.
                                                                                                           369 U.S. Department of Energy (DOE). National

                                                 (7) Coal Rank                                           Energy Technology Laboratory (NETL). https://             374 Project Tundra—Progress, Minnkota Power
                                                                                                         www.netl.doe.gov/node/1741.                             Cooperative, 2023. https://
                                                   CO2 capture at coal-fired steam
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                                                                                                           370 Dooley, J.J., et al. (2009). ‘‘An Assessment of
                                                                                                                                                                 www.projecttundrand.com.
                                                 generating units achieves 90 percent                    the Commercial Availability of Carbon Dioxide             375 Project Diamond Vault Overview. https://
                                                 capture, for the reasons detailed in                    Capture and Storage Technologies as of June 2009.’’     www.cleco.com/docs/default-source/diamond-
                                                 sections VII.C.1.a.i(B)(1) through (6) of               U.S. DOE, Pacific Northwest National Laboratory,        vault/project_diamond_vault_overview.pdf.
                                                                                                         under Contract DE–AC05–76RL01830.                         376 2023 Integrated Resource Plan Update,
                                                 this preamble. Moreover, 90 percent                       371 Id.
                                                                                                                                                                 PacifiCorp, April 1, 2024, https://
                                                 capture is achievable for all coal types                  372 Id.
                                                                                                                                                                 www.pacificorp.com/content/dam/pcorp/
                                                 because amine solvents have been used                     373 Reddy, et al. Energy Procedia, 37 (2013) 6216–    documents/en/pacificorp/energy/integrated-
                                                 to remove CO2 from a variety of flue gas                6225.                                                   resource-plan/2023_IRP_Update.pdf.



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                                                 (8) Natural Gas-Fired Combustion                        CO2 capture from coal-fired steam                    less than 32 km (20 miles) from
                                                 Turbines                                                generating units is adequately                       potential deep saline sequestration sites,
                                                    Additional information supporting                    demonstrated. Substantial additional                 73 percent is located within 50 km (31
                                                 the EPA’s determination that 90 percent                 information from EPAct05-assisted                    miles), 80 percent is located within 100
                                                 capture of CO2 from steam generating                    projects, as described in section                    km (62 miles), and 91 percent is within
                                                 units is adequately demonstrated is the                 VII.C.1.a.i.(B), provides additional                 160 km (100 miles). While the EPA’s
                                                 experience from CO2 capture from                        support and confirms that 90 percent                 analysis focuses on the geographic
                                                 natural gas-fired combustion turbines.                  CO2 capture from coal-fired steam                    availability of deep saline formations,
                                                 The EPA describes this information in                   generating units is adequately                       unmineable coal seams and depleted oil
                                                 section VIII.F.4.c.iv(B)(1), including                  demonstrated.                                        and gas reservoirs could also potentially
                                                 explaining how information about CO2                                                                         serve as storage formations depending
                                                                                                         (C) CO2 Transport
                                                                                                                                                              on site-specific characteristics. Thus, for
                                                 capture from coal-fired steam generating                   The EPA is finalizing its                         the majority of sources, only relatively
                                                 units also applies to natural gas-fired                 determination that CO2 transport by                  short pipelines would be needed for
                                                 combustion turbines. The reverse is true                pipelines as a component of CCS is                   transporting CO2 from the source to the
                                                 as well; information about CO2 capture                  adequately demonstrated. The EPA                     sequestration site. For the reasons
                                                 from natural gas-fired turbines can be                  anticipates that in the coming years, a              described below, the EPA believes that
                                                 applied to coal fired-units, for much the               large-scale interstate pipeline network              both new and existing EGUs are capable
                                                 same reasons.                                           may develop to transport CO2. Indeed,                of constructing CO2 pipelines as needed.
                                                 (9) Summary of Evidence Supporting                      PHMSA is currently engaged in a                      New EGUs may also be planned to be
                                                 BSER Determination Without EPAct05-                     rulemaking to update and strengthen its              co-located with a storage site so that
                                                 Assisted Projects                                       safety regulations for CO2 pipelines,                minimal transport of the CO2 is
                                                                                                         which assumes that such a pipeline                   required. The EPA has assurance that
                                                   As noted above, under the EPA’s                       network will develop.377 For purposes
                                                 interpretation of the EPAct05                                                                                the necessary pipelines will be safe
                                                                                                         of determining the CCS BSER in this                  because the safety of existing and new
                                                 provisions, the EPA may not rely on                     final action, however, the EPA did not
                                                 capture projects that received assistance                                                                    supercritical CO2 pipelines is
                                                                                                         base its analysis of the availability of             comprehensively regulated by
                                                 under EPAct05 as the sole basis for a                   CCS on the projected existence of a                  PHMSA.379
                                                 determination of adequate                               large-scale interstate pipeline network.
                                                 demonstration, but the EPA may rely on                  Instead, the EPA adopted a more                      (1) CO2 Transport Demonstrations
                                                 those projects to support or corroborate                conservative approach. The BSER is                     The majority of CO2 transported in the
                                                 other information that supports such a                  premised on the construction of                      United States is moved through
                                                 determination. The information                          relatively short lateral pipelines that              pipelines. CO2 pipelines have been in
                                                 described above that supports the EPA’s                 extend from the source to the nearest                use across the country for nearly 60
                                                 determination that 90 percent CO2                       geologic storage reservoir. While the                years. Operation of this pipeline
                                                 capture from coal-fired steam generating                EPA anticipates that sources would                   infrastructure for this period of time
                                                 units is adequately demonstrated,                       likely avail themselves of an existing               establishes that the design, construction,
                                                 without consideration of the EPAct05-                   interstate pipeline network if one were              and operational requirements for CO2
                                                 assisted projects, includes (i) the                     constructed and that using an existing               pipelines have been adequately
                                                 information concerning Boundary Dam,                    network would reduce costs, the EPA’s                demonstrated.380 PHMSA reported that
                                                 coupled with engineering analysis                       analysis focuses on steps that an                    8,666 km (5,385 miles) of CO2 pipelines
                                                 concerning key improvements that can                    individual source could take to access               were in operation in 2022, a 14 percent
                                                 be implemented in future CCS                            CO2 storage independently.                           increase in CO2 pipeline miles since
                                                 deployments during initial design and                      EGUs that do not currently capture                2011.381 This pipeline infrastructure
                                                 construction (i.e., all the information in              and transport CO2 will need to construct             continues to expand with a number of
                                                 section VII.C.1.a.i.(B)(1)(a) and the                   new CO2 pipelines to access CO2 storage              anticipated projects underway.
                                                 information concerning Boundary Dam                     sites, or make arrangements with                       The U.S. CO2 pipeline network
                                                 in section VII.C.1.a.i.(B)(1)(b)); (ii) the             pipeline owners and operators who can                includes major trunkline (i.e., large
                                                 information concerning other coal-fired                 do so. Most coal-fired steam EGUs,                   capacity) pipelines as well as shorter,
                                                 demonstrations, including the Argus                     however, are located in relatively close             smaller capacity lateral pipelines
                                                 Cogeneration Plant and AES’s Warrior                    proximity to deep saline formations that             connecting a CO2 source to a larger
                                                 Run (i.e., all the information concerning               have the potential to be used as long-               trunkline or connecting a CO2 source to
                                                 those sources in section                                term CO2 storage sites.378 Of existing               a nearby CO2 end use. While CO2
                                                 VII.C.1.a.i.(B)(1)(a)); (iii) the information           coal-fired steam generating capacity
                                                 concerning industrial applications of                   with planned operation during or after                  379 PHMSA additionally initiated a rulemaking in

                                                 CCS (i.e., all the information in section               2039, more than 50 percent is located                2022 to develop and implement new measures to
                                                 VII.C.1.a.i.(A)(1); (iv) the information                                                                     strengthen its safety oversight of CO2 pipelines
                                                                                                                                                              following investigation into a CO2 pipeline failure
                                                 concerning CO2 capture technology                          377 PHMSA submitted the associated Notice of
                                                                                                                                                              in Satartia, Mississippi in 2020. For more
                                                 vendor statements (i.e., all the                        Proposed Rulemaking to the White House Office of
                                                                                                         Management and Budget on February 1, 2024 for        information, see: https://www.phmsa.dot.gov/news/
                                                 information in section VII.C.1.a.i.(B)(3));             pre-publication review. The notice stated that the   phmsa-announces-new-safety-measures-protect-
                                                 (v) information concerning carbon                       proposed rulemaking would enhance safety             americans-carbon-dioxide-pipeline-failures.
                                                                                                                                                                 380 For additional information on CO
                                                                                                         regulations to ‘‘accommodate an anticipated
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                                                 capture at natural gas-fired combustion                                                                                                               2
                                                                                                         increase in the number of carbon dioxide pipelines   transportation infrastructure project timelines, costs
                                                 turbines other than EPAct05-assisted                    and volume of carbon dioxide transported.’’ Office   and other details, please see EPA’s final TSD, GHG
                                                 projects (i.e., all the information other               of Management and Budget. https://                   Mitigation Measures for Steam Generating Units.
                                                 than information about EPAct05-                         www.reginfo.gov/public/do/                              381 U.S. Department of Transportation, Pipeline

                                                 assisted projects in section                            eAgendaViewRule?pubId=202310&RIN=2137-AF60.          and Hazardous Material Safety Administration,
                                                                                                            378 Individual saline formations would require    ‘‘Hazardous Annual Liquid Data.’’ 2022. https://
                                                 VIII.F.4.c.iv.(B)(1)). All this information             site-specific characterization to determine their    www.phmsa.dot.gov/data-and-statistics/pipeline/
                                                 by itself is sufficient to support the                  suitability for geologic sequestration and the       gas-distribution-gas-gathering-gas-transmission-
                                                 EPA’s determination that 90 percent                     potential capacity for storage.                      hazardous-liquids.



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                                                 pipelines are generally more                               percent is within 402 km (250 miles) of                 other words, more pipeline buildout for
                                                 economical, other methods of CO2                           potential sequestration sites. In total,                one compliance method necessarily
                                                 transport may also be used in certain                      assuming all existing coal-fired steam                  means less pipeline buildout for the
                                                 circumstances and are detailed in the                      generating capacity with planned                        other method. Therefore, there is no
                                                 final TSD, GHG Mitigation Measures for                     operation during or after 2039 adopts                   compliance scenario in which the total
                                                 Steam Generating Units.                                    CCS, the EPA analysis shows that                        pipeline construction is equal to the
                                                 (a) Distance of CO2 Transport for Coal-                    approximately 8,000 km (5,000 miles) of                 sum of the CCS and natural gas co-firing
                                                 Fired Power Plants                                         CO2 pipelines would be constructed by                   pipeline estimates presented in this
                                                                                                            2032. This includes units located at any                preamble.
                                                    An important factor in the                              distance from sequestration. Note that                    While natural gas line construction
                                                 consideration of the feasibility of CO2                    this value is not optimized for the least               may be easier in some circumstances
                                                 transport from existing coal-fired steam                   total pipeline length, but rather                       given the uniform federal regulation that
                                                 generating units to sequestration sites is                 represents the approximate total                        governs those such construction, the
                                                 the distance the CO2 must be                               pipeline length that would be required                  historical trends support the EPA’s
                                                 transported. As discussed in section                       if each power plant constructed a lateral               conclusion that constructing less CO2
                                                 VII.C.1.a.i(D), potential sequestration                    pipeline connecting their power plant to                pipeline length over a several year
                                                 formations include deep saline                             the nearest potential saline                            period is feasible.
                                                 formations, unmineable coal seams, and                     sequestration site.384
                                                 oil and gas reservoirs. Based on data                                                                              (b) CO2 Pipeline Examples
                                                                                                               Additionally, the EPA’s compliance
                                                 from DOE/NETL studies of storage                           modeling projects 3,300 miles of CO2                       PHMSA reported that 8,666 km (5,385
                                                 resources, of existing coal-fired steam                    pipeline buildout in the baseline and                   miles) of CO2 pipelines were in
                                                 generating capacity with planned                           4,700 miles of pipeline buildout in the                 operation in 2022.387 Due to the unique
                                                 operation during or after 2039, 80                         policy scenario. This is comparable to                  nature of each project, CO2 pipelines
                                                 percent is within 100 km (62 miles) of                     the 4,700 to 6,000 miles of CO2 pipeline                vary widely in length and capacity.
                                                 potential deep saline sequestration sites,                 buildout estimated by other simulations                 Examples of projects that have utilized
                                                 and another 11 percent is within 160 km                    examining similar scenarios of coal CCS                 CO2 pipelines include the following:
                                                 (100 miles).382 In other words, 91                         deployment.385 Over 5 years, this total                 Beaver Creek (76 km), Monell (52.6 km),
                                                 percent of this capacity is within 160                     projected CO2 pipeline capacity would                   Bairoil (258 km), Salt Creek (201 km),
                                                 km (100 miles) of potential deep saline                    amount to about 660 to 940 miles per                    Sheep Mountain (656 km), Slaughter (56
                                                 sequestration sites. In gigawatts, of the                  year on average.386 This projected                      km), Cortez (808 km), Central Basin (231
                                                 81 GW of coal-fired steam generation                       pipeline mileage is comparable to other                 km), Canyon Reef Carriers (354 km), and
                                                 capacity with planned operation during                     types of pipelines that are regularly                   Choctaw (294 km). These pipelines
                                                 or after 2039, only 16 GW is not within                    constructed in the United States each                   range in capacity from 1.6 million tons
                                                 100 km (62 miles) of a potential saline                    year. For example, based on data                        per year to 27 million tons per year, and
                                                 sequestration site, and only 7 GW is not                   collected by EIA, the total annual                      transported CO2 for uses such as
                                                 within 160 km (100 mi). The vast                           mileage of natural gas pipelines                        EOR.388
                                                 majority of these units (on the order of                   constructed over the 2017–2021 period                      Most sources deploying CCS are
                                                 80 percent) can reach these deep saline                                                                            anticipated to construct pipelines that
                                                                                                            ranged from approximately 1,000 to
                                                 sequestration sites by building an                                                                                 run from the source to the sequestration
                                                                                                            2,500 miles per year. The projected
                                                 intrastate pipeline. This distance is                                                                              site. Similar CO2 pipelines have been
                                                                                                            annual average CO2 pipeline mileage is
                                                 consistent with the distances referenced                                                                           successfully constructed and operated
                                                                                                            less than each year in this historical
                                                 in studies that form the basis for                                                                                 in the past. For example, a 109 km (68
                                                                                                            natural gas pipeline range, and
                                                 transport cost estimates for this final                                                                            mile) CO2 pipeline was constructed
                                                                                                            significantly less than the upper end of
                                                 rule.383 While the EPA’s analysis                                                                                  from a fertilizer plant in Coffeyville,
                                                                                                            this range.
                                                 focuses on the geographic availability of                                                                          Kansas, to the North Burbank Unit, an
                                                                                                               The EPA also notes that the pipeline
                                                 deep saline formations, unmineable coal                                                                            EOR operation in Oklahoma.389
                                                                                                            construction estimates presented in this
                                                 seams and depleted oil and gas                                                                                     Chaparral Energy entered a long-term
                                                                                                            section are not additive with the natural
                                                 reservoirs could also potentially serve as                                                                         CO2 purchase and sale agreement with
                                                                                                            gas co-firing pipeline construction
                                                 storage formations depending on site-                                                                              a subsidiary of CVR Energy for the
                                                                                                            estimates presented below because
                                                 specific characteristics.
                                                                                                            individual sources will not elect to                    capture of CO2 from CVR’s nitrogen
                                                    Of the 9 percent of existing coal-fired
                                                 steam generating capacity with planned                     utilize both compliance methods. In                     fertilizer plant in 2011.390 The pipeline
                                                 operation during or after 2039 that is not                    384 Note that multiple coal-fired EGUs may be           387 U.S. Department of Transportation, Pipeline
                                                 within 160 km (100 miles) of a potential                   located at each power plant.                            and Hazardous Material Safety Administration,
                                                 deep saline sequestration site, 5 percent                     385 CO Pipeline Analysis for Existing Coal-Fired
                                                                                                                       2
                                                                                                                                                                    ‘‘Hazardous Annual Liquid Data.’’ 2022. https://
                                                 is within 241 km (150 miles) of                            Powerplants. Chen et. al. Los Alamos National Lab.      www.phmsa.dot.gov/data-and-statistics/pipeline/
                                                 potential saline sequestration sites, an                   2024. https://permalink.lanl.gov/object/                gas-distribution-gas-gathering-gas-transmission-
                                                                                                            tr?what=info:lanl-repo/lareport/LA-UR-24-23321.         hazardous-liquids.
                                                 additional 3 percent is within 322 km                         386 In the EPA’s representative timeline, the CO        388 Noothout, Paul. Et. Al. (2014). ‘‘CO Pipeline
                                                                                                                                                                                                               2
                                                 (200 miles) of potential saline                            pipeline is constructed in an 18-month period. In
                                                                                                                                                               2
                                                                                                                                                                    infrastructure—lessons learnt.’’ https://
                                                 sequestration sites, and another 1                         practice, all CO2 pipeline construction projects        www.sciencedirect.com/science/article/pii/
                                                                                                            would be spread over a larger time period. In the       S187661021402864.
                                                                                                                                                                       389 Rassenfoss, Stephen. (2014). ‘‘Carbon Dioxide:
                                                                                                            Transport and Storage Timeline Summary, ICF
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                                                    382 Sequestration potential as it relates to distance

                                                 from existing resources is a key part of the EPA’s         (2024), available in Docket ID EPA–HQ–OAR–              From Industry to Oil Fields.’’ ttps://jpt.spe.org/
                                                 regular power sector modeling development, using           2023–0072, permitting is 1.5 years. Some CO2            carbon-dioxide-industry-oil-fields.
                                                 data from DOE/NETL studies. For details, please see        pipeline construction would therefore likely begin         390 GlobeNewswire. ‘‘Chaparral Energy Agrees to

                                                 chapter 6 of the IPM documentation. https://               by the start of 2028, or even earlier considering on-   a CO2 Purchase and Sale Agreement with CVR
                                                 www.epa.gov/system/files/documents/2021-09/                going projects. With the one-year compliance            Energy for Capture of CO2 for Enhanced Oil
                                                 chapter-6-co2-capture-storage-and-transport.pdf.           extension for delays outside of the owner/operators     Recovery.’’ March 29, 2011. https://
                                                    383 The pipeline diameter was sized for this to be      control that would provide extra time if there were     www.globenewswire.com/news-release/2011/03/29/
                                                 achieved without the need for recompression stages         challenges in building pipelines, the construction      443163/10562/en/Chaparral-Energy-Agrees-to-a-
                                                 along the pipeline length.                                 on CO2 pipelines could occur during 2032.               CO2-Purchase-and-Sale-Agreement-With-CVR-



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                                                 was then constructed, and operations                    km (5 miles) long.397 398 399 Additionally,         network with existing pipelines in the
                                                 started in 2013.391 Furthermore, a 132                  Project Tundra, a saline sequestration              region—including the Denbury
                                                 km (82 mile) pipeline was constructed                   project planned at the lignite-fired                Greencore pipeline, which was
                                                 from the Terrell Gas facility (formerly                 Milton R. Young Station in North                    completed in 2012 and is 232 miles
                                                 Val Verde) in Texas to supply CO2 for                   Dakota will transport CO2 via a 0.4 km              long, running from the Lost Cabin gas
                                                 EOR projects in the Permian Basin.392                   (0.25 mile) pipeline.400                            plant in Wyoming to Bell Creek Field in
                                                 Additionally, the Kemper Country CCS                                                                        Montana.403
                                                                                                         (d) Existing and Planned CO2                          In addition to the existing pipeline
                                                 project in Mississippi, was designed to
                                                                                                         Trunklines                                          network, there are a number of large
                                                 capture CO2 from an integrated
                                                 gasification combined cycle power                          Although the BSER is premised on the             CO2 trunklines that are planned or in
                                                 plant, and transport CO2 via a 96 km (60                construction of pipelines that connect              progress, which could further reduce
                                                 mile) pipeline to be used in EOR.393                    the CO2 source to the sequestration site,           the number of miles of pipeline that a
                                                 Construction for this facility                          in practice some sources may construct              source may need to construct. Several
                                                 commenced in 2010 and was completed                     short laterals to existing CO2 trunklines,          major projects have recently been
                                                 in 2014.394 Furthermore, the Citronelle                 which can reduce the number of miles                announced to expand the CO2 pipeline
                                                 Project in Alabama, which was the                       of pipeline that may need to be                     network across the United States. For
                                                 largest demonstration of a fully                        constructed. A map displaying both                  example, the Summit Carbon Solutions
                                                 integrated, pulverized coal-fired CCS                   existing and planned CO2 pipelines,                 Midwest Carbon Express project has
                                                 project in the United States as of 2016,                overlayed on potential geologic                     proposed to add more than 3,200 km
                                                 utilized a dedicated 19 km (12 mile)                    sequestration sites, is available in the            (2,000) miles of dedicated CO2 pipeline
                                                 pipeline constructed by Denbury                         final TSD, GHG Mitigation Measures for              in Iowa, Nebraska, North Dakota, South
                                                 Resources in 2011 to transport CO2 to a                 Steam Generating Units. Pipelines                   Dakota, and Minnesota. The Midwest
                                                 saline storage site.395                                 connect natural CO2 sources in south                Carbon Express is projected to begin
                                                                                                         central Colorado, northeast New                     operations in 2026. Further, Wolf
                                                 (c) EPAct05-Assisted CO2 Pipelines for                  Mexico, and Mississippi to oil fields in            Carbon Solutions has recently
                                                 CCS                                                     Texas, Oklahoma, New Mexico, Utah,                  announced that it plans to refile permit
                                                                                                         and Louisiana. The Cortez pipeline is               applications for the Mt. Simon Hub,
                                                    Consistent with the EPA’s legal                                                                          which will expand the CO2 pipeline by
                                                 interpretation that the Agency can rely                 the longest CO2 pipeline, and it
                                                                                                         traverses over 800 km (500) miles from              450 km (280 miles) in the Midwest.
                                                 on experience from EPAct05 funded                                                                           Tallgrass announced in 2022 a plan to
                                                 facilities in conjunction with other                    southwest Colorado to Denver City,
                                                                                                         Texas CO2 Hub, where it connects with               convert an existing 630 km (392 mile)
                                                 information, this section provides                                                                          natural gas pipeline to carry CO2 from
                                                 additional examples of CO2 pipelines                    several other CO2 pipelines. Many
                                                                                                         existing CO2 pipelines in the U.S. are              an ADM ethanol production facility in
                                                 with EPAct05 funding. CCS projects                                                                          Nebraska to a planned commercial-scale
                                                 with EPAct05 funding have built                         located in the Permian Basin region of
                                                                                                         west Texas and eastern New Mexico.                  CO2 sequestration hub in Wyoming
                                                 pipelines to connect the captured CO2                                                                       aimed for completion in 2024.404
                                                 source with sequestration sites,                        CO2 pipelines in Wyoming, Texas, and
                                                                                                         Louisiana also carry CO2 captured from              Recently, as part of agreeing to a
                                                 including Illinois Industrial Carbon                                                                        communities benefits plan, a number of
                                                 Capture and Storage in Illinois, Petra                  natural gas processing plants and
                                                                                                         refineries to EOR projects. Additional              community groups have agreed that
                                                 Nova in Texas, and Red Trail Energy in                                                                      they will support construction of the
                                                 North Dakota. The Petra Nova project,                   pipelines have been constructed to meet
                                                                                                         the demand for CO2 transportation. A                Tallgrass pipeline in Nebraska.405 While
                                                 which restarted operations in September                                                                     the construction of larger networks of
                                                 2023,396 transports CO2 via a 131 km (81                170 km (105 mile) CO2 pipeline owned
                                                                                                         by Denbury connecting oil fields in the             trunklines could facilitate CCS for
                                                 mile) pipeline to the injection site,                                                                       power plants, the BSER is not
                                                 while the Illinois Industrial Carbon                    Cedar Creek Anticline (located along the
                                                                                                         Montana-North Dakota border) to CO2                 predicated on the buildout of a
                                                 Capture project and Red Trail Energy                                                                        trunkline network and the existence of
                                                 transport CO2 using pipelines under 8                   produced in Wyoming was completed
                                                                                                         in 2021, and a 30 km (18 mile) pipeline             future trunklines was not assumed in
                                                                                                         also owned by Denbury connects to the               the EPA’s feasibility or costing analysis.
                                                 Energy-for-Capture-of-CO2-for-Enhanced-Oil-
                                                                                                         same oil field and was completed in                 The EPA’s analysis is conservative in
                                                 Recovery.html.                                                                                              that it does not presume the buildout of
                                                   391 Chaparral Energy. ‘‘A ‘CO Midstream’              2022.401 402 These pipelines form a
                                                                                  2
                                                                                                                                                             trunkline networks. The development of
                                                 Overview: EOR Carbon Management Workshop.’’
                                                 December 10, 2013. https://www.co2conference.net/         397 Technical Review of Subpart RR MRV Plan for   more robust and interconnected
                                                 wp-content/uploads/2014/01/13-Chaparral-CO2-            Petra Nova West Ranch Unit. (2021). https://        pipeline systems over the next several
                                                 Midstream-Overview-2013.12.09new.pdf.                   www.epa.gov/system/files/documents/2021-09/         years would merely lower the EPA’s
                                                   392 ‘‘Val Verde Fact Sheet: Commercial EOR using      wru_decision.pdf.
                                                 Anthropogenic Carbon Dioxide.’’ https://                  398 Technical Review of Subpart RR MRV Plan for
                                                                                                                                                               402 AP News. Officials mark start of CO pipeline
                                                                                                                                                                                                        2
                                                 sequestration.mit.edu/tools/projects/val_               Archer Daniels Midland Illinois Industrial Carbon   used for oil recovery. (2022) https://apnews.com/
                                                 verde.html.                                             Capture and Storage Project. (2017). https://       article/business-texas-north-dakota-plano-
                                                   393 Kemper County IGCC Fact Sheet: Carbon             www.epa.gov/sites/default/files/2017-01/            25f1dbf9a924613a56827c1c83e4ba68.
                                                 Dioxide Capture and Storage Project. https://           documents/adm_final_decision.pdf.                     403 Denbury. Detailed Pipeline and Ownership
                                                 sequestration.mit.edu/tools/projects/kemper.html.         399 Red Trail Energy Subpart RR Monitoring,
                                                                                                                                                             Information. (2022) https://www.denbury.com/wp-
                                                   394 Office of Fossil Energy and Carbon                Reporting, and Verification (MRV) Plan. (2022).     content/uploads/2022/11/DEN-Pipeline-
                                                 Management. Southern Company—Kemper County,             https://www.epa.gov/system/files/documents/2022-    Schedule.pdf.
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                                                 Mississippi. https://www.energy.gov/fecm/               04/rtemrvplan.pdf.                                    404 Tallgrass. Tallgrass to Capture and Sequester
                                                 southern-company-kemper-county-mississippi.               400 Technical Review of Subpart RR MRV Plan for
                                                                                                                                                             CO2 Emissions from ADM Corn Processing Complex
                                                   395 Citronelle Project. National Energy               Tundra SGS LLC at the Milton R. Young Station.      in Nebraska. (2022). https://tallgrass.com/
                                                 Technology Laboratory. (2018). https://                 (2022). https://www.epa.gov/system/files/           newsroom/press-releases/tallgrass-to-capture-and-
                                                 www.netl.doe.gov/sites/default/files/2018-11/           documents/2022-04/tsgsdecision.pdf.                 sequester-co2-emissions-from-adm-corn-processing-
                                                 Citronelle-SECARB-Project.PDF.                            401 Denbury. Detailed Pipeline and Ownership      complex-in-nebraska.
                                                   396 Jacobs, Trent. (2023). ‘‘A New Day Begins for     Information. (2022) https://www.denbury.com/wp-       405 https://boldnebraska.org/upcoming-meetings-

                                                 Shuttered Petra Nova CCUS.’’ https://jpt.spe.org/a-     content/uploads/2022/11/DEN-Pipeline-               understanding-the-new-tallgrass-carbon-pipeline-
                                                 new-day-begins-for-shuttered-petra-nova-ccus.           Schedule.pdf.                                       community-benefits-agreement/.



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                                                 cost projections and create additional                  authority, which typically accompanies                    Pennsylvania have created a joint
                                                 CO2 transport options for power plants                  siting permits from state utility                         permitting form that allows applicants
                                                 that do CCS.                                            regulators with jurisdiction over CO2                     to file a single application for pipeline
                                                    Moreover, pipeline projects have                     pipeline siting.408 The permitting                        projects covering both state and federal
                                                 received funding under the IIJA to                      process for interstate pipelines may take                 permitting requirements.413 Even in
                                                 conduct front-end engineering and                       longer than for intrastate pipelines.                     states without this streamlined process,
                                                 design (FEED) studies.406 Carbon                        Whereas multiple state regulatory                         pipeline developers can pursue required
                                                 Solutions LLC received funding to                       agencies would be involved in the                         state permits concurrently with federal
                                                 conduct a FEED study for a commercial-                  permitting process for an interstate                      permits, NEPA review (as applicable),
                                                 scale pipeline to transport CO2 in                      pipeline, only one primary state                          and the acquisition of rights-of-way.
                                                 support of the Wyoming Trails Carbon                    regulatory agency would be involved in                       Pipeline developers have been able to
                                                 Hub as part of a statewide pipeline                     the permitting process for an intrastate                  successfully secure the necessary rights-
                                                 system that would be capable of                         pipeline.                                                 of way for CO2 pipeline projects. For
                                                 transporting up to 45 million metric                       Most regulation of CO2 pipeline siting                 example, Summit Carbon Solutions,
                                                 tons of CO2 per year from multiple                      and development is conducted at the                       which has proposed to add more than
                                                 sources. In addition, Howard Midstream                  state level, and under state specific                     3,200 km (2,000 mi) of dedicated CO2
                                                 Energy Partners LLC received funding to                 regulatory regimes. As the interest in                    pipeline in Iowa, Nebraska, North
                                                 conduct a FEED study for a 965 km (600                  CO2 pipelines has grown, states have                      Dakota, South Dakota, and Minnesota,
                                                 mi) CO2 pipeline system on the Gulf                     taken steps to facilitate pipeline siting                 has stated that as of November 7, 2023,
                                                 Coast that would be capable of moving                   and construction. State level regulation                  it had reached easement agreements
                                                 at least 250 million metric tons of CO2                 related to CO2 sequestration and                          with 2,100 landowners along the
                                                 annually and connecting carbon sources                  transport is an very active area of                       route.414 As of February 23, 2024,
                                                 within 30 mi of the trunkline.                          legislation across states in all parts of                 Summit Carbon Solutions stated that it
                                                    Other programs were created by the                   the country, with many states seeking to                  had acquired about 75 percent of the
                                                 IIJA to facilitate the buildout of large                facilitate pipeline siting and                            rights of way needed in Iowa, about 80
                                                 pipelines to carry carbon dioxide from                  construction.409 Many states, including                   percent in North Dakota, about 75
                                                 multiple sources. For example, the                      Kentucky, Michigan, Montana,                              percent in South Dakota, and about 89
                                                 Carbon Dioxide Transportation                           Arkansas, and Rhode Island, treat CO2                     percent in Minnesota. The company has
                                                 Infrastructure Finance and Innovation                   pipeline operators as common carriers                     successfully navigated hurdles, such as
                                                 Act (CIFIA) was incorporated into the                   or public utilities.410 This is an                        rerouting the pipelines in certain
                                                 IIJA and provided $2.1 billion to DOE to                important classification in some                          counties where necessary.415 416 The
                                                 finance projects that build shared (i.e.,               jurisdictions where it may be required                    EPA notes that this successful
                                                 common carrier) transport infrastructure                for pipelines seeking to exercise                         acquisition of right-of-way easements
                                                 to move CO2 from points of capture to                   eminent domain.411 Currently, 17 states                   for thousands of miles of pipeline across
                                                 conversion facilities and/or storage                    explicitly allow CO2 pipeline operators                   five states has taken place in just the
                                                 wells. The program offers direct loans,                 to exercise eminent domain authority                      three years since the project launched in
                                                 loan guarantees, and ‘‘future growth                    for acquisition of CO2 pipeline rights-of-                2021.417 In addition, the Citronelle
                                                 grants’’ to provide cash payments to                    way, should developers not secure them                    Project, which was constructed in
                                                 specifically for eligible costs to build                through negotiation with landowners.412                   Alabama in 2011, successfully acquired
                                                 additional capacity for potential future                Some states have recognized the need                      rights-of-way through 9 miles of forested
                                                 demand.407                                              for a streamlined CO2 pipeline                            and commercial timber land and 3 miles
                                                                                                         permitting process when there are                         of emergent shrub and forested
                                                 (2) Permitting and Rights of Way                        multiple layers of regulation and                         wetlands. The Citronelle Project was
                                                    The permitting process for CO2                       developed joint permit applications.                      able to attain rights-of-way through the
                                                 pipelines often involves a number of                    Illinois, Louisiana, New York, and                        habitat of an endangered species by
                                                 private, local, state, tribal, and/or                                                                             mitigating potential environmental
                                                                                                            408 Congressional Research Service.2022. Carbon
                                                 Federal agencies. States and local
                                                                                                         Dioxide Pipelines: Safety Issues, CRS Reports, June
                                                 governments are directly involved in                    3, 2022. https://crsreports.congress.gov/product/
                                                                                                                                                                      413 Martin Lockman. Permitting CO Pipelines.
                                                                                                                                                                                                            2
                                                 siting and permitting proposed CO2                      pdf/IN/IN11944.                                           Sabin Center for Climate Change Law (Sept. 2023).
                                                 pipeline projects. CO2 pipeline siting                     409 Great Plains Institute State Legislative Tracker   https://scholarship.law.columbia.edu/cgi/
                                                                                                                                                                   viewcontent.cgi?article=1208&context=sabin_
                                                 and permitting authorities, landowner                   2023. Carbon Management State Legislative
                                                                                                                                                                   climate_change.
                                                                                                         Program Tracker. https://www.quorum.us/
                                                 rights, and eminent domain laws are                     spreadsheet/external/fVOjsTvwyeWkIqVlNmoq/
                                                                                                                                                                      414 South Dakota Public Broadcasting. ‘‘Summit

                                                 governed by the states and vary by state.               ?mc_cid=915706f2bc&.                                      reaches land deals on more than half of CO2
                                                    State laws determine pipeline siting                    410 National Association of Regulatory Utility         pipeline route.’’ (2022). https://listen.sdpb.org/
                                                 and the process for developers to                       Commissioners (NARUC). (2023). Onshore U.S.               business-economics/2022-11-08/summit-reaches-
                                                                                                         Carbon Pipeline Deployment: Siting, Safety. and           land-deals-on-more-than-half-of-co2-pipeline-route.
                                                 acquire rights-of-way needed to build.                                                                               415 Summit CEO: CO2 Pipeline’s Time is Now.
                                                                                                         Regulation. https://pubs.naruc.org/pub/F1EECB6B-
                                                 Pipeline developers may secure rights-                  CD8A-6AD4-B05B-E7DA0F12672E.                              (2024). https://www.dtnpf.com/agriculture/web/ag/
                                                 of-way for proposed projects through                       411 Martin Lockman. Permitting CO Pipelines.
                                                                                                                                                  2
                                                                                                                                                                   news/business-inputs/article/2024/02/23/summit-
                                                 voluntary agreements with landowners;                   Sabin Center for Climate Change Law (2023).               ceo-blank-says-company-toward.
                                                                                                                                                                      416 Summit Carbon Solutions. Summit Carbon
                                                 pipeline developers may also secure                     https://scholarship.law.columbia.edu/cgi/
                                                                                                         viewcontent.cgi?article=1208&context=sabin_               Solutions Signs 80 Percent of North Dakota
                                                 rights-of-way through eminent domain                    climate_change.                                           Landowners. (2023). https://
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                                                                                                            412 The 17 states are: Arizona, Illinois, Indiana,     summitcarbonsolutions.com/summit-carbon-
                                                    406 Office of Fossil Energy and Carbon                                                                         solutions-signs-80-percent-of-north-dakota-
                                                                                                         Iowa, Kentucky, Louisiana, Michigan, Mississippi,
                                                 Management. ‘‘Project Selections for FOA 2730:          Missouri, Montana, New Mexico, North Carolina,            landowners/.
                                                 Carbon Dioxide Transport Engineering and Design         North Dakota, Pennsylvania, South Dakota, Texas,             417 Summit Carbon Solutions. Summit Carbon
                                                 (Round 1).’’ https://www.energy.gov/fecm/project-       and Wyoming. National Association of Regulatory           Solutions Announces Progress on Carbon Capture
                                                 selections-foa-2730-carbon-dioxide-transport-           Utility Commissioners (NARUC). (2023). Onshore            and Storage Project. (2022). https://
                                                 engineering-and-design-round-1.                         U.S. Carbon Pipeline Deployment: Siting, Safety.          summitcarbonsolutions.com/summit-carbon-
                                                    407 https://www.energy.gov/lpo/carbon-dioxide-       and Regulation. https://pubs.naruc.org/pub/               solutions-announces-progress-on-carbon-capture-
                                                 transportation-infrastructure.                          F1EECB6B-CD8A-6AD4-B05B-E7DA0F12672E.                     and-storage-project/.



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                                                 impacts.418 Even projects that require                  considering the whole project (e.g.,                    Petra Nova project in Texas required an
                                                 rights-of-way across multiple ownership                 crossings of sensitive habitats, cultural               EIS to evaluate the potential
                                                 regimes including state, private, and                   resources, wetlands, public safety                      environmental impacts associated with
                                                 federally owned land have been                          concerns). Consequently, whether a                      DOE’s proposed action of providing
                                                 successfully developed. The 170 km                      pipeline project is covered by NEPA and                 financial assistance for the project. This
                                                 (105 mile) Cedar Creek Anticline CO2                    the associated permitting timelines may                 EIS addressed potential impacts from
                                                 pipeline owned by Denbury required                      vary depending on site characteristics                  both the associated 131 km (81 mile)
                                                 easements for approximately 10 km (6.2                  (e.g., pipeline length, whether a project               pipeline and other aspects of the larger
                                                 mi) to cross state school trust lands in                crosses a water of the U.S.) and funding                CCS system, including the post-
                                                 Montana, 27 km (17 mi) across Federal                   source. Pipelines through Bureau of                     combustion CO2.431 For Petra Nova, a
                                                 land and the remaining miles across                     Land Management (BLM) land, U.S.                        notice of intent to issue an EIS was
                                                 private lands.419 420 The pipeline was                  Forest Service (USFS) land, or other                    published on November 14, 2011, and
                                                 completed in 2021.421                                   Federal land would be subject to NEPA.                  the record of decision was issued less
                                                    Federal actions (e.g., funding a CCS                 To ensure that agencies conduct NEPA                    than 2 years later, on May 23, 2013.432
                                                 project) must generally comply with                     reviews as efficiently and expeditiously                Construction of the CO2 pipeline for
                                                 NEPA, which often requires that an                      as practicable, the Fiscal Responsibility               Petra Nova from the W.A. Parish Power
                                                 environmental assessment (EA) or                        Act 424 amendments to NEPA                              Plant to the West Ranch Oilfield in
                                                 environmental impact statement (EIS)                    established deadlines for the                           Jackson County, TX began in July 2014
                                                 be conducted to consider environmental                  preparation of environmental                            and was completed in July 2016.433
                                                 impacts of the proposed action,                         assessments and environmental impact                       Compliance with section 7 of the
                                                 including consideration of reasonable                   statements. Environmental assessments                   Endangered Species Act related to
                                                 alternatives.422 An EA determines                       must be completed within 1 year and                     Federal agency consultation and
                                                 whether or not a Federal action has the                 environmental impact statements must                    biological assessment is also required
                                                 potential to cause significant                          be completed within 2 years 425 A lead                  for projects on Federal lands.
                                                 environmental effects. Each Federal                     agency that determines it is not able to                Specifically, the Endangered Species
                                                 agency has adopted its own NEPA                         meet the deadline may extend the                        Act requires consultation with the
                                                 procedures for the preparation of                       deadline, in consultation with the                      Department of Interior’s Fish and
                                                 EAs.423 If the agency determines that the               applicant, to establish a new deadline                  Wildlife Service and Department of
                                                 action will not have significant                        that provides only so much additional                   Commerce’s NOAA Fisheries, in order
                                                 environmental impacts, the agency will                  time as is necessary to complete such                   to avoid or mitigate impacts to any
                                                 issue a Finding of No Significant Impact                environmental impact statement or                       threatened or endangered species and
                                                 (FONSI). Some projects may also be                      environmental assessment.426                            their habitats.434 This agency
                                                 ‘‘categorically excluded’’ from a detailed                 As discussed above, it is anticipated                consultation process and biological
                                                 environmental analysis when the                         that most EGUs would need shorter,                      assessment are generally conducted
                                                 Federal action normally does not have                   intrastate pipeline segments. For                       during preparation of the NEPA
                                                 a significant effect on the human                       example, ADM’s Decatur, Illinois,                       documentation (EIS or EA) for the
                                                 environment. Federal agencies prepare                   pipeline, which spans 1.9 km (1.18                      Federal project and generally within the
                                                 an EIS if a proposed Federal action is                  miles), was constructed after Decatur                   regulatory timeframes for environmental
                                                 determined to significantly affect the                  was selected for the DOE Phase 1                        assessment or environmental impact
                                                 quality of the human environment. The                   research and development grants in                      statement preparation. Consequently,
                                                 regulatory requirements for an EIS are                  October 2009.427 Construction of the                    the EPA does not anticipate that
                                                 more detailed and rigorous than the                     CO2 compression, dehydration, and                       compliance with the Endangered
                                                 requirements for an EA. The                             pipeline facilities began in July 2011                  Species Act will change the anticipated
                                                 determination of the level of NEPA                      and was completed in June 2013.428 The                  timeline for most projects.
                                                 review depends on the potential for                     ADM project required only an EA.                           The EPA notes that the Fixing
                                                 significant environmental impacts                       Additionally, Air Products operates a                   America’s Surface Transportation Act
                                                                                                         large-scale system to capture CO2 from                  (FAST Act) is also relevant to CCS
                                                   418 SECARB. (2021). Final Project Report—             two steam methane reformers located                     projects and pipelines. Title 41 of this
                                                 SECARB Phase III, September 2021. https://              within the Valero Refinery in Port                      Act (42 U.S.C. 4370m et seq.), referred
                                                 www.osti.gov/servlets/purl/1823250.
                                                                                                         Arthur, Texas. The recovered and                        to as ‘‘FAST–41,’’ created a new
                                                   419 Great Falls Tribune. Texas company plans

                                                 110-mile CO2 pipeline to enhance Montana oil            purified CO2 is delivered by pipeline for
                                                                                                                                                                 Chemicals, Inc. Recovery Act: Demonstration of
                                                 recovery. (2018). https://www.greatfallstribune.        use in enhanced oil recovery                            CO2 Capture and Sequestration of Steam Methane
                                                 com/story/news/2018/10/09/texas-company-plans-          operations.429 This 12-mile pipeline                    Reforming Process Gas Used for Large Scale
                                                 co-2-pipeline-injection-free-montana-oil/               required only an EA.430 Conversely, the                 Hydrogen Production. https://netl.doe.gov/sites/
                                                 1577657002/.                                                                                                    default/files/environmental-assessments/20110622_
                                                   420 U.S. D.O.I B.L.M. Denbury-Green Pipeline-MT,
                                                                                                           424 Public Law 118–5 (June 3, 2023).                  APCI_PtA_CO2_FEA.pdf.
                                                 LLC, Denbury Onshore, LLC Cedar Creek Anticline                                                                   431 Department of Energy, Office of NEPA Policy
                                                                                                           425 NEPA Sec. 107(g)(1); 42 U.S.C. 4336a(g)(1).
                                                 CO2 Pipeline and EOR Development Project                                                                        and Compliance. (2013). EIS–0473: Record of
                                                                                                           426 NEPA sec. 107(g)(2); 42 U.S.C. 4336a(g)(2).
                                                 Scoping Report. https://eplanning.blm.gov/public_                                                               Decision. https://www.energy.gov/nepa/articles/eis-
                                                 projects/nepa/89883/137194/167548/BLM_                    427 Massachusetts Institute of Technology. (2014).
                                                                                                                                                                 0473-record-decision.
                                                 Denbury_Projects_Scoping_Report_March2018.pdf.          Decatur Fact Sheet: Carbon Dioxide Capture and            432 Department of Energy. (2017). Petra Nova
                                                   421 AP News. Officials mark start of CO pipeline
                                                                                           2             Storage Project. https://sequestration.mit.edu/tools/   W.A. Parish Project. https://www.energy.gov/fecm/
                                                 used for oil recovery. (2022) https://apnews.com/       projects/decatur.html.                                  petra-nova-wa-parish-project.
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                                                 article/business-texas-north-dakota-plano-                428 NETL. ‘‘CO2 Capture from Biofuels Production        433 Kennedy, Greg. (2020). ‘‘W.A. Parish Post
                                                 25f1dbf9a924613a56827c1c83e4ba68.                       and Sequestration into the Mt. Simon Sandstone.’’       Combustion CO2 Capture and Sequestration
                                                   422 Council on Environmental Quality. (2024).         Award #DE–FE0001547. https://www.usaspending.           Demonstration Project.’’ Final Technical Report.
                                                 CEQ NEPA Regulations. https://ceq.doe.gov/laws-         gov/award/ASST_NON_DEFE0001547_8900.                    https://www.osti.gov/biblio/1608572/.
                                                 regulations/regulations.html.                             429 Air Products. Carbon Capture. https://              434 CEQ. (2021). ‘‘Council on Environmental
                                                   423 Council of Environmental Quality. (2023).         www.airproducts.com/company/innovation/carbon-          Quality Report to Congress on Carbon Capture,
                                                 Agency NEPA Implementing Procedures. https://           capture.                                                Utilization, and Sequestration.’’ https://
                                                 ceq.doe.gov/laws-regulations/agency_                      430 Department of Energy. (2011). Final               www.whitehouse.gov/wp-content/uploads/2021/06/
                                                 implementing_procedures.html.                           Environmental Assessment for Air Products and           CEQ-CCUS-Permitting-Report.pdf.



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                                                 governance structure, set of procedures,                of the siting tool is to aid pipeline          construction and how long it will take
                                                 and funding authorities to improve the                  routing decisions and facilitate               to build a pipeline.
                                                 Federal environmental review and                        avoidance of areas that would pose                A unit that is located more than 100
                                                 authorization process for covered                       permitting challenges.                         km away from sequestration may face
                                                 infrastructure projects.435 The Utilizing                  In sum, the permitting process for CO2      complexities in pipeline construction,
                                                 Significant Emissions with Innovative                   pipelines often involves private, local,       including additional permitting hurdles,
                                                 Technologies (USE IT) Act, among other                  state, tribal, and/or Federal agencies,        difficulties in obtaining the necessary
                                                 actions, clarified that CCS projects and                and permitting timelines may vary              rights of way over such a distance, or
                                                 CO2 pipelines are eligible for this more                depending on site characteristics.             other considerations, that may make it
                                                 predictable and transparent review                      Projects that opt in to the FAST–41            unreasonable for that unit to meet the
                                                 process.436 FAST–41 created the Federal                 process are eligible for a more                compliance schedule that is generally
                                                 Permitting Improvement Steering                         transparent and predictable review             reasonable for sources in the
                                                 Council (Permitting Council), composed                  process. EGUs can generally proceed to         subcategory as a whole. Pursuant to the
                                                 of agency Deputy Secretary-level                        obtain permits and rights-of-way               RULOF provisions of 40 CFR 60.2a(e)–
                                                 members and chaired by an Executive                     simultaneously, and the EPA anticipates        (h), if a state can demonstrate that there
                                                 Director appointed by the President.                    that, in total, the permitting process         is a fundamental difference between the
                                                 FAST–41 establishes procedures that                     would only take around 2.5 years for           information relevant to a particular
                                                 standardize interagency consultation                    pipelines that only need an EA, with a         affected EGU and the information the
                                                 and coordination practices. FAST–41                     possible additional year if the project        EPA considered in determining the
                                                 codifies into law the use of the                        requires an EIS (see the final TSD, GHG        compliance deadline for sources in the
                                                 Permitting Dashboard 437 to track project               Mitigation Measures for Steam                  long-term subcategory, and that this
                                                 timelines, including qualifying actions                 Generating Units for additional                difference makes it unreasonable for the
                                                 that must be taken by the EPA and other                 information). This is consistent with the      EGU to meet the compliance deadline,
                                                 Federal agencies. Project sponsor                       anticipated timelines for CCS discussed        a longer compliance schedule may be
                                                 participation in FAST–41 is                             in section VII.C.1.a.i(E). Furthermore,        warranted. The EPA does not believe
                                                 voluntary.438                                           the EPA notes that there is over 60 years      that the fact that a pipeline crosses state
                                                    Community engagement also plays a                    of experience in the CO2 pipeline              boundaries standing alone is sufficient
                                                 role in the safe operation and                          industry designing, permitting, building       to show that an extended timeframe
                                                 construction of CO2 pipelines. These                    and operating CO2 pipelines, and that          would be appropriate—many such
                                                 efforts can be supported using the CCS                                                                 pipelines could be reasonably
                                                                                                         this expertise can be applied to the CO2
                                                 Pipeline Route Planning Database that                                                                  accomplished in the required
                                                                                                         pipelines that would be constructed to
                                                 was developed by NETL, a public                                                                        timeframe. Rather, it is the confluence
                                                                                                         connect to sequestration sites and units.
                                                 resource designed to support pipeline                                                                  of factors, including that a pipeline
                                                 routing decisions and increase                             As discussed above in section
                                                                                                         VII.C.1.a.i.(C)(1)(a), the core of the EPA’s   crosses state boundaries, along with
                                                 transportation safety.439 The database                                                                 others that may make RULOF
                                                 includes state-specific regulations and                 analysis of pipeline feasibility focuses
                                                                                                         on units located within 100 km (62             appropriate.
                                                 restrictions, energy and social justice
                                                 factors, land use requirements, existing                miles) of potential deep saline                (3) Security of CO2 Transport
                                                 infrastructure, and areas of potential                  sequestration formations. The EPA notes
                                                                                                                                                           As part of its analysis, the EPA also
                                                 risk. The database produces weighted                    that the majority (80 percent) of the
                                                                                                                                                        considered the safety of CO2 pipelines.
                                                 values ranging from zero to one, where                  coal-fired steam generating capacity
                                                                                                                                                        The safety of existing and new CO2
                                                 zero represents acceptable areas for                    with planned operation during or after
                                                                                                                                                        pipelines that transport CO2 in a
                                                 pipeline placement and one represents                   2039 is located within 100 km (62
                                                                                                                                                        supercritical state is regulated by
                                                 areas that should be avoided.440 The                    miles) of the nearest potential deep
                                                                                                                                                        PHMSA. These regulations include
                                                 database will be a key input for the CCS                saline sequestration site. For these
                                                                                                                                                        standards related to pipeline design,
                                                 Pipeline Route Planning Tool under                      sources, as explained, units would be
                                                                                                                                                        pipeline construction and testing,
                                                 development by NETL.441 The purpose                     required only to build relatively short
                                                                                                                                                        pipeline operations and maintenance,
                                                                                                         pipelines, and such buildout would be
                                                                                                                                                        operator reporting requirements,
                                                   435 Federal Permitting Improvement Steering           feasible within the required timeframe.
                                                                                                                                                        operator qualifications, corrosion
                                                 Council. (2022). FAST–41 Fact Sheet. https://           For the capacity that is more than 100
                                                 www.permits.performance.gov/documentation/fast-                                                        control and pipeline integrity
                                                                                                         km (62 miles) away from sequestration,
                                                 41-fact-sheet.                                                                                         management, incident reporting and
                                                                                                         building a pipeline may become more
                                                   436 Galford, Chris. USE IT carbon capture bill                                                       response, and public awareness and
                                                 becomes law, incentivizing development and              complex. Almost all (98 percent) of this
                                                                                                                                                        communications. PHMSA has
                                                 deployment. (2020). https://                            capacity’s closest sequestration site is
                                                                                                                                                        regulatory authority to conduct
                                                 dailyenergyinsider.com/news/28522-use-it-carbon-        located outside state boundaries, and
                                                 capture-bill-becomes-law-incentivizing-                                                                inspections of supercritical CO2
                                                                                                         access to the nearest sequestration site
                                                 development-and-deployment/.                                                                           pipeline operations and issue notices to
                                                                                                         would require building an interstate
                                                   437 Permitting Dashboard Federal Infrastructure
                                                                                                                                                        operators in the event of operator
                                                 Projects. https://permits.performance.gov/.             pipeline and coordinating with multiple
                                                                                                                                                        noncompliance with regulatory
                                                   438 EPA. ‘‘FAST–41 Coordination.’’ (2023).            state authorities for permitting
                                                                                                                                                        requirements.442
                                                 https://www.epa.gov/sustainability/fast-41-             purposes. Conversely, for capacity               CO2 pipelines have been operating
                                                 coordination.                                           where the distance to the nearest
                                                   439 ‘‘CCS Pipeline Route Planning Database V1—                                                       safely for more than 60 years. In the past
                                                                                                         potential sequestration site is less than
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                                                 EDX.’’ https://edx.netl.doe.gov/dataset/ccs-                                                           20 years, 500 million metric tons of CO2
                                                 pipeline-route-planning-database-v1.                    100 km (62 miles), only about 19               moved through over 5,000 miles of CO2
                                                   440 ‘‘CCS Pipeline Route Planning Database V1—        percent would require the associated           pipelines with zero incidents involving
                                                 EDX.’’ https://edx.netl.doe.gov/dataset/ccs-            pipeline to cross state boundaries.            fatalities.443 PHMSA reported a total of
                                                 pipeline-route-planning-database-v1.                    Therefore, the EPA believes that
                                                   441 Department of Energy. ‘‘CCS Pipeline Route

                                                 Planning Database V1—EDX.’’ https://
                                                                                                         distance to the nearest sequestration site       442 See generally 49 CFR 190–199.

                                                 edx.netl.doe.gov/dataset/ccs-pipeline-route-            is a useful proxy for considerations             443 Congressional Research Service. 2022. Carbon

                                                 planning-database-v1.                                   related to the complexity of pipeline          Dioxide Pipelines: Safety Issues, CRS Reports, June



                                            VerDate Sep<11>2014   20:13 May 08, 2024   Jkt 262001   PO 00000   Frm 00064                  E:\FR\FM\09MYR3.SGM   09MYR3             Add.063
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                                                 102 CO2 pipeline incidents between                      civil penalties and identifies actions for             controls and PHMSA standards are
                                                 2003 and 2022, with one injury                          the operator to take to address the                    designed to ensure that captured CO2
                                                 (requiring in-patient hospitalization)                  alleged violations and risk                            will be securely conveyed to a
                                                 and zero fatalities.444                                 conditions.448 PHMSA has further                       sequestration site.
                                                    As noted previously in this preamble,                issued an updated nationwide advisory
                                                 a significant CO2 pipeline rupture                      bulletin to all pipeline operators and                 (4) Comments Received on CO2
                                                 occurred in 2020 in Satartia,                           solicited research proposals to                        Transport and Responses
                                                 Mississippi, following heavy rains that                 strengthen CO2 pipeline safety.449 Given                  The EPA received comments on CO2
                                                 resulted in a landslide. Although no one                the Federal and state regulation of CO2                transport, including CO2 pipelines.
                                                 required in-patient hospitalization as a                pipelines and the steps that PHMSA is                  Those comments, and the EPA’s
                                                 result of this incident, 45 people                      taking to further improve pipeline                     responses, are as follows.
                                                 received treatment at local emergency                   safety, the EPA believes CO2 can be                       Comment: Some commenters
                                                 rooms after the incident and 200                        safely transported by pipeline.                        identified challenges to the deployment
                                                 hundred residents were evacuated.                          Certain states have authority                       of a national, interstate CO2 pipeline
                                                 Typically, when CO2 is released into the                delegated from the U.S. Department of                  network. In particular, those
                                                 open air, it vaporizes into a heavier-                  Transportation to conduct safety                       commenters discussed the experience
                                                 than-air gas and dissipates. During the                 inspections and enforce state and                      faced by long (e.g., over 1,000 miles)
                                                 Satartia incident, however, unique                      Federal pipeline safety regulations for                CO2 pipelines seeking permitting and
                                                 atmospheric conditions and the                          intrastate CO2 pipelines.450 451 452                   right-of-way access in Midwest states
                                                 topographical features of the area                      PHMSA’s state partners employ about                    including Iowa and North Dakota.
                                                 delayed this dissipation. As a result,                  70 percent of all pipeline inspectors,                 Commenters claimed those challenges
                                                 residents were exposed to high                          which covers more than 80 percent of                   make CCS as BSER infeasible. Some
                                                 concentrations of CO2 in the air after the              regulated pipelines.453 Federal law                    commenters argued that the existing
                                                 rupture. Furthermore, local emergency                   requires certified state authorities to                CO2 pipeline capacity is not adequate to
                                                 responders were not informed by the                     adopt safety standards at least as                     meet potential demand caused by this
                                                 operator of the rupture and the nature                  stringent as the Federal standards.454                 rule and that the ability of the network
                                                 of the unique safety risks of the CO2                   Further, there are required steps that                 to grow and meet future potential
                                                 pipeline.445                                            CO2 pipeline operators must take to                    demand is hindered by significant
                                                    PHMSA initiated a rulemaking in                      ensure pipelines are operated safely                   public opposition.
                                                 2022 to develop and implement new                       under PHMSA standards and related                         Response: The EPA acknowledges the
                                                 measures to strengthen its safety                       state standards, such as the use of                    challenges that some large multi-state
                                                 oversight of supercritical CO2 pipelines                pressure monitors to detect leaks or                   pipeline projects have faced, but does
                                                 following the investigation into the CO2                initiate shut-off valves, and annual                   not agree that those experiences show
                                                 pipeline failure in Satartia.446 PHMSA                  reporting on operations, structural                    that the BSER is not adequately
                                                 submitted the associated Notice of                      integrity assessments, and                             demonstrated or that the standards
                                                 Proposed Rulemaking to the White                        inspections.455 These CO2 pipeline                     finalized in these actions are not
                                                 House Office of Management and                                                                                 achievable. As detailed in the preceding
                                                 Budget on February 1, 2024 for pre-                        448 Department of Transportation. (2023). Consent
                                                                                                                                                                subsections of the preamble, the BSER
                                                 publication review.447 Following the                    Order, Denbury Gulf Coast Pipelines, LLC, CPF No.
                                                                                                         4–2022–017–NOPV https://primis.phmsa.dot.gov/          is not premised on the buildout of a
                                                 Satartia incident, PHMSA also issued a                  comm/reports/enforce/CaseDetail_cpf_                   national, trunkline CO2 pipeline
                                                 Notice of Probable Violation, Proposed                  42022017NOPV.html?nocache=7208.                        network. Most coal-fired steam
                                                 Civil Penalty, and Proposed Compliance                     449 Ibid.
                                                                                                                                                                generating units are in relatively close
                                                 Order (Notice) to the operator related to                  450 New Mexico Public Regulation Commission.
                                                                                                                                                                proximity to geologic storage, and those
                                                 probable violations of Federal pipeline                 2023. Transportation Pipeline Safety. New Mexico
                                                                                                         Public Regulation Commission, Bureau of Pipeline       shorter pipelines would not likely be as
                                                 safety regulations. The Notice was                      Safety. https://www.nm-prc.org/transportation/         challenging to permit and build as
                                                 ultimately resolved through a Consent                   pipeline-safety.                                       demonstrated by the examples of
                                                 Agreement between PHMSA and the                            451 Texas Railroad Commission. 2023. Oversight &
                                                                                                                                                                smaller pipeline discussed above.
                                                 operator that includes the assessment of                Safety Division. Texas Railroad Commission.
                                                                                                         https://www.rrc.texas.gov/about-us/organization-          The EPA acknowledges that some
                                                                                                         and-activities/rrc-divisions/oversight-safety-         larger trunkline CO2 pipeline projects,
                                                 3, 2022. https://crsreports.congress.gov/product/       division.                                              specifically the Heartland Greenway
                                                 pdf/IN/IN11944.                                            452 NARUC. (2023). Onshore U.S. Carbon Pipeline
                                                    444 NARUC. (2023). Onshore U.S. Carbon Pipeline                                                             project, have recently been delayed or
                                                                                                         Deployment: Siting, Safety. and Regulation.
                                                 Deployment: Siting, Safety. and Regulation.             Prepared by Public Sector Consultants for the
                                                                                                                                                                canceled. However, many projects are
                                                 Prepared by Public Sector Consultants for the           National Association of Regulatory Utility             still moving forward and several major
                                                 National Association of Regulatory Utility              Commissioners (NARUC). June 2023. https://             projects have recently been announced
                                                 Commissioners (NARUC). June 2023. https://              pubs.naruc.org/pub/F1EECB6B-CD8A-6AD4-B05B-
                                                 pubs.naruc.org/pub/F1EECB6B-CD8A-6AD4-B05B-
                                                                                                                                                                to expand the CO2 pipeline network
                                                                                                         E7DA0F12672E.
                                                 E7DA0F12672E.                                              453 PHMSA. (2023). ‘‘PHMSA Issues Letters to
                                                                                                                                                                across the United States. The EPA notes
                                                    445 Failure Investigation Report—Denbury Gulf
                                                                                                         Wolf Carbon, Summit, and Navigator Clarifying          that there are often opportunities to
                                                 Coast Pipeline, May 2022. https://                      Federal, State, and Local Government Pipeline          reroute pipelines to minimize
                                                 www.phmsa.dot.gov/sites/phmsa.dot.gov/files/            Authorities.’’ https://www.phmsa.dot.gov/news/         permitting challenges and landowner
                                                 2022-05/Failure%20Investigation%20Report%20-            phmsa-issues-letters-wolf-carbon-summit-and-
                                                 %20Denbury%20Gulf%20Coast%20Pipeline.pdf.               navigator-clarifying-federal-state-and-local.
                                                                                                                                                                concerns. For example, Summit Carbon
                                                    446 PHMSA. (2022). ‘‘PHMSA Announces New                454 PHMSA, ‘‘PHMSA Issues Letters to Wolf           Solutions changed their planned
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                                                 Safety Measures to Protect Americans From Carbon        Carbon, Summit, and Navigator Clarifying Federal,      pipeline route in North Dakota after
                                                 Dioxide Pipeline Failures After Satartia, MS Leak.’’    State, and Local Government Pipeline Authorities.’’    their initial permit was denied, leading
                                                 https://www.phmsa.dot.gov/news/phmsa-                   2023. https://www.phmsa.dot.gov/news/phmsa-
                                                 announces-new-safety-measures-protect-americans-        issues-letters-wolf-carbon-summit-and-navigator-
                                                                                                                                                                to successful acquisition of rights of
                                                 carbon-dioxide-pipeline-failures.                       clarifying-federal-state-and-local.                    way.456 Additionally, Tallgrass, which
                                                    447 Columbia Law School. (2024). PHMSA                  455 Carbon Capture Coalition. ‘‘PHMSA/Pipeline

                                                 Advances CO2 Pipeline Safety Regulations. https://      Safety Fact Sheet,’’ November 2023. https://             456 Summit Carbon Solutions. Summit Carbon

                                                 climate.law.columbia.edu/content/phmsa-                 carboncapturecoalition.org/wp-content/uploads/         Solutions Signs 80 Percent of North Dakota
                                                 advances-co2-pipeline-safety-regulations.               2023/11/Pipeline-Safety-Fact-Sheet.pdf.                                                       Continued




                                            VerDate Sep<11>2014   20:13 May 08, 2024   Jkt 262001   PO 00000   Frm 00065                        E:\FR\FM\09MYR3.SGM     09MYR3          Add.064
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                                                 is planning to convert a 630 km (392                       NETL studies used to estimate CO2                      ensure CO2 can be safely transported by
                                                 mile) natural gas pipeline to carry CO2,                   transport costs. The EPA carefully                     pipeline.
                                                 announced that they had reach a                            reviewed the assumptions on which the
                                                                                                                                                                   (D) Geologic Sequestration of CO2
                                                 community benefits agreement, in                           NETL transport cost estimates are based
                                                 which certain organizations have agreed                    and continues to find them reasonable.                   The EPA is finalizing its
                                                 not to oppose the pipeline project while                   The NETL studies referenced in section                 determination that geologic
                                                 Tallgrass has agreed to terms such as                      VII.C.1.a.ii based transport costs on a                sequestration (i.e., the long-term
                                                 contributing funds to first responders                     generic 100 km (62 mile) pipeline and                  containment of a CO2 stream in
                                                 along the pipeline route and providing                     a generic 80 km pipeline.459 For most                  subsurface geologic formations) is
                                                 royalty checks to landowners.457 See                       EGUs, the necessary pipeline distance is               adequately demonstrated. In this
                                                 section VII.C.1.a.i(C)(1)(d) for additional                anticipated to be less than 100 km and                 section, we provide an overview of the
                                                 discussion of planned CO2 pipelines.                       therefore the associated costs could also              availability of sequestration sites in the
                                                 While access to larger trunkline projects                  be lower than these assumptions. Other                 U.S., discuss how geologic sequestration
                                                 would not be required for most EGUs,                       published economic models applying                     of CO2 is well proven and broadly
                                                 at least some larger trunkline projects                    different assumptions have also reached                available throughout the U.S, explain
                                                 are likely to be constructed, which                        the conclusion that CO2 transport and                  the effectiveness of sequestration,
                                                 would increase opportunities for                           sequestration are adequately                           discuss the regulatory framework for
                                                 connecting to pipeline networks.                           demonstrated.460                                       UIC wells, and discuss the timing of
                                                    Comment: Some commenters                                   Comment: Commenters also stated                     permitting for sequestration sites. We
                                                 disagreed with the modeling                                that the permitting and construction                   then provide a summary of key
                                                 assumption that 100 km is a typical                        processes can be time-consuming.                       comments received concerning geologic
                                                 pipeline distance. The commenters                             Response: The EPA acknowledges                      sequestration and our responses to those
                                                 asserted that there is data showing the                    building CO2 pipelines requires capital                comments.
                                                 actual locations of the power plants                       expenditure and acknowledges that the                  (1) Sequestration Sites for Coal-Fired
                                                 affected by the rule, and the required                     timeline for siting, engineering design,               Power Plants Subject to CCS
                                                 pipeline distance is not always 100 km.                    permitting, and construction of CO2                    Requirements
                                                    Response: The EPA acknowledges                          pipelines depends on factors including
                                                 that the physical locations of EGUs and                                                                           (a) Broad Availability of Sequestration
                                                                                                            the pipeline capacity and pipeline
                                                 the physical locations of carbon                           length, whether the pipeline route is                     Sequestration is broadly available in
                                                 sequestration capacity and                                 intrastate or interstate, and the specifics            the United States, which makes clear
                                                 corresponding pipeline distance will                       of the state pipeline regulator’s                      that it is adequately demonstrated. By
                                                 not be 100 km in all cases. As discussed                   regulatory requirements. In the BSER                   far the most widely available and well
                                                 previously in section VII.C.1.a.i(C)(1)(a),                                                                       understood type of sequestration is that
                                                                                                            analysis, individual EGUs that are
                                                 the EPA modeled the unique                                                                                        in deep saline formations. These
                                                                                                            subject to carbon capture requirements
                                                 approximate distance from each existing                                                                           formations are common in the U.S.
                                                                                                            are assumed to take a point-to-point
                                                 coal-fired steam generating capacity                                                                              These formations are numerous and
                                                                                                            approach to CO2 transport and
                                                 with planned operation during or after                                                                            only a small subset of the existing saline
                                                                                                            sequestration. These smaller-scale
                                                 2039 to the nearest potential saline                                                                              storage capacity would be required to
                                                                                                            projects require less capital and may
                                                 sequestration site, and found that the                                                                            store the CO2 from EGUs. Many projects
                                                                                                            present less complexity than larger
                                                 majority (80 percent) is within 100 km                                                                            are in the process of completing
                                                                                                            projects. The EPA considers the
                                                 (62 miles) of potential saline                                                                                    thorough subsurface studies of these
                                                                                                            timeline to permit and install such
                                                 sequestration sites, and another 11                                                                               deep saline formations to determine
                                                                                                            pipelines in section VII.C.1.a.i(E) of the
                                                 percent is within 160 km (100 miles).458                                                                          their suitability for regional-scale
                                                                                                            preamble, and has determined that a
                                                 Furthermore, the EPA disagrees with the                                                                           storage. Furthermore, sequestration
                                                                                                            compliance date of January 1, 2032
                                                 comments suggesting that the use of 100                                                                           formations could also include
                                                                                                            allows for a sufficient amount of time.
                                                 km is an inappropriate economic                                                                                   unmineable coal seams and oil and gas
                                                                                                               Comment: Some commenters
                                                 modeling assumption. The 100 km                                                                                   reservoirs. CO2 may be stored in oil and
                                                                                                            expressed significant concerns about the
                                                 assumption was not meant to                                                                                       gas reservoirs in association with EOR
                                                                                                            safety of CO2 pipelines following the
                                                 encompass the physical location of                                                                                and enhanced gas recovery (EGR)
                                                 every potentially affected EGU. The 100                    CO2 pipeline failure in Satartia,
                                                                                                            Mississippi in 2020.                                   technologies, collectively referred to as
                                                 km assumption is intended as an                                                                                   enhanced recovery (ER), which include
                                                 economic modeling assumption and is                           Response: For a discussion of the
                                                                                                            safety of CO2 pipelines and the Satartia               the injection of CO2 in oil and gas
                                                 based on similar assumptions applied in                                                                           reservoirs to increase production. ER is
                                                                                                            pipeline failure, see section
                                                                                                            VII.C.1.a.i(C)(3). The EPA believes that               a technology that has been used for
                                                 Landowners. (2023). https://                                                                                      decades in states across the U.S.461
                                                 summitcarbonsolutions.com/summit-carbon-                   the framework of Federal and state
                                                 solutions-signs-80-percent-of-north-dakota-                regulation of CO2 pipelines and the                       Geologic sequestration is based on a
                                                 landowners/.                                               steps that PHMSA is taking to further                  demonstrated understanding of the
                                                    457 Hammel, Paul. (2024). Pipeline company,
                                                                                                            improve pipeline safety, is sufficient to              trapping and containment processes that
                                                 Nebraska environmental group strike unique                                                                        retain CO2 in the subsurface. The
                                                 ‘community benefits’ agreement. https://
                                                 www.desmoinesregister.com/story/tech/science/                459 The pipeline diameter was sized for this to be
                                                                                                                                                                   presence of a low permeability seal is an
                                                 environment/2024/04/11/nebraska-                           achieved without the need for recompression stages     important component of demonstrating
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                                                 environmentalist-forge-peace-pact-with-pipeline-           along the pipeline length.                             secure geologic sequestration. Analyses
                                                 company/73282852007/.                                        460 Ogland-Hand, Jonathan D. et. al. 2022.
                                                                                                                                                                   of the potential availability of geologic
                                                    458 Sequestration potential as it relates to distance   Screening for Geologic Sequestration of CO2: A         sequestration capacity in the United
                                                 from existing resources is a key part of the EPA’s         Comparison Between SCO2TPRO and the FE/NETL
                                                 regular power sector modeling development, using           CO2 Saline Storage Cost Model. International           States have been conducted by DOE,
                                                 data from DOE/NETL studies. For details, please see        Journal of Greenhouse Gas Control, Volume 114,
                                                 chapter 6 of the IPM documentation. https://               February 2022, 103557. https://                           461 NETL. (2010). Carbon Dioxide Enhanced Oil

                                                 www.epa.gov/system/files/documents/2021-09/                www.sciencedirect.com/science/article/pii/             Recovery. https://www.netl.doe.gov/sites/default/
                                                 chapter-6-co2-capture-storage-and-transport.pdf.           S175058362100308X.                                     files/netl-file/co2_eor_primer.pdf.



                                            VerDate Sep<11>2014    20:13 May 08, 2024   Jkt 262001   PO 00000    Frm 00066                         E:\FR\FM\09MYR3.SGM     09MYR3            Add.065
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                                                 and the U.S. Geological Survey (USGS)                   steam EGUs located in states that are                existing coal-fired EGUs. Unmineable
                                                 has also undertaken a comprehensive                     further than 100 km (62 mi) of potential             coal seams have a sequestration
                                                 assessment of geologic sequestration                    geologic sequestration sites.                        potential of at least 54 billion metric
                                                 resources in the United States.462 463                  Furthermore, as described in section                 tons of CO2, or 2 percent of total
                                                 Geologic sequestration potential for CO2                VII.C.1.a.i(C), new EGUs would have the              potential in the United States, and are
                                                 is widespread and available throughout                  ability to consider proximity and access             located in 22 states.
                                                 the United States. Nearly every state in                to geologic sequestration sites or CO2                  The potential for CO2 sequestration in
                                                 the United States has or is in close                    pipelines in the siting process.                     unmineable coal seams has been
                                                 proximity to formations with geologic                      The DOE and the United States                     demonstrated in small-scale
                                                 sequestration potential, including areas                Geological Survey (USGS) have                        demonstration projects, including the
                                                 offshore. There have been numerous                      independently conducted preliminary                  Allison Unit pilot project in New
                                                 efforts demonstrating successful                        analyses of the availability and potential           Mexico, which injected a total of
                                                 geologic sequestration projects in the                  CO2 sequestration resources in the                   270,000 tons of CO2 over a 6-year period
                                                 United States and overseas, and the                     United States. The DOE estimates are                 (1995–2001). Further, DOE Regional
                                                 United States has developed a detailed                  compiled in the DOE’s National Carbon                Carbon Sequestration Partnership
                                                 set of regulatory requirements to ensure                Sequestration Database and Geographic                projects have injected CO2 volumes in
                                                 the security of sequestered CO2.                        Information System (NATCARB) using                   unmineable coal seams ranging from 90
                                                 Moreover, the amount of storage                         volumetric models and are published in               tons to 16,700 tons, and completed site
                                                 potential can readily accommodate the                   its Carbon Utilization and Sequestration             characterization, injection, and post-
                                                 amount of CO2 for which sequestration                   Atlas (NETL Atlas). The DOE estimates                injection monitoring for sites. DOE has
                                                 could be expected under this final rule.                that areas of the United States with                 included unmineable coal seams in the
                                                    The EPA has performed a geographic                   appropriate geology have a                           NETL Atlas. One study estimated that in
                                                 availability analysis in which the                      sequestration potential of at least 2,400            the United States, 86.16 billion tons of
                                                 Agency examined areas of the U.S. with                  billion to over 21,000 billion metric tons           CO2 could be permanently stored in
                                                 sequestration potential in deep saline                  of CO2 in deep saline formations,                    unmineable coal seams.466 Although the
                                                 formations, unmineable coal seams, and                  unmineable coal seams, and oil and gas               large-scale injection of CO2 in coal
                                                 oil and gas reservoirs; information on                  reservoirs. The USGS assessment                      seams can lead to swelling of coal, the
                                                 existing and probable, planned or under                 estimates a mean of 3,000 billion metric             literature also suggests that there are
                                                 study CO2 pipelines; and areas within a                 tons of subsurface CO2 sequestration                 available technologies and techniques to
                                                 100 km (62-mile) area of potential                      potential across the United States. With             compensate for the resulting reduction
                                                 sequestration sites. This availability                  respect to deep saline formations, the               in injectivity. Further, the reduced
                                                 analysis is based on resources from the                 DOE estimates a sequestration potential              injectivity can be anticipated and
                                                 DOE, the USGS, and the EPA. The                         of at least 2,200 billion metric tons of             accommodated in sizing and
                                                 distance of 100 km is consistent with                   CO2 in these formations in the United                characterizing prospective sequestration
                                                 the assumptions underlying the NETL                     States. The EPA estimates that the CO2               sites.
                                                 cost estimates for transporting CO2 by                  emissions reductions for this rule                      Depleted oil and gas reservoirs
                                                 pipeline. The scoping assessment by the                 (which is similar to the amount of CO2               present additional potential for geologic
                                                 EPA found that at least 37 states have                  may be sequestered under this rule) are              sequestration. The reservoir
                                                 geologic characteristics that are                       estimated in the range of 1.3 to 1.4                 characteristics of developed fields are
                                                 amenable to deep saline sequestration,                  billion metric tons over the 2028 to 2047            well known as a result of exploration
                                                 and an additional 6 states are within                   timeframe.465 This volume of                         and many years of hydrocarbon
                                                 100 kilometers of potentially amenable                  sequestered CO2 is less than a tenth of              production and, in many areas,
                                                 deep saline formations in either onshore                a percent of the storage capacity in deep            infrastructure already exists which
                                                 or offshore locations. Of the 7 states that             saline formations estimated to be                    could be evaluated for conversion to
                                                 are further than 100 km (62 mi) of                      available by DOE.                                    CO2 transportation and sequestration
                                                 onshore or offshore storage potential in                   Unmineable coal seams offer another               service. Other types of geologic
                                                 deep saline formations, only New                        potential option for geologic                        formations such as organic rich shale
                                                 Hampshire has coal EGUs that were                       sequestration of CO2. Enhanced coalbed               and basalt may also have the ability to
                                                 assumed to be in operation after 2039,                  methane recovery is the process of                   store CO2, and DOE is continuing to
                                                 with a total capacity of 534 MW.                        injecting and storing CO2 in unmineable              evaluate their potential sequestration
                                                 However, the EPA notes that as of                       coal seams to enhance methane                        capacity and efficacy.
                                                 March 27, 2024, the last coal-fired steam               recovery. These operations take
                                                 EGUs in New Hampshire announced                         advantage of the preferential chemical               (b) Inventory of Coal-Fired Power Plants
                                                 that they would cease operation by                      affinity of coal for CO2 relative to the             That Are Candidates for CCS
                                                 2028.464 Therefore, the EPA anticipates                 methane that is naturally found on the                 Sequestration potential as it relates to
                                                 that there will no existing coal-fired                  surfaces of coal. When CO2 is injected,              distance from existing coal-fired steam
                                                                                                         it is adsorbed to the coal surface and               generating units is a key part of the
                                                   462 U.S. DOE NETL. (2015). Carbon Storage Atlas,
                                                                                                         releases methane that can then be                    EPA’s regular power sector modeling,
                                                 Fifth Edition, September 2015. https://                 captured and produced. This process                  using data from DOE/NETL studies.467
                                                 www.netl.doe.gov/research/coal/carbon-storage/
                                                 atlasv.                                                 effectively ‘‘locks’’ the CO2 to the coal,           As discussed in section
                                                   463 U.S. Geological Survey Geologic Carbon            where it remains stored. States with the             VII.C.1.a.i(D)(1)(a), the availability
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                                                 Dioxide Storage Resources Assessment Team.              potential for sequestration in
                                                 (2013). National assessment of geologic carbon          unmineable coal seams include Iowa                     466 Godec, Koperna, and Gale. (2014). ‘‘CO -
                                                                                                                                                                                                             2
                                                 dioxide storage resources—Summary: U.S.                                                                      ECBM: A Review of its Status and Global
                                                 Geological Survey Factsheet 2013–3020. http://
                                                                                                         and Missouri, which have little to no                Potential’’, Energy Procedia, Volume 63. https://
                                                 pubs.usgs.gov/fs/2013/3020/.                            saline sequestration potential and have              doi.org/10.1016/j.egypro.2014.11.619.
                                                   464 Vickers, Clayton. (2024). ‘‘Last coal plants in                                                          467 For details, please see Chapter 6 of the IPM

                                                 New England to close; renewables take their place.’’      465 For detailed information on the estimated      documentation. https://www.epa.gov/system/files/
                                                 https://thehill.com/policy/energy-environment/          emissions reductions from this rule, see section 3   documents/2021-09/chapter-6-co2-capture-storage-
                                                 4560375-new-hampshire-coal-plants-closing/.             of the RIA, available in the rulemaking docket.      and-transport.pdf.



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                                                 analysis shows that of the coal-fired                      to determine if the reservoir is suitable                  Currently, there are planned geologic
                                                 steam generating capacity with planned                     for geologic sequestration sites of more                sequestration facilities across the United
                                                 operation during or after 2039, more                       than 50 million tons of CO2, address                    States in various phases of
                                                 than 50 percent is less than 32 km (20                     technical and non-technical challenges                  development, construction, and
                                                 miles) from potential deep saline                          that may arise, develop a risk                          operation. The Wyoming Department of
                                                 sequestration sites, 73 percent is located                 assessment and CO2 management                           Environmental Quality issued three UIC
                                                 within 50 km (31 miles), 80 percent is                     strategy for the project; and assist with               Class VI permits in December 2023 to
                                                 located within 100 km (62 miles), and                      the validation of existing tools. Five                  Frontier Carbon Solutions. The Frontier
                                                 91 percent is within 160 km (100                           projects have been funded for                           Carbon Solutions project will sequester
                                                 miles).468                                                 CarbonSAFE Phase III and are currently                  5 million metric tons of CO2/year.477
                                                                                                            performing site characterization and                    Additionally, UIC Class VI permit
                                                 (2) Geologic Sequestration of CO2 Is
                                                                                                            permitting.                                             applications have been submitted to the
                                                 Adequately Demonstrated                                       The EPA notes that, while only                       Wyoming Department of Environmental
                                                   Geologic sequestration is based on a                     sequestration facilities with Federal                   Quality for a proposed Eastern
                                                 demonstrated understanding of the                          funding are currently operational in the                Wyoming Sequestration Hub project
                                                 processes that affect the fate of CO2 in                   United States, multiple commercial                      that would sequester up to 3 million
                                                 the subsurface. Existing project and                       sequestration facilities, other than those              metric tons of CO2/year.478 The North
                                                 regulatory experience, along with other                    funded under EPAct05, are in                            Dakota Oil and Gas Division has issued
                                                 information, indicate that geologic                        construction or advanced development,                   UIC Class VI permits to 6 sequestration
                                                 sequestration is a viable long-term CO2                    with some scheduled to open for                         projects that collectively will sequester
                                                 sequestration option. As discussed in                      operation as early as 2025.471 These                    18 million metric tons of CO2/year.479
                                                 this section, there are many examples of                   facilities have proposed sequestration                  Since 2014, the EPA has issued two UIC
                                                 projects successfully injecting and                        capacities ranging from 0.03 to 6 million               Class VI permits to Archer Daniels
                                                 containing CO2 in the subsurface.                          tons of CO2 per year. The Great Plains                  Midland (ADM) in Decatur, Illinois,
                                                   Research conducted through the                           Synfuel Plant currently captures 2                      which authorize the injection of up to
                                                 Department of Energy’s Regional Carbon                     million metric tons of CO2 per year,                    7 million metric tons of CO2. One of the
                                                 Sequestration Partnerships has                             which is exported to Canada for use in                  AMD wells is in the injection phase
                                                 demonstrated geologic sequestration                        EOR; a planned addition of                              while the other is in the post-injection
                                                 through a series of field research                         sequestration in a saline formation for                 phase. In January 2024, the EPA issued
                                                 projects that increased in scale over                      this facility is expected to increase the               two UIC Class VI permits to Wabash
                                                 time, injecting more than 12 million                       amount of CO2 captured and                              Carbon Services LLC for a project that
                                                 tons of CO2 with no indications of                         sequestered (through both geologic                      will sequester up to 1.67 million metric
                                                 negative impacts to either human health                    sequestration and EOR) to 3.5 million                   tons of CO2/year over an injection
                                                 or the environment.469 Building on this                    metric tons of CO2 per year.472 The EPA                 period of 12 years.480 In December 2023,
                                                 experience, DOE launched the Carbon                        and states with approved UIC Class VI                   the EPA released for public comment
                                                 Storage Assurance Facility Enterprise                      programs (including Wyoming, North                      four UIC Class VI draft permits for the
                                                 (CarbonSAFE) Initiative in 2016 to                         Dakota, and Louisiana) are currently                    Carbon TerraVault projects, to be
                                                 demonstrate how knowledge from the                         reviewing UIC Class VI geologic                         located in California.481 These projects
                                                 Regional Carbon Sequestration                              sequestration well permit applications                  propose to sequester CO2 captured from
                                                 Partnerships can be applied to                             for proposed sequestration sites in                     multiple different sources in California
                                                 commercial-scale safe storage. This                        fourteen states.473 474 475 As of March 15,             including a hydrogen plant, direct air
                                                 initiative is furthering the development                   2024, 44 projects with 130 injection                    capture, and pre-combustion gas
                                                 and refinement of technologies and                         wells are under review by the EPA.476                   treatment. TerraVault plans to inject
                                                 techniques critical to the                                                                                         1.46 million metric tons of CO2 annually
                                                 characterization of sites with the                            471 Global CCS Institute. (2024). Global Status of
                                                                                                                                                                    into the four proposed wells over a 26-
                                                 potential to sequester greater than 50                     CCS 2023. https://www.globalccsinstitute.com/wp-        year injection period with a total
                                                                                                            content/uploads/2024/01/Global-Status-of-CCS-
                                                 million tons of CO2.470 In Phase I of                      Report-1.pdf.
                                                                                                                                                                    potential capacity of 191 million metric
                                                 CarbonSAFE, thirteen projects                                 472 Basin Electric Power Cooperative. (2021).        tons.482 483 One of the proposed wells is
                                                 conducted economic feasibility                             ‘‘Great Plains Synfuels Plant Potential to Be Largest
                                                 analyses, collected, analyzed, and                         Coal-Based Carbon Capture and Storage Project to          477 Wyoming DEQ, Water Quality. Wyoming

                                                 modeled extensive regional data,                           Use Geologic Storage’’. https://                        grants its first three Class VI permits. By Kimberly
                                                                                                            www.basinelectric.com/News-Center/news-releases/        Mazza, December 14, 2023 https://
                                                 evaluated multiple storage sites and                       Great-Plains-Synfuels-Plant-potential-to-be-largest-    deq.wyoming.gov/2023/12/wyoming-grants-its-first-
                                                 infrastructure, and evaluated business                     coal-based-carbon-capture-and-storage-project-to-       three-class-vi-permits/.
                                                 plans. Six projects were funded for                        use-geologic-storage.                                     478 Wyoming DEQ Class VI Permit Applications.
                                                                                                               473 UIC regulations for Class VI wells authorize
                                                 Phase II which involves storage complex                                                                            Trailblazer permit application. https://
                                                                                                            the injection of CO2 for geologic sequestration while   deq.wyoming.gov/water-quality/groundwater/uic/
                                                 feasibility studies. These projects                        protecting human health by ensuring the protection      class-vi.
                                                 evaluate initial reservoir characteristics                 of underground sources of drinking water. The             479 North Dakota Oil and Gas Division, Class VI—
                                                                                                            major components to be included in UIC Class VI         Geologic Sequestration Wells. https://
                                                    468 Sequestration potential as it relates to distance   permits are detailed further in section                 www.dmr.nd.gov/dmr/oilgas/ClassVI.
                                                 from existing resources is a key part of the EPA’s         VII.C.1.a.i(D)(4).                                        480 EPA Approves Permits to Begin Construction

                                                 regular power sector modeling development, using              474 U.S. EPA Class VI Underground Injection
                                                                                                                                                                    of Wabash Carbon Services Underground Injection
                                                 data from DOE/NETL studies. For details, please see        Control (UIC) Class VI Wells Permitted by EPA as        Wells in Indiana’s Vermillion and Vigo Counties.
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                                                 chapter 6 of the IPM documentation. https://               of January 25, 2024. https://www.epa.gov/uic/table-     (2024) https://www.epa.gov/uic/epa-approves-
                                                 www.epa.gov/system/files/documents/2021-09/                epas-draft-and-final-class-vi-well-permits Last         permits-wabash-carbon-services-underground-
                                                 chapter-6-co2-capture-storage-and-transport.pdf.           updated January 19, 2024.                               injection-wells-indianas-vigo-and
                                                    469 Regional Sequestration Partnership Overview.           475 U.S. EPA Current Class VI Projects under           481 U.S. EPA Current Class VI Projects under

                                                 https://netl.doe.gov/carbon-management/carbon-             Review at EPA. 2024. https://www.epa.gov/uic/           Review at EPA. 2024. https://www.epa.gov/uic/
                                                 storage/RCSP.                                              current-class-vi-projects-under-review-epa.             current-class-vi-projects-under-review-epa.
                                                    470 National Energy Technology Laboratory.                 476 U.S. EPA. Current Class VI Projects under          482 U.S. EPA Class VI Permit Application. ‘‘Intent

                                                 CarbonSAFE Initiative. https://netl.doe.gov/carbon-        Review at EPA. 2024. https://www.epa.gov/uic/           to Issue Four (4) Class VI Geologic Carbon
                                                 management/carbon-storage/carbonsafe.                      current-class-vi-projects-under-review-epa.             Sequestration Underground Injection Control (UIC)



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                                                 an existing UIC Class II well that would                United States has nearly 60 years of                    Trail Energy CCS Project in North
                                                 be converted to a UIC Class VI well for                 experience with EOR.490 This                            Dakota and Illinois Industrial Carbon
                                                 the TerraVault project.484                              experience provides a strong foundation                 Capture and Storage in Illinois are
                                                   Geologic sequestration has been                       for demonstrating successful CO2                        dedicated saline sequestration facilities,
                                                 proven to be successful and safe in                     injection and monitoring technologies,                  while the other facilities, including
                                                 projects internationally. In Norway,                    which are needed for safe and secure                    Petra Nova in Texas, are sequestration
                                                 facilities conduct offshore sequestration               geologic sequestration that can be used                 via EOR.497 498 Several other facilities
                                                 under the Norwegian continental                         for deployment of CCS across                            are under development.499 The Red
                                                 shelf.485 In addition, the Sleipner CO2                 geographically diverse areas. The                       Trail Energy CCS facility in North
                                                 Storage facility in the North Sea, which                amount of CO2 that can be injected for                  Dakota began injecting CO2 captured
                                                 began operations in 1996, injects around                an EOR project and the duration of                      from ethanol production plants in
                                                 1 million metric tons of CO2 per year                   operations are of similar magnitude to                  2022.500 This project is expected to
                                                 from natural gas processing.486 The                     the duration and volume of CO2 that is                  inject 180,000 tons of CO2 per year.501
                                                 Snohvit CO2 Storage facility in the                     expected to be captured from fossil fuel-               The Illinois Industrial Carbon Capture
                                                 Barents Sea, which began operations in                  fired EGUs. The Farnsworth Unit, the                    and Storage Project began injecting CO2
                                                 2008, injects around 0.7 million metric                 Camrick Unit, the Shute Creek Facility,                 from ethanol production into the Mount
                                                 tons of CO2 per year from natural gas                   and the Core Energy CO2-EOR facility                    Simon Sandstone in April 2017.
                                                 processing. The SaskPower carbon                        are all examples of operations that store               According to the facility’s report to the
                                                 capture and sequestration facility at                   anthropogenic CO2 as a part of EOR                      EPA’s Greenhouse Gas Reporting
                                                 Boundary Dam Power Station in                           operations.491 492 Currently, 13 states                 Program (GHGRP), as of 2022, 2.9
                                                 Saskatchewan, Canada had, as of the                     have active EOR operations, and these                   million metric tons of CO2 had been
                                                 end of 2023, captured 5.6 million metric                states also have areas that are amenable                injected into the saline reservoir.502 CO2
                                                 tons of CO2 since it began operating in                 to deep saline sequestration in either                  injection for one of the two permitted
                                                 2014.487 Other international                            onshore or offshore locations.493                       Class VI wells ceased in 2021 and this
                                                 sequestration facilities in operation                                                                           well is now in the post-operation data
                                                 include Glacier Gas Plant MCCS                          (3) EPAct05-Assisted Geologic
                                                                                                         Sequestration Projects                                  collection phase.503
                                                 (Canada),488 Quest (Canada), and Qatar                                                                             There are additional planned geologic
                                                 LNG CCS (Qatar). The CarbFix project in                    Consistent with the EPA’s legal                      sequestration projects under review by
                                                 Iceland injects CO2 into a geologic                     interpretation that the Agency can rely                 the EPA and across the United
                                                 formation in which the CO2 reacts with                  on experience from EPAct05 funded
                                                                                                                                                                 States.504 505 Project Tundra, a saline
                                                 basalt rock formations to form stone.                   facilities in conjunction with other
                                                                                                                                                                 sequestration project planned at the
                                                 The CarbFix project has injected                        information, this section provides
                                                                                                                                                                 lignite-fired Milton R. Young Station in
                                                 approximately 100,000 metric tons of                    examples of EPAct05-assisted geologic
                                                                                                                                                                 North Dakota is projected to capture 4
                                                 CO2 into geologic formations since                      sequestration projects. While the EPA
                                                                                                                                                                 million metric tons of CO2 annually.506
                                                 2014.489                                                has determined that the sequestration
                                                                                                                                                                 In Wyoming, Class VI permit
                                                   EOR, the process of injecting CO2 into                component of CCS is adequately
                                                 oil and gas formations to extract                       demonstrated based on the non-EPAct05                      497 Reuters. (September 14, 2023) ‘‘Carbon capture
                                                 additional oil and gas, has been                        examples discussed above, adequate                      project back at Texas coal plant after 3-year
                                                 successfully used for decades at                        demonstration of geologic sequestration                 shutdown’’. https://www.reuters.com/business/
                                                 numerous production fields throughout                   is further corroborated by planned and                  energy/carbon-capture-project-back-texas-coal-
                                                                                                         operational geologic sequestration                      plant-after-3-year-shutdown-2023-09-14/.
                                                 the United States to increase oil and gas                                                                          498 Clean Air Task Force. (August 3, 2023). U.S.
                                                 recovery. The oil and gas industry in the               projects assisted by grants, loan                       Carbon Capture Activity and Project Map. https://
                                                                                                         guarantees, and the IRC section 48A                     www.catf.us/ccsmapus/.
                                                 Permits for Carbon TerraVault JV Storage Company        federal tax credit for ‘‘clean coal                        499 Global CCS Institute. (2024). Global Status of

                                                 Sub 1, LLC. EPA–R09–OW–2023–0623.’’ https://            technology’’ authorized by the                          CCS 2023. https://www.globalccsinstitute.com/wp-
                                                 www.epa.gov/publicnotices/intent-issue-class-vi-        EPAct05.494                                             content/uploads/2024/01/Global-Status-of-CCS-
                                                 underground-injection-control-permits-carbon-                                                                   Report-1.pdf.
                                                 terravault-jv.
                                                                                                            At present, there are 13 operational                    500 Ibid.
                                                   483 California Resources Corporation. ‘‘Carbon        and one post-injection phase                               501 Ibid.
                                                 TerraVault Potential Storage Capacity.’’https://        commercial carbon sequestration                            502 EPA Greenhouse Gas Reporting Program. Data
                                                 www.crc.com/carbon-terravault/Vaults/                   facilities in the United States.495 496 Red             reported as of August 12, 2022.
                                                 default.aspx.                                                                                                      503 University of Illinois Urbana-Champaign,
                                                   484 U.S. EPA Class VI Permit Application. ‘‘Intent
                                                                                                            490 NETL. (2010). Carbon Dioxide Enhanced Oil        Prairie Research Institute. (2022). Data from
                                                 to Issue Four (4) Class VI Geologic Carbon              Recovery. https://www.netl.doe.gov/sites/default/       landmark Illinois Basin carbon storage project are
                                                 Sequestration Underground Injection Control (UIC)       files/netl-file/co2_eor_primer.pdf.                     now available. https://blogs.illinois.edu/view/7447/
                                                 Permits for Carbon TerraVault JV Storage Company           491 Global CCS Institute. (2024). Global Status of   54118905.
                                                 Sub 1, LLC. EPA–R09–OW–2023–0623.                       CCS 2023. https://www.globalccsinstitute.com/wp-           504 In addition, Denbury Resources injected CO
                                                                                                                                                                                                                     2
                                                   485 Intergovernmental Panel on Climate Change.
                                                                                                         content/uploads/2024/01/Global-Status-of-CCS-           into a depleted oil and gas reservoir at a rate greater
                                                 (2005). Special Report on Carbon Dioxide Capture        Report-1.pdf.                                           than 1.2 million tons/year as part of a DOE
                                                 and Storage. https://www.ipcc.ch/report/carbon-            492 Greenhouse Gas Reporting Program                 Southeast Regional Carbon Sequestration
                                                 dioxide-capture-and-storage/.                           monitoring reports for these facilities are available   Partnership study. The Texas Bureau of Economic
                                                   486 Global CCS Institute. (2024). Global Status of
                                                                                                         at https://www.epa.gov/ghgreporting/subpart-rr-         Geology tested a wide range of surface and
                                                 CCS 2023. https://www.globalccsinstitute.com/wp-        geologic-sequestration-carbon-dioxide#decisions.        subsurface monitoring tools and approaches to
                                                 content/uploads/2024/01/Global-Status-of-CCS-              493 U.S. DOE NETL, Carbon Storage Atlas, Fifth       document sequestration efficiency and
                                                 Report-1.pdf.                                           Edition, September 2015. https://www.netl.doe.gov/      sequestration permanence at the Cranfield oilfield
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                                                   487 BD3 Status Update: Q3 2023. https://                                                                      in Mississippi. Texas Bureau of Economic Geology,
                                                                                                         research/coal/carbon-storage/atlasv.
                                                 www.saskpower.com/about-us/our-company/blog/               494 80 FR 64541–42 (October 23, 2015).               ‘‘Cranfield Log.’’ https://www.beg.utexas.edu/gccc/
                                                 2023/bd3-status-update-q3-2023.                            495 Clean Air Task Force. (August 3, 2023). U.S.     research/cranfield.
                                                   488 Global CCS Institute. (2024). Global Status of                                                               505 EPA Class VI Permit Tracker. https://
                                                                                                         Carbon Capture Activity and Project Map. https://
                                                 CCS 2023. https://www.globalccsinstitute.com/wp-        www.catf.us/ccsmapus/.                                  www.epa.gov/system/files/documents/2024-02/
                                                 content/uploads/2024/01/Global-Status-of-CCS-              496 Global CCS Institute. (2024). Global Status of   class-vi-permit-tracker_2-5-24.pdf. Accessed
                                                 Report-1.pdf.                                           CCS 2023. https://www.globalccsinstitute.com/wp-        February 5, 2024.
                                                   489 CarbFix Operations. (2024). https://              content/uploads/2024/01/Global-Status-of-CCS-              506 Project Tundra. ‘‘Project Tundra.’’ https://

                                                 www.carbfix.com/.                                       Report-1.pdf.                                           www.projecttundrand.com/.



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                                                 applications have been issued by the                    detailed regulatory framework for                       access to pore space on BLM lands,
                                                 Wyoming Department of Environmental                     geologic sequestration in the United                    including clarification of Federal policy
                                                 Quality for the proposed Eastern                        States. This framework is analyzed in a                 for situations where the surface and
                                                 Wyoming Sequestration Hub project, a                    2021 report from the Council on                         pore space are under the control of
                                                 saline sequestration facility proposed to               Environmental Quality (CEQ),511 and                     different Federal agencies.516
                                                 be located in Southwestern                              statutory and regulatory frameworks
                                                 Wyoming.507 At full capacity, the                       that may be applicable for CCS are                      (b) Underground Injection Control (UIC)
                                                 facility would permanently store up to                  summarized in the EPA CCS                               Program
                                                 5 million metric tons of CO2 captured                   Regulations Table.512 513 This regulatory                  The UIC regulations, including the
                                                 from industrial facilities annually in the              framework includes the UIC regulations,                 Class VI program, authorize the
                                                 Nugget saline sandstone reservoir.508 In                promulgated by the EPA under the                        injection of CO2 for geologic
                                                 Texas, three NGCCs plan to add carbon                   authority of the Safe Drinking Water Act                sequestration while protecting human
                                                 capture equipment. Deer Park NGCC                       (SDWA); and the GHGRP, promulgated                      health by ensuring the protection of
                                                 plans to capture 5 million tons per year,               by the EPA under the authority of the                   underground sources of drinking water
                                                 Quail Run NGCC plans to capture 1.5                     CAA. The requirements of the UIC and                    (USDW). These regulations are built
                                                 million tons of CO2 per year, and                       GHGRP programs work together to                         upon nearly a half-century of Federal
                                                 Baytown NGCC plans to capture up to                     ensure that sequestered CO2 will remain                 experience regulating underground
                                                 2 million tons of CO2 per year.509 510                  securely stored underground.                            injection wells, and many additional
                                                                                                         Furthermore, geologic sequestration                     years of state UIC program expertise.
                                                 (4) Security of Geologic Sequestration
                                                                                                         efforts on Federal lands as well as those               The IIJA established a $50 million grant
                                                 and Related Regulatory Requirements
                                                                                                         efforts that are directly supported with                program to assist states and tribal
                                                    As discussed in section                              Federal funds would need to comply                      regulatory authorities in developing and
                                                 VII.C.1.a.i(D)(2) of this preamble, there               with the NEPA and other Federal laws                    implementing UIC Class VI programs.517
                                                 have been numerous instances of                         and regulations, depending on the
                                                 geologic sequestration in the U.S. and                                                                          Major components included in UIC
                                                                                                         nature of the project.514 In cases where                Class VI permits are site
                                                 overseas, and the U.S. has developed a                  sequestration is conducted offshore, the
                                                 detailed set of regulatory requirements                                                                         characterization, area of review,518
                                                                                                         SDWA, the Marine Protection, Research,                  corrective action,519 well construction
                                                 to ensure the security of sequestered                   and Sanctuaries Act (MPRSA) or the
                                                 CO2. This regulatory framework                                                                                  and operation, testing and monitoring,
                                                                                                         Outer Continental Shelf Lands Act                       financial responsibility, post-injection
                                                 includes the UIC well regulations                       (OCSLA) may apply. The Department of
                                                 pursuant to SDWA authority, and the                                                                             site care, well plugging, emergency and
                                                                                                         Interior Bureau of Safety and                           remedial response, and site closure. The
                                                 GHGRP pursuant to CAA authority.                        Environmental Enforcement and Bureau
                                                    Regulatory oversight of geologic                                                                             EPA’s UIC regulations are included in
                                                                                                         of Ocean Energy Management are
                                                 sequestration is built upon an                                                                                  40 CFR parts 144–147. The UIC
                                                                                                         developing new regulations and creating
                                                 understanding of the proven                                                                                     regulations ensure that injected CO2
                                                                                                         a program for oversight of carbon
                                                 mechanisms by which CO2 is retained                                                                             does not migrate out of the authorized
                                                                                                         sequestration activities on the outer
                                                 in geologic formations. These                                                                                   injection zone, which in turn ensures
                                                                                                         continental shelf.515 Furthermore, Title
                                                 mechanisms include (1) Structural and                                                                           that CO2 is securely stored
                                                                                                         V of the Federal Land Policy and
                                                 stratigraphic trapping (generally                                                                               underground.
                                                                                                         Management Act of 1976 (FLPMA) and
                                                 trapping below a low permeability                       its implementing regulations, 43 CFR                       Review of a UIC permit application by
                                                 confining layer); (2) residual CO2                      part 2800, authorize the Bureau of Land                 the permitting authority, including for
                                                 trapping (retention as an immobile                      Management (BLM) to issue rights-of-                    Class VI geologic sequestration, entails a
                                                 phase trapped in the pore spaces of the                 way (ROWs) to geologically sequester                    multidisciplinary evaluation to
                                                 geologic formation); (3) solubility                     CO2 in Federal pore space, including                    determine whether the application
                                                 trapping (dissolution in the in situ                    BLM ROWs for the necessary physical                     includes the required information, is
                                                 formation fluids); (4) mineral trapping                 infrastructure and for the use and                      technically accurate, and supports a
                                                 (reaction with the minerals in the                      occupancy of the pore space itself. The                 determination that USDWs will not be
                                                 geologic formation and confining layer                  BLM has published a policy defining                     endangered by the proposed injection
                                                 to produce carbonate minerals); and (5)
                                                 preferential adsorption trapping                           511 CEQ. (2021). ‘‘Council on Environmental             516 National Policy for the Right-of-Way

                                                 (adsorption onto organic matter in coal                 Quality Report to Congress on Carbon Capture,           Authorizations Necessary for Site Characterization,
                                                 and shale).                                             Utilization, and Sequestration.’’ https://              Capture, Transportation, Injection, and Permanent
                                                                                                         www.whitehouse.gov/wp-content/uploads/2021/06/          Geologic Sequestration of Carbon Dioxide in
                                                 (a) Overview of Legal and Regulatory                    CEQ-CCUS-Permitting-Report.pdf.                         Connection with Carbon Sequestration Projects.
                                                 Framework
                                                                                                            512 EPA. 2023. Regulatory and Statutory              BLM IM 2022–041 Instruction Memorandum, June
                                                                                                         Authorities Relevant to Carbon Capture and              8, 2022. https://www.blm.gov/policy/im-2022-041.
                                                    For the reasons detailed below, the                  Sequestration (CCS) Projects. https://www.epa.gov/         517 EPA. Underground Injection Control Class VI

                                                 UIC Program, the GHGRP, and other                       system/files/documents/2023-10/regulatory-and-          Wells Memorandum. (December 9, 2022). https://
                                                                                                         statutory-authorities-relevant-to-carbon-capture-       www.epa.gov/system/files/documents/2022-12/
                                                 regulatory requirements comprise a                      and-sequestration-ccs-projects.pdf.                     AD.Regan_.GOVS_.Sig_.Class%20VI.12-9-22.pdf.
                                                                                                            513 This table serves as a reference of many            518 Per 40 CFR 146.84(a), the area of review is the
                                                   507 Wyoming DEQ Class VI Permit Applications.
                                                                                                         possible authorities that may affect a CCS project      region surrounding the geologic sequestration
                                                 https://deq.wyoming.gov/water-quality/                  (including site selection, capture, transportation,     project where USDWs may be endangered by the
                                                 groundwater/uic/class-vi/.                              and sequestration). Many of the authorities listed in   injection activity. The area of review is delineated
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                                                   508 Id.                                               this table would apply only in specific                 using computational modeling that accounts for the
                                                   509 Calpine. (2023). Calpine Carbon Capture,          circumstances.                                          physical and chemical properties of all phases of
                                                 Bayton, Texas. https://calpinecarboncapture.com/           514 CEQ. ‘‘Council on Environmental Quality          the injected carbon dioxide stream and is based on
                                                 wp-content/uploads/2023/04/Calpine-Baytown-             Report to Congress on Carbon Capture, Utilization,      available site characterization, monitoring, and
                                                 One-Pager-English-1.pdf.                                and Sequestration.’’ 2021. https://                     operational data.
                                                   510 Global CCS Institute. (2024). Global Status of    www.whitehouse.gov/wp-content/uploads/2021/06/             519 UIC permitting authorities may require

                                                 CCS 2023. https://www.globalccsinstitute.com/wp-        CEQ-CCUS-Permitting-Report.pdf.                         corrective action for existing wells within the area
                                                 content/uploads/2024/01/Global-Status-of-CCS-              515 Department of the Interior. (2023). BSEE         of review to ensure protection of underground
                                                 Report-1.pdf.                                           Budget. https://www.doi.gov/ocl/bsee-budget.            sources of drinking water.



                                            VerDate Sep<11>2014   20:13 May 08, 2024   Jkt 262001   PO 00000   Frm 00070                      0   E:\FR\FM\09MYR3.SGM     09MYR3             Add.069
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                                                 activity.520 The EPA promulgated UIC                    authorized injection zone; if monitoring             activity will not endanger USDWs.525
                                                 regulations to ensure underground                       indicates leakage of injected CO2 from               The National Academy of Sciences
                                                 injection wells are constructed,                        the injection zone, the leakage may                  released a report in 2012 on induced
                                                 operated, and closed in a manner that is                trigger a response per the permittee’s               seismicity from CCS and determined
                                                 protective of USDWs and to address                      Class VI Emergency and Remedial                      that with appropriate site selection, a
                                                 potential risks to USDWs associated                     Response Plan including halting                      monitoring program, a regulatory
                                                 with injection activities.521 The UIC                   injection, and the permitting authority              system, and the appropriate use of
                                                 regulations address the major pathways                  may prescribe additional permit                      remediation methods, the induced
                                                 by which injected fluids can migrate                    requirements necessary to prevent such               seismicity risks of geologic
                                                 into USDWs, including along the                         movement to ensure USDWs are                         sequestration could be mitigated.526
                                                 injection well bore, via improperly                     protected or take appropriate                        Furthermore, the Ground Water
                                                 completed or plugged wells in the area                  enforcement action if the permit has                 Protection Council and Interstate Oil
                                                 near the injection well, direct injection               been violated.523 Class II EOR permits               and Gas Compact Commission have
                                                 into a USDW, faults or fractures in the                 are also designed to ensure the                      published a ‘‘Potential Induced
                                                 confining strata, or lateral displacement               protection of USDWs with requirements                Seismicity Guide.’’ This report found
                                                 into hydraulically connected USDWs.                     appropriate for the risks of the enhanced            that the strategies for avoiding,
                                                 States may apply to the EPA to be the                   recovery operation. In general, the EPA              mitigating, and responding to potential
                                                 UIC permitting authority in the state                   believes that the protection of USDWs                risks of induced seismicity should be
                                                 and receive primary enforcement                         by preventing leakage of injected CO2                determined based on site-specific
                                                 authority (primacy). Where a state has                  out of the injection zone will also                  characteristics (i.e., local geology).
                                                 not obtained primacy, the EPA is the                    ensure that CO2 is sufficiently                      These strategies could include
                                                 UIC permitting authority.                               sequestered in the subsurface, and                   supplemental seismic monitoring,
                                                    Recognizing that CO2 injection, for the              therefore will not leak from the                     altering operational parameters (such as
                                                 purpose of geologic sequestration, poses                subsurface to the atmosphere.                        rates and pressures) to reduce the
                                                 unique risks relative to other injection                   The UIC program works with                        ground motion hazard and risk, permit
                                                 activities, the EPA promulgated Federal                 injection well operators throughout the              modification, partial plug back of the
                                                 Requirements Under the UIC Program                      life of the well to confirm practices do             well, controlled restart (if feasible),
                                                 for Carbon Dioxide GS Wells, known as                   not pose a risk to USDWs. The program                suspending or revoking injection
                                                 the Class VI Rule, in December 2010.522                 conducts inspections to verify                       authorization, or stopping injection and
                                                 The Class VI Rule created and set                       compliance with the UIC permit,                      shutting in a well.527 The EPA’s UIC
                                                 requirements for a new class of injection               including checking for leaks.524                     National Technical Workgroup released
                                                 wells, Class VI. The Class VI Rule builds               Inspections are only one way that                    technical recommendations in 2015 to
                                                 upon the long-standing protective                       programs deter noncompliance.                        address induced seismicity concerns in
                                                 framework of the UIC Program, with                      Programs also evaluate periodic                      Class II wells and elements of these
                                                 requirements that are tailored to address               monitoring reports submitted by                      recommendations have been utilized in
                                                 issues unique to large-scale geologic                   operators and discuss potential issues               developing Class VI emergency and
                                                 sequestration, including large injection                with operators. If a well is found to be             remedial response plans for Class VI
                                                 volumes, higher reservoir pressures                     out of compliance with applicable                    permits.528 529 For example, as identified
                                                 relative to other injection formations,                 requirements in its permit or UIC
                                                 the relative buoyancy of CO2, the                       regulations, the program will identify
                                                                                                                                                                 525 See 40 CFR 146.82(a)(3)(v) (requiring the

                                                 potential presence of impurities in                                                                          permit applicant to submit and the permitting
                                                                                                         specific actions that an operator must               authority to consider information on the seismic
                                                 captured CO2, the corrosivity of CO2 in                 take to address the issues. The UIC                  history including the presence and depth of seismic
                                                 the presence of water, and the mobility                 program may assist the operator in                   sources and a determination that the seismicity
                                                 of CO2 within subsurface geologic                       returning the well to compliance or use
                                                                                                                                                              would not interfere with containment); EPA. (2018).
                                                 formations. These additional protective                                                                      Geologic Sequestration of Carbon Dioxide
                                                                                                         administrative or judicial enforcement               Underground Injection Control (UIC) Program Class
                                                 requirements include more extensive                     to return a well to compliance.                      VI Implementation Manual for UIC Program
                                                 geologic testing, detailed computational                                                                     Directors. U.S. Environmental Protection Agency
                                                 modeling of the project area and                           UIC program requirements address                  Office of Water (4606M) EPA 816–R–18–001.
                                                 periodic re-evaluations, detailed                       potential safety concerns with induced               https://www.epa.gov/sites/default/files/2018-01/
                                                                                                         seismicity. More specifically, through               documents/implementation_manual_508_
                                                 requirements for monitoring and                                                                              010318.pdf.
                                                 tracking the CO2 plume and pressure in                  the UIC Class VI program, the EPA has                   526 National Research Council. (2013). Induced

                                                 the injection zone, unique financial                    put in place mechanisms to identify,                 Seismicity Potential in Energy Technologies.
                                                 responsibility requirements, and                        monitor, and reduce risks associated                 Washington, DC: The National Academies Press.
                                                 extended post-injection monitoring and                  with induced seismicity in any areas                 https://doi.org/10.17226/13355.
                                                                                                                                                                 527 Ground Water Protection Council and
                                                 site care.                                              within or surrounding a sequestration
                                                                                                                                                              Interstate Oil and Gas Compact Commission. (2021).
                                                    UIC Class VI permits are designed to                 site through permit and program                      Potential Induced Seismicity Guide: A Resource of
                                                 ensure that geologic sequestration does                 requirements such as site                            Technical and Regulatory Considerations
                                                 not cause the movement of injected CO2                  characterization and monitoring, and                 Associated with Fluid Injection. https://
                                                                                                         the requirement for applicants to                    www.gwpc.org/wp-content/uploads/2022/12/
                                                 or formation fluids outside the                                                                              FINAL_Induced_Seismicity_2021_Guide_33021.pdf.
                                                                                                         demonstrate that induced seismic                        528 EPA. (2015). Minimizing and Managing
                                                   520 EPA. EPA Report to Congress: Class VI
                                                                                                                                                              Potential Impacts of Injection-Induced Seismicity
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                                                 Permitting. 2022. https://www.epa.gov/system/files/       523 See 40 CFR 144.12(b) (prohibition of           from Class II Disposal Wells: Practical Approaches.
                                                 documents/2022-11/                                      movement of fluid into USDWs); 40 CFR                https://www.epa.gov/sites/default/files/2015-08/
                                                 EPAClassVIPermittingReporttoCongress.pdf.               146.86(a)(1) (Class VI injection well construction   documents/induced-seismicity-201502.pdf.
                                                   521 See 40 CFR parts 124, 144–147.                    requirements); 40 CFR 146(a) (Class VI injection        529 EPA. (2018). Geologic Sequestration of Carbon
                                                   522 EPA. (2010). Federal Requirements Under the       well operation requirements); 40 CFR 146.94          Dioxide: Underground Injection Control (UIC)
                                                 Underground Injection Control (UIC) Program for         (emergency and remedial response).                   Program Class VI Implementation Manual for UIC
                                                 Carbon Dioxide (CO2) Geologic Sequestration (GS)          524 EPA. (2020). Underground Injection Control     Program Directors. EPA 816–R–18–001. https://
                                                 Wells; Final Rule, 75 FR 77230, December 10, 2010       Program. https://www.epa.gov/sites/default/files/    www.epa.gov/sites/default/files/2018-01/
                                                 (codified at 40 CFR part 146, subpart H).               2020-04/documents/uic_fact_sheet.pdf.                                                           Continued




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                                                 by the EPA’s UIC National Technical                     programs and public participation                      (5) minimize adverse effects to USDWs
                                                 Workgroup, sufficient pressure buildup                  requirements in place to support this                  and the communities they may serve.538
                                                 from disposal activities, the presence of               process. The EPA is committed to                          As a part of the UIC Class VI permit
                                                 Faults of Concern (i.e., a fault optimally              advancing EJ for overburdened                          application process, applicants and the
                                                 oriented for movement and located in a                  communities in all its programs,                       EPA Regions should complete an EJ
                                                 critically stressed region), and the                    including the UIC Class VI program.534                 review using the EPA’s EJScreen Tool,
                                                 existence of a pathway for allowing the                 The EPA is also committed to                           an online mapping tool that integrates
                                                 increased pressure to communicate with                  supporting states’ and tribes’ efforts to              numerous demographic, socioeconomic,
                                                 the fault contribute to the risk of                     obtain UIC Class VI primacy and                        and environmental data sets that are
                                                 injection-induced seismicity. The UIC                   strongly encourages such states and                    overlain on an applicant’s UIC Area of
                                                 requirements, including site                                                                                   Review to identify whether any
                                                                                                         tribes to incorporate environmental
                                                 characterization (e.g., ensuring the                                                                           disadvantaged communities are
                                                 confining zone 530 is free of faults of                 justice principles and equity into
                                                                                                         proposed UIC Class VI programs.535 The                 encompassed.539 If the results indicate a
                                                 concern) and operating requirements                                                                            potential EJ impact, applicants and the
                                                 (e.g., ensuring injection pressure in the               EPA is taking steps to address EJ in
                                                                                                         accordance with Presidential Executive                 EPA Regions should consider potential
                                                 injection zone is below the fracture                                                                           measures to mitigate the impacts of the
                                                 pressure), work together to address                     Order 14096, Revitalizing Our Nation’s
                                                                                                                                                                UIC Class VI project on identified
                                                 these components and reduce the risk of                 Commitment to Environmental Justice
                                                                                                                                                                vulnerable communities and enhance
                                                 injection-induced seismicity,                           for All (88 FR 25251, April 26, 2023). In
                                                                                                                                                                the public participation process to be
                                                 particularly any injection-induced                      2023, the EPA released Environmental                   inclusive of all potentially affected
                                                 seismicity that could be felt by people                 Justice Guidance for UIC Class VI                      communities (e.g., conduct early
                                                 at the surface.531 Additionally, the EPA                Permitting and Primacy that builds on                  targeted outreach to communities and
                                                 recommends that Class VI permits                        the 2011 UIC Quick Reference Guide:                    identify and mitigate any
                                                 include an approach for monitoring for                  Additional Tools for UIC Program                       communication obstacles such as
                                                 seismicity near the site, including                     Directors Incorporating Environmental                  language barriers or lack of technology
                                                 seismicity that cannot be felt at the                   Justice Considerations into the Class VI               resources).540
                                                 surface, and that injection activities be               Injection Well Permitting Process.536 537
                                                 stopped or reduced in certain situations                                                                          ER technologies are used in oil and
                                                                                                         The 2023 guidance serves as an                         gas reservoirs to increase production.
                                                 if seismic activity is detected to ensure               operating framework for identifying,
                                                 that no seismic activity will endanger                                                                         Injection wells used for ER are regulated
                                                                                                         analyzing, and addressing EJ concerns                  through the UIC Class II program.
                                                 USDWs.532 This also reduces the
                                                                                                         in the context of implementing and                     Injection of CO2 is one of several
                                                 likelihood of any future injection-
                                                                                                         overseeing UIC permitting and primacy                  techniques used in ER. Sometimes ER
                                                 induced seismic activity that will be felt
                                                 at the surface.                                         programs, including primacy approvals.                 uses CO2 from anthropogenic sources
                                                    Furthermore, during site                             The EPA notes that while this guidance                 such as natural gas processing, ammonia
                                                 characterization, if any of the geologic                is focused on the UIC Class VI program,                and fertilizer production, and coal
                                                 or seismic data obtained indicate a                     EPA Regions should apply them to the                   gasification facilities. Through the ER
                                                 substantial likelihood of seismic                       other five injection well classes                      process, much of the injected CO2 is
                                                 activity, the EPA may require further                   wherever possible, including class II.                 recovered from production wells and
                                                 analyses, potential planned operational                 The guidance includes recommended                      can be separated and reinjected into the
                                                 changes, and additional monitoring.533                  actions across five themes to address                  subsurface formation, resulting in the
                                                 The EPA has the authority to require                    various aspects of EJ in UIC Class VI                  storage of CO2 underground. The EPA’s
                                                 seismic monitoring as a condition of the                permitting including: (1) identify                     Class II regulations were designed to
                                                 UIC permit if appropriate, or to deny the               communities with potential EJ concerns,                regulate ER injection wells, among other
                                                 permit if the injection-induced                         (2) enhance public involvement, (3)                    injection wells associated with oil and
                                                 seismicity risk could endanger USDWs.                   conduct appropriately scoped EJ                        natural gas production. See e.g., 40 CFR
                                                    The EPA believes that meaningful                                                                            144.6(b)(2). The EPA’s Class II program
                                                                                                         assessments, (4) enhance transparency
                                                 engagement with local communities is                                                                           is designed to prevent Class II injection
                                                                                                         throughout the permitting process, and
                                                 an important step in the development of                                                                        activities from endangering USDWs.
                                                 geologic sequestration projects and has                    534 EPA. (2023). Environmental justice Guidance
                                                                                                                                                                The Class II programs of states and
                                                                                                         for UIC Class VI Permitting and Primacy. https://
                                                                                                                                                                tribes must be approved by the EPA and
                                                 documents/implementation_manual_508_                    www.epa.gov/system/files/documents/2023-08/            must meet the EPA regulatory
                                                 010318.pdf.                                             Memo%20and%20EJ%20Guidance%20for                       requirements for Class II programs, 42
                                                    530 ‘‘Confining zone’’ means a geological
                                                                                                         %20UIC%20Class%20VI_August%202023.pdf; see             U.S.C. 300h–1, or otherwise represent
                                                 formation, group of formations, or part of a            also EPA. Letter from the EPA Administrator
                                                 formation that is capable of limiting fluid                                                                    an effective program to prevent
                                                                                                         Michael S. Regan to U.S. State Governors. December
                                                 movement above an injection zone. 40 CFR 146.3.         9, 2022. https://www.epa.gov/system/files/             endangerment of USDWs. 42 U.S.C
                                                    531 EPA. (2015). Minimizing and Managing
                                                                                                         documents/2022-12/AD.Regan_.GOVS_.Sig_                 300h–4.
                                                 Potential Impacts of Injection-Induced Seismicity       .Class%20VI.12-9-22.pdf.
                                                 from Class II Disposal Wells: Practical Approaches.        535 EPA. (2023). Targeted UIC program grants for      538 EPA. (2023). Environmental justice Guidance
                                                 https://www.epa.gov/sites/default/files/2015-08/
                                                 documents/induced-seismicity-201502.pdf.                Class VI Wells. https://www.epa.gov/uic/               for UIC Class VI Permitting and Primacy. https://
                                                    532 See EPA. Emergency and Remedial Response         underground-injection-control-grants#ClassVI_          www.epa.gov/system/files/documents/2023-08/
                                                 Plan: 40 CFR 146.94(a) template. https://               Grants.                                                Memo%20and%20EJ%20Guidance%20for
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                                                                                                            536 EPA. (2023). Environmental justice Guidance     %20UIC%20Class%20VI_August%202023.pdf.
                                                 www.epa.gov/system/files/documents/2022-03/err_
                                                 plan_template.docx. See also EPA. (2018). Geologic      for UIC Class VI Permitting and Primacy. https://        539 EPA Report to Congress: Class VI Permitting.

                                                 Sequestration of Carbon Dioxide: Underground            www.epa.gov/system/files/documents/2023-08/            2022. https://www.epa.gov/system/files/documents/
                                                 Injection Control (UIC) Program Class VI                Memo%20and%20EJ%20Guidance%20for                       2022-11/
                                                 Implementation Manual for UIC Program Directors.        %20UIC%20Class%20VI_August%202023.pdf.                 EPAClassVIPermittingReporttoCongress.pdf.
                                                 EPA 816–R–18–001. https://www.epa.gov/sites/               537 EPA. (2011). Geologic Sequestration of Carbon     540 EPA Report to Congress: Class VI Permitting.
                                                 default/files/2018-01/documents/implementation_         Dioxide—UIC Quick Reference Guide. https://            2022. https://www.epa.gov/system/files/documents/
                                                 manual_508_010318.pdf.                                  www.epa.gov/sites/default/files/2015-07/               2022-11/
                                                    533 40 CFR 146.82(a)(3)(v).                          documents/epa816r11002.pdf.                            EPAClassVIPermittingReporttoCongress.pdf.



                                            VerDate Sep<11>2014   20:13 May 08, 2024   Jkt 262001   PO 00000   Frm 00072                        E:\FR\FM\09MYR3.SGM     09MYR3            Add.071
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                                                    In promulgating the Class VI                         ‘‘GHGRP subpart RR’’ and ‘‘GHGRP                       for establishing the expected baselines
                                                 regulations, the EPA recognized that if                 subpart VV.’’                                          for monitoring CO2 surface leakage; and,
                                                 the business model for ER shifts to focus                  GHGRP subpart RR applies to ‘‘any                   a summary of considerations made to
                                                 on maximizing CO2 injection volumes                     well or group of wells that inject a CO2               calculate site-specific variables for the
                                                 and permanent storage, then the risk of                 stream for long-term containment in                    mass balance equation.549
                                                 endangerment to USDWs is likely to                      subsurface geologic formations’’ 542 and                  In April 2024, the EPA finalized a
                                                 increase. As an ER project shifts away                  provides the monitoring and reporting                  new GHGRP subpart, ‘‘Geologic
                                                 from oil and/or gas production,                         mechanisms to quantify CO2 storage and                 Sequestration of Carbon Dioxide with
                                                 injection zone pressure and carbon                      to identify, quantify, and address                     Enhanced Oil Recovery (EOR) Using
                                                 dioxide volumes will likely increase if                 potential leakage. The EPA designed                    ISO 27916’’ (or GHGRP subpart VV).550
                                                 carbon dioxide injection rates increase,                GHGRP subpart RR to complement the                     GHGRP subpart VV applies to facilities
                                                 and the dissipation of reservoir pressure               UIC monitoring and testing                             that quantify the geologic sequestration
                                                 will decrease if fluid production from                  requirements. See e.g., 40 CFR 146.90–                 of CO2 in association with EOR
                                                 the reservoir decreases. Therefore, the                 91. Reporting under GHGRP subpart RR                   operations in conformance with the ISO
                                                 EPA’s regulations require the operator of               is required for, but not limited to, all               standard designated as CSA/ANSI ISO
                                                 a Class II well to obtain a Class VI                    facilities that have received a UIC Class              27916:2019, Carbon Dioxide Capture,
                                                 permit when there is an increased risk                  VI permit for injection of CO2.543 Under               Transportation and Geological Storage—
                                                 to USDWs. 40 CFR 144.19.541 While the                   existing GHGRP regulations, facilities                 Carbon Dioxide Storage Using Enhanced
                                                 EPA’s regulations require the Class II                  that conduct ER in Class II wells are not              Oil Recovery. Facilities that have
                                                 well operator to assess whether there is                subject to reporting data under GHGRP                  chosen to submit an MRV plan and
                                                 an increased risk to USDWs                              subpart RR unless they have chosen to                  report under GHGRP subpart RR must
                                                 (considering factors identified in the                  submit a proposed monitoring,                          not report data under GHGRP subpart
                                                 EPA’s regulations), the permitting                      reporting, and verification (MRV) plan                 VV. GHGRP subpart VV is largely
                                                 authority can also make this assessment                 to the EPA and received an approved                    modeled after the requirements in this
                                                 and, in the event that an operator makes                plan from the EPA. Facilities                          ISO standard and focuses on quantifying
                                                 changes to Class II operations such that                conducting ER and who do not choose                    storage of CO2. Facilities subject to
                                                 the increased risk to USDWs warrants                    to submit a subpart RR MRV plan to the                 GHGRP subpart VV must include in
                                                 transition to Class VI and the operator                 EPA would otherwise be required to                     their GHGRP annual report a copy of
                                                 does not notify the permitting authority,               report CO2 data under subpart UU.544                   their EOR Operations Management Plan
                                                 the operator may be subject to SDWA                     GHGRP subpart RR requires facilities                   (EOR OMP). The EOR OMP includes a
                                                 enforcement and compliance actions to                   meeting the source category definition                 description of the EOR complex and
                                                 protect USDWs, including cessation of                   (40 CFR 98.440) for any well or group                  engineered system, establishes that the
                                                 injection. The determination of whether                 of wells to report basic information on                EOR complex is adequate to provide
                                                 there is an increased risk to USDWs                     the mass of CO2 received for injection;                safe, long-term containment of CO2, and
                                                 would be based on factors specified in                  develop and implement an EPA-                          includes site-specific and other
                                                 40 CFR 144.19(b), including increase in                 approved monitoring, reporting, and                    information including a geologic
                                                 reservoir pressure within the injection                 verification (MRV) plan; report the mass               characterization of the EOR complex, a
                                                 zone; increase in CO2 injection rates;                  of CO2 sequestered using a mass balance                description of the facilities within the
                                                 and suitability of the Class II Area of                 approach; and report annual monitoring                 EOR project, a description of all wells
                                                                                                         activities.545 546 547 548 Extensive                   and other engineered features in the
                                                 Review (AoR) delineation.
                                                                                                         subsurface monitoring is required for                  EOR project, and the operations history
                                                 (c) Greenhouse Gas Reporting Program                    UIC Class VI wells at 40 CFR 146.90 and                of the project reservoir.551
                                                 (GHGRP)                                                 is the primary means of determining if                    Based on the understanding
                                                                                                         the injected CO2 remains in the                        developed from existing projects, the
                                                   The GHGRP requires reporting of                       authorized injection zone and otherwise                security of sequestered CO2 is expected
                                                 greenhouse gas (GHG) data and other                     does not endanger any USDW, and                        to increase over time after injection
                                                 relevant information from large GHG                     monitoring under a GHGRP subpart RR                    ceases.552 This is due to trapping
                                                 emission sources, fuel and industrial gas               MRV Plan complements these                             mechanisms that reduce CO2 mobility
                                                 suppliers, and CO2 injection sites in the               requirements. The MRV plan includes                    over time (e.g., physical CO2 trapping by
                                                 United States. Approximately 8,000                      five major components: a delineation of                a low-permeability geologic seal or
                                                 facilities are required to report their                 monitoring areas based on the CO2                      chemical trapping by conversion or
                                                 emissions, injection, and/or supply                     plume location; an identification and                  adsorption).553 The EPA acknowledges
                                                 activity annually, and the non-                         evaluation of the potential surface                    the potential for some leakage of CO2 to
                                                 confidential reported data are made                     leakage pathways and an assessment of                  the atmosphere at sequestration sites,
                                                 available to the public around October                  the likelihood, magnitude, and timing,                 primarily while injection operations are
                                                 of each year. To complement the UIC                     of surface leakage of CO2 through these                active. For example, small quantities of
                                                 regulations, the EPA included in the                    pathways; a strategy for detecting and                 the CO2 that were sent to the
                                                 GHGRP air-side monitoring and                           quantifying any surface leakage of CO2
                                                 reporting requirements for CO2 capture,                 in the event leakage occurs; an approach                 549 40 CFR 98.448(a).

                                                 underground injection, and geologic                                                                              550 EPA. (2024). Rulemaking Notices for GHG

                                                 sequestration. These requirements are                     542 See 40 CFR 98.440.
                                                                                                                                                                Reporting. https://www.epa.gov/ghgreporting/
                                                                                                                                                                rulemaking-notices-ghg-reporting.
                                                 included in 40 CFR part 98, subpart RR
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                                                                                                           543 40 CFR 98.440.
                                                                                                                                                                  551 EPA. (2024). Rulemaking Notices for GHG
                                                 and subpart VV, also referred to as                       544 As discussed in section X.C.5.b, entities
                                                                                                                                                                Reporting. https://www.epa.gov/ghgreporting/
                                                                                                         conducting CCS to comply with this rule would be       rulemaking-notices-ghg-reporting.
                                                   541 EPA. (2015). Key Principles in EPA’s              required to send the captured CO2 to a facility that     552 ‘‘Report of the Interagency Task Force on
                                                                                                         reports data under subpart RR or subpart VV.           Carbon Capture and Storage.’’ 2010. https://
                                                 Underground Injection Control Program Class VI            545 40 CFR 98.446.
                                                 Rule Related to Transition of Class II Enhanced Oil                                                            www.osti.gov/servlets/purl/985209.
                                                                                                           546 40 CFR 98.448.
                                                 or Gas Recovery Wells to Class VI. https://                                                                      553 See, e.g., Intergovernmental Panel on Climate
                                                                                                           547 40 CFR 98.446(f)(9) and (10).
                                                 www.epa.gov/sites/default/files/2015-07/                                                                       Change. (2005). Special Report on Carbon Dioxide
                                                 documents/class2eorclass6memo_1.pdf.                      548 40 CFR 98.446(f)(12).                            Capture and Storage.



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                                                 sequestration site may be emitted from                  Between 2011, when the Class VI rule                  decisions for Class VI wells while
                                                 leaks in pipes and valves that are                      went into effect, and 2020, the EPA                   maintaining a robust and thorough
                                                 traversed before the CO2 actually                       received a total of 8 permit applications             review process that ensures USDWs are
                                                 reaches the sequestration formation.                    for Class VI wells. The EPA then                      protected. The EPA has created
                                                 However, the EPA’s robust UIC                           received 12 Class VI permit applications              additional resources for applicants
                                                 regulatory protections protect against                  in 2021, 44 in 2022, and 123 in 2023.                 including upgrading the Geologic
                                                 leakage out of the injection zone.                      As of March 2024, the EPA has 130                     Sequestration Data Tool (GSDT) to guide
                                                 Relative to the 46.75 million metric tons               Class VI permit applications under                    applicants through the application
                                                 of CO2 reported as sequestered under                    review (56 permit applications were                   process.558 The EPA has also created
                                                 subpart RR of the GHGRP between 2016                    transferred to Louisiana in February                  resources for permit writers including
                                                 to 2022, only 196,060 metric tons were                  2024 when the EPA rule granting Class                 training series and guidance documents
                                                 reported as leakage/emissions to the                    VI primacy to the state became                        to build capacity for Class VI
                                                 atmosphere in the same time period                      effective). The majority of those 130                 permitting.559 Additionally, the EPA
                                                 (representing less than 0.5% of the                     permit applications (63%) were                        issued internal guidelines to streamline
                                                 sequestration amount). Of these                         submitted to the EPA within the past 12               and create uniformity and consistency
                                                 emissions, most were from equipment                     months. Also, as of March 2024, the                   in the Class VI permitting process,
                                                 leaks and vented emissions of CO2 from                  EPA has issued eight Class VI permits,                which should help to reduce permitting
                                                 equipment located on the surface rather                 including six for projects in Illinois and            timeframes. These internal guidelines
                                                 than leakage from the subsurface.554                    two for projects in Indiana, and has                  include the expectation that EPA
                                                 Furthermore, any leakage of CO2 at a                    released for public comment four                      Regions will classify all Class VI well
                                                 sequestration facility would be required                additional draft permits for proposed                 applications received on or after
                                                 to be quantified and reported under the                 projects in California. Two of the                    December 12, 2023, as applications for
                                                 GHGRP subpart RR or subpart VV, and                     permits are in the pre-operation phase,               major new UIC injection wells, which
                                                 such data are made publicly available                   one is in the injection phase, and one is             requires the Regions to develop project
                                                 on the EPA’s website.                                   in the post-injection monitoring phase.               decision schedules for reviewing Class
                                                                                                            In light of the recent flurry of interest          VI permit applications. The guidelines
                                                 (5) Timing of Permitting for                            in this area, the EPA is devoting                     also set target timeframes for
                                                 Sequestration Sites                                     increased resources to the Class VI                   components of the permitting process,
                                                    As previously discussed, the EPA is                  program, including through increased                  such as the number of days EPA Regions
                                                 the Class VI permitting authority for                   staffing levels in order to meet the                  should set for public comment periods
                                                 states, tribes, and territories that have               increased demand for action on Class VI               and for developing responses to
                                                 not obtained primacy over their Class VI                permit applications.557 Reviewing a                   comments and final permit decisions.
                                                 programs.555 The EPA is committed to                    Class VI permit application entails a                 The EPA will continue to evaluate its
                                                 reviewing UIC Class VI permits as                       multidisciplinary evaluation to                       internal UIC permitting processes to
                                                 expeditiously as possible when the                      determine whether the application                     identify potential opportunities for
                                                 agency is the permitting authority. The                 includes the required information, is                 streamlining and other improvements
                                                 EPA has the experience to properly                      technically accurate, and supports a                  over time. Although the available data
                                                 regulate and review permits for UIC                     risk-based determination that                         for Class VI wells is limited, the
                                                 Class VI injection wells, and technical                 underground sources of drinking water                 timeframe for processing Class I wells,
                                                 experts of multiple disciplines to review               will not be endangered by the proposed                which follows a similar regulatory
                                                 permit applications submitted to the                    injection activity. A wide variety of                 structure, is typically less than 2
                                                 EPA.                                                    technical experts—from geologists to                  years.560
                                                    The EPA has seen a considerable                      engineers to physical scientists—review                  The EPA notes that a Class VI permit
                                                 uptick in Class VI permit applications                  permit applications submitted to the                  tracker is available on its website.561
                                                 over the past few years. The 2018                       EPA. The EPA has been working to                      This tracker shows information for the
                                                 passage of revisions and enhancements                   develop staff expertise and increase                  44 projects (representing 130 wells) that
                                                 to the IRC section 45Q tax credit that                  capacity in the UIC program, and the                  have submitted Class VI applications to
                                                 provides tax credits for carbon oxide                   agency has effectively deployed                       the EPA, including details such as the
                                                 (including CO2) sequestration has led to                appropriated resources over the last five             current permit review stage, whether a
                                                 an increase in Class VI permit                          years to scale UIC program staff from a               project has been sent a Notice of
                                                 applications submitted to the EPA. The                  few employees to the equivalent of more               Deficiency (NOD) or Request for
                                                 2022 IRA further expanded the IRC                       than 25 full-time employees across the                Additional Information (RAI), and the
                                                 section 45Q tax credit and the 2021 IIJA                agency’s headquarters and regional                    applicant’s response time to any NODs
                                                 established a $50 million program for                   offices. We expect that the additional                or RAIs. As mentioned above, most of
                                                 grants to help states and tribes in                     resources and staff capacity for the Class            the permits submitted to the EPA have
                                                 developing and implementing a UIC                       VI program will lead to increased                     been submitted within the past 12
                                                 Class VI primacy program, leading to                    efficiencies in the Class VI permitting
                                                 even more interest in this area.556                     process.                                                558 EPA. (2023). Geologic Sequestration Data Tool

                                                                                                            In addition to increased staffing                  (GSDT). https://www.epa.gov/system/files/
                                                   554 Based on subpart RR data retrieved from the
                                                                                                         resources, the EPA has made                           documents/2023-10/geologic-sequestration-data-
                                                 EPA Facility Level Information on Greenhouse                                                                  tool_factsheet_oct2023.pdf.
                                                                                                         considerable improvements to the Class
                                                 Gases Tool (FLIGHT), at https://ghgdata.epa.gov/                                                                559 EPA. (2023). Final Class VI Guidance
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                                                 ghgp/main.do. Retrieved March 2024.                     VI permitting process to reduce the time              Documents. https://www.epa.gov/uic/final-class-vi-
                                                   555 See 40 CFR part 145 (State UIC Program            needed to make final permitting                       guidance-documents.
                                                 Requirements), 40 CFR part 147 (State, Tribal, and                                                              560 EPA Report to Congress: Class VI Permitting.

                                                 EPA-Administered Underground Injection Control            557 EPA. (2023). Testimony Of Mr. Bruno Pigott,     2022. https://www.epa.gov/system/files/documents/
                                                 Programs).                                              Principal Deputy Assistant Administrator for Water,   2022-11/
                                                   556 EPA. (2023). Targeted UIC program grants for      U.S. Environmental Protection Agency, Hearing On      EPAClassVIPermittingReporttoCongress.pdf.
                                                 Class VI Wells https://www.epa.gov/uic/                 Carbon Capture And Storage. https://www.epa.gov/        561 EPA. (2024). Current Class VI Projects under

                                                 underground-injection-control-grants#ClassVI_           system/files/documents/2023-11/testimony-pigott-      Review at EPA. https://www.epa.gov/uic/current-
                                                 Grants.                                                 senr-hearing-nov-2-2023_-cleared.pdf.                 class-vi-projects-under-review-epa.



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                                                 months. The EPA aims to review                          submitted a primacy application to the                 sequestration sites in fourteen
                                                 complete Class VI applications and                      EPA on February 13, 2024.567 Texas and                 states.571 572 573 As of March 2024, there
                                                 issue permits when appropriate within                   West Virginia are engaging with the EPA                are 44 projects with 130 injection wells
                                                 approximately 24 months. This                           to complete pre-application                            are under review by the EPA.574
                                                 timeframe is dependent on several                       activities.568 If more states apply for and            Furthermore, the EPA anticipates that as
                                                 factors, including the complexity of the                receive Class VI primacy, the number of                the demand for commercial
                                                 project and the quality and                             permits in EPA review is expected to be                sequestration grows, more commercial
                                                 completeness of the submitted                           reduced. The EPA has also created                      sites will be developed in response to
                                                 application. It is important for the                    resources for regulators including                     financial incentives.
                                                 applicant to submit a complete                          training series and guidance documents                    Comment: Some commenters
                                                 application and provide any                             to build capacity for Class VI permitting              expressed concern about leakage of CO2
                                                 information requested by the permitting                 within UIC programs across the U.S.                    from sequestration sites.
                                                 agency in a timely manner so as not to                  Through state primacy for Class VI                        Response: The EPA acknowledges the
                                                 extend the overall time for the review.                 programs, state expertise and capacity                 potential for some leakage of CO2 to the
                                                    States may apply to the EPA for                      can be leveraged to support effective                  atmosphere at sequestration sites (such
                                                 primacy to administer the Class VI                      and efficient permit application                       as leaks through valves before the CO2
                                                 programs within their states. The                       reviews. The IIJA established a $50                    reaches the injection formation).
                                                 primacy application process has four                    million grant program to support states,               However, as detailed in the preceding
                                                 phases: (1) pre-application activities, (2)             Tribes, and territories in developing and              sections of preamble, the EPA’s robust
                                                 completeness review and determination,                  implementing UIC Class VI programs.                    UIC permitting process is adequate to
                                                 (3) application evaluation, and (4)                     The EPA has allocated $1,930,000 to                    protect against CO2 escaping the
                                                 rulemaking and codification. To date,                   each state, tribe, and territory that                  authorized injection zone (and then
                                                 three states have been granted primacy                  submitted letters of intent.569                        entering the atmosphere). As discussed
                                                 for Class VI wells, including North                     (6) Comments Received on Geologic                      in the preceding section, leakage out of
                                                 Dakota, Wyoming, and most recently                      Sequestration and Responses                            the injection zone could trigger
                                                 Louisiana.562 As discussed above, North                                                                        emergency and remedial response
                                                 Dakota has issued 6 Class VI permits                       The EPA received comments on                        action including ceasing injection,
                                                 since receiving Class VI primacy in                     geologic sequestration. Those                          possible permit modification, and
                                                 2018, and Wyoming issued its first three                comments, and the EPA’s responses, are                 possible enforcement action.
                                                 Class VI permits in December                            as follows.
                                                                                                                                                                Furthermore, the GHGRP subpart RR
                                                 2023.563 564 565 The EPA finalized a rule                  Comment: Some commenters
                                                                                                                                                                and subpart VV regulations prescribe
                                                 granting Louisiana Class VI primacy in                  expressed concerns that the EPA has not
                                                                                                         demonstrated the adequacy of carbon                    accounting methodologies for facilities
                                                 January 2024 and the state’s program                                                                           to quantify and report any potential
                                                 became effective in February 2024. At                   sequestration at a commercial scale.
                                                                                                            Response: The EPA disagrees that                    leakage at the surface, and the EPA
                                                 that time, EPA Region 6 transferred 56                                                                         makes sequestration data and related
                                                                                                         commercial carbon sequestration
                                                 Class VI permit applications for projects                                                                      monitoring plans publicly available on
                                                                                                         capacity will be inadequate to support
                                                 in Louisiana to the state for continued                                                                        its website. The reported emissions/
                                                                                                         this rule. As detailed in section
                                                 review and permit issuance if                                                                                  leakage from sequestration sites under
                                                                                                         VII.C.1.a.i(D)(1), commercial geologic
                                                 appropriate. Prior to receiving primacy,                                                                       subpart RR is a comparatively small
                                                                                                         sequestration capacity is growing in the
                                                 the state worked with the EPA in                        United States. Multiple commercial                     fraction (less than 0.5 percent) of the
                                                 understanding where each application                    sequestration facilities, other than those             associated sequestration volumes, with
                                                 was in the evaluation process.                          funded under EPAct05, are in                           most of these reported emissions
                                                 Currently, the EPA is working with the                  construction or advanced development,                  attributable to leaks or vents from
                                                 states of Texas, Arizona, and West                      with some scheduled to open for                        surface equipment.
                                                 Virginia as they are developing their                   operation as early as 2025.570 These                      Comment: Some commenters
                                                 UIC primacy applications.566 Arizona                    facilities have proposed sequestration                 expressed concern over safety due to
                                                                                                         capacities ranging from 0.03 to 6 million              induced seismicity.
                                                   562 On December 28, 2023, the EPA Administrator
                                                                                                         tons of CO2 per year. The EPA and states                  Response: The EPA believes that the
                                                 signed a final rule granting Louisiana’s request for
                                                 primacy for UIC Class VI junction wells located         with approved UIC Class VI programs                    UIC program requirements adequately
                                                 within the state. See EPA. (2023). Underground          (including Wyoming, North Dakota, and                  address potential safety concerns with
                                                 Injection Control (UIC) Primary Enforcement             Louisiana) are currently reviewing UIC                 induced seismicity at site-adjacent
                                                 Authority for the Underground Injection Control                                                                communities. More specifically, through
                                                 Program. U.S. Environmental Protection Agency.
                                                                                                         Class VI geologic sequestration well
                                                 https://www.epa.gov/uic/primary-enforcement-            permit applications for proposed                       the UIC Class VI program the EPA has
                                                 authority-underground-injection-control-program-0.                                                             put in place mechanisms to identify,
                                                   563 Wyoming Department of Environmental                 567 Arizona Department of Environmental

                                                 Quality. (2023). Wyoming grants its first three Class   Quality. (2024). Underground Injection Control           571 UIC regulations for Class VI wells authorize

                                                 VI permits. https://deq.wyoming.gov/2023/12/            (UIC) Program. https://azdeq.gov/UIC.                  the injection of CO2 for geologic sequestration while
                                                 wyoming-grants-its-first-three-class-vi-permits/.         568 EPA. (2023). Underground Injection Control       protecting human health by ensuring the protection
                                                   564 Ibid.                                             (UIC) Primary Enforcement Authority for the            of underground sources of drinking water. The
                                                   565 Arnold & Porter. (2023). EPA Provides             Underground Injection Control Program. U.S.            major components to be included in UIC Class VI
                                                 Increased Transparency in Class VI Permitting           Environmental Protection Agency. https://              permits are detailed further in section
                                                 Process; Now Incorporated in Update to Interactive      www.epa.gov/uic/primary-enforcement-authority-         VII.C.1.a.i(D)(4).
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                                                 CCUS State Tracker. https://www.arnoldporter.com/       underground-injection-control-program-0.                 572 U.S. EPA Class VI Underground Injection

                                                 en/perspectives/blogs/environmental-edge/2023/11/         569 EPA. (2023). Underground Injection Control       Control (UIC) Class VI Wells Permitted by EPA as
                                                 ccus-state-legislative-tracker.                         (UIC) Class VI Grant Program. https://www.epa.gov/     of January 25, 2024. https://www.epa.gov/uic/table-
                                                   566 EPA. (2023). Underground Injection Control        system/files/documents/2023-11/uic-class-vi-grant-     epas-draft-and-final-class-vi-well-permits Last
                                                 (UIC) Primary Enforcement Authority for the             fact-sheet.pdf.                                        updated January 19, 2024.
                                                                                                                                                                  573 EPA. (2024). Current Class VI Projects under
                                                 Underground Injection Control Program. U.S.               570 Global CCS Institute. (2024). Global Status of

                                                 Environmental Protection Agency. https://               CCS 2023. https://www.globalccsinstitute.com/wp-       Review at EPA. https://www.epa.gov/uic/current-
                                                 www.epa.gov/uic/primary-enforcement-authority-          content/uploads/2024/01/Global-Status-of-CCS-          class-vi-projects-under-review-epa.
                                                 underground-injection-control-program-0.                Report-1.pdf.                                            574 Ibid.




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                                                 monitor, and mitigate risks associated                  environmental justice guidance for Class            GHGRP subpart RR or GHGRP subpart
                                                 with induced seismicity in any areas                    VI permitting and primacy states that               VV. For more information on the
                                                 within or surrounding a sequestration                   many of the expectations are broadly                relationship to GHGRP requirements,
                                                 site through permit and program                         applicable, and EPA Regions should                  see section X.C.5 of this preamble.
                                                 requirements, such as site                              apply them to the other five injection                 Comment: Commenters expressed
                                                 characterization and monitoring, and                    well classes, including Class II,                   concerns that UIC regulations allow
                                                 the requirement for applicants to                       wherever possible.579 See section                   Class II wells to be used for long-term
                                                 demonstrate that induced seismic                        VII.C.1.a.i(D)(4) for a detailed discussion         CO2 storage if the operator assesses that
                                                 activity will not endanger USDWs.575                    of environmental justice requirements               a Class VI permit is not required and
                                                 See section VII.C.1.a.i(D)(4)(b) for                    and guidance.                                       asserted that Class II regulations are less
                                                 further discussion of mitigating induced                   Comment: Commenters expressed                    protective than Class VI regulations.
                                                 seismicity risk. Although the UIC Class                 concern that companies are not always                  Response: The EPA acknowledges
                                                 II program does not have specific                       in compliance with reporting                        that Class II wells for EOR may be used
                                                 requirements regarding seismicity, it                   requirements for subpart RR when                    to inject CO2 including CO2 captured
                                                 includes discretionary authority to add                 required for other Federal programs.                from an EGU. However, the EPA
                                                 additional conditions to a UIC permit on                   Response: The EPA recognizes the                 disagrees that the use of Class II wells
                                                 a case-by-case basis. The EPA created a                 need for geologic sequestration facilities          for ER will be less protective of human
                                                 document outlining practical                            to comply with the reporting                        health than the use of Class VI wells for
                                                 approaches for UIC Directors to use to                  requirements of the GHGRP, and                      geologic sequestration. Class II wells are
                                                 minimize and manage injection-induced                   acknowledges that there have been                   used only to inject fluids associated
                                                 seismicity in Class II wells.576                        instances of entities claiming geologic             with oil and natural gas production, and
                                                 Furthermore, during site                                sequestration under non-EPA programs                Class II ER wells are used specifically
                                                 characterization, if any of the geologic                (e.g., to qualify for IRC section 45Q tax           for the injection of fluids, including
                                                 or seismic data obtained indicate a                     credits) while not having an EPA-                   CO2, for the purpose of enhanced
                                                 substantial likelihood of seismic                       approved MRV plan or reporting data                 recovery of oil or natural gas. The EPA’s
                                                 activity, further analyses, potential                   under subpart RR.580 The EPA does not               UIC Class II program is designed to
                                                 planned operational changes, and                        implement the IRC section 45Q tax                   prevent Class II injection activities from
                                                 additional monitoring may be                            credit program, and it is not privy to              endangering USDWs. Any leakage out of
                                                 required.577 The EPA has the authority                  taxpayer information. Thus, the EPA has             the designated injection zone could
                                                 to require seismic monitoring as a                      no role in implementing or enforcing                pose a risk to USDWs and therefore
                                                 condition of the UIC permit if                          these tax credit claims, and it is unclear,         could be subject to enforcement action
                                                 appropriate, or to deny the permit if the               for example, whether these companies                or permit modification. Therefore, the
                                                 injection-induced seismicity risk could                 would have been required by GHGRP                   EPA believes that UIC protections for
                                                 endanger USDWs.                                         regulations to report data under subpart            USDWs would also ensure that the
                                                    Comment: Some commenters have                        RR, or if they would have been required             injected CO2 is contained in the
                                                 expressed concern that the EPA has not                  only by the IRC section 45Q rules to opt-           subsurface formations. The Class II
                                                 meaningfully engaged with historically                  in to reporting under subpart RR. The               programs of states and tribes must be
                                                 disadvantaged and overburdened                          EPA disagrees that compliance with the              approved by the EPA and must meet
                                                 communities who may be impacted by                      GHGRP would be a problem for this rule              EPA regulatory requirements for Class II
                                                 environmental changes due to geologic                   because the rule requires any affected              programs, 42 U.S.C. 300h–1, or
                                                 sequestration.                                          unit that employs CCS technology that               otherwise represent an effective
                                                    Response: The EPA acknowledges                       captures enough CO2 to meet the                     program to prevent endangerment of
                                                 that meaningful engagement with local                   proposed standard and injects the                   USDWs. 42 U.S.C 300h–4. The EPA’s
                                                 communities is an important step in the                 captured CO2 underground to report                  regulations require the operator of a
                                                 development of geologic sequestration                   under GHGRP subpart RR or GHGRP                     Class II well to obtain a Class VI permit
                                                 projects and has programs and public                    subpart VV. Unlike the IRC section 45Q              when operations shift to geologic
                                                 participation requirements in place to                  tax credit program, which is                        sequestration and there is consequently
                                                 support this process. The EPA is                                                                            an increased risk to USDWs. 40 CFR
                                                                                                         implemented by the Internal Revenue
                                                 committed to advancing environmental                                                                        144.19. UIC Class VI regulations require
                                                                                                         Service (IRS), the EPA will have the
                                                 justice for overburdened communities                                                                        that owners or operators must show that
                                                                                                         information necessary to discern
                                                 in all its programs, including the UIC                                                                      the injection zone has sufficient volume
                                                                                                         whether a facility is in compliance with
                                                 Class VI program.578 The EPA’s                                                                              to contain the injected carbon dioxide
                                                                                                         any applicable GHGRP requirements. If
                                                                                                                                                             stream and report any fluid migration
                                                                                                         the emitting EGU sends the captured
                                                    575 EPA. (2018). Geologic Sequestration of Carbon                                                        out of the injection zone and into or
                                                                                                         CO2 offsite, it must transfer the CO2 to
                                                 Dioxide: Underground Injection Control (UIC)                                                                between USDWs. 40 CFR 146.83 and 40
                                                 Program Class VI Implementation Manual for UIC          a facility that reports in accordance with
                                                                                                                                                             CFR 146.91. The EPA emphasizes that
                                                 Program Directors. EPA 816–R–18–001. https://
                                                 www.epa.gov/sites/default/files/2018-01/
                                                                                                                                                             while CO2 captured from an EGU can be
                                                                                                         EPA Administrator Michael S. Regan to U.S. State
                                                 documents/implementation_manual_508_                    Governors. December 9, 2022. https://www.epa.gov/   injected into a Class II ER injection well,
                                                 010318.pdf.                                             system/files/documents/2022-12/AD.Regan_            it cannot be injected into the other two
                                                    576 EPA. (2015). Minimizing and Managing             .GOVS_.Sig_.Class%20VI.12-9-22.pdf.                 types of Class II wells, which are Class
                                                 Potential Impacts of Injection-Induced Seismicity         579 EPA. (2023). Environmental Justice Guidance
                                                                                                                                                             II disposal wells and Class II wells for
                                                 from Class II Disposal Wells: Practical Approaches.     for UIC Class VI Permitting and Primacy. https://
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                                                 https://www.epa.gov/sites/default/files/2015-08/        www.epa.gov/system/files/documents/2023-08/
                                                                                                                                                             the storage of hydrocarbons. 40 CFR
                                                 documents/induced-seismicity-201502.pdf.                Memo%20and%20EJ%20                                  144.6(b).
                                                    577 40 CFR 146.82(a)(3)(v).                          Guidance%20for%20UIC%20Class%20VI_                     Comment: Some commenters
                                                    578 EPA. (2023). Environmental justice Guidance      August%202023.pdf.                                  expressed concern that because few
                                                 for UIC Class VI Permitting and Primacy. https://         580 Letter from U.S. Treasury Inspector General
                                                                                                                                                             Class VI permits have been issued, the
                                                 www.epa.gov/system/files/documents/2023-08/             for Tax Administration (TIGTA). (2020). https://
                                                 Memo%20and%20EJ%20                                      www.menendez.senate.gov/imo/media/doc/
                                                                                                                                                             EPA’s current level of experience in
                                                 Guidance%20for%20UIC%20Class%20VI_                      TIGTA%20IRC%2045Q%20                                properly regulating and reviewing
                                                 August%202023.pdf; see also EPA. Letter from the        Response%20Letter%20FINAL%2004-15-2020.pdf.         permits for these wells is limited.


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                                                    Response: The EPA disagrees that the                 regulatory regimes at the state level,                e.g., Wyoming H.B. No. 89 (2008) (Wyo.
                                                 Agency lacks experience to properly                     except on Federal lands.583                           Stat. § 34–1–152); Montana S.B. No. 498
                                                 regulate, and review permits for Class VI                  As discussed in section                            (2009) (Mont. Code Ann. 82–11–180);
                                                 injection wells. We expect that the                     VII.C.1.a.i.(D)(4) of this preamble, Title            North Dakota S.B. No. 2139 (2009) (N.D.
                                                 additional resources that have been                     V of the FLPMA and its implementing                   Cent. Code § 47–31–03); Kentucky H.B.
                                                 allocated for the Class VI program will                 regulations, 43 CFR part 2800, authorize              259 (2011) (Ky. Rev. Stat. Ann.
                                                 lead to increased efficiencies in the                   the BLM to issue ROWs to geologically                 § 353.800); West Virginia H.B. 4491
                                                 Class VI permitting process and                         sequester CO2 in Federal pore space,                  (2022) (W. Va. Code § 22–11B–18);
                                                                                                         including BLM ROWs for the necessary                  California S.B. No. 905 (2022) (Cal. Pub.
                                                 timeframes. For a more detailed
                                                                                                         physical infrastructure and for the use               Res. Code § 71462); Indiana Public Law
                                                 discussion of Class VI permitting and
                                                                                                         and occupancy of the pore space itself.               163 (2022) (Ind. Code § 14–39–2–3);
                                                 timeframes, see sections                                The BLM has published a policy                        Utah H.B. 244 (2022) (Utah Code § 40–
                                                 VII.C.1.a.i(D)(4)(b) and VII.C.1.a.i(D)(5)              defining access to pore space on BLM                  6–20.5).
                                                 of this preamble. The EPA emphasizes                    lands, including clarification of Federal                Liability during operation is usually
                                                 that incomplete or insufficient                         policy for situations where the surface               assumed by the project operator, so
                                                 application materials can result in                     and pore space are under the control of               liability concerns primarily arise after
                                                 substantially delayed permitting                        different Federal agencies.584                        the period of operations. Research has
                                                 decisions. When the EPA receives                           States have established legislation and            previously shown that the
                                                 incomplete or insufficient permit                       regulations defining pore space                       environmental risk is greatest before
                                                 applications, the EPA communicates the                  ownership and providing clarification to              injection stops.589 In terms of long-term
                                                 deficiencies, waits to receive additional               prospective users of surface pore space.              liability and permittee obligations under
                                                 materials from the applicant, and then                  For example, in North Dakota, the                     the SDWA, the EPA’s Class VI
                                                 reviews any new data. This back and                     surface owner also owns the pore space                regulations impose various
                                                 forth can result in longer permitting                   underlying their surface estate.585 North             requirements on permittees even after
                                                 timeframes. The EPA therefore                           Dakota state courts have determined                   injection ceases, including regarding
                                                 encourages applicants to contact their                  that in situations where the surface                  injection well plugging (40 CFR 146.92),
                                                 permitting authority early on so                        ownership and mineral ownership have                  post-injection site care (PISC), and site
                                                 applicants can gain a thorough                          been legally severed the mineral estate               closure (40 CFR 146.93). The default
                                                 understanding of the Class VI permitting                is the dominant estate and has the right              time period for post-injection site care is
                                                 process and the permitting authority’s                  to use as much of the surface estate as               50 years, during which the permittee
                                                 expectations. To assist potential permit                reasonably necessary. The North Dakota                must monitor the position of the CO2
                                                                                                         legislature codified this interpretation in           plume and pressure front and
                                                 applicants, the EPA maintains a list of
                                                                                                         2019.586 Summit Carbon Solutions,                     demonstrate that USDWs are not being
                                                 UIC contacts within each EPA Regional
                                                                                                         which is developing a carbon storage                  endangered. 40 CFR 146.93. The
                                                 Office on the Agency’s website.581 The
                                                                                                         hub in North Dakota to store an                       permittee must also generally maintain
                                                 EPA has met with more than 100                          estimated one billion tons of CO2,                    financial responsibility sufficient to
                                                 companies and other interested parties.                 indicated that they had secured the                   cover injection well plugging, corrective
                                                    Comment: Some commenters claimed                     majority of the pore space needed                     action, emergency and remedial
                                                 that various legal uncertainties preclude               through long term leases with                         response, PISC, and site closure until
                                                 a finding that geologic sequestration of                landowners.587 Wyoming defines                        the permitting authority approves site
                                                 CO2 has been adequately demonstrated.                   ownership of pore space underlying                    closure. 40 CFR 146.85(a)&(b). Even
                                                 This concern has been raised in                         surfaces within the state.588 Other states            after the former permittee has fulfilled
                                                 particular with issues of pore space                    have also established laws,                           all its UIC regulatory obligations, it may
                                                 ownership and the lack of long-term                     implementing regulations and guidance                 still be held liable for previous
                                                 liability insurance and noted                           defining ownership and access to pore                 regulatory noncompliance, such as
                                                 uncertainties regarding long-term                       space. The EPA notes that many states                 where the permittee provided erroneous
                                                 liability generally.                                    are actively enacting legislation                     data to support approval of site closure.
                                                                                                         addressing pore space ownership. See                  A former permittee may always be
                                                    Response: The EPA disagrees that                                                                           subject to an order that the EPA
                                                 these uncertainties are sufficient to                      583 Council on Environmental Quality Report to
                                                                                                                                                               Administrator deems necessary to
                                                 prohibit the development of geologic                    Congress on Carbon Capture, Utilization, and          protect public health if there is fluid
                                                 sequestration projects. An interagency                  Sequestration. 2021. https://www.whitehouse.gov/
                                                                                                         wp-content/uploads/2021/06/CEQ-CCUS-                  migration that causes or threatens
                                                 CCS task force examined sequestration-                  Permitting-Report.pdf.                                imminent and substantial endangerment
                                                 related legal issues thoroughly and                        584 National Policy for the Right-of-Way           to a USDW. 42 U.S.C. 300i; 40 CFR
                                                 concluded that early CCS projects could                 Authorizations Necessary for Site Characterization,   144.12(e).
                                                 proceed under the existing legal                        Capture, Transportation, Injection, and Permanent        The EPA notes that many states are
                                                                                                         Geologic Sequestration of Carbon Dioxide in
                                                 framework with respect to issues such                   Connection with Carbon Sequestration Projects.        enacting legislation addressing long
                                                 as property rights and liability.582 The                BLM IM 2022–041 Instruction Memorandum, June          term liability. See e.g., Montana S.B. No.
                                                 development of CCS projects may be                      8, 2022. https://www.blm.gov/policy/im-2022-041.      498 (2009) (Mont. Code Ann. 82–11–
                                                                                                            585 ND DMR 2023. Pore Space in North Dakota.
                                                 more complex in certain regions, due to                                                                       183); Texas H.B. 1796 (2009) (Tex.
                                                                                                         North Dakota Department of Mineral Resources
                                                 distinct pore space ownership                           https://www.dmr.nd.gov/oilgas/ND_DMR_Pore_
                                                                                                                                                               Health & Safety Code Ann. § 382.508);
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                                                                                                         Space_Information.pdf.                                North Dakota S.B. No. 2095 (2009) (N.D.
                                                   581 EPA. (2023). Underground Injection Control           586 Ibid.                                          Cent. Code § 38–22–17); Kansas H.B.
                                                 Class VI (Geologic Sequestration) Contact                  587 Summit Carbon Solutions. (2021). Summit

                                                 Information. https://www.epa.gov/uic/underground-       Carbon Solutions Announces Significant Carbon           589 Benson, S.M. (2007). Carbon dioxide capture
                                                 injection-control-class-vi-geologic-sequestration-      Storage Project Milestones. (2021). https://          and storage: research pathways, progress and
                                                 contact-information.                                    summitcarbonsolutions.com/summit-carbon-              potential. Presentation given at the Global Climate
                                                   582 Report of the Interagency Task Force on           solutions-announces-significant-carbon-storage-       & Energy Project Annual Symposium, October 1,
                                                 Carbon Capture and Storage. 2010. https://              project-milestones/.                                  2007. https://drive.google.com/file/d/
                                                 www.energy.gov/fecm/articles/ccstf-final-report.           588 Wyo. Stat § 34–1–152 (2022).                   1ZvfRW92OqvBBAFs69SPHIWoYFGySMgtD/view.



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                                                 2418 (2010) (Kan. Stat. Ann. § 55–                      (S&L 590 and a review of the available              initial pipeline routing analysis, taking
                                                 1637(h)); Wyoming S.F. No. 47 (2022)                    information for installation of CO2                 less than 1 year. This exercise involves
                                                 (Wyo. Stat. §§ 35–11–319); Louisiana                    pipelines and sequestration sites.591               using software to review existing right-
                                                 H.B. 661 (2009) & H.B. 571 (2023) (La.                  Additional details on the timeline are in           of-way and other considerations to
                                                 Stat. Ann. § 30:1109). Because states are               the TSD GHG Mitigation Measures for                 develop an optimized pipeline route.
                                                 actively working to address pore space                  Steam Generating Units, available in the            Inputs to that analysis have been made
                                                 and liability uncertainties, the EPA does               docket. The dates for intermediate steps            publicly available by DOE in NETL’s
                                                 not believe these to be issues that would               are for reference. The specific                     Pipeline Route Planning Database.592
                                                 delay project implementation beyond                     sequencing of steps may differ slightly,               When state plans are submitted 24
                                                 the timelines discussed in this                         and, for some sources, the duration of              months after publication of the final
                                                 preamble.                                               one step may be shorter while another               rule, requirements included within
                                                                                                         may be longer, however the total                    those state plans should be effective at
                                                 (E) Compliance Date for Long-Term                       duration is expected to be the same. The            the state level. On that basis, the EPA
                                                 Coal-Fired Steam Generating Units                       resulting timeline is therefore an                  assumes that sources installing CCS are
                                                                                                         accurate representation of the time                 fully committed, and more substantial
                                                    The EPA proposed a January 1, 2030                   necessary to install CCS in general.                work (e.g., FEED study for the capture
                                                 compliance date for long-term coal fired                   The EPA assumes that feasibility                 plant, permitting, land use and right-of-
                                                 steam generating units subject to a CCS                 work, amounting to less than 1 year                 way acquisition) resumes in June 2026.
                                                 BSER. That compliance date assumed                      (June 2024 through June 2025) for each              The EPA notes, however, that it would
                                                 installation of CCS was concurrent with                 component of CCS (capture, transport,               be possible that a source installing CCS
                                                 development of state plans. While                       and storage) occurs during the state plan           would choose to continue these
                                                 several commenters were supportive of                   development period (June 2024 through               activities as soon as the initial feasibility
                                                 the proposed compliance date, the EPA                   June 2026). This feasibility work is                work is completed even if not yet
                                                 also received comments on the                           limited to initial conceptual design and            required to do so, rather than wait for
                                                 proposed rule that stated that the                      other preliminary tasks, and the costs of           state plan submission to occur for the
                                                 proposed compliance date was not                        the feasibility work in general are                 reasons explained in full below.
                                                 achievable. Commenters referenced                       substantially less than other                          Of the components of CCS, the CO2
                                                 longer project timelines for CO2 capture.               components of the project schedule. The             capture plant is the more technically
                                                 Commenters also requested that the EPA                  EPA determined that it was appropriate              involved and time consuming, and
                                                 should account for the state plan                       to assume that this work would take                 therefore is the primary driver for
                                                 process in determining the appropriate                  place during the state plan development             determining the compliance date. The
                                                 compliance date.                                        period because it is necessary for                  EPA assumes substantial work
                                                                                                         evaluating the controls that the state              commences only after submission due
                                                    The EPA has considered the                           may determine to be appropriate for a
                                                 comments and information available                                                                          date for state plans. The S&L baseline
                                                                                                         source and is necessary for determining             timeline accounts for 5.78 years (301
                                                 and is finalizing a compliance date of                  the resulting standard of performance               weeks) for final design, permitting, and
                                                 January 1, 2032, for long-term coal-fired               that the state may apply to the source on           installation of the CO2 capture plant.
                                                 steam generating units. The EPA is also                 the basis of those controls. In other               First, the EPA describes the timeline
                                                 finalizing a mechanism for a 1-year                     words, without such feasibility and                 that is consistent with the S&L baseline
                                                 compliance date extension in cases                      design work, it would be very difficult             for substantial work. Subsequently, the
                                                 where a source faces delays outside its                 for a state to determine whether CCS is             EPA describes the rationale for slight
                                                 control, as detailed in section X.C.1.d of              appropriate for a given source or the               adjustments that can be made to that
                                                 this preamble. The justification for the                resulting standard of performance.                  timeline based upon an examination of
                                                 January 1, 2032 compliance date does                    While the EPA accounts for up to 1 year             actual project timelines.
                                                 not require substantial work to be done                 for feasibility for the capture plant, the             In the S&L baseline, substantial work
                                                 during the state planning process.                      S&L baseline schedule estimates this                on the CO2 capture plant begins with a
                                                 Rather, the justification for the                       initial design activity can be completed            1-year FEED study (June 2026 to June
                                                 compliance date reflects the assumption                 in 6 months. For the capture plant,                 2027). The information developed in the
                                                 that only the initial feasibility work                  feasibility includes a preliminary                  FEED study is necessary for finalizing
                                                 which is necessary to inform the state                  technical evaluation to review the                  commercial arrangements. In the S&L
                                                 planning process would occur during                     available utilities and siting footprint for        baseline, the commercial arrangements
                                                 state plan development, with the start of               the capture plant, as well as screening             can take up to 9 months (June 2027 to
                                                 more substantial work beginning after                   of the available capture technologies               March 2028). Commercial arrangements
                                                 the due date for state plan submission,                 and vendors for the project, with an                include finalizing funding as well as
                                                 and a longer timeline for installation of               associated initial economic estimate.               finalizing contracts with a CO2 capture
                                                 CCS than at proposal. In total, this                    For sequestration, in many cases,                   technology provider and engineering,
                                                 allows for 6 years and 7 months for both                general geologic characterization of                procurement, and construction
                                                 initial feasibility and more substantial                regional areas has already been                     companies. The S&L baseline accounts
                                                 work to occur after issuance of this rule.              conducted by U.S. DOE and regional                  for 1 year for permitting, beginning
                                                 This is consistent with the                             initiatives; however, the EPA assumes               when commercial arrangements are
                                                 approximately 6 years from start to                     an up to 1 year period for a storage                nearly complete (December 2027 to
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                                                 finish for Boundary Dam Unit 3 and                      complex feasibility study. For the                  December 2028). After commercial
                                                 Petra Nova.                                             pipeline, the feasibility includes the              arrangements are complete, a 2-year
                                                    The timing for installation of CCS on                  590 CO Capture Project Schedule and Operations
                                                                                                                                                             period for engineering and procurement
                                                                                                                  2
                                                 existing coal-fired steam generating                    Memo, Sargent & Lundy (2024). Available in Docket   begins (March 2028 to March 2030).
                                                 units is based on the baseline project                  ID EPA–HQ–OAR–2023–0072.
                                                                                                           591 Transport and Storage Timeline Summary, ICF     592 NETL Develops Pipeline Route Planning
                                                 schedule for the CO2 capture plant                      (2024). Available in Docket ID EPA–HQ–OAR–          Database To Guide CO2 Transport Decisions. May
                                                 developed by Sargent and Lundy                          2023–0072.                                          31, 2023. https://netl.doe.gov/node/12580.



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                                                 Detailed engineering starts after                       plant will be fully operational by                         The EPA does not assume that CCS
                                                 commercial arrangements are complete                    January 2032. Therefore, the EPA                        projects are, in general, subject to NEPA.
                                                 because engineers must consider details                 concludes that CO2 capture can be fully                 NEPA review is required for reasons
                                                 regarding the selected CO2 capture                      operational by January 1, 2032. To the                  including sources receiving federal
                                                 technology, equipment providers, and                    extent additional time is needed to take                funding (e.g., through USDA or DOE) or
                                                 coordination with construction. Shortly                 into account the particular                             projects on federal lands. NEPA may
                                                 after permitting is complete, 6 months                  circumstances of a particular source, the               also be triggered for a CCS project if
                                                 of sitework (March 2029 to September                    state may take those circumstances into                 NEPA compliance is necessary for
                                                 2029) occur. Sitework is followed by 2                  account to provide a different                          construction of the pipeline, such as
                                                 years of construction (July 2029 to July                compliance schedule, as detailed in                     where necessary because of a Clean
                                                 2031). Approximately 8 months prior to                  section X.C.2 of this preamble.                         Water Act section 404 permit, or for
                                                 the completion of construction, a                          The EPA also notes that there is                     sequestration. Generally, if one aspect of
                                                 roughly 14 month (60 weeks) period for                  additional time for permitting than                     a project is subject to NEPA, then the
                                                 startup and commissioning begins                        described in the S&L baseline. The key                  other project components could be as
                                                 (January 2031 to March 2032).                           permitting that affects the timeline are                well. In cases where a project is subject
                                                    In many cases, the EPA believes that                 air permits because of the permits’                     to NEPA, an environmental assessment
                                                 sources are positioned to install CO2                   impact on the ability to construct and                  (EA) that takes 1 year, can be finalized
                                                 capture on a slightly faster timeline than              operate the CCS capture equipment, in                   concurrently during the permitting
                                                 the baseline S&L timeline detailed in                   which the EPA is the expert in. The S&L                 periods of each component of CCS
                                                 the prior paragraph, because CCS                        baseline assumes permitting starts after                (capture, pipeline, and sequestration).
                                                 projects have been developed in a                       the FEED study is complete while                        However, the EPA notes that the final
                                                 shorter timeframe. Including these                      commercial arrangements are ongoing,                    timeline can also accommodate a
                                                 minor adjustments, the total time for                   however permitting can begin earlier                    concurrent 2-year period if an EIS were
                                                 detailed engineering, procurement,                      allowing a more extended period for                     required under NEPA across all
                                                 construction, startup and                               permitting. Examples of CCS permitting                  components of the project. The EPA also
                                                 commissioning is 4 years, which is                      being completed while FEED studies are                  notes that, in some circumstances,
                                                 consistent with completed projects                      on-going include the air permits for                    NEPA review may begin prior to
                                                 (Boundary Dam Unit 3 and Petra Nova)                    Project Tundra, Baytown Energy Center,                  completion of a FEED study. For Petra
                                                 and project schedules developed in                      and Deer Park Energy Center. Therefore,                 Nova, a notice of intent to issue an EIS
                                                 completed FEED studies, see the final                   while the FEED study is on-going, the                   was published on November 14, 2011,
                                                 TSD, GHG Mitigation Measures for                        EPA assumes that a 2-year process for                   and the record of decision was issued
                                                 Steam Generating Units for additional                   permitting can begin.                                   less than 2 years later, on May 23,
                                                 details. In addition, the IRC tax credits                  The EPA’s compliance deadline                        2013,595 while the FEED study was
                                                 incentivize sources to begin complying                  assumes that storage and pipelines for                  completed in 2014.
                                                 earlier to reap economic benefits earlier.              the captured CO2 can be installed                          Based on this detailed analysis, the
                                                 Sources that have already completed                     concurrently with deployment of the                     EPA has concluded that January 1, 2032,
                                                 feasibility or FEED studies, or that have               capture system. Substantial work on the                 is an achievable compliance date for
                                                 FEED studies ongoing are likely to be                   storage site starts with 3 years (June                  CCS on existing coal-fired steam
                                                 able to have CCS fully operational well                 2026 to June 2029) for final site                       generating units that takes into account
                                                 in advance of January 1, 2032. Ongoing                  characterization, pore-space acquisition,               the state plan development period, as
                                                 projects have planned dates for                         and permitting, including at least 2                    well as the technical and bureaucratic
                                                 commercial operation that are much                      years for permitting of Class VI wells                  steps necessary to install and implement
                                                 earlier. For example, Project Diamond                   during that period. Lastly, construction                CCS and is consistent with other expert
                                                 Vault has plans to be fully operational                 for sequestration takes 1 year (June 2029               estimates and real-world experience.
                                                 in 2028.593 While the EPA assumes                       to June 2030). While the EPA assumes
                                                 FEED studies start after the date for state                                                                     (F) Long-Term Coal-Fired Steam
                                                                                                         that storage can be permitted and                       Generating Units Potentially Subject to
                                                 plan submission, in practice sources are                constructed in 4 years, the EPA notes
                                                 likely to install CO2 capture as                                                                                This Rule
                                                                                                         that there is at least an additional 12
                                                 expeditiously as practicable. Moreover,                 months of time available to complete                      In this section of the preamble, the
                                                 the preceding timeline is derived from                  construction of the sequestration site                  EPA estimates the size of the inventory
                                                 project schedules developed in the                      without impacting progress of the other                 of coal-fired power plants in the long-
                                                 absence of any regulatory impetus.                      components.                                             term subcategory likely subject to CCS
                                                 Considering these factors, sources have                    The EPA assumes the substantial                      as the BSER. Considering that capacity,
                                                 opportunities to slightly condense the                  work on the pipeline lags the start of                  the EPA also describes the distance to
                                                 duration, overlap, or sequencing of steps               substantial work on the storage site by                 storage for those sources.
                                                 so that the total duration for completing               6 months. After the 1 year of feasibility               (1) Capacity of Units Potentially Subject
                                                 substantial work on the capture plant is                work prior to state plan submission, the                to This Rule
                                                 reduced by 2 months. For example, by                    general timeline for the CO2 pipeline
                                                 expediting the duration for commercial                                                                            First, the EPA estimates the total
                                                                                                         assumes up to 3 years for final routing,                capacity of units that are currently
                                                 arrangements from 9 months to 7                         permitting activities, and right-of-way
                                                 months, reasonably assuming sources                                                                             operating and that have not announced
                                                                                                         acquisition (December 2026 to
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                                                 immediately begin sitework as soon as                                                                           plans to retire by 2039, or to cease firing
                                                                                                         December 2029). Lastly, there are 1.5
                                                 permitting is complete, and accounting                  years for pipeline construction                         sequestration starts. The EPA assumes initial
                                                 for 13 months (rather than 14) for                      (December 2029 to June 2031).594                        pipeline feasibility occurs up-front, with a longer
                                                 startup and testing, the CO2 capture                                                                            period for final routing, permitting, and right-of-
                                                                                                           594 The summary timeline for CO pipelines
                                                                                                                                              2                  way acquisition.
                                                   593 Project Diamond Vault Overview. https://          assumes feasibility for pipelines is 1 year, followed     595 Petra Nova W.A. Parish Project. https://

                                                 www.cleco.com/docs/default-source/diamond-              by 1.5 years for permitting, with the pipeline          www.energy.gov/fecm/petra-nova-wa-parish-
                                                 vault/project_diamond_vault_overview.pdf.               feasibility beginning 1 year after permitting for       project.



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                                                 coal by 2030. Starting from that first                  until 2039 is reasonable because the                 Rather, the two sets of sources should be
                                                 estimate, the EPA then estimates the                    same circumstances will likely continue              considered to be reasonably
                                                 capacity of units that would likely be                  or accelerate further given the                      representative of the inventory of
                                                 subject to the CCS requirement, based                   incentives under the IRA. Applying this              sources that are likely to remain in
                                                 on unit age, industry trends, and                       level of annual retirement would result              operation by 2039, which is sufficient
                                                 economic factors.                                       in 45 GW of coal capacity continuing to              for purposes of the BSER analysis that
                                                    Currently, there are 181 GW of coal-                 operate by 2039. Alternatively, the TSD              follows.
                                                 fired steam generating units.596 About                  also includes a graph that shows what
                                                 half of that capacity, totaling 87 GW,                                                                       (2) Distance to Storage for Units
                                                                                                         the fleet would look like assuming that
                                                 have announced plans to retire before                                                                        Potentially Subject to This Rule
                                                                                                         coal units without an announced
                                                 2039, and an additional 13 GW have                      retirement date retire at age 53 (the                   The EPA believes that it is
                                                 announced plans to cease firing coal by                 average retirement age of units over the             conservative to assume that all 81 GW
                                                 that time. The remaining amount, 81                     2000–2022 period). It shows that the                 of capacity with planned operation
                                                 GW, are likely to be the most that could                amount of coal-fired capacity that                   during or after 2039 would need to
                                                 potentially be subject to requirements                  remains in operation by 2039 is 38 GW.               construct pipelines to connect to
                                                 based on CCS.                                               The EPA also notes that it is often the          sequestration sites. As detailed in
                                                    However, the capacity of affected                    case that coal-fired units announce that             section VII.B.2 of this preamble, the
                                                 coal-fired steam generating units that                  they plan to retire only a few years in              EPA is finalizing an exemption for coal-
                                                 would ultimately be subject to a CCS                    advance of the retirement date. For                  fired sources permanently ceasing
                                                 BSER is likely approximately 40 GW.                     instance, of the 15 GW of coal-fired                 operation by January 1, 2032. About 42
                                                 This determination is supported by                      EGUs that reported a 2022 retirement                 percent (34 GW) of the existing coal-
                                                 several lines of analysis of the historical             year in DOE’s EIA Form 860, only 0.5                 fired steam generation capacity that is
                                                 data on the size of the fleet over the past             GW of that capacity had announced its                currently in operation and has not
                                                 several years. Historical trends in the                 retirements plans when reporting in to               announced plans to retire prior to 2039
                                                 coal-fired generation fleet are detailed in             the same EIA–860 survey 5 years earlier,             will be 53 years or older by 2032. As
                                                 section IV.D.3 of this preamble. As coal-               in 2017.598 Thus, although many coal-                discussed in section VII.C.1.a.i(F), from
                                                 fired units age, they become less                       fired units have already announced                   2000 to 2022, the average age of a coal
                                                 efficient and therefore the costs of their              plans to retire before 2039, it is likely            unit that retired was 53 years old.
                                                 electricity go up, rendering them even                  that many others may anticipate retiring             Therefore, the EPA anticipates that
                                                 more competitively disadvantaged.                       by that date but have not yet announced              approximately 34 GW of the total
                                                 Further, older sources require additional               it.                                                  capacity may permanently cease
                                                 investment to replace worn parts. Those                     Finally, the EPA observes that                   operation by 2032 despite not having
                                                 circumstances are likely to continue                    modeling the baseline circumstances,                 yet announced plans to do so.
                                                 through the 2030s and beyond and                        absent this final rule, shows additional             Furthermore, of the coal-fired steam
                                                 become more pronounced. These factors                   retirements of coal-fired steam                      generation capacity that has not
                                                 contribute to the historical changes in                 generating units. At the end of 2022,                announced plans to cease operation
                                                 the size of the fleet.                                  there were 189 GW of coal active in the              before 2039 and is further than 100 km
                                                    One way to analyze historical changes                U.S. By 2039, the IPM baseline projects              (62 miles) of a potential saline
                                                 in the size of the fleet is based on unit               that there will be 42 GW of operating                sequestration site, 45 percent (7 GW)
                                                 age. As the average age of the coal-fired               coal-fired capacity (not including coal-             will be over 53 years old in 2032.
                                                 fleet has increased, many sources have                  to-gas conversions). Between 2023–                   Therefore, it is possible that much of the
                                                 ceased operation. From 2000 to 2022,                    2039, 95 GW of coal capacity have                    capacity that is further than 100 km (62
                                                 the average age of a unit that retired was              announced retirement and an additional               miles) of a saline sequestration site and
                                                 53 years. At present, the average age of                13 have announced they will cease                    has not announced plans to retire will
                                                 the operating fleet is 45 years. Of the 81              firing coal. Thus, of the 81 GW that have            permanently cease operation due to age
                                                 GW that are presently operating and that                not announced retirement or conversion               before 2032 and thus the rule would not
                                                 have not announced plans to retire or                   to gas by 2039, the IPM baseline projects            apply to them. Similarly, of the coal-
                                                 convert to gas prior to 2039, 56 GW will                39 GW will retire by 2039 due to                     fired steam generation capacity that has
                                                 be 53 years or older by 2039.597                        economic reasons.                                    not announced plans to cease operation
                                                    Another line of analysis is based on                     For all these reasons, the EPA                   before 2039 and is further than 160 km
                                                 the rate of change of the size of the fleet.            considers that it is realistic to expect             (100 miles) of a potential saline
                                                 The final TSD, Power Sector Trends,                     that 42 GW of coal-fired generating will             sequestration site, 56 percent (4 GW)
                                                 available in the rulemaking docket,                     be operating by 2039—based on                        will be over 53 years old in 2032.
                                                 includes analysis showing sharp and                     announced retirements, historical                    Therefore, the EPA notes that it is
                                                 steady decline in the total capacity of                 trends, and model projections—and                    possible that the majority of capacity
                                                 the coal-fired steam generating fleet.                  therefore constitutes the affected                   that is further than 160 km (100 miles)
                                                 Over the last 15 years (2009–2023),                     sources in the long-term subcategory                 of a saline sequestration and has not
                                                 average annual coal retirements have                    that would be subject to requirements                announced plans to retire site will
                                                 been 8 GW/year. Projecting that                         based on CCS. It should be noted that                permanently cease operation due to age
                                                 retirements will continue at                            the EPA does not consider the above                  before 2032 and thus be exempt from
                                                 approximately the same pace from now                    analysis to predict with precision which             the requirements of this rule.
                                                                                                                                                                 The EPA also notes that a majority (56
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                                                                                                         units will remain in operation by 2039.
                                                   596 EIA December 2023 Preliminary Monthly                                                                  GW) of the existing coal-fired steam
                                                 Electric Generator Inventory. https://www.eia.gov/        598 The survey Form EIA–860 collects generator-    generation capacity that is currently in
                                                 electricity/data/eia860m/.                              level specific information about existing and        operation and has not announced plans
                                                   597 81 GW is derived capacity, plant type, and        planned generators and associated environmental      to permanently cease operation prior to
                                                 retirement dates as represented in EPA NEEDS            equipment at electric power plants with 1 megawatt
                                                 database. Total amount of covered capacity in this      or greater of combined nameplate capacity. Data
                                                                                                                                                              2039 will be 53 years or older by 2039.
                                                 category may ultimately be slightly less                available at https://www.eia.gov/electricity/data/   Of the coal-fired steam generation
                                                 (approximately) due to CHP-related exemptions.          eia860/.                                             capacity with planned operation during


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                                                 or after 2039 that is not located within                   both scenarios, the maximum annual                     expand the available workforce to meet
                                                 100 km (62 miles) of a potential saline                    commodity requirements to construct                    future needs.604
                                                 sequestration site, the majority (58                       and operate the CCS systems are likely                    Overall, quantitative estimates of
                                                 percent or 9 GW) of the units will be 53                   to be much less than their respective                  workforce needs indicates that the total
                                                 years or older in 2039.599 Consequently,                   global production rates. The maximum                   number of jobs needed for deploying
                                                 the EPA believes that many of these                        requirements are expected to be at least               CCS on coal power plants is
                                                 units may permanently cease operation                      one order of magnitude lower than                      significantly less than the size of the
                                                 due to age prior to 2039 despite not at                    global annual production for all of the                existing workforce in adjacent
                                                 this point having announced specific                       commodities considered except MEA,                     occupations with transferrable skills in
                                                 plans to do so, and thereby would likely                                                                          the electricity generation and fuels
                                                                                                            which was estimated to be
                                                 not be subject to a CCS BSER.                                                                                     industries. The majority of direct jobs,
                                                                                                            approximately 14 percent of global
                                                 (G) Resources and Workforce To Install                     annual production in the 42 GW                         approximately 90 percent, are expected
                                                 CCS                                                                                                               to be in the construction of facilities,
                                                                                                            scenario and approximately 24 percent
                                                                                                                                                                   which tend to be project-based. The
                                                    Sufficient resources and an available                   of global annual production in the 73
                                                                                                                                                                   remaining 10 percent of jobs are
                                                 workforce are required for installation                    GW scenario.603 For steel and cement,                  expected to be tied to ongoing facility
                                                 and operation of CCS. Raw materials                        the maximum annual requirements are                    operations and maintenance.605 Recent
                                                 necessary for CCS are generally                            also expected to be at least one order of              project-level estimates bear this out. The
                                                 available and include common                               magnitude lower than U.S. annual                       Boundary Dam CCS facility in Canada
                                                 commodities such as steel and concrete                     production rates. Finally, the DOE                     employed 1,700 people at peak
                                                 for construction of the capture plant,                     analysis determined that it is unlikely                construction.606 A recent workforce
                                                 pipelines, and storage wells.                              that the deployment scenarios would                    projection estimates average annual jobs
                                                    Drawing on data from recently                           encounter any bottlenecks in the                       related to investment in carbon capture
                                                 published studies, the DOE completed                       supplies of specialized equipment                      retrofits at coal power plants could
                                                 an order-of-magnitude assessment of the                    (absorbers, strippers, heat exchangers,                range from 1,070 to 1,600 jobs per plant.
                                                 potential requirements for specialized                     and compressors) because of the large                  A DOE memorandum estimates that
                                                 equipment and commodity materials for                      pool of potential suppliers.                           71,400 to 107,100 average annual jobs
                                                 retrofitting existing U.S. coal-fueled
                                                                                                               The workforce necessary for installing              resulting from CCS project
                                                 EGUs with CCS.600 Specialized
                                                                                                            and operating CCS is readily available.                investments—across construction,
                                                 equipment analyzed included absorbers,
                                                                                                            The required workforce includes                        project management, machinery
                                                 strippers, heat exchangers, and
                                                                                                            construction, engineering,                             installers, sales representatives, freight,
                                                 compressors. Commodity materials
                                                 analyzed included monoethanolamine                         manufacturing, and other skilled labor                 and engineering occupations—would
                                                 (MEA) solvent for carbon capture,                          (e.g., electrical, plumbing, and                       likely be needed over a five-year
                                                 triethylene glycol (TEG) for carbon                        mechanical trades). The existing                       construction period 607 to deploy CCS at
                                                 dioxide drying, and steel and cement for                   workforce is well positioned to meet the                  604 DOE. Workforce Analysis of Existing Coal
                                                 construction of certain aspects of the                     demand for installation and operation of               Carbon Capture Retrofits. https://www.energy.gov/
                                                 CCS value chain.601 The DOE analyzed                       CCS. Many of the skills needed to build                policy/articles/workforce-analysis-existing-coal-
                                                 one scenario in which 42 GW of coal-                       and operate carbon capture plants are                  carbon-capture-retrofits.
                                                                                                                                                                      605 Ibid.
                                                 fueled EGUs are retrofitted with CCS                       similar to those used by workers in                       606 SaskPower, ‘‘SaskPower CCS.’’ https://
                                                 and a second scenario in which 73 GW                       existing industries, and this experience               unfccc.int/files/bodies/awg/application/pdf/01_
                                                 of coal-fueled EGUs are retrofitted with                   can be leveraged to support the                        saskatchewan_environment_micheal_monea.pdf.
                                                 CCS.602 The analysis determined that in                    workforce needed to deploy CCS. In                     For corroboration, we note similar employment
                                                                                                                                                                   numbers for two EPAct-05 assisted projects: Petra
                                                    599 Sequestration potential as it relates to distance
                                                                                                            addition, government programs,                         Nova estimated it would need approximately 1,100
                                                 from existing resources is a key part of the EPA’s         industry workforce investments, and                    construction-related jobs and up to 20 jobs for
                                                 regular power sector modeling development, using           IRC section 45Q prevailing wage and                    ongoing operations. National Energy Technology
                                                 data from DOE/NETL studies. For details, please see        apprenticeship provisions provide                      Laboratory and U.S. Department of Energy. W.A.
                                                 chapter 6 of the IPM documentation available at:.                                                                 Parish Post-Combustion CO2 Capture and
                                                 https://www.epa.gov/system/files/documents/2021-
                                                                                                            additional significant support to                      Sequestration Project, Final Environmental Impact
                                                 09/chapter-6-co2-capture-storage-and-                      workforce development and                              Statement. https://www.energy.gov/sites/default/
                                                 transport.pdf.                                             demonstrate that the CCS industry                      files/EIS-0473-FEIS-Summary-2013_1.pdf. Project
                                                    600 DOE. Material Requirements for Carbon                                                                      Tundra projects a peak labor force of 600 to 700.
                                                                                                            likely has the capacity to train and                   National Energy Technology Laboratory and U.S.
                                                 Capture and Storage Retrofits on Existing Coal-
                                                 Fueled Electric Generating Units. https://                                                                        Department of Energy. Draft Environmental
                                                 www.energy.gov/policy/articles/material-                      603 Although the assessment assumed that all of     Assessment for North Dakota CarbonSAFE: Project
                                                 requirements-carbon-capture-and-storage-retrofits-         the CCS deployments would utilize MEA-based            Tundra. https://www.energy.gov/sites/default/files/
                                                 existing-coal-fueled.                                      carbon capture technologies, future CCS                2023-08/draft-ea-2197-nd-carbonsafe-chapters-
                                                    601 Steel requirements were assessed for carbon         deployments could potentially use different            2023-08.pdf.
                                                 capture, transport and storage, but cement                 solvents, or capture technologies that do not use         607 For the purposes of evaluating the actual

                                                 requirements were only assessed for capture and            solvents, e.g., membranes, sorbents. A number of       workforce and resources necessary for installation
                                                 storage.                                                   technology providers have solvents that are            of CCS, the five-year assumption in the DOE memo
                                                    602 DOE analyzed the resources—including                commercially available, as detailed in section         is reasonable. The representative timeline for CCS
                                                 specialized equipment, commodity materials, and,           VII.C.1.a.i.(B)(3) of this preamble. In addition, a    includes an about 3-year period for construction
                                                 as discussed below, workforce, necessary for 73 GW         2022 DOE carbon capture supply chain assessment        activities (including site work, construction, and
                                                                                                            concluded that common amines used in carbon            startup and testing) across the components of CCS
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                                                 of coal capacity to install CCS because that is the
                                                 amount that has not announced plans to retire by           capture have robust and resilient supply chains that   (capture, pipeline, and sequestration), beginning at
                                                 January 1, 2040. As indicated in the final TSD,            could be rapidly scaled, with low supply chain risk    the end of 2028. Many sources are well positioned
                                                 Power Sector Trends, a somewhat larger amount—             associated with the main inputs for scale-up. See      to install CCS, having already completed feasibility
                                                 81 GW—has not announced plans to retire or cease           U.S. Department of Energy (DOE). Supply Chain          work, FEED studies, and/or permitting, and could
                                                 firing coal by January 1, 2039, and it is this latter      Deep Dive Assessment: Carbon Capture, Transport        thereby reasonably start construction activities (still
                                                 amount that is the maximum that, at least in theory,       & Storage. https://www.energy.gov/sites/default/       3-years in duration) by the beginning of 2028 or
                                                 could be subject to the CCS requirement. DOE’s             files/2022-02/Carbon%20Capture                         earlier and, as a practical matter, would likely do
                                                 conclusions that sufficient resources are available        %20Supply%20Chain%20Report%20-                         so notwithstanding the requirements of this rule
                                                 also hold true for the larger amount.                      %20Final.pdf.                                                                                       Continued




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                                                 a subset of coal power plants. The                      fired steam generating units potentially                 determined that there will be sufficient
                                                 memorandum further estimates that                       subject to a CCS BSER.                                   resources for all coal-fired power plants
                                                 116,200 to 174,300 average annual jobs                                                                           that are reasonably expected to be
                                                                                                         (H) Determination That CCS Is
                                                 would likely be needed if CCS were                                                                               operating as of January 1, 2039, to
                                                                                                         ‘‘Adequately Demonstrated’’
                                                 deployed at all coal-fired EGUs that                                                                             install CCS. Nothing in the comments
                                                 currently have no firm commitment to                       As discussed in detail in section                     alters the EPA’s view of the relevant
                                                 retire or convert to natural gas by                     V.C.2.b, pursuant to the text, context,                  legal requirements related to the EPA’s
                                                 2040.608 For comparison, the DOE                        legislative history, and judicial                        determination of time necessary to
                                                 memorandum further categorizes                          precedent interpreting CAA section                       allow for adoption of the system.
                                                 potential workforce needs by                            111(a)(1), a technology is ‘‘adequately                     With all of the above in mind, the
                                                 occupation, and estimates 11,420 to                     demonstrated’’ if there is sufficient                    preceding sections show that CCS
                                                 27,890 annual jobs for construction                     evidence that the EPA may reasonably                     technology with 90 percent capture is
                                                 trade workers, while the U.S. Energy                    conclude that a source that applies the                  clearly adequately demonstrated for
                                                 and Employment Report estimates that                    technology will be able to achieve the                   coal-fired steam generating units, that
                                                 electric power generation and fuels                     associated standard of performance                       the 90 percent standard is achievable,612
                                                 accounted for more than 292,000                         under the reasonably expected operating                  and that it is reasonable for the EPA to
                                                 construction jobs in 2022, which is an                  circumstances. Specifically, an                          determine that CCS can be deployed at
                                                 order of magnitude greater than the                     adequately demonstrated standard of                      the necessary scale in the compliance
                                                 potential workforce needs for CCS                       performance may reflect the EPA’s                        timeframe.
                                                 deployment under this rule. Overall                     reasonable expectation of what that
                                                                                                         particular system will achieve, based on                 (1) EPAct05
                                                 energy-related construction activities
                                                 across the entire energy industry                       analysis of available data from                             In the proposal, the EPA noted that in
                                                                                                         individual commercial scale sources,                     the 2015 NSPS, the EPA had considered
                                                 accounted for nearly 2 million jobs, or
                                                                                                         and, if necessary, identifying specific                  coal-fired industrial projects that had
                                                 25 percent of all construction jobs in
                                                                                                         available technological improvements                     installed at least some components of
                                                 2022, indicating that there is a very
                                                                                                         that are expected to improve                             CCS technology. In doing so, the EPA
                                                 large pool of workers potentially
                                                                                                         performance.610 The law is clear in                      recognized that some of those projects
                                                 available.609
                                                                                                         establishing that at the time a section                  had received assistance in the form of
                                                    As noted in section VII.C.1.a.i(F), the              111 rule is promulgated, the system that                 grants, loan guarantees, and Federal tax
                                                 EPA determined that the population of                   the EPA establishes as BSER need not be                  credits for investment in ‘‘clean coal
                                                 sources without announced plans to                      in widespread use. Instead, the EPA’s                    technology,’’ under provisions of the
                                                 cease operation or discontinue coal-                    responsibility is to determine that the                  Energy Policy Act of 2005 (‘‘EPAct05’’).
                                                 firing by 2039, and that is therefore                   demonstrated technology can be                           See 80 FR 64541–42 (October 23, 2015).
                                                 potentially subject to a CCS BSER, is not               implemented at the necessary scale in a                  (The EPA refers to projects that received
                                                 more than 81 GW, as indicated in the                    reasonable period of time, and to base                   assistance under that legislation as
                                                 final TSD, Power Sector Trends. The                     its requirements on this understanding.                  ‘‘EPAct05-assisted projects.’’) The EPA
                                                 DOE CCS Commodity Materials and                            In this case, the EPA acknowledged in                 further recognized that the EPAct05
                                                 Workforce Memos evaluated material                      the proposed rule, and reaffirms now,                    included provisions that constrained
                                                 resource and workforce needs for a                      that sources will require some amount                    how the EPA could rely on EPAct05-
                                                 similar capacity (about 73 GW), and                     of time to install CCS. Installing CCS                   assisted projects in determining whether
                                                 determined that the resources and                       requires the building of capture                         technology is adequately demonstrated
                                                 workforce available are more than                       facilities and pipelines to transport                    for the purposes of CAA section 111.613
                                                 sufficient, in most cases by an order of                captured CO2 to sequestration sites, and
                                                 magnitude. Considering these factors,                   the development of sequestration sites.                  caselaw supports the proposition that CAA section
                                                 and the similar scale of the population                 This is true for both existing coal plants,              111 authorizes the EPA to determine that controls
                                                                                                                                                                  qualify as the BSER—including meeting the
                                                 of sources considered, the EPA therefore                which will need to retrofit CCS, and                     ‘adequately demonstrated’ criterion—even if the
                                                 concludes that the workforce and                        new gas plants, which must incorporate                   controls require some amount of ‘lead time,’ which
                                                 resources available are more than                       CCS into their construction planning.                    the court has defined as ‘the time in which the
                                                 sufficient to meet the demands of coal-                 As the EPA explained at proposal, D.C.                   technology will have to be available.’ ’’ See New
                                                                                                                                                                  Source Performance Standards for Greenhouse Gas
                                                                                                         Circuit caselaw supports this                            Emissions From New, Modified, and Reconstructed
                                                 given the strong economic incentives provided by        approach.611 Moreover, the EPA has                       Fossil Fuel-Fired Electric Generating Units;
                                                 the tax credit. The representative timeline also                                                                 Emission Guidelines for Greenhouse Gas Emissions
                                                 makes conservative assumptions about the pre-             610 A line of cases establishes that the EPA may       From Existing Fossil Fuel-Fired Electric Generating
                                                 construction activities for pipelines and               extrapolate based on its findings and project            Units; and Repeal of the Affordable Clean Energy
                                                 sequestration, and for many sources construction of     technological improvements in a variety of ways.         Rule, 88 FR 33240, 33289 (May 23, 2023) (quoting
                                                 those components could occur earlier. Finally, to       First, the EPA may reasonably extrapolate from           Portland Cement Ass’n v. Ruckelshaus, 486 F.2d
                                                 provide greater regulatory certainty and incentivize    testing results to predict a lower emissions rate than   375, 391 (D.C. Cir. 1973)).
                                                 the installation of controls, the EPA is finalizing a   has been regularly achieved in testing. See Essex            612 The concepts of ‘‘adequately demonstrated’’
                                                 limited one-year compliance date extension              Chem. Corp. v. Ruckelshaus, 486 F.2d 427, 433            and ‘‘achievable’’ are closely related. As the D.C.
                                                 mechanism for certain circumstances as detailed in      (D.C. Cir. 1973). Second, the EPA may forecast           Circuit explained in Essex Chem. Corp. v.
                                                 section X.C.1.d of the preamble, and it would also      technological improvements allowing a lower              Ruckelshaus, ‘‘[i]t is the system which must be
                                                 be reasonable to assume that, in practice, some         emissions rate or effective control at larger plants     adequately demonstrated and the standard which
                                                 sources use that mechanism. Considering these           than those previously subject to testing, provided       must be achievable.’’ 486 F.2d 427, 433 (1973).
                                                 factors, evaluating workforce and resource              the agency has adequate knowledge about the                  613 The relevant EPAct05 provisions include the
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                                                 requirements over a five-year period is reasonable.     needed changes to make a reasonable prediction.          following: Section 402(i) of the EPAct05, codified
                                                   608 DOE. Workforce Analysis of Existing Coal          See Sierra Club v. Costle 657 F.2d 298 (1981).           at 42 U.S.C. 15962(a), provides as follows: ‘‘No
                                                 Carbon Capture Retrofits. https://www.energy.gov/       Third, the EPA may extrapolate based on testing at       technology, or level of emission reduction, solely by
                                                 policy/articles/workforce-analysis-existing-coal-       a particular kind of source to conclude that the         reason of the use of the technology, or the
                                                 carbon-capture-retrofits.                               technology at issue will also be effective at a          achievement of the emission reduction, by 1 or
                                                   609 U.S. Department of Energy. United States          different, related, source. See Lignite Energy           more facilities receiving assistance under this Act,
                                                 Energy & Employment Report 2023. https://               Council v. EPA, 198 F.3d 930 (D.C. Cir. 1999).           shall be considered to be adequately demonstrated
                                                 www.energy.gov/sites/default/files/2023-06/               611 There, EPA cited Portland Cement v.                [ ] for purposes of section 111 of the Clean Air
                                                 2023%20USEER%20REPORT-v2.pdf.                           Ruckelshaus, for the proposition that ‘‘D.C. Circuit     Act. . . .’’ IRC section 48A(g), as added by EPAct05



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                                                 In the 2015 NSPS, the EPA went on to                    fired steam generating units with no                    its profitability will be incentivized to
                                                 provide a legal interpretation of those                 announced retirement or gas conversion                  recoup the full value of the 12-year tax
                                                 constraints. Under that legal                           prior to 2039. In evaluating costs, the                 credit.
                                                 interpretation, ‘‘these provisions [in the              EPA accounts for the IRC section 45Q                       Therefore for long-term coal-fired
                                                 EPAct05] . . . preclude the EPA from                    tax credit of $85/metric ton (assumes                   steam generating units—ones that
                                                 relying solely on the experience of                     prevailing wage and apprenticeship
                                                                                                                                                                 operate after January 1, 2039—the costs
                                                 facilities that received [EPAct05]                      requirements are met), a detailed
                                                                                                                                                                 of CCS are similar or better than the
                                                 assistance, but [do] not . . . preclude                 discussion of which is provided in
                                                 the EPA from relying on the experience                  section VII.C.1.a.ii(C) of this preamble.               representative costs of controls detailed
                                                 of such facilities in conjunction with                  The EPA also accounts for increases in                  in section VII.C.1.a.ii(D) of this
                                                 other information.’’ 614 Id. at 64541–42.               utilization that will occur for units that              preamble (i.e., costs for SCRs and FGDs
                                                 In this action, the EPA is adhering to the              apply CCS due to the incentives                         on EGUs of $10.60 to $18.50/MWh and
                                                 interpretation of these provisions that it              provided by the IRC section 45Q tax                     the costs in the 2016 NSPS regulating
                                                 announced in the 2015 NSPS.                             credit. In other words, because the IRC                 GHGs for the Crude Oil and Natural Gas
                                                   Some commenters criticized the legal                  section 45Q tax credit provides a                       source category of $98/ton of CO2e
                                                 interpretation that the EPA advanced in                 significant economic benefit, sources                   reduced (80 FR 56627; September 18,
                                                 the 2015 NSPS, and others supported                     that apply CCS will have a strong                       2015)).
                                                 the interpretation. The EPA has                         economic incentive to increase                             The EPA also evaluated the costs for
                                                 responded to these comments in the                      utilization and run at higher capacity                  shorter amortization periods,
                                                 Response to Comments Document,                          factors than occurred historically. This                considering the $/MWh and $/ton
                                                 available in the docket for this                        assumption is confirmed by the                          metrics, as well as other cost indicators,
                                                 rulemaking.                                             modeling, which projects that sources                   as described in section VII.C.1.a.ii.(D).
                                                 ii. Costs                                               that install CCS run at a high capacity                 Specifically, with an initial compliance
                                                                                                         factor—generally, about 80 percent or
                                                    The EPA has analyzed the costs of                                                                            date of January 1, 2032, sources
                                                                                                         even higher. The EPA notes that the
                                                 CCS for existing coal-fired long-term                                                                           operating through the end of 2039 have
                                                                                                         NETL Baseline study assumes 85
                                                 steam generating units, including costs                 percent as the default capacity factor                  at least 8 years to amortize costs. For an
                                                 for CO2 capture, transport, and                         assumption for coal CCS retrofits, noting               80 percent capacity factor and an 8-year
                                                 sequestration. The EPA has determined                   that coal plants in market conditions                   amortization period, the average costs of
                                                 costs of CCS for these sources are                      supporting baseload operation have                      CCS for the fleet are $19/ton of CO2
                                                 reasonable. The EPA also evaluated                      demonstrated the ability to operate at                  reduced or $18/MWh of generation;
                                                 costs assuming shorter amortization                     annual capacity factors of 85 percent or                these costs are comparable to those costs
                                                 periods. As elsewhere in this section of                higher.615 This assumption is also                      that the EPA has previously determined
                                                 the preamble, costs are presented in                    supported by observations of wind                       to be reasonable. Sources operating
                                                 2019 dollars. In sum, the costs of CCS                  generators who receive the IRC section                  through the end of 2040, 2041, and
                                                 are reasonable under a variety of                       45 production tax credit who continue                   beyond (i.e., sources with 9, 10, or more
                                                 metrics. The costs of CCS are reasonable                to operate even during periods of                       years to amortize the costs of CCS) have
                                                 as compared to the costs of other                       negative power prices.616 Therefore, the                even more favorable average costs per
                                                 controls that the EPA has required for                  EPA assessed the costs for CCS                          MWh and per ton of CO2 reduced.
                                                 these sources. And the costs of CCS are                 retrofitted to existing coal-fired steam                Sources ceasing operation by January 1,
                                                 reasonable when looking to the dollars                  generating units assuming an 80 percent                 2039, have 7 years to amortize costs. For
                                                 per ton of CO2 reduced. The                             annual capacity factor. Assuming an 80                  an 80 percent capacity factor and a 7-
                                                 reasonableness of CCS as an emission                    percent capacity factor and 12-year                     year amortization period, the fleet
                                                 control is further reinforced by the fact               amortization period,617 the average costs               average costs are $29/ton of CO2
                                                 that some sources are projected to                      of CCS for the fleet are ¥$5/ton of CO2                 reduced or $28/MWh of generation;
                                                 install CCS even in the absence of any                  reduced or ¥$4/MWh of generation.
                                                 EPA rule addressing CO2 emissions—11                                                                            these average costs are less comparable
                                                                                                         Assuming at least a 12-year amortization                on a $/MWh of generation basis to those
                                                 GW of coal-fired EGUs install CCS in                    period is reasonable because any unit
                                                 the modeling base case.                                                                                         costs the EPA has previously
                                                                                                         that installs CCS and seeks to maximize                 determined to be reasonable, but
                                                    Specifically, the EPA assessed the
                                                 average cost of CCS for the fleet of coal-                 615 See Exhibit 2–18. https://netl.doe.gov/
                                                                                                                                                                 substantially lower than costs the EPA
                                                                                                         projects/files/CostAndPerformanceBaseline               has previously determined to be
                                                 1307(b), provides as follows: ‘‘No use of technology    ForFossilEnergyPlantsVolume1Bituminous                  reasonable on a $/ton of CO2 reduced
                                                 (or level of emission reduction solely by reason of     CoalAndNaturalGasToElectricity_101422.pdf.              basis. The EPA further notes that the
                                                 the use of the technology), and no achievement of          616 If those generators were not receiving the tax

                                                 any emission reduction by the demonstration of any      credit, they otherwise would cease producing
                                                                                                                                                                 costs presented are average costs for the
                                                 technology or performance level, by or at one or        power during those periods and result in a lower        fleet. For a substantial amount of
                                                 more facilities with respect to which a credit is       overall capacity factor. As noted by EIA, ‘‘Wind        capacity, costs assuming a 7-year
                                                 allowed under this section, shall be considered to      plants can offer negative prices because of the         amortization period are comparable to
                                                 indicate that the technology or performance level is    revenue stream that results from the federal
                                                 adequately demonstrated [ ] for purposes of section     production tax credit, which generates tax benefits     those costs the EPA has previously
                                                 111 of the Clean Air Act. . . .’’ Section 421(a)        whenever the wind plant is producing electricity,       determined to be reasonable on both a
                                                 states: ‘‘No technology, or level of emission           and payments from state renewable portfolio or          $/MWh basis (i.e., less than $18.50/
                                                 reduction, shall be treated as adequately               financial incentive programs. These alternative
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                                                                                                                                                                 MWh) and a $/ton basis (i.e. less than
                                                 demonstrated for purpose [sic] of section 7411 of       revenue streams make it possible for wind
                                                 this title, . . . solely by reason of the use of such   generators to offer their wind power into the           $98/ton CO2e),618 and the EPA
                                                 technology, or the achievement of such emission         wholesale electricity market at prices lower than       concludes that a substantial amount of
                                                 reduction, by one or more facilities receiving          other generators, and even at negative prices.’’        capacity can install CCS at reasonable
                                                 assistance under section 13572(a)(1) of this title.’’   https://www.eia.gov/todayinenergy/
                                                    614 In the 2015 NSPS, the EPA adopted several        detail.php?id=16831.
                                                                                                                                                                 cost with a 7-year amortization
                                                 other legal interpretations of these EPAct05               617 A 12-year amortization period is consistent

                                                 provisions as well. See 80 FR 64541 (October 23,        with the period of time during which the IRC              618 See the final TSD, GHG Mitigation Measures

                                                 2015).                                                  section 45Q tax credit can be claimed.                  for Steam Generating Units for additional details.



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                                                 period.619 Considering that a significant                assumes installation of one CO2 capture                    coal found in Illinois, East Texas,
                                                 number of sources can cost reasonably                    plant for each coal-fired EGU, and that                    Williston, and Powder River basins.626
                                                 install CCS even assuming a 7-year                       sources without SO2 controls (FGD) or                        There are two primary cost drivers for
                                                 amortization period, the EPA concludes                   NOX controls (specifically, selective                      a CO2 sequestration project: the rate of
                                                 that sources operating in 2039 should be                 catalytic reduction—SCR; or selective                      injection of the CO2 into the reservoir
                                                 subject to a CCS BSER,620 and for this                   non-catalytic reduction—SNCR) add a                        and the areal extent of the CO2 plume
                                                 reason, is finalizing the date of January                wet FGD and/or SCR.622                                     in the reservoir. The rate of injection
                                                 1, 2039 as the dividing line between the                                                                            depends, in part, on the thickness of the
                                                                                                          (B) CO2 Transport and Sequestration                        reservoir and its permeability. Thick,
                                                 medium-term and long-term
                                                                                                          Costs                                                      permeable reservoirs provide for better
                                                 subcategories. Moreover, the EPA
                                                 underscores that given the strong                           To calculate the costs of CCS for coal-                 injection and fewer injection wells. The
                                                 economic incentives of the IRC section                   fired steam generating units for                           areal extent of the CO2 plume depends
                                                 45Q tax credit, sources that install CCS                 purposes of determining BSER as well                       on the sequestration capacity of the
                                                 will have strong economic incentives to                  as for EPA modeling, the EPA relied on                     reservoir. Thick, porous reservoirs with
                                                 operate at high capacity for the full 12                 transportation and storage costs                           a good sequestration coefficient will
                                                 years that the tax credit is available.                  consistent with the cost of transporting                   present a small areal extent for the CO2
                                                    As discussed in the RTC section 2.16,                 and storing CO2 from each power plant                      plume and have a smaller monitoring
                                                 the EPA has also examined the                            to the nearest saline reservoir.623 For a                  footprint, resulting in lower monitoring
                                                 reasonableness of the costs of this rule                 power plant composed of multiple coal-                     costs. NETL’s Quality Guidelines model
                                                 in additional ways: considering the total                fired EGUs, the EPA’s cost analysis                        costs for a given cumulative
                                                 annual costs of the rule as compared to                  assumes installation and operation of a                    sequestration potential.627
                                                 past CAA rules for the electricity sector                single, common CO2 pipeline.                                 In addition, provisions in the IIJA and
                                                 and as compared to the industry’s                           The EPA notes that NETL has also                        IRA are expected to significantly
                                                 annual revenues and annual capital                       developed costs for transport and                          increase the CO2 pipeline infrastructure
                                                 expenditures, and considering the                        storage. NETL’s ‘‘Quality Guidelines for                   and development of sequestration sites,
                                                 effects of this rule on electricity prices.              Energy System Studies; Carbon Dioxide                      which, in turn, are expected to result in
                                                 Taking all of these into consideration, in               Transport and Sequestration Costs in                       further cost reductions for the
                                                 addition to the cost metrics just                        NETL Studies’’ provides an estimation                      application of CCS at new combined
                                                 discussed, the EPA concludes that, in                    of transport costs based on the CO2                        cycle EGUs. The IIJA establishes a new
                                                 general, the costs of CCS are reasonable                 Transport Cost Model.624 The CO2                           Carbon Dioxide Transportation
                                                 for sources operating after January 1,                   Transport Cost Model estimates costs for                   Infrastructure Finance and Innovation
                                                 2039.                                                    a single point-to-point pipeline.                          program to provide direct loans, loan
                                                                                                          Estimated costs reflect pipeline capital                   guarantees, and grants to CO2
                                                 (A) Capture Costs                                        costs, related capital expenditures, and                   infrastructure projects, such as
                                                   The EPA developed an independent                       operations and maintenance costs.625                       pipelines, rail transport, ships and
                                                 engineering cost assessment for CCS                         NETL’s Quality Guidelines also                          barges.628 The IIJA also establishes a
                                                 retrofits, with support from Sargent and                 provide an estimate of sequestration                       new Regional Direct Air Capture Hubs
                                                 Lundy.621 The EPA cost analysis                          costs. These costs reflect the cost of site                program that includes funds to support
                                                                                                          screening and evaluation, permitting                       four large-scale, regional direct air
                                                    619 As indicated in section 4.7.5 of the final TSD,   and construction costs, the cost of                        capture hubs and more broadly support
                                                 Greenhouse Gas Mitigation Measures for Steam             injection wells, the cost of injection                     projects that could be developed into a
                                                 Generating Units, 24 percent of all coal-fired steam
                                                 generating units in the long-term subcategory would
                                                                                                          equipment, operation and maintenance                       regional or inter-regional network to
                                                 have CCS costs below both $18.50/MWh and $98/            costs, pore volume acquisition expense,                    facilitate sequestration or utilization.629
                                                 ton of CO2 with a 7-year amortization period (Table      and long-term liability protection.                        DOE is additionally implementing IIJA
                                                 11), and that amount increases to 40 percent for         Permitting and construction costs also                     section 40305 (Carbon Storage
                                                 those coal-fired units that, in light of their age and
                                                 efficiency, are most likely to operate in the long
                                                                                                          reflect the regulatory requirements of                     Validation and Testing) through its
                                                 term (and thus be subject to the CCS-based               the UIC Class VI program and GHGRP                         CarbonSAFE initiative, which aims to
                                                 standards of performance) (Table 12). In addition,       subpart RR for geologic sequestration of                   further develop geographically
                                                 of the 9 units in the NEEDS data base that have          CO2 in deep saline formations. NETL
                                                 announced plans to retire in 2039, and that
                                                                                                                                                                     widespread, commercial-scale, safe
                                                 therefore would have a 7-year amortization period
                                                                                                          calculates these sequestration costs on                    sequestration.630 The IRA increases and
                                                 if they installed CCS by January 1, 2032, 6 would        the basis of generic plant locations in
                                                 have costs below both $18.50/MWh and $98/ton of          the Midwest, Texas, North Dakota, and                        626 National Energy Technology Laboratory
                                                 CO2.                                                     Montana, as described in the NETL                          (NETL). (2017). ‘‘FE/NETL CO2 Saline Storage Cost
                                                    620 The EPA determines the BSER based on
                                                                                                          energy system studies that utilize the                     Model (2017),’’ U.S. Department of Energy, DOE/
                                                 considering information on the statutory factors,                                                                   NETL–2018–1871. https://netl.doe.gov/energy-
                                                 including cost, on a source category or subcategory                                                                 analysis/details?id=2403.
                                                                                                            622 Whether an FGD and SCR or controls with
                                                 basis. However, there may be particular sources for                                                                   627 Details on CO transportation and
                                                                                                                                                                                         2
                                                 which, based on source-specific considerations, the      lower costs are necessary for flue gas pretreatment        sequestration costs can be found in the final TSD,
                                                 cost of CCS is fundamentally different from the          prior to the CO2 capture process will in practice          GHG Mitigation Measures for Steam Generating
                                                 costs the EPA considered in making its BSER              depend on the flue gas conditions of the source.           Units.
                                                                                                            623 For additional details on CO transport and
                                                 determination. If such a fundamental difference                                               2                       628 Department of Energy. ‘‘Biden-Harris

                                                 makes it unreasonable for a particular source to         storage costs, see the final TSD, GHG Mitigation           Administration Announces $2 Billion from
                                                 achieve the degree of emission limitation associated     Measures for Steam Generating Units.                       Bipartisan Infrastructure Law to Finance Carbon
                                                 with implementing CCS with 90 percent capture, a           624 Grant, T., et al. (2019). ‘‘Quality Guidelines for   Dioxide Transportation Infrastructure.’’ (2022).
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                                                 state may provide a less stringent standard of           Energy System Studies; Carbon Dioxide Transport            https://www.energy.gov/articles/biden-harris-
                                                 performance (and/or longer compliance schedule, if       and Storage Costs in NETL Studies.’’ National              administration-announces-2-billion-bipartisan-
                                                 applicable) for that source pursuant to the RULOF        Energy Technology Laboratory. https://                     infrastructure-law-finance.
                                                 provisions. See section X.C.2 of this preamble for       www.netl.doe.gov/energy-analysis/details?id=3743.            629 Department of Energy. ‘‘Regional Direct Air

                                                 further discussion.                                        625 Grant, T., et al. ‘‘Quality Guidelines for Energy    Capture Hubs.’’ (2022). https://www.energy.gov/
                                                    621 Detailed cost information, assessment of          System Studies; Carbon Dioxide Transport and               oced/regional-direct-air-capture-hubs.
                                                 technology options, and demonstration of cost            Storage Costs in NETL Studies.’’ National Energy             630 For more information, see the NETL

                                                 reasonableness can be found in the final TSD, GHG        Technology Laboratory. 2019. https://                      announcement. https://www.netl.doe.gov/node/
                                                 Mitigation Measures for Steam Generating Units.          www.netl.doe.gov/energy-analysis/details?id=3743.          12405.



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                                                 extends the IRC section 45Q tax credit,                 annual rate of more than 7 percent.635                        Similarly, in the 2015 NSPS, the EPA
                                                 discussed next.                                         Additional programs support the skilled                    also recognized that revenues from
                                                                                                         construction trade workforce required                      utilizing captured CO2 for EOR would
                                                 (C) IRC Section 45Q Tax Credit
                                                                                                         for CCS implementation and                                 reduce the cost of CCS to the sources,
                                                    In determining the cost of CCS, the                  maintenance.636                                            although the EPA did not account for
                                                 EPA is taking into account the tax credit                  As discussed in section V.C.2.c of this                 potential EOR revenues for purposes of
                                                 provided under IRC section 45Q, as                      preamble, CAA section 111(a)(1) is clear                   determining the BSER. Id. At 64563–64.
                                                 revised by the IRA. The tax credit is                   that the cost that the Administrator                       In other rules, the EPA has considered
                                                 available at $85/metric ton ($77/ton)                   must take into account in determining                      revenues from sale of the by-products of
                                                 and offsets a significant portion of the                the BSER is the cost of the controls to                    emission controls to affect the costs of
                                                 capture, transport, and sequestration                   the source. It is reasonable to take the                   the emission controls. For example, in
                                                 costs noted above.                                      tax credit into account because it                         the 2016 Oil and Gas Methane Rule, the
                                                    Several other aspects of the tax credit              reduces the cost of the controls to the                    EPA determined that certain control
                                                 should be noted. A tax credit offsets tax               source, which has a significant effect on                  requirements would reduce natural gas
                                                 liability dollar for dollar up to the                   the actual cost of installing and                          leaks and therefore result in the
                                                                                                         operating CCS. In addition, all sources                    collection of recovered natural gas that
                                                 amount of the taxpayer’s tax liability.
                                                                                                         that install CCS to meet the                               could be sold; and the EPA further
                                                 Any credits in excess of the taxpayer’s
                                                                                                         requirements of these final actions are                    determined that revenues from the sale
                                                 liability are eligible to be carried back (3
                                                                                                         eligible for the tax credit. The legislative               of the recovered natural gas reduces the
                                                 years in the case of IRC section 45Q)
                                                                                                         history of the IRA makes clear that                        cost of controls. See 81 FR 35824 (June
                                                 and then carried forward up to 20
                                                                                                         Congress was well aware that the EPA                       3, 2016). The EPA made the same
                                                 years.631As noted above, the IRA also
                                                                                                         may promulgate rulemaking under CAA                        determination in the 2024 Oil and Gas
                                                 enabled additional methods to monetize
                                                                                                         section 111 based on CCS and the utility                   Methane Rule. See 89 FR 16820, 16865
                                                 tax credits in the event the taxpayer
                                                                                                         of the tax credit in reducing the costs of                 (May 7, 2024). In a 2011 action
                                                 does not have sufficient tax liability,
                                                                                                         CCUS (i.e., CCS). Rep. Frank Pallone,                      concerning a regional haze SIP, the EPA
                                                 such as through credit transfer.                        the chair of the House Energy &                            recognized that a NOX control would
                                                    The EPA has determined that it is                    Commerce Committee, included a                             alter the chemical composition of fly
                                                 likely that EGUs installing CCS will                    statement in the Congressional Record                      ash that the source had previously sold,
                                                 meet the 45Q prevailing wage and                        when the House adopted the IRA in                          so that it could no longer be sold; and
                                                 apprenticeship requirements. First, the                 which he explained: ‘‘The tax credit[ ]                    as a result, the EPA further determined
                                                 requirements provide a significant                      for CCUS . . . included in this Act may                    that the cost of the NOX control should
                                                 economic incentive, increasing the                      also figure into CAA Section 111 GHG                       include the foregone revenues from the
                                                 value of the 45Q credit by five times                   regulations for new and existing                           fly ash sales. 76 FR 58570, 58603
                                                 over the base value of the credit                       industrial sources[.] . . . Congress                       (September 21, 2011). In the 2016
                                                 available if the prevailing wage and                    anticipates that EPA may consider                          emission guidelines for landfill gas from
                                                 apprenticeship requirements are not                     CCUS . . . as [a] candidate[ ] for BSER                    municipal solid waste landfills, the EPA
                                                 met. This provides a significant                        for electric generating plants . . . .                     reduced the costs of controls by
                                                 incentive to meet the requirements.                     Further, Congress anticipates that EPA                     accounting for revenue from the sale of
                                                 Second, the increased cost of meeting                   may consider the impact of the CCUS                        electricity produced from the landfill
                                                 the requirements is likely significantly                . . . tax credit[ ] in lowering the costs of               gas collected through the controls. 81
                                                 less than the increase in credit value. A               [that] measure[ ].’’ 168 Cong. Rec. E879                   FR 59276, 19679 (August 29, 2016).
                                                 recent EPRI assessment found meeting                    (August 26, 2022) (statement of Rep.                          The amount of the IRC section 45Q
                                                 the requirements for other types of                     Frank Pallone).                                            tax credit that the EPA is taking into
                                                 power generation projects resulted in                      In the 2015 NSPS, in which the EPA                      account is $85/metric ton for CO2 that
                                                 significant savings across projects,632                 determined partial CCS to be the BSER                      is captured and geologically stored. This
                                                 and other studies indicate prevailing                   for GHGs from new coal-fired steam                         amount is available to the affected
                                                 wage laws and requirements for                          generating EGUs, the EPA recognized                        source as long as it meets the prevailing
                                                 construction projects in general do not                 that the IRC section 45Q tax credit or                     wage and apprenticeship requirements
                                                 significantly affect overall construction               other tax incentives could factor into the                 of IRC section 45Q(h)(3)–(4). The
                                                 costs.633 The EPA expects a similar                     cost of the controls to the sources.                       legislative history to the IRA specifically
                                                 dynamic for 45Q projects. Third, the use                Specifically, the EPA calculated the cost                  stated that when the EPA considers CCS
                                                 of registered apprenticeship programs                   of partial CCS on the basis of cost                        as the BSER for GHG emissions from
                                                 for training new employees is generally                 calculations from NETL, which                              industrial sources in CAA section 111
                                                 well-established in the electric power                  included ‘‘a range of assumptions                          rulemaking, the EPA should determine
                                                 generation sector, and apprenticeship                   including the projected capital costs, the                 the cost of CCS by assuming that the
                                                 programs are widely available to                        cost of financing the project, the fixed                   sources would meet those prevailing
                                                 generate additional trained workers in                  and variable O&M costs, the projected                      wage and apprenticeship requirements.
                                                 this field.634 The overall U.S. apprentice              fuel costs, and incorporation of any                       168 Cong. Rec. E879 (August 26, 2022)
                                                 market has more than doubled between                    incentives such as tax credits or                          (statement of Rep. Frank Pallone). If
                                                 2014 and 2023, growing at an average                    favorable financing that may be                            prevailing wage and apprenticeship
                                                                                                         available to the project developer.’’ 80                   requirements are not met, the value of
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                                                   631 IRC section 39.                                   FR 64570 (October 23, 2015).637                            the IRC section 45Q tax credit falls to
                                                   632 https://www.epri.com/research/products/
                                                                                                                                                                    $17/metric ton. The substantially higher
                                                 000000003002027328.                                        635 https://www.apprenticeship.gov/data-and-
                                                                                                                                                                    credit available provides a considerable
                                                   633 https://journals.sagepub.com/doi/abs/             statistics.
                                                 10.1177/0160449X18766398.                                  636 https://www.apprenticeship.gov/partner-
                                                                                                                                                                    incentive to meeting the prevailing wage
                                                   634 DOE. Workforce Analysis of Existing Coal          finder.                                                    and apprenticeship requirements.
                                                 Carbon Capture Retrofits. https://www.energy.gov/          637 In fact, because of limits on the availability of

                                                 policy/articles/workforce-analysis-existing-coal-       the IRC section 45Q tax credit at the time of the          calculation for partial CCS. 80 FR 64558–64
                                                 carbon-capture-retrofits.                               2015 NSPS, the EPA did not factor it into the cost         (October 23, 2015).



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                                                 Therefore, the EPA assumes that                         2011), the EPA estimated the annualized             required other industries—specifically,
                                                 investors maximize the value of the IRC                 costs to install and operate wet FGD                the oil and gas industry—to reduce their
                                                 section 45Q tax credit at $85/metric ton                retrofits on existing coal-fired steam              climate pollution at this level of cost-
                                                 by meeting those requirements.                          generating units. Using those same cost             effectiveness. In this rulemaking, the
                                                                                                         equations and assumptions (i.e., a 63               costs of the controls that the EPA
                                                 (D) Comparison to Other Costs of
                                                                                                         percent annual capacity factor—the                  identifies as the BSER generally match
                                                 Controls and Other Measures of Cost                     average value in 2011) for retrofitting
                                                 Reasonableness                                                                                              up well against both of these $/MWh
                                                                                                         wet FGD on a representative 700 to 300              and $/ton metrics for the affected
                                                    In assessing cost reasonableness for                 MW coal-fired steam generating unit                 subcategories of sources. And looking
                                                 the BSER determination for this rule,                   results in annualized costs of $14.80 to            broadly at the range of cost information
                                                 the EPA looks at a range of cost                        $18.50/MWh of generation,                           and these cost metrics, the EPA
                                                 information. As discussed in Chapter 2                  respectively.639 In the Good Neighbor               concludes that the costs of these rules
                                                 of the RTC, the EPA considered the total                Plan for the 2015 Ozone NAAQS (2023                 are reasonable.
                                                 annual costs of the rule as compared to                 GNP), 88 FR 36654 (June 5, 2023), the
                                                 past CAA rules for the electricity sector               EPA estimated the annualized costs to               (E) Comparison to Costs for CCS in Prior
                                                 and as compared to the industry’s                       install and operate SCR retrofits on                Rulemakings
                                                 annual revenues and annual capital                      existing coal-fired steam generating
                                                 expenditures, and considered the effects                units. Using those same cost equations                 In the CPP and ACE Rule, the EPA
                                                 of this rule on electricity prices.                     and assumptions (including a 56                     determined that CCS did not qualify as
                                                    For each of the BSER determinations,                 percent annual capacity factor—a                    the BSER due to cost considerations.
                                                 the EPA also considers cost metrics that                representative value in that rulemaking)            Two key developments have led the
                                                 it has historically considered in                       to retrofit SCR on a representative 700             EPA to reevaluate this conclusion: the
                                                 assessing costs to compare the costs of                 to 300 MW coal-fired steam generating               costs of CCS technology have fallen and
                                                 GHG control measures to control costs                   unit results in annualized costs of                 the extension and increase in the IRC
                                                 that the EPA has previously determined                  $10.60 to $11.80/MWh of generation,                 section 45Q tax credit, as included in
                                                 to be reasonable. This includes                         respectively.640                                    the IRA, in effect provide a significant
                                                 comparison to the costs of controls at                    The EPA also compares costs to the                stream of revenue for sequestered CO2
                                                 EGUs for other air pollutants, such as                  costs for GHG controls in rulemakings               emissions. The CPP and ACE Rule
                                                 SO2 and NOX, and costs of controls for                  for other industries. In the 2016 NSPS              relied on a 2015 NETL report estimating
                                                 GHGs in other industries. Based on                      regulating GHGs for the Crude Oil and               the cost of CCS. NETL has issued
                                                 these costs, the EPA has developed two                  Natural Gas source category, the EPA                updated reports to incorporate the latest
                                                 metrics for assessing the cost                          found the costs of reducing methane                 information available, most recently in
                                                 reasonableness of controls: the increase                emissions of $2,447/ton to be reasonable            2022, which show significant cost
                                                 in cost of electricity due to controls,                 (80 FR 56627; September 18, 2015).641               reductions. The 2015 report estimated
                                                 measured in $/MWh, and the control                      Converted to a ton of CO2e reduced                  incremental levelized cost of CCS at a
                                                 costs of removing a ton of pollutant,                   basis, those costs are expressed as $98/            new pulverized coal facility relative to
                                                 measured in $/ton CO2e. The costs                       ton of CO2e reduced.642                             a new facility without CCS at $74/MWh
                                                 presented in this section of the                          The EPA does not consider either of               (2022$),643 while the 2022 report
                                                 preamble are in 2019 dollars.638                        these metrics, $18.50/MWh and $98/ton               estimated incremental levelized cost at
                                                    In different rulemakings, the EPA has                of CO2e, to be bright line standards that           $44/MWh (2022$).644 Additionally, the
                                                 required many coal-fired steam                          distinguish between levels of control               IRA increased the IRC section 45Q tax
                                                 generating units to install and operate                 costs that are reasonable and levels that           credit from $50/metric ton to $85/metric
                                                 flue gas desulfurization (FGD)                          are unreasonable. But they do usefully              ton (and, in the case of EOR or certain
                                                 equipment—that is, wet or dry                           indicate that control costs that are
                                                                                                                                                             industrial uses, from $35/metric ton to
                                                 scrubbers—to reduce their SO2                           generally consistent with those levels of
                                                                                                                                                             $60/metric ton), assuming prevailing
                                                 emissions or SCR to reduce their NOX                    control costs should be considered
                                                                                                                                                             wage and apprenticeship conditions are
                                                 emissions. The EPA compares these                       reasonable. The EPA has required
                                                                                                                                                             met. The IRA also enhanced the realized
                                                 control costs across technologies—steam                 controls with comparable costs in prior
                                                                                                         rules for the electric power industry and           value of the tax credit through the
                                                 generating units and combustion                                                                             elective pay (informally known as direct
                                                 turbines—because these costs are                        the industry has successfully complied
                                                                                                         with those rules by installing and                  pay) and transferability monetization
                                                 indicative of what is reasonable for the                                                                    options described in section IV.E.1. The
                                                 power sector in general. The facts that                 operating the applicable controls. In the
                                                                                                         case of the $/ton metric, the EPA has               combination of lower costs and higher
                                                 the EPA required these controls in prior                                                                    tax credits significantly improves the
                                                 rules, and that many EGUs subsequently                                                                      cost reasonableness of CCS for purposes
                                                                                                           639 For additional details, see https://
                                                 installed and operated these controls,                  www.epa.gov/power-sector-modeling/
                                                 provide evidence that these costs are                   documentation-integrated-planning-model-ipm-          643 Cost And Performance Baseline for Fossil
                                                 reasonable, and as a result, the cost of                base-case-v410.                                     Energy Plants Volume 1: Bituminous Coal and
                                                 these controls provides a benchmark to                    640 For additional details, see https://
                                                                                                                                                             Natural Gas to Electricity, Rev. 3 (July 2015). Note:
                                                 assess the reasonableness of the costs of               www.epa.gov/system/files/documents/2023-01/         The EPA adjusted reported costs to reflect $2022.
                                                                                                         Updated%20Summer%202021%20                          https://www.netl.doe.gov/projects/files/
                                                 the controls in this preamble. In the                   Reference%20Case%20Incremental                      CostandPerformanceBaselinefor
                                                 2011 CSAPR (76 FR 48208; August 8,                      %20Documentation%20for%20the                        FossilEnergyPlantsVolume1aBit
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                                                                                                         %202015%20Ozone%20NAAQS%20Actions_0.pdf.            CoalPCandNaturalGastoElectRev3_070615.pdf.
                                                   638 The EPA used the NETL Baseline Report costs         641 The EPA finalized the 2016 NSPS GHGs for        644 Cost And Performance Baseline for Fossil

                                                 directly for the combustion turbine model plant         the Crude Oil and Natural Gas source category at    Energy Plants Volume 1: Bituminous Coal and
                                                 BSER analysis. Even though these costs are in 2018      81 FR 35824 (June 3, 2016). The EPA included cost   Natural Gas to Electricity, Rev. 4A (October 2022).
                                                 dollars, the adjustment to 2019 dollars (1.018 using    information in the proposed rulemaking, at 80 FR    Note: The EPA adjusted reported costs to reflect
                                                 the U.S. GDP Implicit Price Deflator) is well within    56627 (September 18, 2015).                         $2022. https://netl.doe.gov/projects/files/
                                                 the uncertainty range of the report and the minor         642 Based on the 100-year global warming          CostAndPerformanceBaselineFor
                                                 adjustment would not impact the EPA’s BSER              potential for methane of 25 used in the GHGRP (40   FossilEnergyPlantsVolume1Bituminous
                                                 determination.                                          CFR 98 Subpart A, table A–1).                       CoalAndNaturalGasToElectricity_101422.pdf.



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                                                 of determining whether it qualifies as                  Mitigation Measures for Steam                         permitting authorities are, in general,
                                                 the BSER.                                               Generating Units, available in the                    required to provide notice and an
                                                                                                         docket. Despite decreases in efficiency,              opportunity for public comment on
                                                 iii. Non-Air Quality Health and
                                                                                                         IRC section 45Q tax credit provides an                construction projects that require NSR
                                                 Environmental Impact and Energy
                                                                                                         incentive for increased generation with               permits. This provides additional
                                                 Requirements
                                                                                                         full operation of CCS because the                     opportunities for affected stakeholders
                                                    The EPA considered non-GHG                           amount of revenue from the tax credit                 to engage in that process, and it is the
                                                 emissions impacts, the water use                        is based on the amount of captured and                EPA’s expectation that the responsible
                                                 impacts, the transport and sequestration                sequestered CO2 emissions and not the                 authorities will consider these concerns
                                                 of captured CO2, and energy                             amount of electricity generated. In this              and take full advantage of existing
                                                 requirements resulting from CCS for                     final action, the Agency considers the                protections. Moreover, the EPA through
                                                 steam generating units. As discussed                    energy penalty to not be unreasonable                 its regional offices is committed to
                                                 below, where the EPA has found                          and to be relatively minor compared to                thoroughly review draft NSR permits
                                                 potential for localized adverse                         the benefits in GHG reduction of CCS.                 associated with CO2 capture projects
                                                 consequences related to non-air quality                                                                       and provide comments as necessary to
                                                 health and environmental impacts or                     (B) Non-GHG Emissions                                 state permitting authorities to address
                                                 energy requirements, the EPA also finds                    As a part of considering the non-air               any concerns or questions with regard to
                                                 that protections are in place to mitigate               quality health and environmental                      the draft permit’s consideration and
                                                 those risks. Because the non-air quality                impacts of CCS, the EPA considered the                treatment of non-GHG pollutants.
                                                 health and environmental impacts are                    potential non-GHG emission impacts of                    In the following discussion, the EPA
                                                 closely related to the energy                           CO2 capture. The EPA recognizes that                  describes the potential emissions of
                                                 requirements, we discuss the latter first.              amine-based CO2 capture can, under                    non-GHG pollutants resulting from
                                                 (A) Energy Requirements                                 some circumstances, result in the                     installation and operation of CO2
                                                                                                         increase in emission of certain co-                   capture plants, the protections in place
                                                    For a steam generating unit with 90                  pollutants at a coal-fired steam                      such as the controls and processes for
                                                 percent amine-based CO2 capture,                        generating unit. However, there are                   mitigating those emissions, as well as
                                                 parasitic/auxiliary energy demand                       protections in place that can mitigate                regulations and permitting that may
                                                 increases and the net power output                      these impacts. For example, as                        require review and implementation of
                                                 decreases. In particular, the solvent                   discussed below, CCS retrofit projects                those controls. The EPA first discusses
                                                 regeneration process requires heat in the               with co-pollutant increases may be                    these issues in relation to criteria air
                                                 form of steam and CO2 compression                       subject to preconstruction permitting                 pollutants and precursor pollutants
                                                 requires a large amount of electricity.                 under the New Source Review (NSR)                     (SO2, NOX, and PM), and subsequently
                                                 Heat and power for the CO2 capture                      program, which could require the                      provides details regarding hazardous air
                                                 equipment can be provided either by                     source to adopt emission limitations                  pollutants (HAPs) and volatile organic
                                                 using the steam and electricity                         based on applicable NSR requirements.                 compounds (VOCs).
                                                 produced by the steam generating unit                   Sources obtaining major NSR permits                      Operation of an amine-based CO2
                                                 or by an auxiliary cogeneration unit.                   would be required to either apply                     capture plant on a coal-fired steam
                                                 However, any auxiliary source of heat                   Lowest Achievable Emission Rate                       generating unit can impact the emission
                                                 and power is part of the ‘‘designated                   (LAER) and fully offset any anticipated               of criteria pollutants from the facility,
                                                 facility,’’ along with the steam                                                                              including SO2 and PM, as well as
                                                                                                         increases in criteria pollutant emissions
                                                 generating unit. The standards of                                                                             precursor pollutants, like NOX. Sources
                                                                                                         (for their nonattainment pollutants) or
                                                 performance apply to the designated                                                                           installing CCS may operate more due to
                                                                                                         apply Best Available Control
                                                 facility. Thus, any CO2 emissions from                                                                        the incentives provided by the IRC
                                                                                                         Technology (BACT) and demonstrate
                                                 the connected auxiliary equipment need                                                                        section 45Q tax credit, and increased
                                                                                                         that its emissions of criteria pollutants
                                                 to be captured or they will increase the                                                                      utilization would—all else being
                                                                                                         will not cause or contribute to a
                                                 facility’s emission rate.                                                                                     equal—result in increases in SO2, PM,
                                                    Using integrated heat and power can                  violation of applicable National
                                                                                                         Ambient Air Quality Standards (for                    and NOX. However, certain impacts are
                                                 reduce the capacity (i.e., the amount of                                                                      mitigated by the flue gas conditioning
                                                 electricity that a unit can distribute to               their attainment pollutants).646 The EPA
                                                                                                         expects facility owners, states,                      required by the CO2 capture process and
                                                 the grid) of an approximately 474 MW-                                                                         by other control equipment that the
                                                 net (501 MW-gross) coal-fired steam                     permitting authorities, and other
                                                                                                         responsible parties will use these                    units already have or may need to
                                                 generating unit without CCS to                                                                                install to meet other CAA requirements.
                                                 approximately 425 MW-net with CCS                       protections to address co-pollutant
                                                                                                         impacts in situations where individual                Substantial flue gas conditioning,
                                                 and contributes to a reduction in net                                                                         particularly to remove SO2 and PM, is
                                                 efficiency of 23 percent.645 For retrofits              units use CCS to comply with these
                                                                                                         emission guidelines.                                  critical to limiting solvent degradation
                                                 of CCS on existing sources, the                                                                               and maintaining reliable operation of
                                                 ductwork for flue gas and piping for                       The EPA also expects that the
                                                                                                         meaningful engagement requirements                    the capture plant. To achieve the
                                                 heat integration to overcome potential                                                                        necessary limits on SO2 levels in the
                                                 spatial constraints are a component of                  discussed in section X.E.1.b.i of this
                                                                                                         preamble will ensure that all interested              flue gas for the capture process, steam
                                                 efficiency reduction. The EPA notes that                                                                      generating units will need to add an
                                                 slightly greater efficiency reductions                  stakeholders, including community
                                                                                                         members who might be adversely                        FGD scrubber, if they do not already
                                                 than in the 2016 NETL retrofit report are
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                                                                                                         impacted by non-GHG pollutants, will                  have one, and will usually need an
                                                 assumed for the BSER cost analyses, as                                                                        additional polishing column (i.e.,
                                                 detailed in the final TSD, GHG                          have an opportunity to raise this
                                                                                                         concern with states and permitting                    quencher), thereby further reducing the
                                                                                                         authorities. Additionally, state                      emission of SO2. A wet FGD column and
                                                   645 DOE/NETL–2016/1796. ‘‘Eliminating the
                                                                                                                                                               a polishing column will also reduce the
                                                 Derate of Carbon Capture Retrofits.’’ May 31, 2016.
                                                 https://www.netl.doe.gov/energy-analysis/                 646 Section XI.A of this preamble provides          emission rate of PM. Additional
                                                 details?id=d335ce79-84ee-4a0b-a27b-                     additional information on the NSR program and         improvements in PM removal may also
                                                 c1a64edbb866.                                           how it relates to the NSPS and emission guidelines.   be necessary to reduce the fouling of


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                                                 other components (e.g., heat exchangers)                this scenario, the permitting authority               Management Pathway report notes that
                                                 of the capture process, including                       may determine that the NSR permit                     monitoring and emission controls for
                                                 upgrades to existing PM controls or,                    requires the installation of SCR for those            such degradation products are currently
                                                 where appropriate, the inclusion of                     units, based on applying the control                  part of standard operating procedures
                                                 various wash stages to limit fly ash                    technology requirements of major NSR.                 for amine-based CO2 capture systems.650
                                                 carry-over to the CO2 removal system.                   Alternatively, a state could, as part of its          Depending on the solvent properties,
                                                 Although PM emissions from the steam                    state plan, develop enforceable                       different amounts of aldehydes
                                                 generating unit may be reduced, PM                      conditions for a source expected to                   including acetaldehyde and
                                                 emissions may occur from cooling                        trigger major NSR that would effectively              formaldehyde may form through
                                                 towers for those sources using wet                      limit the unit’s ability to increase its              oxidative processes, contributing to total
                                                 cooling for the capture process. For                    emissions in amounts that would trigger               HAP and VOC emissions. While a water
                                                 some sources, a WESP may be necessary                   major NSR. Under this scenario, with no               wash or acid wash can be effective at
                                                 to limit the amount of aerosols in the                  major NSR requirements applying due                   limiting emission of amines, a separate
                                                 flue gas prior to the CO2 capture                       to the limit on the emissions increase,               system of controls would be required to
                                                 process. Reducing the amount of                         the permitting authority may conclude                 reduce aldehyde emissions; however,
                                                 aerosols to the CO2 absorber will also                  for the minor NSR permit that                         the low temperature and likely high
                                                 reduce emissions of the solvent out of                  installation of SCR is not required for               water vapor content of the gas emitted
                                                 the top of the absorber. Controls to limit              the units and the source is to minimize               out of absorber may limit the
                                                 emission of aerosols installed at the                   its NOX emission increases using other                applicability of catalytic or thermal
                                                 outlet of the absorber could be                         techniques. Finally, a source with some               oxidation. Other controls (e.g.,
                                                 considered, but could lead to higher                    lesser increase in NOX emissions may                  electrochemical, ultraviolet) common to
                                                 pressure drops. Thus, emission                          not trigger major NSR to begin with and,              water treatment could be considered to
                                                 increases of SO2 and PM would be                        as with the previous scenario, the                    reduce the loading of copollutants in the
                                                 reduced through flue gas conditioning                   permitting authority would determine                  water wash section, although their
                                                 and other system requirements of the                    the NOX control requirements pursuant                 efficacy is still in development and it is
                                                 CO2 capture process, and NSR                            to its minor NSR program requirements.                possible that partial treatment could
                                                 permitting would serve as an added                         Recognizing that potential emission                result in the formation of additional
                                                 backstop to review remaining SO2 and                    increases of SO2, PM, and NOX from                    degradation products. Apart from these
                                                 PM increases for mitigation.                            operating a CO2 capture process are an                potential controls, any increase in VOC
                                                    NOX emissions can cause solvent                      area of concern for stakeholders, the                 emissions from a CCS retrofit project
                                                 degradation and nitrosamine formation,                  EPA plans to review and update as                     would be mitigated through NSR
                                                 depending on the chemical structure of                  needed its guidance on NSR permitting,                permitting. As such VOC increases are
                                                 the solvent. Limits on NOX levels of the                specifically with respect to BACT                     not expected to be large enough to
                                                 flue gas required to avoid solvent                      determinations for GHG emissions and                  trigger major NSR requirements, they
                                                 degradation and nitrosamine formation                   consideration of co-pollutant increases               would likely be reviewed and addressed
                                                 in the CO2 scrubber vary. For most                      from sources installing CCS. In its                   under a state’s minor NSR program.
                                                 units, the requisite limits on NOX levels               analysis to support this final action, the               There is one nitrosamine that is a
                                                 to assure that the CO2 capture process                  EPA accounted for controlling these co-               listed HAP regulated under CAA section
                                                 functions properly may be met by the                    pollutant increases by assuming that                  112. Carbon capture systems that are
                                                 existing NOX combustion controls.                       coal-fired units that install CCS would               themselves a major source of HAP
                                                 Other units may need to install SCR to                  be required to install SCR and/or FGD                 should evaluate the applicability of
                                                 achieve the required NOx level. Most                    if they do not already have those                     CAA section 112(g) and conduct a case-
                                                 existing coal-fired steam generating                    controls installed. The costs of these                by-case MACT analysis if required, to
                                                 units either already have SCR or will be                controls are included in the total                    establish MACT for any listed HAP,
                                                 covered by final Federal                                program compliance cost estimates                     including listed nitrosamines,
                                                 Implementation Plan (FIP) requirements                  through IPM modeling, as well as in the               formaldehyde, and acetaldehyde.
                                                 regulating interstate transport of NOX                  BSER cost calculations.                               Because of the differences in the
                                                                                                            An amine-based CO2 capture plant                   formation and effectiveness of controls,
                                                 (as ozone precursors) from EGUs. See 88
                                                 FR 36654 (June 5, 2023).647 For units                   can also impact emissions of HAP and                  such a case-by-case MACT analysis
                                                                                                         VOC (as an ozone precursor) from the                  should evaluate the performance of
                                                 not otherwise required to have SCR, an
                                                                                                         coal-fired steam generating unit.                     controls for nitrosamines and aldehydes
                                                 increase in utilization from a CO2
                                                                                                         Degradation of the solvent can produce                separately, as formaldehyde or
                                                 capture retrofit could result in increased
                                                                                                         HAP, and organic HAP and amine                        acetaldehyde may not be a suitable
                                                 NOX emissions at the source that,
                                                                                                         solvent emissions from the absorber                   surrogate for amine and nitrosamine
                                                 depending on the quantity of the
                                                                                                         would contribute to VOC emissions out                 emissions. However, measurement of
                                                 emissions increase, may trigger major
                                                                                                         of the top of the CO2 absorber. A                     nitrosamine emissions may be
                                                 NSR permitting requirements. Under
                                                                                                         conventional multistage water or acid                 challenging when the concentration is
                                                    647 As of September 21, 2023, the Good Neighbor      wash and mist eliminator (demister) at                low (e.g., less than 1 part per billion, dry
                                                 Plan ‘‘Group 3’’ ozone-season NOX control program       the exit of the CO2 scrubber is effective             basis).
                                                 for power plants is being implemented in the            at removal of gaseous amine and amine                    HAP emissions from the CO2 capture
                                                 following states: Illinois, Indiana, Maryland,          degradation products (e.g., nitrosamine)
                                                 Michigan, New Jersey, New York, Ohio,
                                                                                                                                                               plant will depend on the flue gas
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                                                 Pennsylvania, Virginia, and Wisconsin. Pursuant to
                                                                                                         emissions.648 649 The DOE’s Carbon
                                                 court orders staying the Agency’s FIP Disapproval                                                             amine-based post combustion carbon capture:
                                                                                                           648 Sharma, S., Azzi, M., ‘‘A critical review of    Lessons learned from field tests,’’ Int’l J. of GHG
                                                 action as to the following states, the EPA is not
                                                 currently implementing the Good Neighbor Plan           existing strategies for emission control in the       Control, 13, 72 (2013).
                                                 ‘‘Group 3’’ ozone-season NOX control program for        monoethanolamine-based carbon capture process            650 U.S. Department of Energy (DOE). Pathways to

                                                 power plants in the following states: Alabama,          and some recommendations for improved                 Commercial Liftoff: Carbon Management. https://
                                                 Arkansas, Kentucky, Louisiana, Minnesota,               strategies,’’ Fuel, 121, 178 (2014).                  liftoff.energy.gov/wp-content/uploads/2023/04/
                                                 Mississippi, Missouri, Nevada, Oklahoma, Texas,            649 Mertens, J., et al., ‘‘Understanding           20230424-Liftoff-Carbon-Management-vPUB_
                                                 Utah, and West Virginia.                                ethanolamine (MEA) and ammonia emissions from         update.pdf.



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                                                 conditions, solvent, size of the source,                proactively regulate potential                       CO2 capture plant that are collocated, to
                                                 and process design. The air permit                      nitrosamine emissions.                               permit them as separate sources they
                                                 application for Project Tundra 651                         Response: The EPA carefully                       should not be under common control or
                                                 includes potential-to-emit (PTE) values                 considered these concerns as it finalized            not be defined by the same industrial
                                                 for CAA section 112 listed HAP specific                 its determination of the BSERs for these             grouping.
                                                 to the 530 MW-equivalent CO2 capture                    rules. The EPA takes these concerns                     The EPA would anticipate that, in
                                                 plant, including emissions of 1.75 tons                 seriously, agrees that any impacts to                most cases, the operation of the EGU
                                                 per year (TPY) of formaldehyde (CASRN                   local and downwind communities are                   and the CO2 capture plant will
                                                 50–00–0), 32.9 TPY of acetaldehyde                      important to consider and has done so                intrinsically affect one another—
                                                 (CASRN 75–07–0), 0.54 TPY of                            as part of its analysis discussed at                 typically steam, electricity, and the flue
                                                 acetamide (CASRN 60–35–5), 0.018 TPY                    section XII.E. While the EPA                         gas of the EGU will be provided to the
                                                 of ethylenimine (CASRN 151–56–4),                       acknowledges that, in some                           CO2 capture plant. Conditions of the
                                                 0.044 TPY of N-nitrosodimethylamine                     circumstances, there is potential for                flue gas will affect the operation of the
                                                 (CASRN 62–75–9), and 0.018 TPY of N-                    some non-GHG emissions to increase,                  CO2 capture plant, including its
                                                 nitrosomorpholine (CASRN 59–89–2).                      there are several protections in place to            emissions, and the steam and electrical
                                                 Additional PTE other species that are                   help mitigate these impacts. The EPA                 load will affect the operation of the
                                                 not CAA section 112 listed HAP were                     believes that these protections, along               EGU. Moreover, the emissions from the
                                                 also included, including 0.022 TPY of                   with the meaningful engagement of                    EGU will be routed through the CO2
                                                 N-nitrosodiethylamine (CASRN 55–18–                     potentially affected communities, can                capture system and emitted out of the
                                                 5). PTE values for other CO2 capture                    facilitate a responsible deployment of               top of the CO2 absorber. Even if the EGU
                                                 plants may differ. To comply with North                 this technology that mitigates the risk of           and CO2 capture plant are owned by
                                                 Dakota Department of Environmental                      any adverse impacts.                                 separate entities, the CO2 capture plant
                                                 Quality (ND–DEQ) Air Toxics Policy, an                     There is one nitrosamine that is a                is likely to be on or directly adjacent to
                                                 air toxics assessment was included in                   listed HAP under CAA section 112 (N-                 land owned by the owners of the EGU
                                                 the permit application. According to                    Nitrosodimethylamine; CASRN 62–75–                   and contractual obligations are likely to
                                                 that assessment, the total maximum                      9). Other nitrosamines would have to be              exist between the two owners. While
                                                 individual carcinogenic risk was 1.02E–                 listed before the EPA could establish                each of these individual factors may not
                                                 6 (approximately 1-in-1 million, below                  regulations limiting their emission.                 ultimately determine the outcome of
                                                 the ND–DEQ threshold of 1E–5)                           Furthermore, carbon capture systems                  whether two nominally-separate
                                                 primarily driven by N-                                  are themselves not a listed source                   facilities should be treated as a single
                                                 nitrosodiethylamine and N-                              category of HAP, and the listing of a                stationary source for permitting
                                                 nitrosodimethylamine. The hazard                        source category under CAA section 112                purposes, the EPA expects that in most
                                                 index value was 0.022 (below the ND–                    would first require some number of the               cases an EGU and its collocated CO2
                                                 DEQ threshold of 1), with formaldehyde                  sources to exist for the EPA to develop              capture plant would meet each of the
                                                 being the primary driver. Results of air                MACT standards. However, if a new                    aforementioned NSR regulatory criteria
                                                 toxics risk assessments for other                       CO2 capture facility were to be                      necessary to make such a determination.
                                                 facilities would depend on the                          permitted as a separate entity (rather               Thus, the EPA generally would not
                                                 emissions from the facility, controls in                than as part of the EGU) then it may be              expect an EGU and its CO2 capture plant
                                                 place, stack height and flue gas                        subject to case-by-case MACT under                   to be permitted as separate stationary
                                                 conditions, local ambient conditions,                   section 112(g), as detailed in the                   sources.
                                                 and the relative location of the exposed                preceding section of this preamble.
                                                                                                            Comment: Commenters noted that a                  (C) Water Use
                                                 population.
                                                    Emissions of amines and nitrosamines                 source could attempt to permit CO2                     Water consumption at the plant
                                                 at Project Tundra are controlled by the                 facilities as separate entities to avoid             increases when applying carbon
                                                                                                         triggering NSR for the EGU.                          capture, due to solvent water makeup
                                                 water wash section of the absorber
                                                                                                            Response: For the CO2 capture plant               and cooling demand. Water
                                                 column. According to the permit to
                                                                                                         to be permitted as a separate entity, the            consumption can increase by 36 percent
                                                 construct issued by ND–DEQ, limits for                  source would have to demonstrate to the
                                                 formaldehyde and acetaldehyde will be                                                                        on a gross basis.654 A separate cooling
                                                                                                         state permitting authority that the EGU              water system dedicated to a CO2 capture
                                                 established based on testing after initial              and CO2 capture plant are not a single
                                                 operation of the CO2 capture plant. The                                                                      plant may be necessary. However, the
                                                                                                         stationary source under the NSR                      amount of water consumption depends
                                                 permit does not include a mechanism                     program. In determining what
                                                 for establishing limits for nitrosamine                                                                      on the design of the cooling system. For
                                                                                                         constitutes a stationary source, the                 example, the cooling system cited in the
                                                 emissions, as they may be below the                     EPA’s NSR regulations set forth criteria
                                                 limit of detection (less than 1 part per                                                                     CCS feasibility study for SaskPower’s
                                                                                                         that are to be used when determining                 Shand Power station would rely entirely
                                                 billion, dry basis).                                    the scope of a ‘‘stationary source.’’ 652
                                                    The EPA received several comments                                                                         on water condensed from the flue gas
                                                                                                         These criteria require the aggregation of            and thus would not require any increase
                                                 related to the potential for non-GHG                    different pollutant-emitting activities if
                                                 emissions associated with CCS. Those                                                                         in external water consumption—all
                                                                                                         they (1) belong to the same industrial               while achieving higher capture rates at
                                                 comments and the EPA’s responses are                    grouping as defined by SIC codes, (2)
                                                 as follows.                                                                                                  lower cost than Boundary Dam Unit
                                                                                                         are located on contiguous or adjacent                3.655 Regions with limited water supply
                                                    Comment: Some commenters noted
                                                                                                         properties, and (3) are under common
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                                                 that there is a potential for increases in
                                                                                                         control.653 In the case of an EGU and                  654 DOE/NETL–2016/1796. ‘‘Eliminating the
                                                 co-pollutants when operating amine-
                                                                                                                                                              Derate of Carbon Capture Retrofits.’’ May 31, 2016.
                                                 based CO2 capture systems. One                            652 40 CFR 51.165(a)(1)(i) and (ii); 40 CFR        https://www.netl.doe.gov/energy-analysis/
                                                 commenter requested that the EPA                        51.166(b)(5) and (6).                                details?id=e818549c-a565-4cbc-94db-
                                                                                                           653 The EPA has issued guidance to clarify these   442a1c2a70a9.
                                                   651 DCC East PTC Application. https://                regulatory criteria of stationary source               655 International CCS Knowledge Centre. The

                                                 ceris.deq.nd.gov/ext/nsite/map/results/detail/-         determination. See https://www.epa.gov/nsr/single-   Shand CCS Feasibility Study Public Report. https://
                                                 8992368000928857057/documents.                          source-determination.                                                                          Continued




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                                                 may therefore rely on dry or hybrid                     the past 20 years, 500 million metric                 gradually decrease over an extended
                                                 cooling systems. Therefore, the EPA                     tons of CO2 moved through over 5,000                  period of time through 2039, subject to
                                                 considers the water use requirements to                 miles of CO2 pipelines with zero                      the commitments those units have
                                                 be manageable and does not expect this                  incidents involving fatalities.657                    chosen to adopt. Additionally, for the
                                                 consideration to preclude coal-fired                    PHMSA initiated a rulemaking in 2022                  long-term units applying CCS, the EPA
                                                 power plants generally from being able                  to develop and implement new                          has determined that the increase in the
                                                 to install and operate CCS.                             measures to strengthen its safety                     annualized cost of generation is
                                                                                                         oversight of supercritical CO2 pipelines.             reasonable. Therefore, the EPA
                                                 (D) CO2 Capture Plant Siting                            Furthermore, UIC Class VI and Class II                concludes that these elements of BSER
                                                    With respect to siting considerations,               regulations under the SDWA, in tandem                 can be implemented while maintaining
                                                 CO2 capture systems have a sizeable                     with GHGRP subpart RR and subpart VV                  a reliable electric grid. A broader
                                                 physical footprint and a consequent                     requirements, ensure the protection of                discussion of reliability impacts of these
                                                 land-use requirement. One commenter                     USDWs and the security of geologic                    final rules is available in section XII.F
                                                 cited their analysis showing that, for a                sequestration. The EPA believes these                 of this preamble.
                                                 subset of coal-fired sources greater than               protections constitute an effective
                                                 300 MW, 98 percent (154 GW of the                       framework for addressing potential                    iv. Extent of Reductions in CO2
                                                 existing fleet) have adjacent land                      health and environmental concerns                     Emissions
                                                 available within 1 mile of the facility,                related to CO2 transportation and                       CCS is an extremely effective
                                                 and 83 percent have adjacent land                       sequestration, and the EPA has taken                  technology for reducing CO2 emissions.
                                                 available within 100 meters of the                      this regulatory framework into                        As of 2021, coal-fired power plants are
                                                 facility. Furthermore, the cited analysis               consideration in determining that CCS                 the largest stationary source of GHG
                                                 did not include land available onsite,                  represents the BSER for long-term steam               emissions by sector. Furthermore,
                                                 and it is therefore possible there is even              EGUs.                                                 emission rates (lb CO2/MWh-gross) from
                                                 greater land availability for siting                                                                          coal-fired sources are almost twice those
                                                                                                         (F) Impacts on the Energy Sector
                                                 capture equipment. Qualitatively, some                                                                        of natural gas-fired combined cycle
                                                 commenters claimed there is limited                        Additionally, the EPA considered the               units, and sources operating in the long-
                                                 land available for siting CO2 capture                   impacts on the power sector, on a                     term have the more substantial
                                                 plants adjacent to coal-fired steam                     nationwide and long-term basis, of                    emissions potential. CCS can be applied
                                                 generating units. However, those                        determining CCS to be the BSER for                    to coal-fired steam generating units at
                                                 commenters provided no data or                          long-term coal-fired steam generating                 the source to reduce the mass of CO2
                                                 analysis to support their assertion. The                units. In this final action, the EPA                  emissions by 90 percent or more.
                                                 EPA has reviewed the analysis provided                  considers that designating CCS as the                 Increased steam and power demand
                                                 by the first commenter, and the                         BSER for these units would have limited               have a small impact on the reduction in
                                                 approach, methods, and assumptions                      and non-adverse impacts on the long-                  emission rate (i.e., lb CO2/MWh-gross)
                                                 are logical. Further, the EPA has                       term structure of the power sector or on              that occurs with 90 percent capture.
                                                 reviewed the available information,                     the reliability of the power sector.                  According to the 2016 NETL Retrofit
                                                 including the location of coal-fired                    Absent the requirements defined in this               report, 90 percent capture will result in
                                                 steam generating units and visual                       action, the EPA projects that 11 GW of                emission rates that are 88.4 percent
                                                 inspection of the associated maps and                   coal-fired steam generating units would               lower on a lb/MWh-gross basis and 87.1
                                                 plots. Although in some cases longer                    apply CCS by 2035 and an additional 30                percent lower on a lb/MWh-net basis
                                                 duct runs may be required, this would                   GW of coal-fired steam generating units,              compared to units without capture.658
                                                 not preclude coal-fired power plants                    without controls, would remain in                     After capture, CO2 can be transported
                                                 generally from being able to install and                operation in 2040. Designating CCS to                 and securely sequestered.659 Although
                                                 operate CCS. Therefore, the EPA has                     be the BSER for existing long-term coal-              steam generating units with CO2 capture
                                                 concluded that siting and land-use                      fired steam generating units may result               will have an incentive to operate at
                                                 requirements for CO2 capture are not                    in more of the coal-fired steam                       higher utilization because the cost to
                                                 unreasonable.                                           generating unit capacity applying CCS.                install the CCS system is largely fixed
                                                                                                         The time available before the                         and the IRC section 45Q tax credit
                                                 (E) Transport and Geologic                              compliance deadline of January 1, 2032,               increases based on the amount of CO2
                                                 Sequestration                                           provides for adequate resource                        captured and sequestered, any increase
                                                   As noted in section VII.C.1.a.i(C) of                 planning, including accounting for the                in utilization will be far outweighed by
                                                 this preamble, PHMSA oversight of                       downtime necessary to install the CO2                 the substantial reductions in emission
                                                 supercritical CO2 pipeline safety                       capture equipment at long-term coal-                  rate.
                                                 protects against environmental release                  fired steam generating units. For the 12-
                                                 during transport. The vast majority of                  year duration that eligible EGUs earn                 v. Promotion of the Development and
                                                 CO2 pipelines have been operating                       the IRC section 45Q tax credit, long-                 Implementation of Technology
                                                 safely for more than 60 years. PHMSA                    term coal-fired steam generating units                   The EPA considered the potential
                                                 reported a total of 102 CO2 pipeline                    are anticipated to run at or near base                impact on technology advancement of
                                                 incidents between 2003 and 2022, with                   load conditions in order to maximize                  designating CCS as the BSER for long-
                                                 one injury (requiring in-patient                        the amount of tax credit earned through               term coal-fired steam generating units,
                                                 hospitalization) and zero fatalities.656 In             IRC section 45Q. Total generation from                and in this final rule, the EPA considers
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                                                                                                         coal-fired steam generating units in the
                                                 ccsknowledge.com/pub/Publications/Shand_CCS_            medium-term subcategory would                           658 DOE/NETL–2016/1796. ‘‘Eliminating the

                                                 Feasibility_Study_Public_Report_Nov2018_(2021-                                                                Derate of Carbon Capture Retrofits.’’ May 31, 2016.
                                                 05-12).pdf.                                             pubs.naruc.org/pub/F1EECB6B-CD8A-6AD4-B05B-           https://www.netl.doe.gov/energy-analysis/
                                                   656 NARUC. (2023). Onshore U.S. Carbon Pipeline       E7DA0F12672E.                                         details?id=e818549c-a565-4cbc-94db-
                                                 Deployment: Siting, Safety. and Regulation.                657 Congressional Research Service. 2022. Carbon   442a1c2a70a9.
                                                 Prepared by Public Sector Consultants for the           Dioxide Pipelines: Safety Issues, CRS Reports, June     659 Intergovernmental Panel on Climate Change.

                                                 National Association of Regulatory Utility              3, 2022. https://crsreports.congress.gov/product/     (2005). Special Report on Carbon Dioxide Capture
                                                 Commissioners (NARUC). June 2023. https://              pdf/IN/IN11944.                                       and Storage.



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                                                 that designating CCS as the BSER will                   source standard for new coal-fired EGUs      With respect to costs, designs for 90
                                                 provide for meaningful advancement of                   in this action, the EPA is retaining the     percent capture in general take greater
                                                 CCS technology. As indicated above, the                 ability to propose review in the future.     advantage of economies of scale.
                                                 EPA’s IPM modeling indicates that 11                                                                 Eligibility for the IRC section 45Q tax
                                                                                                         vii. Requirement That Source Must
                                                 GW of coal-fired power plants install                                                                credit for existing EGUs requires design
                                                                                                         Transfer CO2 to an Entity That Reports
                                                 CCS and generate 76 terawatt-hours                                                                   capture rates equivalent to 75 percent of
                                                                                                         Under the Greenhouse Gas Reporting
                                                 (TWh) per year in the base case, and                                                                 a baseline emission rate by mass. Even
                                                                                                         Program
                                                 that another 8 GW of plants install CCS                                                              assuming partial capture rates meet that
                                                 and generate another 57 TWh per year                       The final rule requires that EGUs that    definition, lower capture rates would
                                                 in the policy case. In this manner, this                capture CO2 in order to meet the             receive fewer returns from the IRC
                                                 rule advances CCS technology more                       applicable emission standard report in       section 45Q tax credit (since these are
                                                 widely throughout the coal-fired power                  accordance with the GHGRP                    tied to the amount of carbon
                                                 sector. As discussed in section                         requirements of 40 CFR part 98,              sequestered, and all else being equal
                                                 VIII.F.4.c.iv(G) of this preamble, this                 including subpart PP. GHGRP subpart          lower capture rates would result in
                                                 rule advances CCS technology for new                    RR and subpart VV requirements               lower amounts of sequestered carbon)
                                                 combined cycle base load combustion                     provide the monitoring and reporting         and costs would thereby be higher.
                                                 turbines, as well. It is also likely that               mechanisms to quantify CO2 storage and
                                                 this rule supports advances in the                      to identify, quantify, and address           ii. Natural Gas Co-Firing
                                                 technology in other industries.                         potential leakage. Under existing            (A) Reasons Why Not Selected as BSER
                                                                                                         GHGRP regulations, sequestration wells
                                                 vi. Comparison With 2015 NSPS For                       permitted as Class VI under the UIC             As discussed in section VII.C.2, the
                                                 Newly Constructed Coal-Fired EGUs                       program are required to report under         EPA is determining 40 percent natural
                                                    In the 2015 NSPS, the EPA                            subpart RR. Facilities with UIC Class II     gas co-firing to qualify as the BSER for
                                                 determined that the BSER for newly                      wells that inject CO2 to enhance the         the medium-term subcategory of coal-
                                                 constructed coal-fired EGUs was based                   recovery of oil or natural gas can opt-in    fired steam generating units. This
                                                 on CCS with 16 to 23 percent capture,                   to reporting under subpart RR by             subcategory consists of units that will
                                                 based on the type of coal combusted,                    submitting and receiving approval for a      permanently cease operation by January
                                                 and consequently, the EPA promulgated                   monitoring, reporting, and verification      1, 2039. In making this BSER
                                                 standards of performance of 1,400 lb                    (MRV) plan. Subpart VV applies to            determination, the EPA analyzed the
                                                 CO2/MWh-g. 80 FR 64512 (table 1),                       facilities that conduct enhanced             ability of all existing coal-fired units—
                                                 64513 (October 23, 2015). The EPA                       recovery using ISO 27916 to quantify         not only medium-term units—to install
                                                 made those determinations based on the                  geologic storage unless they have opted      and operate 40 percent co-firing. As a
                                                 costs of CCS at the time of that                        to report under subpart RR. For this         result, all of the determinations
                                                 rulemaking. In general, those costs were                rule, if injection occurs on site, the EGU   concerning the criteria for BSER that the
                                                 significantly higher than at present, due               must report data accordingly under 40        EPA made for 40 percent co-firing apply
                                                 to recent technology cost declines as                   CFR part 98 subpart RR or subpart VV.        to all existing coal-fired units, including
                                                 well as related policies, including the                 If the CO2 is injected off site, the EGU     the units in the long-term subcategory.
                                                 IRC section 45Q tax credit for CCS,                     must transfer the captured CO2 to a          For example, 40 percent co-firing is
                                                 which were not available at that time for               facility that reports in accordance with     adequately demonstrated for the long-
                                                 purposes of consideration during the                    the requirements of 40 CFR part 98,          term subcategory, and has reasonable
                                                 development of the NSPS. Id. at 64562                   subpart RR or subpart VV. They may           energy requirements and reasonable
                                                 (table 8). Based on of these higher costs,              also transfer the captured CO2 to a          non-air quality environmental impacts.
                                                 the EPA determined that 16–23 percent                   facility that has received an innovative     It would also be of reasonable cost for
                                                 capture qualified as the BSER, rather                   technology waiver from the EPA.              the long-term subcategory. Although the
                                                 than a significantly higher percentage of                                                            capital expenditure for natural gas co-
                                                 capture. Given the substantial                          b. Options Not Determined To Be the          firing is lower than CCS, the variable
                                                 differences in the cost of CCS during the               BSER for Long-Term Coal-Fired Steam          costs are higher. As a result, the total
                                                 time of the 2015 NSPS and the present                   Generating Units                             costs of natural gas co-firing, in general,
                                                 time, the capture percentage of the 2015                   In this section, we explain why CCS       are higher on a $/ton basis and not
                                                 NSPS necessarily differed from the                      at 90 percent capture best balances the      substantially lower on a $/MWh basis,
                                                 capture percentage in this final action,                BSER factors and therefore why the EPA       than for CCS. Were co-firing the BSER
                                                 and, by the same token, the associated                  has determined it to be the best of the      for long-term units, the cost that
                                                 degree of emission limitation and                       possible options for the BSER.               industry would bear might then be
                                                 resulting standards of performance                                                                   considered similar to the cost for CCS.
                                                 necessarily differ as well. If the EPA had              i. Partial Capture CCS                       In addition, the GHG Mitigation
                                                 strong evidence to indicate that new                       Partial capture for CCS was not           Measures TSD shows that all coal-fired
                                                 coal-fired EGUs would be built, it would                determined to be BSER because the            units would be able to achieve the
                                                 propose to revise the 2015 NSPS to align                emission reductions are lower and the        requisite infrastructure build-out and
                                                 the BSER and emissions standards to                     costs would, in general, be higher. As       obtain sufficient quantities of natural
                                                 reflect the new information regarding                   discussed in section IV.B of this            gas to comply with standards of
                                                 the costs of CCS. Because there is no                   preamble, individual coal-fired power        performance based on 40 percent co-
                                                                                                         plants are by far the highest-emitting
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                                                 evidence to suggest that there are any                                                               firing by January 1, 2030.
                                                 firm plans to build new coal-fired EGUs                 plants in the nation, and the coal-fired        The EPA is not selecting 40 percent
                                                 in the future, however, it is not at                    power plant sector is higher-emitting        natural gas co-firing as the BSER for the
                                                 present a good use of the EPA’s limited                 than any other stationary source sector.     long-term subcategory, however,
                                                 resources to propose to update the new                  CCS at 90 percent capture removes very       because it requires substantially less
                                                 source standard to align with the                       high absolute amounts of emissions.          emission reductions at the unit-level
                                                 existing source standard finalized today.               Partial capture CCS would fail to            than 90 percent capture CCS. Natural
                                                 While the EPA is not revising the new                   capture large quantities of emissions.       gas co-firing at 40 percent of the heat


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                                                 input to the steam generating unit                      efficiency improvements as a matter of                 1930s 661 and has been used in a variety
                                                 achieves 16 percent reductions in                       best practices. For example, Boundary                  of industrial applications for decades.
                                                 emission rate at the stack, while CCS                   Dam Unit 3 made upgrades to the                        Thousands of miles of CO2 pipelines
                                                 achieves an 88.4 percent reduction in                   existing steam generating unit when                    have been constructed and securely
                                                 emission rate. As discussed in section                  CCS was installed, including installing                operated in the U.S. for decades.662 And
                                                 IV.B of this preamble, individual coal-                 a new steam turbine.660 However, the                   tens of millions of tons of CO2 have
                                                 fired power plants are by far the highest-              reductions from efficiency                             been permanently stored deep
                                                 emitting plants in the nation, and the                  improvements would not be additive to                  underground either for geologic
                                                 coal-fired power plant sector is higher-                the reductions from CCS because of the                 sequestration or in association with
                                                 emitting than any other stationary                      impact of the CO2 capture plant on the                 EOR.663 There are currently at least 15
                                                 source sector. Because the unit-level                   efficiency of source due to the required               operating CCS projects in the U.S., and
                                                 emission reductions achievable by CCS                   steam and electricity load of the capture              another 121 that are under construction
                                                 are substantially greater, and because                  plant.                                                 or in advanced stages of
                                                 CCS is of reasonable cost and matches                                                                          development.664 This broad application
                                                 up well against the other BSER criteria,                c. Conclusion                                          of CCS demonstrates the successful
                                                 the EPA did not determine natural gas                     Coal-fired EGUs remain the largest                   operation of all three components of
                                                 co-firing to be BSER for the long-term                  stationary source of dangerous CO2                     CCS, operating both independently and
                                                 subcategory although, under other                       emissions. The EPA is finalizing CCS at                simultaneously. Various CO2 capture
                                                 circumstances, it could be. Determining                 a capture rate of 90 percent as the BSER               methods are used in industrial
                                                 BSER requires the EPA to select the                     for long-term coal-fired steam generating              applications and are tailored to the flue
                                                 ‘‘best’’ of the systems of emission                     units because this system satisfies the                gas conditions of a particular industry
                                                 reduction that are adequately                           criteria for BSER as summarized here.                  (see the final TSD, GHG Mitigation
                                                 demonstrated, as described in section                   CCS at a capture rate of 90 percent as                 Measures for Steam Generating Units for
                                                 V.C.2; in this case, there are two systems              the BSER for long-term coal-fired steam                details). Of those capture technologies,
                                                 of emission reduction that match up                     generating units is adequately                         amine solvent-based capture has been
                                                 well against the BSER criteria, but based               demonstrated, as indicated by the facts                demonstrated for removal of CO2 from
                                                 on weighing the criteria together, and in               that it has been operated at scale, is                 the post-combustion flue gas of fossil
                                                 light of the substantially greater unit-                widely applicable to these sources, and                fuel-fired EGUs.
                                                 level emission reductions from CCS, the                 that there are vast sequestration                         Since 1978, an amine-based system
                                                 EPA has determined that CCS is a better                 opportunities across the continental                   has been used to capture approximately
                                                 system of emission reduction than co-                   U.S. Additionally, accounting for recent               270,000 metric tons of CO2 per year
                                                 firing for the long-term subcategory.                   technology cost declines as well as                    from the flue gas of the bituminous coal-
                                                    The EPA notes that if a state                                                                               fired steam generating units at the 63
                                                                                                         policies including the tax credit under
                                                 demonstrates that a long-term coal-fired                                                                       MW Argus Cogeneration Plant (Trona,
                                                                                                         IRC section 45Q, the costs for CCS are
                                                 steam generating unit cannot install and                                                                       California).665 Amine solvent capture
                                                                                                         reasonable. Moreover, any adverse non-
                                                 operate CCS and cannot otherwise                                                                               has been further demonstrated at coal-
                                                                                                         air quality health and environmental
                                                 reasonably achieve the degree of                                                                               fired power plants including AES’s
                                                                                                         impacts and energy requirements of
                                                 emission limitation that the EPA has                                                                           Warrior Run and Shady Point. And
                                                                                                         CCS, including impacts on the power
                                                 determined based on CCS, following the                                                                         since 2014, CCS has been applied at the
                                                                                                         sector on a nationwide basis, are limited
                                                 process the EPA has specified in its                                                                           commercial scale at Boundary Dam Unit
                                                                                                         and can be effectively avoided or
                                                 applicable regulations for consideration                                                                       3, a 110 MW lignite coal-fired steam
                                                                                                         mitigated. In contrast, co-firing 40
                                                 of RULOF, the state would evaluate                                                                             generating unit in Saskatchewan,
                                                                                                         percent natural gas would achieve far                  Canada.
                                                 natural gas co-firing as a potential basis
                                                                                                         fewer emission reductions without                         Impending increases in Canadian
                                                 for establishing a less stringent standard
                                                                                                         improving the cost reasonableness of the               regulatory CO2 emission requirements
                                                 of performance, as detailed in section
                                                                                                         control strategy.                                      have prompted optimization of
                                                 X.C.2 of this document.
                                                                                                           These considerations provide the                     Boundary Dam Unit 3 so that the facility
                                                 iii. Heat Rate Improvements                             basis for finalizing CCS as the best of the            now captures 83 percent of its total CO2
                                                    Heat rate improvements were not                      systems of emission reduction for long-                emissions. Moreover, from the flue gas
                                                 considered to be BSER for long-term                     term coal-fired power plants. In
                                                 steam generating units because the                      addition, determining CCS as the BSER                     661 Bottoms, R.R. Process for Separating Acidic

                                                 achievable reductions are very low and                  promotes advancements in control                       Gases (1930) United States patent application.
                                                                                                         technology for CO2, which is a relevant                United States Patent US1783901A; Allen, A.S. and
                                                 may result in a rebound effect whereby                                                                         Arthur, M. Method of Separating Carbon Dioxide
                                                 total emissions from the source increase,               consideration when establishing BSER                   from a Gas Mixture (1933) United States Patent
                                                 as detailed in section VII.D.4.a of this                under section 111 of the CAA.                          Application. United States Patent US1934472A.
                                                                                                                                                                   662 U.S. Department of Transportation, Pipeline
                                                 preamble.                                               i. Adequately Demonstrated
                                                    Comment: One commenter requested                                                                            and Hazardous Material Safety Administration,
                                                                                                                                                                ‘‘Hazardous Annual Liquid Data.’’ 2022. https://
                                                 that HRI be considered as BSER in                         CCS with 90 percent capture is                       www.phmsa.dot.gov/data-and-statistics/pipeline/
                                                 addition to CCS, so that long-term                      adequately demonstrated based on the                   gas-distribution-gas-gathering-gas-transmission-
                                                 sources would be required to achieve                    information in section VII.C.1.a.i of this             hazardous-liquids.
                                                                                                                                                                   663 US EPA. GHGRP. https://www.epa.gov/
                                                 reductions in emission rate consistent                  preamble. Solvent-based CO2 capture
                                                                                                                                                                ghgreporting/supply-underground-injection-and-
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                                                 with performing HRI and adding CCS                      was patented nearly 100 years ago in the               geologic-sequestration-carbon-dioxide.
                                                 with 90 percent capture to the source.                                                                            664 Carbon Capture and Storage in the United
                                                    Response: As described in section                       660 IEAGHG Report 2015–06. Integrated Carbon        States. CBO. December 13, 2023. https://
                                                 VII.D.4.a, the reductions from HRI are                  Capture and Storage Project at SaskPower’s             www.cbo.gov/publication/59345.
                                                 very low and many sources have already                  Boundary Dam Power Station. August 2015. https://         665 Dooley, J.J., et al. (2009). ‘‘An Assessment of

                                                                                                         ieaghg.org/publications/technical-reports/reports-     the Commercial Availability of Carbon Dioxide
                                                 made HRI, so that additional reductions                 list/9-technical-reports/935-2015-06-integrated-ccs-   Capture and Storage Technologies as of June 2009.’’
                                                 are not available. It is possible that a                project-at-saskpower-s-boundary-dam-power-             U.S. DOE, Pacific Northwest National Laboratory,
                                                 source installing CO2 capture will make                 station.                                               under Contract DE–AC05–76RL01830.



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                                                 treated, Boundary Dam Unit 3                            percent standard is achievable.670 And                  projects that even if this rule
                                                 consistently captured 90 percent or                     per Lignite Energy Council, the findings                determined 40 percent co-firing to be
                                                 more of the CO2 over a 3-year period.                   from Boundary Dam can be extrapolated                   the BSER for long-term coal, instead of
                                                 The adequate demonstration of CCS is                    to other, similarly operating power                     CCS, some additional units would
                                                 further corroborated by the EPAct05-                    plants, including natural gas plants.671                deploy CCS. Therefore, the costs of CCS
                                                 assisted 240MW-equivalent Petra Nova                       Transport of CO2 and geological                      with 90 percent capture are reasonable.
                                                 CCS project at the coal-fired W.A. Parish               storage of CO2 have also been
                                                 Unit 8, which achieved over 90 percent                  adequately demonstrated, as detailed in                 iii. Non-Air Quality Health and
                                                 capture from the treated flue gas during                VII.C.1.a.i(B)(7) and VII.C.1.a.i(D)(2).                Environmental Impacts and Energy
                                                 a 3-year period. Additionally, the                      CO2 has been transported through                        Requirements
                                                 technical improvements put in practice                  pipelines for over 60 years, and in the                   The CO2 capture plant requires
                                                 at Boundary Dam Unit 3 and Petra Nova                   past 20 years, 500 million metric tons of               substantial pre-treatment of the flue gas
                                                 can be put in place on new capture                      CO2 moved through over 5,000 miles of                   to remove SO2 and fly ash (PM) while
                                                 facilities during initial construction.                 CO2 pipelines. CO2 pipeline controls                    other controls and process designs are
                                                 This includes redundancies and                          and PHMSA standards ensure that
                                                 isolations for key equipment, and spray                                                                         necessary to minimize solvent
                                                                                                         captured CO2 will be securely conveyed
                                                 systems to limit fly ash carryover.                                                                             degradation and solvent loss. Although
                                                                                                         to a sequestration site. Due to the
                                                 Projects that have announced plans to                                                                           CCS has the potential to result in some
                                                                                                         proximity of sources to storage, it would
                                                 install CO2 capture directly include                                                                            increases in non-GHG emissions, a
                                                                                                         be feasible for most sources to build
                                                 these improvements in their design and                                                                          robust regulatory framework, generally
                                                                                                         smaller and shorter source-to-sink
                                                 employ new solvents achieving higher                                                                            implemented at the state level, is in
                                                                                                         laterals, rather than rely on a trunkline
                                                 capture rates that are commercially                                                                             place to mitigate other non-GHG
                                                                                                         network buildout. In addition to
                                                 available from technology providers. As                                                                         emissions from the CO2 capture plant.
                                                                                                         pipelines, CO2 can also be transported
                                                 a result, these projects target capture                                                                         For transport, pipeline safety is
                                                                                                         via vessel, highway, or rail. Geological
                                                 efficiencies of at least 95 percent, well                                                                       regulated by PHMSA, while UIC Class
                                                                                                         storage is proven and broadly available,
                                                 above the BSER finalized here.                          and of the coal-fired steam generating                  VI regulations under the SDWA, in
                                                    Precedent, building upon the                         units with planned operation during or                  tandem with GHGRP subpart RR
                                                 statutory text and context, has                         after 2030, 77 percent are within 40                    requirements, ensure the protection of
                                                 established that the EPA may make a                     miles of the boundary of a saline                       USDWs and the security of geologic
                                                 finding of adequate demonstration by                    reservoir.                                              sequestration. Therefore, the potential
                                                 drawing upon existing data from                            The EPA also considered the                          non-air quality health and
                                                 individual commercial-scale sources,                    timelines, materials, and workforce                     environmental impacts do not militate
                                                 including testing at these sources,666                  necessary for installing CCS, and                       against designating CCS as the BSER for
                                                 and that the agency may make                            determined they are sufficient.                         long-term steam EGUs. The EPA also
                                                 projections based on existing data to                                                                           considered energy requirements. While
                                                 establish a more stringent standard than                ii. Cost                                                the CO2 capture plant requires steam
                                                 has been regularly shown,667 in                            Process improvements have resulted                   and electricity to operate, the incentives
                                                 particular in cases when the agency can                 in a decrease in the projected costs to                 provided by the IRC section 45Q tax
                                                 specifically identify technological                     install CCS on existing coal-fired steam                credit will likely result in increased
                                                 improvements that can be expected to                    generating units. Additionally, the IRC                 total generation from the source.
                                                 achieve the standard in question.668                    section 45Q tax credit provides $85 per                 Therefore, the energy requirements are
                                                 Further, the EPA may extrapolate based                  metric ton ($77 per ton) of CO2. It is                  not unreasonable, and there would be
                                                 on testing at a particular kind of source               reasonable to account for the IRC                       limited, non-adverse impacts on the
                                                 to conclude that the technology at issue                section 45Q tax credit because the costs                broader energy sector.
                                                 will also be effective at a different,                  that should be accounted for are the
                                                 related, source.669 Following this legal                                                                        2. Medium-Term Coal-Fired Steam
                                                                                                         costs to the source. For the fleet of coal-
                                                 standard, the available data regarding                                                                          Generating Units
                                                                                                         fired steam generating units with
                                                 performance and testing at Boundary                     planned operation during or after 2033,                   The EPA is finalizing its conclusion
                                                 Dam, a commercial-scale plant, is                       and assuming a 12-year amortization
                                                 enough, by itself, to support the EPA’s                                                                         that 40 percent natural gas co-firing on
                                                                                                         period and 80 percent annual capacity                   a heat input basis is the BSER for
                                                 adequate demonstration finding for a 90                 factor and including source specific
                                                 percent standard. In addition to this,                                                                          medium-term coal-fired steam
                                                                                                         transport and storage costs, the average                generating units. Co-firing 40 percent
                                                 however, in the 9 years since Boundary                  total costs of CCS are ¥$5/ton of CO2
                                                 Dam began operating, operators and the                                                                          natural gas, on an annual average heat
                                                                                                         reduced and ¥$4/MWh. And even for                       input basis, results in a 16 percent
                                                 EPA have developed a clear                              shorter amortization periods, the $/
                                                 understanding of specific technological                                                                         reduction in CO2 emission rate. The
                                                                                                         MWh costs are comparable to or less                     technology has been adequately
                                                 improvements which, if implemented,                     than the costs for other controls
                                                 the EPA can reasonably expect to lead                                                                           demonstrated, can be implemented at
                                                                                                         ($10.60–$18.50/MWh) for a substantial                   reasonable cost, does not have
                                                 to a 90 percent capture rate on a regular               number of sources. Notably, the EPA’s
                                                 and ongoing basis. The D.C. Circuit has                                                                         significant adverse non-air quality
                                                                                                         IPM model projects that even without                    health and environmental impacts or
                                                 established that this information is more               this final rule—that is, in the base case,              energy requirements, including impacts
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                                                 than enough to establish that a 90                      without any CAA section 111                             on the energy sector, and achieves
                                                   666 See Essex Chem. Corp. v. Ruckelshaus, 486
                                                                                                         requirements—some units would                           meaningful reductions in CO2
                                                 F.2d 427 (D.C. Cir. 1973); Nat’l Asphalt Pavement       deploy CCS. Similarly, the IPM model                    emissions. Co-firing also advances
                                                 Ass’n v. Train, 539 F.2d 775 (D.C. Cir. 1976).
                                                   667 See id.                                             670 See, e.g., Essex Chem. Corp. v. Ruckelshaus,
                                                                                                                                                                 useful control technology, which
                                                   668 See Sierra Club v. Costle, 657 F.2d 298 (1981).   486 F.2d 427 (D.C. Cir. 1973); Sierra Club v. Costle,   provides additional, although not
                                                   669 Lignite Energy Council v. EPA, 198 F.3d 930       657 F.2d 298 (1981).                                    essential, support for treating it as the
                                                 (D.C. Cir. 1999).                                         671 198 F.3d 930 (D.C. Cir. 1999).                    BSER.


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                                                 a. Rationale for the Medium-Term Coal-                  (80 FR 56627; September 18, 2015). Co-                fired steam generating units intend to
                                                 Fired Steam Generating Unit                             firing is also cost-reasonable for sources            cease operation in the near term affects
                                                 Subcategory                                             permanently ceasing operations sooner,                what controls are ‘‘best’’ for different
                                                    For the development of the emission                  and that therefore have a shorter                     subcategories.674 At the outset,
                                                 guidelines, the EPA first considered                    amortization period. As discussed in                  installation of emission control
                                                 CCS as the BSER for existing coal-fired                 section VII.B.2 of this preamble, with a              technology takes time, sometimes
                                                 steam generating units. CCS generally                   two-year amortization period, many                    several years. Whether the costs of
                                                 achieves significant emission reductions                units can co-fire with meaningful                     control are reasonable depends in part
                                                 at reasonable cost. Typically, in setting               amounts of natural gas at reasonable                  on the period of time over which the
                                                 the BSER, the EPA assumes that                          cost. Of course, even more can co-fire at             affected sources can amortize those
                                                 regulated units will continue to operate                reasonable costs with amortization                    costs. Sources that have shorter
                                                 indefinitely. However, that assumption                  periods longer than two years. For                    operating horizons will have less time to
                                                 is not appropriate for all coal-fired                   example, the EPA has determined that                  amortize capital costs. Thus, the
                                                 steam generating units. 62 percent of                   33 percent of sources with an                         annualized cost of controls may thereby
                                                 existing coal-fired steam generating                    amortization period of at least three                 be less comparable to the costs the EPA
                                                 units greater than 25 MW have already                   years have costs for 40 percent co-firing             has previously determined to be
                                                 announced that they will retire or                      below both of the $/ton and $/MWh                     reasonable.675
                                                 convert from coal to gas by 2039.672 CCS                metrics, and 68 percent of those sources                 In addition, subcategorizing by length
                                                 is capital cost-intensive, entailing a                  have costs for 20 percent co-firing below             of period of continued operation is
                                                 certain period to amortize the capital                  both of those metrics. Therefore,                     similar to two other bases for
                                                 costs. Therefore, the EPA evaluated the                 recognizing that operating horizon                    subcategorization on which the EPA has
                                                 costs of CCS for different amortization                 affects the cost reasonableness of                    relied in prior rules, each of which
                                                 periods, as detailed in section                         controls, the EPA is finalizing a separate            implicates the cost reasonableness of
                                                 VII.C.1.a.ii of the preamble, and                       subcategory for coal-fired steam                      controls: The first is load level, noted in
                                                 determined that CCS was cost                            generating units operating in the                     section V.C.1. of this preamble. For
                                                 reasonable, on average, for sources                     medium-term—those demonstrating that
                                                 operating more than 7 years after the                   they plan to permanently cease                           674 The EPA recognizes that section 111(d)

                                                                                                         operation after December 31, 2031, and                provides that in applying standards of performance,
                                                 compliance date of January 1, 2032.                                                                           a state may take into account, among other factors,
                                                 Accordingly, units that cease operating                 before January 1, 2039—with 40 percent                the remaining useful life of a facility. The EPA
                                                 before January 1, 2039, will generally                  natural gas co-firing as the BSER.                    believes that provision is intended to address
                                                                                                                                                               exceptional circumstances at particular facilities,
                                                 have less time to amortize the capital                  i. Legal Basis for Establishing the                   while the EPA has the responsibility to determine
                                                 costs, and the costs for those sources                  Medium-Term Subcategory                               how to address the source category as a whole. See
                                                 would be higher and thereby less                                                                              88 FR 80480, 80511 (November 17, 2023) (‘‘Under
                                                                                                            As noted in section V.C.1 of this                  CAA 111, EPA must provide BSER and degree of
                                                 comparable to those the EPA has                         preamble, the EPA has broad authority                 emission limitation determinations that are, to the
                                                 previously determined to be reasonable.                 under CAA section 111(d) to identify                  extent reasonably practicable, applicable to all
                                                 Considering this, and the other factors                 subcategories. As also noted in section               designated facilities in the source category. In many
                                                 evaluated in determining BSER, the EPA                                                                        cases, this requires the EPA to create subcategories
                                                                                                         V.C.1, the EPA’s authority to                         of designated facilities, each of which has a BSER
                                                 is not finalizing CCS as BSER for units                 ‘‘distinguish among classes, types, and               and degree of emission limitation tailored to its
                                                 demonstrating that they plan to                         sizes within categories,’’ as provided                circumstances. . . . However, as Congress
                                                 permanently cease operation prior to                    under CAA section 111(b)(2) and as we                 recognized, this may not be possible in every
                                                 January 1, 2039.                                                                                              instance because, for example, it is not be feasible
                                                                                                         interpret CAA section 111(d) to provide               [sic] for the Agency to know and consider the
                                                    Instead, the EPA is subcategorizing                  as well, generally allows the Agency to               idiosyncrasies of every designated facility or
                                                 these units into the medium-term                        place types of sources into subcategories             because the circumstances of individual facilities
                                                 subcategory and finalizing a BSER based                 when they have characteristics that are               change after the EPA determined the BSER.’’)
                                                 on 40 percent natural gas co-firing on a                                                                      (internal citations omitted). That a state may take
                                                                                                         relevant to the controls that the EPA                 into account the remaining useful life of an
                                                 heat input basis for these units. Co-                   may determine to be the BSER for those                individual source, however, does not bar the EPA
                                                 firing natural gas at 40 percent has                    sources. One element of the BSER is                   from considering operating horizon as a factor in
                                                 significantly lower capital costs than                  cost reasonableness. See CAA section                  determining whether subcategorization is
                                                 CCS and can be implemented by                                                                                 appropriate. As discussed, the authority to
                                                                                                         111(d)(1) (requiring the EPA, in setting              subcategorize is encompassed within the EPA’s
                                                 January 1, 2030. For sources that expect                the BSER, to ‘‘tak[e] into account the                authority to identify the BSER. Here, where many
                                                 to continue in operation until January 1,               cost of achieving such reduction’’). As               units share similar characteristics and have
                                                 2039, and that therefore have a 9-year                  noted in section V, the EPA’s                         announced intended shorter operating horizons, it
                                                 amortization period, the costs of 40                                                                          is permissible for the EPA to take operating horizon
                                                                                                         longstanding regulations under CAA                    into account in determining the BSER for this
                                                 percent co-firing are $73/ton of CO2                    section 111(d) explicitly recognize that              subcategory of sources. States may continue to take
                                                 reduced or $13/MWh of generation,                       subcategorizing may be appropriate for                RULOF factors into account for particular units
                                                 which supports their reasonableness                     sources based on the ‘‘costs of                       where the information relevant to those units is
                                                 because they are comparable to or less                                                                        fundamentally different than the information the
                                                                                                         control.’’ 673 Subcategorizing on the                 EPA took into account in determining the degree of
                                                 than the costs detailed in section                      basis of operating horizon is consistent              emission limitation achievable through application
                                                 VII.C.1.a.ii(D) of this preamble for other              with a key characteristic of the coal-                of the BSER. Should a court conclude that the EPA
                                                 controls on EGUs ($10.60 to $18.50/                     fired power industry that is relevant for             does not have the authority to create a subcategory
                                                 MWh) and for GHGs for the Crude Oil                                                                           based on the date at which units intend to cease
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                                                                                                         determining the cost reasonableness of                operation, then the EPA believes it would be
                                                 and Natural Gas source category in the                  control requirements: A large percentage              reasonable for states to consider co-firing as an
                                                 2016 NSPS of $98/ton of CO2e reduced                    of the sources in the industry have                   alternative to CCS as an option for these units
                                                                                                         already announced, and more are                       through the states’ authority to consider, among
                                                   672 U.S. Environmental Protection Agency.                                                                   other factors, remaining useful life.
                                                                                                         expected to announce, dates for ceasing
                                                 National Electric Energy Data System (NEEDS) v7.                                                                 675 Steam Electric Reconsideration Rule, 85 FR

                                                 December 2023. https://www.epa.gov/power-sector-        operation, and the fact that many coal-               64650, 64679 (October 13, 2020) (distinguishes
                                                 modeling/national-electric-energy-data-system-                                                                between EGUs retiring before 2028 and EGUs
                                                 needs.                                                   673 40 CFR 60.22(b)(5), 60.22a(b)(5).                remaining in operation after that time).



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                                                 example, in the 2015 NSPS, the EPA                          As noted above, creating a                 commenters opposed these proposed
                                                 divided new natural gas-fired                            subcategory on the basis of operating         subcategories. They argued that the
                                                 combustion turbines into the                             horizon does not preclude a state from        subcategories were designed to force
                                                 subcategories of base load and non-base                  considering RULOF in applying a               coal-fired power plants to retire.
                                                 load. 80 FR 64602 (table 15) (October                    standard of performance to a particular          Response: We disagree with
                                                 23, 2015). The EPA did so because the                    source. The EPA’s authority to set BSER       comments suggesting that the
                                                 control technologies that were ‘‘best’’—                 for a source category (including              subcategories for existing coal-fired
                                                 including consideration of feasibility                   subcategories) and a state’s authority to     steam EGUs that the EPA has finalized
                                                 and cost reasonableness—depended on                      invoke RULOF for individual sources           in this rule were designed to force
                                                 how much the unit operated. The load                     within a category or subcategory are          retirements. The subcategories were not
                                                 level, which relates to the amount of                    distinct. The EPA’s statutory obligation      designed for that purpose, and the
                                                 product produced on a yearly or other                    is to determine a generally applicable        commenters do not explain their
                                                 basis, bears similarity to a limit on a                  BSER for a source category, and where         allegations to the contrary. The
                                                 period of continued operation, which                     that source category encompasses              subcategories were designed, at
                                                 concerns the amount of time remaining                    different classes, types, or sizes of         industry’s request,677 to ensure that
                                                 to produce the product. In both cases,                   sources, to set generally applicable          subcategories of units that can feasibly
                                                 certain technologies may not be cost-                    BSERs for subcategories accounting for        and cost-reasonably employ emissions
                                                 reasonable because of the capacity to                    those differences. By contrast, states’       reduction technologies—and only those
                                                 produce product—i.e., the costs are                      authority to invoke RULOF is premised         subcategories of units that can do so—
                                                 spread over less product produced.                       on the state’s ability to take into account   are required to reduce their emissions
                                                 Subcategorization on this basis is also                  information relevant to individual units      commensurate with those technologies.
                                                 supported by how utilities manage their                  that is fundamentally different than the      As explained above, in determining the
                                                 assets over the long term, and was                       information the EPA took into account         BSER, the EPA generally assumes that a
                                                 widely supported by industry                             in determining BSER generally. As             source will operate indefinitely, and
                                                 commenters.                                              noted, the EPA may subcategorize on           calculates expected control costs on that
                                                   The second basis for                                   the basis of cost of controls, and            basis. Under that assumption, the BSER
                                                 subcategorization on which EPA has                       operating horizon may factor into the         for existing fossil-fuel fired EGUs is
                                                 previously relied is fuel type, as also                  cost of controls. Moreover, through           CCS. Nevertheless, the EPA recognizes
                                                 noted in section V.C.1 of this preamble.                 section 111(d)(1), Congress also required     that many fossil-fuel fired EGUs have
                                                 The 2015 NSPS provides an example of                     the EPA to develop regulations that           already announced plans to cease
                                                 this type of subcategorization as well.                  permit states to consider ‘‘among other       operation. In recognition of this unique,
                                                 There, the EPA divided new combustion                    factors, the remaining useful life’’ of a     distinguishing factor, the EPA
                                                 turbines into subcategories on the basis                 particular existing source. The EPA has       determined whether a different BSER
                                                 of type of fuel combusted. Id.                           interpreted these other factors to            would be appropriate for fossil fuel-
                                                 Subcategorizing on the basis of the type                 include costs or technical feasibility        fired EGUs that do not intend to operate
                                                 of fuel combusted may be appropriate                     specific to a particular source, even         over the long term, and concluded, for
                                                                                                          though these are factors the EPA itself       the reasons stated above, that natural
                                                 when different controls have different
                                                                                                          considers in setting the BSER. In other       gas co-firing was appropriate for these
                                                 costs, depending on the type of fuel, so
                                                                                                          words, the factors the EPA may consider       sources that intended to cease operation
                                                 that the cost reasonableness of the
                                                                                                          in setting the BSER and the factors the       before 2039. This subcategory is not
                                                 control depends on the type of fuel. In
                                                                                                          states may consider in applying               intended to force retirements, and the
                                                 that way, it is similar to subcategorizing
                                                                                                          standards of performance are not              EPA is not directing any state or any
                                                 by operating horizon because in both
                                                                                                          distinct. As noted above, the EPA is          unit as to the choice of when to cease
                                                 cases, the subcategory is based upon the
                                                                                                          finalizing these subcategories in             operation. Rather, the EPA has created
                                                 cost reasonableness of controls.
                                                                                                          response to requests by power sector          this subcategory to accommodate these
                                                 Subcategorizing by operating horizon is
                                                                                                          representatives that this rule                sources’ intended operation plans. In
                                                 also tantamount to the length of time                    accommodate the fact that there is a
                                                 over which the source will continue to                                                                 fact, a number of industry commenters
                                                                                                          class of sources that plan to voluntarily     specifically requested and supported
                                                 combust the fuel. Subcategorizing on                     cease operations in the near term.
                                                 this basis may be appropriate when                                                                     subcategories based on retirement dates
                                                                                                          Although the EPA has designed the             in recognition of the reality that many
                                                 different controls for a particular fuel                 subcategories to accommodate those
                                                 have different costs, depending on the                                                                 operators are choosing to retire these
                                                                                                          requests, a particular source may still       units and that whether or not a control
                                                 length of time when the fuel will                        present source-specific considerations—
                                                 continue to be combusted, so that the                                                                  technology is feasible and cost-
                                                                                                          whether related to its remaining useful       reasonable depends upon how long a
                                                 cost reasonableness of controls depends                  life or other factors—that the state may
                                                 on that timeframe. Some prior EPA rules                                                                unit intends to operate.
                                                                                                          consider relevant for the application of         Specifically, as noted in section VII.B
                                                 for coal-fired sources have made explicit                that particular source’s standard of
                                                 the link between length of time for                                                                    of this preamble, in this final action, the
                                                                                                          performance, and that the state should
                                                 continued operation and type of fuel                     address as described in section X.C.2 of         677 As described in the proposal, during the early
                                                 combusted by codifying federally                         this preamble.                                engagement process, industry stakeholders
                                                 enforceable retirement dates as the dates                                                              requested that the EPA ‘‘[p]rovide approaches that
                                                 by which the source must ‘‘cease                         ii. Comments Received on Existing Coal-       allow for the retirement of units as opposed to
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                                                 burning coal.’’ 676                                      Fired Subcategories                           investments in new control technologies, which
                                                                                                                                                        could prolong the lives of higher-emitting EGUs;
                                                                                                             Comment: The EPA received several          this will achieve maximum and durable
                                                   676 See 79 FR 5031, 5192 (January 30, 2014)            comments on the proposed                      environmental benefits.’’ Industry stakeholders also
                                                 (explaining that ‘‘[t]he construction permit issued      subcategories for coal-fired steam            suggested that the EPA recognize that some units
                                                 by Wyoming requires Naughton Unit 3 to cease                                                           may remain operational for a several-year period
                                                 burning coal by December 31, 2017, and to be
                                                                                                          generating units. Many commenters,            but will do so at limited capacity (in part to assure
                                                 retrofitted to natural gas as its fuel source by June    including industry commenters,                reliability), and then voluntarily cease operations
                                                 30, 2018’’ (emphasis added)).                            supported these subcategories. Some           entirely. 88 FR 33245 (May 23, 2023).



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                                                 medium-term subcategory includes a                      with the emissions stringency of either        modifications, including, for example,
                                                 date for permanently ceasing operation,                 the proposed medium term or imminent           new fuel supply lines and modifications
                                                 which applies to coal-fired plants                      term subcategory—commenters                    to existing air ducts. The introduction of
                                                 demonstrating that they plan to                         requested greater flexibility for the near-    natural gas as a fuel can reduce boiler
                                                 permanently cease operating after                       term subcategory. Other comments from          efficiency slightly, due in large part to
                                                 December 31, 2031, and before January                   NGOs and other groups suggested                the relatively high hydrogen content of
                                                 1, 2039. The EPA is retaining this                      various other changes to the subcategory       natural gas. However, since the
                                                 subcategory because 55 percent of                       definitions. One commenter requested           reduction in coal can result in reduced
                                                 existing coal-fired steam generating                    moving the cease-operation-by date for         auxiliary power demand, the overall
                                                 units greater than 25 MW have already                   the medium-term subcategory up to              impact on net heat rate can range from
                                                 announced that they will retire or                      January 1, 2038, while eliminating the         a 2 percent increase to a 2 percent
                                                 convert from coal to gas by January 1,                  imminent-term subcategory and                  decrease.
                                                 2039.678 Accordingly, the costs of CCS—                 extending the near-term subcategory to            It is common practice for steam
                                                 the high capital costs of which require                 January 1, 2038.                               generating units to have the capability
                                                 a lengthy amortization period from its                     Response: The EPA is not finalizing         to burn multiple fuels onsite, and of the
                                                 January 1, 2032, implementation date—                   the proposed imminent-term or near-            565 coal-fired steam generating units
                                                 are higher than the traditional metric for              term subcategories. The EPA is                 operating at the end of 2021, 249 of
                                                 cost reasonableness for these sources.                  finalizing an applicability exemption for      them reported consuming natural gas as
                                                 As discussed in section VII.C.2 of this                 sources demonstrating that they plan to        a fuel or startup source. Coal-fired steam
                                                 preamble, the BSER for these sources is                 permanently cease operation prior to           generating units often use natural gas or
                                                 co-firing 40 percent natural gas. This is               January 1, 2032, as detailed in section        oil as a startup fuel, to warm the units
                                                 because co-firing, which has an                         VII.B of this preamble. The EPA is             up before running them at full capacity
                                                 implementation date of January 1, 2030,                 finalizing the cease operating by date of      with coal. While startup fuels are
                                                 has lower capital costs and is therefore                January 1, 2039, for medium-term coal-         generally used at low levels (up to
                                                 cost-reasonable for sources continuing                  fired steam generating units. These            roughly 1 percent of capacity on an
                                                 to operate on or after January 1, 2032.                 dates are all based on costs of co-firing      annual average basis), some coal-fired
                                                 It is further noted that this subcategory               and CCS, driven by their amortization          steam generating units have co-fired
                                                 is elective. Furthermore, states also have              periods, as discussed in the preceding         natural gas at considerably higher
                                                 the authority to establish a less stringent             sections of this preamble.                     shares. Based on hourly reported CO2
                                                 standard through RULOF in the state                                                                    emission rates from the start of 2015
                                                 plan process, as detailed in section                    b. Rationale for Natural Gas Co-Firing as      through the end of 2020, 29 coal-fired
                                                 X.C.2 of this preamble.                                 the BSER for Medium-Term Coal-Fired            steam generating units co-fired with
                                                    In sum, these emission guidelines do                 Steam Generating Units                         natural gas at rates at or above 60
                                                 not require any coal-fired steam EGU to                    In this section of the preamble, the        percent of capacity on an hourly
                                                 retire, nor are they intended to induce                 EPA describes its rationale for natural        basis.680 The capability of those units on
                                                 retirements. Rather, these emission                     gas co-firing as the final BSER for            an hourly basis is indicative of the
                                                 guidelines simply set forth presumptive                 medium-term coal-fired steam                   extent of boiler burner modifications
                                                 standards that are cost-reasonable and                  generating units.                              and sizing and capacity of natural gas
                                                 achievable for each subcategory of                         For a coal-fired steam generating unit,     pipelines to those units, and implies
                                                 existing coal-fired steam EGUs. See                     the substitution of natural gas for some       that those units are technically capable
                                                 section VII.E.1 of this preamble                        of the coal, so that the unit fires a          of co-firing at least 60 percent natural
                                                 (responding to comments that this rule                  combination of coal and natural gas, is        gas on a heat input basis on average over
                                                 violates the major questions doctrine).                 known as ‘‘natural gas co-firing.’’ The        the course of an extended period (e.g.,
                                                    Comment: The EPA broadly solicited                   EPA is finalizing natural gas co-firing at     a year). Additionally, during that same
                                                 comment on the dates and values                         a level of 40 percent of annual heat           2015 through 2020 period, 29 coal-fired
                                                 defining the proposed subcategories for                 input as BSER for medium-term coal-            steam generating units co-fired natural
                                                 coal-fired steam generating units.                      fired steam generating units.                  gas at over 40 percent on an annual heat
                                                 Regarding the proposed dates for the                                                                   input basis. Because of the number of
                                                 subcategories, one industry stakeholder                 i. Adequately Demonstrated                     units that have demonstrated co-firing
                                                 commented that the ‘‘EPA’s proposed                        The EPA is finalizing its                   above 40 percent of heat input, the EPA
                                                 retirement dates for applicability of the               determination that natural gas co-firing       is finalizing that co-firing at 40 percent
                                                 various subcategories are appropriate                   at the level of 40 percent of annual heat      is adequately demonstrated. A more
                                                 and broadly consistent with system                      input is adequately demonstrated for           detailed discussion of the record of
                                                 reliability needs.’’ 679 More specifically,             coal-fired steam generating units. Many        natural gas co-firing, including current
                                                 industry commenters requested that the                  existing coal-fired steam generating           trends, at coal-fired steam generating
                                                 cease-operation-by date for the                         units already use some amount of               units is included in the final TSD, GHG
                                                 imminent-term subcategory be changed                    natural gas, and several have co-fired at      Mitigation Measures for Steam
                                                 from January 1, 2032, to January 1, 2033.               relatively high levels at or above 40          Generating Units.
                                                 Industry commenters also stated that the                percent of heat input in recent years.         (B) Natural Gas Pipeline Development
                                                 20 percent utilization limit in the
                                                                                                         (A) Boiler Modifications                          In addition to any potential boiler
                                                 definition of the near-term subcategory
                                                                                                           Existing coal-fired steam generating         modifications, the supply of natural gas
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                                                 was overly restrictive and inconsistent
                                                                                                         units can be modified to co-fire natural       is necessary to enable co-firing at
                                                   678 U.S. Environmental Protection Agency.             gas in any desired proportion with coal,       existing coal-fired steam boilers. As
                                                 National Electric Energy Data System (NEEDS) v7.        up to 100 percent natural gas. Generally,
                                                 December 2023. https://www.epa.gov/power-sector-        the modification of existing boilers to           680 U.S. Environmental Protection Agency (EPA).
                                                 modeling/national-electric-energy-data-system-                                                         ‘‘Power Sector Emissions Data.’’ Washington, DC:
                                                 needs.                                                  enable or increase natural gas firing          Office of Atmospheric Protection, Clean Air
                                                   679 See Document ID No. EPA–HQ–OAR–2023–              typically involves the installation of         Markets Division. Available from EPA’s Air Markets
                                                 0072–0772.                                              new gas burners and related boiler             Program Data website: https://campd.epa.gov.



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                                                 discussed in the previous section, many                 the amount of natural gas co-firing                     Approximately $5 to $10 billion
                                                 plants already have at least some access                expected under the final rule.681                       annually is expected to be invested in
                                                 to natural gas. In order to increase                       Most of these individual laterals are                natural gas pipelines through 2035. This
                                                 natural gas access beyond current levels,               less than 15 miles in length. The                       report also projects that an average of
                                                 plants may find it necessary to construct               maximum aggregate amount of pipeline                    over 1,400 miles of new natural gas
                                                 natural gas supply pipelines.                           capacity, if all coal-fired steam capacity              pipeline will be built through 2035,
                                                                                                         that could be included in the medium-                   which is similar to the approximately
                                                    The U.S. natural gas pipeline network                term subcategory (i.e., all capacity that               1,670 miles that were built on average
                                                 consists of approximately 3 million                     has not announced that it plans to retire               from 2013 to 2017. These values are
                                                 miles of pipelines that connect natural                 by 2032) implemented the final BSER by                  consistent with the average annual
                                                 gas production with consumers of                        co-firing 40 percent natural gas, would                 expenditure of $5.75 billion on less than
                                                 natural gas. To increase natural gas                    be comparable to pipeline capacity                      1,800 miles per year of new pipeline
                                                 consumption at a coal-fired boiler                      constructed recently. The EPA estimates                 construction that would be necessary for
                                                 without sufficient existing natural gas                 that this maximum total capacity would                  the entire operational fleet of existing
                                                 access, it is necessary to connect the                  be nearly 14.7 billion cubic feet per day,              coal-fired steam generating units to co-
                                                 facility to the natural gas pipeline                    which would require about 3,500 miles                   fire with natural gas. The actual
                                                 transmission network via the                            of pipeline costing roughly $11.5                       pipeline investment for this subcategory
                                                 construction of a lateral pipeline. The                 billion. Over 2 years,682 this maximum                  would be substantially lower.
                                                 cost of doing so is a function of the total             total incremental pipeline capacity
                                                                                                         would amount to less than 1,800 miles                   (C) Compliance Date for Medium-Term
                                                 necessary pipeline capacity (which is
                                                                                                         per year, with a total annual capacity of               Coal-Fired Steam Generating Units
                                                 characterized by the length, size, and
                                                 number of laterals) and the location of                 roughly 7.35 billion cubic feet per day.                   The EPA is finalizing a compliance
                                                 the plant relative to the existing                      This represents an estimated annual                     date for medium-term coal-fired steam
                                                                                                         investment of approximately $5.75                       generating units of January 1, 2030.
                                                 pipeline transmission network. The EPA
                                                                                                         billion per year in capital expenditures,                  As in the timeline for CCS for the long
                                                 estimated the costs associated with
                                                                                                         on average. By comparison, based on                     term coal-fired steam generating units
                                                 developing new lateral pipeline                         data collected by EIA, the total annual                 described in section VII.C.1.a.i(E), the
                                                 capacity sufficient to meet 60 percent of               mileage of natural gas pipelines                        EPA assumes here that feasibility work
                                                 the net summer capacity at each coal-                   constructed over the 2017–2021 period                   occurs during the state plan
                                                 fired steam generating unit that could be               ranged from approximately 1,000 to                      development period, and that all
                                                 included in this subcategory. As                        2,500 miles per year, with a total annual               subsequent work occurs after the state
                                                 discussed in the final TSD, GHG                         capacity of 10 to 25 billion cubic feet                 plan is submitted and thereby effective
                                                 Mitigation Measures for Steam                           per day. This represents an estimated                   at the state level. The EPA assumes 12
                                                 Generating Units, the EPA estimates that                annual investment of up to nearly $15                   months of feasibility work for the
                                                 this lateral capacity would be sufficient               billion. The upper end of these                         natural gas pipeline lateral and 6
                                                 to enable each unit to achieve 40                       historical annual values is much higher                 months of feasibility work for boiler
                                                 percent natural gas co-firing on an                     than the maximum annual values that                     modifications (both to occur over June
                                                 annual average basis.                                   could be expected under this final BSER                 2024 to June 2025). As with the
                                                    The EPA considered the availability                  measure—which, as noted above,                          feasibility analysis for CCS, the
                                                                                                         represent a conservative estimate that                  feasibility analysis for co-firing will
                                                 of the upstream natural gas pipeline
                                                                                                         significantly overstates the amount of                  inform the state plan and therefore it is
                                                 capacity to satisfy the assumed co-firing               co-firing that the EPA projects would
                                                 demand implied by these new laterals.                                                                           reasonable to assume units will perform
                                                                                                         occur under this final rule.                            it during the state planning window.
                                                 This analysis included pipeline                            These conservatively high estimates                  Feasibility for the pipeline includes a
                                                 development at all EGUs that could be                   of pipeline requirements also compare                   right-of-way and routing analysis.
                                                 included in this subcategory, including                 favorably to industry projections of                    Feasibility for the boiler modifications
                                                 those without announced plans to cease                  future pipeline capacity additions.                     includes conceptual studies and design
                                                 operating before January 1, 2039. The                   Based on a review of a 2018 industry                    basis.
                                                 EPA’s assessment reviewed the                           report, titled ‘‘North America Midstream                   The timeline for the natural gas
                                                 reasonableness of each assumed new                      Infrastructure through 2035: Significant                pipeline permitting and construction is
                                                 lateral by determining whether the peak                 Development Continues,’’ investment in                  based on a review of recently completed
                                                 gas capacity of that lateral could be                   midstream infrastructure development                    permitting approvals and
                                                 satisfied without modification of the                   is expected to range between $10 to $20                 construction.683 The average time to
                                                 transmission pipeline systems to which                  billion per year through 2035.                          complete permitting and approval is
                                                 it is assumed to be connected. This                                                                             less than 1.5 years, and the average time
                                                                                                            681 In practice, not all sources would necessarily
                                                 analysis found that most, if not all,                                                                           to complete actual construction is less
                                                                                                         be subject to a natural gas co-firing BSER in
                                                 existing pipeline systems are currently                 compliance. E.g., some portion of that population       than 1 year. Of the 31 reviewed pipeline
                                                 able to meet the peak needs implied by                  of sources could install CCS, so the resulting          projects, the vast majority (27 projects)
                                                 these new laterals in aggregate,                        amount of natural gas co-firing would be less.          took less than a total of 3 years for
                                                                                                            682 The average time for permitting for a natural
                                                 assuming that each existing coal-fired                                                                          permitting and construction, and none
                                                                                                         gas pipeline lateral is 1.5 years, and many sources
                                                 unit in the analysis co-fired with natural              could be permitted faster (about 1 year) so that it     took more than 3.5 years. Therefore, it
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                                                 gas at a level implied by these new                     is reasonable to assume that many sources could         is reasonable to assume that permitting
                                                 laterals, or 60 percent of net summer                   begin construction by June 2027. The average time       and construction would take no more
                                                                                                         for construction of an individual pipeline is about     than 3 years for most sources (June 2026
                                                 generating capacity. While this is a                    1 year or less. Considering this, the EPA assumes
                                                 reasonable assumption for the analysis                  construction of all of the natural gas pipeline         to June 2029), noting that permitting
                                                 to support this mitigation measure in                   laterals in the analysis occurs over a 2-year period
                                                                                                         (June 2027 through June 2029), and notes that in          683 Documentation for the Lateral Cost Estimation
                                                 the BSER context, it is also a                          practice some of these projects could be constructed    (2024), ICF International. Available in Docket ID
                                                 conservative assumption that overstates                 outside of this period.                                 EPA–HQ–OAR–2023–0072.



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                                                 and construction for many sources                       potential to decrease, the EPA does not        natural gas transmission pipelines as
                                                 would be faster.                                        anticipate a significant increase in           well as the available excess capacity of
                                                    The timeline for boiler modifications                impact on FOM costs related to co-firing       each of those existing pipelines.
                                                 based on the baseline duration co-firing                with natural gas.                                 The EPA determined the costs of 40
                                                 conversion project schedule developed                      In addition to capital and FOM cost         percent co-firing based on the fleet of
                                                 by Sargent and Lundy.684 The EPA                        impacts, any additional natural gas co-        coal-fired steam generating units that
                                                 assumes that, with the exception of the                 firing would result in incremental costs       existed in 2021 and that do not have
                                                 feasibility studies discussed above,                    related to the differential in fuel cost,      known plans to cease operations or
                                                 work on the boiler modifications begins                 taking into consideration the difference       convert to gas by 2032, and assuming
                                                 after the state plan submission due date.               in delivered coal and gas prices, as well      that each of those units continues to
                                                 The EPA also assumes permitting for the                 as any potential impact on the overall         operate at the same level as it operated
                                                 boiler modifications is required and                    net heat rate. The EPA’s reference case        over 2017–2021. The EPA assessed
                                                 takes 12 months (June 2026 to June                      projects that in 2030, the average             those costs against the cost
                                                 2027). In the schedule developed by                     delivered price of coal will be $1.56/         reasonableness metrics, as described in
                                                 Sargent and Lundy, commercial                           MMBtu and the average delivered price          section VII.C.1.a.ii(D) of this preamble
                                                 arrangements for the boiler modification                of natural gas will be $2.95/MMBtu.            (i.e., emission control costs on EGUs of
                                                 take about 6 months (June 2026 to                       Thus, assuming the same level of               $10.60 to $18.50/MWh and the costs in
                                                 December 2026). Detailed engineering                    generation and no impact on heat rate,         the 2016 NSPS regulating GHGs for the
                                                 and procurement takes about 7 months                    the additional fuel cost would be $1.39/       Crude Oil and Natural Gas source
                                                 (December 2026 to July 2027), and                       MMBtu on average in 2030. The total
                                                                                                                                                        category of $98/ton of CO2e reduced (80
                                                 begins after commercial arrangements                    additional fuel cost could increase or
                                                                                                                                                        FR 56627; September 18, 2015)). On
                                                 are complete. Site work takes 3 months                  decrease depending on the potential
                                                                                                                                                        average, the EPA estimates that the
                                                 (July 2027 to October 2027), followed by                impact on net heat rate. An increase in
                                                                                                                                                        weighted average cost of co-firing with
                                                 4 months of construction (October 2027                  net heat rate, for example, would result
                                                                                                                                                        40 percent natural gas as the BSER on
                                                 to February 2028). Lastly, startup and                  in more fuel required to produce a given
                                                                                                                                                        an annual average basis is
                                                 testing takes about 2 months (June 2029                 amount of generation and thus
                                                                                                                                                        approximately $73/ton CO2 reduced, or
                                                 to August 2029), noting that the EPA                    additional cost. In the final TSD, GHG
                                                                                                                                                        $13/MWh. The costs here reflect an
                                                 assumes this occurs after the natural gas               Mitigation Measures for Steam
                                                                                                         Generating Units, the EPA’s cost               amortization period of 9 years. These
                                                 pipeline lateral is constructed.                                                                       estimates support a conclusion that co-
                                                 Considering the preceding information,                  estimates assume a 1 percent average
                                                                                                         increase in net heat rate.                     firing is cost-reasonable for sources that
                                                 the EPA has determined January 1, 2030                                                                 continue to operate up until the January
                                                 is the compliance date for medium-term                     Finally, for plants without sufficient
                                                                                                         access to natural gas, it is also necessary    1, 2039, threshold date for the
                                                 coal-fired steam generating units.                                                                     subcategory. The EPA also evaluated the
                                                                                                         to construct new natural gas pipelines
                                                 ii. Costs                                               (‘‘laterals’’). Pipeline costs are typically   fleet average costs of natural gas co-
                                                                                                         expressed in terms of dollars per inch of      firing for shorter amortization periods
                                                    The capital costs associated with the
                                                                                                         pipeline diameter per mile of pipeline         and has determined that the costs are
                                                 addition of new gas burners and other
                                                                                                         distance (i.e., dollars per inch-mile),        consistent with the cost reasonableness
                                                 necessary boiler modifications depend
                                                                                                         reflecting the fact that costs increase        metrics for the majority of sources that
                                                 on the extent to which the current boiler
                                                                                                         with larger diameters and longer               will operate past January 1, 2032, and
                                                 is already able to co-fire with some
                                                                                                         pipelines. On average, the cost for            therefore have an amortization period of
                                                 natural gas and on the amount of gas co-
                                                                                                         lateral development within the                 at least 2 years and up to 9 years. These
                                                 firing desired. The EPA estimates that,
                                                                                                         contiguous U.S. is approximately               estimates and all underlying
                                                 on average, the total capital cost
                                                                                                         $280,000 per inch-mile (2019$), which          assumptions are explained in detail in
                                                 associated with modifying existing
                                                                                                         can vary based on site-specific factors.       the final TSD, GHG Mitigation Measures
                                                 boilers to operate at up to 100 percent
                                                                                                         The total pipeline cost for each coal-         for Steam Generating Units. Based on
                                                 of heat input using natural gas is
                                                                                                         fired steam generating unit is a function      this cost analysis, alongside the EPA’s
                                                 approximately $52/kW. These costs
                                                                                                         of this cost, as well as a function of the     overall assessment of the costs of this
                                                 could be higher or lower, depending on
                                                                                                         necessary pipeline capacity and the            rule, the EPA is finalizing that the costs
                                                 the equipment that is already installed
                                                                                                         location of the plant relative to the          of natural gas co-firing are reasonable
                                                 and the expected impact on heat rate or
                                                                                                         existing pipeline transmission network.        for the medium-term coal-fired steam
                                                 steam temperature.
                                                    While fixed O&M (FOM) costs can                      The pipeline capacity required depends         generating unit subcategory. If a
                                                 potentially decrease as a result of                     on the amount of co-firing desired as          particular source has costs of 40 percent
                                                 decreasing the amount of coal                           well as on the desired level of                co-firing that are fundamentally
                                                 consumed, it is common for plants to                    generation—a higher degree of co-firing        different from the cost reasonability
                                                 maintain operation of one coal                          while operating at full load would             metrics, the state may consider this fact
                                                 pulverizer at all times, which is                       require more pipeline capacity than a          under the RULOF provisions, as
                                                 necessary for maintaining several coal                  lower degree of co-firing while                detailed in section X.C.2 of this
                                                 burners in continuous service. In this                  operating at partial load. It is reasonable    preamble. The EPA previously
                                                 case, coal handling equipment would be                  to assume that most plant owners would         estimated the cost of natural gas co-
                                                 required to operate continuously and                    develop sufficient pipeline capacity to        firing in the Clean Power Plan (CPP). 80
                                                                                                                                                        FR 64662 (October 23, 2015). The cost-
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                                                 therefore natural gas co-firing would                   deliver the maximum amount of desired
                                                 have limited effect on reducing the coal-               gas use in any moment, enabling higher         estimates for co-firing presented in this
                                                 related FOM costs. Although, as noted,                  levels of co-firing during periods of          section are lower than in the CPP, for
                                                 coal-related FOM costs have the                         lower fuel price differentials. Once the       several reasons. Since then, the
                                                                                                         necessary pipeline capacity is                 expected difference between coal and
                                                   684 Natural Gas Co-Firing Memo, Sargent & Lundy       determined, the total lateral cost can be      gas prices has decreased significantly,
                                                 (2023). Available in Docket ID EPA–HQ–OAR–              estimated by considering the location of       from over $3/MMBtu to less than $1.50/
                                                 2023–0072.                                              each plant relative to the existing            MMBtu in this final rule. Additionally,


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     a recent analysis performed by Sargent                  unregulated gas gathering lines.687 FERC              overall utility boiler efficiency for each
     and Lundy for the EPA supports a                        is responsible for the regulation of the              steam generating unit is uncertain.
     considerably lower capital cost for                     siting, construction, and/or                             For all of these reasons, the EPA is
     modifying existing boilers to co-fire                   abandonment of interstate natural gas                 finalizing that natural gas co-firing at
     with natural gas. The EPA also recently                 pipelines, gas storage facilities, and                medium-term coal-fired steam
     conducted a highly detailed facility-                   Liquified Natural Gas (LNG) terminals.                generating units does not result in any
     level analysis of natural gas pipeline                                                                        significant adverse consequences related
                                                             (B) Energy Requirements                               to energy requirements.
     costs, the median value of which is
     slightly lower than the value used by                      The introduction of natural gas co-                   Additionally, the EPA considered
     the EPA previously to approximate the                   firing will cause steam boilers to be                 longer term impacts on the energy
     cost of co-firing at a representative unit.             slightly less efficient due to the high               sector, and the EPA is finalizing these
                                                             hydrogen content of natural gas. Co-                  impacts are reasonable. Designating
     iii. Non-Air Quality Health and                         firing at levels between 20 percent and               natural gas co-firing as the BSER for
     Environmental Impact and Energy                         100 percent can be expected to decrease               medium-term coal-fired steam
     Requirements                                            boiler efficiency between 1 percent and               generating units would not have
                                                             5 percent. However, despite the                       significant adverse impacts on the
       Natural gas co-firing for steam
                                                             decrease in boiler efficiency, the overall            structure of the energy sector. Steam
     generating units is not expected to have
                                                             net output efficiency of a steam                      generating units that currently are coal-
     any significant adverse consequences
                                                             generating unit that switches from coal-              fired would be able to remain primarily
     related to non-air quality health and
                                                             to natural gas-firing may change only                 coal-fired. The replacement of some coal
     environmental impacts or energy
                                                             slightly, in either a positive or negative            with natural gas as fuel in these sources
     requirements.
                                                             direction. Since co-firing reduces coal               would not have significant adverse
     (A) Non-GHG Emissions                                   consumption, the auxiliary power                      effects on the price of natural gas or the
                                                             demand related to coal handling and                   price of electricity.
        Non-GHG emissions are reduced
     when steam generating units co-fire                     emissions controls typically decreases                iv. Extent of Reductions in CO2
     with natural gas because less coal is                   as well. While a site-specific analysis               Emissions
     combusted. SO2, PM2.5, acid gas,                        would be required to determine the
                                                                                                                     One of the primary benefits of natural
     mercury and other hazardous air                         overall net impact of these
                                                                                                                   gas co-firing is emission reduction. CO2
     pollutant emissions that result from coal               countervailing factors, generally the
                                                                                                                   emissions are reduced by approximately
     combustion are reduced proportionally                   effect of co-firing on net unit heat rate
                                                                                                                   4 percent for every additional 10
     to the amount of natural gas consumed,                  can vary within approximately plus or
                                                                                                                   percent of co-firing. When moving from
     i.e., under this final rule, by 40 percent.             minus 2 percent.
                                                                                                                   100 percent coal to 60 percent coal and
     Natural gas combustion does produce                        The EPA previously determined in
                                                                                                                   40 percent natural gas, CO2 stack
     NOX emissions, but in lesser amounts                    the ACE Rule (84 FR 32545; July 8,
                                                                                                                   emissions are reduced by approximately
     than from coal-firing. However, the                     2019) that ‘‘co-firing natural gas in coal-           16 percent. Non-CO2 emissions are
     magnitude of this reduction is                          fired utility boilers is not the best or              reduced as well, as noted earlier in this
     dependent on the combustion system                      most efficient use of natural gas and                 preamble.
     modifications that are implemented to                   [. . .] can lead to less efficient operation
                                                             of utility boilers.’’ That determination              v. Technology Advancement
     facilitate natural gas co-firing.
                                                             was informed by the more limited                         Natural gas co-firing is already well-
        Sufficient regulations also exist                    supply of natural gas, and the larger                 established and widely used by coal-
     related to natural gas pipelines and                    amount of coal-fired EGU capacity and                 fired steam boiler generating units. As a
     transport that assure natural gas can be                generation, in 2019. Since that                       result, this final rule is not likely to lead
     safely transported with minimal risk of                 determination, the expected supply of                 to technological advances or cost
     environmental release. PHMSA                            natural gas has expanded considerably,                reductions in the components of natural
     develops and enforces regulations for                   and the capacity and generation of the                gas co-firing, including modifications to
     the safe, reliable, and environmentally                 existing coal-fired fleet has decreased,              boilers and pipeline construction.
     sound operation of the nation’s 2.6                     reducing the total mass of natural gas                However, greater use of natural gas co-
     million mile pipeline transportation                    that might be required for sources to                 firing may lead to improvements in the
     system. Recently, PHMSA finalized a                     implement this measure.                               efficiency of conducting natural gas co-
     rule that will improve the safety and                      Furthermore, regarding the efficient               firing and operating the associated
     strengthen the environmental protection                 operation of boilers, the ACE                         equipment.
     of more than 300,000 miles of onshore                   determination was based on the
     gas transmission pipelines.685 PHMSA                    observation that ‘‘co-firing can                      c. Options Not Determined To Be the
     also recently promulgated a separate                    negatively impact a unit’s heat rate                  BSER for Medium-Term Coal-Fired
     rule covering natural gas                               (efficiency) due to the high hydrogen                 Steam Generating Units
     transmission,686 as well as a rule that                 content of natural gas and the resulting              i. CCS
     significantly expanded the scope of                     production of water as a combustion by-
     safety and reporting requirements for                                                                            As discussed earlier in this preamble,
                                                             product.’’ That finding does not                      the compliance date for CCS is January
     more than 400,000 miles of previously                   consider the fact that the effect of co-              1, 2032. Accordingly, sources in the
                                                             firing on net unit heat rate can vary                 medium-term subcategory—which have
       685 Pipeline Safety: Safety of Gas Transmission
                                                             within approximately plus or minus 2                  elected to commit to permanently cease
     Pipelines: Repair Criteria, Integrity Management
     Improvements, Cathodic Protection, Management of
                                                             percent, and therefore the net impact on              operations prior to 2039—would have
     Change, and Other Related Amendments (87 FR                                                                   less than 7 years to amortize the capital
     52224; August 24, 2022).                                  687 Pipeline Safety: Safety of Gas Gathering
                                                                                                                   costs of CCS. As a result, for these
       686 Pipeline Safety: Safety of Gas Transmission       Pipelines: Extension of Reporting Requirements,
     Pipelines: MAOP Reconfirmation, Expansion of            Regulation of Large, High-Pressure Lines, and Other
                                                                                                                   sources, the overall costs of CCS would
     Assessment Requirements, and Other Related              Related Amendments (86 FR 63266; November 15,         exceed the metrics for cost
     Amendments (84 FR 52180; October 1, 2019).              2021).                                                reasonableness that the EPA is using in


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                                                 this rulemaking, which are detailed in                  gas. The degree of emission limitation        and the EPA is finalizing this approach
                                                 section VII.C.1.a.ii(D). For this reason,               achievable by applying this BSER can be       for those sources.
                                                 the EPA is not finalizing CCS as the                    determined on a rate basis. A capture            Natural gas- and oil-fired steam
                                                 BSER for the medium-term subcategory.                   rate of 90 percent results in reductions      generating units combust natural gas or
                                                                                                         in the emission rate of 88.4 percent on       distillate fuel oil or residual fuel oil in
                                                 ii. Heat Rate Improvements                                                                            a boiler to produce steam for a turbine
                                                                                                         a lb CO2/MWh-gross basis, and this
                                                    Heat rate improvements were not                      reduction in emission rate can be             that drives a generator to create
                                                 considered to be BSER for medium-term                   observed over an extended period (e.g.,       electricity. In non-continental areas,
                                                 steam generating units because the                      an annual calendar-year basis).               existing natural gas- and oil-fired steam
                                                 achievable reductions are low and may                   Therefore, the EPA is finalizing that the     generating units may provide base load
                                                 result in rebound effect whereby total                  degree of emission limitation for long-       power, but in the continental U.S., most
                                                 emissions from the source increase, as                  term units is an 88.4 percent reduction       existing units operate in a load-
                                                 detailed in section VII.D.4.a.                          in emission rate on a lb CO2/MWh-gross        following manner. There are
                                                                                                         basis over an extended period (e.g., an       approximately 200 natural gas-fired
                                                 d. Conclusion
                                                                                                         annual calendar-year basis).                  steam generating units and fewer than
                                                   The EPA is finalizing that natural gas                                                              30 oil-fired steam generating units in
                                                 co-firing at 40 percent of heat input is                b. Medium-Term Coal-Fired Steam               operation in the continental U.S. Fuel
                                                 the BSER for medium-term coal-fired                     Generating Units                              costs and inefficiency relative to other
                                                 steam generating units because natural                     As discussed earlier in this preamble,     technologies (e.g., combustion turbines)
                                                 gas co-firing is adequately                             the BSER for medium-term coal-fired           result in operation at lower annual
                                                 demonstrated, as indicated by the facts                 steam generating units is 40 percent          capacity factors for most units. Based on
                                                 that it has been operated at scale and is               natural gas co-firing. The application of     data reported to EIA and the EPA 688 for
                                                 widely applicable to sources.                           40 percent natural gas co-firing results      the contiguous U.S., for natural gas-fired
                                                 Additionally, the costs for natural gas                 in reductions in the emission rate of 16      steam generating units in 2019, the
                                                 co-firing are reasonable. Moreover,                     percent. Therefore, the degree of             average annual capacity factor was less
                                                 natural gas co-firing can be expected to                emission limitation for these units is a      than 15 percent and 90 percent of units
                                                 reduce emissions of several other air                   16 percent reduction in emission rate on      had annual capacity factors less than 35
                                                 pollutants in addition to GHGs. Any                     a lb CO2/MWh-gross basis over an              percent. For oil-fired steam generating
                                                 adverse non-air quality health and                      extended period (e.g., an annual              units in 2019, no units had annual
                                                 environmental impacts and energy                        calendar-year basis).                         capacity factors above 8 percent.
                                                 requirements of natural gas co-firing are                                                             Additionally, their load-following
                                                                                                         D. Rationale for the BSER for Natural
                                                 limited. In contrast, CCS, although                                                                   method of operation results in frequent
                                                                                                         Gas-Fired And Oil-Fired Steam
                                                 achieving greater emission reductions,                                                                cycling and a greater proportion of time
                                                                                                         Generating Units
                                                 would be of higher cost, in general, for                                                              spent at low hourly capacities, when
                                                 the subcategory of medium-term units,                     This section of the preamble describes      generation is less efficient. Furthermore,
                                                 and HRI would achieve few reductions                    the rationale for the final BSERs for         because startup times for most boilers
                                                 and, in fact, may increase emissions.                   existing natural gas- and oil-fired steam     are usually long, natural gas steam
                                                                                                         generating units based on the criteria        generating units may operate in standby
                                                 3. Degree of Emission Limitation for                    described in section V.C of this              mode between periods of peak demand.
                                                 Final Standards                                         preamble.                                     Operating in standby mode requires
                                                    Under CAA section 111(d), once the                                                                 combusting fuel to keep the boiler
                                                                                                         1. Subcategorization of Natural Gas- and
                                                 EPA determines the BSER, it must                                                                      warm, and this further reduces the
                                                                                                         Oil-Fired Steam Generating Units
                                                 determine the ‘‘degree of emission                                                                    efficiency of natural gas combustion.
                                                 limitation’’ achievable by the                             The EPA is finalizing subcategories           Unlike coal-fired steam generating
                                                 application of the BSER. States then                    based on load level (i.e., annual capacity    units, the CO2 emission rates of oil- and
                                                 determine standards of performance and                  factor), specifically, units that are base    natural gas-fired steam generating units
                                                 include them in the state plans, based                  load, intermediate load, and low load.        that have similar annual capacity factors
                                                 on the specified degree of emission                     The EPA is finalizing routine methods         do not vary considerably between units.
                                                 limitation. Final presumptive standards                 of operation and maintenance as BSER          This is partly due to the more uniform
                                                 of performance are detailed in section                  for intermediate and base load units.         qualities (e.g., carbon content) of the
                                                 X.C.1.b of this preamble. There is                      Applying that BSER would not achieve          fuel used. However, the emission rates
                                                 substantial variation in emission rates                 emission reductions but would prevent         for units that have different annual
                                                 among coal-fired steam generating                       increases in emission rates. The EPA is       capacity factors do vary considerably, as
                                                 units—the range is, approximately, from                 finalizing presumptive standards of           detailed in the final TSD, Natural Gas-
                                                 1,700 lb CO2/MWh-gross to 2,500 lb                      performance that differ between               and Oil-fired Steam Generating Units.
                                                 CO2/MWh-gross—which makes it                            intermediate and base load units due to       Low annual capacity factor units cycle
                                                 challenging to determine a single,                      their differences in operation, as            frequently, have a greater proportion of
                                                 uniform emission limit. Accordingly,                    detailed in section X.C.1.b.iii of this       CO2 emissions that may be attributed to
                                                 the EPA is finalizing the degrees of                    preamble. The EPA proposed a separate         startup, and have a greater proportion of
                                                 emission limitation by a percentage                     subcategory for non-continental oil-fired     generation at inefficient hourly
                                                 change in emission rate, as follows.                    steam generating units, which operate         capacities. Intermediate annual capacity
                                                                                                         differently from continental units;
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                                                 a. Long-Term Coal-Fired Steam                                                                         factor units operate more often at higher
                                                                                                         however, the EPA is not finalizing            hourly capacities, where CO2 emission
                                                 Generating Units                                        emission guidelines for sources outside       rates are lower. High annual capacity
                                                    As discussed earlier in this preamble,               of the contiguous U.S., as described in       factor units operate still more at base
                                                 the EPA is finalizing the BSER for long-                section VII.B. At proposal, the EPA           load conditions, where units are more
                                                 term coal-fired steam generating units as               solicited comment on a BSER of
                                                 ‘‘full-capture’’ CCS, defined as 90                     ‘‘uniform fuels’’ for low load natural          688 Clean Air Markets Program Data at https://

                                                 percent capture of the CO2 in the flue                  gas- and oil-fired steam generating units,    campd.epa.gov.



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                                                 efficient and CO2 emission rates are                    relatively low cumulative emission             environmental impacts or adverse
                                                 lower.                                                  reduction potential for these natural gas-     impacts on energy requirements. Nor do
                                                    Based on these performance                           and oil-fired steam generating units, the      they have adverse impacts on the energy
                                                 differences between these load levels,                  EPA is not determining CCS as the              sector from a nationwide or long-term
                                                 the EPA, in general, proposed                           BSER for them.                                 perspective. The EPA’s modeling, which
                                                 subcategories based on dividing natural                    The EPA has reviewed other possible         supports this final rule, indicates that by
                                                 gas- and oil-fired steam generating units               controls but is not finalizing any of          2040, a number of natural gas-fired
                                                 into three groups each—low load,                        them as the BSER for natural gas- and          steam generating units will have
                                                 intermediate load, and base load.                       oil-fired units either. Co-firing hydrogen     remained in operation since 2030,
                                                    The EPA is finalizing subcategories                  in a boiler is technically possible, but       although at reduced annual capacity
                                                 for oil-fired and natural gas-fired steam               there is limited availability of hydrogen      factors. There are no CO2 reductions
                                                 generating units, based on load levels.                 now and in the near future and it should       that may be achieved at the unit level,
                                                 The EPA proposed the following load                     be prioritized for more efficient units.       but applying routine methods of
                                                 levels: ‘‘low’’ load, defined by annual                 Additionally, for natural gas-fired steam
                                                                                                                                                        operation and maintenance as the BSER
                                                 capacity factors less than 8 percent;                   generating units, setting a future
                                                                                                                                                        prevents increases in emission rates.
                                                 ‘‘intermediate’’ load, defined by annual                standard based on hydrogen would
                                                                                                                                                        Routine methods of operation and
                                                 capacity factors greater than or equal to               likely have limited GHG reduction
                                                                                                         benefits given the low utilization of          maintenance do not advance useful
                                                 8 percent and less than 45 percent; and
                                                                                                         natural gas- and oil-fired steam               control technology, but this point is not
                                                 ‘‘base’’ load, defined by annual capacity
                                                                                                         generating units. Lastly, HRI for these        significant enough to offset their
                                                 factors greater than or equal to 45
                                                 percent.                                                types of units would face many of the          benefits.
                                                    The EPA is finalizing January 1, 2030,               same issues as for coal-fired steam               At proposal, the EPA also took
                                                 as the compliance date for natural gas-                 generating units; in particular, HRI           comment on a potential BSER of
                                                 and oil-fired steam generating units and                could result in a rebound effect that          uniform fuels for low load natural gas-
                                                 this date is consistent with the dates in               would increase emissions.                      and oil-fired steam generating units. As
                                                 the fuel type definitions.                                 However, the EPA recognizes that            noted earlier in this preamble, non-coal
                                                    The EPA received comments that                       natural gas- and oil-fired steam               fossil fuels combusted in utility boilers
                                                 were generally supportive of the                        generating units could possibly, over          typically include natural gas, distillate
                                                 proposed subcategory definitions,689                    time, operate more, in response to other       fuel oil (i.e., fuel oil No. 1 and No. 2),
                                                 and the EPA is finalizing the                           changes in the power sector.                   and residual fuel oil (i.e., fuel oil No. 5
                                                 subcategory definitions as proposed.                    Additionally, some coal-fired steam            and No. 6). The EPA previously
                                                                                                         generating units have converted to 100         established heat-input based fuel
                                                 2. Options Considered for BSER                          percent natural gas-fired, and it is           composition as BSER in the 2015 NSPS
                                                    The EPA has considered various                       possible that more may do so in the            (termed ‘‘clean fuels’’ in that
                                                 methods for controlling CO2 emissions                   future. The EPA also received several          rulemaking) for new non-base load
                                                 from natural gas- and oil-fired steam                   comments from industry stating plans to        natural gas- and multi-fuel-fired
                                                 generating units to determine whether                   do so. Moreover, in part because the           stationary combustion turbines (80 FR
                                                 they meet the criteria for BSER. Co-                    fleet continues to age, the plants may         64615–17; October 23, 2015), and the
                                                 firing natural gas cannot be the BSER for               operate with degrading emission rates.         EPA is similarly finalizing lower-
                                                 these units because natural gas- and oil-               In light of these possibilities, identifying   emitting fuels as BSER for new low load
                                                 fired steam generating units already fire               the BSER and degrees of emission
                                                                                                                                                        combustion turbines as described in
                                                 large proportions of natural gas. Most                  limitation for these sources would be
                                                                                                                                                        section VIII.F of this preamble. For low
                                                 natural gas-fired steam generating units                useful to provide clarity and prevent
                                                                                                                                                        load natural gas- and oil-fired steam
                                                 fire more than 90 percent natural gas on                backsliding in GHG performance.
                                                                                                                                                        generating units, the high variability in
                                                 a heat input basis, and any oil-fired                   Therefore, the EPA is finalizing BSER
                                                                                                         for intermediate and base load natural         emission rates associated with the
                                                 steam generating units that would
                                                                                                         gas- and oil-fired steam generating units      variability of load at the lower-load
                                                 potentially operate above an annual
                                                                                                         to be routine methods of operation and         levels limits the benefits of a BSER
                                                 capacity factor of around 15 percent
                                                                                                         maintenance, such that the sources             based on routine maintenance and
                                                 typically combust natural gas as a large
                                                 proportion of their fuel as well. Nor is                could maintain the emission rates (on a        operation. That is because the high
                                                 CCS a candidate for BSER. The                           lb/MWh-gross basis) currently                  variability in emission rates would
                                                 utilization of most gas-fired units, and                maintained by the majority of the fleet        make it challenging to determine an
                                                 likely all oil-fired units, is relatively               across discrete ranges of annual capacity      emission rate (i.e., on a lb CO2/MWh-
                                                 low, and as a result, the amount of CO2                 factor. The EPA is finalizing this BSER        gross basis) that could serve as the
                                                 available to be captured is low.                        for intermediate load and base load            presumptive standard of performance
                                                 However, the capture equipment would                    natural gas- and oil-fired steam               that would reflect application of a BSER
                                                 still need to be sized for the nameplate                generating units, regardless of the            of routine operation and maintenance.
                                                 capacity of the unit. Therefore, the                    operating horizon of the unit.                 On the other hand, for those units, a
                                                 capital and operating costs of CCS                         A BSER based on routine methods of          BSER of ‘‘uniform fuels’’ and an
                                                 would be high relative to the amount of                 operation and maintenance is                   associated presumptive standard of
                                                 CO2 available to be captured.                           adequately demonstrated because units          performance based on a heat input
                                                                                                         already operate with those practices.          basis, as described in section X.C.1.b.iii
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                                                 Additionally, again due to lower
                                                 utilization, the amount of IRC section                  There are no or negligible additional          of this preamble, is reasonable.
                                                 45Q tax credits that owner/operators                    costs because there is no additional           Therefore, the EPA is finalizing a BSER
                                                 could claim would be low. Because of                    technology that units are required to          of uniform fuels for low load natural
                                                 the relatively high costs and the                       apply and there is no change in                gas- and oil-fired steam generating units,
                                                                                                         operation or maintenance that units            with presumptive standards depending
                                                  689 See, for example, Document ID No. EPA–HQ–          must perform. Similarly, there are no          on fuel type detailed in section
                                                 OAR–2023–0072–0583.                                     adverse non-air quality health and             X.C.1.b.iii.


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                                                 3. Degree of Emission Limitation                        basis by an analysis of historical            systems). Some of the HRI measures
                                                    As discussed above, because the BSER                 emission rate data, taking into               (e.g., variable frequency drives) only
                                                 for base load and intermediate load                     consideration operating load and              impact heat rate on a net generation
                                                 natural gas- and oil-fired steam                        ambient temperature. The Agency               basis by reducing the parasitic load on
                                                 generating units is routine operation                   concluded that EGUs can achieve on            the unit and would thereby not be
                                                 and maintenance, which the units are,                   average a 4.3 percent improvement in          observable for emission rates measured
                                                 by definition, already employing, the                   the Eastern Interconnection, a 2.1            on a gross basis. Assuming many of the
                                                 degree of emission limitation by                        percent improvement in the Western            HRI measures could be applied to the
                                                 application of this BSER is no increase                 Interconnection, and a 2.3 percent            same unit, adding together the upper
                                                 in emission rate on a lb CO2/MWh-gross                  improvement in the Texas                      range of some of the HRI percentages
                                                 basis over an extended period of time                   Interconnection. See 80 FR 64789              could yield an emission rate reduction
                                                 (e.g., a year).                                         (October 23, 2015). The Agency then           of around 5 percent. However, the
                                                    For low load natural gas- and oil-fired              applied all three of the building blocks      reductions that the fleet could achieve
                                                 steam generating units, the EPA is                      to 2012 baseline data and quantified, in      on average are likely much smaller. As
                                                 finalizing a BSER of uniform fuels, with                the form of CO2 emission rates, the           noted, the 2023 Sargent and Lundy HRI
                                                 a degree of emission limitation on a heat               reductions achievable in Each                 report notes that, in many cases, units
                                                 input basis consistent with a fixed 130                 interconnection in 2030, and then             have already applied HRI upgrades or
                                                 lb CO2/MMBtu for natural gas-fired                      selected the least stringent as a national    that those upgrades would not be
                                                 steam generating units and 170 lb CO2/                  performance rate. Id. at 64811–19. The        applicable to all units. The unit level
                                                 MMBtu for oil-fired steam generating                    EPA noted that building block 1               reductions in emission rate from HRI are
                                                 units. The degree of emission limitation                measures could not by themselves              small relative to CCS or natural gas co-
                                                 for natural gas- and oil-fired steam                    constitute the BSER because the               firing. In the CPP and ACE Rule, the
                                                 generating units is higher than the                     quantity of emission reductions               EPA viewed CCS and natural gas co-
                                                 corresponding values under 40 CFR part                  achieved would be too small and               firing as too costly to qualify as the
                                                                                                         because of the potential for an increase      BSER; those costs have fallen since
                                                 60, subpart TTTT, because steam
                                                                                                         in emissions due to increased utilization     those rules and, as a result, CCS and
                                                 generating units may fire fuels with
                                                                                                         (i.e., the ‘‘rebound effect’’).               natural gas co-firing do qualify as the
                                                 slightly higher carbon contents.
                                                                                                                                                       BSER for the long-term and medium-
                                                                                                         ii. Updated CO2 Reductions From HRI
                                                 4. Other Emission Reduction Measures                                                                  term subcategories, respectively.
                                                 Not Considered BSER                                        The HRI measures include
                                                                                                         improvements to the boiler island (e.g.,      iii. Potential for Rebound in CO2
                                                 a. Heat Rate Improvements                               neural network system, intelligent            Emissions
                                                    Heat rate is a measure of efficiency                 sootblower system), improvements to              Reductions achieved on a rate basis
                                                 that is commonly used in the power                      the steam turbine (e.g., turbine overhaul     from HRI may not result in overall
                                                 sector. The heat rate is the amount of                  and upgrade), and other equipment             emission reductions and could instead
                                                 energy input, measured in Btu, required                 upgrades (e.g., variable frequency            cause a ‘‘rebound effect’’ from increased
                                                 to generate 1 kilowatt-hour (kWh) of                    drives). Some regular practices that may      utilization. A rebound effect would
                                                 electricity. The lower an EGU’s heat                    recover degradation in heat rate to           occur where, because of an
                                                 rate, the more efficiently it operates. As              recent levels—but that do not result in       improvement in its heat rate, a steam
                                                 a result, an EGU with a lower heat rate                 upgrades in heat rate over recent design      generating unit experiences a reduction
                                                 will consume less fuel and emit lower                   levels and are therefore not HRI              in variable operating costs that makes
                                                 amounts of CO2 and other air pollutants                 measures—include practices such as in-        the unit more competitive relative to
                                                 per kWh generated as compared to a less                 kind replacements and regular surface         other EGUs and consequently raises the
                                                 efficient unit. HRI measures include a                  cleaning (e.g., descaling, fouling            unit’s output. The increase in the unit’s
                                                 variety of technology upgrades and                      removal). Specific details of the HRI         CO2 emissions associated with the
                                                 operating practices that may achieve                    measures are described in the final TSD,      increase in output would offset the
                                                 CO2 emission rate reductions of 0.1 to                  GHG Mitigation Measures for Steam             reduction in the unit’s CO2 emissions
                                                 5 percent for individual EGUs. The EPA                  Generating Units and an updated 2023          caused by the decrease in its heat rate
                                                 considered HRI to be part of the BSER                   Sargent and Lundy HRI report (Heat            and rate of CO2 emissions per unit of
                                                 in the CPP and to be the BSER in the                    Rate Improvement Method Costs and             output. The extent of the offset would
                                                 ACE Rule. However, the reductions that                  Limitations Memo), available in the           depend on the extent to which the unit’s
                                                 may be achieved by HRI are small                        docket. Most HRI upgrade measures             generation increased. The CPP did not
                                                 relative to the reductions from natural                 achieve reductions in heat rate of less       consider HRI to be BSER on its own, in
                                                 gas co-firing and CCS. Also, some                       than 1 percent. In general, the 2023          part because of the potential for a
                                                 facilities that apply HRI would, as a                   Sargent and Lundy HRI report, which           rebound effect. Analysis for the ACE
                                                 result of their increased efficiency,                   updates the 2009 Sargent and Lundy            Rule, where HRI was the entire BSER,
                                                 increase their utilization and therefore                HRI report, shows that HRI achieve less       observed a rebound effect for certain
                                                 increase their CO2 emissions (as well as                reductions than indicated in the 2009         sources in some cases.690 In this action,
                                                 emissions of other air pollutants), a                   report, and shows that several HRI            where different subcategories of units
                                                 phenomenon that the EPA has termed                      either have limited applicability or have     are to be subject to different BSER
                                                 the ‘‘rebound effect.’’ Therefore, the                  already been applied at many units.           measures, steam generating units in a
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                                                 EPA is not finalizing HRI as a part of                  Steam path overhaul and upgrade may           hypothetical subcategory with HRI as
                                                 BSER.                                                   achieve reductions up to 5.15 percent,        BSER could experience a rebound effect.
                                                                                                         with the average being around 1.5             Because of this potential for perverse
                                                 i. CO2 Reductions From HRI in Prior                     percent. Different combinations of HRI        GHG emission outcomes resulting from
                                                 Rulemakings                                             measures do not necessarily result in         deployment of HRI at certain steam
                                                    In the CPP, the EPA quantified                       cumulative reductions in emission rate        generating units, coupled with the
                                                 emission reductions achievable through                  (e.g., intelligent sootblowing systems
                                                 heat rate improvements on a regional                    combined with neural network                    690 84 FR 32520 (July 8, 2019).




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                                                 relatively minor overall GHG emission                   individual sources.’’ Id. at 727 (citing       [of EPA’s] regulatory authority’’. Id. at
                                                 reductions that would be expected from                  ‘‘fuel-switching’’ and ‘‘add-on                724. To be sure, this rule’s
                                                 this measure, the EPA is not finalizing                 controls’’). The Court said that               determination that CCS is the BSER
                                                 HRI as the BSER for any subcategory of                  generation-shifting as the BSER was            imposes compliance costs on coal-fired
                                                 existing coal-fired steam generating                    ‘‘unprecedented’’ because it was               power plants. That sources will incur
                                                 units.                                                  designed to ‘‘improve the overall power        costs to control their emissions of
                                                                                                         system by lowering the carbon intensity        dangerous pollution is an unremarkable
                                                 E. Additional Comments Received on                      of power generation . . . by forcing a         consequence of regulation, which, as the
                                                 the Emission Guidelines for Existing                    shift throughout the power grid from           Supreme Court recognized, ‘‘may end
                                                 Steam Generating Units and Responses                    one type of energy source to another.’’        up causing an incidental loss of coal’s
                                                 1. Consistency With West Virginia v.                    Id. at 727–28 (internal quotation marks,       market share.’’ Id. at 731 n.4.691 Indeed,
                                                 EPA and the Major Questions Doctrine                    emphasis, and citation omitted). The           ensuring that sources internalize the full
                                                                                                         Court cited statements by the then-            costs of mitigating their impacts on
                                                    Comment: Some commenters argued
                                                                                                         Administrator describing the CPP as            human health and the environment is a
                                                 that the EPA’s determination that CCS is
                                                                                                         ‘‘not about pollution control so much as       central purpose of traditional
                                                 the BSER for existing coal-fired power
                                                                                                         it was an investment opportunity for           environmental regulation.
                                                 plants is invalid under West Virginia v.                                                                  In particular, for the power sector,
                                                                                                         States, especially investments in
                                                 EPA, 597 U.S. 697 (2022), and the major                                                                grid operators constantly shift
                                                                                                         renewables and clean energy.’’ Id. at
                                                 questions doctrine (MQD). Commenters                                                                   generation as they dispatch electricity
                                                                                                         728. The Court further concluded that
                                                 state that for various reasons, coal-fired                                                             from sources based upon their costs.
                                                                                                         the EPA’s view of its authority was
                                                 power plants will not install CCS and                   virtually unbounded because the ‘‘EPA          The EPA’s IPM modeling, which is
                                                 instead will be forced to retire their                  decides, for instance, how much of a           based on the costs of the various types
                                                 units. They point to the EPA’s IPM                      switch from coal to natural gas is             of electricity generation, projects these
                                                 modeling which, they say, shows that                    practically feasible by 2020, 2025, and        impacts. Viewed as a whole, these
                                                 many coal-fired power plants retire                     2030 before the grid collapses, and how        projected impacts show that,
                                                 rather than install CCS. They add that,                 high energy prices can go as a result          collectively, coal-fired power plants will
                                                 in this way, the rule effectively results               before they become unreasonably                likely produce less electricity, and other
                                                 in the EPA’s requiring generation-                      exorbitant.’’ Id. at 729.                      sources (like gas-fired units and
                                                 shifting from coal-fired generation to                     Here, the EPA’s determination that          renewable sources) will likely produce
                                                 renewable and other generation, and                     CCS is the BSER does not affect a              more electricity, but this pattern does
                                                 thus is like the Clean Power Plan (CPP).                fundamental revision of the statute, nor       not constitute a transformative
                                                 For those reasons, they state that the                  is it unbounded. CCS is not directed at        expansion of statutory authority (EPA’s
                                                 rule raises a major question, and further               improvement of the overall power               Power Sector Platform 2023 using IPM;
                                                 that CAA section 111(d) does not                        system. Rather, CCS is a traditional           final TSD, Power Sector Trends.)
                                                 contain a clear authorization for this                  ‘‘add-on [pollution] control[ ]’’ akin to         These projected impacts are best
                                                 type of rule.                                           measures that the EPA identified as            understood by comparing the IPM
                                                    Response: The EPA discussed West                     BSER in prior CAA section 111 rules.           model’s ‘‘base case,’’ i.e., the projected
                                                 Virginia and its articulation of the MQD                See id. at 727. It ‘‘focus[es] on              electricity generation without any rule
                                                 in section V.B.6 of this preamble.                      improving the performance of                   in place, to the model’s ‘‘policy case,’’
                                                    The EPA disagrees with these                         individual sources’’—it reduces CO2            i.e., the projected electricity generation
                                                 comments. This rule is fully consistent                 pollution from each individual source—         expected to result from this rule. The
                                                 with the Supreme Court’s interpretation                 because each affected source is able to        base case projects that many coal-fired
                                                 of the EPA’s authority in West Virginia.                apply it to its own facility to reduce its     units will retire over the next 20 years
                                                 The EPA’s determination that CCS—a                      own emissions. Id. at 727. Further, the        (EPA’s Power Sector Platform 2023
                                                 traditional, add-on emissions control—                  EPA determined that CCS qualifies as           using IPM; final TSD, Power Sector
                                                 is the BSER is consistent with the plain                the BSER by applying the criteria              Trends). Those projected retirements
                                                 text of section 111. As explained in                    specified in CAA section 111(a)(1)—            track trends over the past two decades
                                                 detail in section VII.C.1.a, for long-term              including adequate demonstration, costs        where coal-fired units have retired in
                                                 coal-fired steam generating units, CCS                  of control, and emissions reductions.          high numbers because gas-fired units
                                                 meets all of the BSER factors: it is                    See section VII.C.1.a of this preamble.        and renewable sources have become
                                                 adequately demonstrated, of reasonable                  Thus, CCS as the BSER does not                 increasingly able to generate lower-cost
                                                 cost, and achieves substantial emissions                ‘‘chang[e]’’ the statute ‘‘from one sort of    electricity. As more gas-fired and
                                                 reductions. That some coal-fired power                  scheme of regulation into an entirely          renewable generation sources deploy in
                                                 plants will choose not to install                       different kind.’’ Id. at 728 (internal         the future, and as coal-fired units
                                                 emission controls and will instead retire               quotation marks, brackets, and citation        continue to age—which results in
                                                 does not raise major questions concerns.                omitted).                                      decreased efficiency and increased
                                                    In West Virginia, the U.S. Supreme                      Commenters contend that                     costs—the coal-fired units will become
                                                 Court held that ‘‘generation-shifting’’ as              notwithstanding these distinctions, the        increasingly marginal and continue to
                                                 the BSER for coal- and gas-fired units                  choice of CCS as the BSER has the effect       retire (EPA’s Power Sector Platform
                                                 ‘‘effected a fundamental revision of the                of shifting generation because modeling        2023 using IPM; final TSD, Power Sector
                                                 statute, changing it from one sort of                   projections for the rule show that coal-       Trends.) That is true in the absence of
                                                 scheme of regulation into an entirely
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                                                                                                         fired generation will become less              this rule. The EPA’s modeling results
                                                 different kind.’’ 597 U.S. at 728 (internal             competitive, and gas-fired and                 also project that even if the EPA had
                                                 quotation marks, brackets, and citation                 renewable-generated electricity will be
                                                 omitted). The Court explained that prior                more competitive and dispatched more              691 As discussed in section VII.C.1.a.ii.(D), the

                                                 CAA section 111 rules were premised                     frequently. That some coal-fired sources       costs of CCS are reasonable based on the EPA’s
                                                                                                                                                        $/MWh and $/ton metrics. As discussed in RTC
                                                 on ‘‘more traditional air pollution                     may retire rather than reduce their CO2        section 2.16, the total annual costs of this rule are
                                                 control measures’’ that ‘‘focus on                      pollution does not mean that the rule          a small fraction of the revenues and capital costs
                                                 improving the performance of                            ‘‘represents a transformative expansion        of the electric power industry.



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                                                 determined BSER for long-term sources                   light of these potential significant          production is generally less economic
                                                 to be 40 percent co-firing, which                       developments, the EPA is committing to        and less competitive than other forms of
                                                 requires significantly less capital                     review and, if appropriate, revise the        electricity production. That is, the
                                                 investment, and not 90 percent capture                  requirements of this rule by January 1,       retirements that the model predicts
                                                 CCS, a comparable number of sources                     2041, as described in section VII.F.          under this rule, and the structure of the
                                                 would retire instead of installing                         In any event, the modeling projections     industry that results, diverge little from
                                                 controls. These results confirm that the                showing that many sources retire              the prior rate of retirements of coal-fired
                                                 primary cause for the projected                         instead of installing controls are in line    units over the past two decades. They
                                                 retirements is the marginal profitability               with the trends for these units in the        also diverge little from the rate of
                                                 of the sources.                                         absence of the rule—as the coal-fired         retirements from sources that have
                                                   Importantly, the base-case projections                fleet ages and lower-cost alternatives        already announced that they will retire,
                                                 also show that some coal-fired units                    become increasingly available, more           or from the additional retirements that
                                                 install CCS and run at high capacity                    operators will retire coal-fired units        IPM projects will occur in the base case
                                                 factors, in fact, higher than they would                with or without this rule. In 2045, the       (EPA’s Power Sector Platform 2023
                                                 have had they not installed CCS. This is                average age of coal-fired units that have     using IPM; final TSD, Power Sector
                                                 because the IRC section 45Q tax credit                  not yet announced retirement dates or         Trends).
                                                 significantly reduces the variable cost of              coal-to-gas conversion by 2039 will be          As discussed above, because much of
                                                 operation for qualifying sources. This                  61 years old. And, on average, between        the coal-fired fleet is operating on the
                                                 incentivizes sources to increase                        2000 and 2022, even in the absence of         edge of viability, many sources would
                                                 generation to maximize the tons of CO2                  this rule, coal-fired units generally         retire instead of installing any
                                                 the CCS equipment captures, and                         retired at 53 years old. Thus, taken as       meaningful CO2 emissions control—
                                                 thereby increase the amount of the tax                  a whole, this rule does not dramatically      whether CCS, natural gas co-firing, or
                                                 credit they receive. In the ‘‘policy case,’’            reduce the expected operating horizon         otherwise. Under commenters’ view that
                                                 beginning when the CCS requirement                      of most coal-fired units. Indeed, for         such retirements create a major
                                                 applies in the 2035 model year,692 some                 units that install CCS, the generous IRC      question, any form of meaningful
                                                 additional coal-fired units will likely                 section 45Q tax credit increases the          regulation of these sources would create
                                                 install CCS, and also run at high                       competitiveness of these units, and it        a major question and effect a
                                                 capacity factors, again, significantly                  allows them to generate more electricity      fundamental revision of the statute.
                                                 higher than they would have without                     with greater profit than the sources          That cannot possibly be so. Section
                                                 CCS. Other units may retire rather than                 would otherwise generate if they did not      111(d)(1) plainly mandates regulation of
                                                 install emission controls (EPA’s Power                  install CCS.                                  these units, which are the biggest
                                                 Sector Platform 2023 using IPM; final                      The projected effects of the rule do       stationary source of dangerous CO2
                                                 TSD, Power Sector Trends). On balance,                  not show the BSER—here, CCS—is akin
                                                                                                                                                       emissions.
                                                 the coal-fired units that install CCS                   to generation shifting, or otherwise
                                                                                                                                                         The legislative history for the CAA
                                                 collectively generate nearly the same                   represents an expansion of EPA
                                                                                                                                                       further makes clear that Congress
                                                 amount of electricity in the 2040 model                 authority with vast political or
                                                                                                                                                       intended the EPA to promulgate
                                                 year as do the group of coal-fired units                economic significance. As described
                                                                                                                                                       regulations even where emissions
                                                 in the base case.                                       above at VII.C.1.a.ii, CCS is an
                                                                                                                                                       controls had economic costs. At the
                                                   The policy case also shows that in the                affordable emissions control technology.
                                                                                                                                                       time of the 1970 CAA Amendments,
                                                 2045 model year, by which time the 12-                  It is also very effective, reducing CO2
                                                                                                                                                       Congress recognized that the threats of
                                                 year period for sources to claim the IRC                emissions from coal-fired units by 90
                                                                                                                                                       air pollution to public health and
                                                 section 45Q tax credit will have expired,               percent, as described in section
                                                 most sources that install CCS retire due                VII.C.1.a.i. Indeed, as noted, the IRA tax    welfare had grown urgent and severe.
                                                 to the costs of meeting the CCS-based                   credits make CCS so affordable that           Sen. Edmund Muskie (D–ME), manager
                                                 standards without the benefit of the tax                coal-fired units that install CCS run at      of the bill and chair of the Public Works
                                                 credit. However, in fact, these projected               higher capacity factors than they would       Subcommittee on Air and Water
                                                 outcomes are far from certain as the                    otherwise.                                    Pollution, which drafted the bill,
                                                 modeling results generally do not                          Considered as a whole, and in context      regularly referred to the air pollution
                                                 account for numerous potential changes                  with historical retirement trends, the        problem as a ‘‘crisis.’’ As Sen. Muskie
                                                 that may occur over the next 20 or more                 projected impacts of this rule on coal-       recognized, ‘‘Air pollution control will
                                                 years, any of which may enable these                    fired generating units do not raise MQD       be cheap only in relation to the costs of
                                                 units to continue to operate                            concerns. The projected impacts are           lack of control.’’ 693 The Senate
                                                 economically for a longer period.                       merely incidental to the CCS control          Committee Report for the 1970 CAA
                                                 Examples of potential changes include                   itself—the unremarkable consequence of        Amendments specifically discussed the
                                                 reductions in the operational costs of                  marginally increasing the cost of doing       precursor provision to section 111(d)
                                                 CCS through technological                               business in a competitive market. Nor is      and noted, ‘‘there should be no gaps in
                                                 improvements, or the development of                     the rule ‘‘transformative.’’ The rule does    control activities pertaining to
                                                 additional potential revenue streams for                not ‘‘announce what the market share of       stationary source emissions that pose
                                                 captured CO2 as the market for                          coal, natural gas, wind, and solar must       any significant danger to public health
                                                 beneficial uses of CO2 continues to                     be, and then requiring plants to reduce       or welfare.’’ 694 Accordingly, some of the
                                                 develop, among other possible changed                   operations or subsidize their
                                                                                                                                                         693 Sen. Muskie, Sept. 21, 1970, LH 226.
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                                                 economic circumstances (including the                   competitors to get there.’’ 597 U.S. at         694 S. Rep. No. 91–1196, at 20 (Sept. 17, 1970),
                                                 possible extension of the tax credits). In              731 n.4. As noted above, coal-fired units     1970 CAA Legis. Hist. at 420 (discussing section
                                                                                                         that install CCS are projected to generate    114 of the Senate Committee bill, which was the
                                                    692 Under the rule, sources are required to meet     substantial amounts of electricity. The       basis for CAA section 111(d)). Note that in the 1977
                                                 their CCS-based standard of performance by January      retirements that are projected to occur       CAA Amendments, the House Committee Report
                                                 1, 2032. IPM groups calendar years into 5-year                                                        made a similar statement. H.R. Rep. No. 95–294, at
                                                 periods, e.g., the 2035 model year and the 2040
                                                                                                         are broadly consistent with market            42 (May 12, 1977), 1977 CAA Legis. Hist. at 2509
                                                 model year. January 1, 2032, falls into the 2035        trends over the past two decades, which       (discussing a provision in the House Committee bill
                                                 model year.                                             show that coal-fired electricity              that became CAA section 122, requiring EPA to



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                                                 EPA’s prior CAA section 111                              2. Redefining the Source                                relying on fuel switching, and noted
                                                 rulemakings have imposed stringent                          Comment: Some commenters                             that one of the purposes of this
                                                 requirements, at significant cost, in                    contended that the proposed 40 percent                  amendment was to allow new sources to
                                                 order to achieve significant emission                    natural gas co-firing performance                       burn high sulfur coal while still
                                                 reductions.695                                           standard violates legal precedent that                  decreasing emissions, and thus to
                                                    Congress’s enactment of the IRA and                   bars the EPA from setting technology-                   increase the availability of low sulfur
                                                 IIJA further shows its view that reducing                based performance standards that would                  coal for existing sources, which were
                                                 air pollution—specifically, in those                     have the effect of ‘‘redefining the                     not subject to the ‘‘technological’’
                                                                                                          source.’’ They stated that this                         control requirement.700 In 1990,
                                                 laws, GHG emissions to address climate
                                                                                                          prohibition against the redefinition of                 however, Congress removed the
                                                 change—is a high priority. As discussed
                                                                                                          the source bars the EPA from adopting                   ‘‘technological’’ language, allowing the
                                                 in section IV.E.1, that law provided
                                                                                                          the proposed performance standard for                   EPA to set fuel-switching based
                                                 funds for DOE grant and loan programs
                                                                                                          medium-term coal-fired EGUs, which                      standards for both new and existing
                                                 to support CCS, and extended and                                                                                 power plants.701
                                                                                                          requires such units to operate in a
                                                 increased the IRC section 45Q tax credit
                                                                                                          manner for which the unit was never                        The EPA has a tradition of
                                                 for carbon capture. It also adopted the
                                                                                                          designed to do, namely operate as a                     promulgating rules based on fuel
                                                 Low Emission Electricity Program
                                                                                                          hybrid coal/natural gas co-firing                       switching. For example, the 2006 NSPS
                                                 (LEEP), which allocates funds to the                     generating unit and combusting 40
                                                 EPA for the express purpose of using                                                                             for stationary compression ignition
                                                                                                          percent of its fuel input as natural gas                internal combustion engines required
                                                 CAA regulatory authority to reduce                       (instead of coal) on an annual basis.
                                                 GHG emissions from domestic                                                                                      the use of ultra-low sulfur diesel.702
                                                                                                             Commenters argued that co-firing                     Similarly, in the 2015 NSPS for
                                                 electricity generation through use of its                would constitute forcing one type of                    EGUs,703 the EPA determined that the
                                                 existing CAA authorities. CAA section                    source to become an entirely different                  BSER for peaking plants was to burn
                                                 135, added by IRA section 60107. The                     kind of source, and that the Supreme                    primarily natural gas, with distillate oil
                                                 EPA is promulgating the present                          Court precluded such a requirement in                   used only as a backup fuel.704 Nor is
                                                 rulemaking with those funds. The                         West Virginia v. EPA when it stated in                  this approach unique to CAA section
                                                 congressional sponsor of the LEEP made                   footnote 3 of that case that the EPA has                111; in the 2016 rule setting section 112
                                                 clear that it authorized the type of                     ‘‘never ordered anything remotely like’’                standards for hazardous air pollutant
                                                 rulemaking that the EPA is                               a rule that would ‘‘simply require coal                 emissions from area sources, for
                                                 promulgating today: he stated that the                   plants to become natural gas plants’’                   example, the EPA finalized an
                                                 EPA may promulgate rulemaking under                      and the Court ‘‘doubt[ed that EPA]                      alternative particulate matter (PM)
                                                 CAA section 111, based on CCS, to                        could.’’ 697                                            standard that specified that certain oil-
                                                 address CO2 emissions from fossil fuel-                     Response: The EPA disagrees with                     fired boilers would meet the applicable
                                                 fired power plants, which may be                         these comments.
                                                 ‘‘impactful’’ by having the ‘‘incidental                    Standards based on co-firing, as                        700 See H. Rep. No. 94–1175, 94th Cong., 2d Sess.
                                                 effect’’ of leading some ‘‘companies . . .               contemplated in this rule, are based on                 (May 15, 1976) Part A, at 159 (listing the various
                                                 to choose to retire such plants. . . .’’ 696             a ‘‘traditional pollution control                       purposes of the amendment to Section 111 adding
                                                                                                          measure,’’ in particular, ‘‘fuel                        the term ‘technological’: ‘‘Fourth, by using best
                                                    For these reasons, the rule here is                                                                           control technology on large new fuel-burning
                                                                                                          switching,’’ as the Supreme Court
                                                 consistent with the Supreme Court’s                      recognized in West Virginia.698 Rules
                                                                                                                                                                  stationary sources, these sources could burn higher
                                                 decision in West Virginia. The selection                                                                         sulfur fuel than if no technological means of
                                                                                                          based on switching to a cleaner fuel are                reducing emissions were used. This means an
                                                 of CCS as the BSER for existing coal-                    authorized under the CAA, an                            expansion of the energy resources that could be
                                                 fired units is a traditional, add-on                     authorization directly acknowledged by                  burned in compliance with environmental
                                                 control intended to reduce the                           Congress. Specifically, as part of the
                                                                                                                                                                  requirements. Fifth, since large new fuel-burning
                                                                                                                                                                  sources would not rely on naturally low sulfur coal
                                                 emissions performance of individual                      1977 CAA Amendments, Congress                           or oil to achieve compliance with new source
                                                 sources. That some sources may retire                    required that the EPA base its standards                performance standards, the low sulfur coal or oil
                                                 instead of controlling their emissions                   regulating certain new sources,                         that would have been burned in these major new
                                                 does not otherwise show that the rule                                                                            sources could instead be used in older and smaller
                                                                                                          including power plants, on                              sources.’’)
                                                 runs afoul of the MQD. The modeling                      ‘‘technological’’ controls, rather than                    701 In 1990, Congress removed this reference to a
                                                 projections for this rule show that the                  simply the ‘‘best system.’’ 699 Congress                ‘‘technological system’’, and the current text reads
                                                 anticipated retirements are largely                      understood this to mean that new                        simply: ‘‘The term ‘‘standard of performance’’
                                                 consistent with historical trends, and                                                                           means a standard for emissions of air pollutants
                                                                                                          sources would be required to implement                  which reflects the degree of emission limitation
                                                 due to many coal-fired units’ advanced                   add-on controls, rather than merely                     achievable through the application of the best
                                                 age and lack of competitiveness with                                                                             system of emission reduction which (taking into
                                                 lower cost methods of electricity                           697 West Virginia v. EPA, 597 U.S, 697, 728 n.3      account the cost of achieving such reduction and
                                                                                                          (2022).                                                 any nonair quality health and environmental
                                                 generation.                                                 698 See 597 U.S. at 727.                             impact and energy requirements) the Administrator
                                                                                                             699 In 1977, Congress clarified that for purposes    determines has been adequately demonstrated.’’ 42
                                                 study and then take action to regulate radioactive       of CAA section 111(a)(1)(A), concerning standards       U.S.C. 7411(a)(1).
                                                 air pollutants and three other air pollutants).          of performance for new and modified ‘‘fossil fuel-
                                                                                                                                                                     702 Standards of Performance for Stationary
                                                    695 See Sierra Club v. Costle, 657 F.2d 298, 313
                                                                                                          fired stationary sources’’ a standard or performance    Compression Ignition Internal Combustion Engines,
                                                 (D.C. Cir. 1981) (upholding NSPS imposing controls       ‘‘shall reflect the degree of emission limitation and   71 FR 39154 (July 11, 2006). In the preamble to the
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                                                 on SO2 emissions from coal-fired power plants            the percentage reduction achievable through             final rule, the EPA noted that for engines which had
                                                 when the ‘‘cost of the new controls . . . is             application of the best technological system of         not previously used this new ultra-low sulfur fuel,
                                                 substantial. EPA estimates that utilities will have to   continuous emission reduction which (taking into        additives would likely need to be added to the fuel
                                                 spend tens of billions of dollars by 1995 on             consideration the cost of achieving such emission       to maintain appropriate lubricity. See id. at 39158.
                                                 pollution control under the new NSPS.’’).                reduction, any nonair quality health and                   703 Standards of Performance for Greenhouse Gas
                                                    696 168 Cong. Rec. E868 (August 23, 2022)             environmental impact and energy requirements) the       Emissions From New, Modified, and Reconstructed
                                                 (statement of Rep. Frank Pallone, Jr.); id. E879         Administrator determines has been adequately            Stationary Sources: Electric Utility Generating
                                                 (August 26, 2022) (statement of Rep. Frank Pallone,      demonstrated.’’ Clean Air Act 1977 Revisions            Units, 80 FR 64510, (October 23, 2015).
                                                 Jr.).                                                    (emphasis added).                                          704 See id. at 64621.




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                                                 standard if they combusted only ultra-                     However, the costs of CCS and the          economics of continued generation by
                                                 low-sulfur liquid fuel.705                              overall economic viability of operating       affected sources that have installed CCS,
                                                    Moreover, the West Virginia Court’s                  CO2 capture at power plants are               the EPA is committing to review and, if
                                                 statements in footnote 3 are irrelevant to              improving and can be expected to              appropriate, revise this rule by January
                                                 the question of the validity of a 40                    continue to improve in years to come.         1, 2041. This commitment is included
                                                 percent co-firing standard. There, the                  CO2 that is captured from fossil-fuel         in the regulations that the EPA is
                                                 Court was referring to a complete                       fired sources is currently beneficially       promulgating with this rule. The EPA
                                                 transformation of the coal-fired unit to                used, including, for example, for             will conduct this review based on what
                                                                                                         enhanced oil recovery and in the food         we learn from monitoring these
                                                 a 100 percent gas fired unit—a change
                                                                                                         and beverage industry. There is much          developments, as noted above.
                                                 that would require entirely repowering
                                                                                                         research into developing beneficial uses      Completing this review and any
                                                 the unit. By contrast, increasing co-
                                                                                                         for many other industries, including          appropriate revisions by that date will
                                                 firing at existing coal-fired units to 40
                                                                                                         construction, chemical manufacturing,         allow time for the states to revise, if
                                                 percent would require only minor
                                                                                                         graphite manufacturing. The demand for        necessary, standards applicable to
                                                 changes to the units’ boilers. In fact,
                                                                                                         CO2 is expected to grow considerably          affected sources, and for the EPA to act
                                                 many coal-fired units are already
                                                                                                         over the next several decades. As a           on those state revisions, by the early to
                                                 capable of co-firing some amount of gas                 result, in the decades to come, affected
                                                 without any changes at all, and several                                                               mid-2040s. That is when the 12-year
                                                                                                         sources may well be able to replace at        period for the 45Q tax credit is expected
                                                 have fired at 40 percent and above in                   least some of the revenues from the tax
                                                 recent years. Of the 565 coal-fired EGUs                                                              to expire for affected sources that
                                                                                                         credit with revenues from the sale of         comply with the CCS requirement by
                                                 operating at the end of 2021, 249 of                    CO2. We discuss these potential
                                                 them reported consuming natural gas as                                                                January 1, 2032, and when other
                                                                                                         developments in chapter 2 of the              significant developments noted above
                                                 a fuel or startup source, 162 reported                  Response to Comments document,
                                                 more than one month of consumption of                                                                 may be well underway.
                                                                                                         available in the rulemaking docket.
                                                 natural gas at their boiler, and 29 co-                    In addition, numerous states have          VIII. Requirements for New and
                                                 fired at over 40 percent on an annual                   imposed requirements to decarbonize           Reconstructed Stationary Combustion
                                                 heat input basis in at least one year                   generation within their borders. Many         Turbine EGUs and Rationale for
                                                 while also operating with annual                        utilities have also announced plans to        Requirements
                                                 capacity factors greater than 10 percent.               decarbonize their fleet, including
                                                 For more on this, see section IV.C.2 of                                                               A. Overview
                                                                                                         building small modular (advanced
                                                 this preamble; see also the final TSD,                  nuclear) reactors. Given the relatively         This section discusses the
                                                 GHG Mitigation Measures for Steam                       high capital and fixed costs of small         requirements for stationary combustion
                                                 Generating Units.                                       modular reactors, plans for their             turbine EGUs that commence
                                                                                                         construction represent an expectation of      construction or reconstruction after May
                                                 F. Commitment To Review and, If                                                                       23, 2023. The requirements are codified
                                                 Appropriate, Revise Emission                            higher future energy prices. This
                                                                                                         suggests that, in the decades to come, at     in 40 CFR part 60, subpart TTTTa. The
                                                 Guidelines for Coal-Fired Units                                                                       EPA explains in section VIII.B of this
                                                                                                         least in certain areas of the country,
                                                    The EPA recognizes that the IRC 45Q                  affected sources may be able to maintain      document the two basic turbine
                                                 tax credit is a key component to the cost               a place in the dispatch curve that allows     technologies that are used in the power
                                                 of CCS, as discussed in section                         them to continue to generate while they       sector and are covered by 40 CFR part
                                                 VII.C.1.a.ii(C) of this preamble. The EPA               continue to operate CCS, even in the          60, subpart TTTTa. Those are simple
                                                 further recognizes that for any affected                absence of additional revenues for CO2.       cycle combustion turbines and
                                                 source, the tax credit is currently                     We discuss these potential                    combined cycle combustion turbines.
                                                 available for a 12-year period and not                  developments in the final TSD, Power          The EPA also explains how these
                                                 subsequently. The tax credit is generally               Sector Trends, available in the               technologies are used in the three
                                                 sufficient to defray the capital costs of               rulemaking docket.                            subcategories: low load turbines,
                                                 CCS and much, if not all, of the                           These developments, which may              intermediate load turbines, and base
                                                 operating costs during that 12-year                     occur by the 2040s—the expiration of          load turbines. Section VIII.C provides an
                                                 period. Following the 12-year period,                   the 12-year period for the IRC 45Q tax        overview of how stationary combustion
                                                 affected sources that continue to operate               credit, the potential development of the      turbines have been previously regulated.
                                                 the CCS equipment would have higher                     CO2 utilization market, and potential         Section VIII.D discusses the EPA’s
                                                 costs of generation, due to the CCS                     market supports for low-GHG                   decision to revisit the standards for new
                                                 operating costs, including parasitic load.              generation—may significantly affect the       and reconstructed turbines as part of the
                                                 Under certain circumstances, these                      costs to coal-fired steam EGUs of             statutorily required 8-year review of the
                                                 higher costs could push the affected                    operating their CCS controls. As a            NSPS. Section VIII.E discusses changes
                                                 sources lower on the dispatch curve,                    result, the EPA will closely monitor          that the EPA is finalizing in both
                                                 and thereby lead to reductions in the                   these developments. Our efforts will          applicability and subcategories in the
                                                 amount of their generation, i.e., if                    include consulting with other agencies        new 40 CFR part 60, subpart TTTTa, as
                                                 affected sources are not able to replace                with expertise and information,               compared to those codified previously
                                                 the revenue from the tax credit with                    including DOE, which currently has a          in 40 CFR part 60, subpart TTTT. Most
                                                 revenue from other sources, or if the                   program, the Carbon Conversion                notably, for new and reconstructed
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                                                 price of electricity does not reflect any               Program, in the Office of Carbon              natural gas-fired combustion turbines,
                                                 additional costs needed to minimize                     Management, that funds research into          the EPA is finalizing BSER
                                                 GHG emissions.                                          CO2 utilization. We regularly consult         determinations and standards of
                                                                                                         with stakeholders, including industry         performance for the three subcategories
                                                   705 See National Emission Standards for
                                                                                                         stakeholders, and will continue to do so.     mentioned above—low load,
                                                 Hazardous Air Pollutants for Area Sources:
                                                                                                            In light of these potential significant    intermediate load, and base load.
                                                 Industrial, Commercial, and Institutional Boilers, 81   developments and their impacts,                 Sections VIII.F and VIII.G of this
                                                 FR 63112–01 (September 14, 2016).                       potentially positive or negative, on the      document discuss the EPA’s


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                                                 determination of the BSER for each of                   combustion turbine EGU is increased,          these intermediate or load following
                                                 the three subcategories of combustion                   less fuel is burned to produce the same       EGUs is to provide dispatchable backup
                                                 turbines and the applicable standards of                amount of electricity, with a                 power to support variable renewable
                                                 performance, respectively. For low load                 corresponding decrease in fuel costs and      generating sources (e.g., solar and
                                                 combustion turbines, the EPA is                         lower emissions of CO2 and, generally,        wind). A developer’s decision as to
                                                 finalizing a determination that the use                 of other air pollutants. The greater the      whether to build a simple cycle turbine
                                                 of lower-emitting fuels is the                          output of electric energy for a given         or a combined cycle turbine to serve
                                                 appropriate BSER. For intermediate load                 amount of fuel energy input, the higher       intermediate load demand is based on
                                                 combustion turbines, the EPA is                         the efficiency of the electric generation     several factors related to the intended
                                                 finalizing a determination that highly                  process.                                      operation of the unit. These factors
                                                 efficient simple cycle generation is the                   Combustion turbines serve various          would include how frequently the unit
                                                 appropriate BSER. For base load                         roles in the power sector. Some               is expected to cycle between starts and
                                                 combustion turbines, the EPA is                         combustion turbines operate at low            stops, the predominant load level at
                                                 finalizing a determination that the BSER                annual capacity factors and are available     which the unit is expected to operate,
                                                 includes two components that                            to provide temporary power during             and whether this level of operation is
                                                 correspond initially to a two-phase                     periods of high load demand. These            expected to remain consistent or is
                                                 standard of performance. The first                      turbines are often referred to as             expected to vary over the lifetime of the
                                                 component of the BSER, with an                          ‘‘peaking units.’’ Some combustion            unit. In areas of the U.S. with vertically
                                                 immediate compliance date (phase 1), is                 turbines operate at intermediate annual       integrated electricity markets, utilities
                                                 highly efficient generation based on the                capacity factors and are often referred to    determine dispatch orders based
                                                 performance of a highly efficient                       as cycling or load-following units. Other     generally on economic merit of
                                                 combined cycle turbine and the second                   combustion turbines operate at high           individual units. Meanwhile, in areas of
                                                 component of the BSER, with a                           annual capacity factors to serve base         the U.S. inside organized wholesale
                                                 compliance date of January 1, 2032                      load demand and are often referred to as      electricity markets, owner/operators of
                                                 (phase 2), is based on the use of CCS                   base load units. In this rulemaking, the      individual combustion turbines control
                                                 with a 90 percent capture rate, along                   EPA refers to these types of combustion       whether and how units will operate
                                                 with continued use of highly efficient                  turbines as low load, intermediate load,      over time, but they do not necessarily
                                                 generation. For base load turbines, the                 and base load, respectively.                  control the precise timing of dispatch
                                                 standards of performance corresponding                     Low load combustion turbines               for units in any given day or hour. Such
                                                 to both components of the BSER would                    provide reserve capacity, support grid        short-term dispatch decisions are often
                                                 apply to all new and reconstructed                      reliability, and generally provide power      made by regional grid operators that
                                                 sources that commence construction or                   during periods of peak electric demand.       determine, on a moment-to-moment
                                                 reconstruction after May 23, 2023. The                  As such, the units may operate at or          basis, which available individual units
                                                 EPA occasionally refers to these                        near their full capacity, but only for        should operate to balance supply and
                                                 standards of performance as the phase 1                 short periods, as needed. Because these       demand and other requirements in an
                                                 or phase 2 standards.                                   units only operate occasionally, capital      optimal manner, based on operating
                                                                                                         expenses are a major factor in the            costs, price bids, and/or operational
                                                 B. Combustion Turbine Technology                        overall cost of electricity, and often, the   characteristics. However, operating
                                                   For purposes of 40 CFR part 60,                       lowest capital cost (and generally less       permits for simple cycle turbines often
                                                 subparts TTTT and TTTTa, stationary                     efficient) simple cycle EGUs are              contain restrictions on the annual hours
                                                 combustion turbines include both                        intended for use only during periods of       of operation that owners/operators
                                                 simple cycle and combined cycle EGUs.                   peak electric demand. Due to their low        incorporate into longer-term operating
                                                 Simple cycle turbines operate in the                    efficiency, these units require more fuel     plans and short-term dispatch decisions.
                                                 Brayton thermodynamic cycle and                         per MWh of electricity produced and              Intermediate load combustion
                                                 include three primary components: a                     their operating costs tend to be higher.      turbines vary their generation,
                                                 multi-stage compressor, a combustion                    Because of the higher operating costs,        especially during transition periods
                                                 chamber (i.e., combustor), and a turbine.               they are generally some of the last units     between low and high electric demand.
                                                 The compressor is used to supply large                  in the dispatch order. Important              Both high-efficiency simple cycle
                                                 volumes of high-pressure air to the                     characteristics for low load combustion       turbines and flexible fast-start combined
                                                 combustion chamber. The combustion                      turbines include their low capital costs,     cycle turbines can fill this cycling role.
                                                 chamber converts fuel to heat and                       their ability to start quickly and to         While the ability to start quickly and
                                                 expands the now heated, compressed air                  rapidly ramp up to full load, and their       quickly ramp up is important, efficiency
                                                 through the turbine to create shaft work.               ability to operate at partial loads while     is also an important characteristic.
                                                 The shaft work drives an electric                       maintaining acceptable emission rates         These combustion turbines generally
                                                 generator to produce electricity.                       and efficiencies. The ability to start        have higher capital costs than low load
                                                 Combustion turbines that recover the                    quickly and rapidly attain full load is       combustion turbines but are generally
                                                 energy in the high-temperature                          important to maximize revenue during          less expensive to operate.
                                                 exhaust—instead of venting it directly                  periods of peak electric prices and to           Base load combustion turbines are
                                                 to the atmosphere—are combined cycle                    meet sudden shifts in demand. In              designed to operate for extended
                                                 EGUs and can obtain additional useful                   contrast, under steady-state conditions,      periods at high loads with infrequent
                                                 electric output. A combined cycle EGU                   more efficient combined cycle EGUs are        starts and stops. Quick-start capability
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                                                 includes an HRSG operating in the                       dispatched ahead of low load turbines         and low capital costs are less important
                                                 Rankine thermodynamic cycle. The                        and often operate at higher annual            than low operating costs. High-
                                                 HRSG receives the high-temperature                      capacity factors.                             efficiency combined cycle turbines
                                                 exhaust and converts the heat to                           Highly efficient simple cycle turbines     typically fill the role of base load
                                                 mechanical energy by producing steam                    and flexible fast-start combined cycle        combustion turbines.
                                                 that is then fed into a steam turbine that,             turbines both offer different advantages         The increase in generation from
                                                 in turn, drives an electric generator. As               and disadvantages when operating at           variable renewable energy sources
                                                 the thermal efficiency of a stationary                  intermediate loads. One of the roles of       during the past decade has impacted the


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                                                 way in which dispatchable generating                    fired turbines, the EPA created a              multi-fuel-fired subcategory, further
                                                 resources operate.706 For example, the                  subcategory for base load turbines and         binning non-base load combustion
                                                 electric output from wind and solar                     a separate subcategory for non-base load       turbines into low load and intermediate
                                                 generating sources fluctuates daily and                 turbines. Base load turbines were              load subcategories and establishing a
                                                 seasonally due to increases and                         defined as combustion turbines with            capacity factor threshold for base load
                                                 decreases in the wind speed or solar                    electric sales greater than a site-specific    combustion turbines.
                                                 intensity. Due to this variable nature of               electric sales threshold based on the
                                                 wind and solar, dispatchable EGUs,                      design efficiency of the combustion            1. Applicability Requirements
                                                 including combustion turbines as well                   turbine. Non-base load turbines were
                                                                                                                                                           In general, the EPA refers to fossil
                                                 as other technologies like energy                       defined as combustion turbines with a
                                                                                                         capacity factor less than or equal to the      fuel-fired EGUs that would be subject to
                                                 storage, are used to ensure the reliability
                                                 of the electric grid. This requires                     site-specific electric sales threshold. For    a CAA section 111 NSPS as ‘‘affected’’
                                                 dispatchable power plants to have the                   base load turbines, the EPA set a              EGUs or units. An EGU is any fossil
                                                 ability to quickly start and stop and to                standard of 1,000 lb CO2/MWh-gross             fuel-fired electric utility steam
                                                 rapidly and frequently change load—                     based on efficient combined cycle              generating unit (i.e., a utility boiler or
                                                 much more often than was previously                     turbine technology. For non-base load          IGCC unit) or stationary combustion
                                                 needed. These are important                             and multi-fuel-fired turbines, the EPA         turbine (in either simple cycle or
                                                 characteristics of the combustion                       set a standard based on the use of lower-      combined cycle configuration). To be
                                                 turbines that provide firm backup                       emitting fuels that varied from 120 lb         considered an affected EGU under the
                                                 capacity. Combustion turbines are much                  CO2/MMBtu to 160 lb CO2/MMBtu,                 2015 NSPS at 40 CFR part 60, subpart
                                                 more flexible than coal-fired utility                   depending upon whether the turbine             TTTT, the unit must meet the following
                                                 boilers in this regard and have played                  burned primarily natural gas or other          applicability criteria: The unit must: (1)
                                                 an important role during the past                       lower-emitting fuels.                          be capable of combusting more than 250
                                                 decade in ensuring that electric supply                 D. Eight-Year Review of NSPS                   MMBtu/h (260 gigajoules per hour (GJ/
                                                 and demand are balanced.                                                                               h)) of heat input of fossil fuel (either
                                                   As discussed in section IV.F.2 of this                   CAA section 111(b)(1)(B) requires the       alone or in combination with any other
                                                 preamble, in the final TSD, Power                       Administrator to ‘‘at least every 8 years,     fuel); and (2) serve a generator capable
                                                 Sector Trends, and in the accompanying                  review and, if appropriate, revise [the        of supplying more than 25 MW net to
                                                 RIA, the EPA’s Power Sector Platform                    NSPS] . . . .’’ The provision further
                                                                                                                                                        a utility distribution system (i.e., for sale
                                                 2023 using IPM projects that natural                    provides that ‘‘the Administrator need
                                                                                                                                                        to the grid).707 However, 40 CFR part 60,
                                                 gas-fired combustion turbines will                      not review any such standard if the
                                                                                                                                                        subpart TTTT, includes applicability
                                                 continue to play an important role in                   Administrator determines that such
                                                                                                         review is not appropriate in light of          exemptions for certain EGUs, including:
                                                 meeting electricity demand. However,                                                                   (1) non-fossil fuel-fired units subject to
                                                 that role is projected to evolve as                     readily available information on the
                                                                                                         efficacy of such [NSPS].’’                     a federally enforceable permit that
                                                 additional renewable and non-                                                                          limits the use of fossil fuels to 10
                                                 renewable low-GHG generation and                           The EPA promulgated the NSPS for
                                                                                                         GHG emissions for stationary                   percent or less of their heat input
                                                 energy storage technologies are added to                                                               capacity on an annual basis; (2) CHP
                                                 the grid. Energy storage technologies                   combustion turbines in 2015.
                                                                                                         Announcements and modeling                     units that are subject to a federally
                                                 can store energy during periods when                                                                   enforceable permit limiting annual net
                                                 generation from renewable resources is                  projections show that project developers
                                                                                                         are building new fossil fuel-fired             electric sales to no more than either the
                                                 high relative to demand and can provide                                                                unit’s design efficiency multiplied by its
                                                 electricity to the grid during other                    combustion turbines and have plans to
                                                                                                         continue building additional capacity.         potential electric output, or 219,000
                                                 periods. Energy storage technologies are                                                               MWh, whichever is greater; (3)
                                                 projected to reduce the need for base                   Because the emissions from this added
                                                                                                         capacity have the potential to be large        stationary combustion turbines that are
                                                 load fossil fuel-fired firm dispatchable
                                                                                                         and these units are likely to have long        not physically capable of combusting
                                                 power plants, and the capacity factors of
                                                                                                         operating lives (25 years or more), it is      natural gas (e.g., those that are not
                                                 combined cycle EGUs are forecast to
                                                                                                         important to limit emissions from these        connected to a natural gas pipeline); (4)
                                                 decline by 2040.
                                                                                                         new units. Accordingly, in this final          utility boilers and IGCC units that have
                                                 C. Overview of Regulation of Stationary                 rule, the EPA is updating the NSPS for         always been subject to a federally
                                                 Combustion Turbines for GHGs                            newly constructed and reconstructed            enforceable permit limiting annual net
                                                   As explained earlier in this preamble,                fossil fuel-fired stationary combustion        electric sales to one-third or less of their
                                                 the EPA originally regulated new and                    turbines.                                      potential electric output (e.g., limiting
                                                 reconstructed stationary combustion                     E. Applicability Requirements and              hours of operation to less than 2,920
                                                 turbine EGUs for emissions of GHGs in                   Subcategorization                              hours annually) or limiting annual
                                                 2015 under 40 CFR part 60, subpart                                                                     electric sales to 219,000 MWh or less;
                                                 TTTT. In 40 CFR part 60, subpart TTTT,                     This section describes the                  (5) municipal waste combustors that are
                                                 the EPA created three subcategories: two                amendments to the specific                     subject to 40 CFR part 60, subpart Eb;
                                                 for natural gas-fired combustion                        applicability criteria for non-fossil fuel-    (6) commercial or industrial solid waste
                                                 turbines and one for multi-fuel-fired                   fired EGUs, industrial EGUs, CHP EGUs,         incineration units subject to 40 CFR part
                                                 combustion turbines. For natural gas-                   and combustion turbine EGUs not                60, subpart CCCC; and (7) certain
                                                                                                         connected to a natural gas pipeline. The
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                                                                                                                                                        projects under development, as
                                                                                                         EPA is also making certain changes to
                                                    706 Dispatchable generating sources are those that
                                                                                                                                                        discussed in the preamble for the 2015
                                                 can be turned on and off and adjusted to provide        the applicability requirements for
                                                                                                                                                        final NSPS.
                                                 power to the electric grid based on the demand for      stationary combustion turbines affected
                                                 electricity. Variable (sometimes referred to as         by this final rule as compared to those
                                                 intermittent) generating sources are those that                                                          707 The EPA refers to the capability to combust

                                                 supply electricity based on external factors that are
                                                                                                         for sources affected by the 2015 NSPS.         250 MMBtu/h of fossil fuel as the ‘‘base load rating
                                                 not controlled by the owner/operator of the source      The amendments are described below             criterion.’’ Note that 250 MMBtu/h is equivalent to
                                                 (e.g., wind and solar sources).                         and include the elimination of the             73 MW or 260 GJ/h heat input.



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                                                 a. Revisions to 40 CFR Part 60, Subpart                    The EPA proposed and is finalizing         facilities (e.g., an auxiliary boiler
                                                 TTTT                                                    several amendments to align the               providing steam to a primary boiler).
                                                   The EPA is amending 40 CFR 60.5508                    applicability criteria with the original      This language could result in certain
                                                 and 60.5509 to reflect that stationary                  intent to cover only fossil fuel-fired        large processes being included as part of
                                                 combustion turbines that commenced                      EGUs. These amendments ensure that            the EGU and meeting the applicability
                                                 construction after January 8, 2014, or                  solar thermal EGUs with natural gas           criteria. For example, the high-
                                                 reconstruction after June 18, 2014, and                 backup burners, like other types of non-      temperature exhaust from an industrial
                                                 before May 24, 2023, and that meet the                  fossil fuel-fired units that derive most of   process (e.g., calcining kilns, dryer,
                                                 relevant applicability criteria are subject             their energy from non-fossil fuel             metals processing, or carbon black
                                                 to 40 CFR part 60, subpart TTTT. For                    sources, are not subject to the               production facilities) that consumes
                                                 steam generating EGUs and IGCC units,                   requirements of 40 CFR part 60, subpart       fossil fuel could be sent to a HRSG to
                                                 40 CFR part 60, subpart TTTT, remains                   TTTT or TTTTa. Amending the                   produce electricity. If the industrial
                                                 applicable for units constructed after                  applicability language to include heat        process uses more than 250 MMBtu/h
                                                 January 8, 2014, or reconstructed after                 input derived from non-combustion             heat input and the electric sales exceed
                                                 June 18, 2014. The EPA is finalizing 40                 sources allows these facilities to avoid      the applicability criteria, then the unit
                                                 CFR part 60, subpart TTTTa, to be                       the requirements of 40 CFR part 60,           could be subject to 40 CFR part 60,
                                                 applicable to stationary combustion                     subpart TTTT or TTTTa, by limiting the        subpart TTTT or TTTTa. This is
                                                 turbines that commence construction or                  use of the natural gas burners to less        potentially problematic for multiple
                                                 reconstruction after May 23, 2023, and                  than 10 percent of the capacity factor of     reasons. First, it is difficult to determine
                                                 that meet the relevant applicability                    the backup burners. Specifically, the         the useful output of the EGU (i.e.,
                                                 criteria.                                               EPA is amending the definition of non-        HRSG) since part of the useful output is
                                                                                                         fossil fuel-fired EGUs from EGUs              included in the industrial process. In
                                                 b. Revisions to 40 CFR Part 60, Subpart                 capable of ‘‘combusting 50 percent or         addition, the fossil fuel that is
                                                 TTTT, That Are Also Included in 40                      more non-fossil fuel’’ to EGUs capable        combusted could have a relatively high
                                                 CFR Part 60, Subpart TTTTa                              of ‘‘deriving 50 percent or more of the       CO2 emissions rate on a lb/MMBtu
                                                   The EPA is finalizing that 40 CFR part                heat input from non-fossil fuel at the        basis, making it potentially problematic
                                                 60, subpart TTTT, and 40 CFR part 60,                   base load rating’’ (emphasis added). The      to meet the standard of performance
                                                 subpart TTTTa, use similar regulatory                   definition of base load rating is also        using efficient generation. This could
                                                 text except where specifically stated.                  being amended to include the heat input       result in the owner/operator reducing
                                                 This section describes amendments                       from non-combustion sources (e.g., solar      the electric output of the industrial
                                                 included in both subparts.                              thermal).                                     facility to avoid the applicability
                                                                                                           Revising ‘‘combusting’’ to ‘‘deriving’’     criteria. Finally, the compliance costs
                                                 i. Applicability to Non-Fossil Fuel-Fired               in the amended non-fossil fuel                associated with 40 CFR part 60, subpart
                                                 EGUs                                                    applicability language ensures that 40        TTTT or TTTTa, could discourage the
                                                    The current non-fossil applicability                 CFR part 60, subparts TTTT and TTTTa,         development of environmentally
                                                 exemption in 40 CFR part 60, subpart                    cover the fossil fuel-fired EGUs that the     beneficial projects.
                                                 TTTT, is based strictly on the                          original rule was intended to cover,             To avoid these outcomes, the EPA is,
                                                 combustion of non-fossil fuels (e.g.,                   while minimizing unnecessary costs to         as proposed, amending the applicability
                                                 biomass). To be considered a non-fossil                 EGUs fueled primarily by steam                provision that exempts EGUs where
                                                 fuel-fired EGU, the EGU must be both:                   generated without combustion (e.g.,           greater than 50 percent of the heat input
                                                 (1) Capable of combusting more than 50                  thermal energy supplied through the use       is derived from an industrial process
                                                 percent non-fossil fuel and (2) subject to              of solar thermal collectors). The             that does not produce any electrical or
                                                 a federally enforceable permit condition                corresponding change in the base load         mechanical output or useful thermal
                                                 limiting the annual heat input capacity                 rating to include the heat input from         output that is used outside the affected
                                                 for all fossil fuels combined of 10                     non-combustion sources is necessary to        EGU.708 Reducing the output or not
                                                 percent or less. The current language                   determine the relative heat input from        developing industrial electric generating
                                                 does not take heat input from non-                      fossil fuel and non-fossil fuel sources.      projects where the majority of the heat
                                                 combustion sources (e.g., solar thermal)                ii. Industrial EGUs                           input is derived from the industrial
                                                 into account. Certain solar thermal                                                                   process itself would not necessarily
                                                 installations have natural gas backup                   (A) Applicability to Industrial EGUs          result in reductions in GHG emissions
                                                 burners larger than 250 MMBtu/h. As                        In simple terms, the current               from the industrial facility. However,
                                                 currently treated in 40 CFR part 60,                    applicability provisions in 40 CFR part       the electricity that would have been
                                                 subpart TTTT, these solar thermal                       60, subpart TTTT, require that an EGU         produced from the industrial project
                                                 installations are not eligible to be                    be capable of combusting more than 250        could still be needed. Therefore,
                                                 considered non-fossil units because they                MMBtu/h of fossil fuel and be capable         projects of this type provide significant
                                                 are not capable of deriving more than 50                of selling 25 MW to a utility distribution    environmental benefit by providing
                                                 percent of their heat input from the                    system to be subject to 40 CFR part 60,       additional useful output with little if
                                                 combustion of non-fossil fuels.                         subpart TTTT. These applicability             any additional environmental impact.
                                                 Therefore, solar thermal installations                  provisions exclude industrial EGUs.           Including these types of projects would
                                                 that include backup burners could meet                  However, the definition of an EGU also        result in regulatory burden without any
                                                 the applicability criteria of 40 CFR part               includes ‘‘integrated equipment that          associated environmental benefit and
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                                                 60, subpart TTTT, even if the burners                   provides electricity or useful thermal        could discourage project development,
                                                 are limited to an annual capacity factor                output.’’ This language facilitates the
                                                 of 10 percent or less. These EGUs would                 integration of non-emitting generation          708 Auxiliary equipment such as boilers or

                                                 readily comply with the standard of                     and avoids energy inputs from non-            combustion turbines that provide heat or electricity
                                                                                                                                                       to the primary EGU (including to any control
                                                 performance, but the reporting and                      affected facilities being used in the         equipment) would still be considered integrated
                                                 recordkeeping would increase costs for                  emission calculation without also             equipment and included as part of the affected
                                                 these EGUs.                                             considering the emissions of those            facility.



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                                                 leading to potential overall increases in               less’’ (emphasis added). EGUs that                     efficiency documentation, as well as
                                                 GHG emissions.                                          reduce current generation will continue                performance guarantee results that
                                                                                                         to be covered as long as they sold more                affirmed the design efficiency, may no
                                                 (B) Industrial EGUs Electric Sales
                                                                                                         than one-third of their potential electric             longer exist. Moreover, such
                                                 Threshold Permit Requirement
                                                                                                         output at some time in the past. The                   documentation and results may not be
                                                    The current electric sales applicability             revisions make it possible for an owner/               relevant for current EGU efficiencies, as
                                                 exemption in 40 CFR part 60, subpart                    operator of an existing industrial EGU to              changes to original EGU configurations,
                                                 TTTT, for non-CHP steam generating                      provide evidence to the Administrator                  upon which the original design
                                                 units includes the provision that EGUs                  that the facility has never sold                       efficiencies were based, render those
                                                 have ‘‘always been subject to a federally               electricity in excess of the electricity               original design efficiencies moot,
                                                 enforceable permit limiting annual net                  sales threshold and to modify their                    meaning that there would be little
                                                 electric sales to one-third or less of their            permit to limit sales in the future.                   reason to maintain former design
                                                 potential electric output (e.g., limiting               Without the amendment, owners/                         efficiency documentation since it would
                                                 hours of operation to less than 2,920                   operators of any non-CHP industrial                    not comport with the efficiency
                                                 hours annually) or limiting annual                      EGU capable of selling 25 MW would be                  associated with current EGU
                                                 electric sales to 219,000 MWh or less’’                 subject to the existing source CAA                     configurations. As the three specified
                                                 (emphasis added). The justification for                 section 111(d) requirements even if they               methods would rely on documentation
                                                 this restriction includes that the 40 CFR               have never sold any electricity.                       from the original EGU configuration
                                                 part 60, subpart Da, applicability                      Therefore, the EPA is eliminating the                  performance guarantee testing, and
                                                 language includes ‘‘constructed for the                 requirement that existing industrial                   results from that documentation may no
                                                 purpose of . . .’’ and the Agency                       EGUs must have always been subject to                  longer exist or be relevant, it is
                                                 concluded that the intent was defined                   a permit restriction limiting net electric             appropriate to allow other means to
                                                 by permit conditions (80 FR 64544;                      sales.                                                 demonstrate EGU design efficiency. To
                                                 October 23, 2015). This applicability                                                                          reduce potential future compliance
                                                 criterion is important both for                         iii. Determination of the Design
                                                                                                                                                                burden, the EPA proposed and is
                                                 determining applicability with the new                  Efficiency
                                                                                                                                                                finalizing in 40 CFR part 60, subparts
                                                 source CAA section 111(b) requirements                     The design efficiency (i.e., the                    TTTT and TTTTa, to allow alternative
                                                 and for determining whether existing                    efficiency of converting thermal energy                methods as approved by the
                                                 steam generating units are subject to the               to useful energy output) of a combustion               Administrator on a case-by-case basis.
                                                 existing source CAA section 111(d)                      turbine is used to determine the electric              Owners/operators of EGUs can petition
                                                 requirements. For steam generating                      sales applicability threshold. In 40 CFR               the Administrator in writing to use an
                                                 units that commenced construction after                 part 60, subpart TTTT, the sales criteria              alternate method to determine the
                                                 September 18, 1978, the applicability of                are based in part on the individual EGU                design efficiency. The Administrator’s
                                                 40 CFR part 60, subpart Da, would be                    design efficiency. Three methods for                   discretion is intentionally left broad and
                                                 relatively clear as to what criteria                    determining the design efficiency are                  can extend to other American Society of
                                                 pollutant NSPS is applicable to the                     currently provided in 40 CFR part 60,                  Mechanical Engineers (ASME) or
                                                 facility. However, for steam generating                 subpart TTTT.709 Since the 2015 NSPS                   International Organization for
                                                 units that commenced construction                       was finalized, the EPA has become                      Standardization (ISO) methods as well
                                                 prior to September 18, 1978, or where                   aware that owners/operators of certain                 as to operating data to demonstrate the
                                                 the owner/operator determined that                      existing EGUs do not have records of the               design efficiency of the EGU. The EPA
                                                 criteria pollutant NSPS applicability                   original design efficiency. These units                also proposed and is finalizing a change
                                                 was not critical to the project (e.g.,                  would not be able to readily determine                 to the applicability of paragraph 60.8(b)
                                                 emission controls were sufficient to                    whether they meet the applicability                    in table 3 of 40 CFR part 60, subpart
                                                 comply with either the EGU or                           criteria (and would therefore be subject               TTTT, from ‘‘no’’ to ‘‘yes’’ and that the
                                                 industrial boiler criteria pollutant                    to CAA section 111(d) requirements for                 applicability of paragraph 60.8(b) in
                                                 NSPS), owners/operators might not have                  existing sources) in the same way that                 table 3 of 40 CFR part 60, subpart
                                                 requested that an electric sales permit                 111(b) sources would be able to                        TTTTa, is ‘‘yes.’’ This allows the
                                                 restriction be included in the operating                determine if the facility meets the                    Administrator to approve alternatives to
                                                 permit. Under the current applicability                 applicability criteria. Many of these                  the test methods specified in 40 CFR
                                                 language, some onsite EGUs could be                     EGUs are CHP units that are unlikely to                part 60, subparts TTTT and TTTTa.
                                                 covered by the existing source CAA                      meet the 111(b) applicability criteria
                                                 section 111(d) requirements even if they                and would therefore not be subject to                  c. Applicability for 40 CFR Part 60,
                                                 have never sold electricity to the grid.                any future 111(d) requirements.                        Subpart TTTTa
                                                 To avoid covering these industrial                      However, the language in the 2015                         This section describes applicability
                                                 EGUs, the EPA proposed and is                           NSPS would require them to conduct                     criteria that are only incorporated into
                                                 finalizing amendments to the electric                   additional testing to demonstrate this.                40 CFR part 60, subpart TTTTa, and that
                                                 sales exemption in 40 CFR part 60,                      The requirement would result in burden                 differ from the requirements in 40 CFR
                                                 subparts TTTT and TTTTa, to read,                       to the regulated community without any                 part 60, subpart TTTT.
                                                 ‘‘annual net electric sales have never                  environmental benefit. The electricity                    Section 111 of the CAA defines a new
                                                 exceeded one-third of its potential                     generating market has changed, in some                 or modified source for purposes of a
                                                 electric output or 219,000 MWh,                         cases dramatically, during the lifetime                given NSPS as any stationary source
                                                                                                                                                                that commences construction or
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                                                 whichever is greater, and is [the ‘‘always              of existing EGUs, especially concerning
                                                 been’’ would be deleted] subject to a                   ownership. As a result of acquisitions                 modification after the publication of the
                                                 federally enforceable permit limiting                   and mergers, original EGU design                       proposed regulation. Thus, the
                                                 annual net electric sales to one-third or                                                                      standards of performance apply to EGUs
                                                 less of their potential electric output                    709 40 CFR part 60, subpart TTTT, currently lists
                                                                                                                                                                that commence construction or
                                                 (e.g., limiting hours of operation to less              ‘‘ASME PTC 22 Gas Turbines,’’ ‘‘ASME PTC 46            reconstruction after the date of proposal
                                                                                                         Overall Plant Performance,’’ and ‘‘ISO 2314 Gas
                                                 than 2,920 hours annually) or limiting                  turbines—acceptance tests’’ as approved methods to     of this rule—May 23, 2023. EGUs that
                                                 annual electric sales to 219,000 MWh or                 determine the design efficiency.                       commenced construction after the date


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                                                 of the proposal for the 2015 NSPS and                   non-continental areas (i.e., Hawaii, the                  electric output (i.e., less than 20.0
                                                 by May 23, 2023, will remain subject to                 Virgin Islands, Guam, American Samoa,                     percent) would meet the applicability
                                                 the standards of performance                            the Commonwealth of Puerto Rico, and                      criteria. However, if a CHP unit with
                                                 promulgated in the 2015 NSPS. A                         the Northern Mariana Islands) and non-                    less than 20.0 percent of the total output
                                                 modification is any physical change in,                 contiguous areas (non-continental areas                   consisting of electricity were to meet the
                                                 or change in the method of operation of,                and Alaska) as the EPA did for                            applicability criteria, the net electric
                                                 an existing source that increases the                   comparable units in the contiguous 48                     sales and net energy output would be
                                                 amount of any air pollutant emitted to                  states.713 However, the Agency solicited                  calculated the same as for a traditional
                                                 which a standard applies.710 The NSPS                   comment on whether owners/operators                       non-CHP EGU. Even so, it is not clear
                                                 general provisions (40 CFR part 60,                     of new and reconstructed combustion                       that these CHP units would have less
                                                 subpart A) provide that an existing                     turbines in non-continental and non-                      environmental benefit per unit of
                                                 source is considered a new source if it                 contiguous areas should be subject to                     electricity produced than would more
                                                 undertakes a reconstruction.711                         different requirements. Commenters                        traditional CHP units. For 40 CFR part
                                                    The EPA is finalizing the same                       generally commented that due to the                       60, subpart TTTTa, the EPA proposed
                                                 applicability requirements in 40 CFR                    difference in non-contiguous areas                        and is finalizing to eliminate the
                                                 part 60, subpart TTTTa, as the                          relative to the lower 48 states, the                      restriction that CHP units produce at
                                                 applicability requirements in 40 CFR                    proposed requirements should not                          least 20.0 percent electrical or
                                                 part 60, subpart TTTT. The stationary                   apply to owners/operators of new or                       mechanical output to qualify for the
                                                 combustion turbine must meet the                        reconstructed combustion turbines in                      CHP-specific method for calculating net
                                                 following applicability criteria: The                   non-contiguous areas. The Agency has                      electric sales and net energy output.
                                                 stationary combustion turbine must: (1)                 considered these comments and is                             In the 2015 NSPS, the EPA did not
                                                 be capable of combusting more than 250                  finalizing that only the initial BSER                     issue standards of performance for
                                                 MMBtu/h (260 gigajoules per hour (GJ/                   component will be applicable to                           certain types of sources—including
                                                 h)) of heat input of fossil fuel (either                owners/operators of combustion                            industrial CHP units and CHPs that are
                                                 alone or in combination with any other                  turbines located in non-contiguous                        subject to a federally enforceable permit
                                                 fuel); and (2) serve a generator capable                areas. Therefore, owners/operators of                     limiting annual net electric sales to no
                                                 of supplying more than 25 MW net to                     base load combustions turbines would                      more than the unit’s design efficiency
                                                 a utility distribution system (i.e., for sale           not be subject to the CCS-based                           multiplied by its potential electric
                                                 to the grid).712 In addition, the EPA                   numerical standards in 2032 and would                     output, or 219,000 MWh or less,
                                                 proposed and is finalizing in 40 CFR                    continue to comply with the efficiency-                   whichever is greater. For CHP units, the
                                                 part 60, subpart TTTTa, to include                      based numeric standard. Based on                          approach in 40 CFR part 60, subpart
                                                 applicability exemptions for stationary                 information reported in the 2022 EIA                      TTTT, for determining net electric sales
                                                 combustion turbines that are: (1)                       Form EIA–860, there are no planned                        for applicability purposes allows the
                                                 capable of deriving 50 percent or more                  new combustion turbines in either                         owner/operator to subtract the
                                                 of the heat input from non-fossil fuel at               Alaska or Hawaii. In addition, since                      purchased power of the thermal host
                                                 the base load rating and subject to a                   2015 no new combustion turbines have                      facility. The intent of the approach is to
                                                 federally enforceable permit condition                  commenced operation in Hawaii. Two                        determine applicability similarly for
                                                 limiting the annual capacity factor for                 new combustion turbine facilities                         third-party developers and CHP units
                                                 all fossil fuels combined of 10 percent                 totaling 190 MW have commenced                            owned by the thermal host facility.714
                                                 (0.10) or less; (2) combined heat and                   operation in Alaska since 2015. One                       However, as written in 40 CFR part 60,
                                                 power units subject to a federally                      facility is a combined cycle CHP facility                 subpart TTTT, each third-party CHP
                                                 enforceable permit condition limiting                   and the other is at an industrial facility                unit would subtract the entire electricity
                                                 annual net electric sales to no more than               and neither facility would likely meet                    use of the thermal host facility when
                                                 219,000 MWh or the product of the                       the applicability of 40 CFR part 60,                      determining its net electric sales. It is
                                                 design efficiency and the potential                     subpart TTTTa. Therefore, not finalizing                  clearly not the intent of the provision to
                                                 electric output, whichever is greater; (3)              phase-2 BSER for non-continental and                      allow multiple third-party developers
                                                 serving a generator along with other                    non-contiguous areas will have limited,                   that serve the same thermal host to all
                                                 steam generating unit(s), IGCC, or                      if any, impacts on emissions or costs.                    subtract the purchased power of the
                                                 stationary combustion turbine(s) where                  The EPA notes that the Agency has the
                                                 the effective generation capacity is 25                                                                           thermal host facility when determining
                                                                                                         authority to amend this decision in                       net electric sales. This would result in
                                                 MW or less; (4) municipal waste                         future rulemakings.
                                                 combustors that are subject to 40 CFR                                                                             counting the purchased power multiple
                                                 part 60, subpart Eb; (5) commercial or                  i. Applicability to CHP Units                             times. In addition, it is not the intent of
                                                 industrial solid waste incineration units                                                                         the provision to allow a CHP developer
                                                                                                            For 40 CFR part 60, subpart TTTT,                      to provide a trivial amount of useful
                                                 subject to 40 CFR part 60, subpart                      owners/operators of CHP units calculate
                                                 CCCC; and (6) deriving greater than 50                                                                            thermal output to multiple thermal
                                                                                                         net electric sales and net energy output                  hosts and then subtract all the thermal
                                                 percent of heat input from an industrial                using an approach that includes ‘‘at
                                                 process that does not produce any                                                                                 hosts’ purchased power when
                                                                                                         least 20.0 percent of the total gross or                  determining net electric sales for
                                                 electrical or mechanical output that is                 net energy output consists of electric or
                                                 used outside the affected stationary                                                                              applicability purposes. The EPA
                                                                                                         direct mechanical output.’’ It is unlikely
                                                 combustion turbine.                                     that a CHP unit with a relatively low                       714 For contractual reasons, many developers of
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                                                    The EPA proposed the same
                                                                                                                                                                   CHP units sell the majority of the generated
                                                 requirements to combustion turbines in                    713 40 CFR part 60, subpart TTTT, also includes         electricity to the electricity distribution grid.
                                                                                                         coverage for owners/operators of combustion               Owners/operators of both the CHP unit and thermal
                                                   710 40 CFR 60.2.
                                                                                                         turbines in non-contiguous areas. However, owners/        host can subtract the site purchased power when
                                                   711 40 CFR 60.15(a).                                  operators of combustion turbines not capable of           determining net electric sales. Third-party
                                                   712 The EPA refers to the capability to combust       combusting natural gas (e.g., not connected to a          developers that do not own the thermal host can
                                                 250 MMBtu/h of fossil fuel as the ‘‘base load rating    natural gas pipeline) are not subject to the rule. This   also subtract the purchased power of the thermal
                                                 criterion.’’ Note that 250 MMBtu/h is equivalent to     exemption covers many combustion turbines in              host when determining net electric sales for
                                                 73 MW or 260 GJ/h heat input.                           non-contiguous areas.                                     applicability purposes.



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                                                 proposed and is finalizing in 40 CFR                    electric sales (i.e., utilization) relative to          permits do not typically restrict the
                                                 part 60, subpart TTTTa, to limit to the                 the combustion turbines’ potential                      number of hours of annual operation for
                                                 amount of thermal host purchased                        electric output to an electric distribution             combined cycle turbines, reflecting that
                                                 power that a third-party CHP developer                  network on both a 12-operating month                    these types of combustion turbines are
                                                 can subtract for electric sales when                    and 3-year rolling average basis. The                   intended to have the ability to provide
                                                 determining net electric sales equivalent               applicable subcategory is determined                    base load power.
                                                 to the percentage of useful thermal                     each operating month and a stationary                      The EPA evaluated the operation of
                                                 output provided to the host facility by                 combustion turbine can switch                           the three general combustion turbine
                                                 the specific CHP unit. This approach                    subcategories if the owner/operator                     technologies—combined cycle turbines,
                                                 eliminates both circumvention of the                    changes the way the facility is operated.               frame-type simple cycle turbines, and
                                                 intended applicability by sales of trivial              Subcategorization based on percent                      aeroderivative simple cycle turbines—
                                                 amounts of useful thermal output and                    electric sales is a proxy for how a                     when determining the subcategorization
                                                 double counting of thermal host-                        combustion turbine operates and for                     approach in this rulemaking.717 The
                                                 purchased power.                                        determining the BSER and                                EPA found that, at the same capacity
                                                    Finally, to avoid potential double                   corresponding emission standards. For                   factor, aeroderivative simple cycle
                                                 counting of electric sales, the EPA                     example, low load combustion turbines                   turbines have more starts (including
                                                 proposed and is finalizing that for CHP                 tend to spend a relatively high                         fewer operating hours per start) than
                                                 units determining net electric sales,                   percentage of operating hours starting                  either frame simple cycle turbines or
                                                 purchased power of the host facility be                 and stopping. However, within each                      combined cycle turbines. The maximum
                                                 determined based on the percentage of                   subcategory not all combustion turbines                 number of starts for aeroderivative
                                                 thermal power provided to the host                      operate the same. Some low load                         simple cycle turbines occurs at capacity
                                                 facility by the specific CHP facility.                  combustion turbines operate with less                   factors of approximately 30 percent and
                                                                                                         starting and stopping, but in general,                  the maximum number of starts for frame
                                                 ii. Non-Natural Gas Stationary
                                                                                                         combustion turbines tend to operate                     simple cycle turbines and combined
                                                 Combustion Turbines
                                                                                                         with fewer starts and stops (i.e., more                 cycle turbines both occur at capacity
                                                    There is currently an exemption in 40                                                                        factors of approximately 25 percent. In
                                                                                                         steady-state hours of operation) with
                                                 CFR part 60, subpart TTTT, for                                                                                  terms of the median hours of operation
                                                                                                         increasing percentages of electric sales.
                                                 stationary combustion turbines that are                                                                         per start, the hours per starts increases
                                                                                                         The BSER for each subcategory is based
                                                 not physically capable of combusting                                                                            exponentially with capacity factor for
                                                                                                         on representative operation of the
                                                 natural gas (e.g., those that are not                                                                           each type of combustion turbine. The
                                                                                                         combustion turbines in that subcategory
                                                 connected to a natural gas pipeline).                                                                           rate of increase is greatest for combined
                                                                                                         and on what is achievable for the
                                                 While combustion turbines not                                                                                   cycle turbines with the run times per
                                                 connected to a natural gas pipeline meet                subcategory as a whole.
                                                                                                           Subcategorization by electric sales is                start increasing significantly at capacity
                                                 the general applicability of 40 CFR part                                                                        factors of 40 and greater. This threshold
                                                 60, subpart TTTT, these units are not                   similar, but not identical, to
                                                                                                         subcategorizing by heat input-based                     roughly matches the subcategorization
                                                 subject to any of the requirements. The                                                                         threshold for intermediate load and base
                                                 EPA is not including in 40 CFR part 60,                 capacity factors or annual hours of
                                                                                                         operation limits.715 The EPA has                        load turbines in this final rule. As is
                                                 subpart TTTTa, the exemption for                                                                                discussed later in section VIII.F.3 and
                                                 stationary combustion turbines that are                 determined that, for NSPS purposes,
                                                                                                         electric sales is appropriate because it                VIII.F.4, technology options including
                                                 not physically capable of combusting                                                                            those related to efficiency and to post
                                                 natural gas. As described in the                        reflects operational limitations inherent
                                                                                                         in the design of certain units, and also                combustion capture are impacted by the
                                                 standards of performance section,                                                                               way units operate and can be more
                                                 owners/operators of combustion                          that—given these differences—certain
                                                                                                         emission reduction technologies are                     effective for units with fewer stops and
                                                 turbines burning fuels with a higher                                                                            starts.
                                                 heat input emission rate than natural                   more suitable for some units than for
                                                 gas would adjust the natural gas-fired                  others.716 This subcategorization                       a. Legal Basis for Subcategorization
                                                 emissions rate by the ratio of the heat                 approach is also consistent with                           As noted in section V.C.1 of this
                                                 input-based emission rates. The overall                 industry practice. For example,                         preamble, CAA section 111(b)(2)
                                                 result is that new stationary combustion                operating permits for simple cycle                      provides that the EPA ‘‘may distinguish
                                                 turbines combusting fuels with higher                   turbines often include annual operating                 among classes, types, and sizes within
                                                 GHG emissions rates than natural gas on                 hour limitations of 1,500 to 4,000 hours                categories of new sources for the
                                                 a lb CO2/MMBtu basis must maintain                      annually. When average hourly capacity                  purpose of establishing . . . standards
                                                 the same efficiency compared to a                       factors (i.e., duty cycles) are accounted               [of performance].’’ The D.C. Circuit has
                                                 natural gas-fired combustion turbine                    for, these hourly restrictions are similar              held that the EPA has broad discretion
                                                 and comply with a standard of                           to annual capacity factor restrictions of               in determining whether and how to
                                                 performance based on the identified                     approximately 15 percent and 40                         subcategorize under CAA section
                                                 BSER.                                                   percent, respectively. The owners or                    111(b)(2). Lignite Energy Council, 198
                                                                                                         operators of these combustion turbines                  F.3d at 933. As also noted in section
                                                 2. Subcategorization                                    never intend for them to provide base                   V.C.1 of this preamble, in prior CAA
                                                    In this final rule, the EPA is                       load power. In contrast, operating                      section 111 rules, the EPA has
                                                 continuing to include both simple and                                                                           subcategorized on numerous bases,
                                                                                                           715 Percent electric sales thresholds, capacity
                                                 combined cycle turbines in the
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                                                                                                         factor thresholds, and annual hours of operation        including, among other things, fuel type
                                                 definition of a stationary combustion                   limitations all categorize combustion turbines based    and load, i.e., utilization. In particular,
                                                 turbine, and like in prior rules for this               on utilization.                                         as noted in section V.C.1 of this
                                                 source category, the Agency is finalizing                 716 While utilization and electric sales are often
                                                                                                                                                                 preamble, the EPA subcategorized on
                                                 three subcategories—low load,                           similar, the EPA uses electric sales because the
                                                                                                         focus of the applicability is facilities that sell      the basis of utilization—for base load
                                                 intermediate load, and base load                        electricity to the grid and not industrial facilities
                                                 combustion turbines. These                              where the electricity is generated primarily for use       717 The EPA used manufacturers’ designations for

                                                 subcategories are determined based on                   onsite.                                                 frame and aeroderivative combustion turbines.



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                                                 and non-base load subcategories—in the                  designed to be simple cycle units rather       in the 2015 NSPS also includes
                                                 2015 NSPS for GHG emissions from                        than combined cycle units. This is             combustion turbines that operate at
                                                 combustion turbines, Standards of                       because combustion turbines operating          intermediate annual capacity factors
                                                 Performance for Greenhouse Gas                          in the intermediate load range also start      and are not considered base load EGUs.
                                                 Emissions From New, Modified, and                       and stop and vary their load frequently        These intermediate load EGUs provide a
                                                 Reconstructed Stationary Sources:                       (though not as often as low load peaking       variety of services, including providing
                                                 Electric Utility Generating Units, 80 FR                units). Because of the more frequent           dispatchable power to support variable
                                                 64509 (October 23, 2015), and also in                   starts and stops, simple cycle                 generation from renewable sources of
                                                 the NESHAP for Reciprocating Internal                   combustion turbines are more                   electricity. The need for this service has
                                                 Combustion Engines; NSPS for                            economical for project developers when         been expanding as the amount of
                                                 Stationary Internal Combustion Engines,                 compared to combined cycle                     electricity from wind and solar
                                                 79 FR 48072–01 (August 15, 2014).                       combustion turbines. Utilization of CCS        continues to grow. In the 2015 NSPS,
                                                    Subcategorizing combustion turbines                  technology is not practicable for those        the EPA determined the BSER for the
                                                 based on utilization is appropriate                     simple cycle units due to the lack of a        non-base load subcategory to be the use
                                                 because it recognizes the way differently               HRSG. Therefore, the EPA has                   of lower-emitting fuels (e.g., natural gas
                                                 designed combustion turbines actually                   determined that efficient design and           and Nos. 1 and 2 fuel oils). In 2015, the
                                                 operate. Project developers do not                      operation is the BSER for intermediate         EPA explained that efficient generation
                                                 construct combined cycle combustion                     load combustion turbines.                      did not qualify as the BSER due in part
                                                 turbine system to start and stop often to                  While use of CCS is practicable for         to the challenge of determining an
                                                 serve peak demand. Similarly, project                   combined cycle combustion turbines, it         achievable output-based CO2 emissions
                                                 developers do not construct and install                 is most appropriate for those units that       rate for all combustion turbines in this
                                                 simple cycle combustion turbines to                     operate at relatively higher loads (i.e., as   subcategory.
                                                 operate at higher capacity factors to                   base load units) that do not frequently           In this action, the EPA proposed and
                                                 provide base load demand. And                           start, stop, and change load. Moreover,        is finalizing the subcategories in 40 CFR
                                                 intermediate load demand may be                         with current technology, CCS works             part 60, subpart TTTTa, that will be
                                                 served by higher efficiency simple cycle                better on units running at base load           applicable to sources that commence
                                                 turbine systems or by ‘‘quick start’’                   levels.                                        construction or reconstruction after May
                                                 combined cycle units. Thus, there are                                                                  23, 2023. First, the Agency proposed
                                                                                                         b. Electric Sales Subcategorization (Low,
                                                 distinguishing features (i.e., different                                                               and is finalizing the definition of design
                                                                                                         Intermediate, and Base Load
                                                 classes, types, and sizes) of turbines that                                                            efficiency so that the heat input
                                                                                                         Combustion Turbines)
                                                 are predominantly used in each of the                                                                  calculation of an EGU is based on the
                                                 utilization-based subcategories. Further,                  As noted earlier, in the 2015 NSPS,         higher heating value (HHV) of the fuel
                                                 the amount of utilization and the mode                  the EPA established separate standards         instead of the lower heating value
                                                 of operation are relevant for the systems               of performance for new and                     (LHV), as explained immediately below.
                                                 of emission reduction that the EPA may                  reconstructed natural gas-fired base load      This has the effect of lowering the
                                                 evaluate to be the BSER and therefore                   and non-base load stationary                   calculated potential electric output and
                                                 for the resulting standards of                          combustion turbines. The electric sales        the electric sales threshold. In addition,
                                                 performance. See section VII.C.2.a.i for                threshold distinguishing the two               the EPA proposed and is finalizing
                                                 more discussion of the legal basis to                   subcategories is based on the design           division of the non-base load
                                                 subcategorize based upon characteristics                efficiency of individual combustion            subcategory into separate intermediate
                                                 relevant to the controls the EPA may                    turbines. A combustion turbine qualifies       and low load subcategories.
                                                 determine to be the BSER.                               as a non-base load turbine—and is thus
                                                    As noted in sections VIII.E.2.b and                  subject to a less stringent standard of        i. Higher Heating Value as the Basis for
                                                 VIII.F of this preamble, combustion                     performance—if it has net electric sales       Calculation of the Design Efficiency
                                                 turbines that operate at low load have                  equal to or less than the design                  The heat rate is the amount of energy
                                                 highly variable operation and therefore                 efficiency of the turbine (not to exceed       used by an EGU to generate 1 kWh of
                                                 highly variable emission rates. This                    50 percent) multiplied by the potential        electricity and is often provided in units
                                                 variability made it challenging for the                 electric output (80 FR 64601; October          of Btu/kWh. As the thermal efficiency of
                                                 EPA to specify a BSER based on                          23, 2015). If the net electric sales exceed    a combustion turbine EGU is increased,
                                                 efficient design and operation and limits               that level on both a 12-operating month        less fuel is burned per kWh generated
                                                 the BSER for purposes of this                           and 3-calendar year basis, then the            and there is a corresponding decrease in
                                                 rulemaking to lower-emitting fuels. The                 combustion turbine is in the base load         emissions of CO2 and other air
                                                 EPA notes that the subcategorization                    subcategory and is subject to a more           pollutants. The electric energy output as
                                                 threshold and the standard of                           stringent standard of performance.             a fraction of the fuel energy input
                                                 performance are related. For example,                   Subcategory applicability can change on        expressed as a percentage is a common
                                                 the Agency could have finalized a lower                 a month-to-month basis since                   practice for reporting the unit’s
                                                 electric sales threshold for the low load               applicability is determined each               efficiency. The greater the output of
                                                 subcategory (e.g., 15 percent) and                      operating month. For additional                electric energy for a given amount of
                                                 evaluated the emission rates at the                     discussion on this approach, see the           fuel energy input, the higher the
                                                 lower capacity factors. In future                       2015 NSPS (80 FR 64609–12; October             efficiency of the electric generation
                                                 rulemaking the Agency could further                     23, 2015). The 2015 NSPS non-base load         process. Lower heat rates are associated
                                                                                                         subcategory is broad and includes
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                                                 evaluate the costs and emissions                                                                       with more efficient power generating
                                                 impacts of reducing the threshold for                   combustion turbines that assure grid           plants.
                                                 combustion turbines subject to a BSER                   reliability by providing electricity              Efficiency can be calculated using the
                                                 based on the use of lower emitting fuels.               during periods of peak electric demand.        HHV or the LHV of the fuel. The HHV
                                                    Intermediate load combustion                         These peaking turbines tend to have low        is the heating value directly determined
                                                 turbines (i.e., those that operate at loads             annual capacity factors and sell a small       by calorimetric measurement of the fuel
                                                 that are somewhat higher than the low                   amount of their potential electric             in the laboratory. The LHV is calculated
                                                 load peaking units) are most often                      output. The non-base load subcategory          using a formula to account for the


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                                                 moisture in the combustion gas (i.e.,                        When using efficiency to compare the                 regulated community. To do this, the
                                                 subtracting the energy required to                        effectiveness of different combustion                   Agency based the numeric value of the
                                                 vaporize the water in the flue gas) and                   turbine EGU configurations and the                      design efficiency, which is used to
                                                 is a lower value than the HHV.                            applicable GHG emissions control                        calculate the electric sales threshold, on
                                                 Consequently, the HHV efficiency for a                    technologies, it is important to ensure                 the LHV efficiency. This had the impact
                                                 given EGU is always lower than the                        that all efficiencies are calculated using              of allowing combustion turbines to sell
                                                 corresponding LHV efficiency because                      the same type of heating value (i.e.,                   a greater share of their potential electric
                                                 the reported heat input for the HHV is                    HHV or LHV) and the same basis of                       output while remaining in the non-base
                                                 larger. For U.S. pipeline natural gas, the                electric energy output (i.e., MWh-gross                 load subcategory.
                                                 HHV heating value is approximately 10                     or MWh-net). Most emissions data are                       The EPA proposed and is finalizing
                                                 percent higher than the corresponding                     available on a gross output basis and the               that the design efficiency in 40 CFR part
                                                 LHV heating value and varies slightly                     EPA is finalizing output-based                          60, subpart TTTTa be based on the HHV
                                                 based on the actual constituent                           standards based on gross output.                        efficiency instead of LHV efficiency and
                                                 composition of the natural gas.718 The                    However, to recognize the superior                      to not include the 50 percent maximum
                                                 EPA default is to reference all                           environmental benefit of minimizing                     and 33 percent minimum restrictions.
                                                 technologies on a HHV basis,719 and the                   auxiliary/parasitic loads, the Agency is                When determining the potential electric
                                                 Agency is basing the heat input                           including optional equivalent standards                 output used in calculating the electric
                                                 calculation of an EGU on HHV for                          on a net output basis. To convert from                  sales threshold in 40 CFR part 60,
                                                 purposes of the definition of design                      gross to net output-based standards, the                subpart TTTT, design efficiencies of
                                                 efficiency. However, it should be                         EPA used a 2 percent auxiliary load for                 greater than 50 percent are reduced to
                                                 recognized that manufacturers of                          simple and combined cycle turbines and                  50 percent and design efficiencies of
                                                 combustion turbines typically use the                     a 7 percent auxiliary load for combined                 less than 33 percent are increased to 33
                                                 LHV to express the efficiency of                          cycle EGUs using 90 percent CCS.722                     percent for determining electric sales
                                                 combustion turbines.720                                                                                           threshold subcategorization criteria. The
                                                    Similarly, the electric energy output                  ii. Lowering the Threshold Between the
                                                                                                                                                                   50 percent criterion was established to
                                                 for an EGU can be expressed as either                     Base Load and Non-Base Load
                                                                                                                                                                   limit non-base load EGUs from selling
                                                 of two measured values. One value                         Subcategories
                                                                                                                                                                   greater than 55 percent of their potential
                                                 relates to the amount of total electric                      The subpart TTTT distinction                         electric sales.723 The 33 percent
                                                 power generated by the EGU, or gross                      between a base load and non-base load                   criterion was included to be consistent
                                                 output. However, a portion of this                        combustion turbine is determined by                     with applicability thresholds in the
                                                 electricity must be used by the EGU                       the unit’s actual electric sales relative to            electric utility criteria pollutant NSPS
                                                 facility to operate the unit, including                   its potential electric sales, assuming the              (40 CFR part 60, subpart Da).
                                                 compressors, pumps, fans, electric                        EGU is operated continuously (i.e.,                        Neither of those criteria are
                                                 motors, and pollution control                             percent electric sales). Specifically,                  appropriate for 40 CFR part 60, subpart
                                                 equipment. This within-facility                           stationary combustion turbines are                      TTTTa, and the EPA proposed and is
                                                 electrical demand, often referred to as                   categorized as non-base load and are                    finalizing a decision that they are not
                                                 the parasitic load or auxiliary load,                     subsequently subject to a less stringent                incorporated when determining the
                                                 reduces the amount of power that can be                   standard of performance if they have net                electric sales threshold. Instead, as
                                                 delivered to the transmission grid for                    electric sales equal to or less than their              discussed later in the section, the EPA
                                                 distribution and sale to customers.                       design efficiency (not to exceed 50                     is finalizing a fixed percent electric
                                                 Consequently, electric energy output                      percent) multiplied by their potential                  sales thresholds and the design
                                                 may also be expressed in terms of net                     electric output (80 FR 64601; October                   efficiency does not impact the
                                                 output, which reflects the EGU gross                      23, 2015). Because the electric sales                   subcategorization thresholds. However,
                                                 output minus its parasitic load.721                       threshold is based in part on the design                the design efficiency is still used when
                                                                                                           efficiency of the EGU, more efficient                   determining the potential electric sales
                                                    718 The HHV of natural gas is 1.108 times the LHV
                                                                                                           combustion turbine EGUs can sell a                      and any restriction on using the actual
                                                 of natural gas. Therefore, the HHV efficiency is
                                                 equal to the LHV efficiency divided by 1.108. For
                                                                                                           higher percentage of their potential                    design efficiency of the combustion
                                                 example, an EGU with a LHV efficiency of 59.4             electric output while remaining in the                  turbine would have the impact of
                                                 percent is equal to a HHV efficiency of 53.6 percent.     non-base load subcategory. This                         changing the threshold. If this
                                                 The HHV/LHV ratio is dependent on the                     approach recognizes both the                            restriction were maintained, it would
                                                 composition of the natural gas (i.e., the percentage
                                                 of each chemical species (e.g., methane, ethane,
                                                                                                           environmental benefit of combustion                     reduce the regulatory incentive for
                                                 propane)) within the pipeline and will slightly           turbines with higher design efficiencies                manufacturers to invest in programs to
                                                 move the ratio.                                           and provides flexibility to the regulated               develop higher efficiency combustion
                                                    719 Natural gas is also sold on a HHV basis.
                                                                                                           community. In the 2015 NSPS, it was                     turbines.
                                                    720 European plants tend to report thermal
                                                                                                           unclear how often high-efficiency                          The EPA also proposed and is
                                                 efficiency based on the LHV of the fuel rather than
                                                 the HHV for both combustion turbines and steam
                                                                                                           simple cycle EGUs would be called                       finalizing a decision to eliminate the 33
                                                 generating EGUs. In the U.S., boiler efficiency is        upon to support increased generation                    percent minimum design efficiency in
                                                 typically reported on a HHV basis.                        from variable renewable generating                      the calculation of the potential electric
                                                    721 It is important to note that net output values
                                                                                                           resources. Therefore, the Agency                        output. The EPA is unaware of any new
                                                 reflect the net output delivered to the electric grid     determined it was appropriate to                        combustion turbines with design
                                                 and not the net output delivered to the end user.
                                                 Electricity is lost as it is transmitted from the point   provide maximum flexibility to the                      efficiencies meeting the general
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                                                 of generation to the end user and these ‘‘line losses’’
                                                 increase the farther the power is transmitted. 40            722 The 7 percent auxiliary load for combined          723 While the design efficiency is capped at 50

                                                 CFR part 60, subpart TTTT, provides a way to              cycle turbines with 90 percent CCS is specific to       percent on a LHV basis, the base load rating
                                                 account for the environmental benefit of reduced          electric output. Additional auxiliary load includes     (maximum heat input of the combustion turbine) is
                                                 line losses by crediting CHP EGUs, which are              thermal energy that is diverted to the CCS system       on a HHV basis. This mixture of LHV and HHV
                                                 typically located close to large electric load centers.   instead of being used to generate additional            results in the electric sales threshold being 11
                                                 See 40 CFR 60.5540(a)(5)(i) and the definitions of        electricity. This additional auxiliary thermal energy   percent higher than the design efficiency. The
                                                 gross energy output and net energy output in 40           is accounted for when converting the phase 1            design efficiency of all new combined cycle EGUs
                                                 CFR 60.5580.                                              emissions standard to the phase 2 standard.             exceed 50 percent on a LHV basis.



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                                                 applicability criteria of less than 33                  come to full load relatively quickly, the          combustion turbines. Without
                                                 percent; and this will likely have no                   HRSG and steam turbine cannot, and                 accounting for economies of scale and
                                                 cost or emissions impact.                               combined cycle turbines responding to              variable operation, combined cycle
                                                    The EPA solicited comment on                         highly variable load will have                     turbines can appear to be more cost
                                                 whether the intermediate/base load                      efficiencies similar to simple cycle               effective than simple cycle turbines
                                                 electric sales threshold should be                      turbines.725 This has implications for             under almost all conditions. In addition,
                                                 reduced further to a range that would                   the appropriate control technologies and           without accounting for economies of
                                                 lower the base load electric sales                      corresponding emission reduction                   scale, large frame simple cycle turbines
                                                 threshold for simple cycle turbines to                  potential. The EPA determined the final            can appear to be more cost effective
                                                 between 29 to 35 percent (depending on                  standard of performance based on                   than higher efficiency aeroderivative
                                                 the design efficiency) and to between 40                review of emissions data for recently              simple cycle turbines, even if operated
                                                 to 49 percent for combined cycle                        installed combined cycle combustion                at a 100 percent capacity factor. These
                                                 turbines (depending on the design                       turbines with 12-operating month                   cost models are not intended to make
                                                 efficiency). The specific approach the                  capacity factors of 40 percent or greater.         direct comparisons, and the EPA
                                                 EPA solicited comment on was reducing                   The EPA considered a capacity factor               appropriately accounted for economies
                                                 the design efficiency by 6 percent (e.g.,               threshold lower than 40 percent.                   of scale when estimating the cost of the
                                                 multiplying by 0.94) when determining                   However, expanding the subcategory to              BSER. Since base load combustion
                                                 the electric sales threshold. Some                      include combustion turbines with a 12-             turbines tend to operate under steady
                                                 commenters supported lowering the                       operating month electric sales of less             state conditions with few starts and
                                                 proposed electric sales threshold while                 than 40 percent would require the EPA              stops, startup and shutdown costs and
                                                 others supported maintaining the                        to consider the emissions performance              the efficiency impact of operating at
                                                 proposed standards.                                     of combined cycle turbines operating at            variable loads are not important for
                                                    After considering comments, in 40                    lower capacity factors and, while it               determining the compliance costs of
                                                 CFR part 60, subpart TTTTa, the EPA                     would expand the number of sources in              base load combustion turbines.
                                                 has determined it is appropriate to                     the base load subcategory, it would also              Based on an adjusted model plant
                                                 eliminate the sliding scale electric sales              result in a higher (i.e., less stringent)          comparison, combined cycle EGUs have
                                                 threshold based on the design efficiency                numerical emission standard for the
                                                                                                                                                            a lower LCOE at capacity factors above
                                                 and instead base the subcategorization                  sources in the category.
                                                                                                                                                            approximately 40 percent compared to
                                                 thresholds on fixed electric sales (also                   Direct comparison of the costs of
                                                                                                         combined cycle turbines relative to                simple cycle EGUs operating at the same
                                                 referred to sometimes here as capacity
                                                                                                         simple cycle turbines can be challenging           capacity factors. This supports the final
                                                 factor). In 40 CFR part 60 subpart
                                                                                                         because model plant costs are often for            base load fixed electric sales threshold
                                                 TTTTa, the EPA is finalizing that the
                                                                                                         combustion turbines of different sizes             of 40 percent for simple cycle turbines
                                                 fixed electric sales threshold between
                                                                                                         and do not account for variable                    because it would be cost-effective for
                                                 intermediate load combustion turbines
                                                                                                         operation. For example, combined cycle             owners/operators of simple cycle
                                                 and base load combustion turbines is 40
                                                                                                         turbine model plants are generally for             turbines to add heat recovery if they
                                                 percent. The 40 percent electric sales
                                                                                                         an EGU that is several hundred                     elected to operate at higher capacity
                                                 (capacity factor) threshold reflects the
                                                                                                         megawatts while simple cycle turbine               factors as a base load unit. Furthermore,
                                                 maximum capacity factor for
                                                                                                         model plants are generally less than a             based on an analysis of monthly
                                                 intermediate load simple cycle turbines
                                                                                                         hundred megawatts. Direct comparison               emission rates, recently constructed
                                                 and the minimum prorated efficiency
                                                                                                         of the LCOE from these model plants is             combined cycle EGUs maintain
                                                 approach for base load combined cycle
                                                                                                         not relevant because the facilities are            consistent emission rates at capacity
                                                 turbines that the EPA solicited comment
                                                                                                         not comparable. Consider a facility with           factors of less than 55 percent (which is
                                                 on in proposal.724
                                                                                                         a block of 10 simple cycle turbines that           the base load electric sales threshold in
                                                    The base load electric sales threshold
                                                                                                         are each 50 MW (so the overall facility            subpart TTTT) relative to operation at
                                                 is appropriate for new combustion
                                                                                                         capacity is 500 MW). Each simple cycle             higher capacity factors. Therefore, the
                                                 turbines because, as will be discussed
                                                                                                         turbine operates as an individual unit             base load subcategory operating range
                                                 later, the first component of BSER for
                                                                                                         and provides a different value to the              can be expanded in 40 CFR part 60,
                                                 base load turbines is based on highly
                                                                                                         electric grid as compared to a single 500          subpart TTTTa, without impacting the
                                                 efficient combined cycle generation.
                                                                                                         MW combined cycle turbine. While the               stringency of the numeric standard.
                                                 Combined cycle units are significantly
                                                                                                         minimum load of the combined cycle                 However, at capacity factors of less than
                                                 more efficient than simple cycle
                                                                                                         facility might be 200 MW, the block of             approximately 40 percent, emission
                                                 turbines; and therefore, in general, the
                                                                                                         10 simple cycle turbines can provide               rates of combined cycle EGUs increase
                                                 EPA should be focusing its
                                                                                                         from approximately 20 MW to 500 MW                 relative to their operation at higher
                                                 determination of the BSER for base load
                                                                                                         to the electric grid.                              capacity factors. It takes much longer for
                                                 units on that more efficient technology.
                                                                                                            A more accurate cost comparison                 a HRSG to begin producing steam that
                                                 The electric sales thresholds and the
                                                                                                         accounts for economies of scale and                can be used to generate additional
                                                 emission standards are related because,
                                                                                                         estimates the cost of a combined cycle             electricity than it takes a combustion
                                                 at lower capacity factors, combustion
                                                                                                         turbine with the same net output as a              engine to reach full power. Under
                                                 turbines tend to have more variable
                                                                                                         simple cycle turbine. Comparing the                operating conditions with a significant
                                                 operation (e.g., more starts and stops
                                                                                                         modeled LCOE of these combustion                   number of starts and stops, typical of
                                                 and operation at part load conditions)
                                                                                                                                                            some intermediate and especially low
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                                                 that reduces the efficiency of the                      turbines provides a meaningful
                                                                                                         comparison, at least for base load                 load combustion turbines, there may not
                                                 combustion turbine. This is particularly
                                                                                                                                                            be enough time for the HRSG to generate
                                                 the case for combined cycle turbines                       725 This discussion assumes that the combined   steam that can be used for additional
                                                 because while the turbine engine can                    cycle turbine incorporates a bypass stack that     electrical generation. To maximize
                                                                                                         allows the combustion turbine engine to operate
                                                   724 The EPA solicited comment on basing the           independent of the HRSG/steam turbine. Without a
                                                                                                                                                            overall efficiency, combined cycle EGUs
                                                 electric sales threshold on a value calculated using    bypass stack the combustion turbine engine could   often use combustion turbine engines
                                                 0.94 times the design efficiency.                       not come to full load as quickly.                  that are less efficient than the most


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                                                 efficient simple cycle turbine engines.                 60, subpart TTTT. Therefore, the                         capacity factor electric sales thresholds
                                                 Under operating conditions with                         Agency does not believe that the                         of 10 percent, 15 percent, 20 percent,
                                                 frequent starts and stops where the                     concerns expressed by stakeholders                       and 25 percent. The EPA proposed to
                                                 HRSG does not have sufficient time to                   necessitates any revisions to the                        find and is finalizing a conclusion that
                                                 begin generating additional electricity, a              regulatory scheme. In fact, as noted                     the 10 percent threshold is problematic
                                                 combined cycle EGU may be no more                       above, the EPA is finalizing that the                    for two reasons. First, simple cycle
                                                 efficient than a highly efficient simple                electric sales threshold can be lowered                  turbines operating at that level or lower
                                                 cycle EGU. These distinctions in                        without impairing the availability of                    have highly variable emission rates, and
                                                 operation are thus meaningful for                       simple cycle turbines where needed,                      therefore it is difficult for the EPA to
                                                 determining which emissions control                     including to support the integration of                  establish a meaningful output-based
                                                 technologies are most appropriate for                   variable generation. The EPA believes                    standard of performance. In addition,
                                                 types of units. Once a combustion                       that the final threshold is not overly                   only one-third of simple cycle turbines
                                                 turbine unit exceeds approximately 40                   restrictive since a simple cycle turbine                 that have commenced operation since
                                                 percent annual capacity factor, it is                   could operate on average for more than                   2015 have maintained 12-operating
                                                 economical to add a HRSG which                          9 hours a day in the intermediate load                   month capacity factors of less than 10
                                                 results in the unit becoming both more                  subcategory.                                             percent. Therefore, setting the threshold
                                                 efficient and less likely to cycle its                                                                           at this level would bring most new
                                                                                                         iii. Low and Intermediate Load                           simple cycle turbines into the
                                                 operation. Such units are, therefore,
                                                                                                         Subcategories                                            intermediate load subcategory, which
                                                 better suited for more stringent emission
                                                 control technologies including CCS.                        This section discusses the EPA’s                      would subject them to a more stringent
                                                    After the 2015 NSPS was finalized,                   rationale for subcategorizing non-base                   emission rate that is only achievable for
                                                 some stakeholders expressed concerns                    load combustion turbines into two                        simple cycle turbines operating at
                                                 about the approach for distinguishing                   subcategories—low load and                               higher capacity factors. This could
                                                 between base load and non-base load                     intermediate load.                                       create a situation where simple cycle
                                                 turbines. They posited a scenario in                                                                             turbines might not be able to comply
                                                                                                         (A) Low Load Subcategory                                 with the intermediate load standard of
                                                 which increased utilization of wind and
                                                                                                            The EPA proposed and is finalizing in                 performance while operating at the low
                                                 solar resources, combined with low
                                                                                                         40 CFR part 60, subpart TTTTa, a low                     end of the intermediate load capacity
                                                 natural gas prices, would create the
                                                                                                         load subcategory to includes                             factor subcategorization criteria.
                                                 need for certain types of simple cycle                                                                              Based on the EPA’s review of hourly
                                                                                                         combustion turbines that operate only
                                                 turbines to operate for longer time                                                                              emissions data, at a capacity factor
                                                                                                         during periods of peak electric demand
                                                 periods than had been contemplated                                                                               above 15 percent, GHG emission rates
                                                                                                         (i.e., peaking units), which will be
                                                 when the 2015 NSPS was being                                                                                     for many simple cycle turbines begin to
                                                                                                         separate from the intermediate load
                                                 developed. Specifically, stakeholders                                                                            stabilize. At higher capacity factors,
                                                                                                         subcategory. Low load combustion
                                                 have claimed that in some regional                                                                               more time is typically spent at steady
                                                                                                         turbines also provide ramping capability
                                                 electricity markets with large amounts                                                                           state operation rather than ramping up
                                                                                                         and other ancillary services to support
                                                 of variable renewable generation, some                                                                           and down; and emission rates tend to be
                                                                                                         grid reliability. The EPA evaluated the
                                                 of the most efficient new simple cycle                                                                           lower while in steady-state operation.
                                                                                                         operation of recently constructed simple
                                                 turbines—aeroderivative turbines—                                                                                Of recently constructed simple cycle
                                                                                                         cycle turbines to understand how they
                                                 could be called upon to operate at                                                                               turbines, half have maintained 12-
                                                                                                         operate and to determine at what
                                                 capacity factors greater than their design                                                                       operating month capacity factors of 15
                                                                                                         electric sales level or capacity factor
                                                 efficiency. However, if those new                                                                                percent or less, two-thirds have
                                                                                                         their emissions rate is relatively steady.
                                                 simple cycle turbines were to operate at                                                                         maintained capacity factors of 20
                                                                                                         (Note that for purposes of this
                                                 those higher capacity factors, they                                                                              percent or less; and approximately 80
                                                                                                         discussion, the terms ‘‘electric sales’’
                                                 would become subject to the more                                                                                 percent have maintained maximum
                                                                                                         and ‘‘capacity factor’’ are used
                                                 stringent standard of performance for                                                                            capacity factors of 25 percent or less.
                                                                                                         interchangeably.) Low load combustion
                                                 base load turbines. As a result,                                                                                 The emission rates clearly stabilize for
                                                                                                         turbines generally only operate for short
                                                 according to these stakeholders, the new                                                                         most simple cycle turbines operating at
                                                                                                         periods of time and potentially at
                                                 aeroderivative turbines would have to                                                                            capacity factors of greater than 20
                                                                                                         relatively low duty cycles.726 This type
                                                 curtail their generation and instead,                                                                            percent. Based on this information, the
                                                                                                         of operation reduces the efficiency and
                                                 less-efficient existing turbines would be                                                                        EPA proposed the low load electric
                                                                                                         increases the emissions rate, regardless
                                                 called upon to run by the regional grid                                                                          sales threshold—again, the dividing line
                                                                                                         of the design efficiency of the
                                                 operators, which would result in overall                                                                         to distinguish between the intermediate
                                                                                                         combustion turbine or how it is
                                                 higher emissions. The EPA evaluated                                                                              and low load subcategories—to be 20
                                                                                                         maintained. For this reason, it is
                                                 the operation of simple cycle turbines in                                                                        percent and solicited comment on a
                                                                                                         difficult to establish a reasonable
                                                 areas of the country with relatively large                                                                       range of 15 to 25 percent. The EPA also
                                                                                                         output-based standard of performance
                                                 amounts of variable renewable                                                                                    solicited comment on whether the low
                                                                                                         for low load combustion turbines.
                                                 generation and did not find a strong                                                                             load electric sales threshold should be
                                                                                                            To determine the electric sales
                                                 correlation between the percentage of                                                                            determined by a site-specific threshold
                                                                                                         threshold—that is, to distinguish
                                                 generation from the renewable sources                                                                            based on three-fourths of the design
                                                                                                         between the intermediate load and low
                                                 and the 12-operating month capacity                                                                              efficiency of the combustion
                                                                                                         load subcategories—the EPA evaluated
                                                 factors of simple cycle turbines. In
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                                                                                                                                                                  turbine.727Under this approach, simple
                                                 addition, most of the simple cycle                        726 The duty cycle is the average operating
                                                 turbines that commenced operation                       capacity factor. For example, if an EGU operates at        727 The calculation used to determine the electric

                                                 between 2010 and 2016 (the most recent                  75 percent of the fully rated capacity, the duty cycle   sales threshold includes both the design efficiency
                                                 simple cycle turbines not subject to 40                 would be 75 percent regardless of how often the          and the base load rating. Since the base load rating
                                                                                                         EGU actually operates. The capacity factor is a          stays the same when adjusting the numeric value
                                                 CFR part 60, subpart TTTT) have                         measure of how much an EGU is operated relative          of the design efficiency for applicability purposes,
                                                 operated well below the base load                       to how much it could potentially have been               adjustments to the design efficiency has twice the
                                                 electric sales threshold in 40 CFR part                 operated.                                                impact. Specifically, using three-fourths of the



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                                                 cycle turbines selling less than 18 to 22               simple cycle turbine technology. The                      output from the integrated renewables
                                                 percent of their potential electric output              proposed approach provided a                              would be included when determining
                                                 (depending on the design efficiency)                    regulatory incentive for owners/                          the design efficiency of the facility.
                                                 would still have been considered low                    operators to purchase the most efficient                  Since the design efficiency is used when
                                                 load combustion turbines. This ‘‘sliding                technologies in exchange for additional                   determining the electric sales threshold
                                                 scale’’ electric sales threshold approach               compliance flexibility. The use of a                      this would increase the allowable
                                                 is like the approach the EPA used in the                prorated efficiency the EPA solicited                     electric sales for subcategorization
                                                 2015 NSPS to recognize the                              comment on would have lowered the                         purposes. Including the integrated
                                                 environmental benefit of installing the                 simple cycle and combined cycle                           renewables when determining the
                                                 most efficient combustion turbines for                  turbine thresholds to approximately 35                    design efficiency of the affected facility
                                                 low load applications. Using this                       percent and 50 percent, respectively.                     has the impact of increasing the
                                                 approach, combined cycle EGUs would                        In this final rule, the BSER for the                   operational flexibility of owners/
                                                 have been able to sell between 26 to 31                 intermediate load subcategory is                          operators of combustion turbines.
                                                 percent of their potential electric output              consistent with the proposal—high-                        Commenters generally supported
                                                 while still being considered low load                   efficiency simple cycle turbine                           maintaining that integrated renewables
                                                 combustion turbines. Some commenters                    technology. While not specifically                        are part of the affected facility and
                                                 supported a lower electric sales                        identified in the proposal, the BSER for                  including the output of the renewables
                                                 threshold while others supported a                      the base load subcategory is also                         when determining the emissions rate of
                                                 higher threshold. Based on these                        consistent with the proposal—the use of                   the affected facility.729 Therefore, the
                                                 comments, the EPA is finalizing the                     combined cycle technology.728                             Agency is finalizing a decision that the
                                                 proposed low load electric sales                           The 12-operating month electric sales                  rated output of integrated renewables be
                                                 threshold of 20 percent of the potential                (i.e., capacity factor) thresholds for the                included when determining the design
                                                 electric sales. The fixed 20 percent                    stationary combustion turbine                             efficiency of the affected facility, which
                                                 capacity factor threshold represents a                  subcategories in this final rule are                      is used to determine the potential
                                                 level of utilization at which most simple               summarized below in Table 2.                              electric output of the affected facility,
                                                 cycle combustion turbines perform at a                                                                            and that the output of the integrated
                                                 consistent level of efficiency and GHG                    TABLE 2—SALES THRESHOLDS FOR                            renewables be included in determining
                                                 emission performance, enabling the EPA                    SUBCATEGORIES OF COMBUSTION                             the emissions rate of the affected
                                                 to establish a standard of performance                    TURBINE EGUS                                            facility. However, since the design
                                                 that reflects a BSER of efficient                                                                                 efficiency is not a factor in determining
                                                 operation. The 20 percent capacity                                                        12-Operating month      the subcategory thresholds in 40 CFR
                                                 factor threshold is also more                                                                electric sales       part 60, subpart TTTTa, the output of
                                                 environmentally protective than the                            Subcategory                     threshold          the integrated renewables will not be
                                                 higher thresholds the EPA considered,                                                     (percent of potential   included for determining the applicable
                                                                                                                                              electric sales)
                                                 since owners and operators of                                                                                     subcategory. If the output from the
                                                 combustion turbines operating above a                   Low Load ......................          ≤20              integrated renewable generation were
                                                 20 percent capacity factor would be                     Intermediate Load .........          >20 and ≤40          included for subcategorization
                                                 subject to an output-based emissions                    Base Load ....................           >40              purposes, this could discourage the use
                                                 standard instead of a heat input-based                                                                            of integrated renewables (or
                                                 emissions standard based on the use of                  iv. Integrated Onsite Generation and                      curtailments) because affected facilities
                                                 lower-emitting fuels. This ensures that                 Energy Storage                                            could move to a subcategory with a
                                                 owners/operators of intermediate load                                                                             more stringent emissions standard that
                                                 combined cycle turbines properly                           Integrated equipment is currently                      could cause the owner/operator to be
                                                 maintain and operate their combustion                   included as part of the affected facility,                out of compliance. The impact of this
                                                 turbines.                                               and the EPA proposed and is finalizing                    approach is that the electric sales
                                                                                                         amended regulatory text to clarify that                   threshold of the combustion turbine
                                                 (B) Intermediate Load Subcategory                       the output from integrated renewables is                  island itself, not including the
                                                   The proposed sliding scale                            included as output when determining                       integrated renewables, for an owner/
                                                 subcategorization approach essentially                  the NSPS emissions rate. The EPA also                     operator of a combustion turbine that
                                                 included two subcategories within the                   proposed that the output from the                         includes integrated renewables that
                                                 proposed intermediate load subcategory.                 integrated renewable generation is not                    increase the potential electric output by
                                                 As proposed, simple cycle turbines                      included when determining the net                         1 percent would be 1 or 2 percent higher
                                                 would be classified as intermediate load                electric sales for applicability purposes                 for the stationary combustion turbine
                                                 combustion turbines when operated                       (i.e., generation from integrated                         island not considering the integrated
                                                 between capacity factors of 20 percent                  renewables would not be considered                        renewables, depending on the design
                                                 and approximately 40 percent while                      when determining if a combustion                          efficiency of the combustion turbine
                                                 combined cycle turbines would be                        turbine is subcategorized as a low,                       itself, than an identical combustion
                                                 classified as intermediate load                         intermediate, or base load combustion                     turbine without integrated renewables.
                                                 combustion turbines when operated                       turbine). In the alternative, the EPA                     In addition, when the output from the
                                                 between capacity factors of 20 percent                  solicited comment on whether instead                      integrated renewables is considered, the
                                                 to approximately 55 percent. Owners/                    of exempting the generation from the                      output from the integrated renewables
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                                                 operators of combined cycle turbines                    integrated renewables from counting
                                                 operating at the high end of the                        toward electric sales, the potential                        729 The EPA did not propose to include, and is

                                                 intermediate load subcategory would                                                                               not finalizing including, integrated renewables as
                                                                                                           728 Under the proposed subcategorization                part of the BSER. Commenters opposed a BSER that
                                                 only be subject to an emissions standard
                                                                                                         approach, for a combustion turbine to be                  would include integrated renewables as part of the
                                                 based on a BSER of high-efficiency                      subcategorized as an intermediate load combustion         BSER. Commenters noted that this could result in
                                                                                                         turbine while operating at capacity factors of greater    renewables being installed in suboptimal locations
                                                 design efficiency reduces the electric sales            than 40 percent required the use of a HRSG (e.g.,         which could result in lower overall GHG
                                                 threshold by half.                                      combined cycle turbine technology).                       reductions.



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                                                 lowers the emissions rate of the affected               regulated community informed the EPA                 grid reliability and avoiding the need to
                                                 facility by approximately 1 percent.                    that additional clarification of a system            declare grid emergencies).
                                                    For integrated energy storage                        emergency is needed to determine and                    The Agency is including the system
                                                 technologies, the EPA solicited                         document generation during system                    emergency concept in 40 CFR part 60,
                                                 comment on and is finalizing a decision                 emergencies. The EPA proposed to                     subpart TTTTa, along with a definition
                                                 to include the rated output of the energy               include the system emergency approach                that clarifies how to determine
                                                 storage when determining the design                     in 40 CFR part 60, subpart TTTTa, and                generation during periods of system
                                                 efficiency of the affected facility.                    solicited comment on amending the                    emergencies. The EPA agrees with
                                                 Similar to integrated renewables, this                  definition of system emergency to                    commenters that the definition of
                                                 increases the flexibility of owner/                     clarify in implementation in 40 CFR                  system emergency should be clarified
                                                 operators to sell larger amounts of                     part 60, subparts TTTT and TTTTa.                    and that it should not be limited to
                                                 electricity while remaining in the low,                 Commenters generally agreed with the                 EGUs not operating when the system
                                                 variable, and intermediate load                         proposal to allow owners/operators of                emergency is declared. Based on
                                                 subcategories. While energy storage                     EGUs called upon during a system                     information provided by entities with
                                                 technologies have high capital costs,                   emergency to operate without impacting               reliability expertise, the EPA has
                                                 operating costs are low and would                       the EGUs’ subcategorization (i.e.,                   determined that a system emergency
                                                 dispatch prior to the combustion turbine                electric sales during system emergencies             should be defined to include EEA levels
                                                 the technology is integrated with.                      would not be considered when                         2 and 3. These EEA levels generally
                                                 Therefore, simple cycle turbines with                   determining net electric sales), and that            correspond to time-limited, well-
                                                 integrated energy storage would likely                  the Agency should clarify how system                 defined, and relatively infrequent
                                                 operate at lower capacity factors than an               emergencies are determined and                       situations in which the system is
                                                 identical simple cycle turbine at the                   documented.                                          experiencing an energy deficiency.
                                                 same location. However, while the                          In terms of the definition of the                 During EEA level 2 and 3 events, all
                                                 energy storage might be charged with                    system emergency provision,                          available generation is online and
                                                 renewables that would otherwise be                      commenters stated that ‘‘abnormal’’ be               demand-response or other load
                                                 curtailed, there is no guarantee that low               deleted from the definition, and instead             management procedures are in effect, or
                                                 emitting generation would be used to                    of referencing ‘‘the Regional                        firm load interruption is imminent or in
                                                 charge the energy storage. Therefore, the               Transmission Organizations (RTO),                    progress. The EPA believes it is
                                                 output from the energy storage is not                   Independent System Operators (ISO) or                appropriate to exclude hours of
                                                 considered in either determining the                    control area Administrator,’’ the                    operation during such events in order to
                                                 NSPS emissions rate or as net electric                  definition should reference ‘‘the                    ensure that EGUs are not impeded from
                                                 sales for subcategorization applicability               balancing authority or reliability                   maintaining or increasing their output
                                                 purposes. In future rulemaking the                      coordinator.’’ This change would align               as needed to respond to a declared
                                                 Agency could further evaluate the                       the regulation’s definition with the                 energy emergency. Because these events
                                                 impact of integrated energy storage on                  terms used by NERC. Some commenters                  tend to be short, infrequent, and well-
                                                 the operation of simple cycle turbines to               also stated that the EPA should specify              defined, the EPA also believes any
                                                 determine if the number of starts and                   that electric sales during periods the               incremental GHG emissions associated
                                                 stops are reduced and increases the                     grid operator declares energy emergency              with operations during these periods
                                                 efficiency of simple cycle turbines                     alerts (EEA) levels 1 through 3 be
                                                 relative to simple cycle turbines without                                                                    would be relatively limited.
                                                                                                         included in the definition of system
                                                 integrated energy storage. If this is the                                                                       The EPA has determined not to
                                                                                                         emergency.732 In addition, some
                                                 case, it could be appropriate to lower                                                                       include EEA level 1 in the definition of
                                                                                                         commenters stated that the definition
                                                 the threshold for combustion turbines                                                                        a ‘‘system emergency.’’ The EPA’s
                                                                                                         should be expanded to include the
                                                 subject to a lower emitting fuels BSER                                                                       understanding is that EEA level 1 events
                                                                                                         concept of energy emergencies.
                                                 because emission rates would be stable                                                                       often include situations in which an
                                                                                                         Specifically, the definition should also
                                                 at lower capacity factors.                                                                                   energy deficiency does not yet exist, and
                                                                                                         exempt generation during periods when
                                                                                                                                                              in which balancing authorities are
                                                 v. Definition of System Emergency                       a load-serving entity or balancing
                                                                                                                                                              preparing to pursue various options for
                                                                                                         authority has exhausted all other
                                                    In 2015, the EPA included a provision                                                                     either bringing additional resources
                                                                                                         resource options and can no longer meet
                                                 that electricity sold during hours of                                                                        online or managing load. The EPA also
                                                                                                         its expected load obligations. Finally,
                                                 operation when a unit is called upon                                                                         understands that EEA level 1 events
                                                                                                         commenters stated that the definition
                                                 due to a system emergency is not                                                                             tend to be more frequently declared, and
                                                                                                         should apply to all EGUs, regardless of
                                                 counted toward the percentage electric                                                                       longer in duration, than level 2 or 3
                                                                                                         if they are already operating when the
                                                 sales subcategorization threshold in 40                                                                      events. Based on this information, the
                                                                                                         system emergency is declared. This
                                                 CFR part 60, subpart TTTT.730 The                                                                            EPA believes that including EEA level 1
                                                                                                         would avoid regulatory incentive to
                                                 Agency concluded that this exclusion is                                                                      events in the definition of a ‘‘system
                                                                                                         come offline prior to a potential system
                                                 necessary to provide flexibility,                                                                            emergency’’ would carry a greater risk of
                                                                                                         emergency to be eligible for the electric
                                                 maintain system reliability, and                                                                             increasing overall GHG emissions
                                                                                                         sales exemption and would treat all
                                                 minimize overall costs to the sector.731                                                                     without making a meaningful
                                                                                                         EGUs similarly during system
                                                 The intent is that the local grid operator                                                                   contribution to supporting reliability.
                                                                                                         emergencies (i.e., not penalize EGUs
                                                 will determine the EGUs essential to                                                                         This approach balances the need to have
                                                                                                         that are already operating to maintain
                                                 maintaining grid reliability. Subsequent                                                                     operational flexibility when the grid
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                                                 to the 2015 NSPS, members of the                           732 Commenters noted that grid operators have     may be strained to help ensure that all
                                                                                                         slightly different terms for grid emergencies, but   available generating sources are
                                                   730 In 40 CFR part 60, subpart TTTT, electricity
                                                                                                         example descriptions include: EEA 1, all available   available for grid reliability, while
                                                 sold by units that are not called upon to operate due   generation online and non-firm wholesale sales       balancing with important considerations
                                                 to a system emergency (e.g., units already operating    curtailed; EEA 2, load management procedures in
                                                 when the system emergency is declared) is counted       effect, all available generation units online,
                                                                                                                                                              about potential GHG emission tradeoffs.
                                                 toward the percentage electric sales threshold.         demand-response programs in effect; and EEA 3,       The EPA is also amending the definition
                                                   731 See 80 FR 64612; October 23, 2015.                firm load interruption is imminent or in progress.   in 40 CFR part 60, subpart TTTT, to be


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                                                 consistent with the definition in 40 CFR                from the additional electric sales. In                  by volume or more methane, and has a
                                                 part 60, subpart TTTTa.                                 addition, the time associated with                      heating value of between 35 and 41
                                                    Commenters also added that                           starting and stopping a CCS system                      megajoules (MJ) per dry standard cubic
                                                 operation during system emergencies                     would likely result in an EGU operating                 meter (dscm) (950 and 1,100 Btu per dry
                                                 should be subject to alternate standards                without the CCS system in operation                     standard cubic foot). Natural gas
                                                 of performance (e.g., owners/operators                  during periods of non-system                            typically contains 95 percent methane
                                                 are not required to use the CCS system                  emergencies. This would require the                     and has a heating value of 1,050 Btu/
                                                 during system emergencies to increase                   owner/operator to overcontrol during                    lb.735 A potential issue with the multi-
                                                 power output). The EPA agrees with                      other periods of operation to maintain                  fuel subcategory is that owners/
                                                 commenters that since system                            emissions below the applicable standard                 operators of simple cycle turbines can
                                                 emergencies are defined and historically                of performance. Therefore, it is likely an              elect to burn 10 percent non-natural gas
                                                 rare events, an alternate standard of                   owner/operator would unnecessarily                      fuels, such as Nos. 1 or 2 fuel oil, and
                                                 performance should apply during these                   adjust the operation of the CCS system                  thereby remain in that subcategory,
                                                 periods. Carbon capture systems require                 during EEA levels 2 and 3.                              regardless of their electric sales. As a
                                                 significant amounts of energy to operate.                  In addition to these measures, DOE
                                                                                                                                                                 result, they would remain subject to the
                                                 Allowing owners/operators of EGUs                       has authority pursuant to section 202(c)
                                                 equipped with CCS systems to                            of the Federal Power Act to, on its own                 less stringent standard that applies to
                                                 temporarily reduce the capture rate or                  motion or by request, order, among                      multi-fuel-fired sources, the lower-
                                                 cease capture will increase the                         other things, the temporary generation                  emitting fuels standard. This could
                                                 electricity available to end users during               of electricity from particular sources in               allow less efficient combustion turbine
                                                 system emergencies. In place of the                     certain emergency conditions, including                 designs to operate as base load units
                                                 applicable output-based emissions                       during events that would result in a                    without having to improve efficiency
                                                 standard, the owner/operator of an                      shortage of electric energy, when the                   and could allow EGUs to avoid the need
                                                 intermediate or base load combustion                    Secretary of Energy determines that                     for efficient design or best operating and
                                                 turbine would be subject to a BSER                      doing so will meet the emergency and                    maintenance practices. These potential
                                                 based on the combustion of lower-                       serve the public interest. An affected                  circumventions would result in higher
                                                 emitting fuels during system                            source operating pursuant to such an                    GHG emissions.
                                                 emergencies.733 The emissions and                       order is deemed not to be operating in                     To avoid these outcomes, the EPA
                                                 output would not be included when                       violation of its environmental                          proposed and is finalizing a decision
                                                 calculating the 12-operating month                      requirements. Such orders may be                        not to include the multi-fuel
                                                 emissions rate. The EPA considered an                   issued for 90 days and may be extended                  subcategory for low, intermediate, and
                                                 alternate emissions standard based on                   in 90-day increments after consultation                 base load combustion turbines in 40
                                                 efficient generation but rejected that for              with the EPA. DOE has historically                      CFR part 60, subpart TTTTa. This
                                                 multiple reasons. First, since system                   issued section 202(c) orders at the                     means that new multi-fuel-fired turbines
                                                 emergencies are limited in nature the                   request of electric generators and grid                 that commence construction or
                                                 emissions calculation would include a                   operators such as RTOs in order to                      reconstruction after May 23, 2023, will
                                                 limited number of hours and would not                   enable the supply of additional
                                                                                                                                                                 fall within a particular subcategory
                                                 necessarily be representative of an                     generation in times of expected
                                                                                                                                                                 depending on their level of electric
                                                 achievable longer-term emissions rate.                  emergency-related generation shortfalls.
                                                                                                                                                                 sales. The EPA also proposed and is
                                                 In addition, EGUs that are designed to
                                                                                                         c. Multi-Fuel-Fired Combustion                          finalizing a decision that the
                                                 operate with CCS will not necessarily
                                                                                                         Turbines                                                performance standards for each
                                                 operate as efficiently without the CCS
                                                 system operating compared to a similar                     In 40 CFR part 60, subpart TTTT,                     subcategory be adjusted appropriately
                                                 EGU without a CCS system. Therefore,                    multi-fuel-fired combustion turbines are                for multi-fuel-fired turbines to reflect
                                                 the Agency is not able to determine a                   subcategorized as EGUs that combust 10                  the application of the BSER for the
                                                 reasonable efficiency-based alternate                   percent or more of fuels not meeting the                subcategories to turbines burning fuels
                                                 emissions standard for periods of                       definition of natural gas on a 12-                      with higher GHG emission rates than
                                                 system emergencies. Due to both the                     operating month rolling average basis.                  natural gas. To be consistent with the
                                                 costs and time associated with starting                 The BSER for this subcategory is the use                definition of lower-emitting fuels in the
                                                 and stopping the CCS system, the                        of lower-emitting fuels with a                          2015 NSPS, the maximum allowable
                                                 Agency has determined it is unlikely                    corresponding heat input-based                          heat input-based emissions rate is 160 lb
                                                 that an owner/operator of an affected                   standard of performance of 120 to 160                   CO2/MMBtu. For example, a standard of
                                                 facility would use it where it is not                   lb CO2/MMBtu, depending on the fuel,                    performance based on efficient
                                                 needed. System emergencies have                         for newly constructed and reconstructed                 generation would be 33 percent higher
                                                 historically been relatively brief and any              multi-fuel-fired stationary combustion                  for a fuel oil-fired combustion turbine
                                                 hours of operation outside of the system                turbines.734 Lower-emitting fuels for                   compared to a natural gas-fired
                                                 emergencies are included when                           these units include natural gas,                        combustion turbine. This assures that
                                                 determining the output-based emissions                  ethylene, propane, naphtha, jet fuel                    the BSER, in this case efficient
                                                 standard. During short-duration system                  kerosene, Nos. 1 and 2 fuel oils,                       generation, is applied, while at the same
                                                 emergencies, the costs associated with                  biodiesel, and landfill gas. The                        time accounting for the use of multiple
                                                 stopping and starting the CCS system                    definition of natural gas in 40 CFR part                fuels.
                                                                                                         60, subpart TTTT, includes fuel that
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                                                 could outweigh the increased revenue
                                                                                                         maintains a gaseous state at ISO                          735 Note that according to 40 CFR part 60, subpart
                                                   733 For owners/operators of combustion turbines       conditions, is composed of 70 percent                   TTTT, combustion turbines co-firing 25 percent
                                                 the lower emitting fuels requirement is defined to                                                              hydrogen by volume could be subcategorized as
                                                 include fuels with an emissions rate of 160 lb CO2/        734 Combustion turbines co-firing natural gas with   multi-fuel-fired EGUs because the percent methane
                                                 MMBtu or less. For owners/operators of steam            other fuels must determine fuel-based site-specific     by volume could fall below 70 percent, the heating
                                                 generating units or IGCC facilities the EPA is          standards at the end of each operating month. The       value could fall below 35 MJ/Sm3, and 10 percent
                                                 requiring the use of the maximum amount of non-         site-specific standards depend on the amount of co-     of the heat input could be coming from a fuel not
                                                 coal fuels available to the affected facility.          fired natural gas. 80 FR 64616 (October 23, 2015).      meeting the definition of natural gas.



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                                                 d. Rural Areas and Small Utility                        different set of controls, and those         for the intermediate load and base load
                                                 Distribution Systems                                    controls formed the basis of                 subcategories could achieve deeper
                                                    As part of the original proposal and                 corresponding standards of performance       reductions in GHG emissions by
                                                 during the Small Business Advocacy                      that applied in two phases. Specifically,    implementing CCS and co-firing low-
                                                 Review (SBAR) outreach the EPA                          the EPA proposed that affected facilities    GHG hydrogen. This proposed approach
                                                 solicited comment on creating a                         (i.e., facilities that commence              also recognized that building the
                                                 subcategory for rural electric                          construction or reconstruction after May     infrastructure required to support
                                                 cooperatives and small utility                          23, 2023) could apply the first              widespread use of CCS and low-GHG
                                                                                                         component of the BSER (i.e., highly          hydrogen technologies in the power
                                                 distribution systems (serving 50,000
                                                                                                         efficient generation) upon initial startup   sector will take place on a multi-year
                                                 customers or less). Commenters
                                                                                                         to meet the first phase of the standard      time scale. Accordingly, new and
                                                 expressed concerns that a BSER based
                                                                                                         of performance. Then, by 2032, the EPA       reconstructed facilities would be aware
                                                 on either co-firing hydrogen or CCS may
                                                                                                         proposed that affected facilities could      of their need to ramp toward more
                                                 present an additional hardship on
                                                                                                         apply the second component of the            stringent phases of the standards, which
                                                 economically disadvantaged
                                                                                                         BSER (i.e., co-firing 30 percent (by         would reflect application of the more
                                                 communities and on small entities, and
                                                                                                         volume) low-GHG hydrogen) to meet a          stringent controls in the BSER. This
                                                 that the EPA should evaluate potential
                                                                                                         second and more stringent standard of        would occur either by co-firing a lower
                                                 increased energy costs, transmission
                                                                                                         performance. The EPA also solicited          percentage (by volume) of low-GHG
                                                 upgrade costs, and infrastructure                       comment on whether the intermediate
                                                 encroachment which may directly affect                                                               hydrogen by 2032 and a higher
                                                                                                         load subcategory should apply a third        percentage (by volume) of low-GHG
                                                 the disproportionately impacted                         component of the BSER: co-firing 96
                                                 communities. As described in section                                                                 hydrogen by 2038, or with installation
                                                                                                         percent (by volume) low-GHG hydrogen         and use of CCS by 2035. The EPA also
                                                 VIII.F, the BSER for new stationary                     by 2038. In addition, the EPA solicited
                                                 combustion turbines does not include                                                                 solicited comment on the potential for
                                                                                                         comment on whether the low load              an earlier compliance date for the
                                                 hydrogen co-firing and CCS qualifies as                 subcategory should also apply the
                                                 the BSER for base load combustion                                                                    second phase.
                                                                                                         second component of BSER, co-firing 30          For the base load subcategory, the
                                                 turbines on a nationwide basis.                         percent (by volume) low-GHG hydrogen,        EPA proposed two potential BSER
                                                 Therefore, the EPA has determined that                  by 2032. The Agency proposed that            pathways because the Agency believed
                                                 a subcategory for rural cooperatives                    these latter components of the BSER          there was more than one viable
                                                 and/or small utility distribution systems               would continue to include the                technology for these combustion
                                                 is not appropriate.                                     application of highly efficient              turbines to significantly reduce their
                                                 F. Determination of the Best System of                  generation.                                  CO2 emissions. The Agency also found
                                                 Emission Reduction (BSER) for New and                      For the base load subcategory, the        value in receiving comments on, and
                                                 Reconstructed Stationary Combustion                     EPA also proposed a multi-component          potentially finalizing, both BSER
                                                 Turbines                                                BSER and multi-phase standard of             pathways to enable project developers
                                                                                                         performance. The EPA proposed that           to elect how they would reduce their
                                                    In this section, the EPA describes the               each new base load combustion turbine
                                                 technologies it proposed as the BSER for                                                             CO2 emissions on timeframes that make
                                                                                                         would be required to meet a phase-1          sense for each BSER pathway.736 The
                                                 each of the subcategories of new and                    standard of performance based on the
                                                 reconstructed combustion turbines that                                                               EPA solicited comment on whether the
                                                                                                         application of the first component of the    co-firing of low-GHG hydrogen should
                                                 commence construction after May 23,                     BSER—highly efficient generation—
                                                 2023, as well as topics for which the                                                                be considered a compliance pathway for
                                                                                                         upon initial startup of the affected         sources to meet a single standard of
                                                 Agency solicited comment. In the                        source. For the second component of the
                                                 following section, the EPA describes the                                                             performance based on the application of
                                                                                                         BSER, the EPA proposed two potential         CCS rather than a separate BSER
                                                 technologies it is determining are the                  technology pathways for base load
                                                 final BSER for each of the three                                                                     pathway. The EPA proposed that there
                                                                                                         combustion turbines with                     would be earlier opportunities for units
                                                 subcategories of affected combustion                    corresponding standards of
                                                 turbines and explains its basis for                                                                  to begin co-firing lower amounts of low-
                                                                                                         performance. One proposed technology
                                                 selecting those controls, and not others,                                                            GHG hydrogen than to install and begin
                                                                                                         pathway was 90 percent CCS, which
                                                 as the final BSER. The controls that the                                                             operating 90 percent CCS systems.
                                                                                                         base load combustion turbines would
                                                 EPA evaluated included combusting                                                                    However, the Agency proposed that it
                                                                                                         install and begin to operate by 2035 to
                                                 non-hydrogen lower-emitting fuels (e.g.,                                                             would likely take longer for those units
                                                                                                         meet the phase-2 standard of
                                                 natural gas and distillate oil), using                                                               to increase their co-firing to significant
                                                                                                         performance. A second proposed
                                                 highly efficient generation, using CCS,                                                              quantities of low-GHG hydrogen.
                                                                                                         technology pathway was co-firing low-
                                                 and co-firing with low-GHG hydrogen.                                                                 Therefore, in the proposal, the EPA
                                                                                                         GHG hydrogen, which base load
                                                    For the low load subcategory, the EPA                                                             presented the BSER pathways as
                                                                                                         combustion turbines would implement
                                                 proposed the use of lower-emitting fuels                in two steps: (1) By co-firing 30 percent    separate subcategories and solicited
                                                 as the BSER. This was consistent with                   (by volume) low-GHG hydrogen to meet         comment on the option of finalizing a
                                                 the BSER and performance standards                      the phase-2 standard of performance by       single standard of performance based on
                                                 established in the 2015 NSPS for the                    2032, and (2) by co-firing 96 percent (by    the application of CCS.
                                                 non-base load subcategory as discussed                                                                  For the low load subcategory, the EPA
                                                                                                         volume) low-GHG hydrogen to meet a
                                                                                                                                                      proposed and is finalizing that the BSER
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                                                 earlier in section VIII.C.                              phase 3 standard of performance by
                                                    For the intermediate load subcategory,                                                            is the use of lower-emitting fuels. For
                                                                                                         2038. Throughout, the Agency proposed
                                                 the EPA proposed an approach under                      base load turbines, like intermediate        the intermediate load subcategory, the
                                                 which the BSER was made up of two                       load turbines, would remain subject to       EPA proposed and is finalizing that the
                                                 components: (1) highly efficient                        the first component of the BSER based          736 The EPA recognizes that standards of
                                                 generation; and (2) co-firing 30 percent                on highly efficient generation.              performance are technology neutral and that a
                                                 (by volume) low-GHG hydrogen. Each                         The proposed approach reflected the       standard based on application of CCS could be
                                                 component of the BSER represented a                     EPA’s view that the BSER components          achieved by co-firing hydrogen.



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                                                 BSER is highly efficient generating                               performance for base load combustion                              operators of new and reconstructed base
                                                 technology—simple cycle technology as                             turbines—efficient generation in                                  load combustion turbines will be
                                                 well as operating and maintaining it                              combination with 90 percent CCS.                                  required to meet the second phase
                                                 efficiently.737 The EPA is not finalizing                            The EPA is not finalizing low-GHG                              standards of performance for 12-
                                                 a second component of the BSER or a                               hydrogen co-firing as the second                                  operating month rolling averages that
                                                 phase-2 standard of performance for                               component of the BSER for the                                     begin on or after January 2032, that
                                                 intermediate load combustion turbines                             intermediate load or base load                                    reflect application of both the phase-1
                                                 at this time. For the base load                                   combustion turbines at this time. (See                            and phase-2 components of the BSER.
                                                                                                                   section VIII.F.5.b for the EPA’s
                                                 subcategory, the EPA proposed and is                                                                                                Table 3 of this document summarizes
                                                                                                                   explanation of this decision.) With
                                                 finalizing that the first component of the                                                                                          the final BSER for combustion turbine
                                                                                                                   respect to the CCS pathway for base
                                                 BSER is highly efficient generating                               load combustion turbines, the EPA is                              EGUs that commence construction or
                                                 technology—combined cycle technology                              finalizing a second phase of the                                  reconstruction after May 23, 2023. The
                                                 as well as operating and maintaining it                           standards of performance that includes                            EPA is finalizing standards of
                                                 efficiently. The EPA proposed and is                              a single CCS BSER pathway, which                                  performance based on those BSER for
                                                 finalizing a second component of the                              includes the use of highly efficient                              each subcategory, as discussed in
                                                 BSER or a phase-2 standard of                                     generation and 90 percent CCS. Owners/                            section VIII.G.

                                                                                                    TABLE 3—FINAL BSER FOR COMBUSTION TURBINE EGUS
                                                               Subcategory 1                                Fuel                       1st Component BSER                                      2nd Component BSER

                                                 Low Load .......................................   All Fuels ...........      lower-emitting fuels .......................   N/A.
                                                 Intermediate Load .........................        All Fuels ............     Highly Efficient Simple Cycle Gen-             N/A.
                                                                                                                                 eration.
                                                 Base Load .....................................    All Fuels ...........      Highly Efficient Combined Cycle                Highly Efficient Combined Cycle Generation Plus
                                                                                                                                 Generation.                                    90 Percent CCS Beginning in 2032.
                                                    1 The low load subcategory is applicable to combustion turbines selling 20 percent or less of their potential electric output, the intermediate
                                                 load subcategory is applicable to combustion turbines selling greater than 20 percent and less than or equal to 40 percent of their potential elec-
                                                 tric output, and the base load subcategory is applicable to combustion turbines selling greater than 40 percent of their potential electric output.


                                                 1. BSER for Low Load Subcategory                                  their design efficiency (not to exceed 50                         of lower-emitting fuels results in limited
                                                                                                                   percent) multiplied by their potential                            GHG reductions, but further recognized
                                                    This section describes the BSER for                            electric output (80 FR 64601; October                             that an output-based standard of
                                                 the low load (i.e., peaking) subcategory                          23, 2015). These are calculated on 12-                            performance could not reasonably be
                                                 at this time, which is the use of lower-                          operating month and 3-calendar year                               applied to the subcategory. The EPA
                                                 emitting fuels. The Agency proposed                               rolling average bases. The EPA also                               explained that a combustion turbine
                                                 and is finalizing a determination that                            determined in the 2015 NSPS that the                              operating at a low capacity factor could
                                                 the use of lower-emitting fuels, which                            BSER for newly constructed and
                                                 the EPA determined to be the BSER for                                                                                               operate with multiple starts and stops,
                                                                                                                   reconstructed non-base load natural gas-                          and that its emission rate would be
                                                 the non-base load subcategory in the                              fired stationary combustion turbines is
                                                 2015 NSPS, is the BSER for this low                                                                                                 highly dependent on how it was
                                                                                                                   the use of lower-emitting fuels. Id. at                           operated and not its design efficiency.
                                                 load subcategory. As explained in                                 64515. These lower-emitting fuels are
                                                 section VIII.E.2.b, the EPA is narrowing                                                                                            Moreover, combustion turbines with
                                                                                                                   primarily natural gas with a small                                low annual capacity factors typically
                                                 the definition of the low load                                    allowance for distillate oil (i.e., Nos. 1
                                                 subcategory by lowering the electric                                                                                                operated differently from each other,
                                                                                                                   and 2 fuel oils), which have been widely
                                                 sales threshold (as compared to the                                                                                                 and therefore had different emission
                                                                                                                   used in stationary combustion turbine
                                                 electric sales threshold for non-base                                                                                               rates. The EPA recognized that, as a
                                                                                                                   EGUs for decades.
                                                 load combustion turbines in the 2015                                 The EPA also determined in the 2015                            result, at the time it would not be
                                                 NSPS), so that combustion turbines with                           NSPS that the standard of performance                             possible to determine a standard of
                                                 higher electric sales would be placed in                          for sources in this subcategory is a heat                         performance that could reasonably
                                                 the intermediate load subcategory and                             input-based standard of 120 lb CO2/                               apply to all combustion turbines in the
                                                 therefore be subject to a more stringent                          MMBtu. The EPA established this clean-                            subcategory. For that reason, the EPA
                                                 standard based on the more stringent                              fuels BSER for this subcategory because                           further recognized, efficient design 738
                                                 BSER.                                                             of the variability in the operation in                            and operation would not qualify as the
                                                                                                                   non-base load combustion turbines and                             BSER; rather, the BSER should be lower-
                                                 a. Background: The Non-Base Load
                                                                                                                   the challenges involved in determining                            emitting fuels and the associated
                                                 Subcategory in the 2015 NSPS
                                                                                                                   a uniform output-based standard that all                          standard of performance should be
                                                   The 2015 NSPS defined non-base load                             new and reconstructed non-base load                               based on heat input. Since the 2015
                                                 natural gas-fired EGUs as stationary                              units could achieve.                                              NSPS, all newly constructed simple
                                                 combustion turbines that (1) burn more                               Specifically, in the 2015 NSPS, the                            cycle turbines have been non-base load
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                                                 than 90 percent natural gas and (2) have                          EPA recognized that a BSER for the non-                           units and thus have become subject to
                                                 net electric sales equal to or less than                          base load subcategory based on the use                            this standard of performance.
                                                    737 The EPA sometimes refers to highly efficient                 738 Important characteristics for minimizing                    characteristics do not necessarily always align with
                                                 generating technology in combination with the best                emissions from low load combustion turbines                       higher design efficiencies that are determined under
                                                 operating and maintenance practices as highly                     include the ability to operate efficiently while                  steady-state full-load conditions.
                                                 efficient generation. The affected sources must meet              operating at part load conditions and the ability to
                                                 standards based on this efficient generating                      rapidly achieve maximum efficiency to minimize
                                                 technology upon the effective date of the final rule.             periods of operation at lower efficiencies. These



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                                                 b. BSER                                                  highly dependent upon the way the                       system but is not incorporated in a
                                                    Consistent with the rationale of the                  specific combustion turbine is operated.                simple cycle unit. For this reason and
                                                 2015 NSPS, the EPA proposed and is                       For example, a combustion turbine with                  due to the high costs of CCS for low
                                                 finalizing that the use of fuels with an                 multiple startups and shutdowns and                     load combustion turbines, the Agency
                                                 emissions rate of less than 160 lb CO2/                  operation at part loads will have high                  did not propose and is not finalizing a
                                                 MMBtu (i.e., lower-emitting fuels) meets                 emissions relative to if it were operated               determination that CCS qualifies as the
                                                 the BSER requirements for the low load                   at steady-state high-load conditions.                   BSER for this subcategory of sources.
                                                 subcategory at this time. Use of these                   Important characteristics for reducing                     The EPA did not propose low-GHG
                                                 fuels is technically feasible for                        GHG emissions from low load                             hydrogen co-firing as the BSER for low
                                                 combustion turbines. Natural gas                         combustion turbines are the ability to                  load combustion turbines because not
                                                 comprises the majority of the heat input                 minimize emissions during periods of                    all new combustion turbines can
                                                 for simple cycle turbines and is the                     startup and shutdown and efficient                      necessarily co-fire higher percentages of
                                                 lowest cost fossil fuel. In the 2015                     operation at part loads and while                       hydrogen, there are potential
                                                 NSPS, the EPA determined that natural                    changing loads. If the combustion                       infrastructure issues specific to low load
                                                 gas comprised 96 percent of the heat                     turbine is frequently operated at part-                 combustion turbines, and at the
                                                 input for simple cycle turbines. See 80                  load conditions with frequent starts and                relatively infrequent levels of utilization
                                                 FR 64616 (October 23, 2015). Therefore,                  stops, a combustion turbine with a high                 that characterize the low load
                                                 a BSER based on the use of natural gas                   design efficiency, which is determined                  subcategory, a low-GHG hydrogen co-
                                                 and/or distillate oil would have                         at full-load steady-state conditions,                   firing BSER would not necessarily result
                                                 minimal, if any, costs to regulated                      would not necessarily emit at a lower                   in cost-effective GHG reductions for all
                                                 entities. The use of lower-emitting fuels                GHG rate than a combustion turbine                      low load combustion turbines. As
                                                 would not have any significant adverse                   with a lower design efficiency. In                      discussed later in this section, the
                                                 energy requirements or non-air quality                   addition, combustion turbines with                      Agency is not determining that low-
                                                 or environmental impacts, as the EPA                     higher design efficiencies have higher                  GHG hydrogen co-firing qualifies as the
                                                 determined in the 2015 NSPS. Id. at                      initial costs compared to combustion                    BSER for combustion turbines. In future
                                                 64616. In addition, the use of fuels                     turbines with lower design efficiencies.                rulemaking the Agency could further
                                                 meeting this criterion would result in                   Since the EPA does not have sufficient                  evaluate the costs and emissions
                                                 some emission reductions by limiting                     information at this time to determine                   performance of other technologies to
                                                 the use of fuels with higher carbon                      emission reduction for the subcategory                  reduce emissions from low-load units to
                                                 content, such as residual oil, as the EPA                it is not possible to determine the cost                determine if other technologies qualify
                                                 also explained in the 2015 NSPS. Id.                     effectiveness of a BSER based on high                   as the BSER.
                                                 Although the use of fuels meeting this                   efficiency simple cycle turbines.741
                                                 criterion would not advance technology,                     The EPA solicited comment on                         2. BSER for Intermediate Load
                                                 in light of the other reasons described                  whether, and the extent to which, high-                 Subcategory
                                                 here, the EPA proposed and is finalizing                 efficiency designs also operate more                      This section describes the BSER for
                                                 that the use of natural gas, Nos. 1 and                  efficiently at part loads and can start                 new and reconstructed combustion
                                                 2 fuel oils, and other fuels 739 currently               more quickly and reach the desired load                 turbines in the intermediate load
                                                 specified in 40 CFR part 60, subpart                     more rapidly than combustion turbines                   subcategory. For combustion turbines in
                                                 TTTT, qualify as the BSER for new and                    with less efficient design efficiencies. In             the intermediate load subcategory, the
                                                 reconstructed combustion turbine EGUs                    addition, the EPA solicited comment on                  BSER is the use of high-efficiency
                                                 in the low load subcategory at this time.                the cost premium of high-efficiency                     simple cycle turbine technology in
                                                 The EPA also proposed including low-                     simple cycle turbines. To the extent the                combination with the best operating and
                                                 GHG hydrogen on the list of fuels                        Agency received additional relevant                     maintenance practices.
                                                 meeting the uniform fuels criteria in 40                 information, the EPA was considering
                                                 CFR part 60, subpart TTTTa. The EPA                      promulgating design standard                            a. Lower-Emitting Fuels
                                                 is finalizing the inclusion of hydrogen,                 requirements pursuant to CAA section                       The EPA did not propose and is not
                                                 regardless of the production pathway,                    111(h). However, the EPA did not                        finalizing lower-emitting fuels as the
                                                 on the list of fuels meeting the uniform                 receive comments that changed the                       BSER for intermediate load combustion
                                                 fuels criteria in 40 CFR part 60, subpart                proposal conclusions.                                   turbines because, as described earlier in
                                                 TTTTa.740 The addition of hydrogen                          The EPA did not propose the use of                   this section, it would achieve few GHG
                                                 (and fuels derived from hydrogen) to 40                  CCS or hydrogen co-firing as the BSER                   emission reductions compared to highly
                                                 CFR part 60, subpart TTTTa, simplifies                   (or as a component of the BSER) for low                 efficient generation.
                                                 the recordkeeping and reporting                          load combustion turbines. The EPA did
                                                 requirements for low load combustion                     not propose that CCS is the BSER for                    b. Highly Efficient Generation
                                                 turbines that elect to burn hydrogen.                    simple cycle turbines based on the                        This section includes a discussion of
                                                    For the reasons discussed in the 2015                 Agency’s assessment that currently                      the various highly efficient generation
                                                 NSPS and noted above, the EPA did not                    available post-combustion amine-based                   technologies used by owners/operators
                                                 propose that efficient design and                        carbon capture systems require that the                 of combustion turbines. The appropriate
                                                 operation qualify as the BSER for the                    exhaust from a combustion turbine be                    technology depends on how the
                                                 low load subcategory. The emissions                      cooled prior to entering the carbon                     combustion turbine is operated, and the
                                                 rate of a low load combustion turbine is                 capture equipment. The most energy                      EPA has determined it does not have
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                                                                                                          efficient way to cool the exhaust gas is                sufficient information to determine an
                                                    739 The BSER for multi-fuel-fired combustion
                                                                                                          to use a HRSG, which is an integral                     appropriate output-based emissions
                                                 turbines subject to 40 CFR part 60, subpart TTTT,
                                                 is also the use of fuels with an emissions rate of       component of a combined cycle turbine                   standard for low load combustion
                                                 160 lb CO2/MMBtu or less. The use of these fuels                                                                 turbines. At higher capacity factors,
                                                 will demonstrate compliance with the low load              741 The cost effectiveness calculation is highly
                                                 subcategory.                                             dependent upon assumptions concerning the
                                                                                                                                                                  emission rates for simple cycle
                                                    740 The EPA is not finalizing a definition of low-    increase in capital costs, the decrease in heat rate,   combustion turbines are more
                                                 GHG hydrogen.                                            and the price of natural gas.                           consistent, and the EPA has sufficient


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                                                 information to determine a BSER other                   not limited to, minimizing steam leaks,              longer start times) of the combined cycle
                                                 than lower-emitting fuels.                              minimizing air infiltration, and cleaning            turbine. While less common, combined
                                                    The use of highly efficient generating               and maintaining heat transfer surfaces.              cycle turbines can be designed with a
                                                 technology in combination with the best                    A potential drawback of combined                  relatively simple HRSG that produces
                                                 operating and maintenance practices                     cycle turbines with the highest design               either a single or two pressures of steam
                                                 has been demonstrated by multiple                       efficiencies is that the facility is                 without a reheat cycle. While design
                                                 facilities for decades. Notably, over                   relatively complicated and startup times             efficiencies are lower, the combined
                                                 time, as technologies have improved,                    can be relatively long. Combustion                   cycle turbines are more flexible and
                                                 what is considered highly efficient has                 turbine manufacturers have invested in               have the potential to operate similar to
                                                 changed as well. Highly efficient                       fast-start technologies that reduce                  at least a portion of the simple cycle
                                                 generating technology is available and                  startup times and improve overall                    turbines in the intermediate load
                                                 offered by multiple vendors for both                    efficiencies. According to the NETL                  subcategory and provide the same value
                                                 simple cycle and combined cycle                         Baseline Flexible Operation Report,                  to the grid.
                                                 turbines. Both types of combustion                      while the design efficiencies are the                   The EPA solicited comment on
                                                 turbines can also employ best operating                 same, the capital costs of fast-start                whether additional technologies for new
                                                 and maintenance practices, which                        combined cycle turbines are 1.6 percent              simple and combined cycle EGUs that
                                                 include routine operating and                           higher than a comparable conventional                could reduce emissions beyond what is
                                                 maintenance practices that minimize                     start combined cycle facility.742 The                currently being achieved by the best
                                                 fuel use.                                               additional costs include design                      performing EGUs should be included in
                                                    For simple cycle turbines,                           parameters that significantly reduce                 the BSER. Specifically, the EPA sought
                                                 manufacturers continue to improve the                   start times. However, fast-start                     comment on whether pressure gain
                                                 efficiency by increasing firing                         combined cycle turbines are still                    combustion should be incorporated into
                                                 temperature, increasing pressure ratios,                significantly less flexible than simple              a standard of performance based on an
                                                 using intercooling on the air                           cycle turbines and generally do not                  efficient generation BSER for both
                                                 compressor, and adopting other                          serve the same role. The startup time to             simple and combined cycle turbines. In
                                                 measures. These improved designs                        full load from a hot start takes a simple            addition, the EPA sought comment on
                                                 allow for improved operating                            cycle turbine 5 to 8 minutes, while a                whether the HRSG for combined cycle
                                                 efficiencies and reduced emission rates.                combined cycle turbines ranges from 30               turbines should be designed to utilize
                                                 Design efficiencies of simple cycle                     minutes for a fast-start combined cycle              supercritical steam conditions or to
                                                 turbines range from 33 to 40 percent.                   turbine to 90 minutes for a conventional             utilize supercritical CO2 as the working
                                                 Best operating practices for simple cycle               start combined cycle turbine. The                    fluid instead of water; whether useful
                                                 turbines include proper maintenance of                  startup time to full load from a cold start          thermal output could be recovered from
                                                 the combustion turbine flow path                        takes a simple cycle turbine 10 minutes,             a compressor intercooler and boiler
                                                 components and the use of inlet air                     while a combined cycle turbines ranges               blowdown; and whether fuel preheating
                                                 cooling to reduce efficiency losses                     from 120 minutes for a fast-start                    should be implemented. Commenters
                                                 during periods of high ambient                          combined cycle turbine to 250 minutes                generally noted that these technologies
                                                 temperatures.                                           for a conventional start combined cycle              are promising, but that because the EPA
                                                    For combined cycle turbines, high-                   turbine. In addition, fast-start combined            did not sufficiently evaluate the BSER
                                                 efficiency technology uses a highly                     cycle turbines require the use of an                 criteria in the proposal and none of
                                                 efficient combustion turbine engine                     auxiliary boiler during warm and cold                these technologies should be
                                                 matched with a high-efficiency HRSG.                    starts.743 In addition, minimum run                  incorporated as part of the BSER. The
                                                 The most efficient combined cycle EGUs                  times for simple cycle aeroderivative                EPA continues to believe these
                                                 use HRSG with three different steam                     engines and combined cycle EGUs equal                technologies are promising, but the
                                                 pressures and incorporate a steam                       one minute and 120 minutes,                          Agency is not including them as part of
                                                 reheat cycle to maximize the efficiency                 respectively. Minimum downtime for                   the BSER at this time.
                                                 of the Rankine cycle. It is not                         the same group is five minutes and 60                   The EPA also solicited comment on
                                                 necessarily practical for owners/                       minutes, respectively. Finally, simple               whether the use of steam injection is
                                                 operators of combined cycle facilities                  cycle aeroderivative turbines have no                applicable to intermediate load
                                                 using a turbine engine with an exhaust                  limit to the number of starts per year.              combustion turbines. Steam injection is
                                                 temperature below 593 °C or a steam                     Combined cycle EGUs are limited in the               the use of a relatively simple and low-
                                                 turbine engine smaller than 60 MW to                    number of starts, and additional                     cost HRSG to produce steam, but
                                                 incorporate a steam reheat cycle.                       maintenance costs will occur if the                  instead of recovering the energy by
                                                 Smaller combustion turbine engines,                     hours/start ratio drops below 25. The                expanding the steam through a steam
                                                 less than those rated at approximately                  model combined cycle turbines in the                 turbine, the steam is injected into the
                                                 2,000 MMBtu/h, tend to have lower                       NETL Baseline Flexible Operation                     compressor and/or through the fuel
                                                 exhaust temperatures and are paired                     Report use a HRSG with three different               nozzles directly into the combustion
                                                 with steam turbines of 60 MW or less.                   steam pressures and a reheat cycle.                  chamber and the energy is extracted by
                                                 These smaller combined cycle units are                  While the use of this type of HRSG                   the combustion turbine engine.744
                                                 limited to using a HRSG with three                      increases design efficiencies at steady              Advantages of steam injection include
                                                 different steam pressures, but without a                state conditions, it increases the capital           improved efficiency and increased
                                                 reheat cycle. This increases the heat rate              costs and decreases the flexibility (e.g.,           output of the combustion turbine as
                                                 of the combined cycle unit by
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                                                                                                                                                              well as reduced NOX emissions.
                                                 approximately 2 percent. High                             742 ‘‘Cost and Performance Baseline for Fossil     Combustion turbines using steam
                                                 efficiency also includes, but is not                    Energy Plants, Volume 5: Natural Gas Electricity
                                                 limited to, the use of the most efficient               Generating Units for Flexible Operation.’’ DOE/         744 A steam injected combustion turbine would be

                                                 steam turbine and minimizing energy                     NETL–2023/3855. May 5, 2023.                         considered a combined cycle combustion turbine
                                                                                                           743 Fast start combined cycle turbine do not use   (for NSPS purposes) because energy from the
                                                 losses using insulation and blowdown                    an auxiliary boiler during hot starts and            turbine engine exhaust is recovered in a HRSG and
                                                 heat recovery. Best operating and                       conventional start combined cycle turbine do not     that energy is used to generate additional
                                                 maintenance practices include, but are                  have auxiliary boilers.                              electricity.



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                                                 injection have characteristics in-                      significant way how the combustion           the same level of grid support as
                                                 between simple cycle and combined                       turbine is operated or maintained, and       intermediate load simple cycle turbines
                                                 cycle combustion turbines. They are                     the levels of efficiency that the EPA is     as a whole. In addition, the amount of
                                                 more efficient, but more complex and                    proposing have been achieved by many         GHG reductions that could be achieved
                                                 have higher capital costs than simple                   recently constructed combustion              by operating combined cycle EGUs as
                                                 cycle combustion turbines without                       turbines. Therefore, efficient generation    intermediate load EGUs is unclear.
                                                 steam injection. Conversely, compared                   technology described in this BSER is         Intermediate load combustion turbines
                                                 to combined cycle EGUs, simple cycle                    commercially available and the               start and stop so frequently that there
                                                 combustion turbines using steam                         standards of performance are                 would often not be sufficient periods of
                                                 injection are simpler, have shorter                     achievable.                                  continuous operation where the HRSG
                                                 construction times, and have lower                                                                   would have sufficient time to generate
                                                                                                         ii. Costs
                                                 capital costs, but have lower                                                                        steam to operate the steam turbine
                                                 efficiencies.745 746 Combustion turbines                   In general, advanced generation           enough to significantly lower the
                                                 using steam injection can start quickly,                technologies enhance operational             emissions rate of the EGU.
                                                 have good part-load performance, and                    efficiency compared to lower efficiency         Some commenters agreed with the
                                                 can respond to rapid changes in                         designs. Such technologies present little    proposed rationale of the EPA, and
                                                 demand, making the technology a                         incremental capital cost compared to         other commenters disagreed and said
                                                 potential solution for reducing GHG                     other types of technologies that may be      that combined cycle turbine technology
                                                 emissions from intermediate load                        considered for new and reconstructed         is cost effective and lower-emitting than
                                                 combustion turbines. A potential                        sources. In addition, more efficient         simple cycle turbine technology and
                                                 drawback of steam injection is that the                 designs have lower fuel costs, which         therefore qualifies as the BSER for
                                                 additional pressure drop across the                     offsets at least a portion of the increase   intermediate load combustion turbines.
                                                 HRSG can reduce the efficiency of the                   in capital costs.                            Commenters supporting combined cycle
                                                 combustion turbine when the facility is                    For the intermediate load subcategory,    technology as the BSER submitted cost
                                                 running without the steam injection                     the EPA considers that the costs of high-    information that indicated that
                                                 operating.                                              efficiency simple cycle combustion           combined cycle EGUs have lower
                                                    The EPA is aware of a limited number                 turbines are reasonable. As described in     capital costs and LCOE than simple
                                                 of combustion turbines that are using                   the subcategory section, the cost of         cycle turbines. However, the
                                                 steam injection that have maintained                    combustion turbine engines is                commenters compared capital costs of
                                                 12-operating month emission rates of                    dependent upon many factors, but the         larger combined cycle turbines to
                                                 less than 1,000 lb CO2/MWh-gross.                       EPA estimates that that the capital cost
                                                                                                                                                      smaller simple cycle turbines and did
                                                 Commenters stated that steam injection                  of a high-efficiency simple cycle turbine
                                                                                                                                                      not account for economies of scale. The
                                                 does not qualify as the BSER because it                 is 10 percent more than a comparable
                                                                                                                                                      EPA has concluded that the appropriate
                                                 has not been adequately demonstrated                    lower efficiency simple cycle turbine.
                                                                                                                                                      cost comparison is for combustion
                                                 and the EPA did not include sufficient                  Assuming all other costs are the same
                                                                                                                                                      turbines with the same rated net
                                                 analysis of the technology in the                       and that the high-efficiency simple
                                                                                                                                                      output.747 Comparing the costs of
                                                 proposal to determine it as the BSER for                cycle turbine uses 8 percent less fuel,
                                                                                                                                                      different size EGUs is not appropriate
                                                 intermediate load combustion turbines.                  high-efficiency simple cycle combustion
                                                                                                                                                      because these EGUs provide different
                                                 The EPA continues to believe the                        turbines have a lower LCOE compared
                                                                                                         to standard efficiency simple cycle          grid services. In addition, the
                                                 technology is promising and it may be                                                                commenters did not account for startup
                                                 used to comply with the standard of                     combustion turbines at a 12-operating
                                                                                                         month capacity factor of approximately       costs and the time required for a steam
                                                 performance, but the Agency is not                                                                   turbine to begin operating when
                                                 determining that it is the BSER for                     31 percent. At a 20 percent and 15
                                                                                                         percent capacity factors, the compliance     determining the LCOE.
                                                 intermediate load combustion turbines                                                                   The EPA considered the operation of
                                                 at this time. In a potential future                     costs are $1.5/MWh and $35/metric ton
                                                                                                                                                      simple cycle turbine to determine the
                                                 rulemaking, the Agency could further                    and $3.0/MWh and $69/metric ton,
                                                                                                         respectively. The EPA has determined         potential for simple cycle turbine to add
                                                 evaluate the costs and emissions                                                                     a HRSG while continuing to operate in
                                                                                                         that the incremental costs the use of
                                                 performance of steam injection to                                                                    the same manner, providing the same
                                                                                                         high efficiency simple cycle turbines as
                                                 determine if the technology qualifies as                                                             grid services, as current simple cycle
                                                                                                         the BSER for intermediate load
                                                 the BSER.                                                                                            turbines. As noted previously,
                                                                                                         combustion turbines is reasonable. The
                                                 i. Adequately Demonstrated                              EPA notes that the approach the Agency       aeroderivative simple cycle turbines
                                                                                                         used to estimate these costs have a          have shorter run times per start than
                                                    The EPA proposed and is finalizing                                                                frame type simple cycle turbines at the
                                                 that highly efficient simple cycle                      relatively high degree of uncertainty and
                                                                                                         are likely high given the common use of      same capacity factor. At an annual
                                                 designs are adequately demonstrated                                                                  capacity factor of 20 percent, the
                                                 because highly efficient simple cycle                   high efficiency simple cycle turbines
                                                                                                         without a regulatory driver.                 median run time per start for
                                                 turbines have been demonstrated by                                                                   aeroderivative and frame simple cycle
                                                 multiple facilities for decades, the                       The EPA considered but is not
                                                                                                         finalizing combined cycle unit design        turbines is 12 and 16 hours respectively.
                                                 efficiency improvements of the most                                                                  At an annual capacity factor of 30
                                                 efficient designs are incremental in                    for combustion turbines as the BSER for
                                                                                                         the intermediate load subcategory            percent, the average run times per start
                                                 nature and do not change in any                                                                      increase to 17 and 26 hours for
                                                                                                         because it is unclear if combined cycle
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                                                                                                         turbines could serve the same role as        aeroderivative and frame turbines
                                                   745 Bahrami, S., et al. (2015). Performance

                                                 Comparison between Steam Injected Gas Turbine           intermediate load simple cycle turbines      respectively. The higher operating times
                                                 and Combined Cycle during Frequency Drops.              as a whole. Specifically, the EPA does       of frame type simple cycle turbines,
                                                 Energies 2015, Volume 8. https://doi.org/10.3390/       not have sufficient information to
                                                 en8087582.                                                                                             747 The costing approach used by the EPA
                                                   746 Mitsubishi Power. Smart-AHAT (Advanced            determine that an intermediate load          compares a combined cycle turbine using a smaller
                                                 Humid Air Turbine). https://power.mhi.com/              combined cycle turbine can start and         turbine engine plus a steam turbine to match the
                                                 products/gasturbines/technology/smart-ahat.             stop with enough flexibility to provide      output from a simple cycle turbine.



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                                                 along with the larger size of frame type                performance reflecting this BSER are                  reconstructed intermediate load
                                                 turbines, indicate that combined cycle                  1,170 lb CO2/MWh-gross for                            combustion turbines and to be the first
                                                 technology could be applicable to at                    intermediate load combustion turbines.                component BSER for base load
                                                 least a portion of intermediate load                      Between 2015 and 2022, 113 simple                   stationary combustions, is not the same
                                                 combustion turbines. In future                          cycle turbines, an average of 16 per year,            as the ‘‘heat rate improvements’’ (HRI,
                                                 rulemakings addressing GHGs from new                    commenced operation. Of these, 112                    or ‘‘efficiency improvements’’) that the
                                                 as well as existing combustion turbines,                reported 12-operating month capacity                  EPA determined to be the BSER for
                                                 the EPA intends to further evaluate the                 factors. The EPA estimates that 23                    existing coal-fired steam generating
                                                 costs and potential emission reductions                 simple cycle turbines operated at 12-                 EGUs in the ACE Rule. As noted earlier
                                                 of the use of faster starting and lower                 operating month capacity factors greater              in this document, the EPA has
                                                 cost HRSG technology for intermediate                   than 20 percent and potentially would                 concluded that the suite of HRI in the
                                                 load combustion turbines to determine                   be considered intermediate combustion                 ACE Rule is not an appropriate BSER for
                                                 if the technology does in fact qualify as               turbines. To estimate reductions, the                 existing coal-fired EGUs. In the EPA’s
                                                 the BSER.                                               EPA assumed that the number of simple                 technical judgment, the suite of HRI set
                                                 iii. Non-Air Quality Health and                         cycle turbines constructed between                    forth in the ACE Rule would provide
                                                 Environmental Impact and Energy                         2015 and 2022 and the operation of                    negligible CO2 reductions at best and, in
                                                 Requirements                                            those combustion turbines would                       many cases, may increase CO2
                                                                                                         continue on an annual basis.749 For each              emissions because of the ‘‘rebound
                                                    Use of highly efficient generation                   simple cycle turbine that operated at a               effect,’’ which is explained and
                                                 reduces all non-air quality health and                  capacity greater than 20 percent, the
                                                 environmental impacts and energy                                                                              discussed in section VII.D.4.a.iii of this
                                                                                                         EPA determined the percent reduction                  preamble. Increased CO2 emissions from
                                                 requirements assuming it displaces less                 in emissions, based on the maximum
                                                 efficient or higher-emitting generation.                                                                      the ‘‘rebound effect’’ can occur when a
                                                                                                         12-operating months intermediate load                 coal-fired EGU improves its efficiency
                                                 Even when operating at the same input-                  emission rate, that would be required to
                                                 based emissions rate, the more efficient                                                                      (heat rate), which can move the unit up
                                                                                                         comply with the final NSPS for                        on the dispatch order—resulting in an
                                                 a unit is, the less fuel is required to                 intermediate load turbines. The EPA
                                                 produce the same level of output; and,                                                                        EGU operating for more hours during
                                                                                                         then applied that same percent                        the year than it would have without
                                                 as a result, emissions are reduced for all              reduction in emissions to the average
                                                 pollutants. The use of highly efficient                                                                       having done the efficiency
                                                                                                         operating capacity factor to determine                improvements. There is also the
                                                 combustion turbines, compared to the                    the emission reductions from the NSPS.
                                                 use of less efficient combustion                                                                              possibility that a more efficient coal-
                                                                                                         Using this approach, the EPA estimates                fired EGU could displace a lower
                                                 turbines, reduces all pollutants.748 By                 that the intermediate load standard will
                                                 the same token, because improved                                                                              emitting generating source, further
                                                                                                         impact approximately a quarter of new                 exacerbating the problem.
                                                 efficiency allows for more electricity                  simple cycle turbines. The EPA divided
                                                 generation from the same amount of                      the total amount of calculated                           Conversely, including ‘‘highly
                                                 fuel, it will not have any adverse effects              reductions for intermediate load simple               efficient generation’’ as a component of
                                                 on energy requirements.                                 cycle turbines built between 2015 and                 the BSER for new and reconstructed
                                                    Designating highly efficient                                                                               does not create this risk of displacing a
                                                                                                         2022 and divided that value by 7 (the
                                                 generation as part of the BSER for new                                                                        lower-emitting generating source. A new
                                                                                                         number of years evaluated) to get
                                                 and reconstructed intermediate load                                                                           highly efficient stationary combustion
                                                 combustion turbines will not have                       estimated annual reductions. This
                                                                                                         approach results in annual reductions of              turbine may be dispatched more than it
                                                 significant impacts on the nationwide                                                                         would have been if it were not built as
                                                 supply of electricity, electricity prices,              31,000 tons of CO2 as well as 8 tons of
                                                                                                         NOX. The emission reductions are                      a highly efficient turbine, but it is more
                                                 or the structure of the electric power                                                                        likely to displace an existing coal-fired
                                                 sector. On a nationwide basis, the                      projected to result primarily from
                                                                                                         building additional higher efficiency                 EGU or a less efficient existing
                                                 additional costs of the use of highly                                                                         stationary combustion turbine. It would
                                                 efficient generation will be small                      aeroderivative simple cycle turbines
                                                                                                         instead of less efficient frame simple                be unlikely to displace a renewable
                                                 because the technology does not add
                                                                                                         cycle turbines. The reduced emissions                 generating source.
                                                 significant costs and at least some of
                                                 those costs are offset by reduced fuel                  come from relatively small reductions in                 For base load stationary combustion
                                                 costs. In addition, at least some of these              the emission rates of the intermediate                turbines, ‘‘highly efficient generation’’ is
                                                 new combustion turbines would be                        load aeroderivative simple cycle                      the first component of the BSER—with
                                                 expected to incorporate highly efficient                turbines. This is a snapshot of projected             90 percent capture CCS being the
                                                 generation technology in any event.                     emission reductions from applying the                 second component of the BSER. This is
                                                                                                         NSPS retroactively to 2022. If more                   very similar to the Agency’s BSER
                                                 iv. Extent of Reductions in CO2                         intermediate load simple cycle turbines               determination for the NSPS for new
                                                 Emissions                                               are built in the future, the emission                 fossil fuel-fired steam generating units.
                                                   The EPA estimated the potential                       reductions would be higher than this                  In that final rule, the EPA established
                                                 emission reductions associated with a                   estimate. Conversely, if fewer                        standards of performance for newly
                                                 standard that reflects the application of               intermediate load simple cycles are                   constructed fossil fuel-fired steam
                                                 highly efficient generation as BSER for                 built, the emission reductions would be               generating units based on the
                                                 the intermediate load subcategory. As                   lower than the EPA’s estimate.                        performance of a new highly efficient
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                                                 discussed in section VIII.G.1, the EPA                    Importantly, the ‘‘highly efficient                 supercritical pulverized coal (SCPC)
                                                 determined that the standards of                        generation’’ which the EPA has                        EGU implementing post-combustion
                                                                                                         determined to be the BSER for new and                 partial CCS technology, which the EPA
                                                    748 The emission reduction comparison is done
                                                                                                                                                               determined to be the BSER for these
                                                 assuming the same level of operation. Overall             749 This is a simplified assumption that does not
                                                                                                                                                               sources.750
                                                 emission impacts would be different if the more         take into account changing market conditions that
                                                 efficient combustion turbine operates more then the     could change the makeup and operation of new
                                                 baseline.                                               combustion turbines.                                   750 See 80 FR 64510 (October 23, 2015).




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                                                 v. Promotion of the Development and                     a. Lower-Emitting Fuels                               iii. Non-Air Quality Health and
                                                 Implementation of Technology                                                                                  Environmental Impact and Energy
                                                                                                            The EPA did not propose and is not                 Requirements
                                                    The EPA also considered the potential                finalizing lower-emitting fuels as the
                                                 impact of selecting highly efficient                                                                             Use of highly efficient generation
                                                                                                         BSER for base load combustion turbines
                                                 simple cycle generation technology as                                                                         reduces all non-air quality health and
                                                 the BSER for the intermediate load                      because, as described earlier in this
                                                                                                                                                               environmental impacts and energy
                                                 subcategory in promoting the                            section, it would achieve few GHG
                                                                                                                                                               requirements as compared to use of less
                                                 development and implementation of                       emission reductions compared to highly                efficient generation. Even when
                                                 improved control technology. New                        efficient generation.                                 operating at the same input-based
                                                 highly efficient simple cycle turbines                  b. Highly Efficient Generation                        emissions rate, the more efficient a unit
                                                 are more efficient than the average new                                                                       is, the less fuel is required to produce
                                                 simple cycle turbine and a standard                     i. Adequately Demonstrated                            the same level of output; and, as a
                                                 based on the performance of the most                                                                          result, emissions are reduced for all
                                                                                                            The EPA proposed and is finalizing
                                                 efficient, best performing simple cycle                                                                       pollutants. The use of highly efficient
                                                 turbine will promote penetration of the                 that highly efficient combined cycle
                                                                                                                                                               combustion turbines, compared to the
                                                 most efficient units throughout the                     designs are adequately demonstrated
                                                                                                                                                               use of less efficient combustion
                                                 industry. Accordingly, consideration of                 because highly efficient combined cycle
                                                                                                                                                               turbines, reduces all pollutants. By the
                                                 this factor supports the EPA’s proposal                 EGUs have been demonstrated by
                                                                                                                                                               same token, because improved
                                                 to determine this technology to be the                  multiple facilities for decades, and the              efficiency allows for more electricity
                                                 BSER.                                                   efficiency improvements of the most                   generation from the same amount of
                                                                                                         efficient designs are incremental in                  fuel, it will not have any adverse effects
                                                 c. Low-GHG Hydrogen and CCS                             nature and do not change in any                       on energy requirements.
                                                    The EPA did not propose and is not                   significant way how the combustion                       Designating highly efficient
                                                 finalizing either CCS or co-firing low-                 turbine is operated or maintained. Due                generation as part of the BSER for new
                                                 GHG hydrogen as the first component of                  to the differences in HRSG efficiencies               and reconstructed base load combustion
                                                 the BSER for intermediate load                          for smaller combined cycle turbines, the              turbines will not have significant
                                                 combustion turbines, for the reasons                    EPA proposed and is finalizing less                   impacts on the nationwide supply of
                                                 given in sections VIII.F.4.c.iii (CCS) and              stringent standards of performance for                electricity, electricity prices, or the
                                                 VIII.F.5 (low-GHG hydrogen).
                                                                                                         smaller base load turbines with base                  structure of the electric power sector.
                                                 d. Summary of BSER Determinations                       load ratings of less than 2,000 MMBtu/                On a nationwide basis, the additional
                                                    The EPA is finalizing that highly                    h relative to those for larger base load              costs of the use of highly efficient
                                                 efficient generating technology in                      turbines. The levels of efficiency that               generation will be small because the
                                                 combination with the best operating and                 the EPA is proposing have been                        technology does not add significant
                                                 maintenance practices is the BSER for                   achieved by many recently constructed                 costs and at least some of those costs are
                                                 intermediate load combustion turbines.                  combustion turbines. Therefore,                       offset by reduced fuel costs. In addition,
                                                 Specifically, the use of highly efficient               efficient generation technology                       at least some of these new combustion
                                                 simple cycle technology in combination                  described in this BSER is commercially                turbines would be expected to
                                                 with the best operating and                             available and the standards of                        incorporate highly efficient generation
                                                 maintenance practices is the BSER for                   performance are achievable.                           technology in any event.
                                                 intermediate load combustion turbines.                                                                        iv. Extent of Reductions in CO2
                                                    Highly efficient generation qualifies                ii. Costs
                                                                                                                                                               Emissions
                                                 the BSER because it is adequately
                                                 demonstrated, it can be implemented at                     For the base load subcategory, the                   The EPA used a similar approach to
                                                 reasonable cost, it achieves emission                   EPA considers the cost of high-                       estimating emission reductions for base
                                                 reductions, and it does not have                        efficiency combined cycle EGUs to be                  load combustion turbines as
                                                 significant adverse non-air quality                     reasonable. While the capital costs of a              intermediate load combustion turbines,
                                                 health or environmental impacts or                      higher efficiency combined cycle EGUs                 except the Agency reviewed recently
                                                 significant adverse energy requirements.                are 1.9 percent higher than standard                  constructed combined cycle EGUs. As
                                                 The fact that it promotes greater use of                efficiency combined cycle EGUs, fuel                  discussed in section VIII.G.1, the EPA
                                                 advanced technology provides                            use is 2.6 percent lower.751 The                      determined that the standard of
                                                 additional support; however, the EPA                    reduction in fuel costs fully offset the              performance reflecting this BSER is 800
                                                 considers highly efficient generation to                capital costs at capacity factors of 40               lb CO2/MWh-gross for base load
                                                 the BSER for intermediate load                          percent or greater over the expected 30-              combustion turbines. The Agency
                                                 combustion turbines even without                        year life of the facility. Therefore, a               assumed all new combined cycle
                                                 taking this factor into account.                        BSER based on the use of high-                        turbines would be impacted by the base
                                                                                                         efficiency combined cycle combustion                  load emissions standard. Between the
                                                 3. BSER for Base Load Subcategory—                                                                            beginning of 2015 and the beginning of
                                                 First Component                                         turbines for base load combustion
                                                                                                         turbines would have minimal, if any,                  2022, 129 combined cycle turbines, an
                                                    This section describes the first                                                                           average of 18 per year, commenced
                                                                                                         overall compliance costs since the
                                                 component of the BSER for newly                                                                               operation. Of those combined cycle
                                                                                                         capital costs would be recovered
                                                 constructed and reconstructed                                                                                 turbines, 107 had 12-operating month
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                                                 combustion turbines in the base load                    through reduced fuel costs over the                   emissions data. For each of these 107
                                                 subcategory. For combustion turbines in                 expected 30-year life of the facility.                combined cycle turbines that had a
                                                 the base load subcategory, the first                                                                          maximum 12-operating month
                                                 component of the BSER is the use of                       751 Cost And Performance Baseline for Fossil        emissions rate greater than 800 lb CO2/
                                                 high-efficiency combined cycle                          Energy Plants Volume 1: Bituminous Coal and           MWh-gross, the EPA determined the
                                                 technology in combination with the best                 Natural Gas to Electricity, Rev. 4A (October 2022),   reductions that would occur assuming
                                                 operating and maintenance practices.                    https://www.osti.gov/servlets/purl/1893822.           the combined cycle turbine reduced its


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                                                 emissions rate to 800 lb CO2/MWh-gross                  significant adverse energy requirements.       D.C. Circuit caselaw supports the
                                                 and continued to operate at its average                 The fact that it promotes greater use of     proposition that CAA section 111
                                                 capacity factor. The EPA summed the                     advanced technology provides                 authorizes the EPA to determine that
                                                 results and divided by 8 (the number of                 additional support; however, the EPA         controls qualify as the BSER—including
                                                 years evaluated) to estimate the annual                 considers highly efficient generation to     meeting the ‘‘adequately demonstrated’’
                                                 GHG reductions that will result from                    be a component of the BSER for base          criterion—even if the controls require
                                                 this final rule. The EPA estimates that                 load combustion turbines even without        some amount of ‘‘lead time,’’ which the
                                                 the base load standard will result in                   taking this factor into account.             court has defined as ‘‘the time in which
                                                 annual reductions of 313,000 tons of                                                                 the technology will have to be
                                                 CO2 as well as 23 tons of NOX. The                      4. BSER for Base Load Subcategory—           available.’’ 752 The caselaw’s
                                                 reductions increase each year and in                    Second Component                             interpretation of ‘‘adequately
                                                 year 3 the annual reductions would be                   a. Authority To Promulgate a Multi-Part      demonstrated’’ to accommodate lead
                                                 939,000 tons of CO2 and 69 tons of NOX.                 BSER and Standard of Performance             time accords with common sense and
                                                                                                                                                      the practical experience of certain types
                                                 v. Promotion of the Development and
                                                                                                            The EPA’s approach of promulgating        of controls, discussed below. Consistent
                                                 Implementation of Technology
                                                                                                         standards of performance that apply in       with this caselaw, the phased
                                                    The EPA also considered the potential                multiple phases, based on determining        implementation of the standards of
                                                 impact of selecting highly efficient                    the BSER to be a set of controls with        performance in this rule ensures that
                                                 generation technology as the BSER in                    multiple components, is consistent with      facilities have sufficient lead time for
                                                 promoting the development and                           CAA section 111(b). That provision           planning and implementation of the use
                                                 implementation of improved control                      authorizes the EPA to promulgate             of CCS-based controls necessary to
                                                 technology. The highly efficient                        ‘‘standards of performance,’’ CAA            comply with the second phase of the
                                                 combustion turbines are more efficient                  section 111(b)(1)(B), defined, in the        standards, and thereby ensures that the
                                                 and lower emitting than the average                     singular, as ‘‘a standard for emissions of   standards are achievable. For further
                                                 new combustion turbine generation                       air pollutants which reflects the degree     discussion of this point, see section
                                                 technology. Determining that highly                     of emission limitation achievable            V.C.2.b.iii.
                                                 efficient turbines are a component of the               through the application of the [BSER].’’       The EPA has promulgated several
                                                 BSER will advance penetration of the                    CAA section 111(a)(1). CAA section           prior rulemakings under CAA section
                                                 best performing combustion turbines                     111(b)(1)(B) further provides,               111(b) that have similarly provided the
                                                 throughout the industry—and will                        ‘‘[s]tandards of performance . . . shall     regulated sector with lead time to
                                                 incentivize manufacturers to offer                      become effective upon promulgation.’’        accommodate the availability of
                                                 improved turbines that meet the final                   In this rulemaking, the EPA is               technology, which also serve as
                                                 standard of performance associated with                 determining that the BSER is a set of        precedent for the two-phase
                                                 application of the BSER. Accordingly,                   controls that, depending on the              implementation approach proposed in
                                                 consideration of this factor supports the               subcategory, include highly efficient        this rule. See 81 FR 59332 (August 29,
                                                 EPA’s proposal to determine this                        generation plus use of CCS. The EPA is       2016) (establishing standards for
                                                 technology to be the BSER.                              determining that affected sources can        municipal solid waste landfills with 30-
                                                                                                         apply the first component of the BSER—       month compliance timeframe for
                                                 c. Low-GHG Hydrogen and CCS
                                                                                                         highly efficient generation—by the           installation of control device, with
                                                    The EPA did not propose and is not                   effective date of the final rule and can     interim milestones); 80 FR 13672, 13676
                                                 finalizing either CCS or co-firing low-                 apply both the first and second              (March 16, 2015) (establishing stepped
                                                 GHG hydrogen as the first component of                  components of the BSER—highly                compliance approach to wood heaters
                                                 the BSER for base load combustion                       efficient generation in combination with     standards to permit manufacturers lead
                                                 turbines, for the reasons given in                      90 percent CCS—in 2032.                      time to develop, test, field evaluate and
                                                 sections VIII.F.4.c.iii (CCS) and VIII.F.5                                                           certify current technologies to meet Step
                                                 (low-GHG hydrogen).                                        Accordingly, the EPA is finalizing
                                                                                                                                                      2 emission limits); 78 FR 58416, 58420
                                                                                                         standards of performance that reflect the
                                                 d. Summary of BSER Determinations                                                                    (September 23, 2013) (establishing
                                                                                                         application of this multi-component
                                                                                                                                                      multi-phased compliance deadlines for
                                                    The EPA is finalizing that highly                    BSER and that take the form of
                                                                                                                                                      revised storage vessel standards to
                                                 efficient generating technology in                      standards of performance that affected
                                                                                                                                                      permit sufficient time for production of
                                                 combination with the best operating and                 sources must comply with in two
                                                                                                                                                      necessary supply of control devices and
                                                 maintenance practices is the BSER for                   phases. This multi-phase standard of
                                                                                                                                                      for trained personnel to perform
                                                 first component of the BSER for base                    performance ‘‘become[s] effective upon
                                                                                                                                                      installation); 77 FR 56422, 56450
                                                 load combustion turbines. The phase-1                   promulgation.’’ CAA section
                                                                                                                                                      (September 12, 2012) (establishing
                                                 standards of performance are based on                   111(b)(1)(B). That is, upon
                                                                                                                                                      standards for petroleum refineries, with
                                                 the application of that technology.                     promulgation, affected sources become
                                                                                                                                                      3-year compliance timeframe for
                                                 Specifically, the use of highly efficient               legally subject to the multi-phase
                                                                                                                                                      installation of control devices); 71 FR
                                                 combined cycle technology in                            standard of performance and must
                                                                                                                                                      39154, 39158 (July 11, 2006)
                                                 combination with best operating and                     comply with it by its terms. Specifically,
                                                                                                                                                      (establishing standards for stationary
                                                 maintenance practices is the first                      affected sources must comply with the
                                                                                                                                                      compression ignition internal
                                                 component of the BSER for base load                     first phase standards, which are based
                                                                                                                                                      combustion engines, with 2- to 3-year
                                                                                                         on the application of the first
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                                                 combustion turbines.                                                                                 compliance timeframe and up to 6 years
                                                    Highly efficient generation qualifies                component of the BSER, upon initial
                                                                                                                                                      for certain emergency fire pump
                                                 as the BSER because it is adequately                    startup of the facility. They must
                                                                                                                                                      engines); 70 FR 28606, 28617 (March 18,
                                                 demonstrated, it can be implemented at                  comply with the second phase
                                                                                                                                                      2005) (establishing two-phase caps for
                                                 reasonable cost, it achieves emission                   standards, which are based on the
                                                 reductions, and it does not have                        application of both the first and second       752 See Portland Cement Ass’n v. Ruckelshaus,
                                                 significant adverse non-air quality                     components of the BSER, beginning            486 F.2d 375, 391 (D.C. Cir. 1973) (citations
                                                 health or environmental impacts or                      January 2032.                                omitted).



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                                                 mercury standards of performance from                   standards of performance for new               iv. CCS
                                                 new and existing coal-fired electric                    sources.                                       (A) Overview
                                                 utility steam generating units based on
                                                                                                         b. BSER for the Intermediate Load                 In this section of the preamble, the
                                                 timeframe when additional control
                                                                                                         Subcategory—Second Component                   EPA explains its rationale for finalizing
                                                 technologies were projected to be
                                                 adequately demonstrated).753 Cf. 80 FR                                                                 that CCS with 90 percent capture is a
                                                                                                            The EPA proposed that the second
                                                 64662, 64743 (October 23, 2015)                                                                        component of the BSER for new base
                                                                                                         component of the BSER for intermediate
                                                 (establishing interim compliance period                                                                load combustion turbines. CCS is a
                                                                                                         load combustion turbines was co-firing
                                                 to phase in final power sector GHG                                                                     control technology that can be applied
                                                                                                         30 percent low-GHG hydrogen in 2032.           at the stack of a combustion turbine
                                                 standards to allow time for planning                    As discussed in section VIII.F.5.b, the
                                                 and investment necessary for                                                                           EGU, achieves substantial reductions in
                                                                                                         EPA is not determining that low-GHG            emissions and can capture and
                                                 implementation activities).754 In each                  hydrogen qualifies as the BSER at this
                                                 action, the standards and compliance                                                                   permanently sequester at least 90
                                                                                                         time. Therefore, the Agency is not             percent of the CO2 emitted by
                                                 timelines were effective upon the final                 finalizing a second component of the
                                                 rule, with affected facilities required to                                                             combustion turbines. The technology is
                                                                                                         BSER for intermediate load combustion          adequately demonstrated, given that it
                                                 comply consistent with the phased                       turbines.
                                                 compliance deadline specified in each                                                                  has been operated on a large scale and
                                                 action.                                                 c. BSER for Base Load Subcategory—             is widely applicable to these sources,
                                                    It should be noted that the multi-                   Second Component                               and there are vast sequestration
                                                 phased implementation of the standards                                                                 opportunities across the continental
                                                                                                         i. Lower-Emitting Fuels                        U.S. Additionally, the costs for CCS are
                                                 of performance that the EPA is
                                                 finalizing in this rule, like the delayed                  The EPA did not propose and is not          reasonable in light of recent technology
                                                 or multi-phased standards in prior rules                finalizing lower-emitting fuels as the         cost declines and policies including the
                                                 just described, is distinct from the                    second component of the BSER for               tax credit under IRC section 45Q.
                                                 promulgation of revised standards of                    intermediate or base load combustion           Moreover, the non-air quality health and
                                                 performance under the 8-year review                     turbines because it would achieve few          environmental impacts of CCS can be
                                                 provision of CAA section 111(b)(1)(B).                  emission reductions, compared to               mitigated, and the energy requirements
                                                 As discussed in section VIII.F, the EPA                 highly efficient generation without or in      of CCS are not unreasonably adverse.
                                                 has determined that the proposed                        combination with the use of CCS.               The EPA’s weighing of these factors
                                                 BSER—highly efficient generation and                                                                   together provides the basis for finalizing
                                                                                                         ii. Highly Efficient Generation                90 percent capture CCS as a component
                                                 use of CCS—meet all of the statutory
                                                 criteria and are adequately                                                                            of BSER for these sources. In addition,
                                                                                                            For the reasons described above, the        this BSER determination aligns with the
                                                 demonstrated for the compliance                         EPA is determining that highly efficient
                                                 timeframes being finalized. Thus, the                                                                  caselaw, discussed in section V.C.2.h of
                                                                                                         generation in combination with best            the preamble, stating that CAA section
                                                 second phase of the standard of                         operating and maintenance practices
                                                 performance applies to affected facilities                                                             111 encourages continued advancement
                                                                                                         continues to be a component of the             in pollution control technology.
                                                 that commence construction after May                    BSER that is reflected in the second              This section incorporates by reference
                                                 23, 2023 (the date of the proposal). In                 phase of the standards of performance          the parts of section VII.C.1.a. of this
                                                 contrast, when the EPA later reviews                    for base load combustion turbine EGUs.         preamble that discuss the many aspects
                                                 and (if appropriate) revises a standard of              Highly efficient generation reduces fuel       of CCS that are common to both steam
                                                 performance under the 8-year review                     use and, therefore, the amount of CO2          generating units and to new combustion
                                                 provision, then affected sources that                   that must be captured by a CCS system.         turbines. This includes the discussion of
                                                 commence construction after the date of                 Since a highly efficient turbine system        simultaneous demonstration of CO2
                                                 that proposal of the revised standard of                would produce less flue gas that would         capture, transport, and sequestration
                                                 performance will be subject to that                     need to be treated (compared to a less         discussed at VII.C.1.a.i(A); the
                                                 standard, but not sources that                          efficient turbine system), physically          discussion of CO2 capture technology
                                                 commenced construction earlier.                         smaller carbon capture equipment may           used at coal-fired steam generating units
                                                    Similarly, the multi-phased                          be used—potentially reducing capital,          at VII.C.1.a.i(B) (the Agency explains
                                                 implementation of the standard of                       fixed, and operating costs.                    below why that record is also relevant
                                                 performance that the EPA is including
                                                                                                         iii. Hydrogen Co-Firing                        to our BSER analysis for new
                                                 in this rule is also distinct from the
                                                                                                                                                        combustion turbines); the discussion of
                                                 promulgation of emission guidelines for
                                                                                                            The EPA proposed a pathway for the          CO2 transport at VII.C.1.a.i(C); and the
                                                 existing sources under CAA section
                                                                                                         second component of the BSER for base          discussion of geologic storage of CO2 at
                                                 111(d). Emission guidelines only apply
                                                                                                         load combustion turbines of co-firing 30       VII.C.1.a.i(D). And the record
                                                 to existing sources, which are defined in
                                                                                                         percent low-GHG hydrogen in 2032               supporting that transport and
                                                 CAA section 111(a)(6) as ‘‘any stationary
                                                                                                         increasing to 96 percent low-GHG               sequestration of CO2 from coal-fired
                                                 source other than a new source.’’
                                                                                                         hydrogen co-firing in 2038. As                 units is adequately demonstrated and
                                                 Because new sources are defined
                                                                                                         discussed in section VIII.F.5.b of this        meets the other requirements for BSER
                                                 relative to the proposal of standards
                                                                                                         preamble, the EPA is not finalizing a          applies as well to transport and
                                                 pursuant to CAA section 111(b)(1)(B),
                                                                                                         determination that low-GHG hydrogen            sequestration of CO2 from combustion
                                                 standards of performance adopted
                                                                                                         co-firing qualifies as the BSER.
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                                                                                                                                                        turbines.
                                                 pursuant to emission guidelines will
                                                                                                         Therefore, the Agency is not finalizing           The primary differences between
                                                 only apply to sources constructed before
                                                                                                         a second component low-GHG hydrogen            using post-combustion capture from a
                                                 May 23, 2023, the date of the proposed
                                                                                                         co-firing pathway of the BSER for base         coal combustion flue gas and a natural
                                                   753 Cf. New Jersey v. EPA, 517 F.3d 574, 583–584
                                                                                                         load combustion turbines. As the EPA’s         gas combustion flue gas are associated
                                                 (D.C. Cir. 2008) (vacating rule on other grounds).      standard of performance is technology          with the level of CO2 in the flue gas
                                                   754 Cf. West Virginia v. EPA, 597 U.S. 697 (2022)     neutral, however, affected sources may         stream and the levels of other pollutants
                                                 (vacating rule on other grounds).                       comply with it by co-firing hydrogen.          that must be removed. In coal


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                                                 combustion flue gas, the concentration                  Power technology is not currently                    combustion turbines is similar to its
                                                 of CO2 is typically approximately 13 to                 applicable to coal-fired steam generating            analysis of those components for
                                                 15 volume percent, while the                            utility boilers—though it could be                   existing coal-fired steam generating
                                                 concentration of CO2 from natural gas-                  utilized with combustion of gasified                 units and, therefore, for much the same
                                                 fired combined cycle combustion flue                    coal or other solid fossil fuels (e.g.,              reasons, the EPA is determining that
                                                 gas is approximately 3 to 4 volume                      petroleum coke).                                     each of those components is adequately
                                                 percent.755 Capture of CO2 at dilute                       For new base load combustion                      demonstrated, and that CCS as a
                                                 concentrations is more challenging but                  turbines, the EPA proposed that CCS                  whole—including those components
                                                 there are commercially available amine-                 with a 90 percent capture rate,                      when combined with the 90 percent
                                                 based solvents that can be used with                    beginning in 2035, meets the BSER                    CO2 capture component—is adequately
                                                 dilute CO2 streams to achieve 90 percent                criteria. Some commenters agreed with
                                                                                                                                                              demonstrated. In addition, new sources
                                                 capture. In addition, flue gas from a                   the EPA that CCS for base load
                                                                                                                                                              may consider access to CO2 transport
                                                 coal-fired steam EGU contains a variety                 combustion turbines satisfies the BSER
                                                                                                         criteria. Other commenters claimed that              and storage sites in determining where
                                                 of non-carbonaceous components that
                                                                                                         CCS is not a suitable BSER for new base              to build, and the EPA expects that since
                                                 must be removed to meet environmental
                                                                                                         load combustion turbines. The EPA                    this rule was proposed, companies
                                                 limits (e.g., mercury and other metals,
                                                                                                         disagrees with these commenters.                     siting new base load combustion
                                                 particulate matter (fly ash), and acid
                                                                                                            As with existing coal-fired steam                 turbines have taken into consideration
                                                 gases (including sulfur dioxide (SO2)
                                                 and hydrogen chloride and hydrogen                      generating units, CCS applied to new                 the likelihood of a regulatory regime
                                                 fluoride). When amine-based post-                       combined cycle combustion turbines                   requiring significant emissions
                                                 combustion carbon capture is used with                  has three major components: CO2                      reductions.
                                                 a coal-fired EGU, the flue gas stream                   capture, transportation, and                            The use of CCS at 90 percent capture
                                                 must be further cleaned, sometimes                      sequestration/storage. CCS with 90                   can be implemented at reasonable cost
                                                 beyond required environmental                           percent capture has been adequately                  because it allows affected sources to
                                                 standards, to avoid the fouling of                      demonstrated for combined cycle                      maximize the benefits of the IRC section
                                                 downstream process equipment and to                     combustion turbines for many of the                  45Q tax credit. Finally, any adverse
                                                 prevent degradation of the amine                        same reasons described in section                    health and environmental impacts and
                                                 solvent. Absent pretreatment of the coal                VII.C.1.a.i. The Bellingham Energy
                                                                                                                                                              energy requirements are limited and, in
                                                 combustion flue gas, the amines can                     Center, a natural gas-fired combined
                                                                                                                                                              many cases, can be mitigated or
                                                 absorb SO2 and other acid gases to form                 cycle combustion turbine in south
                                                                                                         central Massachusetts, successfully                  avoided. It should also be noted that a
                                                 heat stable salts, thereby degrading the                                                                     determination that CCS is the BSER for
                                                 performance of the solvent. Amine                       applied post-combustion carbon capture
                                                                                                         using the Fluor Econamine FG PlusSM                  these units will promote further use and
                                                 solvents can also experience catalytic                                                                       development of this advanced
                                                 oxidative degradation in the presence of                amine-based solvent from 1991–2005
                                                                                                         with 85–95 percent CO2 capture.756 The               technology. After balancing these
                                                 some metal contaminants. Thermal                                                                             factors, the EPA is determining that
                                                 oxidation of the solvent can also occur                 plant captured approximately 365 tons
                                                                                                         of CO2 per day from a 40 MW slip                     utilization of CCS with 90 percent
                                                 but can be mitigated by interstage                                                                           capture for new base load combustion
                                                 cooling of the absorber column. Natural                 stream 757 and was ultimately shut
                                                                                                         down and decommissioned primarily                    turbine EGUs satisfies the criteria for
                                                 gas combustion flue gas typically
                                                                                                         due to rising gas prices.                            BSER.
                                                 contains very low (if any) levels of SO2,
                                                                                                            As discussed in further detail below,
                                                 acid gases, fly ash, and metals.                                                                             (B) Adequately Demonstrated
                                                                                                         additional natural gas-fired combined
                                                 Therefore, fouling and solvent
                                                                                                         cycle combustion turbine CCS projects                   The legal test for an adequately
                                                 degradation are less of a concern for
                                                                                                         are in the planning stage, which                     demonstrated system, and an achievable
                                                 carbon capture from natural gas-fired
                                                                                                         confirms that CCS is becoming accepted               standard, has been discussed at length
                                                 EGUs.
                                                    New natural gas-fired combustion                     across the industry. As discussed above,             above. (See sections V.C.2.b and
                                                 turbine EGUs also have the option of                    CCS with 90 percent capture has been                 VII.C.a.i of this preamble). As
                                                 using oxy-combustion technology—such                    demonstrated for coal-fired steam                    previously noted, concepts of adequate
                                                 as that currently being demonstrated                    generating units, and that information               demonstration and achievability are
                                                 and developed by NET Power. As                          forms part of the basis for the EPA’s
                                                                                                                                                              closely related: ‘‘[i]t is the system which
                                                 discussed earlier, the NET Power system                 determination that CCS with 90 percent
                                                                                                                                                              must be adequately demonstrated and
                                                 uses oxy-combustion (combustion in                      capture has been have adequately
                                                                                                                                                              the standard which must be
                                                 pure oxygen) of natural gas and a high-                 demonstrated for these combustion
                                                                                                         turbines. Statements from vendors and                achievable,’’ 758 based on application of
                                                 pressure supercritical CO2 working fluid                                                                     the system. An achievable standard
                                                 (instead of steam) to produce electricity               the experience of industrial applications
                                                                                                         of CCS provide further support that                  means a standard based on the EPA’s
                                                 in a combined cycle turbine                                                                                  finding that sufficient evidence exists to
                                                 configuration. The combustion products                  post-combustion CCS with 90 percent
                                                                                                         capture is adequately demonstrated for               reasonably determine that the affected
                                                 are water and high-purity, pipeline-                                                                         sources in the source category can adopt
                                                 ready CO2 which is available for                        these combustion turbines.
                                                                                                            The EPA’s analysis of the                         a specific system of emission reduction
                                                 sequestration or sale to another                                                                             to achieve the specified degree of
                                                                                                         transportation and sequestration
                                                 industry. The NET Power technology
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                                                                                                         components of CCS for new base load                  emission limitation. The foregoing
                                                 does not involve solvent-based CO2                                                                           sections have shown that CCS,
                                                 separation and capture since pure CO2                     756 Fluor Econamine FG PlusSM brochure. https://   specifically using amine post-
                                                 is a product of the process. The NET                    a.fluor.com/f/1014770/x/a744f915e1/econamine-fg-     combustion CO2 capture, is adequately
                                                                                                         plus-brochure.pdf.
                                                   755 NETL Carbon Dioxide Capture Approaches.             757 ‘‘Commercially Available CO Capture
                                                                                                                                                              demonstrated for existing coal units,
                                                                                                                                          2
                                                 https://netl.doe.gov/research/carbon-management/        Technology’’ Power, (Aug 2009). https://
                                                 energy-systems/gasification/gasifipedia/capture-        www.powermag.com/commercially-available-co2-           758 Essex Chem. Corp. v. Ruckelshaus, 486 F.2d

                                                 approaches.                                             capture-technology/.                                 427, 433 (1973).



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                                                 and that a 90 percent capture standard                  capture, and many of the challenges that                 (1) CO2 Capture for Combined Cycle
                                                 is achievable.759                                       were faced by earlier commercial scale                   Combustion Turbines
                                                    Pursuant to Lignite Energy Council v.                demonstrations on coal-fired units can                      As discussed in the preceding, new
                                                 EPA, the EPA may extrapolate based on                   be avoided in the application of CCS at                  stationary combustion turbines can use
                                                 data from a particular kind of source to                natural gas-fired combustion turbines.                   amine-based post-combustion capture.
                                                 conclude that the technology at issue                                                                            Additionally, new stationary
                                                                                                            Second, the CO2 concentration of
                                                 will also be effective at a similar                                                                              combustion turbines may also utilize
                                                                                                         natural gas-fired combined cycle flue
                                                 source.760 This standard is satisfied in                                                                         oxy-combustion, which uses a purified
                                                                                                         gas is lower than that of coal flue gas
                                                 our case, because of the essential ways                                                                          oxygen stream from an air separation
                                                                                                         (approximately 3-to-4 volume percent
                                                 in which CO2 capture at coal-fired steam                                                                         unit (often diluted with recycled CO2 to
                                                 generating units is identical to CO2                    for natural gas combined cycle EGUs;
                                                                                                         13-to-15 volume percent for coal). For                   control the flame temperature) to
                                                 capture at natural gas-fired combined                                                                            combust the fuel and produce a nearly
                                                 cycle turbines. As detailed in section                  solvent-based CO2 capture, CO2
                                                                                                         concentration is the driving force for                   pure stream of CO2 in the flue gas, as
                                                 VII.C.1.a.i(B), amine-based CO2 capture                                                                          opposed to combustion with oxygen in
                                                 removes CO2 from post-combustion flue                   mass transfer and the reaction of CO2
                                                                                                         with the solvent. However, flue gases                    air which contains 80 percent nitrogen.
                                                 gas by reaction of the CO2 with amine                                                                            Currently available post-combustion
                                                 solvent. The same technology (i.e., the                 with lower CO2 concentrations can be
                                                                                                         readily addressed by the correct sizing                  amine-based CO2 capture systems
                                                 same solvents and processes) that is                                                                             require that the flue gas be cooled prior
                                                 employed on coal-fired steam generating                 and design of the capture equipment—
                                                                                                         and such considerations have been                        to entering the capture equipment. This
                                                 units—and that is employed to capture                                                                            holds true for the exhaust from either a
                                                 CO2 from fossil fuel combustion in other                made in evaluating the BSER here and
                                                                                                         are reflected in the cost analysis in                    coal-fired utility boiler or from a
                                                 industrial processes—can be applied to                                                                           combustion turbine. The most energy
                                                 remove CO2 from the post-combustion                     VII.C.1.a.ii(A) of this preamble.
                                                                                                         Moreover, as is detailed in the following                efficient way to cool the flue gas stream
                                                 flue gas of natural gas-fired combined                                                                           is to use a HRSG—which, as explained
                                                 cycle EGUs. In fact, the only differences               sections of the preamble, amine-based
                                                                                                                                                                  above, is an integral component of a
                                                 in application of amine-based CO2                       CO2 capture has been shown to be
                                                                                                                                                                  combined cycle turbine system—to
                                                 capture on a natural gas-fired combined                 effective at removal of CO2 from the flue
                                                                                                                                                                  generate additional useful output.762
                                                 cycle unit relative to a coal-fired steam               gas of natural gas-fired combined cycle                     CO2 capture has been successfully
                                                 generating unit are related to the                      EGUs. In fact, there is not a technical                  applied to an existing combined cycle
                                                 differences in composition of the                       limit to removal of CO2 from flue gases                  turbine and several other projects are in
                                                 respective post-combustion flue gases,                  with low CO2 concentrations—the EPA                      development, as discussed immediately
                                                 and as explained below, these                           notes that amine solvents have been                      below.
                                                 differences do not preclude achieving                   shown to be able to remove CO2 to
                                                 90 percent capture from a gas-fired                     concentrations that are less than the                    (a) CCS on Combined Cycle EGUs
                                                 turbine.                                                concentration of CO2 in the atmosphere.                     The most prominent example of the
                                                    First, while coal flue gas contains                     Considering these factors, the                        use of carbon capture technology on a
                                                 impurities including SO2, PM, and trace                 evidence that underlies the EPA’s                        natural gas-fired combined cycle turbine
                                                 minerals that can affect the downstream                 determination that amine post-                           EGU was at the 386 MW Bellingham
                                                 CO2 process, and thus coal flue gas                     combustion CO2 capture is adequately                     Cogeneration Facility in Bellingham,
                                                 requires substantial pre-treatment, the                 demonstrated, and that a 90 percent                      Massachusetts. The plant used Fluor’s
                                                 post-combustion flue gas of natural gas-                capture standard is achievable, at coal-                 Econamine FG PlusSM amine-based CO2
                                                 fired combustion turbines has few, if                   fired steam generating units, also                       capture system with a capture capacity
                                                 any, impurities that would impact the                                                                            of 360 tons of CO2 per day. The system
                                                                                                         applies to natural gas-fired combined
                                                 downstream CO2 capture plant. Where                                                                              was used to produce food-grade CO2
                                                                                                         cycle EGUs. Where differences exist,
                                                 impurities are present, SO2 in particular                                                                        and was in continuous commercial
                                                                                                         due to differences in flue gas
                                                 can cause solvent degradation, and coal-                                                                         operation from 1991 to 2005 (14 years).
                                                                                                         composition, CCS at natural gas-fired
                                                 fired sources without an FGD would                                                                               The capture system was able to
                                                                                                         combined cycle combustion turbines
                                                 likely need to install one. Filterable PM                                                                        continuously capture 85–95 percent of
                                                                                                         will in general face fewer challenges
                                                 (fly ash) from coal, if not properly                                                                             the CO2 that would have otherwise been
                                                                                                         than CCS at coal-fired steam
                                                 managed, can cause fouling and scale to                                                                          emitted from the flue gas of a 40 MW
                                                                                                         generators.761 Moreover, in addition to
                                                 accumulate on downstream blower fans,                                                                            slip stream.763 The natural gas
                                                                                                         the evidence outlined above, the
                                                 heat exchangers, and absorber packing                                                                            combustion flue gas at the facility
                                                 material. Further, additional care in the               following sections provide additional
                                                                                                         information specific to, including                       contained 3.5 volume percent CO2 and
                                                 solvent reclamation is necessary to                                                                              13–14 volume percent oxygen. As
                                                 mitigate solvent degradation that could                 examples of, anime-based capture at
                                                                                                         natural gas-fired combined cycle EGUs.                   mentioned earlier, the flue gas from a
                                                 otherwise occur due to the trace                                                                                 coal combustion flue gas stream has a
                                                 elements that can be present in coal.                   For these reasons, the EPA has
                                                                                                         determined that CCS at 90 percent                        typical CO2 concentration of
                                                 Because the flue gas from natural gas-                                                                           approximately 15 volume percent and
                                                 fired combustion turbines contains few,                 capture is adequately demonstrated for
                                                                                                         natural gas fired combined cycle EGUs.                   more dilute CO2 stream are more
                                                 if any, impurities that would impact                                                                             challenging to separate and capture. Just
                                                 downstream CO2 capture, the flue gas                                                                             before the CO2 capture system was shut
                                                                                                           761 Many of the challenges faced by Boundary
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                                                 from natural gas-fired combined cycle
                                                                                                         Dam Unit 3—which proved to be solvable—were
                                                 EGUs is easier to work with for CO2                     caused by the impurities, including fly ash, SO2,          762 The EPA proposed that because the BSER for

                                                                                                         and trace contaminants in coal-fired post-               non-base load combustion turbines was simple
                                                   759 The EPA uses the two phrases (i) BSER is CCS      combustion flue gas—which do not occur in the            cycle technology, CCS was not applicable.
                                                 with 90 percent capture and (ii) CCS with 90            natural gas post-combustion flue gas. As a result, for     763 U.S. Department of Energy (DOE). Carbon

                                                 percent capture is achievable, or similar phrases,      CO2 capture for natural gas combustion, flue gas         Capture Opportunities for Natural Gas Fired Power
                                                 interchangeably.                                        handling is simpler, solvent degradation is easier to    Systems. https://www.energy.gov/fecm/articles/
                                                   760 Lignite Energy Council v. EPA, 198 F.3d 930       prevent, and fewer redundancies may be necessary         carbon-capture-opportunities-natural-gas-fired-
                                                 (D.C. Cir. 1999).                                       for various components (e.g., heat exchangers).          power-systems.



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                                                 down in 2005 (due to high natural gas                   facility and sequester up to 1.5 million               storage site being developed 62 miles off
                                                 price), the system had logged more than                 metric tons of CO2 annually. A storage                 the Scottish North Sea coast will serve
                                                 120,000 hours of CO2 capture 764 and                    site being developed 62 miles off the                  as a destination for the captured
                                                 had a 98.5 percent on-stream                            Scottish North Sea coast will serve as a               CO2.778 779
                                                 (availability) factor.765                               destination for the captured CO2.771 772
                                                    The Fluor Econamine FG PlusSM is a                                                                          (c) Coal-Fired Steam Generating Units
                                                                                                            Furthermore, the Global CCS Centre is
                                                 propriety carbon capture solution with                  tracking other international CCS on                       As detailed in section VII.C.1.a, CCS
                                                 more than 30 licensed plants and more                   combustion turbine projects that are in                has been demonstrated on coal-fired
                                                 than 30 years of operation. This                        on-going stages of development.773                     power plants, which provides further
                                                 technology uses a proprietary solvent to                                                                       support that CCS on base load combined
                                                 capture CO2 from post-combustion                        (b) NET Power Cycle                                    cycle units is adequately demonstrated.
                                                 sources. The process is well suited to                     In addition, there are several planned              Further, 90 percent capture is expected
                                                 capture CO2 from large, single-point                    projects using NET Power’s Allam-                      to be, in some ways, more
                                                 emission sources such as power plants                   Fetvedt Cycle.774 The Allam-Fetvedt                    straightforward to achieve for natural
                                                 or refineries, including large facilities               Cycle is a proprietary process for                     gas-fired combined cycle combustion
                                                 with CO2 capture capacities greater than                producing electricity that combusts a                  turbines than for coal-fired steam
                                                 10,000 tons per day.766 On February 6,                  fuel with purified oxygen (diluted with                generators. Many of the challenges faced
                                                 2024, Fluor Corporation announced that                  recycled CO2 to control flame                          by Boundary Dam Unit 3—which
                                                 Chevron New Energies plans to use the                   temperature) and uses supercritical CO2                proved to be solvable—were caused by
                                                 Econamine FG PlusSM carbon capture                      as the working fluid instead of water/                 the impurities, including fly ash, SO2,
                                                 technology to reduce CO2 emissions at                   steam. This cycle is designed to achieve               and trace contaminants in coal-fired
                                                 Chevron’s Eastridge Cogeneration                        thermal efficiencies of up to 59                       post-combustion flue gas. Such
                                                 combustion turbine facility in Kern                     percent.775 Potential advantages of this               impurities naturally occur in coal
                                                 County, California. When installed,                     cycle are that it emits no NOX and                     (sulfur and trace contaminants) or are a
                                                 Fluor’s carbon capture solution is                      produces a stream of high-purity CO2 776               natural result of combusting coal (fly
                                                 expected to reduce the Eastridge                        that can be delivered by pipeline to a                 ash), but not in natural gas, and thus
                                                 Cogeneration facility’s carbon emissions                storage or sequestration site without                  they do not appear in the natural gas
                                                 by approximately 95 percent.767                         extensive processing. A 50 MW                          post-combustion flue gas. As a result,
                                                    Moreover, recently, CO2 capture                      (thermal) test facility in La Porte, Texas             for CO2 capture for natural gas
                                                 technology has been operated on NGCC                    was completed in 2018 and has since                    combustion, flue gas handling is
                                                 post-combustion flue gas at the                         accumulated over 1,500 hours of                        simpler, solvent degradation is easier to
                                                 Technology Centre Mongstad (TCM) in                     runtime. There are several announced                   prevent, and fewer redundancies may be
                                                 Norway.768 TCM can treat a 12 MWe                       NET Power commercial projects                          necessary for various components (e.g.,
                                                 flue gas stream from a natural gas                      proposing to use the Allam-Fetvedt                     heat exchangers).
                                                 combined cycle cogeneration plant at                    Cycle. These include the 280 MW                        (d) Other Industry
                                                 Mongstad power station. Many different                  Broadwing Clean Energy Complex in
                                                 solvents have been operated at TCM                                                                                As discussed in section
                                                                                                         Illinois, and several international
                                                 including MHI’s KS–21TM solvent,769                                                                            VII.C.1.a.i.(A)(1) of this preamble, CCS
                                                                                                         projects.
                                                 achieving capture rates of over 98                                                                             installations in other industries support
                                                                                                            In Scotland, the proposed 900 MW
                                                 percent.                                                                                                       that capture equipment can achieve 90
                                                                                                         Peterhead Power Station combined
                                                    Additionally, in Scotland, the                                                                              percent capture of CO2 from natural gas-
                                                                                                         cycle EGU with CCS is in the planning
                                                 proposed 900 MW Peterhead Power                                                                                fired base load combined cycle
                                                                                                         stages of development. MHI is
                                                 Station combined cycle EGU with CCS                                                                            combustion turbines.
                                                                                                         developing a FEED for the power plant
                                                 is in the planning stages of                            and capture facility.777 It is anticipated             (e) EPAct05-Assisted CO2 Capture
                                                 development. MHI is developing a FEED                   that the power plant will be operational               Projects at Stationary Combustion
                                                 for the power plant and capture                         by the end of the 2020s and will have                  Turbines
                                                 facility.770 It is anticipated that the                 the potential to capture 90 percent of
                                                 power plant will be operational by the                                                                            As for steam generating units,
                                                                                                         the CO2 emitting from the combined                     EPAct05-assisted CO2 capture projects
                                                 end of the 2020s and will have the                      cycle facility and sequester up to 1.5
                                                 potential to capture 90 percent of the                                                                         on stationary combustion turbines
                                                                                                         million metric tons of CO2 annually. A                 corroborate that CO2 capture on gas
                                                 CO2 emitting from the combined cycle
                                                                                                                                                                combustion turbines is adequately
                                                                                                            771 Buli, N. (2021, May 10). SSE, Equinor plan
                                                   764 https://boereport.com/2022/08/16/fluor/.
                                                                                                                                                                demonstrated. Several CCS projects
                                                                                                         new gas power plant with carbon capture in
                                                   765 ‘‘Technologies for CCS on Natural Gas Power       Scotland. Reuters. https://www.reuters.com/            with at least 90 percent capture at
                                                 Systems’’ Dr. Satish Reddy presentation to USEA,        business/sustainable-business/sse-equinor-plan-        commercial-scale combined cycle
                                                 April 2014, https://usea.org/sites/default/files/       new-gas-power-plant-with-carbon-capture-scotland-      turbines are in the planning stages.
                                                 event-/Reddy%20USEA%20                                  2021-05-11/.                                           These projects support that CCS with at
                                                 Presentation%202014.pptx.                                  772 Acorn CCS granted North Sea storage licenses.
                                                   766 https://www.fluor.com/market-reach/
                                                                                                                                                                least 90 percent capture for these units
                                                                                                         September 18, 2023. https://www.ogj.com/energy-
                                                 industries/energy-transition/carbon-capture.            transition/article/14299094/acorn-granted-licenses-    is the industry standard and support the
                                                   767 https://newsroom.fluor.com/news-releases/         for-co2-storage.                                       EPA’s determination that CCS is
                                                 news-details/2024/Fluors-Econamine-FG-PlusSM-              773 https://status23.globalccsinstitute.com/.       adequately demonstrated.
                                                 Carbon-Capture-Technology-Selected-to-Reduce-              774 The NET Power Cycle was formerly referred          CCS is planned for the existing 550
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                                                 CO2-Emissions-at-Chevron-Facility/default.aspx.         to as the Allam-Fetvedt cycle. https://                MW natural gas-fired combined cycle
                                                   768 https://netl.doe.gov/carbon-capture/power-        netpower.com/technology/.
                                                 generation.                                                775 Yellen, D. (2020, May 25). Allam Cycle carbon
                                                                                                                                                                (two combustion turbines) at the Sutter
                                                   769 Mitsubishi Heavy Industries, ‘‘Mitsubishi         capture gas plants: 11 percent more efficient, all     Energy Center in Yuba City,
                                                 Heavy Industries Engineering Successfully               CO2 captured. Energy Post. https://energypost.eu/      California.780 The Sutter
                                                 Completes Testing of New KS–21TM Solvent for CO2        allam-cycle-carbon-capture-gas-plants-11-more-
                                                 Capture,’’ https://www.mhi.com/news/211019.html.        efficient-all-co2-captured/.                             780 Calpine Sutter Decarbonization Project, May
                                                   770 MHI and MHIENG Awarded FEED Contract.                776 This allows for capture of over 97 percent of   17, 2023. https://www.smud.org/en/Corporate/
                                                 https://www.mhi.com/news/22083001.html.                 the CO2 emissions. www.netpower.com.                                                             Continued




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                                                 Decarbonization project will use ION                    as part of OCED’s Carbon Capture                        from several plants, including an onsite
                                                 Clean Energy’s amine-based solvent                      Demonstration Projects program.785                      natural gas CHP plant.
                                                 technology at a capture rate of 95                      Captured CO2 will be transported and                       • General Electric Company, GE
                                                 percent or more. The project expects to                 stored at sites along the U.S. Gulf Coast.              Research (Niskayuna, New York) was
                                                 complete a FEED study in 2024 and,                         An 1,800 MW natural gas-fired                        awarded $1,499,992 to develop a design
                                                 prior to being selected by DOE for                      combustion turbine that will be                         to capture 95 percent of CO2 from
                                                 funding award negotiation, planned                      constructed in West Virginia and will                   combined cycle turbine flue gas with
                                                 commercial operation in 2027. Sutter                    utilize CCS has been announced. The                     the potential to reduce electricity costs
                                                 Decarbonization is one of the projects                  project is planned to begin operation                   by at least 15 percent.
                                                 selected by DOE for funding as part of                  later this decade.786                                      • SRI International (Menlo Park,
                                                 OCED’s Carbon Capture Demonstration                        There are numerous other EPAct05-                    California) was awarded $1,499,759 to
                                                 Projects program.781                                    assisted projects related to natural gas-               design, build, and test a technology that
                                                    The CO2 capture project at the Deer                  fired combined cycle turbines including                 can capture at least 95 percent of CO2
                                                 Park Energy Center in Deer Park, Texas                  the following.787 788 789 790 791 These                 while demonstrating a 20 percent cost
                                                 will be designed to capture 95 percent                  projects provide corroborating evidence                 reduction compared to existing
                                                 or more of the flue gas from the five                   that capture of at least 90 percent is                  combined cycle turbine carbon capture.
                                                 combustion turbines at the 1,200 MW                     accepted within the industry.                              • CORMETECH, Inc. (Charlotte,
                                                 natural gas-fired combined cycle power                     • General Electric (GE) (Bucks,                      North Carolina) was awarded
                                                 plant, using technology from Shell                      Alabama) was awarded $5,771,670 to                      $2,500,000 to further develop, optimize,
                                                 CANSOLV.782 The CO2 capture project                     retrofit a combined cycle turbine with                  and test a new, lower-cost technology to
                                                 already has an air permit issued for the                CCS technology to capture 95 percent of                 capture CO2 from combined cycle
                                                 project, which includes a reduction in                  CO2 and is targeting commercial                         turbine flue gas and improve scalability
                                                 the allowable emission limits for NOX                   deployment by 2030.                                     to large, combined cycle turbines.
                                                 from four of the combustion turbines.783                   • Wood Environmental &                                  • TDA Research, Inc. (Wheat Ridge,
                                                 The CO2 capture facility will include                   Infrastructure Solutions (Blue Bell,                    Colorado) was awarded $2,500,000 to
                                                 two quencher columns, two absorber                      Pennsylvania) was awarded $4,000,000                    build and test a post-combustion
                                                 columns, and one stripping column.                      to complete an engineering design study                 capture process to improve the
                                                    The Baytown Energy Center in                                                                                 performance of combined cycle turbine
                                                                                                         for CO2 capture at the Shell Chemicals
                                                 Baytown, Texas is an existing natural                                                                           flue gas CO2 capture.
                                                                                                         Complex. The aim is to reduce CO2
                                                 gas-fired combined cycle cogeneration                                                                              • GE Gas Power (Schenectady, New
                                                                                                         emissions by 95 percent using post-
                                                 facility providing heat and power to a                                                                          York) was awarded $5,771,670 to
                                                                                                         combustion technology to capture CO2
                                                 nearby industrial facility, while                                                                               perform an engineering design study to
                                                 distributing additional electricity to the                                                                      incorporate a 95 percent CO2 capture
                                                                                                            785 Carbon Capture Demonstration Projects
                                                 grid. CCS using Shell’s CANSOLV                                                                                 solution for an existing combined cycle
                                                                                                         Selections for Award Negotiations. https://
                                                 solvent is planned for the equivalent of                www.energy.gov/oced/carbon-capture-                     turbine site while providing lower costs
                                                 two of the three combustion turbines at                 demonstration-projects-selections-award-                and scalability to other sites.
                                                 the 896 MW natural gas-fired combined                   negotiations.                                              • Electric Power Research Institute
                                                                                                            786 Competitive Power Ventures (2022). Multi-
                                                 cycle power plant, with a capture rate                                                                          (EPRI) (Palo Alto, California) was
                                                                                                         Billion Dollar Combined Cycle Natural Gas Power
                                                 of 95 percent. The CO2 capture facility                 Station with Carbon Capture Announced in West
                                                                                                                                                                 awarded $5,842,517 to complete a study
                                                 at Baytown Energy Center also has an                    Virginia. Press Release. September 16, 2022. https://   to retrofit a 700 MWe combined cycle
                                                 air permit in place, and the permit                     www.cpv.com/2022/09/16/multi-billion-dollar-            turbine with a carbon capture system to
                                                 application provides some details on the                combined-cycle-natural-gas-power-station-with-          capture 95 percent of CO2.
                                                 process design.784 The CO2 capture                      carbon-capture-announced-in-west-virginia/.
                                                                                                            787 General Electric (GE) (2022). U.S. Department
                                                                                                                                                                    • Gas Technology Institute (Des
                                                 facility will include two quencher                      of Energy Awards $5.7 Million for GE-Led Carbon
                                                                                                                                                                 Plaines, Illinois) was awarded
                                                 columns, two absorber columns, and                      Capture Technology Integration Project Targeting to     $1,000,000 to develop membrane
                                                 one stripping column. To mitigate NOX                   Achieve 95% Reduction of Carbon Emissions. Press        technology capable of capturing more
                                                 emissions, the operation of the SCR                     Release. February 15, 2022. https://www.ge.com/         than 97 percent of combined cycle
                                                                                                         news/press-releases/us-department-of-energy-
                                                 systems for the combustion turbines                     awards-57-million-for-ge-led-carbon-capture-
                                                                                                                                                                 turbine CO2 flue gas and demonstrate
                                                 will be adjusted to meet lower NOX                      technology.                                             upwards of 40 percent reduction in
                                                 allowable limits—adjustments may                           788 Larson, A. (2022). GE-Led Carbon Capture         costs.
                                                 include increasing ammonia flow, more                   Project at Southern Company Site Gets DOE                  • RTI International (Research
                                                                                                         Funding. Power. https://www.powermag.com/ge-            Triangle Park, North Carolina) was
                                                 frequent SCR repacking and head                         led-carbon-capture-project-at-southern-company-
                                                 cleaning, and, possibly, optimization of                site-gets-doe-funding/.                                 awarded $1,000,000 to test a novel non-
                                                 the ammonia distribution system. The                       789 U.S. Department of Energy (DOE) (2021). DOE      aqueous solvent technology aimed at
                                                 Baytown CO2 capture project is one of                   Invests $45 Million to Decarbonize the Natural Gas      demonstrating 97 percent capture
                                                 the projects selected by DOE for funding                Power and Industrial Sectors Using Carbon Capture       efficiency from simulated combined
                                                                                                         and Storage. October 6, 2021. https://
                                                                                                         www.energy.gov/articles/doe-invests-45-million-
                                                                                                                                                                 cycle turbine flue gas.
                                                 Environmental-Leadership/2030-Clean-Energy-             decarbonize-natural-gas-power-and-industrial-              • Tampa Electric Company (Tampa,
                                                 Vision/CEV-Landing-Pages/Calpine-presentation.          sectors-using-carbon.                                   Florida) was awarded $5,588,173 to
                                                   781 Carbon Capture Demonstration Projects                790 DOE (2022). Additional Selections for Funding    conduct a study retrofitting Polk Power
                                                 Selections for Award Negotiations. https://             Opportunity Announcement 2515. Office of Fossil
                                                 www.energy.gov/oced/carbon-capture-
                                                                                                                                                                 Station with post-combustion CO2
                                                                                                         Energy and Carbon Management. https://
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                                                 demonstration-projects-selections-award-                www.energy.gov/fecm/additional-selections-
                                                                                                                                                                 capture technology aiming to achieve a
                                                 negotiations.                                           funding-opportunity-announcement-2515.                  95 percent capture rate.
                                                   782 Calpine Carbon Capture. https://                     791 DOE (2019). FOA 2058: Front-End Engineering         There are also several announced NET
                                                 calpinecarboncapture.com/wp-content/uploads/            Design (FEED) Studies for Carbon Capture Systems        Power Allam-Fetvedt Cycle based CO2
                                                 2023/05/Calpine-Deer-Park-English.pdf.                  on Coal and Natural Gas Power Plants. Office of
                                                   783 Deer Park Energy Center TCEQ Records Online
                                                                                                                                                                 capture projects that are EPAct05-
                                                                                                         Fossil Energy and Carbon Management. https://
                                                 Primary ID 171713.                                      www.energy.gov/fecm/foa-2058-front-end-
                                                                                                                                                                 assisted. These include the 280 MW
                                                   784 Baytown Energy Center Air Permit TCEQ             engineering-design-feed-studies-carbon-capture-         Coyote Clean Power Project on the
                                                 Records Online Primary ID 172517.                       systems-coal-and-natural-gas.                           Southern Ute Indian Reservation in


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                                                 Colorado and a 300 MW project located                      Importantly, natural gas post-                  determination that 90 percent CO2
                                                 near Occidental’s Permian Basin                         combustion flue gas does not require the           capture from natural gas-fired
                                                 operations close to Odessa, Texas.                      same pretreatment as coal post-                    combustion turbines is adequately
                                                 Commercial operation of the facility                    combustion flue gas. Therefore, amine              demonstrated, without consideration of
                                                 near Odessa, Texas is expected in 2028.                 solvents are able to capture CO2 as soon           the EPAct05-assisted projects, includes
                                                                                                         as the flue gas contacts the lean solvent,         (i) the information concerning coal-fired
                                                 (f) Range of Conditions
                                                                                                         and startup does not have to wait for              steam generating units listed in
                                                    The composition of natural gas                       operation of other emission controls.              VII.C.1.a.i.(B)(9) 794 (other than the
                                                 combined cycle post-combustion flue                     Furthermore, there are several different           information concerning EPAct05-
                                                 gas is relatively uniform as the level of               process strategies that can be employed            assisted coal-fired unit projects and the
                                                 impurities is, in general, low. There may               to enable capture during cold                      information concerning natural gas-fired
                                                 be some difference in NOX emissions,                    startup.792 793 These include using an             combustion turbines); (ii) the
                                                 but considering the sources are new, it                 additional reserve of lean solvent                 information that a 90 percent capture
                                                 is likely that they will be installed with              (solvent without absorbed CO2),                    standard is achievable at coal-fired
                                                 SCR, resulting in uniform NOX                           dedicated heat storage for reboiler                steam generating units, also applies to
                                                 concentrations in the flue gas. The EPA                 preheating, and fast starting steam cycle          natural gas-fired combined cycle EGUs
                                                 notes that some natural gas combined                    technologies or high-pressure bypass               (i.e., all the information in
                                                 cycle units applying CO2 capture may                    extraction. Each of these three options            VIII.F.4.c.iv.(B) (before (1)) and (1)
                                                 use exhaust gas recirculation to increase               has been modeled to show that 95                   (before (a)); (iii) the information
                                                 the concentration of CO2 in the flue                    percent capture rates can be achieved              concerning CCS on combined cycle
                                                 gas—this produces a higher                              during startup. The first option simply            EGUs (i.e., all the information in
                                                 concentration of CO2 in the flue gas. For               uses a reserve of lean solvent during              VIII.F.4.c.iv.(B)(1)(a)); and (iv) the
                                                 those sources that apply that approach,                 startup so that capture can occur                  information concerning Net Power (i.e.,
                                                 the CO2 capture system can be scaled                    without needing to wait for the                    all the information in
                                                 smaller, reducing overall costs.                        stripping column reboiler to heat up.              VIII.F.4.c.iv.(B)(1)(b)). All this
                                                 Considering these factors, the EPA                      For hot starts, the startup time of the            information by itself is sufficient to
                                                 concludes that there are not substantial                NGCC is faster, and since the reboiler is          support the EPA’s determination that 90
                                                 differences in flue gas conditions for                  already warm, the capture plant can                percent CO2 capture from coal-fired
                                                 natural gas combined cycle units, and                   begin operating faster. Shutdowns are              steam generating units is adequately
                                                 the small differences that could exist                  short, and high capture efficiencies can           demonstrated. Substantial additional
                                                 would not adversely impact the                          be maintained.                                     information from EPAct05-assisted
                                                 operation of the CO2 capture equipment.                    Considering that startup and                    projects, as described in section
                                                    As detailed in section VII.C.1.a.i(B)(7),            shutdown for natural gas combined                  VIII.F.4.c.iv.(B)(1)(e), provides
                                                 single trains of CO2 capture facilities                 cycle units is fast, startups are relatively       additional support and confirms that 90
                                                 have turndown capabilities of 50                        few, and simple process strategies can             percent CO2 capture from natural gas-
                                                 percent. Effective turndown to 25                       be employed so that high capture                   fired combustion turbines is adequately
                                                 percent of throughputs can be achieved                  efficiencies can be achieved during                demonstrated.
                                                 by using 2 trains of capture equipment.                 startup, the EPA has concluded that
                                                 CO2 capture rates have also been shown                  startup and shutdown do not adversely              (2) Transport of CO2
                                                 to be higher at lower throughputs.                      impact the achievable CO2 capture rate.              In section VII.C.1.a.i.(C) of this
                                                 Moreover, during off-peak hours when                       Considering the preceding                       document, the EPA described its
                                                 electricity prices are lower, additional                information, the EPA has determined                rationale for finalizing a determination
                                                 lean solvent can be produced and held                   that 90 percent capture is achievable              that CO2 transport by pipelines as a
                                                 in reserve, so that during high-demand                  over long periods (i.e., 12-month rolling          component of CCS is adequately
                                                 hours, the auxiliary demands to the                     averages) for base load combustion                 demonstrated for use of CCS with
                                                 capture plant stripping column reboiler                 turbines for all relevant flue gas                 existing steam generating EGUs. The
                                                 be reduced. Considering these factors,                  conditions, variable load, and startup             Agency’s rationale for finalizing the
                                                 the capture rate would not be affected                  and shutdown.                                      same determination—that CO2 transport
                                                 by load following operation, and the                                                                       by pipelines as a component of CCS is
                                                 operation of the combustion turbine                     (g) Summary of Evidence Supporting
                                                                                                         BSER Determination Without EPAct05-                adequately demonstrated for CCS use
                                                 would not be limited by turndown                                                                           with new combustion turbine EGUs—is
                                                 capabilities of the capture equipment.                  Aassisted Projects
                                                                                                                                                            much the same as that described in
                                                 As detailed in preceding sections,                         As noted above, under the EPA’s
                                                                                                                                                            section VII.C.1.a.i.(C). As discussed in
                                                 simple cycle combustion turbines cycle                  interpretation of the EPAct05
                                                 frequently, and have a number of                        provisions, the EPA may not rely on                   794 Specifically, this includes the information
                                                 startups and shutdowns per year.                        capture projects that received assistance          concerning Boundary Dam, coupled with
                                                 However, combined cycle units cycle                     under EPAct05 as the sole basis for a              engineering analysis concerning key improvements
                                                 less frequently and have fewer startups                 determination of adequate                          that can be implemented in future CCS
                                                                                                                                                            deployments during initial design and construction
                                                 and shutdowns per year. Startups of                     demonstration, but the EPA may rely on             (i.e., all the information in section
                                                 combined cycle units are faster than                    those projects to support or corroborate           VII.C.1.a.i.(B)(1)(a) and the information concerning
                                                 coal-fired steam generating units                       other information that supports such a             Boundary Dam in section VII.C.1.a.i.(B)(1)(b)); (ii)
                                                                                                         determination. The information                     the information concerning other coal-fired
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                                                 described in section VII.C.1.a.i(B)(7) of
                                                                                                                                                            demonstrations, including the Argus Cogeneration
                                                 the preamble. Cold startups of combined                 described above that supports the EPA’s            Plant and AES’s Warrior Run (i.e., all the
                                                 cycle units typically take not more than                                                                   information concerning those sources in section
                                                 3 hours (hot startups are faster), and                    792 https://ieaghg.org/ccs-resources/blog/new-
                                                                                                                                                            VII.C.1.a.i.(B)(1)(a)); (iii) the information concerning
                                                 shutdown takes less than 1 hour. During                 ieaghg-report-2022-08-start-up-and-shutdown-       industrial applications of CCS (i.e., all the
                                                                                                         protocol-for-power-stations-with-co2-capture.      information in section VII.C.1.a.i.(A)(1); and (iv) the
                                                 startup, heat input to the unit is lower                  793 https://assets.publishing.service.gov.uk/    information concerning CO2 capture technology
                                                 to slowly raise the temperature of the                  media/5f95432ad3bf7f35f26127d2/start-up-shut-      vendor statements (i.e., all the information in
                                                 HRSG.                                                   down-times-power-ccus-main-report.pdf.             VII.C.1.a.i.(B)(3)).



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                                                 section VII.C.1.a.i.(C) of this preamble,               (3) Geologic Sequestration of CO2                All of the evidence and explanation
                                                 CO2 pipelines are available and their                     In section VII.C.1.a.i.(D) of this          that geological sequestration of CO2 is
                                                 network is expanding in the U.S., and                   document, the EPA described its               adequately demonstrated and meets the
                                                 the safety of existing and new                          rationale for finalizing a determination      other BSER factors that the EPA
                                                 supercritical CO2 pipelines is                          that geologic sequestration (i.e., the        described with respect to sequestration
                                                 comprehensively regulated by                            long-term containment of a CO2 stream         of CO2 from existing coal-fired steam
                                                 PHMSA.795 A new combustion turbine                      in subsurface geologic formations) is         generating units in section VII.C.1.a.i.(D)
                                                 may also be co-located with a storage                   adequately demonstrated as a                  of this preamble apply with respect to
                                                 site, so that minimal transport of the                  component of the use of CCS with              CO2 from new natural gas-fired
                                                 CO2 is required.                                        existing coal-fired steam generating          combustion turbines. Sequestration is
                                                                                                         EGUs. Similar to the previous                 broadly available (VII.C.1.a.i.(D)(1)(a)). It
                                                    Pipeline transport of CO2 captured                                                                 is adequately demonstrated, with many
                                                 from newly constructed or                               discussion regarding CO2 transport, the
                                                                                                         Agency’s rationale for finalizing a           examples of projects successfully
                                                 reconstructed natural gas-fired                                                                       injecting and containing CO2 in the
                                                 combustion turbine EGUs meets the                       determination that geologic
                                                                                                         sequestration is adequately                   subsurface (VII.C.1.a.i.(D)(2)). It
                                                 BSER requirements based on the same                                                                   provides secure storage, with a detailed
                                                                                                         demonstrated as a component of the use
                                                 evidence, and for the same reasons, as                                                                set of regulatory requirements to ensure
                                                                                                         of CCS with new combustion turbine
                                                 does pipeline transport of CO2 captured                 EGUs is the same as described in              the security of sequestered CO2,
                                                 from existing coal-fired steam                          VII.C.1.a.i.(D) for existing coal-fired       including the UIC well regulations
                                                 generating EGUs, as described in section                steam generating EGUs. The storage/           pursuant to SDWA authority, and the
                                                 VII.C.1.a.i.(C) of this preamble. This is               sequestration sites used to store             GHGRP pursuant to CAA authority
                                                 because the CO2 that is captured from a                 captured CO2 from existing coal-fired         (VII.C.1.a.i.(D)(4)). The EPA has the
                                                 natural gas-fired turbine, compressed,                  EGUs could also be used to store              experience to properly regulate and
                                                 and delivered into a pipeline is                        captured CO2 from newly constructed or        review permits for UIC Class VI
                                                 indistinguishable from the CO2 that is                  reconstructed combustion turbine EGUs.        injection wells, has made considerable
                                                 captured from an existing coal-fired                    All of the considerations and challenges      improvements to its permitting process
                                                 steam generating unit. Accordingly, all                 associated with developing geologic           to expedite permitting decisions, and
                                                 the evidence and explanation in section                 storage sites for existing sources are also   has granted several states primacy to
                                                 VII.C.1.a.i.(C) of this preamble that it is             considerations and challenges                 issue permits, and is supporting that
                                                 adequately demonstrated, cost-effective,                associated with developing such sites         state permitting (VII.C.1.a.i.(D)(5)).
                                                 and consistent with the other BSER                      for newly constructed or reconstructed        (b) New Natural Gas-Fired Combustion
                                                 factors for an existing coal-fired steam                sources.                                      Turbines
                                                 generating unit to construct a lateral                  (a) In General                                   As discussed in section
                                                 pipeline from its facility to a                                                                       VII.C.1.a.i.(D)(1), deep saline formations
                                                 sequestration site applies to new natural                  Geologic sequestration (i.e., the long-
                                                                                                         term containment of a CO2 stream in           that may be considered for use in
                                                 gas-fired turbines. This includes the                                                                 geologic sequestration (or storage) are
                                                 history of CO2 pipeline build-out                       subsurface geologic formations) is well
                                                                                                         proven. Deep saline formations, which         common in the continental United
                                                 (VII.C.1.a.i.(C)(1)), the recent examples                                                             States. In addition, there are numerous
                                                 of new pipelines (VII.C.1.a.i.(C)(1)(b)),               may be evaluated and developed for
                                                                                                         CO2 sequestration are broadly available       unmineable coal seams and depleted oil
                                                 EPAct05-assisted CO2 pipelines for CCS                                                                and gas reserves throughout the country
                                                 (VII.C.1.a.i.(C)(1)(c)), the network of                 throughout the U.S. Geologic
                                                                                                         sequestration requires a demonstrated         that could potentially be utilized as
                                                 existing and planned CO2 trunklines                                                                   sequestration sites. The DOE estimates
                                                                                                         understanding of the processes that
                                                 (VII.C.1.a.i.(C)(1)(d)), permitting and                                                               that areas of the U.S. with appropriate
                                                                                                         affect the fate of CO2 in the subsurface.
                                                 rights of way considerations                                                                          geology have a sequestration potential of
                                                                                                         As discussed in section VII.C.1.a.i.(D) of
                                                 (VII.C.1.a.i.(C)(2)), and considerations of             this preamble, there have been                at least 2,400 billion to over 21,000
                                                 the security of CO2 transport, including                numerous instances of geologic                billion metric tons of CO2 in deep saline
                                                 PHMSA requirements (VII.C.1.a.i.(C)(3)).                sequestration in the U.S. and overseas,       formations, unmineable coal seams, and
                                                    The only difference between pipeline                 and the U.S. has developed a detailed         oil and gas reservoirs. The EPA’s
                                                 transport for the coal-fired steam                      set of regulatory requirements to ensure      scoping assessment found that at least
                                                 generation and the gas-fired turbines is                the security of sequestered CO2. This         37 states have geologic characteristics
                                                 that the coal-fired units are already in                regulatory framework includes the UIC         that are amenable to deep saline
                                                 existence and, as a result, the location                well regulations, which are under the         sequestration and identified an
                                                 and length of their pipelines, as needed                authority of the SDWA, and the GHGRP,         additional 6 states are within 100
                                                 to transport their CO2 to nearby                        under the authority of the CAA.               kilometers of potentially amenable deep
                                                                                                            Geologic settings which may be             saline formations in either onshore or
                                                 sequestration, is already known,
                                                                                                         suitable for geologic sequestration of        offshore locations. In terms of land area,
                                                 whereas new gas-fired turbines are not
                                                                                                         CO2 are widespread and available              80 percent of the continental U.S. is
                                                 yet sited. We discuss the implications
                                                                                                         throughout the U.S. Through an                within 100 km of deep saline
                                                 for new gas-fired turbines in the next                                                                formations.796 While the EPA’s
                                                 section.                                                availability analysis of sequestration
                                                                                                                                                       geographic availability analyses focus
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                                                                                                         potential in the U.S. based on resources
                                                                                                         from the DOE, the USGS, and the EPA,          on deep saline formations, other
                                                    795 PHMSA additionally initiated a rulemaking in
                                                                                                         the EPA found that there are 43 states        geologic formations such as unmineable
                                                 2022 to develop and implement new measures to
                                                 strengthen its safety oversight of CO2 pipelines        with access to, or are within 100 km          coal seams or depleted oil and gas
                                                 following investigation into a CO2 pipeline failure     from, onshore or offshore storage in
                                                 in Satartia, Mississippi in 2020. For more                                                               796 For additional information on CO

                                                 information, see: https://www.phmsa.dot.gov/news/
                                                                                                         deep saline formations, unmineable coal                                               2
                                                                                                                                                       transportation and geologic sequestration
                                                 phmsa-announces-new-safety-measures-protect-            seams, and depleted oil and gas               availability, please see EPA’s final TSD, GHG
                                                 americans-carbon-dioxide-pipeline-failures.             reservoirs.                                   Mitigation Measures for Steam Generating Units.



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                                                 reservoirs represent potential additional               area and building a lengthy pipeline to             Boardman, Oregon 800 serves demand in
                                                 CO2 storage options. Therefore, we                      the geologic sequestration site.                    Portland, Oregon,801 which is
                                                 expect that the vast majority of new base                  Gas-by-wire and coal-by-wire are                 approximately 270 km away from the
                                                 load combustion turbine EGUs could be                   possible due to the electricity grid’s              source.
                                                 sited within 100 km of a sequestration                  extensive high voltage transmission                    In the memorandum, Geographic
                                                 site.                                                   networks that enable electricity to be              Availability of CCS for New Base Load
                                                    While the potential for some type of                 transmitted over long distances. See the            NGCC Units, we explore in detail the
                                                 sequestration exists in large swaths of                 memorandum, Geographic Availability                 potential for gas-by-wire and the ability
                                                 the continental U.S., we recognize that                 of CCS for New Base Load NGCC Units,                of demand in areas without geologic
                                                 there are a few states that do not have                 which is available in the rulemaking                sequestration potential to be served by
                                                 geologic conditions suitable for geologic               docket for this action. In many of the              gas generation located in areas that have
                                                 sequestration within or near their                      areas without reasonable access to                  access to geologic sequestration. As
                                                 borders. If an area does not have a                     geologic sequestration, utilities, electric         discussed in the memorandum, the vast
                                                 suitable geologic sequestration site, then              cooperatives, and municipalities have a             majority of the United States is within
                                                 a utility or project developer seeking to               history of joint ownership of electricity           100 km of an area with geologic
                                                 build a new combustion turbine EGU for                  generation outside the region or                    sequestration potential. A review of our
                                                 base load generation has two options—                   contracting with electricity generation             scoping assessment indicates that there
                                                 either (1) the new EGU may be located                   in outside areas to meet demand. Some               are limited areas of the country that are
                                                 near the electricity demand and the CO2                 of the areas are in Regional                        not within 100 km of a potential deep
                                                 transported via a CO2 pipeline to a                     Transmission Organizations (RTOs),797               saline sequestration formation (although
                                                 geologic sequestration site, or (2) the                 which engage in planning as well as                 some of these areas may be within 100
                                                 new EGU may be located closer to a                      balancing supply and demand in real                 km of an unmineable coal seam or
                                                 geologic sequestration site and the                     time throughout the RTO’s territory.                depleted oil and gas reservoir that could
                                                 electricity delivered to customers                      Accordingly, generating resources in                potentially serve as a sequestration site).
                                                 through transmission lines. Regarding                   one part of the RTO can serve load in               In many instances, these areas include
                                                 option 1, as discussed in VII.C.1.a.i(C),               other parts of the RTO, as well as load             areas with low population density, areas
                                                 the EPA believes that both new and                      outside of the RTO.                                 that are already served by transmission
                                                 existing EGUs are capable of                               In the coal context, there are many              lines that could deliver gas-by-wire,
                                                 constructing CO2 pipelines as needed.                   examples of where coal-fired power                  and/or include areas that have made
                                                 With regard to option 2, we expect that                 generation in one state has been used to            policy or other decisions not to pursue
                                                 this option may be preferred for projects               supply electricity in other states. For             a resource mix that includes new NGCC
                                                 where a CO2 pipeline of substantial                     example, the Prairie State Generating               due to state renewable portfolio
                                                 length would be required to reach the                   Plant, a 2-unit 1,600 MW coal-fired
                                                                                                                                                             standards or for other reasons.
                                                 sequestration site. However, we note                    power plant in Illinois that is currently
                                                                                                                                                                In many of these areas, utilities,
                                                 that for new base load combustion                       considering retrofitting with CCS, serves
                                                                                                                                                             electric cooperatives, and municipalities
                                                 turbine EGUs, project developers have                   load in eight different states from the
                                                                                                                                                             have a history of obtaining electricity
                                                 flexibility with regard to siting such that             Midwest to the mid-Atlantic.798 The
                                                                                                                                                             from generation in outside areas to meet
                                                 they can balance whether to site a new                  Intermountain Power Project, a coal-
                                                                                                                                                             demand. Some of the relevant areas are
                                                 unit closer to a potential geologic                     fired plant located in Delta, Utah, that
                                                                                                                                                             in an RTO or ISO, which operate the
                                                 sequestration site or closer to a load area             is converting to co-fire hydrogen and
                                                                                                                                                             transmission system and dispatch
                                                 depending on their specific needs.                      natural gas, serves customers in both
                                                                                                                                                             generation to balance supply and
                                                    Electricity demand in areas that may                 Utah and California.799 Additionally,
                                                 not have geologic sequestration sites                   historically nearly 40 percent of the               demand regionwide, as well as engage
                                                 may be served by gas-fired EGUs that                    power for the City of Los Angeles was               in regionwide planning and cost
                                                 are built in areas with geologic                        provided from two coal-fired power                  allocation to facilitate needed
                                                 sequestration, and the generated                        plants located in Arizona and Utah.                 transmission development. Accordingly,
                                                 electricity can be delivered through                    Further, Idaho Power, which serves                  generating resources in one part of an
                                                 transmission lines to the load areas                    customers in Idaho and eastern Oregon               RTO/ISO, such as through an NGCC
                                                 through ‘‘gas-by-wire.’’ An analogous                   has met demand in part from power                   plant, can serve loads in other parts of
                                                 approach, known as ‘‘coal-by-wire’’ has                 generating at coal-fired power plants               the RTO/ISO, as well as serving load
                                                 long been used in the electricity sector                located in Wyoming and Nevada. This                 areas outside of the RTO/ISO. As we
                                                 for coal-fired EGUs because siting a                    same concept of siting generation in one            consider each of these geographic areas
                                                 coal-fired EGU near a coal mine and                     location to serve demand in another                 in the memorandum, Geographic
                                                 transmitting the generated electricity                  area and using existing transmission                Availability of CCS for New Base Load
                                                 long distances to the load area is                      infrastructure to do so could similarly             NGCC Units, we make key points as to
                                                 sometimes less expensive than siting the                be applied to gas-fired combustion                  why this final rule does not negatively
                                                 coal EGU near the load area and                         turbine power plants, and, in fact, there           impact the ability of these regions to
                                                 shipping the coal long distances. The                   are examples of gas-fired combustion                access new NGCC generation to the
                                                 same principle may apply to new base                    turbine EGUs serving demand more                    extent that NGCC generation is needed
                                                 load combustion turbine EGUs such that                  than 100 km away from where they are                to supply demand and/or those regions
                                                 it may be more practicable for an project               sited. For example, Portland General                  800 Portland General Electric, ‘‘Our Power Plants,’’
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                                                 developer to site a new base load                       Electric’s Carty Generating Station, a              https://portlandgeneral.com/about/who-we-are/
                                                 combustion turbine EGU in a location in                 436–MW NGCC unit located in                         how-we-generate-energy/our-power-plants.
                                                 close proximity to a geologic                                                                                 801 See George Plaven, ‘‘PGE power plant rising in

                                                 sequestration site and to deliver the                     797 In this discussion, the term RTO indicates
                                                                                                                                                             E. Oregon,’’ The Columbian (October 10, 2015, 5:55
                                                 electricity generated through                           both ISOs and RTOs.                                 a.m.), https://www.columbian.com/news/2015/oct/
                                                                                                           798 https://prairiestateenergycampus.com/about/   10/pge-power-plant-rising-in-e-oregon/. See also
                                                 transmission lines to the load area                     ownership/.                                         Portland General Electric, ‘‘PGE Service Area,’’
                                                 rather than siting the new gas-fired                      799 https://www.ipautah.com/participants-         https://portlandgeneral.com/about/info/service-
                                                 combustion turbine EGU near the load                    services-area/.                                     area.



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                                                 want to include new NGCC generation                      potential technological                                continue to decrease afterwards.806 As
                                                 in their resource mixes.                                 developments.804                                       part of the plan to reduce the costs of
                                                                                                             The flue gas from natural gas-fired                 CO2 capture, the DOE is funding
                                                 (C) Costs                                                                                                       multiple projects to further advance
                                                                                                          combined cycle turbine differs from that
                                                    The EPA has evaluated the costs of                    of coal-fired EGUs in several ways that                CCS technology from various point
                                                 CCS for new combined cycle units,                        impact the cost of CO2 capture. These                  sources, including combined cycle
                                                 including the cost of installing and                     include that the CO2 concentration in                  turbines, cement manufacturing plants,
                                                 operating CO2 capture equipment as                       the flue gas is approximately one-third                and iron and steel plants.807 It should be
                                                 well as the costs of transport and                                                                              noted that some of these projects may be
                                                                                                          of that observed at coal-fired EGUs, the
                                                 storage. The EPA has also compared the                                                                          EPAct05-assisted. The general aim is to
                                                                                                          volumetric flow rate on a per MW basis
                                                 costs of CCS for new combined cycle                                                                             lower the costs of the technologies, and
                                                                                                          is larger, and the oxygen concentration
                                                 units to other control costs, in part                                                                           to increase investor confidence in the
                                                                                                          is approximately 3 times that of a coal-
                                                 derived from other rulemakings that the                                                                         commercial scale applications,
                                                                                                          fired EGU. While the higher amount of
                                                 EPA has determined to be cost-                                                                                  particularly for newer technologies or
                                                                                                          excess oxygen has the potential to                     proven technologies applied under
                                                 reasonable, and the costs are                            reduce the efficiency of amine-based
                                                 comparable. Based on these analyses,                                                                            unique circumstances. In particular,
                                                                                                          solvents that are susceptible to                       OCED’s Carbon Capture Demonstration
                                                 the EPA considers the costs of CCS for                   oxidation, natural gas post-combustion
                                                 new combined cycle units to be                                                                                  Projects are targeted to accelerate
                                                                                                          flue gas does not have other impurities                continued power sector carbon capture
                                                 reasonable. Certain elements of the                      (SO2, PM, trace metals) that are present               commercialization through reducing
                                                 transport and storage costs are similar                  and must be managed in coal flue gas.                  costs and reducing uncertainties to
                                                 for new combustion turbines and                          Other important factors include that the               project development. These cost and
                                                 existing steam generating units. In this                 lower concentrations of CO2 reduce the                 uncertainty reductions arise from
                                                 section, the EPA outlines these costs                    efficiency of the capture process and                  reductions in cost of capital, increases
                                                 and identifies the considerations                        that the larger volumetric flow rates                  in system scale, standardization and
                                                 specific to new combustion turbines.                     require a larger CO2 absorber, which                   reduction in non-recurring engineering
                                                 These costs are significantly reduced by                 increases the capital cost of the capture              costs, maturation of supply chain
                                                 the IRC section 45Q tax credit.                          process. Exhaust gas recirculation                     ecosystem, and improvements in
                                                 (1) Capture Costs                                        (EGR), also referred to as flue gas                    engineering design and materials over
                                                                                                          recirculation (FGR), is a process that                 time.808
                                                   According to the NETL Fossil Energy                    addresses all these issues. EGR diverts                  Although current post-combustion
                                                 Baseline Report (October 2022 revision),                 some of the combustion turbine exhaust                 CO2 capture projects have primarily
                                                 before accounting for the IRC section                    gas back into the inlet stream for the                 been based on amine capture systems,
                                                 45Q tax credit for sequestered CO2,                      combustion turbine. Doing so increases                 there are multiple alternate capture
                                                 using a 90 percent capture amine-based                   the CO2 concentration and decreases the                technologies in development—many of
                                                 post-combustion CO2 capture system                       O2 concentration in the exhaust stream                 which are funded through industry
                                                 increases the capital costs of a new                     and decreases the flow rate, producing                 research programs—that could yield
                                                 combined cycle EGU by 115 percent on                     more favorable conditions for CCS. One                 reductions in capital, operating, and
                                                 a $/kW basis, increases the heat rate by                 study found that EGR can decrease the                  auxiliary power requirements and could
                                                 13 percent, increases incremental                        capital costs of a combined cycle EGU                  reduce the cost of capture significantly
                                                 operating costs by 35 percent, and                       with CCS by 6.4 percent, decrease the                  or improve performance. More
                                                 derates the unit (i.e., decreases the                    heat rate by 2.5 percent, decrease the                 specifically, post combustion carbon
                                                 capacity available to generate useful                    LCOE by 3.4 percent, and decrease the                  capture systems generally fall into one
                                                 output) by 11 percent.802 For a base load                overall CO2 capture costs by 11 percent                of several categories: solvents, sorbents,
                                                 combustion turbine, carbon capture                       relative to a combined cycle EGU                       membranes, cryogenic, and molten
                                                 increases the LCOE by 62 percent (an                     without EGR.805 The EPA notes that the                 carbonate fuel cells 809 systems. It is
                                                 increase of 27 $/MWh) and has an                         NETL costs on which the EPA bases its
                                                 estimated cost of $81/ton ($89/metric                    cost calculations for combined cycle                     806 For example, see the article CCUS Market

                                                 ton) of onsite CO2 reduction.803 The                     CCS do not assume the use of EGR, but                  Outlook 2023: Announced Capacity Soars by 50%,
                                                                                                                                                                 which states, ‘‘New gas power plants with carbon
                                                 NETL costs are based on the use of a                     as discussed below, EGR use is                         capture, for example, could be cheaper than
                                                 second-generation amine-based capture                    plausible and would reduce those costs.                unabated power in Germany as early as next year
                                                 system without exhaust gas                                  While the costs considered in the
                                                                                                                                                                 when coupled with the carbon price.’’ https://
                                                 recirculation (EGR) and, as discussed                                                                           about.bnef.com/blog/ccus-market-outlook-2023-
                                                                                                          preceding are based on the current costs               announced-capacity-soars-by-50/.
                                                 below, do not take into account further                  of CCS, the EPA notes that the costs of                  807 The DOE has also previously funded FEED
                                                 cost reductions that can be expected to                  capture systems can be expected to                     studies for natural gas-fired combined cycle turbine
                                                 occur from efficiency improvements as                    decrease over the rest of this decade and              facilities. These include FEED studies at existing
                                                 post-combustion capture systems are                                                                             combined cycle turbine facilities at Panda Energy
                                                                                                                                                                 Fund in Texas, Elk Hills Power Plant in Kern
                                                 more widely deployed, as well as                           804 Recent DOE analysis has compared the NETL        County, California, Deer Park Energy Center in
                                                                                                          costs with more recent FEED study costs and expert     Texas, Delta Energy Center in Pittsburg, California,
                                                   802 CCS reduced the net output of the NETL F           interviews and determined they are consistent after    and utilization of a Piperazine Advanced Stripper
                                                 class combined cycle EGU from 726 MW to                  accounting for differences in inflation, economic      (PZAS) process for CO2 capture conducted by The
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                                                 645 MW.                                                  assumptions, and other technology details. Portfolio   University of Texas at Austin.
                                                   803 Although not our primary approach to               Insights: Carbon Capture in the Power Sector, DOE.       808 Portfolio Insights: Carbon Capture in the

                                                 assessing costs in this final rule, for consistency      https://www.energy.gov/oced/portfolio-strategy.        Power Sector report. DOE. https://www.energy.gov/
                                                 with the proposal’s assumption capacity factor,            805 Energy Procedia. (2014). Impact of exhaust gas   oced/portfolio-strategy.
                                                 these calculations use a service life of 30 years, an    recirculation on combustion turbines. Energy and         809 Molten carbonate fuel cells are configured for

                                                 interest rate of 7.0 percent, a natural gas price of     economic analysis of the CO2 capture from flue gas     emissions capture through a process where the flue
                                                 $3.61/MMBtu, and a capacity factor of 65 percent.        of combined cycle power plants. https://               gas from an EGU is routed through the molten
                                                 These costs do not include CO2 transport, storage,       www.sciencedirect.com/science/article/pii/             carbonate fuel cell that concentrates the CO2 as a
                                                 or monitoring costs.                                     S1876610214001234.                                     side reaction during the electric generation process



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                                                 expected that as CCS infrastructure                     operations and maintenance costs.813 814               of-a-Kind facility, as well as
                                                 increases, technologies from each of                    Studies of the cost of capture and                     ‘‘conservatively model[ing]’’ operating
                                                 these categories will become more                       compression of CO2 from power stations                 expense reductions at 1 percent, for a
                                                 economically competitive. For example,                  completed 10 years ago averaged around                 combined overall decrease in the
                                                 advancements in solvents that are                       $95/metric ton ($2020). Comparable                     levelized cost of energy of about 10
                                                 potentially direct substitutes for current              studies completed in 2018/2019                         percent for the Nth-of-a-Kind facility
                                                 amine-solvents will reduce auxiliary                    estimated capture and compression                      compared to a First-of-a-Kind facility.818
                                                 energy requirements and reduce both                     costs could fall to approximately $50/                 DOE further found this illustrative cost
                                                 operating and capital costs, and thereby,               metric ton CO2 by 2025. Current target                 reduction estimate from learning
                                                 increase the economic competitiveness                   pricing for announced projects at coal-                through doing to be consistent with
                                                 of CCS.810 Planned large-scale projects,                fired steam generating units is                        other studies that use hybrid
                                                 pilot plants, and research initiatives will             approximately $40/metric ton on                        engineering-economic and experience-
                                                                                                         average, compared to Boundary Dam                      curve approaches to estimate potential
                                                 also decrease the capital and operating
                                                                                                         whose actual costs were reported to be                 decreases in the levelized cost of energy
                                                 costs of future CCS technologies.
                                                                                                         $105/metric ton, noting that these                     of 10–11 percent for Nth-of-a-Kind
                                                    In general, CCS costs have been                      estimates do not include the impact of                 plants compared with First-of-a-Kind
                                                 declining as carbon capture technology                  the 45Q tax credit as enhanced by the                  plants.819 820 Policies in the IIJA and IRA
                                                 advances.811 While the cost of capture                  IRA. Additionally, IEA suggests this                   are further increasing investment in CCS
                                                 has been largely dependent on the                       trend will continue in the future as                   technology that can accelerate the pace
                                                 concentration of CO2 in the gas stream,                 technology advancements ‘‘spill over’’                 of innovation and deployment.
                                                 advancements in varying individual                      into other projects to reduce costs.815
                                                 CCS technologies tend to drive down                     Similarly, EIA incorporates a minimum                  (2) CO2 Transport and Sequestration
                                                 the cost of capture for other CCS                       20 percent reduction in carbon capture                 Costs
                                                 technologies. The increase in CCS                       and sequestration costs by 2035 in their                  NETL’s ‘‘Quality Guidelines for
                                                 investment is already driving down the                  Annual Energy Outlook 2023 modeling                    Energy System Studies; Carbon Dioxide
                                                 costs of near-future CCS technologies.                  in part to account for the impact of                   Transport and Sequestration Costs in
                                                 The Global CCS Institute has tracked                    spillover and international learning.816               NETL Studies’’ provides an estimation
                                                 publicly available information on                       The Annual Technology Baseline                         of transport costs based on the CO2
                                                 previously studied, executed, and                       published by NREL with input from                      Transport Cost Model.821 The CO2
                                                 proposed CO2 capture projects.812 The                   NETL projects a 10 percent reduction in                Transport Cost Model estimates costs for
                                                 cost of CO2 capture from low-to-medium                  capital expenditures from 2021 through                 a single point-to-point pipeline.
                                                 partial pressure sources such as coal-                  2032 in the ‘‘Conservative Technology                  Estimated costs reflect pipeline capital
                                                 fired power generation has been                         Innovation Scenario’’ for natural gas                  costs, related capital expenditures, and
                                                 trending downward over the past                         carbon capture retrofit projects, under                operations and maintenance costs.
                                                 decade, and is projected to fall by 50                  the assumption that only learning                         NETL’s Quality Guidelines also
                                                 percent by 2025 compared to 2010. This                  processes lead to future cost reductions               provide an estimate of sequestration
                                                                                                         and that there are no additional                       costs. These costs reflect the cost of site
                                                 is driven by the familiar learning-
                                                                                                         improvements from investments in                       screening and evaluation, permitting
                                                 processes that accompany the
                                                                                                         targeted technology research and                       and construction costs, the cost of
                                                 deployment of any industrial
                                                                                                         development.817 In a recent case study                 injection wells, the cost of injection
                                                 technology. A review of learning rates                  of the cost and performance of carbon
                                                 (the reduction in cost for a doubling of                                                                       equipment, operation and maintenance
                                                                                                         capture retrofits on existing natural gas              costs, pore volume acquisition expense,
                                                 production or capacity) for various                     combined cycle units, based on
                                                 energy related technologies similar to                                                                         and long-term liability protection.
                                                                                                         discussions with external technology                   Permitting and construction costs also
                                                 carbon capture (flue gas desulfurization,               providers, engineering consultants, asset
                                                 selective catalytic reduction, combined                                                                        reflect the regulatory requirements of
                                                                                                         developers, and applicants for DOE                     the UIC Class VI program and GHGRP
                                                 cycle turbines, pulverized coal boilers,                awards, DOE used a 25 percent capital
                                                 LNG production, oxygen production,                                                                             subpart RR for geologic sequestration of
                                                                                                         cost reduction estimate to illustrate the              CO2 in deep saline formations. NETL
                                                 and hydrogen production via steam                       potential future capital costs of an Nth-              calculates these sequestration costs on
                                                 methane reforming) demonstrated
                                                                                                                                                                the basis of generic plant locations in
                                                 learning rates of 5 percent to 27 percent                  813 https://www.sciencedirect.com/science/

                                                                                                         article/pii/S1750583607000163.                         the Midwest, Texas, North Dakota, and
                                                 for both capital expenditures and
                                                                                                            814 As an additional example for cost reductions    Montana, as described in the NETL
                                                                                                         from learning processes via deployment achieved in     energy system studies.822
                                                 in the fuel cell. FuelCell Energy, Inc. (2018).         other complex power generation projects, the most
                                                 SureSource Capture. https://                            recent sustained deployment of 19 nuclear reactors       818 Portfolio Insights: Carbon Capture in the
                                                 www.fuelcellenergy.com/recovery-2/suresource-           in South Korea from 1989 through 2008 resulted in
                                                 capture/.                                               a 13 percent reduction in capital costs. https://      Power Sector. DOE. 2024. https://www.energy.gov/
                                                   810 DOE. Carbon Capture, Transport, & Storage.        www.sciencedirect.com/science/article/pii/             oced/portfolio-strategy.
                                                                                                                                                                  819 https://www.frontiersin.org/articles/10.3389/
                                                 Supply Chain Deep Dive Assessment. February 24,         S0301421516300106.
                                                 2022. https://www.energy.gov/sites/default/files/          815 International Energy Agency (IEA) (2020).       fenrg.2022.987166/full.
                                                 2022-02/Carbon%20Capture%20                             CCUS in Clean Energy Transitions—CCUS                    820 https://www.sciencedirect.com/science/

                                                 Supply%20Chain%20Report%20-%20Final.pdf.                technology innovation. https://www.iea.org/reports/    article/pii/S1750583607000163.
                                                   811 International Energy Agency (IEA) (2020).         ccus-in-clean-energy-transitions/a-new-era-for-ccus.     821 Grant, T., et al. ‘‘Quality Guidelines for Energy
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                                                 CCUS in Clean Energy Transitions—A new era for             816 Energy Information Administration (EIA)         System Studies; Carbon Dioxide Transport and
                                                 CCUS. https://www.iea.org/reports/ccus-in-clean-        (2023). Assumptions to the Annual Energy Outlook       Storage Costs in NETL Studies.’’ National Energy
                                                 energy-transitions/a-new-era-for-ccus. The same is      2023: Electricity Market Module. https://              Technology Laboratory. 2019. https://
                                                 true for CCS on coal-fired EGUs.                        www.eia.gov/outlooks/aeo/assumptions/pdf/EMM_          www.netl.doe.gov/energy-analysis/details?id=3743.
                                                   812 Technology Readiness and Costs of CCS             Assumptions.pdf.                                         822 National Energy Technology Laboratory

                                                 (2021). Global CCS Institute. https://                     817 National Renewable Energy Laboratory (NREL)     (NETL), ‘‘FE/NETL CO2 Saline Storage Cost Model
                                                 www.globalccsinstitute.com/wp-content/uploads/          (2023). Annual Technology Baseline 2023. https://      (2017),’’ U.S. Department of Energy, DOE/NETL–
                                                 2021/03/Technology-Readiness-and-Costs-for-CCS-         atb.nrel.gov/electricity/2023/fossil_energy_           2018–1871, 30 September 2017. https://
                                                 2021-1.pdf.                                             technologies.                                          netl.doe.gov/energy-analysis/details?id=2403.



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                                                   There are two primary cost drivers for                available at $85/metric ton ($77/ton)                    in the NETL analysis suggest that higher
                                                 a CO2 sequestration project: the rate of                and offsets a significant portion of the                 capacity factors may be reasonable and
                                                 injection of the CO2 into the reservoir                 capture, transport, and sequestration                    as figure 8 in the final TSD, Greenhouse
                                                 and the areal extent of the CO2 plume                   costs noted above.                                       Gas Mitigation Measures, Carbon
                                                 in the reservoir. The rate of injection                                                                          Capture and Storage for Combustion
                                                 depends, in part, on the thickness of the               (4) Total Costs of CCS
                                                                                                                                                                  Turbines demonstrates, would result in
                                                 reservoir and its permeability. Thick,                    In a typical NSPS analysis, the EPA                    even lower costs. The analysis further
                                                 permeable reservoirs provide for better                 amortizes costs over the expected                        assumes that the turbine operates at a
                                                 injection and fewer injection wells. The                operating life of the affected facility and              capacity of 31 percent during the
                                                 areal extent of the CO2 plume depends                   assumes constant revenue and expenses                    remaining 18-year period. As explained
                                                 on the sequestration capacity of the                    over that period of time. For a new                      in the final TSD, Greenhouse Gas
                                                 reservoir. Thick, porous reservoirs with                combustion turbine, the expected                         Mitigation Measures Carbon Capture
                                                 a good sequestration coefficient will                   operating life is 30 years. The EPA has                  and Storage for Combustion Turbines, to
                                                 present a small areal extent for the CO2                adjusted that analysis in this rule to                   avoid impacting the compliance costs
                                                 plume and have lower testing and                        account for the fact that the IRC section                due to changes in the overall capacity
                                                 monitoring costs. NETL’s Quality                        45Q tax credit is available for only the                 factors with the base case, the EPA kept
                                                 Guidelines model costs for a given                      12 years after operation is commenced.                   the overall 30-year capacity factor at the
                                                 cumulative storage potential.823                        Since the duration of the tax credit is                  historical average of 51 percent. The
                                                   In addition, provisions in the IIJA and               less than the expected life of a new base                EPA evaluated several operational
                                                 IRA are expected to significantly                       load combustion turbine, the EPA                         scenarios (as described in the TSD). The
                                                 increase the CO2 pipeline infrastructure                conducted the costing analysis by                        scenario with an initial 12-year capacity
                                                 and development of sequestration sites,                 recognizing that the substantial revenue                 factor of 80 percent and a subsequent
                                                 which, in turn, are expected to result in               available for sequestering CO2 during                    18-year capacity factor of 31 percent (for
                                                 further cost reductions for the                         the first 12 years of operation is                       a 30-year capacity factor of 51 percent)
                                                 application of CCS at a new combined                    expected to result in higher capacity                    represents the primary policy case. It
                                                 cycle EGUs. The IIJA establishes a new                  factors for that period, and the potential               should be noted that at a 31 percent
                                                 Carbon Dioxide Transportation                           higher operating costs during the                        capacity factor, the combustion turbine
                                                 Infrastructure Finance and Innovation                   subsequent 18 years when the 45Q tax                     would be subcategorized as an
                                                 program to provide direct loans, loan                   credit is not available is likely to result              intermediate load combustion turbine,
                                                 guarantees, and grants to CO2                           in lower capacity factors (see final TSD,                and therefore would be subject to a less
                                                 infrastructure projects, such as                        Greenhouse Gas Mitigation Measures,                      stringent standard of performance that is
                                                 pipelines, rail transport, ships and                    Carbon Capture and Storage for                           based on efficient operation, not on the
                                                 barges.824 The IIJA also establishes a                  Combustion Turbines for more                             use of CCS.
                                                 new Regional Direct Air Capture Hubs                    discussion).827 828
                                                 program which includes funds to                                                                                     This costing approach results in lower
                                                                                                           Specifically, the EPA’s cost analysis                  compliance costs than assuming a
                                                 support four large-scale, regional direct               assumes that the combined cycle
                                                 air capture hubs and more broadly                                                                                constant capacity factor for the 30-year
                                                                                                         turbine operates at a capacity of 80                     useful life of the turbine because of
                                                 support projects that could be                          percent over the initial 12-year period.
                                                 developed into a regional or inter-                                                                              increased revenue from generation
                                                                                                         This capacity level is generally                         during the initial 12-year period,
                                                 regional network to facilitate                          consistent with the IPM model
                                                 sequestration or utilization.825 DOE is                                                                          increased revenue from the IRC section
                                                                                                         projections of 87 percent (and, in fact,                 45Q tax credits during that period, and
                                                 additionally implementing IIJA section                  somewhat more conservative). The 80
                                                 40305 (Carbon Storage Validation and                                                                             lower costs during the last 18 years
                                                                                                         percent capacity factor assumption is                    when the tax credit is not available. As
                                                 Testing) through its CarbonSAFE                         also less than the 85 percent capacity
                                                 initiative, which aims to further                                                                                noted, this is a reasonable approach
                                                                                                         factor assumption in the NETL                            because the economic incentive
                                                 development of geographically                           analysis.829 But notably, the higher
                                                 widespread, commercial-scale, safe                                                                               provided by the tax credit is so
                                                                                                         capacity factors in the IPM analysis and                 significant on a $/ton basis that the EPA
                                                 storage.826 The IRA increases and
                                                 extends the IRC section 45Q tax credit,                    827 In the proposal, the EPA used a constant 65
                                                                                                                                                                  expects sources to dispatch at higher
                                                 discussed next.                                         percent capacity factor, representative of the initial   levels while the tax credit is in effect.
                                                 (3) IRC Section 45Q Tax Credit
                                                                                                         capacity factor of recently constructed combined            The EPA calculated two sets of CCS
                                                                                                         cycle turbines, and effective 30-year 45Q tax credit     costs: the first assumes that the turbine
                                                   For the reasons explained in section                  of $41/ton. For this final rule, the EPA considers the
                                                                                                         approach of using a higher capacity factor for the       continues to operate the capture system
                                                 VII.C.1.a.ii of this preamble, in                       first 12 years and a lower one for the last 18 years     during the last 18 years, and the second
                                                 determining the cost of CCS, the EPA is                 to reflect more accurately actual operating              assumes that the turbine does not
                                                 taking into account the tax credit                      conditions, and therefore to be a more realistic basis   operate the capture system during the
                                                 provided under IRC section 45Q, as                      for calculating CCS costs.
                                                                                                            828 The EPA’s cost approach for CCS for existing      last 18 years.830 Assuming continued
                                                 revised by the IRA. The tax credit is                                                                            operation of the capture equipment, the
                                                                                                         coal-fired units also assumed that those units would
                                                   823 Department of Energy. Regional Direct Air
                                                                                                         increase their capacity during the 12-year period        compliance costs are $15/MWh and
                                                                                                         when the 45Q tax credit was available. See               $46/ton ($51/metric ton) for a 6,100
                                                 Capture Hubs. (2022). https://www.energy.gov/           preamble section VII.C.1.a.ii, and Greenhouse Gas
                                                 oced/regional-direct-air-capture-hubs.                  Mitigation Measures for Steam Generating Units
                                                                                                                                                                  MMBtu/h H-Class turbine, which has a
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                                                   824 DOE. Carbon Dioxide Transportation
                                                                                                         TSD section 4.7.5. Because coal-fired power plants       net output of approximately 990 MW;
                                                 Infrastructure. https://www.energy.gov/lpo/carbon-      are existing plants, the EPA calculated CCS costs by     and $19/MWh and $57/ton ($63/metric
                                                 dioxide-transportation-infrastructure.                  assuming a 12-year amortization period for the CCS       ton) for a 4,600 MMBtu/h F-Class
                                                   825 Department of Energy. ‘‘Regional Direct Air       equipment, and the EPA did not need to make any
                                                 Capture Hubs.’’ (2022). https://www.energy.gov/         assumptions about the operation of the coal-fired
                                                                                                                                                                  turbine, which has a net output of
                                                 oced/regional-direct-air-capture-hubs.                  unit after the 12-year period.
                                                   826 For more information, see the NETL                   829 Compliance costs would be lower if higher           830 The CCS and CO TS&M costs are amortized
                                                                                                                                                                                        2
                                                 announcement. https://www.netl.doe.gov/node/            capacity factors were used during the first 12 years     over the period the equipment is operated—30
                                                 12405.                                                  of operation.                                            years or 12 years.



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                                                 approximately 700 MW.831 832 If the                     approximate these likely improvements,         Turbines, section 2.3, Figure 8.835 At the
                                                 capture system is not operated while the                as follows: Assuming continued                 lower levels of capacity, costs are higher
                                                 combustion turbine is subcategorized as                 operation of the capture equipment, the        than described above (which assumed
                                                 an intermediate load combustion                         compliance costs are $13/MWh and               80 percent capacity during the first 12
                                                 turbine, the compliance costs are                       $40/ton ($44/metric ton) for a                 years), but even at those lower levels,
                                                 reduced to $8/MWh and $43/ton ($47/                     6,100 MMBtu/h H-Class combustion               the costs are broadly consistent with the
                                                 metric ton) for a 6,100 MMBtu/h H-                      turbine, and $18/MWh and $54/ton               cost-reasonable metrics based on prior
                                                 Class combustion turbine, and $12/                      ($59/metric ton) for a 4,600 MMBtu/h F-        rules, particularly when those costs are
                                                 MWh and $60/ton ($66/metric ton) for                    Class combustion turbine. If the capture       reduced by an additional 5 percent to
                                                 a 4,600 MMBtu/h F-Class combustion                      system is not operated while the               account for improved efficiency and
                                                 turbine. All of these costs are                         combustion turbine is subcategorized as        other factors, as noted above.
                                                 comparable to the cost metrics that,                    in intermediate load combustion                Nonetheless, consistent with the EPA’s
                                                 based on prior rules, the EPA finds to                  turbine, the compliance costs are              commitment to review, and if
                                                 be reasonable in this rulemaking.833 For                reduced to $8/MWh and $39/ton ($43/            appropriate, revise the emission
                                                 a more detailed discussion of costs, see                metric ton) for a 6,100 MMBtu/h H-Class        guidelines for coal-fired steam
                                                 the TSD—GHG Mitigation Measures—                        combustion turbine, and $11/MWh and            generating units as discussed in section
                                                 Carbon Capture and Storage for                          $56/ton ($61/metric ton) for a                 VII.F, the EPA also intends to evaluate,
                                                 Combustion Turbines, section 2.3,                       4,600 MMBtu/h F-Class combustion               by 2041, the continued cost-
                                                 Figure 12a.                                             turbine.                                       reasonableness of CCS for natural gas-
                                                   The EPA considers these CCS cost                         In addition, the EPA considers all          fired combustion turbines in light of
                                                 estimates to be conservatively high                     those costs to be conservative (in favor       these potential significant
                                                 because they do not take into account                   of higher costs) because they assume           developments, and will consider at that
                                                 cost improvements from the potential                    that the combustion turbine operator           time whether a future regulatory action
                                                 use of exhaust gas recirculation, which,                will not receive any revenues from             may be appropriate.
                                                 according to one study, could lower                     captured CO2 after the 12-year period
                                                                                                         for the tax credit. In fact, it is plausible   (5) Comparison to Other Costs of
                                                 LCOE by 3.4 percent, as described in                                                                   Controls
                                                 preamble section VIII.F.4.c.iv.(C)(1). Nor              that there will be sources of revenue,
                                                 do they consider the potential for                      potentially including from the sale of           The costs for CCS applied to a
                                                 additional efficiency improvements for                  the CO2 for utilization and credits to         representative new base load stationary
                                                                                                         meet state or corporate clean energy           combustion turbine EGU are generally
                                                 combined cycle units 834 or CCS
                                                                                                         goals, as discussed in RTC section             lower than the costs of other controls in
                                                 technological advances, as discussed in
                                                                                                         2.2.4.3.                                       EPA rules for fossil fuel-fired electric
                                                 preamble section VIII.F.4.c.iv.(B)(1)(b),
                                                                                                            It should be noted that natural gas-        generating units, as well as the costs of
                                                 VIII.F.4.c.iv.(C)(1), and RTC section 3.1.
                                                                                                         fired combustion turbines with CCS             other controls for greenhouse gases, as
                                                 The EPA considers that at least some of
                                                                                                         may well generate at higher capacity           described in section VII.C.1.a.ii(D),
                                                 these cost improvements are likely.
                                                                                                         factors after the expiration of the 45Q        which supports the EPA’s view that the
                                                 Accordingly, the EPA also calculated
                                                                                                         tax credit than the EPA’s above-               CCS costs are reasonable.
                                                 the CCS costs based on an assumed 5
                                                                                                         described BSER cost analysis assumes.
                                                 percent reduction in costs, in order to                                                                (D) Non-Air Quality Health and
                                                                                                         In fact, the EPA’s IPM model projects
                                                                                                                                                        Environmental Impact and Energy
                                                                                                         that the natural gas combined cycle
                                                   831 The output of the H-Class model combined
                                                                                                                                                        Requirements
                                                 cycle EGU without CCS is 992 MW. The auxiliary          generation that is projected to install
                                                 load of CCS reduces the net out to 883 MW. The          CCS in the illustrative final rule               In this section of the preamble, the
                                                 output of the F-Class model combined cycle EGU          scenario operates at an average 73             EPA considers the non-air quality health
                                                 without CCS is 726 MW. The auxiliary load of CCS        percent capacity factor, due to existing       and environmental impacts of CCS for
                                                 reduces the net out to 645 MW.
                                                   832 As we explain in the final TSD, GHG               state regulatory requirements, during          new combined cycle turbines and
                                                 Mitigation Measures—Carbon Capture and Storage          the 2045 model year, which is after the        concludes there are limited
                                                 for Combustion Turbines, sections 2.3–2.5, the          expiration of the 45Q tax credit. In           consequences related to non-air quality
                                                 6,100 MMBtu/h H-Class combustion turbine is the         addition, as discussed in RTC section          health and environmental impact and
                                                 median size of recently constructed combined cycle                                                     energy requirements. The EPA first
                                                 facilities and the 4,600 MMBtu/h F-Class
                                                                                                         2.2.4.3, it is plausible that following the
                                                 combustion turbine approximates the size of a           12-year period of the tax credit, by the       discusses energy requirements, and then
                                                 number of recently constructed combined cycle           2040s, cost improvements in CCS                considers non-GHG emissions impacts
                                                 facilities as well. CCS costs for smaller sources are   operations, more widespread adoption           and water use impacts, resulting from
                                                 higher but are not prohibitive. GHG Mitigation          of CO2 emission limitation requirements        the capture, transport, and sequestration
                                                 Measures—Carbon Capture and Storage for
                                                 Combustion Turbines TSD, section 2.3, Figures 12a       in the electricity sector, and greater         of CO2.
                                                 and 13. As noted in RTC section 3.1, we expect          demand for CO2 for beneficial uses will          With respect to energy requirements,
                                                 costs to decrease due to learning by doing and          support continued operation of fossil          including a 90 percent or greater carbon
                                                 technological development. In addition, since the       fuel-fired generation with CCS.                capture system in the design of a new
                                                 incremental generating costs of larger more efficient
                                                 combined cycle turbines are lower relative to           Accordingly, the EPA also calculated           combined cycle turbine will increase
                                                 smaller combined cycle turbines, it is more likely      CCS costs assuming that new F-Class            the unit’s parasitic/auxiliary energy
                                                 that larger more efficient combined cycle turbine       and H-Class combustion turbines with           demand and reduce its net power
                                                 will operate as base load combustion turbines.          CCS generate at a constant capacity            output. A utility that wants to construct
                                                   833 A DOE analysis of a representative NGCC
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                                                 plant using CCS in the ERCOT market indicates that
                                                                                                         factor of at least 60 percent, and up to       a combined cycle turbine to provide
                                                 operating at high operating capacity could be           80 percent, during their 30-year useful        500 MWe-net of power could build a
                                                 profitable today with the IRC 45Q tax credits.          life. In this calculation, the EPA
                                                 Portfolio Insights: Carbon Capture in the Power         amortized the costs of CCS over the 30-          835 The compliance costs assume the same
                                                 Sector. DOE. https://www.energy.gov/oced/               year useful life of the turbine. The EPA       capacity factors in the base and policy case, that is,
                                                 portfolio-strategy.                                                                                    without CCS and with CCS. If combined cycle
                                                   834 These additional efficiency improvements are      includes these costs in the final TSD,         turbine with CCS were to operate at higher capacity
                                                 noted in the final TSD, Efficient Generation:           GHG Mitigation Measures—Carbon                 factors in the policy case, compliance costs would
                                                 Combustion Turbine Electric Generating Units.           Capture and Storage for Combustion             be reduced.



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                                                 500 MWe-net plant knowing that it will                  cycle units will be equipped with low-                would reduce the need for additional
                                                 be de-rated by 11 percent (to a 444                     NOX burners to control flame                          cooling water. Therefore, the EPA is
                                                 MWe-net plant) with the installation                    temperature and reduce NOX formation.                 finalizing a determination that the
                                                 and operation of CCS. In the alternative,               Additionally, new combined cycle units                challenges of additional cooling
                                                 the project developer could build a                     are typically subject to major NSR                    requirements from CCS are limited and
                                                 larger 563 MWe-net combined cycle                       requirements for NOX emissions, which                 do not disqualify CCS from being the
                                                 turbine knowing that, with the                          may require the installation of SCR to                BSER.
                                                 installation of the carbon capture                      comply with a control technology                         Stakeholders have shared with the
                                                 system, the unit will still be able to                  determination by the permitting                       EPA concerns about the safety of CCS
                                                 provide 500 MWe-net of power to the                     authority. See section XI.A of this                   projects and that historically
                                                 grid. Although the use of CCS imposes                   preamble for additional details                       disadvantaged and overburdened
                                                 additional energy demands on the                        regarding the NSR program. Although                   communities may bear a
                                                 affected units, those units are able to                 NOX concentrations may be controlled                  disproportionate environmental burden
                                                 accommodate those demands by scaling                    by SCR, for some amine solvents NOX                   associated with CCS projects.839 The
                                                 larger, as needed.                                      in the post-combustion flue gas can                   EPA takes these concerns seriously,
                                                    Regardless of whether a unit is scaled               react in the CO2 absorber to form                     agrees that any impacts to historically
                                                 larger, the installation and operation of               nitrosamines. A conventional multistage               disadvantaged and overburdened
                                                 CCS itself does not impact the unit’s                   water wash or acid wash and a mist                    communities are important to consider,
                                                 potential-to-emit any criteria air                      eliminator at the exit of the CO2                     and has done so as part of its analysis
                                                 pollutants. In other words, a new base                  scrubber is effective at removal of                   discussed at section XII.E. For the
                                                 load stationary combustion turbine EGU                  gaseous amine and amine degradation                   reasons noted above, the EPA does not
                                                 constructed using highly efficient                      products (e.g., nitrosamine)                          expect CCS projects to result in
                                                 generation (the first component of the                  emissions.837 838 Acetaldehyde and                    uncontrolled or substantial increases in
                                                 BSER) would not see an increase in                      formaldehyde can form through                         emissions of non-GHG air pollutants
                                                 emissions of criteria air pollutants as a               oxidation of the solvent, however, this               from new combustion turbines.
                                                 direct result of installing and using 90                can be mitigated by selecting compatible              Additionally, a robust regulatory
                                                 percent or greater CO2 capture CCS to                   materials to limit catalytic oxidation                framework exists to reduce the risks of
                                                 meet the second phase standard of                       and interstage cooling in the absorber to             localized emissions increases in a
                                                 performance.836                                         limit thermal oxidation.                              manner that is protective of public
                                                    Scaling a unit larger to provide heat                   The use of water for cooling presents              health, safety, and the environment.
                                                 and power to the CO2 capture                            an additional issue. Due to their                     These projects will likely be subject to
                                                 equipment would have the potential to                   relatively high efficiency, combined                  major NSR requirements for their
                                                 increase non-GHG air emissions.                         cycle EGUs have relatively small                      emissions of criteria pollutants, and
                                                 However, most pollutants would be                       cooling requirements compared to other                therefore the sources would be required
                                                 mitigated or controlled by equipment                    base load EGUs. According to NETL, a                  to (1) control their emissions of
                                                 needed to meet other CAA                                combined cycle EGU without CCS                        attainment pollutants by applying BACT
                                                 requirements. In general, the emission                  requires 190 gallons of cooling water per             and demonstrate the emissions will not
                                                 rates and flue gas concentrations of most               MWh of electricity. CCS increases the                 cause or contribute to a NAAQS
                                                 non-GHG pollutants from the                             cooling water requirements due both to                violation, and (2) control their
                                                 combustion of natural gas in stationary                 the decreased efficiency and the cooling              emissions of nonattainment pollutants
                                                 combustion turbines are relatively low                  requirements for the CCS process to 290               by applying LAER and fully offset the
                                                 compared to the combustion of oil or                    gallons per MWh, an increase of about                 emissions by securing emission
                                                 coal in boilers. As such, it is not                     50 percent. However, because combined                 reductions from other sources in the
                                                 necessary to use an FGD to pretreat the                 cycle turbines require limited amounts                area. Also, as mentioned in section
                                                 flue gas prior to CO2 removal in the CO2                of cooling water, the absolute amount of              VII.C.1, carbon capture systems that are
                                                 scrubber column. The sulfur content of                  increase in cooling water required due                themselves a major source of HAP
                                                 natural gas is low relative to oil or coal              to use of CCS is relatively small                     should evaluate the applicability of
                                                 and resulting SO2 emissions are                         compared to the amount of water used                  CAA section 112(g) and conduct a case-
                                                 therefore also relatively low. Similarly,               by a coal-fired EGU. A coal-fired EGU                 by-case MACT analysis if required, to
                                                 PM emissions from combustion of                         without CCS requires 450 gallons or                   establish MACT for any listed HAP,
                                                 natural gas in a combustion turbine are                 more per MWh and the industry has                     including listed nitrosamines,
                                                 relatively low. Furthermore, the high                   demonstrated an ability to secure these               formaldehyde, and acetaldehyde. But, as
                                                 combustion efficiency of combustion                     quantities of water and the EPA has                   also discussed in section VII.C.1, a
                                                 turbines results in relatively low HAP                  determined that the increased water                   conventional multistage water or acid
                                                 emissions. Additionally, combustion                     requirements for CCS can be addressed.                wash and mist eliminator (demister) at
                                                 turbines at major sources of HAP are                    In addition, many combined cycle EGUs                 the exit of the CO2 scrubber is effective
                                                 subject to the stationary combustion                    currently use dry cooling technologies                at removal of gaseous amine and amine
                                                 turbine NESHAP, which includes limits                   and the use of dry or hybrid cooling                  degradation products (e.g., nitrosamine)
                                                 for formaldehyde emissions for new                      technologies for the CO2 capture process              emissions. Additionally, as noted in
                                                 sources that may require installation of
                                                 an oxidation catalyst (87 FR 13183;                        837 Sharma, S., Azzi, M., ‘‘A critical review of     839 In outreach with potentially vulnerable
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                                                 March 9, 2022). Regarding NOX                           existing strategies for emission control in the       communities, residents have voiced two primary
                                                                                                         monoethanolamine-based carbon capture process         concerns. First, there is the concern that their
                                                 emissions, in most cases, the                           and some recommendations for improved                 communities have experienced historically
                                                 combustion turbines in new combined                     strategies,’’ Fuel, 121, 178 (2014).                  disproportionate burdens from the environmental
                                                                                                            838 Mertens, J., et al., ‘‘Understanding           impacts of energy production, and second, that as
                                                   836 While the absolute onsite mass emissions          ethanolamine (MEA) and ammonia emissions from         the sector evolves to use new technologies such as
                                                 would not increase from the second component of         amine-based post combustion carbon capture:           CCS, they may continue to face disproportionate
                                                 the BSER, the emissions rate on a lb/MWh-net basis      Lessons learned from field tests,’’ Int’l J. of GHG   burden. This is discussed further in section XII.E of
                                                 would increase by 13 percent.                           Control, 13, 72 (2013).                               this preamble.



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                                                 section VII.C.1.a.i.(C) of this preamble,               expected to represent 14 percent of all             industrial source, except for coal-fired
                                                 PHMSA oversight of supercritical CO2                    new generating capacity built in the                steam generating units.
                                                 pipeline safety protects against                        U.S. and only a portion of that is natural
                                                                                                                                                             (G) Promotion of the Development and
                                                 environmental release during transport                  gas combined cycle capacity.840 Several
                                                                                                                                                             Implementation of Technology
                                                 and UIC Class VI regulations under the                  companies have recently announced
                                                 SDWA, in tandem with GHGRP                              plans to move away from new combined                  The EPA also considered whether
                                                 requirements, ensure the protection of                  cycle turbine projects in favor of more             determining CCS to be a component of
                                                 USDWs and the security of geologic                      non-base load combustion turbines,                  the BSER for new base load combustion
                                                 sequestration.                                          renewables, and battery storage. For                turbines will advance the technological
                                                    The EPA is committed to working                      example, Xcel recently announced plans              development of CCS and concluded that
                                                 with its fellow agencies to foster                      to build new renewable power                        this factor further corroborates our BSER
                                                 meaningful engagement with                              generation instead of the combined                  determination. A standard of
                                                 communities and protect communities                     cycle turbine it had initially proposed to          performance based on highly efficient
                                                 from pollution. This can be facilitated                 replace the retiring Sherco coal-fired              generation in combination with the use
                                                 through the existing detailed regulatory                plant.841 Finally, while CCS is                     of CCS—combined with the availability
                                                 framework for CCS projects and further                  adequately demonstrated and cost-                   of IRC section 45Q tax credits and
                                                 supported through robust and                            reasonable, this final rulemaking allows            investments in supporting CCS
                                                 meaningful public engagement early in                   companies that want to build a base                 infrastructure from the IIJA—should
                                                 the technological deployment process.                   load combined cycle turbine another                 result in more widespread adoption of
                                                    The EPA also expects that the                        compliance option to meet its                       CCS. In addition, while solvent-based
                                                 meaningful engagement requirements                      requirements: building a unit that co-              CO2 capture has been adequately
                                                 discussed in section X.E.1.b.i of this                  fires low-GHG hydrogen in the                       demonstrated at the commercial scale, a
                                                 preamble will ensure that all interested                appropriate amount to meet the                      CCS-based standard of performance may
                                                 stakeholders, including community                       standard of performance. In fact,                   incentivize the development and use of
                                                 members who might be adversely                          companies are currently pursuing both               better-performing solvents or other
                                                 impacted by non-GHG pollutants, will                    of these options—units with CCS as                  components of the capture equipment.
                                                 have an opportunity to raise this                       well as units that will co-fire low-GHG               Furthermore, the experience gained
                                                 concern with states and permitting                      hydrogen are both in various stages of              by utilizing CCS with stationary
                                                 authorities. Additionally, state                        development. For these reasons,                     combustion turbine EGUs, with their
                                                 permitting authorities, and project                     determining CCS to be the BSER for                  lower CO2 flue gas concentration
                                                 developers are, in general, required to                 base load units will not cause reliability          relative to other industrial sources such
                                                 provide public notice and comment on                    concerns.                                           as coal-fired EGUs, will advance capture
                                                 permits for such projects. This provides                                                                    technology with other lower CO2
                                                 additional opportunities for affected                   (F) Extent of Reductions in CO2                     concentration sources. The EIA 2023
                                                 stakeholders to engage in that process,                 Emissions                                           Annual Energy Outlook projects that
                                                 and it is the EPA’s expectation that the                  Designating CCS as a component of                 almost 862 billion kWh of electricity
                                                 responsible entities consider these                     the BSER for certain base load                      will be generated from natural gas-fired
                                                 concerns and take full advantage of                     combustion turbine EGUs prevents large              sources in 2040.842 Much of that
                                                 existing protections. Moreover, the EPA                 amounts of CO2 emissions. For example,              generation is projected to come from
                                                 through its regional offices is committed               a new base load combined cycle EGU                  existing combined cycle EGUs and
                                                 to thoroughly review permits associated                 without CCS could be expected to emit               further development of carbon capture
                                                 with CO2 capture.                                                                                           technologies could facilitate increased
                                                                                                         45 million tons of CO2 over its 30-year
                                                 (E) Impacts on the Energy Sector                        operating life, or 1.5 million tons of CO2          retrofitting of those EGUs.
                                                    The EPA does not believe that                        per year. Use of CCS would avoid the                (H) Summary of BSER Determination
                                                 determining CCS to be BSER for base                     release of nearly 41 million tons of CO2
                                                                                                                                                               As discussed, the EPA is finalizing a
                                                 load combustion turbines will cause                     over the operating life of the combined
                                                                                                                                                             determination that the second
                                                 reliability concerns, for several                       cycle EGU, or 1.37 million tons per year.
                                                                                                                                                             component of the BSER for base load
                                                 independent reasons. First, the EPA is                  However, due to the auxiliary/parasitic
                                                                                                                                                             stationary combustion turbines is the
                                                 finalizing a determination that the costs               energy requirements of the carbon
                                                                                                                                                             utilization of CCS at 90 percent capture.
                                                 of CCS are reasonable and comparable                    capture system, capturing 90 percent of
                                                                                                                                                             The EPA has determined that 90 percent
                                                 to other control requirements the EPA                   the CO2 does not result in a
                                                                                                                                                             CCS meets the criteria for BSER for new
                                                 has required the electric power industry                corresponding 90 percent reduction in
                                                                                                                                                             base load combustion turbines. It is an
                                                 to adopt without significant effects on                 CO2 emissions. According to the NETL
                                                                                                                                                             adequately demonstrated technology
                                                 reliability. Second, base load combined                 baseline report, adding a 90 percent CO2
                                                                                                                                                             that can be implemented a reasonable
                                                 cycle turbines are only one of many                     capture system increases the EGU’s
                                                                                                                                                             cost. Importantly, use of CCS at 90
                                                 options that companies have to build                    gross heat rate by 7 percent and the
                                                                                                                                                             percent capture results in significant
                                                 new generation. The EPA expects there                   unit’s net heat rate by 13 percent. Since
                                                                                                                                                             reductions of CO2 as compared to a base
                                                 to be considerable interest in building                 more fuel would be consumed in the
                                                                                                         CCS case, the gross and net emissions               load combustion turbine without CCS.
                                                 intermediate load and low load                                                                              In addition, the EPA has considered
                                                 combustion turbines to meet demand for                  rates are reduced by 89.3 percent and
                                                                                                         88.7 percent respectively. These                    non-air quality and energy impacts.
                                                 dispatchable generation. Indeed, the
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                                                                                                         amounts of CO2 emissions and                        Considering all these factors together,
                                                 portion of the combustion turbine fleet                                                                     with particular emphasis on the
                                                 that is operating at base load is                       reductions are larger than for any other
                                                                                                                                                             importance of significantly reducing
                                                 declining as shown in the EPA’s                                                                             carbon pollution from these heavily
                                                                                                           840 https://www.eia.gov/todayinenergy/
                                                 reference case modeling (Power Sector                                                                       utilized sources, the EPA concludes that
                                                                                                         detail.php?id=55419.
                                                 Platform 2023 using IPM reference case,                   841 https://cubminnesota.org/xcel-is-no-longer-
                                                 see section IV.F of the preamble). In                   pursuing-gas-power-plant-proposes-more-                842 Does not include 114 billion kilowatt hours

                                                 2023, combined cycle turbines are only                  renewable-power/.                                   from natural gas-fired CHP projected in AEO 2023.



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                                                 CCS at 90 percent capture is BSER for                   have recently commenced construction.               construction or reconstruction on or
                                                 new base load combustion turbines. In                   This is consistent with the extended                after May 23, 2023, are subject to
                                                 addition, selecting CCS at 90 percent                   project schedule in the Sargent & Lundy             standards of performance that are
                                                 capture further promotes the                            report. This is also greater than the               implemented initially in two phases.
                                                 development and implementation of                       approximately 6 years from start to                 New stationary combustion turbines
                                                 this critical carbon pollution reduction                finish for Boundary Dam Unit 3 and                  that are designed and constructed for
                                                 technology, which confirms the                          Petra Nova.                                         the purpose of operating in the base
                                                 appropriateness of determining it to be                    As discussed in section VII.C.1.a.i(E),          load subcategory (i.e., at a 12-operating
                                                 the BSER.                                               the timing for installation of CCS on               month capacity factor of greater than 40
                                                    The BSER for base load combustion                    existing coal-fired steam generating                percent) that hypothetically commenced
                                                 turbines contains two components and                    units is based on the baseline project              construction on May 23, 2023, could,
                                                 the EPA is promulgating standards of                    schedule for the capture plant                      according to the schedule allowing,
                                                 performance to be implemented in two                    developed by Sargent and Lundy                      conservatively, up to 7 years to develop
                                                 phases with each phase reflecting the                   (S&L) 843 and a review of the available             a CCS project, have a system
                                                 degree of emission reduction achievable                 information for installation of CO2                 constructed and on-line by May 23,
                                                 through the application of each                         pipelines and sequestration sites.844 The           2030. However, the EPA is finalizing a
                                                 component of the BSER. The first                        representative timeline for CCS for coal-           compliance date of January 1, 2032,
                                                 component of the BSER is most efficient                 fired steam generating units is detailed            because some base load combined cycle
                                                 generation—an affected new base load                    in the final TSD, GHG Mitigation                    stationary combustion projects that
                                                 combustion turbine must be constructed                  Measures for Steam Generating Units,                commenced construction between May
                                                 (or reconstructed) to meet a phase 1                    available in the docket, and the                    23, 2023, and the date of this final rule,
                                                 emission standard that reflects the                     anticipated timeline for development of             may not have included CCS in the
                                                 emission rate of the best performing                    a CCS project for application at a new              original design and planning for the
                                                 combustion turbine systems. The phase                   or reconstructed base load stationary               new EGU and, therefore, would be
                                                 1 standard of performance for base load                 combustion turbine would be similar.                unlikely to be able to have an
                                                 combustion turbines is in effect                        The explanations the EPA provided in                operational CCS system available by
                                                 immediately once the source begins                      section VII.C.1.a.i(E) regarding the                May 23, 2030.
                                                 operation. The second component of the                  timeline for long-term coal-fired steam                Further, the EPA notes that a delayed
                                                 BSER, as just discussed, is use of CCS                  generating units generally apply to new             compliance date (of January 1, 2035)
                                                 at a 90 percent capture rate. The phase                 combustion turbines as well. The EPA                was proposed for the phase 2 standards
                                                 2 standard of performance for base load                 expects that the owners or operators of             of performance due to overlapping
                                                 combustion turbines reflects the                        affected combustion turbines will be                demands on the capacity to design,
                                                 implementation of 90 capture CCS on a                   able to complete the design, planning,              construct, and operate carbon capture
                                                 highly efficient combined cycle                         permitting, engineering, and                        systems as well as pipeline systems that
                                                 combustion turbine system. The                          construction steps for the carbon                   would potentially be needed to support
                                                 compliance date begins January 1, 2032.                 capture and transport and storage                   CCS projects for existing steam
                                                                                                         systems in a similar amount of time as              generating units and other industrial
                                                 (I) January 2032 Compliance Date
                                                                                                         projects for coal-fired EGUs.                       sources. As discussed in section
                                                    The EPA proposed a compliance date                      While those considerations apply in              VII.C.1.a.i(E), in this action the EPA is
                                                 beginning January 1, 2035, for new and                                                                      finalizing a compliance date of January
                                                                                                         general, the EPA notes that the timeline
                                                 reconstructed base load stationary                                                                          1, 2032 for long term coal-fired steam
                                                                                                         for the installation of CCS on coal-fired
                                                 combustion turbines subject to the                                                                          generating EGUs to meet a standard of
                                                                                                         steam generating units accounted for the
                                                 phase 2 standard of performance based                                                                       performance based on 90 percent
                                                                                                         state plan development process.
                                                 on CCS as the BSER. Some commenters                                                                         capture CCS. This compliance date for
                                                                                                         Because there are not state plans
                                                 were supportive of the proposed                                                                             long-term coal-fired steam generating
                                                                                                         required for new combustion turbines,
                                                 compliance date and some urged the                                                                          EGUs places fewer demands on the
                                                                                                         new sources can commit to beginning
                                                 EPA to set an earlier compliance date;                                                                      capacity to design, construct, and
                                                                                                         substantial work earlier (e.g., FEED
                                                 the EPA also received comments on the                                                                       operate carbon capture systems and the
                                                                                                         studies, right-of-way acquisition),
                                                 proposed rule that stated that the                                                                          associated infrastructure for those
                                                                                                         immediately after the completion of
                                                 proposed compliance date was not                                                                            sources. Therefore, the EPA does not
                                                                                                         feasibility work. However, the EPA also
                                                 achievable and referenced longer project                                                                    believe that there is a need to extend the
                                                                                                         recognizes that other elements of a state
                                                 timelines for CO2 capture. The EPA has                                                                      compliance date for phase 2 standards
                                                                                                         plan (e.g., RULOF), by which a source
                                                 considered the comments and                                                                                 for base load combustion turbine EGUs
                                                                                                         under specific circumstances could
                                                 information available and is finalizing a                                                                   by 5 years beyond that for existing coal-
                                                                                                         have a later compliance date, are not
                                                 compliance date of January 1, 2032, for                                                                     fired steam generating EGUs, as
                                                                                                         available to new sources. Therefore,
                                                 the phase 2 standard of performance for                                                                     proposed.
                                                                                                         while the timeline for CCS on coal-fired
                                                 base-load stationary combustion                                                                                Considering these factors, the EPA is
                                                                                                         steam generating units is based on the
                                                 turbines. The EPA is also finalizing a                                                                      therefore finalizing the compliance date
                                                                                                         baseline S&L capture plant schedule                 of January 1, 2032 for base load
                                                 mechanism for a compliance date
                                                                                                         (about 6.25 years), the EPA bases the               combustion turbine EGUs to meet the
                                                 extension of up to 1 year in cases where
                                                                                                         timeline for CCS on new combustion                  phase 2 standard of performance. This
                                                 a source faces a delay in the installation
                                                                                                         turbines on the extended S&L capture
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                                                 and startup of controls that are beyond                                                                     is the same compliance date applicable
                                                                                                         plant schedule (7 years).                           to existing long term coal-fired steam
                                                 the control of the EGU owner or
                                                                                                            As discussed, base load stationary
                                                 operator, as detailed in section VIII.N of                                                                  generating EGUs that are subject to a
                                                                                                         combustion turbines that commence
                                                 this preamble.                                                                                              standard of performance based on 90
                                                    In total, the January 1, 2032,                         843 CO Capture Project Schedule and Operations
                                                                                                                                                             percent capture CCS. The EPA assumes
                                                                                                                  2
                                                 compliance date allows for more than 7                  Memo, Sargent & Lundy (2024).                       the timelines for development of the
                                                 years for installation of CCS after                       844 Transport and Storage Timeline Summary, ICF   various components of CCS for an
                                                 issuance of this rule for sources that                  (2024).                                             existing coal-fired steam generating


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                                                 EGU, as discussed in section                            Ruckelshaus, for the proposition that         volume) low-GHG hydrogen by 2032.
                                                 VII.C.1.a.i(E), are very similar for those              ‘‘D.C. Circuit caselaw supports the           The EPA also proposed that new and
                                                 components for a CCS system serving a                   proposition that CAA section 111              reconstructed base load combustion
                                                 new or reconstructed base load                          authorizes the EPA to determine that          turbines could elect either (i) a second
                                                 combustion turbine EGU.                                 controls qualify as the BSER—including        component of BSER that consisted of
                                                    Some commenters argued that                          meeting the ‘adequately demonstrated’         installing CCS by 2035, or (ii) a second
                                                 because the power sector will require                   criterion—even if the controls require        and third component of BSER that
                                                 some amount of time before CCS and                      some amount of ‘lead time,’ which the         consisted of co-firing 30 percent (by
                                                 associated infrastructure may be                        court has defined as ‘the time in which       volume) low-GHG hydrogen by 2032
                                                 installed on a widespread basis, CCS                    the technology will have to be                and co-firing 96 percent (by volume)
                                                 cannot be considered adequately                         available.’ ’’ (footnote omitted). Nothing    low-GHG hydrogen by 2038.
                                                 demonstrated. This argument is similar                  in the comments alters the EPA’s view           The EPA solicited comment on
                                                 to the argument, discussed in section                   of the relevant legal requirements            whether the Agency should finalize
                                                 V.C.2.b, that in order to be adequately                 related to adequate demonstration or          both the CCS and low-GHG hydrogen
                                                 demonstrated, a technology must be in                   lead time.                                    co-firing pathways as separate
                                                 widespread commercial use. Both                                                                       subcategories with separate standards of
                                                 arguments are incorrect. Under CAA                      d. BSER for Base Load Subcategory—            performance and on whether the EPA
                                                 section 111, for a control technology to                Third Component                               should finalize one pathway with the
                                                 qualify as the BSER, the EPA must                          The EPA proposed a third component         option of meeting the standard of
                                                 demonstrate that it is adequately                       of the BSER of 96 percent (by volume)         performance using either system of
                                                 demonstrated for affected sources. The                  hydrogen co-firing in 2038 for owners/        emission reduction (88 FR 33277, May
                                                 EPA must also show that the industry                    operators of base load combustion             23, 2023). The EPA also solicited
                                                 can deploy the technology at scale in                   turbines that elected to comply with the      comment on the option of finalizing a
                                                 the compliance timeframe. That the EPA                  low-GHG hydrogen co-firing pathway.           single standard of performance based on
                                                 has provided lead time in order to                      As discussed in the next section, the         the application of CCS for the base load
                                                 ensure adequate time for industry to                    EPA is not finalizing the proposed BSER       subcategory (88 FR 33283, May 23,
                                                 deploy the technology at scale shows                    pathway of low-GHG hydrogen co-firing         2023).
                                                 that the EPA is meeting its statutory                   at this time. Therefore, the Agency is
                                                                                                                                                       b. Explanation for Not Finalizing Low-
                                                 obligation, not the inverse. Indeed, it is              not finalizing a third component of the
                                                                                                                                                       GHG Hydrogen Co-Firing as a BSER
                                                 not at all unusual for the EPA to provide               BSER for base load combustion turbines.
                                                 lead time for industry to deploy new                                                                     The EPA is not finalizing a low-GHG
                                                                                                         5. Technologies Proposed by the EPA           hydrogen co-firing component of the
                                                 technology. The EPA’s approach is in
                                                                                                         But Ultimately Not Determined To Be           BSER at this time. The EPA proposed
                                                 line with the statutory text and caselaw
                                                 encouraging technology-forcing                          the BSER                                      that co-firing low-GHG hydrogen
                                                 standard-setting cabined by the EPA’s                      The EPA is not finalizing its proposed     qualified as a BSER pathway because
                                                 obligation to ensure that its standards                 BSER pathway of low-GHG hydrogen              the components of the system met
                                                 are reasonable and achievable.                          co-firing for new and reconstructed base      specific criteria, namely that the
                                                    CCS is clearly adequately                            load and intermediate load combustion         capability of combustion turbines to co-
                                                 demonstrated, and ripe for wider                        turbines as part of this action. In light     fire hydrogen was adequately
                                                 implementation. Nevertheless, the EPA                   of public comments and additional             demonstrated and there was a
                                                 acknowledged in the proposed rule, and                  analysis, uncertainties regarding             reasonable expectation that the
                                                 reaffirms now, that the power sector                    projected costs prevent the EPA from          necessary quantities of low-GHG
                                                 will require some amount of lead time                   determining that low-GHG hydrogen is          hydrogen would be nationally available
                                                 before individual plants can install CCS                a component of the BSER at this time.         by 2032 and 2038 at reasonable cost.
                                                 as necessary. Deploying CCS requires                       The next section provides a summary        Due to concerns raised by commenters,
                                                 the building of capture facilities,                     of the proposed requirements for low-         the EPA conducted additional analysis
                                                 pipelines to transport captured CO2 to                  GHG hydrogen followed by, in section          of key components of the low-GHG
                                                 sequestration sites, and the                            VIII.F.5.b, an explanation for why the        hydrogen best system and the Agency’s
                                                 development of sequestration sites. This                Agency is not finalizing its proposed         proposed determination that low-GHG
                                                 is true for both existing coal-fired steam              determination that low-GHG hydrogen           hydrogen co-firing qualified as the
                                                 generating EGUs, some of which would                    co-firing is BSER. In section VIII.F.6, the   BSER. This additional analysis,
                                                 be required to retrofit with CCS under                  EPA discusses considerations for the          discussed further below, indicated that
                                                 the emission guidelines included in this                potential use of hydrogen. In section         the currently estimated cost of low-GHG
                                                 final rulemaking, and new gas-fired                     VIII.F.6.a, the Agency explains why it is     hydrogen in 2030 is higher than
                                                 combustion turbine EGUs, which must                     not limiting the hydrogen that may be         anticipated at proposal. These higher
                                                 incorporate CCS into their construction                 co-fired in a new or reconstructed            cost estimates were key factors in the
                                                 planning.                                               combustion turbine to only low-GHG            EPA’s decision to revise its 2030 cost
                                                    In this final rulemaking, the EPA is                 hydrogen. In section VIII.F.6.b, the          estimate for delivered low-GHG
                                                 setting a compliance deadline of January                Agency discusses its decision to not          hydrogen.
                                                 1, 2032 for the CCS-based standard for                  include a definition of low-GHG                  While the EPA is not finalizing a
                                                 new base load combustion turbines. The                  hydrogen.                                     BSER determination with regard to co-
                                                                                                                                                       firing with low-GHG hydrogen as part of
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                                                 EPA determined, examining the
                                                 evidence and exercising its appropriate                 a. Proposed Low-GHG Hydrogen Co-              this rulemaking and is therefore not
                                                 discretion to do so, that this is a                     Firing BSER                                   making any determination about
                                                 reasonable amount of time to allow for                     The EPA proposed that new and              whether such a practice is adequately
                                                 CCS buildout at the plant level. As the                 reconstructed intermediate load               demonstrated, the Agency notes that
                                                 EPA explained at proposal, D.C. Circuit                 combustion turbines were subject to a         there are multiple models of combustion
                                                 caselaw supports this approach. There,                  second component of the BSER that             turbines available from major
                                                 the EPA cited Portland Cement v.                        consisted of co-firing 30 percent (by         manufacturers that have successfully


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                                                 demonstrated the ability to combust                     reconstructed base load and                         by the U.S. Department of the Treasury
                                                 hydrogen. Manufacturers have stated                     intermediate load combustion turbines               pertaining to clean hydrogen production
                                                 that they expect to have additional                     at this time.                                       tax and energy credits, which proposed
                                                 models of combustion turbines available                    In the proposal, the EPA modeled                 certain eligibility parameters (88 FR
                                                 that will be capable of firing 100 percent              low-GHG hydrogen as a fuel available at             89220, December 26, 2023). Until
                                                 hydrogen while limiting emissions of                    a fixed delivered 846 price of $1/kg (or            Treasury’s regulations on the IRC
                                                 other pollutants (e.g., NOX). The EPA                   $7.40/MMBtu) in the baseline. This cost             section 45V hydrogen production tax
                                                 further discusses considerations around                 decreased to $0.50/kg (or $3.70/MMBtu)              credit are final, some analysts only
                                                 the technical feasibility of hydrogen co-               in the Integrated Proposal case when the            estimate future production costs of
                                                 firing in new and reconstructed                         second phase of the new combustion                  hydrogen, not delivered costs, and do
                                                 combustion turbines, and what they                      turbine standard began in 2032. This                not include any projected potential
                                                 mean for the potential use of hydrogen                  fuel was assumed to be ‘‘clean’’ and                impacts of the IRA incentives. For
                                                 co-firing as a compliance strategy, in                  eligible for the highest subsidy under              example, both McKinsey and
                                                 section VIII.F.6 of this preamble.                      the IRC section 45V hydrogen                        BloombergNEF project the unsubsidized
                                                    While the EPA believes that hydrogen                 production tax credit and would comply              production cost of clean hydrogen to be
                                                 co-firing is technically feasible based on              with the proposed requirement to use                approximately $2/kg by 2030, which
                                                 combustion turbine technology,                          low-GHG hydrogen (88 FR 33314, May                  could lead to negative to zero prices for
                                                 information about how the low-GHG                       23, 2023). The EPA’s revised modeling               some subsidized hydrogen after
                                                 hydrogen production industry will                       of the power sector for the final rule              considering transportation and
                                                 develop in the future is not sufficiently               used a price of $1.15/kg for delivered              storage.848 849 One of the highest
                                                 certain for the EPA to be able to                       low-GHG hydrogen in both the final                  estimates for the unsubsidized
                                                 determine that adequate quantities will                 baseline and policy cases. For                      production cost of clean hydrogen is
                                                 be available. That is, there remain, at the             additional discussion of the EPA’s                  from the Rhodium Group, which
                                                 time of this final rulemaking,                          revised modeling of the power sector                estimates the price to be from $3.39/kg
                                                 uncertainties pertaining to how the                     and increased cost estimate for low-                to $4.92/kg in 2030.850 Again, it should
                                                 future nationwide availability of low-                  GHG hydrogen, see the final RIA                     be noted these estimates do not include
                                                 GHG hydrogen will develop. Relatedly,                   included in the docket for this                     additional costs for transportation and
                                                 estimates of its future costs are more                  rulemaking.                                         storage. The increased cost projections
                                                 uncertain than anticipated at proposal.                    The U.S. Department of Energy’s 2022             for low-GHG hydrogen production are
                                                 For low-GHG hydrogen to meet the                        report, Pathways to Commercial Liftoff:             partly due to higher costs for capital
                                                 BSER criteria as proposed, the EPA                      Clean Hydrogen, informed the EPA’s                  equipment, such as electrolyzers. The
                                                 would have to be able to determine that                 revised low-GHG hydrogen cost                       DOE published a Program Record 851
                                                 significant quantities of low-GHG                       analysis. According to the DOE report,              detailing higher costs than previously
                                                 hydrogen will be available at reasonable                the cost to produce, transport, store, and          estimated by levering data from the
                                                 costs such that affected sources in the                 deliver low-GHG or ‘‘clean’’ hydrogen is            regional clean hydrogen hubs and other
                                                 power sector nationwide could rely on                   expected to be between $0.70/kg and                 literature. Costs increases are
                                                 it for use by 2032 and 2038. While some                 $1.15/kg by 2030 with the IRA’s $3/kg               predominantly driven by inflation,
                                                 analyses 845 show that this will likely be              maximum IRC section 45V production                  supply chain cost increases, and higher
                                                 the case, the full set of information                   tax credit included.847 The report also             estimated installation costs. However,
                                                 necessary to support such a                             points out that the power sector is                 there is a significant range in
                                                 determination is not available at this                  competing with other industrial                     electrolyzer costs; some companies cite
                                                 time. However, the EPA believes this                    sectors—such as transportation,                     costs that are significantly lower ($750-
                                                 may change as the low-GHG hydrogen                      ammonia and chemical production, oil                $900/kW installed cost) 852 than that
                                                 industry continues to develop. The                      refining, and steel manufacturing—in                published in the Program Record.
                                                 Agency plans to monitor the                             terms of potential downstream
                                                 development of the industry; if                         applications of clean hydrogen for the                848 Heid, B.; Sator, A.; Waardenburg, M.; and

                                                 appropriate, the EPA will reevaluate its                purpose of reducing GHG emissions.                  Wilthaner, M. (25 Oct 2022). Five charts on
                                                                                                         The DOE report also estimates that                  hydrogen’s role in a net-zero future. McKinsey &
                                                 findings and establish standards of                                                                         Company. https://www.mckinsey.com/capabilities/
                                                 performance that achieve additional                     $0.40/kg to $0.50/kg is the price the               sustainability/our-insights/five-charts-on-
                                                 emission reductions. Furthermore, as                    power sector would be willing to pay for            hydrogens-role-in-a-net-zero-future.
                                                 noted above, the EPA considers the co-                  clean hydrogen.                                       849 Schelling, K. (9 Aug 2023). Green Hydrogen to

                                                 firing of hydrogen to be technically                       Some analyses of future hydrogen                 Undercut Gray Sibling by End of Decade.
                                                                                                                                                             BloombergNEF. https://about.bnef.com/blog/green-
                                                 feasible in multiple models of available                costs provide estimates that are higher             hydrogen-to-undercut-gray-sibling-by-end-of-
                                                 combustion turbines.                                    than those of the DOE. For example,                 decade/.
                                                    As noted above, the EPA has revised                  public commenters estimated the cost of               850 Larsen, J.; King, B.; Kolus, H.; Dasari, N.;

                                                 its cost analysis of low-GHG hydrogen                   delivered ‘‘clean’’ hydrogen to be less             Bower, G.; and Jones, W. (12 Aug 2022). A Turning
                                                 and determined that, due to the present                                                                     Point for US Climate Progress: Assessing the
                                                                                                         than $3/kg by 2030 before declining to              Climate and Clean Energy Provisions in the
                                                 uncertainty, estimated future hydrogen                  $2/kg by 2035. These estimates of                   Inflation Reduction Act. Rhodium Group. https://
                                                 costs are higher than at proposal. The                  delivered hydrogen costs include the                rhg.com/research/climate-clean-energy-inflation-
                                                 higher estimated cost of low-GHG                        IRC section 45V hydrogen production                 reduction-act/.
                                                                                                                                                               851 U.S. Department of Energy (DOE). (February
                                                 hydrogen relative to proposal is the key                tax credits contained in the IRA, but
                                                                                                                                                             22, 2024). Summary of Electrolyzer Cost Data
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                                                 factor in the EPA’s decision to not                     they do not reflect regulations proposed            Synthesized from Applications to the DOE Clean
                                                 finalize low-GHG hydrogen co-firing as                                                                      Hydrogen Hubs Program. DOE Hydrogen Program,
                                                 a BSER pathway for new and                                846 The delivered price includes the cost to      Office of Clean Energy Demonstrations Program
                                                                                                         produce, transport, and store hydrogen.             Record. https://www.hydrogen.energy.gov/docs/
                                                   845 Electric Power Research Institute (EPRI).           847 U.S. Department of Energy (DOE) (March        hydrogenprogramlibraries/pdfs/24002-summary-
                                                 (November 3, 2023). Impact of IRA’s 45V Clean           2023). Pathways to Commercial Liftoff: Clean        electrolyzer-cost-data.pdf.
                                                 Hydrogen Production Tax Credit. White paper.            Hydrogen. https://liftoff.energy.gov/wp-content/      852 Martin, P. (December 18, 2023). What gives

                                                 https://www.epri.com/research/products/                 uploads/2023/05/20230523-Pathways-to-               Bill Gates-backed start-up Electric Hydrogen the
                                                 000000003002028407.                                     Commercial-Liftoff-Clean-Hydrogen.pdf.              edge over other electrolyzer makers? Hydrogen



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                                                 6. Considerations for the Potential Use                 recognizes that, to ensure overall GHG            economy and, more specifically, in the
                                                 of Hydrogen                                             benefits, it is important any hydrogen            power sector. As discussed further
                                                    The ability of combustion turbines to                used in the power sector be low-GHG               below, this decision is against the
                                                 co-fire hydrogen can effectively reduce                 hydrogen. Thus, even though the EPA is            backdrop of ongoing developments in
                                                 stack GHG emissions. Hydrogen also                      not finalizing the use of low-GHG                 the public and private sectors,
                                                 offers unique solutions for                             hydrogen as a component of the BSER               Treasury’s regulations implementing a
                                                 decarbonization because of its potential                for base load or intermediate load                tax credit for the production of clean
                                                 to provide dispatchable, clean energy                   combustion turbines, it maintains that            hydrogen, multiple Federal government
                                                 with long-term storage and seasonal                     the type of hydrogen used (i.e., the              grant and assistance programs, and the
                                                 capabilities. For example, hydrogen is                  method by which the hydrogen was                  EPA’s investigation into methods to
                                                 an energy carrier that can provide long-                produced) should be a primary                     control emissions of air pollutants from
                                                 term storage of low-GHG energy that can                 consideration for any source that                 hydrogen production.
                                                 be co-fired in combustion turbines and                  decides to co-fire hydrogen. Again, the              The EPA’s decision to not require that
                                                 used to balance load with the increasing                Agency reiterates its concern that                any hydrogen used for compliance be
                                                 volumes of variable generation. These                   sources in the power sector that choose           low-GHG hydrogen was based primarily
                                                 services support the reliability of the                 to co-fire hydrogen to reduce their GHG           on the current market and policy
                                                 power system while facilitating the                     emission rate should co-fire only low-            developments regarding hydrogen
                                                 integration of variable zero-emitting                   GHG hydrogen to achieve overall GHG               production at this particular point in
                                                 energy resources and supporting                         reductions and important climate                  time, including the clean hydrogen
                                                 decarbonization of the electric grid. One               benefits.                                         production tax credits. There are
                                                 technology with the potential to reduce                    In the proposal, the EPA solicited             currently multiple private and public
                                                 curtailment is energy storage, and some                 comment on whether it is necessary to             efforts to develop, inter alia, greenhouse
                                                 power producers envision a role for                     require low-GHG hydrogen. Similarly,              gas accounting practices, verification
                                                 hydrogen to supplement natural gas as                   the EPA also solicited comment as to              protocols, reporting conventions, and
                                                 a fuel to support the balancing and                     whether the low-GHG hydrogen                      other elements that will help determine
                                                 reliability of an increasingly                          requirement could be treated as                   how low-GHG hydrogen is measured,
                                                 decarbonized electric grid.                             severable from the remainder of the               tracked, and verified over the next
                                                    Hydrogen is a zero-GHG emitting fuel                 standard such that the standard could             several years. For example, Treasury is
                                                 when combusted, so that co-firing it in                 function without this requirement. The            expected to finalize parameters for
                                                 a combustion turbine in place of natural                EPA also solicited comment on a host of           evaluating overall emissions associated
                                                 gas reduces GHG emissions at the stack.                 recordkeeping and reporting topics.               with hydrogen production pathways as
                                                 For this reason, certain owners/                        These pertained to the complexities of            it prepares to implement IRC section
                                                 operators of combustion turbines in the                 tracking the sources of quantities of             45V.855 The overall objective of
                                                 power sector may elect to co-fire                       produced low-GHG hydrogen and the                 Treasury’s parameters is to recognize
                                                 hydrogen in the coming years to reduce                  public interest in such data.                     that different methods of hydrogen
                                                 onsite GHG emissions.853 Co-firing low-                                                                   production generate different amounts
                                                                                                         a. Explanation for Not Requiring
                                                                                                                                                           of GHG emissions while encouraging
                                                 emitting fuels—sometimes referred to as                 Hydrogen Used for Compliance To Be
                                                                                                                                                           lower-emitting production methods
                                                 clean fuels—is a traditional type of                    Low-GHG Hydrogen
                                                                                                                                                           through the multi-tier hydrogen
                                                 emissions control. However, the EPA                        The EPA proposed that the type of              production tax credit (IRC section 45V)
                                                 recognizes that even though the                         hydrogen co-fired must be limited to              (see 88 FR 89220, December 26, 2023).
                                                 combustion of hydrogen is zero-GHG                      low-GHG hydrogen, and not include                 In light of these nascent but fast-moving
                                                 emitting, its production can entail a                   other types of hydrogen.854 This                  efforts, the EPA does not believe it is
                                                 range of GHG emissions, from low to                     requirement was proposed to prevent               reasonable or helpful to prescribe its
                                                 high, depending on the method. These                    the anomalous outcome of a GHG                    own definitions, protocols, and
                                                 differences in GHG emissions from the                   control strategy contributing to an               requirements for low-GHG hydrogen at
                                                 different methods of hydrogen                           increase in overall GHG emissions; the            this point in time.
                                                 production are well-recognized in the                   provision that only low-GHG hydrogen                 Furthermore, the Agency anticipates
                                                 energy sector (88 FR 33306, May 23,                     could be used for compliance mirrored             that combustion turbines will, despite
                                                 2023), and, in fact, hydrogen is                        the EPA’s proposal that low-GHG                   not being required to do so, use low-
                                                 generally characterized by its                          hydrogen, in particular, could qualify as         GHG hydrogen (to the extent they are
                                                 production method and the attendant                     a component of the BSER. For the                  co-firing hydrogen as a compliance
                                                 level of GHG emissions.                                 reasons explained below, the EPA is not           strategy). Depending on market
                                                    While the focus of this rule is the                  finalizing a requirement that any                 development in the coming decade, it is
                                                 reduction of stack GHG emissions from                   hydrogen that sources choose to co-fire           reasonable to expect that any hydrogen
                                                 combustion turbines, the EPA also                       must be low-GHG hydrogen. However,                used in the power sector would
                                                                                                         the Agency continues to stress,                   generally be low-GHG hydrogen, even
                                                 Insight. https://www.hydrogeninsight.com/
                                                 electrolysers/what-gives-bill-gates-backed-start-up-
                                                                                                         notwithstanding the lack of requirement           without a specific BSER pathway or
                                                 electric-hydrogen-the-edge-over-other-electrolyser-     under this rule, the importance of                low-GHG-only requirement included in
                                                 makers-/2-1-1572694.                                    ensuring that any hydrogen used in                this final NSPS. For example, several
                                                   853 In June 2022, the U.S. Department of Energy
                                                                                                         combustion turbines is low-GHG                    utilities with dedicated access to
                                                 (DOE) Loans Program Office issued a $504.4 million
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                                                                                                         hydrogen. The EPA’s choice to not                 affordable low-GHG hydrogen are
                                                 loan guarantee to finance the Advanced Clean
                                                 Energy Storage (ACES) project in Delta, Utah. ACES      finalize a low-GHG requirement at this            actively developing co-firing projects
                                                 expects to utilize a 220 MW bank of electrolyzers       time is based in large part on knowledge          with the goal of reducing their GHG
                                                 and curtailed renewable energy to produce clean         of current and future efforts that will
                                                 hydrogen that will be stored in salt caverns. The       reinforce the availability and role of              855 U.S. Department of the Treasury. (October 5,
                                                 hydrogen will fuel an 840 MW combined cycle                                                               2022). Treasury Seeks Public Input on
                                                 combustion turbine at the Intermountain Power           low-GHG hydrogen in the national                  Implementing the Inflation Reduction Act’s Clean
                                                 Project facility. https://www.energy.gov/lpo/                                                             Energy Tax Incentives. Press release. https://
                                                 advanced-clean-energy-storage.                           854 88 FR 33240, 33315 (May 23, 2023).           home.treasury.gov/news/press-releases/jy0993.



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                                                 emissions. The infrastructure funding                   in the development of hydrogen co-                    iii. Infrastructure Funding and Tax
                                                 and tax incentives included in the IIJA                 firing, and specifically in projects                  Incentives Included in the IIJA and IRA
                                                 and the IRA are also driving the                        designed to co-fire low-GHG hydrogen,                    In both the IIJA and the IRA, Congress
                                                 development of the low-GHG hydrogen                     in particular, give the EPA confidence                provided extensive support for the
                                                 supply chain. These rapid changes in                    that any hydrogen that sources do                     development of hydrogen produced
                                                 the hydrogen marketplace not only                       choose to co-fire for compliance under                through low-GHG methods. This
                                                 counsel against the EPA’s locking in its                this rule will be low-GHG hydrogen. As                support includes investment in
                                                 own requirements at this time; they also                these efforts progress, a sharper                     infrastructure through the IIJA, and the
                                                 provide confidence that greater                         understanding of costs will come into                 provision of tax credits in the IRA to
                                                 quantities of low-GHG hydrogen will be                  focus while significant Federal                       incentivize the manufacture of hydrogen
                                                 available moving forward, even if the                   funding—through grants, financial                     through low GHG-emitting methods
                                                 precise timing and quantity cannot                      assistance programs, and tax incentives               over the coming decades. For example,
                                                 currently be accurately forecast. The                   included in the IIJA and the IRA                      the IIJA included the H2Hubs program,
                                                 EPA also provides information further                   discussed below—is intended to                        the Clean Hydrogen Manufacturing and
                                                 below about its intentions to open a                    support the continued development of a                Recycling Program, the Clean Hydrogen
                                                 non-regulatory docket to engage                         nationwide clean hydrogen supply                      Electrolysis Program, and a non-
                                                 stakeholders on potential future                        chain.                                                regulatory Clean Hydrogen Production
                                                 rulemakings for thermochemical-based                                                                          Standard (CHPS).861 In the IRA,
                                                 hydrogen production facilities to                          For the most part, companies that
                                                                                                         have announced that they are exploring                Congress enacted or expanded tax
                                                 address issues pertaining to GHG,                                                                             credits to encourage the production and
                                                 criteria, and HAP emissions.                            the use of hydrogen co-firing have stated
                                                                                                         that they intend to use low-GHG                       use of low-GHG hydrogen.862 In
                                                 i. Hydrogen Production and Associated                   hydrogen in the future as greater                     addition, as discussed in the proposal,
                                                 GHGs                                                    quantities of the fuel become available               IRA section 60107 added new CAA
                                                                                                         at lower, stabilized prices. Many                     section 135, or the Low Emission
                                                    Hydrogen is used in industrial
                                                                                                                                                               Electricity Program (LEEP). This
                                                 processes; in recent years, applications                utilities and merchant generators own
                                                                                                                                                               provision provides $1 million for the
                                                 of hydrogen co-firing have also                         and are developing low-GHG electricity
                                                                                                                                                               EPA to assess the GHG emissions
                                                 expanded to include stationary                          generating sources as well as
                                                                                                                                                               reductions from changes in domestic
                                                 combustion turbines used to generate                    combustion turbines, with the intent to
                                                                                                                                                               electricity generation and use
                                                 electricity. Several commenters                         produce low-GHG hydrogen for sale and
                                                                                                                                                               anticipated to occur annually through
                                                 responded to the proposal by stating                    to use a portion of it to fuel their                  fiscal year 2031; and further provides
                                                 that to fully evaluate the potential GHG                stationary combustion turbines.856 857                $18 million for the EPA to promulgate
                                                 emission reductions from co-firing low-                 This emerging trend lends support to                  additional CAA rules to ensure GHG
                                                 GHG hydrogen in a combustion turbine                    the view that, while acknowledging the                emissions reductions that go beyond the
                                                 EGU, it is important to consider the                    uncertainty of the ultimate timing of                 reductions expected in that assessment.
                                                 different processes for producing                       implementation, there is growing
                                                 hydrogen and the GHG emissions                                                                                CAA section 135(a)(5)–(6).
                                                                                                         interest in hydrogen co-firing in the                    Given the incentives provided in both
                                                 associated with each process. The EPA                   power sector and stakeholders are                     the IRA and IIJA for low-GHG hydrogen
                                                 agrees that the method of hydrogen                      developing these resources with the                   production and the current trajectory of
                                                 production is critical to consider when                 intent to increase access to low-GHG                  hydrogen use in the power sector, by
                                                 assessing whether hydrogen co-firing                    hydrogen as they increase hydrogen                    2032, the start date for compliance with
                                                 actually reduces overall GHG emissions.                 utilization in their co-firing                        the proposed second phase of the NSPS,
                                                 As stated previously, the varying levels                applications. Additional information                  low-GHG hydrogen may be more widely
                                                 of CO2 emissions associated with                        provided by commenters and analysis                   available and possibly the most
                                                 different hydrogen production processes                 by the EPA identified several new                     common source of hydrogen available
                                                 are well-recognized, and stakeholders                   combustion turbine projects planning to               for electricity production. It is also
                                                 routinely refer to hydrogen on the basis                co-fire low-GHG hydrogen, even though                 possible that the cost of delivered low-
                                                 of the different production processes                   these low-GHG methods of hydrogen                     GHG hydrogen will continue to decline
                                                 and their different GHG profiles.                       production are not currently readily                  toward the DOE’s Hydrogen Shot target.
                                                 ii. Technological and Market                            available on a nationwide basis.858 859 860           These expectations are based on a
                                                 Transformation of Low-GHG Hydrogen                                                                            combination of economies of scale as
                                                 Resources                                                 856 Mitsubishi Power. (2020). Intermountain
                                                                                                                                                               low-GHG production methods expand,
                                                                                                         Power Agency Orders MHPS JAC Gas Turbine
                                                    In the proposal, the EPA highlighted                 Technology for Renewable-Hydrogen Energy Hub.
                                                                                                                                                               the increasing availability of low-cost
                                                 ongoing efforts—independent of any                      https://power.mhi.com/regions/amer/news/              input electricity—largely powered by
                                                 BSER pathway, requirement, or                           200310.html.                                          zero- or low-emitting energy sources—
                                                                                                           857 Intermountain Power Agency (2022). https://
                                                 performance standard—of combustion
                                                                                                         www.ipautah.com/ipp-renewed/.                           861 U.S. Department of Energy (DOE). (September
                                                 turbine manufacturers and industry                        858 Los Angeles Department of Water & Power
                                                                                                                                                               22, 2022). Clean Hydrogen Production Standard.
                                                 stakeholders to research, develop, and                  (2023). Initial Study: Scattergood Generating         Hydrogen and Fuel Cell Technologies Office.
                                                 deploy hydrogen co-firing technologies                  Station Units 1 and 2 Green Hydrogen-Ready            https://www.energy.gov/eere/fuelcells/articles/
                                                 (88 FR 33307, May 23, 2023). Their co-                  Modernization Project. https://ceqanet.opr.ca.gov/    clean-hydrogen-production-standard.
                                                                                                         2023050366.                                             862 These tax credits include IRC section 45V (tax
                                                 firing demonstrations are producing
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                                                                                                           859 https://clkrep.lacity.org/onlinedocs/2023/23-
                                                                                                                                                               credit for production of hydrogen through low- or
                                                 results, such as increasing the                         0039_rpt_DWP_02-03-2023.pdf.                          zero-emitting processes), IRC section 48 (tax credit
                                                 percentages (by volume) of hydrogen                       860 Hering, G. (2021). First major US hydrogen-     for investment in energy storage property, including
                                                 that a turbine can combust while                        burning power plant nears completion in Ohio. S&P     hydrogen production), IRC section 45Q (tax credit
                                                 answering questions regarding safety,                   Global Market Intelligence. https://                  for CO2 sequestration from industrial processes,
                                                                                                         www.spglobal.com/platts/en/market-insights/latest-    including hydrogen production); and the use of
                                                 performance, reliability, durability, and               news/electric-power/081221-first-major-us-            hydrogen in transportation applications, IRC
                                                 the emission of other pollutants (e.g.,                 hydrogen-burning-power-plant-nears-completion-        section 45Z (clean fuel production tax credit), IRC
                                                 NOX). Such efforts by industry to invest                in-ohio.                                              section 40B (sustainable aviation fuel credit).



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                                                 and learning by doing as more                           developing a set of framing questions       a. Partial Capture CCS
                                                 combustion turbine projects are                         and opening a non-regulatory docket to         Partial capture for CCS was not
                                                 developed. The EPA recognizes that the                  solicit public comment on potential         determined to be BSER because the
                                                 pace and scale of government programs                   approaches for regulation of GHGs and       emission reductions are lower and the
                                                 and private research suggest that the                   criteria pollutants under CAA section       costs would, in general, be higher. As
                                                 Agency will gain significant experience                 111 and an exploration of the               discussed in section IV, individual
                                                 and knowledge on this topic in the                      appropriateness of regulating HAP           natural gas-fired combined cycle
                                                 future.                                                 emissions under CAA section 112 and         combustion turbines are the second
                                                 iv. EPA Non-Regulatory Docket and                       on potential section 114 reporting          highest-emitting individual plants in the
                                                 Stakeholder Engagement on Potential                     requirements to address this growing        nation, and the natural gas-fired power
                                                 Regulatory Approaches for Emissions                     industry.                                   plant sector is higher-emitting than all
                                                 From Thermochemical Hydrogen                            b. Definition of Low-GHG Hydrogen           other sectors. CCS at 90 percent capture
                                                 Production                                                                                          removes very high absolute amounts of
                                                                                                            The EPA proposed to define low-GHG       emissions. Partial capture CCS would
                                                    In addition to the ongoing industry                                                              fail to capture large quantities of
                                                 development of and Congressional                        hydrogen as hydrogen produced with
                                                                                                         emissions of less than 0.45 kg CO2e/kg      emissions. With respect to costs, designs
                                                 support for low-GHG hydrogen, the EPA                                                               for 90 percent capture in general take
                                                 is also taking steps consistent with the                H2, from well-to-gate, which aligned
                                                                                                         with the highest of the four tiers of tax   greater advantage of economy of scale.
                                                 importance of mitigating GHG emissions                                                              Eligibility for the IRC section 45Q tax
                                                 associated with hydrogen production.                    credits available for hydrogen
                                                                                                         production, IRC section 45V(b)(2)(D). At    credit for existing EGUs requires design
                                                 On September 15, 2023, the EPA                                                                      capture rates equivalent to 75 percent of
                                                 received a petition from the                            that GHG emission rate or less,
                                                                                                         hydrogen producers are eligible for a tax   a baseline emission rate by mass.
                                                 Environmental Defense Fund (EDF)                                                                    Sources with partial capture rates that
                                                 along with 13 other health,                             credit of $3/kg. With these provisions,
                                                                                                         Congress indicated its judgement as to      do not meet that requirement would not
                                                 environmental, and community groups,                                                                be eligible for the tax credit and as a
                                                 to regulate fossil and other                            what GHG levels could be attained by
                                                                                                         the lowest-GHG hydrogen production,         result, for them, the CCS requirement
                                                 thermochemical methods of hydrogen                                                                  would be too expensive to qualify for as
                                                 production given the current emissions                  and its intention to incentivize
                                                                                                         production of that type of hydrogen.        the BSER. Even assuming partial
                                                 from these facilities and the anticipated                                                           capture rates meet that definition, lower
                                                 growth in the sector spurred by IRA                     Congress’s views informed the EPA’s
                                                                                                                                                     capture rates would receive fewer
                                                 incentives. The petition notes that                     proposal to define low-GHG hydrogen
                                                                                                                                                     returns from the IRC section 45Q tax
                                                 facilities producing hydrogen for sale                  for purposes of making the BSER for this
                                                                                                                                                     credit (since these are tied to the
                                                 produced about 10 MMT of hydrogen                       CAA section 111 rulemaking consistent
                                                                                                                                                     amount of carbon sequestered, and all
                                                 and emitted more than 40 MMT of CO2e                    with IRC section 45V(b)(2)(D).
                                                                                                                                                     else equal lower capture rates would
                                                 in 2020.863 Regulatory safeguards are                      The EPA solicited comment broadly        result in lower amounts of sequestered
                                                 advocated by petitioners to help ensure                 on its proposed definition for low-GHG      carbon) and costs would thereby be
                                                 that the anticipated growth in this sector              hydrogen, and on alternative                higher.
                                                 does not result in an unbounded                         approaches, to help develop reporting
                                                 increase in emissions of GHGs, criteria,                and recordkeeping requirements that         b. Combined Heat and Power (CHP)
                                                 and hazardous air pollutants (HAP). The                 would have ensured that co-firing low-         CHP, also known as cogeneration, is
                                                 petition requests that the EPA list                     GHG hydrogen minimized GHG                  the simultaneous production of
                                                 hydrogen production facilities as                       emissions, and that combustion turbines     electricity and/or mechanical energy
                                                 significant sources of pollution under                                                              and useful thermal output from a single
                                                                                                         subject to this standard utilized only
                                                 CAA sections 111 and 112, and that the                                                              fuel. CHP requires less fuel to produce
                                                                                                         low-GHG hydrogen. The EPA also
                                                 EPA develop both standards of                                                                       a given energy output, and because less
                                                                                                         solicited comment on whether it was
                                                 performance for new and modified                                                                    fuel is burned to produce each unit of
                                                                                                         necessary to provide a definition of low-
                                                 hydrogen production facilities as well as                                                           energy output, CHP has lower-emission
                                                                                                         GHG hydrogen in this final rule.
                                                 emission guidelines for existing                                                                    rates and can be more economic than
                                                 facilities. The development of emission                    The EPA is not finalizing a definition
                                                                                                                                                     separate electric and thermal generation.
                                                 standards for HAP, including but not                    of low-GHG hydrogen in this action.         However, a critical requirement for a
                                                 limited to methanol, was also requested                 Because the Agency is not finalizing co-    CHP facility is that it primarily
                                                 by petitioners. Petitioners assert that                 firing with low-GHG hydrogen as a           generates thermal output and generates
                                                 emissions of CO2, NOX, and PM should                    component of the BSER for certain           electricity as a byproduct and must
                                                 be addressed under the EPA’s section                    combustion turbines and is not              therefore be physically close to a
                                                 111 authorities, and HAP should be                      finalizing a requirement that any           thermal host that can consistently
                                                 addressed by EPA regulations under                      hydrogen co-fired for compliance by         accept the useful thermal output. It can
                                                 section 112.864 The EPA is reviewing                    low-GHG hydrogen, there is no reason        be particularly difficult to locate a
                                                 the petition. As a predicate to potential               to finalize a definition of low-GHG         thermal host with sufficiently large
                                                 future rulemakings, the Agency is                       hydrogen at this time.                      thermal demands such that the useful
                                                                                                         7. Other Options for BSER                   thermal output would impact the
                                                    863 Petition for Rulemaking to List and Establish
                                                                                                                                                     emissions rate. The refining, chemical
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                                                 National Emission Standards for Hydrogen
                                                 Production Facilities under the Clean Air Act
                                                                                                           The EPA considered several other          manufacturing, pulp and paper, food
                                                 Sections 111 and 112. The petition can be accessed      systems of emission reduction as            processing, and district energy systems
                                                 at https://www.edf.org/sites/default/files/2023-09/     candidates for the BSER for combustion      tend to have large thermal demands.
                                                 Petition%20for%20Rulemaking%20-                         turbines but is not determining them to     However, the thermal demand at these
                                                 %20Hydrogen%20Production%20Facilities%20-
                                                 %20CAA%20111%20and%20112%20-                            be the BSER. They include partial           facilities is generally only sufficient to
                                                 %20EDF%20et%20al.pdf.                                   capture CCS, CHP and the hybrid power       support a smaller EGU, approximately a
                                                    864 Id.                                              plant, as discussed below.                  maximum of several hundred MW. This


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                                                 would limit the geographically available                comparable fossil-only EGU to                         in California, Arizona, and Nevada with
                                                 locations where new generation could                    accommodate the additional steam load                 smaller projects in Florida, Hawaii,
                                                 be constructed in addition to limiting its              during sunny hours. A drawback of                     Utah, and Colorado. NREL’s 2011
                                                 size. Furthermore, even if a sufficiently               integrating solar thermal is that the                 technical report on the solar-augment
                                                 large thermal host were in close                        larger steam turbine will operate at part             potential of fossil-fired power plants
                                                 proximity, the owner/operator of the                    loads and reduced efficiency when no                  examined regions of the U.S. with ‘‘good
                                                 EGU would be required to rely on the                    steam is provided from the solar thermal              solar resource as defined by their direct
                                                 continued operation of the thermal host                 panels (i.e., the night and cloudy                    normal insolation (DNI)’’ and identified
                                                 for the life of the EGU. If the thermal                 weather). This limits the amount of                   sixteen states as meeting that criterion:
                                                 host were to shut down, the EGU could                   solar thermal that can be integrated into             Alabama, Arizona, California, Colorado,
                                                 be unable to comply with the standard                   the steam cycle at a fossil fuel-fired                Florida, Georgia, Louisiana, Mississippi,
                                                 of performance. This reality would                      EGU.                                                  Nevada, New Mexico, North Carolina,
                                                 likely result in difficulty in securing                    In the 2018 Annual Energy                          Oklahoma, South Carolina, Tennessee,
                                                 funding for the construction of the EGU                 Outlook,865 the levelized cost of                     Texas, and Utah. The technical report
                                                 and could also lead the thermal host to                 concentrated solar power (CSP) without                explained that annual average DNI has
                                                 demand discount pricing for the                         transmission costs or tax credits is $161/            a significant effect on the performance
                                                 delivered useful thermal output. For                    MWh. Integrating solar thermal into a                 of a solar-augmented fossil plant, with
                                                 these reasons, the EPA did not propose                  fossil fuel-fired EGU reduces the capital             higher average DNI translating into the
                                                 CHP as the BSER.                                        cost and O&M expenses of the CSP                      ability of a hybrid power plant to
                                                                                                         portion by 25 and 67 percent compared                 produce more steam for augmenting the
                                                 c. Hybrid Power Plant                                   to a stand-alone CSP EGU                              plant. The technical report used a
                                                    Hybrid power plants combine two or                   respectively.866 This results in an                   points-based system and assigned the
                                                 more forms of energy input into a single                effective LCOE for the integrated CSP of              most points for high solar resource
                                                 facility with an integrated mix of                      $104/MWh. Assuming the integrated                     values. An examination of a NREL-
                                                 complementary generation methods.                       CSP is sized to provide 10 percent of the             generated DNI map of the U.S. reveals
                                                 While there are multiple types of hybrid                maximum steam turbine output and the                  that states with the highest DNI values
                                                 power plants, the most relevant type for                relative capacity factors of a combined               are located in the southwestern U.S.,
                                                 this proposal is the integration of solar               cycle turbine and the CSP (those                      with only portions of Arizona,
                                                 energy (e.g., concentrating solar                       capacity factors are 65 and 25 percent,               California, Nevada, New Mexico, and
                                                 thermal) with a fossil fuel-fired EGU.                  respectively) the overall annual                      Texas (plus Hawaii) having solar
                                                 Both coal-fired and combined cycle                      generation due to the concentrating                   resources that would have been
                                                 turbine EGUs have operated using the                    solar thermal would be 3 percent of the               assigned the highest points by the NREL
                                                 integration of concentrating solar                      hybrid EGU output. This would result                  technical report (7 kWh/m2/day or
                                                 thermal energy for use in boiler feed                   in a 3 percent reduction in the overall               greater).
                                                 water heating, preheating makeup                        CO2 emissions and a 1 percent increase                   Commenters supported not
                                                 water, and/or producing steam for use                   in the LCOE, without accounting for any               incorporating hybrid power plants as
                                                 in the steam turbine or to power the                    reduction in the steam turbine                        part of the BSER, and the EPA is not
                                                 boiler feed pumps.                                      efficiency. However, these costs do not               including hybrid power plants as part of
                                                    One of the benefits of integrating solar             account for potential reductions in the               the BSER because of gaps in the EPA’s
                                                 thermal with a fossil fuel-fired EGU is                 steam turbine efficiency due to being                 knowledge about costs, and concerns
                                                 the lower capital and operation and                     oversized relative to a non-hybrid EGU.               about the cost-effectiveness of the
                                                 maintenance (O&M) costs of the solar                    A 2011 technical report by the National               technology, as noted above.
                                                 thermal technology. This is due to the                  Renewable Energy Laboratory (NREL)
                                                 ability to use equipment (e.g., HRSG,                                                                         G. Standards of Performance
                                                                                                         cited analyses indicating that solar
                                                 steam turbine, condenser, etc.) already                 augmentation of fossil power stations is                 Once the EPA has determined that a
                                                 included at the fossil fuel-fired EGU.                  not cost-effective, although likely less              particular system or technology
                                                 Another advantage is the improved                       expensive and containing less project                 represents BSER, the CAA authorizes
                                                 electrical generation efficiency of the                 risk than a stand-alone solar thermal                 the Administrator to establish standards
                                                 non-emitting generation. For example,                   plant. Similarly, while commenters                    of performance for new units that reflect
                                                 solar thermal often produces steam at                   stated that solar augmentation has been               the degree of emission limitation
                                                 relatively low temperatures and                         successfully integrated at coal-fired                 achievable through the application of
                                                 pressures, and the conversion of the                    plants to improve overall unit                        that BSER. As noted above, the EPA is
                                                 thermal energy in the steam to                          efficiency, commenters did not provide                finalizing a two-phase set of standards
                                                 electricity is relatively low efficiency. In            any new information on costs or                       of performance, which reflect a two-
                                                 a hybrid power plant, the lower quality                 indicate that such augmentation is cost-              component BSER, for base load
                                                 steam is heated to higher temperatures                  effective.                                            combustion turbines. Under this
                                                 and pressures in the boiler (or HRSG)                      In addition, solar thermal facilities              approach, for the first phase of the
                                                 prior to expansion in the steam turbine,                require locations with abundant                       standards, which applies as of the
                                                 where it produces electricity. Upgrading                sunshine and significant land area in                 effective date the final rule, the BSER is
                                                 the relatively low-grade steam produced                 order to collect the thermal energy.                  highly efficient generation and best
                                                 by the solar thermal facility in the boiler             Existing concentrated solar power                     operating and maintenance practices.
                                                 improves the relative conversion                                                                              During this phase, owners/operators of
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                                                                                                         projects in the U.S. are primarily located
                                                 efficiencies of the solar thermal to                                                                          EGUs will be subject to a numeric
                                                 electricity process. The primary                           865 EIA, Annual Energy Outlook 2018, February 6,   standard of performance that is
                                                 incremental costs of the non-emitting                   2018. https://www.eia.gov/outlooks/aeo/.              representative of the performance of the
                                                                                                            866 B. Alqahtani and D. Patiño-Echeverri, Duke
                                                 generation in a hybrid power plant are                                                                        best performing EGUs in the
                                                                                                         University, Nicholas School of the Environment,
                                                 the costs of the mirrors, additional                    ‘‘Integrated Solar Combined Cycle Power Plants:
                                                                                                                                                               subcategory. For the second phase of the
                                                 piping, and a steam turbine that is 10 to               Paving the Way for Thermal Solar,’’ Applied Energy    standards, beginning in 2035, the BSER
                                                 20 percent larger than that in a                        169:927–936 (2016).                                   for base load turbines includes 90


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                                                 percent capture CCS. The affected EGUs                   including fuel oil during natural gas                  commenters noted multiple units that
                                                 will be subject to an emissions rate that                curtailments. Owners/operators of                      the EPA used in the analysis to support
                                                 reflects continued use of highly efficient               combustion turbines burning fuels other                the proposed base load standards were
                                                 generation and best operating and                        than natural gas would not necessarily                 permitted near or above 800 lb CO2/
                                                 maintenance practices, coupled with                      be able to comply with the proposed                    MWh. Commenters stated that the
                                                 CCS. In addition, the EPA is finalizing                  standards for base load and intermediate               original equipment manufacturer would
                                                 a single component BSER, applicable                      load natural gas-fired combustion                      not be able to provide a warranty that
                                                 from May 23, 2023, for low and                           turbines using highly efficient                        the proposed 12-month rolling
                                                 intermediate load combustion turbines.                   generation. Therefore, the Agency                      emissions rate is achievable due to the
                                                                                                          proposed that owners/operators of                      varying operating conditions.
                                                 1. Phase-1 Standards
                                                                                                          combustion turbines burning fuels other                Commenters recommended the EPA
                                                    The first component of the BSER is                    than natural gas may elect to use the                  raise the emissions standard to 850 or
                                                 the use of highly efficient combined                     ratio of the heat input-based emissions                900 lb CO2/MWh-gross for large base
                                                 cycle technology for base load EGUs in                   rate of the specific fuel(s) burned to the             load combustion turbines. In addition,
                                                 combination with the best operating and                  heat input-based emissions rate of                     commenters suggested that the EPA
                                                 maintenance practices, the use of highly                 natural gas to determine a source-                     incorporate scaling for smaller units to
                                                 efficient simple cycle technology in                     specific standard of performance for the               1,100 lb CO2/MWh-gross, and the
                                                 combination with the best operating and                  operating period. For example, the                     beginning of the sliding scale should be
                                                 maintenance practices for intermediate                   NSPS emissions rate for a large base                   at least 2,500 MMBtu/h.
                                                 load EGUs, and the use of lower-                         load combustion turbine burning 100
                                                 emitting fuels for low load EGUs.                                                                               a. Base Load Phase-1 Emission
                                                                                                          percent distillate oil during the 12-
                                                    The EPA proposed that for base load                                                                          Standards
                                                                                                          operating month period would be 1,070
                                                 combustion turbines, the first-                          lb CO2/MWh-gross.868                                      Considering the public comments, the
                                                 component BSER supports a standard of                       Some commenters stated that the                     EPA re-evaluated the phase-1 standard
                                                 770 lb CO2/MWh-gross for large natural                   proposed base load emissions standard                  of performance for base load
                                                 gas-fired EGUs, i.e., those with a base                  based on highly efficient generation is                combustion turbines. To determine the
                                                 load rating heat input greater than 2,000                not adequately demonstrated, and that                  impact of duty cycle and temperature,
                                                 MMBtu/h; 900 lb CO2/MWh-gross for                        site conditions and certain operating                  the EPA binned hourly data by load and
                                                 small natural gas-fired EGUs, i.e., those                parameters are outside of the control of               season. This allowed the Agency to
                                                 with a base load rating of 250 MMBtu/                    the owner/operator. These commenters                   isolate the impact of ambient
                                                 h; and between 900 and 770 lb CO2/                       explained that the emissions rate of a                 temperature and duty cycle separately.
                                                 MWh-gross, based on the base load                        combustion turbine is dependent on                     The EPA evaluated the impact of
                                                 rating of the EGU, for natural gas-fired                 external and site-specific factors, rather             ambient temperature by comparing the
                                                 EGUs with base load ratings between                      than the design efficiency. Factors such               average emissions for all hours between
                                                 250 MMBtu/h and 2,000 MMBtu/h.867                        as warmer climates, elevation, water                   70 to 80 percent load during different
                                                 The EPA proposed that the most                           conservation measures (e.g., the use of                seasons. For the combined cycle
                                                 efficient available simple cycle                         dry cooling), and automatic generation                 turbines evaluated, the difference
                                                 technology—which qualifies as the                        control negatively impacted efficiency.                between the summer and winter average
                                                 BSER for intermediate load combustion                    They emphasized that operating units at                emission rates was minimal, typically in
                                                 turbines—supports a standard of 1,150                    partial loads would be necessary for                   the single digits and less than a 1
                                                 lb CO2/MWh-gross for natural gas-fired                   maintaining grid reliability, especially               percent difference in emission rates.
                                                 EGUs. For new and reconstructed low                      as more renewables are incorporated,                   Since the seasonal temperature
                                                 load combustion turbines, the EPA                        and the proposed limit is only                         differences are much larger than
                                                 proposed to find that the use of lower-                  achievable under ideal operating                       regional variations, the EPA determined
                                                 emitting fuels—which qualifies as the                    conditions. Commenters noted that the                  that regional ambient temperature has
                                                 BSER—supports a standard that ranges                     emission standards should account for                  minimal impact on the emissions rate of
                                                 from 120 lb CO2/MMBtu to 160 lb CO2/                     start and stop cycles, back-up fuel use,               combined cycle EGUs. Owners/
                                                 MMBtu depending on the fuel burned.                      degradation, and compliance tolerance.                 operators of combined cycle EGUs are
                                                 The EPA proposed these standards to                      Commenters stated that the lack of                     either using inlet cooling effectively to
                                                 apply at all times and compliance to be                  flexibility would force units to operate               manage the efficiency losses of the
                                                 determined on a 12-operating month                       at nameplate capacity, even when it was                combustion turbine engine or increased
                                                 rolling average basis.                                   unnecessary and could result in                        generation from the Rankine cycle
                                                    The EPA proposed that these                           increased emissions. In addition, some                 portion (i.e., HRSG and steam turbine)
                                                 standards of performance are achievable                  commenters stated that duct burners                    of the combined cycle turbine is
                                                 specifically for natural gas-fired base                  could be an alternative to simple cycle                offsetting efficiency losses in the
                                                 load and intermediate load combustion                    turbines for peaking generation, even                  combustion turbine engine.869 In
                                                 turbine EGUs. However, combustion                        though they were less efficient than                   addition, the variation in emissions rate
                                                 turbine EGUs burn a variety of fuels,                    combined cycle turbines without duct                   by load (described below) is much larger
                                                                                                          burners. They recommended the Agency                   than temperature and therefore the
                                                   867 As proposed, a new small natural gas-fired
                                                                                                          consider excluding emissions and heat                  operating load is a more important
                                                 base load EGU would determine the facility               input from duct burners from the                       factor than ambient temperature
                                                 emissions rate by taking the difference in the base
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                                                                                                          emissions standard. Furthermore,                       impacting CO2 emission rates.
                                                 load rating and 250 MMBtu/h, multiplying that                                                                      Based on the emissions data
                                                 number by 0.0743 lb CO2/(MW * MMBtu), and
                                                 subtracting that number from 900 lb CO2/MWh-               868 The heat input-based emission rates of natural   submitted to the EPA, combined cycle
                                                 gross. The emissions rate for a natural gas-fired base   gas and distillate oil are 117 and 163 lb CO2/
                                                 load combustion turbine with a base load rating of       MMBtu, respectively. The ratio of the heat input-        869 As the efficiency of the combustion turbine
                                                 1,000 MMBtu/h is 900 lb CO2/MWh-gross minus              based emission rates (1.39) is multiplied by the       engine is reduced at higher ambient temperatures
                                                 750 MMBtu/h (1,000 MMBtu/h–250 MMBtu/h)                  natural gas-fired standard of performance (770 lb      relatively more heat is in the exhaust entering the
                                                 times 0.0743 lb CO2/(MW * MMBtu), which results          CO2/MWh) to get the applicable emissions rate          HRSG. This can increase the output from the steam
                                                 in an emissions rate of 844 lb CO2/MWh-gross.            (1,070 lb CO2/MWh).                                    turbine.



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                                                 CO2 emission are lowest at between                      been demonstrated by the existing           footprint that can be particularly
                                                 approximately 80 to 90 percent load.                    combined cycle EGU fleets. Since an         important for combustion turbines
                                                 Emission rates are relatively stable at                 NSPS is a never-to-exceed standard, the     enclosed in a building. In addition, a
                                                 higher loads and down to approximately                  EPA proposed and is finalizing a            single shaft configuration has higher net
                                                 70 percent load—typically 1 or 2                        conclusion that use of long-term data       efficiencies when operated at part load
                                                 percent higher than the lowest                          are more appropriate than shorter term      than a multi-shaft configuration. Basing
                                                 emissions rate. Emissions can increase                  data in determining an achievable           the standard of performance strictly on
                                                 dramatically at lower loads and could                   standard. These long-term averages          the performance of multi-shaft
                                                 impact the ability of an owner/operator                 account for degradation and variable        combined cycle EGUs could limit the
                                                 to comply with the base load standard.                  operating conditions, and the EGUs          ability of owners/operators to construct
                                                 The EPA considered two approaches to                    should be able to maintain their current    new combined cycle EGUs in space-
                                                 address potential compliance issues for                 emission rates, as long as the units are    constrained areas (typically urban
                                                 owners/operators of base load                           properly maintained. While annual           areas 870) and combined cycle EGUs
                                                 combustion turbines operating at lower                  emission rates indicate a particular        with the best performance when
                                                 duty cycles. The first approach was to                  standard is achievable for certain EGUs     operated as intermediate load EGUs.871
                                                 calculate emission rates using only                     in the short term, they are not             Either of these outcomes could result in
                                                 hourly data when the combined cycle                     necessarily representative of emission      greater overall emissions from the
                                                 turbine was operating at an hourly load                 rates that can be maintained over an        power sector. An advantage of multi-
                                                 of 70 percent or higher. However, this                  extended period using highly efficient      shaft configurations is that the turbine
                                                 has minimal impact on the calculated                    generating technology in combination        engine can be installed initially and run
                                                 base load emissions rate. This is because               with best operating and maintenance         as a simple cycle EGU, with the HRSG
                                                 of 2 reasons. First, the majority of                    practices.                                  and steam turbines added at a later date,
                                                 operating hours for base load                              To determine the 12-operating month      all of which allows for more flexibility
                                                 combustion turbines are at 70 percent                   average emissions rate that is achievable   for the regulated community. In
                                                 load or higher. In addition, the 12-                    by application of the BSER, the EPA         addition, a single large steam turbine in
                                                 operating month averages are                            proposed and is finalizing an approach      a 2–1 or 3–1 configuration can generate
                                                 determined by the overall sum of the                    to calculating 12-month CO2 emission        electricity more efficiently than
                                                 CO2 emissions divided by the overall                    rates by dividing the sum of the CO2        multiple smaller steam turbines,
                                                 output during the 12-operating month                    emissions by the sum of the gross           increasing the overall efficiency of
                                                 period and not the average of the                       electrical energy output over the same      comparably sized combined cycle EGUs.
                                                 individual hourly rates. The impact of                  period. The EPA did this separately for     According to Gas Turbine World 2021,
                                                 this approach is that low load hours                    combined cycle EGUs and simple cycle        multi-shaft combined cycle EGUs have
                                                 have smaller impacts on the 12-                         EGUs to determine the emissions rate        design efficiencies that are 0.7 percent
                                                 operating month average relative to high                for the base load and intermediate load     higher than single shaft combined cycle
                                                 load hours. Therefore, the EPA                          subcategories, respectively. Commenters     EGUs using the same turbine engine.872
                                                 determined that using only higher load                  generally supported the 12-month               The efficiency of the Rankine cycle
                                                 hours to determine the base load                        rolling average for emission standard       (i.e., HRSG plus the steam turbine) is
                                                 emission rates would not address                        compliance.                                 determined in part by the ability to cool
                                                                                                            The average maximum 12-operating         the working fluid (e.g., steam) after it
                                                 potential issues for owners/operators of
                                                                                                         month base load emissions rate for large    has been expanded through the turbine.
                                                 base load combustion turbines operating
                                                                                                         combined cycle turbines that began          All else equal, the lower the
                                                 at relative low duty cycles (i.e., low
                                                                                                         operation since 2015 is 810 lb CO2/         temperature that can be achieved, the
                                                 hourly capacity factors).                               MWh-gross. The range of the maximum         more efficient the Rankine cycle. The
                                                    The second approach the EPA                          12-operating month emissions rate for       Okeechobee Clean Energy Center used a
                                                 considered, and is finalizing, is                       individual units is 720 to 920 lb CO2/      recirculating cooling system, which can
                                                 estimating the emissions rate of                        MWh-gross. The lowest emissions rate        achieve lower temperatures than EGUs
                                                 combined cycle turbines at the lower                    was achieved by an individual unit at       using dry cooling systems and therefore
                                                 end of the base load threshold—where                    the Okeechobee Clean Energy Center.         would be more efficient and have a
                                                 more hours of low load operation could                  This facility is a large 3-on-1 combined    lower emissions rate. However dry
                                                 potentially be included in the 12-                      cycle EGU that commenced operation in       cooling systems have lower water
                                                 operating month average—and                             2019 and uses a recirculating cooling       requirements and therefore could be the
                                                 establishing a standard of performance                  tower for the steam cycle. Each turbine     preferred technology in arid regions or
                                                 that is achievable at lower percent of                  is rated at 380 MW and the three HRSGs
                                                 potential electric sales for the base load              feed a single steam turbine of 550 MW.        870 Generating electricity closer to electricity
                                                 subcategory. To determine what                          The EPA did not propose to use the          demand can reduce stress on the electric grid,
                                                 emission rates are currently achieved by                emissions rate of this EGU to determine     reducing line losses and freeing up transmission
                                                 existing high-efficiency combined cycle                 the standard of performance for             capacity to support additional generation from
                                                                                                                                                     variable renewable sources. Further, combined
                                                 EGUs, the EPA reviewed 12-operating                     multiple reasons. The Okeechobee            cycle EGUs located in urban areas could be
                                                 month generation and CO2 emissions                      Clean Energy Center uses a 3-on-1           designed as CHP EGUs, which have potential
                                                 data from 2015 through 2023 for all                     multi-shaft configuration but, many         environmental and economic benefits.
                                                 combined cycle turbines that submitted                  combined cycle EGUs use a 1-on-1              871 Power sector modeling projects that combined

                                                                                                                                                     cycle EGUs will operate at lower capacity factors in
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                                                 continuous emissions monitoring                         configuration. Combined cycle EGUs          the future. Combined cycle EGUs with lower base
                                                 system (CEMS) data to the EPA’s                         using a 1-on-1 configuration can be         load efficiencies but higher part load efficiencies
                                                 emissions collection and monitoring                     designed such that both the combustion      could have lower overall emission rates.
                                                 plan system (ECMPS). The data were                      turbine and steam turbine are arranged        872 According to the data in Gas Turbine World

                                                 sorted by the lowest maximum 12-                        on one shaft and drive the same             2021, while there is a design efficiency advantage
                                                                                                                                                     of going from a 1-on-1 configuration to a 2-on-1
                                                 operating month emissions rate for each                 generator. This configuration has           configuration (assuming the same turbine engine),
                                                 unit to identify long-term emission rates               potential capital cost and maintenance      there is no efficiency advantage of 3-on-1
                                                 on a lb CO2/MWh-gross basis that have                   costs savings and a smaller plant           configurations compared to 2-on-1 configurations.



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                                                 in areas where water requirements                       trend in increasing emission rates at                  highly efficient combined cycle
                                                 could have significant ecological                       lower 12-operating month capacity                      technology.
                                                 impacts. Therefore, the EPA proposed                    factors to estimate the emissions rate at                 With respect to small combined cycle
                                                 and is finalizing that the efficient                    capacity factors at which an individual                combustion turbines, the best
                                                 generation standard for base load EGUs                  facility has never operated. This                      performing unit identified by the EPA is
                                                 should account for the use of cooling                   approach allowed the EPA to estimate                   the Holland Energy Park facility in
                                                 technologies with reduced water                         the emissions rate at a 40 percent 12-                 Holland, Michigan, which commenced
                                                 requirements.                                           operating month capacity factor for the                operation in 2017 and uses a 2-on-1
                                                    Finally, the Okeechobee Clean Energy                 best performing combined cycle                         configuration and a cooling tower.876
                                                 Center operates primarily at high duty                  turbines. This allows the estimation of                The 50 MW turbine engines have
                                                 cycles where efficiency is the highest                  the emissions rate at the lower end of                 individual heat input ratings of 590
                                                 and since it is a relatively new facility               the base load subcategory using higher                 MMBtu/h and serve a single 45 MW
                                                 efficiency degradation might not be                     capacity factor data.874 The EPA did not               steam turbine. The facility has
                                                 accounted for in the emissions analysis.                correct the achievable emissions rate for              maintained a 12-operating month, 99
                                                 Therefore, the EPA is not determining                   combined cycle turbines where the                      percent confidence emissions rate of
                                                 that the performance of the Okeechobee                  relationship indicated emission rates                  870 lb CO2/MWh-gross. The emissions
                                                 Clean Energy Facility is appropriate for                declined at lower 12-operating month                   standard for a base load combustion
                                                 a nationwide standard.                                  capacity factors.                                      turbine of this size is 880 lb CO2/MWh-
                                                    The proposed emissions rate of 770 lb                                                                       gross. The normalized emissions rate
                                                 CO2/MWh-gross has been demonstrated                        As noted in the proposal, one of the                accounting for the use of recirculating
                                                 by approximately 15 percent of recently                 best performing large combined cycle                   cooling towers, a 2–1 configuration, and
                                                 constructed large combined cycle EGUs.                  EGUs that has maintained a 12-                         operation at a 40 percent capacity factor
                                                 As noted in the proposal, these                         operating-month base load emissions                    is 900 lb CO2/MWh-gross. While this is
                                                 combustion turbines include combined                    rate of 770 lb CO2/MWh-gross is the                    higher than the final emissions standard
                                                 cycle EGUs using 1-on-1 configurations,                 Dresden plant, located in Ohio.875 This                in this rule, there are efficient
                                                 dry cooling, and combustion turbines on                 2-on-1 combined cycle facility uses a                  generation technologies that are not
                                                 the lower end of the large base load                    recirculating cooling tower. The turbine               being used at the Holland Energy Park.
                                                 subcategory. In addition, this emissions                engines are rated at 2,250 MMBtu/h,                    For example, a commercially available
                                                 rate has been demonstrated by using                     which demonstrates that the standard of                HRSG that uses supercritical CO2
                                                 combustion turbines from multiple                       performance for large base load                        instead of steam as the working fluid is
                                                 manufacturers and from one facility that                combustion turbines is achievable at a                 available. This HRSG would be
                                                 commenced operation in 2011—                            heat input rating of 2,000 MMBtu/h. As                 significantly more efficient than the
                                                 demonstrating the long-term                             noted, a 2-on-1 configuration and a                    HRSG that uses dual pressure steam,
                                                 achievability of the proposed emissions                 cooling tower are more efficient than a                which is common for small combined
                                                 standard. However, as noted by                          1-on-1 configuration and dry cooling.                  cycle EGUs.877 When these efficiency
                                                 commenters the majority of recently                     Normalizing for these factors and                      improvements are accounted for, a
                                                 constructed combined cycle turbines are                 accounting for operation at a 12-                      similar combined cycle EGU would be
                                                 not achieving an emissions rate of 770                  operating month capacity factor of 40                  able to maintain an emissions rate of
                                                 lb CO2/MWh-gross and combustion                         percent increases the achievable                       880 lb CO2/MWh-gross. In addition, the
                                                 turbine manufacturers might not be                      demonstrated emissions rate to 800 lb                  normalization approach assumes a
                                                 willing to guarantee this emissions level               CO2/MWh-gross. However, the Dresden                    worst-case scenario. Hybrid cooling
                                                 in operating making it challenging to                   Energy Facility does not use the most                  technologies are available and offer
                                                 build a new combined cycle EGU.                         efficient combined cycle design                        performance similar to that of wet
                                                    To account for differences in the                    currently available. Multiple more                     cooling towers. This long-term data
                                                 performance of the best performing                      efficient designs have been developed
                                                 combustion turbines and design options                                                                         accounts for degradation and variable
                                                                                                         since the Dresden Energy Facility                      operating conditions and demonstrates
                                                 that result in less efficient operation, the            commenced operation a decade ago that
                                                 EPA normalized the reported emission                                                                           that a base load combustion turbine
                                                                                                         more than offset these efficiency losses.              EGU with a turbine rated at 590
                                                 rates for combined cycle EGUs.873                       Therefore, the EPA has determined that
                                                 Specifically, for the reported emissions                                                                       MMBtu/h should be able to maintain an
                                                                                                         the Dresden combined cycle EGU                         emissions rate of 880 lb CO2/MWh-
                                                 rates of combined cycle turbines with                   demonstrates that an emissions rate of
                                                 cooling towers was increased by 1.0                                                                            gross.878 Therefore, estimating that
                                                                                                         800 lb CO2/MWh-gross is achievable for
                                                 percent to account for potential new                    all new large combined cycle EGUs with                    876 The Holland Park Energy Center is a CHP
                                                 units using dry cooling. Similarly, the                 an acceptable compliance margin.                       system that uses hot water in the cooling system for
                                                 emissions rate of 2–1 and 3–1 combined                  Therefore, the EPA is finalizing a phase               a snow melt system that uses a warm water piping
                                                 cycle turbines were increased by 1.4                    1 standard of performance of 800 lb                    system to heat the downtown sidewalks to clear the
                                                 percent to account for potential new                                                                           snow during the winter. Since this useful thermal
                                                                                                         CO2/MWh-gross for large base load                      output is low temperature, it likely only results in
                                                 units using a 1–1 configuration. In                     combustion turbines (i.e., those with a                a small reduction of the electrical efficiency of the
                                                 addition, for the best performing                       base load rating heat input greater than               EGU. If the useful thermal output were accounted
                                                 combined cycle turbines, the EPA                        2,000 MMBtu/h) based on the BSER of                    for, the emissions rate of the Holland Energy Park
                                                 plotted the 12-operating month                                                                                 would be lower. The facility ID (ORISPL) is 59093
                                                                                                                                                                10 and 11.
                                                 emissions rate against the 12-operating
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                                                                                                           874 The most efficient combined cycle turbines          877 If the combustion turbine engine exhaust
                                                 month heat input-based capacity factor.                 tend to operate strictly as base load combustion       temperature is 500 °C or greater, a HRSG using 3
                                                 Based on this data, the EPA used the                    turbines, well above the base load subcategorization   pressure steam without a reheat cycle could
                                                                                                         threshold.                                             potentially provide an even greater increase in
                                                   873 A similar normalization approach was used by        875 The Dresden Energy Facility is listed as being   efficiency (relative to a HRSG using 2 pressure
                                                 the EPA in previous EGU GHG NSPS rulemakings            located in Muskingum County, Ohio, as being            steam without a reheat cycle).
                                                 to benchmark the performance of coal-fired EGUs         owned by the Appalachian Power Company, as                878 To estimate an achievable emissions rate for

                                                 when determining an achievable efficiency-based         having commenced commercial operation in late          an efficient combined cycle EGU at 250 MMBtu/h
                                                 standard of performance.                                2011. The facility ID (ORISPL) is 55350 1A and 1B.                                                 Continued




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                                                 emission rates will be slightly higher for              NOX emissions. The EPA did not              compliance levels than the version with
                                                 smaller combustion turbines, the EPA is                 propose and is not finalizing to use the    the alternate NOX control technology.
                                                 finalizing a phase 1 standard of                        emissions rate of this EGU to determine     This standard of performance has been
                                                 performance of 900 lb CO2/MWh-gross                     the standard of performance for             demonstrated by 40 percent of recently
                                                 for small base load combustion turbines                 multiple reasons. Simple cycle turbine      installed intermediate load simple cycle
                                                 (i.e., those with a base load rating of 250             efficiency tends to increase with size      turbines and the Agency has determined
                                                 MMBtu/h) based on the BSER of highly                    and the simple cycle turbines at the        that with proper maintenance is
                                                 efficient combined cycle technology.                    Scattergood Facility are the largest        achievable with combustion turbines
                                                                                                         aeroderivative turbines available.          from multiple manufacturers, with and
                                                 b. Intermediate Load Emission
                                                                                                         Establishing a standard of performance      without intercooling, and is finalizing a
                                                 Standards
                                                                                                         based on emission rates that only large     standard of 1,170 lb CO2/MWh-gross for
                                                    For the intermediate load standards of               aeroderivative turbines could achieve       intermediate load combustion turbines.
                                                 performance, some commenters stated                     would limit the ability to develop new      The EPA considered, but rejected,
                                                 that an emissions standard of 1,150 lb                  firm combustion turbine based               finalizing an emissions standard of
                                                 CO2/MWh-gross is only achievable for                    generating capacity in smaller than 100     1,190 lb CO2/MWh-gross. This standard
                                                 simple cycle except under ideal                         MW increments. This could result in the     of performance has been achieved by
                                                 operating conditions. Since the                         local electric grid operating in a less     essentially all LMS 100 and SGT–A65
                                                 emissions standard is not achievable in                 overall efficient manner, increasing        intermediate load simple cycle turbines
                                                 practice, these commenters stated that                  overall GHG emissions. In addition, the     and 70 percent of recently installed
                                                 the majority of new simple cycle                        largest available aeroderivative simple     intermediate load simple cycle turbines
                                                 turbines would be prevented from                        cycle turbines can use either water         but would not require the most efficient
                                                 operating as variable or intermediate                   injection or dry low NOX combustion to      available versions of new intermediate
                                                 load units. Similar to comments on the                  reduce emissions of NOX. For this           load simple cycle turbines and does not
                                                 base load emissions standard,                           particular design, the use of water         represent the BSER.
                                                 commenters stated the standard of                       injection has higher design efficiencies    2. Phase-2 Standards
                                                 performance should account for ambient                  than the dry low NOX option. Water
                                                 conditions, operation at part load,                     injection has similar ecological impacts       The EPA proposed that 90 percent
                                                 automatic generation control, and                       as water used for cooling towers, the       CCS (as part of the CCS pathway)
                                                 variable loads. If the intermediate load                EPA has determined in this case it is       qualifies as the second component of
                                                 standard is not achievable in practice, it                                                          the BSER for base load combustion
                                                                                                         important to preserve the option for new
                                                 could result in the operation of less                                                               turbines. For the base load combustion
                                                                                                         intermediate load combustion turbines
                                                 efficient generation in other operating                                                             turbines, the EPA reduced the emissions
                                                                                                         to use dry low NOX combustion.
                                                 modes and an increase in overall GHG                                                                rate by 89 percent to determine the CCS
                                                                                                            The proposed emissions rate of 1,150     based phase-2 standards.879 The CCS
                                                 emissions. They also explained this
                                                                                                         lb CO2/MWh-gross was achieved by 20         percent reduction is based on a CCS
                                                 could force simple cycle turbines to
                                                                                                         percent of recently constructed             system capturing 90 percent of the
                                                 always operate at nameplate capacity,
                                                                                                         intermediate load simple cycle turbines.    emitting CO2 being operational anytime
                                                 even when it was not necessary, which
                                                                                                         However, only two-thirds of LMS 100         the combustion turbine is operating.
                                                 would also lead to increased emissions.
                                                                                                         simple cycle turbines installed to date     Similar to the phase-1 emission
                                                 These commenters requested that the
                                                                                                         have maintained an intermediate load        standards, the EPA proposed and is
                                                 EPA raise the variable and intermediate
                                                                                                         emissions rate of 1,150 lb CO2/MWh-         finalizing a decision that standard of
                                                 load emissions standard to 1,250 to
                                                                                                         gross. In addition, only one-third of the   performance for base load combustion
                                                 1,300 lb CO2/MWh-gross.
                                                                                                         Siemens STG–A65 simple cycle                turbines be adjusted based on the
                                                    Considering the public comments, the
                                                                                                         turbines and only 10 percent of General     uncontrolled emission rates of the fuels
                                                 EPA re-evaluated the standard of
                                                                                                         Electric LM6000 simple cycle                relative to natural gas. For 100 percent
                                                 performance for intermediate load
                                                                                                         combustion turbine have maintained          distillate oil-fired combustion turbines,
                                                 combustion turbines using the same
                                                                                                         this emissions rate. Both of these are      the emission rates would be 120 lb CO2/
                                                 approach as for combined cycle
                                                                                                         common aeroderivative turbines and          MWh-gross.
                                                 turbines, except using the performance
                                                                                                         since they do require an intercooler           The EPA solicited comment on the
                                                 of simple cycle EGUs. The average
                                                                                                         have potential space consideration          range of reduction in emission rate of 75
                                                 maximum 12-operating operating month
                                                                                                         advantages compared to the LMS100.          to 90 percent. In addition, the EPA
                                                 intermediate load emissions rate for
                                                                                                         Finalizing the proposed emissions           solicited comment on whether carbon
                                                 simple cycle turbines that began
                                                                                                         standard could restrict new                 capture equipment has lower
                                                 operation since 2015 is 1,210 lb CO2/
                                                                                                         intermediate load simple cycle turbine      availability/reliability than the
                                                 MWh-gross. The range of the maximum
                                                                                                         to the use of intercooling, limiting        combustion turbine or the CCS
                                                 12-operating month emissions rate for
                                                                                                         application to locations that can support   equipment takes longer to startup than
                                                 individual units is 1,080 to 1,470 lb
                                                                                                         a cooling tower. An intermediate load       the combustion turbine itself there
                                                 CO2/MWh-gross. The lowest emissions
                                                                                                         emissions rate of 1,170 lb CO2/MWh-         would be periods of operation where the
                                                 rate was achieved by an individual unit
                                                 at the Scattergood Generating Station.                  gross has been achieved by three-           CO2 emissions would not be controlled
                                                 This facility includes 2 large                          quarters of both the LMS100 and STG–        by the carbon capture equipment. For
                                                 aeroderivative simple cycle turbines                    A65 installations and 20 percent of         the same reasons as for coal-fired EGUs,
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                                                 (General Electric LMS 100) that                         LM6000 installations. In addition, this     the EPA has determined 90 percent CCS
                                                 commenced operation in 2015. Each                       emissions rate has been demonstrated
                                                 turbine is rated at approximately 100                   by a frame simple turbine. The EPA            879 The 89 percent reduction from CCS accounts


                                                 MW and use water injection to reduce                    notes that the more efficient versions of   for the increased auxiliary load of a 90 percent post
                                                                                                         the combustion turbines—water               combustion amine-based capture system. Due to
                                                                                                                                                     rounding, the proposed numeric standards of
                                                 the EPA assumed a linear relationship for combined
                                                                                                         injection in the case of the LMS 100 and    performance do not necessarily match the standards
                                                 cycle efficiency with turbine engines with base load    DLN in the case of the STG–A65—have         that would be determined by applying the percent
                                                 ratings of less than 2,000 MMBtu/h.                     higher design efficiencies and higher       reduction to the phase-1 standards.



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                                                 has been demonstrated and appropriate                   combustion turbine. In 2013, an HRSG                  constructed combined cycle turbines,
                                                 for base load combustion turbines, see                  and additional equipment was added to                 the compliance costs for reconstructed
                                                 section VII.C.                                          convert Unit 12 to a combined cycle                   combined cycle turbines are
                                                                                                         combustion turbine.885 Another is                     approximately 10 percent higher than
                                                 H. Reconstructed Stationary
                                                                                                         Energy Center Dover, located in Dover,                for comparable newly constructed
                                                 Combustion Turbines
                                                                                                         Delaware, which in addition to a coal-                combined cycle turbine. Assuming
                                                    All the major manufacturers of                       fired steam turbine, originally had two               continued operation of the capture
                                                 combustion turbines sell upgrade                        44 MW simple cycle combustion                         equipment, the compliance costs are
                                                 packages that increase both the output                  turbines. Also in 2013, the unit added                $17/MWh and $51/ton ($56/metric ton)
                                                 and efficiency of existing combustion                   an HRSG to one of the existing simple                 for a 6,100 MMBtu/h H-Class
                                                 turbines. An owner/operator of a                        cycle combustion turbines, connected                  combustion turbine, and $21/MWh and
                                                 reconstructed combustion turbine                        the existing steam generator to it, and               $63/ton ($69/metric ton) for a 4,600
                                                 would be able to use one of these                       retired the remaining coal-related                    MMBtu/h F-Class combustion turbine. If
                                                 upgrade packages to comply with the                     equipment to convert that combustion                  the capture system is not operated while
                                                 intermediate load emission standards in                 turbine to a combined cycle one.886                   the combustion turbine is
                                                 this final rule. Some examples of these                 Some other examples include the Los                   subcategorized as in intermediate load
                                                 upgrades include GE’s Advanced Gas                      Esteros Critical Energy Facility in San               combustion turbine, the compliance
                                                 Path, Siemens’ Hot Start on the Fly, and                Jose, California, which converted from a              costs are reduced to $10/MWh and $50/
                                                 Solar Turbines’ Gas Compressor                          four-turbine simple cycle peaking                     ton ($55/metric ton) for a 6,100 MMBtu/
                                                 Restaging. The Advanced Gas Path                        facility to a combined-cycle one in 2013,             h H-Class combustion turbine, and $13/
                                                 option includes retrofitting existing                   and the Tracy Combined Cycle Power                    MWh and $67/ton ($73/metric ton) for
                                                 turbine components with improved                        Plant.887 The Tracy facility, located in              a 4,600 MMBtu/h F-Class combustion
                                                 materials to increase durability, air                   Tracy, California, was built in 2003 with             turbine.
                                                 sealing, and overall efficiency.880 Hot                 two simple cycle combustion turbines                     A reconstructed stationary
                                                 Start on the Fly upgrades include                       and in 2012 was converted to combined                 combustion turbine is not required to
                                                 implementing new software to allow for                  cycle with the addition of a steam                    meet the standards if doing so is
                                                 the gas and steam turbine to start-up                   turbine.888                                           deemed to be ‘‘technologically and
                                                 simultaneously, which greatly improves                     In the previous sections, the EPA                  economically’’ infeasible.890 This
                                                 start times, and in some cases could do                 explained the background of and                       provision requires a case-by-case
                                                 so by up to 20 minutes.881 Compressor                   requirements for new and reconstructed                reconstruction determination in the
                                                 restaging involves analyzing the current                stationary combustion turbines and                    light of considerations of economic and
                                                 operation of an existing combustion                     evaluated various control technology                  technological feasibility. However, this
                                                 turbine and adjusting its gas compressor                configurations to determine the BSER.                 case-by-case determination considers
                                                 characteristics including transmission,                 Because the BSER is the same for new                  the identified BSER, as well as
                                                 injection, and gathering, to operate in                 and reconstructed stationary                          technologies the EPA considered, but
                                                 the most efficient manner given the                     combustion turbines, the Agency used                  rejected, as BSER for a nationwide rule.
                                                 other operating conditions of the                       the same emissions analysis for both                  One or more of these technologies could
                                                 turbine.882 In addition, steam injection                new and reconstructed stationary                      be technically feasible and of reasonable
                                                 is a retrofittable technology that is                   combustion turbines. For each of the                  cost, depending on site-specific
                                                 estimated to be available for a total cost              subcategories, the EPA proposed and is                considerations and if so, would likely
                                                 of all the equipment needed for steam                   finalizing a conclusion that the BSER                 result in sufficient GHG reductions to
                                                 injection of $250/kW.883 Due to the                     results in the same standard of                       comply with the applicable
                                                 differences in materials used and                       performance for new stationary                        reconstructed standards. Finally, in
                                                 necessary additional infrastructure, a                  combustion turbines and reconstructed                 some cases, equipment upgrades, and
                                                 steam injection system can be up to 60                  stationary combustion turbines. For                   best operating practices would result in
                                                 percent smaller than a similar HRSG,                    CCS, consistent with the NETL                         sufficient reductions to achieve the
                                                 which is valuable for retrofit                          Combined Cycle CCS Retrofit Report,                   reconstructed standards.
                                                 purposes.884                                            the EPA approximated the cost to add
                                                                                                         CCS to a reconstructed combustion                     I. Modified Stationary Combustion
                                                    For owners/operators of base load                                                                          Turbines
                                                 combustion turbines, however, HRSG                      turbine by increasing the capital costs of
                                                 have been added to multiple existing                    the carbon capture equipment by 9                        CAA section 111(a)(4) defines a
                                                 simple cycle turbines to convert to                     percent relative to the costs of adding               ‘‘modification’’ as ‘‘any physical change
                                                 combined cycle technology. There have                   CCS to a newly constructed combustion                 in, or change in the method of operation
                                                 been multiple examples of this kind of                  turbine and decreasing the net                        of, a stationary source’’ that either
                                                 conversion from simple cycle to                         efficiency by 0.3 percent.889 Using the               ‘‘increases the amount of any air
                                                 combined cycle. One such example is                     same costing assumptions for newly                    pollutant emitted by such source or . . .
                                                 Unit 12 at Riverton Power Plant in                                                                            results in the emission of any air
                                                 Riverton, Kansas, which was originally                    885 https://www.nsenergybusiness.com/news/          pollutant not previously emitted.’’
                                                 built in 2007 as a 143 MW simple cycle
                                                                                                         newsempire-district-starts-riverton-plants-           Certain types of physical or operational
                                                                                                         combined-cycle-expansion-231013/.                     changes are exempt from consideration
                                                                                                           886 https://news.delaware.gov/2013/07/26/
                                                    880 https://www.gevernova.com/content/dam/
                                                                                                         repowered-nrg-energy-center-dover-unveiled-gov-
                                                                                                                                                               as a modification. Those are described
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                                                 gepower-new/global/en_US/downloads/gas-new-             markell-congressional-delegation-dnrec-sec-omara-     in 40 CFR 60.2, 60.14(e).
                                                 site/resources/advanced-gas-path-brochure.pdf.          other-officials-join-with-nrg-to-announce-cleaner-       In the 2015 NSPS, the EPA did not
                                                    881 https://www.siemens-energy.com/global/en/        natural-gas-facility/.                                finalize standards of performance for
                                                 home/stories/trianel-power-plant-upgrades.html.           887 https://www.calpine.com/los-esteros-critical-
                                                    882 https://s7d2.scene7.com/is/content/
                                                                                                                                                               stationary combustion turbines that
                                                                                                         energy-facility.
                                                 Caterpillar/CM20191213-93d46-8e41d.                       888 https://www.middleriverpower.com/#portfolio.
                                                                                                                                                               conduct modifications; instead, the EPA
                                                    883 ‘‘GTI’’ (2019). Innovative Steam Technologies.     889 ‘‘Cost and Performance of Retrofitting NGCC     concluded that it was prudent to delay
                                                 https://otsg.com/industries/powergen/gti/.              Units for Caron Capture—Revision 3.’’ DOE/NETL–
                                                    884 Ibid.                                            2023/3845. March 17, 2023.                             890 40 CFR 60.15(b)(2).




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                                                 issuing standards until the Agency                      also overrides 40 CFR 60.8(c) in table 3     Sugar Corp. v. EPA, 830 F.3d 579, 606–
                                                 could gather more information (80 FR                    and requires that sources comply with        610 (2016).
                                                 64515; October 23, 2015). There were                    the standard(s) at all times. In reviewing
                                                                                                                                                      K. Testing and Monitoring Requirements
                                                 several reasons for this determination:                 NSPS subpart TTTT and proposing the
                                                 few sources had undertaken NSPS                         new NSPS subpart TTTTa, the EPA                Because the NSPS reflects the
                                                 modifications in the past, the EPA had                  proposed to retain in subpart TTTTa the      application of the best system of
                                                 little information concerning them, and                 requirements that sources comply with        emission reduction under conditions of
                                                 available information indicated that few                the standard(s) at all times in table 3 of   proper operation and maintenance, in
                                                 owners/operators of existing                            the new subpart TTTTa to override the        doing the NSPS review, the EPA also
                                                 combustion turbines would undertake                     general provisions for SSM exemption         evaluates and determines the proper
                                                 NSPS modifications in the future; and                   related provisions. The EPA proposed         testing, monitoring, recordkeeping and
                                                 since the Agency eliminated proposed                    and is finalizing that all standards in      reporting requirements needed to ensure
                                                 subcategories for small EGUs in the                     subpart TTTTa apply at all times.            compliance with the NSPS. This section
                                                 2015 NSPS, questions were raised as to                     In developing the standards in this       includes a discussion on the current
                                                 whether smaller existing combustion                     rule, the EPA has taken into account         testing and monitoring requirements of
                                                 turbines that undertake a modification                  startup and shutdown periods and, for        the NSPS and any additions the EPA is
                                                 could meet the final performance                        the reasons explained in this section of     including in 40 CFR part 60, subpart
                                                 standard of 1,000 lb CO2/MWh-gross.                     the preamble, is not establishing            TTTTa.
                                                    It continues to be the case that the                 alternate standards for those periods.
                                                 EPA is aware of no evidence indicating                                                               1. General Requirements
                                                                                                         The EPA analysis of achievable
                                                 that owners/operators of combustion                     standards of performance used CEMS              The EPA proposed to allow three
                                                 turbines intend to undertake actions                    data that includes all period of             approaches for determining CO2
                                                 that could qualify as NSPS                              operation. Since periods of startup,         emissions: a CO2 CEMS and stack gas
                                                 modifications in the future. The EPA                    shutdown, and malfunction were not           flow monitor; hourly heat input, fuel
                                                 did not propose or solicit comment on                   excluded from the analysis, the EPA is       characteristics, and F factors 891 for
                                                 standards of performance for                            not establishing alternate standard for      EGUs firing oil or gas; or Tier 3
                                                 modifications of combustion turbines                    those periods of operation.                  calculations using fuel use and carbon
                                                 and is not establishing any in this final                                                            content. The first two approaches are in
                                                                                                            Periods of startup, normal operations,
                                                 rule.                                                                                                use for measuring CO2 by units affected
                                                                                                         and shutdown are all predictable and
                                                 J. Startup, Shutdown, and Malfunction                                                                by the Acid Rain program (40 CFR part
                                                                                                         routine aspects of a source’s operations.
                                                                                                                                                      75), to which most, if not all, of the
                                                    In its 2008 decision in Sierra Club v.               Malfunctions, in contrast, are neither
                                                                                                                                                      EGUs affected by NSPS subpart TTTT
                                                 EPA, 551 F.3d 1019 (D.C. Cir. 2008), the                predictable nor routine. Instead, they
                                                                                                                                                      are already subject, while the last
                                                 D.C. Circuit vacated portions of two                    are, by definition, sudden, infrequent,
                                                                                                                                                      approach is in use for stationary fuel
                                                 provisions in the EPA’s CAA section                     and not reasonably preventable failures
                                                                                                                                                      combustion sources reporting to the
                                                 112 regulations governing the emissions                 of emissions control, process, or
                                                                                                                                                      GHGRP (40 CFR part 98, subpart C).
                                                 of HAP during periods of SSM.                           monitoring equipment. (40 CFR 60.2).
                                                                                                                                                         The EPA believes continuing the use
                                                 Specifically, the court vacated the SSM                 The EPA interprets CAA section 111 as
                                                                                                                                                      of approaches already in use by other
                                                 exemption contained in 40 CFR                           not requiring emissions that occur
                                                                                                                                                      programs represents a cost-effective
                                                 63.6(f)(1) and 40 CFR 63.6(h)(1), holding               during periods of malfunction to be
                                                                                                                                                      means of obtaining quality assured data
                                                 that the SSM exemption violates the                     factored into development of CAA
                                                                                                                                                      requisite for determining carbon dioxide
                                                 requirement under section 302(k) of the                 section 111 standards. Nothing in CAA
                                                                                                                                                      mass emissions. MPS reporting software
                                                 CAA that some CAA section 112                           section 111 or in caselaw requires that
                                                                                                                                                      required by this subpart for reporting
                                                 standard apply continuously. The EPA                    the EPA consider malfunctions when
                                                                                                                                                      emissions to the EPA expects hourly or
                                                 has determined the reasoning in the                     determining what standards of
                                                                                                                                                      daily CO2 emission values and has
                                                 court’s decision in Sierra Club v. EPA                  performance reflect the degree of
                                                                                                                                                      thousands of electronic checks to
                                                 applies equally to CAA section 111                      emission limitation achievable through
                                                                                                                                                      validate data using the Acid Rain
                                                 because the definition of emission or                   ‘‘the application of the best system of
                                                                                                                                                      program requirements (40 CFR part 75).
                                                 standard in CAA section 302(k), and the                 emission reduction’’ that the EPA
                                                                                                                                                      ECMPS does not currently
                                                 embedded requirement for continuous                     determines is adequately demonstrated.
                                                                                                                                                      accommodate or validate data under
                                                 standards, also applies to the NSPS.                    While the EPA accounts for variability
                                                                                                                                                      GHGRP’s Tier 3 approach. Because
                                                 Consistent with Sierra Club v. EPA, the                 in setting standards of performance,
                                                                                                                                                      most, if not all, of the EGUs that will be
                                                 EPA is finalizing standards in this rule                nothing in CAA section 111 requires the
                                                                                                                                                      affected by this final rule are already
                                                 that apply at all times. The NSPS                       Agency to consider malfunctions as part
                                                                                                                                                      affected by Acid Rain program
                                                 general provisions in 40 CFR 60.11(c)                   of that analysis. The EPA is not required
                                                                                                                                                      monitoring requirements, the cost and
                                                 currently exclude opacity requirements                  to treat a malfunction in the same
                                                                                                                                                      burden for EGU owners or operators are
                                                 during periods of startup, shutdown,                    manner as the type of variation in
                                                                                                                                                      already accounted for by other
                                                 and malfunction and the provision in 40                 performance that occurs during routine
                                                                                                                                                      rulemakings. Therefore, this aspect of
                                                 CFR 60.8(c) contains an exemption from                  operations of a source. A malfunction is
                                                                                                                                                      the final rule is designed to have
                                                 non-opacity standards. These general                    a failure of the source to perform in a
                                                                                                                                                      minimal, if any, cost or burden
                                                 provision requirements would                            ‘‘normal or usual manner’’ and no
                                                                                                                                                      associated with CO2 testing and
                                                 automatically apply to the standards set                statutory language compels the EPA to
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                                                                                                                                                      monitoring. In addition, there are no
                                                 in an NSPS, unless the regulation                       consider such events in setting CAA
                                                                                                                                                      changes to measurement and testing
                                                 specifically overrides these general                    section 111 standards of performance.
                                                                                                                                                      requirements for determining electrical
                                                 provisions. The NSPS subpart TTTT (40                   The EPA’s approach to malfunctions in
                                                                                                                                                      output, both gross and net, as well as
                                                 CFR part 60, subpart TTTT) does not                     the analogous circumstances (setting
                                                 contain an opacity standard, thus, the                  ‘‘achievable’’ standards under CAA             891 An F factor is the ratio of the gas volume of
                                                 requirements at 40 CFR 60.11(c) are not                 section 112) has been upheld as              the products of combustion to the heat content of
                                                 applicable. The NSPS subpart TTTT                       reasonable by the D.C. Circuit in U.S.       the fuel.



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                                                 thermal output, to existing                             between the EGU’s monitoring system                  that employs CCS technology that
                                                 requirements.                                           and the independent monitoring system                captures enough CO2 to meet the
                                                    However, the EPA requested comment                   was approximately 2 percent for CO2                  proposed standard and injects the
                                                 on whether continuous CO2 CEMS and                      concentration and slightly greater than 2            captured CO2 underground must report
                                                 stack gas flow measurements should be                   percent for stack gas flow.                          under GHGRP subpart RR or GHGRP
                                                 the sole means of compliance for this                                                                        subpart VV. If the emitting EGU sends
                                                 rule. Such a switch would increase costs                2. Requirements for Sources
                                                                                                                                                              the captured CO2 offsite, it must transfer
                                                 for those EGU owners or operators who                   Implementing CCS
                                                                                                                                                              the CO2 to a facility that reports in
                                                 are currently relying on the oil- or gas-                  The CCS process is also subject to                accordance with GHGRP subpart RR or
                                                 fired calculation-based approaches. By                  monitoring and reporting requirements                GHGRP subpart VV. This does not
                                                 way of reference, the annualized cost                   under the EPA’s GHGRP (40 CFR part                   change any of the requirements to
                                                 associated with adoption and use of                     98). The GHGRP requires reporting of                 obtain or comply with a UIC permit for
                                                 continuous CO2 and flow measurements                    facility-level GHG data and other                    facilities that are subject to the EPA’s
                                                 where none now exist is estimated to be                 relevant information from large sources              UIC program under the Safe Drinking
                                                 about $52,000. To the extent that the                   and suppliers in the U.S. The ‘‘suppliers            Water Act.
                                                 rule were to mandate continuous CO2                     of carbon dioxide’’ source category of                  The EPA also notes that compliance
                                                 and stack gas flow measurements in                      the GHGRP (GHGRP subpart PP)                         with the standard is determined
                                                 accordance with what is currently                       requires those affected facilities with              exclusively by the tons of CO2 captured
                                                 allowed as one option and that an EGU                   production process units that capture a              by the emitting EGU. The tons of CO2
                                                 lacked this instrumentation, its owner                  CO2 stream for purposes of supplying                 sequestered by the geologic
                                                 or operator would need to incur this                    CO2 for commercial applications or that              sequestration site are not part of that
                                                 annual cost to obtain such information                  capture and maintain custody of a CO2                calculation, though the EPA anticipates
                                                 and to keep the instrumentation                         stream in order to sequester or                      that the quantity of CO2 sequestered will
                                                 calibrated. Commenters encouraged the                   otherwise inject it underground to                   be substantially similar to the quantity
                                                 EPA to maintain the flexibility for EGUs                report the mass of CO2 captured and                  captured. However, to verify that the
                                                 to use hourly heat input measurements,                  supplied. Facilities that inject a CO2               CO2 captured at the emitting EGU is
                                                 fuel characteristics, and F factors as is               stream underground for long-term                     sent to a geologic sequestration site, the
                                                 allowed under the Acid Rain program.                    containment in subsurface geologic                   Agency is leveraging regulatory
                                                 Commenters argued that in addition to                   formations report quantities of CO2                  reporting requirements under the
                                                 the incremental costs, some facilities                  sequestered under the ‘‘geologic                     GHGRP. The EPA also emphasizes that
                                                 have space constraints that could make                  sequestration of carbon dioxide’’ source             this final rule does not involve
                                                 the addition of stack gas flow monitors                 category of the GHGRP (GHGRP subpart                 regulation of downstream recipients of
                                                 difficult or impractical. In this final                 RR). In April 2024, to complement                    captured CO2. That is, the regulatory
                                                 rule, the EPA allows the use of hourly                  GHGRP subpart RR, the EPA finalized                  standard applies exclusively to the
                                                 heat input, fuel characteristics, and F                 the ‘‘geologic sequestration of carbon               emitting EGU, not to any downstream
                                                 factors as an alternative to CO2 CEMS                   dioxide with enhanced oil recovery                   user or recipient of the captured CO2.
                                                 and stack gas flow monitors for EGUs                    (EOR) using ISO 27916’’ source category              The requirement that the emitting EGU
                                                 that burn oil or gas.                                   of the GHGRP (GHGRP subpart VV) to                   transfer the captured CO2 to an entity
                                                    One commenter argued that the part                   provide an alternative method of                     subject to the GHGRP requirements is
                                                 75 data requirements, which are                         reporting geologic sequestration in                  thus exclusively an element of
                                                 required for several emission trading                   association with EOR.892 893 894                     enforcement of the EGU standard. This
                                                 programs including the Acid Rain                           CCS as the BSER, as detailed in                   avoids duplicative monitoring,
                                                 program, are punitive and that the data                 section VIII.F.4.c.iv of this preamble, is           reporting, and verification requirements
                                                 are biased high. Other commenters                       determined to be adequately                          between this rule and the GHGRP, while
                                                 argued that the part 75 CO2 data are                    demonstrated based solely on geologic                also ensuring that the facility injecting
                                                 biased low. EPA disagrees that the data                 sequestration that is not associated with            and sequestering the CO2 (which may
                                                 requirements are punitive. Most, if not                 EOR. However, EGUs also have the                     not necessarily be the EGU) maintains
                                                 all, of the EGUs subject to this subpart                compliance option to send CO2 to EOR                 responsibility for these requirements.
                                                 are already reporting the data under the                facilities that report under GHGRP                   Similarly, the existing regulatory
                                                 Acid Rain program. Oil- and gas-fired                   subpart RR or GHGRP subpart VV. The                  requirements applicable to geologic
                                                 EGUs that are not subject to the Acid                   EPA is requiring that any affected unit              sequestration are not part of this final
                                                 Rain program but are subject to a Cross-                                                                     rule.
                                                 State Air Pollution Rule program are                      892 EPA. (2024). Rulemaking Notices for GHG

                                                 already reporting most of the necessary                 Reporting. https://www.epa.gov/ghgreporting/         L. Recordkeeping and Reporting
                                                 data elements (e.g., hourly heat input
                                                                                                         rulemaking-notices-ghg-reporting.                    Requirements
                                                                                                           893 International Standards Organization (ISO)
                                                 and F factors) for SO2 and/or NOX                       standard designated as CSA Group (CSA)/American         The current rule (subpart TTTT of 40
                                                 emissions. The additional data and                      National Standards Institute (ANSI) ISO              CFR part 60) requires EGU owners or
                                                 effort necessary to calculate CO2                       27916:2019, Carbon Dioxide Capture,                  operators to prepare reports in
                                                                                                         Transportation and Geological Storage—Carbon
                                                 emissions is minor. The EPA also                        Dioxide Storage Using Enhanced Oil Recovery (CO2-
                                                                                                                                                              accordance with the Acid Rain
                                                 disagrees that the data are biased                      EOR) (referred to as ‘‘CSA/ANSI ISO 27916:2019’’).   Program’s ECMPS. Such reports are to
                                                 significantly high or low. Each CO2                       894 As described in 87 FR 36920 (June 21, 2022),   be submitted quarterly. The EPA
                                                                                                                                                              believes all EGU owners and operators
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                                                 CEMS and stack gas flow monitor must                    both subpart RR and subpart VV (CSA/ANSI ISO
                                                                                                         27916:2019) require an assessment and monitoring     have extensive experience in using the
                                                 undergo regular quality assurance and                   of potential leakage pathways; quantification of
                                                 quality control activities including                    inputs, losses, and storage through a mass balance   ECMPS and use of a familiar system
                                                 periodic relative accuracy test audits                  approach; and documentation of steps and             ensures quick and effective rollout of
                                                 where the EGU’s monitoring system is                    approaches used to establish these quantities.       the program in this final rule. Because
                                                                                                         Primary differences relate to the terms in their
                                                 compared to an independent monitoring                   respective mass balance equations, how each
                                                                                                                                                              all EGUs are expected to be covered by
                                                 system. In a May 2022 study conducted                   defines leakage, and when facilities may             and included in the ECMPS, minimal, if
                                                 by the EPA, the average difference                      discontinue reporting.                               any, costs for reporting are expected for


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                                                 this final rule. In the unlikely event that                As indicated, the EPA is finalizing a    infrastructure (e.g., CO2 pipelines) that
                                                 a specific EGU is not already covered by                provision that will allow the owner/        is necessary for implementation of the
                                                 and included in the ECMPS, the                          operators of new or reconstructed base      control technology. The owner/operator
                                                 estimated annual per unit cost would be                 load stationary combustion turbine          of an affected new stationary
                                                 about $8,500.                                           EGUs to request a limited Phase 2           combustion turbine EGU remains
                                                    The current rule’s recordkeeping                     compliance extension based on a case-       subject to the January 1, 2032 Phase 2
                                                 requirements at 40 CFR part 60.5560                     by-case demonstration of necessity.         compliance date unless and until the
                                                 rely on a combination of general                        Under these provisions, the owner or        Administrator grants a compliance
                                                 provision requirements (see 40 CFR                      operator of an affected source may apply    extension.
                                                 60.7(b) and (f)), requirements at subpart               for a Phase 2 compliance date extension
                                                 F of 40 CFR part 75, and an explicit list                                                              As discussed in sections VII.C.1.a.i.(E)
                                                                                                         of up to 1 year to comply with the
                                                 of items, including data and                                                                        and VII.C.2.b.i(C), the EPA has
                                                                                                         applicable emissions control
                                                 calculations; the EPA is retaining those                                                            determined compliance timelines for
                                                                                                         requirements, which if approved by the
                                                 existing subpart TTTT of 40 CFR part 60                 EPA, would require compliance with          these new sources that are consistent
                                                 requirements in the new NSPS subpart                    Phase 2 standards of performance no         with achieving emission reductions as
                                                 TTTTa of 40 CFR part 60. The annual                     later than January 1, 2033. This            expeditiously as practicable given the
                                                 cost of those recordkeeping                             mechanism is only available for             time it takes to install and startup the
                                                 requirements will be the same amount                    situations in which an affected source      BSER technologies for compliance with
                                                 as is required for subpart TTTT of 40                   encounters a delay in installation or       the Phase 2 standards of performance.
                                                 CFR part 60 recordkeeping. As the                       startup of a control technology that        The Phase 2 compliance dates are
                                                 recordkeeping in subpart TTTT of 40                     makes it impossible to commence             designed to accommodate the process
                                                 CFR part 60 will be replaced by similar                 compliance with Phase 2 standards of        steps and timeframes that the EPA
                                                 recordkeeping in subpart TTTTa of 40                    performance by January 1, 2032 (i.e., the   reasonably anticipates will apply to
                                                 CFR part 60, this annual cost for                       Phase 2 compliance date specified in        affected EGUs. This extension
                                                 recordkeeping will be maintained.                       section VIII.F.4 of this preamble).         mechanism acknowledges that
                                                                                                            The EPA will grant a request for a       circumstances entirely outside the
                                                 M. Compliance Dates                                                                                 control of the owners or operators of
                                                                                                         Phase 2 compliance extension of up to
                                                   Owners/operators of affected sources                  1 year only where a source demonstrates     affected EGUs may extend the
                                                 that commenced construction or                          that it has taken all steps possible to     timeframe for installation or startup of
                                                 reconstruction after May 23, 2023, must                 install and start up the necessary          control technologies beyond the
                                                 meet the requirements of 40 CFR part                    controls and still cannot comply with       timeframe that the EPA has determined
                                                 60, subpart TTTTa, upon startup of the                  the Phase 2 standards of performance by     is reasonable as a general matter. Thus,
                                                 new or reconstructed affected facility or               the January 1, 2032 compliance date due     so long as this extension mechanism is
                                                 the effective date of the final rule,                   to circumstances entirely beyond its        limited to circumstances that cannot be
                                                 whichever is later. This compliance                     control. Any request for a Phase 2          reasonably controlled or remedied by
                                                 schedule is consistent with the                         compliance extension must be received       the owners or operators of the affected
                                                 requirements in section 111 of the CAA.                 by the EPA at least 180 days before the     EGUs and that make it impossible to
                                                 N. Compliance Date Extension                            January 1, 2032 Phase 2 compliance          achieve compliance with Phase 2
                                                                                                         date. The owner/operator of the             standards of performance by the January
                                                    Several industry commenters noted                    requesting source must provide              1, 2032 compliance date, its use is
                                                 the potential for delay in installation                 documentation of the circumstances          consistent with achieving compliance as
                                                 and utilization of emission controls—                   that precipitated the delay (or an          expeditiously as practicable.
                                                 especially CCS—due to supply chain                      anticipated delay) and demonstrate that
                                                 constraints, permitting challenges,                                                                    The EPA believes that a 1-year
                                                                                                         those circumstances are entirely beyond
                                                 environmental assessments, or delays in                                                             extension on top of the lead time
                                                                                                         the control of the owner/operator and
                                                 development of necessary                                that the owner/operator has no ability to   already provided by the 2032
                                                 infrastructure, among other reasons.                    remedy the delay. These circumstances       compliance date should be sufficient to
                                                 Commenters requested that the EPA                       may include, but are not limited to,        address any compliance delays and to
                                                 include a mechanism to extend the                       delays related to permitting, delays in     allow all base load units to timely
                                                 compliance date for affected EGUs that                  delivery or construction of parts           install CSS. New or reconstructed base
                                                 are installing emission controls. These                 necessary for installation or               load stationary combustion turbines that
                                                 commenters explained that an extension                  implementation of the control               are granted a 1-year Phase 2 compliance
                                                 mechanism could provide greater                         technology, or development of               date extension and still are not able to
                                                 regulatory certainty for owners and                     necessary infrastructure (e.g., CO2         install or startup the control
                                                 operators.                                              pipelines).                                 technologies necessary to meet the
                                                    After considering these comments, the                   The request must include                 Phase 2 standard of performance by the
                                                 EPA believes that it is reasonable to                   documentation that demonstrates that        extended Phase 2 compliance date of
                                                 provide a consistent and transparent                    the necessary controls cannot be            January 1, 2033 may adjust their
                                                 means of allowing a limited extension of                installed or started up by the January 1,   operation to the intermediate load
                                                 the Phase 2 compliance deadline where                   2032 Phase 2 compliance date. This may      subcategory (i.e., 12-operating-month
                                                 an affected new or reconstructed base                   include information and documentation       capacity factor between 20–40 percent).
                                                 load stationary combustion EGU has                                                                  Such sources must then comply with
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                                                                                                         obtained from a control technology
                                                 demonstrated such an extension is                       vendor or engineering firm                  applicable standards of performance for
                                                 needed for installation and utilization of              demonstrating that the necessary            the intermediate load stationary
                                                 controls. This mechanism is intended to                 controls cannot be installed or started     combustion turbine subcategory until
                                                 address unavoidable delays in                           up by the applicable Phase 2                the necessary controls are installed and
                                                 implementation—not to provide more                      compliance date, documentation of any       operational such that the source can
                                                 time to assess the NSPS compliance                      permit delays, or documentation of          comply with the Phase 2 standard of
                                                 strategy for the affected EGU.                          delays in construction or permitting of     performance.


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                                                 IX. Requirements for New, Modified,                     2542 (January 13, 2021) (‘‘SCF Rule’’).                 operating practices for new sources in
                                                 and Reconstructed Fossil Fuel-Fired                     However, the D.C. Circuit vacated the                   this source category. Moreover, the EPA
                                                 Steam Generating Units                                  SCF Rule on April 5, 2021.897 The BSER                  is presently considering whether to
                                                                                                         analysis and that portion of the 2018                   revise the 2015 Rule to take into account
                                                 A. 2018 NSPS Proposal Withdrawal
                                                                                                         Proposal have not been finalized and are                improvements in CCS technology and
                                                 1. Background                                           being withdrawn in this final action.                   the existing tax credits under the IRA.
                                                    As discussed in section V.B, the EPA                 The 2018 Proposal stated that the                       For a more in-depth, technical
                                                 promulgated NSPS for GHG emissions                      Agency was proposing to find that                       discussion of the rationale underlying
                                                 from fossil fuel-fired steam generating                 partial CCS is not the BSER on grounds                  this action, please refer to the technical
                                                 units in 2015 (‘‘2015 NSPS’’).895 The                   that it is too costly and that the 2015                 memorandum in the docket titled, 2018
                                                 2015 NSPS finalized partial CCS as the                  Rule did not show that the technology                   Proposal Withdrawal.
                                                 BSER and finalized standards of                         had sufficient geographic scope to
                                                                                                         qualify as the BSER for newly                           B. Additional Amendments
                                                 performance to limit emissions of GHG
                                                 manifested as CO2 from newly                            constructed coal-fired EGUs. The EPA                       The EPA proposed and is finalizing
                                                 constructed, modified, and                              instead proposed that the BSER for                      multiple less significant amendments.
                                                 reconstructed fossil fuel-fired EGUs (i.e.,             newly constructed coal-fired EGUs                       These amendments are either strictly
                                                 utility boilers and integrated gasification             would be the most efficient available                   editorial and will not change any of the
                                                 combined cycle (IGCC) units). In the                    steam cycle (i.e., supercritical steam                  requirements of 40 CFR part 60, subpart
                                                 same document, the Agency also                          conditions for large units and subcritical              TTTT, or will add additional
                                                 finalized CO2 emission standards for                    steam conditions for small units) in                    compliance flexibility. The amendments
                                                 newly constructed and reconstructed                     combination with the best operating                     are also incorporated into the final
                                                 stationary combustion turbine EGUs. 80                  practices instead of partial CCS. In                    subpart TTTTa. For additional
                                                 FR 64510 (October 23, 2015). These                      addition, for newly constructed coal-                   information on these amendments, see
                                                 final standards were codified in 40 CFR                 fired EGUs firing moisture-rich fuels                   the redline strikeout version of the rule
                                                 part 60, subpart TTTT.                                  (i.e., lignite), the BSER would also                    showing the amendments in the docket
                                                    On December 20, 2018, the EPA                        include pre-combustion fuel drying                      for this action.
                                                 published a proposal to revise certain                  using waste heat from the process. The                     First, the EPA proposed and is
                                                 parts of the 2015 Rule, titled ‘‘Review of              2018 Proposal also would have revised                   finalizing editorial amendments to
                                                 Standards of Performance for                            the standards of performance for                        define acronyms the first time they are
                                                 Greenhouse Gas Emissions From New,                      reconstructed EGUs, the maximally                       used in the regulatory text. Second, the
                                                 Modified, and Reconstructed Stationary                  stringent standards for coal-fired EGUs                 EPA proposed and is finalizing adding
                                                 Sources: Electric Utility Generating                    undergoing large modifications (i.e.,                   International System of Units (SI)
                                                 Units.’’ 83 FR 65424 (December 20,                      modifications resulting in an increase in               equivalent for owners/operators of
                                                 2018) (‘‘2018 Proposal’’). In Fall 2020,                hourly CO2 emissions of more than 10                    stationary combustion turbines
                                                 after reviewing comments on the 2018                    percent), and for base load and non-base                complying with a heat input-based
                                                 Proposal, the EPA developed a draft                     load operating conditions that reflected                standard. Third, the EPA proposed and
                                                 final rule and sent that package to the                 the Agency’s revised BSER                               is finalizing correcting errors in the
                                                 Office of Management and Budget                         determination. The 2018 Proposal did                    current 40 CFR part 60, subpart TTTT,
                                                 (OMB) for interagency review under                      not revise the BSER for any other                       regulatory text referring to part 63
                                                 Executive Order 12866 (‘‘2020 OMB                       sources as determined in the 2015 Rule.                 instead of part 60. Fourth, as a practical
                                                 Review Package’’). The 2020 OMB                         It also included minor amendments to                    matter owners/operators of stationary
                                                 Review Package, if finalized, would                     the applicability criteria for combined                 combustion turbines subject to the heat
                                                 have amended the BSER for new coal-                     heat and power (CHP) and non-fossil                     input-based standard of performance
                                                 fired EGUs and required a pollutant-                    EGUs and other miscellaneous technical                  need to maintain records of electric
                                                 specific significant contribution finding               changes in the regulatory requirements.                 sales to demonstrate that they are not
                                                 (SCF) prior to regulating a source                      2. Withdrawal of the 2018 Proposal                      subject to the output-based standard of
                                                 category. The review of the BSER                                                                                performance. Therefore, the EPA
                                                                                                            In this action, under CAA section                    proposed and is finalizing adding a
                                                 portion of the package was delayed 896
                                                                                                         111(b), the Agency is withdrawing the                   specific requirement that owner/
                                                 and the pollutant-specific SCF portion
                                                                                                         2018 Proposal and the proposed                          operators maintain records of electric
                                                 of the 2020 OMB Review Package was
                                                                                                         determination that the BSER for coal-                   sales to demonstrate they did not sell
                                                 finalized on January 13, 2021 in a final
                                                                                                         fired steam generating units should be                  electricity above the threshold that
                                                 rule, titled ‘‘Pollutant-Specific
                                                                                                         highly efficient generation technology                  would trigger the output-based
                                                 Contribution Finding for Greenhouse
                                                                                                         combined with best operating practices.                 standard. Next, the EPA proposed and is
                                                 Gas Emissions from New, Modified, and
                                                                                                         The EPA no longer believes there is a                   finalizing updating the ANSI, ASME,
                                                 Reconstructed Stationary Sources:
                                                                                                         basis for finding that highly efficient                 and ASTM International (ASTM) test
                                                 Electric Utility Generating Units, and
                                                                                                         generation technology combined with                     methods to include more recent
                                                 Process for Determining Significance of
                                                                                                         best operating practices are the BSER for               versions of the test methods. Finally, the
                                                 Other New Source Performance
                                                                                                         coal-fired steam generating units. As                   EPA proposed and is finalizing adding
                                                 Standards Source Categories.’’ 86 FR
                                                                                                         described at length in this preamble,                   additional compliance flexibilities for
                                                   895 80 FR 64510 (October 23, 2015).
                                                                                                         CCS technology is adequately                            EGUs either serving a common electric
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                                                   896 As part of the interagency review process, an     demonstrated for coal-fired steam                       generator or using a common stack.
                                                 error in the partial CCS costing report that the EPA    generating units and so it is not
                                                 used to update the costs of partial CCS between the     appropriate to impose the less effective                C. Eight-year Review of NSPS for Fossil
                                                 2018 Proposal and 2020 OMB Review Package was           emission control of highly efficient                    Fuel-Fired Steam Generating Units
                                                 identified. The error included in the original 2020
                                                 OMB Review Package had the impact of increasing         generation combined with best                           1. Modifications
                                                 the cost of partial CCS. The corrected report
                                                 resulted in partial CCS costs that were similar to        897 State of California v. EPA (D.C. Cir. 21–1035),      In the 2015 NSPS, the EPA issued
                                                 those included in the 2018 Proposal.                    Document No. 1893155 (April 5, 2021).                   final standards for a steam generating


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                                                 unit that implements a ‘‘large                          associated requirements for large            that undertake large modifications after
                                                 modification,’’ defined as a physical                   modifications.                               May 23, 2023, is a unit-specific
                                                 change, or change in the method of                         Because the EPA has not promulgated       emission limit determined by an 88.4
                                                 operation, that results in an increase in               a NSPS for small modifications, any          percent reduction in the unit’s best
                                                 hourly CO2 emissions of more than 10                    existing steam generating unit that          historical annual CO2 emission rate
                                                 percent when compared to the source’s                   undertakes a change that increases its       (from 2002 to the date of the
                                                 highest hourly emissions in the                         hourly CO2 emissions rate by 10 percent      modification). The EPA proposed and is
                                                 previous 5 years. Such a modified steam                 or less will continue to be treated as an    finalizing that an owner/operator of a
                                                 generating unit is required to meet a                   existing source that is subject to the       modified steam generating unit comply
                                                 unit-specific CO2 emission limit                        CAA section 111(d) requirements being        with the emissions rate upon startup of
                                                 determined by that unit’s best                          finalized today.                             the modified affected facility or the
                                                 demonstrated historical performance (in                    With respect to large modifications,      effective date of the final rule,
                                                 the years from 2002 to the time of the                  the EPA explained in the 2015 NSPS           whichever is later. The EPA proposed
                                                 modification). The 2015 NSPS did not                    that they are rare, but there is record      and is finalizing the same testing,
                                                 include standards for a steam generating                evidence indicating that they may            monitoring, and reporting requirements
                                                 unit that implements a ‘‘small                          occur.900 Because the EPA is finalizing      as are currently in 40 CFR part 60,
                                                 modification,’’ defined as a change that                requirements for existing coal-fired         subpart TTTT.
                                                 results in an increase in hourly CO2                    steam generating units that are, on their       The EPA did not propose, and is not
                                                 emissions of less than or equal to 10                   face, more stringent than the                finalizing, any review or revision of the
                                                 percent when compared to the source’s                   requirements for large modifications,        2015 standard for large modifications of
                                                 highest hourly emissions in the                         the EPA believes it is appropriate to        oil- or gas-fired steam generating units
                                                 previous 5 years.898                                    review and revise the latter                 because the we are not aware of any
                                                    In the 2015 NSPS, the EPA explained                  requirements to minimize the                 existing oil- or gas-fired steam
                                                 its basis for promulgating this rule as                 anomalous incentive that an existing         generating EGUs that have undertaken
                                                 follows. The EPA has historically been                  source could have to undertake a large       such modifications or have plans to do
                                                 notified of only a limited number of                    modification for the purpose of avoiding     so, and, unlike an existing coal-fired
                                                 NSPS modifications involving fossil                     the more stringent requirements that it      steam generating EGUs, existing oil- or
                                                 fuel-fired steam generating units and                   would be subject to if it remained an        gas-fired steam units have no incentive
                                                 therefore predicted that very few of                    existing source. Accordingly, the EPA        to undertake such a modification to
                                                 these units would trigger the                           proposed and is finalizing amending the      avoid the requirements we are including
                                                 modification provisions and be subject                  BSER for large modifications for coal-       in this final rule for existing oil- or gas-
                                                 to the proposed standards. Given the                    fired steam generating units to mirror       fired steam generating units.
                                                 limited information that we have about                  the BSER for the subcategory of long-
                                                 past modifications, the Agency has                      term coal-fired steam generating units       2. New Construction and Reconstruction
                                                 concluded that it lacks sufficient                      that is, the use of CCS with 90 percent         The EPA promulgated NSPS for GHG
                                                 information to establish standards of                   capture of CO2. The EPA believes that        emissions from fossil fuel-fired steam
                                                 performance for all types of                            it is reasonable to assume that any          generating units in 2015. In the
                                                 modifications at steam generating units                 existing source that invests in a physical   proposal, the EPA proposed that it did
                                                 at this time. Instead, the EPA has                      change or change in the method of            not need to review the 2015 NSPS
                                                 determined that it is appropriate to                    operation that would qualify as a large      because at that time, the EPA did not
                                                 establish standards of performance at                   modification expects to continue to          have information indicating that any
                                                 this time for larger modifications, such                operate past 2039. Accordingly, the EPA      such units will be constructed or
                                                 as major facility upgrades involving, for               has determined that CCS with 90
                                                                                                                                                      reconstructed. However, the EPA has
                                                 example, the refurbishing or                            percent capture qualifies as the BSER
                                                                                                                                                      recently become aware that a new coal-
                                                 replacement of steam turbines and other                 for such a source for the same reasons
                                                                                                                                                      fired power plant is under consideration
                                                 equipment upgrades that result in                       that it qualifies as the BSER for existing
                                                                                                                                                      in Alaska. In November 2023, DOE
                                                 substantial increases in a unit’s hourly                sources that plan to operate past
                                                                                                                                                      announced a $9 million cooperative
                                                 CO2 emissions rate. The Agency has                      December 31, 2039. The EPA discusses
                                                                                                                                                      agreement for the Alaska Railbelt
                                                 determined, based on its review of                      these reasons in section VII.C.1.a of this
                                                                                                                                                      Carbon Capture and Storage (ARCCS)
                                                 public comments and other publicly                      preamble. The EPA has determined that
                                                                                                                                                      project, to be led by researchers at the
                                                 available information, that it has                      CCS with 90 percent capture qualifies as
                                                                                                                                                      University of Alaska Fairbanks. The
                                                 adequate information regarding the                      the BSER for large modifications, and
                                                                                                         not the controls determined to be the        ARCCS project would study the
                                                 types of modifications that could result
                                                                                                         BSER in the 2015 NSPS, due to the            viability of a carbon storage complex in
                                                 in large increases in hourly CO2
                                                                                                         recent reductions in the cost of CCS.        Southcentral Alaska, likely at the
                                                 emissions, as well as on the types of
                                                                                                            By the same token, the EPA is             mostly-depleted Beluga River gas field
                                                 measures available to control emissions
                                                                                                         finalizing that the degree of emission       west of Anchorage’’ in the Cook Inlet
                                                 from sources that undergo such
                                                                                                         limitation associated with CCS with 90       Basin, which could store captured CO2.
                                                 modifications, and on the costs and
                                                                                                         percent capture is an 88.4 percent           According to reports, the privately
                                                 effectiveness of such control measures,
                                                                                                         reduction in emission rate (lb CO2/          owned Flatlands Energy Corp. is
                                                 upon which to establish standards of
                                                                                                         MWh-gross basis), the same as finalized      considering constructing a 400 MW
                                                 performance for modifications with
                                                                                                                                                      coal- and biomass-fired power plant in
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                                                 large emissions increases at this time.899              for existing sources with CCS with 90
                                                                                                         percent capture. See section VII.C.3.a of    the Susitna River valley region, which,
                                                 The EPA did not reopen any aspect of
                                                                                                         this preamble. Based on this degree of       if built, would be one of the sources of
                                                 these determinations concerning
                                                                                                         emission limitation, the EPA proposed        captured CO2.901
                                                 modifications in the 2015 NSPS, except,
                                                 as noted below, for the BSER and                        and is finalizing that the standard of          901 DOE Funding Opportunity Announcement,
                                                                                                         performance for steam generating units       ‘‘DOE Invests More Than $444 Million for
                                                   898 80 FR 64514 (October 23, 2015).
                                                                                                                                                      CarbonSAFE Project,’’ (November 15, 2023), https://
                                                   899 Id. at 64597–98.                                   900 Id. at 64598.                           netl.doe.gov/node/13090; University of Alaska



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                                                    In light of this development, the EPA                   The Holcomb 2 project was intended                   Authority Rule (TAR) adopted by the
                                                 is not finalizing its proposal not to                   to be a single 895 MW coal-fired EGU                    EPA, Tribes may seek authority to
                                                 review the 2015 NSPS. Instead, the EPA                  and received permits in 2009 (after                     implement a plan under CAA section
                                                 will continue to consider whether to                    earlier proposals sought approval for                   111(d) in a manner similar to that of a
                                                 review the 2015 NSPS and will monitor                   development of more than one unit). In                  state. See 40 CFR part 49, subpart A.
                                                 the development of this potential new                   2020, after developers announced they                   Tribes may, but are not required to, seek
                                                 construction project in Alaska as well as               would no longer pursue the Holcomb 2                    approval for treatment in a manner
                                                 any other potential projects to newly                   expansion project, the air permits were                 similar to that of a state for purposes of
                                                 construct or reconstruct a coal-fired                   allowed to expire, effectively canceling                developing a Tribal Implementation
                                                 power plant. If the EPA does decide to                  the project.                                            Plan (TIP) implementing the emission
                                                 review the 2015 NSPS, it would propose                     For these reasons, the EPA proposed                  guidelines. If a Tribe obtains approval
                                                 to revise them for coal-fired steam                     and is finalizing a decision to remove                  and submits a TIP, the EPA will
                                                 generating units.                                       these projects under the applicability                  generally use similar criteria and follow
                                                                                                         exclusions in subpart TTTT.                             similar procedures as those described
                                                 D. Projects Under Development
                                                                                                         X. State Plans for Emission Guidelines                  for state plans when evaluating the TIP
                                                    During the 2015 NSPS rulemaking,                                                                             submission and will approve the TIP if
                                                                                                         for Existing Fossil Fuel-Fired EGUs
                                                 the EPA identified the Plant Washington                                                                         appropriate. The EPA is committed to
                                                 project in Georgia and the Holcomb 2                    A. Overview                                             working with eligible Tribes to help
                                                 project in Kansas as EGU ‘‘projects                       This section provides information                     them seek authorization and develop
                                                 under development’’ based on                            related to state plan development,                      plans if they choose. Tribes that choose
                                                 representations by developers that the                  including methodologies for                             to develop plans will generally have the
                                                 projects had commenced construction                     establishing presumptively approvable                   same flexibilities available to states in
                                                 prior to the proposal of the 2015 NSPS                  standards of performance for affected                   this process.
                                                 and, thus, would not be new sources                     EGUs, flexibilities for complying with                     In section X.B of this document, the
                                                 subject to the final NSPS (80 FR 64542–                 standards of performance, and                           EPA describes the foundational
                                                 43; October 23, 2015). The EPA did not                  components that must be included in
                                                 set a performance standard at the time                                                                          requirement that state plans achieve an
                                                                                                         state plans as well as the process for                  equivalent level of emission reduction
                                                 but committed to doing so if new                        submission. This section also addresses
                                                 information about the projects became                                                                           to the degree of emission limitation
                                                                                                         significant comments on and any                         achievable through application of the
                                                 available. These projects were never                    changes to the proposed emission
                                                 constructed and are no longer expected                                                                          BSER as determined by the EPA.
                                                                                                         guidelines regarding state plans that the               Section X.C describes the presumptive
                                                 to be constructed.                                      EPA is finalizing in this action.                       methodology for calculating the
                                                    The Plant Washington project was to                    State plan submissions under these                    standards of performance for affected
                                                 be an 850 MW supercritical coal-fired                   emission guidelines are governed by the                 EGUs based on subcategory assignment,
                                                 EGU. The Environmental Protection                       requirements of 40 CFR part 60, subpart                 as well as requirements related to
                                                 Division (EPD) of the Georgia                           Ba (subpart Ba).906 The EPA finalized
                                                 Department of Natural Resources issued                                                                          invoking RULOF to apply a less
                                                                                                         revisions to certain aspects of 40 CFR                  stringent standard of performance than
                                                 air and water permits for the project in                part 60, subpart Ba, in November 2023,
                                                 2010 and issued amended permits in                                                                              results from the EPA’s presumptive
                                                                                                         Adoption and Submittal of State Plans                   methodology. Section X.C also describes
                                                 2014.902 903 904 In 2016, developers filed              for Designated Facilities: Implementing
                                                 a request with the EPD to extend the                                                                            requirements for increments of progress
                                                                                                         Regulations Under Clean Air Act                         for affected EGUs in certain
                                                 construction commencement deadline                      Section 111(d) (final subpart Ba).907
                                                 specified in the amended permit, but                                                                            subcategories and for establishing
                                                                                                         Unless expressly amended or                             milestones and reporting obligations for
                                                 the director of the EPD denied the                      superseded in these emission
                                                 request, effectively canceling the                                                                              affected EGUs that plan to permanently
                                                                                                         guidelines, the provisions of subpart Ba                cease operations, as well as testing and
                                                 approval of the construction permit and                 apply. This section explicitly addresses
                                                 revoking the plant’s amended air quality                                                                        monitoring requirements. In section
                                                                                                         any instances where the EPA is adding                   X.D, the EPA describes how states are
                                                 permit.905                                              to, superseding, or otherwise varying                   permitted to include flexibilities such as
                                                                                                         the requirements of subpart Ba for the                  emission trading and averaging as
                                                 Fairbanks, Institute of Northern Engineering, ‘‘Cook    purposes of these particular emission
                                                 Inlet Region Low Carbon Power Generation With                                                                   compliance measures for affected EGUs
                                                 Carbon Capture, Transport, and Storage Feasibility
                                                                                                         guidelines.                                             in their state plans. Finally, section X.E
                                                 Study,’’ https://ine.uaf.edu/media/391133/cook-           As noted in the preamble of the                       describes what must be included in
                                                 inlet-low-carbon-power-feasibility-study-uaf-           proposed action, under the Tribal                       state plans, including plan components
                                                 pcorfinal.pdf; Herz, Nathaniel, ‘‘Could a new
                                                 Alaska coal power plant be climate friendly? An           906 40 CFR 60.20a–60.29a.
                                                                                                                                                                 specific to these emission guidelines
                                                 $11 million study aims to find out,’’ Northern             907 88 FR 80480 (November 17, 2023). At the time     and requirements for conducting
                                                 Journal (December 29, 2923), republished in                                                                     meaningful engagement, as well as the
                                                                                                         of promulgation of these emission guidelines, the
                                                 Anchorage Daily News, https://www.adn.com/
                                                 business-economy/energy/2023/12/29/could-a-new-
                                                                                                         November 2023 updates to the CAA section 111(d)         timing of state plan submission and EPA
                                                                                                         implementing regulations are subject to litigation in   review of state plans and plan revisions.
                                                 alaska-coal-power-plant-be-climate-friendly-an-11-
                                                                                                         the D.C. Circuit Court of Appeals. West Virginia v.
                                                 million-study-aims-to-find-out/.
                                                   902 https://www.gpb.org/news/2010/07/26/judge-
                                                                                                         EPA, D.C. Circuit No. 24–1009. The outcome of that         In this section of the preamble, the
                                                                                                         litigation will not affect any of the distinct          term ‘‘affected EGU’’ means any existing
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                                                 rejects-coal-plant-permits.                             requirements being finalized in these emission
                                                   903 https://www.southernenvironment.org/press-
                                                                                                         guidelines, which are not directly dependent on
                                                                                                                                                                 fossil fuel-fired steam generating unit
                                                 release/court-rules-ga-failed-to-set-safe-limits-on-    those procedural requirements. Moreover,                that meets the applicability criteria
                                                 pollutants-from-coal-plant/.                            regardless of the outcome of that litigation, the       described in section VII.B of this
                                                   904 https://permitsearch.gaepd.org/
                                                                                                         necessary regulatory framework will exist for states    preamble. Affected EGUs are covered by
                                                 permit.aspx?id=PDF-OP-22139.                            to develop and submit state plans that include
                                                   905 https://www.southernenvironment.org/wp-           standards of performance for affected EGUs
                                                                                                                                                                 the emission guidelines being finalized
                                                 content/uploads/legacy/words_docs/EPD_Plant_            pursuant to these emission guidelines and prior         in this action under 40 CFR part 60
                                                 Washington_Denial_Letter.pdf.                           implementing regulations.                               subpart UUUUb.


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                                                 B. Requirement for State Plans To                       discretion to establish the applicable               finally, this section describes emission
                                                 Maintain Stringency of the EPA’s BSER                   standards of performance for affected                testing and monitoring requirements.
                                                 Determination                                           EGUs in their state plans, the structure                Affected EGUs that meet the
                                                    As explained in section V.C of this                  and purpose of CAA section 111 and the               applicability requirements discussed in
                                                 preamble, CAA section 111(d)(1)                         EPA’s regulations require that those                 section VII.B must be addressed in the
                                                 requires the EPA to establish                           plans achieve an equivalent level of                 state plan. For each affected EGU within
                                                 requirements for state plans that, in                   emission reductions as applying the                  the state, the state plan must include a
                                                 turn, must include standards of                         EPA’s presumptive standards of                       standard of performance and
                                                 performance for existing sources. Under                 performance to each of those sources                 compliance schedule. That is, each
                                                 CAA section 111(a)(1), a standard of                    (again, after accounting for any                     individual unit must have its own,
                                                 performance is ‘‘a standard for                         application of RULOF). Section X.C of                source-specific standard of performance
                                                 emissions of air pollutants which                       this preamble addresses how states                   and compliance schedule. Coal-fired
                                                 reflects the degree of emission                         maintain the level of emission reduction             affected EGUs must have increments of
                                                 limitation achievable through the                       when establishing standards of                       progress in the state plan and, if they
                                                 application of the best system of                       performance, and section X.D of this                 plan to permanently cease operation
                                                 emission reduction which . . . the                      preamble addresses how states maintain               and to rely on such cessation of
                                                 Administrator determines has been                       the level of emission reduction when                 operation for purposes of these emission
                                                 adequately demonstrated.’’ That is, the                 incorporating compliance flexibilities.              guidelines, an enforceable commitment
                                                 EPA has the responsibility to determine                    Additionally, consistent with the                 and reporting obligations and
                                                 the BSER for a given category or                        understanding that the purpose of CAA                milestones. State plans must also
                                                 subcategory of sources and to determine                 section 111 is for affected sources to               specify the test methods and procedure
                                                 the degree of emission limitation                       reduce their emissions through cleaner               for determining compliance with the
                                                 achievable through application of the                   operation, the Agency is also clarifying             standards of performance.
                                                                                                         that emissions reductions from sources                  While a presumptive methodology for
                                                 BSER to affected sources.908 The level of
                                                                                                         not affected by the final emission                   standards of performance and other
                                                 emission reductions required of existing
                                                                                                         guidelines may not be counted towards                requirements were proposed for existing
                                                 sources under CAA section 111 is
                                                                                                         compliance with either a source-specific             combustion turbine EGUs, the EPA is
                                                 reflected in the EPA’s presumptive
                                                                                                         or aggregate standard of performance. In             not finalizing emission guidelines for
                                                 standards of performance,909 which
                                                                                                         other words, state plans may not                     such EGUs at this time; therefore, the
                                                 achieve emission reductions under
                                                                                                         account for emission reductions at non-              following discussion will not address
                                                 these emission guidelines through
                                                                                                         affected fossil fuel-fired EGUs, emission            the proposed combustion turbine EGU
                                                 requiring cleaner performance by
                                                                                                         reductions due to the operation or                   requirements or comments pertaining to
                                                 affected sources.
                                                                                                         installation of other electricity-                   these proposed requirements. In
                                                    States use the EPA’s presumptive
                                                                                                         generating resources not subject to these            addition, the EPA is not finalizing the
                                                 standards of performance to establish
                                                                                                         emission guidelines for the purposes of              imminent- and near-term coal-fired
                                                 requirements for affected sources in
                                                                                                         demonstrating compliance with affected               subcategories for coal-fired steam
                                                 their state plans. In general, the
                                                                                                         EGUs’ standards of performance.                      generating units; therefore, the
                                                 standards of performance that states
                                                                                                                                                              following discussion will not address
                                                 establish for affected sources must be no               C. Establishing Standards of                         these proposed subcategories or
                                                 less stringent than the presumptive                     Performance                                          comments pertaining to these proposed
                                                 standards of performance in the
                                                                                                            This section addresses several topics             subcategories. Similarly, the EPA is not
                                                 applicable emission guidelines.910 Thus,                                                                     finalizing emission guidelines for states
                                                                                                         related to standards of performance in
                                                 in order for the EPA to find a state plan               state plans. First, this section describes           and territories in non-contiguous areas,
                                                 ‘‘satisfactory,’’ that plan must address                affected EGUs’ eligibility for the                   and is therefore not finalizing the
                                                 each affected EGU within the state and                  subcategories in the final emission                  proposed subcategories for non-
                                                 must achieve at least the level of                      guidelines and how to calculate                      continental oil-fired steam generating
                                                 emission reduction that would result if                 presumptive standards of performance,                units or associated requirements nor
                                                 each affected EGU was achieving its                     including calculating unit-specific                  addressing comments pertaining to
                                                 presumptive standard of performance,                    baseline emission performance. Second,               these subcategories in this section.
                                                 after accounting for any application of                 it summarizes compliance date
                                                 RULOF.911 That is, while states have the                                                                     1. Application of Presumptive
                                                                                                         information as well as how states can                Standards
                                                    908 See, e.g., West Virginia v. EPA, 597 U.S. 697,
                                                                                                         provide for a compliance date extension
                                                                                                         mechanism in their state plans. Third,                  This section of the preamble describes
                                                 720 (2022) (‘‘In devising emissions limits for power
                                                 plants, EPA first ‘determines’ the ‘best system of      this section describes how states may                the EPA’s approach to providing
                                                 emission reduction’ that—taking into account cost,      consider RULOF to apply a less                       presumptive standards of performance
                                                 health, and other factors—it finds ‘has been
                                                                                                         stringent standard of performance or a               for each of the subcategories of affected
                                                 adequately demonstrated.’ The Agency then                                                                    EGUs under these emission guidelines,
                                                 quantifies ‘the degree of emission limitation           longer compliance schedule to a
                                                 achievable’ if that best system were applied to the     particular affected EGU. Fourth, it                  including establishing baseline emission
                                                 covered source.’’) (internal citations omitted).        explains how states must establish                   performance. As explained in section
                                                    909 See 40 CFR 60.22a(b)(5).
                                                                                                         certain increments of progress for                   X.B of this preamble, CAA section
                                                    910 40 CFR 60.24a(c).
                                                                                                         affected EGUs installing control                     111(a)(1) requires that standards of
                                                    911 As explained in section X.C.2 of this
                                                                                                                                                              performance reflect the degree of
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                                                 preamble, states may invoke RULOF to apply a less       technology to comply with standards of
                                                 stringent standard of performance to a particular       performance, as well as milestones and               emission limitation achievable through
                                                 affected EGU when the state demonstrates that the       reporting obligations for affected EGUs              application of the BSER, as determined
                                                 EGU cannot reasonably achieve the degree of             demonstrating that they plan to                      by the EPA. For each subcategory of
                                                 emission limitation determined by the EPA. In this                                                           affected EGUs, the EPA has determined
                                                 case, the state plan may not necessarily achieve the    permanently cease operations. And,
                                                 same stringency as each source achieving the EPA’s
                                                                                                                                                              a BSER and degree of emission
                                                 presumptive standards of performance because            would have standards of performance less stringent   limitation and is providing, in these
                                                 affected EGUs for which RULOF has been invoked          than the EPA’s presumptive standards.                emission guidelines, a methodology for


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                                                 establishing presumptively approvable                   methodology for establishing baseline        chosen by states when reviewing state
                                                 standards of performance (also referred                 emission performance for an affected         plan submissions, the EPA intends to
                                                 to as ‘‘presumptive standards of                        EGU will result in a value that is unique    defer to a state’s reasonable exercise of
                                                 performance’’ or ‘‘presumptive                          to each affected EGU. To establish           discretion as to which 8-quarter period
                                                 standards’’). Appropriate use of these                  baseline emission performance for an         is representative.
                                                 methodologies will result in standards                  affected EGU in all the subcategories           The EPA is finalizing the use of 8
                                                 of performance that achieve the                         except the low load natural gas- and oil-    quarters during the 5-year period prior
                                                 requisite degree of emission limitation                 fired subcategories, the EPA is finalizing   to the date the final rule is published in
                                                 and therefore meet the statutory                        a determination that a state will use the    the Federal Register as the relevant
                                                 requirements of section 111(a)(1) and                   CO2 mass emissions and corresponding         period for the baseline methodology for
                                                 the corresponding regulatory                            electricity generation data for a given      several reasons. First, each affected EGU
                                                 requirement that standards of                           affected EGU from any continuous 8-          has unique operational characteristics
                                                 performance must generally be no less                   quarter period from 40 CFR part 75           that affect the emission performance of
                                                 stringent that the corresponding                        reporting within the 5-year period           the EGU (load, geographic location,
                                                 emission guidelines.912 40 CFR                          immediately prior to the date the final      hours of operation, coal rank, unit size,
                                                 60.24a(c).                                              rule is published in the Federal             etc.), and the EPA believes each affected
                                                    Thus, a state, when establishing                     Register. For affected EGUs in either the    EGU’s emission performance baseline
                                                 standards of performance for affected                   low load natural gas-fired subcategory       should be representative of the source-
                                                 EGUs in its plan, must identify each                    or the low load oil-fired subcategory, the   specific conditions of the affected EGU
                                                 affected EGU in the state and specify                   EPA is finalizing a determination that a     and how it has typically operated.
                                                 into which subcategory each affected                                                                 Additionally, allowing a state to choose
                                                                                                         state will use the CO2 mass emissions
                                                 EGU falls. The state would then use the                                                              (likely in consultation with the owners
                                                                                                         and corresponding heat input for a
                                                 corresponding methodology for the                                                                    or operators of affected EGUs) the 8-
                                                                                                         given affected EGU from any continuous
                                                 given subcategory to establish the                                                                   quarter period for assessing baseline
                                                                                                         8-quarter period from 40 CFR part 75
                                                 presumptively approvable standard of                                                                 performance can avoid situations in
                                                                                                         reporting within the 5-year period
                                                 performance for each affected EGU.                                                                   which a prolonged period of atypical
                                                                                                         immediately prior to the date the final
                                                    As discussed in section X.C.2 of this                                                             operating conditions would otherwise
                                                                                                         rule is published in the Federal
                                                 preamble, states may apply less                                                                      skew the emissions baseline. Relatedly,
                                                                                                         Register. This period is based on the        the EPA believes that, by using total
                                                 stringent standards of performance to                   NSR program’s definition of ‘‘baseline
                                                 particular affected EGUs in certain                                                                  mass CO2 emissions and total electric
                                                                                                         actual emissions’’ for existing electric     generation or heat input for an affected
                                                 circumstances based on consideration of                 steam generating units. See 40 CFR
                                                 RULOF. States also have the authority to                                                             EGU over an 8-quarter period, any
                                                                                                         52.21(b)(48)(i). Eight quarters of 40 CFR    relatively short-term variability of data
                                                 deviate from the methodology provided                   part 75 data corresponds to a 2-year
                                                 in these emission guidelines for                                                                     due to seasonal operations or periods of
                                                                                                         period, but the EPA is finalizing this       startup and shutdown, or other
                                                 presumptively approvable standards in                   continuous 8-quarter period as it
                                                 order to apply a more stringent standard                                                             anomalous conditions, will be averaged
                                                                                                         corresponds to quarterly reporting           into the calculated level of baseline
                                                 of performance (e.g., a state decides that              according to 40 CFR part 75.
                                                 an affected EGU in the medium-term                                                                   emission performance. The baseline-
                                                                                                         Functionally, the EPA expects states to      setting approach also aligns with the
                                                 coal-fired subcategory should comply                    utilize the most representative
                                                 with a standard of performance                                                                       reporting and compliance requirements
                                                                                                         continuous 8-quarter period of data          in the final emission guidelines. Using
                                                 corresponding to co-firing 50 percent                   from the 5-year period immediately
                                                 natural gas instead of 40 percent).                                                                  total mass CO2 emissions and total
                                                                                                         preceding the date the final rule is         electric generation or heat input
                                                 Application of a standard of                            published in the Federal Register. For
                                                 performance that is more stringent than                                                              provides a simple and streamlined
                                                                                                         the 8 quarters of data, a state would        approach for calculating baseline
                                                 provided by the EPA’s presumptive                       divide the total CO2 emissions (in the
                                                 methodology does not require                                                                         emission performance without the need
                                                                                                         form of pounds) over that continuous         to sort and filter non-representative
                                                 application of the RULOF provisions.913                 time period by either the total gross        data; any minor amount of non-
                                                 a. Establishing Baseline Emission                       electricity generation (in the form of       representative data will be subsumed
                                                 Performance for Presumptive Standards                   MWh) or, for affected EGUs in either the     and accounted for through implicit
                                                                                                         low load natural gas-fired subcategory       averaging over the course of the 8-
                                                    For each subcategory, the                            or the low load oil-fired subcategory, the
                                                 methodology to calculate a standard of                                                               quarter period. Moreover, by not sorting
                                                                                                         total heat input (in the form of MMBtu)      or filtering the data, this approach
                                                 performance entails establishing a                      over that same time period to calculate
                                                 baseline of CO2 emissions and                                                                        reduces the need for discretion in
                                                                                                         baseline CO2 emission performance in         assessing whether the data is
                                                 corresponding electricity generation or                 either lb of CO2 per MWh or lb of CO2        appropriate to use. Commenters
                                                 heat input for an affected EGU and then
                                                                                                         per MMBtu. As an example, a state            generally supported the proposed
                                                 applying the degree of emission
                                                                                                         establishing baseline emission               methodology for setting a baseline,
                                                 limitation achievable through the
                                                                                                         performance for an affected EGU in the       particularly saying that they prefer not
                                                 application of the BSER (as established
                                                                                                         medium-term coal-fired subcategory in        to have to sort or filter any data.
                                                 in section VII.C of this preamble). The
                                                                                                         the year 2023 would start by evaluating         The EPA believes that using this
                                                                                                         the CO2 emissions and electricity
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                                                   912 Should a state decide to establish a standard
                                                                                                                                                      baseline-setting approach as the basis
                                                 of performance for an affected EGU using a              generation data for the affected EGU for     for establishing presumptively
                                                 methodology other than that provided by the EPA         2018 through 2022 and choose a               approvable standards of performance
                                                 in these emission guidelines, the state would have      continuous 8-quarter period that it          will provide certainty for states, as well
                                                 to demonstrate that the resulting standard of           deems to be the most appropriate             as transparency and a streamlined
                                                 performance achieves equivalent emission
                                                 reductions as application of the EPA’s presumptive      representation of the operation of that      process for state plan development.
                                                 standard of performance.                                affected EGU. While the EPA will             While this approach is specifically
                                                   913 88 FR 80529–31 (November 17, 2023).               evaluate the choice of baseline periods      designed to be flexible enough to


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                                                 accommodate unit-specific                               instrument.914 Upon EPA approval of                     first compliance period will be January
                                                 circumstances, states retain the ability                the state plan, that commitment will                    1, 2030, through December 31, 2030. For
                                                 to deviate from this methodology. The                   become federally- and citizen-                          units with a compliance date of January
                                                 EPA believes that the instances in                      enforceable.                                            1, 2032, the first compliance period will
                                                 which a state may need to use an                           For affected oil- and natural gas-fired              be January 1, 2032, through December
                                                 alternate baseline-setting methodology                  steam generating units, subcategories                   31, 2032. The compliance
                                                 will be limited to anticipated changes in               are defined by load level and the type                  demonstration must occur by March 1 of
                                                 operation, (i.e., circumstances in which                of fuel fired. There are three                          the following year (i.e., for the 2030
                                                 historical emission performance is not                  subcategories for natural gas- and oil-                 compliance period, by March 1, 2031).
                                                 representative of future emission                       fired steam generating units (base load,                   In addition, the EPA is finalizing a
                                                 performance). States that wish to vary                  intermediate load, and low load).                       requirement that standards of
                                                 the baseline calculation for an affected                Because subcategory applicability is                    performance must be established as
                                                 EGU based on anticipated changes in                     determined retrospectively, as opposed                  either a rate or, for affected EGUs in
                                                 operation of that EGU, when those                       to prospectively, and because the                       certain subcategories, a mass of
                                                 changes result in a less stringent                      standards of performance for oil- and                   emissions. If a state chooses to allow
                                                 standard of performance, must use the                   natural gas-fired affected EGUs are                     mass-based compliance for certain
                                                 RULOF mechanism, which is designed                      based on BSERs that do not require add-                 affected EGUs it must first calculate the
                                                 to address such contingencies.                          on controls, it is not necessary to require             rate-based emission limitation that
                                                                                                         these sources to take enforceable                       corresponds to the presumptive
                                                    Comment: Commenters sought
                                                                                                         utilization commitments limiting them                   standard of performance, and then
                                                 clarification as to whether the
                                                                                                         to just one subcategory in order to                     explain how it translated that rate-based
                                                 methodology referred to the previous 5                  implement and enforce their standards.                  emission limitation into the mass that
                                                 calendar years or the 5-year period                     For steam generating units that meet the                constitutes an affected EGU’s standard
                                                 ending on the most recent quarter                       definition of natural gas- or oil-fired,                of performance. See section X.D of this
                                                 reported under 40 CFR part 75 prior to                  and that either retain the capability to                preamble for more information on
                                                 publication of the final emission                       fire coal after the date this final rule is             demonstrating compliance where states
                                                 guidelines.                                             published in the Federal Register, that                 are incorporating compliance
                                                    Response: The EPA clarifies that the                 fired any coal during the 5-year period                 flexibilities.
                                                 methodology refers to the 5-year period                 prior to that date, or that will fire any
                                                 ending on the most recent quarter                                                                               i. Long-Term Coal-Fired Steam
                                                                                                         coal after that date and before January
                                                 reported under 40 CFR part 75 prior to                                                                          Generating Units
                                                                                                         1, 2030, the plan must include a
                                                 publication of the final emission                       requirement to remove the capability to                    This section describes the EPA’s
                                                 guidelines in the Federal Register.                     fire coal before January 1, 2030.                       methodology for establishing
                                                                                                            The EPA is finalizing a requirement                  presumptively approvable standards of
                                                 b. Presumptive Standards for Fossil                                                                             performance for long-term coal-fired
                                                                                                         that compliance be demonstrated
                                                 Fuel-Fired Steam Generating Units                                                                               steam generating units. Affected coal-
                                                                                                         annually. For affected EGUs in all
                                                    As described in section VII of this                  subcategories except the low load                       fired steam generating units that do not
                                                 preamble, the EPA is finalizing separate                natural gas- and oil-fired subcategory,                 meet the specifications of the medium-
                                                 subcategories of existing fossil fuel-fired             an affected EGU must demonstrate                        term coal-fired EGU subcategory are
                                                 steam generating units based on fuel                    compliance based on the lb CO2/MWh                      necessarily long-term units, and have a
                                                 type (i.e., coal-fired, natural gas-fired, or           emission rate derived by dividing the                   BSER of CCS with 90 percent capture
                                                 oil-fired). Fuel type is based on the                   total reported CO2 mass emissions by                    and a degree of emission limitation of
                                                 status of the source on January 1, 2030,                the total reported electric generation                  90 percent capture of the mass of CO2
                                                 and annual fuel use reporting is                        during the compliance period                            in the flue gas (i.e., the mass of CO2 after
                                                 required after that date as a part of                   (corresponding to 1 calendar year),                     the boiler but before the capture
                                                 compliance. The EPA is further creating                 which is consistent with the expression                 equipment) over an extended period of
                                                 a subcategory for coal-fired steam                      of the degree of emission limitation for                time and an 88.4 percent reduction in
                                                 generating units operating in the                       each subcategory in sections VII.C.3 and                emission rate on a lb CO2/MWh-gross
                                                 medium term, and further                                VII.D.3. For affected EGUs in the low                   basis over an extended period of time
                                                 subcategorizing natural gas- and oil-                   load natural gas- and oil-fired                         (i.e., an annual calendar-year basis). The
                                                 fired steam generating units by load                    subcategory, an affected EGU must                       EPA is finalizing a determination that
                                                 level.                                                  demonstrate compliance based on the lb                  where states use the methodology
                                                                                                         CO2/MMBtu emission rate derived by                      described here to establish standards of
                                                    Consistent with CAA section                          dividing the total reported CO2 mass                    performance for affected EGUs in this
                                                 111(d)(1)’s requirement that state plans                emissions by the total reported heat                    subcategory, those established standards
                                                 provide for the implementation and                      input during the compliance period                      will be presumptively approvable when
                                                 enforcement of standards of                             (again, corresponding to 1 calendar                     included in a state plan submission.
                                                 performance, for affected EGUs in the                   year), consistent with the expression of                   Establishing a standard of
                                                 medium-term subcategory, states must                    the degree of emission limitation for the               performance for an affected coal-fired
                                                 include sources’ enforceable                            subcategory in section VII.D.3.915 In                   EGU in this subcategory consists of two
                                                 commitments to cease operating before                   other words, for units with a                           steps: establishing a source-specific
                                                 January 1, 2039, in their plans. The state                                                                      level of baseline emission performance
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                                                                                                         compliance date of January 1, 2030, the
                                                 plan must specify the calendar date by                                                                          (as described in section X.C.1.a of this
                                                 which the affected EGU plans to cease                     914 40 CFR 60.26a.                                    preamble); and applying the degree of
                                                 operation; to be included in a state plan,                 915 If the state plan incorporates compliance        emission limitation, based on the
                                                 a commitment to cease operations by                     flexibilities like emission averaging and trading, an   application of the BSER, to that level of
                                                 such a date must be enforceable by the                  affected EGU must demonstrate compliance
                                                                                                         consistent with the expression of the respective
                                                                                                                                                                 baseline emission performance.
                                                 state, whether through state rule, agreed               flexibility. See section X.D of this preamble for       Implementation of CCS with a capture
                                                 order, permit, or other legal                           more information.                                       rate of 90 precent translates to a degree


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                                                 of emission limitation comprising of an                 EGU’s level of baseline emission              ensure that any issues with
                                                 88.4 percent reduction in CO2 emission                  performance is 2,000 lbs CO2 per MWh,         implementation are identified in a
                                                 rate compared to the baseline level of                  it will have a presumptively approvable       timely and efficient manner. These
                                                 emission performance. Using the                         standard of performance of 1,680 CO2          milestones are described in detail in
                                                 complement of 88.4 percent (i.e., 11.6                  lbs per MWh (2,000 lbs CO2 per MWh            section X.C.4 of this preamble. Affected
                                                 percent) and multiplying it by the                      multiplied by 0.84).                          EGUs in this subcategory would also be
                                                 baseline level of emission performance                     For medium-term coal-fired steam           required to comply with the federally
                                                 results in the presumptively approvable                 generating units that have an amount of       enforceable increments of progress
                                                 standard of performance. For example,                   co-firing that is reflected in the baseline   described in section X.C.3 of this
                                                 if a long-term coal-fired EGU’s level of                operation, the EPA is finalizing a            preamble.
                                                 baseline emission performance is 2,000                  requirement that states account for such
                                                                                                         preexisting co-firing in adjusting the        iii. Natural Gas-Fired Steam Generating
                                                 lbs CO2 per MWh, it will have a
                                                                                                         degree of emission limitation. If, for        Units and Oil-Fired Steam Generating
                                                 presumptively approvable standard of
                                                                                                         example, an EGU co-fires natural gas at       Units
                                                 performance of 232 lbs CO2 per MWh
                                                 (2,000 lbs CO2 per MWh multiplied by                    a level of 10 percent of the total annual        This section describes the EPA’s final
                                                 0.116).                                                 heat input during the applicable 8-           methodology for presumptively
                                                    The EPA is also finalizing a                         quarter baseline period, the                  approvable standards of performance for
                                                 requirement that affected coal-fired                    corresponding degree of emission              the following subcategories of affected
                                                 EGUs in the long-term subcategory                       limitation would be adjusted to a 12          natural gas-fired and oil-fired steam
                                                 comply with federally enforceable                       percent reduction in CO2 emission rate        generating units: low load natural gas-
                                                 increments of progress, which are                       on a lb CO2/MWh-gross basis compared          fired steam generating units,
                                                 described in section X.C.3 of this                      to the baseline level of emission             intermediate load natural gas-fired
                                                 preamble.                                               performance (i.e., an additional 30           steam generating units, base load
                                                                                                         percent of natural gas by heat input) to      natural gas-fired steam generating units,
                                                 ii. Medium-Term Coal-Fired Steam                                                                      low load oil-fired steam generating
                                                                                                         reflect the preexisting level of natural
                                                 Generating Units                                                                                      units, intermediate load oil-fired steam
                                                                                                         gas co-firing. This results in a standard
                                                    This section describes the EPA’s                     of performance based on the degree of         generating units, and base load oil-fired
                                                 methodology for establishing                            emission limitation achieving an              steam generating units. The final
                                                 presumptively approvable standards of                   additional 30 percent co-firing beyond        definitions of these subcategories are
                                                 performance for medium-term coal-fired                  the 10 percent that is accounted for in       discussed in section VII.D.1 of this
                                                 steam generating units. Affected coal-                  the baseline. The EPA believes this           preamble. The final presumptive
                                                 fired steam generating units that plan to               approach is a more straightforward            standards of performance are based on
                                                 commit to permanently cease operations                  mathematical adjustment than adjusting        degrees of emission limitation that units
                                                 before January 1, 2039, have a BSER of                  the baseline to appropriately reflect a       are currently achieving, consistent with
                                                 40 percent natural gas co-firing on a                   preexisting level of co-firing.               the proposed BSER of routine methods
                                                 heat input basis. The EPA is finalizing                    The standard of performance for the        of operation and maintenance, which
                                                 a determination that where states use                   medium-term coal-fired subcategory is         amounts to a proposed degree of
                                                 the methodology described here to                       based on the degree of emission               emission limitation of no increase in
                                                 establish standards of performance for                  limitation that is achievable through         emission rate.
                                                 an affected EGU in this subcategory,                    application of the BSER to the affected          For natural gas-fired steam generating
                                                 those established standards of                          EGUs in the subcategory and consists          units, the EPA proposed fixed
                                                 performance would be presumptively                      exclusively of the rate-based emission        presumptive standards of 1,500 lb CO2/
                                                 approvable when included in a state                     limitation. However, the BSER                 MWh-gross for intermediate load units
                                                 plan submission.                                        determination for this subcategory is         (solicited comment on values between
                                                    Establishing a standard of                           predicated on the assumption that             1,400 and 1,600 lb/MWh-gross) and
                                                 performance for an affected EGU in this                 affected EGUs within it will                  1,300 lb CO2/MWh-gross for base load
                                                 subcategory consists of two steps:                      permanently cease operations prior to         units (solicited comment on values
                                                 establishing a source-specific level of                 January 1, 2039. If a state decides to        between 1,250 and 1,400 lb CO2/MWh-
                                                 baseline emission performance (as                       place an affected EGU in the medium-          gross). For oil-fired steam generating
                                                 described in section X.C.1.a); and                      term coal-fired subcategory, the state        units, the EPA proposed fixed
                                                 applying the degree of emission                         plan must include that EGU’s                  presumptive standards of 1,500 lb CO2/
                                                 limitation, based on the application of                 commitment to permanently cease               MWh-gross for intermediate load units
                                                 the BSER, to that level of baseline                     operating as an enforceable requirement.      (solicited comment on values between
                                                 emission performance. Implementation                    The state plan must also include              1,400 and 2,000 lb/MWh-gross) and
                                                 of natural gas co-firing at a level of 40               provisions that provide for the               1,300 lb CO2/MWh-gross for base load
                                                 percent of total annual heat input                      implementation and enforcement of this        units (solicited comment on values
                                                 translates to a level of stringency of a 16             commitment, including requirements            between 1,250 and 1,800 lb CO2/MWh-
                                                 percent reduction in emission rate on a                 for monitoring, reporting, and                gross).
                                                 lb CO2/MWh-gross basis over an                          recordkeeping.                                   The EPA is finalizing presumptive
                                                 extended period of time (i.e., an annual                   Affected coal-fired EGUs that are          standards of performance for affected
                                                 calendar-year basis) compared to the                    relying on commitments to cease               natural gas-fired and oil-fired steam
                                                                                                         operating must comply with the                generating units in lieu of
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                                                 baseline level of emission performance.
                                                 Using the complement of 16 percent                      milestones and reporting requirements         methodologies that states would use to
                                                 (i.e., 84 percent) and multiplying it by                as specified under these emission             establish presumptive standards of
                                                 the baseline level of emission                          guidelines. The EPA intends these             performance. This is largely because of
                                                 performance results in the                              milestones to assist affected EGUs in         the low variability in emissions data at
                                                 presumptively approvable standard of                    ensuring they are completing the              intermediate and base load for these
                                                 performance for the affected EGU. For                   necessary steps to comply with their          units and relatively consistent
                                                 example, if a medium-term coal-fired                    state plan requirements and to help           performance between these units at


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                                                 those load levels, as discussed in                      baseline emission rate, with some                The EPA refers to January 1, 2030,
                                                 section VII.D of this preamble and                      additional flexibilities to account for       and January 1, 2032, as ‘‘compliance
                                                 detailed in the final TSD, Natural Gas-                 changes in load.916 The commenter also        dates,’’ ‘‘final compliance dates,’’ and
                                                 and Oil-fired Steam Generating Units,                   requested that, if the EPA were to            ‘‘initial compliance dates’’ in various
                                                 which supports the establishment of a                   finalize presumptive standards, then the      parts of this preamble. In each case, the
                                                 generally applicable standard of                        higher values that the EPA solicited          EPA means that this is the date on
                                                 performance.                                            comment on for natural gas-fired units        which affected EGUs must start
                                                    For intermediate load natural gas-                   should be finalized. The commenter            monitoring and reporting their
                                                 fired units (annual capacity factors                    similarly requested that, if the EPA were     emissions and other relevant data for
                                                 greater than or equal to 8 percent and                  to finalize presumptive standards, then       purposes of demonstrating compliance
                                                 less than 45 percent), annual emission                  the higher values that the EPA solicited      with their standards of performance
                                                 rates are less than 1,600 lb CO2/MWh-                   comment on for oil-fired units should be      under these emission guidelines.
                                                 gross for more than 95 percent of units.                finalized—however, the commenter also         Affected EGUs demonstrate compliance
                                                 Therefore, the EPA is finalizing the                    noted that its two sources that are           on a calendar year basis, i.e., the
                                                 presumptive standard of performance of                  currently oil-firing operate below an 8       compliance period for affected EGUs is
                                                 an annual calendar-year emission rate of                percent annual capacity factor and            1 calendar year. Therefore, affected
                                                 1,600 lb CO2/MWh-gross for these units.                 would therefore not be subject to the         EGUs will not have to demonstrate that
                                                    For base load natural gas-fired units                intermediate load or base load                they are achieving their standards of
                                                 (annual capacity factors greater than or                presumptive standard.                         performance on January 1, 2030, or
                                                 equal to 45 percent), annual emission                      Response: The EPA is finalizing            January 1, 2032, as that demonstration
                                                 rates are less than 1,400 lb CO2/MWh-                   presumptive standards for natural gas-        is made only at the end of the
                                                 gross for more than 95 percent of units.                fired steam generating units of 1,400 lb      compliance period, i.e., at the end of the
                                                 Therefore, the EPA is finalizing the                    CO2/MWh-gross for base load units and         calendar year. But, again, these are the
                                                 presumptive standard of performance of                  1,600 lb CO2/MWh-gross for                    dates on which affected EGUs in the
                                                 an annual calendar-year emission rate of                intermediate load units. The EPA is           relevant subcategories must start
                                                 1,400 lb CO2/MWh-gross for these units.                 finalizing the same standards for oil-        monitoring and reporting for purposes
                                                    In the continental U.S., there are few               fired steam generating units for the          of their future compliance
                                                 if any oil-fired steam generating units                 reasons discussed in the preceding text.      demonstrations with their standards of
                                                 that operate with intermediate or high                  Few, if any, oil-fired units operate as       performance.
                                                 utilization. Liquid-oil-fired steam                     intermediate load or base load units, as
                                                 generating units with 24-month capacity                                                               d. Compliance Date Extension
                                                                                                         acknowledged by the commenter. Those
                                                 factors less than 8 percent do qualify for                                                            Mechanism
                                                                                                         oil-fired units that have operated near
                                                 a work practice standard in lieu of                     the threshold for intermediate load have         The EPA is finalizing provisions that
                                                 emission requirements under the MATS                    typically fired a large proportion of         allow states to include a mechanism to
                                                 (40 CFR part 63, subpart UUUUU). If                     natural gas and operated at emission          extend the compliance date for certain
                                                 oil-fired units operated at higher annual               rates consistent with the final               affected EGUs in their state plans. This
                                                 capacity factors, it is likely they would               presumptive standards.                        mechanism is only available for
                                                 do so with substantial amounts of                                                                     situations in which an affected EGU
                                                 natural gas-firing and have emission                    c. Compliance Dates                           encounters a delay in installation of a
                                                 rates that are similar to steam generating                 This section summarizes information        control technology that makes it
                                                 units that fire only natural gas at those               on the compliance dates, or the first         impossible to commence compliance by
                                                 levels of utilization. There are a few                  date on which the standard of                 the date specified in section X.C.1.c of
                                                 natural gas-fired steam generating units                performance applies, that the EPA is          this preamble. The owner or operator
                                                 that are near the threshold for qualifying              finalizing for each subcategory. As           must provide documentation of the
                                                 as oil-fired units (i.e., firing more than              discussed in section X.C.1.b,                 circumstances that precipitated the
                                                 15 percent oil in a given year) but that                compliance is required to be                  delay (or the anticipated delay) and
                                                 on average fire more than 90 percent of                 demonstrated on an annual (i.e.,              demonstrate that those circumstances
                                                 their heat input from natural gas.                      calendar year) basis.                         were or are entirely beyond the owner
                                                 Therefore, the EPA is finalizing the                       The EPA proposed a compliance date         or operator’s control and that the owner
                                                 same presumptive standards of                           of January 1, 2030, for all affected steam    or operator has no ability to remedy the
                                                 performance for oil-fired steam                         generating units. As discussed in             delay. These circumstances may
                                                 generating units as for natural gas-fired               section VII.C.1.a.i(E) of this preamble,      include, but are not limited to,
                                                 units (1,400 lb CO2/MWh-gross for base                  the EPA received comments that this           permitting-related delays or delays in
                                                 load units and 1,600 lb CO2/MWh-gross                   compliance date was not achievable for        delivery or construction of parts
                                                 for intermediate load units).                           sources in the long-term coal-fired EGU       necessary for installation or
                                                    Lastly, the EPA is finalizing uniform                subcategory that would be installing          implementation of the control
                                                 fuels as the BSER for low load natural                  CCS. In response to those comments, the       technology.
                                                 gas and oil-fired steam generating units.               EPA reevaluated the information and              The EPA received extensive comment
                                                 The EPA is finalizing degrees of                        timeline for CCS installation and is          requesting a mechanism to extend the
                                                 emission limitation defined by 130 lb                   finalizing a compliance date of January       compliance date for affected EGUs
                                                 CO2/MMBtu for low load natural gas-                     1, 2032, for the long-term coal-fired         installing a control technology to
                                                                                                                                                       address situations in which the owner
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                                                 fired steam generating units and 170 lb                 subcategory. The Agency is finalizing a
                                                 CO2/MMBtu for low load oil-fired steam                  compliance date of January 1, 2030, for       or operator of the affected EGU
                                                 generating units, and presumptively                     units in the medium-term coal-fired           encounters a delay outside of their
                                                 approvable standards consistent with                    subcategory as well as for natural gas-       control. Several industry commenters
                                                 those values.                                           and oil-fired steaming generating units.      noted the potential for such delays due
                                                    Comment: One commenter stated that                                                                 to, among other reasons, supply chain
                                                 the EPA should instead allow states to                    916 See Document ID No. EPA–HQ–OAR–2023–    constraints, permitting processes, and/
                                                 define standards using a source’s                       0072–0806.                                    or environmental assessments as well as


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                                                 delays in deployment of supporting                      documentation, time limitation). Within        outstanding at the time of the
                                                 infrastructure like pipelines. These                    these parameters, states should consider       demonstration. These requirements for
                                                 commenters explained that an extension                  state-specific circumstances related to        documentation are intended to ensure,
                                                 mechanism could provide greater                         the implementation and enforcement of          inter alia, that the owner or operator has
                                                 regulatory certainty for owners and                     this mechanism in their state plans.           made all reasonable efforts to achieve
                                                 operators. In light of this feedback and                Importantly, in order to provide               timely compliance and that the
                                                 acknowledgment that there may be                        compliance date extensions that do not         circumstances for granting an extension
                                                 circumstances outside of owners/                        require a state plan revision available to     are not speculative but are rather based
                                                 operators’ control that impact their                    affected EGUs, states must include the         on delays the affected EGU is currently
                                                 ability to meet the compliance dates in                 mechanism in their proposed state plans        experiencing or is reasonably certain to
                                                 these emission guidelines, the EPA                      that are provided for public comment           experience.
                                                 believes that it is reasonable to provide               and meaningful engagement (as well as             The extended compliance date must
                                                 a consistent and transparent means of                   in the final state plan submitted to the       be as expeditiously as practicable and
                                                 allowing a limited extension of the                     EPA), and the circumstances for and            the maximum time allowed for this
                                                 compliance deadline where an affected                   consequences of using this mechanism           extension is 1 year beyond the
                                                 EGU has demonstrated such an                            must be clearly spelled out and                compliance date specified for the
                                                 extension is needed for installation of                 bounded. States are not required to            affected EGU by the state plan. Several
                                                 controls. This mechanism is intended to                 include this mechanism in their state          commenters suggested that a 1-year
                                                 address delays in implementation—not                    plans; absent its inclusion, states must       extension was appropriate. If the delay
                                                 to provide more time to assess the                      submit a state plan revision in order to       is anticipated to be longer than 1 year,
                                                 compliance strategy (i.e., the type of                  extend a compliance schedule that has          states can provide for the use of this
                                                 technology or subcategory assignment)                   been approved into a plan.                     mechanism for up to 1 year but should
                                                 for the affected EGU, as some                                                                          also initiate a state plan revision if
                                                                                                            First, state plans must provide that a
                                                 commenters suggested; those decisions                                                                  necessary to provide an updated
                                                                                                         compliance date extension through this
                                                 are to be made at the time of state plan                                                               compliance date through consideration
                                                                                                         mechanism is available only for affected
                                                 approval.                                                                                              of RULOF, subject to EPA approval of
                                                                                                         EGUs that are installing add-on controls.
                                                    The compliance date extension                                                                       the plan revision.
                                                                                                         Affected EGUs that intend to comply               The state air pollution control agency
                                                 mechanism is consistent with both CAA
                                                                                                         without installing additional control          is charged with approving or
                                                 section 111 and these emission
                                                 guidelines. Consistent with the statutory               technologies—including, but not limited        disapproving a compliance date
                                                 purpose of remedying dangerous air                      to, oil and gas-fired steam generating         extension request based on its written
                                                 pollution, state plans must generally                   EGUs—should not experience the types           determination that the affected EGU has
                                                 provide for compliance with standards                   of installation or implementation delays       or has not made each of the necessary
                                                 of performance as expeditiously as                      that this mechanism is intended to             demonstrations and provided all of the
                                                 practicable but no later than specified in              address. Second, state plan mechanisms         necessary documentation. All
                                                 the emission guidelines. 40 CFR                         must provide that to receive a                 documentation for the extension request
                                                 60.24a(c). As discussed in sections                     compliance date extension, the owner or        must be submitted by the owner or
                                                 VII.C.1.a.i.(E) and VII.C.2.b.i(C), the EPA             operator of an affected EGU is required        operator of the affected EGU to the state
                                                 has determined compliance timelines in                  to demonstrate to the state air pollution      air pollution control agency no later
                                                 these emission guidelines consistent                    control agency, and provide supporting         than 6 months prior to the compliance
                                                 with achieving emission reductions as                   documentation to establish, the basis for      date provided in these emission
                                                 expeditiously as practicable given the                  and plans to address the delay. For each       guidelines. The owner or operator of the
                                                 time it takes to install the BSER                       affected EGU, this demonstration must          affected EGU must also notify the
                                                 technologies for the respective                         include (1) confirmation that the              relevant EPA Regional Administrator of
                                                 subcategories. The compliance dates are                 affected EGU has met the relevant              their compliance date extension request
                                                 designed to accommodate the process                     increments of progress up to the point         at the time of the submission of the
                                                 steps and timeframes that the EPA                       of the delay, including any permits            request. The owner or operator of the
                                                 reasonably anticipates will apply to                    obtained and/or contracts entered into         affected EGU must also post their
                                                 affected EGUs. This extension                           for the installation of control                application for the compliance date
                                                 mechanism acknowledges that                             technology, (2) documentation, such as         extension request to the Carbon
                                                 circumstances entirely outside the                      invoices or correspondence with                Pollution Standards for EGUs website,
                                                 control of the owners or operators of                   permitting authorities, vendors, etc., of      as discussed in section X.E.1.b.ii of this
                                                 affected EGUs may extend the                            the circumstances of the delay and that        preamble, when they submit the request
                                                 timeframe for installation of control                   the delay is due to the action, or lack        to the state air pollution control agency.
                                                 technologies beyond what the EPA                        thereof, of a third party (e.g., supplier or   The state air pollution control agency
                                                 reasonably expects for the subcategories                permitting authority), and that the            must notify the relevant EPA Regional
                                                 as a general matter. Thus, so long as this              owner or operator of the affected EGU          Administrator of any determination on
                                                 extension mechanism is limited to                       has itself acted consistent with               an extension request and the new
                                                 circumstances that cannot be reasonably                 achieving timely compliance (e.g., in          compliance date for any affected EGU(s)
                                                 controlled or remedied by states or                     applying for permits with all necessary        with an approved extension at the time
                                                 affected EGUs and that make it                          information or contracting in sufficient       of the determination on the extension
                                                                                                         time to perform in accordance with
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                                                 impossible to achieve compliance by the                                                                request. The owner or operator of the
                                                 dates specified in these emission                       required schedules), and (3) plans for         affected EGU must also post the state’s
                                                 guidelines, its use is consistent with                  addressing the circumstances and               determination on the compliance
                                                 achieving compliance as expeditiously                   remedying the delay as expeditiously as        extension request to the Carbon
                                                 as practicable.                                         practicable, including updated dates for       Pollution Standards for EGUs website,
                                                    The EPA is establishing parameters,                  the final increment of progress                as discussed in section X.E.1.b.ii of this
                                                 described in this subsection, for the                   corresponding to the compliance date as        preamble, upon receipt of the
                                                 features of this mechanism (e.g.,                       well as any other increments that are          determination, and, if the request is


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                                                 approved, update information on the                      separate rulemaking, to clarify the                degree of emission limitation in the
                                                 website related to the compliance date                   general implementing regulations                   applicable emission guideline, not
                                                 and increments of progress dates within                  governing the application of RULOF.                whether it can implement the system of
                                                 30 days of the receipt of the state’s                    The Agency further explained that the              emission reduction the EPA determined
                                                 approval.                                                revised RULOF regulations, as finalized            is the BSER. That is, if a designated
                                                                                                          in that separate rulemaking, would                 facility cannot implement the BSER but
                                                 2. Remaining Useful Life and Other                       apply to these emission guidelines. The            can reasonably achieve the specified
                                                 Factors                                                  revisions to the implementing                      degree of emission limitation using a
                                                    Under CAA section 111(d), the EPA is                  regulations’ RULOF provisions were                 different system of emission reduction,
                                                 required to promulgate regulations                       finalized in November 2023, with some              the state cannot use RULOF to apply a
                                                 under which states submit plans that                     changes in response to public comments             less stringent standard of performance
                                                 ‘‘establish[] standards of performance                   relative to proposal. As provided by 40            to that facility.
                                                 for any existing source’’ and ‘‘provide                  CFR 60.20a(a) and (a)(1) and indicated                If a state has demonstrated, pursuant
                                                 for the implementation and enforcement                   in the proposal, the RULOF provisions              to 40 CFR 60.24a(e), that a particular
                                                 of such standards of performance.’’                      in 40 CFR 60.24a, as revised in the                facility cannot reasonably achieve the
                                                 While states establish the standards of                  November 2023 final rule, will govern              degree of emission limitation or
                                                 performance, there is a fundamental                      the use of RULOF to provide less                   compliance schedule determined by the
                                                 obligation under CAA section 111(d)                      stringent standards of performance or              EPA in these emission guidelines, the
                                                 that such standards reflect the degree of                longer compliance schedules under                  state may then apply a less stringent
                                                 emission limitation achievable through                   these emission guidelines. The EPA is              standard of performance or longer
                                                 the application of the BSER, as                          not superseding any provision of the               compliance schedule. The process for
                                                 determined by the EPA.917 The EPA                        RULOF regulations at 40 CFR 60.24a in              doing so is laid out in 40 CFR 60.24a(f).
                                                 identifies this degree of emission                       these emission guidelines.                         Critically, standards of performance and
                                                 limitation as part of its emission                          As explained in the preamble to the             compliance schedules pursuant to
                                                 guideline. 40 CFR 60.22a(b)(5). Thus, as                 final rule, Adoption and Submittal of              RULOF must be no less stringent, or no
                                                 described in section X.C.2 of this                       State Plans for Designated Facilities:             longer, than is necessary to address the
                                                 preamble, the EPA is providing                           Implementing Regulations Under Clear               fundamental difference between the
                                                 methodologies for states to follow in                    Air Act Section 111(d), the EPA has                information the EPA considered and the
                                                 determining and applying                                 interpreted the RULOF provision of                 particular facility that was the basis for
                                                 presumptively approvable standards of                    CAA section 111(d)(1) as allowing states           invoking RULOF under 40 CFR
                                                 performance to affected EGUs in each of                  to apply a standard of performance that            60.24a(e). In determining a less stringent
                                                 the subcategories covered by these                       is less stringent than the degree of               standard of performance, the state must,
                                                 emission guidelines. In general, the                     emission limitation in the applicable              to the extent necessary, evaluate the
                                                 standards of performance that states                     emission guideline, or a longer                    systems of emission reduction identified
                                                 establish for designated facilities must                 compliance schedule, to a particular               in the emission guidelines using the
                                                 be no less stringent than the                            facility based on that facility’s                  factors and evaluation metrics the EPA
                                                 presumptively approvable standards of                    remaining useful life and other factors.           considered in assessing those systems,
                                                 performance specified in these emission                  The use of RULOF to deviate from an                including technical feasibility, the
                                                 guidelines. 40 CFR 60.24a(c).                            emission guideline is available only               amount of emission reductions, the cost
                                                    However, CAA section 111(d)(1) also                   when there are fundamental differences             of achieving such reductions, any non-
                                                 requires that the EPA’s regulations                      between the circumstances of a                     air quality health and environmental
                                                 permit the states, in applying a standard                particular facility and the information            impacts, and energy requirements.
                                                 of performance to any particular                         the EPA considered in determining the              States may also consider, as justified,
                                                 designated facility, to ‘‘take into                      degree of emission limitation or the               other factors specific to the facility that
                                                 consideration, among other factors, the                  compliance schedule, and those                     were the basis for invoking RULOF
                                                 remaining useful life of the existing                    fundamental differences make it                    under 40 CFR 60.24a(e), as well as
                                                 source to which the standard applies.’’                  unreasonable for the facility to achieve           additional systems of emission
                                                 The EPA’s implementing regulations                       the degree of emission limitation or               reduction.
                                                                                                          meet the compliance schedule in the                   The RULOF provision at 40 CFR
                                                 under 40 CFR 60.24a allow a state to
                                                                                                          emission guideline. This                           60.24a(g) states that, where the basis of
                                                 consider a particular designated
                                                                                                          ‘‘fundamentally different’’ standard is            a less stringent standard of performance
                                                 facility’s remaining useful life and other
                                                                                                          consistent with the statutory purpose of           is an operating condition within the
                                                 factors (‘‘RULOF’’) in applying to that                                                                     control of a designated facility, the state
                                                                                                          reducing dangerous air pollution under
                                                 facility a standard of performance that is                                                                  plan must include such operating
                                                                                                          CAA section 111; the statutory
                                                 less stringent than the presumptive level                                                                   condition as an enforceable
                                                                                                          framework under which, to achieve that
                                                 of stringency in the applicable emission                                                                    requirement. The state plan must also
                                                                                                          purpose, the EPA is directed to
                                                 guideline, or a compliance schedule that                                                                    include requirements, such as for
                                                                                                          determine the degree of emission under
                                                 is longer than prescribed by that                                                                           monitoring, reporting, and
                                                                                                          CAA section 111(a)(1); and the
                                                 emission guideline.                                                                                         recordkeeping, for the implementation
                                                                                                          understanding that RULOF is intended
                                                    In the proposal, the EPA indicated                    as a limited variance from the EPA’s               and enforcement of the condition. This
                                                 that it had recently proposed, in a                      determination to address unusual                   is relevant in the case of, for example,
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                                                    917 West Virginia v. EPA, 597 U.S. 697, 720 (2022)
                                                                                                          circumstances at particular facilities.918         less stringent standards of performance
                                                 (‘‘In devising emissions limits for power plants,           The relevant consideration for states           that are based on a particular designated
                                                 EPA first ‘determines’ the ‘best system of emission      contemplating the use of RULOF to                  facility’s remaining useful life or
                                                 reduction’ that—taking into account cost, health,        apply a less stringent standard of                 utilization.
                                                 and other factors—it finds ‘has been adequately          performance is whether a designated                   Finally, the general implementing
                                                 demonstrated.’ The Agency then quantifies ‘the
                                                 degree of emission limitation achievable’ if that best   facility can reasonably achieve the                regulations provide that states may
                                                 system were applied to the covered source.’’)                                                               always adopt and enforce, as part of
                                                 (internal citations omitted).                             918 See, e.g., 88 FR 80512 (November 17, 2023).   their state plans, standards of


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                                                 performance that are more stringent                     representative in the plan (or plan          given to states to establish standards of
                                                 than the degree of emission limitation                  revision) development process. 40 CFR        performance gives the EPA only a
                                                 determined by the EPA and compliance                    60.23a(i). The application of a less         limited role in reviewing states’ RULOF
                                                 schedules that require final compliance                 stringent standard of performance or         demonstrations.
                                                 more quickly than specified in the                      longer compliance schedule pursuant to          Response: The provisions that will
                                                 applicable emission guidelines. 40 CFR                  RULOF can impact the effects a state         govern states’ use of RULOF under these
                                                 60.24a(i). States do not have to use the                plan has on pertinent stakeholders,          emission guidelines are contained in the
                                                 RULOF provisions in 40 CFR 60.24a(e)–                   which include, but are not limited to,       part 40, subpart Ba CAA section 111(d)
                                                 (h) to apply a more stringent standard of               industry, small businesses, and              implementing regulations. Following
                                                 performance or faster compliance                        communities most affected by and/or          proposal of these emission guidelines,
                                                 schedule.                                               vulnerable to the impacts of a state plan    the EPA finalized revisions to the
                                                    The EPA notes that there were a                      or plan revision. See 40 CFR 60.21a(l).      subpart Ba RULOF provisions in a
                                                 number of RULOF provisions proposed                     Therefore, the potential application of      separate rulemaking. Any comments on
                                                 as additions to the general                             less stringent standards of performance      these generally applicable provisions,
                                                 implementation regulations in subpart                   or longer compliance schedule should         including the EPA’s authority to
                                                 Ba and discussed in the proposed                        be part of a state’s meaningful              promulgate and implement them and
                                                 emission guidances that the EPA did not                 engagement on a state plan or plan           consistency with the cooperative
                                                 finalize as part of that separate                       revision.                                    federalism framework of CAA section
                                                 rulemaking. Any proposed RULOF                             Similarly, the EPA emphasized in the      111(d), are outside the scope of this
                                                 requirements that were not finalized in                 preamble to the November 2023 final          action. The EPA has, however,
                                                 40 CFR 60.24a are likewise not being                    rule revising subpart Ba that states carry   considered and responded to comments
                                                 finalized in this action and do not apply               the burden of making any                     that concern the application of these
                                                 as requirements under these emission                    demonstrations in support of less-           generally applicable RULOF provisions
                                                 guidelines. However, two                                stringent standards of performance           under these particular emission
                                                 considerations in particular remain                     pursuant to RULOF in developing their        guidelines.
                                                 relevant to states’ development of plans                plans. As a general matter, states always       Comment: Several commenters spoke
                                                 despite not being finalized as                          bear the responsibility of reasonably        to the role of RULOF given the structure
                                                 requirements: consideration of                          documenting and justifying the               of the proposed subcategories for coal-
                                                 communities most impacted by and                        standards of performance in their plans.     fired steam generating affected EGUs.
                                                 vulnerable to the health and                            In order to find a standard of               Some commenters supported the EPA’s
                                                 environmental impacts of an affected                    performance satisfactory, the EPA must       statement that, given the four proposed
                                                 EGU that is invoking RULOF, and the                     be able to ascertain, based on the           subcategories based on affected EGUs’
                                                 need to engage in reasoned decision                     information and analysis included in         intended operating horizons, the
                                                 making that is supported by information                 the state plan submission, that the          Agency did not anticipate that states
                                                 and a rationale that is included in the                 standard meets the statutory and             would be likely to need to invoke
                                                 state plan.919                                          regulatory requirements.921                  RULOF based on a particular affected
                                                    As explained in the preamble to the                     Comment: Multiple commenters              EGU’s remaining useful life. In contrast,
                                                 November 2023 final rule revising                       expressed support for the EPA’s              other commenters stated that the EPA
                                                 subpart Ba, consideration of health and                 proposed approach to RULOF,                  was attempting to unlawfully preempt
                                                 environmental impacts is inherent in                    including its framework for ensuring         state consideration of RULOF. Some
                                                 consideration of two factors, the non-air               that less stringent standards of             noted that, regardless of the approach to
                                                 quality health and environmental                        performance and longer compliance            subcategorization, a particular source
                                                 impacts and amount of emission                          schedules are limited to unique              may still present source-specific
                                                 reduction, that the EPA considers under                 circumstances that reflect fundamental       considerations that a state may consider
                                                 CAA section 111(a)(1). Therefore, a state               differences from the circumstances that      relevant when applying a standard of
                                                 considering whether a variance from the                 the EPA considered, and that such            performance. One commenter referred
                                                 EPA’s degree of emission limitation is                  standards do not undermine the overall       to RULOF as a way for states to
                                                 appropriate will necessarily consider                   effectiveness of the emission guidelines.    ‘‘modify’’ subcategories to address the
                                                 the potential impacts and benefits of                   These commenters also noted that the         circumstances of particular affected
                                                 control to communities impacted by an                   proposed RULOF approach is consistent        EGUs.
                                                 affected EGU that is potentially                        with CAA section 111(d). However,               Response: As explained in section
                                                 receiving a less stringent standard of                  other commenters argued that the EPA         VII.C of this preamble, the structure of
                                                 performance.920 Additionally, as                        lacks authority to put restrictions on       the subcategories for coal-fired steam
                                                 discussed in section X.E.1.b.i of this                  how states consider RULOF to apply           generating affected EGUs under these
                                                 preamble, the general implementing                      less stringent standards of performance      final emission guidelines differs from
                                                 regulations for CAA section 111(d) in                   or longer compliance schedules. Some         the four subcategories that the EPA
                                                 subpart Ba require states to submit, with               commenters stated that the EPA’s             proposed. The EPA is finalizing just two
                                                 their state plans or plan revisions,                    framework for the consideration of           subcategories for coal-fired EGUs: the
                                                 documentation that they have                            RULOF runs counter to section 111’s          long-term subcategory and the medium-
                                                 conducted meaningful engagement with                    framework of cooperative federalism          term subcategory. Under these
                                                 pertinent stakeholders and/or their                     and that the EPA has a limited role of       circumstances, the justification for the
                                                                                                                                                      EPA’s statement at proposal that it is
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                                                                                                         determining BSER for the source
                                                    919 The other RULOF provisions that the EPA          category while the statute reserves          unlikely that states would need to
                                                 proposed as additions to 40 CFR 60.24a but did not      significant authority for the states to      invoke RULOF based on a coal-fired
                                                 finalize are related to setting imminent and            establish and implement standards of         steam generating affected EGU’s
                                                 outermost dates for the consideration of remaining                                                   remaining useful life no longer applies.
                                                 useful life and consideration of RULOF to apply
                                                                                                         performance. One commenter
                                                 more stringent standards of performance. See 88 FR      elaborated that the broad discretion         Consistent with 40 CFR 60.24a(e) and
                                                 80480, 80525, 80529 (November 17, 2023).                                                             the Agency’s explanation in the
                                                    920 88 FR 80528 (November 17, 2023).                  921 See id. at 80527.                       proposal, states have the ability to


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                                                 consider, inter alia, a particular source’s             invoke RULOF for a particular affected        RULOF analyses as part of their state
                                                 remaining useful life when applying a                   EGU, a state must demonstrate that it is      planning processes. The EPA therefore
                                                 standard of performance to that                         unreasonable for that EGU to reasonably       believes that states will have sufficient
                                                 source.922                                              achieve the applicable degree of              time to consider RULOF and conduct
                                                    Moreover, the EPA is clarifying that                 emission limitation or compliance             any RULOF analyses under these
                                                 RULOF may be used to particularize the                  schedule. Given the diversity of sizes,       emission guidelines.
                                                 compliance obligations for an affected                  ages, locations, process designs,
                                                                                                                                                       a. Threshold Requirements for
                                                 EGU when a state demonstrates that it                   operating conditions, etc., of affected
                                                                                                                                                       Considering RULOF
                                                 is unreasonable for that EGU to achieve                 EGUs, it is highly unlikely that the
                                                 the applicable degree of emission                       circumstances that result in one affected        The general implementing regulations
                                                 limitation or compliance schedule                       EGU being unable to reasonably achieve        of 40 CFR part 60, subpart Ba, provide
                                                 determined by the EPA. Invocation of                    the applicable presumptive standard or        that a state may apply a less stringent
                                                 RULOF does not have the effect of                       compliance schedule would apply to            standard of performance or longer
                                                 modifying the subcategory structure or                  any other affected EGU. Further, the          compliance schedule than otherwise
                                                 creating a new subcategory for a                        RULOF provisions of subpart Ba                required under the applicable emission
                                                 particular affected EGU. That EGU                       provide clarity for and guidance to           guidelines based on consideration of a
                                                 remains in the applicable subcategory.                  states as to what constitutes a               particular source’s remaining useful life
                                                 As explained elsewhere in this section                  satisfactory less-stringent standard of       and other factors. To do so, the state
                                                 of the preamble, the particularized                     performance under these emission              must demonstrate for each designated
                                                 compliance obligations must differ as                   guidelines.                                   facility (or class of such facilities) that
                                                 little as possible from the presumptive                    While the EPA is not providing             the facility cannot reasonably achieve
                                                 standard of performance and                             presumptively approvable                      the degree of emission limitation
                                                 compliance schedule for the                             circumstances or analyses for RULOF in        determined by the EPA (i.e., the
                                                 subcategory into which the affected                     these emission guidelines, it is              presumptively approvable standard of
                                                 EGU falls under these emission                          providing information and analysis that       performance) based on: (1)
                                                 guidelines.                                             states can leverage in making any             Unreasonable cost resulting from plant
                                                    Comment: One commenter requested                     determinations pursuant to the RULOF          age, location, or basic process design, (2)
                                                 that the EPA identify situations in                     provisions. As explained elsewhere in         physical impossibility or technical
                                                 which it is reasonable to deviate from                  this section of the preamble, the EPA         infeasibility of installing the necessary
                                                 the presumptive standards of                            expects that states will be able to           control equipment, or (3) other factors
                                                 performance in the emission guidelines                  particularize the information it is           specific to the facility. In order to
                                                 and include presumptively approvable                    providing in section VII of this preamble     determine that one or more of these
                                                 approaches for states to use when                       and the final Technical Support               circumstances has been met, the state
                                                 invoking RULOF. The commenter noted                     Documents for the circumstances of any        must demonstrate that there are
                                                 that this would reduce the regulatory                   affected EGUs for which they are              fundamental differences between the
                                                 burden on states developing and                         considering RULOF, thereby decreasing         information specific to a facility (or
                                                 submitting plans. Another commenter,                    the analytical burdens.                       class of such facilities) and the
                                                 however, stated that the EPA should not                    Comment: Several commenters stated         information the EPA considered in the
                                                 provide any presumptively approvable                    that the proposed emission guidelines         applicable emission guidelines that
                                                 standard, criteria, or analytic approach                did not provide adequate time for             make achieving the degree of emission
                                                 for states seeking to use RULOF. This                   RULOF analyses.                               limitation or compliance schedule in
                                                                                                            Response: As noted above, the EPA          those guidelines unreasonable for the
                                                 commenter explained that the premise
                                                                                                         expects states to leverage the                facility.
                                                 of source-specific variances under
                                                                                                         information it is providing in section VII       For each subcategory of affected EGUs
                                                 RULOF is that they reflect                              of this preamble and the final Technical      in these emission guidelines, the EPA
                                                 circumstances that are unique to a                      Support Documents in conducting any           determined the degree of emission
                                                 particular unit and fundamental                         RULOF analyses under these emission           limitation achievable through
                                                 differences from the general case, and                  guidelines. In particular, the Agency         application of the BSER by considering
                                                 that it would be inappropriate to offer                 believes states will be able to use the       information relevant to each of the
                                                 a generic rubric for approving variances                information it is providing on available      factors in CAA section 111(a)(1):
                                                 separate from the particularized facts of               control technologies for affected EGUs,       whether a system of emission reduction
                                                 each case.                                              technical considerations, and costs
                                                    Response: The EPA is not identifying                                                               is adequately demonstrated for the
                                                                                                         given different amortization periods and      subcategory, the costs of a system of
                                                 circumstances in which it would be                      particularize it for the purpose of
                                                 reasonable to deviate from its                                                                        emission reduction, the non-air quality
                                                                                                         conducting any analyses pursuant to 40        health and environmental impacts and
                                                 determinations or providing                             CFR 60.24a(e) and (f). Additionally, as
                                                 presumptively approvable approaches                                                                   energy requirements associated with a
                                                                                                         discussed in section X.C.2.b of this          system of emission reduction, and the
                                                 to invoking RULOF in these emission                     preamble, the regulatory provisions for
                                                 guidelines. For this source category—                                                                 extent of emission reductions from a
                                                                                                         RULOF under subpart Ba provide a              system.923 As noted above, the relevant
                                                 fossil-fuel fired steam generating                      framework for determining less
                                                 EGUs—in particular, the circumstances                                                                 consideration for invoking RULOF is
                                                                                                         stringent standards of performance that       whether an affected EGU can reasonably
                                                 and characteristics of affected EGUs and                have the practical effect of minimizing
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                                                 the control strategies the EPA has                                                                    achieve the presumptive standard of
                                                                                                         states’ analytical burdens. Given the
                                                 identified as BSER are extremely                        EPA’s consideration of affected EGU’s           923 The EPA also considered expanded use and
                                                 context- and source-specific. In order to               circumstances and operational                 development of technology in determining the
                                                                                                         characteristics in designing these            BSER for each subcategory. However, as this
                                                    922 See 88 FR 33383 (invoking RULOF based on                                                       consideration is not necessarily relevant at the scale
                                                 a particular coal-fired EGU’s remaining useful life
                                                                                                         emission guidelines, the Agency does          of a particular source for which a less stringent
                                                 ‘‘is not prohibited under these emission                not anticipate that states will be in the     standard of performance is being considered, it is
                                                 guidelines’’).                                          position of conducting numerous               not addressed here.



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                                                 performance for the applicable                          comparison to both the EPA’s                             determined are or could be reasonable
                                                 subcategory, as opposed to whether it                   information and across affected EGUs                     for sources would also not be an
                                                 can implement the BSER. In                              and states.924 For example,                              appropriate basis for invoking RULOF.
                                                 determining the BSER the EPA found                      consideration of pipeline length needed                  Thus, costs that are not fundamentally
                                                 that certain costs, impacts, and energy                 for a particular affected EGU is best                    different from, e.g., $18.50/MWh (the
                                                 requirements were, on balance,                          reflected through consideration of the                   cost for installation of wet-FGD on a 300
                                                 reasonable for affected EGUs; it is                     cost of that pipeline. In particular,                    MW coal-fired steam generating unit,
                                                 therefore reasonable to assume that the                 consideration of the remaining useful                    used for cost comparison in section
                                                 same costs, impacts, and energy                         life of a particular affected EGU should                 VIII.D.1.a.ii of this preamble) would not
                                                 requirements would be equally                           be considered with regard to its impact                  be an appropriate basis for invoking
                                                 reasonable in the context of other                      on costs. In determining the BSER, the                   RULOF under these emission
                                                 systems of reduction, as well. Therefore,               EPA considers costs and specifically                     guidelines. On the other hand, costs that
                                                 the information the EPA considered in                   annualized costs associated with                         constitute outliers, e.g., that are greater
                                                 relation to each of these factors is the                payment of the total capital investment                  than the 95th percentile of costs on a
                                                 baseline for consideration of RULOF                     associated with the BSER. An affected                    fleetwide basis (assuming a normal
                                                 regardless of the system of emission                    EGU’s remaining useful life and                          distribution) would likely represent a
                                                 reduction being considered.                             associated length of the capital recovery                valid demonstration of a fundamental
                                                    The EPA is providing presumptive                     period can have a significant impact on                  difference and could be the basis of
                                                 standards of performance in these                       annualized costs. States invoking                        invoking RULOF.
                                                 emission guidelines in the form of rate-                RULOF based on an affected EGU’s                            Importantly, the costs evaluated in
                                                 based emission limitations. Thus, the                   remaining useful life should                             BSER determinations are, in general,
                                                 focus for states considering whether a                  demonstrate that the annualized costs of                 based on average values across the fleet
                                                 particular affected EGU has met the                     applying the degree of emission                          of steam generating units. Those BSER
                                                 threshold for a less stringent standard of              limitation achievable through                            cost analysis values represent the
                                                 performance pursuant to RULOF is                        application of the BSER for a source                     average of a distribution of costs
                                                 whether that affected EGU can                           with a short remaining useful life are                   including costs that are above or below
                                                 reasonably achieve the applicable rate-                 fundamentally different from the costs                   the average representative value. On
                                                 based presumptive standard of                           that the EPA found were reasonable. For                  that basis, implicit in the determination
                                                 performance in these emission                           purposes of determining the annualized                   that those average representative values
                                                 guidelines.                                             costs for an affected EGU with a shorter                 are reasonable is the determination that
                                                    Within each of the statutory factors it              remaining useful life, the EPA considers                 a significant portion of the unit-specific
                                                 considered in determining the BSER,                     the amortization period to begin at the                  costs around those average
                                                 the Agency considered information                       compliance date for the applicable                       representative values are also
                                                 using one or more evaluation metrics.                   subcategory.                                             reasonable, including some portion of
                                                 For example, for both the long-term and                    States considering the use of RULOF                   those unit-specific costs that are above
                                                 medium-term coal-fired steam                            to provide a less stringent standard of                  but not significantly different than the
                                                 generating EGUs the EPA considered                      performance for a particular EGU must                    average representative values. That is,
                                                 cost in terms of dollars/ton CO2 reduced                demonstrate that the information                         the cost values the EPA considered in
                                                 and increases in levelized costs                        relevant to that EGU is fundamentally                    determining the BSER should not be
                                                 expressed as dollars per MWh                            different from the information the EPA                   considered bright-line upper thresholds
                                                 electricity generation. Under the non-air               considered. For example, in                              between reasonable and unreasonable
                                                 quality health and environmental                        determining the degree of emission                       costs. Moreover, the examples in this
                                                 impacts and energy requirements factor,                 limitation achievable through the                        discussion are provided merely for
                                                 the EPA considered non-greenhouse gas                   application of co-firing for medium-term                 illustrative purposes; because each
                                                 emissions and energy requirements in                    coal-fired steam generating EGUs, the                    RULOF demonstration must be
                                                 terms of parasitic load and boiler                      EPA found that costs of $71/ton CO2                      evaluated based on the facts and
                                                 efficiency, in addition to evaluation                   reduced and $13/MWh are reasonable.                      circumstances relevant to a particular
                                                 metrics specific to the systems being                   A state seeking to invoke RULOF for an                   affected EGU, the EPA is not setting any
                                                 evaluated for each subcategory. For the                 affected coal-fired steam generating EGU                 generally applicable thresholds or
                                                 full range of factors, evaluation metrics,              based on unreasonable cost of control                    providing presumptively approvable
                                                 and information the EPA considered                      resulting from plant age, location, or                   approaches for determining what
                                                 with regard to the long-term and                        basic process design would therefore,                    constitutes a fundamental difference in
                                                 medium-term coal-fired steam                            pursuant to 40 CFR 60.24a(e),                            cost or any other consideration under
                                                 generating EGU subcategories, see                       demonstrate that the costs of achieving                  these emission guidelines. The Agency
                                                 section VII.D.1 and VII.D.2 of this                     the applicable degree of emission                        will assess each use of RULOF in a state
                                                 preamble.                                               limitation for that particular affected                  plan against the applicable regulatory
                                                    Although the considerations for                                                                               requirements; however, the EPA is
                                                                                                         EGU are fundamentally different from
                                                 invoking RULOF described in 40 CFR                                                                               providing examples in this preamble in
                                                                                                         $71/ton CO2 reduced and/or $13/MWh.
                                                 60.24a(e) are broader than just                            Any costs that the EPA has                            response to comments requesting that it
                                                 unreasonable cost of control, much of                   determined are reasonable for any BSER                   provide further clarity and guidance on
                                                 the information the EPA considered in                   for affected EGUs under these emission                   what constitutes a satisfactory use of
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                                                 determining the BSER, and therefore                     guidelines would not be an appropriate                   RULOF.
                                                 many of the circumstances states might                  basis for invoking RULOF. Additionally,                     Under 40 CFR 60.24a(e)(1)(iii), states
                                                 consider in determining whether to                      costs that are not fundamentally                         may also consider ‘‘other factors specific
                                                 invoke RULOF, are reflected in the cost                 different from costs that the EPA has                    to the facility.’’ Such ‘‘other factors’’
                                                 consideration. Where possible, states                                                                            may include both factors (categories of
                                                 should reflect source-specific                            924 The EPA reiterates that states are not             information) that the EPA did not
                                                 considerations in terms of cost, as it is               precluded from considering information and factors       consider in determining the degree of
                                                 an objective and replicable metric for                  other than costs under 40 CFR 60.24a(e)(ii) and (iii).   emission limitation achievable through


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                                                 application of the BSER and additional                  reasonable for a particular affected EGU      ii. Invoking RULOF for Medium-Term
                                                 evaluation metrics (ways of considering                 in this subcategory to achieve the degree     Coal-Fired Steam Generating EGUs
                                                 a category of information) that the EPA                 of emission limitation using CCS as the          As for the long-term coal-fired steam
                                                 did not consider in its analysis. To                    control strategy, the state would             generating EGU subcategory, the EPA
                                                 invoke RULOF based on consideration                     consider whether that affected EGU’s          also considered evaluation metrics and
                                                 of ‘‘other factors,’’ a state must                      circumstances are fundamentally               information specific to the BSER,
                                                 demonstrate that a factor makes it                      different from the evaluation metrics         natural gas co-firing, for the medium-
                                                 unreasonable for the affected EGU to                    and information the EPA considered in         term subcategory. Again, similar to the
                                                 achieve the applicable degree of                        these emission guidelines. If a state is      long-term subcategory, certain generally
                                                 emission limitation in these emission                   considering whether it is reasonable for      applicable metrics and information that
                                                 guidelines.                                             an affected EGU to achieve the degree of      the EPA considered, e.g., overall costs
                                                    The general implementing regulations                 emission limitation for long-term coal-
                                                                                                                                                       and energy requirements, will be
                                                 of subpart Ba provide that states may                   fired steam generating EGUs through
                                                                                                                                                       relevant regardless of the control
                                                 invoke RULOF for a class of facilities. In              some other control strategy, certain of
                                                 the preamble to the subpart Ba final                                                                  strategy a state is considering for an
                                                                                                         the evaluation metrics and information
                                                 rule, the EPA explained that ‘‘invoking                                                               affected EGU in the medium-term
                                                                                                         the EPA considered, such as overall
                                                 RULOF and providing a less-stringent                                                                  subcategory. To the extent a state is
                                                                                                         costs and energy requirements, would
                                                 standard [of] performance or longer                                                                   considering whether it is reasonable for
                                                                                                         be relevant while other metrics or
                                                 compliance schedule for a class of                                                                    a particular affected EGU to reasonably
                                                                                                         information may or may not be.
                                                 facilities is only appropriate where all                   As discussed above, the EPA                achieve the presumptive standard of
                                                 the facilities in that class are similarly              considered costs in terms of $/ton CO2        performance using natural gas co-firing
                                                 situated in all meaningful ways. That is,               reduced and $/MWh. The Agency broke           as a control, the state should evaluate
                                                 they must not only share the                            down its cost consideration for CCS into      whether there is a fundamental
                                                 circumstance that is the basis for                      capture costs and CO2 transport and           difference between the circumstances of
                                                 invoking RULOF, they must also share                    sequestration costs, as discussed in          that EGU and the information the EPA
                                                 all other characteristics that are relevant             sections VIII.D.1.a.ii.(A) and (B) of this    considered. In considering costs for
                                                 to determining whether they can                         preamble. The EPA also considered the         natural gas co-firing, the Agency took
                                                 reasonably achieve the degree of                        availability of the IRC section 45Q tax       into account costs associated with
                                                 emission limitation determined by the                   credit in evaluating the cost of CCS for      adding new gas burners and other boiler
                                                 EPA in the applicable EG. For example,                  affected EGUs, and finally, evaluated         modifications, fuel cost, and new
                                                 it would not be reasonable to create a                  the impacts of two different capacity         natural gas pipelines. In considering
                                                 class of facilities for the purpose of                  factor assumptions on costs. Similarly,       non-air quality health and
                                                 RULOF on the basis that the facilities do               the Agency considered a number of             environmental impacts and energy
                                                 not have space to install the EPA’s BSER                evaluation metrics specific to CCS            requirements, the EPA addressed losses
                                                 control technology if some of them are                  under the non-air quality health and          in boiler efficiency due to co-firing, as
                                                 able to install a different control                     environmental impacts and energy              well as non-greenhouse gas emissions
                                                 technology to achieve the degree of                     requirements factors, in addition to          and impact on the structure of the
                                                 emission limitation in the EG.’’ 925                    considering non-greenhouse gas                energy sector. States may also consider
                                                 Given that individual fossil fuel-fired                 emissions and parasitic/auxiliary energy      other factors and circumstances that are
                                                 steam generating EGUs are very unlikely                 demand increases and the net power            relevant to determining the
                                                 to be similarly situated with regard to                 output decreases. In particular, the EPA      reasonableness of achieving the
                                                 all of the characteristics relevant to                  considered water use, CO2 capture plant       applicable degree of emission
                                                 determining the reasonableness of                       siting, transport and geologic                limitation.
                                                 meeting a degree of emission limitation,                sequestration, and impacts on the             iii. Invoking RULOF To Apply a Longer
                                                 the EPA believes it would not likely be                 energy sector in terms of long-term           Compliance Schedule
                                                 reasonable for a state to invoke RULOF                  structure and reliability of the power
                                                 for a class of facilities under these                   sector. A state may also consider other          Under 40 CFR 60.24a(c), ‘‘final
                                                 emission guidelines. That is, because                   factors and circumstances that the EPA        compliance,’’ i.e., compliance with the
                                                 there are relatively few affected EGUs in               did not consider in its evaluation of         applicable standard of performance,
                                                 each subcategory and because each EGU                   CCS, to the extent such factors or            ‘‘shall be required as expeditiously as
                                                 is likely to have a distinct combination                circumstances are relevant to the             practicable but no later than the
                                                 of size, operating process, footprint,                  reasonableness of achieving the               compliance times specified’’ in the
                                                 geographic location, etc., it is highly                 associated degree of emission limitation.     applicable emission guidelines, unless a
                                                 unlikely that the same threshold                           As detailed in section VII.D.1.a.i of      state has demonstrated that a particular
                                                 analysis would apply to two or more                     this preamble, the EPA has determined         designated facility cannot reasonably
                                                 units.                                                  that CCS is adequately demonstrated for       comply with the specific compliance
                                                                                                         long-term coal-fired steam generating         time per the RULOF provision at 40 CFR
                                                 i. Invoking RULOF for Long-Term Coal-                   EGUs. The Agency evaluated the                60.24a(e). The EPA, in these emission
                                                 Fired Steam Generating EGUs                             components of CCS both individually           guidelines, has detailed the amount of
                                                    In determining the BSER for the long-                and in concurrent, simultaneous               time needed for states and affected
                                                 term coal-fired steam generating EGUs,                  operation. If a state believes a particular   EGUs in the long-term and medium-
                                                                                                                                                       term coal-fired steam generating EGU
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                                                 the EPA considered several evaluation                   affected EGU cannot reasonably
                                                 metrics specific to CCS. However,                       implement CCS based on physical               subcategories to comply with standards
                                                 affected EGUs are not required to                       impossibility or technical infeasibility,     of performance using CCS and natural
                                                 implement CCS to comply with their                      the state must demonstrate that the           gas co-firing, respectively, in sections
                                                 standards of performance. To the extent                 circumstances of that individual EGU          VII.C.1 and VII.C.2 of this preamble.
                                                 a state is considering whether it is                    are fundamentally different from the          These compliance times are based on
                                                                                                         information on CCS that the EPA               information available for and applicable
                                                   925 88 FR 80517 (November 17, 2023).                  considered in these emission guidelines.      to the subcategories as a whole. The


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                                                 Agency anticipates that some affected                   account for source- and state-specific           circumstances specific to the facility.’’
                                                 EGUs will be able to comply more                        characteristics. The commenters argued           States are uniquely situated to have
                                                 expeditiously than on these generally                   that the EPA’s general implementing              knowledge about unit-specific
                                                 applicable timelines. Similarly, there                  regulations at 40 CFR 60.24a(c)                  considerations. If a unit-specific factor
                                                 may be circumstances in which a                         recognize that states may consider               or circumstance is fundamentally
                                                 particular EGU cannot reasonably                        factors that make application of a less          different from the information the EPA
                                                 comply with its standard of                             stringent standard of performance or             considered and that difference makes it
                                                 performance by the compliance date                      longer compliance time significantly             unreasonable for the affected EGU to
                                                 specified in these emission guidelines.                 more reasonable, and commenters stated           achieve that degree of emission
                                                 In order to provide a longer compliance                 that those factors should include, inter         limitation or compliance schedule,929 it
                                                 schedule, the state must demonstrate                    alia, cost, feasibility, infrastructure          is grounds for applying a less stringent
                                                 that there is a fundamental difference                  development, NSR implications,                   standard of performance or longer
                                                 between the information the EPA                         fluctuations in performance depending            compliance schedule. The EPA will
                                                 considered for the subcategory as a                     on load, state energy policy, and                review states’ RULOF analyses and
                                                 whole and the circumstances of a                        potential reliability issues. The                determinations for consistency with the
                                                 particular EGU. These circumstances                     commenters stated that states have the           applicable regulatory requirements at 40
                                                 should not be speculative; the state                    authority to account for consideration of        CFR 60.24a(e)–(h).
                                                 must substantiate the need for a longer                 other factors in various ways and that              Comment: Multiple commenters
                                                 compliance schedule with                                the EPA must defer to state choices,             weighed in on the subject of cost
                                                 documentation supporting that need                      provided those choices are reasonable            metrics. Two commenters stated that the
                                                 and justifying why a certain component                  and consistent with the statute.                 EPA should not require states to
                                                 or components of implementation will                       Response: Comments on states’ use of          consider costs using the same metrics
                                                 take longer than the EPA considered in                  RULOF vis-à-vis the EPA’s                       that it considered in the emission
                                                 these emission guidelines. If a state                   determinations pursuant to CAA section           guidelines. These commenters
                                                 anticipates that a process or activity will             111(a)(1) in the applicable emission             explained that the unique circumstances
                                                 take longer than is typical for similarly               guidelines are outside the scope of this         of each unit mean that different metrics
                                                 situated EGUs within and outside the                    rulemaking.926 Similarly, comments on            may be appropriate and should be
                                                 state or longer than it has historically,               the EPA’s authority to review states’ use        allowed as long as the state plan
                                                 the state should provide an explanation                 of RULOF in state plans and the scope            provides a justification. Other
                                                 of why it expects this to be the case as                of that review are outside the scope of          commenters, however, supported the
                                                 well as evidence corroborating the                      this rulemaking.927 The EPA is also              proposed requirement for states to
                                                 reasons and need for additional time.                   clarifying that, while the commenters            consider costs using the same metrics as
                                                 Consistent with 40 CFR 60.24a(c) and                    are correct that the general                     the EPA. Similarly, commenters differed
                                                 (e), states should not use the RULOF                    implementing regulations at 40 CFR               on the example in the proposed rule
                                                 provision to provide a longer                           60.24a(c) recognize that states may              preamble that costs that are greater than
                                                 compliance schedule unless there is a                   invoke RULOF to provide a less                   the 95th percentile of costs on a
                                                 demonstrated, documented reason at the                  stringent standard of performance or             fleetwide basis would likely be
                                                 time of state plan submission that a                    longer compliance schedule, they also            fundamentally different from the
                                                 particular source will not be able to                   provide that, unless the threshold for           fleetwide costs that the EPA considered
                                                                                                         the use of RULOF in 40 CFR 60.24a(e)             in these emission guidelines. While one
                                                 achieve compliance by the date
                                                                                                         has been met, ‘‘standards of                     commenter believed that the 95th
                                                 specified in these emission guidelines.
                                                                                                         performance shall be no less stringent           percentile may not be an appropriate
                                                 The EPA notes that it is providing a
                                                                                                         than the corresponding emission                  threshold in all circumstances and
                                                 number of flexibilities in these final
                                                                                                         guideline(s) . . . and final compliance          should not be treated as an absolute,
                                                 emission guidelines for states and
                                                                                                         shall be required as expeditiously as            another commenter argued that the EPA
                                                 sources if they find, subsequent to state
                                                                                                         practicable but no later than the                should formalize the 95th percentile
                                                 plan submission, that additional time is
                                                                                                         compliance times specified’’ in the              threshold as a requirement for states
                                                 necessary for compliance; states should
                                                                                                         emission guidelines. The threshold for           seeking to invoke RULOF based on
                                                 consider these flexibilities in
                                                                                                         invoking RULOF is when a state                   unreasonable cost.
                                                 conjunction with the potential use of                                                                       Response: The EPA believes that, in
                                                                                                         demonstrates that a particular affected
                                                 RULOF to provide a longer compliance                                                                     order to evaluate whether there is a
                                                                                                         EGU cannot reasonably achieve the
                                                 schedule. A source-specific compliance                                                                   fundamental difference between the cost
                                                                                                         degree of emission limitation
                                                 date pursuant to RULOF must be no                                                                        information the EPA considered in these
                                                                                                         determined by the EPA, based on one or
                                                 later than necessary to address the                                                                      emission guidelines and the cost
                                                                                                         more of the circumstances at 40 CFR
                                                 fundamental difference; that is, it must                                                                 information for a particular affected
                                                                                                         60.24a(e)(i)–(iii), because there are
                                                 be as close to the compliance schedule                                                                   EGU, it is necessary for states to
                                                                                                         fundamental differences between the
                                                 provided in these emission guidelines                                                                    evaluate costs using the same metrics
                                                                                                         information the EPA considered in the
                                                 as reasonably possible. Considerations                                                                   that the EPA considered. However,
                                                                                                         emission guidelines and the information
                                                 specific to providing a longer                                                                           states are not precluded from
                                                                                                         specific to the affected EGU. The
                                                 compliance schedule to address                                                                           considering additional cost metrics
                                                                                                         ‘‘significantly more reasonable’’
                                                 reliability are addressed in section                                                                     alongside the two metrics used in these
                                                                                                         standard does not apply to RULOF
                                                 X.C.2.e.i of this preamble.
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                                                                                                         determinations under these emission              emission guidelines: $/ton of CO2
                                                    Comment: Several commenters stated                   guidelines.928                                   reduced and $/MWh of electricity
                                                 that the EPA must respect the broad                        The EPA agrees that states have
                                                 authority granted to states under the                   authority to consider ‘‘other                      929 ‘‘Other factors’’ may include facility-specific

                                                 CAA and that while the EPA’s                                                                             circumstances and factors that the EPA did not
                                                                                                                                                          anticipate and consider in the applicable emission
                                                 information on various factors is helpful                926 See 88 FR 80509–17 (November 17, 2023).
                                                                                                                                                          guideline that make achieving the EPA’s degree of
                                                 to states, states may readily deviate from               927 See id. at 80526–27.
                                                                                                                                                          emission limitation unreasonable for that facility.
                                                 the emission guidelines in order to                      928 40 CFR 60.20a(a).                           88 FR 80480, 80521 (November 17, 2023).



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                                                 generated. States should justify why any                that, respectively, is no less stringent or         the degree of emission limitation due to
                                                 additional cost metrics are relevant to                 no longer than necessary to address the             fundamental differences between the
                                                 determining whether a particular                        fundamental difference that was the                 circumstances of that particular EGU
                                                 affected EGU can reasonably achieve the                 basis for invoking RULOF. That is, the              and the circumstances the EPA
                                                 applicable degree of emission                           standard of performance or compliance               considered in the emission guidelines, it
                                                 limitation.                                             schedule must be as close to the EPA’s              may not be necessary for the state to
                                                    The EPA did not state that a cost that               degree of emission limitation or                    evaluate other systems of emission
                                                 is greater than the 95th percentile of                  compliance schedule as reasonably                   reduction to determine the less stringent
                                                 fleetwide costs would necessarily justify               possible for that particular EGU.                   standard of performance. In this
                                                 invocation of RULOF. Nor did the EPA                       The EPA notes that the proposed                  instance, the state and affected EGU
                                                 intend to suggest that such costs are the               emission guidelines would have                      would determine the degree of emission
                                                 only way states can demonstrate that the                included requirements for how states                limitation the EGU can reasonably
                                                 costs for a particular affected EGU are                 determine less stringent standards of               achieve, consistent with the
                                                 fundamentally different. While it may                   performance, including what systems of              requirement that it be no less stringent
                                                 be an appropriate benchmark in some                     emission reduction states must evaluate             than necessary. That degree of emission
                                                 cases, there are other ways for states to               and the order in which they must be                 limitation would be the basis for the less
                                                 demonstrate that the cost for a particular              evaluated. These proposed requirements              stringent standard of performance. For
                                                 affected EGU is an outlier. That is, the                were intended to ensure that states                 example, assume an affected EGU in the
                                                 EPA is not requiring that the unit-                     reasonably consider the controls that               long-term coal-fired steam generating
                                                 specific costs be above the 95th                        may qualify as a source-specific                    EGU subcategory is intending to install
                                                 percentile in order to demonstrate that                 BSER.930 However, the final RULOF                   CCS and the state has demonstrated that
                                                 they are fundamentally different from                   provisions in subpart Ba for determining            it is not reasonably possible for the
                                                 the costs the Agency considered in these                less stringent standards of performance             capture equipment at that particular
                                                 emission guidelines. As discussed                       differ from the proposed subpart Ba                 EGU to achieve 90 percent capture of
                                                 elsewhere in this section of the                        provisions in a way that obviates the               the mass of CO2 in the flue gas
                                                 preamble, the diversity in circumstances                need for the separate requirements                  (corresponding to an 88.4 percent
                                                 of individual affected EGUs under these                 proposed in these emission guidelines.              reduction in emission rate), but it can
                                                 emission guidelines makes it infeasible                 First, as opposed to determining a                  reasonably achieve 85 percent capture.
                                                 for the EPA to a priori define a bright                 source-specific BSER for sources that               If the source cannot reasonably achieve
                                                 line for what constitutes reasonable                    have met the threshold requirements for             an 88.4 percent reduction in emission
                                                 versus unreasonable costs for individual                RULOF, states determine the standard of             rate using any other system of emission
                                                 units in these emission guidelines.                     performance that is no less stringent               reduction, the state may apply a less
                                                    Comment: One commenter noted that                    than the EPA’s degree of emission                   stringent standard of performance that
                                                 the EPA should only approve the use of                  limitation than necessary to address the            corresponds to 85 percent capture
                                                 RULOF to provide a longer compliance                    fundamental difference. Second, the                 without needing to evaluate further
                                                 schedule where there is clearly                         process for determining such a standard             systems of emission reduction.
                                                 documented evidence (e.g., receipts,                    of performance that the EPA finalized at               In other cases, however, an affected
                                                 invoices, actual site work) that a source               40 CFR 60.24a(f)(1) involves evaluating,            EGU may not be implementing the
                                                 is making best endeavors to achieve                     to the extent necessary, the systems of             BSER and may not be able to reasonably
                                                 compliance as expeditiously as possible.                emission reduction that the EPA                     achieve the applicable degree of
                                                    Response: The EPA believes this kind                 identified in the applicable emission               emission limitation (i.e., the
                                                 of evidence is strong support for                       guidelines using the factors and                    presumptive standard of performance)
                                                 providing a longer compliance                           evaluation metrics that the Agency                  using any control strategy. In such
                                                 schedule. The Agency further believes                   considered in assessing those systems.              situations, the state must determine the
                                                 that states should show that the need to                Because the final RULOF provisions of               standard of performance that is no less
                                                 provide a longer compliance schedule is                 subpart Ba create essentially the same              stringent than necessary by evaluating
                                                 notwithstanding best efforts on the parts               process as the provisions the EPA                   the systems of emission reduction the
                                                 of all relevant parties to achieve timely               proposed for determining a less                     EPA considered in these emission
                                                 compliance. The EPA is not, however,                    stringent standard of performance under             guidelines, using the factors and
                                                 precluding the possibility that states                  these emission guidelines, the EPA has              evaluation metrics the EPA considered
                                                 could reasonably justify a longer                       determined it is not necessary to finalize          in assessing those systems. States may
                                                 compliance schedule based on other                      those provisions here.                              also consider additional systems of
                                                 types of information or evidence.                          The EPA anticipates that states                  emission reduction that the EPA did not
                                                                                                         invoking RULOF for affected EGUs will               identify but that the state believes are
                                                 b. Calculation of a Standard of
                                                                                                         do so because an EGU is in one of two               available and may be reasonable for a
                                                 Performance That Accounts for RULOF
                                                                                                         circumstances: it is implementing the               particular affected EGU.
                                                    If a state has demonstrated that a                   control strategy the EPA determined is                 The requirement at 40 CFR
                                                 particular affected EGU is unable to                    the BSER but cannot achieve the degree              60.24a(f)(1) provides that a state must
                                                 reasonably achieve the applicable                       of emission limitation in the emission              evaluate these systems of emission
                                                 degree of emission limitation or                        guideline using that control (or any                reduction to the extent necessary to
                                                 compliance schedule under these                         other system of emission reduction); or             determine the standard of performance
                                                 emission guidelines per 40 CFR
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                                                                                                         it is not implementing the BSER and                 that is as close as reasonably possible to
                                                 60.24a(e), it may then apply a less                     cannot reasonably achieve the degree of             the presumptive standard of
                                                 stringent standard of performance or                    emission limitation using any system of             performance under these emission
                                                 longer compliance schedule according                    emission reduction.                                 guidelines. It will most likely not be
                                                 to the process laid out in 40 CFR                          If an affected EGU will be                       necessary for a state to consider all of
                                                 60.24a(f). Pursuant to that process, the                implementing the BSER but cannot meet               the systems that the EPA identified for
                                                 state must determine the standard of                                                                        a given affected EGU. For example, if
                                                 performance or compliance schedule                       930 See 88 FR 33384 (May 23, 2023).                the state has already determined it is not


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                                                 reasonably possible for an affected EGU                 particular EGU. For example, if a state                 pursuant to RULOF are, by their nature,
                                                 to implement one of these control                       determined that it is physically                        source-specific, the EPA is not
                                                 strategies, at any stringency, as part of               impossible or technically infeasible                    providing particular increments of
                                                 its demonstration under 40 CFR                          and/or unreasonably costly for a long-                  progress for sources for which RULOF
                                                 60.24a(e) that a less stringent standard                term coal-fired affected EGU to                         has been invoked in these emission
                                                 of performance is warranted, the state                  construct a CO2 pipeline because the                    guidelines. Therefore, states must
                                                 does not need to evaluate that system                   EGU is located on a remote island, the                  provide increments of progress for
                                                 again. Similarly, if a state starts by                  state could consider that information in                RULOF sources in their state plans that
                                                 evaluating the system that achieves the                 evaluating additional systems of                        comply with the generally applicable
                                                 greatest emission reductions and                        emission reduction, as well.                            requirements in 40 CFR 60.24a(d) and
                                                 determines the affected EGU can                            The general implementing regulations                 40 CFR 60.21a(h).
                                                 implement that system, it is most likely                at 40 CFR 60.24a(f)(2) provide that any                   Additionally, 40 CFR 60.24a(h)
                                                 not necessary for the state to consider                 less stringent standards of performance                 requires that a less stringent standard of
                                                 the other systems on the list in order to               that a state applies pursuant to RULOF                  performance must meet all other
                                                 determine that the resulting standard of                must be in the form required by the                     applicable requirements of both the
                                                 performance is no less stringent than                   applicable emission guideline. The                      general implementing regulations and
                                                 necessary. The Agency anticipates that                  presumptive standards of performance                    these emission guidelines.
                                                 states will leverage the information the                the EPA is providing in these emission
                                                                                                                                                                 i. Determining a Less-Stringent Standard
                                                 EPA has provided regarding systems of                   guidelines are rate-based emission
                                                                                                                                                                 of Performance for Long-Term Coal
                                                 emission reduction in these emission                    limitations. In order to ensure that a
                                                                                                                                                                 Fired Steam Generating EGUs
                                                 guidelines, as well as the wealth of                    source-specific standard of performance
                                                 other technical, cost, and related                      is no less stringent than the EPA’s                        The EPA identified four potential
                                                 information on various control systems                  presumptive standard than necessary,                    systems of emission reduction for long-
                                                 in the record for this final action, in                 the source-specific standard pursuant to                term coal-fired steam generating EGUs:
                                                 conducting their evaluations under 40                   RULOF must be determined and                            CCS with 90 percent CO2 capture, CCS
                                                 CFR 60.24a(f). In many cases, it will be                expressed in the form of a rate-based                   with partial CO2 capture/lower capture
                                                 possible for states to use information the              emission limitation. That is, the systems               rates, natural gas co-firing, and HRI. If
                                                 EPA has provided as a starting point                    of emission reduction that states                       a state has demonstrated, pursuant to 40
                                                 and particularize it for the                            evaluate pursuant to 40 CFR 60.24a(f)(1)                CFR 60.24a(e), that a particular affected
                                                 circumstances of an individual affected                 must be systems for reducing a source’s                 coal-fired EGU in the long-term
                                                 EGU.931                                                 emission rate and the state must apply                  subcategory can install and operate CCS
                                                    For systems of emission reduction                    a standard of performance expressed as                  but cannot reasonably achieve an 88.4
                                                 that have a range of potential                          an emission rate, in lb CO2/MWh,932                     percent degree of emission limitation
                                                 stringencies, states should start by                    that is no less stringent than necessary.               using CCS or any other systems of
                                                 evaluating the most stringent iteration                 As discussed in section X.D.1.b of this                 emission reduction, under the process
                                                 that is potentially feasible for the                    preamble, the EPA is not providing that                 laid out in 60.24a(f)(1) the state would
                                                 particular affected EGU. If that level of               affected EGUs with standards of                         proceed to evaluate CCS with lower
                                                 stringency is not reasonable, the state                 performance pursuant to consideration                   rates of CO2 capture. The state would
                                                 should also evaluate other stringencies                 of RULOF can use mass-based or rate-                    identify the most stringent degree of
                                                 as may be needed to determine the                       based compliance flexibilities under                    emission limitation the affected EGU
                                                 standard of performance that is no less                 these emission guidelines.                              can reasonably achieve using CCS and
                                                 stringent than the applicable degree of                    The general implementing regulations                 that degree of emission limitation would
                                                 emission limitation in these emission                   also provide that any compliance                        become the basis for the source’s less
                                                 guidelines than necessary.                              schedule extending more than twenty                     stringent standard of performance.933
                                                    In evaluating the systems of emission                months past the state plan submission                      If a state has demonstrated, pursuant
                                                 reduction identified in these emissions                 deadline must include legally                           to 40 CFR 60.24a(e), that a particular
                                                 guidelines, states must also consider the               enforceable increments of progress. 40                  affected coal-fired EGU cannot
                                                 factors and evaluation metrics that the                 CFR 60.24a(d). Due to the timelines the                 reasonably install and operate CCS as a
                                                 EPA considered in assessing those                       EPA is finalizing under these emission                  control strategy and cannot otherwise
                                                 systems, including technical feasibility,               guidelines, any affected EGU with                       achieve the presumptive standard of
                                                 the amount of emission reductions, any                  compliance obligations pursuant to                      performance, the state would proceed to
                                                 non-air quality health and                              consideration of RULOF will have a                      evaluate natural gas co-firing and HRI as
                                                 environmental impacts, and energy                       compliance schedule that triggers the                   potential control strategies. Because 40
                                                 requirements. 40 CFR 60.24a(f)(1). They                 need for increments of progress in state                CFR 60.24a(f)(1) requires that a standard
                                                 may also consider, in evaluating                        plans. Because compliance obligations                   of performance be no less stringent than
                                                 systems of emission reduction, other                                                                            necessary to address the fundamental
                                                 factors specific to the facility that                      932 The presumptive standards of performance for     differences that were the basis for
                                                 constitute a fundamental difference                     coal-fired steam-generating affected EGUs and base      invoking RULOF, states would start by
                                                                                                         load and intermediate load natural gas- and oil-fired   evaluating natural gas co-firing at 40
                                                 between the information the EPA                         steam generating affected EGUs are in units of lb
                                                 considered and the circumstances of the                 CO2/MWh; thus, any standards of performance             percent. If the affected EGU cannot
                                                 particular affected EGU and that were                   pursuant to consideration of RULOF must be
                                                                                                         determined in these units, as well. The presumptive        933 40 CFR 60.24a(f) requires that a standard of
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                                                 the basis of invoking RULOF for that                    standard of performance for low-load natural gas-       performance pursuant to consideration of RULOF
                                                                                                         fired and oil-fired affected EGUs are in units of lb    be no less stringent than necessary to address the
                                                   931 See, e.g., sections VII.C.1–4 of this preamble,   CO2/MMBtu. While the EPA does not expect that           fundamental difference identified under 40 CFR
                                                 the final TSD, GHG Mitigation Measures for Steam        states will use the RULOF provisions to provide         60.24a(e). If a particular affected EGU can install
                                                 Generation Units, the CO2 Capture Project Schedule      less stringent standards of performance for these       and operate CCS but only at such a low CO2 capture
                                                 and Operations Memo, Documentation for the              sources because their BSER is based on uniform          rate that it could reasonably achieve greater
                                                 Lateral Cost Estimation, Transport and Storage          fuels, should a state do so, the standard of            stringency based on natural gas co-firing, the state
                                                 Timeline Summary, and the Heat Rate Improvement         performance would be determined in units of lb          would apply a standard of performance based on
                                                 Method Costs and Limitations Memo.                      CO2/MMBtu.                                              natural gas co-firing.



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                                                 reasonably co-fire at 40 percent, the                   the need for, and length of, any               provide for the implementation and
                                                 state would proceed to evaluate lower                   compliance schedule extensions under           enforcement of the operating conditions,
                                                 levels of natural gas co-firing unless it               the RULOF provisions. For states that          including requirements for monitoring,
                                                 has demonstrated that the EGU cannot                    are applying less stringent standards of       reporting, and recordkeeping. The EPA
                                                 reasonably co-fire any amount of natural                performance that are based on a system         notes that there may be circumstances
                                                 gas. If that is the case, the state would               of emission reduction other than the           in which an affected EGU’s
                                                 then evaluate HRI as a control strategy.                BSER for that subcategory, states should       circumstances change after a state has
                                                 The EPA notes that states may also                      apply a compliance schedule consistent         submitted its state plan; states may
                                                 consider additional systems of emission                 with installation and implementation of        always submit plan revisions if needed
                                                 reduction that may be available and                     that system that is as expeditious as          to alter an enforceable requirement
                                                 reasonable for particular EGUs.                         practicable.934                                therein.
                                                                                                            Comment: One commenter asserted                Comment: One commenter stated that
                                                 ii. Determining a Less-Stringent                        that the 2023 proposed rule indicated          if a state does not accept the
                                                 Standard of Performance for Medium-                     that states invoking RULOF would be            presumptive standards of performance
                                                 Term Coal Fired Steam Generating                        required to evaluate certain controls, in      for a facility, it must establish federally
                                                 EGUs                                                    a certain order, as appropriate for            enforceable retirement dates and
                                                    The EPA identified three potential                   subcategories of affected EGUs. The            operating conditions for that facility.
                                                 systems of emission reduction for                       commenter stated that the EPA must             The commenter asserted that the CAA
                                                 affected coal-fired steam generating                    defer to states’ consideration of other        does not authorize the EPA to constrain
                                                 EGUs in the medium-term subcategory:                    systems of emission reduction that the         states’ discretion by requiring them to
                                                 CCS, natural gas co-firing, and HRI. The                EPA has determined are not the BSER,           impose such restrictions as the price for
                                                 EPA explained in section VII.D.2.b.i of                 including the manner in which the              exercising the RULOF authority granted
                                                 this preamble that the cost effectiveness               states choose to consider those systems.       by Congress. The commenter suggested
                                                 of CCS is less favorable for medium-                       Response: The EPA is not finalizing         that the EPA eliminate the requirement
                                                 term steam generating EGUs based on                     the proposed requirements in these             to include enforceable retirement dates
                                                 the short periods they have to amortize                 emission guidelines that would have            and restrictions on operations in
                                                 capital costs and utilize the IRC section               specified the systems of emission              conjunction with a RULOF
                                                 45Q tax credit. The EPA therefore                       reduction that states must consider            determination and stated that states
                                                 believes that it would be reasonable for                when invoking RULOF and the order in           should retain discretion to decide
                                                 states determining a less stringent                     which they consider them. The EPA is           whether and when, based on RULOF, it
                                                 standard of performance for an affected                 instead providing that states’ analyses        is necessary to impose such restrictions
                                                 EGU in the medium-term subcategory to                   and determinations of less stringent           on sources.
                                                 forgo evaluating CCS as a potential                     standards of performance pursuant to              Response: The EPA clarifies that
                                                 control strategy. States would therefore                RULOF must be conducted in                     states are in no way required to impose
                                                 start by evaluating lower levels of                     accordance with the generally                  enforceable retirement dates or
                                                 natural gas co-firing, unless a state has               applicable requirements of the part 60,        operating restrictions on affected EGUs
                                                 demonstrated pursuant to 40 CFR                         subpart Ba implementing regulations;           under these emission guidelines. It is
                                                 60.24a(e) that the particular EGU cannot                specifically, 40 CFR 60.24a(f). While the      entirely within a state’s control to
                                                 reasonably install and implement                        requirements under this regulation for         decide whether such a requirement is
                                                 natural gas co-firing as a system of                    determining less stringent standards of        appropriate for a source. If a state
                                                 emission reduction. If that is the case,                performance pursuant to RULOF are              determines that it is, in fact, appropriate
                                                 the state would evaluate HRI as the                     similar to the requirements proposed           to codify an affected EGU’s intention to
                                                 basis for a standard of performance that                under these emission guidelines, they          cease operating or limit its operations as
                                                 is no less stringent than necessary.                    are also, as described above, more             an enforceable requirement, the state
                                                    The EPA expects that any coal-fired                  flexible because they provide (1) that         may use such considerations as the
                                                 steam generating EGU to which a less                    states must consider other systems of          basis for applying, as warranted, a less
                                                 stringent standard of performance is                    emission reduction to the extent               stringent standard of performance to
                                                 being applied will be able to reasonably                necessary to determine the standard of         that source. This allowance is provided
                                                 implement some system of emission                       performance that is no less stringent          under the subpart Ba general
                                                 reduction; at a minimum, the Agency                     than the EPA’s degree of emission              implementing regulations, 40 CFR
                                                 believes that all sources could institute               limitation than necessary, and (2) that        60.24a(g).
                                                 approaches to maintain their historical                 states may consider other systems of
                                                 heat rates.                                             emission reduction, in addition to those       d. More Stringent Standards of
                                                                                                         the EPA identified in the applicable           Performance in State Plans
                                                 iii. Determining a Longer Compliance
                                                                                                         emission guidelines.                             States always have the authority and
                                                 Schedule
                                                                                                                                                        ability to include more stringent
                                                    Pursuant to 40 CFR 60.24a(f)(1), a                   c. Contingency Requirements
                                                                                                                                                        standards of performance and faster
                                                 longer compliance schedule pursuant to                     Per the general implementing                compliance schedules as federally
                                                 consideration of RULOF must be no                       regulations at 40 CFR 60.24a(g), if a state    enforceable requirements in their state
                                                 longer than necessary to address the                    invokes RULOF based on an operating            plans. They do not need to use the
                                                 fundamental difference identified                       condition within the control of an             RULOF provisions to do so. See 40 CFR
                                                 pursuant to 40 CFR 60.24a(e). For states
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                                                                                                         affected EGU, such as remaining useful         60.24a(i).
                                                 that are providing extensions to the                    life or a specific level of utilization, the
                                                 schedules in the EPA’s emission                         state plan must include such operating         e. Interaction of RULOF and Other State
                                                 guidelines, implementation of this                      condition or conditions as an                  Plan Flexibilities and Mechanisms
                                                 requirement is straightforward. States                  enforceable requirement. The state plan           The EPA discusses the ability of
                                                 should provide any information and                      must also include provisions that              affected EGUs with standards of
                                                 analyses discussed in other sections of                                                                performance determined pursuant to 40
                                                 this preamble as relevant to justifying                  934 See 40 CFR 60.24a(c).                     CFR 60.24a(f) to use compliance


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                                                 flexibilities under these emission                      the Agency believes there will remain          would trigger non-compliance with at
                                                 guidelines in section X.D of this                       very few, if any, circumstances in which       least one of the mandatory reliability
                                                 preamble.                                               states will need to provide                    standards approved by FERC or cause
                                                                                                         particularized compliance obligations          the loss of load expectation to increase
                                                 i. Use of RULOF To Address Reliability
                                                                                                         for an affected EGU based on a need to         beyond the level targeted by regional
                                                    The EPA, in determining the degree of                address reliability. However, there may        system planners as part of their
                                                 emission limitation achievable through                  be isolated instances in which a               established procedures for that
                                                 application of the BSER for coal-fired                  particular affected EGU cannot                 particular region. Specifically, this
                                                 steam generating EGUs, analyzed                         reasonably comply with the applicable          requires a clear demonstration that each
                                                 potential impacts of the BSERs on                       requirements due to a source-specific          unit for which use of RULOF is being
                                                 resource adequacy in addition to                        reliability issue. Such unit-specific          considered would be needed to
                                                 considering multiple studies on how                     reliability considerations may constitute      maintain the targeted level of resource
                                                 reliability could be impacted by these                  an ‘‘[o]ther circumstance[] specific to        adequacy.935 The analysis must also
                                                 emission guidelines. In doing so, the                   the facility’’ that makes it unreasonable      include a projection of the period of
                                                 Agency considered potential large-scale                 for a particular EGU to achieve the            time for which the particular affected
                                                 (regional and national) and long-term                   degree of emission limitation or               EGU is expected to be reliability critical.
                                                 impacts on the reliability of the                       compliance schedule the EPA has                States must also provide an analysis by
                                                 electricity system under CAA section                    provided in these emission guidelines.         the relevant reliability Planning
                                                 111(a)(1)’s ‘‘energy requirements’’                     40 CFR 60.24a(e)(1)(iii). The EPA is           Authority 936 that corroborates the
                                                 factor. In evaluating CCS as a control                  therefore confirming that states may use       asserted reliability risk and confirms
                                                 strategy for long-term coal-fired steam                 the RULOF provisions in 40 CFR 60.24a          that one or both of the circumstances
                                                 generating EGUs, the Agency                             to apply a less stringent standard of          would result from requiring the
                                                 determined that CCS as the BSER would                   performance or longer compliance               particular affected EGU to comply with
                                                 have limited and non-adverse impacts                    schedule to a particular affected EGU          its applicable requirements, and also
                                                 on the long-term structure of the power                 based on reliability considerations. The       confirms the period of time for which
                                                 sector or on reliability of the power                   EPA emphasizes that the RULOF                  the EGU is projected to be reliability
                                                 sector. See section VII.C.1.a.iii.(F) and               provisions should not be used to               critical. The state plan must also
                                                 final TSD, Resource Adequacy Analysis.                  provide a less stringent standard of           include a certification from the Planning
                                                 Additionally, the EPA has made several                  performance if the applicable degree of        Authority that the claims are accurate
                                                 adjustments to the final emission                                                                      and that the identified reliability
                                                                                                         emission limitation for an affected EGU
                                                 guidelines relative to proposal that                                                                   problem both exists and requires the
                                                                                                         is reasonably achievable. To do so
                                                 should have the effect of alleviating any                                                              specific relief requested.
                                                                                                         would be inconsistent with CAA
                                                 reliability concerns, including changing                                                                  To substantiate a reliability risk that
                                                                                                         sections 111(d) and 111(a)(1). Thus, to
                                                 the scope of units covered by these                                                                    stems from resource adequacy in
                                                                                                         the extent states and affected EGUs find
                                                 actions and removing certain                                                                           particular, the analyses must also
                                                                                                         it necessary to use RULOF to
                                                 subcategories, including one that would                                                                demonstrate that the specific affected
                                                                                                         particularize these emission guidelines’
                                                 have included an annual capacity factor                                                                EGU has been designated by the
                                                                                                         requirements for a specific unit based
                                                 limitation. See section XII.F of this                                                                  relevant Planning Authority as needed
                                                                                                         on reliability concerns, such
                                                 preamble for further discussion.                                                                       for resource adequacy and thus
                                                    While the EPA has determined that                    adjustments should take the form of
                                                                                                         longer compliance schedules.                   reliability, and that requiring that
                                                 the structure and requirements of these                                                                affected EGU to comply with the
                                                 emission guidelines will not negatively                    In order to meet the threshold for
                                                                                                         applying a less stringent standard of          requirements in these emission
                                                 impact large-scale and long-term                                                                       guidelines would interfere with its
                                                 reliability, it also acknowledges the                   performance or longer compliance
                                                                                                         schedule based on unit-specific                ability to serve this function as intended
                                                 more locationally specific, source-by-                                                                 by the Planning Authority. However, the
                                                 source decisions that go into                           reliability considerations under 40 CFR
                                                                                                         60.24a(e), a state must demonstrate a          EPA reiterates that the structure of the
                                                 maintaining grid reliability. For                                                                      subcategories for coal-fired steam
                                                 example, there may be circumstances in                  fundamental difference between the
                                                                                                         information the EPA considered on              generating affected EGUs in these final
                                                 which a balancing authority may need
                                                                                                         reliability and the circumstances of the       emission guidelines differs from the
                                                 to have a particular unit available at a
                                                                                                         specific unit. This demonstration would        proposal in ways that should provide
                                                 certain time in order to ensure
                                                                                                         be made by showing that requiring a            states and affected EGUs wider latitude
                                                 reliability of the larger system. As noted
                                                                                                         particular affected EGU to comply with         to make the operational decisions
                                                 above, the structure and various
                                                                                                         its presumptive standard of performance        needed to ensure resource adequacy.
                                                 mechanisms of these emission
                                                                                                         under the specified compliance                 Thus, again, the Agency expects that the
                                                 guidelines allow states and reliability
                                                                                                         timeframe would compromise                     circumstances in which states need to
                                                 authorities to plan for compliance in a
                                                                                                         reliability, e.g., by necessitating that the   rely on consideration of RULOF to
                                                 manner that preserves grid operators’
                                                 abilities to maintain electric reliability.             affected EGU be taken offline for a               935 See, e.g., the North American Electric
                                                 Specifically, coal-fired EGUs that are                  specific period of time during which a         Reliability Corporation’s ‘‘Probabilistic Assessment:
                                                 planning to cease operation do not have                 resource adequacy shortfall with               Technical Guideline Document,’’ August 2016.
                                                 control requirements under these                        adverse impacts would result. In order         https://www.nerc.com/comm/RSTC/PAWG/proba_
                                                 emission guidelines, the removal of the                 to make this demonstration, states must        technical_guideline_document_08082014.pdf.
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                                                                                                                                                           936 The North American Electric Reliability
                                                 imminent-term and near-term                             provide an analysis of the reliability risk    Corporation (NERC)’s currently enforceable
                                                 subcategories means that states and                     if the particular affected EGU were            definition of ‘‘Planning Authority’’ is, ‘‘[t]he
                                                 reliability authorities have greater                    required to comply with its applicable         responsible entity that coordinates and integrates
                                                 flexibility in the earlier years of                     presumptive standard of performance by         transmission Facilities and service plans, resource
                                                                                                                                                        plans, and Protection Systems.’’ Glossary of Terms
                                                 implementation, and the EPA is                          the compliance date, clearly                   Used in NERC Reliability Standards, Updated April
                                                 providing two dedicated reliability                     demonstrating that the EGU is reliability      1, 2024. https://www.nerc.com/pa/Stand/
                                                 mechanisms. Given these adjustments,                    critical such that requiring it to comply      Glossary%20of%20Terms/Glossary_of_Terms.pdf.



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                                                 particularize an affected EGU’s                         and ongoing opportunities to engage          analysis and consultation with planning
                                                 compliance obligation will be rare.                     EPA on this important topic.                 authorities described in this section of
                                                    The EPA will review these analyses                      Comment: The EPA received multiple        this preamble, that there is a
                                                 and documentation as part of its                        comments on the use of the RULOF             fundamental difference between the
                                                 evaluation of standards of performance                  provisions to address reliability. Several   information the EPA considered in these
                                                 and compliance schedules that states                    commenters emphasized that states            emission guidelines and the
                                                 apply based on consideration of                         need the ability to adjust affected EGUs’    circumstances and information relevant
                                                 reliability under the RULOF provisions.                 compliance obligations for reasons           to a particular affected EGU that makes
                                                    As described in sections X.C.1.d and                 linked to reliability. They elaborated       it unreasonable for that EGU to comply
                                                 XII.F.3.b of this preamble, the EPA is                  that an independent system operator/         with its presumptive standard of
                                                 providing two flexible mechanisms that                  regional transmission organization           performance by the applicable
                                                 states may incorporate in their plans                   determination that an affected EGU is        compliance date.
                                                 that, if utilized, would provide a                      needed for reliability would be                 The EPA stresses that a generic or
                                                 temporary delay of affected EGU’s                       anchored in a RULOF analysis that            unsubstantiated reliability or resource
                                                 compliance obligations if there is a                    considers forces that may drive the          adequacy concern is not sufficient to
                                                 demonstrated reliability need.937 The                   unit’s premature retirement. Some            substantiate a fundamental difference or
                                                 EPA anticipates that states discovering,                commenters indicated that use of             unreasonableness of complying with
                                                 after a state plan has been submitted                   RULOF to address such units would            applicable requirements. Simply
                                                 and approved, that a particular affected                allow those units to continue to operate     asserting that grid reliability or resource
                                                 EGU needs additional time to meet its                   for the required period of time, applying    adequacy is a concern for a state and
                                                 compliance obligation as a result of a                  routine methods of operation, to address     thus an affected EGU needs a less
                                                 reliability or resource adequacy issue                  grid reliability. They similarly noted       stringent standard of performance or
                                                 will avail themselves of these                          that sources that have foreseeable           longer compliance schedule would not
                                                 flexibilities. If a state anticipates that the          retirement glidepaths but are key            be sufficient. Rather, a state would have
                                                 reliability or resource adequacy issue                  resources could be offered a BSER that       to demonstrate, via the certification and
                                                 will persist beyond the 1-year extension                promotes the EPA’s carbon reduction          analysis described above, that the
                                                 provided by these flexible mechanisms,                  goals but falls outside of the Agency’s      relevant planning authority has
                                                 the EPA expects that states will also                   one-size-fits-all BSER approach.             designated a particular affected EGU as
                                                 initiate a state plan revision. In such a                  Another commenter suggested that
                                                                                                                                                      reliability or resource adequacy critical
                                                 state plan revision, the state must make                states should be able to modify a
                                                                                                                                                      and that requiring that EGU to comply
                                                 the demonstration and provides the                      subcategory in their plans to address a
                                                                                                                                                      with its standard of performance by the
                                                                                                         reliability issue, and provided the
                                                 analysis described above in order to use                                                             applicable compliance date would
                                                                                                         example of allowing a unit that is
                                                 to adjust an affected EGU’s compliance                                                               interfere with the maintenance of
                                                                                                         planning to retire at the end of 2032 but
                                                 obligations to address the reliability or                                                            reliability or resource adequacy as
                                                                                                         that is needed for reliability purposes at
                                                 resource adequacy issue at that time.                                                                intended by that planning authority.
                                                                                                         greater than 20 percent capacity factor
                                                    The EPA intends to continue                                                                          A standard of performance or
                                                                                                         to subcategorize as an imminent-term
                                                 engagement on the topic of electric                                                                  compliance schedule that has been
                                                                                                         unit despite operating past the end date
                                                 system reliability, resource adequacy,                                                               particularized for an affected EGU based
                                                                                                         for the imminent-term subcategory. The
                                                 and linkages to various EPA regulatory                                                               on consideration of reliability or
                                                                                                         commenter suggested that such a
                                                 efforts to ensure proper communication                                                               resource adequacy must, pursuant to 40
                                                                                                         modification could be justified under
                                                 with key stakeholders and Federal                       both the remaining useful life               CFR 60.24a(f), be no less stringent than
                                                 counterparts including DOE and FERC.                    consideration and the energy                 necessary to address the fundamental
                                                 Additionally, the Agency intends to                     requirements consideration of RULOF.         difference identified pursuant to 40 CFR
                                                 coordinate with its Federal partners                    Other commenters similarly requested         60.24a(e), which in this case would be
                                                 with expertise in reliability when                      that the EPA clarify that the RULOF          unit-specific grid reliability or resource
                                                 evaluating RULOF demonstrations that                    provisions can be used to accommodate        adequacy needs. A less stringent
                                                 invoke this consideration. There are also               the changes in the power sector, e.g., the   standard of performance does not
                                                 opportunities to potentially provide                    build-out of transmission and                necessarily correspond to a standard of
                                                 information and technical support on                    distribution infrastructure, that are        performance based on routine methods
                                                 implementation of these emission                        ongoing and that may impact the              of operation and maintenance.
                                                 guidelines and critical reliability                     anticipated operating horizons of some          The EPA notes that states do not need
                                                 considerations that will benefit states,                affected EGUs.                               to use the RULOF provisions to justify
                                                 affected sources, system planners, and                     Response: As explained above, the         the date on which a particular affected
                                                 reliability authorities. Specifically, the              EPA has analyzed the potential impacts       EGU plans to cease operation. RULOF
                                                 DOE–EPA MOU on Electric System                          of these emission guidelines and             only comes into play if there is a
                                                 Reliability provides a framework for                    determined that they would have              fundamental difference between the
                                                 ongoing engagement, and the EPA                         limited and non-adverse impacts on           information the EPA considered and the
                                                 intends to work with DOE to ensure that                 large-scale and long-term reliability and    information specific to an affected EGU
                                                 reliability stakeholders have additional                resource adequacy. However, the EPA          with a shorter remaining useful life that
                                                                                                         acknowledges that there may be               makes achieving the EPA’s presumptive
                                                    937 The mechanism described in section X.C.1.d
                                                                                                         reliability-related considerations that      standard of performance unreasonable,,
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                                                 of this preamble is not restricted to circumstances
                                                 in which a state needs to provide an affected EGU
                                                                                                         apply at the level of a particular EGU       e.g., the amortized cost of control. If a
                                                 with additional time to comply with its standard of     that the Agency could not have known         state elects to rely on an affected EGU’s
                                                 performance specifically for reliability or resource    or foreseen and did not consider in its      operating conditions, such as a plan to
                                                 adequacy, but it can be used for this purpose. The      broader assessment. As described above,      permanently cease operation, as the
                                                 reliability mechanism described in section XII.F.3.b
                                                 is specific to reliability and can be used to extend
                                                                                                         states may use the RULOF provision to        basis for applying a less stringent
                                                 the date by which a source plans to cease operating     address reliability or resource adequacy     standard of performance, those
                                                 by up to 1 year.                                        if they demonstrate, based on the            conditions must be included as an


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                                                 enforceable commitment in the state                     and correspondence with vendors and            The EPA is finalizing IoPs for affected
                                                 plan.                                                   regulators is helpful evidence for          EGUs based on BSERs that involve
                                                   As explained elsewhere in this                        demonstrating that states and affected      installation of emissions controls: long-
                                                 section of the preamble, the effect of                  EGUs have been making progress              term coal-fired EGUs and medium-term
                                                 RULOF is not to modify subcategories                    towards compliance and that the need        coal-fired EGUs. Units complying
                                                 under these emission guidelines but                     for a longer compliance schedule is due     through the BSER specified for each
                                                 rather to particularize the compliance                  to circumstances outside the affected       subcategory, either CCS for the long-
                                                 obligations of an affected EGU within a                 EGU’s control.                              term subcategory or natural gas co-firing
                                                 given subcategory. The EPA also notes                     In establishing a longer compliance       for the medium-term subcategory, must
                                                 that it is not finalizing the proposed                  schedule pursuant to 40 CFR                 use IoPs tailored to those BSERs. Units
                                                 imminent-term or near-term                              60.24a(f)(1), a state must demonstrate      complying through a different control
                                                 subcategories for affected coal-fired                   that the revised schedule is no longer      technology must adopt increments that
                                                 steam generating EGUs.                                  than necessary to accommodate               correspond to each of the steps in 40
                                                 ii. Use of RULOF With Compliance Date                   circumstances that have resulted in the     CFR 60.21a(h). As specified in the
                                                 Extension Mechanism                                     delay.                                      proposal, each increment must be
                                                                                                                                                     assigned a calendar date deadline, but
                                                    As discussed in section X.C.1.d of the               3. Increments of Progress for Medium-       states have discretion to set those dates
                                                 preamble to this final rule, the EPA is                 Term and Long-Term Coal-Fired Steam         based on the unique circumstances of
                                                 allowing states to include in their plans               Generating EGUs                             each unit. The EPA is also finalizing its
                                                 a mechanism to provide a compliance                                                                 proposal to exempt the natural gas- and
                                                                                                            The EPA’s longstanding CAA section
                                                 deadline extension of up to 1 year for                                                              oil-fired EGU subcategories from IoP
                                                                                                         111 implementing regulations provide
                                                 certain affected EGUs. This mechanism                                                               requirements. These subcategories have
                                                 would be available for affected EGUs                    that state plans must include legally
                                                                                                         enforceable Increments of Progress          BSERs of routine operation and
                                                 with standards of performance that                                                                  maintenance, which does not require
                                                 require add-on control technologies and                 (IoPs) toward achieving compliance for
                                                                                                         each designated facility when the           the installation of significant new
                                                 that demonstrate the extension is                                                                   emission controls or operational
                                                 needed for installation of controls due                 compliance schedule extends more than
                                                                                                         a specified length of time from the state   changes.
                                                 to circumstances outside the control of                                                                The EPA is finalizing the proposed
                                                 the affected EGU. In the event the state                plan submission date. Under the subpart
                                                                                                                                                     approach allowing states to choose the
                                                 and affected EGU believe that 1 year                    Ba revisions finalized in November
                                                                                                                                                     calendar dates for all IoPs for long- and
                                                 will not be sufficient to remedy those                  2023, IoPs are required when the final
                                                                                                                                                     medium-term coal-fired EGUs, subject
                                                 circumstances, i.e., that the affected                  compliance deadline (i.e., the date on
                                                                                                                                                     to two constraints. The IoP
                                                 EGU will not be able to comply with its                 which affected EGUs must start
                                                                                                                                                     corresponding to 40 CFR 60.21a(h)(1),
                                                 standard of performance even with a 1-                  monitoring and reporting emissions data
                                                                                                                                                     submittal of a final control plan to the
                                                 year extension, the state may also start                and other information for purposes of
                                                                                                                                                     air pollution control agency, must be
                                                 the process of revising its plan to apply               demonstrating compliance with
                                                                                                                                                     assigned the earliest calendar date
                                                 a longer compliance schedule based on                   standards of performance) is more than
                                                                                                                                                     deadline among the increments, and the
                                                 consideration of RULOF. In order to                     20 months after the plan submittal
                                                                                                                                                     IoP corresponding to 40 CFR
                                                 demonstrate that there is a fundamental                 deadline. These emission guidelines for     60.21a(h)(5), final compliance, must be
                                                 difference between the circumstances of                 steam EGUs finalize a 24-month state        assigned a date aligned with the
                                                 the affected EGU and the information                    plan submission deadline and                compliance date for each subcategory,
                                                 the EPA considered in determining the                   compliance dates of January 1, 2032 (for    either January 1, 2032, for the long-term
                                                 compliance schedule in the emission                     long-term coal-fired EGUs), and January     subcategory or January 1, 2030, for the
                                                 guidelines, the state should provide                    1, 2030 (for all other steam generating     medium-term subcategory. The EPA
                                                 documentation to justify why it is                      EGUs), exceeding subpart Ba’s 20-month      believes that this approach will provide
                                                 unreasonable for the affected EGU to                    threshold. Under these emission             states and EGUs with flexibility to
                                                 meet that compliance schedule, even                     guidelines, in particular, the lengthy      account for idiosyncrasies in planning
                                                 with an additional year (providing that                 planning and construction processes         processes, tailor compliance timelines
                                                 the state has allowed for a 1-year                      associated with the CCS and natural gas     to individual facilities, allow
                                                 extension), based on one or more of the                 co-firing BSERs make IoPs an                simultaneous work toward separate
                                                 considerations in 40 CFR 60.24a(e)(1).                  appropriate mechanism to assure steady      increments, and ensure full performance
                                                 This documentation should demonstrate                   progress toward compliance and to           by the compliance date.
                                                 that the need to provide a longer                       provide transparency on that progress.         For coal-fired EGUs assigned to the
                                                 compliance schedule was due to                             The EPA received support for the         long-term and medium-term
                                                 circumstances outside the affected                      proposed approach to IoPs from many         subcategories and that adopt the
                                                 EGU’s control and that the affected EGU                 commenters; others, however, offered        corresponding BSER (CCS or natural gas
                                                 has met all relevant increments of                      adverse perspectives. Supportive            co-firing, respectively) as their
                                                 progress and other obligations in a                     commenters generally emphasized the         compliance strategy, the EPA is
                                                 timely manner up to the point at which                  need for clear, transparent, and            finalizing BSER-specific IoPs that
                                                 the delay occurred. That is, the state                  enforceable implementation                  correspond to the steps in 40 CFR
                                                 must demonstrate that the need to                       checkpoints between state plan              60.21a(h). Some increments have been
                                                 invoke RULOF and to provide a longer                    submittal and the compliance dates
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                                                                                                                                                     adjusted to more closely align with
                                                 compliance schedule was not caused by                   given the lengthy timelines affected        planning, engineering, and construction
                                                 self-created circumstances. As discussed                EGUs are being afforded to achieve their    steps anticipated for affected EGUs that
                                                 in sections X.C.1.d and X.C.2.a of this                 standards of performance. These             will be complying with standards of
                                                 preamble, documentation such as                         comments were broadly consistent with       performance with natural gas co-firing
                                                 permits obtained and/or contracts                       the proposed rationale for the IoPs.        or CCS, in particular; however, these
                                                 entered into for the installation of                    Adverse comments are addressed at the       technology-specific increments retain
                                                 control technology, receipts, invoices,                 end of this subsection of the preamble.     the basic structure and substance of the


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                                                 increments in the general implementing                  to achieve 90 percent CO2 capture on an      EGU to the appropriate air pollution
                                                 regulations under subpart Ba. In                        annual basis. (5) Demonstration that all     control agency. The final control plan
                                                 addition, consistent with 40 CFR                        permitting actions related to pipeline       must be consistent with the subcategory
                                                 60.24a(d), the EPA is finalizing similar                construction have commenced by a date        declaration in the state plan and must
                                                 additional increments of progress for the               specified in the state plan. Evidence in     include supporting analysis for the
                                                 long-term and medium-term coal-fired                    support of the demonstration must            affected EGU’s control strategy,
                                                 subcategories that are specific to                      include pipeline planning and design         including the design basis for
                                                 pipeline construction in order to ensure                documentation that informed the              modifications at the facility, the
                                                 timely progress on the planning,                        permitting process(es), a complete list of   anticipated timeline to achieve full
                                                 permitting, and construction activities                 pipeline-related permitting applications,    compliance, and the benchmarks
                                                 related to pipelines that may be required               including the nature of the permit           anticipated along the way. (2) Awarding
                                                 to enable full compliance with the                      sought and the authority to which each       of contracts for boiler modifications, or
                                                 applicable standard of performance. The                 permit application was submitted, an         issuance of orders for the purchase of
                                                 EPA is also finalizing an additional                    attestation that the list of pipeline-       component parts to accomplish such
                                                 increment of progress related to the                    related permits is complete with respect     modifications. Affected EGUs can
                                                 identification of an appropriate                        to the authorizations required to operate    demonstrate compliance with this
                                                 sequestration site for the long-term coal-              the facility at full compliance with the     increment by submitting sufficient
                                                 fired subcategory. Finally, the EPA is                  standard of performance, and a timeline      evidence that the appropriate contracts
                                                 finalizing a requirement that state plans               to complete all pipeline permitting          have been awarded. (3) Initiation of
                                                 must require affected EGUs with                         activities. (6) Submittal of a report        onsite construction or installation of any
                                                 increments of progress to post the                      identifying the geographic location          boiler modifications necessary to enable
                                                 activities or actions that constitute the               where CO2 will be injected                   natural gas co-firing at a level of 40
                                                 increments, the schedule required in the                underground, how the CO2 will be             percent on an annual average basis. (4)
                                                 state plan for achieving them, and,                     transported from the capture location to     Completion of onsite construction of
                                                 within 30 business days, any                            the storage location, and the regulatory     any boiler modifications necessary to
                                                 documentation necessary to                              requirements associated with the             enable natural gas co-firing at a level of
                                                 demonstrate that they have been                         sequestration activities, as well as an      40 percent on an annual average basis.
                                                 achieved to the Carbon Pollution                        anticipated timeline for completing          (5) Demonstration that all permitting
                                                 Standards for EGUs website, as                          related permitting activities. (7) Final     actions related to pipeline construction
                                                 discussed in section X.E.1.b.ii of this                 compliance with the standard of              have commenced by a date specified in
                                                 preamble, in a timely manner.                           performance. States must assign              the state plan. Evidence in support of
                                                    For coal-fired steam generating units                calendar deadlines for each increment        the demonstration must include
                                                 in the long-term subcategory adopting                   consistent with the following                pipeline planning and design
                                                 CCS as their compliance approach, the                   requirements: the first increment,           documentation that informed the
                                                 EPA is finalizing the following seven                   submission of a final control plan, must     permitting application process, a
                                                 IoPs as enforceable elements required to                be assigned the earliest calendar date       complete list of pipeline-related
                                                 be included in a state plan: (1)                        among the increments; the seventh            permitting applications, including the
                                                 Submission of a final control plan for                  increment, final compliance must be set      nature of the permit sought and the
                                                 the affected EGU to the appropriate air                 for January 1, 2032.                         authority to which each permit
                                                 pollution control agency. The final                        For coal-fired steam generating units     application was submitted, an
                                                 control plan must be consistent with the                in the long-term subcategory adopting a      attestation that the list of pipeline-
                                                 subcategory declaration in the state plan               compliance approach that differs from        related permit applications is complete
                                                 and must include supporting analysis                    CCS, the EPA is finalizing the               with respect to the authorizations
                                                 for the affected EGU’s control strategy,                requirement that states adopt IoPs for       required to operate the facility at full
                                                 including a feasibility and/or FEED                     each affected EGU that are consistent        compliance with the standard of
                                                 study, the anticipated timeline to                      with the IoPs at 40 CFR 60.21a(h). As        performance, and a timeline to complete
                                                 achieve full compliance, and the                        with long-term units adopting CCS as         all pipeline permitting activities. (6)
                                                 benchmarks anticipated along the way.                   their compliance strategy, states must       Final compliance with the standard of
                                                 (2) Awarding of contracts for emission                  assign calendar deadlines for each           performance. States must also assign
                                                 control systems or for process                          increment consistent with the following      calendar deadlines for each increment
                                                 modifications, or issuance of orders for                requirements: the first increment,           consistent with the following
                                                 the purchase of component parts to                      corresponding to 40 CFR 60.21a(h)(1),        requirements: the first increment,
                                                 accomplish emission control or process                  must be assigned the earliest calendar       submission of a final control plan, must
                                                 modification. Affected EGUs can                         date among the increments; the final         be assigned the earliest calendar date
                                                 demonstrate compliance with this                        increment, corresponding to 40 CFR           among the increments; the sixth
                                                 increment by submitting sufficient                      60.21a(h)(5), must be set for January 1,     increment, final compliance, must be set
                                                 evidence that the appropriate contracts                 2032.                                        for January 1, 2030.
                                                 have been awarded. (3) Initiation of                       For coal-fired steam generating units        For coal-fired steam generating units
                                                 onsite construction or installation of                  in the medium-term subcategory               in the medium-term subcategory
                                                 emission control equipment or process                   adopting natural gas co-firing as their      adopting a compliance approach that
                                                 change required to achieve 90 percent                   compliance approach, the EPA is              differs from natural gas co-firing, the
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                                                 CO2 capture on an annual basis. (4)                     finalizing the following six IoPs as         EPA is finalizing the requirement that
                                                 Completion of onsite construction or                    enforceable elements required to be          states adopt IoPs for each affected EGU
                                                 installation of emission control                        included in a state plan: (1) Submission     that are consistent with the increments
                                                 equipment or process change required                    of a final control plan for the affected     in 40 CFR 60.21a(h).




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                                                 As with medium-term units adopting                      changed circumstances, the EPA is           affected EGUs demonstrating that they
                                                 natural gas co-firing as their compliance               finalizing the approach to IoPs as          plan to cease operations and use that
                                                 strategy, states must assign calendar                   proposed.                                   voluntary commitment for eligibility for
                                                 deadlines for each increment consistent                    Comment: Some commenters raised          the imminent-term, near-term, or
                                                 with the following requirements: the                    concerns related to length of time          medium-term subcategory. No reporting
                                                 first increment, corresponding to 40                    between the state plan submittal            obligations and milestones were
                                                 CFR 60.21a(h)(1), must be assigned the                  deadline and the final compliance dates,    proposed for affected EGUs within the
                                                 earliest calendar date among the                        namely that some IoPs will take place       long-term subcategory since a voluntary
                                                 increments; the final increment,                        too far into the future to be reliably      commitment to cease operations was not
                                                 corresponding to 40 CFR 60.21a(h)(5),                   assigned calendar date deadlines.           part of the subcategory’s applicability
                                                 must be set for January 1, 2030.                           Response: As noted above, the EPA        criteria. The proposed rationale for the
                                                    The EPA notes that if an affected EGU                has concluded that length of time           milestone requirements recognized that
                                                 receives approval for a compliance date                 between the state plan submittal            the proposed subcategories were based
                                                 extension, the date for at least one, if not            deadline and the compliance deadlines       on the operating horizons of units
                                                 several, IoPs must be adjusted to align                 for units in the medium-term and long-      within each subcategory, and that there
                                                 with the revised compliance date. The                   term subcategories as well as the           were numerous steps that EGUs in these
                                                 new dates for the relevant IoPs must be                 anticipated complexity for units to         subcategories need to take in order to
                                                 specified in the application for the                    comply with the final standards of          effectuate their commitments to cease
                                                 extension. The EPA notes that the last                  performance necessitate the use of          operations. The proposed reporting
                                                 increment—final compliance—should                       discrete interim checkpoints prior to       obligations and milestones were
                                                 be no later than 1 year after the original              final compliance, formally established      intended to provide transparency and
                                                 compliance date, pursuant to the                        as increments of progress, to ensure        assurance that affected EGUs could
                                                 requirements described in section                       timely and transparent progress toward      complete the steps necessary to qualify
                                                 X.C.1.d.                                                each unit’s compliance obligation. It       for a subcategory with a less stringent
                                                    Comment: The EPA received                            would be inconsistent to determine that     standard of performance.938
                                                 comments that the proposed IoPs are too                 the same factors necessitating the             Of the proposed subcategories for
                                                 restrictive and may limit certain                       increments—the length of time between       which the reporting obligations and
                                                 implementation flexibilities, namely                    the state plan submittal deadline and       milestones were proposed to apply, the
                                                 that the burden to adjust IoPs after state              the compliance obligation as well as the    EPA’s final emission guidelines retain
                                                 plan submittal will limit sources’ ability              complex nature of the implementation        only the medium-term coal-fired
                                                 to switch subcategories or adjust                       process—also eliminate the IoPs’ core       subcategory. Though the EPA is
                                                 implementation timelines due to                         accountability function by prohibiting      finalizing only one subcategory with an
                                                 unforeseen circumstances.                               the assignment of calendar date             associated operational time horizon, the
                                                    Response: The EPA has considered                     deadlines. Finally, as described above,     Agency has determined that the original
                                                 these comments and notes that the final                 the final emission guidelines also allow    rationale for the milestones is still valid.
                                                 rule includes planning flexibilities to                 states and affected EGUs significant        That is, the BSER determination for
                                                 address these situations. The first of                  flexibility to determine when each          EGUs assigned to the medium-term
                                                 these flexibilities is embedded in the                  increment applies.                          subcategory is contingent on sources
                                                 subpart Ba regulations governing                           Comment: Some commenters raised          within this subcategory having limited
                                                 optional state plan revisions. Plan                     concerns that the IoPs could limit          operating horizons relative to affected
                                                 revisions, including revisions to                       affected EGUs from selecting                EGUs in the long-term subcategory, and
                                                 subcategory assignments and any                         compliance approaches that differ from      the integrity of the subcategory
                                                 corresponding IoPs, may be used at a                    the BSER technology associated with         approach and the environmental
                                                 state’s discretion to account for changes               each subcategory, namely averaging and      integrity of these emission guidelines
                                                 in planned compliance approaches. 40                    trading.                                    depend on sources behaving consistent
                                                 CFR 60.28a. Such revisions can also                        Response: Under the approach             with the operating horizon they have
                                                 include RULOF-based adjustments to                      finalized in this rule, units assigned to   represented in the state plan. The steps
                                                 approved standards of performance as                    the long-term and medium-term               required for EGUs to cease operations
                                                 well as the timelines to meet those                     subcategories that do not adopt the         are numerous and vary across
                                                 standards, including the IoPs. Further,                 associated BSER as part of their            jurisdictions; giving states, the EPA, and
                                                 as mentioned above, the compliance                      compliance strategy must establish date-    other stakeholders insight into these
                                                 date extension mechanism described in                   specified IoPs consistent with the          steps and affected EGUs’ progress along
                                                 section X.C.1.d allows for modification                 subpart Ba IoPs codified at 40 CFR          these steps provides assurance that they
                                                 of the IoPs to align with an approved                   60.21a(h). That is, states will             are on track to meeting their state plan
                                                 compliance date extension. In addition,                 particularize the generic IoPs in subpart   requirements. The reporting obligations
                                                 the subcategory structure of these final                Ba as appropriate for affected EGUs that    and milestones the EPA is finalizing
                                                 emission guidelines differs from that at                comply with their standards of              under these emission guidelines are a
                                                 proposal such that it is less likely that               performance using control technologies      reasonable approach to assuring
                                                 affected coal-fired EGUs will switch                    other than CCS (for long-term units) or     transparency and timely compliance;
                                                 subcategories. In the event that an                     natural gas co-firing (for medium-term      they can also serve as an early
                                                 affected EGU does switch between the                    units). The EPA discusses                   indication that a state plan revision may
                                                 long-term and medium-term
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                                                                                                         considerations relevant to averaging and    be necessary if it becomes apparent that
                                                 subcategories, the state plan revision                  trading in section X.D of this preamble.    an affected EGU is not meeting its
                                                 process is the most appropriate                                                                     designated milestones. Further, the
                                                 mechanism because a different control                   4. Reporting Obligations and Milestones     agency has determined that a similar
                                                 strategy may be appropriate. Based on                   for Affected EGUs That Plan to              rationale for requiring reporting
                                                 this consideration and the availability of              Permanently Cease Operations                obligations and milestones applies to
                                                 planning flexibilities to account for                      The EPA proposed legally enforceable
                                                 changes in compliance plans and                         reporting obligations and milestones for      938 88 FR 33390 (May 23, 2023).




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                                                 affected EGUs that invoke RULOF based                   milestones in particular and states will      relevant reliability authority in response
                                                 on a unit’s remaining useful life. States               select additional steps for reporting         to the EGU’s deactivation notification;
                                                 may apply a less stringent standard of                  milestones. The requirements being            any notification from a relevant
                                                 performance to a particular affected                    established under these emission              reliability authority that the EGU may
                                                 EGU if its shorter remaining useful life                guidelines do not require milestone           be needed for reliability purposes
                                                 results in a fundamental difference                     steps to be taken at any particular           notwithstanding the EGU’s intent to
                                                 between the circumstances of that EGU                   time—they merely require reporting on         deactivate; and any notification to or
                                                 and the information the EPA                             when a source intends to reach each of        from an RTO, ISO, or balancing
                                                 considered, and that difference makes it                its designated milestones and whether         authority altering the timing of
                                                 unreasonable for the EGU to achieve the                 and when it has actually done so. The         deactivation for the EGU.
                                                 presumptive standard of performance.                    reporting obligations and milestone              For each of the remaining years prior
                                                 However, if such a unit continues to                    requirements count backward from the          to the date by which an affected EGU
                                                 operate past the date by which it                       calendar date by which an affected EGU        has committed to permanently cease
                                                 previously committed to cease                           has committed to permanently cease            operations that is included in the state
                                                 operating, the basis for the less stringent             operations, which must be included in         plan, it must submit an annual
                                                 standard of performance is abrogated                    the state plan, to monitor timely             Milestone Status Report that addresses
                                                 and the environmental integrity of the                  progress toward that date. Five years         the following: (1) Progress toward
                                                 emission guidelines compromised.                        before any planned date to permanently        meeting all milestones identified in the
                                                 Therefore, as for affected EGUs in the                  cease operations or 60 days after state       Initial Milestone Report; and (2)
                                                 medium-term subcategory, the reporting                  plan submission, whichever is later, the      supporting regulatory documents and
                                                 obligations and milestones are an                       owner or operator of affected EGUs must       relevant SEC filings, including
                                                 essential component of assuring that                    submit an Initial Milestone Report to the     correspondence and official filings with
                                                 affected EGUs that invoke RULOF based                   applicable air pollution control agency       the relevant regional transmission
                                                 on a unit’s remaining useful life are                   that includes the following: (1) A            organization, balancing authority,
                                                 actually able to satisfy the condition of               summary of the process steps required         public utility commission, or other
                                                 receiving the less stringent standard in                for the affected EGU to permanently           applicable authority to demonstrate
                                                 the first instance.                                                                                   compliance with or progress toward all
                                                                                                         cease operation by the date included in
                                                    The EPA is finalizing the following                                                                milestones.
                                                                                                         the state plan, including the
                                                 milestones and reporting requirements,
                                                                                                         approximate timing and duration of               The EPA is also finalizing a provision
                                                 explained in more detail below, for both
                                                                                                         each step and any notification                that affected EGUs with reporting
                                                 affected EGUs assigned to the medium-
                                                                                                         requirements associated with                  milestones associated with
                                                 term subcategory and affected EGUs that
                                                                                                         deactivation of the unit. (2) A list of key   commitments to permanently cease
                                                 invoke RULOF based on a unit’s
                                                                                                         milestones that will be used to assess        operations would be required to submit
                                                 remaining useful life. These sources
                                                                                                         whether each process step has been met,       a Final Milestone Status Report no later
                                                 must submit an Initial Milestone Report
                                                                                                         and calendar day deadlines for each           than 6 months following its committed
                                                 five years before the date by which it
                                                 will permanently cease operations,                      milestone. These milestones must              closure date. This report would
                                                 annual Milestone Status Reports for                     include at least the initial notice to the    document any actions that the unit has
                                                 each intervening year between the                       relevant reliability authority of an EGU’s    taken subsequent to ceasing operation to
                                                 initial report and the date operations                  deactivation date and submittal of an         ensure that such cessation is permanent,
                                                 will cease, and a Final Milestone Status                official retirement filing with the EGU’s     including any regulatory filings with
                                                 Report no later than six months from the                reliability authority. (3) An analysis of     applicable authorities or
                                                 date by which the affected EGU has                      how the process steps, milestones, and        decommissioning plans.
                                                 committed to cease operating.                           associated timelines included in the             The EPA is finalizing a requirement
                                                    Commenters expressed a range of                      Initial Milestone Report compare to the       that affected EGUs with reporting
                                                 views regarding the proposed reporting                  timelines of similar EGUs within the          milestones for commitments to
                                                 obligations and milestones. Some were                   state that have permanently ceased            permanently cease operations must post
                                                 broadly supportive of the reporting                     operations within the 10 years prior to       their Initial Milestone Report, annual
                                                 milestones and the EPA’s stated                         the date of promulgation of these             Milestone Status Reports, and Final
                                                 rationale to provide a mechanism to                     emission guidelines. (4) Supporting           Milestone Status Report, including the
                                                 help ensure that affected EGUs progress                 regulatory documents, including               schedule for achieving milestones and
                                                 steadily toward a commitment to cease                   correspondence and official filings with      any documentation necessary to
                                                 operations when that commitment                         the relevant regional transmission            demonstrate that milestones have been
                                                 affects the stringency of their standard                organization (RTO), independent system        achieved, on the Carbon Pollution
                                                 of performance. Summaries of and                        operator (ISO), balancing authority,          Standards for EGUs website, as
                                                 responses to additional comments on                     public utility commission (PUC), or           described in section X.E.1.b, within 30
                                                 the reporting obligations and milestones                other applicable authority; any               business days of being filed. The EPA
                                                 are addressed at the end of this                        deactivation-related reliability              recognizes that applicable regulatory
                                                 subsection.                                             assessments conducted by the RTO or           authorities, retirement processes, and
                                                    The discussion below refers to                       ISO; and any filings pertaining to the        retirement approval criteria will vary
                                                 reporting ‘‘milestones.’’ Owners/                       EGU with the United States Securities         across states and affected EGUs. The
                                                 operators of sources take a number of                   and Exchange Commission (SEC) or              proposed milestone reporting
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                                                 process steps in preparing a unit to                    notices to investors, including but not       requirements are intended to establish a
                                                 cease operating (i.e., preparing it to                  limited to references in forms 10–K and       general framework flexible enough to
                                                 deactivate). The EPA is requiring that                  10–Q, in which the plans for the EGU          account for significant differences
                                                 states select certain of these steps to                 are mentioned; any integrated resource        across jurisdictions while assuring
                                                 serve as milestones for the purpose of                  plans and PUC orders approving the            timely planning toward the dates by
                                                 reporting where a source is in the                      EGU’s deactivation; any reliability           which affected EGUs permanently cease
                                                 process; the EPA is designating two                     analyses developed by the RTO, ISO, or        operations.


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                                                    Comment: Some commentors                             75 monitoring provisions require most                 b. CCS-Specific Technology Monitoring
                                                 questioned the need for the milestone                   coal-fired boilers to use a CO2                       and Reporting
                                                 reports by pointing to existing closure                 continuous emissions monitoring                          Affected EGUs employing CCS must
                                                 enforcement mechanisms within their                     system (CEMS), including both a CO2                   comply with relevant monitoring and
                                                 jurisdictions.                                          concentration monitor and a stack gas                 reporting requirements specific to CCS.
                                                    Response: The existence of                           flow monitor. Some oil- and gas-fired                 As described in the proposal, the CCS
                                                 enforceable mechanisms in some                          boilers may have options to use                       process is subject to monitoring and
                                                 jurisdictions does not obviate the need                 alternative measurement methodologies                 reporting requirements under the EPA’s
                                                 for the reporting milestones under these                (e.g., fuel flow meters combined with                 GHGRP (40 CFR part 98). The GHGRP
                                                 emission guidelines. First, the closure                 fuel quality data).                                   requires reporting of facility-level GHG
                                                 requirements, the nature of the                            The EPA received comments                          data and other relevant information
                                                 enforcement mechanisms, and process                     supporting and opposing the                           from large sources and suppliers in the
                                                 requirements to cease operations will                                                                         U.S. The ‘‘suppliers of carbon dioxide’’
                                                                                                         requirement to use 40 CFR part 75
                                                 vary across different jurisdictions, and                                                                      source category of the GHGRP (GHGRP
                                                                                                         monitoring, reporting, and
                                                 some jurisdictions may lack                                                                                   subpart PP) requires those affected
                                                                                                         recordkeeping requirements.
                                                 mechanisms entirely. The reporting                                                                            facilities with production process units
                                                 milestones framework sets a uniform                        Comment: Commenters generally                      that capture a CO2 stream for purposes
                                                 floor for reporting progress toward a                   supported these requirements, noting                  of supplying CO2 for commercial
                                                 commitment to cease operations,                         that the majority of EGUs affected by                 applications or that capture and
                                                 reducing differences in the quality and                 this rule already monitor and submit                  maintain custody of a CO2 stream in
                                                 scope of information available to the                   emissions reports under 40 CFR part 75                order to sequester or otherwise inject it
                                                 EPA and public regarding closures.                      under existing programs, including the                underground to report the mass of CO2
                                                 Second, the reporting milestones under                  Acid Rain Program and/or Regional                     captured and supplied. Facilities that
                                                 these emission guidelines serve the                     Greenhouse Gas Initiative—a                           inject a CO2 stream underground for
                                                 additional purpose of transparency and                  cooperative of several states formed to               long-term containment in subsurface
                                                 allowing all stakeholders to have access                reduce CO2 emissions from EGUs. In                    geologic formations report quantities of
                                                 to information related to affected EGUs’                addition, EGUs that are not required to               CO2 sequestered under the ‘‘geologic
                                                 ongoing compliance.                                     monitor and report under one of those                 sequestration of carbon dioxide’’ source
                                                    Comment: Some commentors noted                       programs may have 40 CFR part 75                      category of the GHGRP (GHGRP subpart
                                                 the unique EGU closure processes                        certified monitoring systems in place for             RR). In April 2024, to complement
                                                 within their own jurisdictions and                      the MATS or CSAPR.                                    GHGRP subpart RR, the EPA finalized
                                                 expressed concern as to whether the                        Response: The EPA agrees with these                the ‘‘geologic sequestration of carbon
                                                 milestones requirements were too rigid                  comments. Relying on the same                         dioxide with enhanced oil recovery
                                                 to accommodate them.                                    monitors that are certified and quality               (EOR) using ISO 27916’’ source category
                                                    Response: The reporting milestones                   assured in accordance with 40 CFR part                of the GHGRP (GHGRP subpart VV) to
                                                 are designed to create a flexible                       75 reduces implementation costs and                   provide an alternative method of
                                                 reporting framework that can                            ensures consistent emissions data across              reporting geologic sequestration in
                                                 accommodate differences in state                        regulatory programs.                                  association with EOR.940 941 942
                                                 closure processes. States can satisfy the                                                                        As discussed in section VII.C.1.a.vii,
                                                 required elements of the milestone                         Comment: Some commenters focused
                                                                                                                                                               the EPA is finalizing a requirement that
                                                 reports by explaining how the process                   on potential measurement bias of 40
                                                                                                                                                               any affected unit that employs CCS
                                                 steps for plant closures within their                   CFR part 75 certified monitoring
                                                                                                                                                               technology that captures enough CO2 to
                                                 jurisdiction work and establishing                      systems, with commenters split on
                                                                                                                                                               meet the standard and injects the
                                                 milestones corresponding to the process                 whether the data are biased high or low.
                                                                                                                                                               captured CO2 underground must report
                                                 steps required within individual                           Response: The EPA disagrees that the               under GHGRP subpart RR or GHGRP
                                                 jurisdictions.                                          data reported under 40 CFR part 75 are                subpart VV. If the emitting EGU sends
                                                                                                         biased significantly high or low. Each                the captured CO2 offsite, it must transfer
                                                 5. Testing and Monitoring Requirements
                                                                                                         CO2 CEMS must undergo regular quality                 the CO2 to a facility subject to the
                                                 a. Emissions Monitoring and Reporting                   assurance and quality control activities              GHGRP requirements, and the facility
                                                   The EPA proposed to require that                      including periodic relative accuracy test             injecting the CO2 underground must
                                                 state plans must include a requirement                  audits (RATAs) where a monitoring
                                                 that affected EGUs monitor and report                   system is compared to an independent                    940 EPA. (2024). Rulemaking Notices for GHG


                                                 hourly CO2 mass emissions emitted to                    monitoring system using EPA reference                 Reporting. https://www.epa.gov/ghgreporting/
                                                                                                         methods and NIST-traceable calibration                rulemaking-notices-ghg-reporting.
                                                 the atmosphere, total heat input, and                                                                           941 International Standards Organization (ISO)
                                                 total gross electricity output, including               gases. In a May 2022 study conducted                  standard designated as CSA Group (CSA)/American
                                                 electricity generation and, where                       by the EPA, the absolute value of the                 National Standards Institute (ANSI) ISO
                                                 applicable, useful thermal output                       median difference between EGUs’                       27916:2019, Carbon Dioxide Capture,
                                                                                                         monitoring systems and independent                    Transportation and Geological Storage—Carbon
                                                 converted to gross MWh, in accordance                                                                         Dioxide Storage Using Enhanced Oil Recovery (CO2-
                                                 with the 40 CFR part 75 monitoring,                     monitoring systems using EPA reference                EOR) (referred to as ‘‘CSA/ANSI ISO 27916:2019’’).
                                                 reporting, and recordkeeping                            methods was found to be approximately                   942 As described in 87 FR 36920 (June 21, 2022),

                                                 requirements. The EPA is finalizing a                   2 percent for CO2 concentration                       both subpart RR and subpart VV (CSA/ANSI ISO
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                                                 requirement that affected EGUs must                     monitors and stack gas flow monitors in               27916:2019) require an assessment and monitoring
                                                                                                         the years 2017 through 2021.939                       of potential leakage pathways; quantification of
                                                 use a 40 CFR part 75 certified                                                                                inputs, losses, and storage through a mass balance
                                                 monitoring methodology and report the                                                                         approach; and documentation of steps and
                                                                                                           939 Zintgraff, Stacey. 2022. Monitoring Insights:   approaches used to establish these quantities.
                                                 hourly data on a quarterly basis, with
                                                                                                         Relative Accuracy in EPA CAMD’s Power Sector          Primary differences relate to the terms in their
                                                 each quarterly report due to the                        Emissions Data. www.epa.gov/system/files/             respective mass balance equations, how each
                                                 Administrator 30 days after the last day                documents/2022-05/Monitoring%20Insights-              defines leakage, and when facilities may
                                                 in the calendar quarter. The 40 CFR part                %20Relative%20Accuracy.pdf.                           discontinue reporting.



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                                                 report under GHGRP subpart RR or                        outcomes of the guidelines.943 Thus, in                partake in these flexibilities, which may
                                                 GHGRP subpart VV. These emission                        the subpart Ba final rule the EPA                      limit their usefulness. A description of
                                                 guidelines do not change any of the                     returned to its longstanding position                  and responses to general comments on
                                                 requirements to obtain or comply with                   that CAA section 111(d) authorizes the                 these compliance flexibilities can be
                                                 a UIC permit for facilities that are                    EPA to approve state plans that achieve                found at the end of this subsection.
                                                 subject to the EPA’s UIC program under                  the requisite emission limitation                         The EPA notes that many other
                                                 the Safe Drinking Water Act.                            through aggregate reductions from their                features of the final emission guidelines
                                                                                                         sources, including through trading or                  provide the type of flexibility that the
                                                    The EPA also notes that compliance
                                                                                                         averaging, where appropriate for a                     commenters stated they wanted through
                                                 with the standard is determined
                                                                                                         particular emission guideline and                      the use of emission trading, averaging,
                                                 exclusively by the tons of CO2 captured                                                                        and/or unit-specific mass-based
                                                                                                         consistent with the intended
                                                 by the emitting EGU. The tons of CO2                                                                           compliance. First, as noted in section
                                                                                                         environmental outcomes under CAA
                                                 sequestered by the geologic                                                                                    X.C.1.b of this preamble, compliance
                                                                                                         section 111.944
                                                 sequestration site are not part of that                    In developing both the proposed and                 with presumptively approvable rate-
                                                 calculation, though the EPA anticipates                 final emission guidelines, the EPA                     based standards of performance is
                                                 that the quantity of CO2 sequestered will               heard from stakeholders that flexibilities             demonstrated on an annual basis, which
                                                 be substantially similar to the quantity                are important in complying with                        already provides flexibility around mass
                                                 captured. To verify that the CO2                        standards of performance under these                   emissions over an annual period (i.e., it
                                                 captured at the emitting EGU is sent to                 emission guidelines. The EPA proposed                  affords the affected EGU the ability over
                                                 a geologic sequestration site, we are                   to allow states to incorporate emission                the course of the year to vary its
                                                 leveraging regulatory requirements                      trading and averaging into their plans                 emission output, which may be useful
                                                 under the GHGRP. The BSER is                            under these emission guidelines,                       if, for example, it needs to temporarily
                                                 determined to be adequately                             provided that states ensure that the use               turn off its control equipment or
                                                 demonstrated based solely on geologic                   of such flexibilities will result in an                otherwise increase its emission rate).
                                                 sequestration that is not associated with               aggregate level of emission reduction                  Second, the EPA is finalizing two
                                                 EOR. However, EGUs also have the                        that is equivalent to each source                      mechanisms, described in section XII.F
                                                 compliance option to send CO2 to EOR                    individually achieving its standard of                 of this preamble, to address reliability
                                                 facilities that report under GHGRP                      performance.                                           concerns raised by commenters: a short-
                                                 subpart RR or GHGRP subpart VV. We                         Specifically, a variety of commenters               term reliability mechanism that allows
                                                 also emphasize that these emission                      from states, industry, RTO/ISOs, and                   affected EGUs to operate above their
                                                 guidelines do not involve regulation of                 NGOs emphasized the importance of                      standard of performance for a limited
                                                 downstream recipients of captured CO2.                  allowing states to incorporate not only                time in periods of emergency and a
                                                 That is, the regulatory standard applies                flexibilities that allow sources to                    reliability assurance mechanism to
                                                 exclusively to the emitting EGU, not to                 demonstrate compliance in the                          ensure sufficient capacity is available.
                                                 any downstream user or recipient of the                 aggregate, such as emission trading and                Finally, as described in section X.C.2 of
                                                 captured CO2. The requirement that the                  averaging, but also unit-specific mass-                this preamble, states may invoke
                                                 emitting EGU transfer the captured CO2                  based compliance into their plans. In                  RULOF to provide for less stringent
                                                 to an entity subject to the GHGRP                       particular, commenters expressed a                     standards of performance for affected
                                                 requirements is thus exclusively an                     strong preference for mass-based                       EGUs under certain circumstances
                                                 element of enforcement of the EGU                       compliance mechanisms, whether unit-                   (states may invoke RULOF both at the
                                                 standard. This will avoid duplicative                   specific or emission trading, and cited                time of initial state plan development as
                                                 monitoring, reporting, and verification                 reliability as a key driver of their                   well as through state plan revision
                                                 requirements between this proposal and                  support for such mechanisms. However,                  should the circumstances of an affected
                                                 the GHGRP, while also ensuring that the                 for the most part commenters did not                   EGU change following state plan
                                                 facility injecting and sequestering the                 provide detail on how flexibilities could              submission).
                                                 CO2 (which may not necessarily be the                   be designed under the unique                              The EPA believes that the use of
                                                 EGU) maintains responsibility for these                 circumstances of these emission                        compliance flexibilities, within the
                                                 requirements. Similarly, the existing                   guidelines. In addition, many                          parameters specified in these emission
                                                 regulatory requirements applicable to                   commenters did not specify as to the                   guidelines, may provide some
                                                 geologic sequestration are not part of the              usefulness of certain compliance                       additional operational flexibility to
                                                 final emission guidelines.                              flexibilities for steam generating EGUs                states and affected EGUs in achieving
                                                                                                         versus combustion turbine EGUs.                        the required emission reductions which,
                                                 D. Compliance Flexibilities                             Because these final emission guidelines                under these emission guidelines, are
                                                                                                         only apply to steam generating EGUs,                   achieved specifically through cleaner
                                                    In the finalized subpart Ba revisions,               there are fewer affected EGUs that could               performance. In particular, for aggregate
                                                 Adoption and Submittal of State Plans                                                                          compliance flexibilities like emission
                                                 for Designated Facilities: Implementing                   943 88 FR 80533 (November 17, 2023).                 averaging and trading, affected EGUs
                                                 Regulations Under Clean Air Act                            944 The EPA has authorized trading or averaging
                                                                                                                                                                may be able to capitalize on
                                                 Section 111(d), the EPA explained that,                 as compliance methods in several emission
                                                                                                                                                                heterogeneity in economic emission
                                                 under its interpretation of CAA section                 guidelines. See, e.g., 70 FR 28606, 28617 (May 18,
                                                                                                         2005) (Clean Air Mercury Rule authorized trading)      reduction opportunities based on minor
                                                 111, each state is permitted to include                 (vacated on other grounds); 40 CFR 60.24(b)(1)         differences in marginal emission
                                                 compliance flexibilities, including
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                                                                                                         (subpart B CAA section 111 implementing                abatement costs and/or operating
                                                 flexibilities that allow affected EGUs to               regulations promulgated in 2005 allow states’
                                                                                                                                                                parameters among EGUs. This
                                                 meet their emission limits in the                       standards of performance to be based on an
                                                                                                         ‘‘allowance system’’); 80 FR 64662, 64840 (October     heterogeneity may provide some
                                                 aggregate, in their state plans. The EPA                23, 2015) (CPP authorizing trading or averaging as     incentive among participating EGUs to
                                                 also explained that, in particular                      a compliance strategy). In the recent final emission   overperform (i.e., operate even more
                                                 emission guidelines, the Agency may                     guidelines for the oil and natural gas industry, the
                                                                                                         EPA also finalized a determination that states are
                                                                                                                                                                cleanly than required by the applicable
                                                 limit compliance flexibilities if                       permitted sources to demonstrate compliance in the     standard of performance, because of the
                                                 necessary to protect the environmental                  aggregate. 89 FR 16820 (March 8, 2024).                opportunity to sell compliance


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                                                 instruments to other units), while also                 section X.C.2 of this preamble, states         Section X.D.1 of this preamble
                                                 providing some limited opportunity for                  may use to apply a different standard of    discusses the fundamental requirement
                                                 other sources to vary their emission                    performance with a different degree of      that compliance flexibilities maintain
                                                 output.                                                 emission limitation than the EPA’s          the level of emission reduction of unit-
                                                    Therefore, the EPA is finalizing a                   presumptive standard. States                specific implementation, in order to
                                                 determination that the use of                           incorporating trading or averaging          inform states’ consideration of such
                                                 compliance flexibilities, including                     would not need to undergo a RULOF           flexibilities for any use in their state
                                                 emission trading, averaging, and unit-                  demonstration for sources participating     plans. It also addresses why limitations
                                                 specific mass-based compliance, is                      in trading or averaging programs            on the use of compliance flexibilities for
                                                 permissible for affected EGUs in certain                because they are not altering those         certain subcategories are necessary to
                                                 subcategories and in certain                            sources’ underlying standards of            maintain the intended environmental
                                                 circumstances under these emission                      performance—just providing an               outcomes of these emission guidelines.
                                                 guidelines. Specifically, the EPA is                    additional way for sources to               Sections X.D.2, X.D.3, X.D.4, and X.D.5
                                                 allowing affected EGUs in the medium-                   demonstrate compliance.                     discuss each available type of
                                                 and long-term coal-fired subcategories                     While the EPA acknowledges               compliance flexibility and provide
                                                 to utilize these compliance flexibilities.              widespread interest in the use of mass-     information on how they can be used in
                                                 The scope of this allowance is tailored                 based compliance, in the context of         state plans under these emission
                                                 to ensure consistency with the                          these particular emission guidelines, the   guidelines. Section X.D.6 provides
                                                 fundamental principle under CAA                         Agency has significant concerns about       information on general implementation
                                                 section 111 that state plans maintain the                                                           features of emission trading and
                                                                                                         the ability to demonstrate that mass-
                                                 stringency of the EPA’s BSER                                                                        averaging programs that states must
                                                                                                         based compliance approaches achieve at
                                                 determination and associated degree of                                                              consider if they develop such a
                                                                                                         least equivalent emission reduction as
                                                 emission limitation as applied through                                                              program. Section X.D.7 discusses
                                                                                                         the application of rate-based, source-
                                                 the EPA’s presumptive standards of                                                                  interstate emission trading. Finally,
                                                                                                         specific standards of performance. As
                                                 performance in the context of these                                                                 section X.D.8 discusses considerations
                                                                                                         explained in further detail in sections
                                                 emission guidelines. In addition, the                                                               related to existing state programs and
                                                                                                         X.D.4 and X.D.5, the EPA is requiring
                                                 EPA believes that the scope of this                                                                 the inclusion of compliance flexibilities
                                                                                                         the use of a backstop emission
                                                 allowance is consistent and appropriate                                                             in a state plan under these emission
                                                                                                         limitation, or backstop rate, in
                                                 for providing an incentive for                                                                      guidelines.
                                                 overperformance. Relatedly, the EPA is                  conjunction with mass-based                    Comment: Commenters cited a variety
                                                 also providing further elaboration on                   compliance approaches (i.e., for both       of reasons supporting the use of
                                                 what it means for states to demonstrate                 unit-specific mass-based compliance         compliance flexibilities, such as
                                                 that implementation of a standard of                    and mass-based emission trading) for        emission trading, averaging, and unit-
                                                 performance using a rate- or mass-based                 both the long-term and medium-term          specific mass-based compliance, in
                                                 flexibility is at least as stringent as unit-           coal-fired subcategories. However, the      these emission guidelines, including the
                                                 specific implementation of affected                     EPA is finalizing a presumptively           need for flexibility in meeting the
                                                 EGUs’ standards of performance. States                  approvable unit-specific mass-based         degree of emission limitation defined by
                                                 are not required to allow their affected                compliance approach only for affected       the BSER, the potential for more cost-
                                                 EGUs to use compliance flexibilities but                EGUs in the long-term subcategory. The      effective compliance, and reliability
                                                 can provide for such flexibilities at their             use of mass-based compliance                purposes.
                                                 discretion. In order for the EPA to find                approaches—both unit-specific and              Response: The EPA believes that, in
                                                 that a state plan that includes such                    trading—for affected EGUs in the            certain circumstances, these flexibilities
                                                 flexibilities is ‘‘satisfactory,’’ the state            medium-term coal-fired subcategory in       can provide some operational and cost
                                                 plan must demonstrate how it will                       particular poses a high risk of             flexibility to states and affected EGUs in
                                                 achieve and maintain the requisite level                undermining the stringency of these         complying with these emission
                                                 of emission reduction.                                  emission guidelines due to inherent         guidelines and their standards of
                                                    The EPA stresses that any flexibilities              uncertainty about the future utilization    performance in state plans. However, as
                                                 involving aggregate compliance would                    of these sources. While the EPA is not      described above, the EPA is addressing
                                                 be used to demonstrate compliance with                  precluding states from attempting to        reliability-related concerns primarily
                                                 an already-established standard of                      design mass-based approaches for            through other structural changes and
                                                 performance, rather than be used to                     affected EGUs in the medium-term coal-      mechanisms under these emission
                                                 establish a standard of performance in                  fired subcategory that satisfy the          guidelines (see section XII.F of this
                                                 the first instance. The presumptive                     requirement of achieving at least           preamble) that may obviate the need to
                                                 standards of performance that the EPA                   equivalent stringency as rate-based         use compliance flexibilities specifically
                                                 is providing in these emission                          implementation, the Agency was unable       to address reliability concerns. As a
                                                 guidelines are based on control                         to devise an appropriate, implementable     general matter, the EPA believes that
                                                 strategies that are applied at the level of             presumptively approvable approach for       compliance flexibilities such as
                                                 individual units. A compliance                          affected EGUs in the medium-term coal-      emission trading and averaging provide
                                                 flexibility may change the way an                       fired subcategory and is therefore not      some incentive for overperformance that
                                                 affected EGU demonstrates compliance                    providing one here. The EPA is also not     could be beneficial to states and affected
                                                 with a standard of performance (e.g., by                providing a presumptively approvable        EGUs.
                                                                                                         approach to emission trading or                The EPA is finalizing a determination
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                                                 allowing that EGU to surrender
                                                 allowances from another unit in lieu of                 averaging. Instead, the EPA intends to      that emission trading, averaging, and
                                                 reducing a portion of its own                           review emission trading or averaging        unit-specific mass-based compliance are
                                                 emissions), but does not alter the                      programs in state plans on a case-by-       permissible for certain subcategories
                                                 benchmark of emission performance                       case basis against the foundational         under these emission guidelines, subject
                                                 against which compliance is evaluated.                  principles for consistency with CAA         to the limitations described in section
                                                 This is in contrast to the RULOF                        section 111, as discussed in this section   X.D.1 of this preamble. The EPA
                                                 mechanism, which, as described in                       of the preamble.                            believes these limitations are necessary


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                                                 in the context of these emission                        consistent with the legal opinion in             guidelines are not based on generation
                                                 guidelines in order to maintain the level               West Virginia v. EPA.                            shifting and, even if the EPA believed
                                                 of emission reduction of the EPA’s                         Response: This comment is outside             that West Virginia v. EPA implicated the
                                                 BSER determination and corresponding                    the scope of this action. The EPA                use of compliance flexibilities, the
                                                 degree of emission limitation.                          finalized its interpretation that CAA            permissible use of trading and averaging
                                                    Comment: Some commenters                             section 111 does not preclude states             in this particular case does not
                                                 expressed opposition to the use of                      from including compliance flexibilities          implicate the Court’s concerns about
                                                 emission trading and averaging, citing                  such as trading or averaging in their            generation shifting therein.
                                                 the potential for emission trading and                  state plans (although the EPA may limit
                                                                                                         those flexibilities in particular emission       1. Demonstrating Equivalent Stringency
                                                 averaging programs to maintain or
                                                 exacerbate existing disparities in                      guidelines if necessary to protect the              As stated in the section above, states
                                                 communities with environmental justice                  environmental outcomes of those                  are permitted to use emission trading,
                                                 concerns.                                               guidelines) when it revised the CAA              averaging, and unit-specific mass-based
                                                    Response: The EPA is cognizant of                    section 111(d) implementing regulations          compliance in their plans for certain
                                                 these concerns and believes that                        in subpart Ba.945 As described in the            subcategories under these emission
                                                 emission trading and averaging are not                  final subpart Ba revisions, ‘‘in West            guidelines, provided that the plan
                                                 necessarily incompatible with                           Virginia v. EPA, the Supreme Court did           demonstrates that any such use will
                                                 environmental justice. The EPA is                       not directly address the state’s authority       achieve a level of emission reduction
                                                                                                         to determine their sources’ control              that is in the aggregate as
                                                 including limitations on the use of
                                                                                                         measures. Although the Court did hold            environmentally protective as each
                                                 compliance flexibilities in state plans
                                                                                                         that constraints apply to the EPA’s              affected EGU achieving its rate-based
                                                 that should help address these EJ
                                                                                                         authority in determining the BSER, the           standard of performance. This
                                                 concerns. As discussed in more detail in
                                                                                                         Court’s discussion of CAA section 111            requirement is rooted in the structure
                                                 section X.D.1, the EPA is restricting
                                                                                                         is consistent with the EPA’s                     and purpose of CAA section 111. Most
                                                 certain subcategories from using trading
                                                                                                         interpretation that the provision does           commenters supported the use of
                                                 or averaging as well as, for mass-based
                                                                                                         not preclude states from granting                compliance flexibilities in these
                                                 compliance mechanisms, requiring the
                                                                                                         sources compliance flexibility.’’ 946 The        emission guidelines, and many
                                                 use of a backstop rate, to ensure that the
                                                                                                         EPA further explained in the preamble            explicitly expressed support for the
                                                 use of compliance flexibilities maintains                                                                EPA’s stringency criterion in this
                                                 the level of emission reduction of the                  to the subpart Ba final rule that the West
                                                                                                         Virginia Court was clear that the focus          context. Commenters also requested
                                                 EPA’s BSER determination and                                                                             greater clarity on how to demonstrate
                                                                                                         of the case was exclusively on whether
                                                 corresponding degree of emission                                                                         equivalent stringency in a state plan. In
                                                                                                         the EPA acted within the scope of its
                                                 limitation as well as achieves the                                                                       this section, the EPA describes
                                                                                                         authority in establishing the BSER: ‘‘The
                                                 statutory objective of these emission                                                                    foundational parameters for a
                                                                                                         Court did not identify any constraints
                                                 guidelines to mitigate air pollution by                                                                  demonstration of equivalence in the
                                                                                                         on the states in establishing standards of
                                                 requiring sources to operate more                                                                        state plan as well as limitations on the
                                                                                                         performance to their sources, and its
                                                 cleanly. The EPA notes that trading                                                                      availability of compliance flexibilities
                                                                                                         holding and reasoning cannot be
                                                 programs can be designed to include                                                                      for certain affected EGUs, which stem
                                                                                                         extended to apply such constraints.’’ 947
                                                 measures like unit-specific emission                       The EPA reiterates that, under these          from the EPA’s stringency criterion.
                                                 rates that assure that reductions and                   emission guidelines, the BSER                    Additionally, the EPA offers further
                                                 corresponding benefits accrue                           determinations are emission reduction            explanation of how it will review state
                                                 proportionally to communities with                      technologies or strategies that apply to         plan submissions to determine whether
                                                 environmental justice concerns. The                     and reduce the emission rates of                 plans that include compliance
                                                 EPA also notes that states have the                     individual affected EGUs. Furthermore,           flexibilities achieve an equivalent (or
                                                 ability to add further features and                     states have the option of including              greater) level of emission reduction as
                                                 requirements to emission trading and                    emission trading or averaging in their           each affected EGU individually
                                                 averaging programs than identified in                   states plans but are by no means                 complying with its unit-specific rate-
                                                 these emission guidelines, or to forgo                  required to do so. States that choose to         based standard of performance.
                                                 their use entirely.                                     include trading or averaging programs
                                                    Pursuant to the requirements of                                                                       a. Requirements for Demonstrating
                                                                                                         in their state plans are required to             Equivalent Stringency
                                                 subpart Ba, states are required to                      demonstrate that those programs are in
                                                 conduct meaningful engagement on all                    the aggregate as stringent as each                  In their plans, states incorporating
                                                 aspects of their state plans with                       affected EGU individually achieving its          compliance flexibilities must first
                                                 pertinent stakeholders. This would                      rate-based standard of performance.              clearly demonstrate how they calculated
                                                 necessarily include any potential use of                Additionally, as explained elsewhere in          the aggregate rate-based emission
                                                 flexibilities for sources to demonstrate                sections X.D.4 and X.D.5 of this                 limitation (for rate-based averaging),
                                                 compliance with the proposed                            preamble, the EPA is requiring the use           mass limit (for unit-specific mass-based
                                                 standards of performance through                        of a backstop emission rate in                   compliance), or mass budget (for mass-
                                                 emissions trading or averaging. As                      conjunction with mass-based                      based emission trading) from unit-
                                                 discussed in greater detail in section                  compliance flexibilities, one result of          specific, rate-based presumptive
                                                 X.E.1.b.i of this preamble, meaningful                  which is that units cannot comply with           standards of performance. (For rate-
                                                 engagement provides an opportunity for                                                                   based trading, the standard of
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                                                                                                         their standards of performance merely
                                                 communities most affected by and                        by shifting their generation to other            performance coupled with, if necessary,
                                                 vulnerable to the impacts of a plan to                  electricity generators. Therefore, the           an adjustment based on the acquisition
                                                 provide input, including input on any                   EPA’s BSERs in these emission                    of compliance instruments, is used to
                                                 impacts resulting from the use of                                                                        demonstrate compliance.) In doing so,
                                                 compliance flexibilities.                                945 88 FR 80480 80533–35 (November 17, 2023).   states must identify the specific affected
                                                    Comment: Some commenters stated                       946 88 FR 80534 (November 17, 2023).            EGUs that will be using compliance
                                                 that allowing trading or averaging is not                947 88 FR 80535 (November 17, 2023).            flexibilities; which flexibility each unit


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                                                 will able to use; the unit-specific, rate-              contribute to dangerous air pollution to     achieving their presumptive rate-based
                                                 based presumptive standard of                           operate more cleanly. Unlike the CAA’s       standards of performance, the plan as a
                                                 performance; and the standard of                        NAAQS-based programs, section 111 is         whole must provide for the same level
                                                 performance established in the plan for                 not designed to reach a level of             of emission reduction for the affected
                                                 each unit (rate-based limit or mass limit)              emissions that has been deemed ‘‘safe’’      EGUs as though they were. While states
                                                 or set of units (aggregate rate-based                   or ‘‘acceptable’’; there is no air-quality   may choose to allow individual sources
                                                 emission limitation or mass budget).                    target that tells states and sources when    to emit more or less than the degree of
                                                 The state must document and justify the                 emissions have been reduced ‘‘enough.’’      emission limitation determined by the
                                                 assumptions made in calculating an                      Rather, CAA section 111 requires             EPA, any compliance flexibilities must
                                                 aggregate rate-based emission limitation,               affected sources to reduce their             be designed to ensure that their use does
                                                 mass limit, or mass budget, such as how                 emissions to the level that the EPA has      not erode the emission reduction
                                                 the calculation is weighted or, for mass-               determined is achievable through             benefits that would result if each source
                                                 based mechanisms, the level of                          application of the best system of            was individually achieving its
                                                 utilization of participating affected                   emission reduction, i.e., to achieve         presumptive standard of performance
                                                 EGUs used to calculate the mass limit or                emission reductions consistent with the      (after accounting for any use of RULOF).
                                                 budget. This requirement is discussed in                applicable presumptive standard of              For rate-based averaging and trading,
                                                 more detail in the context of each type                 performance. Consistent with the             discussed in more detail in sections
                                                 of compliance flexibility in the                        statutory purpose of requiring affected      X.D.2 and X.D.3 of this preamble,
                                                 following subsections.                                  sources to operate more cleanly, the         demonstrating an equivalent level of
                                                    Next, states must demonstrate how                    EPA typically expresses presumptive          emission reduction is relatively
                                                 the compliance flexibility will maintain                standards of performance as rate-based       straightforward, as a rate-based program
                                                 the requisite stringency, i.e., how the                 emission limitations (i.e., limitations on   inherently provides relatively stronger
                                                 plan will maintain the aggregate level of               the amount of a regulated pollutant that     assurance of equivalence with
                                                 emission reduction that would be                        can be emitted per unit of output, per       individual rate-based standards of
                                                 achieved if each unit was individually                  unit of energy or material input, or per     performance. This is due to the fact that
                                                 complying with its rate-based standard                  unit of time).                               the aggregate rate-based emission
                                                 of performance. As discussed in section                                                              limitation (for rate-based averaging) or
                                                                                                            In the course of complying with a
                                                 X.C.1 of this preamble, an affected                                                                  rate-based standard of performance with
                                                                                                         rate-based standard of performance           adjustment for compliance instruments
                                                 EGU’s standard of performance must
                                                 generally be no less stringent than the                 under a state plan, an affected source       (for rate-based trading) is calculated
                                                 corresponding presumptive standard of                   takes actions that may or may not affect     based on both the emission output and
                                                 performance under these emission                        its ongoing emission reduction               gross generation output (utilization) of
                                                 guidelines. This is true regardless of                  obligations. For example, a source may       the participating affected EGUs. In other
                                                 whether a standard of performance is                    take certain actions that remove it from     words., a rate-based compliance
                                                 expressed in terms of rate or mass.                     the source category, e.g., by switching      flexibility, such as a rate-based unit-
                                                 However, under an aggregate                             fuel type or permanently ceasing             specific standard of performance,
                                                 compliance approach, a unit may                         operations. Upon doing so, the source is     inherently adjusts for changes in
                                                 demonstrate compliance with that                        no longer subject to the emission            utilization and preserves the imperative
                                                 standard of performance by averaging its                guidelines. Or an affected source may        to operate more cleanly. For unit-
                                                 emission performance or trading                         choose to change its operating               specific mass-based compliance and
                                                 compliance instruments (e.g.,                           characteristics in a way that impacts its    mass-based trading, demonstrating
                                                 allowances) with other affected EGUs.                   overall mass of emissions, e.g., by          equivalent stringency is more
                                                 Here, to ensure consistency with the                    changing its utilization, in which case      complicated, as the use of a mass limit
                                                 level of emission reductions Congress                   the source is still required to reduce its   or mass budget on its own may not
                                                 expected under CAA section 111(a)(1),                   emission rate consistent with cleaner        guarantee that sources are achieving
                                                 the state must also demonstrate that the                performance. In either instance, the         emission reductions commensurate with
                                                 plan overall achieves equivalent                        changes in operation to one affected         operating more cleanly. Thus the EPA is
                                                 stringency, i.e., the same or better                    source do not implicate the obligations      requiring that, in order to ensure that
                                                 environmental outcome, as applying the                  of other affected sources. Although          the emission outcome that would be
                                                 EPA’s presumptive standards of                          changes to certain sources’ operation        achieved through unit-specific rate-
                                                 performance to each affected EGU (after                 may reduce emissions from the source         based standards of performance are
                                                 accounting for any application of                       category, they do not absolve the            preserved, states must also include a
                                                 RULOF). That is, in order for the EPA                   remaining affected EGUs from the             backstop emission rate limitation, or
                                                 to find a state plan ‘‘satisfactory,’’ that             statutory obligation to reduce their         backstop rate, for affected EGUs using a
                                                 plan must achieve at least the level of                 emission rates consistent with the level     mass-based compliance flexibility, as
                                                 emission reduction that would result if                 that the EPA has determined is               discussed in more detail in sections
                                                 each affected EGU was achieving its                     achievable through application of the        X.D.4 and X.D.5 of this preamble. In
                                                 presumptive standard of performance                     BSER. While state plans may, when            addition, states employing a mass-based
                                                 (again, after accounting for any                        permitted by the applicable emission         mechanism in their plans must show
                                                 application of RULOF).                                  guidelines, allow affected sources to        why assumptions underlying the
                                                    The requirement that state plans                     translate their rate-based presumptive       calculation of utilization for the
                                                                                                         standards of performance into mass
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                                                 achieve equivalent stringency to the                                                                 purposes of establishing a mass limit or
                                                 EPA’s degree of emission limitation                     limits and/or comply with their              mass budget are appropriately
                                                 flows from the structure and purpose of                 standards of performance in the              conservative to ensure an equivalent
                                                 CAA section 111, which is to mitigate                   aggregate through averaging or trading,      level of emission reduction, as
                                                 air pollution that is reasonably                        the fundamental statutory requirement        discussed more in sections X.D.4 and
                                                 anticipated to endanger public health or                remains: the state plan must                 X.D.5 of this preamble.
                                                 welfare. It achieves this outcome by                    demonstrate that, even if individual            In sum, states wishing to employ
                                                 requiring source categories that cause or               affected sources are not necessarily         compliance flexibilities in their state


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                                                 plans must demonstrate that the plan                    and for sources with a standard based        opportunity for other sources subject to
                                                 achieves at least equivalent stringency                 on RULOF, the EPA received mixed             a relatively more stringent presumptive
                                                 with each source individually achieving                 feedback. Some commenters agreed             standard of performance to
                                                 its standard of performance, bearing in                 with the EPA’s concerns about these          underperform by obtaining compliance
                                                 mind the discussion and requirements                    subcategories participating in trading       instruments from or averaging their
                                                 in this section, as well as the discussion              and averaging and that affected EGUs in      emission performance with affected
                                                 and requirements in the following                       these subcategories should be prevented      EGUs that are subject to a relatively less
                                                 sections specific to each type of                       from participating in an emission            stringent standard of performance based
                                                 mechanism. The EPA will review state                    trading or averaging program. However,       on RULOF. This outcome undermines
                                                 plan submissions that include                           several commenters said that it was          the ability of the state plan to
                                                 compliance flexibilities to ensure that                 indeed appropriate to allow all              demonstrate an equivalent level of
                                                 they are consistent with CAA section                    subcategories as well as sources with a      emission reduction, as non-RULOF
                                                 111’s purpose of reducing dangerous air                 standard of performance based on             sources would face a reduced incentive
                                                 pollution by requiring sources to                       RULOF to participate in trading and          to operate more cleanly. In addition,
                                                 operate more cleanly. In order for the                  averaging and that the program would         affected EGUs with a standard of
                                                 EPA to find a state plan ‘‘satisfactory,’’              still achieve an equivalent level of         performance based on RULOF are
                                                 that plan must address each affected                    emission reduction, even if those            prohibited from using unit-specific
                                                 EGU within the state and demonstrate                    subcategories are of limited stringency.     mass-based compliance under these
                                                 that the plan overall achieves at least                    In response to the request for            emission guidelines. This is due to the
                                                 the level of emission reduction that                    comment on whether emission trading          compounding uncertainty regarding
                                                 would result if each affected EGU was                   and averaging should be allowed across       how states will use RULOF to
                                                 achieving its presumptive standard of                   subcategories in light of concerns over      particularize the compliance obligations
                                                 performance, after accounting for any                   differing levels of stringency for           for an affected EGU and the future
                                                 application of RULOF.                                   different subcategories impacting            utilization of affected EGUs that may be
                                                                                                         overall achievement of an equivalent         subject to RULOF. The RULOF
                                                 b. Exclusion of Certain Affected EGUs                   level of emission reduction, the EPA
                                                 From Compliance Flexibilities                                                                        provisions are used where a particular
                                                                                                         also received mixed feedback. Some           EGU is in unique circumstances and
                                                    While the use of compliance                          commenters supported restricting             may result in a less stringent standard
                                                 flexibilities such as emission trading,                 trading and averaging across                 of performance based on the BSER
                                                 averaging, and unit-specific mass-based                 subcategories because of concerns that       technology, a less stringent standard of
                                                 compliance is generally permissible                     EGUs in a subcategory with a relatively      performance based on a different control
                                                 under these emission guidelines, the                    higher stringency could acquire              technology, a longer compliance
                                                 EPA indicated in the proposal that it                   allowances from EGUs in a subcategory        schedule, or some combination of the
                                                 may be appropriate for certain groups of                with a relatively lower stringency in        three. The bespoke nature of compliance
                                                 sources to be excluded from using these                 order to comply instead of operating a       obligations pursuant to RULOF makes it
                                                 flexibilities in order to ensure an                     control technology. Several commenters       difficult for the EPA to provide
                                                 equivalent level of emission reduction                  stated that trading across subcategories     principles for and for states to design
                                                 with each source individually achieving                 need not be limited because, as long as      mass-based compliance strategies that
                                                 its standard of performance. In the                     state plans are of an equivalent level of
                                                 proposed emission guidelines, the EPA                                                                ensure an equivalent level of emission
                                                                                                         emission reduction, emission trading
                                                 expressed concerns about the use of                                                                  reduction. Additionally, as previously
                                                                                                         and averaging would still require the
                                                 compliance flexibilities for several                                                                 discussed, there is a significant amount
                                                                                                         overall aggregate limit to be met.
                                                 subcategories that have BSER                               Taking into consideration the             of uncertainty in the future utilization of
                                                 determinations of routine methods of                    comments on the proposed emission            certain affected EGUs, including those
                                                 operation and maintenance as well as                    guidelines as well as changes made to        with standards of performance pursuant
                                                 those sources for which states have                     the subcategories in the final emission      to RULOF. While there is no risk of
                                                 invoked RULOF to apply a less stringent                 guidelines, the Agency is finalizing the     implicating the compliance obligation of
                                                 standard of performance, as their                       following restrictions on the use of         other sources in unit-specific mass-
                                                 inclusion may undermine the intended                    compliance flexibilities by certain          based compliance, the EPA believes that
                                                 level of emission reduction of the BSER                 subcategories.                               allowing RULOF sources to use unit-
                                                 for other facilities. The EPA also                         First, emission trading or averaging      specific mass compliance would pose a
                                                 questioned whether trading and                          programs must not include affected           significant risk in undermining the
                                                 averaging across subcategories should                   EGUs for which states have invoked           stringency of the state plan such that
                                                 be limited in order to maintain the                     RULOF to apply less stringent standards      these sources may not be achieving the
                                                 stringency of unit-specific compliance.                 of performance. The Agency believes          level of emission reduction
                                                 Finally, the EPA questioned whether                     that, because RULOF sources have a           commensurate with cleaner
                                                 affected EGUs that receive the IRC                      standard of performance tailored to          performance.
                                                 section 45Q tax credit for permanent                    individual source circumstances that is         Second, emission trading or averaging
                                                 sequestration of CO2 may have an                        required to be as stringent as reasonably    programs may not include affected
                                                 overriding incentive to maximize both                   practicable, these sources should not        EGUs in the natural gas- and oil-fired
                                                 the application of the CCS technology                   need further operational flexibility and     steam subcategories. The BSER
                                                                                                         are also unlikely to be able to              determination and associated degree of
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                                                 and total electric generation, leading to
                                                 source behavior that may be non-                        overperform to any significant or regular    emission limitation for affected EGUs in
                                                 responsive to the economic incentives                   degree. This means that their                these subcategories do not require any
                                                 of a trading program.                                   participation in an emission trading or      improvement in emission performance
                                                    In response to the request for                       averaging program is, at best, unlikely to   and already offer flexibility to sources to
                                                 comment on these concerns related to                    add any value to the program (in terms       account for varying efficiency at
                                                 the appropriateness of emission trading                 of opportunity for overperformance) or,      different operating levels. As a result,
                                                 and averaging for certain subcategories                 at worst, may provide an inappropriate       these sources are unlikely to be


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                                                 responsive to an incentive towards                      the aforementioned restrictions on             states attempting to coordinate the real-
                                                 overperformance, which means that                       participation in trading and averaging,        time compliance information needed to
                                                 their participation in an emission                      the EPA does not see a need to further         assure that either all affected EGUs are
                                                 trading or averaging program is unlikely                restrict the ability of eligible sources to    meeting their individual standard of
                                                 to add any value to the program (in                     trade or average with other sources.           performance, or that a sufficient number
                                                 terms of opportunity for                                                                               of affected EGUs are overperforming to
                                                                                                         2. Rate-Based Emission Averaging
                                                 overperformance). In addition, the EPA                                                                 allow operational flexibility for other
                                                 is concerned that the participation of                     The EPA proposed to permit states to        affected EGUs such that the aggregate
                                                 these sources may undermine the                         incorporate rate-based averaging into          standard of performance is being
                                                 program’s equivalence with the                          their state plans under these emission         achieved, would curtail transparency
                                                 presumptive standards of performance,                   guidelines. In general, rate-based             and limit states’, the EPA’s, and
                                                 because other steam sources, which                      averaging allows multiple affected EGUs        stakeholders’ abilities to track timely
                                                 have a relatively more stringent degree                 to jointly meet a rate-based standard of       compliance. For example, dozens of
                                                 of emission limitation, may be                          performance. The scope of such                 units trying to average their emission
                                                 inappropriately incentivized to                         averaging could apply at the facility          rates would require owners or operators
                                                 underperform by obtaining compliance                    level (i.e., units located within a single     from different utilities and independent
                                                 instruments from or averaging their                     facility) or at the owner or operator level    power producers to share operating and
                                                 emission performance with affected                      (i.e., units owned by the same utility).       emissions data in real time. Thus, due
                                                 EGUs in the natural gas- and oil-fired                  A description of and responses to              to likely limitations on the timely
                                                 steam subcategories. This outcome                       comments received on rate-based                availability of compliance-related
                                                 undermines the ability of the state plan                averaging can be found at the end of this      information across owners and
                                                 to demonstrate equivalent stringency by                 subsection.                                    operators and across states, which is
                                                 reducing the incentive for sources to                      As discussed in the proposed                necessary to ensure aggregate
                                                 operate more cleanly. In addition,                      emission guidelines, averaging can             compliance, the EPA believes that it is
                                                 affected EGUs in the natural gas- and                   provide potential benefits to affected         appropriate to limit the scope of rate-
                                                 oil-fired steam subcategories are                       sources by allowing for more cost              based averaging to the facility level or
                                                 prohibited from using unit-specific                     effective and, in some cases, more             the owner/operator level within one
                                                 mass-based compliance. While there is                   straightforward compliance. First,             state in order to provide greater
                                                 no risk of implicating the compliance                   averaging offers some flexibility for          compliance certainty and thus better
                                                 obligation of other sources in unit-                    owners or operators to target cost             demonstrate an equivalent level of
                                                 specific mass-based compliance, the                     effective reductions at certain affected       emission reduction.
                                                 EPA believes, as previously stated, there               EGUs. For example, owners or operators            Demonstrating equivalence with unit-
                                                 is already sufficient flexibility offered to            of affected EGUs might target                  specific implementation of rate-based
                                                 sources in the natural gas- and oil-fired               installation of emission control               standards of performance in a rate-based
                                                 steam subcategories, as the basis for                   approaches at units that operate more.         averaging program is straightforward. A
                                                 subcategorizing these sources takes into                Second, averaging at the facility level        state would need to specify in its plan
                                                 account their varying efficiency at                     provides greater ease of compliance            the group of affected EGUs participating
                                                 different operating levels.                             accounting for affected EGUs with a            in the averaging program that will
                                                    The EPA is allowing both coal-fired                  complex stack configuration (such as a         demonstrate compliance on an aggregate
                                                 subcategories (both the medium- and                     common- or multi-stack configuration).         basis, the unit-specific rate-based
                                                 long-term) to participate in all types of               In such instances, unit-level compliance       presumptive standard of performance
                                                 compliance flexibilities, within the                    involves apportioning reported                 that would apply to each participating
                                                 parameters set by the EPA described in                  emissions to individual affected EGUs          affected EGU, and the aggregate
                                                 the following sections. The Agency                      that share a stack based on electricity        compliance rate that must be achieved
                                                 believes, and many commenters agreed,                   generation or other parameters; this           for the group of participating affected
                                                 that affected EGUs taking advantage of                  apportionment can be avoided by using          EGUs and how that aggregate rate is
                                                 the IRC section 45Q tax credit may still                facility-level averaging.                      calculated, as described below. For
                                                 benefit from the operational flexibility                   The EPA is finalizing a determination       states incorporating owner/operator-
                                                 provided by emission trading and                        that rate-based averaging is permissible       level averaging, the state plan would
                                                 averaging, as well as unit-specific mass-               for affected EGUs in the medium- and           also need to include provisions that
                                                 based compliance. The Agency also                       long-term coal-fired subcategories. The        specify how the program will address
                                                 believes that overperformance among                     scope of rate-based averaging may be at        any changes in the owner/operator for
                                                 these sources is possible and worth                     the facility level or at the owner/            one or more participating affected EGUs
                                                 incentivizing through the use of                        operator level within the state, as these      during the course of program
                                                 compliance flexibilities. Incentivizing                 are the circumstances under which rate-        implementation to ensure effective
                                                 overperformance can lead to innovation                  based averaging can provide significant        implementation and enforcement of the
                                                 in control technologies that, in turn, can              benefits, as identified above, with            program. Such provisions should be
                                                 lead to lower costs for, and greater                    minimal implementation complexity.             specified upfront in the plan and be
                                                 emissions reductions from, control                      Above this level (i.e., across owner/          self-executing, such that a state plan
                                                 technologies.                                           operators or at the state or interstate        revision is not required to address such
                                                    The EPA is not finalizing a restriction              level), the EPA has determined that a          changes.
                                                                                                         rate-based compliance flexibility must
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                                                 on trading or averaging across                                                                            To ensure an equivalent level of
                                                 subcategories for the two subcategories                 be implemented through rate-based              emission reduction with application of
                                                 that are permitted to participate in these              trading, as described in section X.D.3 of      individual rate-based standards of
                                                 flexibilities. This means that affected                 this preamble. The EPA is establishing         performance, the EPA is requiring that
                                                 EGUs in the medium-term coal-fired                      this limitation on the scope of averaging      the weighting of the aggregate
                                                 subcategory may trade or average their                  because it believes that the level of          compliance rate is done on an output
                                                 compliance with affected EGUs in the                    complexity associated with utilities,          basis; in other words, participating
                                                 long-term coal-fired subcategory. With                  independent power producers, and               affected EGUs must demonstrate


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                                                 compliance through achievement of an                       The proposed emission guidelines          Agency notes, as previously discussed,
                                                 aggregate CO2 emission rate that is a                   described how rate-based trading could       that rate-based trading (rather than
                                                 gross generation-based weighted average                 work in this context. First, the EPA         averaging) must be utilized if the state
                                                 of the required standards of                            discussed how it expects states to           wishes to establish a statewide or
                                                 performance of each of the affected                     denote the tradable compliance               interstate rate-based compliance
                                                 EGUs that participate in averaging. Such                instrument in a rate-based trading           flexibility, in order to ensure
                                                 an approach is necessary to ensure that                 programs as one ton of CO2. A tradable       compliance and equivalent stringency.
                                                 the aggregate compliance rate is                        compliance instrument denominated in         For similar reasons, rate-based trading
                                                 representative of the unit-specific                     another unit of measure, such as a           should also be utilized in lieu of owner/
                                                 standards of performance that apply to                  MWh, is not fungible in the context of       operator-level averaging when an
                                                 each of the participating affected EGUs.                a rate-based emission trading program.       owner/operator wishes to use a rate-
                                                 Commenters were generally supportive                    A compliance instrument denominated          based compliance flexibility for a group
                                                 of this method of calculating an                        in MWh that is awarded to one affected       of its units that are located in more than
                                                 aggregate rate for a group of sources                   EGU most likely does not represent an        one state.
                                                 participating in averaging. The Agency                  equivalent amount of emissions credit           Demonstrating equivalence with unit-
                                                 emphasizes that only affected EGUs are                  when used by another affected EGU to         specific implementation of rate-based
                                                 permitted to be included in the                         demonstrate compliance, as the CO2           standards of performance in a rate-based
                                                 calculation of an aggregate rate-based                  emission rates (lb CO2/MWh) of the two       trading program is relatively
                                                 standard of performance as well as in an                affected EGUs are likely to differ.          straightforward. States would need to
                                                 aggregate compliance demonstration of                      Each affected EGU is required under       specify in their plans the affected EGUs
                                                 a rate-based standard of performance.                   these emission guidelines to have a          participating in the trading program and
                                                    Comment: Commenters supported the                    particular standard of performance,          their individual standards of
                                                 use of rate-based averaging on the                      based on the degree of emission              performance. Under the method of rate-
                                                 grounds that it can provide operational                 limitation achievable through                based trading described in this section,
                                                 flexibility to affected EGUs as well as                 application of the BSER, with which it       a compliance demonstration would be
                                                 the opportunity for owners and                          would have to demonstrate compliance.        done for each participating affected EGU
                                                 operators to optimize control technology                Under a rate-based trading program,          based on a combination of the reported
                                                 investments. Many commenters                            affected EGUs performing at a CO2            emission performance and, if relevant,
                                                 supported averaging at the facility- and                emission rate below their standard of        the surrender of compliance
                                                 owner/operator-level as well as on a                    performance would be awarded                 instruments. In addition, the EPA is
                                                 statewide or interstate basis.                          compliance instruments at the end of         requiring that the compliance
                                                                                                         each calendar year denominated in tons       instrument be denominated as one ton
                                                    Response: The EPA believes that rate-
                                                                                                         of CO2. The number of compliance
                                                 based trading can provide some                                                                       of CO2 (rather than another unit such as
                                                                                                         instruments awarded would be equal to
                                                 additional operational flexibility and is                                                            MWh). The Agency believes this
                                                                                                         the difference between their standard of
                                                 finalizing that rate-based averaging is                                                              requirement is necessary to ensure an
                                                                                                         performance CO2 emission rate and
                                                 permissible at the facility- and owner/                                                              equivalent level of emission reduction
                                                                                                         their actual reported CO2 emission rate
                                                 operator-level for affected EGUs in the                                                              as application of individual rate-based
                                                                                                         multiplied by their gross generation in
                                                 medium- and long-term coal-fired                                                                     standards of performance.
                                                                                                         MWh. Affected EGUs demonstrating
                                                 subcategories. However, for reasons                     compliance through a rate-based                 An additional aspect of demonstrating
                                                 discussed above, the EPA believes that                  averaging program that are performing        equivalence is ensuring that the
                                                 rate-based trading, rather than rate-                   worse than their standard of                 program achieves and maintains an
                                                 based averaging, should be                              performance would be required to             equivalent level of emission reduction
                                                 implemented where a state would like                    obtain and surrender an appropriate          with standards of performance over
                                                 to implement a rate-based compliance                    number of compliance instruments             time, which is much more certain in a
                                                 flexibility at a state or interstate basis.             when demonstrating compliance, such          rate-based trading program than in a
                                                                                                         that their demonstrated CO2 emission         mass-based program. Unlike mass-based
                                                 3. Rate-Based Emission Trading
                                                                                                         rate is equivalent to their rate-based       trading programs, under which states
                                                    The EPA proposed to permit states to                 standard of performance. Transfer and        must make assumptions about units’
                                                 incorporate rate-based trading into their               use of these compliance instruments          future utilization that may become
                                                 state plans under these emission                        would be accounted for in the                inaccurate as those units’ operations
                                                 guidelines. In general, a rate-based                    numerator (sum of total annual CO2           shift over time, rate-based trading
                                                 trading program allows affected EGUs to                 emissions) of the CO2 emission rate as       programs do not rely on utilization
                                                 trade compliance instruments that are                   each affected EGU performs its               assumptions. Utilization is already
                                                 generated based on their emission                       compliance demonstration. Compliance         accounted for by default in a rate-based
                                                 performance. A description of and                       would be demonstrated for an affected        trading program. Thus, while mass-
                                                 responses to comments on rate-based                     EGU based on its reported CO2 emission       based compliance flexibilities require
                                                 trading can be found at the end of this                 performance (in lb CO2/MWh) and, if          additional design features to ensure the
                                                 subsection.                                             necessary, the surrender of an               continued accuracy of assumptions
                                                    The EPA notes that, like rate-based                  appropriate number of tradable               about utilization and thus emission
                                                 averaging, rate-based trading can                       compliance instruments, such that the        limits or budgets over time, such
                                                 provide some flexibility for owners or                                                               features are not necessary in a rate-
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                                                                                                         demonstrated lb CO2/MWh emission
                                                 operators to target cost effective                      performance is equivalent to (or lower       based trading program.
                                                 reductions at specific affected EGUs, but               than) the rate-based standard of                Comment: While commenters broadly
                                                 can heighten the flexibility relative to                performance for the affected EGU.            supported the use of rate-based
                                                 averaging by further increasing the                        The EPA is finalizing a determination     emission trading under these emission
                                                 number of participating affected EGUs.                  that rate-based trading is permissible for   guidelines, as it provides operational
                                                 In addition, emission trading can                       affected EGUs in the medium- and long-       flexibility to affected EGUs, some
                                                 provide incentive for overperformance.                  term coal-fired subcategories. The           commenters expressed concern that


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                                                 rate-based trading could lead to an                     focus on achieving cleaner performance.       compliance, the affected EGU would be
                                                 absolute increase in emissions.                         CAA section 111 requires the mitigation       required to surrender allowances in a
                                                   Response: The EPA notes that, as a                    of dangerous air pollution, which is          number equal to its reported CO2
                                                 general matter, CAA section 111 reduces                 generally achieved under this provision       emissions during each compliance
                                                 emissions of dangerous air pollutants by                by requiring affected sources to operate      period.
                                                 requiring affected sources to operate                   more cleanly. Thus, standards of                 As detailed in section VII.C.1.a.i(B)(7),
                                                 more cleanly. Under the construct of                    performance are typically expressed as        for affected coal-fired EGUs in the long-
                                                 these emission guidelines, so long as a                 a rate. In these emission guidelines, in      term subcategory that are installing CCS,
                                                 rate-based trading program is                           particular, the BSERs for affected EGUs       considering the potential impacts of
                                                 appropriately designed to maintain the                  are control technologies and other            variable load, startups, and shutdowns,
                                                 level of emission reduction that would                  systems of emission reduction that            90 percent CO2 capture is, in general,
                                                 be achieved through unit-specific, rate-                reduce the amount of CO2 emitted per          achievable over the course of a year.
                                                 based standards of performance, it                      unit of electricity generation. The EPA       However, the EPA believes unit-specific
                                                 would be consistent with CAA section                    is not precluding states from translating     mass-based compliance could provide
                                                 111.                                                    those unit-specific rate-based standards      some benefit by affording long-term
                                                                                                         of performance into a mass-based limit        affected coal-fired EGUs that adopt this
                                                 4. Unit-Specific Mass-Based Compliance
                                                                                                         (for unit-specific mass-based                 mechanism even greater operational
                                                    Although the EPA discussed mass-                     compliance) or budget (for emission           flexibility.948 For example, if an affected
                                                 based trading in the proposed emission                  trading). However, in order to ensure         EGU encounters challenges related to
                                                 guidelines, it did not specifically                     that the emission reductions required         the start-up of the CCS technology or
                                                 address whether states may include a                    under CAA section 111 are achieved,           needs to conduct maintenance of the
                                                 related flexibility, unit-specific mass-                mass-based limits or budgets must be          capture equipment, unit-specific mass-
                                                 based compliance, in their plans.                       accompanied by a backstop rate for            based compliance would provide a path
                                                 Several commenters supported mass-                      purposes of demonstrating compliance.         for the affected EGU to continue
                                                 based mechanisms, including both unit-                  In addition, for coal-fired EGUs in the       operating. At the same time, unit-
                                                 specific mass-based compliance and                      medium-term coal-fired subcategory in         specific mass-based compliance coupled
                                                 mass-based trading. A description of                    particular, it is critical that states’       with a backstop rate would generally
                                                 and responses to comments on unit-                      assumptions about future utilization do       ensure that units operate more cleanly
                                                 specific mass-based compliance can be                   not result in inaccurate mass-based           and that the required level of emission
                                                 found at the end of this subsection.                    limits or budgets that allow units to         reduction is achieved. As explained in
                                                    The EPA’s CAA section 111                            emit more than they would be permitted        more detail below, the EPA’s confidence
                                                 implementing regulations generally                      to under unit-specific, rate-based            regarding the equivalent stringency of
                                                 permit states to include mass-based                     compliance.                                   this mass-based compliance approach
                                                 limits in their plans, see 40 CFR                          The EPA is finalizing a presumptively      for units in the long-term subcategory
                                                 60.21a(f), subject to the requirement that              approvable unit-specific mass-based           depends on the Agency’s confidence in
                                                 standards of performance must be no                     compliance approach for affected EGUs         the likely utilization of a unit that has
                                                 less stringent than the presumptive                     in the long-term coal-fired subcategory,      adopted emissions controls—in this
                                                 standards of performance in the                         including a methodology for the               case, CCS.
                                                 corresponding emission guidelines. 40                   applicable backstop rate, but is not             For affected EGUs in the long-term
                                                 CFR 60.24a(c). However, the EPA has                     finalizing a presumptively approvable         coal-fired subcategory, the EPA is
                                                 significant concerns about the use of                   approach for affected EGUs in the             providing a presumptively approvable
                                                 unit-specific mass-based compliance in                  medium-term coal-fired subcategory. As        approach to unit-specific mass-based
                                                 the context of these emission guidelines                explained below, the EPA has not been         compliance. To establish the
                                                 and the ability of states using this                    able to determine a unit-specific mass-       presumptively approvable mass limit,
                                                 mechanism to ensure that such use will                  based compliance mechanism for                the presumptively approvable rate (as
                                                 result in the same level of emission                    medium-term coal-fired EGUs that              described in section X.C.1.b.i of this
                                                 reduction that would be achieved by                     would ensure that the mass limit is no        preamble) would be multiplied by a
                                                 applying the rate-based standard of                     less stringent than the presumptive           level of gross generation (i.e., utilization
                                                 performance. These concerns arise both                  standard of performance under these           level) corresponding to an annual
                                                 from the particular focus of these                      emission guidelines.                          capacity factor of 80 percent, which is
                                                 emission guidelines on emission                            In general, unit-specific mass-based       the capacity factor used for the BSER
                                                 reduction strategies that result in                     compliance establishes a budget of            analysis (see section VII.C.1.a.ii of this
                                                 cleaner performance of affected EGUs,                   allowable mass emissions (a mass limit)       preamble) and represents expected
                                                 and the inherent uncertainty in                         for an individual affected EGU based on       utilization based on the incentive
                                                 predicting the utilization of affected                  the degree of emission limitation             provided by the IRC section 45Q tax
                                                 EGUs during the compliance period,                      defined by its subcategory and a              credit. In addition, under this approach,
                                                 especially given the long lead times                    specified level of anticipated utilization.   affected EGUs would need to meet a
                                                 provided.                                               Standards of performance would be             backstop emission rate, expressed in lb
                                                    Therefore, while the EPA is allowing                 provided in the form of mass limits in        CO2 per MWh on a gross basis,
                                                 states to include unit-specific mass-                   tons of CO2 for each individual affected      equivalent to a reduction relative to
                                                 based compliance in their plans for                     EGU, and compliance would be                  baseline emission performance of 80
                                                 affected coal-fired EGUs in the medium-
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                                                                                                         demonstrated through surrender of             percent, on an annual calendar-year
                                                 and long-term subcategories, it is also                 allowances, with each allowance               basis. The EPA believes this backstop
                                                 requiring states to use a backstop                      representing a permit to emit one ton of      rate represents a reasonable level of
                                                 emission rate in conjunction with the                   CO2. Unlike mass-based emission               operational flexibility for affected EGUs
                                                 mass-based compliance demonstration.                    trading, under a unit-specific mass
                                                 As discussed in section X.D.1 of this                   compliance mechanism, these                     948 States may also elect to include the short-term
                                                 preamble, the EPA believes the use of a                 allowances would not be tradable with         reliability mechanism described in section XII.F.3.a
                                                 backstop rate is consistent with the                    other affected EGUs. To demonstrate           in their plans to address grid emergency situations.



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                                                 in the long-term subcategory, and it                    wide factors including changes in            least, an emission reduction of 16
                                                 could provide flexibility for sources to                relative fuel prices, new incentives for     percent. However, if its utilization
                                                 employ other technologies (e.g.,                        technology deployment provided by the        during the compliance period is more
                                                 membrane and chilled ammonia capture                    IIJA and the IRA, and increasing             than 16 percent lower than it was in the
                                                 technologies) that can achieve a                        electrification, as well as EGU-specific     past, the EGU using a mass-based
                                                 similarly high degree of emission                       factors related to its age and/or            compliance approach would face a
                                                 limitation to CCS with amine-based                      operating characteristics. As described      reduced or completely eliminated
                                                 capture. States may deviate from this                   in the Power Sector Trends TSD, coal-        obligation to improve its emission
                                                 approach (however, as previously                        fired EGUs tend to become less efficient     performance. In this case, mass-based
                                                 discussed, the approach must include a                  as they age, which may impact utilities’     compliance results in a lower level of
                                                 backstop rate) and deviations will be                   investment decisions and the utilization     emission reduction than unit-specific
                                                 reviewed to ensure consistency with the                 of these EGUs. In addition, affected         rate-based compliance. While this
                                                 statute and this rule when the EPA                      EGUs in this subcategory are unlikely to     phenomenon is not likely to occur for
                                                 reviews the state plan. For example,                    be earning the IRC section 45Q tax           long-term coal-fired affected EGUs given
                                                 states may wish to use an assumed                       credit, meaning they lack an incentive       the much higher degree of stringency of
                                                 utilization level of greater than 80                    to maximize both utilization and control     the rate-based emission limitation and
                                                 percent to establish a mass limit. In                   of emissions beyond what is required by      the greater certainty in future
                                                 reviewing such an approach for                          the subcategory.                             utilization, the EPA believes it would be
                                                 reasonableness, the EPA would                              The accuracy of this estimate of          widespread amongst medium-term
                                                 consider, among other things, whether                   utilization is critical to maintaining the   affected EGUs.
                                                 an affected EGU’s capacity factor has                   environmental integrity established by
                                                                                                                                                         Thus, the EPA is not providing a
                                                 historically been greater than 80 percent               unit-specific, rate-based compliance
                                                                                                                                                      presumptively approvable approach for
                                                 for any continuous 8 quarters of data.                  under these emission guidelines. If a
                                                                                                                                                      unit-specific mass-based compliance for
                                                 The EPA would review the supporting                     state assumes a level of utilization that
                                                                                                                                                      affected EGUs in the medium-term coal-
                                                 data and resulting mass limit for                       is higher than an affected EGU actually
                                                                                                                                                      fired subcategory. However, it is also
                                                 consistency with the statute. The EPA                   operates during the compliance period,
                                                                                                                                                      not prohibiting states from, in their
                                                 has confidence that the presumptively                   the resulting mass limit will be non-
                                                                                                                                                      discretion, allowing the use of unit-
                                                 approvable approach achieves an                         binding, i.e., may not reflect any
                                                                                                                                                      specific mass-based compliance. For
                                                 equivalent level of emission reduction                  emission reductions relative to what the
                                                                                                         unit would have emitted in the absence       such use to be approvable in state plans
                                                 as the implementation of the individual
                                                                                                         of these emission guidelines. In this        it must meet two requirements. First, as
                                                 presumptive standard of performance
                                                                                                         case a backstop emission rate helps, but     previously noted in section X.D.1 of this
                                                 because of the high degree of stringency
                                                                                                         the unit would become subject to a de        preamble, the state must apply a
                                                 associated with this subcategory as well
                                                                                                         facto less-stringent standard of             backstop rate in conjunction with a
                                                 as the 45Q tax credit, which
                                                                                                         performance. This result does not            mass limit for the purposes of
                                                 incentivizes units to maximize capture
                                                                                                         preserve environmental integrity             demonstrating compliance. As a starting
                                                 of CO2 as well as the utilization of the
                                                 affected EGU.                                           consistent with CAA section 111(a)(1).       point, states could consider basing their
                                                    On the other hand, the EPA does not                  Conversely, assuming a level of              backstop rate for medium-term affected
                                                 have the same confidence in a mass-                     utilization for the purpose of setting a     EGUs on the percentage reduction from
                                                 based approach to unit-specific                         mass limit that is lower than an affected    the degree of emission limitation used
                                                 compliance for the medium-term coal-                    EGU actually operates during the             for the presumptively approvable
                                                 fired subcategory for two reasons: the                  compliance period maintains the level        backstop rate for the long-term coal-
                                                 uncertainty in the utilization of these                 of emission reduction of unit-specific,      fired subcategory, i.e., the 80 percent
                                                 affected EGUs and the relatively lower                  rate-based implementation but may            reduction relative to baseline emission
                                                 stringency of the subcategory (i.e., 16                 have unintended effects on operational       performance is approximately 90.5
                                                 percent reduction relative to baseline                  flexibility. Thus, the EPA believes that     percent of the 88.4 percent degree of
                                                 emission performance), particularly as                  in many, if not most circumstances it        emission limitation. Applying that to
                                                 compared to the long-term subcategory.                  will not be possible for states to           the degree of emission limitation for the
                                                 The EPA has not been able to develop                    accurately predict the future utilization    medium-term coal-fired subcategory is
                                                 a workable approach to mass-based                       of medium-term affected EGUs.                14.5 percent, so the backstop rate,
                                                 compliance for these units that both                       Second, the EPA notes that the            expressed in lb CO2 per MWh on a gross
                                                 preserves the stringency of the                         relatively lower stringency of the           basis, could be set as a 14.5 percent
                                                 presumptive standard of performance                     subcategory further complicates the          reduction relative to baseline emission
                                                 and results in an implementable                         calculation of an appropriate mass limit.    performance on an annual calendar-year
                                                 program for affected EGUs.                              Under mass-based compliance, the             basis. Second, as described in section
                                                    First, there are significant challenges              quantity of emission reductions that         X.D.1 of this preamble, states must
                                                 in selecting an appropriate utilization                 corresponds to a 16 percent reduction in     demonstrate that their plan would
                                                 assumption for the purposes of                          CO2 emission rate is a relatively small      achieve an equivalent level of emission
                                                 generating a mass limit for affected                    reduction in terms of tons of CO2. This      reduction as the application of unit-
                                                 EGUs in the medium-term subcategory.                    relatively small reduction is likely to be   specific, rate-based standards of
                                                 When setting the mass limit for a future                subsumed by the uncertainty inherent         performance, including showing how
                                                                                                                                                      the mass limit has been calculated and
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                                                 time period, as would occur in a state                  in predicting the utilization of an
                                                 plan under these emission guidelines,                   affected EGU for purposes of                 the basis for any assumptions made
                                                 assumptions about the source’s                          determining its mass limit. That is, an      (e.g., about utilization). As explained in
                                                 anticipated level of utilization must be                EGU in the medium-term subcategory           this section, the EPA believes it will be
                                                 made. Estimating future utilization of                  that assumes future utilization              very difficult for states to accurately
                                                 affected EGUs in the medium-term                        consistent with its historical baseline      predict the future utilization of these
                                                 subcategory is subject to a significant                 but reduces its emission rate by 16          units, which substantially increases the
                                                 degree of uncertainty, driven by sector-                percent would achieve, on paper at           risk of establishing a mass limit that


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                                                 does not ensure at least an equivalent                  that are affected sources under these        performance. The Agency similarly
                                                 level of emission reduction. The EPA                    emission guidelines. That is, states         believes it will be very difficult for
                                                 will therefore apply a high degree of                   cannot rely on or account for emission       states to design mass-based trading
                                                 scrutiny to assumptions made about the                  reductions occurring at non-affected         programs that include affected EGUs in
                                                 utilization of affected EGUs employing                  sources.                                     the medium-term coal-fired subcategory
                                                 this flexibility in state plans. Only state                Section X.D.8 of this preamble            and that maintain the level of emission
                                                 plans that demonstrate that use of                      discusses more considerations related to     reduction that would be achieved under
                                                 compliance flexibilities will not erode                 the relationship between the inclusion       unit-specific compliance with the
                                                 the emission reductions required under                  of compliance flexibilities in state plans   presumptive standards of performance.
                                                 these emission guidelines are                           under these emission guidelines and             In general, a mass-based trading
                                                 approvable.                                             existing state programs.                     program establishes a budget of
                                                    Comment: Commenters were                                Comment: Many commenters                  allowable mass emissions for a group of
                                                 generally supportive of the use of mass-                requested presumptively approvable           affected EGUs, with tradable
                                                 based compliance mechanisms (both                       mass-based standards of performance.         instruments (typically referred to as
                                                 unit-specific and aggregate mechanisms                     Response: As discussed above, the         ‘‘allowances’’) issued to affected EGUs
                                                 such as emission trading) for these                     EPA is finalizing a presumptively            in the amount equivalent to the mass
                                                 emission guidelines. Commenters said                    approvable unit-specific mass-based          emission budget. To establish a mass
                                                 that mass-based compliance can help                     compliance approach for units in the         budget under these emission guidelines,
                                                 ensure environmental outcomes while                     long-term coal-fired subcategory that        states would use the rate-based standard
                                                 also allowing sources to cycle,                         includes a backstop rate to ensure an        of performance and an assumed level of
                                                 incorporate variable resources, and                     equivalent level of emission reduction.      utilization for each participating
                                                 respond to grid conditions.                             The EPA emphasizes that states should        affected EGU, and sum the resulting
                                                    Response: The EPA is finalizing that                 take into account the discussions of         individual mass limits to an aggregate
                                                 mass-based compliance mechanisms are                    stringency in section X.B and of             mass budget. Additionally, states would
                                                 permissible when they assure an                         demonstrating equivalence in section         need to specify in the plan how
                                                 equivalent level of emission reduction                  X.D.1 of this document, as well as           allowances would be distributed to
                                                 with each source individually achieving                 guidance in each subsection on               participating affected EGUs. Each
                                                 its standard of performance, subject to                 particular compliance flexibilities in       allowance would represent a tradable
                                                 the parameters described by the EPA in                  considering mass-based compliance            permit to emit one ton of CO2, with
                                                 this preamble. For unit-specific mass-                  approaches that deviate from the             affected EGUs required to surrender
                                                 based compliance, affected EGUs in the                  presumptively approvable method or for       allowances at the end of the compliance
                                                 medium- and long-term coal-fired                        sources for which the EPA is not             period in a number determined by their
                                                 subcategories may demonstrate                           providing a presumptively approvable         reported CO2 emissions. Total emissions
                                                 compliance with their standards of                      approach.                                    from all participating affected EGUs
                                                 performance through a mass limit. The                   5. Mass-Based Emission Trading               should be no greater than the total mass
                                                 EPA believes unit-specific mass-based                                                                budget. In addition, each participating
                                                 compliance may offer some additional                       The EPA proposed that states would        affected EGU would need to
                                                 operational flexibility to states and                   be permitted to incorporate mass-based       demonstrate compliance with the unit-
                                                 affected EGUs, which could include                      trading into their state plans under these   specific backstop rate.
                                                 allowing for cycling and incorporating                  emission guidelines. While several              The EPA sees similar potential
                                                 variable resources. The EPA notes that                  commenters supported the use of mass-        benefits related to operational flexibility
                                                 sources must still be in compliance with                based emission trading, as with unit-        of mass-based emission trading as with
                                                 the requisite backstop rate.                            specific mass-based compliance, the          unit-specific mass-based compliance,
                                                    Comment: Many commenters                             EPA has significant concerns about           discussed in section X.D.4 of this
                                                 expressed support for mass-based                        states’ ability using this mechanism to      preamble. These benefits could be
                                                 compliance mechanisms on the grounds                    maintain an equivalent level of emission     heightened by having a larger pool of
                                                 that it facilitates calibration with                    reduction to unit-specific, rate-based       allowances available to affected EGUs.
                                                 existing state programs affecting the                   standards of performance. A description      In addition, the EPA notes that emission
                                                 same sources that are affected under                    of and responses to comments on mass-        trading can provide incentive for
                                                 these emission guidelines.                              based trading can be found at the end        overperformance.
                                                    Response: The EPA acknowledges                       of this subsection.                             While there is indeed the potential for
                                                 that states may find it more                               Under these final emission guidelines,    heightened benefits from mass-based
                                                 straightforward to compare emission                     the EPA is allowing states to include        emission trading due to a larger pool of
                                                 reduction obligations under these                       mass-based emission trading for affected     allowances resulting from the inclusion
                                                 emission guidelines and existing state                  coal-fired EGUs in the medium- and           of multiple sources, the EPA believes
                                                 programs by using mass-based                            long-term subcategories in their plans.      that there is also a heightened risk that
                                                 compliance mechanisms for state plans                   The same requirements and caveats            the mass budget will not be
                                                 under these emission guidelines.                        discussed in section X.D.4 of this           appropriately calculated due to the
                                                 However, the EPA notes that mass-based                  preamble above apply to the respective       compounding uncertainty resulting
                                                 compliance mechanisms, including                        subcategories as for unit-specific mass-     from multiple participating sources. As
                                                 unit-specific mass-based compliance,                    based compliance. Specifically, the EPA      noted in section X.D.4 of this preamble,
                                                 are only available to certain sources                   is requiring the use of a unit-specific      projecting the utilization of affected
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                                                 affected by these emission guidelines, as               backstop rate in conjunction with the        EGUs has become increasingly
                                                 described in this section of the                        mass-based compliance demonstration,         challenging, driven by changes in
                                                 preamble, which may be a smaller                        which is necessary for consistency with      technology, fuel prices, and electricity
                                                 universe of sources than are affected by                the purpose of these emission                demand. In generating a mass budget,
                                                 existing state programs. State plans                    guidelines to achieve the emission           assumptions about utilization must be
                                                 must ensure an equivalent level of                      reductions required under CAA section        made for each participating source,
                                                 emission reduction from the sources                     111(a)(1) through cleaner emission           which magnifies the risk, particularly


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                                                 for affected EGUs in the medium-term                       Response: While the EPA is finalizing     program infrastructure developed by the
                                                 coal-fired subcategory, that an improper                that mass-based trading is permissible       EPA for other trading programs, and
                                                 assumption about utilization for one                    under these emission guidelines for          some states and one utility expressed
                                                 affected EGU implicates the compliance                  affected EGUs in the medium- and long-       support for states’ ability to use EPA’s
                                                 obligation of other affected EGUs. Based                term coal-fired subcategories, the EPA       allowance management system for such
                                                 on the understanding that a trading                     believes that some of the flexibility        programs. In addition to providing such
                                                 program that ensures the level of                       desired by commenters is addressed by        resources for regional and national
                                                 emission reduction of unit-specific, rate-              other features of and changes made to        emission trading and averaging
                                                 based compliance under these emission                   the final emission guidelines, as            programs, the EPA has also provided
                                                 guidelines would necessarily have to be                 described in the beginning of section        technical support and resources to
                                                 designed with highly conservative                       X.D of this preamble. Despite familiarity    various non-EPA state and regional
                                                 utilization assumptions, the EPA is not                 on the part of states and sources with       emission trading programs. In the event
                                                 providing a presumptively approvable                    mass-based trading programs, the EPA is      states choose to create emission
                                                 approach for mass-based trading. The                    concerned that the unique                    averaging or trading programs under
                                                 EPA additionally does not believe a                     circumstances of the EGUs affected by        these emission guidelines, the EPA can
                                                 presumptively approvable mass-based                     these final emission guidelines,             provide technical support for such
                                                 trading approach is warranted because,                  including uncertainty over their future      programs, including through the use of
                                                 as noted in the introduction to this                    utilization as well as the relatively        the Agency’s existing trading program
                                                 section, there are fewer sources covered                lower stringency of the medium-term          infrastructure, and is available to
                                                 by the final emission guidelines than                   coal-fired subcategory, pose a challenge     consult with states during the plan
                                                 the proposed emission guidelines,                       for states in demonstrating an               development process about the
                                                 which may limit interest in and the                     equivalent level of emission reduction       appropriateness of using such resources,
                                                 utility of the use of mass-based trading                of mass-based trading programs to the        such as the EPA’s allowance
                                                 for these emission guidelines.                          application of individual rate-based         management system, based on the
                                                    The EPA is not prohibiting states from               standards.                                   design of state programs.
                                                 developing their own approaches to                         Comment: Some commenters                     States may also need to consider how
                                                 mass-based trading under these                          expressed concern with whether and           to handle differing compliance dates for
                                                 emission guidelines; however, they                      how mass-based trading would achieve         affected EGUs in an emission averaging
                                                 must apply a unit-specific backstop rate                and sustain the emission performance         or trading program, given that under
                                                 for all participating affected EGUs (see                identified in the determination of BSER.     these emission guidelines the date when
                                                 section X.D.4 of this preamble for a                       Response: The EPA shares these            standards of performance apply varies
                                                 discussion of the backstop rate under                   concerns, and for that reason is             depending on the subcategory for the
                                                 unit-specific mass-based compliance),                   requiring the use of a unit-specific         affected EGU. The most straightforward
                                                 and they must demonstrate, as                           backstop rate in conjunction with mass-      way to address this, and which
                                                 described in section X.D.1 of this                      based compliance flexibilities,              commenters supported, is to initially
                                                 preamble, that their plan would achieve                 including mass-based trading. The EPA        only include those sources with a
                                                 an equivalent level of emission                         has also described its concerns over         compliance date of January 1, 2030, and
                                                 reduction as the application of                         states’ ability to estimate future           then subsequently add sources into the
                                                 individual rate-based standards of                      utilization and will thus apply a high       program (and thus factor them into the
                                                 performance, including showing how                      degree of scrutiny to assumptions made       aggregate standard of performance that
                                                 the mass limit has been calculated and                  about the utilization of affected EGUs       must be achieved in the case of rate-
                                                 the basis for any assumptions made                      participating in mass-based trading in       based averaging or mass-based budget in
                                                 (e.g., about utilization). As with unit-                state plans.                                 the case of mass-based compliance
                                                 specific mass-based compliance, the                     6. General Emission Trading and              approaches) at the start of the first year
                                                 EPA will apply a high degree of scrutiny                Averaging Program Implementation             in which their standard of performance
                                                 to assumptions made about the                           Features                                     applies.
                                                 utilization of affected EGUs                                                                            Another topic that states
                                                 participating in a mass-based trading                      As noted in the proposed emission         incorporating emission averaging or
                                                 program in state plans. States must also                guidelines, states would need to             trading would need to consider is
                                                 specify the structure and purpose of any                establish the procedures and systems         whether to provide for banking of
                                                 other trading program design feature(s)                 necessary to implement and enforce an        tradable compliance instruments
                                                 (e.g., mass budget adjustment                           emission averaging or trading program,       (hereafter referred to as ‘‘allowance
                                                 mechanism) and how they impact the                      whether it is rate-based or mass-based,      banking,’’ although it is relevant for
                                                 demonstration of an equivalent level of                 if they elect to incorporate such            both mass-based and rate-based trading
                                                 emission reduction.                                     flexibilities into their state plans. This   programs). Allowance banking has
                                                    Comment: Many commenters                             would include, but is not limited to,        potential implications for a trading
                                                 supported the use of mass-based trading                 establishing the mechanics for               program’s ability to maintain the
                                                 under these emission guidelines.                        demonstrating compliance under the           requisite level of emission reduction of
                                                 Commenters stated that because many                     program (e.g., surrender of compliance       the standards of performance. The EPA
                                                 states are familiar with the mechanism,                 instruments as necessary based on            recognizes that allowance banking—that
                                                 having used it for other pollutants in                  monitoring and reporting of CO2              is, permitting allowances that remain
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                                                 this sector or, in the case of some                     emissions and generation); establishing      unused in one control period to be
                                                 existing state programs, for CO2, it                    requirements for continuous monitoring       carried over for use in future control
                                                 would be easy to employ in the context                  and reporting of CO2 emissions and           periods—may provide incentives for
                                                 of these emission guidelines and                        generation; and developing a tracking        earlier emission reductions, promote
                                                 provide needed flexibility. In addition,                system for tradable compliance               operational flexibility and planning, and
                                                 commenters cited ensuring reliability as                instruments. The EPA requested               facilitate market liquidity. Many
                                                 a motivation for using mass-based                       comment on whether there was interest        commenters supported allowing
                                                 trading.                                                in capitalizing on the existing trading      banking for these reasons. However, the


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                                                 EPA has observed that unrestricted                        EGUs in the long-term coal-fired              participating states would need to, at a
                                                 allowance banking from one control                        subcategory, which can further simplify       minimum, use the same form of trading
                                                 period to the next (absent provisions                     the process for developing compliance         and have consistent design elements
                                                 that adjust future control period budgets                 approaches in state plans.                    and identical trading program
                                                 to account for banked allowances) may                                                                   requirements. Each state participating in
                                                                                                           7. Interstate Emission Trading
                                                 result in a long-term allowance surplus                                                                 an interstate trading program would
                                                 that has the potential to undermine a                        In the proposed emission guidelines,       need to submit their own individual
                                                 trading program’s ability to ensure that,                 the EPA requested comment on                  state plan, subject to the state plan
                                                 at any point in time, the affected sources                whether, and under what circumstances         component and submission
                                                 are achieving the required level of                       or conditions, to allow interstate            requirements described in section X.E,
                                                 emission performance. In the Good                         emission trading under these emission         but the states would coordinate their
                                                 Neighbor Plan’s trading program                           guidelines. Given the                         individual plan provisions addressing
                                                 provisions, for example, the EPA                          interconnectedness of the power sector        the interstate trading program.
                                                 implemented an annual allowance bank                      and given that many utilities and power       Additionally, each state plan would
                                                 recalibration to prevent allowance                        generators operate in multiple states,        need provisions to ensure that affected
                                                 surpluses from accumulating and                           interstate emission trading may increase      EGUs within their state are in
                                                 adversely impacting program                               compliance flexibility. The EPA also          compliance taking into account the
                                                 stringency.949 While the requirement to                   took comment on whether the scope of          actions of affected EGUs participating in
                                                 include a backstop rate for mass-based                    rate-based averaging should be limited        the interstate trading program in other
                                                 compliance flexibilities can mitigate                     to a certain level of geographic              states. The EPA would need all state
                                                 some concerns that unrestricted                           aggregation (i.e., intrastate but not         plan submissions that incorporate
                                                 allowance banking will undermine the                      interstate).                                  interstate emission trading before
                                                 program’s calibration towards achieving                      Many commenters expressed support          evaluating any of the individual state
                                                 emission reductions through cleaner                       for interstate trading and averaging,         plans in order to ensure consistency
                                                 performance, the EPA urges that states                    arguing that it further augments the          among all participating states. The EPA
                                                 considering allowing trading also                         flexibility offered by these mechanisms.      is willing to provide technical
                                                 consider restricting allowance banking                    Because electricity markets are often         assistance to states during the state plan
                                                 (whether all or only a portion) in order                  operated on an interstate basis,              development process about the use of
                                                 to ensure that a program continues to be                  commenters stated that interstate             interstate emission trading, but notes
                                                 calibrated towards equivalent stringency                  trading and averaging would facilitate        that states may need to coordinate their
                                                 with individual rate-based standards of                   better electricity market planning. In        individual state plan submissions
                                                 performance, which several commenters                     particular, some commenters noted that        among different EPA regions.
                                                 did support.                                              interstate programs would also allow for
                                                                                                           better grid reliability planning across       8. Relationship to Existing State
                                                    Comment: Many commenters                                                                             Programs
                                                 expressed the need for expanding the                      areas with regional planning entities.
                                                 state plan submission timeline beyond                        While the EPA is finalizing a                 As described in the proposed
                                                 24 months to allow more time to design                    determination that states can                 emission guidelines, the EPA recognizes
                                                 emission trading and averaging                            incorporate both rate- and mass-based         that many states have adopted policies
                                                 programs.                                                 interstate emission trading programs          and programs (with both a supply-side
                                                    Response: As discussed in section                      into their state plans, the EPA has           and demand-side focus) under their
                                                 X.E.2 of this preamble, the EPA is                        significant stringency-related and            own authorities that have significantly
                                                 finalizing a 24-month state plan                          logistical concerns about the use of          reduced CO2 emissions from EGUs, that
                                                 development timeframe. Because there                      interstate emission trading for these         these policies will continue to achieve
                                                 are significantly fewer sources covered                   particular emission guidelines. For           future emission reductions, and that
                                                 under the final emission guidelines and                   mass-based trading in particular, the         states may continue to adopt new power
                                                 because the EPA is restricting certain                    EPA has concerns that further                 sector policies addressing CO2
                                                 subcategories from using compliance                       increasing the number of sources              emissions. States have exercised their
                                                 flexibilities such as emission averaging                  participating in the program heightens        power sector authorities for a variety of
                                                 and trading and unit-specific mass-                       the risk that the mass budget will not be     purposes, including economic
                                                 based compliance, the EPA believes 24                     appropriately calculated due to the           development, energy supply and
                                                 months is a reasonable amount of time                     uncertainty in estimating future              resilience goals, conventional and GHG
                                                 to develop state plans, including time                    utilization of affected EGUs, thus            pollution reduction, and generating
                                                 necessary to develop compliance                           inhibiting the ability of states to           allowance proceeds for investments in
                                                 flexibility approaches. Moreover, the                     demonstrate that their program achieves       communities disproportionately
                                                 EPA is offering a presumptively                           an equivalent level of emission               impacted by environmental harms. The
                                                 approvable approach to unit-specific                      reduction. This concern is somewhat           scope and approach of the EPA’s final
                                                 mass-based compliance for affected                        alleviated for rate-based compliance          emission guidelines differ significantly
                                                                                                           flexibilities, but the EPA notes that         from the range of policies and programs
                                                    949 Federal ‘‘Good Neighbor Plan’’ for the 2015        states that wish to implement such            employed by states to reduce power
                                                 Ozone National Ambient Air Quality Standards, 88          flexibilities on an interstate basis should   sector CO2 emissions, and these
                                                 FR 36654 (June 5, 2023). Under the allowance bank         do so through rate-based trading, as          emission guidelines operate more
                                                 recalibration provisions, EPA will recalibrate the
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                                                                                                           discussed in section X.D.2. Interstate        narrowly to improve the CO2 emission
                                                 ‘‘Group 3’’ allowance bank for the 2024–2029
                                                 control periods to meet the target bank level of 21       trading programs must adhere to the           performance of a subset of EGUs within
                                                 percent of the sum of the state emission budgets for      same requirements described in section        the broader electric power sector.
                                                 that control period. For control periods 2030 and         X.D.1 and must demonstrate                       Several commenters requested
                                                 later, the target bank level is 10.5 percent of the sum   equivalence of the program for all            guidance on how states can count
                                                 of the state emission budgets. If the overall bank is
                                                 less than the target bank level for a given control       participating affected EGUs.                  existing state programs, many of which
                                                 period, then no bank recalibration will occur for            For interstate emission trading            include requirements to reduce CO2
                                                 that control period.                                      programs to function successfully, all        emissions at sources not affected by this


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                                                 rule, in their state plans under these                  these final emission guidelines, the             include a copy of the publication cover
                                                 emission guidelines. The EPA is not                     provisions of subpart Ba apply.                  page and table of contents; (5) Evidence
                                                 providing such guidance in this action                                                                   that the state followed all applicable
                                                                                                         1. Components of a State Plan
                                                 but would be open to consulting with                                                                     procedural requirements of the state’s
                                                                                                         Submission
                                                 states during the state plan development                                                                 regulations, laws, and constitution in
                                                 process about the requirements of these                    A state plan must include a number            conducting and completing the
                                                 emission guidelines in relation to                      of discrete components, including but            adoption/issuance of the plan; (6)
                                                 existing state programs. States may                     not limited to those that apply for all          Evidence that public notice was given of
                                                 make determinations about whether and                   state plans pursuant to 40 CFR part 60,          the plan or plan revisions with
                                                 how to design their plans, accounting                   subpart Ba. In this action, the EPA is           procedures consistent with the
                                                 for state-specific programs or                          also finalizing additional plan                  requirements of 40 CFR 60.23a,
                                                 requirements that apply to the same                     components that are specific to state            including the date of publication of
                                                 affected EGUs included in a state plan.                 plans submitted pursuant to these                such notice; (7) Certification that public
                                                 However, as noted in section X.B,                       emission guidelines. For example, the            hearing(s) were held in accordance with
                                                 emission reductions from sources not                    EPA is finalizing plan components that           the information provided in the public
                                                                                                         are necessary to implement and enforce           notice and the state’s laws and
                                                 affected by this rule cannot be used to
                                                                                                         the specific types of standards of               constitution, if applicable and
                                                 demonstrate compliance with a
                                                                                                         performance for affected EGUs that               consistent with the public hearing
                                                 standard of performance established to
                                                                                                         would be adopted by a state and                  requirements in 40 CFR 60.23a; (8)
                                                 meet the emission guidelines. Only
                                                                                                         incorporated into its state plan.                Compilation of public comments and
                                                 emission reductions at affected EGUs
                                                 may count towards compliance with the                   a. General Components                            the state’s response thereto; and (9)
                                                 state plan, including towards                                                                            Documentation of meaningful
                                                                                                            The CAA section 111 implementing              engagement, including a list of pertinent
                                                 demonstrating compliance with the                       regulations at 40 CFR part 60, subpart           stakeholders, a summary of the
                                                 equivalent stringency criterion applied                 Ba, provide separate lists of                    engagement conducted, a summary of
                                                 to compliance flexibilities. States may                 administrative and technical criteria            stakeholder input received, and a
                                                 employ compliance flexibilities (such as                that must be met in order for a state plan       description of how stakeholder input
                                                 mass-based mechanisms) described in                     submission to be deemed complete.951             was considered in the development of
                                                 this section in order to facilitate                     The complete list of applicable                  the plan or plan revisions.
                                                 comparison between the requirements                     administrative completeness criteria for            Pursuant to subpart Ba, the technical
                                                 under existing state programs and under                 state plan submissions is: (1) A formal          criteria that all plans must meet include
                                                 these emission guidelines; however, the                 letter of submittal from the Governor or         the following: (1) Description of the
                                                 EPA emphasizes that individual affected                 the Governor’s designee requesting EPA           plan approach and geographic scope; (2)
                                                 EGUs or groups of affected EGUs must                    approval of the plan or revision thereof;        Identification of each designated facility
                                                 comply with the requirements                            (2) Evidence that the state has adopted          (i.e., affected EGU); identification of
                                                 established for such units in the state                 the plan in the state code or body of            standards of performance for each
                                                 plan, and that such compliance cannot                   regulations; or issued the permit, order,        affected EGU; and monitoring,
                                                 incorporate measures taken by EGUs not                  or consent agreement (hereafter                  recordkeeping, and reporting
                                                 affected by these emission guidelines.                  ‘‘document’’) in final form. That                requirements that will determine
                                                                                                         evidence must include the date of                compliance by each designated facility;
                                                 E. State Plan Components and                            adoption or final issuance as well as the
                                                 Submission                                                                                               (3) Identification of compliance
                                                                                                         effective date of the plan, if different         schedules and/or increments of
                                                   This section describes the                            from the adoption/issuance date; (3)             progress; (4) Demonstration that the
                                                 requirements for the contents of state                  Evidence that the state has the necessary        state plan submission is projected to
                                                 plans and the timing of state plan                      legal authority under state law to adopt         achieve emission performance under the
                                                                                                         and implement the plan; (4) A copy of            applicable emission guidelines; (5)
                                                 submissions as well as the EPA’s review
                                                                                                         the actual regulation, or document               Documentation of state recordkeeping
                                                 of and action on state plan submissions.
                                                                                                         submitted for approval and                       and reporting requirements to determine
                                                 This section also discusses issues
                                                                                                         incorporation by reference into the plan,        the performance of the plan as a whole;
                                                 related to the applicability of a Federal
                                                                                                         including indication of the changes              and (6) Demonstration that each
                                                 plan and timing for the promulgation of
                                                                                                         made (such as redline/strikethrough) to          standard is quantifiable, permanent,
                                                 any Federal Plan, if necessary.
                                                                                                         the existing approved plan, where                verifiable, enforceable, and
                                                   As explained earlier in this preamble,                applicable. The submittal must be a              nonduplicative.
                                                 the requirements of 40 CFR part 60,                     copy of the official state regulation or
                                                 subpart Ba, govern state plan                           document signed, stamped, and dated              b. Specific State Plan Requirements for
                                                 submissions under these emission                        by the appropriate state official                These Emission Guidelines
                                                 guidelines. Where the EPA is finalizing                 indicating that it is fully enforceable by          To ensure that state plans submitted
                                                 requirements that add to, supersede, or                 the state. The effective date of the             pursuant to these emission guidelines
                                                 otherwise vary from the requirements of                 regulation or document must, whenever            are consistent with the statutory
                                                 subpart Ba for the purposes of state plan               possible, be indicated in the document           requirements and the requirements of
                                                 submissions under these particular                      itself. The state’s electronic copy must         subpart Ba, the EPA is finalizing
                                                 emission guidelines,950 those                                                                            additional regulatory requirements that
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                                                                                                         be an exact duplicate of the hard copy.
                                                 requirements are addressed explicitly in                If the regulation/document provided by           state plans must meet for all affected
                                                 section X.E.1.b on specific state plan                  the state for approval and incorporation         EGUs subject to a standard of
                                                 requirements and in other parts of                      by reference into the plan is a copy of          performance, as well as certain
                                                 section X of this preamble. Unless                      an existing publication, the state               subcategory-specific requirements. The
                                                 expressly amended or superseded in                      submission should, whenever possible,            EPA reiterates that standards of
                                                                                                                                                          performance for affected EGUs included
                                                   950 40 CFR 60.20a(a)(1).                               951 40 CFR 60.27a(g)(2) and (3).                in a state plan must be quantifiable,


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                                                 verifiable, permanent, enforceable, and                 emission rate limitation, mass limit, or               provided under 40 CFR 60.5850b
                                                 non-duplicative. Additionally, per CAA                  mass budget) that is actually applied for              (including any time-limited extension of
                                                 section 302(l), standards of performance                affected EGUs under the compliance                     the date by which an EGU has
                                                 must be continuous in nature.                           flexibility mechanism and how it is                    committed to permanently cease
                                                 Additional state plan requirements                      calculated; provisions for the                         operations pursuant to the reliability
                                                 finalized as part of this action include:               implementation and enforcement of the                  assurance mechanism); and
                                                    • Identification of each affected EGU                compliance flexibility mechanism,                         • Monitoring, reporting, and
                                                 and the subcategory to which each                       which includes provisions that address                 recordkeeping requirements for affected
                                                 affected EGU is assigned;                               assurance of achievement of equivalent                 EGUs.
                                                    • A requirement that state plans                     emission reduction, including, for mass-                  These final emission guidelines
                                                 include, in the regulatory portion of the               based compliance flexibilities,                        include requirements pertaining to the
                                                 plan, a list of coal-fired steam-                       identification of the unit-specific                    methodologies for establishing a
                                                 generating EGUs that are existing                       backstop emission limitation; and a                    presumptively approvable standard of
                                                 sources at the time of state plan                       demonstration that the state plan will                 performance for an affected EGU within
                                                 submission and that plan to                             achieve an equivalent level of emission                a given subcategory. These presumptive
                                                 permanently cease operation before                      reduction with individual rate-based                   methodologies are specified for each of
                                                 January 1, 2032, and the calendar dates                 standards of performance through                       the subcategories of affected EGUs in
                                                 by which they have committed to do so.                  incorporation of the compliance                        section X.C.1 of this preamble.
                                                 The state plan must provide that an                     flexibility mechanism;                                    As discussed in sections X.C and X.D
                                                 EGU operating past the date listed in the                  • Increments of progress and                        of this preamble, in order for the EPA
                                                 plan is no longer exempt from these                     reporting obligations and milestones as                to find a state plan ‘‘satisfactory,’’ that
                                                 emission guidelines and is in violation                 required for affected EGUs within the                  plan must demonstrate that it achieves
                                                 of that plan, except to the extent the                  applicable subcategories or pursuant to                the level of emission reduction that
                                                 existing coal-fired steam generating EGU                consideration of RULOF, included as                    would result if each affected source was
                                                 has received a time-limited extension of                enforceable elements of a state plan;                  individually achieving its presumptive
                                                 its date for ceasing operation pursuant                    • For affected EGUs in the medium-                  standard of performance, after
                                                 to the reliability assurance mechanism                  term coal-fired steam generating EGU                   accounting for any application of
                                                 described in section XII.F.3.b of this                  subcategory and affected EGUs relying                  RULOF. That is, while states have the
                                                 preamble;                                               on a plan to permanently cease                         discretion to establish the applicable
                                                    • Standards of performance for each                  operation for application of a less                    standards of performance for affected
                                                 affected EGU, including provisions for                  stringent standard of performance                      sources in their state plans (including
                                                 implementation and enforcement of                       pursuant to RULOF, the state plan must                 whether to allow compliance to be
                                                 such standards as well as identification                include an enforceable commitment to                   demonstrated through the use of
                                                 of the control technology or other                      permanently cease operation by a date                  compliance flexibilities), the structure
                                                 system of emission reduction affected                   certain. The state plan must clearly                   and purpose of CAA section 111 require
                                                 EGUs intend to implement to achieve                                                                            that those plans achieve an equivalent
                                                                                                         identify the calendar dates by which
                                                 the standards of performance. Standards                                                                        level of emission reduction as applying
                                                                                                         such affected EGUs have committed to
                                                 of performance must be expressed in lb                                                                         the EPA’s presumptive standards of
                                                                                                         permanently cease operation; 952
                                                 CO2/MWh gross basis or, for affected                       • A requirement that state plans                    performance to those sources (again,
                                                 EGUs in the low load natural gas- and                                                                          after accounting for any application of
                                                                                                         provide that any existing coal-fired
                                                 oil-fired subcategory, lb CO2/MMBtu, or,                                                                       RULOF).
                                                                                                         steam generating EGU shall operate only
                                                 if a state is allowing the use of mass-                                                                           Thus, state plans must adequately
                                                                                                         subject to a standard of performance                   document and support the process and
                                                 based compliance, tons CO2 per year;
                                                    • For each affected EGU,                             pursuant to these emission guidelines or               underlying data used to establish
                                                 identification of baseline emission                     under an exemption from applicability                  standards of performance pursuant to
                                                 performance, including CO2 mass and                        952 Consistent with CAA section 111(d)(1), state
                                                                                                                                                                these emission guidelines. Providing
                                                 electricity generation data or, for                     plans must include commitments to cease operation      such documentation is critical to the
                                                 affected EGUs in either the low load                    as necessary for the implementation and                EPA’s review of state plans to determine
                                                 natural gas-fired subcategory or the low                enforcement of standards of performance. When          whether they are satisfactory. In
                                                 load oil-fired subcategory, heat input                  such commitments are the predicate for receiving       particular, states must include in their
                                                                                                         a particular standard of performance, adherence to
                                                 data from 40 CFR part 75 reporting for                  those commitments is necessary to maintain the
                                                                                                                                                                plan submissions information and data
                                                 the 5-year period immediately prior to                  level of emission reduction Congress required          related to affected EGUs’ emissions and
                                                 the date this final rule is published in                under CAA section 111(a)(1). See 40 CFR 60.24a(g)      operations, including CO2 mass
                                                 the Federal Register and what                           (operating conditions within the control of a          emissions and corresponding electricity
                                                                                                         designated facility that are relied on for purposes
                                                 continuous 8-quarter period from the 5-                 of RULOF must be included as enforceable
                                                                                                                                                                generation data or, for affected EGUs in
                                                 year period was used to calculate                       requirements in state plans); see also, e.g.,          either the low load natural gas-fired
                                                 baseline emission performance;                          ‘‘Affordable Clean Energy Rule,’’ 84 FR 32520,         subcategory or the oil-fired subcategory,
                                                    • Where a state plan provides for the                32558 (July 8, 2019) (repealed on other grounds)       heat input data, from 40 CFR part 75
                                                                                                         (requiring that retirement dates associated with
                                                 use of a compliance flexibility, such as                standards of performance be included in state plans
                                                                                                                                                                reporting for the 5-year period
                                                 an alternative form of the standard (e.g.,              and become federally enforceable upon approval by      immediately prior to the date the final
                                                 mass limit; aggregate emission rate                     the EPA); 76 FR 12651, 12660–63 (March 8, 2011)        rule is published in the Federal Register
                                                 limitation) and/or the use of emission                  (best available retrofit technology requirements       and identify the period from which
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                                                                                                         based on enforceable retirements that were made
                                                 averaging or trading, identification of                 federally enforceable in state implementation plan);
                                                                                                                                                                states and affected EGUs select 8
                                                 the presumptive unit-specific rate-based                Guidance for Regional Haze State Implementation        continuous quarters of data to determine
                                                 standard of performance in lb CO2/                      Plans for the Second Implementation Period at 34,      unit-specific baselines. States must
                                                 MWh-gross that would apply for each                     EPA–457/B–19–003, August 2019 (to the extent a         include data and documentation
                                                                                                         state replies on an enforceable shutdown date for
                                                 affected EGU in the absence of the                      a reasonable progress determination, that measure
                                                                                                                                                                sufficient for the EPA to understand and
                                                 compliance flexibility mechanism; the                   would need to be included in the SIP and/or be         replicate their calculations in applying
                                                 standard of performance (aggregate                      federally enforceable).                                the applicable degree of emission


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                                                 limitation to individual affected EGUs                  engagement is a corollary to the                    state plan development timeline are
                                                 to establish their standards of                         longstanding requirement for public                 addressed section X.E.2).
                                                 performance. They must also provide                     participation, including through public                In the proposed emission guidelines,
                                                 any methods, assumptions, and                           hearings, in the course of state plan               the EPA provided some information to
                                                 calculations necessary for the EPA to                   development under CAA section                       assist states in identifying potential
                                                 review plans containing compliance                      111(d).953 A robust and meaningful                  pertinent stakeholders. Some
                                                 flexibilities and to determine whether                  engagement process is critical to                   commenters sought more guidance from
                                                 they achieve an equivalent (or better)                  ensuring that the entire public has an              the EPA on how to identify pertinent
                                                 level of emission reduction as unit-                    opportunity to participate in the state             stakeholders. The Agency is providing
                                                 specific implementation of rate-based                   plan development process and that                   the following discussion of the potential
                                                 standards of performance. Plans must                    states understand and consider the full             impacts of the emission guidelines to
                                                 also adequately document and                            range of impacts of a proposed plan on              assist states in identifying their
                                                 demonstrate the methods employed to                     public health and welfare.                          pertinent stakeholders. The EPA
                                                 implement and enforce the standards of                     The EPA finalized the following                  believes that this discussion provides a
                                                 performance such that the EPA can                       definition of meaningful engagement in              starting point and expects that states
                                                 review and identify measures that                       the final subpart Ba revisions in                   will use their more targeted knowledge
                                                 assure transparent and verifiable                       November 2023: ‘‘timely engagement                  of state- and source-specific
                                                 implementation.                                         with pertinent stakeholders and/or their            circumstances to hone the identification
                                                                                                         representatives in the plan development             of pertinent stakeholders and conduct
                                                 i. Requirements Related to Meaningful                                                                       the necessary meaningful engagement.
                                                 Engagement                                              or plan revision process.’’ 954
                                                                                                         Furthermore, the definition provides                As acknowledged by the EPA in the
                                                    Public engagement is a cornerstone of                that ‘‘[s]uch engagement should not be              final revisions to subpart Ba, ‘‘states are
                                                 CAA section 111(d) state plan                           disproportionate in favor of certain                highly diverse in, among other things,
                                                 development. In November 2023, the                      stakeholders and should be informed by              their local conditions, resources, and
                                                 EPA finalized requirements in the CAA                   available best practices.’’ 955 The                 established practices of
                                                 section 111(d) implementing regulations                 regulations also define pertinent                   engagement,’’ 958 so the EPA is not
                                                 at 40 CFR part 60 subpart Ba to ensure                  stakeholders, which ‘‘include, but are              finalizing any additional requirements
                                                 that that all affected members of the                   not limited to, industry, small                     regarding the states’ identification of a
                                                 public, not just a particular subset, have              businesses, and communities most                    pertinent stakeholders for the purposes
                                                 an opportunity to participate in the state                                                                  of these emission guidelines. States
                                                                                                         affected by and/or vulnerable to the
                                                 plan development process. These                                                                             should consider the unique
                                                                                                         impacts of the plan or plan revision.’’ 956
                                                 requirements are intended to ensure that                                                                    circumstances of their state and the
                                                                                                         The preamble for the final revisions to
                                                 the perspectives, priorities, and                                                                           sources within their state, with the
                                                                                                         subpart Ba notes that ‘‘[i]ncreased
                                                 concerns of affected communities,                                                                           following discussion in mind, to tailor
                                                                                                         vulnerability of communities may be
                                                 including communities that are most                                                                         their meaningful engagement. In
                                                                                                         attributable to, among other reasons, an
                                                 affected by and vulnerable to emissions                                                                     addition, the EPA notes that the
                                                                                                         accumulation of negative
                                                 from affected EGUs as well as energy                                                                        preamble to the final subpart Ba
                                                                                                         environmental, health, economic, or
                                                 communities and energy workers that                                                                         revisions provides discussion of best
                                                                                                         social conditions within these
                                                 are affected by EGU operation and                                                                           practices related to meaningful
                                                 construction of pollution controls, are                 populations or communities, and a lack
                                                                                                                                                             engagement.959
                                                 included in the process of establishing                 of positive conditions.’’ 957 Consistent
                                                                                                                                                                The air pollutant of concern in these
                                                 and implementing standards of                           with the requirements of subpart Ba, it             emission guidelines is defined as
                                                 performance for existing EGUs,                          is important for states to recognize and            greenhouse gases, and the air pollution
                                                 including decisions about compliance                    engage the communities most affected                addressed is elevated concentrations of
                                                 strategies and compliance flexibilities                 by and/or vulnerable to the impacts of              these gases in the atmosphere. These
                                                 that may be included in a state plan.                   a state plan, particularly as these                 elevated concentrations result in
                                                 The final requirements for meaningful                   communities may not have had a voice                warming temperatures and other
                                                 engagement in subpart Ba are in                         when the affected EGUs were originally              changes to the climate system that are
                                                 addition to the preexisting public notice               constructed.                                        leading to serious and life-threatening
                                                 requirements under subpart Ba that                         Most commenters were generally                   environmental and human health
                                                 apply to state plan development. This                   supportive of the requirement to                    impacts, including increased incidence
                                                 section describes the meaningful                        conduct meaningful engagement.                      of drought and flooding, damage to
                                                 engagement requirements finalized                       Commenters acknowledged that some                   crops and disruption of associated food,
                                                 separately in subpart Ba and provides                   states and utilities have already started           fiber, and fuel production systems,
                                                 guidance to states in the application of                to conduct meaningful engagement with               increased incidence of pests, increased
                                                 these requirements to the development                   stakeholders like that which is required            incidence of heat-induced illness, and
                                                 of state plans under these emission                     by the final subpart Ba revisions in                impacts on water availability and water
                                                 guidelines.                                             other policy contexts. Some commenters              quality. The Agency therefore expects
                                                    The fundamental purpose of CAA                       requested more time in the state plan               that states’ pertinent stakeholders will
                                                 section 111 is to reduce emissions from                 development process specifically to                 include communities within the state
                                                 categories of stationary sources that                   facilitate conducting meaningful                    that are most affected by and/or
                                                 cause, or significantly contribute to, air              engagement (comments related to the
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                                                                                                                                                             vulnerable to the impacts of climate
                                                 pollution which may reasonably be                                                                           change, including those exposed to
                                                                                                           953 40 CFR 60.23(c)–(g); 40 CFR 60.23a(c)–(h).
                                                 anticipated to endanger public health or                                                                    more extreme drought, flooding, and
                                                                                                           954 40 CFR 60.21a(k); 88 FR 80480, 80500
                                                 welfare. Therefore, a key consideration                                                                     other severe weather impacts, including
                                                                                                         (November 17, 2023).
                                                 in the state’s development of a state                     955 Id.                                           extreme heat and cold (states should
                                                 plan is the potential impact of the                       956 40 CFR 60.21a(l); 88 FR 80480, 80500
                                                 proposed plan requirements on public                    (November 17, 2023).                                  958 Id.

                                                 health and welfare. Meaningful                            957 88 FR 80480, 80500 (November 17, 2023).         959 See id. at 80502.




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                                                 refer to section III of this preamble, on               supported encouraging states to both                  subpart Ba revisions. Many states are
                                                 climate impacts, to further assist them                 consider these communities as part of                 already implementing policies to
                                                 in identifying their pertinent                          meaningful engagement under these                     consider cumulative impacts in
                                                 stakeholders that are impacted by the                   emission guidelines as well as to take                overburdened communities, including
                                                 pollution at issue in these emission                    advantage of Federal resources available              California and New Jersey. It is also
                                                 guidelines). Commenters were                            for employment and training assistance,               important to note that the EPA is
                                                 supportive of the notion that those                     and highlighted a Colorado state law 961              ‘‘prioritizing cumulative impacts
                                                 impacted by climate change are                          requiring utilities to share workforce                research to address the multiple
                                                 pertinent stakeholders.                                 data and develop a workforce transition               stressors to which people and
                                                    Additionally, the EPA expects that                   plan. The EPA supports such                           communities are exposed, and studying
                                                 another set of pertinent stakeholders                   approaches to workforce data                          how combinations of stressors affect
                                                 will be communities located near                        transparency and encourages states to                 health, well-being, and quality of life at
                                                 affected EGUs and those near pipelines.                 provide such data in the course of                    each developmental stage throughout
                                                 These communities may experience                        meaningful engagement and the                         the course of one’s life.’’ 962
                                                 impacts associated with implementation                  development of state plans.                           Additionally, the EPA is in the process
                                                 of the state plan, including the                           The EPA also expects that states will              of developing a workplan that lays out
                                                 construction and operation of                           include relevant balancing authorities,               actions the agency will take to integrate
                                                 infrastructure required under a state                   systems operators and reliability                     and implement cumulative impacts
                                                 plan. Activities related to the                         coordinators that have authority to                   within the EPA’s work through FY25.
                                                 construction and operation of new                       maintain electric reliability in their                The EPA’s commitments, as stated in
                                                 natural gas and CO2 pipelines may                       jurisdiction as part of their constructive            the EPA’s response to the OIG Report,
                                                 impact individuals and communities                      engagement under these requirements.                  include continuing to refine analytic
                                                 both locally and at larger distances from               These stakeholders are impacted by a                  techniques based on best available
                                                 affected EGUs but near any associated                   state plan as they are the entities                   science, increasing the body of relevant
                                                 pipelines. Commenters were supportive                   authorized to plan for electric                       data and knowledge, and using
                                                 of the notion that communities                          reliability. Visibility into unit-specific            outcome-based metrics to measure
                                                 impacted by infrastructure development                  compliance plans will help ensure those               progress, including quantifiable
                                                 required by the state plan are pertinent                entities have adequate lead time to plan              pollution reduction benefits in
                                                 stakeholders.                                           and address any potential reliability-                communities.963
                                                    Because these emission guidelines                    related issues. Early notification and                   The EPA recognizes that facility- and
                                                 address air pollution that becomes well                 periodic follow up on unit-specific                   community-specific circumstances,
                                                 mixed and is long-lived in the                          decisions, including control technology               including the exposure of overburdened
                                                 atmosphere, the collective impact of a                  installation and voluntary cease                      communities to additional chemical and
                                                 state plan is not limited to the                        operation choices and timeframes will                 non-chemical stressors, may also exist.
                                                 immediate vicinity of EGUs and any                      greatly assist reliability planning                   The meaningful engagement process is
                                                 associated infrastructure. The EPA                      authorities.                                          designed to allow states to identify and
                                                 therefore expects that states will                         Several commenters noted the need                  to enable consideration of these and
                                                 consider communities and populations                    for consideration of communities                      other facility- and community-specific
                                                 within the state that are both most                     overburdened by existing air pollution                circumstances. This includes
                                                 impacted by particular affected EGUs                    issues, including both greenhouse gases               consideration of facility- and
                                                 and associated pipelines as well as                     and co-pollutants, as pertinent                       community-specific concerns with
                                                 those that will be most affected by the                 stakeholders in these emission                        emissions control systems, including
                                                 overall stringency of state plans.                      guidelines. The Agency urges states to                CCS. States should design meaningful
                                                    The EPA also expects that states will                consider the cumulative burden of                     engagement to elicit input from
                                                 include the energy communities                          pollution when identifying their                      pertinent stakeholders on facility- and
                                                 impacted by each affected EGU,                          pertinent stakeholders for these                      community-specific issues related to
                                                 including the energy workers employed                   emission guidelines, as these                         implementation of emissions control
                                                 at affected EGUs (including employment                  stakeholders may be especially                        systems generally, as well as on any
                                                 in operation and maintenance), workers                  vulnerable to the impacts of a state plan             considerations for particular systems.
                                                 who may construct and install pollution                 or plan revision due to ‘‘an                             The EPA encourages states to consider
                                                 control technology, and workers                         accumulation of negative environmental                regional implications, explore
                                                 employed in associated industries such                  . . . conditions,’’ as defined in the final           opportunities for collaboration, and to
                                                 as fuel extraction and delivery and CO2                                                                       share best practices. In some cases, an
                                                 transport and storage, as pertinent                     increased the amount of Federal funding relevant to   affected EGU may be located near state
                                                 stakeholders. These communities are                     meeting the needs of energy communities, as well
                                                 impacted by power sector trends on an                   as how the Energy Communities IWG has launched           962 Nicolle S. Tulve, Andrew M. Geller, Scot

                                                 ongoing basis. The EPA acknowledges                     an online Clearinghouse of broadly available          Hagerthey, Susan H. Julius, Emma T. Lavoie, Sarah
                                                                                                         Federal funding opportunities relevant for meeting    L. Mazur, Sean J. Paul, H. Christopher Frey,
                                                 that a variety of Federal programs are                  the needs and interests of energy communities, with   Challenges and opportunities for research
                                                 available to support these communities                  information on how energy communities can access      supporting cumulative impact assessments at the
                                                 and encourages states to consider these                 Federal dollars and obtain technical assistance to    United States environmental protection agency’s
                                                 programs when conducting meaningful                     make sure these new funds can connect to local        office of research and development, The Lancet
                                                                                                         projects in their communities. Interagency Working    Regional Health—Americas, Volume 30, 2024,
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                                                 engagement and analyzing the impacts                    Group on Coal and Power Plant Communities and         100666, ISSN 2667–193X, https://doi.org/10.1016/
                                                 of compliance choices.960 Commenters                    Economic Revitalization. ‘‘Revitalizing Energy        j.lana.2023.100666.
                                                                                                         Communities: Two-Year Report to the President’’          963 EPA Response to Draft Office of Inspector
                                                   960 An April 2023 report of the Federal               (April 2023). https://energycommunities.gov/wp-       General Report, The EPA Lacks Agencywide
                                                 Interagency Working Group on Coal and Power             content/uploads/2023/04/IWG-Two-Year-Report-to-       Policies and Guidance to Address Cumulative
                                                 Plant Communities and Economic Revitalization           the-President.pdf.                                    Impacts and Disproportionate Health Effects on
                                                 (Energy Communities IWG) summarizes how the               961 Colorado Legislature, Senate Law 19–236.        Communities with Environmental Justice Concerns.
                                                 Bipartisan Infrastructure Law, CHIPS and Science        https://leg.colorado.gov/sites/default/files/2019a_   https://www.epaoig.gov/sites/default/files/reports/
                                                 Act, and Inflation Reduction Act have greatly           236_signed.pdf.                                       2023-08/_epaoig_20230822-23-p-0029.pdf.



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                                                 or Tribal borders and impact                            notice alone may not be appropriate for           interests of energy communities, some
                                                 communities in neighboring states or                    all stakeholders, given lack of access to         of which may be relevant for state plan
                                                 Tribal lands. Some commenters                           broadband infrastructure in many                  development.
                                                 suggested that those near state or Tribal               communities. Thus, in addition to                    In their plan submittal, states must
                                                 borders may be pertinent stakeholders.                  internet notice, examples of prominent            demonstrate evidence that they
                                                 The EPA agrees that it could be                         advertisement for engagement and                  conducted meaningful engagement. In
                                                 reasonable, in cases where EGUs are                     public hearing may include notice                 addition to a list of pertinent
                                                 located near borders, for the state to                  through newspapers, libraries, schools,           stakeholders and a summary of the
                                                 consider identifying pertinent                          hospitals, travel centers, community              engagement conducted, states must
                                                 stakeholders in the neighboring state or                centers, places of worship, gas stations,         provide a summary of the input
                                                 Tribal land and to work with the                        convenience stores, casinos, smoke                received and a description of how the
                                                 relevant air pollution control authority                shops, Tribal Assistance for Needy                input they received was considered in
                                                 of that state or Tribe to conduct                       Families offices, Indian Health Services,         plan development. The type of
                                                 meaningful engagement that addresses                    clinics, and/or other community health            information states may receive from
                                                 cross-border impacts. Some commenters                   and social services as appropriate for            their pertinent stakeholders could
                                                 supported the notion that those near                    the emission guideline addressed. The             include data on the population and
                                                 state or Tribal borders may be pertinent                state should also consider any                    demographics of communities located
                                                 stakeholders.                                           geographic, linguistic, or other barriers         near affected EGUs and associated
                                                    The revisions to subpart Ba in                       to participation in meaningful                    pipelines; identification of and data on
                                                 November of 2023 established                            engagement for members of the public.             any overburdened communities
                                                 requirements for demonstrating how                         The EPA notes that several EPA                 vulnerable to the impacts of the state
                                                 states provided meaningful engagement                   resources are available to assist states          plan; data on the energy workers
                                                 with pertinent stakeholders, and these                  and stakeholders in considering options           affected by anticipated compliance
                                                 requirements apply here. According to                   for state plans. For example, included in         strategies on the part of owners and
                                                 the requirements under subpart Ba, the                  the docket for this rulemaking is a unit-         operators; data on workforce needs (e.g.,
                                                 state will be required to describe, in its              level proximity analysis that includes            expected number and type of jobs
                                                 plan submittal: (1) A list of the pertinent             information about the population within           created, and skills required in
                                                 stakeholders identified by the state; (2)               5 kilometers and 10 kilometers of each            anticipation of compliance with the
                                                 a summary of engagement conducted;                      EGU covered by this rule. This analysis           state plan); and, if relevant, data on the
                                                 (3) a summary of the stakeholder input                  includes information about air                    population and demographics of
                                                 received; and (4) a description of how                  emissions from each facility, and the             communities near state and Tribal
                                                 stakeholder input was considered in the                 potential emission implications of                borders that may be vulnerable to the
                                                 development of the plan or plan                         installing CCS. Additionally, the EPA’s           impacts of the state plan. The EPA
                                                 revisions. The EPA will review the state                Power Plant Environmental Justice                 encourages states to include such data
                                                 plan to ensure that it includes these                   Screening Methodology (PPSM) 964                  in their demonstration of meaningful
                                                 required descriptions regarding                         incorporates several peer-reviewed                engagement in their state plan
                                                 meaningful public engagement as part of                 approaches that combine air quality               submittal.
                                                 its completeness evaluation of a state                  modeling with environmental burden                   The EPA emphasizes to states that the
                                                 plan submittal. If a state plan                         and population characteristics data to            meaningful engagement process is
                                                 submission does not include the                         identify and connect power plants to              intended to include community
                                                 required elements for notice and                        geographic areas potentially exposed to           perspectives, particularly those
                                                 opportunity for public participation,                   air pollution by those power plants and           communities that, historically, may not
                                                 including the procedural requirements                   to quantify the relative potential for            have had a role in the state plan
                                                 at 40 CFR 60.23a(i) and 60.27a(g)(2)(ix)                environmental justice concern in those            development process, in the
                                                 for meaningful engagement, this may be                  areas. This information provides states           development of standards of
                                                 grounds for the EPA to find the                         and stakeholders with the ability to              performance, compliance strategies, and
                                                 submission incomplete or (where a plan                  identify the census block groups that are         compliance flexibilities for affected
                                                 has become complete by operation of                     potentially exposed to air pollution by           EGUs by which they are impacted.
                                                 law) to disapprove the plan.                            each EGU, including air pollutants in
                                                    In approaching meaningful                                                                              ii. Requirements for Transparency and
                                                                                                         the vicinity of each EGU as well as               Compliance Assurance
                                                 engagement, states should first identify                pollutants that can travel significant
                                                 their pertinent stakeholders. As                                                                             The EPA proposed and requested
                                                                                                         distances. Another resource available to
                                                 previously noted, the state should allow                                                                  comment on several requirements
                                                                                                         assist states and stakeholders is the
                                                 for balanced participation, including                                                                     designed to help states ensure timely
                                                                                                         EPA’s Environmental Justice Screening
                                                 communities most vulnerable to the                                                                        compliance by affected EGUs with
                                                                                                         and Mapping Tool (EJScreen),965 which
                                                 impacts of the plan. Next, states should                                                                  standards of performance, as well as to
                                                                                                         includes information at the census block
                                                 develop a strategy for engagement with                                                                    assist the public in tracking affected
                                                                                                         group level about existing
                                                 the identified pertinent stakeholders.                                                                    EGUs’ progress towards their
                                                                                                         environmental burdens as well as
                                                 This includes ensuring that information                                                                   compliance dates.
                                                                                                         socioeconomic information. Other                     First, the EPA requested comment on
                                                 is made available in a timely and
                                                                                                         federal resources include the Energy              whether to require that an affected
                                                 transparent manner, with adequate and
                                                                                                         Communities Interagency Working                   EGU’s enforceable commitment for
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                                                 accessible notice. As part of this strategy
                                                                                                         Group’s online Clearinghouse, which               subcategory applicability (e.g., a state
                                                 for engagement, states should also
                                                                                                         lists federal funding opportunities               elects to rely on an affected coal-fired
                                                 ensure that they share information and
                                                                                                         relevant for meeting the needs and                steam-generating unit’s commitment to
                                                 solicit input on plan development and
                                                 on any accompanying assessments or                        964 https://www.epa.gov/power-sector/power-
                                                                                                                                                           permanently cease operations before
                                                 analyses. In providing transparent and                  plant-environmental-justice-screening-            January 1, 2039, to meet the
                                                 adequate notice of plan development,                    methodology.                                      applicability requirements for the
                                                 states should consider that internet                      965 https://www.epa.gov/ejscreen.               medium-term subcategory), must be in


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                                                 the form of an emission limit of 0 lb                   instruments can be revised without a         the owners or operators of some affected
                                                 CO2/MWh that applies on the relevant                    corresponding revision to the state plan     EGUs may already be posting
                                                 date. Such an emission limit would be                   or standard of performance. This             comparable reporting and recordkeeping
                                                 included in a state regulation, permit,                 outcome—a source continuing to               information to publicly available
                                                 order, or other acceptable legal                        operate into the future with a less-         websites under the EPA’s April 2015
                                                 instrument and submitted to the EPA as                  stringent standard of performance that is    Coal Combustion Residuals Rule,967
                                                 part of a state plan. If approved, the                  not necessarily warranted—would              such that the burden of this website
                                                 affected EGU would have a federally                     undermine the integrity of these             requirement for these units could be
                                                 enforceable emission limit of 0 lb CO2/                 emission guidelines.                         minimal.
                                                 MWh that would become effective as of                      Second, the EPA proposed and is              Comment: Several commenters argued
                                                 the date that the EGU permanently                       finalizing a requirement that state plans    that this was a duplicative requirement,
                                                 ceases operations. The EPA requested                    that include affected EGUs that plan to      noting that utilities already report GHG
                                                 comment on whether such an emission                     permanently cease operation must             emissions data under the Acid Rain
                                                 limit would have any advantages or                      require that each such affected EGU          Program and Mandatory GHG Reporting
                                                 disadvantages for compliance and                        comply with applicable state and             Program. Commenters also stated that
                                                 enforceability relative to the alternative,             Federal requirements for permanently         this requirement would pose a burden
                                                 which is an enforceable commitment in                   ceasing operation, including removal         for companies who would have to
                                                 a state plan to cease operation by a                    from its respective state’s air emissions    dedicate staff to maintaining the
                                                 certain date.                                           inventory and amending or revoking all       website. One commenter 968 suggested
                                                    The EPA received few comments on                     applicable permits to reflect the            that EPA include more specific
                                                 this topic. One commenter,966 in                        permanent shutdown status of the EGU.        requirements related to the format of
                                                 particular, did not support a specific                  This requirement covers affected coal-       data, notification of uploads and
                                                 requirement that the permit or other                    fired steam generating EGUs in the           removal of documentation, and
                                                 enforceable commitment must be in the                   medium-term subcategory as well as           summarization of content.
                                                 form of an emission limit of 0 lb CO2/                  affected EGUs that are relying on a             Response: The EPA disagrees that this
                                                 MWh, claiming it seems needlessly                       commitment to permanently cease              requirement is duplicative of reporting
                                                 prescriptive. This commenter also                       operating to obtain a less stringent         requirements under other programs. In
                                                 encouraged the EPA to recognize                         standard of performance pursuant to          addition to affected EGUs having unique
                                                 delegated or SIP-approved states’                       consideration of RULOF. This                 standards of performance and
                                                 enforceable permit conditions,                          requirement merely reinforces the            compliance schedules under these
                                                 certifications, and voiding of                          application of requirements under state      emission guidelines, these emission
                                                 authorizations, as practically                          and Federal laws that are necessary in       guidelines also include unique reporting
                                                 enforceable.                                            this context for transparency and the        requirements that are not covered by the
                                                    The EPA is not finalizing a                          orderly administration of these emission     programs identified by the commenters,
                                                 requirement that states must include                    guidelines.                                  including increments of progress and
                                                 commitments to permanently cease                           Third, the EPA proposed and is            reporting on milestones. In addition, the
                                                 operating in state plans in the form of                 finalizing a requirement that each state     EPA believes that this information
                                                 0 lb CO2/MWh emission limits. The                       plan must require owners and operators       should be made broadly available to all
                                                 Agency is concluding that it is within                  of affected EGUs to establish publicly       stakeholders in a timely manner, which
                                                 the discretion of the state to create an                accessible websites, referred to here as     is not necessarily accomplished via the
                                                 enforceable commitment to permanently                   a ‘‘Carbon Pollution Standards for EGUs      programs and reporting mechanisms
                                                 cease operation, where applicable, in                   website,’’ to which all reporting and        identified by the commenters.
                                                 the form it deems appropriate. Such                     recordkeeping information for each           Accordingly, the EPA is finalizing a
                                                 commitments may be codified in a state                  affected EGU subject to the state plan       requirement that each state plan must
                                                 regulation, permit, order, or other                     would be posted, including the               require owners and operators of affected
                                                 acceptable legal instrument and                         aforementioned information required to       EGUs to establish publicly accessible
                                                 submitted to the EPA as part of a state                 be submitted as part of the state plan.      websites and to post the relevant
                                                 plan. It is important to note that if an                This information includes, but is not        information described in this section.
                                                 emission limit or some other                            limited to, emissions data and other         Additionally, data should be available
                                                 requirement that creates an enforceable                 information relevant to determining          in a readily downloadable format.
                                                 commitment to cease operation is                        compliance with applicable standards of         Fourth, to promote transparency and
                                                 initially included in a title V permit                  performance, information relevant to the     to assist the EPA and the public in
                                                 before the submission of a state plan,                  designation and determination of             assessing progress towards compliance
                                                 that condition must be labeled as ‘‘state-              compliance with increments of progress       with state plan requirements, the EPA
                                                 only’’ or ‘‘state-only enforceable’’ until              and reporting obligations including          proposed and is finalizing a requirement
                                                 the EPA approves the state plan, at                     milestones for affected EGUs that plan       that state plans include a requirement
                                                 which point the permit should be                        to permanently cease operations, and         that the owner or operator of each
                                                 revised to make that requirement                        any extension requests made and              affected EGU shall report any deviation
                                                 federally enforceable. Including state                  granted pursuant to the compliance date      from any federally enforceable state
                                                 instruments (such as state permits,                     extension mechanism or the reliability       plan increment of progress or reporting
                                                 certifications, and other authorizations)               assurance mechanism. Although this           milestone within 30 business days after
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                                                 reflecting affected EGUs’ intent to                     information will also be required to be
                                                 permanently cease operation in the state                submitted directly to the EPA and the          967 See https://www.epa.gov/coalash/list-publicly-

                                                 plan, when such intent is the basis of                  relevant state regulatory authority, both    accessible-internet-sites-hosting-compliance-data-
                                                 receiving a less stringent standard of                  the EPA and stakeholders have an             and-information-required for a list of websites for
                                                                                                         interest in ensuring that the information    facilities posting Coal Combustion Residuals Rule
                                                 performance, is necessary because state                                                              compliance information, see also 80 FR 21301
                                                                                                         is made accessible in a timely manner.       (April 17, 2015).
                                                   966 See Document ID No. EPA–HQ–OAR–2023–              Some commenters agreed with these              968 See Document ID No. EPA–HQ–OAR–2023–

                                                 0072–0781.                                              requirements. The EPA anticipates that       0072–0813.



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                                                 the owner or operator of the affected                   enforcement discretion and ACOs will          units and jurisdictions. Procession in a
                                                 EGU knew or should have known of the                    not help a power generator decide in the      timely manner through these steps is the
                                                 event. That is, the owner or operator                   moment whether to keep running and            best indicator the EPA has of whether or
                                                 must report within 30 business days if                  risk a violation or shut down, risking        not an existing source remains qualified
                                                 it is behind schedule such that it has                  grid reliability and affecting our            for an exemption from these emission
                                                 missed an increment of progress or                      customers. the commenter also stated          guidelines. Should a source’s plans to
                                                 reporting milestone. In the report, the                 that ACOs are enforcement actions that        cease operating change, e.g., because the
                                                 owner or operator of the affected EGU                   carry negative implications and the           relevant planning authority has called
                                                 will be required to explain the cause or                potential for significant civil penalties,    on it to remain in operation for
                                                 causes of the deviation and describe all                and citizen groups are unlikely to            reliability or resource adequacy, the
                                                 measures taken or to be taken by the                    exercise discretion similar to that of the    state, the public, and the EPA need to
                                                 owner or operator of the EGU to cure the                EPA, even if the EPA decides that a low       be aware of that change as soon as
                                                 reported deviation and to prevent such                  (or no) penalty is appropriate. Lastly,       possible in order to appropriately
                                                 deviations in the future, including the                 this commenter noted that ACOs are            address the source under these emission
                                                 timeframes in which the owner or                        typically intended to resolve relatively      guidelines. The EPA therefore believes
                                                 operator intends to cure the deviation.                 short-term noncompliance events that          that having sources that plan to cease
                                                 The owner or operator of the EGU must                   can be remedied and that do not reflect       operation before January 1, 2032, report
                                                 submit the report to the state regulatory               a fundamental inability to comply.            to the Agency on the steps they have
                                                 agency and concurrently post the report                    Response: As discussed in section          taken towards doing so is critical to
                                                 to the affected EGU’s Carbon Pollution                  XII.F and elsewhere in this preamble,         ensuring that those sources remain
                                                 Standards for EGUs website.                             the EPA has made several adjustments          qualified for the exemption and thus to
                                                    Fifth, in the proposed action, the EPA               and provided several mechanisms in            maintaining the environmental integrity
                                                 explained its general approach to                       this final rule that have the effect of or    of these emission guidelines.
                                                 exercising its enforcement authorities                  are expressly intended to provide grid           The EPA is requiring existing coal-
                                                 through administrative compliance                       operators and reliability authorities         fired steam generating EGUs that are in
                                                 orders (‘‘ACOs’’) to ensure compliance                  methods to address grid reliability. For      existence as of the date of a state plan
                                                 while addressing genuine risks to                       example, the EPA is providing that            submission but plan to cease operating
                                                 electric system reliability. The EPA                    states may include in their state plans       before January 1, 2032, to comply with
                                                 solicited comment on whether to                         a short-term reliability mechanism that       certain reporting requirements pursuant
                                                 promulgate requirements in the final                    allows affected EGUs to comply with an        to CAA section 114(a). Among other
                                                 emission guidelines pertaining to the                   emission limitation corresponding to          things, this provision gives the EPA
                                                 demonstrations, analysis, and                           their baseline emission rate during           authority to require recordkeeping and
                                                 information the owner or operator of an                 periods of grid emergency. For further        reporting of sources for the purpose of
                                                 affected EGU would have to submit to                    detail, see section XII.F.3.a of this         ‘‘developing or assisting in the
                                                 the EPA in order to be considered for an                preamble. This mechanism is intended          development of any implementation
                                                 ACO. The EPA is not finalizing the                      to allow states to respond quickly to         plan under . . . section 7411(d) of this
                                                 proposed approach to use ACOs to                        emergency situations, and to avoid            title[ or] any standard of performance
                                                 address risks to grid reliability.                      affected EGUs being out of compliance         under section 7411 of this title,’’
                                                    Comment: One commenter argued                        or needing to work towards compliance         ‘‘determining whether any person is in
                                                 that the conditions to qualify for an                   through an ACO. Considering the               violation of any such standard of any
                                                 ACO would make it challenging for an                    structural changes the EPA has made in        requirement of such a plan,’’ or
                                                 EGU to obtain an ACO in instances of                    these final emission guidelines and the       ‘‘carrying out any provision of this
                                                 urgent reliability.969 Commenters                       mechanisms it is providing states to          chapter.’’ Owners or operators of coal-
                                                 argued that there are not any guarantees                address grid reliability, the EPA does        fired steam generating EGUs that would
                                                 that the EPA would act on such requests                 not believe that states and affected EGUs     be covered by these emission guidelines
                                                 for an ACO in a timely manner,                          will need to rely on ACOs to address          but for their plans to permanently cease
                                                 particularly because the EPA has not set                compliance during periods of grid             operating are required to make reports
                                                 any deadline for review and presumably                  emergency.                                    necessary to ascertain whether they will
                                                 would argue that any decision falls                        Finally, as explained in section VII.B
                                                                                                                                                       in fact qualify for the exemption. This
                                                 within the EPA’s enforcement discretion                 of this preamble, coal-fired steam
                                                                                                                                                       reporting obligation is necessary for
                                                 and is not subject to judicial review.                  generating EGUs that plan to
                                                                                                                                                       preserving the integrity of the rule, and
                                                 Additionally, one commenter argued                      permanently cease operating before
                                                                                                         January 1, 2032, are not covered by           is consistent with ensuring that states
                                                 that the proposal is unworkable for the                                                               develop plans that include standards of
                                                 purposes of addressing more immediate                   these emission guidelines, i.e., they are
                                                                                                         not affected EGUs. However, to                performance for all existing sources and
                                                 reliability needs, specifying that EGUs                                                               for anticipating whether a state plan
                                                 may not be able to readily obtain the                   maintain the environmental integrity of
                                                                                                         these emission guidelines, it is critical     may need to be revised to include a
                                                 information or analysis necessary for                                                                 standard of performance for an existing
                                                 preparing documentation for the EPA                     that any existing sources that are
                                                                                                         operating as of January 1, 2032, are          source that will not be eligible for an
                                                 from their regional entity or state.970                                                               exemption from these emission
                                                    Another commenter argued that the                    doing so subject to a requirement to
                                                                                                         operate more cleanly, and therefore           guidelines.971
                                                 proposed mechanism provides no relief
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                                                 during an energy crisis because they                    essential that sources report on their           971 The milestone reporting requirements for

                                                 would be offered only after the fact to                 actions to qualify for the exemption. As      affected coal-fired steam generating EGUs in the
                                                 resolve any alleged violations.                         explained in the preamble to the              medium-term subcategory and those relying on a
                                                 Therefore, the possibility of future                    proposed rule and section X.C.4 of this       shorter remaining useful life for a less-stringent
                                                                                                         preamble, there are many steps the            standard of performance pursuant to RULOF are
                                                                                                                                                       authorized under both CAA sections 114(a) and
                                                   969 See Document ID No. EPA–HQ–OAR–2023–              owners or operators of EGUs must take         111(d)(1), the latter of which provides that state
                                                 0072–0770.                                              as they get ready to permanently cease        plans shall provide for the implementation and
                                                   970 Id.                                               operations and those steps vary between       enforcement of standards of performance. In that



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                                                    The reporting requirements the EPA is                EGU’s intent to deactivate; and any               will necessarily have to accommodate
                                                 promulgating for sources that plan to                   notification to or from an RTO, ISO, or           overlapping considerations and
                                                 permanently cease operation before                      relevant reliability authority altering the       processes. States’ plan development
                                                 January 1, 2032, are similar to the                     timing of deactivation for the EGU.               may have to integrate decision making
                                                 reporting requirements the Agency is                       For each of the remaining years prior          by not only the relevant air agency or
                                                 requiring for medium-term coal-fired                    to the date by which an EGU has                   agencies, but also ISOs, RTOs, or other
                                                 steam generating affected EGUs and                      committed to permanently cease                    balancing authorities. While 18 months
                                                 affected EGUs relying on a shorter                      operations, the operator or operator of           is a reasonable timeframe to
                                                 remaining useful life for a less-stringent              an EGU must submit an annual status               accommodate state plan development
                                                 standard of performance through                         report to the EPA that includes: (1)              for source categories that do not require
                                                 RULOF. Those requirements are                           Progress on each of the process steps             this level of coordination, the EPA does
                                                 described in section X.C.4 of this                      identified in the initial report; and (2)         not believe it is reasonable to expect
                                                 preamble and require the definition of                  supporting regulatory documents,                  states and affected EGUs to undertake
                                                 milestones tailored to individual units                 including correspondence and official             the coordination and planning
                                                 which are then embedded in periodic                     filings with the relevant RTO, balancing          necessary to ensure that plans for
                                                 reporting requirements to assess                        authority, PUC, or other applicable               implementing these emission guidelines
                                                 progress toward the cessation of                        authority to demonstrate progress                 are consistent with the broader needs
                                                 operations. However, consistent with                    toward all steps; and (3) regulatory              and trajectory of the power sector
                                                 CAA section 114, the requirements for                   documents, and relevant SEC filings               within the default period provided
                                                 sources that are exempt from these                      (listed in the preceding paragraph) that          under subpart Ba.
                                                 emission guidelines are limited to                      have been issued, filed or received since            However, there are also notable
                                                 reporting and do not include the                        the prior report.                                 differences between the circumstances
                                                 establishment of milestones. Thus, the                     The EPA is also requiring that EGUs            of the proposed versus these final
                                                 requirements are as follows: Five years                 that plan to permanently cease                    emission guidelines that are relevant to
                                                 before any planned date to permanently                  operation by January 1, 2032, submit a            the state plan submission timeline.
                                                 cease operations or by the date upon                    final report to the EPA no later than 6           First, the EPA is not finalizing emission
                                                 which state plan is submitted,                          months following its committed closure            guidelines applicable to combustion
                                                 whichever is later, the owner or                        date. This report would document any              turbine EGUs, which will significantly
                                                 operator of the EGU must submit an                      actions that the unit has taken                   decrease the number of affected EGUs
                                                 initial report to the EPA that includes                 subsequent to ceasing operation to                that states must address in their plans.
                                                 the following: (1) A summary of the                     ensure that such cessation is permanent,          Relative to proposal, there are
                                                 process steps required for the EGU to                   including any regulatory filings with             approximately 184 fewer individual
                                                 permanently cease operation by the date                 applicable authorities or                         units to which these emission
                                                 included in the state plan, including the               decommissioning plans.                            guidelines will apply (based on
                                                 approximate timing and duration of                      2. Timing of State Plan Submissions               information at the time of the final rule),
                                                 each step and any notification                                                                            and the final emission guidelines do not
                                                 requirements associated with                               The EPA proposed a state plan                  include co-firing with low-GHG
                                                 deactivation of the unit. These process                 submission deadline that is 24 months             hydrogen as a BSER. The analytical and
                                                 steps may include, e.g., initial notice to              from the date of publication of the final         other burdens associated with state
                                                 the relevant reliability authority of the               emission guidelines, which, at that time          planning will thus be significantly
                                                 deactivation date and submittal of an                   was 9 months longer than the default              lighter than anticipated at proposal, as
                                                 official retirement filing (or equivalent               state plan submission timeline in the             states will have to address not only
                                                 filing) made to the EGU’s reliability                   proposed 40 CFR part 60, subpart Ba               fewer sources but also a smaller
                                                 authority. (2) Supporting regulatory                    implementing regulations. The EPA                 universe of potential control strategies.
                                                 documents, including correspondence                     finalized subpart Ba with a default               Additionally, as explained in section
                                                 and official filings with the relevant                  timeline of 18 months for state plan              VII.B.1 of this preamble, these final
                                                 regional RTO, ISO, balancing authority,                 submissions, 40 CFR 60.23a(a)(1);                 emission guidelines do not apply to
                                                 PUC, or other applicable authority; any                 regardless, the EPA is superseding                existing coal-fired EGUs that plan to
                                                 deactivation-related reliability                        subpart Ba’s timeline under these                 permanently cease operation prior to
                                                 assessments conducted by the RTO or                     emission guidelines and is requiring              January 1, 2032. While under the
                                                 ISO; and any filings pertaining to the                  that state plans be submitted 24 months           proposed emission guidelines states
                                                 EGU with the SEC or notices to                          after publication of this final rule in the       would have had to establish standards
                                                 investors, including but not limited to                 Federal Register.                                 of performance for every existing source
                                                 references in forms 10–K and 10–Q, in                      As discussed in the preamble to the            operating as of January 1, 2030, states
                                                 which the plans for the EGU are                         proposed rule,972 these emission                  will be able to forgo addressing a subset
                                                 mentioned; any integrated resource                      guidelines apply to a relatively complex          of these existing sources under this final
                                                 plans and PUC orders referring to or                    source category and state plan                    rule.
                                                 approving the EGU’s deactivation; any                   development will require significant                 In addition to states needing to
                                                 reliability analyses developed by the                   analysis, consultation, and coordination          address far fewer existing sources in
                                                 RTO, ISO, or relevant reliability                       between states, utilities, reliability            their state plans than anticipated under
                                                 authority in response to the EGU’s                      authorities, and the owners or operators          the proposed emission guidelines, it is
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                                                 deactivation notification; any                          of individual affected EGUs. The power            also not expected that the owners or
                                                 notification from a reliability authority               sector is subject to layers of regulatory         operators of sources will begin
                                                 that the EGU may be needed for                          and other requirements under different            implementation of control strategies
                                                 reliability purposes notwithstanding the                authorities (e.g., environmental, electric        before state plan submission. At
                                                                                                         reliability, SEC) and the decisions states        proposal the EPA believed that some
                                                 case, reporting requirements are necessary to ensure    make under these emission guidelines              owners or operators of affected EGUs
                                                 that the predicate conditions for the sources’                                                            would do feasibility and FEED studies
                                                 standards of performance are satisfied.                  972 88 FR 33240, 33402–03 (May 23, 2023).        for CCS during state plan development,


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                                                 i.e., before state plan submission. For                 possible while accommodating the time               units that state plans must address and
                                                 other affected coal-fired EGUs, the EPA                 needed for states to develop an effective           also decrease the number and
                                                 anticipated that owners or operators                    plan.974 To this end, the EPA is                    complexity of decisions states must
                                                 would undertake certain planning,                       promulgating a timeframe for state plan             make with regard to those units.
                                                 design, and permitting steps prior to                   submissions that is based on the                    Furthermore, 24 months is sufficient
                                                 state plan submission.973 In developing                 minimum administrative time that is                 time for states to complete the steps
                                                 these final emission guidelines, the EPA                reasonably necessary given the need for             necessary to develop and submit a state
                                                 changed its earlier assumption that                     states and owners or operators of                   plan. Owners and operators are already
                                                 states and affected EGUs would take                     affected EGUs to coordinate with                    or should already be considering how
                                                 significant steps towards planning and                  reliability authorities in the                      they will operate in a future
                                                 implementing control strategies prior to                development of state plans. In this case,           environment where sources operating
                                                 state plan submission. There are certain                the EPA believes that providing an                  more cleanly are valued more. The EPA
                                                 preliminary steps, such as an initial                   additional 6 months beyond subpart                  expects that states are already working
                                                 feasibility study, that the EPA expects                 Ba’s 18 months for state plan                       or will work closely with the operators
                                                 that states and/or affected EGUs will                   submissions is sufficient to                        and operators of affected EGUs as those
                                                 undertake as a typical part of the state                accommodate this additional                         owners and operators update their IRPs
                                                 planning process. Under any rule or                     coordination, particularly given that the           and proceed through any necessary
                                                 circumstances, it would not be                          number of affected EGUs that states will            processes with, e.g., PUCs and
                                                 reasonable for a state to commit an                     be addressing in their plans is far fewer           reliability authorities. Thus, the Agency
                                                 affected EGU to installation and                        than expected under the proposed                    expects that consultation with and
                                                 operation of a certain control technology               emission guidelines.                                between owners and operators, PUCs,
                                                 without undertaking at least an initial                    Comment: Several commenters                      and reliability authorities is currently
                                                 assessment of that technology—this is                   supported the EPA’s proposed 24-month               ongoing and will remain so throughout
                                                 what is accomplished by feasibility                     timeframe for state plan submissions                state plan development and
                                                 studies. However, while the Agency                      and stressed the importance of                      implementation. Against this backdrop
                                                 believes that some sources are currently                achieving emission reductions as                    of ongoing planning and consultation,
                                                 or will be undertaking FEED studies or                  quickly as possible. Commenters also                the EPA’s obligation in these emission
                                                 other significant steps towards                         noted that, based on anecdotal evidence,            guidelines is to ensure that state plan
                                                 implementing pollution controls                         24 months is generally sufficient to                development and submission occurs
                                                 independent of these emission                           incorporate legislative, regulatory, and            within a timeframe consistent with the
                                                 guidelines at earlier times, the EPA is                 other administrative procedures                     ‘‘adherence to [the EPA’s] 2015 finding
                                                 not assuming when setting the                           associates with submitting state plans.             of an urgent need to counteract the
                                                 compliance deadline that EGUs will be                   Many commenters, however, requested                 threats posed by unregulated carbon
                                                 taking such steps prior to the existence                that the EPA provide additional time for            dioxide emissions from coal-fired power
                                                 of a state law requirement to do so (i.e.,              states to develop and submit their state            plants.’’ 975 The timeframe the EPA is
                                                 prior to state plan adoption and                        plans; many requested 36 months with                providing for state plan development
                                                 submission).                                            some commenters asserting that even                 upfront coupled with the long lead
                                                    The EPA received a number of                         more time would be required.                        times it is providing for compliance
                                                 comments on the proposed 24-month                       Commenters asking for a longer                      with standards of performance provides
                                                 timeline for state plan submissions,                    timeframe cited reasons including the               states and owners or operators ample
                                                 which are discussed in detail below. As                 size of states’ EGU fleets and the                  time to ensure the orderly
                                                 a general matter, many of these                         specific BSERs proposed for certain                 implementation of the control
                                                 comments requested a longer timeframe                   subcategories (i.e., CCS and hydrogen               requirements under these emission
                                                 for developing and submitting state                     co-firing), the need for owners or                  guidelines.
                                                 plans. However, given that the number                   operators of affected EGUs to conduct                  Comment: Several commenters
                                                 of affected EGUs state plans will have to               systems analyses and update their                   asserted that the EPA should provide
                                                 cover under these final emission                        integrated resource plans (IRPs) prior to           longer than 24 months for state plan
                                                 guidelines is very likely to be                         making final decisions for state plans,             submissions to provide time for states to
                                                 significantly lower than anticipated                    and the need for states to get their                work through their necessary
                                                 based on the proposal and that the EPA                  choices approved by the appropriate                 rulemaking, legislative, and/or
                                                 is not expecting states or owners or                    reliability and other regulatory                    administrative processes. Some
                                                 operators of affected EGUs to conduct                   commissions.                                        commenters similarly stated that more
                                                 FEED studies or otherwise start work on                    Response: As explained above, the                than 24 months is needed in order to
                                                 implementation prior to state plan                      EPA has made a number of changes in                 accommodate meaningful engagement
                                                 submission, the EPA continues to                        these final emission guidelines that                on draft state plans.
                                                 believe that 24 months is an appropriate                have the effect of decreasing the                      Response: The default timeline
                                                 timeframe. Additionally, as discussed in                planning burden on states, including                provided for state plan development
                                                 the preamble to the recent revisions to                 not finalizing requirements for                     and submission under 40 CFR part 60,
                                                 the 40 CFR part 60, subpart Ba                          combustion turbine EGUs, exempting                  subpart Ba is 18 months. As the EPA
                                                 implementing regulations, the EPA’s                     coal-fired EGUs that plan to cease                  acknowledged when it promulgated this
                                                 approach to timelines for state plan                    operating by January 1, 2032, finalizing            timeframe, state regulatory and
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                                                 submission and review under CAA                         fewer subcategories for coal-fired EGUs,            legislative processes and resources can
                                                 section 111(d) is informed by the need                  and not finalizing the subcategory for              vary significantly and influence the time
                                                 to minimize the impacts of emissions of                 coal-fired EGUs that was based on                   needed to develop and submit state
                                                 dangerous air pollutants on public                      utilization level. In general, these                plans.976 However, the CAA contains
                                                 health and welfare by proceeding as                     changes will decrease the number of
                                                 expeditiously and as reasonably                                                                               975 Am. Lung Ass’n v. EPA, 985 F.3d 914, 994
                                                                                                           974 See, e.g., 88 FR 80480, 80486 (November 17,   (D.C. Cir. 2021).
                                                   973 88 FR 33240, 33402 (May 23, 2023).                2023).                                                976 88 FR 80480, 80488 (November 17, 2023).




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                                                 numerous, long-standing requirements                    subsequently change. In general, states             on plan submissions; however, the EPA
                                                 under other programs for states to                      have the authority and discretion to                notes that, because the first compliance
                                                 develop and submit plans in 18 or fewer                 submit revised state plans to the EPA for           date under the final emission guidelines
                                                 months. The EPA therefore believes that                 approval.977 State plan revisions are               is January 1, 2030, a plan revision
                                                 states should be well positioned to                     generally subject to the same                       submitted after November 1, 2028
                                                 accommodate an 18-month state plan                      requirements as initial state plan                  (taking into consideration 1 year for
                                                 submission timeframe, let alone at 24-                  submissions under these emission                    EPA action on a state plan revision plus
                                                 month timeframe, from the perspective                   guidelines and the subpart Ba                       up to 60 days, approximately, for a
                                                 of the timing of state processes. The                   implementing regulations, including                 completeness determination) may not
                                                 Agency does not believe it would be                     meaningful engagement, and the EPA                  provide sufficient time for the EPA to
                                                 reasonable or consistent with CAA                       reviews state plan revisions against the            review and approve the plan sufficiently
                                                 section 111’s purpose of reducing air                   applicable requirements of these                    in advance of that compliance date to
                                                 pollution that endangers public health                  emission guidelines and the subpart Ba              allow sources to appropriately plan for
                                                 and the environment to extend state                     implementing regulations in the same                compliance. The EPA reiterates that
                                                 plan submission deadlines to defer to                   manner in which it reviews initial state            EGUs will be expected to comply with
                                                 lengthy state administrative processes.                 plan submissions pursuant to 40 CFR                 any requirements already approved in
                                                    Similarly, the EPA believes that 24                  60.27a. Requirements of the initial state           the state plan until such time as the plan
                                                 months provides sufficient time for                     plan approved by the EPA remain                     revision is approved.
                                                 states to conduct meaningful                            federally enforceable unless and until
                                                 engagement with pertinent stakeholders                                                                      4. Dual-Path Standards of Performance
                                                                                                         the EPA approves a plan revision that
                                                 under these emission guidelines. As                                                                         for Affected EGUs
                                                                                                         supersedes such requirements. States
                                                 discussed in section X.E.1.b.i of this                  and affected EGUs should plan                          As discussed in the proposed action,
                                                 preamble, the EPA is providing                          accordingly to avoid noncompliance.                 under the structure of these emission
                                                 additional information in these final                      The EPA is finalizing a state plan               guidelines, states would assign affected
                                                 emission guidelines that states may use                 submission date that is 24 months after             coal-fired EGUs to subcategories in their
                                                 to inform their meaningful engagement                   the publication of the final emission               state plans, and an affected EGU would
                                                 strategies and that can help them to                    guidelines and is finalizing the first              not be able to change its applicable
                                                 fulfill their obligations in a timely and               compliance date for affected coal-fired             subcategory without a state plan
                                                 diligent fashion. For example, the EPA                  EGUs in the medium-term subcategory                 revision. This is because, due to the
                                                 has noted a number of types of                          and affected natural gas- and oil-fired             nature of the BSERs for coal-fired steam
                                                 stakeholder communities to assist states                EGUs of January 1, 2030. A state may                generating units, an affected EGU that
                                                 in identifying their pertinent                          choose to submit a plan revision prior              switches into either the medium-term or
                                                 stakeholders. It has also provided                      to the compliance dates in its existing             long-term subcategory may not be able
                                                 information and tools that states may                   state plan; however, the EPA reiterates             to meet the compliance obligations for
                                                 use in considering options for state                    that any already approved federally                 a new and different subcategory without
                                                 plans, including facility-specific                      enforceable requirements, including                 considerable lead time; in order to
                                                 information on air emissions and the                    milestones, increments of progress, and             ensure timely emission reductions, it is
                                                 potential emissions implications of                     standards of performance, will remain               important that states identify which
                                                 installing CCS. Commenters also                         in place unless and until the EPA                   subcategories affected EGUs fall into in
                                                 pointed out that several states have                    approves the plan revision.                         their state plan submissions so that
                                                 recently adopted regulations, programs,                    The EPA requested comment on                     affected EGUs have certainty about their
                                                 and tools relevant to identifying                       whether it would be helpful to states to            expected regulatory obligations.
                                                 pertinent stakeholders and conducting                   impose a cutoff date for the submission             Therefore, as a general matter, states
                                                 meaningful engagement; such programs                    of plan revisions before the first                  must assign each affected EGU to a
                                                 and tools, in addition to states’ growing               compliance date. This would, in effect,             subcategory and have in place all the
                                                 body of knowledge and experience                        establish a temporary moratorium on                 legal instruments necessary to
                                                 pursuant to state initiatives and                       plan submissions in order to allow the              implement the requirements for that
                                                 priorities, will aid states and                         EPA to act on the plans. State plan                 subcategory by the time of state plan
                                                 stakeholders alike in conducting robust                 revisions would again be permitted after            submission.
                                                 meaningful engagement in the                            the final compliance date. The EPA is                  However, the EPA also solicited
                                                 timeframe for state plan development.                   not finalizing such cutoff date to                  comment on a dual-path approach that
                                                                                                         provide more flexibility to states in               would allow coal-fired steam generating
                                                 3. State Plan Revisions                                                                                     units to have two different standards of
                                                                                                         submitting revisions closer to the first
                                                    As discussed in the preamble of the                  compliance date, in the case that EPA               performance submitted to the EPA in a
                                                 proposed action, the EPA expects that                   may be able to review those revisions               state plan based on potential inclusion
                                                 the 24-month state plan submission                      before the first compliance date.                   in two different subcategories. This
                                                 deadline for these emission guidelines                     Comment: Several commenters                      proposal was based in large part on the
                                                 would give states, utilities and                        generally disagreed with establishing a             proposed structure of the subcategories
                                                 independent power producers, and                        cutoff date for state plan revisions                for coal-fired affected EGUs, under
                                                 stakeholders sufficient time to                         before the first compliance date, arguing           which it would have been realistic to
                                                 determine into which subcategory each                   these timelines would be unworkable                 expect that sources could prepare to
                                                 of the affected EGUs should fall and to
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                                                                                                         because state plan revisions may require            comply with either the presumptive
                                                 formulate and submit a state plan                       public notice and stakeholder                       standard of performance for, e.g., the
                                                 accordingly. However, the EPA also                      engagement.                                         imminent-term subcategory and the
                                                 acknowledges that, despite states’ best                    Response: The EPA is not finalizing              near-term subcategory or the imminent-
                                                 efforts to accurately reflect the plans of              an explicit cutoff date that would in               term subcategory and the medium-term
                                                 owners or operators with regard to                      effect establish a temporary moratorium             subcategory.
                                                 affected EGUs at the time of state plan                                                                        Because the final emission guidelines
                                                 submission, such plans may                               977 40 CFR 60.23a(a)(2), 60.28a.                   include only two subcategories for coal-


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                                                 fired affected EGUs and do not include                  applicable requirements of subpart Ba          action on state plan submissions will be
                                                 the two subcategories for which the                     and these emission guidelines,                 governed by the requirements of revised
                                                 dual-path approach would have been                      consistent with the underlying                 subpart Ba.
                                                 appropriate, the EPA is not finalizing an               requirement that state plans must be
                                                                                                                                                        6. Federal Plan Applicability and
                                                 approach that allows coal-fired steam                   ‘‘satisfactory’’ ’ per CAA section 111(d).
                                                                                                                                                        Promulgation Timing
                                                 generating units to have two different                  The Administrator would have the
                                                 standards of performance submitted to                   option to fully approve; fully                    The provisions of 40 CFR part 60,
                                                 the EPA in a state plan based on                        disapprove; partially approve and              subpart Ba, apply to the EPA’s
                                                 potential inclusion in two different                    partially disapprove; or conditionally         promulgation of any Federal plans
                                                 subcategories.                                          approve a state plan submission.980 Any        under these emission guidelines. The
                                                    Comment: In general, commenters                      components of a state plan submission          EPA’s obligation to promulgate a
                                                 supported a dual-path approach;                         that the EPA approves become federally         Federal plan is triggered in three
                                                 however, several commenters requested                   enforceable.                                   situations: where a state does not submit
                                                 that the EPA accommodate a multi-                          The EPA solicited comment on the            a plan by the plan submission deadline;
                                                 pathway approach (three or more                         use of the timeframes regarding EPA            where the EPA determines that a state
                                                 pathways) due to the complexity of state                action on state plans in subpart Ba and        plan submission does not meet the
                                                 plans and potential for numerous                        commenters encouraged reconsidering            completeness criteria and the time
                                                 compliance pathways because of factors                  the schedule, suggesting either                period for state plan submission has
                                                 beyond the EGU owner or operator’s                      increasing or decreasing the amount of         elapsed; and where the EPA fully or
                                                 control, such as infrastructure for CCS                 time for action on state plans. In the         partially disapproves a state’s plan.983
                                                 projects and increase in electric power                 final emission guidelines, the EPA is not      Where a state has failed to submit a plan
                                                 demand due to electrification of the                    superseding the timeframes in subpart          by the submission deadline, subpart Ba
                                                 transportation sector.                                  Ba regarding EPA action on state plans         gives the EPA 12 months from the state
                                                    Response: As stated above, the EPA is                and plan revisions.                            plan submission due date to promulgate
                                                 not finalizing the dual-path approach,                     Comment: One commenter suggested            a Federal plan; otherwise, the 12-month
                                                 nor a multi-pathway approach. If an                     that the EPA should provide for                period starts, as applicable, from the
                                                 affected EGU wishes to switch                           automatic extension of compliance              date the state plan submission is
                                                 subcategories after the initial state plan              dates for affected EGUs if the Agency          deemed incomplete or from the date of
                                                 approval, the state should submit a state               does not meet its 12-month deadline for        the EPA’s disapproval. If the state
                                                 plan revision sufficiently in advance of                plan approval.981 Other commenters             submits and the EPA approves a state
                                                 the compliance date for the subcategory                 expressed concerns that the EPA will be        plan submission that corrects the
                                                 into which it was assigned to permit the                unable to review all plans in the 12-          relevant deficiency within the 12-month
                                                 EPA’s review and action on that plan                    month timeframe. One commenter                 period, before the EPA promulgates a
                                                 revision.                                               suggested that the EPA should strive to        Federal plan, the EPA’s obligation to
                                                                                                         review plans in less than the proposed         promulgate a Federal plan is relieved.984
                                                 5. EPA Action on State Plans                                                                              As provided by 40 CFR 60.27a(e), a
                                                                                                         12-month timeframe.982
                                                    Pursuant to the final revisions to 40                   Response: The EPA does not believe          Federal plan will prescribe standards of
                                                 CFR part 60, subpart Ba, in this action,                it is appropriate to provide automatic         performance for affected EGUs of the
                                                 the EPA is subject to a 60-day timeline                 extensions of compliance dates based on        same stringency as required by these
                                                 for the Administrator’s determination of                the timeframe for EPA action on state          emission guidelines and will require
                                                 completeness of a state plan submission                 plan submissions. While there may be           compliance with such standards as
                                                 and a 12-month timeline for action on                   some degree of regulatory uncertainty          expeditiously as practicable but no later
                                                 state plans.978 The timeframes and                      that stems from waiting for the Agency         than the final compliance date under
                                                 requirements for state plan submissions                 to act on a state plan submission, it          these guidelines. However, 40 CFR
                                                 described in this section also apply to                 would not be a reasonable solution to          60.27a(e)(2) provides that, upon
                                                 state plan revisions.979                                add to that uncertainty by also making         application by the owner or operator of
                                                    As discussed in the proposed action,                                                                an affected EGU, the EPA may provide
                                                                                                         compliance dates contingent on the date
                                                 the EPA would first review the                                                                         for the application of a less stringent
                                                                                                         of EPA’s action. This additional
                                                 components of the state plan to                                                                        standard of performance or longer
                                                                                                         uncertainty could have the effect of
                                                 determine whether the plan meets the                                                                   compliance schedule than provided by
                                                                                                         unnecessarily extending the compliance
                                                 completeness criteria of 40 CFR                                                                        these emission guidelines, in which
                                                                                                         schedule and delaying emission
                                                 60.27a(g). The EPA must determine                                                                      case the EPA would follow the same
                                                                                                         reductions. Given that the dates on
                                                 whether a state plan submission has met                                                                process and criteria in the regulations
                                                                                                         which the EPA takes final action on
                                                 the completeness criteria within 60 days                                                               that apply to states’ provision of RULOF
                                                                                                         individual state plans are likely to be
                                                 of its receipt of that submission. If the                                                              standards. Under subpart Ba, the EPA is
                                                                                                         many and varied (based on, inter alia,
                                                 EPA has failed to make a completeness                                                                  also required to conduct meaningful
                                                                                                         when each state plan was submitted to
                                                 determination for a state plan                                                                         engagement with pertinent stakeholders
                                                                                                         the Agency), such extensions would
                                                 submission within 60 days of receipt,                                                                  prior to promulgating a Federal plan.985
                                                                                                         create unnecessary confusion and
                                                 the submission shall be deemed, by                                                                        As discussed in section X.E.2 of this
                                                                                                         potentially uneven application of the
                                                 operation of law, complete as of that                                                                  preamble, the EPA is finalizing a
                                                                                                         requirements for state plans. In this
                                                 date. Subpart Ba requires the EPA to                                                                   deadline for state plan submissions of
                                                                                                         action, the EPA does not find a reason
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                                                 take final action on a state plan                                                                      24 months after publication of these
                                                                                                         to supersede the timelines finalized in
                                                 submission within 12 months of that                                                                    final emission guidelines in the Federal
                                                                                                         subpart Ba; therefore, review of and
                                                 submission’s being deemed complete.                                                                    Register. Therefore, if a state fails to
                                                 The EPA will review the components of                    980 40 CFR 60.27a(b).                         timely submit a state plan, the EPA
                                                 state plan submissions against the                        981 See Document ID No. EPA–HQ–OAR–2023–
                                                                                                                                                          983 40 CFR 60.27a(c).
                                                                                                         0072–0660.
                                                   978 40 CFR 60.27a(b), (g)(1).                           982 See Document ID No. EPA–HQ–OAR–2023–       984 40 CFR 60.27a(d).
                                                   979 See generally 40 CFR 60.27a.                      0072–0764.                                       985 40 CFR 60.27a(f).




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                                                 would be obligated to promulgate a                      permitting authorities are found at 40                 NAAQS or the ‘‘PSD increments’’ (i.e.,
                                                 Federal plan within 36 months of                        CFR 51.160 to 51.166. The EPA’s                        margins of ‘‘significant’’ air quality
                                                 publication of these final emission                     primary role is to approve state program               deterioration above a baseline
                                                 guidelines. Note that this will be the                  regulations and to review, comment on,                 concentration that establish an air
                                                 earliest possible obligation for the EPA                and take any other necessary actions on                quality ceiling, typically below the
                                                 to promulgate a Federal plan and that                   draft and final permits to assure                      NAAQS, for each PSD area). Sources
                                                 different triggers (e.g., a disapproved                 consistency with the EPA’s rules, the                  can often make this air quality
                                                 state plan) will result in later obligations            SIP, and the CAA. When a state does not                demonstration based on the BACT level
                                                 to promulgate Federal plans for other                   have EPA-approved authority to issue                   of control or by accepting more stringent
                                                 states, contingent on when the                          NSR permits, the EPA issues the NSR                    air quality-based limitations. However,
                                                 obligation is triggered.                                permits within the state, or delegates                 if these methods are insufficient to show
                                                   Finally, the EPA acknowledges that, if                authority to the state to issue the NSR                that increased emissions from the
                                                 a Tribe does not seek and obtain the                    permits on behalf of the EPA, pursuant                 source will not cause or contribute to a
                                                 authority from the EPA to establish a                   to rules at 40 CFR 49.151–173, 40 CFR                  violation of air quality standards,
                                                 TIP, the EPA has the authority to                       52.21, and 40 CFR 124.                                 applicants may undertake mitigation
                                                 establish a Federal CAA section 111(d)                     For the major NSR program, the                      measures that are analogous to offsets in
                                                 plan for areas of Indian country where                  requirements that apply to a source                    order to satisfy this PSD permitting
                                                 designated facilities are located. A                    depend on the air quality designation at               criterion.
                                                 Federal plan would apply to all                         the location of the source for each of its                When the EPA is making NSR
                                                 designated facilities located in the areas              emitted pollutants at the time the permit              permitting decisions, it has legal
                                                 of Indian country covered by the                        is issued. Major NSR permits for sources               authority to consider potential
                                                 Federal plan unless and until the EPA                   located in an area that is designated as               disproportionate environmental burdens
                                                 approves an applicable TIP applicable                   attainment or unclassifiable for the                   on a case-by-case basis. Based on
                                                 to those facilities.                                    NAAQS for its pollutants are referred to               Executive Order (E.O.) 12898, the EPA’s
                                                                                                         as Prevention of Significant                           Environmental Appeals Board (EAB)
                                                 XI. Implications for Other CAA
                                                 Programs                                                Deterioration (PSD) permits. PSD                       has held that environmental justice
                                                                                                         permits can include requirements for                   considerations must be considered in
                                                 A. New Source Review Program                            specific pollutants for which there are                connection with the issuance of Federal
                                                   The CAA’s New Source Review (NSR)                     no NAAQS.988 Sources subject to PSD                    PSD permits issued by EPA Regional
                                                 preconstruction permitting program                      must, among other requirements,                        Offices or states acting under
                                                 applies to stationary sources that emit                 comply with emission limitations that                  delegations of Federal authority. The
                                                 pollutants resulting from new                           reflect the Best Available Control                     EAB ‘‘has . . . encouraged permit
                                                 construction and modifications of                       Technology (BACT) for ‘‘each pollutant                 issuers to examine any ‘superficially
                                                 existing sources. The NSR program is                    subject to regulation’’ as specified by                plausible’ claim that a minority or low-
                                                 authorized by CAA section 110(a)(2)(C),                 CAA sections 165(a)(4) and 169(3).                     income population may be
                                                 which requires that each state                          Major NSR permits for sources located                  disproportionately affected by a
                                                 implementation plan (SIP) ‘‘include a                   in nonattainment areas and that emit at                particular facility.’’ 989 EPA guidance
                                                 program to provide for the . . .                        or above the specified major NSR                       and EAB decisions do not advise EPA
                                                 regulation of the modification and                      threshold for the pollutant for which the              Regional Offices or delegated NSR
                                                 construction of any stationary source                   area is designated as nonattainment are                permitting authorities to integrate
                                                 within the areas covered by the plan as                 referred to as Nonattainment NSR                       environmental justice considerations
                                                 necessary to assure that [NAAQS] are                    (NNSR) permits. Sources subject to                     into any particular component of the
                                                 achieved, including a permit program as                 NNSR must, among other requirements,                   PSD permitting review, such as the
                                                 required in parts C and D [of title I of                meet the Lowest Achievable Emission                    determination of BACT. The practice of
                                                 the CAA].’’ The ‘‘permit program as                     Rate (LAER) pursuant to CAA sections                   EPA Regional Offices and delegated
                                                 required in parts C and D’’ refers to the               171(3) and 173(a)(2) for any pollutant                 states has been to conduct a largely
                                                 ‘‘major NSR’’ program, which applies to                 subject to NNSR. For the minor NSR                     freestanding environmental justice
                                                 new ‘‘major stationary sources’’ 986 and                program, neither the CAA nor the EPA’s                 analysis for PSD permits that can take
                                                 ‘‘major modifications’’ 987 of existing                 rules set forth a minimum control                      into account case-specific factors
                                                 stationary sources. The ‘‘minor NSR’’                   technology requirement.                                germane to any individual permit
                                                 program applies to new construction                        In keeping with the goal of progress                decision.
                                                 and modifications of stationary sources                 toward attaining the NAAQS, sources                       The minimum requirements for an
                                                 that do not meet the emission                           seeking NNSR permits must provide or                   approvable state NSR permitting
                                                 thresholds for major NSR. NSR                           purchase ‘‘offsets’’—i.e., decreases in                program do not require state permitting
                                                 applicability is pollutant-specific, so a               emissions that compensate for the                      authorities to reflect environmental
                                                 source seeking to newly construct or                    increases from the new source or                       justice considerations in their
                                                 modify may need to obtain both major                    modification. For sources seeking PSD                  permitting decisions. However, states
                                                 NSR and minor NSR permits before it                     permits, offsets are not required, but                 that implement NSR programs under an
                                                 can begin construction.                                 they must demonstrate that the                         EPA-approved SIP have discretion to
                                                   Under the CAA, states have primary                    emissions from the project will not                    consider environmental justice in their
                                                 responsibility for issuing NSR permits,                 cause or contribute to a violation of the              NSR permitting actions and adopt
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                                                 and they can customize their programs                                                                          additional requirements in the
                                                 within the limits of EPA regulations.                     988 For the PSD program, ‘‘regulated NSR
                                                                                                                                                                permitting decision to address potential
                                                                                                         pollutant’’ includes any pollutant for which a         disproportionate environmental
                                                 The Federal NSR rules applying to state                 NAAQS has been promulgated (‘‘criteria
                                                                                                         pollutants’’) and any other air pollutant that meets   burdens. Additionally, in some cases, a
                                                   986 40 CFR 52.21(b)(1)(i).
                                                                                                         the requirements of 40 CFR 52.21(b)(50). Some of
                                                   987 40 CFR 52.21(b)(2)(i) and the term ‘‘net          these non-criteria pollutants include greenhouse         989 In re Shell Gulf of Mexico, Inc., 15 E.A.D. 103,

                                                 emissions increase’’ as defined at 40 CFR               gases, fluorides, sulfuric acid mist, hydrogen         149 and n.71 (EAB 2010) (internal citations
                                                 52.21(b)(3).                                            sulfide, and total reduced sulfur.                     omitted).



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                                                 state law requires consideration of                     differs from the criteria required in                    While the BACT review process is
                                                 environmental justice in the state’s                    establishing an NSPS or emission                      intended to capture a broad array of
                                                 permitting decisions.                                   guidelines. As such, sources that are                 potential options for pollution control,
                                                    Through the NSR permit review                        permitted under major NSR may have                    the EPA has recognized that the list of
                                                 process, permitting authorities have                    differing control requirements for a                  available control options need not
                                                 requirements for public participation in                pollutant than what is required by an                 necessarily include inherently lower
                                                 decision-making, which provide                          applicable standard under CAA section                 polluting processes that would
                                                 discretion for permitting authorities to                111. As noted above, sources permitted                fundamentally redefine the nature of the
                                                 provide enhanced engagement for                         under the minor NSR program do not                    source proposed by the permit
                                                 communities with environmental justice                  have a minimum control technology                     applicant. Thus, BACT should generally
                                                 concerns. This includes opportunities to                standard specified by statute or EPA                  not be applied to regulate the permit
                                                 enhance environmental justice by                        rule, so a permitting authority has more              applicant’s purpose or objective for the
                                                 facilitating increased public                           flexibility in its determination of control           proposed facility. However, this
                                                 participation in the formal permit                      technology for aminor NSR permit.                     approach does not preclude a permitting
                                                 consideration process (e.g., by granting                   For PSD permits, the permitting                    authority from considering options that
                                                 requests to extend public comment                       authority must establish emission                     would change aspects (either minor or
                                                 periods, holding multiple public                        limitations based on BACT for each                    significant) of an applicants’ proposed
                                                 meetings, or providing translation                      pollutant that is subject to PSD at the               facility design in order to achieve
                                                 services at hearings in areas with                      new major stationary source or at each                pollutant reductions that may or may
                                                 limited English proficiency). The                       emissions unit involved in the major                  not be deemed achievable after further
                                                 permitting authority can also take                      modification. BACT is assessed on a                   evaluation at later steps of the process.
                                                 informal steps to enhance participation                 case-by-case basis, and the permitting                The EPA does not interpret the CAA to
                                                 earlier in the process, such as inviting                authority, in its analysis of BACT for                prohibit fundamentally redefining the
                                                 community groups to meet with the                       each pollutant, evaluates the emission                source and has recognized that
                                                 permitting authority and express their                  reductions that each available                        permitting authorities have the
                                                 concerns before a draft permit is issued.               emissions-reducing technology or                      discretion to conduct a broader BACT
                                                    Additionally, in accordance with                     technique would achieve, as well as the               analysis if they desire. The ‘‘redefining
                                                 CAA 165(a)(2), the PSD regulations                      energy, environmental, economic, and                  the source’’ issue is ultimately a
                                                 require the permitting authority to                     other costs associated with each                      question of degree that is within the
                                                 ‘‘[p]rovide opportunity for a public                    technology or technique. The CAA also                 discretion of the permitting authority,
                                                 hearing for interested persons to appear                specifies that BACT cannot be less                    and any decision to exclude an option
                                                 and submit written or oral comments on                  stringent than any applicable standard                on ‘‘redefining the source’’ grounds
                                                 the air quality impact of the source,                   of performance under the NSPS.991                     should be explained and documented in
                                                 alternatives to it, the control technology                 In conducting a BACT analysis, many                the permit record.
                                                 required, and other appropriate                         permitting authorities apply the EPA’s                   In conducting the analysis of energy,
                                                 considerations.’’ 40 CFR 51.166(q)(2)(v).               five-step ‘‘top-down’’ approach, which                environmental and economic impacts
                                                 The ‘‘alternatives’’ and ‘‘other                        the EPA recommends to ensure that all                 arising from each control option
                                                 appropriate considerations’’ language in                the criteria in the CAA’s definition of               remaining under consideration,
                                                 CAA 165(a)(2) can be interpreted to                     BACT are considered. This approach                    permitting authorities have considerable
                                                 provide the permitting authority with                   begins with the permitting authority                  discretion in deciding the specific form
                                                 discretion to incorporate siting and                    identifying all available control options             of the BACT analysis and the weight to
                                                 environmental justice considerations                    that have the potential for practical                 be given to the particular impacts under
                                                 when issuing PSD permits—specifically,                  application for the regulated NSR                     consideration. The EPA and other
                                                 to impose permit conditions on the                      pollutant and emissions unit under                    permitting authorities have most often
                                                 basis of environmental justice                          evaluation. The analysis then evaluates               used this analysis to eliminate more
                                                 considerations raised in public                         each option and eliminates options that               stringent control technologies with
                                                 comments regarding the air quality                      are technically infeasible, ranks the                 significant or unusual effects that are
                                                 impacts of a proposed source. The EAB                   remaining options from most to least                  unacceptable in favor of the less
                                                 has recognized that consideration of the                effective, evaluates the energy,                      stringent technologies with more
                                                 need for a facility is within the scope of              environmental, economic impacts, and                  acceptable collateral environmental
                                                 CAA 165(a)(2) when a commenter raises                   other costs of the options, eliminates                effects. Permitting authorities may
                                                 the issue. The EPA has recognized that                  options that are not achievable based on              consider a wide variety of
                                                 this language provides a potential                                                                            environmental impacts in this analysis,
                                                                                                         these considerations from the top of the
                                                 statutory foundation in the CAA for this                                                                      such as solid or hazardous waste
                                                                                                         list down, and ultimately selects the
                                                 discretion.990 The Federal regulations                                                                        generation, discharges of polluted water
                                                                                                         most effective remaining option as
                                                 for NNSR permits also have an analysis                                                                        from a control device, visibility impacts,
                                                                                                         BACT.992
                                                 of alternatives required by CAA                                                                               demand on local water resources, and
                                                 173(a)(5). 40 CFR 51.165(i).                              991 42 U.S.C. 7479(3) (‘‘In no event shall          emissions of other pollutants subject to
                                                 1. Control Technology Reviews for                       application of ‘best available control technology’    NSR or pollutants not regulated under
                                                                                                         result in emissions of any pollutants which will      NSR such as air toxics. A permitting
                                                 Major NSR Permits                                       exceed the emissions allowed by any applicable
                                                                                                         standard established pursuant to [CAA Section 111
                                                                                                                                                               authority could place more weight on
                                                    The statutory and regulatory basis for
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                                                                                                         or 112].’’).                                          the collateral environmental effect of a
                                                 a control technology review for a source                  992 For more information on EPA’s recommended       control alternative on local
                                                 undergoing major NSR permitting                         BACT approach, see U.S. Environmental Protection      communities—e.g., if emission increases
                                                                                                         Agency, New Source Review Workshop Manual             of co-pollutants from operating the
                                                   990 See Memorandum from Gary S. Guzy, EPA             (October 1990; Draft) at https://www.epa.gov/sites/
                                                 General Counsel, titled EPA Statutory and               default/files/2015-07/documents/1990wman.pdf          control device may disproportionately
                                                 Regulatory Authorities Under Which Environmental        and U.S. Environmental Protection Agency, PSD
                                                 Justice Issues May Be Addressed in Permitting           and Title V Permitting Guidance for Greenhouse        www.epa.gov/sites/default/files/2015-07/
                                                 (December 1, 2000).                                     Gases (March 2011; EPA–457/B–11–001) at https://      documents/ghgguid.pdf.



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                                                 affect a minority or low-income                             As GHGs are regulated pollutants          emission increases that may result in
                                                 population—which may result in the                       under the PSD program, this NSPS             the source triggering major NSR
                                                 permitting authority eliminating that                    serves as the minimum level of control       requirements. If a source with an
                                                 control option and ultimately selecting                  in determining BACT for any new major        affected EGU does trigger major NSR
                                                 a less stringent control technology for                  stationary source or major modification      requirements for one or more pollutants
                                                 the target pollutant as BACT because it                  that meets the applicability of this NSPS    as a result of complying with its
                                                 has more acceptable collateral impacts.                  and commences construction on its            standards of performance, the
                                                    In addition, this analysis may extend                 affected EGU(s) after the date of            permitting authority would conduct a
                                                 to considering reduced, or excessive,                    publication of the proposed NSPS in the      control technology review (i.e., BACT or
                                                 energy or environmental impacts of the                   Federal Register. However, as explained      LAER, as appropriate) for each of the
                                                 control alternative at an offsite location               above, the fact that a minimum control       pollutants and require that the source
                                                 that is in support the operation of the                  requirement for BACT is established by       comply with the other applicable major
                                                 facility obtaining the permit. For                       an applicable NSPS does not mean that
                                                                                                                                                       NSR requirements. As noted in section
                                                 example, in the case of a facility that                  a permitting authority cannot select a
                                                                                                                                                       VII of this preamble, in light of concerns
                                                 proposes to co-fire its new stationary                   more stringent control level for the PSD
                                                                                                                                                       expressed by stakeholders over possible
                                                 combustion turbines with hydrogen                        permit or consider control technologies
                                                                                                          for BACT beyond those that were              co-pollutant increases from CCS retrofit
                                                 procured from an offsite production
                                                                                                          considered in developing the NSPS. The       projects, the EPA plans to review its
                                                 facility, a permitting authority may
                                                                                                          authority for BACT is separate from that     NSR guidance and determine how it can
                                                 determine it is appropriate to weigh
                                                                                                          of BSER, and it requires a case-by-case      be updated to better assist permit
                                                 favorably a control option that involves
                                                                                                          review of a specific stationary source at    applicants and permitting authorities in
                                                 co-firing with hydrogen produced from
                                                 low-GHG emitting processes, such as                      the time its owner or operator applies       conducting BACT reviews for sources
                                                 electrolysis powered by renewable                        for a PSD permit. Accordingly, the           that intend to install CCS.
                                                 energy, to recognize the reduced                         BACT analysis for a source with an              States may also establish the
                                                 environmental impact of producing the                    applicable NSPS should reflect source-       standards of performance in their plans
                                                 fuel for the control option.                             specific factors and any advances in         in such a way so that their affected
                                                    For NNSR permits, the statutory                       control technology, reductions in the        sources, in complying with those
                                                 requirement for establishing LAER is                     costs or other impacts of using              standards, in fact would not have
                                                 more prescriptive and, consequently,                     particular control strategies, or other      emission increases that trigger major
                                                 tends to provide less discretion to                      relevant information that may have           NSR requirements. To achieve this, the
                                                 permitting authorities than the                          become available after the EPA issued        state would need to conduct an analysis
                                                 discretion allowed under BACT. For                       the NSPS.                                    consistent with the NSR regulatory
                                                 new major stationary sources and major                   3. NSR Implications of the Emission          requirements that supports its
                                                 modifications in nonattainment areas,                    Guidelines                                   determination that as long as affected
                                                 LAER is defined as the most stringent                                                                 sources comply with the standards of
                                                 emission limitation required under a                        With respect to the final emission
                                                                                                          guidelines, each state will develop a        performance, their emissions would not
                                                 SIP or achieved in practice for a class or                                                            increase in a way that trigger major NSR
                                                 category of sources. Thus, unlike BACT,                  plan that establishes standards of
                                                                                                          performance for each affected EGU in         requirements. For example, a state
                                                 the LAER requirement does not consider                                                                could, as part of its state plan, develop
                                                                                                          the state that meets the applicability
                                                 economic, energy, or other                                                                            enforceable conditions for a source
                                                                                                          criteria of this emission guidelines. In
                                                 environmental factors, except that LAER                                                               expected to trigger major NSR that
                                                                                                          doing so, a state agency may develop a
                                                 is not considered achievable if the cost                                                              would effectively limit the unit’s ability
                                                                                                          plan that requires an existing stationary
                                                 of control is so great that a major new                                                               to increase its emissions in amounts that
                                                                                                          source to undertake a physical or
                                                 stationary source could not be built or                                                               would trigger major NSR (effectively
                                                                                                          operational change. Under the NSR
                                                 operated.993 As with BACT                                                                             establishing a synthetic minor
                                                                                                          program, when a stationary source
                                                 determinations, a determination of                                                                    limitation).995 Some commenters
                                                                                                          undertakes a physical or operational
                                                 LAER cannot be less stringent than any                                                                asserted that base load units may not be
                                                                                                          change, even if it is doing so to comply
                                                 applicable NSPS.994                                      with a national or state level               able to readily rely on this option to
                                                 2. NSR Implications of the NSPS                          requirement, the source may need to          limit their emission increases given the
                                                    Any source that is planning to install                obtain a preconstruction NSR permit,         need for those units to respond to
                                                 a new or reconstructed EGU that meets                    with the type of permit (i.e., NNSR,         demand and maintain grid reliability. In
                                                 the applicability of this final NSPS will                PSD, or minor NSR) depending on the          these cases, states may adopt other
                                                                                                          amount of the emissions increase             strategies in their state plans to ensure
                                                 likely require an NSR permit prior to its
                                                                                                          resulting from the change and the air        that base load units have the needed
                                                 construction. In addition to including
                                                                                                          quality designation at the location of the   flexibility to operate and do so without
                                                 conditions for GHG emissions, the NSR
                                                                                                          source for its emitted pollutants.           triggering major NSR requirements.
                                                 permit would contain emission
                                                                                                          However, since emission guidelines are
                                                 limitations for the non-GHG pollutants
                                                                                                          intended to reduce emissions at an              995 Certain stationary sources that emit or have
                                                 emitted by the new or reconstructed
                                                                                                          existing stationary source, a NSR permit     the potential to emit a pollutant at a level that is
                                                 EGU. Depending on the level of
                                                                                                          may not be needed to perform the             equal to or greater than specified thresholds are
                                                 emissions for each pollutant, the source                                                              subject to major source requirements. See, e.g., CAA
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                                                                                                          physical or operational change required
                                                 may require a major NSR permit, minor                                                                 sections 165(a)(1), 169(1), 501(2), 502(a). A
                                                                                                          by the state plan if the change will not     synthetic minor limitation is a legally and
                                                 NSR permit, or a combination of both
                                                                                                          increase emissions at the source.            practicably enforceable restriction that has the
                                                 types of permits.                                           As noted elsewhere in this preamble,      effect of limiting emissions below the relevant level
                                                                                                          sources that will be complying with          and that a source voluntarily obtains to avoid major
                                                   993 New Source Review Workshop Manual
                                                                                                                                                       stationary source requirements, such as the PSD or
                                                 (October 1990; Draft), page G.4.                         their state plan’s standards of              title V permitting programs. See, e.g., 40 CFR
                                                   994 42 U.S.C. 7501(3); 40 CFR 51.165(a)(1)(xiii); 40   performance by installing and operating      52.21(b)(4), 51.166(b)(4), 70.2 (definition of
                                                 CFR part 51, appendix S, section II.A.18.                CCS could experience criteria pollutant      ‘‘potential to emit’’).



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                                                 B. Title V Program                                                        to comment on the plan as a whole                      In the RIA, the EPA evaluates the
                                                    Title V regulations require each                                       before it is finalized.                             potential impacts of the three
                                                 permit to include emission limitations                                    XII. Summary of Cost, Environmental,                illustrative scenarios using the present
                                                 and standards, including operational                                      and Economic Impacts                                value (PV) of costs, benefits, and net
                                                 requirements and limitations that assure                                                                                      benefits, calculated for the years 2024 to
                                                                                                                              In accordance with E.O. 12866 and                2047 from the perspective of 2019. In
                                                 compliance with all applicable                                            13563, the guidelines of the Office of
                                                 requirements. Requirements resulting                                                                                          addition, the EPA presents the
                                                                                                                           Management and Budget (OMB)                         assessment of costs, benefits, and net
                                                 from these rules that are imposed on                                      Circular A–4 and the EPA’s Guidelines
                                                 EGUs or other potentially affected                                                                                            benefits for specific snapshot years,
                                                                                                                           for Preparing Economic Analyses, the                consistent with the Agency’s historic
                                                 entities that have title V operating                                      EPA prepared an RIA for these final
                                                 permits are applicable requirements                                                                                           practice. These specific snapshot years
                                                                                                                           actions. The RIA is separate from the               are 2028, 2030, 2035, 2040, and 2045. In
                                                 under the title V regulations and would                                   EPA’s statutory BSER determinations
                                                 need to be incorporated into the                                                                                              addition to the core benefit-cost
                                                                                                                           and did not influence the EPA’s choice              analysis, the RIA also includes analyses
                                                 source’s title V permit in accordance                                     of BSER for any of the regulated source
                                                 with the schedule established in the                                                                                          of anticipated economic and energy
                                                                                                                           categories or subcategories. This RIA
                                                 title V regulations. For example, if the                                                                                      impacts, environmental justice impacts,
                                                                                                                           presents the expected economic
                                                 permit has a remaining life of 3 years or                                                                                     and employment impacts.
                                                                                                                           consequences of the EPA’s final rules,
                                                 more, a permit reopening to incorporate                                   including analysis of the benefits and                 The analysis presented in this
                                                 the newly applicable requirement shall                                    costs associated with the projected                 preamble section summarizes key
                                                 be completed no later than 18 months                                      emission reductions for three                       results of the illustrative final rules
                                                 after promulgation of the applicable                                      illustrative scenarios. The first scenario          scenario. For detailed benefit-cost
                                                 requirement. If the permit has a                                          represents the final NSPS and emission              results for the three illustrative
                                                 remaining life of less than 3 years, the                                  guidelines in combination. The second               scenarios and results of the variety of
                                                 newly applicable requirement must be                                      and third scenarios represent different             impact analysis just mentioned, please
                                                 incorporated at permit renewal.996                                        stringencies of the combined policies.              see the RIA, which is available in the
                                                 Additionally, proceedings to reopen and                                   All three illustrative scenarios are                docket for this action.
                                                 issue a permit shall follow the same                                      compared against a single baseline. For                It should be noted that for the RIA for
                                                 procedures that apply to initial permit                                   detailed descriptions of the three
                                                 issuance and only affect the parts of the                                                                                     this rulemaking, the EPA undertook the
                                                                                                                           illustrative scenarios and the baseline,            same approach to determine benefits
                                                 permit for which cause to reopen exists.                                  see section 1 of the RIA, which is titled
                                                 The reopening of permits is expected to                                                                                       and costs as it has generally taken in
                                                                                                                           ‘‘Regulatory Impact Analysis for the                prior rulemakings concerning the
                                                 be made as expeditiously as possible.997                                  New Source Performance Standards for
                                                    In the proposal, the EPA also                                                                                              electric power sector. It does not rely on
                                                                                                                           Greenhouse Gas Emissions from new,                  the benefit-cost results included in the
                                                 indicated that if a state needs to include                                Modified, and Reconstructed Fossil
                                                 provisions related to the state plan in a                                                                                     RIA as part of its BSER analysis. Rather,
                                                                                                                           Fuel-Fired Electric Generating Units;
                                                 source’s title V permit before submitting                                                                                     the BSER analysis considers the BSER
                                                                                                                           Emission Guidelines for Greenhouse
                                                 the plan to the EPA, these limits should                                                                                      criteria as set out in CAA section
                                                                                                                           Gas Emissions from Existing Fossil
                                                 be labeled as ‘‘state-only’’ or ‘‘not                                                                                         111(a)(1) and the caselaw—including
                                                                                                                           Fuel-Fired Electric Generating Units;
                                                 federally enforceable’’ until the EPA has                                                                                     the costs of the controls to the source,
                                                                                                                           and Repeal of the Affordable Clean
                                                 approved the state plan. The EPA                                                                                              the amount of emission reductions, and
                                                                                                                           Energy Rule’’ and is available in the
                                                 solicited comments on whether, and                                                                                            other criteria—as described in section
                                                                                                                           rulemaking docket.998
                                                 under what circumstances, states might                                       The three scenarios detailed in the              V.C.2.
                                                 use this mechanism. While no specific                                     RIA, including the final rules scenario,            A. Air Quality Impacts
                                                 comments were received on this point,                                     are illustrative in nature and do not
                                                 the EPA would like to further clarify                                     represent the plans that states may                   For the analysis of the final rules,
                                                 that in finalizing this direction, the                                    ultimately pursue. As there are                     total cumulative power sector CO2
                                                 intention is to ensure that meaningful                                    considerable flexibilities afforded to              emissions between 2028 and 2047 are
                                                 public participation is available during                                  states in developing their state plans,             projected to be 1,382 million metric tons
                                                 the development of a state plan, rather                                   the EPA does not have sufficient                    lower under the illustrative final rules
                                                 than limiting engagement to the                                           information to assess specific                      scenario than under the baseline. Table
                                                 permitting process. While the public                                      compliance measures on a unit-by-unit               4 shows projected aggregate annual
                                                 would have the opportunity to comment                                     basis. Nonetheless, the EPA believes                electricity sector emission changes for
                                                 on the individual permit provisions,                                      that such illustrative analysis can                 the illustrative final rules scenario,
                                                 this would not allow for the opportunity                                  provide important insights.                         relative to the baseline.

                                                         TABLE 4—PROJECTED ELECTRICITY SECTOR EMISSION IMPACTS FOR THE ILLUSTRATIVE FINAL RULES SCENARIO,
                                                                                            RELATIVE TO THE BASELINE

                                                                                                                               CO2           Annual NOX      Ozone season       Annual SO2        Direct PM2.5
                                                                                                                        (million metric                          NOX                                                  Mercury
                                                                                                                                              (thousand                          (thousand         (thousand
                                                                                                                                                              (thousand                                                (tons)
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                                                                                                                              tons)           short tons)                       short tons)        short tons)
                                                                                                                                                              short tons)

                                                 2028 .............................................................                ¥38               ¥20                 ¥6              ¥34                 ¥2             ¥0.1

                                                   996 See 40 CFR 70.7(f)(1)(i).                                           demand, gas price, and contemporaneous              parameters selected in this action. For further
                                                   997 See 40 CFR 70.7(f)(2).                                              rulemakings and determined that those alternative   discussion, see the technical memorandum, IPM
                                                   998 The EPA also examined the final rules under                         projections, inclusive of CCS buildout and cost     Sensitivity Runs, available in the rulemaking
                                                 a variety of different assumptions regarding                              profiles, would not alter any BSER design           docket.



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                                                         TABLE 4—PROJECTED ELECTRICITY SECTOR EMISSION IMPACTS FOR THE ILLUSTRATIVE FINAL RULES SCENARIO,
                                                                                       RELATIVE TO THE BASELINE—Continued
                                                                                                                                                                 Ozone season
                                                                                                                               CO2             Annual NOX                             Annual SO2         Direct PM2.5
                                                                                                                                                                     NOX                                                      Mercury
                                                                                                                        (million metric         (thousand         (thousand            (thousand          (thousand            (tons)
                                                                                                                              tons)             short tons)       short tons)         short tons)         short tons)

                                                 2030 .............................................................                ¥50                     ¥20               ¥7                ¥20                   ¥2             ¥0.1
                                                 2035 .............................................................               ¥123                     ¥49              ¥19                ¥90                   ¥1             ¥0.1
                                                 2040 .............................................................                ¥54                      ¥6               ¥6                 ¥4                    2              0.2
                                                 2045 .............................................................                ¥42                     ¥24              ¥14                ¥41                   ¥2             ¥0.2
                                                    Note: Ozone season is the May through September period in this analysis.


                                                 B. Compliance Cost Impacts                                                by 2030 and 31 GW by 2040. Under the                     estimated to be about 7.5 billion, with
                                                    The power industry’s compliance                                        illustrative final rules scenario, the EPA               an EAV of about 0.65 billion. To put this
                                                 costs are represented in this analysis as                                 projects an incremental 8 GW of CCS                      in perspective, this levelized
                                                 the change in electric power generation                                   retrofits on existing coal-fired steam                   compliance cost is roughly one percent
                                                 costs between the baseline and                                            generating units by 2035 relative to the                 of the total projected levelized cost to
                                                 illustrative scenarios, including the cost                                baseline. By 2035, relative to the                       produce electricity over the same
                                                 of monitoring, reporting, and                                             baseline, new combined cycle builds are                  timeframe under the baseline.
                                                 recordkeeping. In simple terms, these                                     2 GW lower, new combustion turbine                          Section 3 of the RIA presents detailed
                                                 costs are an estimate of the increased                                    builds are 10 GW higher, and wind and                    discussions of the compliance cost
                                                 power industry expenditures required to                                   solar additions are 15 GW higher. Total
                                                                                                                                                                                    projections for the final rule
                                                 comply with the final actions.                                            coal capacity is projected to be 73 GW
                                                                                                                                                                                    requirements, as well as projections of
                                                    The compliance assumptions—and,                                        in 2030 and 19 GW by 2040. As a result,
                                                                                                                                                                                    compliance costs for less and more
                                                 therefore, the projected compliance                                       the compliance cost of the final rules is
                                                                                                                                                                                    stringent regulatory options.
                                                 costs—set forth in this analysis are                                      lower than it would be absent the IRA.
                                                 illustrative in nature and do not                                            We estimate the PV of the projected                   C. Economic and Energy Impacts
                                                 represent the plans that states may                                       compliance costs for the analysis of the
                                                 ultimately pursue. The illustrative final                                 final standards for new combustion                          These final actions have economic
                                                 rules scenario is designed to reflect, to                                 turbines and for existing steam                          and energy market implications. The
                                                 the extent possible, the scope and                                        generating EGUs over the 2024 to 2047                    energy impact estimates presented here
                                                 nature of the final rules. However, there                                 period, as well as estimate the                          reflect the EPA’s illustrative analysis of
                                                 is uncertainty with regards to the                                        equivalent annual value (EAV) of the                     the final rules. States are afforded
                                                 precise measures that states will adopt                                   flow of the compliance costs over this                   flexibility to implement the final rules,
                                                 to meet the requirements because there                                    period. The EAV represents a flow of                     and thus the estimated impacts could be
                                                 are flexibilities afforded to the states in                               constant annual values that, had they                    different to the extent states make
                                                 developing their state plans.                                             occurred annually, would yield a sum                     different choices than those assumed in
                                                    The IRA is projected to accelerate the                                 equivalent to the PV. All dollars are in                 the illustrative analysis. In addition, as
                                                 ongoing shift towards lower-emitting                                      2019 dollars. We estimate the PV and                     discussed in section VII.E.1 of this
                                                 technology. In particular, under the                                      EAV using discount rates of 2 percent,                   preamble, the factors driving these
                                                 baseline tax credits for low-emitting                                     3 percent, and 7 percent.999 The PV of                   impacts, including potential revenue
                                                 technology results in growing                                             compliance costs discounted at the 2                     streams for captured carbon, may
                                                 generation share for renewable                                            percent rate is estimated to be about 19                 change over the next 25 years, leading
                                                 resources and the deployment of 11 GW                                     billion, with an EAV of about 0.98                       the estimated impacts to be different
                                                 of CCS retrofits on existing coal-fired                                   billion. At the 3 percent rate, the PV of                than reality. Table 5 presents a variety
                                                 steam generating units by 2035. New                                       compliance costs is estimated to be                      of energy market impact estimates for
                                                 combined cycle builds are 20 GW by                                        about 15 billion, with an EAV of about                   2028, 2030, 2035, 2040, and 2045 for the
                                                 2030, and existing coal capacity                                          0.91 billion. At the 7 percent discount                  illustrative final rules scenario, relative
                                                 continues to decline, falling to 84 GW                                    rate, the PV of compliance costs is                      to the baseline.

                                                   TABLE 5—SUMMARY OF CERTAIN ENERGY MARKET IMPACTS FOR THE ILLUSTRATIVE FINAL RULES SCENARIO, RELATIVE
                                                                                           TO THE BASELINE
                                                                                                                                             [Percent change]

                                                                                                                                                           2028 (%)        2030 (%)         2035 (%)        2040 (%)          2045 (%)

                                                 Retail electricity prices .............................................................................          ¥1                 0              1                  0               1
                                                 Average price of coal delivered to power sector .....................................                            ¥1                ¥1              0                  0             ¥32
                                                 Coal production for power sector use .....................................................                       ¥6                ¥4            ¥21                 15             ¥84
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                                                 Price of natural gas delivered to power sector ........................................                          ¥2                 0              3                  0               0
                                                 Price of average Henry Hub (spot) ..........................................................                     ¥2                ¥1              3                  0               0

                                                   999 Results using the 2 percent discount rate were                      recommended rates. In November 2023, OMB                 capital when costs or benefits are likely to accrue
                                                 not included in the proposals for these actions. The                      finalized an update to Circular A–4, in which it         to capital. As a result of the update to Circular A–
                                                 2003 version of OMB’s Circular A–4 had generally                          recommended the general application of a 2 percent       4, we include cost and benefits results calculated
                                                 recommended 3 percent and 7 percent as default                            rate to discount social costs and benefits (subject to   using a 2 percent discount rate.
                                                 rates to discount social costs and benefits. The                          regular updates). The Circular A–4 update also
                                                 analysis of the proposed rules used these two                             recommended consideration of the shadow price of



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                                                   TABLE 5—SUMMARY OF CERTAIN ENERGY MARKET IMPACTS FOR THE ILLUSTRATIVE FINAL RULES SCENARIO, RELATIVE
                                                                                      TO THE BASELINE—Continued
                                                                                                                                   [Percent change]

                                                                                                                                               2028 (%)        2030 (%)         2035 (%)        2040 (%)       2045 (%)

                                                 Natural gas use for electricity generation ................................................          ¥1              ¥2                   4               0              2



                                                    These and other energy market                              environmental benefits. The annualized                  D. Benefits
                                                 impacts are discussed more extensively                        social cost estimated in SAGE for the                     This section includes the estimated
                                                 in section 3 of the RIA.                                      finalized rules is approximately $1.32                  total benefits and the estimated net
                                                    More broadly, changes in production                        billion (2019 dollars) between 2024 and                 benefits of the final rules.
                                                 in a directly regulated sector may have                       2047 using a 4.5 percent discount rate
                                                 effects on other markets when output                          that is consistent with the internal                    1. Total Benefits
                                                 from that sector—for these rules,                             discount rate in the model. Under the                      Pursuant to E.O. 12866, the RIA for
                                                 electricity—is used as an input in the                        assumption that compliance costs from                   these actions analyzes the benefits
                                                 production of other goods. It may also                        IPM in 2056 continue until 2081, the                    associated with the projected emission
                                                 affect upstream industries that supply                        equivalent annualized value for social                  changes under the final rules to inform
                                                 goods and services to the sector, along                       costs in the SAGE model is $1.51 billion                the EPA and the public about these
                                                 with labor and capital markets, as these                      (2019 dollars) over the period from 2024                projected impacts. These final rules are
                                                 suppliers alter production processes in                                                                               projected to reduce national emissions
                                                                                                               to 2081, again using a 4.5 percent
                                                 response to changes in factor prices. In                                                                              of CO2, SO2, NOX, and PM2.5, which we
                                                                                                               discount rate that is consistent with the
                                                 addition, households may change their                                                                                 estimate will provide climate benefits
                                                 demand for particular goods and                               internal discount rate of the model. The
                                                                                                                                                                       and public health benefits. The
                                                 services due to changes in the price of                       social cost estimate reflects the                       potential climate, health, welfare, and
                                                 electricity and other final goods prices.                     combined effect of the final rules’                     water quality impacts of these emission
                                                 Economy-wide models—and, more                                 requirements and interactions with IRA                  changes are discussed in detail in the
                                                 specifically, computable general                              subsidies for specific technologies that                RIA. In the RIA, the EPA presents the
                                                 equilibrium (CGE) models—are                                  are expected to see increased use in                    projected monetized climate benefits
                                                 analytical tools that can be used to                          response to the final rules. We are not                 due to reductions in CO2 emissions and
                                                 evaluate the broad impacts of a                               able to identify their relative roles                   the monetized health benefits
                                                 regulatory action. A CGE-based                                currently.                                              attributable to changes in SO2, NOX, and
                                                 approach to cost estimation                                      At proposal, the EPA solicited                       PM2.5 emissions, based on the emissions
                                                 concurrently considers the effect of a                        comment on the SAGE analysis                            estimates in illustrative scenarios
                                                 regulation across all sectors in the                          presented in the RIA appendix. The                      described previously. We monetize
                                                 economy.                                                      SAGE analysis of the final rules is                     benefits of the final rules and evaluate
                                                    In 2015, the EPA established a                             responsive to those comments. The                       other costs in part to enable a
                                                 Science Advisory Board (SAB) panel to                         comments received were supportive of                    comparison of costs and benefits
                                                 consider the technical merits and                                                                                     pursuant to E.O. 12866, but we
                                                                                                               the use of SAGE for estimating
                                                 challenges of using economy-wide                                                                                      recognize that there are substantial
                                                                                                               economy-wide social costs and other
                                                 models to evaluate costs, benefits, and                                                                               uncertainties and limitations in
                                                                                                               economy-wide impacts alongside the
                                                 economic impacts in regulatory                                                                                        monetizing benefits, including benefits
                                                 analysis. In its final report, the SAB                        IPM-based cost and benefit estimates.
                                                                                                                                                                       that have not been quantified or
                                                 recommended that the EPA begin to                             The comments also suggested a variety                   monetized.
                                                 integrate CGE modeling into applicable                        of sensitivity analyses and several                        We emphasize that the monetized
                                                 regulatory analysis to offer a more                           longer-term research goals for improving                benefits analysis is entirely distinct
                                                 comprehensive assessment of the effects                       the capabilities of SAGE, such as adding                from the statutory BSER determinations
                                                 of air regulations.1000 In response to the                    a representation of emissions changes.                  finalized herein and is presented solely
                                                 SAB’s recommendations, the EPA                                For more detailed comment summaries                     for the purposes of complying with E.O.
                                                 developed a new CGE model called                              and responses, see the response to                      12866. As discussed in more detail in
                                                 SAGE designed for use in regulatory                           comments in the docket for these                        the proposal and earlier in this action,
                                                 analysis. A second SAB panel                                  actions.                                                the EPA weighed the relevant statutory
                                                 performed a peer review of SAGE, and                             Environmental regulation may affect                  factors to determine the appropriate
                                                 the review concluded in 2020.1001                             groups of workers differently, as                       standards and did not rely on the
                                                    The EPA used SAGE to evaluate                              changes in abatement and other                          monetized benefits analysis for
                                                 potential economy-wide impacts of                             compliance activities cause labor and                   purposes of determining the standards.
                                                 these final rules, and the results are                                                                                E.O. 12866 separately requires the EPA
                                                                                                               other resources to shift. An employment
                                                 contained in section 5.2 of the RIA. Note                                                                             to perform a benefit-cost analysis,
                                                                                                               impact analysis describes the
                                                 that SAGE does not currently estimate                                                                                 including monetizing costs and benefits
                                                                                                               characteristics of groups of workers
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                                                 changes in emissions nor account for                                                                                  where practicable, and the EPA has
                                                                                                               potentially affected by a regulation, as                conducted such an analysis.
                                                   1000 U.S. EPA. 2017. SAB Advice on the Use of               well as labor market conditions in                         The EPA estimates the climate
                                                 Economy-Wide Models in Evaluating the Social                  affected occupations, industries, and                   benefits of GHG emissions reductions
                                                 Costs, Benefits, and Economic Impacts of Air                  geographic areas. Employment impacts                    expected from the final rules using
                                                 Regulations. EPA–SAB–17–012.                                  of these final actions are discussed more
                                                   1001 U.S. EPA. 2020. Technical Review of EPA’s                                                                      estimates of the social cost of
                                                 Computable General Equilibrium Model, SAGE.                   extensively in section 5 of the RIA.                    greenhouse gases (SC–GHG) that reflect
                                                 EPA–SAB–20–010.                                                                                                       recent advances in the scientific


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                                                 literature on climate change and its                    and SC–N2O), collectively referred to as              the Technical Support Document:
                                                 economic impacts and that incorporate                   the ‘‘social cost of greenhouse gases’’               Social Cost of Carbon, Methane, and
                                                 recommendations made by the National                    (SC–GHG), in analyses of actions that                 Nitrous Oxide Interim Estimates under
                                                 Academies of Science, Engineering, and                  affect GHG emissions. The values used                 Executive Order 13990 1008 that the IWG
                                                 Medicine.1002 The EPA published and                     by the EPA from 2009 to 2016, and since               recommended for use until updated
                                                 used these estimates in the RIA for the                 2021—including in the proposal—have                   estimates that address the National
                                                 Final Oil and Gas Rulemaking,                           been consistent with those developed                  Academies’ recommendations are
                                                 Standards of Performance for New,                       and recommended by the IWG on the                     available.
                                                 Reconstructed, and Modified Sources                     SC–GHG; and the values used from 2017                   The EPA solicited public comment on
                                                 and Emissions Guidelines for Existing                   to 2020 were consistent with those                    the sensitivity analysis and the
                                                 Sources: Oil and Natural Gas Sector                     required by E.O. 13783, which                         accompanying draft technical report,
                                                 Climate Review, which was signed by                     disbanded the IWG. During 2015–2017,                  External Review Draft of Report on the
                                                 the EPA Administrator on December 2,                    the National Academies conducted a                    Social Cost of Greenhouse Gases:
                                                 2023.1003 The EPA solicited public                      comprehensive review of the SC–CO2                    Estimates Incorporating Recent
                                                 comment on the methodology and use                      and issued a final report in 2017                     Scientific Advances, which explains the
                                                 of these estimates in the RIA for the                   recommending specific criteria for                    methodology underlying the new set of
                                                 Agency’s December 2022 Oil and Gas                      future updates to the SC–CO2 estimates,
                                                                                                                                                               estimates and was included as
                                                 Supplemental Proposal and has                           a modeling framework to satisfy the
                                                                                                                                                               supplemental material to the RIA for the
                                                 conducted an external peer review of                    specified criteria, and both near-term
                                                                                                                                                               December 2022 Oil and Gas
                                                 these estimates, as described further                   updates and longer-term research needs
                                                                                                                                                               Supplemental Proposal.1009 The
                                                 below. Section 4 of the RIA lays out the                pertaining to various components of the
                                                                                                                                                               response to comments document can be
                                                 details of the updated SC–GHG used                      estimation process.1004 The IWG was
                                                                                                                                                               found in the docket for that action.
                                                 within this final rule.                                 reconstituted in 2021 and E.O. 13990
                                                    The SC–GHG is the monetary value of                  directed it to develop a comprehensive                  To ensure that the methodological
                                                 the net harm to society associated with                 update of its SC–GHG estimates,                       updates adopted in the technical report
                                                 a marginal increase in GHG emissions in                 recommendations regarding areas of                    are consistent with economic theory and
                                                 a given year, or the benefit of avoiding                decision-making to which SC–GHG                       reflect the latest science, the EPA also
                                                 that increase. In principle, SC–GHG                     should be applied, and a standardized                 initiated an external peer review panel
                                                 includes the value of all climate change                review and updating process to ensure                 to conduct a high-quality review of the
                                                 impacts (both negative and positive),                   that the recommended estimates                        technical report, completed in May
                                                 including (but not limited to) changes in               continue to be based on the best                      2023. The peer reviewers commended
                                                 net agricultural productivity, human                    available economics and science going                 the Agency on its development of the
                                                 health effects, property damage from                    forward.                                              draft update, calling it a much-needed
                                                 increased flood risk and natural                           The EPA is a member of the IWG and                 improvement in estimating the SC–GHG
                                                 disasters, disruption of energy systems,                is participating in the IWG’s work under              and a significant step toward addressing
                                                 risk of conflict, environmental                         E.O. 13990. As noted in previous EPA                  the National Academies’
                                                 migration, and the value of ecosystem                   RIAs (including in the proposal RIA for               recommendations with defensible
                                                 services. The SC–GHG, therefore,                        this rulemaking), while that process                  modeling choices based on current
                                                 reflects the societal value of reducing                 continues, the EPA is continuously                    science. The peer reviewers provided
                                                 emissions of the gas in question by 1                   reviewing developments in the                         numerous recommendations for refining
                                                 metric ton and is the theoretically                     scientific literature on the SC–GHG,                  the presentation and for future modeling
                                                 appropriate value to use in conducting                  including more robust methodologies                   improvements, especially with respect
                                                 benefit-cost analyses of policies that                  for estimating damages from emissions,                to climate change impacts and
                                                 affect GHG emissions. In practice, data                 and is looking for opportunities to                   associated damages that are not
                                                 and modeling limitations restrain the                   further improve SC–GHG                                currently included in the analysis.
                                                 ability of SC–GHG estimates to include                  estimation.1005 In the December 2022                  Additional discussion of omitted
                                                 all physical, ecological, and economic                  Oil and Gas Supplemental Proposal                     impacts and other updates were
                                                 impacts of climate change, implicitly                   RIA,1006 the Agency included a                        incorporated in the technical report to
                                                 assigning a value of zero to the omitted                sensitivity analysis of the climate                   address peer reviewer
                                                 climate damages. The estimates are,                     benefits of that rule using a new set of              recommendations. Complete
                                                 therefore, a partial accounting of climate              SC–GHG estimates that incorporates                    information about the external peer
                                                 change impacts and likely                               recent research addressing                            review, including the peer reviewer
                                                 underestimate the marginal benefits of                  recommendations of the National                       selection process, the final report with
                                                 abatement.                                              Academies 1007 in addition to using the               individual recommendations from peer
                                                    Since 2008, the EPA has used                         interim SC–GHG estimates presented in                 reviewers, and the EPA’s response to
                                                 estimates of the social cost of various                                                                       each recommendation is available on
                                                 greenhouse gases (i.e., SC–CO2, SC–CH4,                   1004 Ibid.
                                                                                                           1005 The EPA strives to base its analyses on the      1008 Interagency Working Group on Social Cost of
                                                   1002 National Academies of Sciences, Engineering,     best available science and economics, consistent      Carbon (IWG). 2021 (February). Technical Support
                                                 and Medicine (National Academies). 2017. Valuing        with its responsibilities, for example, under the     Document: Social Cost of Carbon, Methane, and
                                                 Climate Damages: Updating Estimation of the Social      Information Quality Act.                              Nitrous Oxide: Interim Estimates under Executive
                                                 Cost of Carbon Dioxide. National Academies Press.         1006 U.S. EPA. (2023). Supplementary Material for   Order 13990. United States Government.
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                                                   1003 U.S. EPA. (2023). Supplementary Material for     the Regulatory Impact Analysis for the Final            1009 Supplementary Material for the Regulatory

                                                 the Regulatory Impact Analysis for the Final            Rulemaking, Standards of Performance for New,         Impact Analysis for the Final Rulemaking,
                                                 Rulemaking, Standards of Performance for New,           Reconstructed, and Modified Sources and               Standards of Performance for New, Reconstructed,
                                                 Reconstructed, and Modified Sources and                 Emissions Guidelines for Existing Sources: Oil and    and Modified Sources and Emissions Guidelines for
                                                 Emissions Guidelines for Existing Sources: Oil and      Natural Gas Sector Climate Review, ‘‘Report on the    Existing Sources: Oil and Natural Gas Sector
                                                 Natural Gas Sector Climate Review, ‘‘Report on the      Social Cost of Greenhouse Gases: Estimates            Climate Review, ‘‘Report on the Social Cost of
                                                 Social Cost of Greenhouse Gases: Estimates              Incorporating Recent Scientific Advances.’’           Greenhouse Gases: Estimates Incorporating Recent
                                                 Incorporating Recent Scientific Advances.’’             Washington, DC: U.S. EPA.                             Scientific Advances,’’ Docket ID No. EPA–HQ–
                                                 Washington, DC: U.S. EPA.                                 1007 Ibid.                                          OAR–2021–0317, November 2023.



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                                                 the EPA’s website.1010 An overview of                   monetizing benefits, including benefits                 unable to fully monetize due to data and
                                                 the methodological updates                              that have not been quantified. The                      modeling limitations. In addition,
                                                 incorporated into the new SC–GHG                        projected PV of monetized climate                       important health, welfare, and water
                                                 estimates is provided in the RIA section                benefits is about $270 billion, with an                 quality benefits anticipated under these
                                                 4.2. A more detailed explanation of each                EAV of about $14 billion using the SC–                  final rules are not quantified. We
                                                 input and the modeling process is                       CO2 discounted at 2 percent.1013 The                    anticipate that taking non-monetized
                                                 provided in the technical report, EPA                   projected PV of monetized health                        effects into account would show the
                                                 Report on the Social Cost of Greenhouse                 benefits is about $120 billion, with an                 total benefits of the final rules to be
                                                 Gases: Estimates Incorporating Recent                   EAV of about $6.3 billion discounted at                 greater than this section reflects.
                                                 Scientific Advances.1011                                2 percent. Combining the projected                      Discussion of the non-monetized health,
                                                    In addition to CO2, these final rules                monetized climate and health benefits                   climate, welfare, and water quality
                                                 are expected to reduce annual, national                 yields a total PV estimate of about $390                benefits is found in section 4 of the RIA.
                                                 total emissions of NOX and SO2 and                      billion and EAV estimate of $21 billion.
                                                 direct PM2.5. Because NOX and SO2 are                      At a 3 percent discount rate, these                  2. Net Benefits
                                                 also precursors to secondary formation                  final rules are expected to generate                       The final rules are projected to reduce
                                                 of ambient PM2.5, reducing these                        projected PV of monetized health                        greenhouse gas emissions in the form of
                                                 emissions would reduce human                            benefits of about $100 billion, with an                 CO2, producing a projected PV of
                                                 exposure to annual average ambient                      EAV of about $6.1 billion. Climate                      monetized climate benefits of about
                                                 PM2.5 and would reduce the incidence                    benefits remain discounted at 2 percent                 $270 billion, with an EAV of about $14
                                                 of PM2.5-attributable health effects.                   in this benefits analysis and are                       billion using the SC–CO2 discounted at
                                                 These final rules are also expected to                  estimated to be about $270 billion, with                2 percent. The final rules are also
                                                 reduce national ozone season NOX                        an EAV of about $14 billion using the                   projected to reduce emissions of NOX,
                                                 emissions. In the presence of sunlight,                 SC–CO2. Thus, these final rules would                   SO2 and direct PM2.5 leading to national
                                                 NOX and VOCs can undergo a chemical                     generate a PV of monetized benefits of                  health benefits from PM2.5 and ozone in
                                                 reaction in the atmosphere to form                      about $370 billion, with an EAV of                      most years, producing a projected PV of
                                                 ozone. Reducing NOX emissions in most                   about $20 billion discounted at a 3                     monetized health benefits of about $120
                                                 locations reduces human exposure to                     percent rate.                                           billion, with an EAV of about $6.3
                                                 ozone and the incidence of ozone-                          At a 7 percent discount rate, these                  billion discounted at 2 percent. Thus,
                                                 related health effects, though the degree               final rules are expected to generate                    these final rules are expected to generate
                                                 to which ozone is reduced will depend                   projected PV of monetized health                        a PV of monetized benefits of $390
                                                 in part on local concentration levels of                benefits of about $59 billion, with an                  billion, with an EAV of $21 billion
                                                 VOCs. The RIA estimates the health                      EAV of about $5.2 billion. Climate                      discounted at a 2 percent rate. The PV
                                                 benefits of changes in PM2.5 and ozone                  benefits remain discounted at 2 percent                 of the projected compliance costs are
                                                 concentrations. The health effect                       in this benefits analysis and are                       $19 billion, with an EAV of about $0.98
                                                 endpoints, effect estimates, benefit unit-              estimated to be about $270 billion, with                billion discounted at 2 percent.
                                                 values, and how they were selected are                  an EAV of about $14 billion using the                   Combining the projected benefits with
                                                 described in the Estimating PM2.5- and                  SC–CO2. Thus, these final rules would                   the projected compliance costs yields a
                                                 Ozone-Attributable Health Benefits                      generate a PV of monetized benefits of                  net benefit PV estimate of about $370
                                                 TSD.1012 Our approach for updating the                  about $330 billion, with an EAV of                      billion and EAV of about $20 billion.
                                                 endpoints and to identify suitable                      about $19 billion discounted at a 7                        At a 3 percent discount rate, the final
                                                 epidemiologic studies, baseline                         percent rate.                                           rules are expected to generate projected
                                                 incidence rates, population                                The results presented in this section                PV of monetized health benefits of about
                                                 demographics, and valuation estimates                   provide an incomplete overview of the                   $100 billion, with an EAV of about $6.1
                                                 is summarized in section 4 of the RIA.                  effects of the final rules. The monetized               billion. Climate benefits remain
                                                    The following PV and EAV estimates                   climate benefits estimates do not                       discounted at 2 percent in this net
                                                 reflect projected benefits over the 2024                include important benefits that we are                  benefits analysis. Thus, the final rules
                                                 to 2047 period, discounted to 2024 in                                                                           would generate a PV of monetized
                                                 2019 dollars, for the analysis of the final                1013 Monetized climate benefits are discounted       benefits of about $370 billion, with an
                                                 rules. We monetize benefits of the final                using a 2 percent discount rate, consistent with the    EAV of about $20 billion discounted at
                                                                                                         EPA’s updated estimates of the SC–CO2. The 2003         3 percent. The PV of the projected
                                                 rules and evaluate other costs in part to               version of OMB’s Circular A–4 had generally
                                                 enable a comparison of costs and                        recommended 3 percent and 7 percent as default          compliance costs are about $15 billion,
                                                 benefits pursuant to E.O. 12866, but we                 discount rates for costs and benefits, though as part   with an EAV of $0.91 billion discounted
                                                 recognize that there are substantial                    of the Interagency Working Group on the Social          at 3 percent. Combining the projected
                                                 uncertainties and limitations in                        Cost of Greenhouse Gases, OMB had also long             benefits with the projected compliance
                                                                                                         recognized that climate effects should be
                                                                                                         discounted only at appropriate consumption-based        costs yields a net benefit PV estimate of
                                                   1010 https://www.epa.gov/environmental-
                                                                                                         discount rates. In November 2023, OMB finalized         about $360 billion and an EAV of about
                                                 economics/scghg-tsd-peer-review.                        an update to Circular A–4, in which it                  $19 billion.
                                                   1011 U.S. EPA (2023). Supplementary Material for      recommended the general application of a 2 percent         At a 7 percent discount rate, the final
                                                 the Regulatory Impact Analysis for the Final            discount rate to costs and benefits (subject to
                                                 Rulemaking, Standards of Performance for New,           regular updates), as well as the consideration of the
                                                                                                                                                                 rules are expected to generate projected
                                                 Reconstructed, and Modified Sources and                 shadow price of capital when costs or benefits are      PV of monetized health benefits of about
                                                 Emissions Guidelines for Existing Sources: Oil and      likely to accrue to capital (OMB 2023). Because the     $59 billion, with an EAV of about $5.2
                                                 Natural Gas Sector Climate Review, ‘‘Report on the      SC–CO2 estimates reflect net climate change             billion. Climate benefits remain
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                                                 Social Cost of Greenhouse Gases: Estimates              damages in terms of reduced consumption (or
                                                 Incorporating Recent Scientific Advances.’’             monetary consumption equivalents), the use of the
                                                                                                                                                                 discounted at 2 percent in this net
                                                 Washington, DC: U.S. EPA.                               social rate of return on capital (7 percent under       benefits analysis. Thus, the final rules
                                                   1012 U.S. EPA. (2023). Estimating PM - and
                                                                                        2.5              OMB Circular A–4 (2003)) to discount damages            would generate a PV of monetized
                                                 Ozone-Attributable Health Benefits. Research            estimated in terms of reduced consumption would         benefits of about $330 billion, with an
                                                 Triangle Park, NC: U.S. Environmental Protection        inappropriately underestimate the impacts of
                                                 Agency, Office of Air Quality Planning and              climate change for the purposes of estimating the
                                                                                                                                                                 EAV of about $19 billion discounted at
                                                 Standards, Health and Environmental Impact              SC–CO2. See section 4.2 of the RIA for more             7 percent. The PV of the projected
                                                 Division.                                               discussion.                                             compliance costs are about $7.5 billion,


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                                                 with an EAV of $0.65 billion discounted                 may involve potential EJ concerns if it                  potential EJ concerns will be created or
                                                 at 7 percent. Combining the projected                   could: (1) Create new disproportionate                   mitigated compared to the baseline
                                                 benefits with the projected compliance                  impacts on communities with EJ                           (question 3).
                                                 costs yields a net benefit PV estimate of               concerns; (2) exacerbate existing                          In section 6 of the RIA, we utilize the
                                                 about $320 billion and an EAV of about                  disproportionate impacts on                              two types of analysis to address the
                                                 $19 billion.                                            communities with EJ concerns; or (3)                     three EJ questions by quantitatively
                                                    See section 7 of the RIA for additional              present opportunities to address                         evaluating: (1) the proximity of affected
                                                 information on the estimated net                        existing disproportionate impacts on                     facilities to populations of potential EJ
                                                 benefits of these rules.                                communities with EJ concerns through                     concern (section 6.4); and (2) the
                                                                                                         this action under development.                           potential for disproportionate ozone and
                                                 E. Environmental Justice Analytical
                                                                                                           The EPA’s EJ technical guidance                        PM2.5 concentrations in the baseline and
                                                 Considerations and Stakeholder
                                                                                                         states that ‘‘[t]he analysis of potential EJ             concentration changes after rule
                                                 Outreach and Engagement
                                                                                                         concerns for regulatory actions should                   implementation across different
                                                    For this action, the analysis described              address three questions: (1) Are there                   demographic groups on the basis of
                                                 in this section and in the RIA is                       potential EJ concerns associated with                    race, ethnicity, poverty status,
                                                 presented for the purpose of providing                  environmental stressors affected by the                  employment status, health insurance
                                                 the public with an analysis of potential                regulatory action for population groups                  status, life expectancy, redlining, Tribal
                                                 EJ concerns associated with these                       of concern in the baseline? (2) Are there                land, age, sex, educational attainment,
                                                 rulemakings, consistent with E.O.                       potential EJ concerns associated with                    and degree of linguistic isolation
                                                 14096. This analysis did not inform the                 environmental stressors affected by the                  (section 6.5). It is important to note that
                                                 determinations made to support the                      regulatory action for population groups                  due to the corresponding small
                                                 final rules.                                            of concern for the regulatory option(s)                  magnitude of the ozone and PM2.5
                                                    The EPA defines EJ as ‘‘the just                     under consideration? (3) For the                         concentration changes relative to the
                                                 treatment and meaningful involvement                    regulatory option(s) under                               baseline concentrations in each
                                                 of all people regardless of income, race,               consideration, are potential EJ concerns                 modeled future year, these rules are
                                                 color, national origin, Tribal affiliation,             created or mitigated compared to the                     expected to have a small impact on the
                                                 or disability, in agency decision-making                baseline?’’ 1016                                         distribution of exposures across each
                                                 and other Federal activities that affect                  To address these questions in the                      demographic group. Each of these
                                                 human health and the environment so                     context of these final rules, the EPA                    analyses should be considered
                                                 that people: (i) Are fully protected from               developed a unique analytical approach                   independently of each other as each was
                                                 disproportionate and adverse human                      that considers the purpose and specifics                 performed to answer separate questions
                                                 health and environmental effects                        of these rulemakings, as well as the                     and is associated with unique
                                                 (including risks) and hazards, including                nature of known and potential                            limitations and uncertainties.
                                                 those related to climate change, the                    disproportionate and adverse exposures
                                                 cumulative impacts of environmental                                                                              a. Proximity Analyses
                                                                                                         and impacts. However, due to data
                                                 and other burdens, and the legacy of                    limitations, it is possible that our                        Baseline demographic proximity
                                                 racism or other structural or systemic                  analysis failed to identify disparities                  analyses can be relevant for identifying
                                                 barriers; and (ii) have equitable access to             that may exist, such as potential EJ                     populations that may be exposed to
                                                 a healthy, sustainable, and resilient                   characteristics (e.g., residence of                      local environmental stressors, such as
                                                 environment in which to live, play,                     historically redlined areas),                            local NO2 and SO2 emitted from affected
                                                 work, learn, grow, worship, and engage                  environmental impacts (e.g., other                       sources in these final rules, traffic, or
                                                 in cultural and subsistence                             ozone metrics), and more granular                        noise. The Agency has conducted a
                                                 practices.’’ 1014 In recognizing that                   spatial resolutions (e.g., neighborhood                  demographic analysis of the populations
                                                 particular communities of EJ concern                    scale) that were not evaluated. Also due                 living near facilities impacted by these
                                                 often bear an unequal burden of                         to data and resource limitations, we                     rules including 114 facilities for which
                                                 environmental harms and risks, the EPA                  discuss climate EJ impacts of this action                the EPA is unaware of existing
                                                 continues to consider ways of protecting                qualitatively (section 6.3 of the RIA).                  retirement plans by 2032, 23 facilities (a
                                                 them from adverse public health and                       For these rules, we employ two types                   subset of the 114 facilities) with known
                                                 environmental effects of air pollution.                 of analysis to respond to the previous                   retirement plans between 2033–2040,
                                                                                                         three questions: proximity analyses and                  and 94 facilities (also a subset of the 114
                                                 1. Analytical Considerations                                                                                     facilities) without known retirement
                                                                                                         exposure analyses. Both types of
                                                    For purposes of analyzing regulatory                 analysis can inform whether there are                    plans before 2040. The baseline analysis
                                                 impacts, the EPA relies upon its June                   potential EJ concerns for population                     indicates that on average the
                                                 2016 ‘‘Technical Guidance for Assessing                 groups of concern in the baseline                        populations living within 5 km and 10
                                                 Environmental Justice in Regulatory                     (question 1).1017 In contrast, only the                  km of 114 facilities impacted by the
                                                 Analysis,’’ 1015 which provides                         exposure analyses, which are based on                    final rules without announced
                                                 recommendations that encourage                          future air quality modeling, can inform                  retirement by 2032 have a higher
                                                 analysts to conduct the highest quality                 whether there will be potential EJ                       percentage of the population that is
                                                 analysis feasible, recognizing that data                concerns due to the implementation of                    American Indian, below the Federal
                                                 limitations, time, resource constraints,                the regulatory options under                             poverty level, and below two times the
                                                 and analytical challenges will vary by                  consideration (question 2) and whether                   Federal poverty level than the national
                                                 media and circumstance. The Technical
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                                                                                                                                                                  average. In addition, the population
                                                 Guidance states that a regulatory action                   1016 See https://www.epa.gov/                         living within 50 kilometers of the same
                                                                                                         environmentaljustice/technical-guidance-assessing-       114 facilities has a higher percentage of
                                                   1014 https://www.federalregister.gov/documents/       environmental-justice-regulatory-analysis.               the population that is Black. Relating
                                                 2023/04/26/2023-08955/revitalizing-our-nations-            1017 The baseline for proximity analyses is current
                                                                                                                                                                  these results to EJ question 1, we
                                                 commitment-to-environmental-justice-for-all.            population information, whereas the baseline for
                                                   1015 See https://www.epa.gov/                         ozone exposure analyses are the future years in
                                                                                                                                                                  conclude that there may be potential EJ
                                                 environmentaljustice/technical-guidance-assessing-      which the regulatory options will be implemented         concerns associated with directly
                                                 environmental-justice-regulatory-analysis.              (e.g., 2023 and 2026).                                   emitted pollutants that are affected by


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                                                 the regulatory actions for certain                      and provided at a resolution of 12          with higher life expectancy or with life
                                                 population groups of concern in the                     square kilometers. Additionally, here       expectancy data unavailable, children,
                                                 baseline (question 1). However, as                      we focus on air quality changes due to      and unemployed populations may also
                                                 proximity to affected facilities does not               these rulemakings and infer post-policy     experience disproportionately higher
                                                 capture variation in baseline exposures                 ozone and PM2.5 exposure burden             ozone concentrations than the reference
                                                 across communities, nor does it indicate                impacts. Note, we discuss climate EJ        group. Black populations may also
                                                 that any exposures or impacts will                      impacts of these actions qualitatively      experience disproportionately higher
                                                 occur, these results should not be                      (section 6.3 of the RIA).                   PM2.5 concentrations than the reference
                                                 interpreted as a direct measure of                         Exposure analysis results are            group. Therefore, also in response to
                                                 exposure impact. The full results of the                provided in two formats: aggregated and     question 1, there likely are potential EJ
                                                 demographic analysis can be found in                    distributional. The aggregated results      concerns associated with ozone and
                                                 RIA section 6.4. The methodology and                    provide an overview of potential ozone      PM2.5 exposures affected by the
                                                 the results of the demographic analysis                 exposure differences across populations     regulatory actions for population groups
                                                 for the final rules are presented in a                  at the national- and state-levels, while    of concern in the baseline. However,
                                                 technical report, Analysis of                           the distributional results show detailed    these baseline exposure results have not
                                                 Demographic Factors for Populations                     information about ozone concentration       been fully explored and additional
                                                 Living Near Coal-Fired Electric                         changes experienced by everyone             analyses are likely needed to
                                                 Generating Units (EGUs) for the Section                 within each population.                     understand potential implications.
                                                 111 NSPS and Emissions Guidelines—                         These rules are also expected to            Relative to the low baseline levels of
                                                 Final, available in the docket for these                reduce emissions of direct PM2.5, NOX,      exposure modeled in future years for
                                                 actions.                                                and SO2 nationally. Because NOX and         PM2.5 and ozone, exposure analyses
                                                                                                         SO2 are also precursors to secondary        show that the final rules will result in
                                                 b. Exposure Analyses                                    formation of ambient PM2.5 and because      modest but widespread reductions in
                                                    While the exposure analyses can                      NOX is a precursor to ozone formation,      PM2.5 and ozone concentrations in
                                                 respond to all three EJ questions,                      reducing these emissions would impact       virtually all areas of the country,
                                                 correctly interpreting the results                      human exposure. Quantitative ozone          although some limited areas may
                                                 requires an understanding of several                    and PM2.5 exposure analyses can             experience small increases in ozone
                                                 important caveats. First, recognizing the               provide insight into all three EJ           concentrations relative to forecasted
                                                 flexibility afforded to each state in                   questions, so they are performed to         conditions without the rule. The extent
                                                 implementing the final guidelines, the                  evaluate potential disproportionate         of areas experiencing ozone increases
                                                 results below are based on analysis of                  impacts of these rulemakings. Even          varies among snapshot years. Due to the
                                                 several illustrative compliance scenarios               though both the proximity and exposure      small magnitude of the exposure
                                                 which represent potential compliance                    analyses can potentially improve            changes across population
                                                 outcomes in each state. This analysis                   understanding of baseline EJ concerns       demographics associated with these
                                                 does not consider any potential impact                  (question 1), the two should not be         rulemakings relative to the magnitude of
                                                 of the meaningful engagement                            directly compared. This is because the      the baseline disparities, we infer that
                                                 provisions or all of the other protections              demographic proximity analysis does         post-policy EJ ozone and PM2.5
                                                 that are in place that can reduce the                   not include air quality information and     concentration burdens are likely to
                                                 risks of localized emissions increases in               is based on current, not future,            remain after implementation of the
                                                 a manner that is protective of public                   population information.                     regulatory action (question 2).
                                                 health, safety, and the environment. It is                 The baseline analysis of ozone and          Question 3 asks whether potential EJ
                                                 also important to note that the potential               PM2.5 concentration burden responds to      concerns will be created or mitigated
                                                 emissions changes discussed below are                   question 1 from the EPA’s EJ technical      compared to the baseline. Due to the
                                                 relative to a projected baseline, and any               guidance more directly than the             very small magnitude of differences
                                                 localized decreases or increases are                    proximity analyses, as it evaluates a       across demographic population post-
                                                 subject to the uncertainty of the baseline              form of the environmental stressor          policy impacts, we do not find evidence
                                                 projections discussed in section 3.7 of                 targeted by the regulatory action. As       that disparities among communities
                                                 the RIA. This uncertainty becomes                       discussed in the RIA, our analysis          with EJ concerns will be exacerbated or
                                                 increasingly relevant in later years in                 indicates that baseline ozone and PM2.5     mitigated by the regulatory alternatives
                                                 which baseline modeling projects                        concentration will decline substantially    under consideration regarding PM2.5
                                                 substantial reductions in emissions                     relative to today’s levels for all          exposures in all future years evaluated
                                                 relative to today. Furthermore, several                 demographic groups in all future            and ozone exposures for most
                                                 additional caveats should be noted that                 modeled years, and these baseline levels    demographic groups in the future years
                                                 are specific to the exposure analysis. For              of ozone and PM2.5 can be considered to     evaluated. In 2035, under the
                                                 example, the air pollutant exposure                     be relatively low. However, there are       illustrative compliance scenarios
                                                 metrics are limited to those used in the                differences in exposure among               analyzed, it is possible that Asian
                                                 benefits assessment. For ozone, that is                 demographic groups within these             populations, Hispanic populations, and
                                                 the maximum daily 8-hour average,                       relatively low levels of baseline           those linguistically isolated, and those
                                                 averaged across the April through                       exposure. Baseline PM2.5 and ozone          living on Tribal land may experience a
                                                 September warm season (AS–MO3) and                      exposure analyses show that certain         slight exacerbation of ozone exposure
                                                 for PM2.5 that is the annual average. This              populations, such as residents of           disparities at the national level
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                                                 ozone metric likely smooths potential                   redlined census tracts, those               (question 3), compared to baseline
                                                 daily ozone gradients and is not directly               linguistically isolated, Hispanic           ozone levels. Additionally at the
                                                 relatable to the NAAQS whereas the                      populations, Asian populations, and         national level, those living on Tribal
                                                 PM2.5 metric is more similar to the long-               those without a high school diploma         land may experience a slight
                                                 term PM2.5 standard. The air quality                    may experience higher ozone and PM2.5       exacerbation of ozone exposure
                                                 modeling estimates are also based on                    exposures as compared to the national       disparities in 2040 and a slight
                                                 state and fuel level emission data paired               average. American Indian populations,       mitigation of ozone exposure disparities
                                                 with facility-level baseline emissions                  residents of Tribal Lands, populations      in 2028 and 2030. At the state level,


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                                                 ozone exposure disparities may be                       F. Grid Reliability Considerations and        solicited additional comment on
                                                 either mitigated or exacerbated for                     Reliability-Related Mechanisms                reliability-related mechanisms as part of
                                                 certain demographic groups, also to a                                                                 the November 2023 supplemental
                                                                                                         1. Overview
                                                 small degree. As discussed above, it is                                                               proposed rule.
                                                 important to note that this analysis does                  The Federal Energy Regulatory                 Comment: Several comments from
                                                 not consider any potential impact of the                Commission (FERC) is the federal              grid operators raised the concern that
                                                 meaningful engagement provisions or                     agency with vested authority to ensure        the proposed rules have the potential to
                                                 all of the other protections that are in                reliability of the bulk power system (16      trigger material negative impacts to grid
                                                 place that can reduce the risks of                      U.S.C. 824o). FERC oversees and               reliability. Concerns coalesced around
                                                 localized emissions increases in a                      approves reliability standards that are       the loss of firm dispatchable assets
                                                                                                         developed by NERC and then become             which they view as outpacing the
                                                 manner that is protective of public
                                                                                                         mandatory for all owners and operators        development and interconnection of
                                                 health, safety, and the environment.
                                                                                                         of the bulk power system. Regional            new assets that do not possess
                                                 2. Outreach and Engagement                              wholesale energy markets, like RTOs,          commensurate reliability attributes.
                                                                                                         ISOs, public service commissions,             Other commenters maintained that the
                                                   As part of the regulatory development                 balancing authorities, and reliability        proposals included adequate lead times
                                                 process for these rulemakings, and                      coordinators all have reliability related     for reliability planning, and that
                                                 consistent with directives set forth in                 responsibilities. The EPA’s role under        reliability attributes are currently
                                                 multiple Executive Orders, the EPA                      the CAA section 111 is to reduce              sourced by a collection of assets, and as
                                                 conducted extensive outreach with                       emissions of dangerous air pollutants,        such a collection of future assets will be
                                                 interested parties including Tribal                     including those emitted from the              able to provide the requisite reliability
                                                 nations and communities with                            electric power sector. In doing so, it has    attributes. Some commenters also
                                                 environmental justice concerns. This                    a long, and exemplary history of
                                                                                                                                                       asserted that the proposals would
                                                 outreach allowed the EPA to gather                      ensuring its public-health-based
                                                                                                                                                       actually improve transparency around
                                                 information from a variety of viewpoints                emissions standards and guidelines that
                                                                                                                                                       unit-specific decisions, which are often
                                                 while also providing parties with an                    impact the power sector are sensitive to
                                                                                                                                                       not communicated transparently with
                                                 overview of the EPA’s work to reduce                    reliability-related issues and
                                                                                                                                                       adequate notice, leading to a better
                                                 GHG emissions from the power sector.                    constructed in a manner that does not
                                                                                                                                                       reliability planning process.
                                                                                                         interfere with grid operators’
                                                   Prior to the May 2023 proposal, the                                                                    Response: These final rules include a
                                                                                                         responsibility to deliver reliable power.
                                                 EPA opened a public docket for pre-                     The EPA met with many entities with           number of flexibilities and rule
                                                 proposal input.1018 The EPA continued                   responsibility over the reliability of the    adjustments that will accommodate
                                                 to engage with interested parties by                    bulk power system in crafting these           appropriate planning decisions by
                                                 speaking on the EPA National                            final rules to make certain the rules will    affected sources, system planners, and
                                                 Community Engagement call and the                       not impede their ability to ensure            reliability authorities in a way that
                                                 National Tribal Air Association Policy                  reliability of the bulk power system.         allows for the continued reliable
                                                 Update call in September 2022.                          This section outlines the array of            operation of the electric grid. These
                                                 Following publication of the proposal,                  modifications made in these final             final actions also include adjustments
                                                 the EPA hosted two informational                        actions, outlined in section I.G of this      and improvements, with specific
                                                 webinars on June 6 and 7, 2023,                         preamble, that collectively help ensure       provisions related to compliance timing
                                                 specially targeted towards tribal                       that these final actions will not interfere   and system emergencies, that address
                                                 environmental professionals, tribal                     with systems operators’ ability to            reliability concerns. The rules do not
                                                 nations, and communities with                           continue providing reliable power.            interfere with ongoing efforts by key
                                                 environmental justice concerns. The                     Additional to this suite of adjustments,      stakeholders to appropriately plan for
                                                 purpose of these webinars was to                        the EPA is introducing both a short-term      an evolving electric system. The EPA
                                                 provide an overview of the proposal,                    reliability mechanism for emergency           agrees that transparency around unit-
                                                 information on how to effectively                       situations and a reliability assurance        specific planning is of paramount
                                                 engage in the regulatory process and                    mechanism available for states to             importance to enabling systems
                                                 provide the EPA an opportunity to                       include in their state plans for              operators advanced notice to plan for
                                                 answer questions. The EPA held virtual                  additional flexibility. In response to the    continued reliable bulk power
                                                 public hearings on June 13, 14, and 15,                 May 2023 proposed rule, the EPA               operations.
                                                 2023, that allowed the public an                        received extensive comments regarding            The EPA initiated follow-up
                                                 opportunity to present comments and                     grid reliability and resource adequacy        conversations with all balancing
                                                 information regarding the proposed                      from balancing authorities, independent       authorities and systems operators that
                                                 rules.                                                  system operators and regional                 submitted public comments to ensure a
                                                                                                         transmission organizations, state             granular and thorough understanding of
                                                   The EPA recently finalized revisions                  regulators, power companies, and other        all reliability-related concerns raised in
                                                 to the subpart Ba implementing                          stakeholders. The EPA engaged with            response to the proposed rules. In
                                                 regulations requiring states to conduct                 each of these group of commenters to          addition, the EPA solicited additional
                                                 meaningful engagement with pertinent                    garner a granular understanding of their      comment on reliability related
                                                 stakeholders as part of the state plan                  reliability-related concerns.                 mechanisms in the supplemental
                                                 development process. The EPA                                                                          proposal issued in November 2023. The
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                                                                                                         Additionally, the EPA met repeatedly
                                                 underscores the importance of this part                 with technical staff and Commissioners        EPA examined the record carefully and
                                                 of the state plan development process.                  of FERC, DOE, NERC, and other                 responded with a suite of changes to the
                                                 For more detailed information on                        reliability experts during the course of      proposal that, though not always
                                                 meaningful engagement, see section                      this rulemaking. At FERC’s invitation,        explicitly directed at addressing
                                                 X.E.1.b.i of this preamble.                             the EPA participated in FERC’s Annual         concerns raised with respect to
                                                                                                         Reliability Technical Conference on           reliability, nonetheless collectively help
                                                   1018 EPA–HQ–OAR–2022–0723.                            November 9, 2023. Further, the EPA            ensure EPA’s rules will not interfere


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                                                 with grid operators’ responsibilities to                implemented without impairing the                  of this required meaningful engagement,
                                                 provide reliable power.                                 ability of grid operators to deliver               states are strongly encouraged to consult
                                                    As discussed earlier in this preamble,               reliable power. The EPA is nonetheless             with the relevant balancing authorities
                                                 the EPA is finalizing several                           finalizing additional reliability-related          and reliability coordinators for their
                                                 adjustments to provisions in the                        instruments to provide further certainty           affected sources and to share available
                                                 proposed rules that address reliability                 that implementation of these final rules           unit-specific requirements and
                                                 concerns and ensure that these rules                    will not intrude on grid operators’                compliance information in a timely
                                                 provide adequate flexibilities and                      ability to ensure reliability. The short-          fashion. Sharing regulatory
                                                 assurance mechanisms that allow grid                    term reliability mechanism is available            requirements and unit-specific
                                                 operators to continue to fulfill their                  for both new and existing units and is             compliance information with balancing
                                                 responsibilities to maintain the                        designed to provide additional                     authorities and reliability coordinators
                                                 reliability of the bulk-power system.                   flexibility through an alternative                 in a timely manner will promote early
                                                 These adjustments include restructuring                 compliance strategy during acute system            and informed reliability planning.
                                                 the subcategories for coal-fired steam                  emergencies that threaten reliability.             Strong system-planning processes of
                                                 generating EGUs: the EPA is not                         The reliability assurance mechanism                utility transmission companies and
                                                 finalizing the proposed imminent or                     will be available for existing units that          RTOs are among the most important
                                                 near term subcategory structure which                   intend to cease operating, but, for                tools to assure that reliability will not be
                                                 should provide states with a wider                      unforeseen reasons, need to temporarily            adversely affected by regulations.1020 1021
                                                 planning latitude, and units with cease                 remain online to support reliability               A robust planning process that
                                                 operations dates prior to January 1, 2032               beyond the planned cease operation                 recognizes the different roles of states
                                                 are not regulated by this final rule.                   date. This reliability assurance                   and their relevant balancing authorities,
                                                 Importantly, the compliance timeline                    mechanism, which requires a specific               transmission planners, and reliability
                                                 for installing CCS in the long-term                     and adequate showing of reliability                coordinators should help to identify
                                                 subcategory has been extended by an                     need that is satisfactory to the EPA, is           potential resource adequacy or
                                                 additional 2 years. The EPA is not                      intended for circumstances where there             reliability issues early in the state
                                                 finalizing the 30 percent hydrogen co-                  is insufficient time to complete a state           planning process. States will also be
                                                 firing BSER for the intermediate                        plan revision, and it is limited to the            able to address reliability-related issues
                                                 subcategory for new combustion                          amount of time substantiated, which                through a revision in their state plan,
                                                 turbines. These changes facilitate                      may not exceed 1 year. The EPA intends             including to address issues that were
                                                 reliability planning and operations by                  to consult with FERC for advice on                 not foreseen during the state planning
                                                 providing more lead time for CCS                        applications of reliability need that              process.
                                                 installation-related compliance. The                    exceed 6 months. These instruments                    In addition to these measures, DOE
                                                 adjusted scope of these actions also                    will be presumptively approvable,                  has authority pursuant to section 202(c)
                                                 provides additional time for the EPA to                 provided they meet the requirements                of the Federal Power Act to, on its own
                                                 consult with a broad range of                           defined in these emission guidelines, if           motion or by request, order, among
                                                 stakeholders, including grid operators,                 states choose to incorporate them into             other things, the temporary generation
                                                 to deliberate and determine the best way                their plans.                                       of electricity from particular sources in
                                                 to address emissions from existing gas                     Comment: Commenters from industry               certain emergency conditions, including
                                                 turbines while respecting their                         and grid operators expressed support for           during events that would result in a
                                                 contribution to electric reliability in the             the inclusion of a requirement that                shortage of electric energy, when the
                                                 foreseeable future. In addition to these                states include in their state plans a              Secretary of Energy determines that
                                                 adjustments, as detailed in section X.D                 demonstration of consultation with all             doing so will meet the emergency and
                                                 of this preamble, the EPA is offering                   relevant reliability authorities to                serve the public interest. An affected
                                                 states a suite of voluntary compliance                  facilitate planning. Other commenters              source operating pursuant to such an
                                                 flexibilities that could be used to                     asserted that the proposals included               order is deemed not to be operating in
                                                 address reliability concerns. These                     sufficient coordination with reliability           violation of its environmental
                                                 compliance flexibilities include                        authorities, through the Initial Reporting         requirements. Such orders may be
                                                 clarifying the circumstances under                                                                         issued for 90 days and may be extended
                                                                                                         Milestone Status Report requirements.
                                                 which it may be appropriate for states                     Response: The EPA agrees that                   in 90-day increments after consultation
                                                 to employ RULOF to establish source                     planning for reliability is critically             with EPA. DOE has historically issued
                                                 specific standards of performance and                   important. Indeed, all stakeholders                section 202(c) orders at the request of
                                                 compliance schedules for affected EGUs                  generally agree that effective planning is         electric generators and grid operators
                                                 to address reliability, allowing emission               essential to ensuring electric reliability         such as RTOs in order to enable the
                                                 averaging, trading, and unit-specific                   is maintained.1019 State planning,                 supply of additional generation in times
                                                 mass-based compliance mechanisms for                                                                       of expected emergency-related
                                                                                                         including coordination and
                                                 certain subcategories—provided that                                                                        generation shortfalls.
                                                                                                         transparency across jurisdictions, is                 Congress provided section 202(c) as
                                                 they achieve an equivalent level of
                                                                                                         particularly important given that state            the primary mechanism to ensure that
                                                 emission reduction consistent with the
                                                                                                         plans in one jurisdiction can impact the           when generation is needed to meet an
                                                 application of individual rate-based
                                                                                                         reliability and resource adequacy of               emergency, environmental protections
                                                 standards of performance, and, for
                                                                                                         other system operators. The EPA is                 will not prevent a source from meeting
                                                 certain mechanisms, that they include a
                                                                                                         finalizing, as part of the state plan
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                                                 backstop emission rate, and offering a                                                                     that need. To date, section 202(c) has
                                                                                                         development process, that states are               worked well, allowing, for example,
                                                 compliance date extension for affected
                                                                                                         required to conduct meaningful
                                                 new and existing EGUs that encounter
                                                 unanticipated delays with control                       engagement with stakeholders. As part                1020 ‘‘Electric System Reliability and EPA

                                                 technology implementation.                                                                                 Regulation of GHG Emissions from Power Plants:
                                                                                                            1019 ‘‘Electric System Reliability and EPA      2023,’’ Susan Tierney, November 7, 2023.
                                                    The EPA believes the adjustments                     Regulation of GHG Emissions from Power Plants:       1021 ‘‘Modernizing Governance: Key to Electric
                                                 made to the final rules outlined above                  2023,’’ Susan Tierney, Analysis Group, November    Grid Reliability’’, Kleinman Center for Energy
                                                 are sufficient to ensure the rules can be               7, 2023.                                           Policy, University of Pennsylvania, March 2024.



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                                                 additional generation to come online to                 adequacy needs. Additionally, the EPA                    crafted to deliver significant public
                                                 meet demand in the California                           performed a variety of other sensitivity                 health benefits while not impairing the
                                                 Independent System Operator and PJM                     analyses including an examination of                     ability of grid operators to ensure
                                                 territories in 2022.1022 Section 202(c)                 higher electricity demand (many areas                    reliable power.1026 The entities
                                                 has also been used to allow generators                  are reporting accelerated load growth                    responsible for ensuring reliability,
                                                 to remain online pending completion of                  forecasts due to data centers, increased                 which encompass electric utilities,
                                                 infrastructure needed to facilitate                     manufacturing, crypto currency,                          RTOs and ISOs, reliability coordinators,
                                                 reliable replacement of those generators.               electrification and other factors) and the               other grid operators, utility and non-
                                                 The EPA continues to believe that                       impact of the EPA’s additional                           utility energy companies, and Federal
                                                 section 202(c) is an effective mechanism                regulatory actions affecting the power                   and state regulators, have also
                                                 for meeting the purpose of ensuring that                sector. These sensitivity analyses                       historically met challenges in navigating
                                                 all physically available generation will                indicate that, in the context of higher                  power sector environmental obligations
                                                 be available as needed to meet an                       demand and other pending power sector                    while maintaining reliability.1027
                                                 emergency situation, regardless of                      rules, the industry has available
                                                                                                                                                                  2. Compliance Flexibilities for New and
                                                 environmental regulatory constraints.                   pathways to comply with this rule that
                                                                                                                                                                  Existing Affected EGUs
                                                 Given the heightened concerns about                     respect NERC reliability considerations
                                                 reliability expressed by commenters in                  and constraints. These results are                          These final rules include three key
                                                 the context of this rule and ongoing                    detailed in the technical memoranda in                   compliance flexibilities for new and
                                                 changes in the electricity sector,                      the docket titled, IPM Sensitivity Runs                  existing sources and reliability
                                                 however, this final action includes an                  and Resource Adequacy Analysis:                          coordinators so that they can continue
                                                 additional supplemental short-term                      Vehicle Rules, Final 111 EGU Rules,                      to plan for the reliable operation of the
                                                 reliability mechanism that states may                   ELG, and MATS.                                           electric system; RULOF, emissions
                                                 elect to include in their state plans.                    The EPA has carefully examined all                     averaging and trading, and compliance
                                                 States that adopt this mechanism could                  comments related to reliability that were                extensions of up to 1 year for units
                                                 make it available for sources to use                    submitted during the public comment                      installing control technology. As
                                                 without needing action by DOE under                     period for the proposal and for the                      discussed in section X.C.2 of this
                                                 section 202(c). Of course, section 202(c)               supplemental notice. The Agency has                      preamble, states may use the RULOF
                                                 would continue to be available for                      engaged in dialogue with each of the                     provisions to address circumstances in
                                                 sources subject to this rule for                        balancing authorities regarding the                      which reliability or resource adequacy
                                                 emergency situations where EPA’s                        content of their submitted comments.                     is a concern. Use of RULOF may be
                                                 short-term reliability mechanism would                  Based on this extensive engagement and                   appropriate where reliability or resource
                                                 not apply.                                              consultation, the Agency’s analysis of                   adequacy considerations for a particular
                                                    Many electric reliability and bulk-                  the impacts of these rules, and the                      EGU are fundamentally different from
                                                 power system authorities, including                     various features of this rule that will                  those considered when developing these
                                                 FERC and the regulated wholesale                        work in tandem to ensure the standards                   emission guidelines, which may make it
                                                 markets, are actively engaged in                        and emission guidelines finalized here                   unreasonable for an affected EGU to
                                                 activities to ensure the reliability of the             are achievable and can respond to future                 comply with a standard of performance
                                                 transmission grid, while paying careful                 reliability and resource adequacy needs,                 by the prescribed date. Under these
                                                 attention to the changing resource mix                  the EPA has concluded these final rules                  circumstances, the state may choose to
                                                 and the ongoing trends in the power                     will not interfere with grid operators’                  particularize the compliance obligations
                                                 sector.1023 1024 There are multiple                     ability to continue delivering reliable                  for the affected EGU in order to address
                                                 agencies and entities that have some                    power.                                                   the reliability or resource adequacy
                                                 authority and responsibility to ensure                    The EPA received a range of opinions                   concern. As explained in section X.C.2,
                                                 electric reliability. These include state               during the comment process, and also                     the EPA believes any adjustments that
                                                 utility commissions, balancing                          during FERC’s Annual Reliability                         are needed will take the form of
                                                 authorities, reliability coordinators,                  Conference, some of which expressed                      different compliance timelines. RULOF
                                                 DOE, FERC, and NERC. The EPA’s                          that the proposed rule could provide a                   is relevant at the stage of establishing
                                                 central mission is to protect human                     net benefit to reliability planning given                standards of performance and
                                                 health and the environment and the                      the enhanced visibility into unit-                       compliance schedules to affected EGUs
                                                 EPA does not have direct authority or                   specific compliance plans.1025 This                      as a state plan is being developed or
                                                 responsibility to ensure electric                       section discusses the additional                         revised.
                                                 reliability. Still, the EPA believes                    compliance flexibilities and reliability                    States have the ability to use emission
                                                 reliability of the bulk power system is                 instruments that have been included in                   averaging or trading, as well as unit-
                                                 of paramount importance, and has                        these final rules.                                       specific mass-based compliance, as
                                                 included additional measures in these                     The EPA has carefully considered the                   described in section X.D of this
                                                 final actions that are delineated                       importance of reliability of the bulk-                   preamble, which may also provide
                                                 throughout this section, evaluated the                  power system in developing these final                   reliability-related benefits. The use of
                                                 resource adequacy implications in the                   rules. Stakeholders have recognized the                  these alternative compliance flexibilities
                                                 final TSD, Resource Adequacy Analysis,                  EPA’s long and successful history of                     is not required, but states may employ
                                                 and conducted capacity expansion                        ensuring its power sector rules are                      these flexibilities, provided they
                                                 modeling of the final rules in a manner                                                                          demonstrate that their programs achieve
                                                                                                                                                                  an equivalent level of emission
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                                                                                                           1025 ‘‘In the current environment, grid operators
                                                 that takes into account resource
                                                                                                         are unsure about when resources may retire,              reduction with unit-specific application
                                                                                                         increasing uncertainty and making planning harder.
                                                   1022 DOE. DOE’s Use of Federal Power Act
                                                                                                         The proposed rules have long timelines for
                                                 Emergency Authority. https://www.energy.gov/            enactment, giving states, utilities, and grid
                                                                                                                                                                    1026 ‘‘Electric System Reliability and EPA

                                                 ceser/does-use-federal-power-act-emergency-             operators plenty of time to plan for the transition.’’   Regulation of GHG Emissions from Power Plants,’’
                                                 authority.                                              From ‘‘Prepared Statement of Ric O’Connell               Susan Tierney, November 7, 2023.
                                                   1023 See Resource Adequacy Analysis document          Executive Director, GridLab,’’ Testimony before            1027 ‘‘Greenhouse Gas Emission Reductions From

                                                 for further analysis and exploration of these           FERC Annual Reliability Technical Conference on          Existing Power Plants: Options to Ensure Electric
                                                 important elements.                                     November 9, 2023.                                        System Reliability,’’ Susan Tierney, May 2014.



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                                                 of rate-based standards of performance                  documenting the basis for the                         duration emergency grid situations.
                                                 and apply requirements relevant to the                  extension.1028 Any delay in                           Some commenters requested a
                                                 particular flexibility, as specified in                 implementation that will necessitate a                mechanism that is distinct from the
                                                 section X.D. These compliance                           compliance date extension of more than                process established by DOE’s emergency
                                                 flexibilities are voluntary, and states                 1 year must be done through a state plan              authority under the Federal Power Act
                                                 may choose whether to allow their use                   revision to adjust the compliance                     (section 202(c)), whereby DOE is
                                                 in state plans, subject to certain                      schedule using RULOF as a basis. See                  required by the terms of section 202(c)
                                                 conditions. However, states may find                    section X.C.2 of this preamble for                    to issue orders tailored to best meet
                                                 that the reliability-specific adjustments               information on RULOF.                                 particularized emergency
                                                 discussed below provide sufficient                        A similar 1-year compliance date                    circumstances.1029 Other commenters
                                                 flexibility in lieu of the mechanisms                   extension flexibility for units                       highlighted the numerous rule
                                                 described in section X.D.                               implementing control technologies that                flexibilities that were designed to
                                                    States may incorporate into their state              encounter a delay outside of the owner                accommodate reliability concerns and
                                                 plans a mechanism that allows                           or operator’s control which prevents the              emergency conditions and indicated
                                                 compliance date extensions up to 1 year                 source from meeting compliance                        that the EPA’s rule need not overly
                                                 for an existing affected EGU that is in                 obligations is also available to certain              accommodate reliability and resource
                                                 the process of installing a control                     new sources, which are directly                       adequacy concerns since the primary
                                                 technology to meet its standard of                      regulated by the EPA. This is described               burden for developing solutions falls to
                                                 performance in the state plan, under                    in section VIII.N of this preamble.                   industry, grid operators, reliability
                                                 specific circumstances, a detailed                                                                            coordinators, state planners, and other
                                                 discussion can be found in section                      3. Reliability Mechanisms                             stakeholders. These commenters
                                                 X.C.1.d of this document. As discussed                     While the EPA believes the significant             indicated that it is important to consider
                                                 in section VIII.N of this document, the                 structural adjustments and compliance                 any trade-offs with additional flexibility
                                                 Administrator may provide a similar                     flexibilities that are discussed above are            measures, in particular any trade-offs
                                                 extension for new combustion turbines.                  adequate to ensure that the                           with emissions implications.
                                                 The state or Administrator may allow                    implementation of these final rules does                 Response: The EPA agrees with the
                                                 the extension of the compliance date if                 not interfere with systems operators’                 latter commenters and expects that the
                                                 the source demonstrates a delay in the                  ability to ensure electric reliability, the           broader adjustments in the final rules,
                                                 construction or implementation of the                   EPA is also finalizing two reliability-               in addition to the compliance
                                                 control technology resulting from causes                related mechanisms as additional                      flexibilities offered to states in section
                                                 that are entirely outside the owner or                  safeguards. These mechanisms include a                X.D of this document, along with DOE’s
                                                 operator’s control. These may include                   short-term reliability mechanism for                  pre-existing section 202(c) authority, are
                                                 delays in obtaining a final construction                unexpected and short-duration                         sufficient to enable an affected unit to
                                                 permit, after a timely and complete                     emergency events, and a reliability                   respond to emergencies as needed and
                                                 application, or delays due to                           assurance mechanism for units with                    still comply with the annual
                                                 documented supply chain issues; for                     retirement dates that are enforceable in              requirements of these actions. As an
                                                 example, a backlog for step-up                          the state plan, provided there is a                   additional safeguard measure, the EPA
                                                 transformer equipment. This                             documented and verified reliability                   is finalizing a short-term reliability
                                                 compliance date extension is not                        concern. The EPA notes that these                     mechanism to assure that these final
                                                 expressly offered for reliability                       mechanisms must be included in the                    actions will not interfere with grid
                                                 purposes, but rather as a flexibility to                state plan to be utilized by the owners/              operators’ ability to ensure electric
                                                 account for unforeseen and                              operators of existing affected EGUs                   reliability. More specifically, the EPA
                                                 uncontrollable lags in construction or                  subject to requirements in the state plan.            has determined that some
                                                 implementation of control technology to                 Sections XII.3.a, and XII.3.b of this                 accommodation during grid
                                                 meet the unit’s standard of performance,                preamble describe presumptively                       emergencies, which are rare, is
                                                 in instances where a source can                         approvable methodologies for                          warranted in order to provide some
                                                 demonstrate efforts to comply by the                    incorporating these mechanisms into a                 additional flexibility to help system
                                                 required timeframes as part of these                    state plan.                                           planners, affected sources, state
                                                 final actions, including evidence that it                                                                     regulators, and reliability authorities
                                                 took the necessary steps to comply with                 a. Short-Term Reliability Mechanism                   meet demand and avert load shed when
                                                 sufficient lead time to meet the                           Comment: Multiple commenters                       such emergencies occur. The EPA
                                                 compliance schedule absent unusual                      requested an explicit short-term                      believes this additional flexibility is
                                                 problems, and that those problems are                   mechanism which could accommodate                     warranted, given the projected increase
                                                 entirely outside the source’s control and               emergency situations and provide                      in extreme weather events exacerbated
                                                 the source’s actions or inactions did not               additional flexibility to affected sources.           by climate change.
                                                 contribute to the delay. This potential                 Commenters requested that the                            A short-term reliability mechanism
                                                 extension can help ensure that sufficient               mechanism include additional rule                     for new sources is included in the final
                                                 capacity is available by providing                      flexibilities that could potentially be               NSPS. Similarly, a short-term
                                                 additional time for an affected EGU to                  used during emergency conditions that                 mechanism is offered to states to
                                                 operate for a specific amount of time                   would help reliability authorities avert              include in state plans for use with
                                                 while it resolves delays related to                     a load shed event. A mechanism would                  existing sources during specific and
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                                                 installation of pollution controls.                     function as an additional automated                   defined periods of time where the grid
                                                    If the owner/operator of an affected                 flexibility measure with a clearly                    is under extreme strain. The short-term
                                                 EGU encounters a delay outside of the                   articulated emergency provision for                   reliability mechanism is linked to
                                                 owner or operator’s control, and which                  affected sources to respond to short-                 specific conditions under which the
                                                 prevents the source from meeting its                                                                          system operators may not have
                                                 compliance obligations, the affected                      1028 Assuming the affected EGU is in a state that
                                                 EGU must follow the procedures                          has included the extension mechanism in its             1029 https://www.energy.gov/ceser/does-use-

                                                 outlined in the state plan for                          approved plan.                                        federal-power-act-emergency-authority.



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                                                 sufficient available generation to call                 NERC reliability standard articulates                  Other emergency events (EEA–1 and
                                                 upon to meet electric demand, and                       roles and responsibilities, defines                 EEA–2) are more frequent, although also
                                                 various reliability authorities have                    notification processes for reliability              relatively rare, based upon recent data.
                                                 issued emergency alerts to rectify the                  coordinators and operators, requires a              Data for the largest ISOs and RTOs
                                                 situation. These emergency alerts are                   plan for grid management practices, and             indicate that EEA–1 and EEA–2 can
                                                 most often associated with extreme                      specifies a compliance monitoring                   occur several times over a year, for
                                                 weather events where electric demand                    process. Notably, the standard defines              relatively brief periods in most
                                                 increases and there are often                           three levels of Energy Emergency Alerts             instances, in response to developing
                                                 unexpected transmission and generation                  (EEA) that guide reliability coordinators           reliability emergencies.1035 Across the
                                                 outages. Recent examples of short-term                  during energy emergencies and assist                country, reliability coordinators (RCs)
                                                 emergency alert conditions include                      with communicating information across               are charged by NERC to implement
                                                 Winter Storm Uri in 2021 and Winter                     the system and with the public to avert             reliability standards and issue EEAs.1036
                                                 Storm Elliot in 2022, both of which                     potential disruptions:                              The RCs monitor, track, and issue alerts
                                                 included unanticipated generator                           • EEA–1: All available generation                according to the NERC alert protocol.
                                                 outages and triggered emergency grid                    resources in use—The Balancing                      This data is also generally supposed to
                                                 operations. The EPA expects that the                    Authority is experiencing conditions                be publicly available on each reliability
                                                 broader adjustments to the final rules, in              where all available generation resources            coordinator’s website, which documents
                                                 combination with the compliance                         are committed to meet firm load, firm               the frequency and duration of
                                                 flexibilities described in section XII.F.2              transactions, and reserve commitments,              emergency alerts. However, while there
                                                 of this document, are sufficient to                     and is concerned about sustaining its               are requirements to report events where
                                                 enable an affected unit to respond to                   required Contingency Reserves.                      EEA–3 was declared to NERC 1037 and
                                                 grid emergencies as needed and still                       • EEA–2: Load management                         NERC publicly tracks use of EEA–3,1038
                                                 comply with the annual requirements of                  procedures in effect—The Balancing                  EEA–1 events are the least likely to be
                                                 these actions. Nonetheless, the EPA is                  Authority is no longer able to provide              documented consistently, for example,
                                                 finalizing this short-term reliability                  its expected energy requirements and is             there is no similar publicly available
                                                 mechanism, available to states to                       an energy deficient Balancing Authority.            tracking and reporting for use of EEA–
                                                 include at their discretion, to provide an              An energy deficient Balancing Authority             1 alerts in a centralized and consistent
                                                 additional layer of assurance that these                has implemented its Operating Plan(s)               manner.
                                                 final actions will not interfere with the               to mitigate Emergencies. An energy                     Energy Emergency Alerts also have an
                                                 grid operator’s ability to ensure electric              deficient Balancing Authority is still              important geographic and/or regional
                                                 reliability.                                            able to maintain its minimum                        component, since most emergencies
                                                    A short-term reliability mechanism is                Contingency Reserve requirement.                    affect a particular geographic zone, and
                                                 included for new sources in the final                      • EEA–3: Firm Load interruption is               hence a smaller number of generators
                                                 NSPS, and additionally offered to states                imminent or in progress—The energy                  are subject to the alert in most instances.
                                                 to include in state plans for existing                  deficient Balancing Authority is unable
                                                 sources. The mechanism provides                         to meet minimum Contingency Reserve                    1035 Since 2021, ERCOT issued two EEA–1 events,

                                                 affected sources additional flexibility                                                                     two EEA–2 events, and one EEA–3 event (all for
                                                                                                         requirements.                                       events occurring over an 8-hour period one day in
                                                 during rare and extreme emergency                          The alerts are typically issued in               2021, and for 1 hour in 2023). In SPP, since 2021,
                                                 events, when all available generators are               reaction to emergencies as they develop,            there were eight EEA–1 events, five EEA–2 events,
                                                 called upon to meet electric demand.                    are generally rare, and most often have             and two EEA–3 events (occurring over 5 days). The
                                                 For new sources, the mechanism allows                                                                       EEA–1 and EEA–2 events lasted between 1 and 19
                                                                                                         been issued during extreme weather                  hours. In MISO, there was a 2-day event in 2021
                                                 sources to calculate applicability and                  events, such as hurricanes, cold weather            that resulted in an EEA magnitude 1, 2, or 3 alert
                                                 compliance without using the emissions                  events, and heatwaves. The most                     through the day and into the next day. One EEA–
                                                 and operational data produced during                    concerning alert is EEA–3, where                    1 event in 2022 lasted for a half hour and an EEA–
                                                 these discrete events, with appropriate                                                                     2 event for 3 hours. In 2023, there was an EEA–2
                                                                                                         interruption of electric service through            event for 9.5 hours. In PJM, no alerts were issued
                                                 documentation.1030 For existing sources,                controlled load shed is imminent for                in 2021. In 2022, roughly a dozen alerts were
                                                 the mechanism allows sources to use                     some areas, although load shed does not             issued. Some lasted minutes, while others lasted
                                                 the baseline emission rate during these                 necessarily occur under every EEA–3                 half a day. One event stretched for 3 days. There
                                                 discrete events, also with appropriate                                                                      were two alerts issued in 2023, lasting roughly 3
                                                                                                         declaration. According to NERC, 25                  and 1 hours each. While this data is not
                                                 documentation.1031                                      EEA–3s were declared in 2022, an                    comprehensive, it is indicative of the frequency and
                                                    The mechanism is only applicable                     increase of 15 EEA–3 declarations over              duration of emergency events that fall under the
                                                 during an Energy Emergency Alert level                  2021. Nine of the EEA–3 declarations in             NERC reliability standard alert process. See: ERCOT
                                                 2 or 3 as defined by NERC Reliability                                                                       Market Notices, SPP Historical Advisories and
                                                                                                         2022 included shedding of firm load.                Alerts, https://www.oasis.oati.com/SWPP/; MISO
                                                 Standard EOP–011–2 or its successor,                    While the number of declarations                    Maximum Generation Emergency Declarations
                                                 which requires plans and sets                           increased from 2021, the amount of load             (2023), https://www.oasis.oati.com/woa/docs/
                                                 procedures for reliability entities to help             that was shed during the 2022 events                MISO/MISOdocs/Capacity_Emergency_Historical_
                                                 avert disruptions in electric service                                                                       Information.pdf; and MISO Maximum Generation
                                                                                                         was less than 10 percent of the previous            Emergency Declarations (2023), https://
                                                 during emergency conditions.1032 The                    year.1033 All of the EEA–3 declarations             www.oasis.oati.com/woa/docs/MISO/MISOdocs/
                                                                                                         in 2022 were related to extreme weather             Capacity_Emergency_Historical_Information.pdf.
                                                    1030 The performance standard shall be the Phase                                                         See also PJM Emergency Procedures and Postings,
                                                 I standard for the affected new source under the
                                                                                                         impacts, according to NERC.1034                     https://emergencyprocedures.pjm.com/ep/pages/
                                                 NSPS.                                                                                                       dashboard.jsf.
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                                                    1031 The baseline emission rate for existing         ReliabilityStandards.aspx, and NERC Emergency          1036 NERC Organization Certification (January

                                                 sources is the CO2 mass emissions and                   Preparedness and Operations (Reliability Standard   2024). https://www.nerc.com/pa/comp/Pages/
                                                 corresponding electricity generation data for a given   EOP–011–2). https://www.nerc.com/pa/Stand/          Registration.aspx.
                                                 affected EGU from any continuous 8-quarter period       Reliability%20Standards/EOP-011-2.pdf.                 1037 https://www.nerc.com/comm/PC/

                                                 from 40 CFR part 75 reporting within the 5-year           1033 2023 State of Reliability Technical          Performance%20Analysis%20
                                                 period immediately prior to the date the final rule     Assessment, NERC. https://www.nerc.com/pa/          Subcommittee%20PAS%202013/M-11_Energy_
                                                 is published in the Federal Register.                   RAPA/PA/Performance%20Analysis%20DL/NERC_           Emergency_Alerts.pdf.
                                                    1032 NERC Reliability Standards, https://            SOR_2023_Technical_Assessment.pdf.                     1038 https://www.nerc.com/pa/RAPA/ri/Pages/

                                                 www.nerc.com/pa/Stand/Pages/                              1034 Ibid.                                        EEA2andEEA3.aspx.



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                                                 During extreme and large-scale weather                  standard of performance, or a unit’s                   to deploy it more routinely if there is
                                                 events, the alerts often cover a much                   baseline emission performance rate,                    some operational or cost relief
                                                 broader geographic area, such as when                   when demonstrating compliance with                     associated with it. And lastly, the
                                                 Winter Storm Elliott impacted two-                      the final standards, with appropriate                  reporting of EEA–1 is not consistent
                                                 thirds of the lower 48 states and rapidly               documentation. It should be                            throughout the country, and there is
                                                 intensified into a bomb cyclone in                      emphasized that these final emission                   some degree of opaqueness associated
                                                 December 2022. Many areas declared                      guidelines require compliance with the                 with the frequency and duration of
                                                 EEAs, and four states experienced                       standards of performance on an annual                  EEA–1 events, thus making it a less
                                                 operator-controlled load shed and 2.1                   basis (or rolling annual average for new               robust mechanism threshold for
                                                 million customers experienced power                     sources), as opposed to a shorter period               purposes of aligning it with the
                                                 outages.1039 When these events occur, a                 such as hourly, daily, or monthly. This                requirements of this final action. For
                                                 much larger group of affected sources                   relatively long compliance period                      these reasons, the EPA believes that
                                                 would be potentially covered.1040 It                    provides significant flexibility for                   EEA–2 and EEA–3 are the appropriate
                                                 should be noted that issuance of EEA’s                  sources that face circumstances whereby                threshold for inclusion in the short-term
                                                 is not just dependent on a generator’s                  their emission performance may change                  reliability mechanism and better
                                                 availability, but also, generation                      temporarily due to various factors,                    represent rare or truly emergency
                                                 deliverability, as transmission                         including in response to grid emergency                conditions in which providing a limited
                                                 constraints due to operational                          conditions. Nonetheless, this                          exemption from a significant
                                                 conditions or planned maintenance                       mechanism is included in these final                   environmental requirement is
                                                 activities can lead to issuance of EEA’s                rules to ensure that affected sources                  justifiable.
                                                 that help ensure system stability and                   have the additional flexibility needed to                 Thus, the EPA believes that the
                                                 reliability.                                            meet demand during emergency                           selection of EEA–2 and EEA–3 are
                                                    The EPA’s assessment is that these                   conditions.1041                                        aligned with the conditions envisioned
                                                 alerts generally occur infrequently, only                 The short-term reliability mechanism                 where an affected source might need
                                                 rarely persist for as long as several days,             references EEA–2 and EEA–3 for several                 temporarily relief, in order to offer
                                                 and are indicative of a grid under strain.              reasons. First, balancing authorities and              reliability coordinators and balancing
                                                 When the alerts are more prolonged,                     grid operators do not necessarily have to              authorities the flexibility needed during
                                                 lasting for several days, they are                      take action under EEA–1 conditions,                    emergency events to maintain
                                                 generally dictated by persistent extreme                such as calling on interruptible loads.                reliability. In addition, as explained
                                                 weather with widespread impacts and a                   As such, there is much less cost or                    earlier, DOE’s 202(c) authority is an
                                                 higher probability of load shed. The                    inconvenience to declaring EEA–1, as a                 additional mechanism that can be
                                                 short-term reliability mechanism offers                 general matter, and EEA–2 and EEA–3                    deployed under certain emergency
                                                 sources that come under a documented                    events are more aligned with events that               conditions, which may occur outside
                                                 level 2 and or 3 EEA, combined with a                   are rare or truly represent emergency                  any EEA–2 or EEA–3 event. These tools,
                                                 documented request from the balancing                   conditions. Second, EEA–1 events are a                 either individually or in combination,
                                                 authority to deviate from its scheduled                 preparatory step in anticipation of                    help provide additional assurance that
                                                 operations, for example, by increasing                  potentially worsening conditions, as                   sources and reliability coordinators can
                                                 output in response to the alert. In other               opposed to an indicator of imminent                    continue to maintain a reliable system.
                                                 words, only the specific units called                   load-shed. Thus, under EEA–1,                             The mechanism is available to states
                                                 upon, or otherwise instructed to                        balancing authorities and grid operators               to include in their state plans in an
                                                 increase output beyond the planned                      do not generally take actions such as                  explicit manner, which will allow
                                                 day-ahead or other near-term expected                   calling for voluntary demand reduction                 additional flexibility to sources in those
                                                 output during an EEA level 2 or 3 event                 or calling on interruptible loads, and                 states during short-term reliability
                                                 are eligible for this flexibility, with                 reliability coordinators are afforded                  emergencies. Inclusion of the reliability
                                                 proper documentation.                                   more discretion for declaring an EEA–1.                mechanism in a state plan must be part
                                                    For new sources, the emissions and/                  As such, there is much less cost or                    of the public comment process that each
                                                 or generation data will not be counted                  inconvenience to declaring EEA–1, as a                 state must undertake. The comment
                                                 when determining applicability and the                  general matter, and providing                          process will afford full notice and the
                                                 use of the sources’ Phase 1 standard of                 operational or cost relief under EEA–1                 opportunity for the public comment,
                                                 performance may be used for                             could create an incentive to deploy it                 and the state plan will need to specify
                                                 compliance determinations through the                   more routinely. In addition, waiving                   alternative performance standards for
                                                 duration of these events, as long as                    significant regulatory requirements                    each specific affected source during
                                                 appropriate documentation is provided.                  before taking actions such as calling for              these events (as defined in this section).
                                                 For existing sources, states may choose                 voluntary demand reductions or calling                 The state plan must clearly indicate the
                                                 to temporarily apply an alternative                     upon contractually arranged                            specific parameters of emergency alerts
                                                                                                         interruptible loads would not be                       cited as part of this mechanism, the
                                                    1039 2023 State of Reliability Technical
                                                                                                         commensurate to the significance of the                relevant reliability coordinators that are
                                                 Assessment, NERC. https://www.nerc.com/pa/                                                                     authorized to issue the alerts in the
                                                 RAPA/PA/Performance%20Analysis%20DL/NERC_               various response actions. Third,
                                                 SOR_2023_Technical_Assessment.pdf.                      reliability coordinators are afforded                  state, and the compliance entities who
                                                    1040 For example, the entire footprint of SPP
                                                                                                         more discretion for declaring an EEA–1,                are affected by this action (i.e., affected
                                                 currently includes roughly 50 individual coal-steam
                                                                                                         and thus may have a potential incentive                sources). These sources must provide
                                                 units, reflecting roughly 19 GW of capacity.
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                                                                                                                                                                documentation of emergencies, as
                                                    1040 For PJM, there are currently roughly 65
                                                                                                           1041 For example, units with installed CCS           indicated in this section. The
                                                 individual coal-steam units with total capacity of
                                                 roughly 30 GW, which could potentially be covered       technology may be called upon to run at full           documentation must include evidence
                                                 by a regionwide alert. These estimates are              capacity (i.e., without the parasitic load of the      of the alert from the issuing entity,
                                                 considerably lower when known and committed             carbon capture equipment). The EPA does not            duration of the alert, and requests by
                                                 coal-steam retirements are excluded. Within the         expect this to be a typical response as units are
                                                 PJM footprint, there are 27 control areas or            economically disincentivized to shut off or bypass
                                                                                                                                                                reliability entities to sources to increase
                                                 transmission zones where emergency procedures           control equipment given the tax credit incentives in   output in response to the emergency.
                                                 are applied.                                            IRC section 45Q.                                       The source must supply this


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                                                 information to the state regulatory                     supplemental notice for small                       finalizing a reliability assurance
                                                 entities and to the EPA when                            businesses, since similar reliability-              mechanism for existing affected sources
                                                 demonstrating compliance with the                       related concerns were raised. This                  that have committed to cease operation
                                                 annual performance standards. This                      section provides additional background,             but, for unforeseen reasons, need to
                                                 demonstration will indicate the discrete                as well as approvable language, for a               temporarily remain online to support
                                                 periods where the alternative standards                 reliability assurance mechanism that                reliability for a discrete amount of time
                                                 or emission rates were in place,                        states have the option to incorporate               beyond their planned date to cease
                                                 coinciding with the emergency alerts.                   into their state plans.                             operations. The primary mechanism to
                                                    The calculation of the emission rate                    Comment: Some commenters                         address reliability-related issues for
                                                 for an affected source in a state that                  cautioned that EPA rules could                      units with cease operations dates is
                                                 adopts the short-term reliability                       exacerbate an ongoing concern that firm,            through the state plan revision process.
                                                 mechanism must adhere to the                            dispatchable assets are exiting the grid            This reliability assurance mechanism is
                                                 following during potential emergency                    at a faster pace than new capacity can              designed to enable extensions for cease
                                                 alerts:                                                 be deployed and that most new electric              operation dates when there is
                                                    • When demonstrating annual                          generating capacity does not provide the            insufficient time to complete a state
                                                 compliance with the standard of                         equivalent reliability attributes as the            plan revision. Under this reliability
                                                 performance, the existing affected                      capacity being retired. Several                     assurance mechanism, which can only
                                                 source may apply its baseline emission                  commenters provided examples where                  be accessed if included in a state plan,
                                                 rate in lieu of its standard of                         units with publicly announced                       units could obtain up to a 1-year
                                                 performance for the hours of operation                  retirement dates were delayed by                    extension of a cease operation date. If a
                                                 that correspond to the duration of the                  reliability entities and coordinators due,          state decides to include the mechanism
                                                 alert; and                                              in part, to the potential for energy                in its state plan, then the mechanism
                                                    • The existing affected EGU would                    shortfalls that might increase reliability          must be disclosed during the public
                                                 demonstrate compliance based on                         risks in the ISO. Many commenters                   comment process that states must
                                                 application of its baseline emission                    cited findings from NERC that                       undertake. Under this reliability
                                                 performance rate standard of                            highlighted the potential for capacity              assurance mechanism, units may obtain
                                                 performance for the documented hours                    shortfalls, some of which are already in            extensions only for the amount of time
                                                 it operated under a revised schedule                    effect in some areas. Other commenters              substantiated through their applications
                                                 due to an EEA 2 or 3.                                   asserted that there is no need for a                and approved by the appropriate EPA
                                                    • For new sources, the EGU would                     reliability assurance mechanism given               Regional Administrator. For extension
                                                 demonstrate compliance based on                         the sufficient lead times in the proposal           requests greater than 6 months, EPA
                                                 application of its phase 1 performance                  and the various flexibilities already               will seek the advice of FERC in these
                                                 standard for the documented hours it                    provided. Some commenters included                  cases and therefore applications must be
                                                 operated under a revised schedule due                   analysis that showed resource adequacy              submitted to FERC, as well as to the
                                                 to an EEA 2 or 3. with the same                         shortfalls over the forecasted time                 appropriate EPA Regional
                                                 documentation listed above.                             horizon were limited and manageable                 Administrator. The date from which an
                                                    Supplemental reporting,                              under the proposal.                                 extension can be given is the
                                                 recordkeeping and documentation                            Response: The EPA believes that the              enforceable date in the state plan,
                                                 required:                                               provisions in these final actions are               including any cease operation dates in
                                                    • Documentation that the EEA was in                  sufficient to accommodate installation              state plans that are prior to January 1,
                                                 effect from the entity issuing the alert,               of pollution controls and reliability               2032.
                                                 along with documentation of the exact                   planning. The EPA has further                          These provisions are similar in part to
                                                 duration of the event; 1042                             articulated the use of RULOF, which                 a reliability-related flexibility provided
                                                    • Documentation from the entity                      can be deployed under the state                     by the EPA for the MATS rule finalized
                                                 issuing the alert that the EEA included                 planning and revision processes, for                in December 2011. On December 16,
                                                 the affected source/region where the                    specific circumstances related to                   2011, the EPA issued a
                                                 unit was located; and                                   reliability. The EPA is also finalizing             memorandum 1045 outlining an
                                                    • Documentation that the source was                  compliance flexibilities that can address           Enforcement Response Policy whereby
                                                 instructed to increase output beyond the                delays to the installation or permitting            affected sources enter into a CAA
                                                 planned day-ahead or other near-term                    of control technologies or associated               section 113(a) administrative order for
                                                 expected output and/or was asked to                     infrastructure that are beyond the                  up to 1 year for narrow circumstances
                                                 remain in operation outside of its                      control of the EGU owner/operator. The              including when the deactivation of a
                                                 scheduled dispatch during emergency                     EPA acknowledges that isolated issues               unit or delay in installation of controls
                                                 conditions from a reliability                           could unfold over the course of the                 due to factors beyond the owner’s/
                                                 coordinator, balancing authority, or                    implementation timeline that could not              operator’s control could have an
                                                 ISO/RTO.                                                have been foreseen during the planning              adverse, localized impact on electric
                                                                                                         process and that may require units to               reliability. Under MATS, affected
                                                 b. Reliability Assurance Mechanism                                                                          sources were required to come into
                                                                                                         remain online beyond their planned
                                                    The EPA gave considerable attention                  cease operation dates to maintain                   compliance with standards within 3
                                                 and thought to comments from all                        reliability.                                        years of the effective date. The EPA
                                                 stakeholders concerning potential                          The EPA does not agree that the final            believed flexibility was warranted given
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                                                 reliability-related considerations. As                  rule will result in long-term adverse               potential constraints around the
                                                 noted earlier, the EPA engaged in                       reliability impacts.1043 1044 Nevertheless,         availability of control equipment and
                                                 extensive stakeholder outreach and                      as an added safeguard, the EPA is                   associated skilled workforce for all
                                                 provided additional opportunity for                                                                         affected sources within the compliance
                                                 public comment as part of the                             1043 ‘‘Bulk System Reliability for Tomorrow’s     window. While a 1-year extension as
                                                                                                         Grid’’ The Brattle Group, December 20, 2023.
                                                   1042 https://www.nerc.com/pa/Stand/                     1044 ‘‘The Future of Resource Adequacy’’ The        1045 https://www.epa.gov/sites/default/files/

                                                 Reliability%20Standards/EOP-011-2.pdf.                  Department of Energy, April 2024.                   documents/mats-erp.pdf.



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                                                 part of CAA section 112(i)(3)(B) was                    up to or after the EGU is scheduled to        supports, in a detailed and reasoned
                                                 broadly available to affected sources,                  retire. For potential situations in which     fashion, anticipated noncompliance
                                                 additional time through an                              system planners, affected sources, and        with a Reliability Standard,
                                                 administrative order was limited to                     reliability authorities identify a            substantiated by specific metrics
                                                 units that were demonstrated to be                      reliability concern, including a potential    described below, should a unit go
                                                 critical for reliability purposes under                 resource adequacy shortfall and an            offline per its established commitment.
                                                 the Enforcement Response Policy.1046                    associated demonstration of increased         To assist in its determination, the EPA
                                                 FERC’s role in this process, which was                  loss of load expectation, more than one       will seek FERC’s advice regarding
                                                 developed with extensive stakeholder                    year in advance, this approach allows         whether analysis of the reliability risk
                                                 input,1047 was to assess the submitted                  for the time needed for states to             and the potential for violation of a
                                                 request to ensure any application was                   undertake a state plan revision process.      mandatory Reliability Standard or
                                                 adequately substantiated with respect to                The EPA recognizes that successful            increased loss of load expectation is
                                                 its reliability-related claims. While                   reliability planning involves many            adequately supported in the filed
                                                 several affected EGUs requested and                     stakeholders and is a complex long-term       documentation.
                                                 were granted a 1-year CAA section                       process. For this reason, the EPA is             This mechanism is for existing
                                                 112(i)(3)(B) compliance extension by                    encouraging states to consult electric        sources that have relied on a
                                                 their permitting authority, OECA only                   reliability authorities during the state      commitment to cease operating for
                                                 issued five administrative orders in                    plan process, as part of the requirements     purposes of these emission guidelines.
                                                 connection to the Enforcement                           under Meaningful Engagement (see              Such reliance might occur in three
                                                 Response Policy.1048 These orders relied                section X.E.1.b.i of this document). The      circumstances: (1) units that plan to
                                                 upon a FERC review of the reliability                   EPA acknowledges that there may be            cease operation before January 1, 2032,
                                                 risks associated with the loss of specific              isolated instances in which the               and that are therefore exempt because
                                                 units, following the accompanying                       deactivation or retirement of a unit          they have elected to have enforceable
                                                 FERC policy memorandum                                  could have impacts on the electric grid       cease operations dates in the state plan;
                                                 guidance.1049 The 2012 MATS Final                       in the future that cannot be predicted or     (2) affected EGUs that choose to employ
                                                 Rule was ultimately implemented over                    planned for with specificity during the       40 percent natural gas co-firing by 2030
                                                 the 2015–2016 timeframe without                         state planning process, wherein all           with a retirement date of no later than
                                                 challenges to grid reliability.                         anticipated reliability-related issues        January 1, 2039; or (3) affected EGUs
                                                    Given the array of adjustments made                  would be analyzed and addressed. This         that have source-specific standards of
                                                 to the rule explained above, and the                    mechanism is not intended for use with        performance based on remaining useful
                                                 ability of states to address unanticipated              units encountering unforeseen delays in       life, pursuant to the RULOF provisions
                                                 changes in circumstances through the                    installation of control technologies, as      outlined in section X.C.2 of this
                                                 state plan revision process, the EPA                    such issues are addressed through             document. In each of these cases, units
                                                 does not anticipate that this mechanism,                compliance flexibilities discussed in         would have a commitment to cease
                                                 if included by states in the planning                   section XII.F.2, or for units subject to an   operating by a date certain. This
                                                 process, will be heavily utilized. This                 obligation to operate that is not based on    mechanism would allow for extensions
                                                 mechanism provides an assurance to                      the reliability criteria included here.       of those dates to address unforeseen
                                                 system planners and affected sources,                                                                 reliability or reserve margin concerns
                                                 which can provide additional time for                      To ensure that reliability claims,         that arise due to changes in
                                                 the state to execute a state plan revision,             following the specific requirements           circumstances after the state plan has
                                                 if needed. For states choosing to include               delineated below, submitted through           been finalized. Therefore, the date from
                                                 this option in their state plans, the                   this mechanism are sufficiently well          which an extension can be given under
                                                 reliability assurance mechanism can                     documented, the EPA is requiring that         this mechanism is the enforceable cease
                                                 provide units up to a 1-year extension                  the unit’s relevant reliability Planning      operations date in the state plan,
                                                 of the scheduled cease operation date                   Authority(ies) certify that the claims are    including those prior to January 1, 2032.
                                                 without a state plan revision, provided                 accurate and that the identified              Only operators/owners of units that
                                                 the reliability need is adequately                      reliability problem both exists and           have satisfied all applicable milestones,
                                                 justified and the extension is limited to               requires the specific relief requested.       metrics, and reporting obligations
                                                 the time for which the reliability need                 Additionally, the EPA intends to seek         outlined in section X.C.3, and section
                                                 is demonstrated. This mechanism can                     the advice of FERC, the Federal agency        X.C.4 for units with cease operation
                                                 accommodate situations when, with                       with authority to oversee the reliability     dates prior to January 1, 2032, would be
                                                 little notice, the relevant reliability                 of the bulk-power system, to incorporate      eligible to use this mechanism.
                                                 authority determines that an EGU                        a review of applications for this                This mechanism creates additional
                                                 scheduled to cease operations is needed                 mechanism that request more than 6            flexibility for specified narrow
                                                 beyond that date, in order to maintain                  months of additional operating time           circumstances for existing sources and
                                                 reliability during the 12 months leading                beyond the existing date by which the         provides additional time and flexibility
                                                                                                         unit is scheduled to cease operations to      to allow a state, if necessary, to submit
                                                   1046 December 16, 2011, memorandum, ‘‘The             resolve a reliability issue. Additional       a plan revision should circumstances
                                                 Environmental Protection Agency’s Enforcement           operating time is available for up to 12      persist. In other words, this mechanism
                                                 Response Policy For Use Of Clean Air Act Section        months from the unit’s cease operation        would be for use only when there is
                                                 113(a) Administrative Orders In Relation To             date through this mechanism. Any relief
                                                 Electric Reliability And The Mercery and Air
                                                                                                                                                       insufficient time to complete a state
                                                                                                         request exceeding 12 months would
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                                                 Toxics Standard’’ from Cynthia Giles, Assistant                                                       plan revision.
                                                 Administrator of the Office of Enforcement and          need to be addressed through the state           States can decide whether to include
                                                 Compliance Assurance.                                   plan revision process outlined in             this extension mechanism in their state
                                                   1047 See FERC Docket No. PL12–1–000.
                                                                                                         section X.E.3. In determining whether to      plans. If included in a state plan, the
                                                   1048 https://www.epa.gov/enforcement/
                                                                                                         grant a request under this mechanism,         mechanism would be triggered when a
                                                 enforcement-response-policy-mercury-and-air-
                                                 toxics-standard-mats.                                   the EPA will assess whether the               unit submits an application to the EPA
                                                   1049 https://www.ferc.gov/sites/default/files/2020-   associated Planning Authority’s               Regional Administrator where it faces
                                                 04/E-5_9.pdf.                                           reliability analysis identifies and           an unforeseen situation that creates a


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                                                 reliability issue should that unit go                   X.E.1.b.ii (for units with cease operation         operations studies, system restoration
                                                 offline consistent with its commitment                  dates before January 1, 2032). No less             studies or plans, operating procedures,
                                                 to cease operations—for example, if the                 than 30 days prior to the compliance               and mitigation plans required by
                                                 reliability coordinator identifies an                   date for applications for extensions of            applicable Reliability Standards as
                                                 unexpected capacity shortfall and                       less than 6 months, and no less than 45            defined by FERC in its May 17, 2012,
                                                 determines that a specific unit(s) in a                 days prior to the compliance date for              Policy Statement issued to clarify
                                                 state(s) is needed to remain operational                applications for extensions exceeding 6            requirements for the reliability
                                                 to satisfy a specific and documented                    months, but no earlier than 12 months              extensions available through MATS.1051
                                                 reliability concern related to a unit’s                 prior to the compliance date (any                     (2) Analysis submitted by the relevant
                                                 planned retirement. This mechanism                      requests over 12 months prior to a                 Planning Authority that verifies the
                                                 would allow extensions, if approved by                  compliance date should be addressed                reliability related claims, or presents a
                                                 the Regional EPA Administrator, for                     through state plan revisions), a written           separate and equivalent analysis,
                                                 units to operate after committed                        complete application to activate the               confirming the asserted reliability risk if
                                                 retirement dates without a full state                   reliability assurance mechanism must               the unit were not in operation, or an
                                                 plan revision. Any existing standard of                 be submitted to the appropriate EPA                explanation of why such a concurrence
                                                 performance finalized in the state plan                 Regional Administrator, with a copy                or separate analysis cannot be provided,
                                                 under RULOF or the natural gas co-                      submitted to the state, including                  and where necessary, any related system
                                                 firing subcategory would remain in                      information responding to each of the              wide or regional analysis. This analysis
                                                 place. States have the discretion to place              seven elements listed as follows.                  or concurrence must include a
                                                 additional requirements on units                          A copy of an extension request                   substantiation for the duration of the
                                                 requesting extensions. The relevant EPA                 exceeding 6 months must also be                    extension request.
                                                 Regional Administrator would approve                    submitted to FERC through a process                   (3) Copies of any written comments
                                                 the reliability assurance application or                and at an office of FERC’s designation,            from third parties regarding the
                                                 reject it if it were found that that the                including any additional specific                  extension.
                                                 reliability assertion was not adequately                information identified by FERC and                    (4) Demonstration from the unit
                                                 supported. Units would need to                          responding to each of the following                owner/operator, grid operator and other
                                                 substantiate the claim that they must                   elements:                                          relevant entities that they have a plan
                                                 remain online for reliability purposes                    (1) Analysis of the reliability risk if          that includes appropriate actions,
                                                 with documentation demonstrating a                      the unit were not in operation                     including bringing on new capacity or
                                                 forecasted reliability failure should the               demonstrating that the continued                   transmission, to resolve the underlying
                                                 unit be taken offline, and this                         operation of the unit after the applicable         reliability issue, including the steps and
                                                 justification would need to be submitted                compliance date is critical to                     timeframes for implementing measures
                                                 to the appropriate EPA Regional                         maintaining electric reliability, such             to rectify the underlying reliability
                                                 Administrator and, for extensions                       that retirement of that unit would trigger         issue.
                                                 exceeding 6 months, also to FERC, as                    one or more of the following: (A) would               (5) Retirement date extensions
                                                 described below. Extensions would be                    result in noncompliance with at least              allowed through this mechanism will be
                                                 granted only for the duration of time                   one of the mandatory reliability                   granted for only the increment of time
                                                 demonstrated through the                                standards approved by FERC, or (B)                 that is substantiated by the reliability
                                                 documentation, not to exceed 12                         would cause the loss of load expectation           need and supporting documentation
                                                 months, inclusive of the 6-month                        to increase beyond the level targeted by           and may not exceed 12 months,
                                                 extension that is available and the                     regional system planners as part of their          inclusive of the 6-month extensions
                                                 relevant Planning Authority(ies) must                   established procedures for that                    available with RTO, ISO, and reliability
                                                 certify that the claims are accurate and                particular region; specifically, this              coordinator certification.
                                                 that the identified reliability problem                 requires a clear demonstration that each              (6) For units affected by these
                                                 both exists and requires the specific                   unit would be needed to maintain the               emissions guidelines, states may choose
                                                 relief requested. Any further extension                 targeted level of resource adequacy.1050           to require the application to identify the
                                                 would require a state plan revision.                    In addition, a projection substantiating           level of operation that is required to
                                                    The process and documentation                        the duration of the requested extension            avoid the documented reliability risk,
                                                 required to demonstrate that a unit is                  must be included for the length of time            and consistent with that level propose
                                                 required to stay online because it is                   that the unit is expected to extend its            alternative compliance requirements,
                                                 reliability-critical is described in this               cease-operations date because it is                such as alternative standards or
                                                 section.                                                reliability-critical with accompanying             consistent utilization constraints for the
                                                    In order to use this mechanism for an                analysis supporting the timeframe, not             duration of the extension. The EPA
                                                 extension, certain conditions must be                   to exceed 12 months. The                           Regional Office may, within 30 days of
                                                 met by the unit and substantiated in                    demonstration must satisfactorily
                                                 written electronic notification to the                                                                     the submission, reject the application if
                                                                                                         substantiate at least one of the two               the submission is incomplete with
                                                 appropriate EPA Regional                                conditions outlined above. Any unit
                                                 Administrator, with an identical copy                                                                      respect to the above requirements or if
                                                                                                         that has received a Reliability Must Run           the reliability assertion is not
                                                 submitted to FERC for extension                         Designation or equivalent from a
                                                 requests exceeding 6 months. More                                                                          adequately supported.
                                                                                                         reliability coordinator or balancing                  (7) Only owners/operators of units
                                                 specifically, those conditions are that,                authority would fit this description. The          that have satisfied all applicable
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                                                 where appropriate, the EGU owner                        types of information that will be
                                                 complied with all applicable reporting                                                                     milestone and reporting requirements
                                                                                                         helpful, based on the prior reliability            and obligations under section X.C.3.,
                                                 obligations and milestones as described                 extension process developed for MATS
                                                 in sections X.C.4 (for units in the                                                                        and section X.C.4 for units with cease
                                                                                                         between the EPA and FERC include, but
                                                 medium-term subcategory and units                       are not limited to, system planning and              1051 ‘‘Policy Statement on the Commission’s Role
                                                 relying on a cease operation date for a                                                                    Regarding the Environmental Protection Agency’s
                                                 less stringent standard of performance                   1050 Probabilistic Assessment: Technical          Mercury and Air Toxics Standards’’ FERC, Issued
                                                 pursuant to RULOF), and section                         Guideline Document, NERC, August 2016.             May 17, 2012, at PL12–1–000.



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                                                 operation dates prior to January 1, 2032,               rulemaking. There, to ensure that units       ‘‘Regulatory Impact Analysis for the
                                                 may use this mechanism for an                           choosing to permanently cease the             New Source Performance Standards for
                                                 extension as those sources will have                    combustion of coal by a particular date       Greenhouse Gas Emissions from New,
                                                 provided information enabling the state                 in their permits are not restricted from      Modified, and Reconstructed Fossil
                                                 and the public to assess that the units                 operation in the event of an emergency        Fuel-Fired Electric Generating Units;
                                                 have diligently taken all actions                       related to load balancing, the permit         Emission Guidelines for Greenhouse
                                                 necessary to meet their enforceable                     conditions allow for grid emergency           Gas Emissions from Existing Fossil
                                                 cease operations dates and demonstrate                  exemptions (88 FR 18900). Harmonizing         Fuel-Fired Electric Generating Units;
                                                 the use of all available tools to meet                  the use of similar criteria for emergency     and Repeal of the Affordable Clean
                                                 reliability challenges. Units that have                 related reliability concerns across the       Energy Rule,’’ is available in the docket
                                                 failed to meet these obligations may                    two rules further buttresses unit             and describes in detail the EPA’s
                                                 make extension requests through the                     confidence that grid reliability and          assumptions and characterizes the
                                                 state plan revision process.                            environmental responsibilities will not       various sources of uncertainties
                                                    The EPA intends to consult with                      come into conflict. It also streamlines       affecting the estimates.
                                                 FERC in a timely manner on reliability-                 the demonstrations and evidence that a           Table 6 presents the estimated present
                                                 critical claims given FERC’s expertise                  unit must provide in such events. This        values (PV) and equivalent annualized
                                                 on reliability issues. The EPA may also                 cross-regulatory harmonization ensures        values (EAV) of the projected climate
                                                 seek advice from other reliability                      that the Agency can successfully meet         benefits, health benefits, compliance
                                                 experts, to inform the EPA’s decision.                  its CWA and CAA responsibilities              costs, and net benefits of the final rules
                                                 The EPA intends to decide whether it                    regarding public health in a manner           in 2019 dollars discounted to 2024. This
                                                 will grant a compliance extension for a                 consistent with grid stability as it has      analysis covers the impacts of the final
                                                 retiring unit based on a documented                     consistently done throughout its 54-year      standards for new combustion turbines
                                                 reliability need within 30 days of                      history.                                      and for existing steam generating EGUs.
                                                 receiving the application for                              The EPA has taken into consideration,      The estimated monetized net benefits
                                                 applications less than 6 months, and                    to the extent possible, the alignment of      are the projected monetized benefits
                                                 within 45 days for applications                         compliance timeframes and other               minus the projected monetized costs of
                                                 exceeding 6 months to account for time                  aspects of these policies for affected        the final rules.
                                                 needed to consult with FERC. Whether                    units. For each regulatory effort, there
                                                                                                                                                          Under E.O. 12866, the EPA is directed
                                                 to grant an extension to an owner/                      has been coordination and alignment of
                                                                                                                                                       to consider the costs and benefits of its
                                                 operator is solely the decision of the                  requirements and timelines, to the
                                                                                                                                                       actions. Accordingly, in addition to the
                                                 EPA Regional Administrator.                             extent possible. The potential impact of
                                                    For units already subject to standards                                                             projected climate benefits of the final
                                                                                                         these various regulatory efforts is further
                                                 of performance through state plans                                                                    rules from anticipated reductions in CO2
                                                                                                         examined in the final TSD, Resource
                                                 including those co-firing until 2039, and                                                             emissions, the projected monetized
                                                                                                         Adequacy Analysis. Additionally, the
                                                 for units with specific, tailored and                                                                 health benefits include those related to
                                                                                                         EPA considered the impact of this suite
                                                 differentiated compliance dates                                                                       public health associated with projected
                                                                                                         of power sector rules by performing a
                                                 developed through RULOF that employ                                                                   reductions in PM2.5 and ozone
                                                                                                         variety of sensitivity analyses described
                                                 this mechanism, those standards would                                                                 concentrations. The projected health
                                                                                                         in XII.F.3. These considerations are
                                                 apply during the extension.                                                                           benefits are associated with several
                                                                                                         discussed in the technical memoranda,
                                                                                                                                                       point estimates and are presented at real
                                                 4. Considerations for Evaluating 111                    IPM Sensitivity Runs and Resource
                                                                                                                                                       discount rates of 2, 3 and 7 percent. As
                                                 Final Actions With Other EPA Rules                      Adequacy Analysis: Vehicle Rules, Final
                                                                                                                                                       shown in section 4.3.9 of the RIA, there
                                                                                                         111 EGU Rules, ELG, and MATS,
                                                    Consistent with the EPA’s statutory                                                                are health benefits in the years 2028,
                                                                                                         available in the rulemaking docket.
                                                 obligations under a range of CAA                                                                      2030, 2035, and 2045 and health
                                                 programs, the Agency has recently                       XIII. Statutory and Executive Order           disbenefits in 2040. The projected
                                                 initiated and/or finalized multiple                     Reviews                                       climate benefits in this table are based
                                                 rulemakings to reduce emissions of air                    Additional information about these          on estimates of the social cost of carbon
                                                 pollutants, air toxics, and greenhouse                  statutes and Executive orders can be          (SC–CO2) at a 2 percent near-term
                                                 gases from the power sector. The EPA                    found at https://www.epa.gov/laws-            Ramsey discount rate and are
                                                 has conducted an assessment of the                      regulations/laws-and-executive-orders.        discounted using a 2 percent discount
                                                 potential impacts of these regulatory                                                                 rate to obtain the PV and EAV estimates
                                                 efforts on grid resource adequacy, which                A. Executive Order 12866: Regulatory          in the table. The power industry’s
                                                 is examined and discussed in the final                  Planning and Review and Executive             compliance costs are represented in this
                                                 TSD, Resource Adequacy Analysis. This                   Order 14094: Modernizing Regulatory           analysis as the change in electric power
                                                 analysis is informed by regional reserve                Review                                        generation costs between the baseline
                                                 margin targets, regional transmission                     This action is a ‘‘significant regulatory   and illustrative policy scenarios. In
                                                 capability, and generator availability.                 action’’ as defined under section 3(f)(1)     simple terms, these costs are an estimate
                                                 Moreover, as described in this action,                  of Executive Order 12866, as amended          of the increased power industry
                                                 the EPA designs its programs,                           by Executive Order 14094. Accordingly,        expenditures required to implement the
                                                 implementation compliance                               EPA, submitted this action to the Office      final requirements.
                                                 flexibilities, and backstop mechanisms                  of Management and Budget (OMB) for               These results present an incomplete
                                                 to be robust to future uncertainties and                                                              overview of the potential effects of the
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                                                                                                         Executive Order 12866 review. Any
                                                 various compliance pathways for the                     changes made in response to                   final rules because important categories
                                                 collective of market and regulatory                     recommendations received as part of           of benefits—including benefits from
                                                 drivers. Finally, the backstop reliability              Executive Order 12866 review have             reducing HAP emissions—were not
                                                 mechanisms discussed in this section                    been documented in the docket.                monetized and are therefore not
                                                 are, by design, similar to mechanisms                     The EPA prepared an analysis of the         reflected in the benefit-cost tables. The
                                                 utilized in the EPA’s proposed Effluent                 potential costs and benefits associated       EPA anticipates that taking non-
                                                 Limitations Guidelines (ELG)                            with these actions. This analysis,            monetized effects into account would


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                                                 show the final rules to have a greater net
                                                 benefit than this table reflects.

                                                   TABLE 6—PROJECTED BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE FINAL RULES, 2024 THROUGH 2047
                                                                                                                                  [Billions 2019$, discounted to 2024] a

                                                                                                                                                                                                      Present value (PV)

                                                                                                                                                                                2% Discount rate       3% Discount rate    7% Discount rate

                                                 Climate Benefits c .......................................................................................................                   270                   270                 270
                                                 Health Benefits d ........................................................................................................                   120                   100                  59
                                                 Compliance Costs ......................................................................................................                       19                    15                 7.5
                                                 Net Benefits e .............................................................................................................                 370                   360                 320

                                                                                                                                 Equivalent Annualized Value (EAV) b

                                                 Climate Benefits c .......................................................................................................                    14                     14                 14
                                                 Health Benefits d ........................................................................................................                   6.3                    6.1                5.2
                                                 Compliance Costs ......................................................................................................                     0.98                   0.91               0.65
                                                 Net Benefits e .............................................................................................................                  20                     19                 19

                                                 Non-Monetized Benefits e ..........................................................................................                    Benefits from reductions in HAP emissions
                                                                                                                                                                                Ecosystem benefits associated with reductions in emissions
                                                                                                                                                                                            of CO2, NOX, SO2, PM, and HAP
                                                                                                                                                                                    Reductions in exposure to ambient NO2 and SO2
                                                                                                                                                                                 Improved visibility (reduced haze) from PM2.5 reductions
                                                    a Values have been rounded to two significant figures. Rows may not appear to sum correctly due to rounding.
                                                    b The annualized present value of costs and benefits are calculated over the 24-year period from 2024 to 2047.
                                                    c Monetized climate benefits are based on reductions in CO emissions and are calculated using three different estimates of the SC–CO
                                                                                                                    2                                                                                2
                                                 (under 1.5 percent, 2.0 percent, and 2.5 percent near-term Ramsey discount rates). For the presentational purposes of this table, we show the
                                                 climate benefits associated with the SC–CO2 at the 2 percent near-term Ramsey discount rate. Please see section 4 of the RIA for the full range
                                                 of monetized climate benefit estimates.
                                                    d The projected monetized air quality related benefits include those related to public health associated with reductions in PM
                                                                                                                                                                                   2.5 and ozone con-
                                                 centrations. The projected health benefits are associated with several point estimates and are presented at real discount rates of 2, 3, and 7 per-
                                                 cent. This table presents the net health benefit impact over the analytic timeframe of 2024 to 2047. As shown in section 4.3.9 of the RIA, there
                                                 are health benefits in the years 2028, 2030, 2035, and 2045 and health disbenefits in 2040.
                                                    e Several categories of climate, human health, and welfare benefits from CO , NO , SO , PM and HAP emissions reductions remain
                                                                                                                                        2      X     2
                                                 unmonetized and are thus not directly reflected in the quantified benefit estimates in this table. See section 4.2 of the RIA for a discussion of cli-
                                                 mate effects that are not yet reflected in the SC–CO2 and thus remain unmonetized and section 4.4 of the RIA for a discussion of other non-
                                                 monetized benefits.


                                                    As shown in table 6, the final rules                                   billion. Climate benefits remain                                  about $320 billion and an EAV of about
                                                 are projected to reduce greenhouse gas                                    discounted at 2 percent in this net                               $19 billion.
                                                 emissions in the form of CO2, producing                                   benefits analysis. Thus, the final rules                             We also note that the RIA follows the
                                                 a projected PV of monetized climate                                       would generate a PV of monetized                                  EPA’s historic practice of using a
                                                 benefits of about $270 billion, with an                                   benefits of about $370 billion, with an                           detailed technology-rich partial
                                                 EAV of about $14 billion using the SC–                                    EAV of about $20 billion discounted at                            equilibrium model of the electricity and
                                                 CO2 discounted at 2 percent. The final                                    3 percent. The PV of the projected                                related fuel sectors to estimate the
                                                 rules are also projected to reduce                                        compliance costs are about $15 billion,                           incremental costs of producing
                                                 emissions of NOX, SO2 and direct PM2.5                                    with an EAV of $0.91 billion discounted                           electricity under the requirements of
                                                 leading to national health benefits from                                  at 3 percent. Combining the projected                             proposed and final major EPA power
                                                 PM2.5 and ozone in most years,                                            benefits with the projected compliance                            sector rules. In section 5.2 of the RIA for
                                                 producing a projected PV of monetized                                     costs yields a net benefit PV estimate of                         these actions, the EPA has also included
                                                 health benefits of about $120 billion,                                    about $360 billion and an EAV of about                            an economy-wide analysis that
                                                 with an EAV of about $6.3 billion                                         $19 billion.                                                      considers additional facets of the
                                                 discounted at 2 percent. Thus, these                                         At a 7 percent discount rate, the final                        economic response to the final rules,
                                                 final rules are expected to generate a PV                                 rules are expected to generate projected                          including the full resource requirements
                                                 of monetized benefits of $390 billion,                                    PV of monetized health benefits of about                          of the expected compliance pathways,
                                                 with an EAV of $21 billion discounted                                     $59 billion, with an EAV of about $5.2                            some of which are paid for through
                                                 at a 2 percent rate. The PV of the                                        billion. Climate benefits remain                                  subsidies. The social cost estimates in
                                                 projected compliance costs are $19                                        discounted at 2 percent in this net                               the economy-wide analysis and
                                                 billion, with an EAV of about $0.98                                       benefits analysis. Thus, the final rules                          discussed in section 5.2 of the RIA are
                                                 billion discounted at 2 percent.                                          would generate a PV of monetized                                  still far below the projected benefits of
                                                 Combining the projected benefits with                                     benefits of about $330 billion, with an                           the final rules.
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                                                 the projected compliance costs yields a                                   EAV of about $19 billion discounted at                            B. Paperwork Reduction Act (PRA)
                                                 net benefit PV estimate of about $370                                     7 percent. The PV of the projected
                                                 billion and EAV of about $20 billion.                                     compliance costs are about $7.5 billion,                          1. 40 CFR Part 60, Subpart TTTT
                                                    At a 3 percent discount rate, the final                                with an EAV of $0.65 billion discounted                              This action does not impose any new
                                                 rules are expected to generate projected                                  at 7 percent. Combining the projected                             information collection burden under the
                                                 PV of monetized health benefits of about                                  benefits with the projected compliance                            PRA. OMB has previously approved the
                                                 $100 billion, with an EAV of about $6.1                                   costs yields a net benefit PV estimate of                         information collection activities


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                                                 contained in the existing regulations                   implementing, and enforcing a plan to        available in the docket for this
                                                 and has assigned OMB control number                     limit GHG emissions from these existing      action.1052
                                                 2060–0685.                                              EGUs. These recordkeeping and                   As required by section 604 of the
                                                                                                         reporting requirements are specifically      RFA, the EPA prepared a final
                                                 2. 40 CFR Part 60, Subpart TTTTa                                                                     regulatory flexibility analysis (FRFA) for
                                                                                                         authorized by CAA section 114 (42
                                                    The information collection activities                U.S.C. 7414). All information submitted      this action. The FRFA provides a
                                                 in this rule have been submitted for                    to the EPA pursuant to the                   statement of the need for, and objectives
                                                 approval to the OMB under the PRA.                      recordkeeping and reporting                  of, the rule; addresses the issues raised
                                                 The Information Collection Request                      requirements for which a claim of            by public comments on the IRFA for the
                                                 (ICR) document that the EPA prepared                    confidentiality is made is safeguarded       proposed rule, including public
                                                 has been assigned EPA ICR number                        according to Agency policies set forth in    comments filed by the Chief Counsel for
                                                 2771.01. You can find a copy of the ICR                 40 CFR part 2, subpart B.                    Advocacy of the Small Business
                                                 in the docket for this rule, and it is                    The annual burden for this collection      Administration; describes the small
                                                 briefly summarized here. The                            of information for the states (averaged      entities to which the rule will apply;
                                                 information collection requirements are                 over the first 3 years following             describes the projected reporting,
                                                 not enforceable until OMB approves                      promulgation) is estimated to be 89,000      recordkeeping and other compliance
                                                 them.                                                   hours at a total annual labor cost of        requirements of the rule and their
                                                    Respondents/affected entities:                       $11.7 million. The annual burden for         impacts; and describes the steps the
                                                 Owners and operators of fossil-fuel fired               the Federal government associated with       agency has taken to minimize impacts
                                                 EGUs.                                                   the state collection of information          on small entities consistent with the
                                                    Respondent’s obligation to respond:                  (averaged over the first 3 years following   stated objectives of the Clean Air Act.
                                                 Mandatory.                                              promulgation) is estimated to be 24,000      The complete FRFA is available for
                                                    Estimated number of respondents: 2.                  hours at a total annual labor cost of $1.7   review in the docket and is summarized
                                                    Frequency of response: Annual.                       million. Burden is defined at 5 CFR          here. The scope of the FRFA is limited
                                                    Total estimated burden: 110 hours                    1320.3(b).                                   to the NSPS. The impacts of the
                                                 (per year). Burden is defined at 5 CFR                    Respondents/affected entities: States      emission guidelines are not evaluated
                                                 1320.3(b).                                              with one or more designated facilities       here because the emission guidelines do
                                                    Total estimated cost: $12,000 (per                                                                not place explicit requirements on the
                                                                                                         covered under subpart UUUUb.
                                                 year), includes $0 annualized capital or                                                             regulated industry. Those impacts will
                                                                                                           Respondent’s obligation to respond:
                                                 operation & maintenance costs.                                                                       be evaluated pursuant to the
                                                                                                         Mandatory.
                                                    An agency may not conduct or                                                                      development of a Federal plan.
                                                                                                           Estimated number of respondents: 43.
                                                 sponsor, and a person is not required to                                                                In 2009, the EPA concluded that GHG
                                                                                                           Frequency of response: Once.
                                                 respond to, a collection of information                                                              emissions endanger our nation’s public
                                                                                                           Total estimated burden: 89,000 hours
                                                 unless it displays a currently valid OMB                                                             health and welfare. Since that time, the
                                                                                                         (per year). Burden is defined at 5 CFR
                                                 control number. The OMB control                                                                      evidence of the harms posed by GHG
                                                                                                         1320.3(b).
                                                 numbers for the EPA’s regulations in 40                                                              emissions has only grown and
                                                 CFR are listed in 40 CFR part 9. When                     Total estimated cost: $11.7 million,
                                                                                                         includes $35,000 annualized capital or       Americans experience the destructive
                                                 OMB approves this ICR, the Agency will                                                               and worsening effects of climate change
                                                 announce that approval in the Federal                   operation & maintenance costs.
                                                                                                           An agency may not conduct or               every day. Fossil fuel-fired EGUs are the
                                                 Register and publish a technical                                                                     nation’s largest stationary source of
                                                 amendment to 40 CFR part 9 to display                   sponsor, and a person is not required to
                                                                                                         respond to, a collection of information      GHG emissions, representing 25 percent
                                                 the OMB control number for the                                                                       of the United States’ total GHG
                                                 approved information collection                         unless it displays a currently valid OMB
                                                                                                         control number. The OMB control              emissions in 2021. At the same time, a
                                                 activities contained in this final rule.                                                             range of cost-effective technologies and
                                                                                                         numbers for the EPA’s regulations in 40
                                                 3. 40 CFR Part 60, Subpart UUUUa                        CFR are listed in 40 CFR part 9. When        approaches to reduce GHG emissions
                                                                                                         OMB approves this ICR, the Agency will       from these sources are available to the
                                                   This action does not impose an                                                                     power sector, and multiple projects are
                                                 information collection burden under the                 announce that approval in the Federal
                                                                                                         Register and publish a technical             in various stages of operation and
                                                 PRA.                                                                                                 development. Congress has also acted to
                                                                                                         amendment to 40 CFR part 9 to display
                                                 4. 40 CFR Part 60, Subpart UUUUb                        the OMB control number for the               provide funding and other incentives to
                                                                                                         approved information collection              encourage the deployment of these
                                                    The information collection activities
                                                                                                         activities contained in this final rule.     technologies to achieve reductions in
                                                 in this rule have been submitted for
                                                                                                                                                      GHG emissions from the power sector.
                                                 approval to the OMB under the PRA.                      C. Regulatory Flexibility Act (RFA)             In this notice, the EPA is finalizing
                                                 The ICR document that the EPA                                                                        several actions under CAA section 111
                                                 prepared has been assigned EPA ICR                        Pursuant to sections 603 and 609(b) of
                                                                                                         the RFA, the EPA prepared an initial         to reduce the significant quantity of
                                                 number 2770.01. You can find a copy of                                                               GHG emissions from fossil fuel-fired
                                                 the ICR in the docket for this rule, and                regulatory flexibility analysis (IRFA) for
                                                                                                         the proposed rule and convened a Small       EGUs by establishing emission
                                                 it is briefly summarized here. The                                                                   guidelines and NSPS that are based on
                                                 information collection requirements are                 Business Advocacy Review (SBAR)
                                                                                                         Panel to obtain advice and                   available and cost-effective technologies
                                                 not enforceable until OMB approves                                                                   that directly reduce GHG emissions
                                                                                                         recommendations from small entity
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                                                 them.                                                                                                from these sources. Consistent with the
                                                    This rule imposes specific                           representatives that potentially would
                                                                                                         be subject to the rule’s requirements.       statutory command of CAA section 111,
                                                 requirements on state governments with                                                               the final NSPS and emission guidelines
                                                 existing fossil fuel-fired steam                        Summaries of the IRFA and Panel
                                                                                                         recommendations are presented in the         reflect the application of the BSER that,
                                                 generating units. The information
                                                 collection requirements are based on the                supplemental proposed rule at 88 FR            1052 See Document ID No. EPA–HQ–OAR–2023–
                                                 recordkeeping and reporting burden                      80582 (November 20, 2023). The               0072–8109 and Document ID No. EPA–HQ–OAR–
                                                 associated with developing,                             complete IRFA and Panel Report are           2023–0072–8108.



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                                                 taking into account costs, energy                       ensure the requirements in the final         adjustments to provisions in the
                                                 requirements, and other statutory                       actions can be implemented without           proposed rules that address reliability
                                                 factors, is adequately demonstrated.                    compromising the ability of power            concerns and ensure that the final rules
                                                    These final actions ensure that EGUs                 companies, grid operators, and state and     provide adequate flexibilities and
                                                 reduce their GHG emissions in a manner                  Federal energy regulators to maintain        assurance mechanisms that allow grid
                                                 that is cost-effective and improve the                  resource adequacy and grid reliability.      operators to continue to fulfill their
                                                 emissions performance of the sources,                      To estimate the number of small           responsibilities to maintain the
                                                 consistent with the applicable CAA                      businesses potentially impacted by the       reliability of the bulk-power system.
                                                 requirements and caselaw. These                         NSPS, the EPA performed a small entity       The EPA is additionally finalizing
                                                 standards and emission guidelines will                  screening analysis for impacts on all        additional reliability-related
                                                 significantly decrease GHG emissions                    affected EGUs by comparing compliance        instruments to provide further certainty
                                                 from fossil fuel-fired EGUs and the                     costs to historic revenues at the ultimate   that implementation of these final rules
                                                 associated harms to human health and                    parent company level. The EPA                will not intrude on grid operator’s
                                                 welfare. Further, the EPA has designed                  reviewed historical data and planned         ability to ensure reliability. The short-
                                                 these standards and emission guidelines                 builds since 2017 to determine the           term reliability emergency mechanism,
                                                 in a way that is compatible with the                    universe of NGCC and natural gas             which is available for both new and
                                                 nation’s overall need for a reliable                    combustion turbine additions. Next, the      existing units, is designed to provide an
                                                 supply of affordable electricity.                       EPA followed SBA size standards to           alternative compliance strategy during
                                                    The significant issues raised in public              determine which ultimate parent              acute system emergencies when
                                                 comments specifically in response to                    entities should be considered small          reliability might be threatened. The
                                                 the initial regulatory flexibility analysis             entities in this analysis.                   reliability assurance mechanism will be
                                                 came from the Office of Advocacy                           Once the costs of the rule were           available for existing units that intend to
                                                 within the Small Business                               calculated, the costs attributed to small    cease operating, but, for unforeseen
                                                 Administration (Advocacy). The EPA                      entities were calculated by multiplying      reasons, need to temporarily remain
                                                 agreed that convening a SBAR Panel                      the total costs to the share of the          online to support reliability beyond the
                                                 was warranted because the EPA                           historical build attributed to small         planned cease operation date. This
                                                 solicited comment on a number of                        entities. These costs were then shared to    reliability assurance mechanism, which
                                                 policy options that, if finalized, could                individual entities using the ratio of       requires an adequate showing of
                                                 affect the estimate of total compliance                 their build to total small entity            reliability need, is intended to apply to
                                                 costs and therefore the impacts on small                additions in the historical dataset.         circumstances where there is
                                                 entities. The EPA issued an IRFA and                       The EPA assessed the economic and         insufficient time to complete a state
                                                 solicited comment on regulatory                         financial impacts of the rule using the      plan revision. Whether to grant an
                                                 flexibilities for small business in a                   ratio of compliance costs to the value of    extension to an owner/operator is solely
                                                 supplemental proposed rule, published                   revenues from electricity generation,        the decision of the EPA. Concurrence or
                                                 in November 2023.                                       focusing in particular on entities for       approval of FERC is not a condition but
                                                    Advocacy provided further                            which this measure is greater than 1         may inform EPA’s decision. These
                                                 substantive comments on the IRFA that                   percent. Of the 14 entities that own         instruments will be presumptively
                                                 accompanied the November 2023                           NGCC units considered in this analysis,      approvable, provided they meet the
                                                 supplemental proposed rule. The                         three are projected to experience            requirements defined in these emission
                                                 comments reiterated the concerns raised                 compliance costs greater than or equal       guidelines, if states choose to
                                                 in its original comment letter on the                   to 1 percent of generation revenues in       incorporate them into their plans.
                                                 proposed rule and further made the                      2035 and none are projected to                  Throughout the SBAR Panel outreach,
                                                 following claims: (1) the IRFA does not                 experience compliance costs greater          SERs expressed concerns that the
                                                 provide small entities an accurate                      than or equal to 3 percent of generation     proposed rule will have significant
                                                 description of the impacts of the                       revenues in 2035.                            reliability impacts, including that areas
                                                 proposed rule, (2) small entities remain                   Prior to the November 2023                with transmission system limitations
                                                 concerned that the EPA has not taken                    supplemental proposed rule, the EPA          and energy market constraints risk
                                                 reliability concerns seriously.                         convened a SBAR Panel to obtain              power interruption if replacement
                                                    In response to these comments and                    recommendations from small entity            generation cannot be put in place before
                                                 feedback during the SBAR Panel, the                     representatives (SERs) on elements of        retirements. SERs recommended that
                                                 EPA revised its small business                          the regulation. The Panel identified         Regional Transmission Organizations
                                                 assessment to incorporate the final SBA                 significant alternatives for consideration   (RTOs) be involved to evaluate safety
                                                 guidelines (effective March 17th 2023)                  by the Administrator of the EPA, which       and reliability concerns.
                                                 when performing the screening analysis                  were summarized in a final report.              SERs additionally stated that the
                                                 to identify small businesses that have                  Based on the Panel recommendations,          proposed rule relies on the continued
                                                 built or have planned/committed builds                  as well as comments received in              development of technologies not
                                                 of combustion turbines since 2017. The                  response to both the May 2023 proposed       currently in wide use and large-scale
                                                 EPA also treated additional entities                    rule and the November 2023                   investments in new infrastructure and
                                                 within this subset as small based on                    supplemental proposed rule, the EPA is       that the proposed rule pushes these
                                                 feedback received during the panel                      finalizing several regulatory alternatives   technologies significantly faster than the
                                                 process. The net effect of these changes                that could accomplish the stated             infrastructure will be ready and sooner
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                                                 is to increase the total compliance cost                objectives of the Clean Air Act while        than the SERs can justify investment to
                                                 attributed to small entities, and the                   minimizing any significant economic          their stakeholders and ratepayers. SERs
                                                 number of small entities potentially                    impact of the final rule on small            stated that this is of particular concern
                                                 affected. The EPA additionally                          entities. Discussion of those alternatives   for small entities that are retiring
                                                 increased the assumed delivered                         is provided below.                           generation in response to other
                                                 hydrogen price to $1.15/kg.                                Mechanisms for reliability relief: As     regulatory mandates and need to replace
                                                    Further, the EPA is finalizing multiple              described in section XII.F of this           that generation to continue serving their
                                                 adjustments to the proposed rule that                   preamble, the EPA is finalizing several      customers.


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                                                    The suite of comprehensive                           deployment of CCS in other industries.      among governmental entities, the EPA
                                                 adjustments in the final rules, along                   Capture, pipelines, and sequestration       initiated consultation with
                                                 with the two explicit reliability                       are already in place or in advanced         governmental entities. The EPA invited
                                                 mechanisms are directly responsive to                   stages of deployment for ethanol            the following 10 national organizations
                                                 SER’s statements and concerns about                     production from corn, an industry           representing state and local elected
                                                 grid reliability and the impact of retiring             rooted in rural areas. The high purity      officials to a virtual meeting on
                                                 generating on small businesses.                         CO2 from ethanol production provides        September 22, 2022: (1) National
                                                    Subcategories: Throughout the SBAR                   advantageous economics for CCS.             Governors Association, (2) National
                                                 Panel, SERs expressed concerns that                        The EPA believes the decision to not     Conference of State Legislatures, (3)
                                                 control requirements on rural electric                  finalize a low-GHG hydrogen BSER            Council of State Governments, (4)
                                                 cooperatives may be an additional                       pathway is responsive to SER’s              National League of Cities, (5) U.S.
                                                 hardship on economically                                statements and concerns regarding the       Conference of Mayors, (6) National
                                                 disadvantaged communities and small                     availability of low-GHG hydrogen in         Association of Counties, (7)
                                                 entities. SERs stated that the EPA                      very rural areas.                           International City/County Management
                                                 should further evaluate increased                          In addition, the EPA is preparing a      Association, (8) National Association of
                                                 energy costs, transmission upgrade                      Small Entity Compliance Guide to help       Towns and Townships, (9) County
                                                 costs, and infrastructure encroachment                  small entities comply with this rule.       Executives of America, and (10)
                                                 which are concrete effects on the                       The guide will be available 60 days after   Environmental Council of States. These
                                                 disproportionately impacted                             publication of the final rule at https://   10 organizations representing elected
                                                 communities. Additionally, SERs stated                  www.epa.gov/stationary-sources-air-         state and local officials have been
                                                 hydrogen and CCS cannot be BSER                         pollution/greenhouse-gas-standards-         identified by the EPA as the ‘‘Big 10’’
                                                 because they are not commercially                       and-guidelines-fossil-fuel-fired-power.     organizations appropriate to contact for
                                                 available and viable in very rural areas.               D. Unfunded Mandates Reform Act of          purpose of consultation with elected
                                                    The EPA solicited comment on                                                                     officials. Also, the EPA invited air and
                                                                                                         1995 (UMRA)
                                                 potential exclusions or subcategories for                                                           utility professional groups who may
                                                 small entities that would be based on                      The NSPS contain a Federal mandate       have state and local government
                                                 the class, type, or size of the source and              under UMRA, 2 U.S.C. 1531–1538, that        members, including the Association of
                                                 be consistent with the Clean Air Act.                   may result in expenditures of $100          Air Pollution Control Agencies,
                                                 The EPA also solicited comment on                       million or more for the private sector in   National Association of Clean Air
                                                 whether rural electric cooperatives and                 any one year. The NSPS do not contain       Agencies, and American Public Power
                                                 small utility distribution systems                      an unfunded mandate of $100 million or      Association, Large Public Power
                                                 (serving 50,000 customers or less) can                  more as described in UMRA, 2 U.S.C.         Council, National Rural Electric
                                                 expect to have access to hydrogen and                   1531–1538 for state, local, and tribal      Cooperative Association, and National
                                                 CCS infrastructure, and if a subcategory                governments, in the aggregate.              Association of Regulatory Utility
                                                 for these units is appropriate.                         Accordingly, the EPA prepared, under        Commissioners to participate in the
                                                    The EPA evaluated public comments                    section 202 of UMRA, a written              meeting. The purpose of the
                                                 received and determined that                            statement of the benefit-cost analysis,     consultation was to provide general
                                                 establishing a separate subcategory for                 which is in section XIII.A of this          background on these rulemakings,
                                                 rural electric cooperatives was not                     preamble and in the RIA.                    answer questions, and solicit input from
                                                 warranted. However, the EPA is not                         The repeal of the ACE Rule and           state and local governments. For a
                                                 finalizing the low-GHG hydrogen BSER                    emission guidelines do not contain an       summary of the UMRA consultation see
                                                 pathway. In response to concerns raised                 unfunded mandate of $100 million or         the memorandum in the docket titled
                                                 by small business and other                             more as described in UMRA, 2 U.S.C.         Federalism Pre-Proposal Consultation
                                                 commenters, the EPA conducted                           1531–1538, and do not significantly or      Summary.1053
                                                 additional analysis of the BSER criteria                uniquely affect small governments. The
                                                 and its proposed determination that                     emission guidelines do not impose any       E. Executive Order 13132: Federalism
                                                 low-GHG hydrogen co-firing qualified as                 direct compliance requirements on             These actions do not have federalism
                                                 the BSER. This additional analysis led                  regulated entities, apart from the          implications as that term is defined in
                                                 the EPA to assess that the cost of low-                 requirement for states to develop plans     E.O. 13132. Consistent with the
                                                 GHG hydrogen in 2030 will likely be                     to implement the guidelines under CAA       cooperative federalism approach
                                                 higher than proposed, and these higher                  section 111(d) for designated EGUs. The     directed by the Clean Air Act, states will
                                                 cost estimates and associated                           burden for states to develop CAA            establish standards of performance for
                                                 uncertainties related to its nationwide                 section 111(d) plans in the 24-month        existing sources under the emission
                                                 availability were key factors in the                    period following promulgation of the        guidelines set out in this final rule.
                                                 EPA’s decision to revise its 2030 cost                  emission guidelines was estimated and       These actions will not have substantial
                                                 estimate for delivered low-GHG                          is listed in section XIII.B, but this       direct effects on the states, on the
                                                 hydrogen and are reflected in the                       burden is estimated to be below $100        relationship between the national
                                                 increased price. For CCS, as discussed                  million in any one year. As explained in    government and the states, or on the
                                                 in sections VIII.F.4.c.iv and VII.C.1.a of              section X.E.6, the emission guidelines      distribution of power and
                                                 this preamble, the EPA considered                       do not impose specific requirements on      responsibilities among the various
                                                 geographic availability of sequestration,               tribal governments that have designated     levels of government.
                                                 as well as the timelines, materials, and
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                                                                                                         EGUs located in their area of Indian          Although the direct compliance costs
                                                 workforce necessary for installing CCS,                 country.                                    may not be substantial, the EPA
                                                 and determined they are sufficient.                        These actions are not subject to the     nonetheless elected to consult with
                                                 Moreover, while the BSER is premised                    requirements of section 203 of UMRA         representatives of state and local
                                                 on source-to-sink CO2 pipelines and                     because they contain no regulatory          governments in the process of
                                                 sequestration, the EPA notes that many                  requirements that might significantly or
                                                 EGUs in rural areas are primed to take                  uniquely affect small governments. In         1053 See Document ID No. EPA–HQ–OAR–2023–

                                                 advantage of synergy with the broader                   light of the interest in these actions      0072–0033.



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                                                 developing these actions to permit them                 The EPA notes that the emission              households. More detailed information
                                                 to have meaningful and timely input                     guidelines do not directly impose            on the impacts of climate change to
                                                 into their development. The EPA’s                       specific requirements on EGU sources,        human health and welfare is provided
                                                 consultation regarded planned actions                   including those located in Indian            in section III of this preamble. Under
                                                 for the NSPS and emission guidelines.                   country, but before developing any           these final actions, the EPA expects that
                                                 The EPA invited the following 10                        standards for sources on tribal land, the    CO2 emissions reductions will improve
                                                 national organizations representing state               EPA would consult with leaders from          air quality and mitigate climate impacts
                                                 and local elected officials to a virtual                affected tribes. Thus, Executive Order       which will benefit the health and
                                                 meeting on September 22, 2022: (1)                      13175 does not apply to these actions.       welfare of children.
                                                 National Governors Association, (2)                        Because the EPA is aware of tribal
                                                                                                         interest in these rules and consistent       H. Executive Order 13211: Actions
                                                 National Conference of State
                                                                                                         with the EPA Policy on Consultation          Concerning Regulations That
                                                 Legislatures, (3) Council of State
                                                                                                         and Coordination with Indian Tribes,         Significantly Affect Energy Supply,
                                                 Governments, (4) National League of
                                                                                                         the EPA offered government-to-               Distribution, or Use
                                                 Cities, (5) U.S. Conference of Mayors, (6)
                                                 National Association of Counties, (7)                   government consultation with tribes and         These actions, which are significant
                                                 International City/County Management                    conducted outreach and engagement.           regulatory actions under Executive
                                                 Association, (8) National Association of                                                             Order 12866, are likely to have to have
                                                                                                         G. Executive Order 13045: Protection of      a significant adverse effect on the
                                                 Towns and Townships, (9) County                         Children From Environmental Health
                                                 Executives of America, and (10)                                                                      supply, distribution or use of energy.
                                                                                                         Risks and Safety Risks Populations and       The EPA has prepared a Statement of
                                                 Environmental Council of States. These                  Low-Income Populations
                                                 10 organizations representing elected                                                                Energy Effects for these actions as
                                                 state and local officials have been                        This action is subject to Executive       follows. The EPA estimates a 1.4
                                                 identified by the EPA as the ‘‘Big 10’’                 Order 13045 (62 FR 19885, April 23,          percent increase in retail electricity
                                                 organizations appropriate to contact for                1997) because it is a significant            prices on average, across the contiguous
                                                 purpose of consultation with elected                    regulatory action as defined by E.O.         U.S. in 2035, and a 42 percent reduction
                                                 officials. Also, the EPA invited air and                12866(3)(f)(1), and the EPA believes that    in coal-fired electricity generation in
                                                 utility professional groups who may                     the environmental health or safety risk      2035 as a result of these actions. The
                                                 have state and local government                         addressed by this action has a               EPA projects that utility power sector
                                                 members, including the Association of                   disproportionate effect on children.         delivered natural gas prices will
                                                 Air Pollution Control Agencies,                         Accordingly, the Agency has evaluated        increase 3 percent in 2035. As outlined
                                                 National Association of Clean Air                       the environmental health and welfare         in the Final TSD, Resource Adequacy
                                                 Agencies, and American Public Power                     effects of climate change on children.       Analysis, available in the docket for this
                                                 Association, Large Public Power                         GHGs contribute to climate change and        rulemaking, the EPA demonstrates that
                                                 Council, National Rural Electric                        are emitted in significant quantities by     compliance with the final rules can be
                                                 Cooperative Association, and National                   the power sector. The EPA believes that      achieved while maintaining resource
                                                 Association of Regulatory Utility                       the GHG emission reductions resulting        adequacy, and that the rules include
                                                 Commissioners to participate in the                     from implementation of these standards       additional flexibility measures designed
                                                 meeting. The purpose of the                             and guidelines will further improve          to address reliability-related concerns.
                                                 consultation was to provide general                     children’s health. The assessment            For more information on the estimated
                                                 background on these rulemakings,                        literature cited in the EPA’s 2009           energy effects, please refer section 3 of
                                                 answer questions, and solicit input from                Endangerment Findings concluded that         the RIA, which is in the public docket.
                                                 state and local governments. For a                      certain populations and life stages,
                                                                                                         including children, the elderly, and the     I. National Technology Transfer and
                                                 summary of the Federalism consultation                                                               Advancement Act (NTTAA) and 1 CFR
                                                 see the memorandum in the docket                        poor, are most vulnerable to climate-
                                                                                                         related health effects (74 FR 66524,         Part 51
                                                 titled Federalism Pre-Proposal
                                                 Consultation Summary.1054                               December 15, 2009). The assessment              This rulemaking involves technical
                                                                                                         literature since 2016 strengthens these      standards. Therefore, the EPA
                                                 F. Executive Order 13175: Consultation                  conclusions by providing more detailed       conducted searches for the New Source
                                                 and Coordination With Indian Tribal                     findings regarding these groups’             Performance Standards for Greenhouse
                                                 Governments                                             vulnerabilities and the projected            Gas Emissions from New, Modified, and
                                                   These actions do not have tribal                      impacts they may experience. These           Reconstructed Fossil Fuel-Fired Electric
                                                 implications, as specified in Executive                 assessments describe how children’s          Generating Units; Emission Guidelines
                                                 Order 13175. The NSPS imposes                           unique physiological and                     for Greenhouse Gas Emissions from
                                                 requirements on owners and operators                    developmental factors contribute to          Existing Fossil Fuel-Fired Electric
                                                 of new or reconstructed stationary                      making them particularly vulnerable to       Generating Units; and Repeal of the
                                                 combustion turbines and the emission                    climate change. Impacts to children are      Affordable Clean Energy Rule through
                                                 guidelines do not impose direct                         expected from heat waves, air pollution,     the Enhanced National Standards
                                                 requirements on tribal governments.                     infectious and waterborne illnesses, and     Systems Network (NSSN) Database
                                                 Tribes are not required to develop plans                mental health effects resulting from         managed by the American National
                                                 to implement the emission guidelines                    extreme weather events. In addition,         Standards Institute (ANSI). Searches
                                                 developed under CAA section 111(d) for                  children are among those especially          were conducted for EPA Method 19 of
                                                                                                         susceptible to most allergic diseases, as    40 CFR part 60, appendix A. No
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                                                 designated EGUs. The EPA is aware of
                                                 two fossil fuel-fired steam generating                  well as health effects associated with       applicable voluntary consensus
                                                 units located in Indian country, and one                heat waves, storms, and floods.              standards (VCS) were identified for EPA
                                                 fossil fuel-fired steam generating units                Additional health concerns may arise in      Method 19. For additional information,
                                                 owned or operated by tribal entities.                   low-income households, especially            please see the March 23, 2023,
                                                                                                         those with children, if climate change       memorandum titled Voluntary
                                                   1054 See Document ID No. EPA–HQ–OAR–2023–             reduces food availability and increases      Consensus Standard Results for New
                                                 0072–0033.                                              prices, leading to food insecurity within    Source Performance Standards for


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                                                 Greenhouse Gas Emissions from New,                      procedures for the determination of the       define biodiesel, which is a type of
                                                 Modified, and Reconstructed Fossil                      following performance results: corrected      uniform fuel listed in this rule.
                                                 Fuel-Fired Electric Generating Units;                   net power, corrected heat rate, and              • ASTM D7467–10, Standard
                                                 Emission Guidelines for Greenhouse Gas                  corrected heat input.                         Specification for Diesel Fuel Oil,
                                                 Emissions from Existing Fossil Fuel-                       • ASTM D388–99 (Reapproved 2004),          Biodiesel Blend (B6 to B20), including
                                                 Fired Electric Generating Units; and                    Standard Classification of Coals by           Appendices X1 through X3, (Approved
                                                 Repeal of the Affordable Clean Energy                   Rank, covers the classification of coals      August 1, 2010) covers fuel blend grades
                                                 Rule.1055                                               by rank, that is, according to their          of 6 to 20 volume percent biodiesel with
                                                    In accordance with the requirements                  degree of metamorphism, or progressive        the remainder being a light middle or
                                                 of 1 CFR part 51, the EPA is                            alteration, in the natural series from        middle distillate diesel fuel, collectively
                                                 incorporating the following 10                          lignite to anthracite. It is used to define   designated as B6 to B20. It is used to
                                                 voluntary consensus standards by                        coal as a fuel type which is then             define biodiesel blends, which is a type
                                                 reference in the final rule.                            referenced when defining coal-fired           of uniform fuel listed in this rule.
                                                    • ANSI C12.20–2010, American                         electric generating units, one of the            • ISO 2314:2009(E), Gas turbines–
                                                 National Standard for Electricity                       subjects of this rule.                        Acceptance tests, Third edition
                                                 Meters—0.2 and 0.5 Accuracy Classes                        • ASTM D396–98, Standard                   (December 15, 2009) is cited in the final
                                                 (Approved August 31, 2010) is cited in                  Specification for Fuel Oils, covers           rule for its guidance on determining
                                                 the final rule to assure consistent                     grades of fuel oil intended for use in        performance characteristics of stationary
                                                 monitoring of electric output. This                     various types of fuel-oil-burning             combustion turbines. ISO 2314 specifies
                                                 standard establishes the physical                       equipment under various climatic and          guidelines and procedures for
                                                 aspects and acceptable performance                      operating conditions. These include           preparing, conducting and reporting
                                                 criteria for 0.2 and 0.5 accuracy class                 Grades 1 and 2 (for use in domestic and       thermal acceptance tests in order to
                                                 electricity meters. These meters would                  small industrial burners), Grade 4            determine and/or verify electrical power
                                                 be used to measure hourly electric                      (heavy distillate fuels or distillate/        output, mechanical power, thermal
                                                 output that would be used, in part, to                  residual fuel blends used in                  efficiency (heat rate), turbine exhaust
                                                 calculate compliance with an emissions                  commercial/industrial burners equipped        gas energy and/or other performance
                                                 standard.                                               for this viscosity range), and Grades 5       characteristics of open-cycle simple
                                                    • ASME PTC 22–2014, Gas Turbines:                    and 6 (residual fuels of increasing           cycle combustion turbines using
                                                 Performance Test Codes, (Issued                         viscosity and boiling range, used in          combustion systems supplied with
                                                 December 31, 2014), is cited in the final               industrial burners).                          gaseous and/or liquid fuels as well as
                                                 rule to provide directions and rules for                   • ASTM D975–08a, Standard                  closed-cycle and semi closed-cycle
                                                 conduct and reporting of results of                     Specification for Diesel Fuel Oils,           simple cycle combustion turbines. It can
                                                 thermal performance tests for open                      covers seven grades of diesel fuel oils       also be applied to simple cycle
                                                 cycle simple cycle combustion turbines.                 based on grade, sulfur content, and           combustion turbines in combined cycle
                                                 The object is to determine the thermal                  volatility. These grades range from           power plants or in connection with
                                                 performance of the combustion turbine                   Grade No. 1–D S15 (a special-purpose,         other heat recovery systems. ISO 2314
                                                 when operating at test conditions and                   light middle distillate fuel for use in       includes procedures for the
                                                 correcting these test results to specified              diesel engine applications requiring a        determination of the following
                                                 reference conditions. PTC 22 provides                   fuel with 15 ppm sulfur (maximum) and         performance parameters, corrected to
                                                 explicit procedures for the                             higher volatility than that provided by       the reference operating parameters:
                                                 determination of the following                          Grade No. 2–D S15 fuel) to Grade No.          electrical or mechanical power output
                                                 performance results: corrected power,                   4–D (a heavy distillate fuel, or a blend      (gas power, if only gas is supplied),
                                                 corrected heat rate (efficiency),                       of distillate and residual oil, for use in    thermal efficiency or heat rate; and
                                                 corrected exhaust flow, corrected                       low- and medium-speed diesel engines          combustion turbine engine exhaust
                                                 exhaust energy, and corrected exhaust                   in applications involving predominantly       energy (optionally exhaust temperature
                                                 temperature. Tests may be designed to                   constant speed and load).                     and flow).
                                                 satisfy different goals, including                         • ASTM D3699–08, Standard                     The EPA determined that the ANSI,
                                                 absolute performance and comparative                    Specification for Kerosine, including         ASME, ASTM, and ISO standards,
                                                 performance.                                            Appendix X1, (Approved September 1,           notwithstanding the age of the
                                                    • ASME PTC 46–1996, Performance                      2008) covers two grades of kerosene           standards, are reasonably available
                                                 Test Code on Overall Plant Performance,                 suitable for use in critical kerosene         because they are available for purchase
                                                 (Issued October 15, 1997), is cited in the              burner applications: No. 1–K (a special       from the following addresses: American
                                                 final rule to provide uniform test                      low sulfur grade kerosene suitable for        National Standards Institute (ANSI), 25
                                                 methods and procedures for the                          use in non-flue-connected kerosene            West 43rd Street, 4th Floor, New York,
                                                 determination of the thermal                            burner appliances and for use in wick-        NY 10036–7422, +1.212.642.4900, info@
                                                 performance and electrical output of                    fed illuminating lamps) and No. 2–K (a        ansi.org, www.ansi.org; American
                                                 heat-cycle electric power plants and                    regular grade kerosene suitable for use       Society of Mechanical Engineers
                                                 combined heat and power units (PTC 46                   in flue-connected burner appliances and       (ASME), Two Park Avenue, New York,
                                                 is not applicable to simple cycle                       for use in wick-fed illuminating lamps).      NY 10016–5990, +1.800.843.2763,
                                                 combustion turbines). Test results                      It is used to define kerosene, which is       customercare@asme.org, www.asme.org;
                                                 provide a measure of the performance of                 a type of uniform fuel listed in this rule.   ASTM International, 100 Barr Harbor
                                                                                                            • ASTM D6751–11b, Standard                 Drive, Post Office Box C700, West
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                                                 a power plant or thermal island at a
                                                 specified cycle configuration, operating                Specification for Biodiesel Fuel Blend        Conshohocken, PA 19428–2959,
                                                 disposition and/or fixed power level,                   Stock (B100) for Middle Distillate Fuels,     +1.610.832.9500, www.astm.org;
                                                 and at a unique set of base reference                   including Appendices X1 through X3,           International Organization for
                                                 conditions. PTC 46 provides explicit                    (Approved July 15, 2011) covers               Standardization (ISO), Chemin de
                                                                                                         biodiesel (B100) Grades S15 and S500          Blandonnet 8, CP 401, 1214 Vernier,
                                                   1055 See Document ID No. EPA–HQ–OAR–2023–             for use as a blend component with             Geneva, Switzerland, +41.22.749.01.11,
                                                 0072–0032.                                              middle distillate fuels. It is used to        customerservice@iso.org, www.iso.org.


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                                                 J. Executive Order 12898: Federal                          For new sources, the EPA believes            and (212), the introductory text of
                                                 Actions To Address Environmental                        that it is not practicable to assess            paragraph (i);
                                                 Justice in Minority Populations and                     whether this action is likely to result in      ■ b. Removing note 1 to paragraph (k)
                                                 Low-Income Populations and Executive                    new disproportionate and adverse                and paragraph (l);
                                                 Order 14096: Revitalizing Our Nation’s                  effects on communities with                     ■ c. Redesignating paragraphs (j)
                                                 Commitment to Environmental Justice                     environmental justice concerns, because         through (u) as shown in the following
                                                 for All                                                 the location and number of new sources          table:
                                                    The EPA believes that the human                      is unknown. However, the EPA believes
                                                                                                         that the projected total cumulative                   Old paragraph                      New paragraph
                                                 health or environmental conditions that
                                                 exist prior to these actions result in or               power sector reduction of 1,365 million
                                                                                                         metric tons of CO2 emissions between            (j) ...............................   (k).
                                                 have the potential to result in                                                                         (k) ..............................    (m).
                                                 disproportionate and adverse human                      2028 and 2047 will have a beneficial            (m) through (o) ..........            (n) through (p).
                                                 health or environmental effects on                      effect on populations at risk of climate        (p) through (r) ............          (r) through (t).
                                                 communities with environmental justice                  change effects/impacts. Research                (s) ..............................    (q).
                                                 concerns. Baseline PM2.5 and ozone and                  indicates that racial, ethnic, and low          (t) ...............................   (j).
                                                 exposure analyses show that certain                     socioeconomic status, vulnerable                (u) ..............................    (l).
                                                 populations, such as residents of                       lifestages, and geographic locations may
                                                 redlined census tracts, those                           leave individuals uniquely vulnerable to        ■ d. Revising newly-redesignated
                                                                                                         climate change health impacts in the            paragraphs (j) and (l), the introductory
                                                 linguistically isolated, Hispanic, Asian,
                                                                                                         U.S.                                            text to newly-redesignated paragraph
                                                 and those without a high school
                                                                                                            The information supporting this              (m), newly-redesignated paragraph (n),
                                                 diploma may experience higher ozone                     Executive Order review is contained in
                                                 and PM2.5 exposures as compared to the                                                                  and the introductory text to newly-
                                                                                                         section XII.E of this preamble and in           redesignated paragraphs (o), (q), and (r).
                                                 national average. American Indian                       section 6, Environmental Justice                  The revisions read as follows:
                                                 populations, residents of Tribal Lands,                 Impacts of the RIA, which is in the
                                                 populations with life expectancy data                   public docket.                                  § 60.17       Incorporations by reference.
                                                 unavailable, children, and unemployed                                                                   *      *    *     *     *
                                                 populations may also experience                         K. Congressional Review Act (CRA)                  (d) * * *
                                                 disproportionately higher ozone                           This action is subject to the CRA, and           (1) ANSI No. C12.20–2010 American
                                                 concentrations than the national                        the EPA will submit the rule report to          National Standard for Electricity
                                                 average. Black populations may also                     each House of the Congress and to the           Meters—0.2 and 0.5 Accuracy Classes
                                                 experience disproportionately higher                    Comptroller General of the United               (Approved August 31, 2010); IBR
                                                 PM2.5 concentrations than the national                  States. This action meets the criteria set      approved for §§ 60.5535(d); 60.5535a(d);
                                                 average.                                                forth in 5 U.S.C. 804(2).                       60.5860b(a).
                                                    For existing sources, the EPA believes
                                                                                                         XIV. Statutory Authority                        *      *    *     *     *
                                                 that this action is not likely to change                                                                   (g) * * *
                                                 existing disproportionate and adverse                     The statutory authority for the actions          (15) ASME PTC 22–2014, Gas
                                                 disparities among communities with EJ                   in this rulemaking is provided by               Turbines: Performance Test Codes,
                                                 concerns regarding PM2.5 exposures in                   sections 111, 302, and 307(d)(1) of the         (Issued December 31, 2014); IBR
                                                 all future years evaluated and ozone                    CAA as amended (42 U.S.C. 7411, 7602,           approved for §§ 60.5580; 60.5580a.
                                                 exposures for most demographic groups                   7607(d)(1)). These actions are subject to          (16) ASME PTC 46–1996,
                                                 in the future years evaluated. However,                 section 307(d) of the CAA (42 U.S.C.            Performance Test Code on Overall Plant
                                                 in 2035, under the illustrative                         7607(d)).                                       Performance, (Issued October 15,1997);
                                                 compliance scenarios analyzed, it is                                                                    IBR approved for §§ 60.5580; 60.5580a.
                                                 possible that Asian populations,                        List of Subjects in 40 CFR Part 60
                                                 Hispanic populations, and those                           Environmental protection,                     *      *    *     *     *
                                                                                                         Administrative practice and procedures,            (h) * * *
                                                 linguistically isolated, and those living
                                                                                                         Air pollution control, Incorporation by            (38) ASTM D388–99 (Reapproved
                                                 on Tribal land may experience a slight
                                                                                                         reference, Reporting and recordkeeping          2004) e1(ASTM D388–99R04), Standard
                                                 exacerbation of ozone exposure
                                                                                                         requirements.                                   Classification of Coals by Rank,
                                                 disparities at the national level (EJ
                                                                                                                                                         (Approved June 1, 2004); IBR approved
                                                 question 3). Additionally at the national               Michael S. Regan,                               for §§ 60.41; 60.45(f); 60.41Da; 60.41b;
                                                 level, those living on Tribal land may
                                                                                                         Administrator.                                  60.41c; 60.251; 60.5580; 60.5580a.
                                                 experience a slight exacerbation of
                                                 ozone exposure disparities in 2040 and                    For the reasons set forth in the              *      *    *     *     *
                                                 a slight mitigation of ozone exposure                   preamble, the EPA amends 40 CFR part               (43) ASTM D396–98, Standard
                                                 disparities in 2028 and 2030. At the                    60 as follows:                                  Specification for Fuel Oils, (Approved
                                                 state level, ozone exposure disparities                                                                 April 10, 1998); IBR approved for
                                                 may be either mitigated or exacerbated                  PART 60—STANDARDS OF                            §§ 60.41b; 60.41c; 60.111(b); 60.111a(b);
                                                 for certain demographic groups                          PERFORMANCE FOR NEW                             60.5580; 60.5580a.
                                                 analyzed, also to a small degree. As                    STATIONARY SOURCES                              *      *    *     *     *
                                                 discussed above, it is important to note                                                                   (47) ASTM D975–08a, Standard
                                                                                                         ■ 1. The authority citation for part 60
                                                 that this analysis does not consider any                                                                Specification for Diesel Fuel Oils,
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                                                                                                         continues to read as follows:
                                                 potential impact of the meaningful                                                                      (Approved October 1, 2008); IBR
                                                                                                           Authority: 42 U.S.C. 7401 et seq.             approved for §§ 60.41b; 60.41c; 60.5580;
                                                 engagement provisions or all of the
                                                 other protections that are in place that                                                                60.5580a.
                                                                                                         Subpart A—General Provisions
                                                 can reduce the risks of localized                                                                       *      *    *     *     *
                                                 emissions increases in a manner that is                 ■ 2. Section 60.17 is amended by:                  (145) ASTM D3699–08, Standard
                                                 protective of public health, safety, and                ■ a. Revising paragraphs (d)(1), (g)(15)        Specification for Kerosine, including
                                                 the environment.                                        and (16), (h)(38), (43), (47), (145), (206),    Appendix X1, (Approved September 1,


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                                                 2008); IBR approved for §§ 60.41b;                         (2) ISO 2314:2009(E), Gas turbines–          § 60.5509 What are my general
                                                 60.41c; 60.5580; 60.5580a.                              Acceptance tests, Third edition                 requirements for complying with this
                                                                                                         (December 15, 2009), IBR approved for           subpart?
                                                 *     *     *     *    *
                                                   (206) ASTM D6751–11b, Standard                        §§ 60.5580; 60.5580a.                              (a) Except as provided for in
                                                 Specification for Biodiesel Fuel Blend                                                                  paragraph (b) of this section, the GHG
                                                                                                            (3) ISO 8316: Measurement of Liquid
                                                 Stock (B100) for Middle Distillate Fuels,                                                               standards included in this subpart apply
                                                                                                         Flow in Closed Conduits—Method by
                                                 including Appendices X1 through X3,                                                                     to any steam generating unit or IGCC
                                                                                                         Collection of the Liquid in a Volumetric
                                                 (Approved July 15, 2011), IBR approved                                                                  that commenced construction after
                                                                                                         Tank (1987–10–01)—First Edition, IBR
                                                 for §§ 60.41b, 60.41c, 60.5580, and                                                                     January 8, 2014, or commenced
                                                                                                         approved for § 60.107a(d).
                                                 60.5580a.                                                                                               modification or reconstruction after
                                                                                                            (4) ISO 10715:1997(E), Natural gas—          June 18, 2014, that meets the relevant
                                                 *     *     *     *    *                                Sampling guidelines, (First Edition,
                                                   (212) ASTM D7467–10, Standard                                                                         applicability conditions in paragraphs
                                                                                                         June 1, 1997), IBR approved for                 (a)(1) and (2) of this section. The GHG
                                                 Specification for Diesel Fuel Oil,                      § 60.4415(a).
                                                 Biodiesel Blend (B6 to B20), including                                                                  standards included in this subpart also
                                                 Appendices X1 through X3, (Approved                        (o) National Technical Information           apply to any stationary combustion
                                                 August 1, 2010), IBR approved for                       Services (NTIS), 5285 Port Royal Road,          turbine that commenced construction
                                                 §§ 60.41b, 60.41c, 60.5580, and                         Springfield, Virginia 22161.                    after January 8, 2014, but on or before
                                                 60.5580a.                                               *      *     *    *    *                        May 23, 2023, or commenced
                                                                                                                                                         reconstruction after June 18, 2014, but
                                                 *     *     *     *    *                                   (q) Pacific Lumber Inspection Bureau
                                                   (i) Association of Official Analytical                                                                on or before May 23, 2023, that meets
                                                                                                         (formerly West Coast Lumber Inspection
                                                 Chemists, 1111 North 19th Street, Suite                                                                 the relevant applicability conditions in
                                                                                                         Bureau), 1010 South 336th Street #210,
                                                 210, Arlington, VA 22209; phone: (301)                                                                  paragraphs (a)(1) and (2) of this section.
                                                                                                         Federal Way, WA 98003; phone: (253)                (1) Has a base load rating greater than
                                                 927–7077; website: https://                             835.3344; website: www.plib.org.                260 gigajoules per hour (GJ/h) (250
                                                 www.aoac.org/.                                          *      *     *    *    *                        million British thermal units per hour
                                                 *     *     *     *    *                                   (r) Technical Association of the Pulp        (MMBtu/h)) of fossil fuel (either alone
                                                   (j) CSA Group (CSA) (formerly                         and Paper Industry (TAPPI), 15                  or in combination with any other fuel);
                                                 Canadian Standards Association), 178                    Technology Parkway South, Suite 115,            and
                                                 Rexdale Boulevard, Toronto, Ontario,                    Peachtree Corners, GA 30092; phone                 (2) Serves a generator or generators
                                                 Canada; phone: (800) 463–6727;                          (800) 332–8686; website: www.tappi.org.         capable of selling greater than 25
                                                 website: https://shop.csa.ca.                                                                           megawatts (MW) of electricity to a
                                                   (1) CSA B415.1–10, Performance                        *      *     *    *    *
                                                                                                                                                         utility power distribution system.
                                                 Testing of Solid-fuel-burning Heating                                                                      (b) You are not subject to the
                                                                                                         Subpart TTTT—Standards of
                                                 Appliances, (March 2010), IBR                                                                           requirements of this subpart if your
                                                                                                         Performance for Greenhouse Gas
                                                 approved for §§ 60.534; 60.5476.                                                                        affected EGU meets any of the
                                                   (2) [Reserved]                                        Emissions for Electric Generating
                                                                                                         Units                                           conditions specified in paragraphs (b)(1)
                                                 *     *     *     *    *                                                                                through (10) of this section.
                                                   (l) European Standards (EN),                                                                             (1) Your EGU is a steam generating
                                                                                                         ■ 3. Section 60.5508 is revised to read
                                                 European Committee for                                                                                  unit or IGCC whose annual net-electric
                                                                                                         as follows:
                                                 Standardization, Management Centre,                                                                     sales have never exceeded one-third of
                                                 Avenue Marnix 17, B–1000 Brussels,                      § 60.5508    What is the purpose of this        its potential electric output or 219,000
                                                 Belgium; phone: + 32 2 550 08 11;                       subpart?                                        megawatt-hour (MWh), whichever is
                                                 website: https://www.en-standard.eu.                                                                    greater, and is currently subject to a
                                                   (1) DIN EN 303–5:2012E (EN 303–5),                       This subpart establishes emission
                                                                                                         standards and compliance schedules for          federally enforceable permit condition
                                                 Heating boilers—Part 5: Heating boilers                                                                 limiting annual net-electric sales to no
                                                 for solid fuels, manually and                           the control of greenhouse gas (GHG)
                                                                                                         emissions from a steam generating unit          more than one-third of its potential
                                                 automatically stoked, nominal heat                                                                      electric output or 219,000 MWh,
                                                 output of up to 500 kW—Terminology,                     or an integrated gasification combined
                                                                                                         cycle (IGCC) facility that commences            whichever is greater.
                                                 requirements, testing and marking,                                                                         (2) Your EGU is capable of deriving 50
                                                 (October 2012), IBR approved for                        construction after January 8, 2014,
                                                                                                         commences reconstruction after June 18,         percent or more of the heat input from
                                                 § 60.5476.                                                                                              non-fossil fuel at the base load rating
                                                   (2) [Reserved]                                        2014, or commences modification after
                                                                                                         January 8, 2014, but on or before May           and is also subject to a federally
                                                 *     *     *     *    *                                                                                enforceable permit condition limiting
                                                   (m) GPA Midstream Association, 6060                   23, 2023. This subpart also establishes
                                                                                                         emission standards and compliance               the annual capacity factor for all fossil
                                                 American Plaza, Suite 700, Tulsa, OK                                                                    fuels combined of 10 percent (0.10) or
                                                 74135; phone: (918) 493–3872; website:                  schedules for the control of GHG
                                                                                                         emissions from a stationary combustion          less.
                                                 www.gpamidstream.org.                                                                                      (3) Your EGU is a combined heat and
                                                                                                         turbine that commences construction
                                                 *     *     *     *    *                                                                                power unit that is subject to a federally
                                                                                                         after January 8, 2014, but on or before
                                                   (n) International Organization for                                                                    enforceable permit condition limiting
                                                                                                         May 23, 2023, or commences
                                                 Standardization (ISO), 1, ch. de la Voie-                                                               annual net-electric sales to no more than
                                                                                                         reconstruction after June 18, 2014, but
                                                 Creuse, Case postale 56, CH–1211                                                                        either 219,000 MWh or the product of
                                                                                                         on or before May 23, 2023. An affected
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                                                 Geneva 20, Switzerland; phone: + 41 22                                                                  the design efficiency and the potential
                                                                                                         steam generating unit, IGCC, or
                                                 749 01 11; website: www.iso.org.                                                                        electric output, whichever is greater.
                                                                                                         stationary combustion turbine shall, for
                                                   (1) ISO 8178–4: 1996(E),                                                                                 (4) Your EGU serves a generator along
                                                                                                         the purposes of this subpart, be referred
                                                 Reciprocating Internal Combustion                                                                       with other steam generating unit(s),
                                                                                                         to as an affected electric generating unit
                                                 Engines—Exhaust Emission                                                                                IGCC, or stationary combustion
                                                                                                         (EGU).
                                                 Measurement—part 4: Test Cycles for                                                                     turbine(s) where the effective generation
                                                 Different Engine Applications, IBR                      ■ 4. Section 60.5509 is revised to read         capacity (determined based on a
                                                 approved for § 60.4241(b).                              as follows:                                     prorated output of the base load rating


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                                                 of each steam generating unit, IGCC, or                 section, an owner or operator of a              (2) Owners or operators of stationary
                                                 stationary combustion turbine) is 25                    stationary combustion turbine may             combustion turbines permitted to burn
                                                 MW or less.                                             petition the Administrator in writing to      fuels that do not have a consistent
                                                    (5) Your EGU is a municipal waste                    comply with the alternate applicable net      chemical composition or that do not
                                                 combustor that is subject to subpart Eb                 energy output standard. If the                have an emission rate of 69 kg/GJ (160
                                                 of this part.                                           Administrator grants the petition,            lb CO2/MMBtu) or less (e.g., non-
                                                    (6) Your EGU is a commercial or                      beginning on the date the Administrator       uniform fuels such as residual oil and
                                                 industrial solid waste incineration unit                grants the petition, the affected EGU         non-jet fuel kerosene) must follow the
                                                 that is subject to subpart CCCC of this                 must comply with the applicable net           monitoring, recordkeeping, and
                                                 part.                                                   energy output-based standard included         reporting requirements necessary to
                                                    (7) Your EGU is a steam generating                   in this subpart. Your operating permit        complete the heat input-based
                                                 unit or IGCC that undergoes a                           must include monitoring,                      calculations under this subpart.
                                                 modification resulting in an hourly                     recordkeeping, and reporting
                                                 increase in CO2 emissions (mass per                                                                   ■ 6. Section 60.5525 is revised to read
                                                                                                         methodologies based on the applicable
                                                 hour) of 10 percent or less (2 significant              net energy output standard. For the           as follows:
                                                 figures). Modified units that are not                   remainder of this subpart, where the          § 60.5525 What are my general
                                                 subject to the requirements of this                     term ‘‘gross or net energy output’’ is        requirements for complying with this
                                                 subpart pursuant to this paragraph (b)(7)               used, the term that applies to you is         subpart?
                                                 continue to be existing units under                     ‘‘net energy output.’’ Owners or
                                                 section 111 with respect to CO2                                                                         Combustion turbines qualifying under
                                                                                                         operators complying with the net
                                                 emissions standards.                                                                                  § 60.5520(d)(1) are not subject to any
                                                                                                         output-based standard must petition the
                                                    (8) Your EGU is a stationary                                                                       requirements in this section other than
                                                                                                         Administrator to switch back to
                                                 combustion turbine that is not capable                                                                the requirement to maintain fuel
                                                                                                         complying with the gross energy output-
                                                 of combusting natural gas (e.g., not                                                                  purchase records for permitted fuel(s).
                                                                                                         based standard.
                                                 connected to a natural gas pipeline).                      (d) Owners or operators of a stationary    For all other affected sources,
                                                    (9) Your EGU derives greater than 50                 combustion turbine that maintain              compliance with the applicable CO2
                                                 percent of the heat input from an                       records of electric sales to demonstrate      emission standard of this subpart shall
                                                 industrial process that does not produce                that the stationary combustion turbine is     be determined on a 12-operating-month
                                                 any electrical or mechanical output or                  subject to a heat input-based standard in     rolling average basis. See table 1 or 2 to
                                                 useful thermal output that is used                      table 2 to this subpart that are only         this subpart for the applicable CO2
                                                 outside the affected EGU.                               permitted to burn one or more uniform         emission standards.
                                                    (10) Your EGU is subject to subpart                  fuels, as described in paragraph (d)(1) of      (a) You must be in compliance with
                                                 TTTTa of this part.                                     this section, are only subject to the         the emission standards in this subpart
                                                 ■ 5. Section 60.5520 is revised to read                 monitoring requirements in paragraph          that apply to your affected EGU at all
                                                 as follows:                                             (d)(1). Owners or operators of all other      times. However, you must determine
                                                 § 60.5520 What CO2 emissions standard                   stationary combustion turbines that           compliance with the emission standards
                                                 must I meet?                                            maintain records of electric sales to         only at the end of the applicable
                                                    (a) For each affected EGU subject to                 demonstrate that the stationary               operating month, as provided in
                                                 this subpart, you must not discharge                    combustion turbines are subject to a          paragraph (a)(1) of this section.
                                                 from the affected EGU any gases that                    heat input-based standard in table 2 are        (1) For each affected EGU subject to
                                                 contain CO2 in excess of the applicable                 only subject to the requirements in           a CO2 emissions standard based on a 12-
                                                 CO2 emission standard specified in table                paragraph (d)(2) of this section.             operating-month rolling average, you
                                                 1 or 2 to this subpart, consistent with                    (1) Owners or operators of stationary      must determine compliance monthly by
                                                 paragraphs (b), (c), and (d) of this                    combustion turbines that are only             calculating the average CO2 emissions
                                                 section, as applicable.                                 permitted to burn fuels with a                rate for the affected EGU at the end of
                                                    (b) Except as specified in paragraphs                consistent chemical composition (i.e.,        the initial and each subsequent 12-
                                                 (c) and (d) of this section, you must                   uniform fuels) that result in a consistent    operating-month period.
                                                 comply with the applicable gross or net                 emission rate of 69 kilograms per
                                                                                                                                                         (2) Consistent with § 60.5520(d)(2), if
                                                 energy output standard, and your                        gigajoule (kg/GJ) (160 lb CO2/MMBtu) or
                                                                                                                                                       your affected stationary combustion
                                                 operating permit must include                           less are not subject to any monitoring or
                                                                                                                                                       turbine is subject to an input-based CO2
                                                 monitoring, recordkeeping, and                          reporting requirements under this
                                                                                                                                                       emissions standard, you must determine
                                                 reporting methodologies based on the                    subpart. These fuels include, but are not
                                                                                                                                                       the total heat input in GJ or MMBtu
                                                 applicable gross or net energy output                   limited to hydrogen, natural gas,
                                                                                                                                                       from natural gas (HTIPng) and the total
                                                 standard. For the remainder of this                     methane, butane, butylene, ethane,
                                                                                                                                                       heat input from all other fuels combined
                                                 subpart (for sources that do not qualify                ethylene, propane, naphtha, propylene,
                                                                                                                                                       (HTIPo) using one of the methods under
                                                 under paragraphs (c) and (d) of this                    jet fuel kerosene, No. 1 fuel oil, No. 2
                                                                                                                                                       § 60.5535(d)(2). You must then use the
                                                 section), where the term ‘‘gross or net                 fuel oil, and biodiesel. Stationary
                                                                                                                                                       following equation to determine the
                                                 energy output’’ is used, the term that                  combustion turbines qualifying under
                                                                                                                                                       applicable emissions standard during
                                                 applies to you is ‘‘gross energy output.’’              this paragraph are only required to
                                                                                                                                                       the compliance period:
                                                    (c) As an alternate to meeting the                   maintain purchase records for permitted
                                                 requirements in paragraph (b) of this                   fuels.                                        Equation 1 to Paragraph (a)(2)
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                                                                                   CO2 emissions standard = (so x HTIPn9) + (69 x HTJP0 )
                                                                                                                   HTIPng + HTJP0
                                                                                                                                                                                                    ER09my24.055</GPH>




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                                                 Where:                                                  § 60.5555(c)(3)(ii)(B) (for units that are      affected EGU(s) according to paragraphs
                                                 CO2 emission standard = the emission                    not subject to the Acid Rain Program).          (b)(1) through (5) of this section, or, if
                                                     standard during the compliance period               The first month of the initial                  applicable, as provided in paragraph (c)
                                                     in units of kg/GJ (or lb/MMBtu).                    compliance period shall be the first            of this section.
                                                 HTIPng = the heat input in GJ (or MMBtu)                operating month (as defined in                     (1) For an affected EGU that combusts
                                                     from natural gas.                                   § 60.5580) after the calendar month in          coal you must, and for all other affected
                                                 HTIPo = the heat input in GJ (or MMBtu)
                                                                                                         which the rule becomes effective; or            EGUs you may, install, certify, operate,
                                                     from all fuels other than natural gas.
                                                 50 = allowable emission rate in kg/GJ for heat             (ii) If the date on which emissions          maintain, and calibrate a CO2
                                                     input derived from natural gas (use 120             reporting is required to begin under 40         continuous emission monitoring system
                                                     if electing to demonstrate compliance               CFR 75.64(a) occurs on or after October         (CEMS) to directly measure and record
                                                     using lb CO2/MMBtu).                                23, 2015, then the first month of the           hourly average CO2 concentrations in
                                                 69 = allowable emission rate in kg/GJ for heat          initial compliance period shall be the          the affected EGU exhaust gases emitted
                                                     input derived from all fuels other than             first operating month (as defined in            to the atmosphere, and a flow
                                                     natural gas (use 160 if electing to                 § 60.5580) after the calendar month in          monitoring system to measure hourly
                                                     demonstrate compliance using lb CO2/                which emissions reporting is required to        average stack gas flow rates, according
                                                     MMBtu).
                                                                                                         begin under § 60.5555(c)(3)(ii)(A).             to 40 CFR 75.10(a)(3)(i). As an
                                                    (b) At all times you must operate and                   (3) For a modified or reconstructed          alternative to direct measurement of
                                                 maintain each affected EGU, including                   EGU that becomes subject to this                CO2 concentration, provided that your
                                                 associated equipment and monitors, in                   subpart, the first month of the initial         EGU does not use carbon separation
                                                 a manner consistent with safety and                     compliance period shall be the first            (e.g., carbon capture and storage), you
                                                 good air pollution control practice. The                operating month (as defined in                  may use data from a certified oxygen
                                                 Administrator will determine if you are                 § 60.5580) after the calendar month in          (O2) monitor to calculate hourly average
                                                 using consistent operation and                          which emissions reporting is required to        CO2 concentrations, in accordance with
                                                 maintenance procedures based on                         begin under § 60.5555(c)(3)(iii).               40 CFR 75.10(a)(3)(iii). If you measure
                                                 information available to the                               (4) Electric sales by your affected          CO2 concentration on a dry basis, you
                                                 Administrator that may include, but is                  facility generated when it operated             must also install, certify, operate,
                                                 not limited to, fuel use records,                       during a system emergency as defined            maintain, and calibrate a continuous
                                                 monitoring results, review of operation                 in § 60.5580 are excluded for                   moisture monitoring system, according
                                                 and maintenance procedures and                          applicability with the base load                to 40 CFR 75.11(b). Alternatively, you
                                                 records, review of reports required by                  standard if you can sufficiently provide        may either use an appropriate fuel-
                                                 this subpart, and inspection of the EGU.                the documentation listed in § 60.5560(i).       specific default moisture value from 40
                                                    (c) Within 30 days after the end of the              ■ 7. Section 60.5535 is amended by              CFR 75.11(b) or submit a petition to the
                                                 initial compliance period (i.e., no more                revising paragraphs (a), (b), (c)(3), (d)(1),   Administrator under 40 CFR 75.66 for a
                                                 than 30 days after the first 12-operating-              (e), and (f) to read as follows:                site-specific default moisture value.
                                                 month compliance period), you must                                                                         (2) For each continuous monitoring
                                                 make an initial compliance                              § 60.5535 How do I monitor and collect          system that you use to determine the
                                                                                                         data to demonstrate compliance?                 CO2 mass emissions, you must meet the
                                                 determination for your affected EGU(s)
                                                 with respect to the applicable emissions                   (a) Combustion turbines qualifying           applicable certification and quality
                                                 standard in table 1 or 2 to this subpart,               under § 60.5520(d)(1) are not subject to        assurance procedures in 40 CFR 75.20
                                                 in accordance with the requirements in                  any requirements in this section other          and appendices A and B to 40 CFR part
                                                 this subpart. The first operating month                 than the requirement to maintain fuel           75.
                                                 included in the initial 12-operating-                   purchase records for permitted fuel(s). If         (3) You must use only unadjusted
                                                 month compliance period shall be                        your combustion turbine uses non-               exhaust gas volumetric flow rates to
                                                 determined as follows:                                  uniform fuels as specified under                determine the hourly CO2 mass
                                                    (1) For an affected EGU that                         § 60.5520(d)(2), you must monitor heat          emissions rate from the affected EGU;
                                                 commences commercial operation (as                      input in accordance with paragraph              you must not apply the bias adjustment
                                                 defined in 40 CFR 72.2) on or after                     (c)(1) of this section, and you must            factors described in Section 7.6.5 of
                                                 October 23, 2015, the first month of the                monitor CO2 emissions in accordance             appendix A to 40 CFR part 75 to the
                                                 initial compliance period shall be the                  with either paragraph (b), (c)(2), or (c)(5)    exhaust gas flow rate data.
                                                 first operating month (as defined in                    of this section. For all other affected            (4) You must select an appropriate
                                                 § 60.5580) after the calendar month in                  sources, you must prepare a monitoring          reference method to setup (characterize)
                                                 which emissions reporting is required to                plan to quantify the hourly CO2 mass            the flow monitor and to perform the on-
                                                 begin under:                                            emission rate (tons/h), in accordance           going RATAs, in accordance with 40
                                                    (i) Section 60.5555(c)(3)(i), for units              with the applicable provisions in 40            CFR part 75. If you use a Type-S pitot
                                                 subject to the Acid Rain Program; or                    CFR 75.53(g) and (h). The electronic            tube or a pitot tube assembly for the
                                                    (ii) Section 60.5555(c)(3)(ii)(A), for               portion of the monitoring plan must be          flow RATAs, you must calibrate the
                                                 units that are not in the Acid Rain                     submitted using the ECMPS Client Tool           pitot tube or pitot tube assembly; you
                                                 Program.                                                and must be in place prior to reporting         may not use the 0.84 default Type-S
                                                    (2) For an affected EGU that has                     emissions data and/or the results of            pitot tube coefficient specified in
                                                 commenced commercial operation (as                      monitoring system certification tests           Method 2.
                                                 defined in 40 CFR 72.2) prior to October                under this subpart. The monitoring plan            (5) Calculate the hourly CO2 mass
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                                                 23, 2015:                                               must be updated as necessary.                   emissions (kg) as described in
                                                    (i) If the date on which emissions                   Monitoring plan submittals must be              paragraphs (b)(5)(i) through (iv) of this
                                                 reporting is required to begin under 40                 made by the Designated Representative           section. Perform this calculation only
                                                 CFR 75.64(a) has passed prior to                        (DR), the Alternate DR, or a delegated          for ‘‘valid operating hours’’, as defined
                                                 October 23, 2015, emissions reporting                   agent of the DR (see § 60.5555(d) and           in § 60.5540(a)(1).
                                                 shall begin according to                                (e)).                                              (i) Begin with the hourly CO2 mass
                                                 § 60.5555(c)(3)(i) (for Acid Rain program                  (b) You must determine the hourly            emission rate (tons/h), obtained either
                                                 units), or according to                                 CO2 mass emissions in kg from your              from equation F–11 in appendix F to 40


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                                                 CFR part 75 (if CO2 concentration is                    electric generator, you must apportion        accurate estimation of emissions
                                                 measured on a wet basis), or by                         the combined hourly gross or net energy       regulated under this part.
                                                 following the procedure in section 4.2 of               output to the individual affected EGUs        *     *     *    *     *
                                                 appendix F to part 75 (if CO2                           according to the fraction of the total        ■ 8. Section 60.5540 is revised to read
                                                 concentration is measured on a dry                      steam load and/or direct mechanical           as follows:
                                                 basis).                                                 energy contributed by each EGU to the
                                                    (ii) Next, multiply each hourly CO2                  electric generator. Alternatively, if the     § 60.5540 How do I demonstrate
                                                 mass emission rate by the EGU or stack                  EGUs are identical, you may apportion         compliance with my CO2 emissions
                                                 operating time in hours (as defined in                  the combined hourly gross or net              standard and determine excess emissions?
                                                 40 CFR 72.2), to convert it to tons of                  electrical load to the individual EGUs           (a) In accordance with § 60.5520, if
                                                 CO2.                                                    according to the fraction of the total heat   you are subject to an output-based
                                                    (iii) Finally, multiply the result from              input contributed by each EGU. You            emission standard or you burn non-
                                                 paragraph (b)(5)(ii) of this section by                 may also elect to develop, demonstrate,       uniform fuels as specified in
                                                 907.2 to convert it from tons of CO2 to                 and provide information satisfactory to       § 60.5520(d)(2), you must demonstrate
                                                 kg. Round off to the nearest kg.                        the Administrator on alternate methods        compliance with the applicable CO2
                                                    (iv) The hourly CO2 tons/h values and                to apportion the gross energy output.         emission standard in table 1 or 2 to this
                                                 EGU (or stack) operating times used to                  The Administrator may approve such            subpart as required in this section. For
                                                 calculate CO2 mass emissions are                        alternate methods for apportioning the        the initial and each subsequent 12-
                                                 required to be recorded under 40 CFR                    gross energy output whenever the              operating-month rolling average
                                                 75.57(e) and must be reported                           demonstration ensures accurate                compliance period, you must follow the
                                                 electronically under 40 CFR 75.64(a)(6).                estimation of emissions regulated under       procedures in paragraphs (a)(1) through
                                                 You must use these data to calculate the                this part.                                    (8) of this section to calculate the CO2
                                                 hourly CO2 mass emissions.                                                                            mass emissions rate for your affected
                                                                                                            (f) In accordance with §§ 60.13(g) and
                                                    (c) * * *                                                                                          EGU(s) in units of the applicable
                                                    (3) For each ‘‘valid operating hour’’                60.5520, if two or more affected EGUs
                                                                                                         that implement the continuous emission        emissions standard (e.g., either kg/MWh
                                                 (as defined in § 60.5540(a)(1), multiply                                                              or kg/GJ). You must use the hourly CO2
                                                 the hourly tons/h CO2 mass emission                     monitoring provisions in paragraph (b)
                                                                                                         of this section share a common exhaust        mass emissions calculated under
                                                 rate from paragraph (c)(2) of this section                                                            § 60.5535(b) or (c), as applicable, and
                                                 by the EGU or stack operating time in                   gas stack you must monitor hourly CO2
                                                                                                         mass emissions in accordance with one         either the generating load data from
                                                 hours (as defined in 40 CFR 72.2), to                                                                 § 60.5535(d)(1) for output-based
                                                 convert it to tons of CO2. Then, multiply               of the following procedures:
                                                                                                            (1) If the EGUs are subject to the same    calculations or the heat input data from
                                                 the result by 907.2 to convert from tons                                                              § 60.5535(d)(2) for heat-input-based
                                                 of CO2 to kg. Round off to the nearest                  emissions standard in table 1 or 2 to this
                                                                                                         subpart, you may monitor the hourly           calculations. Combustion turbines firing
                                                 two significant figures.                                                                              non-uniform fuels that contain CO2
                                                 *       *    *     *     *                              CO2 mass emissions at the common
                                                                                                         stack in lieu of monitoring each EGU          prior to combustion (e.g., blast furnace
                                                    (d) * * *                                                                                          gas or landfill gas) may sample the fuel
                                                    (1) If you operate a source subject to               separately. If you choose this option, the
                                                                                                         hourly gross or net energy output             stream to determine the quantity of CO2
                                                 an emissions standard established on an                                                               present in the fuel prior to combustion
                                                 output basis (e.g., lb of CO2 per gross or              (electric, thermal, and/or mechanical, as
                                                                                                         applicable) must be the sum of the            and exclude this portion of the CO2
                                                 net MWh of energy output), you must                                                                   mass emissions from compliance
                                                 install, calibrate, maintain, and operate               hourly loads for the individual affected
                                                                                                         EGUs and you must express the                 determinations.
                                                 a sufficient number of watt meters to                                                                    (1) Each compliance period shall
                                                 continuously measure and record the                     operating time as ‘‘stack operating
                                                                                                                                                       include only ‘‘valid operating hours’’ in
                                                 hourly gross electric output or net                     hours’’ (as defined in 40 CFR 72.2). If
                                                                                                                                                       the compliance period, i.e., operating
                                                 electric output, as applicable, from the                you attain compliance with the
                                                                                                                                                       hours for which:
                                                 affected EGU(s). These measurements                     applicable emissions standard in                 (i) ‘‘Valid data’’ (as defined in
                                                 must be performed using 0.2 class                       § 60.5520 at the common stack, each           § 60.5580) are obtained for all of the
                                                 electricity metering instrumentation and                affected EGU sharing the stack is in          parameters used to determine the hourly
                                                 calibration procedures as specified                     compliance.                                   CO2 mass emissions (kg) and, if a heat
                                                 under ANSI No. C12.20–2010                                 (2) As an alternative, or if the EGUs      input-based standard applies, all the
                                                 (incorporated by reference, see § 60.17).               are subject to different emission             parameters used to determine total heat
                                                 For a combined heat and power (CHP)                     standards in table 1 or 2 to this subpart,    input for the hour are also obtained; and
                                                 EGU, as defined in § 60.5580, you must                  you must either:                                 (ii) The corresponding hourly gross or
                                                 also install, calibrate, maintain, and                     (i) Monitor each EGU separately by         net energy output value is also valid
                                                 operate meters to continuously (i.e.,                   measuring the hourly CO2 mass                 data (Note: For hours with no useful
                                                 hour-by-hour) determine and record the                  emissions prior to mixing in the              output, zero is considered to be a valid
                                                 total useful thermal output. For process                common stack or                               value).
                                                 steam applications, you will need to                       (ii) Apportion the CO2 mass emissions         (2) You must exclude operating hours
                                                 install, calibrate, maintain, and operate               based on the unit’s load contribution to      in which:
                                                 meters to continuously determine and                    the total load associated with the               (i) The substitute data provisions of
                                                 record the hourly steam flow rate,                      common stack and the appropriate F-           40 CFR 75 are applied for any of the
                                                 temperature, and pressure. Your plan
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                                                                                                         factors. You may also elect to develop,       parameters used to determine the hourly
                                                 shall ensure that you install, calibrate,               demonstrate, and provide information          CO2 mass emissions or, if a heat input-
                                                 maintain, and operate meters to record                  satisfactory to the Administrator on          based standard applies, for any
                                                 each component of the determination,                    alternate methods to apportion the CO2        parameters used to determine the hourly
                                                 hour-by-hour.                                           emissions. The Administrator may              heat input;
                                                 *       *    *     *     *                              approve such alternate methods for               (ii) An exceedance of the full-scale
                                                    (e) Consistent with § 60.5520, if two                apportioning the CO2 emissions                range of a continuous emission
                                                 or more affected EGUs serve a common                    whenever the demonstration ensures            monitoring system occurs for any of the


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                                                 parameters used to determine the hourly                 calculate the total CO2 mass emissions,         section, but there is no (i.e., zero) gross
                                                 CO2 mass emissions or, if applicable, to                you must determine Pgross/net (the              electrical, mechanical, or useful thermal
                                                 determine the hourly heat input; or                     corresponding hourly gross or net               output, you must use that hour in the
                                                    (iii) The total gross or net energy                  energy output in MWh) according to the          compliance determination. For hours or
                                                 output (Pgross/net) or, if applicable, the              procedures in paragraphs (a)(5)(i) and          partial hours where the gross electric
                                                 total heat input is unavailable.                        (ii) of this section, as appropriate for the    output is equal to or less than the
                                                    (3) For each compliance period, at                   type of affected EGU(s). For an operating       auxiliary loads, net electric output shall
                                                 least 95 percent of the operating hours                                                                 be counted as zero for this calculation.
                                                                                                         hour in which a valid CO2 mass
                                                 in the compliance period must be valid                                                                    (i) Calculate Pgross/net for your affected
                                                                                                         emissions value is determined
                                                 operating hours, as defined in paragraph                                                                EGU using the following equation. All
                                                 (a)(1) of this section.                                 according to paragraph (a)(1)(i) of this
                                                                                                         section, if there is no gross or net            terms in the equation must be expressed
                                                    (4) You must calculate the total CO2                                                                 in units of MWh. To convert each
                                                 mass emissions by summing the valid                     electrical output, but there is
                                                                                                         mechanical or useful thermal output,            hourly gross or net energy output
                                                 hourly CO2 mass emissions values from                                                                   (consistent with § 60.5520) value
                                                 § 60.5535 for all of the valid operating                you must still determine the gross or net
                                                                                                         energy output for that hour. In addition,       reported under 40 CFR part 75 to MWh,
                                                 hours in the compliance period.                                                                         multiply by the corresponding EGU or
                                                    (5) For each valid operating hour of                 for an operating hour in which a valid
                                                                                                                                                         stack operating time.
                                                 the compliance period that was used in                  CO2 mass emissions value is determined
                                                 paragraph (a)(4) of this section to                     according to paragraph (a)(1)(i) of this        Equation 1 to paragraph (a)(5)(i)




                                                 Where:                                                     the performance of the affected EGU in       energy output for the affected EGU’s
                                                 Pgross/net = In accordance with § 60.5520, gross           MWh.                                         compliance period by summing the
                                                      or net energy output of your affected              TDF = Electric Transmission and Distribution    hourly gross or net energy output values
                                                      EGU for each valid operating hour (as                 Factor of 0.95 for a combined heat and
                                                                                                            power affected EGU where at least 20.0
                                                                                                                                                         for the affected EGU that you
                                                      defined in § 60.5540(a)(1)) in MWh.
                                                 (Pe)ST = Electric energy output plus                       percent of the total gross or net energy     determined under paragraph (a)(5) of
                                                      mechanical energy output (if any) of                  output consists of electric or direct        this section for all of the valid operating
                                                      steam turbines in MWh.                                mechanical output and 20.0 percent of        hours in the applicable compliance
                                                 (Pe)CT = Electric energy output plus                       the total gross or net energy output         period.
                                                      mechanical energy output (if any) of                  consists of useful thermal output on a
                                                      stationary combustion turbine(s) in                   12-operating-month rolling average basis,
                                                                                                                                                            (ii) If you are subject to a heat input-
                                                      MWh.                                                  or 1.0 for all other affected EGUs.          based standard, you must calculate the
                                                 (Pe)IE = Electric energy output plus                                                                    total heat input for each fuel fired
                                                      mechanical energy output (if any) of                  (ii) If applicable to your affected EGU      during the compliance period. The
                                                      your affected EGU’s integrated                     (for example, for combined heat and             calculation of total heat input for each
                                                      equipment that provides electricity or             power), you must calculate (Pt)PS using         individual fuel must include all valid
                                                      mechanical energy to the affected EGU or           the following equation:                         operating hours and must also be
                                                      auxiliary equipment in MWh.
                                                 (Pe)FW = Electric energy used to power boiler           Equation 2 to Paragraph (a)(5)(ii)              consistent with any fuel-specific
                                                      feedwater pumps at steam generating                                                                procedures specified within your
                                                      units in MWh. Not applicable to                                                                    selected monitoring option under
                                                      stationary combustion turbines, IGCC                                                               § 60.5535(d)(2).
                                                      EGUs, or EGUs complying with a net                 Where:
                                                      energy output based standard.                                                                         (7) If you are subject to an output-
                                                                                                         Qm = Measured useful thermal output flow in     based standard, you must calculate the
                                                 (Pe)A = Electric energy used for any auxiliary
                                                      loads in MWh. Not applicable for                       kg (lb) for the operating hour.             CO2 mass emissions rate for the affected
                                                                                                         H = Enthalpy of the useful thermal output at
                                                      determining Pgross.                                                                                EGU(s) (kg/MWh) by dividing the total
                                                 (Pt)PS = Useful thermal output of steam                     measured temperature and pressure
                                                                                                             (relative to SATP conditions or the         CO2 mass emissions value calculated
                                                      (measured relative to standard ambient                                                             according to the procedures in
                                                      temperature and pressure (SATP)                        energy in the condensate return line, as
                                                      conditions, as applicable) that is used for            applicable) in Joules per kilogram (J/kg)   paragraph (a)(4) of this section by the
                                                      applications that do not generate                      (or Btu/lb).                                total gross or net energy output value
                                                      additional electricity, produce                    CF = Conversion factor of 3.6 × 109 J/MWh       calculated according to the procedures
                                                      mechanical energy output, or enhance                   or 3.413 × 106 Btu/MWh.                     in paragraph (a)(6)(i) of this section.
                                                      the performance of the affected EGU.                 (6) Sources complying with energy             Round off the result to two significant
                                                      This is calculated using the equation                                                              figures if the calculated value is less
                                                                                                         output-based standards must calculate
                                                      specified in paragraph (a)(5)(ii) of this
                                                      section in MWh.                                    the basis (i.e., denominator) of their          than 1,000; round the result to three
                                                 (Pt)HR = Non steam useful thermal output                actual 12-operating month emission rate         significant figures if the calculated value
                                                      (measured relative to SATP conditions,             in accordance with paragraph (a)(6)(i) of       is greater than 1,000. If you are subject
                                                      as applicable) from heat recovery that is          this section. Sources complying with            to a heat input-based standard, you
                                                      used for applications other than steam             heat input based standards must                 must calculate the CO2 mass emissions
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                                                      generation or performance enhancement              calculate the basis of their actual 12-         rate for the affected EGU(s) (kg/GJ or lb/
                                                      of the affected EGU in MWh.                        operating month emission rate in                MMBtu) by dividing the total CO2 mass
                                                                                                                                                                                                        ER09my24.056</GPH>




                                                 (Pt)IE = Useful thermal output (relative to
                                                                                                         accordance with paragraph (a)(6)(ii) of         emissions value calculated according to
                                                      SATP conditions, as applicable) from
                                                      any integrated equipment is used for               this section.                                   the procedures in paragraph (a)(4) of
                                                      applications that do not generate                    (i) In accordance with § 60.5520 if you       this section by the total heat input
                                                      additional steam, electricity, produce             are subject to an output-based standard,        calculated according to the procedures
                                                                                                                                                                                                        ER09my24.064</GPH>




                                                      mechanical energy output, or enhance               you must calculate the total gross or net       in paragraph (a)(6)(ii) of this section.


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                                                 Round off the result to two significant                 making this determination, the                 head and power unit or CHP unit’’,
                                                 figures.                                                Administrator shall consider (among            ‘‘Design efficiency’’, ‘‘Distillate oil’’,
                                                    (b) In accordance with § 60.5520, to                 other factors) operating history of the        ‘‘ISO conditions’’, ‘‘Net electric sales’’,
                                                 demonstrate compliance with the                         technology, whether the technology will        and ‘‘System emergency’’.
                                                 applicable CO2 emission standard, for                   increase emissions or other releases of           The revisions and republications read
                                                 the initial and each subsequent 12-                     any pollutant other than CO2, and              as follows:
                                                 operating-month compliance period, the                  permanence of the CO2 storage. The
                                                 CO2 mass emissions rate for your                                                                       § 60.5580   What definitions apply to this
                                                                                                         Administrator may test the system or
                                                                                                                                                        subpart?
                                                 affected EGU must be determined                         require the applicant to perform any
                                                 according to the procedures specified in                tests considered by the Administrator to       *      *     *    *      *
                                                 paragraph (a)(1) through (8) of this                    be necessary to show the technology’s             Annual capacity factor means the
                                                 section and must be less than or equal                  effectiveness, safety, and ability to store    ratio between the actual heat input to an
                                                 to the applicable CO2 emissions                         captured CO2 without release. The              EGU during a calendar year and the
                                                 standard in table 1 or 2 to this subpart,               Administrator may grant conditional            potential heat input to the EGU had it
                                                 or the emissions standard calculated in                 approval of a technology, with the             been operated for 8,760 hours during a
                                                 accordance with § 60.5525(a)(2).                        approval conditioned on monitoring             calendar year at the base load rating.
                                                                                                         and reporting of operations. The               Actual and potential heat input derived
                                                 ■ 9. Section 60.5555 is amended by
                                                                                                         Administrator may also withdraw                from non-combustion sources (e.g., solar
                                                 revising paragraphs (a)(2)(iv) and (v), (f),
                                                                                                         approval of the waiver on evidence of          thermal) are not included when
                                                 and (g) to read as follows.
                                                                                                         releases of CO2 or other pollutants. The       calculating the annual capacity factor.
                                                 § 60.5555   What reports must I submit and              Administrator will provide notice to the          Base load rating means the maximum
                                                 when?                                                   public of any application under this           amount of heat input (fuel) that an EGU
                                                    (a) * * *                                            provision and provide public notice of         can combust on a steady state basis plus
                                                    (2) * * *                                            any proposed action on a petition before       the maximum amount of heat input
                                                    (iv) The percentage of valid operating               the Administrator takes final action.          derived from non-combustion source
                                                 hours in each 12-operating-month                                                                       (e.g., solar thermal), as determined by
                                                                                                         ■ 10. Section 60.5560 is amended by
                                                 compliance period described in                                                                         the physical design and characteristics
                                                                                                         adding paragraphs (h) and (i) to read as
                                                 paragraph (a)(1) of this section (i.e., the                                                            of the EGU at International Organization
                                                                                                         follows:
                                                 total number of valid operating hours                                                                  for Standardization (ISO) conditions.
                                                 (as defined in § 60.5540(a)(1)) in that                 § 60.5560    What records must I maintain?     For a stationary combustion turbine,
                                                 period divided by the total number of                   *      *     *    *      *                     base load rating includes the heat input
                                                 operating hours in that period,                            (h) For stationary combustion               from duct burners.
                                                 multiplied by 100 percent);                             turbines, you must keep records of                Coal means all solid fuels classified as
                                                    (v) Consistent with § 60.5520, the CO2               electric sales to determine the                anthracite, bituminous, subbituminous,
                                                 emissions standard (as identified in                    applicable subcategory.                        or lignite by ASTM International in
                                                 table 1 or 2 to this subpart) with which                   (i) You must keep the records listed        ASTM D388–99R04 (incorporated by
                                                 your affected EGU must comply; and                      in paragraphs (i)(1) through (3) of this       reference, see § 60.17), coal refuse, and
                                                 *       *    *      *    *                              section to demonstrate that your               petroleum coke. Synthetic fuels derived
                                                    (f) If your affected EGU captures CO2                affected facility operated during a            from coal for the purpose of creating
                                                 to meet the applicable emissions                        system emergency.                              useful heat, including, but not limited
                                                 standard, you must report in accordance                    (1) Documentation that the system           to, solvent-refined coal, gasified coal
                                                 with the requirements of 40 CFR part                    emergency to which the affected EGU            (not meeting the definition of natural
                                                 98, subpart PP, and either:                             was responding was in effect from the          gas), coal-oil mixtures, and coal-water
                                                    (1) Report in accordance with the                    entity issuing the alert, and                  mixtures are included in this definition
                                                 requirements of 40 CFR part 98, subpart                 documentation of the exact duration of         for the purposes of this subpart.
                                                 RR, or subpart VV, if injection occurs                  the event;                                        Combined cycle unit means a
                                                 on-site;                                                   (2) Documentation from the entity           stationary combustion turbine from
                                                    (2) Transfer the captured CO2 to an                  issuing the alert that the system              which the heat from the turbine exhaust
                                                 EGU or facility that reports in                         emergency included the affected source/        gases is recovered by a heat recovery
                                                 accordance with the requirements of 40                  region where the affected facility was         steam generating unit (HRSG) to
                                                 CFR part 98, subpart RR, or subpart VV,                 located, and                                   generate additional electricity.
                                                 if injection occurs off-site; or                           (3) Documentation that the affected            Combined heat and power unit or
                                                    (3) Transfer the captured CO2 to a                   facility was instructed to increase            CHP unit, (also known as
                                                 facility that has received an innovative                output beyond the planned day-ahead            ‘‘cogeneration’’) means an electric
                                                 technology waiver from EPA pursuant                     or other near-term expected output and/        generating unit that simultaneously
                                                 to paragraph (g) of this section.                       or was asked to remain in operation            produces both electric (or mechanical)
                                                    (g) Any person may request the                       outside its scheduled dispatch during          and useful thermal output from the
                                                 Administrator to issue a waiver of the                  emergency conditions from a Reliability        same primary energy source.
                                                 requirement that captured CO2 from an                   Coordinator, Balancing Authority, or              Design efficiency means the rated
                                                 affected EGU be transferred to a facility               Independent System Operator/Regional           overall net efficiency (e.g., electric plus
                                                 reporting under 40 CFR part 98, subpart                 Transmission Organization.                     useful thermal output) on a lower
                                                                                                                                                        heating value basis at the base load
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                                                 RR, or subpart VV. To receive a waiver,                 ■ 11. Section 60.5580 is amended by:
                                                 the applicant must demonstrate to the                   ■ a. Revising the definitions for              rating, at ISO conditions, and at the
                                                 Administrator that its technology will                  ‘‘Annual capacity factor’’, and ‘‘Base         maximum useful thermal output (e.g.,
                                                 store captured CO2 as effectively as                    load rating’’;                                 CHP unit with condensing steam
                                                 geologic sequestration, and that the                    ■ b. Revising and republishing the             turbines would determine the design
                                                 proposed technology will not cause or                   definition for ‘‘Coal’’; and                   efficiency at the maximum level of
                                                 contribute to an unreasonable risk to                   ■ c. Revising the definitions for              extraction and/or bypass). Design
                                                 public health, welfare, or safety. In                   ‘‘Combined cycle unit’’, ‘‘Combined            efficiency shall be determined using one


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                                                 of the following methods: ASME PTC                          and 101.3 kilopascals (14.69 psi, 1 atm)                  System emergency means periods
                                                 22–2014, ASME PTC 46–1996, ISO                              pressure.                                               when the Reliability Coordinator has
                                                 2314:2009(E) (all incorporated by                           *      *     *      *   *                               declared an Energy Emergency Alert
                                                 reference, see § 60.17), or an alternative                     Net-electric sales means:                            level 2 or 3 as defined by NERC
                                                 approved by the Administrator.                                 (1) The gross electric sales to the                  Reliability Standard EOP–011–2 or its
                                                                                                             utility power distribution system minus                 successor.
                                                    Distillate oil means fuel oils that
                                                                                                             purchased power; or
                                                 comply with the specifications for fuel                        (2) For combined heat and power                      *     *     *     *    *
                                                 oil numbers 1 and 2, as defined in                          facilities, where at least 20.0 percent of              ■ 12. Table 1 to subpart TTTT is revised
                                                 ASTM D396–98 (incorporated by                               the total gross energy output consists of               to read as follows:
                                                 reference, see § 60.17); diesel fuel oil                    electric or direct mechanical output and
                                                 numbers 1 and 2, as defined in ASTM                         at least 20.0 percent of the total gross                Table 1 to Subpart TTTT of Part 60—
                                                 D975–08a (incorporated by reference,                        energy output consists of useful thermal                CO2 Emission Standards for Affected
                                                 see § 60.17); kerosene, as defined in                       output on a 12-operating month basis,                   Steam Generating Units and Integrated
                                                 ASTM D3699–08 (incorporated by                              the gross electric sales to the utility                 Gasification Combined Cycle Facilities
                                                 reference, see § 60.17); biodiesel as                       power distribution system minus                         That Commenced Construction After
                                                 defined in ASTM D6751–11b                                   purchased power of the thermal host                     January 8, 2014, and Reconstruction or
                                                 (incorporated by reference, see § 60.17);                   facility or facilities.                                 Modification After June 18, 2014
                                                 or biodiesel blends as defined in ASTM                         (3) Electricity supplied to other
                                                 D7467–10 (incorporated by reference,                        facilities that produce electricity to                     [Note: Numerical values of 1,000 or
                                                 see § 60.17).                                               offset auxiliary loads are included when                greater have a minimum of 3 significant
                                                                                                             calculating net-electric sales.                         figures and numerical values of less
                                                 *     *      *     *    *                                      (4) Electric sales during a system                   than 1,000 have a minimum of 2
                                                    ISO conditions means 288 Kelvin (15                      emergency are not included when                         significant figures]
                                                 °C, 59 °F), 60 percent relative humidity                    calculating net-electric sales.
                                                                                                             *      *     *      *   *

                                                                                    Affected EGU                                                                     CO2 Emission standard

                                                 Newly constructed steam generating unit or integrated gasification                         640 kg CO2/MWh of gross energy output (1,400 lb CO2/MWh-gross).
                                                   combined cycle (IGCC).
                                                 Reconstructed steam generating unit or IGCC that has base load rating                      910 kg CO2/MWh of gross energy output (2,000 lb CO2/MWh-gross).
                                                   of 2,100 GJ/h (2,000 MMBtu/h) or less.
                                                 Reconstructed steam generating unit or IGCC that has a base load rat-                      820 kg CO2/MWh of gross energy output (1,800 lb CO2/MWh-gross).
                                                   ing greater than 2,100 GJ/h (2,000 MMBtu/h).
                                                 Modified steam generating unit or IGCC .................................................   A unit-specific emission limit determined by the unit’s best historical an-
                                                                                                                                              nual CO2 emission rate (from 2002 to the date of the modification);
                                                                                                                                              the emission limit will be no lower than:
                                                                                                                                            (1) 820 kg CO2/MWh of gross energy output (1,800 lb CO2/MWh-
                                                                                                                                              gross) for units with a base load rating greater than 2,100 GJ/h
                                                                                                                                              (2,000 MMBtu/h); or
                                                                                                                                            (2) 910 kg CO2/MWh of gross energy output (2,000 lb CO2/MWh-
                                                                                                                                              gross) for units with a base load rating of 2,100 GJ/h (2,000 MMBtu/
                                                                                                                                              h) or less.



                                                 ■ 13. Table 2 to subpart TTTT is revised                    Table 2 to Subpart TTTT of Part 60—                     figures and numerical values of less
                                                 to read as follows:                                         CO2 Emission Standards for Affected                     than 1,000 have a minimum of 2
                                                                                                             Stationary Combustion Turbines That                     significant figures]
                                                                                                             Commenced Construction After January
                                                                                                             8, 2014, and Reconstruction After June
                                                                                                             18, 2014 (Net Energy Output-Based
                                                                                                             Standards Applicable as Approved by
                                                                                                             the Administrator)
                                                                                                               [Note: Numerical values of 1,000 or
                                                                                                             greater have a minimum of 3 significant

                                                                                    Affected EGU                                                                     CO2 Emission standard

                                                 Newly constructed or reconstructed stationary combustion turbine that                      450 kg CO2/MWh (1,000 lb CO2/MWh) of gross energy output; or
                                                   supplies more than its design efficiency or 50 percent, whichever is                     470 kg CO2/MWh (1,030 lb CO2/MWh) of net energy output.
                                                   less, times its potential electric output as net-electric sales on both a
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                                                   12-operating month and a 3-year rolling average basis and combusts
                                                   more than 90% natural gas on a heat input basis on a 12-operating-
                                                   month rolling average basis.




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                                                                                              Affected EGU                                                                                        CO2 Emission standard

                                                 Newly constructed or reconstructed stationary combustion turbine that                                          50 kg CO2/GJ (120 lb CO2/MMBtu) of heat input.
                                                   supplies its design efficiency or 50 percent, whichever is less, times
                                                   its potential electric output or less as net-electric sales on either a
                                                   12-operating month or a 3-year rolling average basis and combusts
                                                   more than 90% natural gas on a heat input basis on a 12-operating-
                                                   month rolling average basis].
                                                 Newly constructed and reconstructed stationary combustion turbine that                                         Between 50 to 69 kg CO2/GJ (120 to 160 lb CO2/MMBtu) of heat input
                                                   combusts 90% or less natural gas on a heat input basis on a 12-op-                                             as determined by the procedures in § 60.5525.
                                                   erating-month rolling average basis.



                                                 ■ 14. Table 3 to subpart TTTT is revised                                 Table 3 to Subpart TTTT of Part 60—
                                                 to read as follows:                                                      Applicability of Subpart A of Part 60
                                                                                                                          (General Provisions) to Subpart TTTT

                                                  General provisions citation                                   Subject of citation                               Applies to subpart TTTT                                 Explanation

                                                 § 60.1 ...................................    Applicability ..............................................     Yes.
                                                 § 60.2 ...................................    Definitions ................................................     Yes ....................................    Additional terms defined in § 60.5580.
                                                 § 60.3 ...................................    Units and Abbreviations ..........................               Yes.
                                                 § 60.4 ...................................    Address ...................................................      Yes ....................................    Does not apply to information reported
                                                                                                                                                                                                             electronically through ECMPS. Dupli-
                                                                                                                                                                                                             cate submittals are not required.
                                                 § 60.5 ...................................    Determination of construction or modi-                           Yes.
                                                                                                fication.
                                                 § 60.6 ...................................    Review of plans .......................................          Yes.
                                                 § 60.7 ...................................    Notification and Recordkeeping ..............                    Yes ....................................    Only the requirements to submit the noti-
                                                                                                                                                                                                             fications in § 60.7(a)(1) and (3) and to
                                                                                                                                                                                                             keep records of malfunctions in
                                                                                                                                                                                                             § 60.7(b), if applicable.
                                                 § 60.8(a) ...............................     Performance tests ...................................            No.
                                                 § 60.8(b) ...............................     Performance test method alternatives ....                        Yes ....................................    Administrator can approve alternate
                                                                                                                                                                                                              methods
                                                 § 60.8(c)–(f) ..........................      Conducting performance tests ................                    No.
                                                 § 60.9 ...................................    Availability of Information ........................             Yes.
                                                 § 60.10 .................................     State authority .........................................        Yes.
                                                 § 60.11 .................................     Compliance with standards and mainte-                            No.
                                                                                                 nance requirements.
                                                 § 60.12 .................................     Circumvention ..........................................         Yes.
                                                 § 60.13 (a)–(h), (j) ................         Monitoring requirements ..........................               No ......................................   All monitoring is done according to part
                                                                                                                                                                                                              75.
                                                 § 60.13 (i) .............................     Monitoring requirements ..........................               Yes ....................................    Administrator can approve alternative
                                                                                                                                                                                                              monitoring procedures or requirements
                                                 § 60.14 .................................     Modification .............................................       Yes (steam generating
                                                                                                                                                                  units and IGCC facilities).
                                                                                                                                                                No (stationary combustion
                                                                                                                                                                  turbines).
                                                 § 60.15 .................................     Reconstruction .........................................         Yes.
                                                 § 60.16 .................................     Priority list ................................................   No.
                                                 § 60.17 .................................     Incorporations by reference ....................                 Yes.
                                                 § 60.18 .................................     General control device requirements ......                       No.
                                                 § 60.19 .................................     General notification and reporting re-                           Yes .................................... Does not apply to notifications under
                                                                                                 quirements.                                                                                              § 75.61 or to information reported
                                                                                                                                                                                                          through ECMPS.



                                                 ■ 15. Add subpart TTTTa to read as                                       Emissions Standards                                                      Notification, Reports, and Records
                                                 follows:                                                                 60.5515a Which pollutants are regulated by                               60.5550a What notifications must I submit
                                                                                                                              this subpart?                                                            and when?
                                                 Subpart TTTTa—Standards of Performance                                                                                                            60.5555a What reports must I submit and
                                                 for Greenhouse Gas Emissions for Modified                                60.5520a What CO2 emissions standard
                                                                                                                              must I meet?                                                             when?
                                                 Coal-Fired Steam Electric Generating Units                                                                                                        60.5560a What records must I maintain?
                                                 and New Construction and Reconstruction                                  60.5525a What are my general requirements
                                                                                                                                                                                                   60.5565a In what form and how long must
                                                 Stationary Combustion Turbine Electric                                       for complying with this subpart?
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                                                                                                                                                                                                       I keep my records?
                                                 Generating Units                                                         Monitoring and Compliance Determination                                  Other Requirements and Information
                                                 Applicability                                                            Procedures
                                                                                                                                                                                                   60.5570a What parts of the general
                                                 Sec.                                                                     60.5535a How do I monitor and collect data                                   provisions apply to my affected EGU?
                                                 60.5508a What is the purpose of this                                         to demonstrate compliance?                                           60.5575a Who implements and enforces
                                                                                                                          60.5540a How do I demonstrate compliance                                     this subpart?
                                                      subpart?
                                                                                                                              with my CO2 emissions standard and                                   60.5580a What definitions apply to this
                                                 60.5509a Am I subject to this subpart?
                                                                                                                              determine excess emissions?                                              subpart?



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                                                 Table 1 to Subpart TTTTa of Part 60—CO2                      (2) Serves a generator or generators      Emission Standards
                                                     Emission Standards for Affected                       capable of selling greater than 25
                                                     Stationary Combustion Turbines That                   megawatts (MW) of electricity to a           § 60.5515a Which pollutants are regulated
                                                     Commenced Construction or                                                                          by this subpart?
                                                                                                           utility power distribution system.
                                                     Reconstruction After May 23, 2023                                                                     (a) The pollutants regulated by this
                                                     (Gross or Net Energy Output-Based                        (b) You are not subject to the
                                                                                                           requirements of this subpart if your         subpart are greenhouse gases. The
                                                     Standards Applicable as Approved by
                                                                                                           affected EGU meets any of the                greenhouse gas standard in this subpart
                                                     the Administrator)
                                                 Table 2 to Subpart TTTTa of Part 60—CO2                   conditions specified in paragraphs (b)(1)    is in the form of a limitation on
                                                     Emission Standards for Affected Steam                 through (8) of this section.                 emission of carbon dioxide.
                                                     Generating Units or IGCC That                            (1) Your EGU is a steam generating           (b) PSD and Title V thresholds for
                                                     Commenced Modification After May 23,                  unit or IGCC whose annual net-electric       greenhouse gases.
                                                     2023
                                                                                                           sales have never exceeded one-third of          (1) For the purposes of 40 CFR
                                                 Table 3 to Subpart TTTTa of Part 60—
                                                                                                           its potential electric output or 219,000     51.166(b)(49)(ii), with respect to GHG
                                                     Applicability of Subpart A of Part 60                                                              emissions from affected facilities, the
                                                     (General Provisions) to Subpart TTTTa                 megawatt-hour (MWh), whichever is
                                                                                                           greater, and is currently subject to a       ‘‘pollutant that is subject to the standard
                                                                                                           federally enforceable permit condition       promulgated under section 111 of the
                                                 Subpart TTTTa—Standards of                                                                             Act’’ shall be considered to be the
                                                 Performance for Greenhouse Gas                            limiting annual net-electric sales to no
                                                                                                           more than one-third of its potential         pollutant that otherwise is subject to
                                                 Emissions for Modified Coal-Fired                                                                      regulation under the Act as defined in
                                                 Steam Electric Generating Units and                       electric output or 219,000 MWh,
                                                                                                           whichever is greater.                        40 CFR 51.166(b)(48) and in any SIP
                                                 New Construction and Reconstruction                                                                    approved by the EPA that is interpreted
                                                 Stationary Combustion Turbine                                (2) Your EGU is capable of deriving 50
                                                                                                                                                        to incorporate, or specifically
                                                 Electric Generating Units                                 percent or more of the heat input from
                                                                                                                                                        incorporates, 40 CFR 51.166(b)(48).
                                                                                                           non-fossil fuel at the base load rating
                                                 Applicability                                                                                             (2) For the purposes of 40 CFR
                                                                                                           and is also subject to a federally
                                                                                                                                                        52.21(b)(50)(ii), with respect to GHG
                                                                                                           enforceable permit condition limiting
                                                 § 60.5508a       What is the purpose of this                                                           emissions from affected facilities, the
                                                 subpart?                                                  the annual capacity factor for all fossil
                                                                                                                                                        ‘‘pollutant that is subject to the standard
                                                                                                           fuels combined of 10 percent (0.10) or
                                                    This subpart establishes emission                                                                   promulgated under section 111 of the
                                                                                                           less.
                                                 standards and compliance schedules for                                                                 Act’’ shall be considered to be the
                                                                                                              (3) Your EGU is a combined heat and
                                                 the control of greenhouse gas (GHG)                                                                    pollutant that otherwise is subject to
                                                                                                           power unit that is subject to a federally
                                                 emissions from a coal-fired steam                                                                      regulation under the Act as defined in
                                                                                                           enforceable permit condition limiting
                                                 generating unit or integrated gasification                                                             40 CFR 52.21(b)(49).
                                                                                                           annual net-electric sales to no more than
                                                 combined cycle facility (IGCC) that                                                                       (3) For the purposes of 40 CFR 70.2,
                                                                                                           either 219,000 MWh or the product of
                                                 commences modification after May 23,                                                                   with respect to greenhouse gas
                                                                                                           the design efficiency and the potential
                                                 2023. This subpart also establishes                                                                    emissions from affected facilities, the
                                                                                                           electric output, whichever is greater.
                                                 emission standards and compliance                                                                      ‘‘pollutant that is subject to any
                                                 schedules for the control of GHG                             (4) Your EGU serves a generator along     standard promulgated under section 111
                                                 emissions from a stationary combustion                    with other steam generating unit(s),         of the Act’’ shall be considered to be the
                                                 turbine that commences construction or                    IGCC, or stationary combustion               pollutant that otherwise is ‘‘subject to
                                                 reconstruction after May 23, 2023. An                     turbine(s) where the effective generation    regulation’’ as defined in 40 CFR 70.2.
                                                 affected coal-fired steam generating                      capacity (determined based on a                 (4) For the purposes of 40 CFR 71.2,
                                                 unit, IGCC, or stationary combustion                      prorated output of the base load rating      with respect to greenhouse gas
                                                 turbine shall, for the purposes of this                   of each steam generating unit, IGCC, or      emissions from affected facilities, the
                                                 subpart, be referred to as an affected                    stationary combustion turbine) is 25         ‘‘pollutant that is subject to any
                                                 electric generating unit (EGU).                           MW or less.                                  standard promulgated under section 111
                                                                                                              (5) Your EGU is a municipal waste         of the Act’’ shall be considered to be the
                                                 § 60.5509a       Am I subject to this subpart?            combustor that is subject to subpart Eb      pollutant that otherwise is ‘‘subject to
                                                   (a) Except as provided for in                           of this part.                                regulation’’ as defined in 40 CFR 71.2.
                                                 paragraph (b) of this section, the GHG                       (6) Your EGU is a commercial or
                                                 standards included in this subpart apply                  industrial solid waste incineration unit     § 60.5520a What CO2 emissions standard
                                                 to any steam generating unit or IGCC                      that is subject to subpart CCCC of this      must I meet?
                                                 that combusts coal and that commences                     part.                                           (a) For each affected EGU subject to
                                                 modification after May 23, 2023, that                        (7) Your EGU is a steam generating        this subpart, you must not discharge
                                                 meets the relevant applicability                          unit or IGCC that undergoes a                from the affected EGU any gases that
                                                 conditions in paragraphs (a)(1) and (2)                   modification resulting in an hourly          contain CO2 in excess of the applicable
                                                 of this section. The GHG standards                        increase in CO2 emissions (mass per          CO2 emission standard specified in table
                                                 included in this subpart also apply to                    hour) of 10 percent or less (2 significant   1 to this subpart, consistent with
                                                 any stationary combustion turbine that                    figures). Modified units that are not        paragraphs (b), (c), and (d) of this
                                                 commences construction or                                 subject to the requirements of this          section, as applicable.
                                                 reconstruction after May 23, 2023, that                   subpart pursuant to this subsection             (b) Except as specified in paragraphs
                                                 meets the relevant applicability                          continue to be existing units under          (c) and (d) of this section, you must
                                                                                                           section 111 with respect to CO2
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                                                 conditions in paragraphs (a)(1) and (2)                                                                comply with the applicable gross or net
                                                 of this section.                                          emissions standards.                         energy output standard, and your
                                                   (1) Has a base load rating greater than                    (8) Your EGU derives greater than 50      operating permit must include
                                                 260 gigajoules per hour (GJ/h) (250                       percent of the heat input from an            monitoring, recordkeeping, and
                                                 million British thermal units per hour                    industrial process that does not produce     reporting methodologies based on the
                                                 (MMBtu/h)) of fossil fuel (either alone                   any electrical or mechanical output or       applicable gross or net energy output
                                                 or in combination with any other fuel);                   useful thermal output that is used           standard. For the remainder of this
                                                 and                                                       outside the affected EGU.                    subpart (for sources that do not qualify


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                                                 under paragraphs (c) and (d) of this                    maintain records of electric sales to            requirements in this section other than
                                                 section), where the term ‘‘gross or net                 demonstrate that the stationary                  the requirement to maintain fuel
                                                 energy output’’ is used, the term that                  combustion turbines are subject to a             purchase records for permitted fuel(s).
                                                 applies to you is ‘‘gross energy output.’’              heat input-based standard in table 1 are         For all other affected sources,
                                                    (c) As an alternative to meeting the                 only subject to the requirements in              compliance with the applicable CO2
                                                 requirements in paragraph (b) of this                   paragraph (d)(2) of this section.                emission standard of this subpart shall
                                                 section, an owner or operator of a                         (1) Owners or operators of stationary         be determined on a 12-operating-month
                                                 stationary combustion turbine may                       combustion turbines that are only                rolling average basis. See table 1 to this
                                                 petition the Administrator in writing to                permitted to burn fuels with a
                                                                                                                                                          subpart for the applicable CO2 emission
                                                 comply with the alternate applicable net                consistent chemical composition (i.e.,
                                                                                                                                                          standards.
                                                 energy output standard. If the                          uniform fuels) that result in a consistent
                                                 Administrator grants the petition,                      emission rate of 69 kilograms per                  (a) You must be in compliance with
                                                 beginning on the date the Administrator                 gigajoule (kg/GJ) (160 lb CO2/MMBtu) or          the emission standards in this subpart
                                                 grants the petition, the affected EGU                   less are not subject to any monitoring or        that apply to your affected EGU at all
                                                 must comply with the applicable net                     reporting requirements under this                times. However, you must determine
                                                 energy output-based standard included                   subpart. These fuels include, but are not        compliance with the emission standards
                                                 in this subpart. Your operating permit                  limited to hydrogen, natural gas,                only at the end of the applicable
                                                 must include monitoring,                                methane, butane, butylene, ethane,               operating month, as provided in
                                                 recordkeeping, and reporting                            ethylene, propane, naphtha, propylene,           paragraph (a)(1) of this section.
                                                 methodologies based on the applicable                   jet fuel, kerosene, No. 1 fuel oil, No. 2
                                                                                                         fuel oil, and biodiesel. Stationary                (1) For each affected EGU subject to
                                                 net energy output standard. For the                                                                      a CO2 emissions standard based on a 12-
                                                 remainder of this subpart, where the                    combustion turbines qualifying under
                                                                                                         this paragraph are only required to              operating-month rolling average, you
                                                 term ‘‘gross or net energy output’’ is                                                                   must determine compliance monthly by
                                                 used, the term that applies to you is                   maintain purchase records for permitted
                                                                                                         fuels.                                           calculating the average CO2 emissions
                                                 ‘‘net energy output.’’ Owners or
                                                                                                            (2) Owners or operators of stationary         rate for the affected EGU at the end of
                                                 operators complying with the net
                                                                                                         combustion turbines permitted to burn            the initial and each subsequent 12-
                                                 output-based standard must petition the
                                                 Administrator to switch back to                         fuels that do not have a consistent              operating-month period.
                                                 complying with the gross energy output-                 chemical composition or that do not                (2) Consistent with § 60.5520a(d)(2), if
                                                 based standard.                                         have an emission rate of 69 kg/GJ (160           your affected stationary combustion
                                                    (d) Owners or operators of a stationary              lb CO2/MMBtu) or less (e.g., non-                turbine is subject to an input-based CO2
                                                 combustion turbine that maintain                        uniform fuels such as residual oil and
                                                                                                                                                          emissions standard, you must determine
                                                                                                         non-jet fuel kerosene) must follow the
                                                 records of electric sales to demonstrate                                                                 the total heat input in GJ or MMBtu
                                                                                                         monitoring, recordkeeping, and
                                                 that the stationary combustion turbine is                                                                from natural gas (HTIPng) and the total
                                                                                                         reporting requirements necessary to
                                                 subject to a heat input-based standard in                                                                heat input from all other fuels combined
                                                                                                         complete the heat input-based
                                                 table 1 to this subpart that are only                                                                    (HTIPo) using one of the methods under
                                                                                                         calculations under this subpart.
                                                 permitted to burn one or more uniform                                                                    § 60.5535a(d)(2). You must then use the
                                                 fuels, as described in paragraph (d)(1) of              § 60.5525a What are my general                   following equation to determine the
                                                 this section, are only subject to the                   requirements for complying with this             applicable emissions standard during
                                                 monitoring requirements in paragraph                    subpart?
                                                                                                                                                          the compliance period:
                                                 (d)(1). Owners or operators of all other                  Combustion turbines qualifying under
                                                 stationary combustion turbines that                     § 60.5520a(d)(1) are not subject to any          Equation 1 to Paragraph (a)(2)


                                                                                                                               (50 x HTIPng) + (69 x HT/Po)
                                                                                   CO 2 emissions standard
                                                                                                                                      HTIPng + HTIP0

                                                 Where:                                                      120 if electing to demonstrate               base load combustion turbine burning
                                                 CO2 emission standard = the emission                        compliance using lb CO2/MMBtu).              fuels other than natural gas may elect to
                                                                                                         69 = allowable emission rate in lb kg/GJ for
                                                     standard during the compliance period                                                                determine a site-specific emissions rate
                                                                                                             heat input derived from all fuels other
                                                     in units of kg/GJ (or lb/MMBtu).                        than natural gas (use 160 if electing to     using one of the following equations.
                                                 HTIPng = the heat input in GJ (or MMBtu)                    demonstrate compliance using lb CO2/         Combustion turbines co-firing hydrogen
                                                     from natural gas.                                       MMBtu).                                      are not required to use the fuel
                                                 HTIPo = the heat input in GJ (or MMBtu)                                                                  adjustment parameter.
                                                     from all fuels other than natural gas.
                                                                                                           (3) Owners/operators of a base load
                                                 50 = allowable emission rate in lb kg/GJ for
                                                                                                         combustion turbine with a base load                (i) For base load combustion turbines:
                                                     heat input derived from natural gas (use            rating of less than 2,110 GJ/h (2,000
                                                                                                         MMBtu/h) and/or an intermediate or               Equation 2 to Paragraph (a)(3)(i)
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                                                 Where:                                                  BLERS = Base load emissions standard for        BLRA = Base load rating of the actual
                                                 CO2 emission standard = the emission                       natural gas-fired combustion turbines           combustion turbine in GJ/h (or MMBtu/
                                                     standard during the compliance period                  with a base load rating of 260 GJ/h (250        h)
                                                                                                            MMBtu/h). 410 kg CO2/MWh-gross (900          HIERA = Heat input-based emissions rate of
                                                     in units of kg/MWh (or lb/MWh)                         lb CO2/MWh-gross) or 420 kg CO2/MWh-
                                                 BLERL = Base load emissions standard for                                                                   the actual fuel burned in the combustion
                                                                                                            net (920 lb CO2/MWh-net); 49 kg CO2/
                                                     natural gas-fired combustion turbines                  MWh-gross (108 lb CO2/MWh-gross) or             turbine (lb CO2/MMBtu). Not to exceed
                                                     with base load ratings greater than 2,110              50 kg CO2/MWh-net (110 lb CO2/MWh-              69 kg/GJ (160 lb CO2/MMBtu)
                                                     GJ/h (2,000 MMBtu/h). 360 kg CO2/                      net); as applicable                          HIERNG = Heat input-based emissions rate of
                                                     MWh-gross (800 lb CO2/MWh-gross) or                 BLRL = Minimum base load rating of large           natural gas 50 kg/GJ (120 lb CO2/MMBtu)
                                                     370 kg CO2/MWh-net (820 lb CO2/MWh-                    combustion turbines 2,110 GJ/h (2,000
                                                     net); 43 kg CO2/MWh-gross (100 lb CO2/                 MMBtu/h)                                       (ii) For intermediate load combustion
                                                     MWh-gross) or 42 kg CO2/MWh-net (97
                                                                                                         BLRS = Base load rating of smallest             turbines:
                                                                                                            combustion turbine 260 GJ/h (250
                                                     lb CO2/MWh-net); as applicable                         MMBtu/h)                                     Equation 3 to Paragraph (a)(3)(ii)


                                                                                                                               HIERA
                                                                                               CO2 emissions standard = ILER* [HIERN)

                                                 Where:                                                  the first operating month (as defined in        purchase records for permitted fuel(s). If
                                                 CO2 emission standard = the emission                    § 60.5580a) after the calendar month in         your combustion turbine uses non-
                                                     standard during the compliance period               which emissions reporting is required to        uniform fuels as specified under
                                                     in units of kg/MWh (or lb/MWh)                      begin under:                                    § 60.5520a(d)(2), you must monitor heat
                                                 ILER = Intermediate load emissions rate for                (i) Section 60.5555a(c)(3)(i), for units     input in accordance with paragraph
                                                     natural gas-fired combustion turbines.              subject to the Acid Rain Program; or            (c)(1) of this section, and you must
                                                     520 kg/MWh-gross (1,150 lb CO2/MWh-                    (ii) Section 60.5555a(c)(3)(ii), for units   monitor CO2 emissions in accordance
                                                     gross) or 530 kg CO2/MWh-net (1,160 lb
                                                                                                         that are not in the Acid Rain Program.          with either paragraph (b), (c)(2), or (c)(5)
                                                     CO2/MWh-net) or 450 kg/MWh-gross
                                                                                                            (2) For a modified or reconstructed          of this section. For all other affected
                                                     (1,100 lb CO2/MWh-gross) or 460 kg
                                                     CO2/MWh-net (1,110 lb CO2/MWh-net)                  EGU that becomes subject to this                sources, you must prepare a monitoring
                                                     as applicable                                       subpart, the first month of the initial         plan to quantify the hourly CO2 mass
                                                 HIERA = Heat input-based emissions rate of              compliance period shall be the first            emission rate (tons/h), in accordance
                                                     the actual fuel burned in the combustion            operating month (as defined in                  with the applicable provisions in 40
                                                     turbine (lb CO2/MMBtu). Not to exceed               § 60.5580a) after the calendar month in         CFR 75.53(g) and (h). The electronic
                                                     69 kg/GJ (160 lb CO2/MMBtu)                         which emissions reporting is required to        portion of the monitoring plan must be
                                                 HIERNG = Heat input-based emissions rate of             begin under § 60.5555a(c)(3)(iii).              submitted using the ECMPS Client Tool
                                                     natural gas 50 kg/GJ (120 lb CO2/MMBtu)                (3) Emissions of CO2 emitted by your         and must be in place prior to reporting
                                                   (b) At all times you must operate and                 affected facility and the output of the         emissions data and/or the results of
                                                 maintain each affected EGU, including                   affected facility generated when it             monitoring system certification tests
                                                 associated equipment and monitors, in                   operated during a system emergency as           under this subpart. The monitoring plan
                                                 a manner consistent with safety and                     defined in § 60.5580a are excluded for          must be updated as necessary.
                                                 good air pollution control practice. The                both applicability and compliance with          Monitoring plan submittals must be
                                                 Administrator will determine if you are                 the relevant standards of performance if        made by the Designated Representative
                                                 using consistent operation and                          you can sufficiently provide the                (DR), the Alternate DR, or a delegated
                                                 maintenance procedures based on                         documentation listed in § 60.5560a(i).          agent of the DR (see § 60.5555a(d) and
                                                 information available to the                            The relevant standard of performance            (e)).
                                                 Administrator that may include, but is                  for affected EGUs that operate during a            (b) You must determine the hourly
                                                 not limited to, fuel use records,                       system emergency depends on the                 CO2 mass emissions in kg from your
                                                 monitoring results, review of operation                 subcategory, as described in paragraphs         affected EGU(s) according to paragraphs
                                                 and maintenance procedures and                          (c)(3)(i) and (ii) of this section.             (b)(1) through (5) of this section, or, if
                                                 records, review of reports required by                     (i) For intermediate and base load           applicable, as provided in paragraph (c)
                                                 this subpart, and inspection of the EGU.                combustion turbines that operate during         of this section.
                                                   (c) Within 30 days after the end of the               a system emergency, you comply with                (1) For an affected EGU that combusts
                                                 initial compliance period (i.e., no more                the standard for low load combustion            coal you must, and for all other affected
                                                 than 30 days after the first 12-operating-              turbines specified in table 1 to this           EGUs you may, install, certify, operate,
                                                 month compliance period), you must                      subpart.                                        maintain, and calibrate a CO2
                                                 make an initial compliance                                 (ii) For modified steam generating           continuous emission monitoring system
                                                 determination for your affected EGU(s)                  units, you must not discharge from the          (CEMS) to directly measure and record
                                                 with respect to the applicable emissions                affected EGU any gases that contain CO2         hourly average CO2 concentrations in
                                                 standard in table 1 to this subpart, in                 in excess of 230 lb CO2/MMBtu.                  the affected EGU exhaust gases emitted
                                                 accordance with the requirements in                     Monitoring and Compliance                       to the atmosphere, and a flow
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                                                 this subpart. The first operating month                 Determination Procedures                        monitoring system to measure hourly
                                                 included in the initial 12-operating-                                                                   average stack gas flow rates, according
                                                 month compliance period shall be                        § 60.5535a How do I monitor and collect         to 40 CFR 75.10(a)(3)(i). As an
                                                 determined as follows:                                  data to demonstrate compliance?                 alternative to direct measurement of
                                                   (1) For an affected EGU that                            (a) Combustion turbines qualifying            CO2 concentration, provided that your
                                                 commences commercial operation (as                      under § 60.5520a(d)(1) are not subject to       EGU does not use carbon separation
                                                 defined in 40 CFR 72.2), the first month                any requirements in this section other          (e.g., carbon capture and storage), you
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                                                 of the initial compliance period shall be               than the requirement to maintain fuel           may use data from a certified oxygen


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                                                 (O2) monitor to calculate hourly average                You must use these data to calculate the         (ii) You may use the procedure for
                                                 CO2 concentrations, in accordance with                  hourly CO2 mass emissions.                    determining CO2 emissions during the
                                                 40 CFR 75.10(a)(3)(iii). If you measure                    (c) If your affected EGU exclusively       compliance period based on the use of
                                                 CO2 concentration on a dry basis, you                   combusts liquid fuel and/or gaseous           the Tier 3 methodology under 40 CFR
                                                 must also install, certify, operate,                    fuel, as an alternative to complying with     98.33(a)(3).
                                                 maintain, and calibrate a continuous                    paragraph (b) of this section, you may           (d) Consistent with § 60.5520a, you
                                                 moisture monitoring system, according                   determine the hourly CO2 mass                 must determine the basis of the
                                                 to 40 CFR 75.11(b). Alternatively, you                  emissions according to paragraphs (c)(1)      emissions standard that applies to your
                                                 may either use an appropriate fuel-                     through (4) of this section. If you use       affected source in accordance with
                                                 specific default moisture value from 40                 non-uniform fuels as specified in             either paragraph (d)(1) or (2) of this
                                                 CFR 75.11(b) or submit a petition to the                § 60.5520a(d)(2), you may determine           section, as applicable:
                                                 Administrator under 40 CFR 75.66 for a                  CO2 mass emissions during the                    (1) If you operate a source subject to
                                                 site-specific default moisture value.                   compliance period according to                an emissions standard established on an
                                                    (2) For each continuous monitoring                   paragraph (c)(5) of this section.             output basis (e.g., lb CO2 per gross or net
                                                 system that you use to determine the                       (1) If you are subject to an output-       MWh of energy output), you must
                                                 CO2 mass emissions, you must meet the                   based standard and you do not install         install, calibrate, maintain, and operate
                                                 applicable certification and quality                    CEMS in accordance with paragraph (b)         a sufficient number of watt meters to
                                                 assurance procedures in 40 CFR 75.20                    of this section, you must implement the       continuously measure and record the
                                                 and appendices A and B to 40 CFR part                   applicable procedures in appendix D to        hourly gross electric output or net
                                                 75.                                                     40 CFR part 75 to determine hourly EGU        electric output, as applicable, from the
                                                    (3) You must use only unadjusted                     heat input rates (MMBtu/h), based on          affected EGU(s). These measurements
                                                 exhaust gas volumetric flow rates to                    hourly measurements of fuel flow rate         must be performed using 0.2 class
                                                 determine the hourly CO2 mass                           and periodic determinations of the gross      electricity metering instrumentation and
                                                 emissions rate from the affected EGU;                   calorific value (GCV) of each fuel            calibration procedures as specified
                                                 you must not apply the bias adjustment                  combusted.                                    under ANSI No. C12.20–2010
                                                 factors described in Section 7.6.5 of                      (2) For each measured hourly heat          (incorporated by reference, see § 60.17).
                                                 appendix A to 40 CFR part 75 to the                     input rate, use Equation G–4 in               For a combined heat and power (CHP)
                                                 exhaust gas flow rate data.                             appendix G to 40 CFR part 75 to               EGU, as defined in § 60.5580a, you must
                                                    (4) You must select an appropriate
                                                                                                         calculate the hourly CO2 mass emission        also install, calibrate, maintain, and
                                                 reference method to setup (characterize)
                                                                                                         rate (tons/h). You may determine site-        operate meters to continuously (i.e.,
                                                 the flow monitor and to perform the on-
                                                                                                         specific carbon-based F-factors (Fc)          hour-by-hour) determine and record the
                                                 going RATAs, in accordance with 40
                                                                                                         using Equation F–7b in section 3.3.6 of       total useful thermal output. For process
                                                 CFR part 75. If you use a Type-S pitot
                                                                                                         appendix F to 40 CFR part 75, and you         steam applications, you will need to
                                                 tube or a pitot tube assembly for the
                                                                                                         may use these Fc values in the                install, calibrate, maintain, and operate
                                                 flow RATAs, you must calibrate the
                                                                                                         emissions calculations instead of using       meters to continuously determine and
                                                 pitot tube or pitot tube assembly; you
                                                                                                         the default Fc values in the Equation G–      record the hourly steam flow rate,
                                                 may not use the 0.84 default Type-S
                                                                                                         4 nomenclature.                               temperature, and pressure. Your plan
                                                 pitot tube coefficient specified in
                                                                                                            (3) For each ‘‘valid operating hour’’      shall ensure that you install, calibrate,
                                                 Method 2.
                                                    (5) Calculate the hourly CO2 mass                    (as defined in § 60.5540(a)(1), multiply      maintain, and operate meters to record
                                                 emissions (kg) as described in                          the hourly tons/h CO2 mass emission           each component of the determination,
                                                 paragraphs (b)(5)(i) through (iv) of this               rate from paragraph (c)(2) of this section    hour-by-hour.
                                                 section. Perform this calculation only                  by the EGU or stack operating time in            (2) If you operate a source subject to
                                                 for ‘‘valid operating hours’’, as defined               hours (as defined in 40 CFR 72.2), to         an emissions standard established on a
                                                 in § 60.5540(a)(1).                                     convert it to tons of CO2. Then, multiply     heat-input basis (e.g., lb CO2/MMBtu)
                                                    (i) Begin with the hourly CO2 mass                   the result by 907.2 to convert from tons      and your affected source uses non-
                                                 emission rate (tons/h), obtained either                 of CO2 to kg. Round off to the nearest        uniform heating value fuels as
                                                 from Equation F–11 in appendix F to 40                  two significant figures.                      delineated under § 60.5520a(d), you
                                                 CFR part 75 (if CO2 concentration is                       (4) The hourly CO2 tons/h values and       must determine the total heat input for
                                                 measured on a wet basis), or by                         EGU (or stack) operating times used to        each fuel fired during the compliance
                                                 following the procedure in section 4.2 of               calculate CO2 mass emissions are              period in accordance with one of the
                                                 appendix F to 40 CFR part 75 (if CO2                    required to be recorded under 40 CFR          following procedures:
                                                 concentration is measured on a dry                      75.57(e) and must be reported                    (i) Appendix D to 40 CFR part 75;
                                                 basis).                                                 electronically under 40 CFR 75.64(a)(6).         (ii) The procedures for monitoring
                                                    (ii) Next, multiply each hourly CO2                  You must use these data to calculate the      heat input under § 60.107a(d);
                                                 mass emission rate by the EGU or stack                  hourly CO2 mass emissions.                       (iii) If you monitor CO2 emissions in
                                                 operating time in hours (as defined in                     (5) If you operate a combustion            accordance with the Tier 3 methodology
                                                 40 CFR 72.2), to convert it to tons of                  turbine firing non-uniform fuels, as an       under 40 CFR 98.33(a)(3), you may
                                                 CO2.                                                    alternative to following paragraphs           convert your CO2 emissions to heat
                                                    (iii) Finally, multiply the result from              (c)(1) through (4) of this section, you       input using the appropriate emission
                                                 paragraph (b)(5)(ii) of this section by                 may determine CO2 emissions during            factor in table C–1 of 40 CFR part 98. If
                                                                                                         the compliance period using one of the
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                                                 907.2 to convert it from tons of CO2 to                                                               your fuel is not listed in table C–1, you
                                                 kg. Round off to the nearest kg.                        following methods:                            must determine a fuel-specific carbon-
                                                    (iv) The hourly CO2 tons/h values and                   (i) Units firing fuel gas may determine    based F-factor (Fc) in accordance with
                                                 EGU (or stack) operating times used to                  the heat input during the compliance          section 12.3.2 of EPA Method 19 of
                                                 calculate CO2 mass emissions are                        period following the procedure under          appendix A–7 to this part, and you must
                                                 required to be recorded under 40 CFR                    § 60.107a(d) and convert this heat input      convert your CO2 emissions to heat
                                                 75.57(e) and must be reported                           to CO2 emissions using Equation G–4 in        input using Equation G–4 in appendix
                                                 electronically under 40 CFR 75.64(a)(6).                appendix G to 40 CFR part 75.                 G to 40 CFR part 75.


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                                                    (e) Consistent with § 60.5520a, if two               apportioning the CO2 emissions              input-based standard applies, all the
                                                 or more affected EGUs serve a common                    whenever the demonstration ensures          parameters used to determine total heat
                                                 electric generator, you must apportion                  accurate estimation of emissions            input for the hour are also obtained; and
                                                 the combined hourly gross or net energy                 regulated under this part.                     (ii) The corresponding hourly gross or
                                                 output to the individual affected EGUs                     (g) In accordance with §§ 60.13(g) and   net energy output value is also valid
                                                 according to the fraction of the total                  60.5520a if the exhaust gases from an       data (Note: For hours with no useful
                                                 steam load and/or direct mechanical                     affected EGU that implements the            output, zero is considered to be a valid
                                                 energy contributed by each EGU to the                   continuous emission monitoring              value).
                                                 electric generator. Alternatively, if the               provisions in paragraph (b) of this            (2) You must exclude operating hours
                                                 EGUs are identical, you may apportion                   section are emitted to the atmosphere       in which:
                                                 the combined hourly gross or net                        through multiple stacks (or if the             (i) The substitute data provisions of
                                                 electrical load to the individual EGUs                  exhaust gases are routed to a common        part 75 of this chapter are applied for
                                                 according to the fraction of the total heat             stack through multiple ducts and you        any of the parameters used to determine
                                                 input contributed by each EGU. You                      elect to monitor in the ducts), you must    the hourly CO2 mass emissions or, if a
                                                 may also elect to develop, demonstrate,                 monitor the hourly CO2 mass emissions       heat input-based standard applies, for
                                                 and provide information satisfactory to                 and the ‘‘stack operating time’’ (as        any parameters used to determine the
                                                 the Administrator on alternate methods                  defined in 40 CFR 72.2) at each stack or    hourly heat input;
                                                 to apportion the gross or net energy                    duct separately. In this case, you must        (ii) An exceedance of the full-scale
                                                 output. The Administrator may approve                   determine compliance with the               range of a continuous emission
                                                 such alternate methods for apportioning                 applicable emissions standard in table 1    monitoring system occurs for any of the
                                                 the gross or net energy output whenever                 or 2 to this subpart by summing the CO2     parameters used to determine the hourly
                                                 the demonstration ensures accurate                      mass emissions measured at the              CO2 mass emissions or, if applicable, to
                                                 estimation of emissions regulated under                 individual stacks or ducts and dividing     determine the hourly heat input; or
                                                 this part.                                              by the total gross or net energy output        (iii) The total gross or net energy
                                                    (f) In accordance with §§ 60.13(g) and               for the affected EGU.                       output (Pgross/net) or, if applicable, the
                                                 60.5520a, if two or more affected EGUs                                                              total heat input is unavailable.
                                                 that implement the continuous emission                  § 60.5540a How do I demonstrate                (3) For each compliance period, at
                                                 monitoring provisions in paragraph (b)                  compliance with my CO2 emissions            least 95 percent of the operating hours
                                                                                                         standard and determine excess emissions?    in the compliance period must be valid
                                                 of this section share a common exhaust
                                                 gas stack you must monitor hourly CO2                      (a) In accordance with § 60.5520a, if    operating hours, as defined in paragraph
                                                 mass emissions in accordance with one                   you are subject to an output-based          (a)(1) of this section.
                                                 of the following procedures:                            emission standard or you burn non-             (4) You must calculate the total CO2
                                                    (1) If the EGUs are subject to the same              uniform fuels as specified in               mass emissions by summing the valid
                                                 emissions standard in table 1 to this                   § 60.5520a(d)(2), you must demonstrate      hourly CO2 mass emissions values from
                                                 subpart, you may monitor the hourly                     compliance with the applicable CO2          § 60.5535a for all of the valid operating
                                                 CO2 mass emissions at the common                        emission standard in table 1 to this        hours in the compliance period.
                                                 stack in lieu of monitoring each EGU                    subpart as required in this section. For       (5) For each valid operating hour of
                                                 separately. If you choose this option, the              the initial and each subsequent 12-         the compliance period that was used in
                                                 hourly gross or net energy output                       operating-month rolling average             paragraph (a)(4) of this section to
                                                 (electric, thermal, and/or mechanical, as               compliance period, you must follow the      calculate the total CO2 mass emissions,
                                                 applicable) must be the sum of the                      procedures in paragraphs (a)(1) through     you must determine Pgross/net (the
                                                 hourly loads for the individual affected                (8) of this section to calculate the CO2    corresponding hourly gross or net
                                                 EGUs and you must express the                           mass emissions rate for your affected       energy output in MWh) according to the
                                                 operating time as ‘‘stack operating                     EGU(s) in units of the applicable           procedures in paragraphs (a)(5)(i) and
                                                 hours’’ (as defined in 40 CFR 72.2). If                 emissions standard (e.g., either kg/MWh     (ii) of this section, as appropriate for the
                                                 you attain compliance with the                          or kg/GJ). You must use the hourly CO2      type of affected EGU(s). For an operating
                                                 applicable emissions standard in                        mass emissions calculated under             hour in which a valid CO2 mass
                                                 § 60.5520a at the common stack, each                    § 60.5535a(b) or (c), as applicable, and    emissions value is determined
                                                 affected EGU sharing the stack is in                    either the generating load data from        according to paragraph (a)(1)(i) of this
                                                 compliance; or                                          § 60.5535a(d)(1) for output-based           section, if there is no gross or net
                                                    (2) As an alternative to the                         calculations or the heat input data from    electrical output, but there is
                                                 requirements in paragraph (f)(1) of this                § 60.5535a(d)(2) for heat-input-based       mechanical or useful thermal output,
                                                 section, or if the EGUs are subject to                  calculations. Combustion turbines firing    you must still determine the gross or net
                                                 different emission standards in table 1                 non-uniform fuels that contain CO2          energy output for that hour. In addition,
                                                 to this subpart, you must either:                       prior to combustion (e.g., blast furnace    for an operating hour in which a valid
                                                    (i) Monitor each EGU separately by                   gas or landfill gas) may sample the fuel    CO2 mass emissions value is determined
                                                 measuring the hourly CO2 mass                           stream to determine the quantity of CO2     according to paragraph (a)(1)(i) of this
                                                 emissions prior to mixing in the                        present in the fuel prior to combustion     section, but there is no (i.e., zero) gross
                                                 common stack or                                         and exclude this portion of the CO2         electrical, mechanical, or useful thermal
                                                    (ii) Apportion the CO2 mass emissions                mass emissions from compliance              output, you must use that hour in the
                                                 based on the unit’s load contribution to                determinations.                             compliance determination. For hours or
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                                                 the total load associated with the                         (1) Each compliance period shall         partial hours where the gross electric
                                                 common stack and the appropriate F-                     include only ‘‘valid operating hours’’ in   output is equal to or less than the
                                                 factors. You may also elect to develop,                 the compliance period, i.e., operating      auxiliary loads, net electric output shall
                                                 demonstrate, and provide information                    hours for which:                            be counted as zero for this calculation.
                                                 satisfactory to the Administrator on                       (i) ‘‘Valid data’’ (as defined in           (i) Calculate Pgross/net for your affected
                                                 alternate methods to apportion the CO2                  § 60.5580a) are obtained for all of the     EGU using the following equation. All
                                                 emissions. The Administrator may                        parameters used to determine the hourly     terms in the equation must be expressed
                                                 approve such alternate methods for                      CO2 mass emissions (kg) and, if a heat      in units of MWh. To convert each


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                                                 hourly gross or net energy output                       MWh, multiply by the corresponding                 Equation 1 to Paragraph (a)(5)(i)
                                                 (consistent with § 60.5520a) value                      EGU or stack operating time.
                                                 reported under part 75 of this chapter to
                                                                                                         Equation 1 to Paragraph (a)(5)(i)


                                                                                 = (Pe)sT+(Pe)cT+(Pe)rn-(Pe)Fw-(Pe)A + [ (Pt)ps + (Pt)HR + (Pt)rn] (Eq. 2)
                                                                  Pgross/net                                TDF


                                                 Where:                                                       stationary combustion turbines, IGCC          (Pt)IE = Useful thermal output (relative to
                                                 Pgross/net = In accordance with § 60.5520a,                  EGUs, or EGUs complying with a net                 SATP conditions, as applicable) from
                                                      gross or net energy output of your                      energy output based standard.                      any integrated equipment is used for
                                                      affected EGU for each valid operating              (Pe)A = Electric energy used for any auxiliary          applications that do not generate
                                                      hour (as defined in § 60.5540a(a)(1)) in                loads in MWh. Not applicable for                   additional steam, electricity, produce
                                                      MWh.                                                    determining Pgross.                                mechanical energy output, or enhance
                                                                                                         (Pt)PS = Useful thermal output of steam                 the performance of the affected EGU in
                                                 (Pe)ST = Electric energy output plus
                                                                                                              (measured relative to standard ambient             MWh.
                                                      mechanical energy output (if any) of
                                                                                                              temperature and pressure (SATP)               TDF = Electric Transmission and Distribution
                                                      steam turbines in MWh.                                  conditions, as applicable) that is used for
                                                 (Pe)CT = Electric energy output plus                                                                            Factor of 0.95 for a combined heat and
                                                                                                              applications that do not generate                  power affected EGU where at least on an
                                                      mechanical energy output (if any) of                    additional electricity, produce                    annual basis 20.0 percent of the total
                                                      stationary combustion turbine(s) in                     mechanical energy output, or enhance               gross or net energy output consists of
                                                      MWh.                                                    the performance of the affected EGU.               useful thermal output on a 12-operating-
                                                 (Pe)IE = Electric energy output plus                         This is calculated using the equation              month rolling average basis, or 1.0 for all
                                                      mechanical energy output (if any) of                    specified in paragraph (a)(5)(ii) of this          other affected EGUs.
                                                      your affected EGU’s integrated                          section in MWh.
                                                      equipment that provides electricity or             (Pt)HR = Non steam useful thermal output              (ii) If applicable to your affected EGU
                                                      mechanical energy to the affected EGU or                (measured relative to SATP conditions,        (for example, for combined heat and
                                                      auxiliary equipment in MWh.                             as applicable) from heat recovery that is     power), you must calculate (Pt)PS using
                                                 (Pe)FW = Electric energy used to power boiler                used for applications other than steam        the following equation:
                                                      feedwater pumps at steam generating                     generation or performance enhancement
                                                      units in MWh. Not applicable to                         of the affected EGU in MWh.                   Equation 2 to Paragraph (a)(5)(ii)


                                                                                                                  (Pt)ps = Q:;H (Eq. 3)

                                                 Where:                                                  total heat input for each fuel fired               Round off the result to two significant
                                                 Qm = Measured useful thermal output flow in             during the compliance period. The                  figures.
                                                     kg (lb) for the operating hour.                     calculation of total heat input for each              (8) You may exclude CO2 mass
                                                 H = Enthalpy of the useful thermal output at            individual fuel must include all valid             emissions and output generated from
                                                     measured temperature and pressure                   operating hours and must also be                   your affected EGU from your
                                                     (relative to SATP conditions or the                 consistent with any fuel-specific
                                                     energy in the condensate return line, as
                                                                                                                                                            calculations for hours during which the
                                                     applicable) in Joules per kilogram (J/kg)
                                                                                                         procedures specified within your                   affected EGU operated during a system
                                                     (or Btu/lb).                                        selected monitoring option under                   emergency, as defined in § 60.5580a, if
                                                 CF = Conversion factor of 3.6 × 109 J/MWh               § 60.5535(d)(2).                                   you can provide the information listed
                                                     or 3.413 × 106 Btu/MWh.                                (7) If you are subject to an output-            in § 60.5560a(i). While operating during
                                                    (6) Sources complying with energy                    based standard, you must calculate the             a system emergency, your compliance
                                                 output-based standards must calculate                   CO2 mass emissions rate for the affected           determination depends on your
                                                 the basis (i.e., denominator) of their                  EGU(s) (kg/MWh) by dividing the total              subcategory or unit type, as listed in
                                                 actual annual emission rate in                          CO2 mass emissions value calculated                paragraphs (a)(8)(i) through (ii) of this
                                                 accordance with paragraph (a)(6)(i) of                  according to the procedures in                     section.
                                                 this section. Sources complying with                    paragraph (a)(4) of this section by the               (i) For affected EGUs in the
                                                 heat input based standards must                         total gross or net energy output value             intermediate or base load subcategory,
                                                 calculate the basis of their actual annual              calculated according to the procedures             your CO2 emission standard while
                                                 emission rate in accordance with                        in paragraph (a)(6)(i) of this section.            operating during a system emergency is
                                                 paragraph (a)(6)(ii) of this section.                   Round off the result to two significant            the applicable emission standard for
                                                    (i) In accordance with § 60.5520a if                 figures if the calculated value is less            low load combustion turbines.
                                                 you are subject to an output-based                      than 1,000; round the result to three                 (ii) For affected modified steam
                                                 standard, you must calculate the total                  significant figures if the calculated value        generating units, your CO2 emission
                                                 gross or net energy output for the                      is greater than 1,000. If you are subject          standard while operating during a
                                                 affected EGU’s compliance period by                     to a heat input-based standard, you                system emergency is 230 lb CO2/
                                                                                                         must calculate the CO2 mass emissions              MMBtu.
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                                                 summing the hourly gross or net energy
                                                 output values for the affected EGU that                 rate for the affected EGU(s) (kg/GJ or lb/            (b) In accordance with § 60.5520a, to
                                                 you determined under paragraph (a)(5)                   MMBtu) by dividing the total CO2 mass              demonstrate compliance with the
                                                                                                                                                                                                               ER09MY24.061</GPH>




                                                 of this section for all of the valid                    emissions value calculated according to            applicable CO2 emission standard, for
                                                 operating hours in the applicable                       the procedures in paragraph (a)(4) of              the initial and each subsequent 12-
                                                 compliance period.                                      this section by the total heat input               operating-month compliance period, the
                                                    (ii) If you are subject to a heat input-             calculated according to the procedures             CO2 mass emissions rate for your
                                                                                                                                                                                                               ER09MY24.060</GPH>




                                                 based standard, you must calculate the                  in paragraph (a)(6)(ii) of this section.           affected EGU must be determined


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                                                 according to the procedures specified in                   (C) Documentation of delays in              falls within the calendar quarter. You
                                                 paragraph (a)(1) through (8) of this                    construction or permitting of                  must calculate each average CO2 mass
                                                 section and must be less than or equal                  infrastructure (e.g., CO2 pipelines) that      emissions rate for the compliance
                                                 to the applicable CO2 emissions                         is necessary for implementation of the         period according to the procedures in
                                                 standard in table 1 to this subpart, or the             control technology;                            § 60.5540a. You must report the dates
                                                 emissions standard calculated in                           (v) Identify a proposed compliance          (month and year) of the first and twelfth
                                                 accordance with § 60.5525a(a)(2).                       date no later than one year after the          operating months in each compliance
                                                    (c) If you are the owner or operator of              applicable compliance date listed in           period for which you performed a CO2
                                                 a new or reconstructed stationary                       table 1 to this subpart.                       mass emissions rate calculation. If there
                                                 combustion turbine operating in the                        (2) The Administrator is charged with       are no compliance periods that end in
                                                 base load subcategory, are installing                   approving or disapproving a compliance         the quarter, you must include a
                                                 add-on controls, and are unable to                      date extension request based on his or         statement to that effect;
                                                 comply with the applicable Phase 2 CO2                  her written determination that your               (ii) If one or more compliance periods
                                                 emission standard specified in table 1 to               affected EGU has or has not made each          end in the quarter, you must identify
                                                 this subpart due to circumstances                       of the necessary demonstrations and            each operating month in the calendar
                                                 beyond your control, you may request a                  provided all of the necessary                  quarter where your EGU violated the
                                                 compliance date extension of no longer                  documentation according to paragraph           applicable CO2 emission standard;
                                                 than one year beyond the effective date                 (c)(1) of this section. The following must        (iii) If one or more compliance
                                                 of January 1, 2032, and may only receive                be included:                                   periods end in the quarter and there are
                                                 an extension once. The extension                           (i) All documentation required as part      no violations for the affected EGU, you
                                                 request must contain a demonstration of                 of this extension must be submitted by         must include a statement indicating this
                                                 necessity that includes the following:                  you to the Administrator no later than         in the report;
                                                    (1) A demonstration that your affected               6 months prior to the applicable                  (iv) The percentage of valid operating
                                                 EGU cannot meet its compliance date                     effective date for your affected EGU.          hours in each 12-operating-month
                                                 due to circumstances beyond your                           (ii) You must notify the Administrator      compliance period described in
                                                 control and you have taken all steps                    of the compliance date extension               paragraph (a)(1) of this section (i.e., the
                                                 reasonably possible to install the                      request at the time of the submission of       total number of valid operating hours
                                                 controls necessary for compliance by                    the request.                                   (as defined in § 60.5540a(a)(1)) in that
                                                 the effective date up to the point of the                                                              period divided by the total number of
                                                                                                         Notification, Reports, and Records
                                                 delay. The demonstration shall:                                                                        operating hours in that period,
                                                    (i) Identify each affected unit for                  § 60.5550a What notifications must I           multiplied by 100 percent);
                                                 which you are seeking the compliance                    submit and when?                                  (v) Consistent with § 60.5520a, the
                                                 extension;                                                 (a) You must prepare and submit the         CO2 emissions standard (as identified in
                                                    (ii) Identify and describe the controls              notifications specified in §§ 60.7(a)(1)       table 1 or 2 to this subpart) with which
                                                 to be installed at each affected unit to                and (3) and 60.19, as applicable to your       your affected EGU must comply; and
                                                 comply with the applicable CO2                          affected EGU(s) (see table 3 to this              (vi) Consistent with § 60.5520a, an
                                                 emission standard in table 1 to this                    subpart).                                      indication whether or not the hourly
                                                 subpart;                                                   (b) You must prepare and submit             gross or net energy output (Pgross/net)
                                                    (iii) Describe and demonstrate all                   notifications specified in 40 CFR 75.61,       values used in the compliance
                                                 progress towards installing the controls                as applicable, to your affected EGUs.          determinations are based solely upon
                                                 and that you have acted consistently                                                                   gross electrical load.
                                                 with achieving timely compliance,                       § 60.5555a    What reports must I submit and      (3) In the final quarterly report of each
                                                 including;                                              when?                                          calendar year, you must include the
                                                    (A) Any and all contract(s) entered                     (a) You must prepare and submit             following:
                                                 into for the installation of the identified             reports according to paragraphs (a)               (i) Consistent with § 60.5520a, gross
                                                 controls or an explanation as to why no                 through (d) of this section, as                energy output or net energy output sold
                                                 contract is necessary or obtainable;                    applicable.                                    to an electric grid, as applicable to the
                                                    (B) Any permit(s) obtained for the                      (1) For affected EGUs that are required     units of your emission standard, over
                                                 installation of the identified controls or,             by § 60.5525a to conduct initial and on-       the four quarters of the calendar year;
                                                 where a required permit has not yet                     going compliance determinations on a           and
                                                 been issued, a copy of the permit                       12-operating-month rolling average                (ii) The potential electric output of the
                                                 application submitted to the permitting                 basis, you must submit electronic              EGU.
                                                 authority and a statement from the                      quarterly reports as follows. After you           (b) You must submit all electronic
                                                 permit authority identifying its                        have accumulated the first 12-operating        reports required under paragraph (a) of
                                                 anticipated timeframe for issuance of                   months for the affected EGU, you must          this section using the Emissions
                                                 such permit(s).                                         submit a report for the calendar quarter       Collection and Monitoring Plan System
                                                    (iv) Identify the circumstances that                 that includes the twelfth operating            (ECMPS) Client Tool provided by the
                                                 are entirely beyond your control and                    month no later than 30 days after the          Clean Air Markets Division in the Office
                                                 that necessitate additional time to                     end of that quarter. Thereafter, you must      of Atmospheric Programs of EPA.
                                                 install the identified controls. This may               submit a report for each subsequent               (c)(1) For affected EGUs under this
                                                 include:                                                calendar quarter, no later than 30 days        subpart that are also subject to the Acid
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                                                    (A) Information gathered from control                after the end of the quarter.                  Rain Program, you must meet all
                                                 technology vendors or engineering firms                    (2) In each quarterly report you must       applicable reporting requirements and
                                                 demonstrating that the necessary                        include the following information, as          submit reports as required under
                                                 controls cannot be installed or started                 applicable:                                    subpart G of part 75 of this chapter.
                                                 up by the applicable compliance date                       (i) Each rolling average CO2 mass              (2) For affected EGUs under this
                                                 listed in table 1 to this subpart;                      emissions rate for which the last              subpart that are not in the Acid Rain
                                                    (B) Documentation of any permit                      (twelfth) operating month in a 12-             Program, you must also meet the
                                                 delays; or                                              operating-month compliance period              reporting requirements and submit


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                                                 reports as required under subpart G of                     (1) The person appointed as the             approval of the waiver on evidence of
                                                 part 75 of this chapter, to the extent that             Designated Representative (DR) under           releases of CO2 or other pollutants. The
                                                 those requirements and reports provide                  40 CFR 72.20; or                               Administrator will provide notice to the
                                                 applicable data for the compliance                         (2) The person appointed as the             public of any application under this
                                                 demonstrations required under this                      Alternate Designated Representative            provision and provide public notice of
                                                 subpart.                                                (ADR) under 40 CFR 72.22; or                   any proposed action on a petition before
                                                    (3)(i) For all newly-constructed                        (3) A person (or persons) authorized        the Administrator takes final action.
                                                 affected EGUs under this subpart that                   by the DR or ADR under 40 CFR 72.26
                                                                                                         to make the required submissions.              § 60.5560a   What records must I maintain?
                                                 are also subject to the Acid Rain
                                                 Program, you must begin submitting the                     (e) For affected EGUs that are not             (a) You must maintain records of the
                                                 quarterly electronic emissions reports                  subject to the Acid Rain Program, the          information you used to demonstrate
                                                 described in paragraph (c)(1) of this                   owner or operator shall appoint a DR           compliance with this subpart as
                                                 section in accordance with 40 CFR                       and (optionally) an ADR to submit the          specified in § 60.7(b) and (f).
                                                                                                         reports required under paragraphs (a)             (b)(1) For affected EGUs subject to the
                                                 75.64(a), i.e., beginning with data
                                                                                                         and (c)(2) of this section. The DR and         Acid Rain Program, you must follow the
                                                 recorded on and after the earlier of:
                                                                                                         ADR must register with the Clean Air           applicable recordkeeping requirements
                                                    (A) The date of provisional                                                                         and maintain records as required under
                                                 certification, as defined in 40 CFR                     Markets Division (CAMD) Business
                                                                                                         System. The DR may delegate the                subpart F of part 75 of this chapter.
                                                 75.20(a)(3); or                                                                                           (2) For affected EGUs that are not
                                                                                                         authority to make the required
                                                    (B) 180 days after the date on which                                                                subject to the Acid Rain Program, you
                                                                                                         submissions to one or more persons.
                                                 the EGU commences commercial                               (f) If your affected EGU captures CO2       must also follow the recordkeeping
                                                 operation (as defined in 40 CFR 72.2).                  to meet the applicable emission                requirements and maintain records as
                                                    (ii) For newly-constructed affected                  standard, you must report in accordance        required under subpart F of part 75 of
                                                 EGUs under this subpart that are not                    with the requirements of 40 CFR part           this chapter, to the extent that those
                                                 subject to the Acid Rain Program, you                   98, subpart PP, and either:                    records provide applicable data for the
                                                 must begin submitting the quarterly                        (1) Report in accordance with the           compliance determinations required
                                                 electronic reports described in                         requirements of 40 CFR part 98, subpart        under this subpart. Regardless of the
                                                 paragraph (c)(2) of this section,                       RR, or subpart VV, if injection occurs         prior sentence, at a minimum, the
                                                 beginning with data recorded on and                     on-site;                                       following records must be kept, as
                                                 after the date on which reporting is                       (2) Transfer the captured CO2 to a          applicable to the types of continuous
                                                 required to begin under 40 CFR 75.64(a),                facility that reports in accordance with       monitoring systems used to demonstrate
                                                 if that date occurs on or after May 23,                 the requirements of 40 CFR part 98,            compliance under this subpart:
                                                 2023.                                                   subpart RR, or subpart VV, if injection           (i) Monitoring plan records under 40
                                                    (iii) For reconstructed or modified                  occurs off-site; or                            CFR 75.53(g) and (h);
                                                 units, reporting of emissions data shall                   (3) Transfer the captured CO2 to a             (ii) Operating parameter records
                                                 begin at the date on which the EGU                      facility that has received an innovative       under 40 CFR 75.57(b)(1) through (4);
                                                 becomes an affected unit under this                     technology waiver from EPA pursuant               (iii) The records under 40 CFR
                                                 subpart, provided that the ECMPS                        to paragraph (g) of this section.              75.57(c)(2), for stack gas volumetric flow
                                                 Client Tool is able to receive and                         (g) Any person may request the              rate;
                                                 process net energy output data on that                  Administrator to issue a waiver of the            (iv) The records under 40 CFR
                                                 date. Otherwise, emissions data                         requirement that captured CO2 from an          75.57(c)(3) for continuous moisture
                                                 reporting shall be on a gross energy                    affected EGU be transferred to a facility      monitoring systems;
                                                 output basis until the date that the                    reporting under 40 CFR part 98, subpart           (v) The records under 40 CFR
                                                 Client Tool is first able to receive and                RR, or subpart VV. To receive a waiver,        75.57(e)(1), except for paragraph
                                                 process net energy output data.                         the applicant must demonstrate to the          (e)(1)(x), for CO2 concentration
                                                    (4) If any required monitoring system                Administrator that its technology will         monitoring systems or O2 monitors used
                                                 has not been provisionally certified by                 store captured CO2 as effectively as           to calculate CO2 concentration;
                                                                                                                                                           (vi) The records under 40 CFR
                                                 the applicable date on which emissions                  geologic sequestration, and that the
                                                                                                                                                        75.58(c)(1), specifically paragraphs
                                                 data reporting is required to begin under               proposed technology will not cause or
                                                                                                                                                        (c)(1)(i), (ii), and (viii) through (xiv), for
                                                 paragraph (c)(3) of this section, the                   contribute to an unreasonable risk to
                                                                                                                                                        oil flow meters;
                                                 maximum (or in some cases, minimum)                     public health, welfare, or safety. In             (vii) The records under 40 CFR
                                                 potential value for the parameter                       making this determination, the                 75.58(c)(4), specifically paragraphs
                                                 measured by the monitoring system                       Administrator shall consider (among            (c)(4)(i), (ii), (iv), (v), and (vii) through
                                                 shall be reported until the required                    other factors) operating history of the        (xi), for gas flow meters;
                                                 certification testing is successfully                   technology, whether the technology will           (viii) The quality-assurance records
                                                 completed, in accordance with 40 CFR                    increase emissions or other releases of        under 40 CFR 75.59(a), specifically
                                                 75.4(j), 40 CFR 75.37(b), or section 2.4                any pollutant other than CO2, and              paragraphs (a)(1) through (12) and (15),
                                                 of appendix D to part 75 of this chapter                permanence of the CO2 storage. The             for CEMS;
                                                 (as applicable). Operating hours in                     Administrator may test the system, or             (ix) The quality-assurance records
                                                 which CO2 mass emission rates are                       require the applicant to perform any           under 40 CFR 75.59(a), specifically
                                                 calculated using maximum potential                      tests considered by the Administrator to       paragraphs (b)(1) through (4), for fuel
                                                 values are not ‘‘valid operating hours’’
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                                                                                                         be necessary to show the technology’s          flow meters; and
                                                 (as defined in § 60.5540(a)(1)), and shall              effectiveness, safety, and ability to store       (x) Records of data acquisition and
                                                 not be used in the compliance                           captured CO2 without release. The              handling system (DAHS) verification
                                                 determinations under § 60.5540.                         Administrator may grant conditional            under 40 CFR 75.59(e).
                                                    (d) For affected EGUs subject to the                 approval of a technology, with the                (c) You must keep records of the
                                                 Acid Rain Program, the reports required                 approval conditioned on monitoring             calculations you performed to
                                                 under paragraphs (a) and (c)(1) of this                 and reporting of operations. The               determine the hourly and total CO2
                                                 section shall be submitted by:                          Administrator may also withdraw                mass emissions (tons) for:


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                                                    (1) Each operating month (for all                    or record, according to § 60.7. Records             Base load combustion turbine means
                                                 affected EGUs); and                                     that are accessible from a central               a stationary combustion turbine that
                                                    (2) Each compliance period,                          location by a computer or other means            supplies more than 40 percent of its
                                                 including, each 12-operating-month                      that instantly provide access at the site        potential electric output as net-electric
                                                 compliance period.                                      meet this requirement. You may                   sales on both a 12-operating month and
                                                    (d) Consistent with § 60.5520a, you                  maintain the records off site for the            a 3-year rolling average basis.
                                                 must keep records of the applicable data                remaining year(s) as required by this               Base load rating means the maximum
                                                 recorded and calculations performed                     subpart.                                         amount of heat input (fuel) that an EGU
                                                 that you used to determine your affected                                                                 can combust on a steady state basis plus
                                                                                                         Other Requirements and Information               the maximum amount of heat input
                                                 EGU’s gross or net energy output for
                                                 each operating month.                                   § 60.5570a What parts of the general             derived from non-combustion source
                                                    (e) You must keep records of the                     provisions apply to my affected EGU?             (e.g., solar thermal), as determined by
                                                 calculations you performed to                             Notwithstanding any other provision            the physical design and characteristics
                                                 determine the percentage of valid CO2                   of this chapter, certain parts of the            of the EGU at International Organization
                                                 mass emission rates in each compliance                  general provisions in §§ 60.1 through            for Standardization (ISO) conditions.
                                                 period.                                                 60.19, listed in table 3 to this subpart,        For a stationary combustion turbine,
                                                    (f) You must keep records of the                     do not apply to your affected EGU.               base load rating includes the heat input
                                                 calculations you performed to assess                                                                     from duct burners.
                                                 compliance with each applicable CO2                     § 60.5575a Who implements and enforces              Coal means all solid fuels classified as
                                                                                                         this subpart?                                    anthracite, bituminous, subbituminous,
                                                 mass emissions standard in table 1 or 2
                                                 to this subpart.                                           (a) This subpart can be implemented           or lignite in ASTM D388–99R04
                                                    (g) You must keep records of the                     and enforced by the EPA, or a delegated          (incorporated by reference, see § 60.17),
                                                 calculations you performed to                           authority such as your state, local, or          coal refuse, and petroleum coke.
                                                 determine any site-specific carbon-                     Tribal agency. If the Administrator has          Synthetic fuels derived from coal for the
                                                 based F-factors you used in the                         delegated authority to your state, local,        purpose of creating useful heat,
                                                 emissions calculations (if applicable).                 or Tribal agency, then that agency (as           including, but not limited to, solvent-
                                                    (h) For stationary combustion                        well as the EPA) has the authority to            refined coal, gasified coal (not meeting
                                                 turbines, you must keep records of                      implement and enforce this subpart.              the definition of natural gas), coal-oil
                                                 electric sales to determine the                         You should contact your EPA Regional             mixtures, and coal-water mixtures are
                                                 applicable subcategory.                                 Office to find out if this subpart is            included in this definition for the
                                                    (i) You must keep the records listed                 delegated to your state, local, or Tribal        purposes of this subpart.
                                                 in paragraphs (i)(1) through (3) of this                agency.                                             Coal-fired Electric Generating Unit
                                                 section to demonstrate that your                           (b) In delegating implementation and          means a steam generating unit or
                                                 affected facility operated during a                     enforcement authority of this subpart to         integrated gasification combined cycle
                                                 system emergency.                                       a state, local, or Tribal agency, the            unit that combusts coal on or after the
                                                    (1) Documentation that the system                    Administrator retains the authorities            date of modification or at any point after
                                                 emergency to which the affected EGU                     listed in paragraphs (b)(1) through (5) of       December 31, 2029.
                                                 was responding was in effect from the                   this section and does not transfer them             Combined cycle unit means a
                                                 entity issuing the alert and                            to the state, local, or Tribal agency. In        stationary combustion turbine from
                                                 documentation of the exact duration of                  addition, the EPA retains oversight of           which the heat from the turbine exhaust
                                                 the system emergency;                                   this subpart and can take enforcement            gases is recovered by a heat recovery
                                                    (2) Documentation from the entity                    actions, as appropriate.                         steam generating unit (HRSG) to
                                                 issuing the alert that the system                          (1) Approval of alternatives to the           generate additional electricity.
                                                                                                         emission standards.                                 Combined heat and power unit or
                                                 emergency included the affected source/
                                                                                                            (2) Approval of major alternatives to         CHP unit, (also known as
                                                 region where the affected facility was
                                                                                                         test methods.                                    ‘‘cogeneration’’) means an electric
                                                 located; and                                               (3) Approval of major alternatives to
                                                    (3) Documentation that the affected                                                                   generating unit that simultaneously
                                                                                                         monitoring.                                      produces both electric (or mechanical)
                                                 facility was instructed to increase                        (4) Approval of major alternatives to
                                                 output beyond the planned day-ahead                                                                      and useful thermal output from the
                                                                                                         recordkeeping and reporting.                     same primary energy source.
                                                 or other near-term expected output and/                    (5) Performance test and data
                                                 or was asked to remain in operation                                                                         Design efficiency means the rated
                                                                                                         reduction waivers under § 60.8(b).               overall net efficiency (e.g., electric plus
                                                 outside its scheduled dispatch during
                                                 emergency conditions from a Reliability                 § 60.5580a    What definitions apply to this     useful thermal output) on a higher
                                                 Coordinator, Balancing Authority, or                    subpart?                                         heating value basis at the base load
                                                 Independent System Operator/Regional                       As used in this subpart, all terms not        rating, at ISO conditions, and at the
                                                 Transmission Organization.                              defined herein will have the meaning             maximum useful thermal output (e.g.,
                                                                                                         given them in the Clean Air Act and in           CHP unit with condensing steam
                                                 § 60.5565a In what form and how long                    subpart A (general provisions) of this           turbines would determine the design
                                                 must I keep my records?                                 part.                                            efficiency at the maximum level of
                                                    (a) Your records must be in a form                      Annual capacity factor means the              extraction and/or bypass). Design
                                                 suitable and readily available for                      ratio between the actual heat input to an        efficiency shall be determined using one
                                                                                                                                                          of the following methods: ASME PTC
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                                                 expeditious review.                                     EGU during a calendar year and the
                                                    (b) You must maintain each record for                potential heat input to the EGU had it           22–2014, ASME PTC 46–1996, ISO
                                                 5 years after the date of conclusion of                 been operated for 8,760 hours during a           2314:2009 (E) (all incorporated by
                                                 each compliance period.                                 calendar year at the base load rating.           reference, see § 60.17), or an alternative
                                                    (c) You must maintain each record on                 Actual and potential heat input derived          approved by the Administrator. When
                                                 site for at least 2 years after the date of             from non-combustion sources (e.g., solar         determining the design efficiency, the
                                                 each occurrence, measurement,                           thermal) are not included when                   output of integrated equipment and
                                                 maintenance, corrective action, report,                 calculating the annual capacity factor.          energy storage are included.


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                                                    Distillate oil means fuel oils that                  generating units can be used with or           combustion turbine(s), and gas
                                                 comply with the specifications for fuel                 without duct burners.                          expander(s)), as measured at the
                                                 oil numbers 1 and 2, as defined in                        Integrated gasification combined             generator terminals, less the electricity
                                                 ASTM D396–98 (incorporated by                           cycle facility or IGCC means a combined        used to operate the plant (i.e., auxiliary
                                                 reference, see § 60.17); diesel fuel oil                cycle facility that is designed to burn        loads); such uses include fuel handling
                                                 numbers 1 and 2, as defined in ASTM                     fuels containing 50 percent (by heat           equipment, pumps, fans, pollution
                                                 D975–08a (incorporated by reference,                    input) or more solid-derived fuel not          control equipment, other electricity
                                                 see § 60.17); kerosene, as defined in                   meeting the definition of natural gas,         needs, and transformer losses as
                                                 ASTM D3699–08 (incorporated by                          plus any integrated equipment that             measured at the transmission side of the
                                                 reference, see § 60.17); biodiesel as                   provides electricity or useful thermal         step up transformer (e.g., the point of
                                                 defined in ASTM D6751–11b                               output to the affected EGU or auxiliary        sale).
                                                 (incorporated by reference, see § 60.17);               equipment. The Administrator may                 Net-electric sales means:
                                                 or biodiesel blends as defined in ASTM                  waive the 50 percent solid-derived fuel          (1) The gross electric sales to the
                                                 D7467–10 (incorporated by reference,                    requirement during periods of the              utility power distribution system minus
                                                 see § 60.17).                                           gasification system construction, startup      purchased power; or
                                                    Electric Generating units or EGU                     and commissioning, shutdown, or                  (2) For combined heat and power
                                                 means any steam generating unit, IGCC                   repair. No solid fuel is directly burned       facilities, where at least 20.0 percent of
                                                 unit, or stationary combustion turbine                  in the EGU during operation.                   the total gross energy output consists of
                                                 that is subject to this rule (i.e., meets the             Intermediate load combustion turbine         useful thermal output on a 12-operating
                                                 applicability criteria).                                means a stationary combustion turbine          month basis, the gross electric sales to
                                                    Fossil fuel means natural gas,                       that supplies more than 20 percent but         the utility power distribution system
                                                 petroleum, coal, and any form of solid,                 less than or equal to 40 percent of its        minus the applicable percentage of
                                                 liquid, or gaseous fuel derived from                    potential electric output as net-electric      purchased power of the thermal host
                                                 such material for the purpose of creating               sales on both a 12-operating month and         facility or facilities. The applicable
                                                 useful heat.                                            a 3-year rolling average basis.                percentage of purchase power for CHP
                                                    Gaseous fuel means any fuel that is                    ISO conditions means 288 Kelvin (15          facilities is determined based on the
                                                 present as a gas at ISO conditions and                  °C, 59 °F), 60 percent relative humidity       percentage of the total thermal load of
                                                 includes, but is not limited to, natural                and 101.3 kilopascals (14.69 psi, 1 atm)       the host facility supplied to the host
                                                 gas, refinery fuel gas, process gas, coke-              pressure.                                      facility by the CHP facility. For
                                                 oven gas, synthetic gas, and gasified                     Liquid fuel means any fuel that is           example, if a CHP facility serves 50
                                                 coal.                                                   present as a liquid at ISO conditions          percent of a thermal host’s thermal
                                                    Gross energy output means:                           and includes, but is not limited to,           demand, the owner/operator of the CHP
                                                    (1) For stationary combustion turbines               distillate oil and residual oil.               facility would subtract 50 percent of the
                                                 and IGCC, the gross electric or direct                    Low load combustion turbine means a          thermal host’s electric purchased power
                                                 mechanical output from both the EGU                     stationary combustion turbine that             when calculating net-electric sales.
                                                 (including, but not limited to, output                  supplies 20 percent or less of its               (3) Electricity supplied to other
                                                 from steam turbine(s), combustion                       potential electric output as net-electric      facilities that produce electricity to
                                                 turbine(s), and gas expander(s)) plus 100               sales on both a 12-operating month and         offset auxiliary loads are included when
                                                 percent of the useful thermal output.                   a 3-year rolling average basis.                calculating net-electric sales.
                                                    (2) For steam generating units, the                    Mechanical output means the useful             (4) Electric sales during a system
                                                 gross electric or mechanical output from                mechanical energy that is not used to          emergency are not included when
                                                 the affected EGU(s) (including, but not                 operate the affected EGU(s), generate          calculating net-electric sales.
                                                 limited to, output from steam turbine(s),               electricity and/or thermal energy, or to         Net energy output means:
                                                 combustion turbine(s), and gas                          enhance the performance of the affected          (1) The net electric or mechanical
                                                 expander(s)) minus any electricity used                 EGU. Mechanical energy measured in             output from the affected EGU plus 100
                                                 to power the feedwater pumps plus 100                   horsepower hour should be converted            percent of the useful thermal output; or
                                                 percent of the useful thermal output;                   into MWh by multiplying it by 745.7              (2) For combined heat and power
                                                    (3) For combined heat and power                      then dividing by 1,000,000.                    facilities, where at least 20.0 percent of
                                                 facilities, where at least 20.0 percent of                Natural gas means a fluid mixture of         the total gross or net energy output
                                                 the total gross energy output consists of               hydrocarbons (e.g., methane, ethane, or        consists of useful thermal output on a
                                                 useful thermal output on a 12-operating-                propane), composed of at least 70              12-operating-month rolling average
                                                 month rolling average basis, the gross                  percent methane by volume or that has          basis, the net electric or mechanical
                                                 electric or mechanical output from the                  a gross calorific value between 35 and         output from the affected EGU divided
                                                 affected EGU (including, but not limited                41 megajoules (MJ) per dry standard            by 0.95, plus 100 percent of the useful
                                                 to, output from steam turbine(s),                       cubic meter (950 and 1,100 Btu per dry         thermal output.
                                                 combustion turbine(s), and gas                          standard cubic foot), that maintains a           Operating month means a calendar
                                                 expander(s)) minus any electricity used                 gaseous state under ISO conditions.            month during which any fuel is
                                                 to power the feedwater pumps (the                       Finally, natural gas does not include the      combusted in the affected EGU at any
                                                 electric auxiliary load of boiler                       following gaseous fuels: Landfill gas,         time.
                                                 feedwater pumps is not applicable to                    digester gas, refinery gas, sour gas, blast      Petroleum means crude oil or a fuel
                                                 IGCC facilities), that difference divided               furnace gas, coal-derived gas, producer        derived from crude oil, including, but
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                                                 by 0.95, plus 100 percent of the useful                 gas, coke oven gas, or any gaseous fuel        not limited to, distillate and residual oil.
                                                 thermal output.                                         produced in a process which might                Potential electric output means the
                                                    Heat recovery steam generating unit                  result in highly variable CO2 content or       base load rating design efficiency at the
                                                 (HRSG) means an EGU in which hot                        heating value.                                 maximum electric production rate (e.g.,
                                                 exhaust gases from the combustion                         Net-electric output means the amount         CHP units with condensing steam
                                                 turbine engine are routed in order to                   of gross generation the generator(s)           turbines will operate at maximum
                                                 extract heat from the gases and generate                produces (including, but not limited to,       electric production) multiplied by the
                                                 useful output. Heat recovery steam                      output from steam turbine(s),                  base load rating (expressed in MMBtu/


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                                                 h) of the EGU, multiplied by 106 Btu/                       equipment. Stationary means that the          the emission rate calculation is
                                                 MMBtu, divided by 3,413 Btu/KWh,                            combustion turbine is not self-propelled      measured against the energy in the
                                                 divided by 1,000 kWh/MWh, and                               or intended to be propelled while             thermal output at SATP conditions.
                                                 multiplied by 8,760 h/yr (e.g., a 35                        performing its function. It may,              Affected EGU(s) with meaningful energy
                                                 percent efficient affected EGU with a                       however, be mounted on a vehicle for          in the condensate return (or other
                                                 100 MW (341 MMBtu/h) fossil fuel heat                       portability. A stationary combustion          thermal energy input to the affected
                                                 input capacity would have a 306,000                         turbine that burns any solid fuel directly    EGU) must measure the energy in the
                                                 MWh 12-month potential electric output                      is considered a steam generating unit.        condensate and subtract that energy
                                                 capacity).                                                     Steam generating unit means any            relative to SATP conditions from the
                                                    Solid fuel means any fuel that has a                     furnace, boiler, or other device used for     measured thermal output.
                                                 definite shape and volume, has no                           combusting fuel and producing steam             Valid data means quality-assured data
                                                 tendency to flow or disperse under                          (nuclear steam generators are not             generated by continuous monitoring
                                                 moderate stress, and is not liquid or                       included) plus any integrated                 systems that are installed, operated, and
                                                 gaseous at ISO conditions. This                             equipment that provides electricity or        maintained according to part 75 of this
                                                 includes, but is not limited to, coal,                      useful thermal output to the affected         chapter. For CEMS, the initial
                                                 biomass, and pulverized solid fuels.                        EGU(s) or auxiliary equipment.                certification requirements in 40 CFR
                                                    Standard ambient temperature and                            System emergency means periods             75.20 and appendix A to 40 CFR part 75
                                                 pressure (SATP) conditions means                            when the Reliability Coordinator has          must be met before quality-assured data
                                                 298.15 Kelvin (25 °C, 77 °F) and 100.0                      declared an Energy Emergency Alert            are reported under this subpart; for on-
                                                 kilopascals (14.504 psi, 0.987 atm)                         level 2 or 3 as defined by NERC               going quality assurance, the daily,
                                                 pressure. The enthalpy of water at SATP                     Reliability Standard EOP–011–2 or its         quarterly, and semiannual/annual test
                                                 conditions is 50 Btu/lb.                                    successor.                                    requirements in sections 2.1, 2.2, and
                                                    Stationary combustion turbine means                         Useful thermal output means the            2.3 of appendix B to 40 CFR part 75
                                                 all equipment including, but not limited                    thermal energy made available for use in      must be met and the data validation
                                                 to, the turbine engine, the fuel, air,                      any heating application (e.g., steam          criteria in sections 2.1.5, 2.2.3, and 2.3.2
                                                 lubrication and exhaust gas systems,                        delivered to an industrial process for a      of appendix B to 40 CFR part 75. For
                                                 control systems (except emissions                           heating application, including thermal        fuel flow meters, the initial certification
                                                 control equipment), heat recovery                           cooling applications) that is not used for    requirements in section 2.1.5 of
                                                 system, fuel compressor, heater, and/or                     electric generation, mechanical output        appendix D to 40 CFR part 75 must be
                                                 pump, post-combustion emission                              at the affected EGU, to directly enhance      met before quality-assured data are
                                                 control technology, and any ancillary                       the performance of the affected EGU           reported under this subpart (except for
                                                 components and sub-components                               (e.g., economizer output is not useful        qualifying commercial billing meters
                                                 comprising any simple cycle stationary                      thermal output, but thermal energy used       under section 2.1.4.2 of appendix D to
                                                 combustion turbine, any combined                            to reduce fuel moisture is considered         40 CFR part 75), and for on-going
                                                 cycle combustion turbine, and any                           useful thermal output), or to supply          quality assurance, the provisions in
                                                 combined heat and power combustion                          energy to a pollution control device at       section 2.1.6 of appendix D to 40 CFR
                                                 turbine based system plus any                               the affected EGU. Useful thermal output       part 75 apply (except for qualifying
                                                 integrated equipment that provides                          for affected EGU(s) with no condensate        commercial billing meters).
                                                 electricity or useful thermal output to                     return (or other thermal energy input to        Violation means a specified averaging
                                                 the combustion turbine engine, (e.g.,                       the affected EGU(s)) or where measuring       period over which the CO2 emissions
                                                 onsite photovoltaics), integrated energy                    the energy in the condensate (or other        rate is higher than the applicable
                                                 storage (e.g., onsite batteries), heat                      thermal energy input to the affected          emissions standard located in table 1 to
                                                 recovery system, or auxiliary                               EGU(s)) would not meaningfully impact         this subpart.

                                                  TABLE 1 TO SUBPART TTTTA OF PART 60—CO2 EMISSION STANDARDS FOR AFFECTED STATIONARY COMBUSTION TUR-
                                                     BINES THAT COMMENCED CONSTRUCTION OR RECONSTRUCTION AFTER MAY 23, 2023 (GROSS OR NET ENERGY
                                                     OUTPUT-BASED STANDARDS APPLICABLE AS APPROVED BY THE ADMINISTRATOR)
                                                  [Note: Numerical values of 1,000 or greater have a minimum of 3 significant figures and numerical values of less than 1,000 have a minimum of
                                                                                                             2 significant figures]

                                                               Affected EGU category                                                           CO2 emission standard

                                                 Base load combustion turbines ...........................    For 12-operating month averages beginning before January 2032, 360 to 560 kg CO2/MWh
                                                                                                                (800 to 1,250 lb CO2/MWh) of gross energy output; or 370 to 570 kg CO2/MWh (820 to
                                                                                                                1,280 lb CO2/MWh) of net energy output as determined by the procedures in § 60.5525a.
                                                                                                              For 12-operating month averages beginning after December 2031, 43 to 67 kg CO2/MWh (100
                                                                                                                to 150 lb CO2/MWh) of gross energy output; or 42 to 64 kg CO2/MWh (97 to 139 lb CO2/
                                                                                                                MWh) of net energy output as determined by the procedures in § 60.5525a.
                                                 Intermediate load combustion turbines ...............        530 to 710 kg CO2/MWh (1,170 to 1,560 lb CO2/MWh) of gross energy output; or 540 to 700
                                                                                                                kg CO2/MWh (1,190 to 1,590 lb CO2/MWh) of net energy output as determined by the pro-
                                                                                                                cedures in § 60.5525a.
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                                                 Low load combustion turbines ............................    Between 50 to 69 kg CO2/GJ (120 to 160 lb CO2/MMBtu) of heat input as determined by the
                                                                                                                procedures in § 60.5525a.




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                                                   TABLE 2 TO SUBPART TTTTA OF PART 60—CO2 EMISSION STANDARDS FOR AFFECTED STEAM GENERATING UNITS OR
                                                                          IGCC THAT COMMENCED MODIFICATION AFTER MAY 23, 2023
                                                                 Affected EGU                                                                                        CO2 Emission standard

                                                 Modified coal-fired steam gener-                       A unit-specific emissions standard determined by an 88.4 percent reduction in the unit’s best historical an-
                                                  ating unit.                                             nual CO2 emission rate (from 2002 to the date of the modification).


                                                        TABLE 3 TO SUBPART TTTTA OF PART 60—APPLICABILITY OF SUBPART A OF PART 60 (GENERAL PROVISIONS) TO
                                                                                               SUBPART TTTTA
                                                  General provisions citation                        Subject of citation                  Applies to subpart TTTTa                                        Explanation

                                                 § 60.1 ...................................   Applicability ........................     Yes.
                                                 § 60.2 ...................................   Definitions ..........................     Yes ....................................    Additional terms defined in § 60.5580a.
                                                 § 60.3 ...................................   Units and Abbreviations ....               Yes.
                                                 § 60.4 ...................................   Address .............................      Yes ....................................    Does not apply to information reported electronically
                                                                                                                                                                                      through ECMPS. Duplicate submittals are not re-
                                                                                                                                                                                      quired.
                                                 § 60.5 ...................................   Determination of construc-                 Yes.
                                                                                               tion or modification.
                                                 § 60.6 ...................................   Review of plans .................          Yes.
                                                 § 60.7 ...................................   Notification and Record-                   Yes ....................................    Only the requirements to submit the notifications in
                                                                                               keeping.                                                                               § 60.7(a)(1) and (3) and to keep records of malfunc-
                                                                                                                                                                                      tions in § 60.7(b), if applicable.
                                                 § 60.8(a) ...............................    Performance tests .............            No..
                                                 § 60.8(b) ...............................    Performance test method                    Yes ....................................    Administrator can approve alternate methods.
                                                                                                alternatives.
                                                 § 60.8(c)–(f) ..........................     Conducting performance                     No..
                                                                                                tests.
                                                 § 60.9 ...................................   Availability of Information ..             Yes.
                                                 § 60.10 .................................    State authority ...................        Yes.
                                                 § 60.11 .................................    Compliance with standards                  No..
                                                                                                and maintenance re-
                                                                                                quirements.
                                                 § 60.12 .................................    Circumvention ....................         Yes.
                                                 § 60.13 (a)–(h), (j) ................        Monitoring requirements ....               No ......................................   All monitoring is done according to part 75.
                                                 § 60.13 (i) .............................    Monitoring requirements ....               Yes ....................................    Administrator can approve alternative monitoring pro-
                                                                                                                                                                                       cedures or requirements.
                                                 § 60.14 .................................    Modification .......................       Yes (steam generating
                                                                                                                                           units and IGCC facilities)
                                                                                                                                           No (stationary combus-
                                                                                                                                           tion turbines)..
                                                 § 60.15 .................................    Reconstruction ...................         Yes.
                                                 § 60.16 .................................    Priority list ..........................   No..
                                                 § 60.17 .................................    Incorporations by reference                Yes.
                                                 § 60.18 .................................    General control device re-                 No..
                                                                                                quirements.
                                                 § 60.19 .................................    General notification and re-               Yes ....................................    Does not apply to notifications under § 75.61 or to in-
                                                                                                porting requirements.                                                                 formation reported through ECMPS.



                                                 Subpart UUUUa—[Reserved]                                               60.5720b What if I do not submit a State                            60.5795b Commitment to review emission
                                                                                                                            plan or my State plan is not approvable?                            guidelines for coal-fired affected EGUs
                                                                                                                        60.5725b In lieu of a State plan submittal,
                                                 ■ 16. Remove and reserve subpart                                                                                                           Applicability of State Plans to Affected EGUs
                                                                                                                            are there other acceptable option(s) for a
                                                 UUUUa.                                                                                                                                     60.5840b Does this subpart directly affect
                                                                                                                            State to meet its CAA section 111(d)
                                                                                                                            obligations?                                                        EGU owners or operators in my State?
                                                 ■ 17. Add subpart UUUUb to read as
                                                                                                                        60.5730b Is there an approval process for a                         60.5845b What affected EGUs must I
                                                 follows:                                                                                                                                       address in my State plan?
                                                 Sec.                                                                       negative declaration letter?
                                                                                                                                                                                            60.5850b What EGUs are excluded from
                                                                                                                        State Plan Requirements
                                                 Subpart UUUUb—Emission Guidelines for                                                                                                          being affected EGUs?
                                                 Greenhouse Gas Emissions for Electric                                  60.5740b What must I include in my
                                                                                                                            federally enforceable State plan?                               Recordkeeping and Reporting Requirements
                                                 Utility Generating Units
                                                                                                                        60.5775b What standards of performance                              60.5860b What applicable monitoring,
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                                                 Introduction
                                                                                                                            must I include in my State plan?                                    recordkeeping, and reporting
                                                 60.5700b What is the purpose of this                                   60.5780b What compliance dates and                                      requirements do I need to include in my
                                                     subpart?                                                               compliance periods must I include in my                             State plan for affected EGUs?
                                                 60.5705b Which pollutants are regulated by                                 State plan?                                                     60.5865b What are my recordkeeping
                                                     this subpart?                                                      60.5785b What are the timing requirements                               requirements?
                                                 60.5710b Am I affected by this subpart?                                    for submitting my State plan?                                   60.5870b What are my reporting and
                                                 60.5715b What is the review and approval                               60.5790b What is the procedure for revising                             notification requirements?
                                                     process for my State plan?                                             my State plan?



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                                                 60.5875b How do I submit information                     otherwise is subject to regulation under        § 60.5720b What if I do not submit a State
                                                     required by these emission guidelines to             the Act as defined in 40                        plan or my State plan is not approvable?
                                                     the EPA?                                             CFR 52.21(b)(49).                                 (a) If you do not submit an approvable
                                                 60.5876b What are the recordkeeping and                                                                  State plan the EPA will develop a
                                                     reporting requirements for EGUs that                    (3) For the purposes of 40 CFR 70.2,
                                                     have committed to permanently cease                  with respect to greenhouse gas                  Federal plan for your State according to
                                                     operations by January 1, 2032?                       emissions from facilities regulated in          § 60.27a. The Federal plan will
                                                                                                          the State plan, the ‘‘pollutant that is         implement the emission guidelines
                                                 Definitions
                                                                                                          subject to any standard promulgated             contained in this subpart. Owners and
                                                 60.5880b What definitions apply to this                                                                  operators of affected EGUs not covered
                                                     subpart?                                             under section 111 of the Act’’ shall be
                                                                                                          considered to be the pollutant that             by an approved State plan must comply
                                                 Subpart UUUUb—Emission Guidelines                        otherwise is ‘‘subject to regulation’’ as       with a Federal plan implemented by the
                                                 for Greenhouse Gas Emissions for                         defined in 40 CFR 70.2.                         EPA for the State.
                                                                                                                                                            (b) After a Federal plan has been
                                                 Electric Utility Generating Units                           (4) For the purposes of 40 CFR 71.2,         implemented in your State, it will be
                                                 Introduction                                             with respect to GHG emissions from              withdrawn when your State submits,
                                                                                                          facilities regulated in the State plan, the     and the EPA approves, a State plan
                                                 § 60.5700b       What is the purpose of this             ‘‘pollutant that is subject to any              replacing the relevant portion(s) of the
                                                 subpart?                                                 standard promulgated under section 111          Federal plan.
                                                   This subpart establishes emission                      of the Act’’ shall be considered to be the
                                                 guidelines and approval criteria for                     pollutant that otherwise is ‘‘subject to        § 60.5725b In lieu of a State plan
                                                 State plans that establish standards of                  regulation’’ as defined in 40 CFR 71.2.         submittal, are there other acceptable
                                                 performance limiting greenhouse gas                                                                      option(s) for a State to meet its CAA section
                                                                                                          § 60.5710b    Am I affected by this subpart?    111(d) obligations?
                                                 (GHG) emissions from an affected steam
                                                 generating unit. An affected steam                          (a) If you are the Governor of a State          A State may meet its CAA section
                                                 generating unit shall, for the purposes of               in the contiguous United States with            111(d) obligations only by submitting a
                                                 this subpart, be referred to as an affected              one or more affected EGUs that must be          State plan or a negative declaration
                                                 EGU. These emission guidelines are                       addressed in your State plan as                 letter (if applicable).
                                                 developed in accordance with section                     indicated in § 60.5845b, you must               § 60.5730b Is there an approval process
                                                 111(d) of the Clean Air Act and subpart                  submit a State plan to the U.S.                 for a negative declaration letter?
                                                 Ba of this part. State plans under the                   Environmental Protection Agency (EPA)              No. The EPA has no formal review
                                                 emission guidelines in this subpart are                  that implements the emission guidelines         process for negative declaration letters.
                                                 also subject to the requirements of                      contained in this subpart. If you are the       Once your negative declaration letter
                                                 subpart Ba. To the extent any                            Governor of a State in the contiguous           has been received, consistent with the
                                                 requirement of this subpart is                           United States with no affected EGUs, or         electronic submission requirements in
                                                 inconsistent with the requirements of                    if all EGUs in your State are excluded          § 60.5875b, the EPA will place a copy
                                                 subparts A or Ba of this part, the                       from being affected EGUs per                    in the public docket and publish a
                                                 requirements of this subpart shall apply.                § 60.5850b, you must submit a negative          notice in the Federal Register. If, at a
                                                                                                          declaration letter in place of the State        later date, an affected EGU for which
                                                 § 60.5705b Which pollutants are regulated                plan.
                                                 by this subpart?                                                                                         construction commenced on or before
                                                   (a) The pollutants regulated by this                      (b) If you are a coal-fired steam            January 8, 2014, reconstruction on or
                                                 subpart are greenhouse gases (GHG).                      generating unit that has demonstrated           before June 18, 2014, or modification on
                                                 The emission guidelines for greenhouse                   that it plans to permanently cease              or before May 23, 2023, is found in your
                                                 gases established in this subpart are                    operation prior to January 1, 2032,             State, you will be found to have failed
                                                 expressed as carbon dioxide (CO2)                        consistent with § 60.5740b(a)(9)(ii), and       to submit a State plan as required, and
                                                 emission performance rates.                              that would be an affected EGU under             a Federal plan implementing the
                                                   (b) PSD and Title V Thresholds for                     these emissions guidelines but for              emission guidelines contained in this
                                                 Greenhouse Gases.                                        § 60.5850b(k), you must comply with             subpart, when promulgated by the EPA,
                                                   (1) For the purposes of 40                             § 60.5876b.                                     will apply to that affected EGU until
                                                 CFR 51.166(b)(49)(ii), with respect to                                                                   you submit, and the EPA approves, a
                                                                                                          § 60.5715b What is the review and
                                                 GHG emissions from facilities regulated                  approval process for my State plan?             State plan.
                                                 in the State plan, the ‘‘pollutant that is                                                               State Plan Requirements
                                                 subject to the standard promulgated                         (a) The EPA will determine the
                                                 under section 111 of the Act’’ shall be                  completeness of your State plan                 § 60.5740b What must I include in my
                                                 considered to be the pollutant that                      submission according to § 60.27a(g). The        federally enforceable State plan?
                                                 otherwise is subject to regulation under                 timeline for completeness                          (a) You must include the components
                                                 the Act as defined in 40                                 determinations is provided in                   described in paragraphs (a)(1) through
                                                 CFR 51.166(b)(48) and in any State                       § 60.27a(g)(1).                                 (13) of this section in your State plan
                                                 Implementation Plan (SIP) approved by                       (b) The EPA will act on your State           submittal. The final State plan must
                                                 the EPA that is interpreted to                           plan submission according to § 60.27a.          meet the requirements and include the
                                                 incorporate, or specifically incorporates,               The Administrator will have 12 months           information required under § 60.5775b
                                                                                                          after the date the final State plan or
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                                                 40 CFR 51.166(b)(48).                                                                                    and must also meet any administrative
                                                   (2) For the purposes of 40                             State plan revision (as allowed under           and technical completeness criteria
                                                 CFR 52.21(b)(50)(ii), with respect to                    § 60.5790b) is found to be complete to          listed in § 60.27a(g)(2) and (3) that are
                                                 GHG emissions from facilities regulated                  fully approve, partially approve,               not otherwise specifically enumerated
                                                 in the State plan, the ‘‘pollutant that is               conditionally approve, partially                here.
                                                 subject to the standard promulgated                      disapprove, and/or fully disapprove                (1) Identification of affected EGUs.
                                                 under section 111 of the Act’’ shall be                  such State plan or revision or each             Consistent with § 60.25a(a), you must
                                                 considered to be the pollutant that                      portion thereof.                                identify the affected EGUs covered by


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                                                 your State plan and all affected EGUs in                natural gas- and oil-fired subcategories,      required elements for affected EGUs in
                                                 your State that meet the applicability                  the sum of the heat input during each          the long-term coal-fired steam
                                                 criteria in § 60.5845b. You must also                   quarter in the 5-year period.                  generating unit and medium-term coal-
                                                 identify the subcategory into which you                    (C) The heat input for each fuel type       fired steam generating unit
                                                 have classified each affected EGU.                      combusted during each quarter in the 5-        subcategories.
                                                 States must subcategorize affected EGUs                 year period.                                      (i) For affected EGUs in the long-term
                                                 into one of the following subcategories:                   (D) The start date and end date of the      coal-fired steam generating unit
                                                    (i) Long-term coal-fired steam                       most representative continuous 8-              subcategory using carbon capture to
                                                 generating units, consisting of coal-fired              quarter period used to determine the           meet their applicable standard of
                                                 steam generating units that are not                     baseline of emission performance under         performance and affected EGUs in the
                                                 medium-term coal-fired steam                            § 60.5775b(d), the sum of the CO2 mass         medium-term coal-fired steam
                                                 generating units and do not plan to                     emissions during that period, the sum of       generating unit subcategory using
                                                 permanently cease operation before                      the gross energy output or, for affected       natural gas co-firing to meet their
                                                 January 1, 2039.                                        EGUs in the low load natural gas-fired         applicable standard of performance,
                                                    (ii) Medium-term coal-fired steam                    subcategory or low load oil-fired              State plans must assign calendar-date
                                                 generating units, consisting of coal-fired              subcategory, the sum of the heat input         deadlines to each of the increments of
                                                 steam generating units that have elected                during that period, and sum of the heat        progress described in subsection (a)(5)(i)
                                                 to commit to permanently cease                          input for each fuel type combusted             and meet the website reporting
                                                 operations by a date after December 31,                 during that period.                            obligations of subsection (a)(5)(iii):
                                                 2031, and before January 1, 2039.                          (3) Standards of Performance. You              (A) Submittal of a final control plan
                                                    (iii) Base load oil-fired steam                      must include all standards of                  for the affected EGU to the appropriate
                                                 generating units, consisting of oil-fired               performance for each affected EGU              air pollution control agency. The final
                                                 steam generating units with an annual                   according to § 60.5775b. Standards of          control plan must be consistent with the
                                                 capacity factor greater than or equal to                performance must be established at a           subcategory declaration for each
                                                 45 percent.                                             level of performance that does not             affected EGU in the State plan.
                                                    (iv) Intermediate load oil-fired steam               exceed the level calculated through the           (1) For each affected unit in the long-
                                                 generating units, consisting of oil-fired               use of the methods described in                term coal-fired steam generating unit
                                                 steam generating units with an annual                   § 60.5775b(b), unless a State establishes      subcategory, the final control plan must
                                                 capacity factor greater than or equal to                a standard of performance pursuant to          include supporting analysis for the
                                                 8 percent and less than 45 percent.                     § 60.5775b(e).                                 affected EGU’s control strategy,
                                                    (v) Low load oil-fired steam                            (4) Requirements related to                 including a feasibility and/or front-end
                                                 generating units, consisting of oil-fired               Subcategory Applicability. (i) You must        engineering and design (FEED) study.
                                                 steam generating units with an annual                   include the following enforceable                 (2) For each affected unit in the
                                                 capacity factor less than 8 percent.                    requirements to establish an affected          medium-term coal-fired steam
                                                    (vi) Base load natural gas-fired steam               EGU’s applicability for each of the            generating unit subcategory, the final
                                                 generating units, consisting of natural                 following subcategories:                       control plan must include supporting
                                                 gas-fired steam generating units with an                   (A) For medium-term coal-fired steam        analysis for the affected EGU’s control
                                                 annual capacity factor greater than or                  generating units, you must include a           strategy, including the design basis for
                                                 equal to 45 percent.                                    requirement to permanently cease               modifications at the facility, the
                                                    (vii) Intermediate load natural gas-                 operations by a date after December 31,        anticipated timeline to achieve full
                                                 fired steam generating units, consisting                2031, and before January 1, 2039.              compliance, and the benchmarks the
                                                 of natural gas-fired steam generating                      (B) For steam generating units that         facility anticipates along the way.
                                                 units with an annual capacity factor                    meet the definition of natural gas- or oil-       (B) Completion of awarding of
                                                 greater than or equal to 8 percent and                  fired, and that either retain the              contracts. The owner or operator of an
                                                 less than 45 percent.                                   capability to fire coal after May 9, 2024,     affected EGU can demonstrate
                                                    (viii) Low load natural gas-fired steam              that fired any coal during the 5-year          compliance with this increment of
                                                 generating units, consisting of natural                 period prior to that date, or that will fire   progress by submitting sufficient
                                                 gas-fired steam generating units with an                any coal after that date and before            evidence that the appropriate contracts
                                                 annual capacity factor less than 8                      January 1, 2030, you must include a            have been awarded.
                                                 percent.                                                requirement to remove the capability to           (1) For each affected unit in the long-
                                                    (2) Inventory of Data from Affected                  fire coal before January 1, 2030.              term coal-fired steam generating unit
                                                 EGUs. You must include an inventory of                     (C) For each affected EGU, you must         subcategory, awarding of contracts for
                                                 the following data from the affected                    also estimate coal, oil, and natural gas       emission control systems or for process
                                                 EGUs:                                                   usage by heat input for the first 3            modifications, or issuance of orders for
                                                    (i) The nameplate capacity of the                    calendar years after January 1, 2030.          the purchase of component parts to
                                                 affected EGU, as defined in § 60.5880b.                    (D) For affected EGUs that plan to          accomplish emission control or process
                                                    (ii) The base load rating of the affected            permanently cease operation, you must          modification.
                                                 EGU, as defined in § 60.5880b.                          include a requirement that each such              (2) For each affected unit in the
                                                    (iii) The data within the continuous 5-              affected EGU comply with applicable            medium-term coal-fired steam
                                                 year period immediately prior to May 9,                 State and Federal requirements for             generating unit subcategory, awarding of
                                                 2024 including:                                         permanently ceasing operation,                 contracts for boiler modifications, or
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                                                    (A) The sum of the CO2 emissions                     including removal from its respective          issuance of orders for the purchase of
                                                 during each quarter in the 5-year period.               State’s air emissions inventory and            component parts to accomplish boiler
                                                    (B) For affected EGUs in all                         amending or revoking all applicable            modifications.
                                                 subcategories except the low load                       permits to reflect the permanent                  (C) Initiation of on-site construction
                                                 natural gas- and oil-fired subcategories,               shutdown status of the EGU.                    or installation of emission control
                                                 the sum of the gross energy output                         (5) Increments of Progress. You must        equipment or process change.
                                                 during each quarter in the 5-year period;               include in your State plan legally                (1) For each affected unit in the long-
                                                 for affected EGUs in the low load                       enforceable increments of progress as          term coal-fired steam generating unit


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                                                 subcategory, initiation of on-site                      subcategory, a report identifying the         30 business days after the owner or
                                                 construction or installation of emission                geographic location where CO2 will be         operator of the affected EGU knew or
                                                 control equipment or process change                     injected underground, how the CO2 will        should have known of the event. This
                                                 required to achieve 90 percent carbon                   be transported from the capture location      report must explain the cause or causes
                                                 capture on an annual basis.                             to the storage location, and the              of the deviation and describe all
                                                    (2) For each affected unit in the                    regulatory requirements associated with       measures taken or to be taken by the
                                                 medium-term coal-fired steam                            the sequestration activities, as well as an   owner or operator of the EGU to cure the
                                                 generating unit subcategory, initiation of              anticipated timeline for completing           reported deviation and to prevent such
                                                 on-site construction or installation of                 related permitting activities.                deviations in the future, including the
                                                 any boiler modifications necessary to                      (G) Compliance with the standard of        timeframes in which the owner or
                                                 enable natural gas co-firing at a level of              performance as follows:                       operator intends to cure the deviation.
                                                 40 percent on an annual average basis.                     (1) For each affected unit in the          You must also include in your State
                                                    (D) Completion of on-site construction               medium-term coal-fired subcategory, by        plan a requirement that the owner or
                                                 or installation of emission control                     January 1, 2030.                              operator of the affected EGU to post a
                                                 equipment or process change.                               (2) For each affected unit in the long-    report of any deviation from any
                                                    (1) For each affected unit in the long-              term coal-fired steam generating              federally enforceable increment of
                                                 term coal-fired steam generating unit                   subcategory, by January 1, 2032.              progress on the Carbon Pollution
                                                 subcategory, completion of on-site                         (ii) For any affected unit in the long-    Standards for EGUs website required by
                                                 construction or installation of emission                term coal-fired steam generating unit         § 60.5740b(a)(10) within 30 business
                                                 control equipment or process change                     subcategory that will meet its applicable     days.
                                                 required to achieve 90 percent carbon                   standard of performance using a control          (6) Reporting Obligations and
                                                 capture on an annual basis.                             other than CCS or in the medium-term          Milestones for Affected EGUs that Have
                                                    (2) For each affected unit in the                    coal-fired steam generating unit              Demonstrated They Plan to Permanently
                                                 medium-term coal-fired steam                            subcategory that will meet its applicable     Cease Operations. You must include in
                                                 generating unit subcategory, completion                 standard of performance using a control       your State plan legally enforceable
                                                 of on-site construction of any boiler                   other than natural gas co-firing:             reporting obligations and milestones for
                                                 modifications necessary to enable                          (A) The State plan must include            affected EGUs in the medium-term coal-
                                                 natural gas co-firing at a level of 40                  appropriate increments of progress            fired steam generating unit
                                                 percent on an annual average basis.                     consistent with 40 CFR 60.21a(h)              (§ 60.5740b(a)(1)(ii)) subcategory, and
                                                    (E) Commencement of permitting                       specific to the affected unit’s control       for affected EGUs that invoke RULOF
                                                 actions related to pipeline construction.               strategy.                                     based on a unit’s remaining useful life
                                                 The owner or operator of an affected                       (1) The increment of progress              according to paragraphs (a)(6)(i) through
                                                 EGU must demonstrate that they have                     corresponding to 40 CFR 60.21a(h)(1)          (v) of this section:
                                                 commenced permitting actions by a date                  must be assigned the earliest calendar           (i) Five years before the date the
                                                 specified in the State plan. Evidence in                date among the increments.                    affected EGU permanently ceases
                                                 support of the demonstration must                          (2) The increment of progress              operations (either the date used to
                                                 include pipeline planning and design                    corresponding to 40 CFR 60.21a(h)(5)          determine the applicable subcategory
                                                 documentation that informed the                         must be assigned calendar dates as            under these emission guidelines or the
                                                 permitting process, a complete list of                  follows: for affected EGUs in the long-       date used to invoke RULOF based on
                                                 pipeline-related permitting applications,               term coal-fired steam generating              remaining useful life) or 60 days after
                                                 including the nature of the permit                      subcategory, no later than January 1,         State plan submission, whichever is
                                                 sought and the authority to which each                  2032; and for affected EGUs in the            later, the owner or operator of the
                                                 permit application was submitted, an                    medium-term coal-fired steam                  affected EGU must submit an Initial
                                                 attestation that the list of pipeline-                  generating subcategory, no later than         Milestone Report to the applicable air
                                                 related permits is complete with respect                January 1, 2030.                              pollution control agency that includes
                                                 to the authorizations required to operate                  (iii) The owner or operator of the         the information in paragraphs
                                                 each affected unit at full compliance                   affected EGU must post within 30              (a)(6)(i)(A) through (D) of this section:
                                                 with the standard of performance, and                   business days of the State plan                  (A) A summary of the process steps
                                                 a timeline to complete all pipeline                     submittal a description of the activities     required for the affected EGU to
                                                 permitting activities.                                  or actions that constitute the increments     permanently cease operations by the
                                                    (1) For affected units in the long-term              of progress and the schedule for              date included in the State plan,
                                                 coal-fired steam generating unit                        achieving the increments of progress on       including the approximate timing and
                                                 subcategory, this increment of progress                 the Carbon Pollution Standards for            duration of each step and any
                                                 applies to each affected EGU that adopts                EGUs website required by                      notification requirements associated
                                                 CCS to meet the standard of                             § 60.5740b(a)(10). As the calendar dates      with deactivation of the unit.
                                                 performance and ensure timely                           for each increment of progress occurs,           (B) A list of key milestones that will
                                                 completion of CCS-related pipeline                      the owner or operator of the affected         be used to assess whether each process
                                                 infrastructure.                                         EGU must post within 30 business days         step has been met, and calendar day
                                                    (2) For affected units in the medium-                any documentation necessary to                deadlines for each milestone. These
                                                 term coal-fired steam generating unit                   demonstrate that each increment of            milestones must include at least the
                                                 subcategory, this increment of progress                 progress has been met on the Carbon           initial notice to the relevant reliability
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                                                 applies to each affected EGU that adopts                Pollution Standards for EGUs website          authority or authorities of an EGU’s
                                                 natural gas co-firing to meet the                       required by § 60.5740b(a)(10).                deactivation date and submittal of an
                                                 standard of performance and ensures                        (iv) You must include in your State        official retirement filing with the EGU’s
                                                 timely completion of any pipeline                       plan a requirement that the owner or          relevant reliability authority or
                                                 infrastructure needed to transport                      operator of each affected EGU shall           authorities.
                                                 natural gas to designated facilities.                   report to the State regulatory agency any        (C) An analysis of how the process
                                                    (F) For each affected unit in the long-              deviation from any federally enforceable      steps, milestones, and associated
                                                 term coal-fired steam generating unit                   State plan increment of progress within       timelines included in the Milestone


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                                                 Report compare to the timelines of                      ceases operations (either the date used          (8) State reporting. You must include
                                                 similar EGUs within the State that have                 to determine the applicable subcategory       in your State plan a description of the
                                                 permanently ceased operations within                    under these emission guidelines or the        process, contents, and schedule for State
                                                 the 10 years prior to the date of                       date used to invoke RULOF based on            reporting to the EPA about State plan
                                                 promulgation of these emission                          remaining useful life), the owner or          implementation and progress.
                                                 guidelines.                                             operator of the affected EGU must                (9) Specific requirements for existing
                                                    (D) Supporting regulatory documents,                 submit a Final Milestone Status Report.       coal-fired steam generating EGUs. Your
                                                 which include those listed in                           This report must document any actions         State plan must include the
                                                 paragraphs (a)(6)(i)(D)(1) through (3) of               that the EGU has taken subsequent to          requirements in paragraphs (a)(9)(i)
                                                 this section:                                           ceasing operation to ensure that such         through (iii) of this section specifically
                                                    (1) Any correspondence and official                  cessation is permanent, including any         for existing coal-fired steam generating
                                                 filings with the relevant Regional                      regulatory filings with applicable            EGUs:
                                                 Transmission Organization (RTO),                        authorities or decommissioning plans.            (i) Your State plan must require that
                                                 Independent System Operator,                               (iv) The owner or operator of the          any existing coal-fired steam-generating
                                                 Balancing Authority, Public Utilities                   affected EGU must post their Initial          EGU shall operate only subject to a
                                                 Commission (PUC), or other applicable                   Milestone Report, as described in             standard of performance pursuant to
                                                 authority;                                              paragraph (a)(6)(i) of this section;          § 60.5775b or under an exemption of
                                                    (2) Any deactivation-related reliability             annual Milestone Status Reports, as           applicability provided under § 60.5850b
                                                 assessments conducted by the RTO or                     described in paragraph (a)(6)(ii) of this     (including any extension of the date by
                                                 Independent System Operator;                            section; and Final Milestone Status           which an EGU has committed to cease
                                                    (3) Any filings with the United States               Report, as described in paragraph             operating pursuant to the reliability
                                                 Securities and Exchange Commission or                   (a)(6)(iii) of this section; including the    assurance mechanism, described in
                                                 notices to investors, including but not                 schedule for achieving milestones and         paragraph (a)(13) of this section).
                                                 limited to, those listed in paragraphs                                                                   (ii) You must include a list of the
                                                                                                         any documentation necessary to
                                                 (a)(6)(i)(D)(3)(i) through (v) of this                                                                coal-fired steam generating EGUs that
                                                                                                         demonstrate that milestones have been
                                                 section.                                                                                              are existing sources at the time of State
                                                                                                         achieved, on the Carbon Pollution
                                                    (i) References in forms 10–K and 10–                                                               plan submission and that plan to
                                                                                                         Standards for EGUs website required by        permanently cease operation before
                                                 Q, in which the plans for the EGU are                   paragraph (a)(10) of this section within
                                                 mentioned;                                                                                            January 1, 2032, and the calendar dates
                                                                                                         30 business days of being filed.              by which they have committed to cease
                                                    (ii) Any integrated resource plans and
                                                                                                            (v) You must include in your State         operating.
                                                 PUC orders approving the EGU’s
                                                                                                         plan a requirement that the owner or             (iii) The State plan must provide that
                                                 deactivation;
                                                    (iii) Any reliability analyses                       operator of each affected EGU shall           an existing coal-fired steam generating
                                                 developed by the RTO, Independent                       report to the State regulatory agency any     EGU operating past the date listed in the
                                                 System Operator, or relevant reliability                deviation from any federally enforceable      State plan pursuant to paragraph
                                                 authority in response to the EGU’s                      State plan reporting milestone within 30      (a)(9)(ii) of this section is in violation of
                                                 deactivation notification;                              business days after the owner or              that State plan, except to the extent the
                                                    (iv) Any notification from a relevant                operator of the affected EGU knew or          existing coal-fired steam generating EGU
                                                 reliability authority that the EGU may                  should have known of the event. This          has received an extension of its date for
                                                 be needed for reliability purposes                      report must explain the cause or causes       ceasing operation pursuant to the
                                                 notwithstanding the EGU’s intent to                     of the deviation and describe all             reliability assurance mechanism,
                                                 deactivate; and                                         measures taken or to be taken by the          described in paragraph (a)(13) of this
                                                    (v) Any notification to or from an                   owner or operator of the EGU to cure the      section.
                                                 RTO, Independent System Operator, or                    reported deviation and to prevent such           (10) Carbon Pollution Standards for
                                                 Balancing Authority altering the timing                 deviations in the future, including the       EGUs Websites. You must require in
                                                 of deactivation for the EGU.                            timeframes in which the owner or              your State plan that owners or operators
                                                    (ii) For each of the remaining years                 operator intends to cure the deviation.       of affected EGUs establish a publicly
                                                 prior to the date by which an affected                  You must also include in your State           accessible ‘‘Carbon Pollution Standards
                                                 EGU has committed to permanently                        plan a requirement that the owner or          for EGUs Website’’ and that they post
                                                 cease operations that is included in the                operator of the affected EGU to post a        relevant documents to this website. You
                                                 State plan, the owner or operator of the                report of any deviation from any              must require in your State plan that
                                                 affected EGU must submit an annual                      federally enforceable reporting               owners or operators of affected EGUs
                                                 Milestone Status Report that includes                   milestone on the Carbon Pollution             post their subcategory designations and
                                                 the information in paragraphs                           Standards for EGUs website required by        compliance schedules as well as any
                                                 (a)(6)(ii)(A) and (B) of this section:                  § 60.5740b(a)(10) within 30 business          emissions data and other information
                                                    (A) Progress toward meeting all                      days.                                         needed to demonstrate compliance with
                                                 milestones identified in the Initial                       (7) Identification of applicable           a standard of performance to this
                                                 Milestone Report, described in                          monitoring, reporting, and                    website in a timely manner. This
                                                 § 60.5740b(a)(6)(i); and                                recordkeeping requirements for each           information includes, but is not limited
                                                    (B) Supporting regulatory documents                  affected EGU. You must include in your        to, emissions data and other information
                                                 and relevant SEC filings, including                     State plan all applicable monitoring,         relevant to determining compliance
                                                                                                         reporting and recordkeeping                   with applicable standards of
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                                                 correspondence and official filings with
                                                 the relevant RTO, Independent System                    requirements, including initial and           performance, information relevant to the
                                                 Operator, Balancing Authority, PUC, or                  ongoing quality assurance and quality         designation and determination of
                                                 other applicable authority to                           control procedures, for each affected         compliance with increments of progress
                                                 demonstrate compliance with or                          EGU and the requirements must be              and reporting obligations including
                                                 progress toward all milestones.                         consistent with or no less stringent than     milestones for affected EGUs that plan
                                                    (iii) No later than six months from the              the requirements specified in                 to permanently cease operations, and
                                                 date the affected EGU permanently                       § 60.5860b.                                   any extension requests made and


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                                                 granted pursuant to the compliance date                 time to install the identified controls.      State plan provisions for a short-term
                                                 extension mechanism or the reliability                  This may include:                             reliability mechanism for affected EGUs
                                                 assurance mechanism. Data should be                        (1) Information gathered from control      in your State that operate during a
                                                 available in a readily downloadable                     technology vendors or engineering firms       system emergency, as defined in
                                                 format. In addition, you must establish                 demonstrating that the necessary              § 60.5880b. Such a mechanism must
                                                 a website that displays the links to these              controls cannot be installed or started       include the components listed in
                                                 websites for all affected EGUs in your                  up by the applicable compliance date          paragraphs (a)(12)(i) through (vi) of this
                                                 State plan.                                             listed in § 60.5740b(a)(4)(i);                section.
                                                    (11) Compliance Date Extension. You                     (2) Documentation of any permit               (i) A requirement that the short-term
                                                 may include in your State plan                          delays; or                                    reliability mechanism is available only
                                                 provisions allowing for a compliance                       (3) Documentation of delays in             during system emergencies as defined in
                                                 date extension for owners or operators                  construction or permitting of                 § 60.5880b. The State plan must identify
                                                 of affected EGU(s) that are installing                  infrastructure (e.g., CO2 pipelines) that     the entity or entities that are authorized
                                                 add-on controls and that are unable to                  is necessary for implementation of the        to issue system emergencies for the
                                                 meet the applicable standard of                         control technology;                           State.
                                                 performance by the compliance date                         (E) Identify a proposed compliance            (ii) A provision that, for the duration
                                                 specified in § 60.5740b(a)(4)(i) due to                 date no later than one year after the         of a documented system emergency, an
                                                 circumstances beyond the owner or                       applicable compliance date listed in          impacted affected EGU may comply
                                                 operator’s control. Such provisions may                 § 60.5740b(a)(4)(i) and, if necessary,        with an emission limitation
                                                 allow an owner or operator of an                        updated calendar dates for the                corresponding to its baseline emission
                                                 affected EGU to request an extension of                 increments of progress that have not yet      performance rate, as calculated under
                                                 no longer than one year from the                        been met.                                     § 60.5775b(d), in lieu of its otherwise
                                                 specified compliance date and may only                     (ii) The State air pollution control       applicable standard of performance. The
                                                 allow the owner or operator to receive                  agency is charged with approving or           State plan must clearly identify the
                                                 an extension once. The optional State                   disapproving a compliance date                alternative emission limitation that
                                                 plan mechanism must provide that an                     extension request based on its written        corresponds to the affected EGU’s
                                                 extension request contains a                            determination that the affected EGU has       baseline emission rate and include it as
                                                 demonstration of necessity that includes                or has not made each of the necessary         an enforceable emission limitation that
                                                 the following:                                          demonstrations and provided all of the        may be applied only during periods of
                                                    (i) A demonstration that the owner or                necessary documentation according to          system emergency.
                                                 operator of the affected EGU cannot                     paragraphs (a)(11)(i)(A) through (E) of          (iii) A requirement that an affected
                                                 meet its compliance date due to                         this section. The following provisions        EGU impacted by the system emergency
                                                 circumstances beyond the owner or                       for approval must be included in the          and complying with an alternative
                                                 operator’s control and that the owner or                mechanism:                                    emission limitation must provide
                                                 operator has met all relevant increments                   (A) All documentation required as          documentation, as part of its
                                                 of progress and otherwise taken all steps               part of this extension must be submitted      compliance demonstration, of the
                                                 reasonably possible to install the                      by the owner or operator of the affected      system emergency according to
                                                 controls necessary for compliance by                    EGU to the State air pollution control        (a)(12)(iii)(A) through (D) of this section
                                                 the specified compliance date up to the                 agency no later than 6 months prior to        and that it was impacted by that system
                                                 point of the delay. The demonstration                   the applicable compliance date for that       emergency.
                                                 shall:                                                  affected EGU.                                    (A) Documentation that the system
                                                    (A) Identify each affected unit for                     (B) The owner or operator of the           emergency was in effect from the entity
                                                 which the owner or operator is seeking                  affected EGU must notify the relevant         issuing the system emergency and
                                                 the compliance extension;                               EPA Regional Administrator of their           documentation of the exact duration of
                                                    (B) Identify and describe the controls               compliance date extension request at          the event;
                                                 to be installed at each affected unit to                the time of the submission of the                (B) Documentation from the entity
                                                 comply with the applicable standard of                  request.                                      issuing the system emergency that the
                                                 performance pursuant to § 60.5775b;                        (C) The owner or operator of the           system emergency included the affected
                                                    (C) Describe and demonstrate all                     affected EGU must post their                  source/region where the unit was
                                                 progress towards installing the controls                application for the compliance date           located;
                                                 and that the owner or operator has itself               extension request to the Carbon                  (C) Documentation that the source
                                                 acted consistent with achieving timely                  Pollution Standards for EGUs website,         was instructed to increase output
                                                 compliance, including:                                  described in § 60.5740b(a)(10), when          beyond the planned day-ahead or other
                                                    (1) Any and all contract(s) entered                  they submit the request to the State air      near-term expected output and/or was
                                                 into for the installation of the identified             pollution control agency.                     asked to remain in operation outside of
                                                 controls or an explanation as to why no                    (D) The owner or operator of the           its scheduled dispatch during
                                                 contract is necessary or obtainable; and                affected EGU must post the State’s            emergency conditions from a Reliability
                                                    (2) Any permit(s) obtained for the                   determination on the compliance date          Coordinator, Balancing Authority, or
                                                 installation of the identified controls or,             extension request to the Carbon               Independent System Operator/RTO; and
                                                 where a required permit has not yet                     Pollution Standards for EGUs website,            (D) Data collected during the event
                                                 been issued, a copy of the permit                       described in § 60.5740b(a)(10), upon          including the sum of the CO2 emissions,
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                                                 application submitted to the permitting                 receipt of the determination and, if the      the sum of the gross energy output, and
                                                 authority and a statement from the                      request is approved, update the               the resulting CO2 emissions
                                                 permit authority identifying its                        information on the website related to         performance rate.
                                                 anticipated timeframe for issuance of                   the compliance date and increments of            (iv) A requirement to document the
                                                 such permit(s).                                         progress dates within 30 days of the          hours an affected EGU operated under a
                                                    (D) Identify the circumstances that are              receipt of the State’s approval.              system emergency and the enforceable
                                                 entirely beyond the owner or operator’s                    (12) Short-Term Reliability                emission limitation, whether the
                                                 control and that necessitate additional                 Mechanism. You may include in your            applicable standard of performance or


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                                                 the alternative emission limitation,                       (iv) The State plan must provide that       part of their established procedures for
                                                 under which that affected EGU operated                  any applicable standard of performance         that particular region; specifically, this
                                                 during those hours.                                     for an affected EGU must remain in             requires a clear demonstration that the
                                                    (v) A provision that, for the purpose                place during the duration of an                eligible EGU would be needed to
                                                 of demonstrating compliance with the                    extension provided under this                  maintain the targeted level of resource
                                                 applicable standard of performance, the                 mechanism.                                     adequacy.
                                                 affected EGU would comply with its                         (v) The State plan may provide for             (B) Certification from the relevant
                                                 baseline emissions rate as calculated                   requests for an extension of up to 12          reliability planning authority that the
                                                 under § 60.5775b(d) in lieu of its                      months without a State plan revision.          claims of reliability risk are accurate
                                                 otherwise applicable standard of                           (A) For an extension of 6 months or         and that the identified reliability
                                                 performance for the hours of operation                  less, the owner or operator of the             problem both exists and requires the
                                                 that correspond to the duration of the                  eligible EGU requesting the extension          specific relief requested. This
                                                 event.                                                  must submit the information in                 certification must be accompanied by a
                                                    (vi) The inclusion of provisions                     paragraph (a)(13)(vi) to the applicable        written analysis by the relevant
                                                 defining the short-term reliability                     EPA Regional Administrator to review           planning authority consistent with
                                                 mechanism must be part of the public                    and approve or disapprove the                  paragraph (a)(13)(vi)(A) of this section,
                                                 comment process as part of the State                    extension request.                             confirming the asserted reliability risk if
                                                 plan’s development.                                        (B) For an extension of more than 6         the eligible EGU was not in operation.
                                                    (13) Reliability Assurance                           months and up to 12 months, the owner          The information from the relevant
                                                 Mechanism. You may include                              or operator of the eligible EGU                reliability planning authority must also
                                                 provisions for a reliability assurance                  requesting the extension must submit           include any related system-wide or
                                                 mechanism in your State plan. If                        the information in paragraph (a)(13)(vii)      regional analysis and a substantiation of
                                                 included, such provisions would allow                   to the Federal Energy Regulatory               the length of time that the eligible EGU
                                                 for one extension, not to exceed 12-                    Commission (through a process and at           is expected to be reliability critical.
                                                 months of the date by which an affected                 an office of the Federal Energy                   (C) Copies of any written comments
                                                 EGU has committed to permanently                        Regulatory Commission’s designation)           from third parties regarding the
                                                 cease operations based on a                             and to the applicable EPA Regional             extension.
                                                 demonstration consistent with this                      Administrator to review and approve or            (D) Demonstration from the owner or
                                                 paragraph (a)(13) that operation of the                 disapprove the extension request.              operator of the eligible EGU, grid
                                                 affected EGU is necessary for electric                     (vi) The State plan must require that       operator, and other relevant entities of
                                                 grid reliability.                                       to apply for an extension for 6 months         a plan, including appropriate actions to
                                                    (i) The State plan must require that                 or less, described in paragraph                bring on new capacity or transmission,
                                                 the reliability assurance mechanism                     (a)(13)(v)(A) of this section, the owner       to resolve the underlying reliability
                                                 would only be appliable to the                          or operator of an eligible EGU must            issue is leading to the need to employ
                                                 following EGUs which, for the purpose                   submit a complete written application          this reliability assurance mechanism,
                                                 of this paragraph (a)(13), are collectively             that includes the information listed in        including the steps and timeframes for
                                                 referred to as ‘‘eligible EGUs’’:                       paragraphs (a)(13)(vi)(A) through (D) of       implementing measures to rectify the
                                                    (A) Coal-fired steam generating units                this section no less than 30 days prior        underlying reliability issue.
                                                 that are exempt from these emission                     to the cease operation date, but no               (E) Any other information requested
                                                 guidelines pursuant to § 60.5850b(k),                   earlier than 12 months prior to the cease      by the applicable EPA Regional
                                                    (B) Affected EGUs in the medium-                     operation date.                                Administrator or the Federal Energy
                                                 term coal-fired steam-generating                           (A) An analysis of the reliability risk     Regulatory Commission.
                                                 subcategory that have enforceable                       that clearly demonstrates that the                (vii) The State plan must require that
                                                 commitments to permanently cease                        eligible EGU is critical to maintaining        to apply for an extension longer than 6
                                                 operation before January 1, 2039, in the                electric reliability. The analysis must        months but up to 12 months, described
                                                 State plan, and                                         include a projection of the length of          in paragraph (a)(13)(v)(B) of this section,
                                                    (C) Affected EGUs that have                          time that the EGU is expected to be            the owner or operator of an eligible EGU
                                                 enforceable dates to permanently cease                  reliability-critical and the length of the     must submit a complete written
                                                 operation included in the State plan                    requested extension must be no longer          application that includes the
                                                 pursuant to § 60.24a(g).                                than this period or 6 months, whichever        information listed in (a)(13)(vi)(A)
                                                    (ii)The date from which an extension                 is shorter. In order to show an                through (E) of this section, except that
                                                 would run is the date included in the                   approvable reliability need, the analysis      the period of time under (a)(13)(vi)(A)
                                                 State plan by which an eligible EGU has                 must clearly demonstrate that an               would be 12 months. For requests for
                                                 committed to permanently cease                          eligible EGU ceasing operation by the          extensions longer than 6 months, this
                                                 operation.                                              date listed in the State plan would cause      application must be submitted to the
                                                    (iii) The State plan must provide that               one or more of the conditions listed in        EPA Regional Administrator no less
                                                 an extension is only available to owners                paragraphs (a)(13)(vi)(A)(1) or (2) of this    than 45 days prior to the date for
                                                 or operators of affected EGUs that have                 section. An eligible EGU that has              ceasing operation listed in the State
                                                 satisfied all applicable increments of                  received a Reliability Must Run                plan, but no earlier than 12 months
                                                 progress and reporting obligations and                  designation, or equivalent from a              prior to that date.
                                                 milestones in paragraphs (a)(5) and (6)                 Reliability Coordinator or Balancing              (viii) The State plan must provide that
                                                 of this section. This includes requiring
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                                                                                                         Authority, would fulfill those                 extensions will only be granted for the
                                                 that the owner or operator of an affected               conditions.                                    period of time that is substantiated by
                                                 EGU has posted all information relevant                    (1) Result in noncompliance with at         the reliability need and the submitted
                                                 to such increments of progress and                      least one of the mandatory reliability         analysis and documentation, and shall
                                                 reporting obligations and milestones on                 standards approved by FERC; or                 not exceed 12 months in total.
                                                 the Carbon Pollution Standards for                         (2) Would cause the loss of load               (ix) The State plan must provide that
                                                 EGUs website, described in                              expectation to increase beyond the level       the reliability assurance mechanism
                                                 § 60.5740b(a)(10).                                      targeted by regional system planners as        shall not be used more than once to


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                                                 extend an eligible EGU’s planned cease                     (5) An affected EGU’s standard of          percent to reflect the preexisting level of
                                                 operation date.                                         performance is enforceable if:                natural gas co-firing).
                                                    (x) The EPA Regional Administrator                      (i) A technically accurate limitation or     (3) Base load oil-fired steam
                                                 may reject the application if the                       requirement, and the time period for the      generating units.
                                                 submission is incomplete with respect                   limitation or requirement, are specified;       (i) BSER is routine methods of
                                                 to the requirements listed in paragraphs                   (ii) Compliance requirements are           operation and maintenance.
                                                 (a)(13)(vi)(A) through (E) of this section              clearly defined;                                (ii) Degree of emission limitation is a
                                                 or if the submission does not adequately                   (iii) The affected EGUs are responsible    0 percent increase in emission rate (lb
                                                 support the asserted reliability risk or                for compliance and liable for violations      CO2/MWh-gross).
                                                 the period of time for which the eligible               identified;                                     (iii) Presumptively approvable
                                                 EGU is anticipated to be reliability                       (iv) Each compliance activity or           standard of performance is an annual
                                                 critical.                                               measure is enforceable as a practical         emission rate limit of 1,400 lb CO2/
                                                    (b) [Reserved]                                       matter, as defined by 40 CFR 49.167;          MWh-gross.
                                                                                                         and                                             (4) Intermediate load oil-fired steam
                                                 § 60.5775b What standards of performance                   (v) The Administrator, the State, and      generating units.
                                                 must I include in my State plan?                                                                        (i) BSER is routine methods of
                                                                                                         third parties maintain the ability to
                                                    (a) For each affected EGU, your State                enforce against violations (including if      operation and maintenance.
                                                 plan must include the standard of                       an affected EGU does not meet its               (ii) Degree of emission limitation is a
                                                 performance that applies for the affected               standard of performance based on its          0 percent increase in emission rate (lb
                                                 EGU. A standard of performance for an                   emissions) and secure appropriate             CO2/MWh-gross).
                                                 affected EGU may take the following                     corrective actions: in the case of the          (iii) Presumptively approvable
                                                 forms:                                                  Administrator, pursuant to CAA                standard of performance is an annual
                                                    (1) A rate-based standard of                         sections 113(a)–(h); in the case of a         emission rate limit of 1,600 lb CO2/
                                                 performance for an individual affected                  State, pursuant to its State plan, State      MWh-gross.
                                                 EGU that does not exceed the level                      law or CAA section 304, as applicable;          (5) Low load oil-fired steam
                                                 calculated through the use of the                       and in the case of third parties, pursuant    generating units.
                                                 methods described in § 60.5775b(c) and                  to CAA section 304.                             (i) BSER is uniform fuels.
                                                 (d).                                                                                                    (ii) Degree of emission limitation is
                                                                                                            (c) Methodology for establishing
                                                    (2) A standard of performance in an                                                                170 lb CO2/MMBtu.
                                                                                                         presumptively approvable standards of
                                                 alternate form, which may apply for                                                                     (iii) Presumptively approvable
                                                                                                         performance, for affected EGUs in each
                                                 affected EGUs in the long-term coal-                                                                  standard of performance is an annual
                                                                                                         subcategory.
                                                 fired steam generating unit subcategory                                                               emission rate limit of 170 lb CO2/
                                                                                                            (1) Long-term coal-fired steam
                                                 or the medium-term coal-fired steam                                                                   MMBtu.
                                                                                                         generating units
                                                 generating unit subcategory, as provided                                                                (6) Base load natural gas-fired steam
                                                                                                            (i) BSER is CCS with 90 percent
                                                 for in § 60.5775b(e).                                                                                 generating units.
                                                                                                         capture of CO2.                                 (i) BSER is routine methods of
                                                    (b) Standard(s) of performance for                      (ii) Degree of emission limitation is
                                                 affected EGUs included under your                                                                     operation and maintenance.
                                                                                                         88.4 percent reduction in emission rate         (ii) Degree of emission limitation is a
                                                 State plan must be demonstrated to be                   (lb CO2/MWh-gross).                           0 percent increase in emission rate (lb
                                                 quantifiable, verifiable, non-duplicative,                 (iii) Presumptively approvable             CO2/MWh-gross).
                                                 permanent, and enforceable with                         standard of performance is an emission          (iii) Presumptively approvable
                                                 respect to each affected EGU. The State                 rate limit defined by an 88.4 percent         standard of performance is an annual
                                                 plan submittal must include the                         reduction in annual emission rate (lb         emission rate limit of 1,400 lb CO2/
                                                 methods by which each standard of                       CO2/MWh-gross) from the unit-specific         MWh-gross.
                                                 performance meets each of the following                 baseline.                                       (7) Intermediate load natural gas-fired
                                                 requirements:                                              (2) Medium-term coal-fired steam           steam generating units.
                                                    (1) An affected EGU’s standard of                    generating units                                (i) BSER is routine methods of
                                                 performance is quantifiable if it can be                   (i) BSER is natural gas co-firing at 40    operation and maintenance.
                                                 reliably measured in a manner that can                  percent of the heat input to the unit.          (ii) Degree of emission limitation is a
                                                 be replicated.                                             (ii) Degree of emission limitation is a    0 percent increase in emission rate (lb
                                                    (2) An affected EGU’s standard of                    16 percent reduction in emission rate (lb     CO2/MWh-gross).
                                                 performance is verifiable if adequate                   CO2/MWh-gross).                                 (iii) Presumptively approvable
                                                 monitoring, recordkeeping and                              (iii) Presumptively approvable             standard of performance is an annual
                                                 reporting requirements are in place to                  standard of performance is an emission        emission rate limit of 1,600 lb CO2/
                                                 enable the State and the Administrator                  rate limit defined by a 16 percent            MWh-gross.
                                                 to independently evaluate, measure, and                 reduction in annual emission rate (lb           (8) Low load natural gas-fired steam
                                                 verify compliance with the standard of                  CO2/MWh-gross) from the unit-specific         generating.
                                                 performance.                                            baseline.                                       (i) BSER is uniform fuels.
                                                    (3) An affected EGU’s standard of                       (iv) For units in this subcategory that      (ii) Degree of emission limitation is
                                                 performance is non-duplicative with                     have an amount of co-firing that is           130 lb CO2/MMBtu.
                                                 respect to a State plan if it is not already            reflected in the baseline operation,            (iii) Presumptively approvable
                                                 incorporated as an standard of                          States must account for such preexisting
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                                                                                                                                                       standard of performance is an annual
                                                 performance in the State plan.                          co-firing in adjusting the degree of          emission rate limit of 130 lb CO2/
                                                    (4) An affected EGU’s standard of                    emission limitation (e.g., for an EGU co-     MMBtu.
                                                 performance is permanent if the                         fires natural gas at a level of 10 percent      (d) Methodology for establishing the
                                                 standard of performance must be met                     of the total annual heat input during the     unit-specific baseline of emission
                                                 continuously unless it is replaced by                   applicable 8-quarter baseline period, the     performance.
                                                 another standard of performance in an                   corresponding degree of emission                (1) A State shall use the CO2 mass
                                                 approved State plan revision.                           limitation would be adjusted to 12            emissions and corresponding electricity


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                                                 generation or, for affected EGUs in the                 performance (lb CO2/MWh-gross) that             (3) Measures to implement and
                                                 low load oil- or natural gas-fired                      applies for a group of affected EGUs that    enforce the annual limit on mass CO2
                                                 subcategory, heat input data for a given                share the same owner or operator, as         emissions, including provisions that
                                                 affected EGU from the most                              calculated on a gross generation             address assurance of achievement of
                                                 representative continuous 8-quarter                     weighted average basis, your State plan      equivalent emission performance.
                                                 period from 40 CFR part 75 reporting                    must include:                                   (4) A demonstration of how the
                                                 within the 5-year period immediately                       (1) The presumptively approvable          application of the mass CO2 limit for the
                                                 prior to May 9, 2024.                                   rate-based standard of performance (lb       affected EGU will achieve equivalent or
                                                    (2) For the continuous 8 quarters of                 CO2/MWh-gross) that would apply              better emission reduction as would be
                                                 data, a State shall divide the total CO2                under paragraph (a)(1) of this section,      achieved through the application of a
                                                 emissions (in the form of pounds) over                  and as determined in accordance with         rate-based standard of performance (lb
                                                 that continuous time period by either                   paragraphs (c) and (d) of this section, to   CO2/MWh-gross) that would apply
                                                 the total gross electricity generation (in              each of the affected EGUs that form the      pursuant to paragraph (a)(1) of this
                                                 the form of MWh) or, for affected EGUs                  group.                                       section, and as determined in
                                                 in the low load oil- or natural gas-fired                  (2) Documentation of any                  accordance with paragraphs (c) and (d)
                                                 subcategory, total heat input (in the                   assumptions underlying the calculation       of this section.
                                                 form of MMBtu) over that same time                      of the aggregate rate-based standard of         (5) The backstop rate-based emission
                                                 period to calculate baseline CO2                        performance (lb CO2/MWh-gross).              rate requirement (lb CO2/MWh-gross)
                                                 emission performance in lb CO2 per                         (3) The process for calculating the       that will also be applied to the affected
                                                 MWh or lb CO2 per MMBtu.                                aggregate gross generation weighted          EGU on an annual basis.
                                                    (e) Your State plan may include a                                                                    (6) For affected EGUs in the long-term
                                                                                                         average emission rate (lb CO2/MWh-
                                                 standard of performance in an alternate                                                              coal-fired steam generating unit
                                                                                                         gross) at the end of each compliance
                                                 form that differs from the presumptively                                                             subcategory, in lieu of paragraphs (g)(2),
                                                                                                         period, based on the reported emissions
                                                 approvable standard of performance                                                                   (4), and (5) of this section, you may
                                                                                                         (lb CO2) and utilization (MWh-gross) of
                                                 specified in § 60.5775b(a)(1), as follows:                                                           include a presumptively approvable
                                                    (1) An aggregate rate-based standard                 each of the affected EGUs that form the      mass CO2 limit based on the product of
                                                 of performance (lb CO2/MWh-gross) that                  group.                                       the rate-based standard of performance
                                                 applies for a group of affected EGUs that                  (4) Measures to implement and             (lb CO2/MWh-gross) under paragraph
                                                 share the same owner or operator, as                    enforce the annual aggregate rate-based      (a)(1) of this section multiplied by a
                                                 calculated on a gross generation                        standard of performance, including the       level of utilization (MWh-gross)
                                                 weighted average basis, provided the                    basis for determining owner or operator      corresponding to an annual capacity
                                                 standard of performance meets the                       compliance with the aggregate standard       factor of 80 percent for the individual
                                                 requirements of paragraph (f) of this                   of performance and provisions to             affected EGU with a backstop rate-based
                                                 section.                                                address any changes to owners or             emission rate requirement equivalent to
                                                    (2) A mass-based standard of                         operators in the course of                   a reduction in baseline emission
                                                 performance in the form of an annual                    implementation.                              performance of 80 percent on an annual
                                                 limit on allowable mass CO2 emissions                      (5) A demonstration of how the            calendar-year basis.
                                                 for an individual affected EGU,                         application of the aggregate rate-based         (h) Where your State plan includes a
                                                 provided the standard of performance                    standard of performance will achieve         standard of performance in the form of
                                                 meets the requirements of paragraph (g)                 equivalent or better emission reduction      a rate-based standard of performance (lb
                                                 of this section.                                        as would be achieved through the             CO2/MWh-gross) implemented through
                                                    (3) A rate-based standard of                         application of a rate-based standard of      a rate-based emission trading program,
                                                 performance (lb CO2/MWh-gross)                          performance (lb CO2/MWh-gross) that          your State plan must include:
                                                 implemented through a rate-based                        would apply pursuant to paragraph               (1) The presumptively approvable
                                                 emission trading program, such that an                  (a)(1) of this section, and as determined    rate-based standard of performance (lb
                                                 affected EGU must meet the specified lb                 in accordance with paragraphs (c) and        CO2/MWh-gross) that applies to each of
                                                 CO2/MWh-gross rate that applies for the                 (d) of this section.                         the affected EGUs participating in the
                                                 affected EGU, and where an affected                        (g) Where your State plan includes a      rate-based emission trading program
                                                 EGU may surrender compliance                            standard of performance in the form of       under paragraph (a)(1) of this section,
                                                 instruments denoted in 1 short ton of                   an annual limit on allowable mass CO2        and as determined in accordance with
                                                 CO2 to adjust its reported lb CO2/MWh-                  emissions for an individual affected         paragraphs (c) and (d) of this section.
                                                 gross rate for the purpose of                           EGU, your State plan must include:              (2) Measures to implement and
                                                 demonstrating compliance, provided the                     (1) The presumptively approvable          enforce the rate-based emission trading
                                                 standard of performance meets the                       rate-based standard of performance (lb       program, including the basis for
                                                 requirements of paragraph (h) of this                   CO2/MWh-gross) that would apply to           awarding compliance instruments
                                                 section.                                                the affected EGU under paragraph (a)(1)      (denoted in 1 ton of CO2) to an affected
                                                    (4) A mass-based standard of                         of this section, and as determined in        EGU that performs better on an annual
                                                 performance in the form of an annual                    accordance with paragraphs (c) and (d)       basis than its rate-based standard of
                                                 CO2 budget implemented through a                        of this section.                             performance, and the process for
                                                 mass-based CO2 emission trading                            (2) The utilization level used to         demonstration of compliance that
                                                 program, where an affected EGU must                     calculate the mass CO2 limit, by             includes the surrender of such
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                                                 surrender CO2 allowances in an amount                   multiplying the assumed utilization          compliance instruments by an affected
                                                 equal to its reported mass CO2                          level (MWh-gross) by the presumptively       EGU that exceeds its rate-based standard
                                                 emissions, provided the standard of                     approvable rate-based standard of            of performance.
                                                 performance meets the requirements of                   performance (lb CO2/MWh-gross),                 (3) A demonstration of how the use of
                                                 paragraph (i) of this section.                          including the underlying data used for       the rate-based emission trading program
                                                    (f) Where your State plan includes a                 the calculation and documentation of         will achieve equivalent or better
                                                 standard of performance in the form of                  any assumptions underlying this              emission reduction as would be
                                                 an aggregate rate-based standard of                     calculation.                                 achieved through the application of a


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                                                 rate-based standard of performance (lb                  electric reliability such that requiring it   generating subcategory, the low load oil-
                                                 CO2/MWh-gross) that would apply                         to comply with the applicable                 fired subcategory, the base load natural
                                                 pursuant to paragraph (a)(1) of this                    requirements under paragraph (c) of this      gas-fired subcategory, the intermediate
                                                 section, and as determined in                           section or § 60.5780b would trigger non-      load natural gas-fired subcategory, and
                                                 accordance with paragraphs (c) and (d)                  compliance with at least one of the           the low load natural gas-fired
                                                 of this section.                                        mandatory reliability standards               subcategory, the State plan must require
                                                    (i) Where your State plan includes a                 approved by the Federal Energy                compliance with the applicable
                                                 mass-based standard of performance                      Regulatory Commission or would cause          standards of performance starting no
                                                 implemented through a mass-based CO2                    the loss of load expectation to increase      later than January 1, 2030, unless State
                                                 emission trading program, where an                      beyond the level targeted by regional         has applied a later compliance date
                                                 affected EGU must surrender CO2                         system planners as part of their              pursuant to § 60.24a(e) through (h).
                                                 allowances in an amount equal to its                    established procedures for that                  (b) The State plan must require
                                                 reported mass CO2 emissions, your State                 particular region; specifically, a clear      affected EGUs to achieve compliance
                                                 plan must include:                                      demonstration is required that the            with their applicable standards of
                                                    (1) The presumptively approvable                     particular affected EGU would be              performance for each compliance period
                                                 rate-based standard of performance (lb                  needed to maintain the targeted level of      as defined in § 60.5880b.
                                                 CO2/MWh-gross) that would apply to                      resource adequacy. The analysis must
                                                 each affected EGU participating in the                  also include a projection of the period       § 60.5785b What are the timing
                                                 trading program under paragraph (a)(1)                                                                requirements for submitting my State plan?
                                                                                                         of time for which the particular affected
                                                 of this section, and as determined in                   EGU is expected to be reliability critical      (a) You must submit a State plan or
                                                 accordance with paragraphs (c) and (d)                  and substantiate the basis for applying       a negative declaration letter with the
                                                 of this section.                                        a less stringent standard of performance      information required under § 60.5740b
                                                    (2) The calculation of the mass CO2                  or longer compliance schedule                 by May 11, 2026.
                                                 budget contribution for each                            consistent with 40 CFR 60.24a(e).               (b) You must submit all information
                                                 participating affected EGU, determined                     (2) An analysis by the relevant            required under paragraph (a) of this
                                                 by multiplying the assumed utilization                  reliability planning authority that           section according to the electronic
                                                 level (MWh-gross) of the affected EGU                   corroborates the asserted reliability risk    reporting requirements in § 60.5875b.
                                                 by its presumptively approvable rate-                   identified in the analysis under
                                                 based standard of performance (lb CO2/                                                                § 60.5790b What is the procedure for
                                                                                                         paragraph (j)(1) of this section and          revising my State plan?
                                                 MWh-gross), including the underlying                    confirms that requiring the particular
                                                 data used for the calculation and                       affected EGU to comply with its                 EPA-approved State plans can be
                                                 documentation of any assumptions                        applicable requirements under                 revised only with approval by the
                                                 underlying this calculation.                            paragraph (c) of this section or              Administrator. The Administrator will
                                                    (3) Measures to implement and                        § 60.5780b would trigger non-                 approve a State plan revision if it is
                                                 enforce the annual budget of the mass-                  compliance with at least one of the           satisfactory with respect to the
                                                 based CO2 emission trading program,                     mandatory reliability standards               applicable requirements of this subpart
                                                 including provisions that address                       approved by the Federal Energy                and all applicable requirements of
                                                 assurance of achievement of equivalent                  Regulatory Commission or would cause          subpart Ba of this part. If one (or more)
                                                 emission performance.                                   the loss of load expectation to increase      of State plan elements in § 60.5740b
                                                    (4) A demonstration of how the                                                                     require revision, the State must submit
                                                                                                         beyond the level targeted by regional
                                                 application of the CO2 emission budget                                                                a State plan revision pursuant to
                                                                                                         system planners as part of their
                                                 for the group of participating affected                                                               § 60.28a.
                                                                                                         established procedures for that
                                                 EGUs will achieve equivalent or better
                                                                                                         particular region, and also confirms the      § 60.5795b Commitment to review
                                                 emission performance as would be
                                                                                                         period of time for which the EGU is           emission guidelines for coal-fired affected
                                                 achieved through the application of a
                                                                                                         projected to be reliability critical.         EGUs
                                                 rate-based standard of performance (lb                     (3) A certification from the relevant
                                                 CO2/MWh-gross) that would apply to                                                                       EPA will review and, if appropriate,
                                                                                                         reliability planning authority that the       revise these emission guidelines as they
                                                 each participating affected EGU under                   claims of reliability risk are accurate
                                                 paragraph (a)(1) of this section, and as                                                              apply to coal-fired steam generating
                                                                                                         and that the identified reliability           affected EGUs by January 1, 2041.
                                                 determined in accordance with                           problem both exists and requires the
                                                 paragraphs (c) and (d) of this section.                                                               Notwithstanding this commitment, EPA
                                                                                                         specific relief requested.                    need not review these emission
                                                    (5) The backstop rate-based emission
                                                 rate requirement (lb CO2/MWh-gross)                     § 60.5780b What compliance dates and          guidelines if the Administrator
                                                 that will also be applied to each                       compliance periods must I include in my       determines that such review is not
                                                 participating affected EGU on an annual                 State plan?                                   appropriate in light of readily available
                                                 basis.                                                    (a) The State plan must include the         information on their continued
                                                    (j) In order to use the provisions of                following compliance dates:                   appropriateness.
                                                 § 60.24a(e) through (h) to apply a less                   (1) For affected EGUs in the long-term      Applicability of State Plans to Affected
                                                 stringent standard of performance or                    coal-fired subcategory, the State plan        EGUs
                                                 longer compliance schedule to an                        must require compliance with the
                                                 affected EGU based on consideration of                  applicable standards of performance           § 60.5840b Does this subpart directly
                                                                                                                                                       affect EGU owners or operators in my
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                                                 electric grid reliability, including                    starting no later than January 1, 2032,
                                                 resource adequacy, under these                          unless the State has applied a later          State?
                                                 emission guidelines, a State must                       compliance date pursuant to § 60.24a(e)          (a) This subpart does not directly
                                                 provide the following with its State plan               through (h).                                  affect EGU owners or operators in your
                                                 submission:                                               (2) For affected EGUs in the medium-        State, except as provided in
                                                    (1) An analysis of the reliability risk              term coal-fired subcategory, the base         § 60.5710b(b). However, affected EGU
                                                 clearly demonstrating that the particular               load oil-fired subcategory, the               owners or operators must comply with
                                                 affected EGU is critical to maintaining                 intermediate load oil-fired steam             the State plan that a State develops to


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                                                 implement the emission guidelines                       fuel at the base load rating) that are          that have not met the required
                                                 contained in this subpart.                              subject to a federally enforceable permit       frequency for relative accuracy audit
                                                   (b) If a State does not submit a State                limiting fossil fuel use to 10 percent or       testing are not considered to be valid
                                                 plan to implement and enforce the                       less of the annual capacity factor;             data and
                                                 standards of performance contained in                      (f) CHP units that are subject to a             (ii) The corresponding hourly gross
                                                 this subpart by May 11, 2026, or the                    federally enforceable permit limiting           energy output value is also valid data
                                                 EPA disapproves State plan, the EPA                     annual net-electric sales to no more than       (Note: For operating hours with no
                                                 will implement and enforce a Federal                    either 219,000 MWh or the product of            useful output, zero is considered to be
                                                 plan, as provided in § 60.5720b,                        the design efficiency and the potential         a valid value).
                                                 applicable to each affected EGU within                  electric output, whichever is greater;             (3) For rate-based standards of
                                                 the State.                                                 (g) Units that serve a generator along       performance, the owner or operator of
                                                                                                         with other EGUs, where the effective            an affected EGU must measure and
                                                 § 60.5845b What affected EGUs must I                    generation capacity (determined based
                                                 address in my State plan?                                                                               report the hourly CO2 mass emissions
                                                                                                         on a prorated output of the base load           (lbs) from each affected unit using the
                                                   (a) The EGUs that must be addressed                   rating of each EGU) is 25 MW or less;           procedures in paragraphs (a)(3)(i)
                                                 by your State plan are:                                    (h) Municipal waste combustor units          through (vi) of this section, except as
                                                   (1) Any affected EGUs that were in                    subject to 40 CFR part 60, subpart Eb;          otherwise provided in paragraph (a)(4)
                                                 operation or had commenced                                 (i) Commercial or industrial solid           of this section.
                                                 construction on or before January 8,                    waste incineration units that are subject
                                                                                                                                                            (i) The owner or operator of an
                                                 2014;                                                   to 40 CFR part 60, subpart CCCC; or
                                                                                                            (j) EGUs that derive greater than 50         affected EGU must install, certify,
                                                   (2) Coal-fired steam generating units
                                                                                                         percent of the heat input from an               operate, maintain, and calibrate a CO2
                                                 that commenced a modification on or
                                                                                                         industrial process that does not produce        continuous emissions monitoring
                                                 before May 23, 2023.
                                                   (b) An affected EGU is a steam                        any electrical or mechanical output or          system (CEMS) to directly measure and
                                                 generating unit that meets the relevant                 useful thermal output that is used              record CO2 concentrations in the
                                                 applicability conditions specified in                   outside the affected EGU.                       affected EGU exhaust gases emitted to
                                                 paragraphs (b)(1) through (2) of this                      (k) Existing coal-fired steam                the atmosphere and an exhaust gas flow
                                                 section, as applicable, except as                       generating units that have demonstrated         rate monitoring system according to 40
                                                 provided in § 60.5850b.                                 that they plan to permanently cease             CFR 75.10(a)(3)(i). As an alternative to
                                                   (1) Serves a generator capable of                     operations before January 1, 2032,              direct measurement of CO2
                                                 selling greater than 25 MW to a utility                 pursuant to § 60.5740b(a)(9)(ii).               concentration, provided that the
                                                 power distribution system; and                                                                          affected EGU does not use carbon
                                                                                                         Recordkeeping and Reporting                     separation (e.g., carbon capture and
                                                   (2) Has a base load rating (i.e., design
                                                                                                         Requirements                                    storage (CCS)), the owner or operator of
                                                 heat input capacity) greater than 260 GJ/
                                                 hr (250 MMBtu/hr) heat input of fossil                                                                  an affected EGU may use data from a
                                                                                                         § 60.5860b What applicable monitoring,
                                                 fuel (either alone or in combination                    recordkeeping, and reporting requirements       certified oxygen (O2) monitor to
                                                 with any other fuel).                                   do I need to include in my State plan for       calculate hourly average CO2
                                                                                                         affected EGUs?                                  concentrations, in accordance with 40
                                                 § 60.5850b What EGUs are excluded from                     (a) Your State plan must include             CFR 75.10(a)(3)(iii). However, when an
                                                 being affected EGUs?                                    monitoring for affected EGUs that is no         O2 monitor is used this way, it only
                                                    EGUs that are excluded from being                    less stringent than what is described in        quantifies the combustion CO2;
                                                 affected EGUs are:                                      (a)(1) through (9) of this section.             therefore, if the EGU is equipped with
                                                    (a) New or reconstructed steam                          (1) The owner or operator of an              emission controls that produce non-
                                                 generating units that are subject to                    affected EGU (or group of affected EGUs combustion CO2 (e.g., from sorbent
                                                 subpart TTTT of this part as a result of                that share a monitored common stack)            injection), this additional CO2 must be
                                                 commencing construction after the                       that is required to meet standards of           accounted for, in accordance with
                                                 subpart TTTT applicability date;                        performance must prepare a monitoring section 3 of appendix G to part 75 of
                                                    (b) Modified natural gas- or oil-fired               plan in accordance with the applicable          this chapter. If CO2 concentration is
                                                 steam generating units that are subject                 provisions in 40 CFR 75.53(g) and (h),          measured on a dry basis, the owner or
                                                 to subpart TTTT of this part as a result                unless such a plan is already in place          operator of the affected EGU must also
                                                 of commencing modification after the                    under another program that requires             install, certify, operate, maintain, and
                                                 subpart TTTT applicability date;                        CO2 mass emissions to be monitored              calibrate a continuous moisture
                                                    (c) Modified coal-fired steam                        and reported according to 40 CFR part           monitoring system, according to 40 CFR
                                                 generating units that are subject to                    75.                                             75.11(b). Alternatively, the owner or
                                                 subpart TTTTa of this part as a result of                  (2) For rate-based standards of              operator of an affected EGU may either
                                                 commencing modification after the                       performance, only ‘‘valid operating             use an appropriate fuel-specific default
                                                 subpart TTTTa applicability date;                       hours,’’, i.e., full or partial unit (or stack) moisture value from 40 CFR 75.11(b) or
                                                    (d) EGUs subject to a federally                      operating hours for which:                      submit a petition to the Administrator
                                                 enforceable permit limiting net-electric                   (i) ‘‘Valid data’’ (as defined in            under 40 CFR 75.66 for a site-specific
                                                 sales to one-third or less of their                     § 60.5880b) are obtained for all of the         default moisture value.
                                                 potential electric output or 219,000                    parameters used to determine the hourly            (ii) For each ‘‘valid operating hour’’
                                                                                                         CO2 mass emissions (lbs). For the               (as defined in paragraph (a)(2) of this
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                                                 MWh or less on an annual basis and
                                                 annual net-electric sales have never                    purposes of this subpart, substitute data section), calculate the hourly CO2 mass
                                                 exceeded one-third or less of their                     recorded under part 75 of this chapter          emission rate (tons/hr), either from
                                                 potential electric output or 219,000                    are not considered to be valid data; data Equation F–11 in appendix F to 40 CFR
                                                 MWh;                                                    obtained from flow monitoring bias              part 75 (if CO2 concentration is
                                                    (e) Non-fossil fuel units (i.e., units               adjustments are not considered to be            measured on a wet basis), or by
                                                 that are capable of deriving at least 50                valid data; and data provided or not            following the procedure in section 4.2 of
                                                 percent of heat input from non-fossil                   provided from monitoring instruments            appendix F to 40 CFR part 75 (if CO2


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                                                 concentration is measured on a dry                         (ii) For each measured hourly heat            equipment to continuously measure and
                                                 basis).                                                 input rate, use Equation G–4 in                  record on an hourly basis useful thermal
                                                    (iii) Next, multiply each hourly CO2                 appendix G to 40 CFR part 75 to                  output and, if applicable, mechanical
                                                 mass emission rate by the EGU or stack                  calculate the hourly CO2 mass emission           output, which are used with gross
                                                 operating time in hours (as defined in                  rate (tons/hr).                                  electric output to determine gross
                                                 40 CFR 72.2), to convert it to tons of                     (iii) For each ‘‘valid operating hour’’       energy output. The owner or operator
                                                 CO2. Multiply the result by 2,000 lbs/ton               (as defined in paragraph (a)(2) of this          must use the following procedures to
                                                 to convert it to lbs.                                   section), multiply the hourly tons/hr            calculate gross energy output, as
                                                    (iv) The hourly CO2 tons/hr values                   CO2 mass emission rate from paragraph            appropriate for the type of affected
                                                 and EGU (or stack) operating times used                 (a)(4)(ii) of this section by the EGU or         EGU(s).
                                                 to calculate CO2 mass emissions are                     stack operating time in hours (as
                                                 required to be recorded under 40 CFR                    defined in 40 CFR 72.2), to convert it to          (i) Determine Pgross/net the hourly gross
                                                 75.57(e) and must be reported                           tons of CO2. Then, multiply the result           or net energy output in MWh. For rate-
                                                 electronically under 40 CFR 75.64(a)(6),                by 2,000 lbs/ton to convert it to lbs.           based standards, perform this
                                                 if required by a State plan. The owner                     (iv) The hourly CO2 tons/hr values            calculation only for valid operating
                                                 or operator must use these data, or                     and EGU (or stack) operating times used          hours (as defined in paragraph (a)(2) of
                                                 equivalent data, to calculate the hourly                to calculate CO2 mass emissions are              this section). For mass-based standards,
                                                 CO2 mass emissions.                                     required to be recorded under 40 CFR             perform this calculation for all unit (or
                                                    (v) Sum all of the hourly CO2 mass                   75.57(e) and must be reported                    stack) operating hours, i.e., full or
                                                 emissions values from paragraph                         electronically under 40 CFR 75.64(a)(6),         partial hours in which any fuel is
                                                 (a)(3)(ii) of this section.                             if required by a State plan. You must            combusted.
                                                    (vi) For each continuous monitoring                  use these data, or equivalent data, to             (ii) If there is no net electrical output,
                                                 system used to determine the CO2 mass                   calculate the hourly CO2 mass                    but there is mechanical or useful
                                                 emissions from an affected EGU, the                     emissions.                                       thermal output, either for a particular
                                                 monitoring system must meet the                            (v) Sum all of the hourly CO2 mass            valid operating hour (for rate-based
                                                 applicable certification and quality                    emissions values (lb) from paragraph             applications), or for a particular
                                                 assurance procedures in 40 CFR 75.20                    (a)(4)(iii) of this section.                     operating hour (for mass-based
                                                 and appendices A and B to 40 CFR part.                     (vi) The owner or operator of an              applications), the owner or operator of
                                                    (4) The owner or operator of an                      affected EGU may determine site-                 the affected EGU must still determine
                                                 affected EGU that exclusively combusts                  specific carbon-based F-factors (Fc)
                                                                                                                                                          the net energy output for that hour.
                                                 liquid fuel and/or gaseous fuel may, as                 using Equation F–7b in section 3.3.6 of
                                                 an alternative to complying with                        appendix F to 40 CFR part 75 and may               (iii) For rate-based applications, if
                                                 paragraph (a)(3) of this section,                       use these Fc values in the emissions             there is no (i.e., zero) gross electrical,
                                                 determine the hourly CO2 mass                           calculations instead of using the default        mechanical, or useful thermal output for
                                                 emissions according to paragraphs                       Fc values in the Equation G–4                    a particular valid operating hour, that
                                                 (a)(4)(i) through (a)(4)(vi) of this section.           nomenclature.                                    hour must be used in the compliance
                                                    (i) Implement the applicable                            (5) For rate-based standards, the             determination. For hours or partial
                                                 procedures in appendix D to part 75 of                  owner or operator of an affected EGU (or         hours where the gross electric output is
                                                 this chapter to determine hourly EGU                    group of affected units that share a             equal to or less than the auxiliary loads,
                                                 heat input rates (MMBtu/hr), based on                   monitored common stack) must install,            net electric output shall be counted as
                                                 hourly measurements of fuel flow rate                   calibrate, maintain, and operate a               zero for this calculation.
                                                 and periodic determinations of the gross                sufficient number of watt meters to                (iv) Calculate Pgross/net for your affected
                                                 calorific value (GCV) of each fuel                      continuously measure and record on an            EGU (or group of affected EGUs that
                                                 combusted. The fuel flow meter(s) used                  hourly basis gross electric output.              share a monitored common stack) using
                                                 to measure the hourly fuel flow rates                   Measurements must be performed using             the following equation. All terms in the
                                                 must meet the applicable certification                  0.2 accuracy class electricity metering          equation must be expressed in units of
                                                 and quality-assurance requirements in                   instrumentation and calibration                  MWh. To convert each hourly gross or
                                                 sections 2.1.5 and 2.1.6 of appendix D                  procedures as specified under ANSI No.           net energy output value reported under
                                                 to 40 CFR part 75 (except for qualifying                C12.20–2010 (incorporated by reference,          40 CFR part 75 to MWh, multiply by the
                                                 commercial billing meters). The fuel                    see § 60.17). Further, the owner or              corresponding EGU or stack operating
                                                 GCV must be determined in accordance                    operator of an affected EGU that is a            time.
                                                 with section 2.2 or 2.3 of appendix D to                combined heat and power facility must
                                                 40 CFR part 75, as applicable.                          install, calibrate, maintain, and operate        Equation 1 to Paragraph (a)(5)(iv)



                                                            Pgross/net         = (Pe)sT + (Pe)cTTDF
                                                                                                 + (Pe)1s - (Pe)A + [(Pt)ps + (Pt)HR + (Pt)IE]

                                                 Where:                                                      stationary combustion turbine(s) in          (PT)PS = Useful thermal output of steam
                                                 PGROSS/NET = Gross or net energy output of                  MWh.                                             (measured relative to SATP conditions,
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                                                     your affected EGU for each valid                    (PE)IE = Electric energy output plus                 as applicable) that is used for
                                                     operating hour (as defined in                           mechanical energy output (if any) of             applications that do not generate
                                                     60.5860b(a)(2)) in MWh.                                 your affected egu’s integrated equipment         additional electricity, produce
                                                 (PE)ST = Electric energy output plus                        that provides electricity or mechanical          mechanical energy output, or enhance
                                                     mechanical energy output (if any) of                    energy to the affected EGU or auxiliary          the performance of the affected EGU.
                                                     steam turbines in MWh.                                  equipment in MWh.                                This is calculated using the equation
                                                 (PE)CT = Electric energy output plus                    (PE)A = Electric energy used for any auxiliary       specified in paragraph (a)(5)(V) of this
                                                                                                                                                                                                          ER09MY24.062</GPH>




                                                     mechanical energy output (if any) of                    loads in MWh.                                    section in MWh.



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                                                 (PT)HR = Non-steam useful thermal output                   mechanical energy output, or enhance            output on a 12-operating month rolling
                                                     (measured relative to SATP conditions,                 the performance of the affected EGU in          average basis, or 1.0 for all other affected
                                                     as applicable) from heat recovery that is              MWh.                                            EGUs.
                                                     used for applications other than steam              TDF = Electric transmission and distribution
                                                     generation or performance enhancement                  factor of 0.95 for a combined heat and         (v) If applicable to your affected EGU
                                                     of the affected EGU in MWh.                            power affected egu where at least on an     (for example, for combined heat and
                                                 (PT)IE = Useful thermal output (relative to                annual basis 20.0 percent of the total
                                                     SATP conditions, as applicable) from                   gross or net energy output consists of      power), you must calculate (Pt)PS using
                                                     any integrated equipment is used for                   electric or direct mechanical output and    the following equation:
                                                     applications that do not generate                      20.0 percent of the total gross or net
                                                     additional steam, electricity, produce                 energy output consist of useful thermal
                                                                                                                                                        Equation 2 to Paragraph (a)(5)(v)




                                                                                          (Pt)ps = Qm X H
                                                                                                     CF
                                                 Where:                                                  the hourly CO2 mass emissions and the          on site for at least 2 years after the date
                                                 QM = Measured steam flow in kilograms (KG)              ‘‘stack operating time’’ (as defined in 40     of each occurrence, measurement,
                                                     (or pounds (LBS)) for the operating hour.           CFR 72.2) at each stack or duct must be        maintenance, corrective action, report,
                                                 H = Enthalpy of the steam at measured                   monitored separately. In this case, the        or record, whichever is latest, according
                                                     temperature and pressure (relative to               owner or operator of an affected EGU           to § 60.7. The owner or operator of an
                                                     SATP conditions or the energy in the
                                                     condensate return line, as applicable) in
                                                                                                         must determine compliance with an              affected EGU may maintain the records
                                                     joules per kilogram (J/KG) (or BTU/LB).             applicable emissions standard by               off site and electronically for the
                                                 CF = Conversion factor of 3.6 × 109 J/MWH               summing the CO2 mass emissions                 remaining year(s).
                                                     or 3.413 × 106 BTU/MWh.                             measured at the individual stacks or              (2) The owner or operator of an
                                                                                                         ducts and dividing by the gross or net         affected EGU must keep all of the
                                                    (vi) For rate-based standards, sum all
                                                                                                         energy output for the affected EGU.            following records, in a form suitable and
                                                 of the values of Pgross/net for the valid
                                                                                                            (8) Consistent with § 60.5775b, if two      readily available for expeditious review:
                                                 operating hours (as defined in paragraph
                                                                                                         or more affected EGUs serve a common              (i) All documents, data files, and
                                                 (a)(2) of this section). Then, divide the
                                                                                                         electric generator, you must apportion         calculations and methods used to
                                                 total CO2 mass emissions for the valid
                                                                                                         the combined hourly gross or net energy        demonstrate compliance with an
                                                 operating hours from paragraph (a)(3)(v)
                                                                                                         output to the individual affected EGUs         affected EGU’s standard of performance
                                                 or (a)(4)(v) of this section, as applicable,
                                                                                                         according to the fraction of the total         under § 60.5775b.
                                                 by the sum of the Pgross/net values for the                                                               (ii) Copies of all reports submitted to
                                                                                                         steam load contributed by each EGU.
                                                 valid operating hours to determine the                                                                 the State under paragraph (b) of this
                                                                                                         Alternatively, if the EGUs are identical,
                                                 CO2 emissions rate (lb/gross or net
                                                                                                         you may apportion the combined hourly          section.
                                                 MWh).                                                                                                     (iii) Data that are required to be
                                                    (6) In accordance with § 60.13(g), if                gross or net electrical load to the
                                                                                                         individual EGUs according to the               recorded by 40 CFR part 75 subpart F.
                                                 two or more affected EGUs                                                                                 (c) Your State plan must require the
                                                 implementing the continuous emissions                   fraction of the total heat input
                                                                                                         contributed by each EGU.                       owner or operator of an affected EGU
                                                 monitoring provisions in paragraph                                                                     covered by your State plan to include in
                                                                                                            (9) The owner or operator of an
                                                 (a)(3) of this section share a common                                                                  a report submitted to you the
                                                                                                         affected EGU must measure and report
                                                 exhaust gas stack and are subject to the                                                               information in paragraphs (c)(1) through
                                                                                                         monthly fuel usage for each affected
                                                 same emissions standard, the owner or                   source subject to standards of                 (3) of this section.
                                                 operator may monitor the hourly CO2                     performance with the information in               (1) Owners or operators of an affected
                                                 mass emissions at the common stack in                   paragraphs (a)(9)(i) through (iii) of this     EGU must include in the report all
                                                 lieu of monitoring each EGU separately.                 section:                                       hourly CO2 emissions, for each affected
                                                 If an owner or operator of an affected                     (i) The calendar month during which         EGU (or group of affected EGUs that
                                                 EGU chooses this option, the hourly                     the fuel was used;                             share a monitored common stack).
                                                 gross or net electric output for the                       (ii) Each type of fuel used during the         (2) For rate-based standards, each
                                                 common stack must be the sum of the                     calendar month of the compliance               report must include:
                                                 hourly gross or net electric output of the              period; and                                       (i) The hourly CO2 mass emission rate
                                                 individual affected EGUs and the                           (iii) Quantity of each type of fuel         values (tons/hr) and unit (or stack)
                                                 operating time must be expressed as                     combusted in each calendar month in            operating times, (as monitored and
                                                 ‘‘stack operating hours’’ (as defined in                the compliance period with units of            reported according to part 75 of this
                                                 40 CFR 72.2).                                           measure.                                       chapter), for each valid operating hour;
                                                    (7) In accordance with § 60.13(g), if                   (b) Your State plan must require the           (ii) The gross or net electric output
                                                 the exhaust gases from an affected EGU
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                                                                                                         owner or operator of each affected EGU         and the gross or net energy output
                                                 implementing the continuous emissions                   covered by your State plan to maintain         (Pgross/net) values for each valid operating
                                                 monitoring provisions in paragraph                      the records, for at least 5 years following    hour;
                                                 (a)(3) of this section are emitted to the               the date of each occurrence,                      (iii) The calculated CO2 mass
                                                 atmosphere through multiple stacks (or                  measurement, maintenance, corrective           emissions (lb) for each valid operating
                                                 if the exhaust gases are routed to a                    action, report, or record.                     hour;
                                                 common stack through multiple ducts                        (1) The owner or operator of an                (iv) The sum of the hourly gross or net
                                                                                                                                                                                                           ER09MY24.063</GPH>




                                                 and you elect to monitor in the ducts),                 affected EGU must maintain each record         energy output values and the sum of the


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                                                 hourly CO2 mass emissions values, for                   approval of the waiver on evidence of        § 60.5870b What are my reporting and
                                                 all of the valid operating hours; and                   releases of CO2 or other pollutants. The     notification requirements?
                                                    (v) The calculated CO2 mass emission                 Administrator will provide notice to the        (a) In lieu of the annual report
                                                 rate (lbs/gross or net MWh).                            public of any application under this         required under § 60.25(e) and (f), you
                                                    (3) For each affected EGU the report                 provision and provide public notice of       must report the information in
                                                 must also include the applicable                        any proposed action on a petition before     paragraph (b) of this section.
                                                 standard of performance and                             the Administrator takes final action.           (b) You must submit an annual report
                                                 demonstration that it met the standard                                                               to the EPA that must include the
                                                 of performance. An owner or operator                    § 60.5865b What are my recordkeeping
                                                                                                                                                      information in paragraphs (b)(1) through
                                                 must also include in the report the                     requirements?
                                                                                                                                                      (10) of this section. For each calendar
                                                 affected EGU’s calculated emission                         (a) You must keep records of all          year reporting period the report must be
                                                 performance as a CO2 emission rate in                   information relied upon in support of        submitted by March 1 of the following
                                                 units of the standard of performance.                   any demonstration of State plan              year.
                                                    (d) The owner or operator of an                      components, State plan requirements,            (1) The report must include the
                                                 affected EGU must follow any                            supporting documentation, and the            emissions performance achieved by
                                                 additional requirements for monitoring,                 status of meeting the State plan             each affected EGU during the reporting
                                                 recordkeeping and reporting in a State                  requirements defined in the State plan.      period and identification of whether
                                                 plan that are required under § 60.5740b                    (b) You must keep records of all data
                                                                                                                                                      each affected EGU is in compliance with
                                                 if applicable.                                          submitted by the owner or operator of
                                                                                                                                                      its standard of performance during the
                                                    (e) If an affected EGU captures CO2 to               each affected EGU that are used to
                                                                                                                                                      compliance period, as specified in the
                                                 meet the applicable standard of                         determine compliance with each
                                                                                                                                                      State plan.
                                                 performance, the owner or operator                      affected EGU emissions standard or
                                                 must report in accordance with the                                                                      (2) The report must include, for each
                                                                                                         requirements in an approved State plan,
                                                 requirements of 40 CFR part 98 subpart                                                               affected EGU, a comparison of the CO2
                                                                                                         consistent with the affected EGU
                                                 PP and either:                                                                                       standard of performance in the State
                                                                                                         requirements listed in § 60.5860b.
                                                    (1) Report in accordance with the                       (c) If your State has a requirement for   plan versus the actual CO2 emission
                                                 requirements of 40 CFR part 98, subpart                 all hourly CO2 emissions and gross           performance achieved.
                                                 RR, or subpart VV, if injection occurs                  generation or heat input information to         (3) The report must include, for each
                                                 on-site;                                                be used to calculate compliance with an      affected EGU, the sum of the CO2
                                                    (2) Transfer the captured CO2 to a                   annual emissions standard for affected       emissions, the sum of the gross energy
                                                 facility that reports in accordance with                EGUs, any information that is submitted      output, and the sum of the heat input
                                                 the requirements of 40 CFR part 98,                     by the owners or operators of affected       for each fuel type.
                                                 subpart RR, or subpart VV, if injection                 EGUs to the EPA electronically pursuant         (4) Enforcement actions initiated
                                                 occurs off-site; or                                     to requirements in 40 CFR part 75 meets      against affected EGUs during the
                                                    (3) Transfer the captured CO2 to a                   the recordkeeping requirement of this        reporting period, under any standard of
                                                 facility that has received an innovative                section and you are not required to keep     performance or compliance schedule of
                                                 technology waiver from the EPA                          records of information that would be in      the State plan.
                                                 pursuant to paragraph (f) of this section.              duplicate of paragraph (b) of this              (5) Identification of the achievement
                                                    (f) Any person may request the                       section.                                     of any increment of progress required by
                                                 Administrator to issue a waiver of the                     (d) You must keep records for a           the applicable State plan during the
                                                 requirement that captured CO2 from an                   minimum of 10 years from the date the        reporting period.
                                                 affected EGU be transferred to a facility               record is used to determine compliance          (6) Identification of designated
                                                 reporting under 40 CFR part 98, subpart                 with an emissions standard or State          facilities that have ceased operation
                                                 RR, or subpart VV. To receive a waiver,                 plan requirement. Each record must be        during the reporting period.
                                                 the applicant must demonstrate to the                   in a form suitable and readily available        (7) Submission of emission inventory
                                                 Administrator that its technology will                  for expeditious review.                      data as described in paragraph (a) of this
                                                 store captured CO2 as effectively as                       (e) If your State plan includes           section for designated facilities that
                                                 geologic sequestration, and that the                    provisions for the compliance date           were not in operation at the time of
                                                 proposed technology will not cause or                   extension, described in                      State plan development but began
                                                 contribute to an unreasonable risk to                   § 60.5740b(a)(11), you must keep             operation during the reporting period.
                                                 public health, welfare, or safety. In                   records of the information required in          (8) Submission of additional data as
                                                 making this determination, the                          § 60.5740b(a)(11)(i) from affected EGUs      necessary to update the information
                                                 Administrator shall consider (among                     that use the compliance date extension.      submitted under paragraph (a) of this
                                                 other factors) operating history of the                    (f) If your State plan includes           section or in previous progress reports.
                                                 technology, whether the technology will                 provisions for the short-term reliability       (9) Submission of copies of technical
                                                 increase emissions or other releases of                 mechanism, as described in                   reports on all performance testing on
                                                 any pollutant other than CO2, and                       § 60.5740b(a)(12), you must keep             designated facilities conducted under
                                                 permanence of the CO2 storage. The                      records of the information required in       paragraph (b)(2) of this section,
                                                 Administrator may test the system or                    § 60.5740b(a)(12)(iii) from affected EGUs    complete with concurrently recorded
                                                 require the applicant to perform any                    that use the short-term reliability          process data.
                                                 tests considered by the Administrator to                mechanism.                                      (10) The report must include all other
                                                                                                            (g) If your State plan includes           required information, as specified in
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                                                 be necessary to show the technology’s
                                                 effectiveness, safety, and ability to store             provisions for the reliability assurance     your State plan according to § 60.5740b.
                                                 captured CO2 without release. The                       mechanism, described in                         (c) If you include provisions for the
                                                 Administrator may grant conditional                     § 60.5740b(a)(13), you must keep             compliance date extension, described in
                                                 approval of a technology, with the                      records of the information required in       § 60.5740b(a)(11), in your State plan,
                                                 approval conditioned on monitoring                      § 60.5740b(a)(13)(vi) from affected EGUs     you must report to the EPA the
                                                 and reporting of operations. The                        that use the reliability assurance           information listed in
                                                 Administrator may also withdraw                         mechanism.                                   § 60.5740b(a)(11)(i).


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                                                   (d) If you include provisions for the                 also submit the names of the State plan      each step and any notification
                                                 short-term reliability mechanism,                       preparers via a separate letter prior to     requirements associated with
                                                 described in § 60.5740b(a)(12), in your                 the designation letter from the Governor     deactivation of the unit. These process
                                                 State plan, you must report to the EPA                  in order to expedite the State plan          steps may include, e.g., initial notice to
                                                 the following information for each                      administrative process. Required             the relevant reliability authority of the
                                                 event, listed in § 60.5740b(a)(12)(iii).                contact information for the designee and     deactivation date and submittal of an
                                                   (e) If you include provisions for the                 preparers includes the person’s title,       official retirement filing (or equivalent
                                                 reliability assurance mechanism,                        organization, and email address.             filing) made to the EGU’s relevant
                                                 described in § 60.5740b(a)(13) in your                    (d) The submission of the information      reliability authority.
                                                 State plan, you must report to the EPA                  by the authorized official must be in a         (ii) Supporting regulatory documents,
                                                 the information listed in                               non-editable format. In addition to the      which include those listed in
                                                 § 60.5740b(a)(13)(vi).                                  non-editable version all State plan          paragraphs (a)(1)(ii)(A) through (G) of
                                                                                                         components designated as federally           this section:
                                                 § 60.5875b How do I submit information
                                                                                                         enforceable must also be submitted in           (A) Correspondence and official
                                                 required by these emission guidelines to
                                                 the EPA?                                                an editable version. Following initial       filings with the relevant regional RTO,
                                                                                                         State plan approval, States must provide     Independent System Operator,
                                                   (a) You must submit to the EPA the
                                                                                                         the EPA with an editable copy of any         Balancing Authority, PUC, or other
                                                 information required by these emission
                                                                                                         submitted revision to existing approved      applicable authority;
                                                 guidelines following the procedures in                                                                  (B) Any deactivation-related
                                                 paragraphs (b) through (e) of this                      federally enforceable State plan
                                                                                                         components, including State plan             reliability assessments conducted by the
                                                 section.                                                                                             RTO or Independent System Operator;
                                                   (b) All State plan submittals,                        backstop measures. The editable copy of
                                                                                                         any such submitted State plan revision          (C) Any filings pertaining to the
                                                 supporting materials that are part of a                                                              affected EGU with the SEC or notices to
                                                 State plan submittal, any State plan                    must indicate the changes made at the
                                                                                                         State level, if any, to the existing         investors, including but not limited to
                                                 revisions, and all State reports required                                                            references in forms 10–K and 10–Q, in
                                                 to be submitted to the EPA by the State                 approved federally enforceable State
                                                                                                         plan components, using a mechanism           which plans for the EGU are mentioned;
                                                 plan must be reported through the                                                                       (D) Any integrated resource plans and
                                                 EPA’s State Plan Electronic Collection                  such as redline/strikethrough. These
                                                                                                         changes are not part of the State plan       PUC orders approving the EGU’s
                                                 System (SPeCS). SPeCS is a web                                                                       deactivation;
                                                 accessible electronic system accessed at                until formal approval by the EPA.
                                                                                                           (e) You must provide the EPA with             (E) Any reliability analyses developed
                                                 the EPA’s Central Data Exchange (CDX)                                                                by the RTO, Independent System
                                                 (http://www.epa.gov/cdx/). States that                  non-editable and editable copies of any
                                                                                                         submitted revision to existing approved      Operator, or relevant reliability
                                                 claim that a State plan submittal or                                                                 authority in response to the EGU’s
                                                 supporting documentation includes                       federally enforceable State plan
                                                                                                         components. The editable copy of any         deactivation notification;
                                                 confidential business information (CBI)                                                                 (F) Any notification from a relevant
                                                 must submit that information on a                       such submitted State plan revision must
                                                                                                         indicate the changes made at the State       reliability authority that the EGU may
                                                 compact disc, flash drive, or other                                                                  be needed for reliability purposes
                                                 commonly used electronic storage                        level, if any, to the existing approved
                                                                                                         federally enforceable State plan             notwithstanding the EGU’s intent to
                                                 media to the EPA. The electronic media                                                               deactivate; and
                                                 must be clearly marked as CBI and                       components, using a mechanism such as
                                                                                                         redline/strikethrough. These changes            (G) Any notification to or from an
                                                 mailed to U.S. EPA/OAQPS/CORE CBI                                                                    RTO, Independent System Operator, or
                                                 Office, Attention: State and Local                      are not part of the State plan until
                                                                                                         formal approval by the EPA.                  relevant reliability authority altering the
                                                 Programs Group, MD C539–01, 4930                                                                     timing of deactivation of the EGU.
                                                 Old Page Rd., Durham, NC 27703.                         § 60.5876b What are the recordkeeping           (2) For each of the remaining years
                                                   (c) Only a submittal by the Governor                  and reporting requirements for EGUs that     prior to the date by which an EGU has
                                                 or the Governor’s designee by an                        have committed to permanently cease          committed to permanently cease
                                                 electronic submission through SPeCS                     operations by January 1, 2032?               operations, the owner or operator of the
                                                 shall be considered an official submittal                 (a) If you are the owner or operator of    EGU must submit an annual status
                                                 to the EPA under this subpart. If the                   an EGU that has committed to                 report to the EPA that includes the
                                                 Governor wishes to designate another                    permanently cease operations by              information listed in paragraphs (a)(2)(i)
                                                 responsible official the authority to                   January 1, 2032, you must maintain           and (ii) of this section:
                                                 submit a State plan, the EPA must be                    records for and submit the reports listed       (i) Progress on each of the identified
                                                 notified via letter from the Governor                   in paragraphs (a)(1) through (3) of this     process steps identified in the initial
                                                 prior to the May 11, 2026, deadline for                 section according to the electronic          report as described in paragraph (a)(1)(i)
                                                 State plan submittal so that the official               reporting requirements in paragraph (b)      of this section; and
                                                 will have the ability to submit the initial             of this section.                                (ii) Supporting regulatory documents,
                                                 or final State plan submittal in the                      (1) Five years before any planned date     including correspondence and official
                                                 SPeCS. If the Governor has previously                   to permanently cease operations or by        filings with the relevant RTO,
                                                 delegated authority to make CAA                         the date upon which the State plan is        Independent System Operator,
                                                 submittals on the Governor’s behalf, a                  submitted, whichever is later, the owner     Balancing Authority, PUC, or other
                                                 State may submit documentation of the                   or operator of the EGU must submit an        applicable authority to demonstrate
                                                 delegation in lieu of a letter from the
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                                                                                                         initial report to the EPA that includes      progress toward all steps described in
                                                 Governor. The letter or documentation                   the information in paragraphs (a)(1)(i)      paragraph (a)(1)(i) of this section.
                                                 must identify the designee to whom                      and (ii) of this section.                       (3) The owner or operator must
                                                 authority is being designated and must                    (i) A summary of the process steps         submit a final report to the EPA no later
                                                 include the name and contact                            required for the EGU to permanently          than 6 months following its committed
                                                 information for the designee and also                   cease operation by the date included in      closure date. This report must document
                                                 identify the State plan preparers who                   the State plan, including the                any actions that the EGU has taken
                                                 will need access to SPeCS. A State may                  approximate timing and duration of           subsequent to ceasing operation to


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     ensure that such cessation is permanent,                Greenhouse Gas Emissions for Electric             (iii) A description of measures taken
     including any regulatory filings with                   Utility Generating Units Sector Lead. If       or to be taken to minimize the delay in
     applicable authorities or                               assistance is needed with submitting           reporting; and
     decommissioning plans.                                  large electronic files that exceed the file       (iv) The date by which you propose to
        (b) Beginning November 12, 2024, if                  size limit for email attachments, and if       report, or if you have already met the
     you are the owner or operator of an EGU                 you do not have your own file sharing          reporting requirement at the time of the
     that has committed to permanently                       service, please email oaqpscbi@epa.gov         notification, the date you reported.
     cease operations by January 1, 2032, you                to request a file transfer link.                  (6) The decision to accept the claim
     must submit all the information                            (2) If you cannot transmit the file         of EPA system outage and allow an
     required in paragraph (a) of this section               electronically, you may send CBI               extension to the reporting deadline is
     in a Permanent Cessation of Operation                   information through the postal service         solely within the discretion of the
     report in PDF format following the                      to the following address: U.S. EPA Attn:       Administrator.
     procedures specified in paragraph (c) of                OAQPS Document Control Officer, Mail              (7) In any circumstance, the report
     this section.                                           Drop: C404–02, 109 T.W. Alexander              must be submitted electronically as
        (c) If you are required to submit                    Drive P.O. Box 12055, RTP, NC 27711.           soon as possible after the outage is
     notifications or reports following the                  All other files should also be sent to the     resolved.
     procedure specified in this paragraph                   attention of the Greenhouse Gas                   (f) If you are required to electronically
     (c), you must submit notifications or                   Emissions for Electric Utility Generating      submit a report through CEDRI in the
     reports to the EPA via the Compliance                   Units Sector Lead. The mailed CBI              EPA’s CDX, you may assert a claim of
     and Emissions Data Reporting Interface                  material should be double wrapped and          force majeure for failure to timely
     (CEDRI), which can be accessed through                  clearly marked. Any CBI markings               comply with that reporting requirement.
     the EPA’s Central Data Exchange (CDX)                   should not show through the outer              To assert a claim of force majeure, you
     (https://cdx.epa.gov/). The EPA will                    envelope.                                      must meet the requirements outlined in
     make all the information submitted                         (d) Any records required to be              paragraphs(f)(1) through (5) of this
     through CEDRI available to the public                   maintained by this subpart that are            section.
     without further notice to you. Do not                   submitted electronically via the EPA’s            (1) You may submit a claim if a force
     use CEDRI to submit information you                     CEDRI may be maintained in electronic          majeure event is about to occur, occurs,
     claim as CBI. Although we do not                        format. This ability to maintain               or has occurred or there are lingering
     expect persons to assert a claim of CBI,                electronic copies does not affect the          effects from such an event within the
     if you wish to assert a CBI claim for                   requirement for facilities to make             period of time beginning five business
     some of the information in the report or                records, data, and reports available           days prior to the date the submission is
     notification, you must submit a                         upon request to a delegated air agency         due. For the purposes of this section, a
     complete file in the format specified in                or the EPA as part of an on-site               force majeure event is defined as an
     this subpart, including information                     compliance evaluation.                         event that will be or has been caused by
     claimed to be CBI, to the EPA following                    (e) If you are required to electronically   circumstances beyond the control of the
     the procedures in paragraphs (c)(1) and                 submit a report through CEDRI in the           affected facility, its contractors, or any
     (2) of this section. Clearly mark the part              EPA’s CDX, you may assert a claim of           entity controlled by the affected facility
     or all of the information that you claim                EPA system outage for failure to timely        that prevents you from complying with
     to be CBI. Information not marked as                    comply with that reporting requirement.        the requirement to submit a report
     CBI may be authorized for public release                To assert a claim of EPA system outage,        electronically within the time period
     without prior notice. Information                       you must meet the requirements                 prescribed. Examples of such events are
     marked as CBI will not be disclosed                     outlined in paragraphs (e)(1) through (7)      acts of nature (e.g., hurricanes,
     except in accordance with procedures                    of this section.                               earthquakes, or floods), acts of war or
     set forth in 40 CFR part 2. All CBI                        (1) You must have been or will be           terrorism, or equipment failure or safety
     claims must be asserted at the time of                  precluded from accessing CEDRI and             hazard beyond the control of the
     submission. Anything submitted using                    submitting a required report within the        affected facility (e.g., large scale power
     CEDRI cannot later be claimed CBI.                      time prescribed due to an outage of            outage).
     Furthermore, under CAA section 114(c),                  either the EPA’s CEDRI or CDX systems.            (2) You must submit notification to
     emissions data is not entitled to                          (2) The outage must have occurred           the Administrator in writing as soon as
     confidential treatment, and the EPA is                  within the period of time beginning five       possible following the date you first
     required to make emissions data                         business days prior to the date that the       knew, or through due diligence should
     available to the public. Thus, emissions                submission is due.                             have known, that the event may cause
     data will not be protected as CBI and                      (3) The outage may be planned or            or has caused a delay in reporting.
     will be made publicly available. You                    unplanned.                                        (3) You must provide to the
     must submit the same file submitted to                     (4) You must submit notification to         Administrator:
     the CBI office with the CBI omitted to                  the Administrator in writing as soon as           (i) A written description of the force
     the EPA via the EPA’s CDX as described                  possible following the date you first          majeure event;
     earlier in this paragraph (c).                          knew, or through due diligence should             (ii) A rationale for attributing the
        (1) The preferred method to receive                  have known, that the event may cause           delay in reporting beyond the regulatory
     CBI is for it to be transmitted                         or has caused a delay in reporting.            deadline to the force majeure event;
     electronically using email attachments,                    (5) You must provide to the                    (iii) A description of measures taken
     File Transfer Protocol, or other online                 Administrator a written description            or to be taken to minimize the delay in
     file sharing services. Electronic                       identifying:                                   reporting; and
     submissions must be transmitted                            (i) The date(s) and time(s) when CDX           (iv) The date by which you propose to
     directly to the OAQPS CBI Office at the                 or CEDRI was accessed and the system           report, or if you have already met the
     email address oaqpscbi@epa.gov, and as                  was unavailable;                               reporting requirement at the time of the
     described above, should include clear                      (ii) A rationale for attributing the        notification, the date you reported.
     CBI markings and be flagged to the                      delay in reporting beyond the regulatory          (4) The decision to accept the claim
     attention of the Emission Guidelines for                deadline to EPA system outage;                 of force majeure and allow an extension


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                                                 to the reporting deadline is solely                      EGU to comply with a standard of                ISO conditions means 288 Kelvin (15
                                                 within the discretion of the                             performance.                                 °C, 59 °F), 60 percent relative humidity
                                                 Administrator.                                              Derate means a decrease in the            and 101.3 kilopascals (14.69 psi, 1 atm)
                                                   (5) In any circumstance, the reporting                 available capacity of an electric            pressure.
                                                 must occur as soon as possible after the                 generating unit, due to a system or             Mechanical output means the useful
                                                 force majeure event occurs.                              equipment modification or to                 mechanical energy that is not used to
                                                   (g) Alternatives to any electronic                     discounting a portion of a generating        operate the affected facility, generate
                                                 reporting required by this subpart must                  unit’s capacity for planning purposes.       electricity and/or thermal output, or to
                                                 be approved by the Administrator.                           Fossil fuel means natural gas,            enhance the performance of the affected
                                                                                                          petroleum, coal, and any form of solid       facility. Mechanical energy measured in
                                                 Definitions                                              fuel, liquid fuel, or gaseous fuel derived   horsepower hour must be converted into
                                                 § 60.5880b       What definitions apply to this          from such material for the purpose of        MWh by multiplying it by 745.7 then
                                                 subpart?                                                 creating useful heat.                        dividing by 1,000,000.
                                                                                                             Gross energy output means:                   Nameplate capacity means, starting
                                                    As used in this subpart, all terms not                   (1) For stationary combustion turbines
                                                 defined herein will have the meaning                                                                  from the initial installation, the
                                                                                                          and IGCC, the gross electric or direct
                                                 given them in the Clean Air Act and in                                                                maximum electrical generating output
                                                                                                          mechanical output from both the EGU
                                                 subparts A, Ba, TTTT, and TTTTa, of                                                                   that a generator, prime mover, or other
                                                                                                          (including, but not limited to, output
                                                 this part.                                               from steam turbine(s), combustion            electric power production equipment
                                                    Affected electric generating unit or                  turbine(s), and gas expander(s)) plus 100    under specific conditions designated by
                                                 Affected EGU means a steam generating                    percent of the useful thermal output.        the manufacturer is capable of
                                                 unit that meets the relevant                                (2) For steam generating units, the       producing (in MWe, rounded to the
                                                 applicability conditions in section                      gross electric or mechanical output from     nearest tenth) on a steady-state basis
                                                 § 60.5845b.                                              the affected EGU(s) (including, but not      and during continuous operation (when
                                                    Annual capacity factor means the                      limited to, output from steam turbine(s),    not restricted by seasonal or other
                                                 ratio between the actual heat input to an                combustion turbine(s), and gas               deratings) as of such installation as
                                                 EGU during a calendar year and the                       expander(s)) minus any electricity used      specified by the manufacturer of the
                                                 potential heat input to the EGU had it                   to power the feedwater pumps plus 100        equipment, or starting from the
                                                 been operated for 8,760 hours during a                   percent of the useful thermal output;        completion of any subsequent physical
                                                 calendar year at the base load rating.                      (3) For combined heat and power           change resulting in an increase in the
                                                    Base load rating means the maximum                    facilities where at least 20.0 percent of    maximum electrical generating output
                                                 amount of heat input (fuel) that an EGU                  the total gross energy output consists of    that the equipment is capable of
                                                 can combust on a steady-state basis, as                  useful thermal output on a 12-operating-     producing on a steady-state basis and
                                                 determined by the physical design and                    month rolling average basis, the gross       during continuous operation (when not
                                                 characteristics of the EGU at ISO                        electric or mechanical output from the       restricted by seasonal or other
                                                 conditions, as defined below. For a                      affected EGU (including, but not limited     deratings), such increased maximum
                                                 stationary combustion turbine or IGCC,                   to, output from steam turbine(s),            amount (in MWe, rounded to the nearest
                                                 base load rating includes the heat input                 combustion turbine(s), and gas               tenth) as of such completion as
                                                 from duct burners.                                       expander(s)) minus any electricity used      specified by the person conducting the
                                                    Coal-fired steam generating unit                      to power the feedwater pumps (the            physical change.
                                                 means an electric utility steam                          electric auxiliary load of boiler               Natural gas means a fluid mixture of
                                                 generating unit or IGCC unit that meets                  feedwater pumps is not applicable to         hydrocarbons (e.g., methane, ethane, or
                                                 the definition of ‘‘fossil fuel-fired’’ and              IGCC facilities), that difference divided    propane), composed of at least 70
                                                 that burns coal for more than 10.0                       by 0.95, plus 100 percent of the useful      percent methane by volume or that has
                                                 percent of the average annual heat input                 thermal output.                              a gross calorific value between 35 and
                                                 during any continuous 3-calendar-year                       Heat recovery steam generating unit       41 megajoules (MJ) per dry standard
                                                 period after December 31, 2029, or for                   (HRSG) means a unit in which hot             cubic meter (950 and 1,100 Btu per dry
                                                 more than 15.0 percent of the annual                     exhaust gases from the combustion            standard cubic foot), that maintains a
                                                 heat input during any one calendar year                  turbine engine are routed in order to        gaseous state under ISO conditions.
                                                 after December 31, 2029, or that retains                 extract heat from the gases and generate     Finally, natural gas does not include the
                                                 the capability to fire coal after December               useful output. Heat recovery steam           following gaseous fuels: Landfill gas,
                                                 31, 2029.                                                generating units can be used with or         digester gas, refinery gas, sour gas, blast
                                                    Combined cycle unit means a                           without duct burners.                        furnace gas, coal-derived gas, producer
                                                 stationary combustion turbine from                          Integrated gasification combined          gas, coke oven gas, or any gaseous fuel
                                                 which the heat from the turbine exhaust                  cycle facility or IGCC means a combined      produced in a process which might
                                                 gases is recovered by a heat recovery                    cycle facility that is designed to burn      result in highly variable CO2 content or
                                                 steam generating unit to generate                        fuels containing 50 percent (by heat         heating value.
                                                 additional electricity.                                  input) or more solid-derived fuel not           Natural gas-fired steam generating
                                                    Combined heat and power unit or                       meeting the definition of natural gas        unit means an electric utility steam
                                                 CHP unit, (also known as                                 plus any integrated equipment that           generating unit meeting the definition of
                                                 ‘‘cogeneration’’) means an electric                      provides electricity or useful thermal       ‘‘fossil fuel-fired,’’ that is not a coal-
                                                 generating unit that uses a steam-                       output to either the affected facility or
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                                                                                                                                                       fired or oil-fired steam generating unit,
                                                 generating unit or stationary combustion                 auxiliary equipment. The Administrator       that no longer retains the capability to
                                                 turbine to simultaneously produce both                   may waive the 50 percent solid-derived       fire coal after December 31, 2029, and
                                                 electric (or mechanical) and useful                      fuel requirement during periods of the       that burns natural gas for more than 10.0
                                                 thermal output from the same primary                     gasification system construction, startup    percent of the average annual heat input
                                                 energy source.                                           and commissioning, shutdown, or              during any continuous 3-calendar-year
                                                    Compliance period means an annual                     repair. No solid fuel is directly burned     period after December 31, 2029, or for
                                                 (calendar year) period for an affected                   in the unit during operation.                more than 15.0 percent of the annual


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                                                 heat input during any calendar year                     pressure. The enthalpy of water at SATP      (e.g., economizer output is not useful
                                                 after December 31, 2029.                                conditions is 50 Btu/lb.                     thermal output, but thermal energy used
                                                    Net electric output means the amount                    State agent means an entity acting on     to reduce fuel moisture is considered
                                                 of gross generation the generator(s)                    behalf of the State, with the legal          useful thermal output), or to supply
                                                 produce (including, but not limited to,                 authority of the State.                      energy to a pollution control device at
                                                 output from steam turbine(s),                              Stationary combustion turbine means       the affected EGU. Useful thermal output
                                                 combustion turbine(s), and gas                          all equipment including, but not limited     for affected EGU(s) with no condensate
                                                 expander(s)), as measured at the                        to, the turbine engine, the fuel, air,       return (or other thermal energy input to
                                                 generator terminals, less the electricity               lubrication and exhaust gas systems,         the affected EGU(s)) or where measuring
                                                 used to operate the plant (i.e., auxiliary              control systems (except emissions            the energy in the condensate (or other
                                                 loads); such uses include fuel handling                 control equipment), heat recovery            thermal energy input to the affected
                                                 equipment, pumps, fans, pollution                       system, fuel compressor, heater, and/or      EGU(s)) would not meaningfully impact
                                                 control equipment, other electricity                    pump, post-combustion emission               the emission rate calculation is
                                                 needs, and transformer losses as                        control technology, and any ancillary        measured against the energy in the
                                                 measured at the transmission side of the                components and sub-components                thermal output at SATP conditions.
                                                 step up transformer (e.g., the point of                 comprising any simple cycle stationary       Affected EGU(s) with meaningful energy
                                                 sale).                                                  combustion turbine, any combined             in the condensate return (or other
                                                    Net energy output means:                             cycle combustion turbine, and any            thermal energy input to the affected
                                                    (1) The net electric or mechanical                   combined heat and power combustion           EGU) must measure the energy in the
                                                 output from the affected facility, plus                 turbine based system plus any                condensate and subtract that energy
                                                 100 percent of the useful thermal output                integrated equipment that provides           relative to SATP conditions from the
                                                 measured relative to standard ambient                   electricity or useful thermal output to      measured thermal output.
                                                 temperature and pressure conditions                     the combustion turbine engine, heat             Valid data means quality-assured data
                                                 that is not used to generate additional                 recovery system, or auxiliary                generated by continuous monitoring
                                                 electric or mechanical output or to                     equipment. Stationary means that the         systems that are installed, operated, and
                                                 enhance the performance of the unit                     combustion turbine is not self-propelled     maintained according to 40 CFR part 75.
                                                 (e.g., steam delivered to an industrial                 or intended to be propelled while            For CEMS, the initial certification
                                                 process for a heating application).                     performing its function. It may,             requirements in 40 CFR 75.20 and
                                                    (2) For combined heat and power                      however, be mounted on a vehicle for         appendix A to 40 CFR part 75 must be
                                                 facilities where at least 20.0 percent of               portability. A stationary combustion         met before quality-assured data are
                                                 the total gross or net energy output                    turbine that burns any solid fuel directly   reported under this subpart; for on-
                                                 consists of electric or direct mechanical               is considered a steam generating unit.       going quality assurance, the daily,
                                                 output and at least 20.0 percent of the                    Steam generating unit means any           quarterly, and semiannual/annual test
                                                 total gross or net energy output consists               furnace, boiler, or other device used for    requirements in sections 2.1, 2.2, and
                                                 of useful thermal output on a 12-                       combusting fuel and producing steam          2.3 of appendix B to 40 CFR part 75
                                                 operating month rolling average basis,                  (nuclear steam generators are not            must be met and the data validation
                                                 the net electric or mechanical output                   included) plus any integrated                criteria in sections 2.1.4, 2.2.3, and 2.3.2
                                                 from the affected EGU divided by 0.95,                  equipment that provides electricity or       of appendix B to 40 CFR part 75 apply.
                                                 plus 100 percent of the useful thermal                  useful thermal output to the affected        For fuel flow meters, the initial
                                                 output; (e.g., steam delivered to an                    facility or auxiliary equipment.             certification requirements in section
                                                 industrial process for a heating                           System Emergency means periods            2.1.5 of appendix D to 40 CFR part 75
                                                 application).                                           when the Reliability Coordinator has         must be met before quality-assured data
                                                    Oil-fired steam generating unit means                declared an Energy Emergency Alert           are reported under this subpart (except
                                                 an electric utility steam generating unit               level 2 or 3 as defined by NERC              for qualifying commercial billing meters
                                                 meeting the definition of ‘‘fossil fuel-                Reliability Standard EOP–011–2, or its       under section 2.1.4.2 of appendix D),
                                                 fired’’ that is not a coal-fired steam                  successor.                                   and for on-going quality assurance, the
                                                 generating unit, that no longer retains                    Uprate means an increase in available     provisions in section 2.1.6 of appendix
                                                 the capability to fire coal after December              electric generating unit power capacity      D to 40 CFR part 75 apply (except for
                                                 31, 2029, and that burns oil for more                   due to a system or equipment                 qualifying commercial billing meters).
                                                 than 10.0 percent of the average annual                 modification.
                                                 heat input during any continuous 3-                        Useful thermal output means the              Waste-to-Energy means a process or
                                                 calendar-year period after December 31,                 thermal energy made available for use in     unit (e.g., solid waste incineration unit)
                                                 2029, or for more than 15.0 percent of                  any heating application (e.g., steam         that recovers energy from the
                                                 the annual heat input during any one                    delivered to an industrial process for a     conversion or combustion of waste
                                                 calendar year after December 31, 2029.                  heating application, including thermal       stream materials, such as municipal
                                                    Standard ambient temperature and                     cooling applications) that is not used for   solid waste, to generate electricity and/
                                                 pressure (SATP) conditions means                        electric generation, mechanical output       or heat.
                                                 298.15 Kelvin (25 °C, 77 °F) and 100.0                  at the affected EGU, to directly enhance     [FR Doc. 2024–09233 Filed 5–8–24; 8:45 am]
                                                 kilopascals (14.504 psi, 0.987 atm)                     the performance of the affected EGU          BILLING CODE 6560–50–P
ddrumheller on DSK120RN23PROD with RULES3




                                            VerDate Sep<11>2014   20:13 May 08, 2024   Jkt 262001   PO 00000   Frm 00268                E:\FR\FM\09MYR3.SGM   09MYR3           Add.267
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     KeyCite Yellow Flag - Negative Treatment
Proposed Legislation




  United States Code Annotated
    Title 42. The Public Health and Welfare
       Chapter 85. Air Pollution Prevention and Control (Refs & Annos)
         Subchapter I. Programs and Activities
            Part A. Air Quality and Emissions Limitations (Refs & Annos)

                                                  42 U.S.C.A. § 7411

                           § 7411. Standards of performance for new stationary sources

                                                     Currentness


(a) Definitions

For purposes of this section:


   (1) The term “standard of performance” means a standard for emissions of air pollutants which
   reflects the degree of emission limitation achievable through the application of the best system
   of emission reduction which (taking into account the cost of achieving such reduction and any
   nonair quality health and environmental impact and energy requirements) the Administrator
   determines has been adequately demonstrated.


   (2) The term “new source” means any stationary source, the construction or modification of
   which is commenced after the publication of regulations (or, if earlier, proposed regulations)
   prescribing a standard of performance under this section which will be applicable to such source.


   (3) The term “stationary source” means any building, structure, facility, or installation which
   emits or may emit any air pollutant. Nothing in subchapter II of this chapter relating to nonroad
   engines shall be construed to apply to stationary internal combustion engines.


   (4) The term “modification” means any physical change in, or change in the method of operation
   of, a stationary source which increases the amount of any air pollutant emitted by such source
   or which results in the emission of any air pollutant not previously emitted.

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  (5) The term “owner or operator” means any person who owns, leases, operates, controls, or
  supervises a stationary source.


  (6) The term “existing source” means any stationary source other than a new source.


  (7) The term “technological system of continuous emission reduction” means--


     (A) a technological process for production or operation by any source which is inherently
     low-polluting or nonpolluting, or


     (B) a technological system for continuous reduction of the pollution generated by a source
     before such pollution is emitted into the ambient air, including precombustion cleaning or
     treatment of fuels.


  (8) A conversion to coal (A) by reason of an order under section 2(a) of the Energy Supply
  and Environmental Coordination Act of 1974 or any amendment thereto, or any subsequent
  enactment which supersedes such Act, or (B) which qualifies under section 7413(d)(5)(A)(ii)
  of this title, shall not be deemed to be a modification for purposes of paragraphs (2) and (4)
  of this subsection.


(b) List of categories of stationary sources; standards of performance; information on
pollution control techniques; sources owned or operated by United States; particular
systems; revised standards


(1)(A) The Administrator shall, within 90 days after December 31, 1970, publish (and from time to
time thereafter shall revise) a list of categories of stationary sources. He shall include a category of
sources in such list if in his judgment it causes, or contributes significantly to, air pollution which
may reasonably be anticipated to endanger public health or welfare.


(B) Within one year after the inclusion of a category of stationary sources in a list under
subparagraph (A), the Administrator shall publish proposed regulations, establishing Federal
standards of performance for new sources within such category. The Administrator shall afford


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interested persons an opportunity for written comment on such proposed regulations. After
considering such comments, he shall promulgate, within one year after such publication, such
standards with such modifications as he deems appropriate. The Administrator shall, at least every
8 years, review and, if appropriate, revise such standards following the procedure required by this
subsection for promulgation of such standards. Notwithstanding the requirements of the previous
sentence, the Administrator need not review any such standard if the Administrator determines
that such review is not appropriate in light of readily available information on the efficacy of such
standard. Standards of performance or revisions thereof shall become effective upon promulgation.
When implementation and enforcement of any requirement of this chapter indicate that emission
limitations and percent reductions beyond those required by the standards promulgated under this
section are achieved in practice, the Administrator shall, when revising standards promulgated
under this section, consider the emission limitations and percent reductions achieved in practice.


(2) The Administrator may distinguish among classes, types, and sizes within categories of new
sources for the purpose of establishing such standards.


(3) The Administrator shall, from time to time, issue information on pollution control techniques
for categories of new sources and air pollutants subject to the provisions of this section.


(4) The provisions of this section shall apply to any new source owned or operated by the United
States.


(5) Except as otherwise authorized under subsection (h), nothing in this section shall be construed
to require, or to authorize the Administrator to require, any new or modified source to install and
operate any particular technological system of continuous emission reduction to comply with any
new source standard of performance.


(6) The revised standards of performance required by enactment of subsection (a)(1)(A)(i) and (ii)
shall be promulgated not later than one year after August 7, 1977. Any new or modified fossil
fuel fired stationary source which commences construction prior to the date of publication of the
proposed revised standards shall not be required to comply with such revised standards.


(c) State implementation and enforcement of standards of performance




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(1) Each State may develop and submit to the Administrator a procedure for implementing and
enforcing standards of performance for new sources located in such State. If the Administrator
finds the State procedure is adequate, he shall delegate to such State any authority he has under
this chapter to implement and enforce such standards.


(2) Nothing in this subsection shall prohibit the Administrator from enforcing any applicable
standard of performance under this section.


(d) Standards of performance for existing sources; remaining useful life of source


(1) The Administrator shall prescribe regulations which shall establish a procedure similar to that
provided by section 7410 of this title under which each State shall submit to the Administrator a
plan which (A) establishes standards of performance for any existing source for any air pollutant (i)
for which air quality criteria have not been issued or which is not included on a list published under
section 7408(a) of this title or emitted from a source category which is regulated under section
7412 of this title but (ii) to which a standard of performance under this section would apply if such
existing source were a new source, and (B) provides for the implementation and enforcement of
such standards of performance. Regulations of the Administrator under this paragraph shall permit
the State in applying a standard of performance to any particular source under a plan submitted
under this paragraph to take into consideration, among other factors, the remaining useful life of
the existing source to which such standard applies.


(2) The Administrator shall have the same authority--


  (A) to prescribe a plan for a State in cases where the State fails to submit a satisfactory plan as he
  would have under section 7410(c) of this title in the case of failure to submit an implementation
  plan, and


  (B) to enforce the provisions of such plan in cases where the State fails to enforce them as he
  would have under sections 7413 and 7414 of this title with respect to an implementation plan.

In promulgating a standard of performance under a plan prescribed under this paragraph, the
Administrator shall take into consideration, among other factors, remaining useful lives of the
sources in the category of sources to which such standard applies.



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(e) Prohibited acts

After the effective date of standards of performance promulgated under this section, it shall be
unlawful for any owner or operator of any new source to operate such source in violation of any
standard of performance applicable to such source.


(f) New source standards of performance


(1) For those categories of major stationary sources that the Administrator listed under subsection
(b)(1)(A) before November 15, 1990, and for which regulations had not been proposed by the
Administrator by November 15, 1990, the Administrator shall--


  (A) propose regulations establishing standards of performance for at least 25 percent of such
  categories of sources within 2 years after November 15, 1990;


  (B) propose regulations establishing standards of performance for at least 50 percent of such
  categories of sources within 4 years after November 15, 1990; and


  (C) propose regulations for the remaining categories of sources within 6 years after November
  15, 1990.


(2) In determining priorities for promulgating standards for categories of major stationary sources
for the purpose of paragraph (1), the Administrator shall consider--


  (A) the quantity of air pollutant emissions which each such category will emit, or will be
  designed to emit;


  (B) the extent to which each such pollutant may reasonably be anticipated to endanger public
  health or welfare; and


  (C) the mobility and competitive nature of each such category of sources and the consequent
  need for nationally applicable new source standards of performance.



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(3) Before promulgating any regulations under this subsection or listing any category of
major stationary sources as required under this subsection, the Administrator shall consult with
appropriate representatives of the Governors and of State air pollution control agencies.


(g) Revision of regulations


(1) Upon application by the Governor of a State showing that the Administrator has failed to
specify in regulations under subsection (f)(1) any category of major stationary sources required
to be specified under such regulations, the Administrator shall revise such regulations to specify
any such category.


(2) Upon application of the Governor of a State, showing that any category of stationary sources
which is not included in the list under subsection (b)(1)(A) contributes significantly to air pollution
which may reasonably be anticipated to endanger public health or welfare (notwithstanding that
such category is not a category of major stationary sources), the Administrator shall revise such
regulations to specify such category of stationary sources.


(3) Upon application of the Governor of a State showing that the Administrator has failed to apply
properly the criteria required to be considered under subsection (f)(2), the Administrator shall
revise the list under subsection (b)(1)(A) to apply properly such criteria.


(4) Upon application of the Governor of a State showing that--


  (A) a new, innovative, or improved technology or process which achieves greater continuous
  emission reduction has been adequately demonstrated for any category of stationary sources,
  and


  (B) as a result of such technology or process, the new source standard of performance in
  effect under this section for such category no longer reflects the greatest degree of emission
  limitation achievable through application of the best technological system of continuous
  emission reduction which (taking into consideration the cost of achieving such emission
  reduction, and any non-air quality health and environmental impact and energy requirements)
  has been adequately demonstrated,



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the Administrator shall revise such standard of performance for such category accordingly.


(5) Unless later deadlines for action of the Administrator are otherwise prescribed under this
section, the Administrator shall, not later than three months following the date of receipt of any
application by a Governor of a State, either--


  (A) find that such application does not contain the requisite showing and deny such application,
  or


  (B) grant such application and take the action required under this subsection.


(6) Before taking any action required by subsection (f) or by this subsection, the Administrator
shall provide notice and opportunity for public hearing.


(h) Design, equipment, work practice, or operational standard; alternative emission
limitation


(1) For purposes of this section, if in the judgment of the Administrator, it is not feasible to prescribe
or enforce a standard of performance, he may instead promulgate a design, equipment, work
practice, or operational standard, or combination thereof, which reflects the best technological
system of continuous emission reduction which (taking into consideration the cost of achieving
such emission reduction, and any non-air quality health and environmental impact and energy
requirements) the Administrator determines has been adequately demonstrated. In the event the
Administrator promulgates a design or equipment standard under this subsection, he shall include
as part of such standard such requirements as will assure the proper operation and maintenance of
any such element of design or equipment.


(2) For the purpose of this subsection, the phrase “not feasible to prescribe or enforce a standard
of performance” means any situation in which the Administrator determines that (A) a pollutant
or pollutants cannot be emitted through a conveyance designed and constructed to emit or capture
such pollutant, or that any requirement for, or use of, such a conveyance would be inconsistent
with any Federal, State, or local law, or (B) the application of measurement methodology to a
particular class of sources is not practicable due to technological or economic limitations.




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(3) If after notice and opportunity for public hearing, any person establishes to the satisfaction
of the Administrator that an alternative means of emission limitation will achieve a reduction in
emissions of any air pollutant at least equivalent to the reduction in emissions of such air pollutant
achieved under the requirements of paragraph (1), the Administrator shall permit the use of such
alternative by the source for purposes of compliance with this section with respect to such pollutant.


(4) Any standard promulgated under paragraph (1) shall be promulgated in terms of standard of
performance whenever it becomes feasible to promulgate and enforce such standard in such terms.


(5) Any design, equipment, work practice, or operational standard, or any combination thereof,
described in this subsection shall be treated as a standard of performance for purposes of the
provisions of this chapter (other than the provisions of subsection (a) and this subsection).


(i) Country elevators

Any regulations promulgated by the Administrator under this section applicable to grain elevators
shall not apply to country elevators (as defined by the Administrator) which have a storage capacity
of less than two million five hundred thousand bushels.


(j) Innovative technological systems of continuous emission reduction


(1)(A) Any person proposing to own or operate a new source may request the Administrator for one
or more waivers from the requirements of this section for such source or any portion thereof with
respect to any air pollutant to encourage the use of an innovative technological system or systems
of continuous emission reduction. The Administrator may, with the consent of the Governor of the
State in which the source is to be located, grant a waiver under this paragraph, if the Administrator
determines after notice and opportunity for public hearing, that--


  (i) the proposed system or systems have not been adequately demonstrated,


  (ii) the proposed system or systems will operate effectively and there is a substantial likelihood
  that such system or systems will achieve greater continuous emission reduction than that
  required to be achieved under the standards of performance which would otherwise apply, or



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  achieve at least an equivalent reduction at lower cost in terms of energy, economic, or nonair
  quality environmental impact,


  (iii) the owner or operator of the proposed source has demonstrated to the satisfaction of the
  Administrator that the proposed system will not cause or contribute to an unreasonable risk to
  public health, welfare, or safety in its operation, function, or malfunction, and


  (iv) the granting of such waiver is consistent with the requirements of subparagraph (C).

In making any determination under clause (ii), the Administrator shall take into account any
previous failure of such system or systems to operate effectively or to meet any requirement of
the new source performance standards. In determining whether an unreasonable risk exists under
clause (iii), the Administrator shall consider, among other factors, whether and to what extent the
use of the proposed technological system will cause, increase, reduce, or eliminate emissions of
any unregulated pollutants; available methods for reducing or eliminating any risk to public health,
welfare, or safety which may be associated with the use of such system; and the availability of
other technological systems which may be used to conform to standards under this section without
causing or contributing to such unreasonable risk. The Administrator may conduct such tests and
may require the owner or operator of the proposed source to conduct such tests and provide such
information as is necessary to carry out clause (iii) of this subparagraph. Such requirements shall
include a requirement for prompt reporting of the emission of any unregulated pollutant from a
system if such pollutant was not emitted, or was emitted in significantly lesser amounts without
use of such system.


(B) A waiver under this paragraph shall be granted on such terms and conditions as the
Administrator determines to be necessary to assure--


  (i) emissions from the source will not prevent attainment and maintenance of any national
  ambient air quality standards, and


  (ii) proper functioning of the technological system or systems authorized.

Any such term or condition shall be treated as a standard of performance for the purposes of
subsection (e) of this section and section 7413 of this title.




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(C) The number of waivers granted under this paragraph with respect to a proposed technological
system of continuous emission reduction shall not exceed such number as the Administrator finds
necessary to ascertain whether or not such system will achieve the conditions specified in clauses
(ii) and (iii) of subparagraph (A).


(D) A waiver under this paragraph shall extend to the sooner of--


  (i) the date determined by the Administrator, after consultation with the owner or operator of the
  source, taking into consideration the design, installation, and capital cost of the technological
  system or systems being used, or


  (ii) the date on which the Administrator determines that such system has failed to--


     (I) achieve at least an equivalent continuous emission reduction to that required to be achieved
     under the standards of performance which would otherwise apply, or


     (II) comply with the condition specified in paragraph (1)(A)(iii),

     and that such failure cannot be corrected.


(E) In carrying out subparagraph (D)(i), the Administrator shall not permit any waiver for a source
or portion thereof to extend beyond the date--


  (i) seven years after the date on which any waiver is granted to such source or portion thereof, or


  (ii) four years after the date on which such source or portion thereof commences operation,

whichever is earlier.


(F) No waiver under this subsection shall apply to any portion of a source other than the portion on
which the innovative technological system or systems of continuous emission reduction is used.




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(2)(A) If a waiver under paragraph (1) is terminated under clause (ii) of paragraph (1)(D), the
Administrator shall grant an extension of the requirements of this section for such source for such
minimum period as may be necessary to comply with the applicable standard of performance under
this section. Such period shall not extend beyond the date three years from the time such waiver
is terminated.


(B) An extension granted under this paragraph shall set forth emission limits and a compliance
schedule containing increments of progress which require compliance with the applicable
standards of performance as expeditiously as practicable and include such measures as are
necessary and practicable in the interim to minimize emissions. Such schedule shall be treated as a
standard of performance for purposes of subsection (e) of this section and section 7413 of this title.


                                                  CREDIT(S)

   (July 14, 1955, c. 360, Title I, § 111, as added Pub.L. 91-604, § 4(a), Dec. 31, 1970, 84 Stat.
1683; amended Pub.L. 92-157, Title III, § 302(f), Nov. 18, 1971, 85 Stat. 464; Pub.L. 95-95, Title
I, § 109(a) to (d)(1), (e), (f), Title IV, § 401(b), Aug. 7, 1977, 91 Stat. 697 to 703, 791; Pub.L.
95-190, § 14(a)(7) to (9), Nov. 16, 1977, 91 Stat. 1399; Pub.L. 95-623, § 13(a), Nov. 9, 1978, 92
Stat. 3457; Pub.L. 101-549, Title I, § 108(e) to (g), Title III, § 302(a), (b), Title IV, § 403(a), Nov.
15, 1990, 104 Stat. 2467, 2574, 2631.)


                                   MEMORANDA OF PRESIDENT

                                 PRESIDENTIAL MEMORANDUM

Memorandum of the President of the United States, June 25, 2013, 78 F.R. 39535, relating to
power sector carbon pollution standards, was revoked by Ex. Ord. No. 13783, § 3(a)(ii), March
28, 2017, 82 F.R. 16093.



Notes of Decisions (139)

42 U.S.C.A. § 7411, 42 USCA § 7411
Current through P.L. 118-78. Some statute sections may be more current, see credits for details.

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  United States Code Annotated
    Title 42. The Public Health and Welfare
       Chapter 149. National Energy Policy and Programs
         Subchapter IV. Coal
            Part A. Clean Coal Power Initiative

                                              42 U.S.C.A. § 15962

                                             § 15962. Project criteria

                                        Effective: December 20, 2007
                                                 Currentness


(a) In general

To be eligible to receive assistance under this part, a project shall advance efficiency,
environmental performance, and cost competitiveness well beyond the level of technologies that
are in commercial service or have been demonstrated on a scale that the Secretary determines is
sufficient to demonstrate that commercial service is viable as of August 8, 2005.


(b) Technical criteria for Clean Coal Power Initiative


   (1) Gasification projects


      (A) In general

      In allocating the funds made available under section 15961(a) of this title, the Secretary shall
      ensure that at least 70 percent of the funds are used only to fund projects on coal-based
      gasification technologies, including--


         (i) gasification combined cycle;


         (ii) gasification fuel cells and turbine combined cycle;




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         (iii) gasification coproduction;


         (iv) hybrid gasification and combustion; and


         (v) other advanced coal based technologies capable of producing a concentrated stream of
         carbon dioxide.


      (B) Technical milestones


         (i) Periodic determination


            (I) In general

            The Secretary shall periodically set technical milestones specifying the emission and
            thermal efficiency levels that coal gasification projects under this part shall be designed,
            and reasonably expected, to achieve.


            (II) Prescriptive milestones

            The technical milestones shall become more prescriptive during the period of the clean
            coal power initiative.


         (ii) 2020 goals

         The Secretary shall establish the periodic milestones so as to achieve by the year 2020 coal
         gasification projects able--


            (I)(aa) to remove at least 99 percent of sulfur dioxide; or


            (bb) to emit not more than 0.04 pound SO2 per million Btu, based on a 30-day average;


            (II) to emit not more than .05 lbs of NOx per million Btu;


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            (III) to achieve at least 95 percent reductions in mercury emissions; and


            (IV) to achieve a thermal efficiency of at least--


               (aa) 50 percent for coal of more than 9,000 Btu;


               (bb) 48 percent for coal of 7,000 to 9,000 Btu; and


               (cc) 46 percent for coal of less than 7,000 Btu.


   (2) Other projects


      (A) Allocation of funds

      The Secretary shall ensure that up to 30 percent of the funds made available under section
      15961(a) of this title are used to fund projects other than those described in paragraph (1).


      (B) Technical milestones


         (i) Periodic determination


            (I) In general

            The Secretary shall periodically establish technical milestones specifying the emission
            and thermal efficiency levels that projects funded under this paragraph shall be designed,
            and reasonably expected, to achieve.


            (II) Prescriptive milestones

            The technical milestones shall become more prescriptive during the period of the clean
            coal power initiative.


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         (ii) 2020 goals

         The Secretary shall set the periodic milestones so as to achieve by the year 2020 projects
         able--


            (I) to remove at least 97 percent of sulfur dioxide;


            (II) to emit no more than .08 lbs of NOx per million Btu;


            (III) to achieve at least 90 percent reductions in mercury emissions; and


            (IV) to achieve a thermal efficiency of at least--


               (aa) 43 percent for coal of more than 9,000 Btu;


               (bb) 41 percent for coal of 7,000 to 9,000 Btu; and


               (cc) 39 percent for coal of less than 7,000 Btu.


   (3) Consultation

   Before setting the technical milestones under paragraphs (1)(B) and (2)(B), the Secretary shall
   consult with--


      (A) the Administrator of the Environmental Protection Agency; and


      (B) interested entities, including--


         (i) coal producers;



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         (ii) industries using coal;


         (iii) organizations that promote coal or advanced coal technologies;


         (iv) environmental organizations;


         (v) organizations representing workers; and


         (vi) organizations representing consumers.


   (4) Existing units

   In the case of projects at units in existence on August 8, 2005, in lieu of the thermal efficiency
   requirements described in paragraphs (1)(B)(ii)(IV) and (2)(B)(ii)(IV), the milestones shall
   be designed to achieve an overall thermal design efficiency improvement, compared to the
   efficiency of the unit as operated, of not less than--


      (A) 7 percent for coal of more than 9,000 Btu;


      (B) 6 percent for coal of 7,000 to 9,000 Btu; or


      (C) 4 percent for coal of less than 7,000 Btu.


   (5) Administration


      (A) Elevation of site

      In evaluating project proposals to achieve thermal efficiency levels established under
      paragraphs (1)(B)(i) and (2)(B)(i) and in determining progress towards thermal efficiency
      milestones under paragraphs (1)(B)(ii)(IV), (2)(B)(ii)(IV), and (4), the Secretary shall take
      into account and make adjustments for the elevation of the site at which a project is proposed
      to be constructed.


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      (B) Applicability of milestones

      In applying the thermal efficiency milestones under paragraphs (1)(B)(ii)(IV), (2)(B)(ii)(IV),
      and (4) to projects that separate and capture at least 50 percent of the potential emissions of
      carbon dioxide by a facility, the energy used for separation and capture of carbon dioxide
      shall not be counted in calculating the thermal efficiency.


      (C) Permitted uses

      In carrying out this section, the Secretary may give priority to projects that include, as part
      of the project--


         (i) the separation or capture of carbon dioxide; or


         (ii) the reduction of the demand for natural gas if deployed.


(c) Financial criteria

The Secretary shall not provide financial assistance under this part for a project unless the recipient
documents to the satisfaction of the Secretary that--


   (1) the recipient is financially responsible;


   (2) the recipient will provide sufficient information to the Secretary to enable the Secretary to
   ensure that the funds are spent efficiently and effectively; and


   (3) a market exists for the technology being demonstrated or applied, as evidenced by statements
   of interest in writing from potential purchasers of the technology.


(d) Financial assistance

The Secretary shall provide financial assistance to projects that, as determined by the Secretary--


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   (1) meet the requirements of subsections (a), (b), and (c); and


   (2) are likely--


      (A) to achieve overall cost reductions in the use of coal to generate useful forms of energy
      or chemical feedstocks;


      (B) to improve the competitiveness of coal among various forms of energy in order to
      maintain a diversity of fuel choices in the United States to meet electricity generation
      requirements; and


      (C) to demonstrate methods and equipment that are applicable to 25 percent of the electricity
      generating facilities, using various types of coal, that use coal as the primary feedstock as
      of August 8, 2005.


(e) Cost-sharing

In carrying out this part, the Secretary shall require cost sharing in accordance with section 16352
of this title.


(f) Scheduled completion of selected projects


   (1) In general

   In selecting a project for financial assistance under this section, the Secretary shall establish a
   reasonable period of time during which the owner or operator of the project shall complete the
   construction or demonstration phase of the project, as the Secretary determines to be appropriate.


   (2) Condition of financial assistance




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   The Secretary shall require as a condition of receipt of any financial assistance under this part
   that the recipient of the assistance enter into an agreement with the Secretary not to request an
   extension of the time period established for the project by the Secretary under paragraph (1).


   (3) Extension of time period


      (A) In general

      Subject to subparagraph (B), the Secretary may extend the time period established under
      paragraph (1) if the Secretary determines, in the sole discretion of the Secretary, that the
      owner or operator of the project cannot complete the construction or demonstration phase
      of the project within the time period due to circumstances beyond the control of the owner
      or operator.


      (B) Limitation

      The Secretary shall not extend a time period under subparagraph (A) by more than 4 years.


(g) Fee title

The Secretary may vest fee title or other property interests acquired under cost-share clean coal
power initiative agreements under this part in any entity, including the United States.


(h) Data protection

For a period not exceeding 5 years after completion of the operations phase of a cooperative
agreement, the Secretary may provide appropriate protections (including exemptions from
subchapter II of chapter 5 of Title 5) against the dissemination of information that--


   (1) results from demonstration activities carried out under the clean coal power initiative
   program; and


   (2) would be a trade secret or commercial or financial information that is privileged or
   confidential if the information had been obtained from and first produced by a non-Federal party
   participating in a clean coal power initiative project.


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(i) Applicability

No technology, or level of emission reduction, solely by reason of the use of the technology, or
the achievement of the emission reduction, by 1 or more facilities receiving assistance under this
Act, shall be considered to be--


   (1) adequately demonstrated for purposes of section 7411 of this title;


   (2) achievable for purposes of section 7479 of this title; or


   (3) achievable in practice for purposes of section 7501 of this title.


                                                CREDIT(S)

  (Pub.L. 109-58, Title IV, § 402, Aug. 8, 2005, 119 Stat. 750; Pub.L. 110-140, Title VI, § 653,
Dec. 19, 2007, 121 Stat. 1695.)


42 U.S.C.A. § 15962, 42 USCA § 15962
Current through P.L. 118-78. Some statute sections may be more current, see credits for details.

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